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                 ORAL ARGUMENT NOT YET SCHEDULED
                No. 23-1183 (consolidated with 23-1157 & 23-1181)
             IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                State of Ohio, et al.,
                                     Petitioners,
                                          v.
  Environmental Protection Agency and Michael S. Regan, in his official capacity,
         as Administrator of the U.S. Environmental Protection Agency
                                  Respondents.
  On Petition for Review of Action by the U.S. Environmental Protection Agency

                 PETITIONERS’ MOTION FOR
   STAY PENDING REVIEW AND FOR AN ADMINISTRATIVE STAY


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     CERTIFICATE OF PARTIES, RULINGS, AND RELATED CASES

      Pursuant to D.C. Circuit Rule 28(a)(1), the petitioner States—Ohio, Indiana,

and West Virginia—hereby certify as follows:

      A.     Parties and Amici

             1.     Parties, Intervenors, and Amici who Appeared in the District
                    Court

      This case is a petition for review of final agency action, not an appeal from a

district court’s ruling.

             2.     Parties to this Case

                    Petitioners: The States of Ohio, Indiana, and West Virginia

                    Respondents:    The United States Environmental Protection

                    Agency and Michael S. Regan, in his official Capacity as Admin-

                    istrator of the EPA.

                    Intervenors: None at present.

             3.     Amici in this Case

                    None at present

             4.     Circuit Rule 26.1 Disclosures

                    Not applicable because the petitioners are all States.




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      B.   Rulings Under Review

            The petitioner States seek review of the EPA’s final action

            promulgating a federal implementation plan (“FIP”). The EPA’s final

            action is titled “Federal ‘Good Neighbor Plan’ for the 2015 Ozone

            National Ambient Air Quality,” and is published in the Federal

            Register at 88 Fed. Reg. 36654 (June 5, 2023) (EPA Docket No. EPA-

            HQ-OAR-2021-0668). See Appendix 1.

      C.   Related Cases

             Two related cases are pending before this Court:

                • Utah v. EPA, No. 23-1157 (D.C. Cir. June 20, 2023)

                • Kinder Morgan, Inc. v. EPA, No. 23-1181 (D.C. Cir. July 14,

                     2023)

             The following petitions for review challenging the portions of the

             EPA’s Final Rule imposing the federal implementation plan on other

             States are pending before other circuits:

                • Texas v. EPA, No. 23-60300 (5th Cir. June 7, 2023) (and consol-

                idated cases)

                • Nevada Cement Co. LLC v. EPA, No. 23-1098 (9th Cir. June 5,

                2023)


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                • Tulsa Cement LLC v. EPA, No. 23-9551 (10th Cir. June 5,

                2023) (and consolidated cases)




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CERTIFICATE OF COMPLIANCE WITH CIRCUIT RULES 18(a)(1) AND
                        18(a)(2)

      The States did not request a stay from the EPA because doing so would have

been impracticable. Fed. R. App. P. 18(2)(A); 18(2)(a)(i); Circuit Rule 18(A)(1).

The EPA is determined to impose the FIP, making any request futile. And the FIP’s

effects will be immediate and grave, see below 20–21, meaning the States cannot wait

for the EPA to voluntarily stay its action.

      In accordance with Circuit Rule 18(a)(2), Counsel for the States notified Re-

spondents’ counsel by email on Friday, July 14, that it planned to file this motion to

stay. The respondents oppose this motion.




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                                GLOSSARY

      EGU:       Electric Generating Unit

      EPA:       Environmental Protection Agency

      NAAQS:     National Ambient Air Quality Standards

      FIP:       Federal Implementation Plan

      SIP:       State Implementation Plan




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                                INTRODUCTION

       The petitioner States—Ohio, Indiana, and West Virginia—move to stay the

 Federal “Good Neighbor Plan” for the 2015 Ozone National Ambient Air Quality Stand-

 ards, 88 Fed. Reg. 36654 (June 5, 2023) (“FIP”) (Ex.1), as applied to their States.

 The respondents (this motion refers to them collectively as “the EPA”), oppose this

 motion.

       The States also seek an administrative stay pending the Court’s ruling on this

 motion. This would give the Court “sufficient opportunity to consider” the States’

 request, Garza v. Hargan, No. 17-5236, 2017 WL 4707112, at *1 (D.C. Cir. Oct. 19,

 2017) (per curiam), without running the risk that a later-issued stay causes an im-

 portant regulatory framework to spring in and out of enforceability.

       An administrative stay would lessen the harm stemming from the respond-

 ents’ lengthy proposed briefing schedule. The EPA has asked the States to note the

 agency’s “request[] that the deadline for … responses to [the States’] Motion to

 Stay be reset to 14 days after” the deadline for filing a petition for review. Unop-

 posed Motion for Extension of Time, Utah v. EPA, No. 23-1157, Doc. 2007554 at 6–

 7 (D.C. Cir., July 12, 2023). This would make any opposition due on August 18,

 2023. The States do not object to this schedule.
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                                 BACKGROUND

       1.   Congress passed the Clean Air Act “to encourage and assist the

 development and operation of regional air pollution prevention and control

 programs,” including programs addressing interstate air pollution. 42 U.S.C.

 §7401(b)(4). The Act is “an experiment in cooperative federalism.” Michigan v.

 EPA, 268 F.3d 1075, 1083 (D.C. Cir. 2001). It requires the EPA to establish National

 Ambient Air Quality Standards (NAAQS) for certain air pollutants. EPA v. EME

 Homer City Generation, L.P., 572 U.S. 489, 498 (2014). States, however, have

 “primary responsibility” for ensuring that their ambient air meets those NAAQS.

 §7407(a). They do so, in part, by crafting “state implementation plans,” often called

 “SIPs.”

       SIPs implement the NAAQS by incorporating measures adequate to assure

 “compliance with the Act’s requirements.” Homer, 572 U.S. at 507. Among other

 things, the SIP must show that the State will comply with the Act’s “good neighbor”

 provision, which requires “upwind States to reduce emissions to account for

 pollution exported beyond their borders.” Id. at 499; accord §7410(a)(2)(D). To this

 end, a SIP must “contain adequate provisions” to prohibit in-state emissions from

 “contribut[ing] significantly to nonattainment in, or interfer[ing] with maintenance

 by, any other State” in its own NAAQS compliance. §7410(a)(2)(D)(i)(I). But as


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 “long as the ultimate effect of a State’s choice of emission limitations is compliance

 with the [NAAQS], the State is at liberty to adopt whatever mix of emission

 limitations it deems best suited to its particular situation.” Train v. Nat. Res. Def.

 Coun., 421 U.S. 60, 79 (1975).

       The EPA serves a “ministerial” role when “reviewing SIPs.” Texas v. EPA,

 829 F.3d 405, 411 (5th Cir. 2016) (quotation marks omitted). If a SIP meets the Act’s

 requirements, the EPA “shall approve” it. §7410(k)(3). When a SIP is deficient,

 the EPA must work with the State to make the SIP compliant; it must, in statutory

 terms, give the State an opportunity to “correct[]” any “deficienc[ies].” See

 §§7410(c)(1); (k)(5).

       After denying a SIP, the EPA has two years to issue a “federal implementation

 plan,” or “FIP,” for the State to follow. See North Carolina v. EPA, 531 F.3d 896,

 902 (D.C. Cir. 2008), amended in part on reh’g by 550 F.3d 1176 (D.C. Cir. 2008).

 States may, however, submit revised SIPs in the two-year period before any FIP

 would go into effect. See §7410(c)(1). FIPs, like SIPs, must meet the Act’s require-

 ments. See §§7410(c)(1), 7602(y).

       2. In October 2015, the EPA revised the NAAQS for ozone downward from

 75 parts per billion (ppb) to “a level within a range from 65 to 70 ppb.” National

 Ambient Air Quality Standard for Ozone, 80 Fed. Reg. 65292, 65301 (Oct. 26, 2015).


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 That change triggered the States’ obligation to update their SIPs. §7410(a)(1). Im-

 portantly, those updated SIPs needed to include plans for how each State would sat-

 isfy the “good neighbor” provision of the Act. §7410(a)(2)(D). Under this good-

 neighbor provision, upwind States must make sure that their emissions do not con-

 tribute significantly to nonattainment of a NAAQS, or interfere with maintenance of

 a NAAQS, in downwind States. See §7410(a)(2)(D)(i)(I).

         The EPA issued guidance memoranda to “assist states in developing SIPs”

 for the new NAAQS. See Memorandum from Peter Tsirigotis at 3 (Mar. 27, 2018),

 https://perma.cc/Y8YF-CQMB (“March Memorandum”); see also Memorandum

 from Peter Tsirigotis (Aug. 31, 2018), https://perma.cc/G8EN-RN8Q (“August

 Memorandum”). The Agency included modeling parameters that the States could

 use in developing their SIPS, see March Memorandum at Attachments B & C, along

 with explanations of the appropriate threshold for determining whether emissions

 contributions are significant, August Memorandum 4. The EPA “recommend[ed]

 that states reach out to EPA Regional offices and work together to accomplish the

 goal of developing, submitting, and reviewing approvable SIPs.” March

 Memorandum 6. The States submitted SIPs according to this advice; Ohio in Sep-

 tember 2018, Indiana in November of the same year, and West Virginia in February

 2019.    See Air Plan Disapproval; Illinois, Indiana, Michigan, Minnesota, Ohio,


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 Wisconsin, 87 Fed. Reg. 9838, 9845, 9849 (Feb. 22, 2022) (“Proposed OH and IN SIP

 Disapproval”); Air Plan Disapproval; West Virginia, 87 Fed. Reg. 9516, 9522 (Feb.

 22, 2022) (“Proposed WV SIP Disapproval”).

       The Act gives the EPA 18 months to either approve or disapprove a SIP.

 §§7410(k)(1)(B), (k)(2). The States’ submissions sat with the EPA for much longer.

 All the while, the EPA never hinted at a problem with the States’ SIPs. That changed

 in February 2022, when the EPA proposed to disapprove the States’ SIP

 submissions for noncompliance with the good-neighbor provision. See Proposed OH

 and IN SIP Disapproval, 87 Fed. Reg. at 9838; Proposed WV SIP Disapproval, 87 Fed.

 Reg. at 9516–17.

       At that point, the Act required the EPA to ask each State “to revise the plan

 as necessary to correct … inadequacies.” §7410(k)(5).          Only after the EPA

 “disapproves a State implementation plan submission in whole or in part” (or finds

 that the State submitted no qualifying plan) does the two-year clock for issuing a FIP

 begin to run. §7410(c)(1)(B).

       Less than two months after proposing to disapprove the States’ SIPs, and

 before the deadline for commenting on the disapproval even expired, the EPA

 unveiled its proposed FIP. Federal Implementation Plan Addressing Regional Ozone

 Transport, 87 Fed. Reg. 20036 (Apr. 6, 2022).


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       In February 2023, the EPA finalized disapproval of the States’ SIPs. Air Plan

 Disapprovals, 88 Fed. Reg. 9336 (Feb. 13, 2023). And on June 5, it finalized the FIP.

 FIP, 88 Fed. Reg. 36654. The FIP is slated to take effect on August 4, 2023. Id. at

 36654.

       The finalized FIP is aggressive. It imposes emissions reductions on several

 new industrial stationary sources (referred to as “non-Electric Generating Units” or

 “non-EGUs”) for the first time in connection with the Act’s good-neighbor provi-

 sion. See id. at 36654; id. at 36681. The FIP also permits power plants within the

 States to participate in an overhauled cap-and-trade program, but imposes

 “enhancements” that reduce flexibility and create costly compliance challenges. See

 id. at 36762–70. Specifically, the FIP shrinks the tradeable allowance bank by remov-

 ing “surplus … allowances” that “diminish[] the intended stringency” of the

 program. Id. at 36767. Future allowances will be so hard to come by that sources

 may be forced to choose between steep penalties, changing their operations, or shut-

 ting down.

       3. After the EPA proposed to deny their SIPs, the States pointed out several

 flaws in the EPA’s decisionmaking. For example, the EPA analyzed the SIPs using

 updated air-quality modeling to project design values and contributions for 2023 that

 were not available when the States made their submissions. See Proposed IN & OH


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 SIP Denial, 87 Fed. Reg. at 9840–41. The EPA also faulted the States for using the

 1 ppb significant-contribution threshold that “the August 2018 memorandum”

 stated would “be reasonable and appropriate for states to rely on” to craft their SIPs.

 Id. at 9843 (quotation marks omitted). It accused the States of “not provid[ing]

 sufficient information and analysis to support a determination that” this threshold

 “was reasonable or appropriate for that state.” Id.

       4. After the final SIP denial, but before the FIP became final, several States

 challenged the SIP denials. The Fifth Circuit stayed the SIP denials with respect to

 Louisiana, Mississippi, and Texas pending judicial review on the merits. Order,

 Texas v. EPA, No. 23-60069 (5th Cir. May 1, 2023); Order, Texas v. EPA, No. 23-

 60069 (5th Cir. June 8, 2023). The Eighth Circuit stayed the SIP denial as to

 Arkansas and Missouri pending judicial review on the merits. Order, Arkansas v.

 EPA, No. 23-1320 (8th Cir. May 25, 2023); Order, Missouri v. EPA, No. 23-1719 (8th

 Cir. May 26, 2023); Order, Union Electric Co. v. EPA, No. 23-1751 (8th Cir. May 26,

 2023). And the Sixth Circuit administratively stayed the SIP denial as to Kentucky

 pending review of Kentucky’s stay motion. Order, Kentucky v. EPA, No. 23-3216

 (6th Cir. May 31, 2023). Because the EPA’s authority to establish the FIP in those

 States is triggered by the EPA’s disapproval of their SIPs, the FIP is no longer appli-

 cable in the States that won these stays.


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        5. Recently, in light of these judicially imposed stays, the EPA issued an in-

 terim rule staying the application of the FIP requirements for Arkansas, Kentucky,

 Louisiana, Mississippi, Missouri, and Texas. See Federal “Good Neighbor Plan” for

 the 2015 Ozone National Ambient Air Quality Standards; Response to Judicial Stays of

 SIP Disapproval Action for Certain States, EPA-HQ-OAR-2021-0668 (June 29, 2023),

 https://perma.cc/432F-CRFE (“Interim Rule”). This interim rule leaves in place

 affected States’ pre-existing emissions-reduction requirements with respect to the

 2008 or 1997 ozone NAAQS.

                                    ARGUMENT

        Whether the States are entitled to a stay depends on the following factors: (1)

 the States’ likelihood of success on the merits; (2) whether they will suffer

 irreparable harm absent a stay; (3) the balance of the equities; and (4) the public

 interest. See Nken v. Holder, 556 U.S. 418, 434 (2009). The first two factors are “the

 most critical,” and the last two factors merge here. Id. at 434–35. The States can

 satisfy all four.

 I.     The States are likely to prevail on the merits.

        Likelihood of success on the merits is the “key issue—often the dispositive

 one—” when a party seeks preliminary relief. Greater New Orleans Fair Hous. Action

 Ctr. v. HUD, 639 F.3d 1078, 1083 (D.C. Cir. 2011). The States are likely to prevail


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 on the merits under the Administrative Procedure Act, because the FIP is “arbitrary,

 capricious, an abuse of discretion, or otherwise not in accordance with law.”

 5 U.S.C. §706(2)(A).

        A.    The FIP embodies federal coercion, not cooperative federalism.

        Congress gave the States “primary responsibility for assuring air quality.”

 §7407(a).     The EPA’s “overarching role is in setting standards, not in

 implementation.” Michigan, 268 F.3d at 1083. But here, the EPA circumvented the

 Act’s cooperative-federalism structure; it seized from the States the power to imple-

 ment the Act by ensuring that States are bound by either the FIP or a revised SIP

 that mirrors the FIP. Having left the States with no “real choice with regard to the

 control measure options available to them,” the EPA has impermissibly intruded on

 the States’ right to fashion their SIPs. Michigan v. EPA, 213 F.3d 663, 687 (D.C. Cir.

 2000). By “commandeer[ing] the regulatory powers of the states,” District of

 Columbia v. Train, 521 F.2d 971, 992 (D.C. Cir. 1975), vacated on other grounds, EPA

 v. Brown, 431 U.S. 99 (1977), the EPA violated the Act. See Michigan, 213 F.3d at

 687.

        To see the problem, recall the events that led to this suit. First, the EPA issued

 guidance documents with modeling and instructions to assist the States in crafting

 SIPs. The Agency then worked closely with the States to formulate compliant SIPs.


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 See Crowder Decl. (Ex.3) ¶¶14–15. After the States submitted their SIPs, the EPA

 never indicated that the submissions had serious problems. Instead, the EPA sat on

 those submissions for years, past the statutory deadline in which to act.

 §7410(k)(1)(B), (k)(2). Then, almost two years after the EPA should have acted, it

 reneged on its prior guidance and proposed to disapprove the submissions—in part

 for having relied on that guidance. See, e.g., Proposed IN & OH SIP Disapproval, 87

 Fed. Reg. at 9846. What is more, the EPA denied the SIPs in part based on modelling

 and data that was unavailable when the States submitted their SIPs. FIP, 88 Fed.

 Reg. at 36672. Almost simultaneously, the EPA promulgated the FIP. It did so even

 though the two-year clock for promulgating a FIP begins to run only after the EPA

 disapproves a SIP. §7410(c)(1)(B). And it did so notwithstanding the States’ right to

 “correct[] the deficienc[ies]” in their SIPs. §7410(c)(1)(B).

       All of this creates an unmistakable inference that the EPA had little interest in

 allowing the States—at least, certain disfavored States—to design their own SIPs.

 The agency wanted to foist the FIP’s requirements upon them.

       Further demonstrating the EPA’s effort to circumvent the State’s primary

 role in air regulation, the EPA left States with no way to avoid the FIP. The EPA

 acts lawfully when it issues a FIP that announces “a permissible end goal,” allowing

 “the covered states real choice with regard to the control measure options available


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 to them to meet the budget requirements.” Michigan, 213 F.3d at 686–87. But this

 FIP goes much further, overhauling the trading program that this Court permitted

 in Michigan, limiting the States’ implementation discretion. See id. As an example,

 for sources within each State, the FIP severely hinders their ability to “purchase NOx

 ‘allowances’ from sources that have elected to over-control.” Id. at 686; see FIP, 88

 Fed. Reg. at 36767–70. It also limits sources’ ability “to use ‘banked’ allowances …

 to comply with emissions limits.” Michigan, 213 F.3d at 686; see also FIP, 88 Fed.

 Reg. at 36766–67; Hodanbosi Decl. (Ex.2) ¶¶14–15.

       While States have a formal right to submit revised SIPs, revised SIPs that

 meaningfully diverge from the FIP are doomed to be denied. The EPA says it “does

 not anticipate revisiting” some of the findings relevant to the emissions-reductions

 framework. FIP, 88 Fed. Reg. at 36839. The agency also concluded that only certain

 emissions controls are possible for the 2023 ozone season, meaning States have no

 option to go their own way. See id. at 36720. And the theoretical potential that a

 State could craft an approvable SIP different from the FIP is cold comfort given the

 EPA’s “anticipat[ion] that states seeking to replace the FIP with a SIP that takes an

 alternative approach would need to establish, at a minimum, an equivalent level of

 emissions reduction to what the FIP requires.” Id. at 36839. The EPA asserts, for

 example, that “[t]he most straightforward method” for submitting a presumptively


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 approvable SIP revision to replace the non-EGU portion of the FIPs is to provide a

 SIP that looks much like the FIP. See id. at 36842. The EPA may not “condition

 approval of a state’s implementation plan on the state’s adoption of a particular

 control measure.” Virginia v. EPA, 108 F.3d 1397, 1415 (D.C. Cir. 1997). That is

 precisely what it has done.

       All told, the EPA acted contrary to law. No doubt, the agency has discretion

 in fulfilling its statutory duty to promulgate FIPs. Homer, 572 U.S. at 507–10. But it

 may not exercise that discretion in ways that contradict the Clean Air Act. Here, it

 has. The EPA seized the States’ “primary responsibility for assuring air quality

 within” their borders. §7407(a). It shelved the States’ SIPs while it worked out a

 plan for top-down regulation. The agency then promulgated that plan immediately

 after it proposed denying the States’ SIPs without warning—years after the statutory

 deadline to act and without any opportunity for the States to first address complaints

 about that predicate decision. And while the FIP’s reticulated-control scheme

 hampers the States’ discretion, the EPA has made clear that only revised SIPs that

 effectively mirror the FIP will be approved. The EPA’s maneuvering to leave the

 States with no “real choice” but to accept the FIP or a materially identical SIP is

 contrary to the Act’s cooperative framework. Michigan, 213 F.3d at 687.




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       B.     Exempting some States from the FIP while enforcing it on others is
              arbitrary and capricious.

       To survive arbitrary-and-capricious review, an agency must “set forth its

 reasons for decision.” Amerijet Int’l Inc. v. Pistole, 753 F.3d 1343, 1350 (D.C. Cir.

 2014) (quotation marks omitted). “[C]onclusory statements will not do.” Id.

 Agencies must also provide “a rational connection between the facts found and the

 choice made.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.

 Co., 463 U.S. 29, 43 (1983) (quotation marks omitted).

       The EPA’s recent decision to exempt six States from the FIP, see Interim Rule

 at 1, leaves little doubt that the FIP is arbitrary and capricious. Begin with some

 background. The FIP’s required emissions reductions for each State are based, in

 part, on the “combined effect of the entire program across all linked upwind states”

 88 Fed. Reg. at 36749 (emphasis added); see id. at 36719. The FIP’s emissions-con-

 trol strategy is supposed to be “an efficient and equitable solution to the problem of

 allocating upwind-state responsibility for the elimination of significant contribution”

 when applied “on a uniform basis across all linked upwind states.” Id. at 36741.

       At this point, imposing the FIP on the remaining non-exempted States has no

 rational connection to the FIP’s goals. With these six States out of the picture for

 the foreseeable future, the EPA cannot claim that imposing the current FIP on the



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 remaining States is either “an efficient” or an “equitable” solution to improving air

 quality in downwind States. The FIP’s logic no longer holds up.

       To further highlight the problem, consider that the EPA’s model depended

 on “a uniform level of emissions reduction that the covered sources in the linked

 upwind states can achieve.” Id. at 36676. The FIP was thus designed to collectively

 apportion responsibility for downwind NAAQS violations among the upwind States.

 By its own terms, the underlying model was based on a “uniform” imposition of

 emissions controls to all the States concerned, including the now-exempted ones. Id.

 at 36719, 36677. After the EPA exempted six States from the FIP, see Interim Rule at

 1, that connection between the modelling and the conclusion dissolved.

       What is more, the FIP can no longer accomplish its purpose. Imposing the

 FIP on the remaining States will not significantly improve air-quality improvements

 in downwind receptors—certainly, the EPA can no longer show that the FIP will

 generate “meaningful,” cost-justified improvements. 88 Fed. Reg. at 36659; see also

 §7410(a)(2)(D). By the EPA’s own admission, upwind States’ contribution to pol-

 lution in downwind States will “substantial[ly] decrease” only when upwind states

 “collectively” participate in the emissions-reduction program. See id. at 36683. The

 data confirms that. Under the FIP, about 65% of the emission reductions from EGUs

 and about 46% of emissions reductions from non-EGUs are attributable to the States


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 that are now exempted from the FIP. See EPA, Good Neighbor Plan for 2015 Ozone

 NAAQS (last updated June 30, 2023), computed from data maps available here https:

 //www.epa.gov/csapr/good-neighbor-plan-2015-ozone-naaqs.          Having exempted

 the six States, the FIP will not come close to causing the meaningful reduction of

 emissions at which it was originally aimed; now, it will reduce only 35% of the emis-

 sions from the EGUs, and about half of those from the non-EGUs, relative to what

 the original FIP anticipated.

       Even if the FIP were lawful before the EPA issued its interim rule, the FIP is

 now arbitrary and capricious.

       C.       The FIP arbitrarily covers never-before-regulated industries.

       In addition to regulating EGU emissions, the FIP also requires the States to

 enforce emissions limitations on certain non-EGU industries, like cement

 production and natural gas transport pipelines. 88 Fed. Reg. at 36657–59. This is

 the EPA’s first effort to impose specific emissions limits on non-EGUs under the

 good-neighbor provision. But this targeted expansion is arbitrary and capricious for

 two reasons.

       First, the EPA failed to “provide [a] reasoned explanation” for “undoing or

 revising” its previous decision not to regulate non-EGU sources. See FCC v. Fox

 Television Stations, Inc., 556 U.S. 502, 515 (2009). The FIP targets nine non-EGU


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 industries for regulation because they “emit >100 tpy of NOx.” See EPA, Screening

 Assessment of Potential Emissions Reductions, Air Quality Impacts, and Costs from Non-

 EGU Emissions Units for 2026 2–3 (Feb. 28, 2022), https://perma.cc/N8JN-UDF8

 (“Non-EGU Memorandum”). As an initial matter, the EPA has not adequately

 explained how or why it chose that threshold. See id. at 3. A “conclusory and

 unexplained statement is not the ‘reasoned’ explanation required by the APA.”

 Envt’l Health Trust v. FCC, 9 F.4th 893, 909 (D.C. Cir. 2021).

       Second, the FIP treats similarly situated entities differently without “reasoned

 explanation” or support from “substantial evidence in the record.” Lilliputian Sys.,

 Inc. v. Pipeline & Hazardous Materials Safety Admin., 741 F.3d 1309, 1313 (D.C. Cir.

 2014) (quotation marks omitted). The FIP fails to treat all sources emitting >100 tpy

 NOx the same, and it does not explain this disparate treatment. While singling out

 nine non-EGU industries for regulation, the EPA excludes other sources that also

 emit >100 tpy because those sources are allegedly “well-controlled.” Non-EGU

 Memo. at 3. But the agency never defines “well-controlled,” explains why “well-

 controlled” sources cannot have their emissions reduced in a cost-effective manner

 that would achieve the FIP’s purported goals, or supports either conclusion with

 evidence. Id. The EPA’s failure to explain refusing to regulate sources with sub-

 stantial emissions (even if <100 tpy) that might be entirely uncontrolled, and


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 therefore easy targets for cost-effective reductions, is also arbitrary. See State Farm,

 463 U.S. at 43.

       In sum, several sources emit >100 tpy NOx. The EPA has chosen to regulate

 some but not others without explaining why. The “duty to explain inconsistent

 treatment is incumbent on the agency.” Balt. Gas & Elec. Co. v. FERC, 954 F.3d 279,

 285 (D.C. Cir. 2020); see also ANR Storage Co. v. FERC, 904 F.3d 1020, 1025–26

 (D.C. Cir. 2018). The EPA breached that duty.

       D.     The FIP arbitrarily imposes significant burdens on upwind States.

       The FIP also impermissibly chooses winners and losers among the States.

 This interference with the States’ relationships with each other far exceeds

 Congress’s statutory command. The Act requires that SIPs contain “adequate

 provisions” to prohibit emissions that would “contribute significantly” to another

 States’ compliance with the NAAQS. §7410(a)(2)(D)(i)(I). That is, “[e]ach State

 must eliminate its own significant contribution to downwind pollution.” North

 Carolina, 531 F.3d at 921. Importantly, States do not need to subsidize emissions

 reductions in other States.

       Yet the FIP implicitly requires some States to subsidize others’ emissions re-

 ductions. Consider, for example, Ohio’s, Indiana’s, and West Virginia’s largest

 contributions to downwind nonattainment receptors of four States in 2023—2.05


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 ppb for Ohio, 8.90 ppb for Indiana, and 1.37 ppb for West Virginia. 88 Fed. Reg. at

 36710. New York contributes almost eight times the downwind contribution of Ohio.

 See id. It causes more than eleven times the downwind contribution of West Virginia,

 and almost double that of Indiana. See id. For each State to be responsible for its

 own emissions, any plan should impose much tighter restrictions on New York as

 compared to Ohio, Indiana, or West Virginia.

       Yet the FIP imposes draconian cuts on Ohio, Indiana, and West Virginia

 emissions while allowing New York to make few changes. To meet its obligations,

 Ohio will have to reduce its 2022 emissions by almost 19% before the end of 2024.

 Id. at 36906. Then, by the end of 2029, Ohio will have to bear a 34.42% reduction in

 its emissions. Id. at 36906–07. In that same 2022 to 2029 timeframe, West Virginia

 must cut nearly 25% of its 2022 emissions. Id. at 36907. And Indiana must cut nearly

 54% of its 2022 emissions by 2029. What about New York? The FIP imposes a net

 reduction of just 0.8% on New York emissions between now and 2029. Id. at 36906–

 07. Curiously, New York’s 2024 allotment is over 14% higher than its 2022

 emissions. Id. at 36906. The EPA is thus unlawfully using the Act to require that

 Ohio and West Virginia (for example) subsidize States like New York. Even if the

 EPA considered varying costs between States, see id. at 36660, the Act does not give

 the EPA authority to saddle certain States with such drastically steep reductions so


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 that others can retain what is effectively the status quo. And that matters for present

 purposes, because an agency action is arbitrary and capricious if “the agency relied

 on factors which Congress did not intend it to consider.” Am. Postal Workers Union,

 AFL-CIO v. Postal Reg. Comm’n, 842 F.3d 711, 717 (D.C. Cir. 2016).

       The FIP’s effects on the economies of the States it targets are devastating and

 inequitable. The FIP reports that it will cost $910 million each year. 88 Fed. Reg. at

 36666. And it has a multi-year compliance cost of $14 billion in present value using

 a standard 3% discount rate. Id. This is a steep economic burden for twenty-three

 States to bear—especially since the EPA’s estimate is likely rosier than reality will

 be. See Hodanbosi Decl. ¶¶19, 22–24; Lane Decl. (Ex.4) ¶¶5, 7–22; Crowder Decl.

 ¶¶40–44, 23–24; Farah Decl. (Ex.5) ¶¶10–15. Nothing in the Clean Air Act speaks

 with the sort of exceedingly clear language that would authorize the EPA to impose

 such massive, politically significant costs on States that have been inequitably singled

 out. West Virginia v. EPA, 142 S. Ct. 2587, 2608–09 (2022). In fact, even Congress

 must justify any “departure from the fundamental principle of equal sovereignty of

 the States.” Shelby County v. Holder, 570 U.S. 529, 543 (2013); see also Nat’l Pork

 Producers Council v. Ross, 143 S. Ct. 1142, 1164 (2023) (op. of Gorsuch, J.). The

 EPA’s failure to explain any such departure is arbitrary and capricious.




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 II.   The States will suffer irreparable harm absent a stay.

       Without a stay, the States will sustain irreparable injury.

       First, the FIP impedes the States’ sovereignty by elevating the EPA to the role

 of primary regulator, “disrupt[ing] the system of cooperative federalism enshrined

 in the Clean Air Act.” Texas, 829 F.3d at 433 (citing Michigan, 268 F.3d at 1083). A

 stay will protect the States’ sovereignty from unlawful infringement while the Court

 decides this case on the merits.

       The FIP will have devastating economic impacts on the petitioner States. It

 will severely reduce the States’ electricity-generation capacity and thus destabilize

 the States’ power grids. See, e.g., Hodanbosi Decl. ¶¶7–15; Lane Decl. ¶¶5–14, 17–

 19, 22; Farah Decl. ¶¶10–15; PJM Interconnection, Energy Transition in PJM: Re-

 source Retirements, Replacements & Risk (Feb. 24, 2023), https://perma.cc/NTN8-

 KK6K. Indeed, an electric-grid emergency of the sort the States warn of has already

 to come to pass. Hodanbosi Decl. ¶13 and Exhibit A. In December 2022, PJM noti-

 fied the United States Department of Energy that impending cold weather would

 threaten the electric grid PJM operates and potentially cause a shortage of electricity.

 Id. The Department responded by issuing an Emergency Order that temporarily

 suspended pollution-emissions regulations and capacity limits on power sources. Id.

 More of these incidents will occur if this FIP goes into effect, potentially leaving the


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 States’ citizens unable to heat or cool their homes affordably, if at all. See, e.g., Lane

 Decl. ¶¶5, 7–22; Farah Decl. ¶¶10–15. And the States themselves will suffer too—

 their operations, like those of their citizens, require energy.

        The FIP will also impose significant compliance costs on the States and their

 industries. See, e.g., Hodanbosi Decl. ¶¶14–15, 22–25; see Lane Decl. ¶¶5, 7–22;

 Crowder Decl. ¶¶40–44; Farah Decl. ¶¶12–15. Excessive compliance burdens will

 divert the States’ resources away from other infrastructure projects—such as new

 and expanding power facilities—that are critical to the States’ infrastructure devel-

 opment and thus public welfare. See, e.g., Crowder Decl. ¶¶40–44.

        Because the threatened losses are unrecoverable against the federal

 government, they qualify as irreparable harms. See Everglades Harvesting & Hauling,

 Inc. v. Scalia, 427 F. Supp. 3d 101, 115 (D.D.C. 2019); see also Commonwealth v. Biden,

 57 F.4th 545, 556 (6th Cir. 2023).

 III.   The remaining factors favor a stay.

        The EPA faces no harm if the FIP is stayed pending review. If time really were

 of the essence, the EPA would not have taken nearly five years to disapprove the

 States’ SIPs and impose a FIP. Even if there were deficiencies in the States’ SIP

 proposals, the Act gives the EPA two years to work with them to correct the

 deficiencies before a FIP must be issued. So the EPA’s rush to promulgate the FIP


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 shortly after denying the States’ SIPs was unnecessary. What is more, the EPA’s

 forbearance on applying the FIP to six States, see Interim Rule at 1, confirms that a

 pause will not harm the EPA or the country at large.

        As for the final stay factor, the “public interest lies in a correct application of

 the law.” Biden, 57 F.4th at 556 (quotation marks omitted). Again, the EPA’s im-

 position of the FIP was unlawful and arbitrary and capricious. Further, the public

 has a strong interest in reliable electricity. Sources “provide power to … homes,

 farms, businesses and industries. If [a source’s] ability to do so is imperiled, so may

 be its ability to fulfill its mission to the public.” Hoosier Energy Rural Elec. Coop., Inc.

 v. John Hancock Life Ins. Co., 588 F. Supp. 2d 919, 934 (S.D. Ind. 2008). “[A] steady

 supply of electricity during the summer months, especially in the form of air condi-

 tioning to the elderly, hospitals and day care centers, is critical.” Sierra Club v. Ga.

 Power Co., 180 F.3d 1309, 1311 (11th Cir. 1999) (per curiam). Staying a rule that

 threatens grid reliability thus serves the public interest.

                                     CONCLUSION

        The Court should stay implementation of the FIP and enter an administrative

 stay pending resolution of this motion.




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  Dated: July 19, 2023                          Respectfully submitted,

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                                                Ohio Attorney General

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                       CERTIFICATE OF COMPLIANCE

       Pursuant to Fed R. App. P. 32(f) and (g), I hereby certify that the foregoing

 complies with Fed. R. App. P. 27(d)(2)(A) because it contains 5,024 words, exclud-

 ing exempted portions, according to the count of Microsoft Word.


       I further certify that the motion complies with Fed. R. App. P. 27(d)(1)(E),

 32(a)(5) and (6) because it has been prepared in 14-point Equity Font.


                                              /s/ Mathura J. Sridharan
                                              MATHURA J. SRIDHARAN
                                              Counsel for State of Ohio




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                          CERTIFICATE OF SERVICE

       I hereby certify that on July 19, 2023, I caused the foregoing to be electrically

 filed with the Clerk of the Court by using the Court’s CM/ECF system. All

 registered counsel will be served by the Court’s CM/ECF system.

                                               /s/ Mathura J. Sridharan
                                               MATHURA J. SRIDHARAN
                                               Counsel for State of Ohio




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                               EXHIBIT 1
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                                                 ENVIRONMENTAL PROTECTION                                information is not publicly available,                 CoST Control Strategy Tool
                                                 AGENCY                                                  e.g., Confidential Business Information                CPT Cost Per Ton
                                                                                                         or other information whose disclosure is               CRA Congressional Review Act
                                                 40 CFR Parts 52, 75, 78, and 97                         restricted by statute. Certain other                   CSAPR Cross-State Air Pollution Rule
                                                                                                                                                                DAHS Data Acquisition and Handling
                                                 [EPA–HQ–OAR–2021–0668; FRL–8670–02–                     material, such as copyrighted material,                  System
                                                 OAR]                                                    will be publicly available only in hard                DOE Department of Energy
                                                                                                         copy. Publicly available docket                        EAF Electric Arc Furnace
                                                 RIN 2060–AV51                                           materials are available either                         EGU Electric Generating Unit
                                                                                                         electronically at https://                             EIA U.S. Energy Information Agency
                                                 Federal ‘‘Good Neighbor Plan’’ for the
                                                                                                         www.regulations.gov or in hard copy at                 EIS Emissions Inventory System
                                                 2015 Ozone National Ambient Air                                                                                EISA Energy Independence and Security
                                                                                                         the U.S. Environmental Protection
                                                 Quality Standards                                                                                                Act
                                                                                                         Agency, EPA Docket Center, William
                                                 AGENCY:  Environmental Protection                       Jefferson Clinton West Building, Room                  ELG Effluent Limitation Guidelines
                                                 Agency (EPA).                                           3334, 1301 Constitution Ave. NW,                       E.O. Executive Order
                                                                                                                                                                EPA or the Agency United States
                                                 ACTION: Final rule.                                     Washington, DC. The Public Reading
                                                                                                                                                                  Environmental Protection Agency
                                                                                                         Room is open from 8:30 a.m. to 4:30                    ERT Electronic Reporting Tool
                                                 SUMMARY:   This action finalizes Federal                p.m., Monday through Friday, excluding                 FERC Federal Energy Regulatory
                                                 Implementation Plan (FIP) requirements                  legal holidays. The telephone number                     Commission
                                                 to address 23 states’ obligations to                    for the Public Reading Room is (202)                   FFS Findings of Failure to Submit
                                                 eliminate significant contribution to                   566–1744, and the telephone number for                 FIP Federal Implementation Plan
                                                 nonattainment, or interference with                     the Office of Air and Radiation Docket                 GIS Geographic Information System
                                                 maintenance, of the 2015 ozone                          is (202) 566–1742.                                     g/hp-hr grams per horsepower per hour
                                                 National Ambient Air Quality Standards                                                                         HDGHG Greenhouse Gas Emissions and
                                                                                                         FOR FURTHER INFORMATION CONTACT: Ms.
                                                 (NAAQS) in other states. The U.S.                                                                                Fuel Efficiency Standards for Medium- and
                                                                                                         Elizabeth Selbst, Air Quality Policy                     Heavy-Duty Engines and Vehicles
                                                 Environmental Protection Agency (EPA)                   Division, Office of Air Quality Planning               HEDD High Electricity Demand Days
                                                 is taking this action under the ‘‘good                  and Standards (C539–01),                               ICI Industrial, Commercial, and
                                                 neighbor’’ or ‘‘interstate transport’’                  Environmental Protection Agency, 109                     Institutional
                                                 provision of the Clean Air Act (CAA or                  TW Alexander Drive, Research Triangle                  I/M Inspection and Maintenance
                                                 Act). The Agency is defining the amount                 Park, NC 27711; telephone number:                      IPM Integrated Planning Model
                                                 of ozone-precursor emissions                            (312) 886–4746; email address:                         IRA Inflation Reduction Act
                                                 (specifically, nitrogen oxides) that                    selbst.elizabeth@epa.gov.                              LAER Lowest Achievable Emission Rate
                                                 constitute significant contribution to                                                                         LDC Local Distribution Company
                                                                                                         SUPPLEMENTARY INFORMATION:
                                                 nonattainment and interference with                                                                            LME Low Mass Emissions
                                                 maintenance from these 23 states. With                  Preamble Glossary of Terms and                         LNB Low-NOX Burners
                                                 respect to fossil fuel-fired power plants               Abbreviations                                          MATS Mercury and Air Toxics Standards
                                                 in 22 states, this action will prohibit                                                                        MCM Menu of Control Measures
                                                                                                           The following are abbreviations of                   MDA8 Maximum Daily Average 8-Hour
                                                 those emissions by implementing an                      terms used in the preamble.                            MJO Multi-Jurisdictional Organization
                                                 allowance-based trading program                                                                                MOU Memorandum of Understanding
                                                 beginning in the 2023 ozone season.                     2016v1 2016 Version 1 Emissions Modeling
                                                                                                           Platform                                             MOVES Motor Vehicle Emissions Simulator
                                                 With respect to certain other industrial                2016v2 2016 Version 2 Emissions Modeling               MSAT2 Mobile Source Air Toxics Rule
                                                 stationary sources in 20 states, this                     Platform                                             MWC Municipal Waste Combustor
                                                 action will prohibit those emissions                    4-Step Framework 4-Step Interstate                     NAAQS National Ambient Air Quality
                                                 through emissions limitations and                         Transport Framework                                    Standards
                                                 associated requirements beginning in                    ABC Associated Builders and Contractors                NACAA National Association of Clean Air
                                                 the 2026 ozone season. These industrial                 ACS American Community Survey                            Agencies
                                                 source types are: reciprocating internal                ACT Alternative Control Techniques                     NAICS North American Industry
                                                                                                         AEO Annual Energy Outlook                                Classification System
                                                 combustion engines in Pipeline                                                                                 NEEDS National Electric Energy Data
                                                 Transportation of Natural Gas; kilns in                 AQAT Air Quality Assessment Tool
                                                                                                         AQS Air Quality System                                   System
                                                 Cement and Cement Product                               BACT Best Available Control Technology                 NEI National Emissions Inventory
                                                 Manufacturing; reheat furnaces in Iron                  BART Best Available Retrofit Technology                NERC North American Electric Reliability
                                                 and Steel Mills and Ferroalloy                          BOF Basic Oxygen Furnace                                 Corporation
                                                 Manufacturing; furnaces in Glass and                    BPT Benefit Per Ton                                    NESHAP National Emissions Standards for
                                                 Glass Product Manufacturing; boilers in                 C1C2 Category 1 and Category 2                           Hazardous Air Pollutants
                                                 Iron and Steel Mills and Ferroalloy                     C3 Category 3                                          NMB Normalized Mean Bias
                                                 Manufacturing, Metal Ore Mining, Basic                  CAA or Act Clean Air Act                               NME Normalized Mean Error
                                                 Chemical Manufacturing, Petroleum and                   CAIR Clean Air Interstate Rule                         No SISNOSE No Significant Economic
                                                                                                         CBI Confidential Business Information                    Impact on a Substantial Number of Small
                                                 Coal Products Manufacturing, and Pulp,                                                                           Entities
                                                                                                         CCR Coal Combustion Residual
                                                 Paper, and Paperboard Mills; and                        CDC Centers for Disease Control and                    Non-EGU Non-Electric Generating Unit
                                                 combustors and incinerators in Solid                      Prevention                                           NODA Notice of Data Availability
                                                 Waste Combustors and Incinerators.                      CDX Central Data Exchange                              NOX Nitrogen Oxides
                                                 DATES: This final rule is effective on                  CEDRI Compliance and Emissions Data                    NREL National Renewable Energy Lab
ddrumheller on DSK120RN23PROD with RULES2




                                                 August 4, 2023.                                           Reporting Interface                                  NSCR Non-Selective Catalytic Reduction
                                                                                                         CEMS Continuous Emissions Monitoring                   NSPS New Source Performance Standard
                                                 ADDRESSES: The EPA has established a
                                                                                                           Systems                                              NSR New Source Review
                                                 docket for this rulemaking under Docket                 CES Clean Energy Standards                             NTTAA National Technology Transfer and
                                                 ID No. EPA–HQ–OAR–2021–0668. All                        CFB Circulating Fluidized Bed Units                      Advancement Act
                                                 documents in the docket are listed in                   CHP Combined Heat and Power                            OFA Over-Fire Air
                                                 the https://www.regulations.gov index.                  CMDB Control Measures Database                         OMB United States Office of Management
                                                 Although listed in the index, some                      CMV Commercial Marine Vehicle                            and Budget



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                                                 OSAT/APCA Ozone Source Apportionment                      a. Step 1 Approach                                     e. Installing New SCRs
                                                   Technology/Anthropogenic Precursor                      b. Step 2 Approach                                     f. Generation Shifting
                                                   Culpability Analysis                                    c. Step 3 Approach                                     g. Other EGU Mitigation Measures
                                                 OTC Ozone Transport Commission                            d. Step 4 Approach                                     2. Non-EGU or Stationary Industrial Source
                                                 OTR Ozone Transport Region                                2. FIP Authority for Each State Covered by                NOX Mitigation Strategies
                                                 OTSA Oklahoma Tribal Statistical Area                        the Rule                                            3. Other Stationary Sources NOX
                                                 PDF Portable Document Format                              C. Other CAA Authorities for This Action                  Mitigation Strategies
                                                 PEMS Predictive Emissions Monitoring                      1. Withdrawal of Proposed Error Correction             a. Municipal Solid Waste Units
                                                   Systems                                                    for Delaware                                        b. Electric Generating Units Less Than or
                                                 PM2.5 Fine Particulate Matter                             2. Application of Rule in Indian Country                  Equal to 25 MW
                                                 ppb parts per billion                                        and Necessary or Appropriate Finding                c. Cogeneration Units
                                                 ppm parts per million                                     a. Indian Country Subject to Tribal                    4. Mobile Source NOX Mitigation Strategies
                                                 ppmv parts per million by volume                             Jurisdiction                                        C. Control Stringencies Represented by
                                                 ppmvd parts per million by volume, dry                    b. Indian Country Subject to State                        Cost Threshold ($ per ton) and
                                                 PRA Paperwork Reduction Act                                  Implementation Planning Authority                      Corresponding Emissions Reductions
                                                 PSD Prevention of Significant Deterioration               D. Severability                                        1. EGU Emissions Reduction Potential by
                                                 PTE Potential to Emit                                   IV. Analyzing Downwind Air Quality                          Cost Threshold
                                                 RACT Reasonably Available Control                            Problems and Contributions From                     2. Non-EGU or Industrial Source Emissions
                                                   Technology                                                 Upwind States                                          Reduction Potential
                                                 RATA Relative Accuracy Test Audit                         A. Selection of Analytic Years for                     D. Assessing Cost, EGU and Industrial
                                                 RCF Relative Contribution Factor                             Evaluating Ozone Transport                             Source NOX Reductions, and Air Quality
                                                 RFA Regulatory Flexibility Act                               Contributions to Downwind Air Quality               1. EGU Assessment
                                                 RICE Reciprocating Internal Combustion                       Problems                                            2. Stationary Industrial Sources
                                                   Engines                                                 B. Overview of Air Quality Modeling                       Assessment
                                                 ROP Rate of Progress                                         Platform                                            3. Combined EGU and Non-EGU
                                                 RPS Renewable Portfolio Standards                         C. Emissions Inventories                                  Assessment
                                                 RRF Relative Response Factor                              1. Foundation Emissions Inventory Data                 4. Over-Control Analysis
                                                 RTC Response to Comments                                     Sets                                              VI. Implementation of Emissions Reductions
                                                 RTO Regional Transmission Organization                    2. Development of Emissions Inventories                A. NOX Reduction Implementation
                                                 SAFETEA Safe, Accountable, Flexible,                         for EGUs                                               Schedule
                                                   Efficient, Transportation Equity Act                    a. EGU Emissions Inventories Supporting                1. 2023–2025: EGU NOX Reductions
                                                 SCC Source Classification Code
                                                                                                              This Rule                                              Beginning in 2023
                                                 SCR Selective Catalytic Reduction
                                                                                                           b. Impact of the Inflation Reduction Act on            2. 2026 and Later Years: EGU and
                                                 SIL Significant Impact Level
                                                                                                              EGU Emissions                                          Stationary Industrial Source NOX
                                                 SIP State Implementation Plan
                                                                                                           3. Development of Emissions Inventories                   Reductions Beginning in 2026
                                                 SMOKE Sparse Matrix Operator Kernel
                                                   Emissions                                                  for Stationary Industrial Point Sources             a. EGU Schedule for 2026 and Later Years
                                                 SNCR Selective Non-Catalytic Reduction                    4. Development of Emissions Inventories                b. Non-EGU or Industrial Source Schedule
                                                 SO2 Sulfur Dioxide                                           for Onroad Mobile Sources                              for 2026 and Later Years
                                                 tpd ton per day                                           5. Development of Emissions Inventories                B. Regulatory Requirements for EGUs
                                                 TAS Treatment as State                                       for Commercial Marine Vessels                       1. Trading Program Background and
                                                 TSD Technical Support Document                            6. Development of Emissions Inventories                   Overview of Revisions
                                                 UMRA Unfunded Mandates Reform Act                            for Other Nonroad Mobile Sources                    a. Current CSAPR Trading Program Design
                                                 VMT Vehicle Miles Traveled                                7. Development of Emissions Inventories                   Elements and Identified Concerns
                                                 VOCs Volatile Organic Compounds                              for Nonpoint Sources                                b. Enhancements To Maintain Selected
                                                 WRAP Western Regional Air Partnership                     D. Air Quality Modeling To Identify                       Control Stringency Over Time
                                                 WRF Weather Research and Forecasting                         Nonattainment and Maintenance                       i. Revised Emissions Budget-Setting
                                                                                                              Receptors                                              Process
                                                 Table of Contents                                         E. Methodology for Projecting Future Year              ii. Allowance Bank Recalibration
                                                 I. Executive Summary                                         Ozone Design Values                                 c. Enhancements To Improve Emissions
                                                    A. Purpose of the Regulatory Action                    F. Pollutant Transport From Upwind States                 Performance at Individual Units
                                                    1. Emissions Limitations for EGUs                      1. Air Quality Modeling To Quantify                    i. Unit-Specific Backstop Daily Emissions
                                                       Established by the Final Rule                          Upwind State Ozone Contributions                       Rates
                                                    2. Emissions Limitations for Industrial                2. Application of Ozone Contribution                   ii. Unit-Specific Emissions Limitations
                                                       Stationary Point Sources Established by                Screening Threshold                                    Contingent on Assurance Level
                                                       the Final Rule                                      a. States That Contribute Below the                       Exceedances
                                                    B. Summary of the Regulatory Framework                    Screening Threshold                                 d. Responses to General Comments on the
                                                       of the Rule                                         b. States That Contribute Above the                       Revisions to the Group 3 Trading
                                                    C. Costs and Benefits                                     Screening Threshold                                    Program
                                                 II. General Information                                   G. Treatment of Certain Monitoring Sites in            2. Expansion of Geographic Scope
                                                    A. Does this action apply to me?                          California and Implications for Oregon’s            3. Applicability and Tentative
                                                    B. What action is the Agency taking?                      Good Neighbor Obligations for the 2015                 Identification of Newly Affected Units
                                                    C. What is the Agency’s legal authority for               Ozone NAAQS                                         4. State Emissions Budgets
                                                       taking this action?                               V. Quantifying Upwind-State NOX Emissions                a. Methodology for Determining Preset
                                                    D. What actions has the EPA previously                    Reduction Potential To Reduce Interstate               State Emissions Budgets for the 2023
                                                       issued to address regional ozone                       Ozone Transport for the 2015 Ozone                     through 2029 Control Periods
                                                       transport?                                             NAAQS                                               b. Methodology for Determining Dynamic
                                                 III. Air Quality Issues Addressed and Overall             A. The Multi-Factor Test for Determining                  State Emissions Budgets for Control
                                                       Rule Approach                                          Significant Contribution                               Periods in 2026 Onwards
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                                                    A. The Interstate Ozone Transport Air                  B. Identifying Control Stringency Levels               c. Final Preset State Emissions Budgets
                                                       Quality Challenge                                   1. EGU NOX Mitigation Strategies                       5. Variability Limits and Assurance Levels
                                                    1. Nature of Ozone and the Ozone NAAQS                 a. Optimizing Existing SCRs                            6. Annual Recalibration of Allowance Bank
                                                    2. Ozone Transport                                     b. Installing State-of-the-Art NOX                     7. Unit-Specific Backstop Daily Emissions
                                                    3. Health and Environmental Effects                       Combustion Controls                                    Rates
                                                    B. Final Rule Approach                                 c. Optimizing Already Operating SNCRs or               8. Unit-Specific Emissions Limitations
                                                    1. The 4-Step Interstate Transport                        Turning on Idled Existing SNCRs                        Contingent on Assurance Level
                                                       Framework                                           d. Installing New SNCRs                                   Exceedances



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                                                   9. Unit-Level Allowance Allocation and                VIII. Costs, Benefits, and Other Impacts of the         Jersey, New York, Ohio, Oklahoma,
                                                      Recordation Procedures                                  Final Rule                                         Pennsylvania, Texas, Utah, Virginia,
                                                   a. Set-Asides of Portions of State Emissions          IX. Summary of Changes to the Regulatory                West Virginia, and Wisconsin) is
                                                      Budgets                                                 Text for the Federal Implementation                significantly contributing to
                                                   b. Allocations to Existing Units, Including                Plans and Trading Programs for EGUs
                                                      Units That Cease Operation                           A. Amendments to FIP Provisions in 40                 nonattainment or interfering with
                                                   c. Allocations From Portions of State                      CFR Part 52                                        maintenance of the 2015 ozone NAAQS
                                                      Emissions Budgets Set Aside for New                  B. Amendments to Group 3 Trading                      in downwind states, based on projected
                                                      Units                                                   Program and Related Regulations                    ozone precursor emissions in the 2023
                                                   d. Incorrectly Allocated Allowances                     C. Transitional Provisions                            ozone season. The EPA is issuing FIP
                                                   10. Monitoring and Reporting                            D. Clarifications and Conforming Revisions            requirements to eliminate interstate
                                                      Requirements                                       X. Statutory and Executive Order Reviews                transport of ozone precursor emissions
                                                   a. Monitor Certification Deadlines                      A. Executive Order 12866: Regulatory                  from these 23 states that significantly
                                                   b. Additional Recordkeeping and Reporting                  Planning and Review and Executive
                                                                                                                                                                 contributes to nonattainment or
                                                      Requirements                                            Order 13563: Improving Regulation and
                                                   11. Designated Representative                              Regulatory Review                                  interferes with maintenance of the
                                                      Requirements                                         B. Paperwork Reduction Act (PRA)                      NAAQS in downwind states. The EPA
                                                   12. Transitional Provisions                             1. Information Collection Request for EGUs            is not finalizing its proposed error
                                                   a. Prorating Emissions Budgets, Assurance               2. Information Collection Request for Non-            correction for Delaware’s ozone
                                                      Levels, and Unit-Level Allowance                        EGUs                                               transport SIP, and we are deferring final
                                                      Allocations in the Event of an Effective             C. Regulatory Flexibility Act (RFA)                   action at this time on the proposed FIPs
                                                      Date After May 1, 2023                               D. Unfunded Mandates Reform Act                       for Tennessee and Wyoming pending
                                                   b. Creation of Additional Group 3                          (UMRA)                                             further review of the updated air quality
                                                      Allowance Bank for 2023 Control Period               E. Executive Order 13132: Federalism                  and contribution modeling and analysis
                                                   c. Recall of Group 2 Allowances for Control             F. Executive Order 13175: Consultation
                                                      Periods After 2022                                      and Coordination With Indian Tribal
                                                                                                                                                                 developed for this final action. As
                                                   13. Conforming Revisions to Regulations                    Governments                                        discussed in section III of this
                                                      for Other CSAPR Trading Programs                     G. Executive Order 13045: Protection of               document, the EPA’s updated analysis
                                                   C. Regulatory Requirements for Stationary                  Children From Environmental Health                 of 2023 suggests that the states of
                                                      Industrial Sources                                      Risks and Safety Risks                             Arizona, Iowa, Kansas, and New Mexico
                                                   1. Pipeline Transportation of Natural Gas               H. Executive Order 13211: Actions                     may be significantly contributing to one
                                                   2. Cement and Concrete Product                             Concerning Regulations That                        or more nonattainment or maintenance
                                                      Manufacturing                                           Significantly Affect Energy Supply,                receptors. The EPA is not making any
                                                   3. Iron and Steel Mills and Ferroalloy                     Distribution or Use                                final determinations with respect to
                                                      Manufacturing                                        I. National Technology Transfer and                   these states in this action but intends to
                                                   4. Glass and Glass Product Manufacturing                   Advancement Act (NTTAA)
                                                   5. Boilers at Basic Chemical                            J. Executive Order 12898: Federal Actions
                                                                                                                                                                 address these states, along with
                                                      Manufacturing, Petroleum and Coal                       To Address Environmental Justice in                Tennessee and Wyoming, in a
                                                      Products Manufacturing, Pulp, Paper,                    Minority Populations and Low-Income                subsequent action or actions.
                                                      and Paperboard Mills, Iron and Steel and                Populations                                           The EPA is finalizing FIP
                                                      Ferroalloys Manufacturing, and Metal                 K. Congressional Review Act                           requirements for 21 states for which the
                                                      Ore Mining Facilities                                L. Determinations Under CAA Section                   Agency has, in a separate action,
                                                   a. Coal-fired Industrial Boilers                           307(b)(1) and (d)                                  disapproved (or partially disapproved)
                                                   b. Oil-fired Industrial Boilers                                                                               ozone transport SIP revisions that were
                                                   c. Natural gas-fired Industrial Boilers               I. Executive Summary
                                                                                                                                                                 submitted for the 2015 ozone NAAQS:
                                                   6. Municipal Waste Combustors                            This final rule resolves the interstate              Alabama, Arkansas, California, Illinois,
                                                   D. Submitting a SIP                                   transport obligations of 23 states under                Indiana, Kentucky, Louisiana,
                                                   1. SIP Option To Modify Allocations for               CAA section 110(a)(2)(D)(i)(I), referred
                                                      2024 under EGU Trading Program                                                                             Maryland, Michigan, Minnesota,
                                                                                                         to as the ‘‘good neighbor provision’’ or                Mississippi, Missouri, Nevada, New
                                                   2. SIP Option To Modify Allocations for
                                                      2025 and Beyond Under EGU Trading                  the ‘‘interstate transport provision’’ of               Jersey, New York, Ohio, Oklahoma,
                                                      Program                                            the Act, for the 2015 ozone NAAQS. On                   Texas, Utah, West Virginia, and
                                                   3. SIP Option To Replace the Federal EGU              October 1, 2015, the EPA revised the                    Wisconsin. See 88 FR 9336. In this final
                                                      Trading Program With an Integrated                 primary and secondary 8-hour standards                  rule, the EPA is issuing FIPs for two
                                                      State EGU Trading Program                          for ozone to 70 parts per billion (ppb).1               states—Pennsylvania and Virginia—for
                                                   4. SIP Revisions That Do Not Use the New              States were required to submit to EPA                   which the EPA issued Findings of
                                                      Trading Program                                    ozone infrastructure State                              Failure to Submit for 2015 ozone
                                                   5. SIP Revision Requirements for Non-EGU              Implementation Plan (SIP) revisions to                  NAAQS transport SIPs. See 84 FR 66612
                                                      or Industrial Source Control
                                                                                                         fulfill interstate transport obligations for            (December 5, 2019). Under CAA section
                                                      Requirements
                                                   E. Title V Permitting                                 the 2015 ozone NAAQS by October 1,                      301(d)(4), the EPA is extending FIP
                                                   1. Title V Permitting Considerations for              2018. The EPA proposed the subject                      requirements to apply in Indian country
                                                      EGUs                                               rule to address outstanding interstate                  located within the upwind geography of
                                                   2. Title V Permitting Considerations for              ozone transport obligations for the 2015                the final rule, including Indian
                                                      Industrial Stationary Sources                      ozone NAAQS in the Federal Register                     reservation lands and other areas of
                                                   F. Relationship to Other Emissions Trading            on April 6, 2022 (87 FR 20036).                         Indian country over which the EPA or
                                                      and Ozone Transport Programs                          The EPA is making a finding that                     a tribe has demonstrated that a tribe has
                                                   1. NOX SIP Call
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                                                                                                         interstate transport of ozone precursor                 jurisdiction.2
                                                   2. Acid Rain Program                                  emissions from 23 upwind states                            This final rule defines ozone season
                                                   3. Other CSAPR Trading Programs
                                                                                                         (Alabama, Arkansas, California, Illinois,               nitrogen oxides (NOX) emissions
                                                 VII. Environmental Justice Analytical
                                                      Considerations and Stakeholder                     Indiana, Kentucky, Louisiana,
                                                                                                                                                                   2 In general, specific tribal names or reservations
                                                      Outreach and Engagement                            Maryland, Michigan, Minnesota,
                                                                                                                                                                 are not identified separately in this final rule except
                                                   A. Introduction                                       Mississippi, Missouri, Nevada, New                      as needed. See section III.C.2 of this document for
                                                   B. Analytical Considerations                                                                                  further discussion about the application of this rule
                                                   C. Outreach and Engagement                              1 See   80 FR 65291 (October 26, 2015).               in Indian Country.



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                                                 performance obligations for Electric                    issuing new FIPs for three states not                  states are based primarily on the
                                                 Generating Unit (EGU) sources and                       currently covered by any CSAPR NOX                     potential retrofit of additional post-
                                                 fulfills those obligations by                           ozone season trading program:                          combustion controls for NOX on most
                                                 implementing an allowance-based                         Minnesota, Nevada, and Utah.                           coal-fired EGUs and a portion of oil/gas-
                                                 ozone season trading program beginning                     This rulemaking requires emissions                  fired EGUs that are currently lacking
                                                 in 2023. This rule also establishes                     reductions in the selected control                     such controls.
                                                 emissions limitations beginning in 2026                 stringency to be achieved as
                                                                                                         expeditiously as practicable and, to the                  The EPA is finalizing, with some
                                                 for certain other industrial stationary
                                                 sources (referred to generally as ‘‘non-                extent possible, by the next applicable                modifications from proposal in response
                                                 Electric Generating Units’’ (non-EGUs)).                nonattainment dates for downwind                       to comments, certain additional features
                                                 Taken together, these regulatory                        areas for the 2015 ozone NAAQS. Thus,                  in the allowance-based trading program
                                                 requirements will fully eliminate the                   initial emissions reductions from EGUs                 approach for EGUs, including dynamic
                                                 amount of emissions that constitute the                 will be required beginning in the 2023                 adjustments of the emissions budgets
                                                 covered states’ significant contribution                ozone season and prior to the August 3,                and recalibration of the allowance bank
                                                 to nonattainment and interference with                  2024, attainment date for areas                        over time as well as backstop daily
                                                 maintenance in downwind states for                      classified as Moderate nonattainment                   emissions rate limits for large coal-fired
                                                 purposes of the 2015 ozone NAAQS.                       for the 2015 ozone NAAQS.                              units. The purpose of these
                                                    This final rule implements the                          The remaining emissions reduction                   enhancements is to better ensure that
                                                 necessary emissions reductions as                       obligations will be phased in as soon as               the emissions control stringency the
                                                 follows. Under the FIP requirements,                    possible thereafter. Substantial                       EPA found necessary to eliminate
                                                 EGUs in 22 states (Alabama, Arkansas,                   additional reductions from potential                   significant contribution at Step 3 of the
                                                 Illinois, Indiana, Kentucky, Louisiana,                 new post-combustion control                            4-step interstate transport framework is
                                                 Maryland, Michigan, Minnesota,                          installations at EGUs as well as from                  maintained over time in Step 4
                                                 Mississippi, Missouri, Nevada, New                      installation of new pollution controls at              implementation and is durable to
                                                 Jersey, New York, Ohio, Oklahoma,                       non-EGUs, also referred to in this action              changes in the power sector. These
                                                 Pennsylvania, Texas, Utah, Virginia,                    as industrial sources, will phase in                   enhancements ensure the elimination of
                                                 West Virginia, and Wisconsin) are                       beginning in the 2026 ozone season,                    significant contribution is maintained
                                                 required to participate in a revised                    associated with the August 3, 2027,
                                                                                                                                                                both in terms of geographical
                                                 version of the Cross-State Air Pollution                attainment date for areas classified as
                                                                                                                                                                distribution (by limiting the degree to
                                                 Rule (CSAPR) NOX Ozone Season Group                     Serious nonattainment for the 2015
                                                                                                         ozone NAAQS. The EPA had proposed                      which individual sources can avoid
                                                 3 Trading Program that was previously
                                                                                                         to require all emissions reductions to                 making emissions reductions) and in
                                                 established in the Revised CSAPR
                                                 Update.3 In addition to reflecting                      eliminate significant contribution to be               terms of temporal distribution (by better
                                                 emissions reductions based on the                       in place by the 2026 ozone season.                     ensuring emissions reductions are
                                                 Agency’s determination of the necessary                 While we continue to view 2026 as the                  maintained throughout each ozone
                                                 control stringency in this rule, the                    appropriate analytic year for purposes of              season, year over year). As we further
                                                 revised trading program includes                        applying the 4-step interstate transport               discuss in section V.D of this document,
                                                 several enhancements to the program’s                   framework, as discussed in section                     these changes do not alter the stringency
                                                 design to better ensure achievement of                  V.D.4 and VI.A.2 of this document, the                 of the emissions trading program over
                                                 the selected control stringency on all                  final rule will allow individual facilities            time. Rather, they ensure that the
                                                 days of the ozone season and over time.                 limited additional time to fully                       trading program (as the method of
                                                 For 12 states already required to                       implement the required emissions                       implementation at Step 4) remains
                                                 participate in the CSAPR NOX Ozone                      reductions where the owner or operator                 aligned with the determinations made at
                                                 Season Group 3 Trading Program                          demonstrates to the EPA’s satisfaction                 Step 3. These enhancements are further
                                                 (Illinois, Indiana, Kentucky, Louisiana,                that more rapid compliance is not                      discussed in section VI.B of this
                                                 Maryland, Michigan, New Jersey, New                     possible. For EGUs, the emissions                      document.
                                                 York, Ohio, Pennsylvania, Virginia, and                 trading program budget stringency                         The EPA is making a finding that NOX
                                                 West Virginia) under the Revised                        associated with retrofit of post-                      emissions from certain non-EGU sources
                                                 CSAPR Update (with respect to the 2008                  combustion controls will be phased in                  are significantly contributing to
                                                 ozone NAAQS), the FIPs are amended                      over two ozone seasons (2026–2027).
                                                                                                                                                                nonattainment or interfering with
                                                 by the revisions to the Group 3 trading                 For industrial sources, this final rule
                                                                                                                                                                maintenance of the 2015 ozone NAAQS
                                                 program regulations. For seven states                   provides a process for individual
                                                                                                                                                                and that cost-effective controls for NOX
                                                 currently covered by the CSAPR NOX                      facilities to seek a one year extension,
                                                                                                         with the possibility of up to two                      emissions reductions are available in
                                                 Ozone Season Group 2 Trading Program
                                                                                                         additional years, based on a specific                  certain industrial source categories that
                                                 under SIPs or FIPs, the EPA is issuing
                                                 new FIPs for two states (Alabama and                    showing of necessity.                                  would result in meaningful air quality
                                                 Missouri) and amending existing FIPs                       The EGU emissions reductions are                    improvements in downwind receptors.
                                                 for five states (Arkansas, Mississippi,                 based on the feasibility of control                    The EPA is establishing emissions
                                                 Oklahoma, Texas, and Wisconsin) to                      installation for EGUs in 19 states that                limitations beginning in 2026 for non-
                                                 transition EGU sources in these states                  remain linked to downwind                              EGU sources located within 20 states:
                                                 from the Group 2 program to the revised                 nonattainment and maintenance                          Arkansas, California, Illinois, Indiana,
                                                                                                         receptors in 2026. These 19 states are:                Kentucky, Louisiana, Maryland,
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                                                 Group 3 trading program, beginning
                                                 with the 2023 ozone season. The EPA is                  Arkansas, Illinois, Indiana, Kentucky,                 Michigan, Mississippi, Missouri,
                                                                                                         Louisiana, Maryland, Michigan,                         Nevada, New Jersey, New York, Ohio,
                                                   3 As explained in section V.C.1 of this document,     Mississippi, Missouri, Nevada, New                     Oklahoma, Pennsylvania, Texas, Utah,
                                                 the EPA is making a finding that EGU sources            Jersey, New York, Ohio, Oklahoma,                      Virginia, and West Virginia. The final
                                                 within the State of California are sufficiently                                                                rule establishes NOX emissions
                                                 controlled such that no further emissions
                                                                                                         Pennsylvania, Texas, Utah, Virginia,
                                                 reductions are needed from them to eliminate            and West Virginia. The emissions                       limitations during the ozone season for
                                                 significant contribution to downwind states.            reductions required for EGUs in these                  the following unit types for sources in


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                                                 non-EGU industries: 4 reciprocating                      respect to any primary or secondary                      analysis, the 23 upwind states covered
                                                 internal combustion engines in Pipeline                  NAAQS.8 Within 3 years of the EPA                        in this action are linked above the 1
                                                 Transportation of Natural Gas; kilns in                  promulgating a new or revised NAAQS,                     percent of the NAAQS threshold to
                                                 Cement and Cement Product                                all states are required to provide SIP                   downwind air quality problems in
                                                 Manufacturing; reheat furnaces in Iron                   submittals, often referred to as                         downwind states. The EPA intends to
                                                 and Steel Mills and Ferroalloy                           ‘‘infrastructure SIPs,’’ addressing certain              expeditiously review the updated air
                                                 Manufacturing; furnaces in Glass and                     requirements, including the good                         quality modeling and related analyses to
                                                 Glass Product Manufacturing; boilers in                  neighbor provision. See CAA section                      address potential good neighbor
                                                 Iron and Steel Mills and Ferroalloy                      110(a)(1) and (2). The EPA must either                   requirements of six additional states—
                                                 Manufacturing, Metal Ore Mining, Basic                   approve or disapprove such submittals                    Arizona, Iowa, Kansas, New Mexico,
                                                 Chemical Manufacturing, Petroleum and                    or make a finding that a state has failed                Tennessee, and Wyoming—in a
                                                 Coal Products Manufacturing, and Pulp,                   to submit a complete SIP revision. As                    subsequent action. The EPA had
                                                 Paper, and Paperboard Mills; and                         with any other type of SIP under the                     previously approved 2015 ozone
                                                 combustors and incinerators in Solid                     Act, when the EPA disapproves an                         transport SIPs submitted by Oregon and
                                                 Waste Combustors and Incinerators.                       interstate transport SIP or finds that a                 Delaware, but in the proposed FIP
                                                                                                          state failed to submit an interstate                     action the EPA found these states
                                                 A. Purpose of the Regulatory Action
                                                                                                          transport SIP, the CAA requires the EPA                  potentially to be linked in the modeling
                                                    The purpose of this rulemaking is to                  to issue a FIP to directly implement the                 supporting our proposal. We proposed
                                                 protect public health and the                            measures necessary to eliminate                          to issue an error correction for our prior
                                                 environment by reducing interstate                       significant contribution under the good                  approval of Delaware’s 2015 ozone
                                                 transport of certain air pollutants that                 neighbor provision. See generally CAA                    transport SIP; however, in this final
                                                 significantly contribute to                              section 110(k) and 110(c). As such, in                   rule, the EPA is withdrawing the
                                                 nonattainment, or interfere with                         this rule, the EPA is finalizing                         proposed error correction and the
                                                 maintenance, of the 2015 ozone NAAQS                     requirements to fully address good                       proposed FIP for Delaware, because our
                                                 in downwind states. Ground-level ozone                   neighbor obligations for the covered                     updated modeling for this final rule
                                                 has detrimental effects on human health                  states for the 2015 ozone NAAQS under                    confirms that Delaware is not linked
                                                 as well as vegetation and ecosystems.                    its authority to promulgate FIPs under                   above the 1 percent of NAAQS
                                                 Acute and chronic exposure to ozone in                   CAA section 110(c). By eliminating                       threshold (see section III.C.1 of this
                                                 humans is associated with premature                      significant contribution from these                      document for additional information).
                                                 mortality and certain morbidity effects,                 upwind states, this rule will make                       The EPA is deferring finalizing a finding
                                                 such as asthma exacerbation. Ozone                       substantial and meaningful                               at this time for Oregon (see section IV.G
                                                 exposure can also negatively impact                      improvements in air quality by reducing                  of this document for additional
                                                 ecosystems by limiting tree growth,                      ozone levels at the identified downwind                  information).
                                                 causing foliar injury, and changing                      receptors as well as many other areas of
                                                 ecosystem community composition.                                                                                  1. Emissions Limitations for EGUs
                                                                                                          the country. At any time after the
                                                 Section III of this document provides                                                                             Established by the Final Rule
                                                                                                          effective date of this rule, states may
                                                 additional evidence of the harmful                       submit a Good Neighbor SIP to replace                       In this rule, the EPA is issuing FIP
                                                 effects of ozone exposure on human                       the FIP requirements contained in this                   requirements that apply the provisions
                                                 health and the environment. Studies                      rule, subject to EPA approval under                      of the CSAPR NOX Ozone Season Group
                                                 have established that ozone air                          CAA section 110(a).                                      3 Trading Program as revised in the rule
                                                 pollution can be transported over                           The EPA conducted air quality                         to EGU sources within the borders of the
                                                 hundreds of miles, with elevated                         modeling for the 2023 and 2026 analytic                  following 22 states: Alabama, Arkansas,
                                                 ground-level ozone concentrations                        years to identify (1) the downwind areas                 Illinois, Indiana, Kentucky, Louisiana,
                                                 occurring in rural and metropolitan                      identified as ‘‘receptors’’ (which are                   Maryland, Michigan, Minnesota,
                                                 areas.5 6 Assessments of ozone control                   associated with monitoring sites) that                   Mississippi, Missouri, Nevada, New
                                                 approaches have concluded that control                   are expected to have trouble attaining or                Jersey, New York, Ohio, Oklahoma,
                                                 strategies targeting reduction of NOX                    maintaining the 2015 ozone NAAQS in                      Pennsylvania, Texas, Utah, Virginia,
                                                 emissions are an effective method to                     the future and (2) the contribution of                   West Virginia, and Wisconsin.
                                                 reduce regional-scale ozone transport.7                  ozone transport from upwind states to                    Implementation of the revised trading
                                                    CAA section 110(a)(2)(D)(i)(I) requires               the downwind air quality problems. We                    program provisions begins in the 2023
                                                 states to prohibit emissions that will                   use the term ‘‘downwind’’ to describe                    ozone season.
                                                 contribute significantly to                              those states or areas where a receptor is                   The EPA is expanding the CSAPR
                                                 nonattainment or interfere with                          located, and we use the term ‘‘upwind’’                  NOX Ozone Season Group 3 Trading
                                                 maintenance in any other state with                      to describe states whose emissions are                   Program beginning in the 2023 ozone
                                                                                                          linked to one or more receptors. States                  season. Specifically, the FIPs require
                                                    4 We use the terms ‘‘emissions limitation’’ and
                                                                                                          may be both downwind and upwind                          power plants within the borders of the
                                                 ‘‘emissions limit’’ to refer to both numeric                                                                      22 states listed in the previous
                                                 emissions limitations and control technology
                                                                                                          depending on the receptor or linkage in
                                                 requirements that specify levels of emissions            question. Section IV of this document                    paragraph to participate in an expanded
                                                 reductions to be achieved.                               provides a full description of the results               and revised version of the CSAPR NOX
                                                    5 Bergin, M.S. et al. (2007) Regional air quality:
                                                                                                          of the EPA’s updated air quality                         Ozone Season Group 3 Trading Program
                                                 local and interstate impacts of NOX and SO2              modeling and relevant analyses for the                   created by the Revised CSAPR Update.
                                                 emissions on ozone and fine particulate matter in
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                                                 the eastern United States. Environmental Sci &           rulemaking, including a discussion of                    Affected EGUs within the borders of the
                                                 Tech. 41: 4677–4689.                                     how updates to the modeling and air                      following 12 states currently
                                                    6 Liao, K. et al. (2013) Impacts of interstate        quality analysis following the proposed                  participating in the Group 3 Trading
                                                 transport of pollutants on high ozone events over        rule have resulted in some modest                        Program under existing FIPs remain in
                                                 the Mid-Atlantic United States. Atmospheric                                                                       the program, with revised provisions
                                                 Environment 84, 100–112.
                                                                                                          changes in the overall geography of the
                                                    7 See 82 FR 51238, 51248 (November 3, 2017)           final rule. Based on the EPA’s air quality               beginning in the 2023 ozone season,
                                                 [citing 76 FR 48208, 48222 (August 8, 2011)] and                                                                  under this rule: Illinois, Indiana,
                                                 63 FR 57381 (October 27, 1998).                            8 42   U.S.C. 7410(a)(2)(D)(i)(I).                     Kentucky, Louisiana, Maryland,


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                                                 Michigan, New Jersey, New York, Ohio,                   Manufacturing; furnaces in Glass and                   ozone concentrations for the 2023
                                                 Pennsylvania, Virginia, and West                        Glass Product Manufacturing; boilers in                analytic year at individual monitoring
                                                 Virginia. The FIPs also require affected                Iron and Steel Mills and Ferroalloy                    sites and considered current ozone
                                                 EGUs within the borders of the                          Manufacturing, Metal Ore Mining, Basic                 monitoring data at these sites to identify
                                                 following seven states currently covered                Chemical Manufacturing, Petroleum and                  receptors that are anticipated to have
                                                 by the CSAPR NOX Ozone Season                           Coal Products Manufacturing, and Pulp,                 problems attaining or maintaining the
                                                 Group 2 Trading Program (the ‘‘Group 2                  Paper, and Paperboard Mills; and                       2015 ozone NAAQS. This analysis of
                                                 trading program’’) under existing FIPs or               combustors and incinerators in Solid                   projected ozone concentrations was
                                                 existing SIPs to transition from the                    Waste Combustors and Incinerators.                     then repeated for 2026.
                                                 Group 2 program to the revised Group                    Refer to Table II.A–1 for a list of North                 To apply the second step of the
                                                 3 trading program beginning with the                    American Industry Classification                       framework, the EPA used air quality
                                                 2023 control period: Alabama,                           System (NAICS) codes for each entity                   modeling to quantify the contributions
                                                 Arkansas, Mississippi, Missouri,                        included for regulation under this rule.               from upwind states to ozone
                                                 Oklahoma, Texas, and Wisconsin.9                                                                               concentrations in 2023 and 2026 at
                                                 Finally, the EPA is issuing new FIPs for                B. Summary of the Regulatory                           downwind receptors.12 Once quantified,
                                                 EGUs within the borders of three states                 Framework of the Rule                                  the EPA then evaluated these
                                                 not currently covered by any existing                      The EPA is applying the 4-step                      contributions relative to a screening
                                                 CSAPR trading program for seasonal                      interstate transport framework                         threshold of 1 percent of the NAAQS
                                                 NOX emissions: Minnesota, Nevada, and                   developed and used in CSAPR, the                       (i.e., 0.70 ppb).13 States with
                                                 Utah. Sources in these states will enter                CSAPR Update, the Revised CSAPR                        contributions that equaled or exceeded
                                                 the Group 3 trading program in the 2023                 Update, and other previous ozone                       1 percent of the NAAQS were identified
                                                 control period following the effective                  transport rules under the authority                    as warranting further analysis at Step 3
                                                 date of the final rule.10 Refer to section              provided in CAA section                                of the 4-step framework to determine if
                                                 VI.B of this document for details on                    110(a)(2)(D)(i)(I). The 4-step interstate              the upwind state significantly
                                                 EGU regulatory requirements.                            transport framework provides a                         contributes to nonattainment or
                                                                                                         stepwise method for the EPA to define                  interference with maintenance in a
                                                 2. Emissions Limitations for Industrial                                                                        downwind state. States with
                                                                                                         and implement good neighbor
                                                 Stationary Point Sources Established by                                                                        contributions below 1 percent of the
                                                                                                         obligations for the 2015 ozone NAAQS.
                                                 the Final Rule                                                                                                 NAAQS were considered not to
                                                                                                         The four steps are as follows: (Step 1)
                                                    The EPA is issuing FIP requirements                  identifying downwind receptors that are                significantly contribute to
                                                 that include new NOX emissions                          expected to have problems attaining or                 nonattainment or interfere with
                                                 limitations for industrial or non-EGU                   maintaining the NAAQS; (Step 2)                        maintenance of the NAAQS in
                                                 sources in 20 states, with sources                      determining which upwind states                        downwind states.
                                                 expected to demonstrate compliance no                   contribute to these identified problems                   Based on the EPA’s most recent air
                                                 later than 2026. The EPA is requiring                   in amounts sufficient to ‘‘link’’ them to              quality modeling and contribution
                                                 emissions reductions from non-EGU                       the downwind air quality problems (i.e.,               analysis using 2023 as the analytic year,
                                                 sources to address interstate transport                 in this rule as in prior transport rules               the EPA finds that the following 23
                                                 obligations for the 2015 ozone NAAQS                    beginning with CSAPR in 2011, above a                  states have contributions that equal or
                                                 for the following 20 states: Arkansas,                  contribution threshold of 1 percent of                 exceed 1 percent of the 2015 ozone
                                                 California, Illinois, Indiana, Kentucky,                the NAAQS); (Step 3) for states linked                 NAAQS, and, thereby, warrant further
                                                 Louisiana, Maryland, Michigan,                          to downwind air quality problems,                      analysis of significant contribution to
                                                 Mississippi, Missouri, Nevada, New                      identifying upwind emissions that                      nonattainment or interference with
                                                 Jersey, New York, Ohio, Oklahoma,                       significantly contribute to downwind                   maintenance of the NAAQS: Alabama,
                                                 Pennsylvania, Texas, Utah, Virginia and                 nonattainment or interfere with                        Arkansas, California, Illinois, Indiana,
                                                 West Virginia.                                          downwind maintenance of the NAAQS                      Kentucky, Louisiana, Maryland,
                                                    The EPA is establishing emissions                    through a multifactor analysis; and                    Michigan, Minnesota, Mississippi,
                                                 limitations for the following unit types                (Step 4) for states that are found to have             Missouri, Nevada, New Jersey, New
                                                 in non-EGU industries: reciprocating                    emissions that significantly contribute                York, Ohio, Oklahoma, Pennsylvania,
                                                 internal combustion engines in Pipeline                 to nonattainment or interfere with                     Texas, Utah, Virginia, West Virginia,
                                                 Transportation of Natural Gas; kilns in                 maintenance of the NAAQS in                            and Wisconsin.
                                                 Cement and Cement Product                               downwind areas, implementing the                          There are locations in California to
                                                 Manufacturing; reheat furnaces in Iron                  necessary emissions reductions through                 which Oregon contributes greater than 1
                                                 and Steel Mills and Ferroalloy                          enforceable measures. The remainder of                 percent of the NAAQS; the EPA
                                                                                                         this section provides a general overview
                                                    9 Five of these seven states (Arkansas,                                                                     August 3, 2024, for areas classified as Moderate
                                                                                                         of the EPA’s application of the 4-step                 nonattainment, and August 3, 2027, for areas
                                                 Mississippi, Oklahoma, Texas, and Wisconsin)
                                                 currently participate in the Federal Group 2 trading    framework as it applies to the                         classified as Serious nonattainment. See 83 FR
                                                 program pursuant to the FIPs finalized in the           provisions of the rule; additional details             25776.
                                                 CSAPR Update. The FIPs required under this rule         regarding the EPA’s approach are found                   12 The EPA performed air quality modeling for

                                                 amend the existing FIPs for these states. The other     in section III of this document.                       2032 in the proposed rulemaking, but did not
                                                 two states (Alabama and Missouri) have already                                                                 perform contribution modeling for 2032 since
                                                 replaced the FIPs finalized in the CSAPR Update
                                                                                                            To apply the first step of the 4-step               contribution data for this year were not needed to
                                                 with approved SIP revisions that require their EGUs     framework to the 2015 ozone NAAQS,                     identify upwind states to be analyzed in Step 3. The
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                                                 to participate in state Group 2 trading programs        the EPA performed air quality modeling                 modeling of 2032 done at proposal using the
                                                 integrated with the Federal Group 2 trading             to project ozone concentrations at air                 2016v2 platform does not constitute or represent
                                                 program, so the FIPs required in this action                                                                   any final agency determinations respecting air
                                                 constitute new FIPs for these states. The EPA will
                                                                                                         quality monitoring sites in 2023 and                   quality conditions or regulatory judgments with
                                                 cease implementation of the state Group 2 trading       2026.11 The EPA evaluated projected                    respect to good neighbor obligations or any other
                                                 programs included in the two states’ SIPs on the                                                               CAA requirements.
                                                 effective date of this rule.                               11 These 2 analytic years are the last full ozone     13 See section IV.F of this document for
                                                    10 Three states, Kansas, Iowa, and Tennessee, will   seasons before, and thus align with, upcoming          explanation of EPA’s use of the 1 percent of the
                                                 remain in the Group 2 Trading Program.                  attainment dates for the 2015 ozone NAAQS:             NAAQS threshold in the Step 2 analysis.



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                                                 proposed that downwind areas                            combustion controls; (3) fully operating               emissions controls such as SCR.15 While
                                                 represented by these monitoring sites in                existing selective non-catalytic                       these programs successfully drove many
                                                 California should not be considered                     reduction (SNCR) controls, including                   EGUs to retrofit post-combustion
                                                 interstate ozone transport receptors at                 both optimizing NOX removal by                         controls, other EGUs throughout the
                                                 Step 1. However, the EPA is deferring                   existing operational SNCRs and turning                 present geography of linked upwind
                                                 finalizing a finding at this time for                   on and optimizing existing idled                       states continue to operate without such
                                                 Oregon (see section IV.G of this                        SNCRs; (4) installing new SNCRs; (5)                   controls and continue to emit at
                                                 document for additional information).                   installing new SCRs; and (6) generation                relatively high rates more than 20 years
                                                    Based on the air quality analysis                    shifting. For the reasons explained in                 after similar units reduced these
                                                 presented in section IV of this                         section V of this document and                         emissions under prior interstate ozone
                                                 document, the EPA finds that, with the                  supported by the ‘‘Technical Support                   transport rulemakings.
                                                 exception of Alabama, Minnesota, and                    Document (TSD) for the Final Federal                      Furthermore, the CSAPR Update
                                                 Wisconsin, the states found linked in                   Good Neighbor Plan for the 2015 Ozone                  provided only a partial remedy for
                                                 2023 will continue to contribute above                  National Ambient Air Quality Standard,                 eliminating significant contribution for
                                                 the 1 percent of the NAAQS threshold                    Docket ID No. EPA–HQ–OAR–2021–                         the 2008 ozone NAAQS, as needed to
                                                 to at least one receptor whose                          0668, EGU NOX Mitigation Strategies                    obtain available reductions by the 2017
                                                 nonattainment and maintenance                           Final Rule TSD’’ (Mar. 2023),                          ozone season. In that rule, the EPA
                                                 concerns persist through the 2026 ozone                 hereinafter referred to as the EGU NOX                 made no determination regarding the
                                                 season. As a result, the EPA’s evaluation                                                                      appropriateness of more stringent EGU
                                                                                                         Mitigation Strategies Final Rule TSD,
                                                 of significantly contributing emissions                                                                        NOX controls that would be required for
                                                                                                         included in the docket for this action,
                                                 at Step 3 for Alabama, Minnesota, and                                                                          a full remedy for interstate transport for
                                                                                                         the EPA determines that for the
                                                 Wisconsin is limited to emissions                                                                              the 2008 ozone NAAQS. Following the
                                                                                                         regional, multi-state scale of this
                                                 reductions achievable by the 2023 and                                                                          remand of the CSAPR Update in
                                                                                                         rulemaking, only fully operating and
                                                 2024 ozone seasons.                                                                                            Wisconsin v. EPA, 938 F.3d 303 (D.C.
                                                    At the third step of the 4-step                      optimizing existing SCRs and existing                  Cir. 2019) (Wisconsin), the EPA again
                                                 framework, the EPA applied a                            SNCRs (EGU NOX emissions controls                      declined to require the retrofit of new
                                                 multifactor test that incorporates cost,                options 1 and 3 in the list earlier) are               post-combustion controls on EGUs in
                                                 availability of emissions reductions, and               possible for the 2023 ozone season. The                the Revised CSAPR Update, but that
                                                 air quality impacts at the downwind                     EPA determined that state-of-the-art                   determination was based on a specific
                                                 receptors to determine the amount of                    NOX combustion controls at EGUs                        timing consideration: downwind air
                                                 ozone precursor emissions from the                      (emissions control option 2 in the list                quality problems under the 2008 ozone
                                                 linked upwind states that                               above) are available by the beginning of               NAAQS were projected to resolve before
                                                 ‘‘significantly’’ contribute to downwind                the 2024 ozone season. See section                     post-combustion control retrofits could
                                                 nonattainment or maintenance                            V.B.1 of this document for a full                      be accomplished on a fleetwide,
                                                 receptors. The EPA is applying the                      discussion of EPA’s analysis of NOX                    regional scale. See 86 FR 23054, 23110
                                                 multifactor test described in section V.A               emissions mitigation strategies for EGU                (April 30, 2021).
                                                 of this document to both EGU and                        sources.                                                  In this rulemaking, the EPA is
                                                 industrial sources. The EPA assessed                       The EPA is requiring control                        addressing good neighbor obligations for
                                                 the potential emissions reductions in                   stringency levels that offer the most                  the more protective 2015 ozone
                                                 2023 and 2026,14 as well as in                          incremental NOX emissions reduction                    NAAQS, and the Agency observes
                                                 intervening and later years to determine                potential from EGUs—among the                          ongoing and persistent contribution
                                                 the emissions reductions required to                    uniform mitigation measures assessed                   from upwind states to ozone
                                                 eliminate significant contribution in                   for the covered region—and the most                    nonattainment and maintenance
                                                 2023 and future years where downwind                    corresponding downwind ozone air                       receptors in downwind states under that
                                                 areas are projected to have potential                   quality improvements to the extent                     NAAQS. As further discussed in section
                                                 problems attaining or maintaining the                   feasible in each year analyzed. The EPA                V of this document, the nature of this
                                                 2015 ozone NAAQS.                                       is making a finding that the required                  contribution warrants a greater degree of
                                                    For EGU sources, the EPA evaluated                                                                          control stringency than the EPA
                                                                                                         controls provide cost-effective
                                                 the following set of widely-available                                                                          determined to be necessary to eliminate
                                                                                                         reductions of NOX emissions that will
                                                 NOX emissions control technologies: (1)                                                                        significant contribution of ozone
                                                                                                         provide substantial improvements in
                                                 fully operating existing selective                                                                             transport in prior CSAPR rulemakings.
                                                                                                         downwind ozone air quality to address
                                                 catalytic reduction (SCR) controls,                                                                            In this rule, the EPA is requiring
                                                 including both optimizing NOX removal                   interstate transport obligations for the
                                                                                                         2015 ozone NAAQS in a timely manner.                   emissions performance levels for EGU
                                                 by existing operational SCRs and                                                                               NOX control strategies commensurate
                                                 turning on and optimizing existing idled                These controls represent greater
                                                                                                         stringency in upwind EGU controls than                 with those determined to be necessary
                                                 SCRs; (2) installing state-of-the-art NOX                                                                      in the NOX SIP Call and CAIR.
                                                                                                         in the EPA’s most recent ozone
                                                                                                         transport rulemakings, such as the                        Based on the Step 3 analysis
                                                   14 The EPA included emissions reductions from
                                                                                                         CSAPR Update and the Revised CSAPR                     described in section V of this document,
                                                 the potential installation of SCRs at all affected
                                                 large coal-fired EGUs in the 2026 analytic year for                                                            the EPA finds that emissions reductions
                                                                                                         Update. However, programs to address
                                                 the purposes of assessing significant contribution to                                                          commensurate with the full operation of
                                                 nonattainment and interference with maintenance,
                                                                                                         interstate ozone transport based on the
                                                                                                                                                                all existing post-combustion controls
                                                                                                         retrofit of post-combustion controls are
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                                                 which is consistent with the associated attainment
                                                                                                                                                                (both SCRs and SNCRs) and state-of-the-
                                                 date. However, in response to comments identifying      by no means unprecedented. In prior
                                                 potential supply chain and outage scheduling                                                                   art combustion control upgrades
                                                                                                         ozone transport rulemakings such as the
                                                 challenges if the full breadth of these assumed SCR                                                            constitute the Agency’s selected control
                                                 installations were to occur, the EPA is                 NOX SIP Call and the Clean Air
                                                                                                                                                                stringency for EGUs within the borders
                                                 implementing half of this emissions reduction           Interstate Rule (CAIR), the EPA
                                                 potential in 2026 ozone-season NOX budgets for
                                                                                                                                                                of 22 states linked to downwind
                                                                                                         established EGU budgets premised on
                                                 states containing these EGUs and the other half of
                                                 this emissions reduction potential in 2027 ozone-
                                                                                                         the widespread availability of                           15 See, e.g., 70 FR 25162, 25205–06 (May 12,

                                                 season NOX budgets for those states.                    retrofitting EGUs with post-combustion                 2005).



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                                                 nonattainment or maintenance in 2023                    information helped shape the proposal                  impactful and warrant further analysis
                                                 (Alabama, Arkansas, Illinois, Indiana,                  and final rule. To further evaluate the                at Step 3, and we find that the available
                                                 Kentucky, Louisiana, Maryland,                          industries and emissions unit types                    emissions reductions are cost-effective
                                                 Michigan, Minnesota, Mississippi,                       identified by the screening assessment                 and make meaningful improvements at
                                                 Missouri, Nevada, New Jersey, New                       and to establish the applicability criteria            the identified downwind receptors. For
                                                 York, Ohio, Oklahoma, Pennsylvania,                     and proposed emissions limits, the EPA                 a detailed discussion of the changes,
                                                 Texas, Utah, Virginia, West Virginia,                   reviewed Reasonably Available Control                  between the proposal and this final rule,
                                                 and Wisconsin). For 19 of those states                  Technology (RACT) rules, New Source                    in emissions unit types included and in
                                                 that are also linked in 2026 (Arkansas,                 Performance Standards (NSPS) rules,                    emissions limits, see section VI.C. of
                                                 Illinois, Indiana, Kentucky, Louisiana,                 National Emissions Standards for                       this document.
                                                 Maryland, Michigan, Mississippi,                        Hazardous Air Pollutants (NESHAP)                         The EPA performed air quality
                                                 Missouri, Nevada, New Jersey, New                       rules, existing technical studies, rules in            analysis using the Ozone Air Quality
                                                 York, Ohio, Oklahoma, Pennsylvania,                     approved SIPs, consent decrees, and                    Assessment Tool (AQAT) to evaluate
                                                 Texas, Utah, Virginia, and West                         permit limits. That evaluation is                      the air quality improvements
                                                 Virginia), the EPA is determining that                  detailed in the ‘‘Technical Support                    anticipated to result from the
                                                 the selected EGU control stringency also                Document (TSD) for the Proposed Rule,                  implementation of the selected EGU and
                                                 includes emissions reductions                           Docket ID No. EPA–HQ–OAR–2021–                         non-EGU emissions reduction strategies.
                                                 commensurate with the retrofit of SCR                   0668, Non-EGU Sectors TSD’’ (Dec.                      See section V.D of this document.20 We
                                                 at coal-fired units of 100 MW or greater                2021), hereinafter referred to as the                  also used AQAT to determine whether
                                                 capacity (excepting circulating fluidized               Proposed Non-EGU Sectors TSD,                          the emissions reductions for both EGUs
                                                 bed units (CFB)), new SNCR on coal-                     prepared for the proposed FIP.18                       and non-EGUs potentially create an
                                                 fired units of less than 100 MW capacity                   In this final rule, the EPA is retaining            ‘‘over-control’’ scenario. As in prior
                                                 and on CFBs of any capacity size, and                   the industries and many of the                         transport rules following the holdings in
                                                 SCR on oil/gas steam units greater than                 emissions unit types included in the                   EME Homer City, overcontrol would be
                                                 100 MW that have historically emitted                   proposal in its findings of significant                established if the record indicated that,
                                                 at least 150 tons of NOX per ozone                      contribution at Step 3, as discussed in                for any given state, there is a less
                                                 season.                                                 section V of this document. As                         stringent emissions control approach for
                                                                                                         discussed in the memorandum for the                    that state, by which (1) the expected
                                                    To identify appropriate control                      final rule, titled ‘‘Summary of Final                  ozone improvements would be
                                                 strategies for non-EGU sources to                       Rule Applicability Criteria and                        sufficient to resolve all of the downwind
                                                 achieve NOX emissions reductions that                   Emissions Limits for Non-EGU                           receptor(s) to which that state is linked;
                                                 would result in meaningful air quality                  Emissions Units, Assumed Control                       or (2) the expected ozone improvements
                                                 improvements in downwind areas, for                     Technologies for Meeting the Final                     would reduce the upwind state’s ozone
                                                 the proposed FIP, the EPA evaluated air                 Emissions Limits, and Estimated                        contributions below the screening
                                                 quality modeling information, annual                    Emissions Units, Emissions Reductions,                 threshold (i.e., 1 percent of the NAAQS
                                                 emissions, and information about                        and Costs,’’ the EPA uses the 2019                     or 0.70 ppb) to all of linked receptors.
                                                 potential controls to determine which                   emissions inventory, the list of                       The EPA’s over-control analysis,
                                                 industries, beyond the power sector,                    emissions units estimated to be                        discussed in section V.D.4 of this
                                                 could have the greatest impact in                       captured by the applicability criteria,                document, shows that the control
                                                 providing ozone air quality                             the assumed control technologies that                  stringencies for EGU and non-EGU
                                                 improvements in affected downwind                       would meet the emissions limits, and                   sources in this final rule do not over-
                                                 states. Once the EPA identified the                     information on control efficiencies and                control upwind states’ emissions either
                                                 industries, the EPA used its Control                    default cost/ton values from the Control               with respect to the downwind air
                                                 Strategy Tool to identify potential                     Measures Database,19 to estimate NOX                   quality problems to which they are
                                                 emissions units and control measures                                                                           linked or with respect to the 1 percent
                                                                                                         emissions reductions and costs for the
                                                 and to estimate emissions reductions                                                                           of the NAAQS contribution threshold,
                                                                                                         year 2026. In this final rule, the EPA
                                                 and compliance costs associated with                                                                           such that over-control would trigger re-
                                                                                                         made changes to the applicability
                                                 application of non-EGU emissions                                                                               evaluation at Step 3 for any linked
                                                                                                         criteria and emissions limits following
                                                 control measures. The technical                                                                                upwind state.
                                                                                                         consideration of comments on the
                                                 memorandum Screening Assessment of                                                                                Based on the multi-factor test applied
                                                                                                         proposal and reassessed the overall non-
                                                 Potential Emissions Reductions, Air                                                                            to both EGU and non-EGU sources and
                                                                                                         EGU emissions reduction strategy based
                                                 Quality Impacts, and Costs from Non-
                                                                                                         on the factors at Step 3 to render a
                                                 EGU Emissions Units for 2026 lays out                                                                            20 The use of AQAT and other simplified
                                                                                                         judgment as to whether the level of                    modeling tools to generate ‘‘appropriately reliable
                                                 the analytical framework and data used
                                                                                                         emissions control that would be                        projections of air quality conditions and
                                                 to prepare proxy estimates for 2026 of                                                                         contributions’’ when there is limited time to
                                                                                                         achievable from these units meets the
                                                 potentially affected non-EGU facilities                                                                        conduct full-scale photochemical grid modeling
                                                                                                         criteria for ‘‘significant contribution.’’ In
                                                 and emissions units, emissions                                                                                 was upheld by the D.C. Circuit in MOG v. EPA, No.
                                                                                                         the final rule, we affirm our proposed                 21–1146 (D.C. Cir. March 3, 2023). The EPA has
                                                 reductions, and costs.16 17 This
                                                                                                         determinations of which industries and                 used AQAT for the purpose of air quality and
                                                                                                         emissions units are potentially                        overcontrol assessments at Step 3 in the prior
                                                   16 The memorandum is available in the docket at
                                                                                                                                                                CSAPR rulemakings, and we continue to find it
                                                 https://www.regulations.gov/document/EPA-HQ-                                                                   reliable for such purposes. We discuss the
                                                 OAR-2021-0668-0150.                                     emissions units. This information helped shape the     calibration of AQAT for this action and the multiple
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                                                   17 This screening assessment was not intended to      proposed rule.                                         sensitivity checks we performed to ensure its
                                                                                                           18 The TSD is available in the docket at https://
                                                 identify the specific emissions units subject to the                                                           reliability in the Ozone Transport Policy Analysis
                                                 proposed emissions limits for non-EGU sources but       www.regulations.gov/document/EPA-HQ-OAR-               Final Rule TSD in the docket. Because we were able
                                                 was intended to inform the development of the           2021-0668-0145.                                        to conduct a photochemical grid modeling run of
                                                 proposed rule by identifying proxies for (1) non-         19 More information about the control measures       the 2026 final rule policy scenario, these results are
                                                 EGU emissions units that had emissions reduction        database (CMDB) can be found at the following link:    also included in the docket and confirm the
                                                 potential, (2) potential controls for and emissions     https://www.epa.gov/economic-and-cost-analysis-        regulatory conclusions reached with AQAT. See
                                                 reductions from these emissions units, and (3)          air-pollution-regulations/cost-analysis-modelstools-   section VIII of this document and Appendix 3A of
                                                 control costs from the potential controls on these      air-pollution.                                         the Final Rule RIA for more information.



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                                                 our subsequent assessment of over-                      EGUs within the borders of three states                budget is 4 percent lower than the 2027
                                                 control, the EPA finds that the selected                not currently covered by any CSAPR                     preset budget; and the 2029 preset
                                                 EGU and non-EGU control stringencies                    trading program for seasonal NOX                       budget is 8 percent lower than the 2028
                                                 constitute the elimination of significant               emissions—Minnesota, Nevada, and                       preset budget.
                                                 contribution and interference with                      Utah—will enter the Group 3 trading                       While it is possible that additional
                                                 maintenance, without over-controlling                   program in the 2023 control period                     EGUs may seek to retire in this 2026–
                                                 emissions, from the 23 upwind states                    following the effective date of the final              2029 period than are currently
                                                 subject to EGU and non-EGU emissions                    rule. In addition, the EPA is revising                 scheduled and captured in the preset
                                                 reductions requirements under the rule.                 other aspects of the Group 3 trading                   emissions budgets, it is also possible
                                                 For additional details about the multi-                 program to better ensure that this                     that EGUs with currently scheduled
                                                 factor test and the over-control analysis,              method of implementation at Step 4                     retirements may adjust their retirement
                                                 see the document titled ‘‘Technical                     provides a durable remedy for the                      timing to accommodate the timing of
                                                 Support Document (TSD) for the Final                    elimination of the amount of emissions                 replacement generation and/or
                                                 Federal Good Neighbor Plan for the                      deemed to constitute significant                       transmission upgrades necessitated by
                                                 2015 Ozone National Ambient Air                         contribution at Step 3 of the interstate               their retirement. While the EPA
                                                 Quality Standard, Docket ID No. EPA–                    transport framework. These                             designed this final rule to provide preset
                                                 HQ–OAR–2021–0668, Ozone Transport                       enhancements, summarized later in this                 budgets through 2029 to incorporate
                                                 Policy Analysis Proposed Rule TSD’’                     section, are designed to operate together              known retirement-related emissions
                                                 (Mar. 2023), hereinafter referred to as                 to maintain that degree of control                     reductions to ensure the elimination of
                                                 Ozone Transport Policy Analysis Final                   stringency over time, thus improving                   significant contribution as identified at
                                                 Rule TSD, included in the docket for                    emissions performance at individual                    Step 3 is maintained over time, the use
                                                 this rulemaking.                                        units and offering a necessary measure                 of these floors also provides generators
                                                    In this fourth step of the 4-step                    of assurance that NOX pollution controls               and grid operators enhanced certainty
                                                 framework, the EPA is including                         will be operated throughout each ozone                 regarding the minimum amount of
                                                 enforceable measures in the                             season, as described in section VI.B of                allowable NOX emissions for reliability
                                                 promulgated FIPs to achieve the                         this document. This rulemaking does                    planning through the 2020s. By
                                                 required emissions reductions in each of                not revise the budget stringency and                   providing the opportunity for dynamic
                                                 the 23 states. Specifically, the FIPs                   geography of the existing CSAPR NOX                    budgets to subsequently calibrate
                                                 require covered power plants within the                 Ozone Season Group 1 trading program.                  budgets to any unforeseen increases in
                                                 borders of 22 states (Alabama, Arkansas,                Aside from the seven states moving                     fleet demand, it also ensures this rule
                                                 Illinois, Indiana, Kentucky, Louisiana,                 from the Group 2 trading program to the                will not interfere with ongoing
                                                 Maryland, Michigan, Minnesota,                          Group 3 trading program under the final                retirement scheduling or adjustments
                                                 Mississippi, Missouri, Nevada, New                      rule, this rule otherwise leaves                       and thus is robust to future uncertainty
                                                 Jersey, New York, Ohio, Oklahoma,                       unchanged the budget stringency of the                 during a transition period.
                                                 Pennsylvania, Texas, Utah, Virginia,                    existing CSAPR NOX Ozone Season                           The EPA also believes the likelihood
                                                 West Virginia, and Wisconsin) to                        Group 2 trading program.                               and magnitude of a scenario in which a
                                                 participate in the CSAPR NOX Ozone                         The EPA is establishing preset ozone                state’s preset emissions budgets during
                                                 Season Group 3 Trading Program                          season NOX emissions budgets for each                  this period would authorize more
                                                 created by the Revised CSAPR Update.                    ozone season from 2023 through 2029,                   emissions than the corresponding
                                                 Affected EGUs within the borders of the                 using generally the same Group 3                       dynamic budget is low. As described
                                                 following 12 states currently                           trading program budget-setting                         elsewhere, dynamic budgets are
                                                 participating in the Group 3 Trading                    methodology used in the Revised                        incorporated to best calibrate the rule’s
                                                 Program will remain in the program,                     CSAPR Update, as explained in section                  stringency to future unknown changes
                                                 with revised provisions beginning in the                VI.B of this document and as shown in                  to the fleet. The circumstances in which
                                                 2023 ozone season, under this rule:                     Table I.B–1. The preset budgets for the                a dynamic budget would produce a
                                                 Illinois, Indiana, Kentucky, Louisiana,                 2026 through 2029 ozone seasons                        level of allowable emissions less than
                                                 Maryland, Michigan, New Jersey, New                     incorporate EGU emissions reductions                   preset budgets is most pronounced for
                                                 York, Ohio, Pennsylvania, Virginia, and                 to eliminate significant contribution and              future periods in which there is a high
                                                 West Virginia. Affected EGUs within the                 also take into account a substantial                   degree of unknown retirements
                                                 borders of the following seven states                   number of known retirements over that                  (increasing the risk that budgets are not
                                                 currently covered by the CSAPR NOX                      period to ensure the elimination of                    appropriately calibrated to the reduced
                                                 Ozone Season Group 2 Trading Program                    significant contribution is maintained as              fossil fuel heat input post retirement).
                                                 (the ‘‘Group 2 trading program’’)—                      intended by this rule. These budgets                   However, the 2026–2029 period
                                                 Alabama, Arkansas, Mississippi,                         serve as floors and may be supplanted                  presents a case where retirement
                                                 Missouri, Oklahoma, Texas, and                          by a budget that the EPA calculates for                planning has been announced with
                                                 Wisconsin—will transition from the                      that control period using more recent                  greater lead time than normal due to a
                                                 Group 2 program to the revised Group                    information (a ‘‘dynamic budget’’) if that             combination of utility 2030
                                                 3 trading program beginning with the                    dynamic budget yields a higher level of                decarbonization commitments, and
                                                 2023 control period,21 and affected                     allowable emissions—still consistent                   Effluent Limitation Guideline (ELG) and
                                                                                                         with the Step 3 level of emissions                     Coal Combustion Residual (CCR)
                                                    21 The EPA will deem participation in the Group
                                                                                                         control stringency—than the preset                     alternative compliance pathways
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                                                 3 trading program by the EGUs in these seven states
                                                 as also addressing the respective states’ good
                                                                                                         budget. As reflected in Table I.B–1, and               available to units planning to cease
                                                 neighbor obligations with respect to the 2008 ozone     accounting for both the stringency of the              combustion of coal by December 31,
                                                 NAAQS (for all seven states), the 1997 ozone            rule and known fleet change, the 2026                  2028. For each of these existing rules,
                                                 NAAQS (for all the states except Texas), and the        preset budget is 23 percent lower than                 facilities that are planning to retire have
                                                 1979 ozone NAAQS (for Alabama and Missouri) to
                                                 the same extent that those obligations are currently
                                                                                                         the 2025 preset budget; the 2027 preset                already conveyed that intention to EPA
                                                 being addressed by participation of the states’ EGUs    budget is 20 percent lower than the                    in order to take advantage of the
                                                 in the Group 2 trading program.                         2026 preset budget; the 2028 preset                    alternative compliance pathways


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                                                 available to such facilities.22 Therefore,                   mechanism to accommodate planning                        year before the control period, using the
                                                 the likelihood of unknown                                    and fleet transition dynamics during                     dynamic budget-setting methodology. In
                                                 retirements—leading to lower dynamic                         this period. The need and reasoning for                  this manner, the stringency of the
                                                 budgets—is much lower than typical for                       the limited-period preset budget floor is                program will be secured and sustained
                                                 this time horizon. This makes EPA’s                          further discussed in section VI.B.4.                     in the dynamic budgets of this program,
                                                 balanced use of preset emissions                               For control periods in 2030 and                        regardless of whatever EGU transition
                                                 budgets or dynamic budgets if they                           thereafter, the emissions budgets will be                activities ultimately occur in this 2026–
                                                 exceed preset levels a reasonable                            the amounts calculated for each state                    2029 transition period.
                                                                                                              and noticed to the public roughly one
                                                  TABLE I.B–1—PRESET CSAPR NOX OZONE SEASON GROUP 3 STATE EMISSIONS BUDGETS (TONS) FOR 2023 THROUGH
                                                                                      2029 CONTROL PERIODS *
                                                                                        2023 State         2024 State            2025 State         2026 State        2027 State          2028 State          2029 State
                                                               State                      budget             budget                budget            budget **         budget **           budget **           budget **

                                                 Alabama .......................               6,379                 6,489              6,489               6,339               6,236             6,236               5,105
                                                 Arkansas ......................               8,927                 8,927              8,927               6,365               4,031             4,031               3,582
                                                 Illinois ...........................          7,474                 7,325              7,325               5,889               5,363             4,555               4,050
                                                 Indiana .........................            12,440                11,413             11,413               8,410               8,135             7,280               5,808
                                                 Kentucky ......................              13,601                12,999             12,472              10,190               7,908             7,837               7,392
                                                 Louisiana ......................              9,363                 9,363              9,107               6,370               3,792             3,792               3,639
                                                 Maryland ......................               1,206                 1,206              1,206                 842                 842               842                 842
                                                 Michigan .......................             10,727                10,275             10,275               6,743               5,691             5,691               4,656
                                                 Minnesota .....................               5,504                 4,058              4,058               4,058               2,905             2,905               2,578
                                                 Mississippi ....................              6,210                 5,058              5,037               3,484               2,084             1,752               1,752
                                                 Missouri ........................            12,598                11,116             11,116               9,248               7,329             7,329               7,329
                                                 Nevada .........................              2,368                 2,589              2,545               1,142               1,113             1,113                 880
                                                 New Jersey ..................                   773                   773                773                 773                 773               773                 773
                                                 New York .....................                3,912                 3,912              3,912               3,650               3,388             3,388               3,388
                                                 Ohio ..............................           9,110                 7,929              7,929               7,929               7,929             6,911               6,409
                                                 Oklahoma .....................               10,271                 9,384              9,376               6,631               3,917             3,917               3,917
                                                 Pennsylvania ................                 8,138                 8,138              8,138               7,512               7,158             7,158               4,828
                                                 Texas ...........................            40,134                40,134             38,542              31,123              23,009            21,623              20,635
                                                 Utah ..............................          15,755                15,917             15,917               6,258               2,593             2,593               2,593
                                                 Virginia .........................            3,143                 2,756              2,756               2,565               2,373             2,373               1,951
                                                 West Virginia ................               13,791                11,958             11,958              10,818               9,678             9,678               9,678
                                                 Wisconsin .....................               6,295                 6,295              5,988               4,990               3,416             3,416               3,416

                                                       Total ......................         208,119            198,014               195,259              151,329          119,663             115,193              105,201
                                                   * Further information on the state-level emissions budget calculations pertaining to Table I.B–1 is provided in section VI.B.4 of this document
                                                 as well as the Ozone Transport Policy Analysis Final Rule TSD. Further information on the approach for allocating a portion of Utah’s emissions
                                                 budget for each control period to the existing EGU in the Uintah and Ouray Reservation within Utah’s borders is provided in section VI.B.9 of this
                                                 document.
                                                   ** As described in section VI of this document, the budget for these years will be subsequently determined and equal the greater of the value
                                                 above or that derived from the dynamic budget methodology.


                                                    The budget-setting methodology that                       provision. As already noted, for the                     Unrestricted banking of allowances
                                                 the EPA will use to determine dynamic                        control periods in which both preset                     allows what might otherwise be
                                                 budgets for each control period starting                     budgets and dynamic budgets are                          temporary surpluses of allowances in
                                                 with 2026 is an extension of the                             determined for a state (i.e., 2026 through               some individual control periods to
                                                 methodology used to determine the                            2029), the state’s dynamic budget will                   accumulate into a long-term allowance
                                                 preset budgets and will be used                              apply only if it is higher than the state’s              surplus that reduces allowance prices
                                                 routinely to determine emissions                             preset budget. See section VI.B of this                  and weakens the trading program’s
                                                 budgets for each future control period in                    document for additional discussion of                    incentives to control emissions. To
                                                 the year before that control period, with                    the EPA’s method for adjusting                           prevent this outcome, the EPA is also
                                                 each emissions budget reflecting the                         emissions budgets to ensure elimination                  revising the Group 3 trading program by
                                                 latest available information on the                          of significant contribution from EGU                     adding provisions that establish a
                                                 composition and utilization of the EGU                       sources in the linked upwind states.                     routine recalibration process for banked
                                                 fleet at the time that emissions budget                         In conjunction with the levels of the                 allowances using a target percentage of
                                                 is determined. The stringency of the                         emissions budgets, the carryover of                      21 percent for the 2024–2029 control
                                                 dynamic emissions budgets will simply                        unused allowances for use in future                      periods and 10.5 percent for control
                                                 reflect the stringency of the emissions                      control periods as banked allowances                     periods in 2030 and later years.
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                                                 control strategies selected in the                           affects the ability of a trading program                    As an enhancement to the structure of
                                                 rulemaking more consistently over time                       to maintain the rule’s selected control                  the trading program originally
                                                 and ensure that the annual updates                           stringency and related EGU effective                     promulgated in the Revised CSAPR
                                                 would eliminate emissions determined                         emissions rate performance level as the                  Update, the EPA is also establishing
                                                 to be unlawful under the good neighbor                       EGU fleet evolves over time.                             backstop daily emissions rates for coal
                                                   22 Notices of Planned Participation for the ELG            (85 FR 64708, 64679). For the CCR Action, facilities     had to indicate their future plans to cease receipt
                                                 Reconsideration Rule were due October 31, 2021                                                                        of waste by April 11, 2021 (85 FR 53517).



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                                                 steam EGUs greater than or equal to 100                                     compliance flexibility consistent with                                      compliance date for industrial sources.
                                                 MW in covered states. Starting with the                                     that determination. These trading                                           The EPA is therefore finalizing control
                                                 2024 control period, a 3-for-1 allowance                                    program improvements will promote                                           requirements for non-EGU sources that
                                                 surrender ratio (instead of the usual 1-                                    consistent emissions control                                                take effect in 2026. However, in
                                                 for-1 surrender ratio) will apply to                                        performance across the power sector in                                      recognition of comments and additional
                                                 emissions during the ozone season from                                      the linked upwind states, which                                             information indicating that not all
                                                 any large coal-fired EGU with existing                                      protects communities living in                                              facilities may be capable of meeting the
                                                 SCR controls exceeding by more than 50                                      downwind ozone nonattainment areas                                          control requirements by that time, the
                                                 tons a daily average NOX emissions rate                                     from exceedances of the NAAQS that                                          final rule provides a process by which
                                                 of 0.14 lb/mmBtu. The daily average                                         might otherwise occur.                                                      the EPA may grant compliance
                                                 emissions rate provisions will apply to                                       The EPA is including enforceable                                          extensions of up to 1 year, which if
                                                 large coal-fired EGUs without existing                                      emissions control requirements that will                                    approved by the EPA, would require
                                                 SCR controls starting with the second                                       apply during the ozone season (annually                                     compliance no later than the 2027 ozone
                                                 control period in which newly installed                                     from May to September) for nine non-
                                                                                                                                                                                                         season, followed by an additional
                                                 SCR controls are operational at the unit,                                   EGU industries in the promulgated FIPs
                                                                                                                                                                                                         possible extension of up to 2 more
                                                 but not later than the 2030 control                                         to achieve the required emissions
                                                                                                                                                                                                         years, where specific criteria are met.
                                                 period.                                                                     reductions in 20 states with remaining
                                                    The backstop daily emissions rates                                                                                                                   For sources located in the 20 states
                                                                                                                             interstate transport obligations for the
                                                 work in tandem with the ozone season                                        2015 ozone NAAQS in 2026: Arkansas,                                         listed in the previous paragraph, the
                                                 emissions budgets to ensure the                                             California, Illinois, Indiana, Kentucky,                                    EPA is finalizing the NOX emissions
                                                 elimination of significant contribution                                     Louisiana, Maryland, Michigan,                                              limits listed in Table I.B–2 for
                                                 as determined at Step 3 is maintained                                       Mississippi, Missouri, Nevada, New                                          reciprocating internal combustion
                                                 over time and more consistently                                             Jersey, New York, Ohio, Oklahoma,                                           engines in Pipeline Transportation of
                                                 throughout each ozone season. They                                          Pennsylvania, Texas, Utah, Virginia,                                        Natural Gas; the NOX emissions limits
                                                 will offer downwind receptor areas a                                        and West Virginia. These requirements                                       listed in Table I.B–3 for kilns in Cement
                                                 necessary measure of assurance that                                         would apply to all existing emissions                                       and Cement Product Manufacturing; the
                                                 they will be protected on a daily basis                                     units and to any future emissions units                                     NOX emissions limits listed in Table
                                                 during the ozone season by more                                             constructed in the covered states that                                      I.B–4 for reheat furnaces in Iron and
                                                 continuous and consistent operation of                                      meet the relevant applicability criteria.                                   Steel Mills and Ferroalloy
                                                 installed pollution controls. The EPA’s                                     Thus, the emissions limitations for non-                                    Manufacturing; the NOX emissions
                                                 experience with the CSAPR trading                                           EGU sources and associated compliance                                       limits listed in Table I.B–5 for furnaces
                                                 programs has revealed instances where                                       requirements would apply in all 20                                          in Glass and Glass Product
                                                 EGUs have reduced their SCRs’                                               states listed in this paragraph, even if                                    Manufacturing; the NOX emissions
                                                 performance on a given day, or across                                       some of these states do not currently                                       limits listed in Table I.B–6 for boilers in
                                                 the entire ozone seasons in some cases,                                     have any existing emissions units                                           Iron and Steel Mills and Ferroalloy
                                                 including high ozone days.23 In addition                                    meeting the applicability criteria for the                                  Manufacturing, Metal Ore Mining, Basic
                                                 to maintaining a mass-based seasonal                                        identified industries.                                                      Chemical Manufacturing, Petroleum and
                                                 requirement, this rule will achieve a                                         Based on our evaluation of the time                                       Coal Products Manufacturing, and Pulp,
                                                 much more consistent level of emissions                                     required to install controls at the types                                   Paper, and Paperboard Mills; and the
                                                 control in line with our Step 3                                             of non-EGU sources covered by this                                          NOX emissions limits listed in Table
                                                 determination of significant                                                rule, the EPA has identified the 2026                                       I.B–7 for combustors and incinerators in
                                                 contribution while maintaining                                              ozone season as a reasonable                                                Solid Waste Combustors or Incinerators.

                                                                  TABLE I.B–2—SUMMARY OF NOX EMISSIONS LIMITS FOR PIPELINE TRANSPORTATION OF NATURAL GAS
                                                                                                                                                                                                                                               NOX emissions limit
                                                                                                                              Engine type and fuel                                                                                                 (g/hp-hr)

                                                 Natural Gas Fired Four Stroke Rich Burn ...............................................................................................................................                                         1.0
                                                 Natural Gas Fired Four Stroke Lean Burn ..............................................................................................................................                                          1.5
                                                 Natural Gas Fired Two Stroke Lean Burn ...............................................................................................................................                                          3.0


                                                              TABLE I.B–3—SUMMARY OF NOX EMISSIONS LIMITS FOR KILN TYPES IN CEMENT AND CONCRETE PRODUCT
                                                                                                  MANUFACTURING
                                                                                                                                                                                                                                               NOX emissions limit
                                                                                                                                       Kiln type                                                                                                (lb/ton of clinker)

                                                 Long Wet .................................................................................................................................................................................                      4.0
                                                 Long Dry ..................................................................................................................................................................................                     3.0
                                                 Preheater .................................................................................................................................................................................                     3.8
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                                                 Precalciner ...............................................................................................................................................................................                     2.3
                                                 Preheater/Precalciner ..............................................................................................................................................................                            2.8




                                                  23 See 86 FR 23090. The EPA highlighted the                                tripled its ozone-season NOX emission rate between
                                                 Miami Fort Unit 7 (possessing a SCR) more than                              2017 and 2019.



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                                                    Based on evaluation of comments                                           proposed at 87 FR 20046 (see section
                                                 received, the EPA is not, at this time,                                      VII.C.2 of the April 6, 2022, Proposal).
                                                 finalizing the source cap limit as

                                                    TABLE I.B–4—SUMMARY OF NOX CONTROL REQUIREMENTS FOR IRON AND STEEL AND FERROALLOY EMISSIONS UNITS
                                                                                                                                                                                               NOX emissions standard or requirement
                                                                                              Emissions unit                                                                                               (lb/mmBtu)

                                                 Reheat furnace .........................................................................................             Test and set limit based on installation of Low-NOX Burners.


                                                          TABLE I.B–5—SUMMARY OF NOX EMISSIONS LIMITS FOR FURNACE UNIT TYPES IN GLASS AND GLASS PRODUCT
                                                                                                 MANUFACTURING
                                                                                                                                                                                                                                               NOX emissions limit
                                                                                                                                Furnace type                                                                                               (lb/ton of glass produced)

                                                 Container Glass Manufacturing Furnace .....................................................................................................................                                                        4.0
                                                 Pressed/Blown Glass Manufacturing Furnace or Fiberglass Manufacturing Furnace ................................................                                                                                     4.0
                                                 Flat Glass Manufacturing Furnace ..............................................................................................................................                                                    7.0


                                                   TABLE I.B–6—SUMMARY OF NOX EMISSIONS LIMITS FOR BOILERS IN IRON AND STEEL AND FERROALLOY MANUFAC-
                                                      TURING, METAL ORE MINING, BASIC CHEMICAL MANUFACTURING, PETROLEUM AND COAL PRODUCTS MANUFAC-
                                                      TURING, AND PULP, PAPER, AND PAPERBOARD MILLS

                                                                                                                                                                                                                                                      Emissions limit
                                                                                                                                         Unit type                                                                                                  (lbs NOX/mmBtu)

                                                 Coal ..........................................................................................................................................................................................                   0.20
                                                 Residual oil ..............................................................................................................................................................................                       0.20
                                                 Distillate oil ...............................................................................................................................................................................                    0.12
                                                 Natural gas ..............................................................................................................................................................................                        0.08


                                                             TABLE I.B–7—SUMMARY OF NOX EMISSIONS LIMITS FOR COMBUSTORS AND INCINERATORS IN SOLID WASTE
                                                                                           COMBUSTORS OR INCINERATORS
                                                                                                                                                                                                                                                   NOX emissions limit
                                                                                                              Combustor or incinerator, averaging period                                                                                               (ppmvd)

                                                 ppmvd on a 24-hour block averaging period ..........................................................................................................................                                              110
                                                 ppmvd on a 30-day rolling averaging period ...........................................................................................................................                                            105



                                                    Section VI.C of this document                                             modeling platform and emissions                                                Section IX of this document provides a
                                                 provides an overview of the                                                  inventories used in the rule, as well as                                       summary of changes to the existing
                                                 applicability criteria, compliance                                           the EPA’s methods for identifying                                              regulatory text applicable to the EGUs
                                                 assurance requirements, and the EPA’s                                        downwind air quality problems and                                              covered by this rule; and section X of
                                                 rationale for establishing these                                             upwind states’ ozone transport                                                 this document discusses the statutory
                                                 emissions limits and control                                                 contributions to downwind states.                                              and executive orders affecting this
                                                 requirements for each of the non-EGU                                         Section V of this document describes                                           rulemaking.
                                                 industries covered by the rule.                                              the EPA’s approach to quantifying
                                                    The remainder of this preamble is                                         upwind states’ obligations in the form of                                      C. Costs and Benefits
                                                 organized as follows: section II of this                                     EGU NOX control stringencies and non-                                             A summary of the key results of the
                                                 document outlines general applicability                                      EGU emissions limits. Section VI of this                                       cost-benefit analysis that was prepared
                                                 criteria and describes the EPA’s legal                                       document describes key elements of the                                         for this final rule is presented in Table
                                                 authority for this rule and the                                              implementation schedule for EGU and                                            I.C–1. Table I.C–1 presents estimates of
                                                 relationship of the rule to previous                                         non-EGU emissions reductions                                                   the present values (PV) and equivalent
                                                 interstate ozone transport rulemakings.                                      requirements, including details                                                annualized values (EAV), calculated
                                                 Section III of this document describes                                       regarding the revised aspects of the                                           using discount rates of 3 and 7 percent
                                                 the human health and environmental                                           CSAPR NOX Group 3 trading program                                              as recommended by OMB’s Circular A–
                                                 challenges posed by interstate transport                                     and compliance deadlines, as well as                                           4, of the health and climate benefits,
                                                 contributions to ozone air quality                                                                                                                          compliance costs, and net benefits of the
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                                                                                                                              regulatory requirements and compliance
                                                 problems, as well as the EPA’s overall                                       deadlines for non-EGU sources. Section                                         final rule, in 2016 dollars, discounted to
                                                 approach for addressing interstate                                           VII of this document discusses the                                             2023. The estimated monetized net
                                                 transport for the 2015 ozone NAAQS in                                        environmental justice analysis of the                                          benefits are the estimated monetized
                                                 this rule. Section IV of this document                                       rule, as well as outreach and                                                  benefits minus the estimated monetized
                                                 describes the Agency’s analyses of air                                       engagement efforts. Section VIII of this                                       costs of the final rule. These results
                                                 quality data to inform this rulemaking,                                      document describes the expected costs,                                         present an incomplete overview of the
                                                 including descriptions of the air quality                                    benefits, and other impacts of this rule.                                      effects of the rule because important


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                                                 categories of benefits—including                                          not monetized and are therefore not                                        effects into account would show the
                                                 benefits from reducing other types of air                                 reflected in the cost-benefit tables. We                                   rule to be more net beneficial than this
                                                 pollutants, and water pollution—were                                      anticipate that taking non-monetized                                       table reflects.

                                                  TABLE I.C–1—ESTIMATED MONETIZED HEALTH AND CLIMATE BENEFITS, COMPLIANCE COSTS, AND NET BENEFITS OF THE
                                                                                     FINAL RULE, 2023 THROUGH 2042
                                                                                                                                  [Millions 2016$, discounted to 2023] a

                                                                                                                                                                                                                              3% Discount             7% Discount
                                                                                                                                                                                                                                 rate                    rate

                                                 Present Value:
                                                     Health Benefits b ...............................................................................................................................................              $200,000             $130,000
                                                     Climate Benefits c .............................................................................................................................................                 15,000               15,000
                                                     Compliance Costs d ..........................................................................................................................................                    14,000                9,400
                                                     Net Benefits ......................................................................................................................................................             200,000              140,000
                                                 Equivalent Annualized Value:
                                                     Health Benefits .................................................................................................................................................                  13,000              12,000
                                                     Climate Benefits ...............................................................................................................................................                      970                 970
                                                     Compliance Costs ............................................................................................................................................                         910                 770
                                                     Net Benefits ......................................................................................................................................................                13,000              12,000
                                                    a Rows  may not appear to add correctly due to rounding.
                                                    b The annualized present value of costs and benefits are calculated over a 20-year period from 2023 to 2042. Monetized benefits include those
                                                 related to public health associated with reductions in ozone and PM2.5 concentrations. The health benefits are associated with two point esti-
                                                 mates and are presented at real discount rates of 3 and 7 percent. Several categories of benefits remain unmonetized and are thus not reflected
                                                 in the table.
                                                    c Climate benefits are calculated using four different estimates of the social cost of carbon (SC–CO (model average at 2.5 percent, 3 percent,
                                                                                                                                                          2
                                                 and 5 percent discount rates; 95th percentile at 3 percent discount rate). For presentational purposes in this table, the climate benefits associ-
                                                 ated with the average SC–CO2 at a 3-percent discount rate are used in the columns displaying results of other costs and benefits that are dis-
                                                 counted at either a 3-percent or 7-percent discount rate.
                                                    d The costs presented in this table are consistent with the costs presented in Chapter 4 of the Regulatory Impact Analysis (RIA). To estimate
                                                 these annualized costs for EGUs, the EPA uses a conventional and widely accepted approach that applies a capital recovery factor (CRF) multi-
                                                 plier to capital investments and adds that to the annual incremental operating expenses. Costs were calculated using a 3.76 percent real dis-
                                                 count rate consistent with the rate used in IPM’s objective function for cost-minimization. For further information on the discount rate use, please
                                                 see Chapter 4, Table 4–8 in the RIA.


                                                    As shown in Table I.C–1, the PV of                                     ($12,000 million). The PV of the                                           rate, the PV of the compliance costs is
                                                 the monetized health benefits,                                            monetized climate benefits, associated                                     estimated to be about $9.4 billion
                                                 associated with reductions in ozone and                                   with reductions in GHG emissions, of                                       ($9,400 million), with an EAV of about
                                                 PM2.5 concentrations, of this final rule,                                 this final rule, discounted at a 3-percent                                 $770 million.
                                                 discounted at a 3-percent discount rate,                                  discount rate, is estimated to be about
                                                 is estimated to be about $200 billion                                     $15 billion ($15,000 million), with an                                     II. General Information
                                                 ($200,000 million), with an EAV of                                        EAV of about $970 million. The PV of                                       A. Does this action apply to me?
                                                 about $13 billion ($13,000 million). At                                   the monetized compliance costs,
                                                 a 7-percent discount rate, the PV of the                                  discounted at a 3-percent rate, is                                           This rule affects EGU and non-EGU
                                                 monetized health benefits is estimated                                    estimated to be about $14 billion                                          sources, and regulates the groups
                                                 to be $130 billion ($130,000 million),                                    ($14,000 million), with an EAV of about                                    identified in Table II.A–1.
                                                 with an EAV of about $12 billion                                          $910 million. At a 7-percent discount

                                                                                                                              TABLE II.A–1—REGULATED GROUPS
                                                                                                                                       Industry group                                                                                                   NAICS

                                                 Fossil fuel-fired electric power generation ...........................................................................................................................................                   221112
                                                 Pipeline Transportation of Natural Gas ...............................................................................................................................................                      4862
                                                 Metal Ore Mining .................................................................................................................................................................................          2122
                                                 Cement and Concrete Product Manufacturing ....................................................................................................................................                              3273
                                                 Iron and Steel Mills and Ferroalloy Manufacturing .............................................................................................................................                             3311
                                                 Glass and Glass Product Manufacturing .............................................................................................................................................                         3272
                                                 Basic Chemical Manufacturing ............................................................................................................................................................                   3251
                                                 Petroleum and Coal Products Manufacturing .....................................................................................................................................                             3241
                                                 Pulp, Paper, and Paperboard Mills .....................................................................................................................................................                     3221
                                                 Solid Waste Combustors and Incinerators ..........................................................................................................................................                        562213
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                                                   This table is not intended to be                                        listed in the table could also be                                          applicability of this rule to a particular
                                                 exhaustive, but rather provides a guide                                   regulated. To determine whether your                                       entity, consult the person listed in the
                                                 for readers regarding entities likely to be                               EGU entity is regulated by this rule, you                                  FOR FURTHER INFORMATION CONTACT
                                                 regulated by this rule. This table lists                                  should carefully examine the                                               section.
                                                 the types of entities that the EPA is now                                 applicability criteria found in 40 CFR
                                                 aware could potentially be regulated by                                   97.1004, which are unchanged in this
                                                 this rule. Other types of entities not                                    rule. If you have questions regarding the


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                                                 B. What action is the Agency taking?                    for coal-fired steam sources with                      enforcement’’ of such NAAQS.24 The
                                                    The EPA evaluated whether interstate                 existing SCRs, and in the second control               statute directly imposes on states the
                                                 ozone transport emissions from upwind                   period in which a new SCR operates,                    duty to make these SIP submissions,
                                                 states are significantly contributing to                but not later than 2030, for those                     and the requirement to make the
                                                 nonattainment, or interfering with                      currently without SCRs.                                submissions is not conditioned upon
                                                 maintenance, of the 2015 ozone NAAQS                       This rule establishes emissions                     the EPA taking any action other than
                                                 in any downwind state using the same                    limitations for non-EGU sources in 20                  promulgating a new or revised
                                                 4-step interstate transport framework                   states: Arkansas, California, Illinois,                NAAQS.25
                                                 that was developed in previous ozone                    Indiana, Kentucky, Louisiana,                             The EPA has historically referred to
                                                 transport rulemakings. The EPA finds                    Maryland, Michigan, Mississippi,                       SIP submissions made for the purpose
                                                 that emissions reductions are required                  Missouri, Nevada, New Jersey, New                      of satisfying the applicable requirements
                                                 from EGU and non-EGU sources in a                       York, Ohio, Oklahoma, Pennsylvania,                    of CAA sections 110(a)(1) and 110(a)(2)
                                                 total of 23 upwind states to eliminate                  Texas, Utah, Virginia, and West                        as ‘‘infrastructure SIP’’ or ‘‘iSIP’’
                                                 significant contribution to downwind                    Virginia. In these states, the EPA is                  submissions. CAA section 110(a)(1)
                                                 air quality problems for the 2015 ozone                 establishing control requirements for the              addresses the timing and general
                                                 standard under the interstate transport                 following unit types in non-EGU                        requirements for iSIP submissions, and
                                                 provision of the CAA. The EPA will                      industries: reciprocating internal                     CAA section 110(a)(2) provides more
                                                 ensure that these NOX emissions                         combustion engines in Pipeline                         details concerning the required content
                                                 reductions are achieved by issuing FIP                  Transportation of Natural Gas; kilns in                of these submissions.26 It includes a list
                                                 requirements for 23 states: Alabama,                    Cement and Cement Product                              of specific elements that ‘‘[e]ach such
                                                 Arkansas, California, Illinois, Indiana,                Manufacturing; reheat furnaces in Iron                 plan’’ must address.27
                                                 Kentucky, Louisiana, Maryland,                          and Steel Mills and Ferroalloy                            CAA section 110(c)(1) requires the
                                                 Michigan, Minnesota, Mississippi,                       Manufacturing; furnaces in Glass and                   Administrator to promulgate a FIP at
                                                 Missouri, Nevada, New Jersey, New                       Glass Product Manufacturing; boilers in                any time within 2 years after the
                                                 York, Ohio, Oklahoma, Pennsylvania,                     Iron and Steel Mills and Ferroalloy                    Administrator: (1) finds that a state has
                                                 Texas, Utah, Virginia, West Virginia,                   Manufacturing, Metal Ore Mining, Basic                 failed to make a required SIP
                                                 and Wisconsin.                                          Chemical Manufacturing, Petroleum and                  submission; (2) finds a SIP submission
                                                    The EPA is revising the existing                     Coal Products Manufacturing, and Pulp,                 to be incomplete pursuant to CAA
                                                 CSAPR Group 3 Trading Program to                        Paper, and Paperboard Mills; and                       section 110(k)(1)(C); or (3) disapproves
                                                 include additional states beginning in                  combustors and incinerators in Solid                   a SIP submission. This obligation
                                                 the 2023 ozone season. EGUs in three                    Waste Combustors and Incinerators. See                 applies unless the state corrects the
                                                 states not currently covered by any                     Table II.A–1 in this document for a list               deficiency through a SIP revision that
                                                 CSAPR trading program for seasonal                      of NAICS codes for each entity included                the Administrator approves before the
                                                 NOX emissions—Minnesota, Nevada,                        for regulation in this rule.                           FIP is promulgated.28
                                                 and Utah—will be added to the CSAPR                        This rule reduces the transport of                     CAA section 110(a)(2)(D)(i)(I), also
                                                 Group 3 Trading Program under this                      ozone precursor emissions to downwind                  known as the ‘‘good neighbor’’
                                                 rule. EGUs in twelve states currently                   areas, which is protective of human                    provision, provides the primary basis
                                                 participating in the Group 3 Trading                    health and the environment because                     for this rule.29 It requires that each state
                                                 Program will remain in the program                      acute and chronic exposure to ozone are                SIP include provisions sufficient to
                                                 under this rule: Illinois, Indiana,                     both associated with negative health                   ‘‘prohibit[ ], consistent with the
                                                 Kentucky, Louisiana, Maryland,                          impacts. Ozone exposure is also                        provisions of this subchapter, any
                                                 Michigan, New Jersey, New York, Ohio,                   associated with negative effects on                    source or other type of emissions
                                                 Pennsylvania, Virginia, and West                        ecosystems. Additional information on                  activity within the State from emitting
                                                 Virginia. EGUs in seven states                          the air quality issues addressed by this               any air pollutant in amounts which
                                                 (Alabama, Arkansas, Mississippi,                        rule are included in section III of this               will—(I) contribute significantly to
                                                 Missouri, Oklahoma, Texas, and                          document.                                              nonattainment in, or interfere with
                                                 Wisconsin) will transition from the                     C. What is the Agency’s legal authority                maintenance by, any other State with
                                                 CSAPR Group 2 Trading Program to the                    for taking this action?                                respect to any [NAAQS].’’ 30 The EPA
                                                 CSAPR Group 3 Trading Program under                                                                            often refers to the emissions reduction
                                                 this rule beginning in the 2023 ozone                      The statutory authority for this rule is
                                                                                                                                                                requirements under this provision as
                                                 season. The EPA is establishing control                 provided by the CAA as amended (42
                                                                                                                                                                ‘‘good neighbor obligations’’ and
                                                 stringency levels reflecting installation               U.S.C. 7401 et seq.). Specifically,
                                                                                                                                                                submissions addressing these
                                                 of state-of-the-art combustion controls                 sections 110 and 301 of the CAA
                                                                                                                                                                requirements as ‘‘good neighbor SIPs.’’
                                                 on certain covered EGU sources in                       provide the primary statutory
                                                 emissions budgets beginning in the 2024                 underpinnings for this rule. The most                    24 42  U.S.C. 7410(a)(1).
                                                 ozone season. The EPA is establishing                   relevant portions of CAA section 110 are                 25 See  EPA v. EME Homer City Generation, L.P.,
                                                 control stringency levels reflecting                    subsections 110(a)(1), 110(a)(2)                       572 U.S. 489, 509–10 (2014).
                                                 installation of new SCR or SNCR                         (including 110(a)(2)(D)(i)(I)) and                       26 42 U.S.C. 7410(a)(2).

                                                 controls on certain covered EGU sources                 110(c)(1)).                                              27 The EPA’s general approach to infrastructure

                                                 in emissions budgets beginning in the                      CAA section 110(a)(1) provides that                 SIP submissions is explained in greater detail in
                                                                                                         states must make SIP submissions                       individual notices acting or proposing to act on
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                                                 2026 ozone season.                                                                                             state infrastructure SIP submissions and in
                                                    As a complement to the ozone season                  ‘‘within 3 years (or such shorter period               guidance. See, e.g., Memorandum from Stephen D.
                                                 emissions budgets, the EPA is also                      as the Administrator may prescribe)                    Page on Guidance on Infrastructure State
                                                 establishing a backstop daily emissions                 after the promulgation of a national                   Implementation Plan (SIP) Elements under Clean
                                                                                                         primary ambient air quality standard (or               Air Act Sections 110(a)(1) and 110(a)(2) (September
                                                 rate of 0.14 lb/mmBtu for coal-fired                                                                           13, 2013).
                                                 steam units greater than or equal to 100                any revision thereof),’’ and that these                  28 42 U.S.C. 7410(c)(1).

                                                 MW in covered states. The backstop                      SIP submissions are to provide for the                   29 42 U.S.C. 7410(a)(2)(D)(i)(I).

                                                 emissions rate will first apply in 2024                 ‘‘implementation, maintenance, and                       30 Id.




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                                                    Once the EPA promulgates a NAAQS,                    D. What actions has the EPA previously                  PM2.5 and 1997 ozone NAAQS.40 On
                                                 the EPA must designate areas as being                   issued to address regional ozone                        March 15, 2006, the EPA promulgated
                                                 in ‘‘attainment’’ or ‘‘nonattainment’’ of               transport?                                              FIPs to implement the emissions
                                                 the NAAQS, or ‘‘unclassifiable.’’ CAA                                                                           reductions required by CAIR.41 CAIR
                                                                                                            The EPA has issued several previous
                                                 section 107(d).31 For ozone,                                                                                    was remanded to EPA by the D.C.
                                                                                                         rules interpreting and clarifying the
                                                 nonattainment is further split into five                                                                        Circuit in North Carolina v. EPA, 531
                                                                                                         requirements of CAA section                             F.3d 896 (D.C. Cir.), modified on reh’g,
                                                 classifications based on the severity of                110(a)(2)(D)(i)(I) with respect to the
                                                 the violation—Marginal, Moderate,                                                                               550 F.3d 1176 (D.C. Cir. 2008). For more
                                                                                                         regional transport of ozone. These rules,               information on the legal issues
                                                 Serious, Severe, or Extreme. Higher                     and the associated court decisions
                                                 classifications provide states with                                                                             underlying CAIR and the D.C. Circuit’s
                                                                                                         addressing these rules, summarized                      holding in North Carolina, refer to the
                                                 progressively more time to attain while                 here, provide important direction
                                                 imposing progressively more stringent                                                                           preamble of the CSAPR rule.42
                                                                                                         regarding the requirements of CAA                         In 2011, the EPA promulgated CSAPR
                                                 control requirements. See CAA sections                  section 110(a)(2)(D)(i)(I).                             to address the issues raised by the
                                                 181, 182.32 In general, states with                        The ‘‘NOX SIP Call,’’ promulgated in                 remand of CAIR. CSAPR addressed the
                                                 nonattainment areas classified as                       1998, addressed the good neighbor                       two NAAQS at issue in CAIR and
                                                 Moderate or higher must submit plans                    provision for the 1979 1-hour ozone                     additionally addressed the good
                                                 to the EPA to bring these areas into                    NAAQS.37 The rule required 22 states                    neighbor provision for the 2006 PM2.5
                                                 attainment according to the statutory                   and the District of Columbia to amend                   NAAQS.43 CSAPR required 28 states to
                                                 schedule. CAA section 182.33 If an area                 their SIPs to reduce NOX emissions that                 reduce SO2 emissions, annual NOX
                                                 fails to attain the NAAQS by the                        contribute to ozone nonattainment in                    emissions, or ozone season NOX
                                                 attainment date associated with its                     downwind states. The EPA set ozone                      emissions that significantly contribute
                                                 classification, it is ‘‘bumped up’’ to the              season NOX budgets for each state, and                  to other states’ nonattainment or
                                                 next classification. CAA section                        the states were given the option to                     interfere with other states’ abilities to
                                                 181(b).34                                               participate in a regional allowance                     maintain these air quality standards.44
                                                    Section 301(a)(1) of the CAA gives the               trading program, known as the NOX                       To align implementation with the
                                                 Administrator the general authority to                  Budget Trading Program.38 The D.C.                      applicable attainment deadlines, the
                                                 prescribe such regulations as are                       Circuit largely upheld the NOX SIP Call                 EPA promulgated FIPs for each of the 28
                                                 necessary to carry out functions under                  in Michigan v. EPA, 213 F.3d 663 (D.C.                  states covered by CSAPR. The FIPs
                                                 the Act.35 Pursuant to this section, the                Cir. 2000), cert. denied, 532 U.S. 904                  require EGUs in the covered states to
                                                 EPA has authority to clarify the                        (2001).                                                 participate in regional trading programs
                                                 applicability of CAA requirements and                      The EPA’s next rule addressing the                   to achieve the necessary emissions
                                                 undertake other rulemaking action as                    good neighbor provision, CAIR, was                      reductions. Each state can submit a good
                                                 necessary to implement CAA                              promulgated in 2005 and addressed                       neighbor SIP at any time that, if
                                                 requirements. CAA section 301 affords                   both the 1997 fine particulate matter                   approved by EPA, would replace the
                                                 the Agency any additional authority that                (PM2.5) NAAQS and 1997 ozone                            CSAPR FIP for that state.
                                                                                                         NAAQS.39 CAIR required SIP revisions                      CSAPR was the subject of an adverse
                                                 may be needed to make certain other
                                                                                                         in 28 states and the District of Columbia               decision by the D.C. Circuit in August
                                                 changes to its regulations under 40 CFR
                                                                                                         to reduce emissions of sulfur dioxide                   2012.45 However, this decision was
                                                 parts 52, 75, 78, and 97, to effectuate the                                                                     reversed in April 2014 by the Supreme
                                                 purposes of the Act. Such changes are                   (SO2) or NOX—important precursors of
                                                                                                         regionally transported PM2.5 (SO2 and                   Court, which largely upheld the rule,
                                                 discussed in section IX of this                                                                                 including the EPA’s approach to
                                                 document.                                               annual NOX) and ozone (summer-time
                                                                                                         NOX). As in the NOX SIP Call, states                    addressing interstate transport in
                                                    Tribes are not required to submit state              were given the option to participate in                 CSAPR. EPA v. EME Homer City
                                                 implementation plans. However, as                       regional trading programs to achieve the                Generation, L.P., 572 U.S. 489 (2014)
                                                 explained in the EPA’s regulations                      reductions. When the EPA promulgated                    (EME Homer City I). The rule was
                                                 outlining Tribal Clean Air Act authority,               the final CAIR in 2005, the EPA also                    remanded to the D.C. Circuit to consider
                                                 the EPA is authorized to promulgate                     issued findings that states nationwide                  claims not addressed by the Supreme
                                                 FIPs for Indian country as necessary or                 had failed to submit SIPs to address the                Court. Id. In July 2015 the D.C. Circuit
                                                 appropriate to protect air quality if a                 requirements of CAA section                               40 70  FR 21147 (April 25, 2005).
                                                 tribe does not submit, and obtain the                   110(a)(2)(D)(i) with respect to the 1997                  41 71  FR 25328 (April 28, 2006).
                                                 EPA’s approval of, an implementation                                                                               42 Federal Implementation Plans: Interstate
                                                 plan. See 40 CFR 49.11(a); see also CAA                    37 Finding of Significant Contribution and
                                                                                                                                                                 Transport of Fine Particulate Matter and Ozone and
                                                 section 301(d)(4).36 In the proposed                    Rulemaking for Certain States in the Ozone              Correction of SIP Approvals, 76 FR 48208, 48217
                                                 rule, the EPA proposed an ‘‘appropriate                 Transport Assessment Group Region for Purposes of       (August 8, 2011).
                                                 or necessary’’ finding under CAA                        Reducing Regional Transport of Ozone, 63 FR                43 76 FR 48208.
                                                                                                         57356 (Oct. 27, 1998). As originally promulgated,          44 CSAPR was revised by several rulemakings
                                                 section 301(d) and proposed tribal                      the NOX SIP Call also addressed good neighbor           after its initial promulgation to revise certain states’
                                                 FIP(s) as necessary to implement the                    obligations under the 1997 8-hour ozone NAAQS,          budgets and to promulgate FIPs for five additional
                                                 relevant requirements. The EPA is                       but EPA subsequently stayed and later rescinded         states addressing the good neighbor obligation for
                                                                                                         the rule’s provisions with respect to that standard.    the 1997 ozone NAAQS. See 76 FR 80760
                                                 finalizing these determinations, as                     See 84 FR 8422 (March 8, 2019).                         (December 27, 2011); 77 FR 10324 (February 21,
                                                 further discussed in section III.C.2 of                    38 ‘‘Allowance Trading,’’ sometimes referred to as
                                                                                                                                                                 2012); 77 FR 34830 (June 12, 2012).
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                                                 this document.                                          ‘‘cap and trade,’’ is an approach to reducing              45 On August 21, 2012, the D.C. Circuit issued a
                                                                                                         pollution that has been used successfully to protect    decision in EME Homer City Generation, L.P. v.
                                                   31 42                                                 human health and the environment. The design            EPA, 696 F.3d 7 (D.C. Cir. 2012), vacating CSAPR.
                                                         U.S.C. 7407(d).
                                                   32 42
                                                                                                         elements of the EPA’s most recent trading programs      The EPA sought review with the D.C. Circuit en
                                                         U.S.C. 7511, 7511a.                             are discussed in section VI.B.1.a of this document.
                                                   33 42 U.S.C. 7511a.
                                                                                                                                                                 banc and the D.C. Circuit declined to consider the
                                                                                                            39 Rule To Reduce Interstate Transport of Fine       EPA’s appeal en banc. EME Homer City Generation,
                                                   34 42 U.S.C. 7511(b).
                                                                                                         Particulate Matter and Ozone (Clean Air Interstate      L.P. v. EPA, No. 11–1302 (D.C. Cir. January 24,
                                                   35 42 U.S.C. 7601(a)(1).
                                                                                                         Rule); Revisions to Acid Rain Program; Revisions to     2013), ECF No. 1417012 (denying EPA’s motion for
                                                   36 42 U.S.C. 7601(d)(4).                              the NOX SIP Call, 70 FR 25162 (May 12, 2005).           rehearing en banc).



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                                                 generally affirmed the EPA’s                            NOX were required with respect to the                  with the 2021 ozone season. Based on
                                                 interpretation of various statutory                     2008 ozone NAAQS for 20 of the 22                      the EPA’s assessment of remaining air
                                                 provisions and the EPA’s technical                      eastern states covered by the CSAPR                    quality issues and additional emissions
                                                 decisions. EME Homer City Generation,                   Update.50                                              control strategies for EGUs and
                                                 L.P. v. EPA, 795 F.3d 118 (2015) (EME                     The CSAPR Update and the CSAPR                       emissions sources in other industry
                                                 Homer City II). However, the court                      Close-Out were both subject to legal                   sectors (non-EGUs), the EPA determined
                                                 remanded the rule without vacatur for                   challenges in the D.C. Circuit.                        that the NOX emissions reductions
                                                 reconsideration of the EPA’s emissions                  Wisconsin v. EPA, 938 F.3d 303 (D.C.                   achieved by the Revised CSAPR Update
                                                 budgets for certain states, which the                   Cir. 2019) (Wisconsin); New York v.                    fully eliminated these states’ significant
                                                 court found may have over-controlled                    EPA, 781 Fed. App’x 4 (D.C. Cir. 2019)                 contributions to downwind air quality
                                                 those states’ emissions with respect to                 (New York). In September 2019, the D.C.                problems for the 2008 ozone NAAQS.
                                                 the downwind air quality problems to                    Circuit upheld the CSAPR Update in                     As under the CSAPR and the CSAPR
                                                 which the states were linked. Id. at 129–               virtually all respects but remanded the                Update, each state can submit a good
                                                 30, 138. For more information on the                    rule because it was partial in nature and              neighbor SIP at any time that, if
                                                 legal issues associated with CSAPR and                  did not fully eliminate upwind states’                 approved by the EPA, would replace the
                                                 the Supreme Court’s and D.C. Circuit’s                  significant contribution to                            Revised CSAPR Update FIP for that
                                                 decisions in the EME Homer City                         nonattainment or interference with                     state.
                                                 litigation, refer to the preamble of the                maintenance of the 2008 ozone NAAQS                      On March 3, 2023, the D.C. Circuit
                                                 CSAPR Update.46                                         by ‘‘the relevant downwind attainment                  Court of Appeals denied the Midwest
                                                    In 2016, the EPA promulgated the                     deadlines’’ in the CAA. Wisconsin, 938                 Ozone Group’s (MOG) petition for
                                                 CSAPR Update to address interstate                      F.3d at 313–15. In October 2019, the                   review of the Revised CSAPR Update.
                                                 transport of ozone pollution with                       D.C. Circuit vacated the CSAPR Close-                  MOG v. EPA, No. 21–1146 (D.C. Cir.
                                                 respect to the 2008 ozone NAAQS.47                      Out on the same grounds that it                        March 3, 2023). The court noted that it
                                                 The final rule updated the CSAPR ozone                  remanded the CSAPR Update in                           has ‘‘exhaustively’’ addressed the
                                                 season NOX emissions budgets for 22                     Wisconsin, specifically because the                    interstate transport framework before,
                                                 states to achieve cost-effective and                    Close-Out rule did not address good                    citing relevant cases, and ‘‘incorporate
                                                 immediately feasible NOX emissions                      neighbor obligations by ‘‘the next                     them herein by reference.’’ Slip Op. 1
                                                 reductions from EGUs within those                       applicable attainment date’’ of                        n.1. In response to MOG’s arguments,
                                                 states.48 The EPA aligned the analysis                  downwind states. New York, 781 Fed.                    the court upheld the Agency’s air
                                                 and implementation of the CSAPR                         App’x at 7.51                                          quality analysis. Id. at 10–11. The court
                                                 Update with the 2017 ozone season to                      In response to the Wisconsin remand                  noted that in light of the statutory
                                                 assist downwind states with timely                      of the CSAPR Update and the New York                   timing framework and court-ordered
                                                 attainment of the 2008 ozone NAAQS.49                   vacatur of the CSAPR Close-Out, the                    schedule the EPA was under, the
                                                 The CSAPR Update implemented the                        EPA promulgated the Revised CSAPR                      Agency’s methodological choices were
                                                 budgets through FIPs requiring sources                  Update on April 30, 2021.52 The                        reasonable and provided ‘‘an
                                                 to participate in a revised CSAPR NOX                   Revised CSAPR Update found that the                    appropriately reliable projection of air
                                                 ozone season trading program beginning                  CSAPR Update was a full remedy for                     quality conditions and contributions in
                                                 with the 2017 ozone season. As under                    nine of the covered states. For the 12                 2021.’’ Id. at 11–12.
                                                 CSAPR, each state could submit a good                   remaining states, the EPA found that
                                                 neighbor SIP at any time that, if                       their projected 2021 ozone season NOX                  III. Air Quality Issues Addressed and
                                                 approved by the EPA, would replace the                  emissions would significantly                          Overall Rule Approach
                                                 CSAPR Update FIP for that state. The                    contribute to downwind states’                         A. The Interstate Ozone Transport Air
                                                 final CSAPR Update also addressed the                   nonattainment or maintenance                           Quality Challenge
                                                 remand by the D.C. Circuit of certain                   problems. The EPA issued new or
                                                 states’ CSAPR phase 2 ozone season                      amended FIPs for these 12 states and                   1. Nature of Ozone and the Ozone
                                                 NOX emissions budgets in EME Homer                      required implementation of revised                     NAAQS
                                                 City II.                                                emissions budgets for EGUs beginning                      Ground-level ozone is not emitted
                                                    In December 2018, the EPA                                                                                   directly into the air but is created by
                                                 promulgated the CSAPR ‘‘Close-Out,’’                      50 Determination Regarding Good Neighbor
                                                                                                                                                                chemical reactions between NOX and
                                                 which determined that no further                        Obligations for the 2008 Ozone National Ambient
                                                                                                         Air Quality Standard, 83 FR 65878, 65882               volatile organic compounds (VOCs) in
                                                 enforceable reductions in emissions of                  (December 21, 2018). After promulgating the            the presence of sunlight. Emissions from
                                                   46 Cross-State Air Pollution Rule Update for the
                                                                                                         CSAPR Update and before promulgating the CSAPR         electric utilities and industrial facilities,
                                                                                                         Close-Out, the EPA approved a SIP from Kentucky        motor vehicles, gasoline vapors, and
                                                 2008 Ozone NAAQS, 81 FR 74504, 74511 (October           resolving the Commonwealth’s good neighbor
                                                 26, 2016).                                              obligations for the 2008 ozone NAAQS. 83 FR            chemical solvents are some of the major
                                                   47 81 FR 74504.                                       33730 (July 17, 2018). In the Revised CSAPR            sources of NOX and VOCs.
                                                   48 One state, Kansas, was made newly subject to       Update, the EPA made an error correction under            Because ground-level ozone formation
                                                 ozone season NOX requirements by the CSAPR              CAA section 110(k)(6) to convert this approval to      increases with temperature and
                                                 Update. All other CSAPR Update states were              a disapproval, because the Kentucky approval
                                                 already subject to ozone season NOX requirements        relied on the same analysis which the D.C. Circuit     sunlight, ozone levels are generally
                                                 under CSAPR.                                            determined to be unlawful in the CSAPR Close-Out.      higher during the summer months.
                                                   49 81 FR 74516. The EPA’s final 2008 Ozone              51 Subsequently, the D.C. Circuit made clear in a    Increased temperature also increases
                                                 NAAQS SIP Requirements Rule, 80 FR 12264,               decision reviewing the EPA’s denial of a petition      emissions of volatile man-made and
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                                                 12268 (March 6, 2015), revised the attainment           under CAA section 126 that the holding in
                                                                                                         Wisconsin regarding alignment with downwind
                                                                                                                                                                biogenic organics and can also
                                                 deadline for ozone nonattainment areas designated
                                                 as Moderate to July 20, 2018. See 40 CFR 51.1103.       area’s attainment schedules applies with equal force   indirectly increase NOX emissions (e.g.,
                                                 To demonstrate attainment by this deadline, states      to the Marginal area attainment date established       increased electricity generation for air
                                                 were required to rely on design values calculated       under CAA section 181(a). See Maryland v. EPA,         conditioning).
                                                 using ozone season data from 2015 through 2017,         958 F.3d 1185, 1203–04 (D.C. Cir. 2020).
                                                 since the July 20, 2018, deadline did not afford          52 Revised Cross-State Air Pollution Rule Update        On October 1, 2015, the EPA
                                                 enough time for measured data of the full 2018          for the 2008 Ozone NAAQS, 86 FR 23054 (April 30,       strengthened the primary and secondary
                                                 ozone season.                                           2021).                                                 ozone standards to 70 ppb as an 8-hour


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                                                 level.53 Specifically, the standards                    Adaptation in the United States: Fourth                  important contributor to peak ozone
                                                 require that the 3-year average of the                  National Climate Assessment, Volume                      concentrations and high-ozone days
                                                 fourth highest 24-hour maximum 8-hour                   II 57 reinforced these findings. The                     during the summer ozone season.
                                                 average ozone concentration may not                     increase in ozone results from changes                      The EPA has previously concluded in
                                                 exceed 70 ppb as a truncated value (i.e.,               in local weather conditions, including                   the NOX SIP Call, CAIR, CSAPR, the
                                                 digits to right of decimal removed).54 In               temperature and atmospheric                              CSAPR Update, and the Revised CSAPR
                                                 general, areas that exceed the ozone                    circulation patterns, as well as changes                 Update that a regional NOX control
                                                 standard are designated as                              in ozone precursor emissions that are                    strategy would be effective in reducing
                                                 nonattainment areas, pursuant to the                    influenced by meteorology (Nolte et al.,                 regional-scale transport of ozone
                                                 designations process under CAA section                  2018). While the projected impact may                    precursor emissions. NOX emissions can
                                                 107(d), and are subject to heightened                   not be uniform, climate change has the                   be transported downwind as NOX or as
                                                 planning requirements depending on                      potential to increase average                            ozone after transformation in the
                                                 the severity of their nonattainment                     summertime ozone relative to a future                    atmosphere. In any given location,
                                                 classification, see CAA sections 181,                   without climate change.58 59 60 Climate                  ozone pollution levels are impacted by
                                                 182.                                                    change has the potential to offset some                  a combination of background ozone
                                                    In the process of setting the 2015                   of the improvements in ozone air                         concentration, local emissions, and
                                                 ozone NAAQS, the EPA noted that the                     quality, and therefore some of the                       emissions from upwind sources
                                                 conditions conducive to the formation                   improvements in public health, that are                  resulting from ozone transport, in
                                                 of ozone (i.e., seasonally-dependent                    expected from reductions in emissions                    conjunction with variable
                                                 factors such as ambient temperature,                    of ozone precursors (80 FR 65300). The                   meteorological conditions. Downwind
                                                 strength of solar insolation, and length                EPA responds to comments received on                     states’ ability to meet health-based air
                                                 of day) differ by location, and that the                the impacts of climate change on ozone                   quality standards such as the NAAQS is
                                                 Agency believes it is important that                    formation in section 11 of the Response                  challenged by the transport of ozone
                                                 ozone monitors operate during all                       to Comments (RTC) document.                              pollution across state borders. For
                                                 periods when there is a reasonable                                                                               example, ozone assessments conducted
                                                 possibility of ambient levels                           2. Ozone Transport                                       for the October 2015 Regulatory Impact
                                                 approaching the level of the NAAQS. At                     Studies have established that ozone                   Analysis of the Final Revisions to the
                                                 that time, the EPA stated that ambient                  formation, atmospheric residence, and                    National Ambient Air Quality Standards
                                                 ozone concentrations in many areas                      transport occur on a regional scale (i.e.,               for Ground-Level Ozone 62 continue to
                                                 could approach or exceed the level of                   thousands of kilometers) over much of                    show the importance of NOX emissions
                                                 the NAAQS, more frequently and during                   the U.S.61 While substantial progress                    for ozone transport. This analysis is
                                                 more months of the year compared with                   has been made in reducing ozone in                       included in the docket for this
                                                 the historical ozone season monitoring                  many areas, the interstate transport of                  rulemaking.
                                                 lengths. Consequently, the EPA                          ozone precursor emissions remains an                        Further, studies have found that EGU
                                                 extended the ozone monitoring season                                                                             NOX emissions reductions can be
                                                 for many locations. See 80 FR 65416 for                 Assessment. Crimmins, A., J. Balbus, J.L. Gamble,        effective in reducing individual 8-hour
                                                 more details.                                           C.B. Beard, J.E. Bell, D. Dodgen, R.J. Eisen, N. Fann,   peak ozone concentrations and in
                                                    Furthermore, the EPA stated that in                  M.D. Hawkins, S.C. Herring, L. Jantarasami, D.M.         reducing 8-hour peak ozone
                                                                                                         Mills, S. Saha, M.C. Sarofim, J. Trtanj, and L. Ziska,
                                                 addition to being affected by changing                  Eds. U.S. Global Change Research Program,                concentrations averaged across the
                                                 emissions, future ozone concentrations                  Washington, DC, 312 pp. https://dx.doi.org/              ozone season. For example, a study of
                                                 may also be affected by climate change.                 10.7930/J0R49NQX.                                        the EGU NOX reductions achieved
                                                                                                           57 USGCRP, 2018: Impacts, Risks, and Adaptation
                                                 Modeling studies in the EPA’s Interim                                                                            under the NOX Budget Trading Program
                                                                                                         in the United States: Fourth National Climate
                                                 Assessment (U.S. EPA, 2009a) that are                   Assessment, Volume II [Reidmiller, D.R., C.W.
                                                                                                                                                                  (i.e., the NOX SIP Call) shows that
                                                 cited in support of the 2009 Greenhouse                 Avery, D.R. Easterling, K.E. Kunkel, K.L.M. Lewis,       regulating NOX emissions in that
                                                 Gas Endangerment Finding under CAA                      T.K. Maycock, and B.C. Stewart (eds.)]. U.S. Global      program was highly effective in
                                                 section 202(a) (74 FR 66496, Dec. 15,                   Change Research Program, Washington, DC, USA,            reducing ozone concentrations during
                                                                                                         1515 pp. doi: 10.7930/NCA4.2018.
                                                 2009) as well as a recent assessment of                   58 Fann NL, Nolte CG, Sarofim MC, Martinich J,
                                                                                                                                                                  the ozone season.63
                                                 potential climate change impacts (Fann                  Nassikas NJ. Associations Between Simulated                 Previous regional ozone transport
                                                 et al., 2015) project that climate change               Future Changes in Climate, Air Quality, and Human        efforts, including the NOX SIP Call,
                                                 may lead to future increases in summer                  Health. JAMA Netw Open. 2021;4(1):e2032064.              CAIR, CSAPR, the CSAPR Update, and
                                                 ozone concentrations across the                         doi:10.1001/jamanetworkopen.2020.32064                   the Revised CSAPR Update, required
                                                                                                           59 Christopher G Nolte, Tanya L Spero, Jared H
                                                 contiguous U.S.55 (80 FR 65300). The                    Bowden, Marcus C Sarofim, Jeremy Martinich,
                                                                                                                                                                  ozone season NOX reductions from EGU
                                                 U.S. Global Change Research Program’s                   Megan S Mallard. Regional temperature-ozone              sources to address interstate transport of
                                                 Impacts of Climate Change on Human                      relationships across the U.S. under multiple climate     ozone. Together with NOX, the EPA has
                                                 Health in the United States: A Scientific               and emissions scenarios. J Air Waste Manag Assoc.        also identified VOCs as a precursor in
                                                                                                         2021 Oct;71(10):1251–1264. doi: 10.1080/
                                                 Assessment 56 and Impacts, Risks, and                   10962247.2021.1970048.
                                                                                                                                                                  forming ground-level ozone. Ozone
                                                                                                           60 Nolte, C.G., P.D. Dolwick, N. Fann, L.W.            formation chemistry can be ‘‘NOX-
                                                   53 80  FR 65291.                                      Horowitz, V. Naik, R.W. Pinder, T.L. Spero, D.A.         limited,’’ where ozone production is
                                                   54 40  CFR part 50, appendix P.                       Winner, and L.H. Ziska, 2018: Air Quality. In            primarily determined by the amount of
                                                    55 These modeling studies are based on coupled       Impacts, Risks, and Adaptation in the United States:     NOX emissions or ‘‘VOC-limited,’’
                                                 global climate and regional air quality models and      Fourth National Climate Assessment, Volume II
                                                 are designed to assess the sensitivity of U.S. air      [Reidmiller, D.R., C.W. Avery, D.R. Easterling, K.E.     where ozone production is primarily
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                                                 quality to climate change. A wide range of future       Kunkel, K.L.M. Lewis, T.K. Maycock, and B.C.
                                                 climate scenarios and future years have been            Stewart (eds.)]. U.S. Global Change Research               62 Available in the docket for the October 2015

                                                 modeled and there can be variations in the expected     Program, Washington, DC, USA, pp. 512–538. doi:          Revisions to the National Ambient Air Quality
                                                 response in U.S. O3 by scenario and across models       10.7930/NCA4.2018.CH13                                   Standards for Ground-Level Ozone at https://
                                                 and years, within the overall signal of higher            61 Bergin, M.S. et al. (2007) Regional air quality:    www.regulations.gov/docket/EPA-HQ-OAR-2008-
                                                 summer O3 concentrations in a warmer climate.           Local and interstate impacts of NOX and SO2              0699.
                                                    56 U.S. Global Change Research Program               emissions on ozone and fine particulate matter in          63 Butler, et al., ‘‘Response of Ozone and Nitrate

                                                 (USGCRP), 2016: The Impacts of Climate Change on        the eastern United States. Environmental Sci &           to Stationary Source Reductions in the Eastern
                                                 Human Health in the United States: A Scientific         Tech. 41: 4677–4689.                                     USA.’’Atmospheric Environment, 2011.



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                                                 determined by the amount of VOC                         community composition. See EPA’s                       from 23 states to nonattainment or
                                                 emissions.64 The EPA and others have                    October 2015 Regulatory Impact                         maintenance of the 2015 ozone NAAQS
                                                 long regarded NOX to be the more                        Analysis of the Final Revisions to the                 to meet the requirements of the CAA’s
                                                 significant ozone precursor in the                      National Ambient Air Quality Standards                 interstate transport provision. In this
                                                 context of interstate ozone transport.65                for Ground-Level Ozone 66 in the docket                rule, the EPA continues to observe that
                                                    The EPA has determined that the                      for this rulemaking for more information               requiring NOX emissions reductions
                                                 regulation of VOCs as an ozone                          on the human health and ecosystem                      from stationary sources is an effective
                                                 precursor is not necessary to eliminate                 effects associated with ambient ozone                  strategy for reducing regional ozone
                                                 significant contribution of ozone                       exposure.                                              transport in the U.S.
                                                 transport to downwind areas in this                        Commenters on prior ozone transport                    The EPA responds to other comments
                                                 rule. As described in section V.A of this               rules have asserted that VOC emissions                 received on the health and
                                                 document, the EPA examined the                          harm underserved and overburdened                      environmental impacts of ozone
                                                 results of the contribution modeling                    communities experiencing                               exposure in section 11 of the RTC
                                                 performed for this rule to identify the                 disproportionate environmental health                  document.
                                                 portion of the ozone contribution                       burdens and facing other environmental
                                                                                                                                                                B. Final Rule Approach
                                                 attributable to anthropogenic NOX                       injustices. The EPA acknowledges that
                                                 emissions versus VOC emissions from                     VOCs can contain toxic chemicals that                  1. The 4-Step Interstate Transport
                                                 each linked upwind state to each                        are detrimental to public health. The                  Framework
                                                 downwind receptor. Our analysis of the                  EPA conducted a demographic analysis                      The EPA first developed a multi-step
                                                 ozone contribution from upwind states                   as part of the regulatory impact analysis              process to address the requirements of
                                                 subject to regulation demonstrates that                 for the 2015 revisions to the primary                  the good neighbor provision in the 1998
                                                 regional ozone concentrations affecting                 and secondary ozone NAAQS. This                        NOX SIP Call and the 2005 CAIR. The
                                                 the vast majority of the downwind areas                 analysis, which is included in the                     Agency built upon this framework and
                                                 of air quality concern are NOX-limited,                 docket for this rulemaking, found                      further refined the methodology for
                                                 rather than VOC-limited. Therefore, the                 greater representation of minority                     addressing interstate transport
                                                 rule’s strategy for reducing regional-                  populations in areas with poor air                     obligations in subsequent rules such as
                                                 scale transport of ozone targets NOX                    quality relative to the revised ozone                  CSAPR in 2011, the CSAPR Update in
                                                 emissions from stationary sources to                    standard than in the U.S. as a whole.                  2016, and the Revised CSAPR Update in
                                                 achieve the most effective reductions of                The EPA concluded that populations in                  2021.67 In CSAPR, the EPA first
                                                 ozone transport over the geography of                   these areas would be expected to benefit               articulated a ‘‘4-step framework’’ within
                                                 the affected downwind areas. The                        from implementation of future air                      which to assess interstate transport
                                                 potential impacts of NOX mitigation                     pollution control actions from state and               obligations for ozone. In this rule to
                                                 strategies from other sources are                       local air agencies in implementing the                 address interstate transport obligations
                                                 discussed in section V.B of this                        strengthened standard. This rule is an                 for the 2015 ozone NAAQS, the EPA is
                                                 document.                                               example of air pollution control actions               again utilizing the 4-step interstate
                                                    In section V of this document, the                   implemented by the Federal                             transport framework. These steps are:
                                                 EPA describes the multi-factor test that                Government in support of the more                      (1) identifying downwind receptors that
                                                 is used to determine NOX emissions                      protective 2015 ozone NAAQS, and                       are expected to have problems attaining
                                                 reductions that are cost-effective and                  populations living in downwind ozone                   the NAAQS (nonattainment receptors)
                                                 reduce interstate transport of ground-                  nonattainment and maintenance areas                    or maintaining the NAAQS
                                                 level ozone. Our analysis indicates that                are expected to benefit from improved                  (maintenance receptors); (2)
                                                 the EGU and non-EGU control                             air quality that will result from reducing             determining which upwind states are
                                                 requirements included in this rule will                 ozone transport. Further discussion of                 ‘‘linked’’ to these identified downwind
                                                 provide meaningful improvements in air                  the environmental justice analysis of                  receptors based on a numerical
                                                 quality at the downwind receptors.                      this rule is located in section VII of this            contribution threshold; (3) for states
                                                 Based on the implementation schedule                    document and in the accompanying                       linked to downwind air quality
                                                 established in section VI.A of this                     regulatory impact analysis, titled                     problems, identifying upwind emissions
                                                 document, the EPA finds that the                        ‘‘Regulatory Impact Analysis for Final                 on a statewide basis that significantly
                                                 regulatory requirements included in the                 Federal Good Neighbor Plan Addressing                  contribute to downwind nonattainment
                                                 rule are as expeditious as practicable                  Regional Ozone Transport for the 2015                  or interfere with downwind
                                                 and are aligned with the attainment                     Ozone National Ambient Air Quality                     maintenance of the NAAQS,
                                                 schedule of downwind areas.                             Standard’’ [EPA–452/D–22–001], which                   considering cost- and air quality-based
                                                 3. Health and Environmental Effects                     is available in the docket for this                    factors; and (4) for upwind states that
                                                                                                         rulemaking.                                            are found to have emissions that
                                                    Exposure to ambient ozone causes a                      The Agency regulates exposure to
                                                 variety of negative effects on human                                                                           significantly contribute to
                                                                                                         toxic pollutant concentrations and                     nonattainment or interfere with
                                                 health, vegetation, and ecosystems. In                  ambient exposure to criteria pollutants
                                                 humans, acute and chronic exposure to                                                                          maintenance of the NAAQS in any
                                                                                                         other than ozone through other sections                downwind state, implementing the
                                                 ozone is associated with premature                      of the Act, such as the regulation of
                                                 mortality and certain morbidity effects,                                                                       necessary emissions reductions through
                                                                                                         hazardous air pollutants under CAA                     enforceable measures.
                                                 such as asthma exacerbation. In                         section 112 or the process for revising
                                                 ecosystems, ozone exposure causes                                                                                 Comment: The EPA received
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                                                                                                         and implementing the NAAQS under                       comments supporting the Agency’s use
                                                 visible foliar injury, decreases plant                  CAA sections 107–110. The purpose of
                                                 growth, and affects ecosystem                                                                                  of the 4-step interstate transport
                                                                                                         the subject rulemaking is to protect                   framework as a permissible method for
                                                   64 ‘‘Ozone Air Pollution.’’ Introduction to
                                                                                                         public health and the environment by                   assigning the required amount of
                                                 Atmospheric Chemistry, by Daniel J. Jacob,              eliminating significant contribution
                                                 Princeton University Press, Princeton, New Jersey,                                                               67 See CSAPR, Final Rule, 76 FR 48208, 48248–
                                                 1999, pp. 231–244.                                        66 Available at https://www.epa.gov/sites/default/   48249 (August 8, 2011); CSAPR Update, Final Rule,
                                                   65 81 FR 74514.                                       files/2016-02/documents/20151001ria.pdf.               81 FR 74504, 74517–74521 (October 26, 2016).



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                                                 emissions reductions necessary to                       for the EPA to allow time for states to                  2018 memorandum, which comprised
                                                 eliminate upwind states’ significant                    resubmit SIPs are further addressed in                   an unvetted list of external stakeholders’
                                                 contribution. Commenters also noted                     RTC sections 1.1 and 2.4.                                ideas). And, although outside the scope
                                                 that the 4-step interstate transport                       With regard to the need for the EPA                   of this action, as the EPA has explained
                                                 framework was reviewed by the                           to develop and issue guidance in                         in disapproving states’ SIP submittals,
                                                 Supreme Court in EPA vs. EME Homer                      addressing good neighbor obligations, in                 those submittals did not meet the terms
                                                 City Generation, 572 U.S. 489 (2014),                   EPA v. EME Homer City Generation,                        of the August 2018 or October 2018
                                                 and upheld. However, other                              L.P., the Supreme Court held that                        memoranda addressing contribution
                                                 commenters took exception to the                        ‘‘nothing in the statute places the EPA                  thresholds and maintenance receptors,
                                                 overall approach of this proposed                       under an obligation to provide specific                  respectively.
                                                 action. These commenters alleged that                   metrics to States before they undertake                     Commenters mistakenly view
                                                 the EPA is ignoring the ‘‘flexibility’’ in              to fulfill their good neighbor                           Attachment A to the March 2018
                                                 addressing good neighbor obligations                    obligations.’’ 69 While we have taken a                  memorandum as constituting agency
                                                 that it had purportedly suggested to                    different approach in some prior                         guidance. This memorandum was
                                                 states would be permissible in                          rulemakings by providing states with an                  primarily issued to share modeling
                                                 memoranda that the EPA issued in                        opportunity to submit a SIP after we                     results for 2023 that represented the best
                                                 2018. Commenters also raised concerns                   quantified the states’ budgets (e.g., the                information available to the Agency as
                                                 that the air quality modeling (2016v2)                  NOX SIP Call and CAIR 70), the CAA                       of March 2018, while Attachment A
                                                 the EPA used to propose to disapprove                   does not require such an approach.                       then listed certain ideas from certain
                                                 SIP submittals and as the basis for the                    2018 Memoranda. As commenters                         stakeholders that the EPA said could be
                                                 proposed FIP was not available to states                point out, the EPA issued three                          further discussed among states and
                                                 at the time they made their submissions                 ‘‘memoranda’’ in 2018 to provide some                    stakeholders. The EPA disagrees with
                                                 and that the changes in results at Steps                assistance to states in developing these                 commenters’ characterization of the
                                                 1 and 2 from prior rounds of modeling                   SIP submittals.71 Each memorandum                        EPA’s stance regarding these so-called
                                                 rendered the new modeling unreliable.                   made clear that the EPA’s action on SIP                  ‘‘flexibilities’’ listed (without analysis)
                                                 Commenters also raised a number of                      submissions would be through a                           in Attachment A. The March 2018
                                                 arguments that the EPA should allow                     separate notice-and-comment                              memorandum provided, ‘‘While the
                                                 states an additional opportunity to                     rulemaking process and that SIP                          information in this memorandum and
                                                 submit SIPs before promulgating a FIP,                  submissions seeking to rely on or take                   the associated air quality analysis data
                                                 advocated that the EPA should issue a                   advantage of any so-called                               could be used to inform the
                                                 ‘‘SIP call’’ under CAA section 110(k)(5),               ‘‘flexibilities’’ in these memoranda                     development of these SIPs, the
                                                 asked for the EPA to issue new or more                  would be carefully reviewed against the                  information is not a final determination
                                                 specific guidance, or otherwise                         relevant legal requirements and                          regarding states’ obligations under the
                                                 suggested that the EPA should defer                     technical information available to the                   good neighbor provision.’’ The EPA
                                                 acting to promulgate a FIP at this time.                EPA at the time it would take such                       again affirms that the concepts listed in
                                                    Response: As an initial matter,                      rulemaking action. Further, certain                      Attachment A to the March 2018
                                                 comments regarding the EPA’s basis for                  aspects of discussions in those                          memorandum require unique
                                                 disapproving SIPs are beyond the scope                  memoranda were specifically identified                   consideration, and these ideas do not
                                                 of this action.68 To the extent these                   as not constituting agency guidance                      constitute agency guidance with respect
                                                 comments relate to the legal basis for                  (especially Attachment A to the March                    to transport obligations for the 2015
                                                 the EPA to promulgate a FIP, the EPA                                                                             ozone NAAQS. Attachment A to the
                                                 disagrees that it is acting in a manner                   69 572 U.S. 489, 510 (2014). ‘‘Nothing in the Act
                                                                                                                                                                  March 2018 memorandum identified a
                                                 contrary to the memoranda it released in                differentiates the Good Neighbor Provision from the      ‘‘Preliminary List of Potential
                                                                                                         several other matters a State must address in its SIP.
                                                 2018 related to good neighbor                           Rather, the statute speaks without reservation: Once     Flexibilities’’ that could potentially
                                                 obligations for the 2015 ozone NAAQS.                   a NAAQS has been issued, a State ‘shall’ propose         inform SIP development. However, the
                                                 Arguments that the EPA must or should                   a SIP within three years, § 7410(a)(1), and that SIP     EPA made clear in both the March 2018
                                                 allow states to re-submit SIP                           ‘shall’ include, among other components,                 memorandum 72 and in Attachment A
                                                                                                         provisions adequate to satisfy the Good Neighbor
                                                 submissions based on the most recent                    Provision, § 7410(a)(2).’’ EPA v. EME Homer City         that the list of ideas was not endorsed
                                                 modeling information before the EPA                     Generation, L.P., 572 U.S. at 515.                       by the Agency but rather ‘‘comments
                                                 promulgates a FIP ignore the plain                        70 For information on the NO SIP call see 63 FR
                                                                                                                                           X                      provided in various forums’’ on which
                                                 language of the statute and relevant                    57356 (October 27, 1998). For information on CAIR        the EPA sought ‘‘feedback from
                                                                                                         see 70 FR 25162 (May 12, 2005).
                                                 caselaw. CAA section 110(c) authorizes                    71 See Information on the Interstate Transport
                                                                                                                                                                  interested stakeholders.’’ 73 Further,
                                                 the EPA to promulgate a FIP ‘‘at any                    State Implementation Plan Submissions for the            Attachment A stated, ‘‘EPA is not at this
                                                 time within 2 years’’ of a SIP                          2015 Ozone National Ambient Air Quality                  time making any determination that the
                                                 disapproval. No provision of the Act                    Standards under Clean Air Act Section                    ideas discussed below are consistent
                                                 requires the EPA to give states an                      110(a)(2)(D)(i)(I) (March 27, 2018) (‘‘March 2018        with the requirements of the CAA, nor
                                                                                                         memorandum’’); Analysis of Contribution
                                                 additional opportunity to prepare a new                 Thresholds for Use in Clean Air Act Section              are we specifically recommending that
                                                 SIP submittal once the EPA has                          110(a)(2)(D)(i)(I) Interstate Transport State            states use these approaches.’’ 74
                                                 proposed a FIP or proposed disapproval                  Implementation Plan Submissions for the 2015             Attachment A to the March 2018
                                                 of a SIP submittal. Comments regarding                  Ozone National Ambient Air Quality Standards,            memorandum, therefore, does not
                                                                                                         August 31, 2018) (‘‘August 2018 memorandum’’);
                                                 the timing of the EPA’s actions and calls               Considerations for Identifying Maintenance
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                                                                                                                                                                    72 ‘‘In addition, the memorandum is accompanied
                                                                                                         Receptors for Use in Clean Air Act Section
                                                   68 We   nonetheless further respond to comments       110(a)(2)(D)(i)(I) Interstate Transport State            by Attachment A, which provides a preliminary list
                                                 regarding the timing and sequence of the EPA’s SIP      Implementation Plan Submissions for the 2015             of potential flexibilities in analytical approaches for
                                                 and FIP actions, the relevance of judicial consent      Ozone National Ambient Air Quality Standards,            developing a good neighbor SIP that may warrant
                                                 decrees, the requests for a SIP call, and related       October 19, 2018 (‘‘October 2018 memorandum’’).          further discussion between EPA and states.’’ March
                                                 comments—to the extent any of these issues are          These are available in the docket or at https://         2018 memorandum at 1.
                                                                                                                                                                    73 March 2018 memorandum, Attachment A at
                                                 within scope of the present action—in Sections 1        www.epa.gov/airmarkets/memo-and-supplemental-
                                                 and 2 of the RTC document located in the docket         information-regarding-interstate-transport-sips-         A–1.
                                                 for this action.                                        2015-ozone-naaqs.                                          74 Id.




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                                                 constitute agency guidance, but was                     stringent approach for identifying                     approach is particularly important in
                                                 intended to generate further discussion                 maintenance receptors for purposes of                  the context of interstate ozone transport,
                                                 around potential approaches to                          the 2015 ozone NAAQS. In fact, as                      which is a regional-scale pollution
                                                 addressing ozone transport among                        explained in section III.B.1.a and IV.D of             problem involving the collective
                                                 interested stakeholders. The EPA                        this document, the EPA has found in its                emissions of many smaller contributors.
                                                 emphasized in these memoranda that                      analysis for this final rule that, in                  Effective policy solutions to the problem
                                                 such alternative approaches must be                     general, recent measured data from                     of interstate ozone transport dating back
                                                 technically justified and appropriate in                regulatory ambient air quality ozone                   to the NOX SIP Call (63 FR 57356
                                                 light of the facts and circumstances of                 monitoring sites suggest that a number                 (October 27, 1998)) have necessitated
                                                 each particular state’s submittal. To the               of receptors with elevated ozone levels                the application of a uniform framework
                                                 extent states sought to develop or rely                 will persist in 2023 even though our                   of policy judgments, and the EPA’s
                                                 on one or more of these ideas in support                traditional methodology at Step 1 did                  framework applied here has been
                                                 of their SIP submissions, the EPA                       not identify these monitoring sites as                 upheld as ensuring an ‘‘efficient and
                                                 reviewed their technical and legal                      receptors in 2023. Thus, the EPA is not                equitable’’ approach. See EME Homer
                                                 justifications for doing so.75                          acting inconsistently with that                        City Generation, LP v. EPA, 572 U.S.
                                                    Regarding the October 2018                           memorandum—the factual conditions                      489, 519 (2014).
                                                 memorandum, that document                               that would need to exist for the                          Updated modeling. The EPA had
                                                 recognized that states may be able to                   suggested approaches of that                           originally provided 2023 modeling
                                                 demonstrate in their SIPs that                          memorandum to be applicable have not                   results in its March 2018 memorandum,
                                                 conditions exist that would justify                     been demonstrated as being applicable                  which used a 2011-based platform.
                                                 treating a monitoring site as not being a               or appropriate based on the relevant                   Many states used this modeling in
                                                 maintenance receptor despite results                    data.                                                  providing good neighbor SIP submittals
                                                 from our modeling methodology                              Regarding the August 2018                           for the 2015 ozone NAAQS. While our
                                                 identifying it as such a receptor. The                  memorandum, as discussed in section                    action on the SIP submittals is not
                                                 EPA explained that this demonstration                   IV.F.2 of this document, for purposes of               within scope of this action, commenters
                                                 could be appropriate under two                          Step 2 of our ozone transport evaluation               claim the use of new modeling or other
                                                 circumstances: (1) the site currently has               framework, we are applying a 1 percent                 information not available to states at the
                                                 ‘‘clean data’’ indicating attainment of                 of NAAQS threshold rather than a 1 ppb                 time they made their submittals renders
                                                 the 2015 ozone NAAQS based on                           threshold, as this memorandum had                      this action promulgating a FIP unlawful.
                                                 measured air quality concentrations, or                 suggested might be appropriate for                     Notwithstanding whether that is an
                                                 (2) the state believes there is a technical             states to apply as an alternative. The                 accurate characterization of the EPA’s
                                                 reason to justify using a design value                  EPA is finalizing its proposed approach                basis for disapproving the SIPs, we note
                                                 from the baseline period that is lower                  of consistently using a 1 percent of the               that the court in Wisconsin rejected this
                                                 than the maximum design value based                     NAAQS contribution threshold at Step                   precise argument against the CSAPR
                                                 on monitored data during the same                       2 to evaluate whether states are linked                Update FIPs as a collateral attack on the
                                                 baseline period. To justify such an                     to downwind nonattainment and                          SIP disapprovals. 938 F.3d at 336 (‘‘That
                                                 approach, the EPA anticipated that any                  maintenance concerns for purposes of                   is the hallmark of an improper collateral
                                                 such showing would be based on an                       this FIP.                                              attack. The true gravamen of the claim
                                                 analytical demonstration that (1)                          The approach of this FIP ensures both               lies in the agency’s failure to timely act
                                                 meteorological conditions in the area of                national consistency across all states                 upon the States’ SIP submissions and,
                                                 the monitoring site were conducive to                   and consistency and continuity with our                relatedly, its reliance on data compiled
                                                 ozone formation during the period of                    prior interstate transport actions for                 after the SIP action deadline. Both go
                                                 clean data or during the alternative base               other NAAQS. Further, in this action                   directly to the legitimacy of the SIP
                                                 period design value used for                            the EPA is promulgating FIPs under the                 denials.’’).
                                                 projections; (2) ozone concentrations                   authority of CAA section 110(c). In                       Nonetheless, we offer the following
                                                 have been trending downward at the                      doing so, the EPA has exercised its                    explanation of the evolution of the
                                                 site since 2011 (and ozone precursor                    discretion to determine how to define                  EPA’s understanding of projected air
                                                 emissions of NOX and VOC have also                      and apply good neighbor obligations in                 quality conditions and contributions in
                                                 decreased); and (3) emissions are                       place of the discretion states otherwise               2023 resulting from the iterative nature
                                                 expected to continue to decline in the                  would exercise (subject to the EPA’s                   of our modeling efforts. These modeling
                                                 upwind and downwind states out to the                   approval as compliant with the Act). In                efforts are further addressed in section
                                                 attainment date of the receptor.                        general, the EPA is applying the 4-step                IV of this document. We acknowledge
                                                 Although this is beyond the scope of                    interstate transport framework it                      that to evaluate transport SIPs and
                                                 this action, the EPA explained in its                   devised over the course of its prior good              support our proposed FIP the EPA
                                                 final SIP disapproval action that no state              neighbor rulemakings, including                        reassessed receptors at Step 1 and states’
                                                 successfully demonstrated that one of                   applying a consistent definition of                    contribution levels at Step 2 through
                                                 these alternative approaches is justified.              nonattainment and maintenance-only                     additional modeling (2016v2) before
                                                 In this action, our analysis of the air                 receptors, and applying the 1 percent of               proposing this action and have
                                                 quality data and projections in section                 NAAQS threshold at Step 2. The basis                   reassessed again to inform the final
                                                 IV of this document indicate that trends                for these decisions is further explained               action (2016v3). At proposal, we relied
                                                 in historic measured data do not                        in sections IV.F.1 and IV.F.2 of the                   on CAMx Version 7.10 and the 2016v2
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                                                 necessarily support adopting a less                     document. These policy judgments                       emissions platform to make updated
                                                                                                         reflect consistency with relevant good                 determinations regarding which
                                                    75 E.g., 87 FR 64423–64425 (Alabama); 87 FR          neighbor case law and past agency                      receptors would likely exist in 2023 and
                                                 31453–31454 (California); 87 FR 9852–9854               practice implementing the good                         which states are projected to contribute
                                                 (Illinois); 87 FR 9859–9860 (Indiana); 87 FR 9508,      neighbor provision as reflected in the                 above the contribution threshold to
                                                 9515 (Kentucky); 87 FR 9861–9862 (Michigan); 87
                                                 FR 9869–9870 (Ohio); 87 FR 9798, 9818–9820
                                                                                                         original CSAPR, CSAPR Update,                          those receptors. As explained in the
                                                 (Oklahoma); 87 FR 31477–31481 (Utah); 87 FR             Revised CSAPR Update, and related                      preamble of the EPA’s proposed FIP and
                                                 9526–9527 (West Virginia).                              rulemakings. Nationwide consistency in                 further detailed in the ‘‘Air Quality


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                                                 Modeling Technical Support Document                     emissions inventory information and                       The 2016-based meteorology and
                                                 for the Federal Implementation Plan                     other updates. It is reasonable for the                boundary conditions used in the
                                                 Addressing Regional Ozone Transport                     Agency to improve its understanding of                 modeling have been available through
                                                 for the 2015 Ozone National Ambient                     a situation before taking final action,                the 2016v1 platform, which was used
                                                 Air Quality Standards Proposed                          and the Agency uses the best                           for the Revised CSAPR Update
                                                 Rulemaking’’ (Dec. 2021), hereinafter                   information available to it in taking this             (proposed, 85 FR 68964; October 30,
                                                 referred to as Air Quality Modeling                     action.                                                2020). The updated emissions inventory
                                                 Proposed Rule TSD, and the ‘‘Technical                                                                         files used in the current modeling were
                                                                                                            Further, these modeling updates have
                                                 Support Document (TSD): Preparation                                                                            publicly released September 21, 2021,
                                                                                                         not uniformly resulted in new
                                                 of Emissions Inventories for the 2016v2                                                                        for stakeholder feedback, and have been
                                                                                                         linkages—the 2016v2 modeling, for
                                                 North American Emissions Modeling                                                                              available on our website since that
                                                                                                         instance, corroborated the proposed
                                                 Platform’’ (Dec. 2021), hereinafter                                                                            time.77 The CAMx modeling software
                                                                                                         approval of Montana and supported
                                                 referred to as the 2016v2 Emissions                                                                            that the EPA used has likewise been
                                                                                                         approval of Colorado’s SIP in October of
                                                 Inventory TSD, both available in the                                                                           publicly available for over a year before
                                                                                                         2022.76 Although some commenters
                                                 docket for this action (docket ID no.                                                                          this final rule was proposed on April 6,
                                                                                                         indicate that our modeling iterations
                                                 EPA–HQ–OAR–2021–0668), this                                                                                    2022. CAMx version 7.10 was released
                                                                                                         have provided differing outcomes and
                                                 modeling built off of previous modeling                                                                        by the model developer, Ramboll, in
                                                                                                         are therefore unreliable, this is not what
                                                 iterations used to support the EPA’s                                                                           December 2020. On January 19, 2022,
                                                 action on interstate transport                          the overall record indicates. Rather, in               we released on our website and notified
                                                 obligations. The EPA periodically                       general, although the specifics of states’             a wide range of stakeholders of the
                                                 refines its modeling to ensure the results              linkages may have changed to some                      availability of both the modeling results
                                                 are as indicative as possible of air                    extent, our modeling on the whole has                  for 2023 and 2026 (including
                                                 quality in future years. This includes                  provided consistent outcomes regarding                 contribution data) along with many key
                                                 making any necessary adjustments to                     which states are linked to downwind air                underlying input files.78
                                                 our modeling platform and updating our                  quality problems. For example, the                        By providing the 2016 meteorology
                                                 emissions inventories to reflect current                EPA’s modeling shows that most states                  and boundary conditions (used in the
                                                 information, including information                      that were linked to one or more                        2016v1 version) in fall of 2020, and by
                                                 submitted during public comments on                     receptors using the 2011-based platform                releasing updated emissions inventory
                                                 proposed actions.                                       (i.e., the March 2018 data release) are                information used in 2016v2 in
                                                    For this final rule, the EPA has                     also linked to one or more receptors                   September of 2021,79 we gave states and
                                                 evaluated a raft of technical information               using the newer 2016-based platform.                   other interested parties multiple
                                                 and critiques of its 2016v2 modeling                    Because the new platform uses different                opportunities prior to proposal of this
                                                 provided by commenters on this action                   meteorology (i.e., 2016 instead of 2011),              rule on April 6, 2022, to consider how
                                                 (as well as comments on the SIP actions)                it is not unexpected that an upwind                    our modeling updates could affect their
                                                 and has responded to those comments                     state would be linked to different                     status for purposes of evaluating
                                                 and incorporated updates into the                       receptors using 2011 versus 2016                       potential linkages for the 2015 ozone
                                                 version of the modeling used to support                 meteorology. In addition, although a                   NAAQS. In this final rule, we have
                                                 this final rule (2016v3). As explained in               state may be linked to a different set of              updated our modeling to 2016v3,
                                                 section IV.B of the document, in                        receptors, those receptors are within the              incorporating and reflecting the
                                                 response to additional information                      same areas that have historically had a                feedback and additional information we
                                                 provided by stakeholders following a                    persistent air quality problem. Only                   received through the multiple public
                                                 solicitation of feedback during the                     three upwind states included in the FIP                comment opportunities the EPA made
                                                 release of the 2016v2 emissions                         went from being unlinked to being                      available on the 2016v2 modeling.
                                                 inventory and during the comment                        linked in 2023 between the 2011-based                     The EPA’s development of and
                                                 periods on the proposed SIP actions, the                modeling provided in the March 2018                    reliance on newer modeling is
                                                 EPA has reviewed and revised its                        memorandum and the 2016v3-based                        reasonable and is simply another
                                                 2016v2 modeling platform and input                      modeling—Alabama, Minnesota, and                       iteration of the EPA’s longstanding
                                                 since the platform was made available                   Nevada.                                                scientific and technical work to improve
                                                 for comment. The new modeling                              Additionally, we disagree with                      our understanding of air quality issues
                                                 platform 2016v3 was developed from                      commenters who claim that the 2016v2                   and causes going back many decades.
                                                 this input, and the modeling results                    modeling results were sprung upon the                     Comment: Commenters asserted that
                                                 using platform 2016v3 are available                     states with the publication of the                     the EPA lacks authority under the good
                                                 with this action. See section IV of this                proposed SIP disapprovals. In fact,                    neighbor provision to do more than
                                                 document for further discussion. Thus,                  states had prior access to a series of data            establish state-wide emissions budgets,
                                                 the EPA’s final rule is based on a                      and modeling releases beginning as                     which states may then implement
                                                 comprehensive record of data and                                                                               through their own choice of emissions
                                                                                                         early as the publication of the 2016v1
                                                 technical evaluation, including the                                                                            controls. The commenters claim that the
                                                                                                         modeling with the proposed Revised
                                                 updated modeling information used at                                                                           EPA lacks authority to directly regulate
                                                                                                         CSAPR Update in October 2020. States
                                                 proposal (2016v2), the comments                                                                                emissions sources under the good
                                                                                                         could have reviewed and used this
                                                 received on that modeling, and the                                                                             neighbor provision, and they cite to case
                                                                                                         technical information to understand and
                                                 latest modeling used in this final rule                                                                        law that they view as establishing a
                                                                                                         track how the EPA’s modeling updates
                                                                                                                                                                ‘‘federalism bar’’ to direct Federal
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                                                 (2016v3).                                               were affecting the list of potential
                                                    The changes in projected outcomes at                                                                        regulation. Commenters assert that the
                                                                                                         receptors and linkages for the 2015
                                                 Steps 1 and 2 are a product of these
                                                                                                         ozone NAAQS in the 2023 analytic year.
                                                 changes; these updates between the data                                                                          77 See https://www.epa.gov/air-emissions-

                                                 released in 2018 to now are an                                                                                 modeling/2016v2-platform.
                                                                                                           76 87 FR 6095, 6097 at n. 15 (February 3, 2022)        78 See https://www.epa.gov/scram/
                                                 outgrowth of this iterative process,                    (Montana proposal); 87 FR 27050, 27056 (May 6,         photochemical-modeling-applications.
                                                 including updating the platform from a                  2022) (Colorado, proposal), 87 FR 61249 (October         79 https://www.epa.gov/air-emissions-modeling/

                                                 2011 to a 2016 base year, updates to the                11, 2022) (Colorado, final).                           2016v2-platform.



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                                                 term ‘‘amounts’’ as used in the good                    pollution control regime demands.’’’)                     Commenters’ position that the EPA
                                                 neighbor provision prevents the agency                  (quoting Natural Resources Defense                     must provide similar flexibility to the
                                                 from establishing emissions limits at                   Council v. Browner, 57 F.3d 1122, 1124                 states in this action (i.e., only provide a
                                                 individual sources, such as the non-                    (D.C. Cir. 1995)). Cf. District of                     general emissions reduction target and
                                                 EGU industrial units that the EPA                       Columbia v. Train, 521 F.2d 971 (D.C.                  leave to states how to meet that target)
                                                 proposed to regulate or implementing                    Cir. 1975), vacated sub nom. EPA v.                    is a non sequitur. The EPA is
                                                 ‘‘enhancements’’ in its mass-based                      Brown, 431 U.S. 99 (1977) (‘‘[W]here                   implementing a FIP in this action and
                                                 emissions trading approach for EGUs as                  cooperation [from states] is not                       must directly implement the necessary
                                                 it had proposed. Commenters claim                       forthcoming, we believe that the                       emissions controls. The EPA is not
                                                 these aspects of the rule are an unlawful               recourse contemplated by the commerce                  empowered to require states to
                                                 or arbitrary and capricious departure                   clause is direct federal regulation of the             implement FIP mandates. Such an
                                                 from the EPA’s prior transport                          offending activity . . . .’’).                         approach would conflict with
                                                 rulemakings, which they claim only set                     These same principles apply where                   constitutional anti-commandeering
                                                 mass-based emissions budgets as the                     the EPA must promulgate a FIP to                       principles, is not provided for in the
                                                 means to eliminate ‘‘significant                        address good neighbor requirements                     Act, and would only constitute a partial
                                                 contribution.’’                                         under CAA section 110(a)(2)(D)(i)(I).                  implementation of FIP obligations in
                                                    Response: To the extent these                        The EPA has promulgated a series of                    contravention of the holding in
                                                 comments challenge the EPA’s                            FIPs in the past to address the relevant               Wisconsin v. EPA, 938 F.3d at 313–20.
                                                 disapproval of states’ 2015 ozone                       requirements for prior ozone and PM                       Commenters’ attempt to contrast the
                                                 NAAQS good neighbor SIP submissions,                    NAAQS. See, e.g., CAIR FIP, 71 FR                      implementation of source-specific
                                                 they are out of scope of this action,                   25328 (April 28, 2006); CSAPR, 76 FR                   emissions limitations at industrial
                                                 which promulgates a FIP under the                       48208 (August 8, 2011); the CSAPR                      sources with the establishment of a
                                                 authority of CAA section 110(c)(1). To                  Update, 81 FR 74504 (October 26, 2016);                specific mass-based budget (as the EPA
                                                 the extent commenters assert that the                   and the Revised CSAPR Update, 86 FR                    has set for power plants in prior good
                                                 EPA does not have the authority to                      23054 (April 30, 2021). Courts have                    neighbor FIPs) is unavailing. CAA
                                                 directly implement source-specific                      upheld the EPA’s exercise of this                      section 110(c)(1) and 302(y) authorize
                                                 emissions control requirements or other                 authority. See EME Homer City                          the EPA in promulgating a FIP to
                                                 emissions control measures, means, or                   Generation v. EPA, 572 U.S. 489 (2014);                establish ‘‘enforceable emission
                                                 techniques, including emissions trading                 Wisconsin v. EPA, 938 F.3d 303 (D.C.                   limitations’’ in addition to other types of
                                                 programs, in the exercise of that FIP                   Cir. 2019). Indeed, in EME Homer City,                 control measures like mass-based
                                                 authority, the EPA disagrees. While the                 the U.S. Supreme Court held that the                   trading programs. Further, in this
                                                 courts have long recognized that the                    EPA is not obligated to provide                        action, the EPA has developed an
                                                 states have wide discretion in the design               guidance to states before acting on their              emissions control strategy that prohibits
                                                 of SIPs to attain and maintain the                      good neighbor submissions or give                      the ‘‘amount’’ of pollution that
                                                 NAAQS, see, e.g., Union Electric Co v.                  states a second chance at correcting the               significantly contributes to
                                                 EPA, 427 U.S. 246 (1976), when the EPA                  deficiencies before promulgating a FIP,                nonattainment and/or interferes with
                                                 promulgates a FIP to cure a defective                   and the EPA may promulgate a FIP at                    maintenance. We determine that
                                                 SIP, the Act, including the definition of               any time after finalizing its disapproval              amount, as we have in prior transport
                                                 a FIP in section 302(y), provides for the               of SIP submissions. 572 U.S. at 508–11.                actions, at Step 3 of the analysis, by
                                                 EPA to directly implement the Act’s                        The cases cited by commenters,                      applying a multifactor analysis that
                                                 requirements. The EPA is granted                        which they refer to as establishing the                includes considering cost and
                                                 authority to choose among a broad range                 Train-Virginia federalism bar, were not                downwind air quality effects. See
                                                 of ‘‘emission limitations or other control              reviewing the exercise of the EPA’s                    section V.A of this document. With the
                                                 measures, means, or techniques                          authority in promulgating a FIP under                  implementation of the selected controls
                                                 (including economic incentives, such as                 CAA section 110(c)(1) but rather were                  (at Step 4) through both an emissions
                                                 marketable permits or auctions of                       describing the scope of the EPA’s                      trading program for power plants and
                                                 emissions allowances) . . . .’’ CAA                     authority in acting on SIP submissions                 source-specific emissions limitations for
                                                 section 302(y); see also CAA section                    under CAA section 110(k)(3) or in                      industrial sources, those ‘‘amounts’’ that
                                                 110(a)(2) (empowering states to                         issuing a ‘‘SIP call’’ under section                   had been emitted prior to imposition of
                                                 implement an identical set of emissions                 110(k)(5). In those latter contexts, the               the controls will be eliminated.
                                                 control mechanisms).                                    courts have held that the EPA may not                     The Act does not mandate that the
                                                    The courts have also recognized that                 dictate the specific control measures                  EPA must set a specific mass-based
                                                 the EPA has broad authority to cure a                   states must implement to meet the Act’s                budget for each state to eliminate
                                                 defective SIP, that the EPA may exercise                requirements. See Virginia, 108 F.3d at                significant contribution based on the
                                                 its own, independent regulatory                         1409–10. In Michigan, the D.C. Circuit                 use of the term ‘‘amounts’’ in CAA
                                                 authority in implementing a FIP in                      upheld the EPA’s exercise of CAA                       section 110(a)(2)(D)(i). As the Supreme
                                                 accordance with the CAA, and that the                   section 110(k)(5) authority in issuing the             Court recognized, the statute ‘‘requires
                                                 EPA in effect steps into the shoes of a                 ‘‘NOX SIP Call,’’ because, ‘‘EPA does not              States to eliminate those ‘amounts’ of
                                                 state when it promulgates a FIP. See,                   tell the states how to achieve SIP                     pollution that ‘contribute significantly
                                                 e.g., Central Ariz. Water Conservation                  compliance. Rather, EPA looks to                       to nonattainment’ in downwind States,’’
                                                 Dist. v. EPA, 990 F.2d 1531 (9th Cir.                   section 110(a)(2)(D) and merely                        and it delegates to states or EPA acting
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                                                 1993); South Terminal Corp. v. EPA,                     provides the levels to be achieved by                  in their stead discretion to determine
                                                 504 F.2d 646 (1st Cir. 1974). Accord                    state-determined compliance                            how to apportion responsibility among
                                                 Virginia v. EPA, 108 F.3d 1397, 1406–                   mechanisms. . . . However, EPA made                    those upwind states. 572 U.S. at 514
                                                 07 (D.C. Cir. 1997) (‘‘The Federal Plan                 clear that states do not have to adopt the             (emphasis added). The statute does not
                                                 ‘provides an additional incentive for                   control scheme that EPA assumed for                    define the term ‘‘amount’’ in the way
                                                 state compliance because it rescinds                    budget-setting purposes.’’ Michigan v.                 commenters suggest (or in any other
                                                 state authority to make the many                        EPA, 213 F.3d 663, 687–88 (D.C. Cir.                   way), and neither the Agency nor any
                                                 sensitive and policy choices that a                     2000).                                                 court has reached that conclusion. The


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                                                 Supreme Court itself has recognized that                 concentration-based standards. For                     ozone, identifies a uniform level of
                                                 the language of the good neighbor                        example, in CAA section 163(b),                        emissions reduction that the covered
                                                 provision is amenable to different types                 Congress provided that maximum                         sources in the linked upwind states can
                                                 of metrics for quantification of                         allowable increases in concentrations of               achieve that cost-effectively delivers
                                                 ‘‘significant contribution.’’ See EME                    certain pollutants ‘‘shall not exceed the              improvement in air quality at
                                                 Homer City Generation, L.P., 572 U.S. at                 following amounts,’’ with a list of                    downwind receptors on a regional scale.
                                                 514 (‘‘How is EPA to divide                              allowable increases provided that are                  The ‘‘amount’’ of pollution that is
                                                 responsibility among the . . . States?                   expressed in micrograms per cubic                      identified for elimination at Step 3 of
                                                 Should the Agency allocate reductions                    meter.82 As a third example, in the 1990               the framework is therefore that amount
                                                 proportionally . . ., on a per capita                    CAA Amendments, Congress provided                      of emissions that is in excess of the
                                                 basis, on the basis of the cost of                       that ozone nonattainment areas                         emissions control strategies the EPA has
                                                 abatement, or by some other metric?                      classified as Serious must provide a                   deemed cost-effective. Contrary to
                                                 . . . The Good Neighbor Provision does                   reasonable further progress                            commenters’ views, in prior transport
                                                 not answer that question for EPA.’’); see                demonstration of reductions in VOC                     rules utilizing emissions trading, the
                                                 also Michigan v. EPA, 213 F.3d 663, 677                  emissions ‘‘equal to the following                     mass budgets through which the
                                                 D.C. Cir. 2000) (‘‘Nothing in the text of                amount,’’ which is then described as a                 elimination of significant contribution
                                                 . . . the statute spells out a criterion for             percentage reduction from baseline                     was effectuated did not constitute the
                                                 classifying ‘emissions activity’ as                      emissions. CAA section 182(c)(2)(B).                   ‘‘amounts’’ to be eliminated but rather
                                                 ‘significant.’ ’’); id. at 677 (‘‘Must EPA               These examples illustrate that the word                the residual emissions remaining
                                                 simply pick some flat ‘amount’ of                        ‘‘amounts’’ is amenable to a variety of                following the elimination of significant
                                                 contribution . . . ?’’). When the State of               meanings depending on what is being                    contribution through the control
                                                 Delaware petitioned the Agency under                     measured or quantified. It would                       stringency selected based on our
                                                 CAA section 126(b) to establish daily                    therefore be highly unlikely that                      multifactor assessment at Step 3. Nor
                                                 emissions rates for EGUs to remedy                       Congress could have intended that                      did the EPA consider a mass-based
                                                 what it saw as continuing violations of                  ‘‘amount’’ as used in the good neighbor                budget to be the sole expression, even
                                                 the good neighbor provision for the                      provision must signify only a fixed mass               indirectly, of what constituted
                                                 2008 ozone NAAQS, neither the EPA                        budget of emissions for each state                     ‘‘significant contribution.’’ See, e.g.,
                                                 nor the reviewing court questioned                       expressed as total tons per ozone                      CSAPR, 76 FR 48256–57 (discussing the
                                                 whether the Agency had the statutory                     season.                                                evaluation of the control strategies that
                                                 authority to do so. The EPA’s decision                      Such an approach would, in fact, fail               would eliminate significant contribution
                                                 not to was upheld on record grounds.                     to address an important aspect of the                  for the 1997 ozone NAAQS, including
                                                 See Maryland v. EPA, 958 F.3d 1185,                      problem of interstate transport. As                    combustion controls, and explaining,
                                                 1207 D.C. Cir. 2020) (‘‘In other words,                  explained in sections III.B.1.d, V.D.4,                ‘‘[I]t would be inappropriate for a state
                                                 Delaware’s concern makes sense but has                   and VI.B.1, the EPA in this rule seeks to              linked to downwind nonattainment or
                                                 not been observed in practice.’’).80                     better address the need for emissions                  maintenance areas to stop operating
                                                    The term ‘‘amounts’’ can be                           reductions on each day of the ozone                    existing pollution control equipment
                                                 interpreted to refer to any number of                    season, reflecting the daily, but                      (which would increase their emissions
                                                 metrics, and in fact the CAA uses the                    unpredictably recurring, nature of the                 and contribution).’’).
                                                                                                          air pollution problem, short-term health                  In other actions the EPA has taken to
                                                 term in several contexts where it is clear
                                                                                                          impacts, and the form of the 2015 ozone                implement good neighbor obligations,
                                                 Congress did not intend the term to refer
                                                                                                          NAAQS, wherein nonattainment for                       the EPA has required or allowed for
                                                 to a fixed, mass-based quantity of
                                                                                                          downwind areas (and thus heightened                    reliance on source-specific emissions
                                                 emissions. For example, in the
                                                                                                          regulatory requirements) could be based                limitations rather than defining
                                                 definition of ‘‘lowest achievable
                                                                                                          on ozone exceedances on just a few days                significant contribution as a mass-based
                                                 emission rate’’ (LAER) in CAA section
                                                                                                          of the year. The expression of the                     budget. For example, the EPA imposed
                                                 171, the Act provides that the
                                                                                                          ‘‘amount’’ of pollution that should be                 unit-specific emissions limitations in
                                                 application of LAER shall not permit a
                                                                                                          eliminated to address upwind states’                   granting a CAA section 126(b) petition
                                                 proposed new or modified source to
                                                                                                          ‘‘significant contribution’’ to that type of           from the State of New Jersey in 2011.
                                                 emit any pollutant in excess of ‘‘the
                                                                                                          air pollution problem may appropriately                Final Response to Petition From New
                                                 amount allowable under applicable new
                                                                                                          take into account those aspects of the                 Jersey Regarding SO2 Emissions From
                                                 source standards of performance
                                                                                                          problem, and the EPA may                               the Portland Generating Station, 76 FR
                                                 [NSPS].’’ NSPS may be, and usually are,
                                                                                                          appropriately conclude, as we do here,                 69052, 69063–64 (Nov. 7, 2011)
                                                 set as emissions standards or limitations
                                                                                                          that a single, fixed, emissions budget                 (discussing the analytical basis for the
                                                 that are rate- or concentration-based.
                                                                                                          covering an entire ozone season is not                 establishment of emissions limits at
                                                 See, e.g., 40 CFR part 60, subpart KKKK,
                                                                                                          sufficient to the task at hand.                        specific units). This action was upheld
                                                 table I (establishing concentration-based
                                                                                                             In this action, the EPA reasonably                  by the Third Circuit in Genon Rema LLC
                                                 and rate-based emissions limits for
                                                                                                          applies the good neighbor provision,                   v. EPA, 722 F.3d 513, 526 (3d. Cir.
                                                 stationary combustion turbines).81
                                                                                                          including the term ‘‘amount,’’ through                 2013).83
                                                 Congress has elsewhere used the term                     the 4-step interstate transport
                                                 ‘‘amount’’ in the CAA to refer to                        framework. Under this approach, the                       83 In CAA section 126(c), Congress provided for

                                                                                                          EPA here, as it has in prior transport                 the EPA to directly impose ‘‘emission limitations’’
                                                    80 The Agency’s view of the basis for backstop
                                                                                                                                                                 to eliminate prohibited significant contribution.
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                                                 daily emissions rates for certain EGUs within the        rulemakings for regional pollutants like               Notably, the statute affords the EPA and states
                                                 trading program has changed since the time of its                                                               flexibility in how an ‘‘emissions limitation’’ may be
                                                 action on Delaware’s petition, as explained in              82 Notably, both the provisions of CAA section      expressed, including as a ‘‘quantity, rate, or
                                                 section VI.B.                                            171 and section 163 given as examples here were        concentration,’’ see CAA section 302(k). It would
                                                    81 The EPA has interpreted the term ‘‘amount’’ as     added by the CAA Amendments of 1977, in the            make little sense that the EPA could only establish
                                                 used in CAA section 111(a)(4) in the definition of       same set of amendments that Congress first             a mass-based definition of ‘‘amounts’’ under CAA
                                                 the term ‘‘modifications’’ as an increase in a rate of   strengthened the good neighbor provision and           section 110(a)(2)(D)(i)(I), when the statute provides
                                                 emissions expressed as kilograms per hour. 40 CFR        added the term ‘‘amounts.’’ See Public Law 95–95,      for rate- or concentration-based limitations in CAA
                                                 60.14(b).                                                91 Stat. 685, 693, 732, 746.                           section 126, which directly incorporates



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                                                    Even where the EPA has provided for                  mechanisms that go beyond fixed, mass-                 purposes of good neighbor analysis
                                                 implementation of good neighbor                         based, ozone-season long budgets.                      under CAA section 110(a)(2)(D)(i)(I) to
                                                 requirements through mass-based                           The EPA’s authority for its industrial               be a function of the requirement to
                                                 budgets, it has recognized that other                   source control strategies is further                   prohibit emissions that interfere with
                                                 approaches may be acceptable as                         discussed in sections II.C. and III.B.1.c              maintenance of the NAAQS; even if our
                                                 providing an equivalent degree of                       of this document. The relationship of                  transport modeling projects that an area
                                                 emissions reduction to eliminate                        the control strategy to the assessment of              may reach attainment in 2023, we have
                                                 significant contribution. See, e.g., NOX                overcontrol is discussed in section                    other information indicating that there
                                                 SIP Call, 63 FR 57378–79 (discussing                    V.D.4 of this document. The                            is an identified risk that attainment will
                                                 approvability of rate-based emissions                   relationship of our FIP authority to state             not in fact be achieved in 2023. The
                                                 limit approaches for implementing NOX                   authorities and SIP calls under CAA                    EPA’s analysis of these additional
                                                 SIP Call and providing, ‘‘the 2007                      section 110(k)(5) is further discussed in              receptors further is explained in section
                                                 overall budget is an important                          RTC sections 1 and 2.                                  IV.D of this document.
                                                 accounting tool. However, the State is                  a. Step 1 Approach                                        However, because we did not identify
                                                 not required to demonstrate that it has
                                                                                                            As proposed, the EPA applies the                    this basis for receptor-identification at
                                                 limited its total NOX emissions to the
                                                                                                         same basic method of the CSAPR                         proposal, in this final action we are only
                                                 budget amounts. Thus, the overall
                                                                                                         Update and the Revised CSAPR Update                    using this receptor category on a
                                                 budget amount is not an independently
                                                 enforceable requirement.’’); CAIR, 70 FR                for identifying nonattainment and                      confirmatory basis. That is, for states
                                                 25261–62 (discussing ways states could                  maintenance receptors. However, we                     that we find linked based on our
                                                 implement CAIR obligations, including                   received comments arguing that the                     traditional modeling-based methodology
                                                                                                         outcome of applying our methodology                    in 2023, we find in this final analysis
                                                 through emission-rate limitations, so
                                                                                                         to identify receptors in 2023 appears                  that the linkage at Step 2 is strengthened
                                                 long as adequately demonstrated to
                                                                                                         overly optimistic in light of current                  and confirmed if that state is also linked
                                                 achieve comparable reductions to
                                                                                                         measured data from the network of                      to one or more ‘‘violating monitor’’
                                                 CAIR’s emissions budgets).
                                                                                                         ambient air quality monitors across the                receptors. If a state is only linked to a
                                                    Finally, as it has in its prior transport            country. These commenters suggest that
                                                 FIP actions, the EPA has in this action                                                                        violating-monitor receptor in this final
                                                                                                         the EPA give greater weight to current                 analysis, we are deferring promulgating
                                                 provided guidance for states on methods                 measured data as part of the method for
                                                 by which they could replace this FIP                                                                           a final FIP (and we have also deferred
                                                                                                         identifying projected receptors. As                    taking final action on that state’s SIP
                                                 with SIPs, and in so doing, continues to                discussed further in section IV.D of this
                                                 recognize substantial state flexibility in                                                                     submittal). This is the case for the State
                                                                                                         document, the EPA has modified its                     of Tennessee. Among the states that
                                                 achieving an equivalent degree of                       approach for identifying receptors for
                                                 emissions reduction that would                                                                                 previously had their transport SIPs fully
                                                                                                         this final rule in response to these                   approved for the 2015 ozone NAAQS,
                                                 successfully eliminate significant                      comments.
                                                 contribution for the 2015 ozone                                                                                the EPA has also identified a linkage to
                                                                                                            This concern is more evident given                  violating-monitor receptors for the State
                                                 NAAQS. See section VI.D of this                         that the 2023 ozone season is just a few
                                                 document. While the EPA has exercised                                                                          of Kansas. The EPA intends to further
                                                                                                         months away, and the most recent                       review its air quality modeling results
                                                 the responsibility it has under CAA                     measured ozone values in many areas
                                                 section 110(c)(1) to step into the shoes                                                                       and recent measured ozone levels, and
                                                                                                         strongly suggest that these areas will not
                                                 of the covered states and directly                                                                             we intend to address these states’ good
                                                                                                         likely see the substantial reduction in
                                                 implement good neighbor requirements                                                                           neighbor obligations as expeditiously as
                                                                                                         ozone levels that the 2016v2 and 2016v3
                                                 through a particular set of regulatory                                                                         practicable in a future action.
                                                                                                         modeling continue to project.
                                                 mechanisms in this action, we                              It would not be reasonable to ignore                b. Step 2 Approach
                                                 anticipate that states may identify                     recent measured ozone levels in many
                                                 alternative, equivalent mechanisms that                 areas that are clearly not fully consistent               The EPA applies the same approach
                                                 we would be bound to evaluate and                       with certain concentrations in the Step                for identifying which states are
                                                 approve if satisfactory, should states                  1 analysis for 2023. Therefore, the EPA                contributing to downwind
                                                 seek to replace this FIP with a SIP.                    has developed an additional                            nonattainment and maintenance
                                                    For these reasons, the EPA disagrees                 maintenance-only receptor category,                    receptors as it has applied in the three
                                                 with the contention that it is                          which includes what we refer to as                     prior CSAPR rulemakings. CSAPR, the
                                                 constrained by the good neighbor                        ‘‘violating monitor’’ receptors, based on              CSAPR Update, and the Revised CSAPR
                                                 provision to define upwind state                        current ozone concentrations measured                  Update used a screening threshold of 1
                                                 obligations solely by reference to a                    by regulatory ambient air quality                      percent of the NAAQS to identify
                                                 fixed, mass budget. We find it                          monitoring sites. We acknowledge that                  upwind states that were ‘‘linked’’ to
                                                 reasonable in this action to again                      the traditional modeling plus                          downwind air pollution problems.
                                                 determine the amount of ‘‘significant                   monitoring methodology we used at                      States with contributions greater than or
                                                 contribution’’ at Step 3 by reference to                proposal and in prior ozone transport                  equal to the threshold for at least one
                                                 uniform levels of cost-effective                        rules would otherwise have identified                  downwind nonattainment or
                                                 emissions controls that can be applied                  such sites as being in attainment in                   maintenance receptor identified in Step
                                                 across the upwind sources. And, we                      2023. Despite the implications of the                  1 were identified in these rules as
                                                 find it appropriate to implement those                  current measured data suggesting there
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                                                                                                                                                                needing further evaluation of their good
                                                 emissions reductions at Step 4 through                  will be a nonattainment problem at                     neighbor obligations to downwind states
                                                                                                         these sites in 2023, we cannot                         at Step 3.84 The EPA evaluated each
                                                 110(a)(2)(D)(i)(I). (In observing this, we do not       definitively establish that such sites will            state’s contribution based on the average
                                                 concede that an ‘‘emissions limitation’’ itself could   be in nonattainment in 2023 in light of                relative downwind impact calculated
                                                 not also be expressed through a mass-based
                                                 approach, which may be read as authorized by the
                                                                                                         our modeling projections. In the face of
                                                 term ‘‘quantity,’’ a term also used in CAA section      this uncertainty, we regard our ability to               84 For ozone, the impacts include those from VOC

                                                 302(k).)                                                consider such sites as receptors for                   and NOX from all sectors.



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                                                 over multiple days.85 States whose air                  c. Step 3 Approach                                     the EPA finalizes a control stringency
                                                 quality impacts to all downwind                            The EPA continues to apply the same                 for EGUs from these measures that is
                                                 receptors were below this threshold did                 approach as the prior three CSAPR                      commensurate with the nature of the
                                                 not require further evaluation for                      rulemakings for evaluating ‘‘significant               ongoing ozone nonattainment and
                                                 measures to address transport. In other                 contribution’’ at Step 3.86 For states that            maintenance problems observed for the
                                                 words, the EPA determined that these                                                                           2015 ozone NAAQS. Similarly, in this
                                                                                                         are linked at Step 2 to downwind air
                                                 states did not contribute to downwind                                                                          action, the EPA includes other
                                                                                                         quality problems, CSAPR, the CSAPR
                                                 air quality problems and therefore had                                                                         industrial sources (non-EGUs) in its
                                                                                                         Update, and the Revised CSAPR Update
                                                 no emissions reduction obligations                                                                             Step 3 analysis and finalizes emissions
                                                                                                         evaluated NOX reduction potential, cost,
                                                 under the good neighbor provision. The                                                                         limitations for certain non-EGU sources
                                                                                                         and downwind air quality
                                                 EPA applies a relatively low                                                                                   as needed to eliminate significant
                                                                                                         improvements available at various
                                                 contribution screening threshold                                                                               contribution and interference with
                                                                                                         mitigation technology breakpoints
                                                 because many downwind ozone                                                                                    maintenance. The available reductions
                                                                                                         (represented by cost thresholds) in the
                                                 nonattainment and maintenance                                                                                  and cost-levels for the non-EGU
                                                                                                         multi-factor test. In CSAPR, the CSAPR
                                                 receptors receive transport contributions                                                                      stringency is commensurate with the
                                                                                                         Update, and the Revised CSAPR
                                                 from multiple upwind states. While the                                                                         control strategy for EGUs.
                                                                                                         Update, the EPA selected the technology                   In CSAPR, the CSAPR Update, and
                                                 proportion of contribution from a single                breakpoint (represented by a cost
                                                 upwind state may be relatively small,                                                                          the Revised CSAPR Update, the EPA
                                                                                                         threshold) that, in general, maximized                 focused its Step 3 analysis on EGUs. In
                                                 the effect of collective contribution                   cost-effectiveness—i.e., that achieved a
                                                 resulting from multiple upwind states                                                                          the Revised CSAPR Update, in response
                                                                                                         reasonable balance of incremental NOX                  to the Wisconsin decision’s finding that
                                                 may substantially contribute to                         reduction potential and corresponding                  the EPA had not adequately evaluated
                                                 nonattainment of or interference with                   downwind ozone air quality                             potential non-EGU reductions, see 938
                                                 maintenance of the NAAQS in                             improvements, relative to the other                    F.3d at 318, the EPA determined that
                                                 downwind areas. The preambles to the                    emissions budget levels evaluated. See,                the available NOX emissions reductions
                                                 proposed and final CSAPR rules discuss                  e.g., 81 FR 74550. The EPA determined                  from non-EGU sources, for purposes of
                                                 the use of the 1 percent threshold for                  the level of emissions reductions                      addressing good neighbor obligations for
                                                 CSAPR. See 75 FR 45237 (August 2,                       associated with that level of control                  the 2008 ozone NAAQS, at a
                                                 2010); 76 FR 48238 (August 8, 2011).                    stringency to constitute significant                   comparable cost threshold to the
                                                 The same metric is discussed in the                     contribution to nonattainment or                       required EGU emissions reductions (for
                                                 CSAPR Update, see 81 FR 74538, and in                   interfere with maintenance of a NAAQS                  which the EPA used an adjusted
                                                 the Revised CSAPR Update, see 86 FR                     downwind. See, e.g., 86 FR 23116. This                 representative cost of $1,800 per ton),
                                                 23054. In this final rule, the EPA has                  approach was upheld by the U.S.                        and based on the timing of when such
                                                 updated the air quality modeling data                   Supreme Court in EPA v. EME Homer                      measures could be implemented, did
                                                 used for determining contributions at                   City.87                                                not provide a sufficiently meaningful
                                                 Step 2 of the 4-step interstate transport                  In this action, the EPA applies this                and timely air quality improvement at
                                                 framework using the 2016v3 modeling                     approach to identify EGU and non-EGU                   the downwind receptors before those
                                                 platform. The EPA continues to find                     NOX control stringencies necessary to                  receptors were projected to resolve. See
                                                 that this threshold is appropriate to                   address significant contribution for the               86 FR 23110. On that basis, the EPA
                                                 apply for the 2015 ozone NAAQS. This                    2015 ozone NAAQS. The EPA applies a                    made a finding that emissions
                                                 rule’s application of the Step 2 approach               multifactor assessment using cost-                     reductions from non-EGU sources were
                                                 is comprehensively described in section                 thresholds, total emissions reduction                  not required to eliminate significant
                                                 IV of this document.                                    potential, and downwind air quality                    contribution to downwind air quality
                                                    Many commenters challenged the use                   effects as key factors in determining a                problems under the interstate transport
                                                 of a 1 percent of NAAQS threshold or                    reasonable balance of NOX controls in                  provision for the 2008 ozone NAAQS. In
                                                 otherwise raised issues with the EPA’s                  light of the downwind air quality                      this rule, the EPA’s ‘‘significant
                                                 Step 2 methodology. These comments                      problems. The EPA’s evaluation of                      contribution’’ analysis at Step 3 of the
                                                 are addressed in section IV.F of this                   available NOX mitigation strategies for                4-step framework includes a
                                                 document and in the RTC document.                       EGUs focuses on the same core set of                   comprehensive evaluation of major
                                                                                                         measures as prior transport rules, and                 stationary source non-EGU industries in
                                                    85 The number of days used in calculating the                                                               the linked upwind states. The EPA finds
                                                 average contribution metric has historically been          86 For simplicity, the EPA (and courts) at times
                                                                                                                                                                that emissions from certain non-EGU
                                                 determined in a manner that is generally consistent     will refer to the Step 3 analysis as determining       sources in the upwind states
                                                 with the EPA’s recommendations for projecting           ‘‘significant contribution’’; however, the EPA’s
                                                 future year ozone design values. Our ozone              approach at Step 3 also implements the                 significantly contribute to downwind air
                                                 attainment demonstration modeling guidance at the       ‘‘interference with maintenance’’ prong of the good    quality problems for the 2015 ozone
                                                 time of CSAPR recommended using all model-              neighbor provision by also addressing emissions        NAAQS, and that cost-effective
                                                 predicted days above the NAAQS to calculate             that impact the maintenance receptors identified at    emissions reductions from these sources
                                                 future year design values (https://www3.epa.gov/        Step 1. See 86 FR 23074 (‘‘In effect, EPA’s
                                                 ttn/scram/guidance/guide/final-03-pm-rh-                determination of what level of upwind contribution     are required to eliminate significant
                                                 guidance.pdf). In 2014, the EPA issued draft revised    constitutes ‘interference’ with a maintenance          contribution under the interstate
                                                 guidance that changed the recommended number of         receptor is the same determination as what             transport provision. Therefore, this rule
                                                 days to the top-10 model predicted days (https://       constitutes ‘significant contribution’ for a           requires emissions reductions from non-
                                                 www3.epa.gov/ttn/scram/guidance/guide/Draft-O3-         nonattainment receptor. Nonetheless, this continues
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                                                                                                         to give independent effect to prong 2 because the
                                                                                                                                                                EGU sources in upwind states to fulfill
                                                 PM-RH-Modeling_Guidance-2014.pdf). For the
                                                 CSAPR Update, the EPA transitioned to calculating       EPA applies a broader definition for identifying       interstate transport obligations for the
                                                 design values based on this draft revised approach.     maintenance receptors, which accounts for the          2015 ozone NAAQS. This analysis is
                                                 The revised modeling guidance was finalized in          possibility of problems maintaining the NAAQS          described fully in section V of this
                                                 2019 and, in this regard, the EPA is calculating both   under realistic potential future conditions.’’). See
                                                                                                         also EME Homer City, 795 F.3d 118, 136 (upholding
                                                                                                                                                                document.
                                                 the ozone design values and the contributions based
                                                 on a top-10 day approach (https://www3.epa.gov/         this approach to prong 2).                                In this rule, the EPA also continues to
                                                 ttn/scram/guidance/guide/O3-PM-RH-Modeling_                87 EPA v. EME Homer City Generation, L.P., 572      apply its approach for assessing and
                                                 Guidance-2018.pdf).                                     U.S. 489 (2014).                                       avoiding ‘‘over-control.’’ In EME Homer


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                                                 City, the Supreme Court held that ‘‘EPA                    Comment: Commenters alleged that                    2000); Appalachian Power Co. v. EPA,
                                                 cannot require a State to reduce its                    the EPA lacks authority to regulate                    249 F.3d 1032 (D.C. Cir. 2001). In fact,
                                                 output of pollution by more than is                     EGUs under the good neighbor                           each of the EPA’s interstate ozone
                                                 necessary to achieve attainment in every                provision of the CAA, or at least in the               transport rulemakings has focused on
                                                 downwind State or at odds with the                      manner proposed, because in their view,                the regulation of ozone-precursor
                                                 one-percent threshold the Agency has                    this regulation would intrude into areas               emissions from the power sector (all but
                                                 set.’’ 572 U.S. at 521. The Court                       of regulation that are reserved to other               the NOX SIP Call exclusively), because
                                                 acknowledged that ‘‘instances of ‘over-                 Federal agencies or are beyond the                     substantial, cost-effective reductions in
                                                 control’ in particular downwind                         EPA’s expertise. They focused in                       ozone-precursor emissions have been
                                                 locations may be incidental to                          particular on the EGU trading program                  and continue to be available from fossil-
                                                 reductions necessary to ensure                          enhancements, which they alleged                       fuel fired EGUs. See, e.g., 63 FR 57399–
                                                 attainment elsewhere.’’ Id. at 492.                     would threaten electric grid reliability,              400 (NOX SIP Call); 70 FR 25165 and 71
                                                    Because individual upwind States often
                                                                                                         and asserted that EPA lacks authority or               FR 25343 (CAIR and CAIR FIP); 76 FR
                                                 ‘contribute significantly’ to nonattainment in          expertise to dictate the mix of electricity            48210–11 (CSAPR); 81 FR 74507
                                                 multiple downwind locations, the emissions              generation in the country.                             (CSAPR Update); 86 FR 23061 (Revised
                                                 reductions required to bring one linked                    Response: The EPA disagrees that the
                                                                                                                                                                CSAPR Update).89
                                                 downwind State into attainment may well be              regulation of EGUs in this action is
                                                 large enough to push other linked downwind              unlawful or unsupported. The Agency                       This rule, like all prior EPA ozone-
                                                 States over the attainment line. As the Good            has consistently and successfully                      transport rulemakings, regulates only
                                                 Neighbor Provision seeks attainment in every            regulated EGUs’ ozone season NOX                       one aspect of the operation of fossil-fuel
                                                 downwind State, however, exceeding                      emissions under the good neighbor                      fired EGUs, that is, the emissions of
                                                 attainment in one State cannot rank as ‘over-           provision for over 25 years, beginning                 NOX as an ozone-precursor pollutant
                                                 control’ unless unnecessary to achieving
                                                 attainment in any downwind State. Only
                                                                                                         with the 1997 NOX SIP Call. This action                during the ozone season. This rule
                                                 reductions unnecessary to downwind                      does not intrude on other Federal                      limits EGU NOX emissions that interfere
                                                 attainment anywhere fall outside the                    agencies’ authorities and                              with downwind states’ ability to attain
                                                 Agency’s statutory authority.                           responsibilities with respect to                       and maintain the 2015 ozone NAAQS.
                                                                                                         managing the electric power grid and                   The rule does not regulate any other
                                                 Id. at 522 (footnotes omitted).
                                                                                                         ensuring reliable electricity. While other             aspect of energy generation,
                                                     The Court further explained that                    agencies such as the Federal Energy                    distribution, or sale. For these reasons,
                                                 ‘‘while EPA has a statutory duty to                     Regulatory Commission (FERC) have                      the rule does not intrude on FERC’s
                                                 avoid over-control, the Agency also has                 primary responsibility for ensuring                    power under the Federal Power Act, 16
                                                 a statutory obligation to avoid ‘under-                 reliability of the bulk electric system,               U.S.C. 791a, et seq. And, as in prior
                                                 control,’ i.e., to maximize achievement                 the EPA has ensured that its final rule                transport rules, the EPA implements
                                                 of attainment downwind.’’ Id. at 523.                   here will not create electric reliability              this regulation through a proven,
                                                 Therefore, in the CSAPR Update and                      concerns. See section VI.B.1.d of this                 flexible mass-based emissions trading
                                                 Revised CSAPR Update, the EPA                           document. Thus, to the extent                          program that integrates well with, and
                                                 evaluated possible over-control by                      commenters are raising a record-based                  in no way intrudes upon, the
                                                 considering whether an upwind state is                  issue that the EPA through this action
                                                 linked solely to downwind air quality                                                                          management of the power sector under
                                                                                                         has created a reliability concern, we                  other state and Federal authorities. This
                                                 problems that can be resolved at a lower                disagree. The EPA engaged in a series of
                                                 cost threshold, or if upwind states                                                                            rule will not alter the procedures system
                                                                                                         stakeholder meetings with Reliability                  operators employ to dispatch resources
                                                 would reduce their emissions at a lower                 Coordinators who commented on the
                                                 cost threshold to the extent that they                                                                         or force changes to FERC-jurisdictional
                                                                                                         proposed rule, including several                       electricity markets, nor have
                                                 would no longer meet or exceed the 1                    Regional Transmission Organizations
                                                 percent air quality contribution                                                                               commenters offered any explanation in
                                                                                                         (RTOs) as well as non-RTO entities                     this regard themselves.
                                                 threshold. See, e.g., 81 FR 74551–52.                   throughout the rulemaking process.88
                                                 See also Wisconsin, 938 F.3d at 325                        To the extent commenters maintain                      The actual compliance requirement
                                                 (over-control must be proven through a                  that—despite this record of                            that the EGUs must meet in the
                                                 ‘‘ ‘particularized, as-applied                          collaboration and sensitivity to the need              allowance trading system finalized
                                                 challenge’ ’’) (quoting EME Homer City                  to ensure reliability in the                           here—just as in all prior interstate
                                                 Generation, 572 U.S. at 523–24). The                    implementation of its mandates,                        transport trading programs—is simply to
                                                 EPA continues to apply this framework                   including in this rule—the EPA                         hold sufficient allowances to cover
                                                 for assessing over-control in this rule,                nonetheless fundamentally lacks                        emissions during a given control period,
                                                 and, as discussed in section V.D.4 of                   authority to regulate the electric-power               not to undertake any specific
                                                 this document, does not find any over-                  sector in any way that ‘‘impact[s]
                                                 control at the final control stringency                 national electricity and energy                          89 There are myriad other examples of effective

                                                 selected.                                               markets,’’ the EPA disagrees. The EPA                  power sector regulation under the CAA and other
                                                     This evaluation of cost, NOX                                                                               environmental statutes, including for example, new
                                                                                                         has successfully regulated interstate                  source performance standards (NSPS), best
                                                 reductions, and air quality                             ozone-precursor emissions from the                     available retrofit technology (BART) requirements,
                                                 improvements, including consideration                   power sector since the NOX SIP Call and                and mercury and air toxics standards (MATS) under
                                                 of whether there is proven over-control,                the establishment of the NOX Budget                    the CAA; effluent limitation guidelines (ELGs)
                                                                                                                                                                under the Clean Water Act; and coal combustion
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                                                 results in the EPA’s determination of the               Trading Program. See generally
                                                                                                                                                                residuals (CCR) requirements under the Resource
                                                 appropriate level of upwind control                     Michigan v. EPA, 213 F.3d 663 (D.C. Cir.               Conservation and Recovery Act. Whether
                                                 stringency that would result in                                                                                implemented through unit- or facility-level
                                                 elimination of emissions that                             88 See Documents no. EPA–HQ–OAR–2021–                pollution control requirements or through
                                                 significantly contribute to                             0668–0938, EPA–HQ–OAR–2021–0668–0940, EPA–             emissions-trading or other market-based programs,
                                                                                                         HQ–OAR–2021–0668–0941, EPA–HQ–OAR–2021–                these regulations have been effective in reducing air
                                                 nonattainment or interfere with                         0668–0942, EPA–HQ–OAR–2021–0668–0943, EPA–             and water pollution while not intruding into the
                                                 maintenance of the NAAQS in                             HQ–OAR–2021–0668–0944, and EPA–HQ–OAR–                 regulatory arenas of other state and Federal entities.
                                                 downwind areas.                                         2021–0668–0945 in the docket for this rulemaking.      See Section 1 of the RTC for further discussion.



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                                                 compliance strategy.90 The owner or                      attempts to mandate a particular energy                 than many other such requirements
                                                 operator of an EGU has flexibility in                    mix in West Virginia v. EPA. See 142 S.                 EGUs are already subject to. Further, as
                                                 determining how it will meet this                        Ct. 2587, 2613 n.4 (2022) (‘‘[T]here is an              in prior transport rules, this rule applies
                                                 requirement, whether through the add-                    obvious difference between (1) issuing a                a uniform control stringency to EGUs
                                                 on emissions controls that the EPA has                   rule that may end up causing an                         within the covered upwind states. EGUs
                                                 selected in our Step 3 analysis, or                      incidental loss of coal’s market share,                 that may have enjoyed a competitive
                                                 through some other method or methods                     and (2) simply announcing what the                      advantage in the past through not
                                                 of compliance. The costs of meeting this                 market share of coal, natural gas, wind,                bearing the costs of installing and
                                                 allowance-holding requirement—just                       and solar must be . . . .’’).                           running state-of-the-art emissions
                                                 like the cost associated with meeting                       This rule is squarely in the former                  control technology now must bear that
                                                 any other regulatory requirements—                       camp; as the most stringent component                   cost just as their competitors with that
                                                 could possibly then be factored into                     of its emissions controls strategy for                  technology already are. Cf. EME Homer
                                                 what that unit bids in the wholesale                     EGUs, the EPA has determined that to                    City, 572 U.S. 489, 519 (CSAPR is
                                                 electricity market (or in regulated                      eliminate significant contribution to                   ‘‘[e]quitable because, by imposing
                                                 jurisdictions, would factor into utility                 harmful levels of ozone in other states,                uniform cost thresholds on regulated
                                                 regulators’ determinations of what can                   certain fossil-fuel fired EGUs in                       States, EPA’s rule subjects to stricter
                                                 be cost-recovered).                                      ‘‘linked’’ upwind states that do not                    regulation those States that have done
                                                    Those costs could, in turn, result in a               already have selective catalytic                        relatively less in the past to control their
                                                 reduction in electricity generation from                 reduction (SCR) post-combustion                         pollution. Upwind States that have not
                                                 higher-emitting sources and an increase                  control technology, should install it (or               yet implemented pollution controls of
                                                 in electricity generation from lower-                    achieve emissions reductions                            the same stringency as their neighbors
                                                 emitting or zero-emitting generators, but                commensurate with that technology).                     will be stopped from free riding on their
                                                 that kind of generation shifting (not                    SCR is a well-established at-the-source                 neighbors’ efforts to reduce pollution.
                                                 mandated but occurring as an economic                    NOX control technology already in use                   They will have to bring down their
                                                 choice by the regulated sources) is                      by EGUs representing roughly 60                         emissions by installing devices of the
                                                 consistent, and in no way interferes                     percent of the existing coal-fired                      kind in which neighboring States have
                                                 with, the existing security-constrained                  generating capacity in the United States.               already invested.’’).
                                                 economic dispatch protocols of the                       This technology can be installed and                       Finally, we note that this final rule
                                                 modern electrical grid. Further, this                    operated to reduce NOX emissions                        does not include ‘‘generation shifting’’
                                                 type of ‘‘impact’’ on electricity                        without forcing the retirement or                       as a component of the budget-setting
                                                 markets—merely incidental, not                           reduced utilization of any EGU.                         process, even in the limited way that it
                                                 mandated or even intended—is of the                      However, if market conditions are such                  had been used in prior transport rules
                                                 same type that results from any other                    that an EGU faced with this mandate                     like CSAPR and the CSAPR Update, i.e.,
                                                 kind of regulation, environmental or                     (again, as expressed through an                         to ensure the budget provided adequate
                                                 otherwise. Indeed, the U.S. Supreme                      emissions trading budget) finds it more                 incentive to ensure implementation of
                                                 Court recognizes that regulatory actions                 economic to comply with the mandate                     the selected emission-control strategy.
                                                 that may have some ‘‘effect,’’ or impact,                through the purchase of allowances,                     See section V.B.1.f of this document.
                                                 in electricity markets do not on that                    installation of other types of pollution                Further comments regarding legal
                                                 basis alone intrude into authorities                     control, reduced utilization, and/or                    authority for ‘‘generation shifting,’’
                                                 reserved to electricity rate-setting                     retirement, rather than installing SCR                  relationship to state authorities, and
                                                 regulators by the Federal Power Act. See                 technology, that is a choice that the EGU               expertise associated with grid reliability
                                                 FERC v. Electric Power Supply Ass’n,                     owner/operator can freely make under                    are addressed in section 1.3 of the RTC.
                                                 577 U.S. 260, 282–84 (2016)                              this rule.91 Security constrained                       We further discuss our consideration of
                                                 (distinguishing between actions that                     economic dispatch is thereby                            grid reliability concerns and
                                                 have an effect on retail rates and actual                maintained and is in no way interfered                  adjustments in the approach to the EGU
                                                 intrusion into retail rate-setting itself);              with.                                                   emissions trading program from
                                                 see also Hughes v. Talen, 578 U.S. 150,                     The EPA recognizes that cost to                      proposal in section VI.B.1.d of this
                                                 166 (2016). The Supreme Court again                      operate generators is one of the major                  document.
                                                 recognized this distinction between                      factors that system operators utilize to                   Comment: Commenters generally
                                                 ‘‘incidental’’ effects caused by lawfully                determine ‘‘merit’’ order in dispatching                challenged the EPA’s authority to
                                                 issued environmental regulations and                     resources. However, this rule does not                  establish emissions control
                                                                                                          intrude in any way into that process. To                requirements for non-EGU industrial
                                                   90 The EPA has included in this trading program        the extent that compliance with                         sources in this action, or argued that
                                                 certain ‘‘enhancements’’ to ensure that the program      environmental regulations is a kind of                  such controls are unnecessary or
                                                 continues to eliminate the emissions the EPA has
                                                 determined constitute ‘‘significant contribution’’
                                                                                                          cost that may need to be factored into                  unsupported, or run contrary to the
                                                 over the entire life of the trading program. While       generators’ bids, this rule is no different             EPA’s prior actions under the good
                                                 one of the enhancements elevates a type of conduct                                                               neighbor provision.
                                                 that was already strongly discouraged into an               91 As explained in section V.B of this document,        Response: The states and the EPA
                                                 enforceable violation, the other enhancements all        the imposition of a backstop emissions rate             have authority under CAA section
                                                 simply modify the traditional allowance-based            beginning in 2030 for units that do not already have
                                                 program structure to revise how the specific             SCR installed could lead the owner of a given unit
                                                                                                                                                                  110(a)(2)(D)(i)(I) to prohibit emissions
                                                 quantities of allowances that must be surrendered        to decide that the unit’s continued operation would     from ‘‘any source or other type of
                                                                                                                                                                  emissions activity’’ that are found to
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                                                 or the specific quantities of allowances available for   be uneconomic without installation of SCR, but the
                                                 surrender are determined. In finalizing this rule, the   establishment of technology-based emissions rates       significantly contribute to
                                                 EPA has made a number of changes to its proposed         that require such decisions is consistent with
                                                 enhancements to the trading program in response          decades of the EPA’s rulemaking and permitting          nonattainment or interfere with
                                                 to comment and in part to ensure no impact on            actions requiring source-specific pollution controls.   maintenance of the NAAQS in
                                                 system reliability. Nonetheless, with these changes,     Further, the backstop rate in this program is           downwind states. This language is not
                                                 the EPA has determined that the enhanced trading         implemented through an enhanced allowance-
                                                 program can be implemented without impacting             surrender ratio, thus preserving some degree of
                                                                                                                                                                  limited only to power plant emissions,
                                                 grid reliability. See section VI.B.1.d of this           flexibility through the emissions-trading program as    nor is it limited only to ‘‘major’’ sources
                                                 document.                                                the mechanism of compliance.                            or ‘‘stationary’’ sources. Thus, as a legal


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                                                 matter, the emissions control                           substantial reductions from power                      noncompliance with the statute.’’ Id.
                                                 requirements for certain large ‘‘non-                   plants. See id. at 48249 (the EPA’s                    Rather, the Agency would need to ‘‘meet
                                                 EGU’’ industrial sources in this action                 ‘‘preliminary assessment in the rule                   the ‘heavy burden to demonstrate the
                                                 are grounded in unambiguous statutory                   proposal suggested that there likely                   existence of an impossibility.’ ’’ Id.
                                                 authority, in particular the statute’s use              would be very large emissions                          (quoting Sierra Club v. EPA, 719 F.2d
                                                 of the broad term ‘‘any source.’’                       reductions available from EGUs before                  436, 462 (D.C. Cir. 1983)).
                                                 Whereas the Act elsewhere includes                      costs reach the point for which non-                      Following the remand of the CSAPR
                                                 definitions of ‘‘major stationary source,’’             EGU sources have available reductions                  Update in Wisconsin, in the Revised
                                                 ‘‘small source,’’ and ‘‘stationary source,’’            . . . . EPA revisited these non-EGU                    CSAPR Update, the EPA conducted an
                                                 see, e.g., CAA section 302(j), (x), and (z),            reduction cost levels in this final                    analysis of non-EGUs to ensure it had
                                                 no such qualifying terms are used with                  rulemaking and verified that there are                 implemented a complete remedy to
                                                 respect to the term ‘‘any source’’ at CAA               little or no reductions available from                 eliminate significant contribution for
                                                 section 110(a)(2)(D)(i). Rather, the scope              non-EGUs at costs lower than the                       the covered states for the 2008 ozone
                                                 of authority in this provision expands to               thresholds that EPA has chosen                         NAAQS. While acknowledging
                                                 encompass ‘‘other type of emissions                     . . . .’’). The EPA noted in CSAPR that                uncertainty in the datasets for non-
                                                 activity’’ in addition to ‘‘any source.’’               states retained the authority to regulate              EGUs, the EPA concluded: ‘‘[U]sing the
                                                 The EPA has previously included non-                    non-EGUs as a method of addressing                     best information currently available to
                                                 EGU industrial sources in findings                      their good neighbor obligations. Id. at                the Agency, . . . the EPA is concluding
                                                 quantifying states’ obligations under the               48320. The EPA also noted in CSAPR                     that there are relatively fewer emissions
                                                 good neighbor provision, in the 1998                    that ‘‘potentially substantial’’ non-EGU               reductions available at a cost threshold
                                                 NOX SIP Call, see 63 FR 57365.92 See                    emissions reductions could be available                comparable to the cost threshold
                                                 also Michigan v. EPA, 213 F.3d 663,                     in future rulemakings applying a higher                selected for EGUs. In the EPA’s
                                                 690–93 (upholding the inclusion of                      cost threshold. See id. at 48256.                      reasoned judgment, the Agency
                                                 certain non-EGU boilers in the NOX SIP                      Similarly, in the CSAPR Update,                    concludes such reductions are estimated
                                                 Call). The EPA’s determinations in prior                which addressed good neighbor                          to have a much smaller effect on any
                                                 transport rules not to regulate sources                 obligations for the 2008 ozone NAAQS,                  downwind receptor in the year by
                                                 beyond the power sector were grounded                   the EPA found that regulation of non-                  which the EPA finds such controls
                                                 in considerations not related to the                    EGUs was not warranted as the analysis                 could be installed.’’ 86 FR 23059.
                                                 Agency’s statutory authority. For                       required could delay the expeditious                   Therefore, the EPA determined control
                                                 example, in the original CSAPR                          implementation of power plant                          of non-EGU emissions was not required
                                                 rulemaking, the EPA determined that                     reductions. The EPA found that the                     to eliminate significant contribution for
                                                 the analytical effort needed to regulate                availability and cost-effectiveness of                 the 2008 ozone NAAQS.
                                                 non-EGU industrial sources would                        non-EGU reductions was uncertain and                      The circumstances that led the EPA to
                                                 substantially delay the implementation                  further analysis could delay                           defer or decline regulation of non-EGU
                                                 of emissions reductions from the power                  implementation of the EGU strategy                     sources in CSAPR, the CSAPR Update,
                                                 sector. See, e.g., 76 FR 48247–48                       beyond 2017. The EPA acknowledged                      and the Revised CSAPR Update, are not
                                                 (‘‘[D]eveloping the additional                          that it was not promulgating a complete                present here, and the EPA’s
                                                 information needed to consider NOX                      remedy for good neighbor obligations                   determination in this action that
                                                 emissions from non-EGU source                           for the 2008 ozone NAAQS and                           prohibiting certain emissions from
                                                 categories to fully quantify upwind state               indicated its intention to further review              certain non-EGU sources is necessary to
                                                 responsibility with respect to the 1997                 emissions-reduction opportunities from                 eliminate significant contribution for
                                                 ozone NAAQS would substantially                         non-EGU and EGU sources. 81 FR                         the 2015 ozone NAAQS is a logical
                                                 delay promulgation of the Transport                     74521–22.                                              extension of the analyses and evolution
                                                 Rule. . . . [W]e do not believe that                        In Wisconsin, the court held that the              of regulatory policy development
                                                 effort should delay the emissions                       EPA’s deferral of a complete good                      spanning its prior good neighbor rules,
                                                 reductions and large health benefits this               neighbor remedy by 2017, on the basis,                 now applied to implement this more
                                                                                                         among other things, of uncertainty                     protective NAAQS. As the EPA
                                                 final rule will deliver[.]’’). The EPA
                                                                                                         regarding non-EGU emissions                            explained at proposal, unlike in CSAPR
                                                 acknowledged that by not addressing
                                                                                                         reductions and the need for further                    and the Revised CSAPR Update, in this
                                                 non-EGUs, it may not have promulgated
                                                                                                         regulatory analysis, was unlawful. 938                 action the EPA finds that available
                                                 a complete remedy to good neighbor
                                                                                                         F.3d at 318–19. The court noted that                   reductions and cost-levels for the non-
                                                 obligations in CSAPR, id. at 48248.
                                                                                                         ‘‘ ‘the statutes and common sense                      EGU stringency are commensurate with
                                                 Nonetheless, the EPA went on to
                                                                                                         demand regulatory action to prevent                    the control strategy for EGUs. Following
                                                 explain that there were limited
                                                                                                         harm, even if the regulator is less than               consideration of comments and after
                                                 emissions reductions available from
                                                                                                         certain.’ ’’ Id. at 319 (quoting Ethyl Corp.           some adjustments in the non-EGU
                                                 non-EGUs at the cost thresholds the
                                                                                                         v. EPA, 541 F.2d 1, 24–25 (D.C. Cir.                   analysis and control strategy, in this
                                                 EPA determined would deliver
                                                                                                         1976)), and that agencies can only avoid               final rule, the EPA continues to find this
                                                   92 Specifically, in the NO SIP Call, the EPA set
                                                                                                         meeting their statutory obligations                    to be the case. See sections V.C and V.D
                                                                               X
                                                 statewide budgets while states could determine          where ‘‘scientific uncertainty is so                   of this document.
                                                 which sectors to regulate. The EPA recommended          profound that it precludes EPA from                       In particular, the EPA continues to
                                                 that states regulate certain types of non-EGUs and      making a reasoned judgment.’’ Id.                      find that cost-effective emissions
                                                 quantified the statewide budgets based in part on                                                              reductions are available for non-EGUs at
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                                                                                                         (citing Massachusetts v. EPA, 549 U.S.
                                                 the emissions reductions from those types of non-
                                                 EGUs. In the parallel rule that followed under the
                                                                                                         497, 534 (2007)). Further, the court                   a representative cost-threshold that is
                                                 EPA’s CAA section 126(b) authority to directly          rejected the EPA’s argument that it                    lower than the cost-threshold the EPA is
                                                 regulate emissions to eliminate significant             would have delayed its rulemaking if                   applying for EGUs. See section V.C. of
                                                 contribution, we promulgated an emissions trading       the EPA needed to complete a non-EGU                   this document. These emissions control
                                                 program that would have included these same types
                                                 of non-EGUs. Before this rule was implemented, all
                                                                                                         analysis in a timely manner, holding                   strategies are generally comparable to
                                                 states adopted equivalent state trading programs        that ‘‘administrative infeasibility’’ is not           the emissions reduction requirements
                                                 using the NOX SIP Call model rule.                      sufficient to ‘‘justify . . .                          that similar sources in downwind states


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                                                 are already required to meet. See section               section 111(b) and (d) to regulate both                and confirm here in our final rule that
                                                 V.B.2 of this document. The EPA finds                   new and existing sources of ozone                      the methodology used in the screening
                                                 that the implementation of these                        season NOX, which is premised on the                   assessment comported with the factors
                                                 emissions control strategies at non-                    incorrect notion that the EPA’s action                 that we consider at Step 3. Further, the
                                                 EGUs, in conjunction with the strategies                here is an attempt to regulate entire                  EPA’s 4-step interstate transport
                                                 for EGU, will make a cost-effective and                 source categories nationwide, rather                   framework, including the Step 3
                                                 meaningful improvement in air quality                   than to eliminate significant                          analysis and an overcontrol assessment,
                                                 through reducing ozone levels at the                    contribution pursuant to CAA section                   ensure that the emissions reductions
                                                 identified downwind receptors, and,                     110(a)(2)(D)(i)(I). This action applies                achieved at each source covered by this
                                                 therefore, the EPA has determined that                  only to the extent a state is ‘‘linked’’ to            rule are in fact justified as part of an
                                                 these strategies will eliminate the                     downwind receptors, and therefore this                 overall, complete remedy to eliminate
                                                 amount of upwind emissions needed to                    action only regulates covered non-EGU                  significant contribution for the covered
                                                 address significant contribution under                  industrial sources in 20 states. Further,              states for the 2015 ozone NAAQS. The
                                                 the good neighbor provision. The EPA’s                  this comment ignores that the regulation               EPA has decided to finalize emissions
                                                 action here is focused on the most                      of criteria pollutant emissions from                   limitations for all of the non-EGU
                                                 impactful industries and emissions                      existing sources under CAA section                     industries, with some modifications
                                                 units as determined by our evaluation of                111(d) is limited by the criteria                      from proposal reflecting public input, as
                                                 the power sector and the non-EGU                        pollutant exclusion in CAA section                     discussed in section VI.C of this
                                                 screening assessment prepared for the                   111(d)(1)(A)(i).                                       document. The Agency’s authority to
                                                 proposal; indeed, of the 41 industries, as                The EPA agrees with the commenters                   establish unit- and/or source-specific
                                                 identified by North American Industry                   who assert that the EPA’s authority to                 emissions limitations in exercising our
                                                 Classification System codes, we                         regulate non-EGUs under the good                       FIP authority is further discussed in
                                                 analyzed, only nine industries met the                  neighbor provision is well-grounded in                 section III.B.1 of this document.
                                                 criteria for further evaluation of                      administrative precedent and case law.
                                                                                                                                                                   Comment: Commenters raise
                                                 significant contribution. See section                   Our previous discussion briefly recites
                                                                                                                                                                additional issues with the overall
                                                 V.B.2 of this document. Further, the                    several of the most salient aspects of
                                                                                                                                                                approach of the rule at Step 3 to address
                                                 EPA finds that these strategies do not                  that history. We also agree that the
                                                                                                                                                                significant contribution through our
                                                 result in ‘‘overcontrol.’’ See section                  statutory language is not limited only to
                                                                                                                                                                evaluation of EGU and non-EGU
                                                 V.D.4 of this document. As such, the                    those sources that emit above 100 tons
                                                                                                         per year. The EPA’s Step 3 and Step 4                  strategies through parallel but separate
                                                 EPA maintains that its final                                                                                   analyses. They stated that the EPA
                                                 determinations regarding non-EGUs and                   analyses in this regard, which establish
                                                                                                         certain thresholds based on historical                 failed to establish that the identified
                                                 its inclusion of non-EGU emissions                                                                             non-EGU emissions reductions are
                                                 sources within this final rule are                      actual emissions, potential to emit and/
                                                                                                         or metrics for unit design capacity,                   needed to eliminate significant
                                                 statutorily authorized and lawful.93                                                                           contribution. Commenters stated that
                                                    The EPA disagrees that it should defer               reflect a reasoned judgment by the
                                                                                                         Agency regarding which emissions can                   the identified non-EGU emissions
                                                 regulation of industrial sources to the                                                                        reductions are not impactful of air
                                                 NSPS program under CAA section                          be cost-effectively eliminated to address
                                                                                                         significant contribution, under the facts              quality at receptors or that they are
                                                 111(b). CAA section 111(b) does not                                                                            much less cost-effective than the EGU
                                                 expressly provide for the elimination of                and circumstances of this action. That
                                                                                                         these thresholds are designed to exclude               emissions reductions. Commenters
                                                 ‘‘significant contribution’’ as is required                                                                    stated that the EPA grouped all non-
                                                 under CAA section 110(a)(2)(D)(i)(I). In                certain smaller or lower-emitting units
                                                                                                         does not reflect a determination that the              EGU emissions reductions together in
                                                 particular, commenter’s statement that                                                                         making a cost-effectiveness
                                                 NSPS rulemakings under section 111(b)                   EPA lacks legal authority to regulate
                                                                                                         such sources under different facts and                 determination that is only an average
                                                 will appropriately address the emissions                                                                       and ignores significant variation in costs
                                                 that we find must be eliminated in this                 circumstances.
                                                                                                           The EPA identified two industry tiers                associated with controls on different
                                                 action is not correct. Standards under                                                                         types of non-EGU emissions units. They
                                                 section 111(b) apply only to new and                    of potential non-EGU emissions
                                                                                                         reductions in its non-EGU screening                    also stated the EPA did not assess
                                                 modified sources, not existing sources.                                                                        multiple control technologies in the way
                                                                                                         assessment at proposal, based on
                                                 This action, however, finds that                                                                               that it did for EGUs, and they argued
                                                                                                         screening metrics intended to capture
                                                 reductions in ongoing emissions from                                                                           there is great variation in the profile of
                                                                                                         different kinds of impacts that non-EGU
                                                 existing sources are needed to eliminate                                                                       non-EGU industries and emissions unit
                                                                                                         sources may have on identified
                                                 significant contribution. An NSPS                                                                              types in the different upwind states or
                                                                                                         receptors. The EPA agrees that it is only
                                                 standard for new and modified sources                                                                          that individual emissions units do not
                                                                                                         authorized to prohibit emissions under
                                                 would not address such emissions from                                                                          contribute to an out-of-state air quality
                                                                                                         the good neighbor provision that
                                                 existing sources. To the extent that                                                                           problem at all. Commenters argued that
                                                                                                         significantly contribute to
                                                 covered sources in this action also may                                                                        certain non-EGU controls were not
                                                                                                         nonattainment or interfere with
                                                 be covered by an older NSPS, these                      maintenance in downwind states, and                    feasible, or that the EPA had applied a
                                                 sources nonetheless continue to have                    we determined that these industries did                different standard for ‘‘feasibility’’ for
                                                 emissions that the EPA finds                            so. The EPA sought comment on                          non-EGUs than it did for EGUs.
                                                 significantly contribute and can be                     whether additional non-EGU industries                  Commenters stated that the EPA should
                                                 eliminated through further emissions                                                                           have provided a mass-based trading
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                                                                                                         significantly contributed to
                                                 control as determined in this action. We                nonattainment or interfered with                       option for non-EGUs just as it had for
                                                 further disagree with commenter’s                       maintenance in downwind states. The                    EGUs. By contrast, other commenters
                                                 separate suggestion that the EPA use                    EPA did not receive comments                           supported the regulation of non-EGUs in
                                                    93 Certain changes in the emissions control
                                                                                                         identifying other industrial stationary                this action as necessary to ensure a
                                                 strategies for non-EGUs reflecting comments and
                                                                                                         sources that are more impactful that                   complete remedy to good neighbor
                                                 updated information are explained in section VI.C       should be regulated instead of those the               obligations, since the statute is not
                                                 of this document.                                       EPA identified. We believed at proposal                limited to regulating power plants.


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                                                 Some commenters further stated that                     The Court in that case rejected that the               value for any particular control
                                                 EGUs should not face any further                        EPA must define significant                            stringency, but this in itself does not
                                                 emissions reduction obligation because                  contribution by reference to a specific                upset the EPA’s ability to render an
                                                 all cost-effective controls have already                quantum of reductions that each state                  overall policy judgment based on the
                                                 been identified through prior transport                 must achieve that is proportional to its               Step 3 factors as to a set of emissions
                                                 rules, and that any further regulation of               impact at a downwind receptor. The                     control strategies that together eliminate
                                                 EGUs would only lead to the retirement                  Court agreed with the EPA’s concerns as                significant contribution. See 86 FR
                                                 of coal plants, which they believe is the               to why that approach would be                          23054, 23073 (responding to similar
                                                 EPA’s true objective. Finally, some                     problematically complicated or even                    comments on the Revised CSAPR
                                                 commenters argued that the EPA had                      impossible to apply in light of the                    Update).
                                                 not ensured that it only regulated up to                complex set of linkages among states for                  We note that the EPA has made a
                                                 the minimum needed for downwind                         a regional pollutant like ozone. See 572               number of adjustments to the non-EGU
                                                 areas to come into attainment.                          U.S. at 515–17. The Court found that the               emissions limits identified at Step 4 to
                                                    Response: Issues related to the                      use of uniform cost thresholds to                      accommodate legitimate concerns
                                                 specific technical bases for the Agency’s               allocate responsibility for good neighbor              regarding the ability of certain non-EGU
                                                 determinations of what emissions                        obligations to be efficient and equitable,             facilities to meet the emissions control
                                                 constitute ‘‘significant contribution’’ at              in that it requires those sources that                 requirements that the EPA had
                                                 Step 3 of the 4-step framework are                      have done less to reduce their emissions               proposed. The Agency’s determinations
                                                 addressed in section V of this                          to come up to a minimum level of                       regarding feasibility and installation
                                                 document. Here, we evaluate                             performance to what other sources are                  timing for pollution controls are
                                                 commenters’ more general assertions                     already achieving. Id. at 519. The EPA’s               comparable and not inconsistent
                                                 that this action addresses non-EGU or                   analysis in this action in section V of                between EGUs and non-EGUs. The EPA
                                                 EGU emissions in an inconsistent way.                   this document establishes that this                    is not establishing a trading program for
                                                 First, the EPA agrees with commenters                   continues to be an appropriate means of                non-EGUs because the Agency does not
                                                 that the task of evaluating significant                 delivering meaningful air quality                      have adequate baseline emissions data
                                                 contribution from the non-EGU                           improvement to downwind receptors,                     and information on monitoring
                                                 industries is complex compared to                       taking into consideration the                          currently at many of these emissions
                                                 EGUs in light of the much greater                       complexities of interstate pollution                   units to develop emissions budgets that
                                                 diversity in industries and emissions                   transport.                                             could reliably implement the Step 3
                                                 unit types. This, however, is not a valid                                                                      determinations made in this action.
                                                 basis to avoid emissions control                           Not every upwind state has the same
                                                                                                                                                                However, for most of the non-EGU
                                                 requirements on such sources if needed                  mix of non-EGU industries and
                                                                                                                                                                industries,94 the EPA is not mandating
                                                 to eliminate significant contribution. In               emissions unit types, and it is also the
                                                                                                                                                                a specific control technology and is
                                                 this respect, the EPA’s analysis in this                case that the costs for installation of the
                                                                                                                                                                instead establishing numeric emissions
                                                 final rule is that the 4-step framework,                selected level of control technology will
                                                                                                                                                                limits that are uniform across the region
                                                 as upheld by the Supreme Court in EME                   vary from facility to facility based on
                                                                                                                                                                and that allow sources to choose how to
                                                 Homer City, can be adequately applied                   site-specific considerations. This is also
                                                                                                                                                                comply. The EPA’s analysis, including
                                                 even to this more complex set of sources                true for the set of EGU sources regulated
                                                                                                                                                                review of RACT determinations, consent
                                                 in a way that parallels the analysis                    here and in previous CSAPR
                                                                                                                                                                decrees, and permitting actions, shows
                                                 previously conducted only for EGUs.                     rulemakings. These real-world
                                                                                                                                                                that these emissions limits and control
                                                 This analysis relies on evaluation of                   complexities do not obviate the broader
                                                                                                                                                                requirements are achievable by existing
                                                 uniform levels of control stringency                    policy and technical judgements that
                                                                                                                                                                units in the non-EGU industries covered
                                                 across all upwind states to find a level                the EPA makes at Step 3 regarding what
                                                                                                                                                                by this final rule. This rule will
                                                 of emissions control that is cost-                      level of emissions control performance
                                                                                                                                                                therefore bring all of these impactful
                                                 effective and collectively delivers                     can be achieved on a region-wide basis
                                                                                                                                                                industries and unit types across the
                                                 meaningful downwind air quality                         to resolve significant contribution for a
                                                                                                                                                                region of linked upwind states up to this
                                                 improvement. For non-EGUs, the EPA                      regional-scale pollutant like ozone. The
                                                                                                                                                                standard of performance, and thus will
                                                 identified the most impactful industries                EPA’s design of cost thresholds derives
                                                                                                                                                                result collectively in a relatively
                                                 and emissions unit types and evaluated                  from the identification of discrete types
                                                                                                                                                                substantial decrease in ozone-season
                                                 emissions control strategies for these                  of NOX emissions control strategies. The
                                                                                                                                                                NOX emissions, with associated
                                                 units that have been demonstrated or                    EPA then identifies a representative
                                                                                                                                                                reductions in ozone levels projected to
                                                 applied across many similar facilities                  cost-effectiveness on a per ton basis for
                                                                                                                                                                result at the downwind receptors. This
                                                 and emissions units. The EPA has                        that technology. In the Step 3 analysis,
                                                                                                                                                                is further discussed in section V.D.
                                                 evaluated whether these strategies are                  it is not the cost per ton value itself that              Some commenters alleged that the
                                                 cost-effective on a cost-per-ton basis,                 is inherently meaningful, but rather how               EPA’s EGU control strategy goes beyond
                                                 and in particular has compared these                    that cost-effectiveness value relates to               the cost-effectiveness determinations of
                                                 strategies to those selected for EGUs.                  other control stringencies, how many                   prior transport rules, and they believe
                                                 This analysis is set forth in sections V                emissions reductions may be obtained,                  that the EPA’s true objective is to force
                                                 and VI of this document and associated                  and how air quality is ultimately                      the retirement of coal plants. First, we
                                                 technical support documents.                            impacted. The selected level of control                note that the EGU emissions control
                                                    Commenter’s statement that the                       stringency reflects a point at which                   strategy is premised entirely on at-the-
                                                                                                         further emissions mitigation strategies
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                                                 establishment of a uniform level of
                                                 control for each group of industrial                    become excessively costly on a per-ton                   94 For reheat furnaces in the Iron and Steel Mills
                                                 units across the linked upwind states                   basis while also delivering far fewer                  and Ferroalloy Manufacturing industry, the EPA is
                                                 fails to assess with greater precision or               additional emissions reductions and air                establishing requirements to operate low-NOX
                                                 define a state-specific proportion of                   quality benefits. This is often referred to            burners achieving a specified level of emissions
                                                                                                                                                                reduction; this approach is needed to allow for unit-
                                                 emissions reduction that is needed for                  as a ‘‘knee in the curve’’ analysis. There             specific testing before an appropriate emissions
                                                 each downwind receptor is effectively                   are always inherent uncertainties in                   limitation can be set. See section VI.C.3 of this
                                                 an attempt to relitigate EME Homer City.                identifying a representative cost per ton              document.



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                                                 source emissions control technologies                   must have some leeway in fulfilling the                contribution in Step 3 and may not
                                                 that are widely available and in use                    good neighbor mandate of the Act given                 adequately ensure the control of
                                                 across the EGU fleet. It is not the EPA’s               uncertainty in making forward                          emissions throughout all days of the
                                                 intention in this rule to force the                     projections of air quality and the                     ozone season. At the same time, the EPA
                                                 retirement of any EGU or non-EGU                        efficacy or impact of emissions control                continues to find that an interstate-
                                                 facilities or emissions units but to                    determinations. See EME Homer City,                    trading program approach delivers
                                                 identify and eliminate significant                      572 U.S. at 523. This is further                       substantial benefits at Step 4 in terms of
                                                 contribution under CAA section                          addressed in section V.D.4 of this                     affording an appropriate degree of
                                                 110(a)(2)(D)(i)(I) based on cost-effective              document.                                              compliance flexibility, certainty in
                                                 and proven control technologies that are                                                                       emissions outcomes, data and
                                                                                                         d. Step 4 Approach
                                                 appropriate in relation to address the                                                                         performance transparency, and cost-
                                                 problem of interstate transport for the                    The EPA is finalizing an approach                   effective achievement of a high degree
                                                 2015 ozone NAAQS. Further,                              similar to its prior transport                         of aggregate emissions reductions. As
                                                 determinations of cost-effectiveness                    rulemakings to implement the necessary                 such, the EPA is retaining an interstate
                                                 must be made in relation to the                         emissions reductions through                           trading program approach while making
                                                 particular statutory provision and its                  permanent and enforceable measures.                    several enhancements to that approach.
                                                 purpose. The EPA recognized in                          The EPA is requiring EGU sources to                       Thus, in this rulemaking, the EPA is
                                                 CSAPR, for example, that additional                     participate in an emissions trading                    including dynamic budget-setting
                                                 emissions reductions beyond what were                   program and is making additional                       procedures in the regulations that will
                                                 determined to be cost-effective in that                 enhancements to the trading regime to                  allow state emissions budgets for
                                                 action could be required to implement                   maintain the selected control stringency               control periods in 2026 and later years
                                                 good neighbor obligations if a NAAQS                    over time and improve emissions                        to reflect more current data on the
                                                 were revised to a more protective level.                performance at individual units,                       composition and utilization of the EGU
                                                 See 76 FR 48210. Here it is not                         offering a necessary measure of                        fleet (e.g., the 2026 budgets will reflect
                                                 surprising that a more stringent level of               assurance that emissions controls will                 recent data through 2024 data, the 2027
                                                 control could be found justified in                     be operated throughout the ozone                       budgets will reflect data through 2025,
                                                 implementing transport obligations for                  season. For non-EGUs, the EPA is                       etc.). These enhancements will enable
                                                 the more protective 2015 ozone                          finalizing permanent and enforceable                   the trading program to better maintain
                                                                                                         emissions rate limits and work practice                over time the selected control stringency
                                                 NAAQS. Those reductions are projected
                                                                                                         standards, and associated compliance                   that was determined to be necessary to
                                                 to deliver meaningful air quality
                                                                                                         requirements, for several types of NOX-                address states’ good neighbor
                                                 improvement to downwind receptors, as
                                                                                                         emitting combustion units across                       obligations with respect to the 2015
                                                 discussed in section V.D of this
                                                                                                         several industrial sectors. The measures               ozone NAAQS. In prior programs,
                                                 document. Those air quality benefits
                                                                                                         for both EGUs and non-EGUs are                         where state emissions budgets were
                                                 continue to compare favorably to the air
                                                                                                         required throughout the May 1-                         static across years rather than calibrated
                                                 quality benefits that will be delivered
                                                                                                         September 30 ozone season of each year.                to yearly fleet changes, the EPA has
                                                 through the combined non-EGU
                                                                                                         The EGU program will begin with the                    observed instances of units idling their
                                                 emissions limits, which apply to nine
                                                                                                         2023 ozone season, and the non-EGU                     emissions controls in the latter years of
                                                 non-EGU industries (see section V.C of
                                                                                                         implementation schedule is targeted to                 the program. To provide greater
                                                 this document). We find that the                        the 2026 ozone season. Refer to section                certainty regarding the minimum
                                                 implementation of both the EGU and                      VI.A of this document for details on the               quantities of allowances that will be
                                                 non-EGU strategies identified in section                implementation schedule.                               available for compliance for the control
                                                 V of this document together represent                      Based on the EPA’s experience in                    periods in 2026 through 2029, the EPA
                                                 the appropriate level of emissions                      implementing prior transport                           is also establishing preset state
                                                 control stringency to eliminate                         rulemakings, the Agency is making                      emissions budgets for these control
                                                 significant contribution under CAA                      several enhancements to its trading-                   periods, and a dynamic state emissions
                                                 section 110(a)(2)(D)(i)(I).                             program approach for implementing                      budget determined for one of these
                                                    Finally, the EPA also analyzed for                   good neighbor requirements for EGUs.                   control periods will apply only if it is
                                                 overcontrol and does not identify any.                  In CSAPR, the CSAPR Update, and the                    higher than the state’s preset budget for
                                                 Some commenters misstate the purpose                    Revised CSAPR Update, the EPA                          the control period.
                                                 of this rule as bringing downwind                       established interstate trading programs                   In the trading programs established
                                                 receptors into attainment. In line with                 for EGUs to implement the necessary                    for ozone season NOX emissions under
                                                 the statutory directive in CAA section                  emissions reductions. In each of these                 CSAPR, the CSAPR Update, and the
                                                 110(a)(2)(D)(i)(I), this rule eliminates                rules, EGUs in each covered state are                  Revised CSAPR Update, the EPA
                                                 ‘‘significant contribution’’ from upwind                assigned an emissions budget in each                   included assurance provisions to limit
                                                 states; while the rule has substantial air              control period for their collective                    state emissions to levels below 121
                                                 quality benefits for downwind                           emissions. Emissions allowances are                    percent of the state’s budget by
                                                 receptors, in many cases we project that                allocated to units covered by the trading              requiring additional allowance
                                                 a nonattainment or maintenance                          program, and the covered units then                    surrenders in the instance that
                                                 problem will continue to persist through                surrender allowances after the close of                emissions in the state exceed this level.
                                                 2023 and 2026 despite the emissions                     the control period, usually in an amount               This limit on the degree to which a
                                                 reductions achieved by this rule.                       equal to their ozone season EGU NOX
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                                                                                                                                                                state’s emissions can exceed its budget
                                                 Commenters alleging overcontrol have                    emissions. While these programs have                   is designed to allow for a certain level
                                                 not met the requirement that                            been effective in achieving overall                    of year-to-year variability in power
                                                 overcontrol be established by                           reductions in emissions, experience has                sector emissions to account for
                                                 particularized evidence through as-                     shown that these programs may not                      fluctuations in demand and EGU
                                                 applied challenges. The Supreme Court                   fully reflect in perpetuity the degree of              operations and is responsive to previous
                                                 has recognized that the EPA also has an                 emissions stringency determined                        court decisions (see discussion in
                                                 obligation to avoid under-control and                   necessary to eliminate significant                     section VI.B.5 of this document). In this


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                                                 action, the EPA is maintaining the                      consistent with the EPA’s transport                    not be supported on the basis of
                                                 existing assurance provisions that limit                actions dating back to the NOX SIP Call                environmental justice benefits, or were
                                                 state emissions to levels below a                       and the NOX Budget Trading Program.                    otherwise unlawful for other reasons.
                                                 percentage of the state’s budget by                     In all CSAPR EGU trading programs, for                 These commenters argue that the EPA’s
                                                 requiring additional allowance                          instance, new EGUs are subject to the                  Step 4 dynamic budget approach for
                                                 surrenders in any instance where                        program, and the EPA has established                   EGU regulation purportedly re-defines
                                                 emissions in the state exceed the                       provisions for the allocation of                       each state’s ‘‘significant contribution’’
                                                 specified level, but with adjustments                   allowances to such units through ‘‘new                 annually and independent of any
                                                 that allow the level to exceed 121                      unit set asides.’’ See, e.g., 86 FR 23126.             impact (or lack thereof) on air quality.
                                                 percent of a state’s budget in a given                  In the NOX SIP Call, the EPA required                  They further argue that under this
                                                 control period if necessary to account                  that states cover new and existing units               dynamic budgeting approach, even if a
                                                 for actual operational conditions in that               in the relevant source sectors through an              state eliminates the ‘‘amount’’ the EPA
                                                 control period. In addition, the EPA is                 enforceable cap or other emissions                     has identified as the state’s significant
                                                 also making several additional                          limitation. See 40 CFR 51.121(f). The                  contribution by respecting a given
                                                 enhancements to the EGU trading                         EPA’s approach of including new units                  control period’s emissions budget,
                                                 program in this action, including                       in the NOX Budget Trading Program                      sources within that state are expected to
                                                 routine recalibrations of the total                     promulgated under the EPA’s CAA                        continue to make further reductions by
                                                 amount of banked allowances, unit-                      section 126 authority was upheld by the                operating their controls in a particular
                                                 specific backstop daily emissions rates                 D.C. Circuit in Appalachian Power v.                   manner in subsequent control periods
                                                 for certain units, and unit-specific                    EPA, 249 F.3d 1032 (2001). As the court                under potentially lower emissions
                                                 secondary emissions limitations for                     noted, the EPA explained in its action:                budgets, which these commenters argue
                                                 certain units that contribute to                           Once EPA has determined that the                    is inconsistent with case law on prior
                                                 exceedances of the assurance levels, to                 emissions from the existing sources in an              CSAPR rules.
                                                 ensure EGU emissions control operation                  upwind State already make a significant                   Response: Many of these comments
                                                 and associated air quality                              contribution to one or more petitioning                regarding Step 4 issues are addressed
                                                 improvements. Implementation of the                     downwind States, any additional emissions              elsewhere in this document or in the
                                                 EGU emissions reductions using a                        from a new source in that upwind State                 RTC document. The EPA’s authority to
                                                                                                         would also constitute a portion of that                establish unit- or source-specific
                                                 CSAPR NOX trading program is further                    significant contribution, unless the emissions
                                                 described in section VI.B of this                                                                              emissions rates is addressed in section
                                                                                                         from that new source are limited to the level
                                                 document.                                               of highly effective controls.                          IV.B.1 of this document. Responses to
                                                    In this rule, the EPA is also                                                                               comments and adjustments in the
                                                 establishing emissions limitations for                  Id. at 1058 (quoting EPA 1999 RTC at                   timing requirements of the final rule
                                                 the non-EGU industry sources listed in                  39). The court affirmed this approach:                 compared to proposal are discussed in
                                                 Table II.A–1. The EPA has the authority                 ‘‘Indeed, it would be irrational to enable             VI.A. Responses to comments and
                                                 to require emissions limitations from                   the EPA to make findings that a group                  adjustments in emissions control
                                                 stationary sources, as well as from other               of sources in an upwind state contribute               requirements for non-EGUs in the final
                                                 sources and emissions activities, under                 to downwind nonattainment, but then                    rule compared to proposal are in section
                                                 CAA section 110(a)(2)(D)(i)(I). The EPA                 preclude the EPA from regulating new                   VI.C of this document.
                                                 finds that requiring NOX emissions                      sources that contribute to that same                      Responses to comments on the EGU
                                                                                                         pollution.’’ Id. at 1057–58. The EPA is                trading program enhancements and
                                                 reductions through emissions rate limits
                                                                                                         implementing the same court-affirmed                   adjustments in the final rule are
                                                 and control technology requirements for
                                                                                                         approach in this action because this                   contained in section VI.B of this
                                                 certain non-EGU industrial sources that
                                                                                                         reasoning is equally applicable to                     document. However, here, in light of the
                                                 the EPA found at Step 3 to be relatively
                                                                                                         addressing interstate transport                        changes in the emissions trading
                                                 impactful 95 on downwind air quality is
                                                                                                         obligations under CAA section                          program for EGUs that we are finalizing
                                                 an effective strategy for reducing
                                                                                                         110(a)(2)(D)(i)(I) for the 2015 ozone                  in this action as compared to prior EGU
                                                 regional ozone transport. Therefore, the
                                                                                                         NAAQS.                                                 emissions trading programs
                                                 EPA is establishing NOX emissions
                                                                                                            Comment: Commenters took issue                      promulgated to address good neighbor
                                                 limitations and associated compliance
                                                                                                         with aspects of the EPA’s proposed Step                obligations under other NAAQS, we set
                                                 requirements for non-EGU sources to
                                                                                                         4 approach. Commenters argued the                      forth responses to comments specific to
                                                 ensure the elimination of significant
                                                                                                         EPA could not set unit- or source-                     this topic.
                                                 contribution of ozone precursor
                                                                                                         specific emissions limits or other                        The EPA finds that these comments
                                                 emissions required under the interstate
                                                                                                         control requirements, for EGUs or non-                 confuse Step 3 emissions reduction
                                                 transport provision for the 2015 ozone
                                                                                                         EGUs. Commenters argued that various                   stringency determinations with Step 4
                                                 NAAQS.
                                                                                                         aspects of the non-EGU emissions                       implementation program details. In this
                                                    Finally, the EPA finds that the control
                                                                                                         control strategy would not be feasible                 rulemaking’s Step 3 analysis, the EPA is
                                                 measures determined to be required for
                                                                                                         for their facilities or were otherwise                 measuring emissions reduction
                                                 the identified EGU and non-EGU
                                                                                                         flawed. Many industrial-source and                     potential from improving effective
                                                 sources apply to both existing units and
                                                                                                         EGU commenters argued that the EPA                     emissions rates across groups of EGUs
                                                 any new, modified, or reconstructed
                                                                                                         had not provided sufficient time for                   adopting applicable pollution control
                                                 units meeting the applicability criteria
                                                                                                         sources to come into compliance.                       measures and selecting a uniform
                                                 established in this final rule. This is
                                                                                                         Commenters also challenged the EGU                     control level whose effective emissions
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                                                   95 Section III of the Non-EGU Screening               trading program ‘‘enhancements’’ as                    rates deliver an acceptable outcome
                                                 Assessment memorandum in the docket for this            unnecessary or beyond the EPA’s                        under the multifactor test (including a
                                                 rulemaking describes the EPA’s approach to              authority. In this regard, commenters                  finding of no overcontrol at the selected
                                                 evaluating impacts on downwind air quality,             argued that these changes deviated from                control stringency level). The
                                                 considering estimated total, maximum, and average
                                                 contributions from each industry and the total
                                                                                                         the EPA’s prior approach, were                         ‘‘amounts’’ defined as significant
                                                 number of receptors with contributions from each        unnecessary overcontrol, constituted a                 contribution to nonattainment and
                                                 industry.                                               command-and-control approach, could                    interference with maintenance are


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                                                 emissions that occur at effective                       that states and the EPA have authority                 the opportunity for administrative
                                                 emissions rates above the control                       to select in securing the emissions                    appeal should an interested party
                                                 stringency level selected at Step 3. That               reductions deemed necessary under                      identify some flaw in the EPA’s updated
                                                 is, if a state’s affected EGUs fail to                  Step 3. See CAA section 110(a)(2)(A).                  data. See 40 CFR 78.1(b)(19)(i) (2023).
                                                 reduce their effective emissions rates in               The EPA and the states routinely                       That process is coupled with the
                                                 line with the widely available and cost-                determine control stringency on an                     availability of judicial review should the
                                                 effective control measures identified,                  emissions rate basis in line with                      party remain dissatisfied with the EPA’s
                                                 they have therefore failed to eliminate                 demonstrated pollution control                         resolution of complaints. See 40 CFR
                                                 their significant contribution to                       opportunities, and both the EPA and the                78.1(a)(2) (requiring administrative
                                                 nonattainment and interference with                     states have implementation program                     adjudication as a prerequisite for
                                                 maintenance of this NAAQS.                              design discretion to determine what                    judicial review). This administrative
                                                    In this rule, the EPA is finalizing                  compliance requirements, whether                       process has worked well throughout the
                                                 several ‘‘enhancements’’ to its existing                expressed on a rate, mass,                             history of implementing good neighbor
                                                 Group 3 emissions trading program for                   concentration, or percentage basis, will               trading programs under Part 97, and no
                                                 ozone season NOX, for reasons                           assure an emissions performance that                   such disputes have necessitated judicial
                                                 explained in section VI.B.1 of this                     reflects the control stringency required.              resolution.
                                                 document. In general, these changes                     Dynamic budgets in the Step 4                             Further, because the dynamic budgets
                                                 will ensure that the emissions control                  implementation of this rule are simply                 simply implement the stringency level
                                                 program promulgated for EGUs at Step                    to ensure the trading program continues                reflective of the emissions control
                                                 4 of the EPA’s 4-step interstate transport              to incentivize the implementation of the               performance the EPA has determined at
                                                 framework is in alignment with the                      EGU control strategies we find are                     Step 3 for the covered EGUs, the EPA
                                                 emissions control stringency                            necessary to eliminate significant                     does not agree that any ‘‘potential
                                                 determinations the EPA made at Step 3.                  contribution at Step 3. The key                        variables’’ that are unforeseeable now
                                                 These enhancements reflect lessons                      distinction between dynamic budget                     could upset the basis for the formula the
                                                 learned through the EPA’s experience                    approaches and preset budget                           EPA is establishing in this action. The
                                                 with prior trading programs                             approaches is not one in stringency or                 EPA has adjusted the role of dynamic
                                                 implemented under the good neighbor                     authority, but rather in timing and data               budgeting in this final rule as compared
                                                 provision and ensure that the                           resources for determining the suitable                 to the proposal. See sections VI.B.1 and
                                                 implementation of the elimination of                    mass-based limits that are as well-                    VI.B.4 of the preamble. In particular, the
                                                 significant contribution through an                     matched as possible to expected                        EPA is applying an approach to budget
                                                 emissions trading program remains                       emissions of the affected EGUs                         setting through 2029 that will use the
                                                 durable through a period of power                       achieving the emissions rate-based                     greater of either a preset budget based
                                                 sector transition. None of commenters’                  control stringency deemed necessary                    on information known to the Agency at
                                                 arguments against the EPA’s authority to                under Step 3 to eliminate significant                  the time of this action, or the dynamic
                                                 implement these enhancements are                        contribution to nonattainment and                      budget to be calculated based upon
                                                 persuasive.                                             interference with maintenance of the                   future data yet to be reported. Thus,
                                                    First, the EPA is not mandating that                                                                        through 2029 the imposition of a
                                                                                                         NAAQS.
                                                 any EGU must install SCR technology.                                                                           dynamic budget would only increase
                                                 All but one of the enhancements to the                     The EPA does not agree that the                     rather than diminish the emissions
                                                 trading program continue to be                          administrative mechanisms by which it                  allowed for that control period
                                                 implemented through allowance-                          will implement ‘‘dynamic budgeting’’                   compared to the preset budgets
                                                 holding requirements under the mass-                    conflict with CAA section 307(d) or the                established in this action. In addition,
                                                 based emissions budget and trading                      Administrative Procedure Act. The EPA                  the EPA will determine each state’s
                                                 system, including the backstop rate.                    is promulgating a complete FIP in this                 dynamic budget based on a rolling 3-
                                                 (The secondary emissions limitation,                    action, and the codified language of that              year average of the state’s heat input,
                                                 which is not implemented through                        FIP will not need to be modified as                    thus smoothing out trends to account for
                                                 allowance-holding requirements under                    budgets are adjusted. This is because the              interannual variability in demand and
                                                 the mass-based emissions budget and                     FIP establishes the formula by which                   heat input and provide greater certainty
                                                 trading system, and which is discussed                  the budgets will be calculated each year               and predictability as the budget updates
                                                 in section VI.B.1.c.ii of this document,                (with preset budgets functioning as a                  from year to year.
                                                 merely establishes a stronger deterrent                 floor from 2026 through 2029). This is                    Moreover, the EPA does not agree that
                                                 for a type of conduct that was already                  no different than how the EPA has                      the EPA is constrained by the statute to
                                                 strongly discouraged under the pre-                     implemented other calculations such as                 only implement good neighbor
                                                 existing trading program regulations).                  updating allocations using a rolling set               obligations through fixed, unchanging,
                                                 Nonetheless, the EPA does have the                      of data in its prior CSAPR trading                     mass-based emissions budgets. See
                                                 authority to impose unit-specific                       programs. See, e.g., 87 FR 10786. We                   section III.B.1 of this document. The
                                                 emissions limits under the exercise of                  view these actions as fundamentally                    EPA finds good reason based on its
                                                 its FIP authority, and it has done so in                ministerial in nature in that no exercise              experience with trading programs using
                                                 this action for non-EGU industrial                      of Agency discretion is required. This                 fixed budgets why this approach does
                                                 sources. This authority is distinct from                process will rely on notices of                        not necessarily ensure the elimination
                                                 the EPA’s title I permitting authority as               availability of the relevant data in the               of significant contribution in perpetuity.
                                                                                                         Federal Register, coupled with an
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                                                 discussed by certain commenters, and                                                                           The EPA has already once adjusted its
                                                 the scope of that permitting authority is               opportunity for the public to correct any              historical approach to better account for
                                                 not relevant to this action.                            errors they may identify in the data                   known, upcoming changes in the EGU
                                                    The quantification of emissions                      before the EPA sets each updated                       fleet to ensure mass-based emissions
                                                 budgets in an allowance-based                           budget. See section VI.B.4 for more                    budgets adequately incentivize the
                                                 emissions trading program is one of                     detail on how the EPA intends to                       control strategy determined at Step 3.
                                                 multiple potential Step 4                               implement dynamic budgeting. As in                     This adjustment was introduced in the
                                                 implementation program design choices                   prior transport rules, this rule provides              Revised CSAPR Update. See 82 FR


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                                                 23121–22.96 The EPA now believes it is                    application of its stringency measures                sector at the time the rule is
                                                 appropriate to ensure in a more                           identified in this rule.                              promulgated, and without any
                                                 comprehensive manner, and in                                 The EPA does not agree with                        additional requirement for pollution
                                                 perpetuity, that the mass-based                           commenters who suggest that these                     controls operation, can become quickly
                                                 emissions budget incentivize continuing                   enhancements are undertaken for the                   obsolete if the composition of the group
                                                 implementation of the Step 3 control                      purpose of a non-statutory                            of affected EGUs changes notably over
                                                 strategies to ensure significant                          ‘‘environmental justice’’ objective. As               time. As some sources retire, other
                                                 contribution is eliminated in all upwind                  explained in section VI.B of this                     sources relax their operation of NOX
                                                 states and remains so. The dynamic                        document, certain enhancements to the                 controls in response to a growing
                                                 budget-setting process preserves these                    trading program ensure that each EGU is               surplus of allowances, even though the
                                                 incentives over time by calculating the                   adequately incentivized to continuously               EPA had concluded that ongoing
                                                 state emissions budgets for each future                   operate its emissions controls once                   operation of those controls is necessary
                                                 control period so as to reflect the Step                  those controls are installed. One                     to meet the statutory good neighbor
                                                 3 control stringency finalized in this                    commenter contends that the backstop                  requirements. For instance, under the
                                                 rule as applied to the most current                       emissions rate is not authorized based                CSAPR Update, in the 2018–2020
                                                 information regarding the composition                     on environmental justice                              period, the fixed budget approach
                                                 of the power sector in the control                        considerations, since it is not necessary             enabled large, frequently run units with
                                                 period. This is fully analogous in                        and is overcontrol with respect to the                existing SCR controls to not optimize
                                                 material respect to an approach to                        EPA’s statutory authority to address                  those controls even though the EPA’s
                                                 implementation at Step 4 that relies on                   good neighbor obligations. But the EPA                assessment (as reflected in the CSAPR
                                                 application of unit-specific emissions                    disagrees with the premise that these                 Update) was that the optimization of
                                                 rates that apply in perpetuity. The                       enhancements are unrelated to the                     those controls was necessary to
                                                 availability of unit-specific emissions                   statutory obligation to eliminate                     eliminate significant contribution. This
                                                 rates as a means to eliminate significant                 significant contribution. Taking                      deterioration in emission rate at SCR-
                                                 contribution is discussed in further                      measures to ensure that each upwind                   controlled coal plants was widely
                                                 detail in section III.B.1 of this                         source covered by an emissions trading                observed across the CSAPR Update
                                                 document. The EPA also explained this                     program to eliminate significant                      geography as the program advanced into
                                                 in the proposal. See 87 FR 20095–96.                      contribution is operating its installed               later years and allowance price
                                                 The EPA does not agree that either                        pollution controls on a more continuous               deteriorated. Whereas coal sources with
                                                 dynamic budgeting or the backstop rate                    and consistent basis throughout the                   SCR performed, on average, at a 0.086
                                                 results in overcontrol. See section V.D.4                 ozone season is entirely appropriate in               lb/mmBtu rate in 2017, that same set of
                                                 of this document.                                         light of the daily nature of the ozone                sources saw their environmental
                                                    The EPA is enhancing the trading                       problem, the impacts to public health                 performance worsen to a 0.099 lb/
                                                 program to help reconcile the approach                    and the environment from ozone that                   mmBtu rate in 2020. A Congressional
                                                 of using mass-based budgets to achieve                    can occur through short-term exposure                 Research Service Report on EPA prior
                                                 the elimination of significant                            (e.g., over a course of hours), the fact              CSAPR trading programs indicated low
                                                 contribution with the Wisconsin                           that the 2015 ozone NAAQS is                          prices observed in later years ‘‘could
                                                 directive to provide a complete remedy                    expressed as an 8-hour average, and that              lead to some decisions not to run some
                                                                                                           only a small number of days in excess
                                                 under the good neighbor provision. This                                                                         pollution controls at maximum output.
                                                                                                           of the ozone NAAQS are necessary to
                                                 approach also better accords with                                                                               This would, in turn, lead to higher
                                                                                                           place a downwind area in
                                                 ensuring measures to attain and                                                                                 emissions’’.97
                                                                                                           nonattainment, resulting in continuing
                                                 maintain the NAAQS are permanent                                                                                   In the case of individual units, this
                                                                                                           and/or increased regulatory burden on
                                                 and enforceable. The dynamic budget                                                                             deterioration in performance can be
                                                                                                           the downwind jurisdiction. See section
                                                 approach recognizes that the                                                                                    quite pronounced and can occur as
                                                                                                           III.A of this document.
                                                 uncertainty around future fleet                              Further, the D.C. Circuit has held that            quickly as the second or third control
                                                 conditions increases the further into the                 the EPA must ensure that its good                     period, as in the case of Miami Fort Unit
                                                 future one looks (and the EPA must look                   neighbor program has eliminated each                  7 in Ohio in 2019, discussed in section
                                                 further under the ‘‘full remedy’’                         state’s sources from continuing to                    V.B of this document. The absence of a
                                                 directive). To preserve its ability to                    significantly contribute to                           sufficient incentive under the trading
                                                 successfully implement its identified                     nonattainment or interfere with                       program to implement the identified
                                                 Step 3 stringency, the EPA is designing                   maintenance in downwind states. See                   control strategy at Step 3 can even result
                                                 the implementation of this rule’s                         North Carolina, 531 F.3d at 921. The                  in collective emissions that exceed
                                                 emissions control program to benefit                      commenters neglect to acknowledge the                 state-wide assurance levels. The EPA
                                                 from the future availability of better data               scenario that has frequently borne out in             established these levels beginning with
                                                 from the regulated sources to inform its                  prior programs, in which future fleet                 CSAPR, above which enhanced
                                                                                                           changes that were not known at the time               allowance-surrender requirements are
                                                   96 Further, in the Revised CSAPR Update, the
                                                                                                           of initial setting of state emissions                 triggered, in an effort to ensure sources
                                                 EPA acknowledged that a mechanism like dynamic                                                                  in each state are held to eliminate their
                                                 budgeting could be appropriate for a transport rule       budgets produce unexpected ‘‘hot air’’
                                                 with longer time horizons. We stated in response          in the budget that, if unaccounted for,               own significant contribution, which the
                                                 to comments that we were not ‘‘in this action,            other units can exploit to forgo                      D.C. Circuit has held is legally required,
                                                 including an adjustment mechanism to further                                                                    see North Carolina, 531 F.3d 896, 906–
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                                                                                                           identified cost-effective mitigation
                                                 adjust state emission budgets to account for                                                                    08 (D.C. Cir. 2008). In four instances
                                                 currently unknown or uncertain retirements after          measures deemed necessary to eliminate
                                                 the finalization of this rule . . . . EPA observes that   significant contribution to                           over the course of the 2019, 2020, and
                                                 the commenter’s proposed mechanism would                  nonattainment and interference with
                                                 become increasingly valuable for rules where the          maintenance of the NAAQS.
                                                                                                                                                                   97 Shouse, Kate. ‘‘The Clean Air Act’s Good

                                                 timeframe extends further into the future where                                                                 Neighbor Provision: Overview of Interstate Air
                                                 retirement uncertainty is higher.’’ Revised CSAPR
                                                                                                              The EPA’s experience is that fixed                 Pollution Control’’. Congressional Research
                                                 Update Response to Comments, EPA–HQ–OAR–                  mass-based budgets that are determined                Services. August 30, 2018. Available at https://
                                                 2020–0272–219, at 153.                                    based only on the profile of the power                sgp.fas.org/crs/misc/R45299.pdf.



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                                                 2021 control periods under the CSAPR                    within that framework for sources in                   understanding of how an emissions
                                                 Update, sources in Mississippi and                      certain areas within that region, or                   trading program that does not properly
                                                 Missouri collectively exceeded their                    during periods of high ozone when good                 anticipate future fleet conditions at Step
                                                 state-wide assurance levels in part due                 emissions performance is most                          4 may fail to achieve the elimination of
                                                 to deterioration in emissions                           essential, to emit at levels well in excess            emissions that should be prohibited
                                                 performance that can be attributed to a                 of the EPA’s Step 3 determinations of                  based on our findings at Step 3. Further,
                                                 glut of allowances within the CSAPR                     significant contribution. Significant                  we find there to be no ‘‘serious reliance
                                                 Update. See section VI.B.8 of the                       contribution, according to the statute,                interests’’ that have been or even could
                                                 preamble.                                               must be ‘‘prohibited.’’ CAA section                    have been ‘‘engendered’’ by any prior
                                                    Thus, while this trading program                     110(a)(2)(D)(i).                                       policy on these issues, see id. at 515–16.
                                                 structure may achieve some                                 Thus, these trading program                         The EPA is implementing these
                                                 environmental benefit through fixed                     enhancements are within the EPA’s                      enhancements for the first time with
                                                 emissions budgets for initial control                   authority under CAA section                            respect to a new obligation—good
                                                 periods, over time those fixed budgets                  110(a)(2)(D)(i)(I) to eliminate interstate             neighbor requirements for the 2015
                                                 cease to have their intended effect, and                ozone pollution that significantly                     ozone NAAQS. No party reasonably
                                                 remaining operating facilities can, and                 contributes to nonattainment or                        could have invested substantial
                                                 have, increased emissions or even                       interferes with maintenance in                         resources to-date to comply with an
                                                 discontinued the operation of their                     downwind states. These enhancements                    obligation that was heretofore
                                                 emissions controls. This, in turn, can                  ensure the elimination of significant                  undefined; and no commenter has
                                                 lead to the continuation (or re-                        contribution across all upwind states                  supplied any information to the
                                                 emergence) of significant contribution                  and throughout each ozone season. We                   contrary.
                                                 in terms of a recurrence of excessive                   observe in the Ozone Transport Policy
                                                 emissions that had been slated for                      Analysis Final Rule TSD, section E, that               2. FIP Authority for Each State Covered
                                                 permanent elimination under the EPA’s                   the trading program enhancements may                   by the Rule
                                                 determinations at Step 3. Although the                  also benefit underserved and                              On October 26, 2015, the EPA
                                                 EPA has always intended for its trading                 overburdened communities downwind                      promulgated a revision to the 2015 8-
                                                 programs to provide flexibility, the                    of EGUs in the covered geography of the                hour ozone NAAQS, lowering the level
                                                 Agency did not expect and has certainly                 final rule. See section VI.B of this                   of both the primary and secondary
                                                 never endorsed the use of that flexibility              document. This does not detract from                   standards to 0.070 parts per million
                                                 to stop the operation of controls that                  the statutorily-authorized basis for these             (ppm).98 These revisions of the NAAQS,
                                                 have already been installed. See, e.g., 76              changes, and the EPA finds nothing                     in turn, established a 3-year deadline for
                                                 FR 48256–57 (‘‘[I]t would be                            impermissible in acknowledging the                     states to provide SIP submissions
                                                 inappropriate for a state linked to                     reality of these potential benefits for                addressing infrastructure requirements
                                                 downwind nonattainment or                               underserved and overburdened                           under CAA sections 110(a)(1) and CAA
                                                 maintenance areas to stop operating                     communities.                                           110(a)(2), including the good neighbor
                                                 existing pollution control equipment                       The EPA appreciates a commenter’s                   provision, by October 1, 2018. If the
                                                 (which would increase their emissions                   concern that our actions be legally                    EPA makes a determination that a state
                                                 and contribution).’’). Despite the EPA’s                defensible. The EPA acknowledges that                  failed to submit a SIP, or if EPA
                                                 expectations in CSAPR, the historical                   the changes to the trading program                     disapproves a SIP submission, then the
                                                 data establishes a real risk of ‘‘under-                structure for implementing good                        EPA is obligated under CAA section
                                                 control’’ if the existing trading                       neighbor obligations discussed here                    110(c) to promulgate a FIP for that state
                                                 framework is not improved upon. See                     constitute a change in the policy                      within 2 years. For a more detailed
                                                 EME Homer City, 572 U.S. at 523                         underlying its prior transport-rule                    discussion of CAA section 110 authority
                                                 (‘‘[T]he Agency also has a statutory                    trading programs for EGUs. However,                    and timelines, refer to section III.C of
                                                 obligation to avoid ‘under-control,’ i.e.,              the EPA is confident that these changes                this document.
                                                 to maximize achievement of attainment                   are in compliance with the holdings in                    The EPA is finalizing this FIP action
                                                 downwind.’’).                                           judicial decisions reviewing prior                     now to address 23 states’ good neighbor
                                                    This result is also inconsistent with                transport rules. The fact that the EPA is              obligations for the 2015 ozone
                                                 the statutory mandate to ‘‘prohibit’’                   making changes does not somehow                        NAAQS.99 For each state for which the
                                                 significant contribution and interference               render these enhancements legally                      EPA is finalizing this FIP, the EPA
                                                 with maintenance of the NAAQS in                        impermissible or even subject to a                     either issued final findings of failure to
                                                 downwind states, as evidenced most                      heightened standard of review. See FCC                 submit or has issued a final disapproval
                                                 clearly in CAA section 126, which                       v. Fox Television Stations, 556 U.S. 502,              of that state’s SIP submission.
                                                 makes it unlawful for a source ‘‘to                     514 (2009) (‘‘We find no basis in the                     Several commenters asserted that the
                                                 operate more than three months after [a                 Administrative Procedure Act or in our                 sequence of the EPA’s actions, and in
                                                 finding that the source emits or would                  opinions for a requirement that all                    particular, the timing of its proposed
                                                 emit in violation of the good neighbor                  agency change be subjected to more                     FIP (which was signed on February 28,
                                                 provision] has been made with respect                   searching review.’’). We have explained
                                                 to it.’’ 42 U.S.C. 7426(c)(2) (emphasis                 previously and elsewhere in the record                    98 National Ambient Air Quality Standards for

                                                 added). See also North Carolina, 531                    that there are ‘‘good reasons’’ for the                Ozone, Final Rule, 80 FR 65292 (Oct. 26, 2015).
                                                 F.3d at 906–08 (each state must be held                 ‘‘new policy.’’ See id. at 515. And, we                Although the level of the standard is specified in
                                                                                                                                                                the units of ppm, ozone concentrations are also
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                                                 to the elimination of its own significant               are of course fully aware that we have                 described in parts per billion (ppb). For example,
                                                 contribution). The purpose of the                       changed our position. See id. at 514–15.               0.070 ppm is equivalent to 70 ppb.
                                                 Agency’s interstate trading programs                    Specifically, we have gone from                           99 The EPA notes that it is subject to, and has met

                                                 under the good neighbor provision is to                 previously treating fixed, mass-based                  through this action, a consent decree deadline to
                                                 afford sources some flexibility in                      budgets as sufficient to eliminate                     promulgate FIPs addressing 2015 ozone NAAQS
                                                                                                                                                                good neighbor obligations for the states of
                                                 achieving region-wide emissions                         significant contribution, to an approach               Pennsylvania, Utah, and Virginia. See Sierra Club
                                                 reductions; however, there is no                        for purposes of the 2015 ozone NAAQS                   et al. v. Regan, No. 3:22–cv–01992–JD (N.D. Cal.
                                                 justification that can be sustained                     reflecting a more nuanced                              entered January 24, 2023).



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                                                 2022, and published on April 6, 2022)                   disapproval or making a finding of                     FIP actions for those states. As
                                                 in relation to the timing of its proposed               failure to submit. The Supreme Court                   discussed in section IV.F of this
                                                 SIP disapprovals (most of which were                    recognized in EME Homer City that the                  document, the EPA’s most recent
                                                 published on February 22, 2022, four of                 EPA is not obligated to first define a                 modeling and air quality analysis
                                                 which were published on May 24, 2022,                   state’s good neighbor obligations or give              indicates that several states may be
                                                 and one of which was published on                       the state an additional opportunity to                 linked to downwind receptors for which
                                                 October 25, 2022), was either unlawful                  submit an approvable SIP before                        we had not previously proposed
                                                 or unreasonable in light of the sequence                promulgating a FIP: ‘‘EPA is not obliged               disapproval or FIP action. The EPA
                                                 of steps required under CAA section                     to wait two years or postpone its action               anticipates addressing remaining
                                                 110(k) and (c).                                         even a single day: The Act empowers                    interstate transport obligations for the
                                                    These commenters are incorrect. As                   the Agency to promulgate a FIP ‘at any                 2015 ozone NAAQS for these in a
                                                 an initial matter, concerns about the                   time’ within the two-year limit.’’ 101                 subsequent rulemaking.)
                                                 timing or substance of the EPA’s actions                Thus, the EPA may promulgate a FIP                        Additionally, the EPA has taken
                                                 on the SIP submittals are beyond the                    contemporaneously with or                              action that has triggered the EPA’s
                                                 scope of this action. Nor are the timing                immediately following predicate final                  obligation under CAA section 110(c) to
                                                 or contents of merely proposed actions                  SIP disapproval (or finding no SIP was                 promulgate FIPs addressing the good
                                                 to be considered final agency actions or                submitted). To accomplish this, the EPA                neighbor provision for several
                                                 subject to judicial review. See In re                   must necessarily be able to propose a                  downwind states. On December 5, 2019,
                                                 Murray Energy, 788 F.3d 330 (D.C. Cir.                  FIP prior to taking final action to                    the EPA published a rule finding that
                                                 2015). With these principles in mind,                   disapprove a SIP or make a finding of                  seven states (Maine, New Mexico,
                                                 the timing of this final action is lawful               failure to submit.                                     Pennsylvania, Rhode Island, South
                                                 under the Act. First, the EPA is not                       Second, and more importantly, the                   Dakota, Utah, and Virginia) failed to
                                                 required to wait to propose a FIP until                 EPA has established predicate authority                submit or otherwise make complete
                                                 after the Agency proposes or finalizes a                to promulgate FIPs for all of the covered              submissions that address the
                                                 SIP disapproval or makes a finding of                   states through its action with respect to              requirements of CAA section
                                                 failure to submit.100 CAA section 110(c)                the relevant SIP submittals. A brief                   110(a)(2)(D)(i)(I) for the 2015 ozone
                                                 authorizes the EPA to promulgate a FIP                  history of these actions follows:                      NAAQS.106 This finding triggered a 2-
                                                 ‘‘at any time within 2 years’’ of a SIP                    On February 22, 2022, the EPA                       year deadline for the EPA to issue FIPs
                                                                                                         proposed to disapprove 19 good                         to address the good neighbor provision
                                                    100 The EPA notes there are three consent decrees    neighbor SIP submissions (Alabama,                     for these states by January 6, 2022. As
                                                 to resolve three deadline suits related to EPA’s duty   Arkansas, Illinois, Indiana, Kentucky,                 the EPA has subsequently received and
                                                 to act on good neighbor SIP submissions for the         Louisiana, Maryland, Michigan,                         taken final action to approve good
                                                 2015 ozone NAAQS. In New York et al. v. Regan,          Minnesota, Mississippi, Missouri, New
                                                 et al. (No. 1:21–CV–00252, S.D.N.Y.), the EPA
                                                                                                                                                                neighbor SIPs from Maine, Rhode
                                                 agreed to take final action on the 2015 ozone           Jersey, New York, Ohio, Oklahoma,                      Island, and South Dakota,107 the EPA
                                                 NAAQS good neighbor SIP submissions from                Tennessee, Texas, West Virginia,                       currently has authority under the
                                                 Indiana, Kentucky, Michigan, Ohio, Texas, and           Wisconsin).102 Alabama subsequently                    December 5, 2019, findings of failure to
                                                 West Virginia by April 30, 2022; however, if the        withdrew its SIP submission and re-
                                                 EPA proposes to disapprove any SIP submissions
                                                                                                                                                                submit to issue FIPs for New Mexico,
                                                 and proposes a replacement FIP by February 28,          submitted a SIP submission on June 22,                 Pennsylvania, Utah, and Virginia. In
                                                 2022, then EPA’s deadline to take final action on       2022. The EPA proposed to disapprove                   this final rule, the EPA is issuing FIP
                                                 that SIP submission is extended to December 30,         that SIP submittal on October 25,                      requirements for Pennsylvania, Utah,
                                                 2022. In Downwinders at Risk et al. v. Regan (No.       2022.103 The EPA proposed to                           and Virginia.108
                                                 21–cv–03551, N.D. Cal.), the EPA agreed to take
                                                 final action on the 2015 ozone NAAQS good               disapprove good neighbor SIP                              Further information on the procedural
                                                 neighbor SIP submissions from Alabama, Arkansas,        submissions for four additional states,                history establishing the EPA’s authority
                                                 Connecticut, Florida, Georgia, Illinois, Indiana,       California, Nevada, Utah, and Wyoming,                 for this final rule is provided in a
                                                 Iowa, Kansas, Kentucky, Louisiana, Maryland,            on May 24, 2022.104                                    document in the docket.109
                                                 Michigan, Minnesota, Mississippi, New Jersey, New
                                                 York, North Carolina, Ohio, Oklahoma, South                Subsequently, on January 31, 2023,
                                                 Carolina, Tennessee, Texas, West Virginia, and          the EPA Administrator signed a single                     106 Findings of Failure To Submit a Clean Air Act

                                                 Wisconsin by April 30, 2022; however, if the EPA        disapproval action for all of the above                Section 110 State Implementation Plan for
                                                 proposes to disapprove any of these SIP                                                                        Interstate Transport for the 2015 Ozone National
                                                                                                         states, with the exception of Tennessee                Ambient Air Quality Standards (NAAQS), 84 FR
                                                 submissions and proposes a replacement FIP by
                                                 February 28, 2022, then the EPA’s deadline to take      and Wyoming.105 This action                            66612 (December 5, 2019, effective January 6, 2020).
                                                 final action on that SIP submission is December 30,     established the EPA’s authority to                        107 Air Plan Approval; Maine and New

                                                 2022. In this CD, the EPA also agreed to take final     promulgate FIPs for the disapproved                    Hampshire; 2015 Ozone NAAQS Interstate
                                                 action on Hawaii’s SIP submission by April 30,                                                                 Transport Requirements, 86 FR 45870 (August 17,
                                                                                                         states. (As explained in section IV.F of               2021); Air Plan Approval; Rhode Island; 2015
                                                 2022, and to take final action on the SIP
                                                 submissions of Arizona, California, Montana,            this document, the Agency is deferring                 Ozone NAAQS Interstate Transport Requirements,
                                                 Nevada, and Wyoming by December 15, 2022. In            action at this time for Tennessee and                  86 FR 70409 (December 10, 2021); Promulgation of
                                                 Our Children’s Earth Foundation v. EPA (No. 20–         Wyoming with respect to its proposed                   State Implementation Plan Revisions; Infrastructure
                                                 8232, S.D.N.Y.), the EPA agreed to take final action                                                           Requirements for the 2015 Ozone National Ambient
                                                 on the 2015 ozone NAAQS good neighbor SIP                                                                      Air Quality Standards; South Dakota; Revisions to
                                                                                                           101 See EPA v. EME Homer City Generation, L.P.,
                                                 submission from New York by April 30, 2022;                                                                    the Administrative Rules of South Dakota, 85 FR
                                                                                                         572 U.S. 489, 509 (2014) (citations omitted).          29882 (May 19, 2020).
                                                 however, if the EPA proposes to disapprove New            102 See 87 FR 9463 (Maryland); 87 FR 9484 (New          108 WildEarth Guardians v. Regan, No. 1:22–cv–
                                                 York’s SIP submission and proposes a replacement
                                                 FIP by February 28, 2022, then the EPA’s deadline       Jersey, New York); 87 FR 9498 (Kentucky); 87 FR        00174 (D.N.M. entered Aug. 16, 2022); Sierra Club
                                                 to take final action on New York’s SIP submission       9516 (West Virginia); 87 FR 9533 (Missouri); 87 FR     et al. v. EPA, No. 3:22–cv–01992 (N.D. Cal. entered
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                                                 is extended to December 30, 2022. By stipulation        9545 (Alabama, Mississippi, Tennessee); 87 FR          Jan. 24, 2023).
                                                 of the parties, the December 15, 2022, date in all      9798 (Arkansas, Louisiana, Oklahoma, Texas); 87           109 See ‘‘Final Rule: Status of CAA Section

                                                 three of these consent decrees was extended to          FR 9838 (Illinois, Indiana, Michigan, Minnesota,       110(a)(2)(D)(i)(I) SIP Submissions for the 2015
                                                 January 31, 2023. By further stipulation of the         Ohio, Wisconsin).                                      Ozone NAAQS for States Covered by the Proposed
                                                                                                           103 See 87 FR 64412.
                                                 parties in the Downwinders at Risk case, the January                                                           Federal Implementation Plan Addressing Regional
                                                                                                           104 See 87 FR 31443 (California); 87 FR 31485
                                                 31, 2023, date was further extended to December                                                                Ozone Transport for the 2015 Ozone National
                                                 15, 2023 for the EPA to act on the SIP submissions      (Nevada); 87 FR 31470 (Utah); 87 FR 31495              Ambient Air Quality Standards.’’ This document
                                                 from the states of Arizona, Tennessee, and              (Wyoming).                                             updates a prior document of the same title provided
                                                 Wyoming.                                                  105 See 88 FR 9336.                                                                             Continued




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                                                    While the EPA’s previous actions are                 2019, ozone infrastructure SIP                         EPA is including all areas of Indian
                                                 sufficient to establish that the EPA’s                  submissions as satisfying the                          country within the covered geography,
                                                 promulgation of this FIP action at this                 requirements of CAA section                            notwithstanding whether those areas are
                                                 time is lawful, the timing of this action               110(a)(2)(D)(i)(I) for the 2015 ozone                  currently subject to a state’s
                                                 is all the more reasonable in light of the              NAAQS. The EPA proposed to                             implementation planning authority or
                                                 need for the EPA to address good                        determine that the basis for the prior SIP             the potential planning authority of a
                                                 neighbor obligations consistent with the                approval was invalidated by the                        tribe.
                                                 rest of title I of the CAA. In particular,              Agency’s more recent technical
                                                 the D.C. Circuit in Wisconsin held that                 evaluation of air quality modeling                     a. Indian Country Subject to Tribal
                                                 states and the EPA are obligated to fully               performed in support of the proposed                   Jurisdiction
                                                 address good neighbor obligations for                   rule,114 and that Delaware had                            With respect to areas of Indian
                                                 ozone ‘‘as expeditiously as practical’’                 unresolved interstate transport                        country not currently subject to a state’s
                                                 and in no event later than the next                     obligations for the 2015 ozone NAAQS.                  implementation planning authority—
                                                 relevant downwind attainment dates                      The EPA also proposed to issue a FIP for               i.e., Indian reservation lands (with the
                                                 found in CAA section 181(a).110 In                      Delaware given these unresolved                        partial exception of reservation lands
                                                 Maryland v. EPA, the D.C. Circuit made                  interstate transport obligations.                      located in the State of Oklahoma, as
                                                 clear that Wisconsin’s and North                        However, based on the updated air                      described further in this section) and
                                                 Carolina’s holdings are fully applicable                quality modeling described in section                  other areas of Indian country over
                                                 to the Marginal area attainment date for                IV.F. of this document and the technical               which the EPA or a tribe has
                                                 the 2015 ozone NAAQS,111 which fell                     assessment that informs this final rule,               demonstrated that a tribe has
                                                 on August 3, 2021.112 As discussed in                   the EPA finds that Delaware is not                     jurisdiction—the EPA here makes a
                                                 section VI.A of this document, by                       projected to be linked to any downwind                 ‘‘necessary or appropriate’’ finding that
                                                 finalizing this action now, the EPA is                  receptor above the 1 percent of the                    direct Federal implementation of the
                                                 able to implement initial required                      NAAQS threshold in 2023. Thus, based                   rule’s requirements is warranted under
                                                 emissions reductions to eliminate                       on the record before the Agency now,                   CAA section 301(d)(4) and 40 CFR
                                                 significant contribution by the 2023                    the original approval of Delaware’s SIP                49.11(a) (the areas of Indian country
                                                 ozone season, which is the last full                    submission was not in error, and the                   subject to this finding will be referred to
                                                 ozone season before the next attainment                 EPA is withdrawing its proposed error                  as the CAA section 301(d) FIP areas).
                                                 date, the Moderate area attainment date                 correction and proposed FIP for                        Indian Tribes may, but are not required
                                                 of August 3, 2024. The Wisconsin court                  Delaware.                                              to, submit tribal plans to implement
                                                 emphasized that the EPA has the
                                                                                                         2. Application of Rule in Indian Country               CAA requirements, including the good
                                                 authority under CAA section 110 to
                                                                                                         and Necessary or Appropriate Finding                   neighbor provision. Section 301(d) of
                                                 structure and time its actions in a
                                                                                                            The EPA is finalizing its                           the CAA and 40 CFR part 49 authorize
                                                 manner such that the Agency can ensure
                                                                                                         determination that this rule will be                   the Administrator to treat an Indian
                                                 necessary reductions are achieved in
                                                                                                         applicable in all areas of Indian country              Tribe in the same manner as a state (i.e.,
                                                 alignment with the downwind
                                                 attainment schedule, and that is                        (as defined at 18 U.S.C. 1151) within the              TAS) for purposes of developing and
                                                 precisely what the EPA is doing here.113                covered geography of the final rule, as                implementing a tribal plan
                                                 The EPA provides further response to                    defined in this section. Certain areas of              implementing good neighbor
                                                 the comments on this issue in section 1                 Indian country within the geography of                 obligations. See 40 CFR 49.3; see also
                                                 of the RTC document.                                    the rule are or may be subject to state                ‘‘Indian Tribes: Air Quality Planning
                                                                                                         implementation planning authority.                     and Management,’’ hereafter ‘‘Tribal
                                                 C. Other CAA Authorities for This                                                                              Authority Rule’’ (63 FR 7254, February
                                                                                                         Other areas of Indian country within
                                                 Action                                                                                                         12, 1998). The EPA is authorized to
                                                                                                         that geography are subject to tribal
                                                 1. Withdrawal of Proposed Error                         planning authority, although none of the               directly implement the good neighbor
                                                 Correction for Delaware                                 relevant tribes have as yet sought                     provision in the 301(d) FIP areas when
                                                                                                         eligibility to administer a tribal plan to             it finds, consistent with the authority of
                                                    The EPA proposed at 87 FR 20036 to                                                                          CAA section 301—which the EPA has
                                                 make an error correction under CAA                      implement the good neighbor
                                                                                                         provision.115 As described later, the                  exercised in 40 CFR 49.11—that it is
                                                 section 110(k)(6) of its May 1, 2020,                                                                          necessary or appropriate to do so.116
                                                 approval at 85 FR 25307 of the interstate
                                                                                                           114 See the Air Quality Modeling Proposed Rule
                                                 transport elements for Delaware’s
                                                                                                         TSD in the docket for this rule.                       any linked upwind states’ good neighbor
                                                 October 11, 2018, and December 26,                        115 We note that, consistent with the EPA’s prior    obligations. See, e.g., Approval and Promulgation of
                                                                                                         good neighbor actions in California, the regulatory    Air Quality State Implementation Plans; California;
                                                 at proposal (Document no. EPA–HQ–OAR–2021–              ozone monitor located on the Morongo Band of           Interstate Transport Requirements for Ozone, Fine
                                                 0668–0131).                                             Mission Indians (‘‘Morongo’’) reservation is a         Particulate Matter, and Sulfur Dioxide, 83 FR 65093
                                                    110 Wisconsin v. EPA, 938 F.3d 303, 313–14 (D.C.     projected downwind receptor in 2023. See               (December 19, 2018). Under 40 CFR 49.4(a), tribes
                                                 Cir. 2019) (citing North Carolina v. EPA, 531 F.3d      monitoring site 060651016 in Table IV.D.–1. We         are not subject to the specific plan submittal and
                                                 896, 911–13 (D.C. Cir. 2008).                           also note that the Temecula, California, regulatory    implementation deadlines for NAAQS-related
                                                    111 Maryland v. EPA, 958 F.3d 1185, 1203–04          ozone monitor is a projected downwind receptor in      requirements, including deadlines for submittal of
                                                 (D.C. Cir. 2020).                                       2023 and in past regulatory actions has been           plans addressing transport impacts.
                                                    112 See CAA section 181(a); 40 CFR 51.1303;          deemed representative of air quality on the               116 See Arizona Pub. Serv. Co. v. U.S. E.P.A., 562

                                                 Additional Air Quality Designations for the 2015        Pechanga Band of Luiseño Indians (‘‘Pechanga’’)       F.3d 1116, 1125 (10th Cir. 2009) (stating that 40
                                                                                                         reservation. See, e.g., Approval of Tribal             CFR 49.11(a) ‘‘provides the EPA discretion to
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                                                 Ozone National Ambient Air Quality Standards, 83
                                                 FR 25776 (June 4, 2018, effective August 3, 2018).      Implementation Plan and Designation of Air             determine what rulemaking is necessary or
                                                    113 938 F.3d at 318 (‘‘When EPA determines a         Quality Planning Area; Pechanga Band of Luiseño       appropriate to protect air quality and requires the
                                                 State’s SIP is inadequate, EPA presumably must          Mission Indians, 80 FR 18120, at 18121–18123           EPA to promulgate such rulemaking’’); Safe Air For
                                                 issue a FIP that will bring that State into             (April 3, 2015); see also monitoring site 060650016    Everyone v. U.S. Env’t Prot. Agency, No. 05–73383,
                                                 compliance before upcoming attainment deadlines,        in Table IV.D–1. The presence of receptors on, or      2006 WL 3697684, at *1 (9th Cir., Dec. 15, 2006)
                                                 even if the outer limit of the statutory timeframe      representative of, the Morongo and Pechanga            (‘‘The statutes and regulations that enable EPA to
                                                 gives EPA more time to formulate the FIP.’’) (citing    reservations does not trigger obligations for the      regulate air quality on Indian reservations provide
                                                 Sierra Club v. EPA, 294 F.3d 155, 161 (D.C. Cir.        Morongo and Pechanga Tribes. Nevertheless, these       EPA with broad discretion in setting the content of
                                                 2002)).                                                 receptors are relevant to the EPA’s assessment of      such regulations.’’).



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                                                    The EPA hereby finds that it is both                   country as necessary or appropriate).                    entire upwind geography is ‘‘equitable’’
                                                 necessary and appropriate to regulate all                 Further, in any action in which the EPA                  because, by imposing uniform cost
                                                 new and existing EGU and industrial                       subsequently approved a state’s SIP                      thresholds on regulated States, the
                                                 sources meeting the applicability                         submittal to partially or wholly replace                 EPA’s rule subjects to stricter regulation
                                                 criteria set forth in this rule in all of the             the provisions of a CSAPR FIP, the EPA                   those States that have done relatively
                                                 301(d) FIP areas that are located within                  has clearly delineated that it will                      less in the past to control their
                                                 the geographic scope of coverage of the                   continue to administer the Indian                        pollution. Upwind States that have not
                                                 rule. For purposes of this finding, the                   country new unit set aside for sources                   yet implemented pollution controls of
                                                 geographic scope of coverage of the rule                  in any areas of Indian country                           the same stringency as their neighbors
                                                 means the areas of the United States                      geographically located within a state’s                  will be stopped from free riding on their
                                                 encompassed within the borders of the                     borders and not subject to that state’s                  neighbors’ efforts to reduce pollution.
                                                 states the EPA has determined to be                       CAA planning authority, and the state                    They will have to reduce their
                                                 linked at Steps 1 and 2 of the 4-step                     may not exercise jurisdiction over any                   emissions by installing devices of the
                                                 interstate transport framework.117 For                    such sources. See, e.g., 82 FR 46674,                    kind in which neighboring States have
                                                 EGU applicability criteria, see section                   46677 (October 6, 2017) (approving                       already invested. Id.
                                                 VI.B of this document; for industrial-                    Alabama’s SIP submission establishing a                     In the context of addressing regional-
                                                 source applicability criteria, see section                state CSAPR trading program for ozone                    scale ozone transport in this rule, the
                                                 VI.C of this document. To EPA’s                           season NOX, but providing, ‘‘The SIP is                  importance of a uniform level of
                                                 knowledge, only one existing EGU or                       not approved to apply on any Indian                      stringency that extends to and includes
                                                 industrial source is located within the                   reservation land or in any other area                    the CAA section 301(d) FIP areas
                                                 CAA section 301(d) FIP areas: the                         where EPA or an Indian tribe has                         geographically located within the
                                                 Bonanza Power Plant, an EGU source,                       demonstrated that a tribe has                            boundaries of the linked upwind states
                                                 located on the Uintah and Ouray                           jurisdiction.’’).                                        carries significant force. Failure to
                                                 Reservation, geographically located                          In this rule, the EPA is taking an                    include all such areas within the scope
                                                 within the borders of Utah.                               approach similar to the prior CSAPR                      of the rule creates a significant risk that
                                                    This finding is consistent with the                    rulemakings with respect to regulating                   these areas may be targeted for the siting
                                                 EPA’s prior good neighbor rules. In                       sources in the CAA section 301(d) FIP                    of facilities emitting ozone-precursor
                                                 prior rulemakings under the good                          areas.118 The EPA believes this                          pollutants, to avoid the regulatory costs
                                                 neighbor provision, the EPA has                           approach is necessary and appropriate                    that would be imposed under this rule
                                                 included all areas of Indian country                      for several reasons. First, the purpose of               in the surrounding areas of state
                                                 within the geographic scope of those                      this rule is to address the interstate                   jurisdiction. Electricity generation or the
                                                 FIPs, such that any new or existing                       transport of ozone on a national scale,                  production of other goods and
                                                 sources meeting the rules’ applicability                  and the technical record establishes that                commodities may become more cost-
                                                 criteria would be subject to the rule                     the nonattainment and maintenance                        competitive at any EGU or industrial
                                                 irrespective of whether subject to state                  receptors located throughout the                         sources not subject to the rule but
                                                 or tribal underlying CAA planning                         country are impacted by sources of                       located in a geography where the same
                                                 authority. In CSAPR, the CSAPR                            ozone pollution on a broad geographic                    types of sources are subject to the rule.
                                                 Update, and the Revised CSAPR                             scale. The upwind regions associated                     For instance, the affected EGU source
                                                 Update, the scope of the emissions                        with each receptor typically span at                     located on the Uintah and Ouray
                                                 trading programs established for EGUs                     least two, and often far more, states.                   Reservation of the Ute Tribe is in an
                                                 extended to cover all areas of Indian                     Within the broad upwind region                           area that is interconnected with the
                                                 country located within the geographic                     covered by this rule, the EPA is                         western electricity grid and is owned
                                                 boundaries of the covered states. In                      applying—consistent with the                             and operated by an entity that generates
                                                 these rules, at the time of their                         methodology of allocating upwind                         and provides electricity to customers in
                                                 promulgation, no existing units were                      responsibility in prior transport rules                  several states. It is both necessary and
                                                 located in the covered areas of Indian                    going back to the NOX SIP Call—a                         appropriate, in the EPA’s view, to avoid
                                                 country; under the general applicability                  uniform level of control stringency (as                  creating, via this rule, a structure of
                                                 criteria of the trading programs,                         determined separately for linkages                       incentives that may cause generation or
                                                 however, any new sources locating in                      existing in 2023, and linkages persisting                production—and the associated NOX
                                                 such areas would become subject to the                    in 2026). (See section V of this                         emissions—to shift into the CAA section
                                                 programs. Thus, the EPA established a                     document for a discussion of EPA’s                       301(d) FIP areas to escape regulation
                                                 separate allowance allocation that                        determination of control stringency for                  needed to eliminate interstate transport
                                                 would be available for any new units                      this rule.) Within this approach,                        under the good neighbor provision.
                                                 locating in any of the relevant areas of                  consistency in rule requirements across                     The EPA finds it is appropriate to
                                                 Indian country. See, e.g., 76 FR 48293                    all jurisdictions is vital in ensuring the               directly implement the rule’s
                                                 (describing the CSAPR methodology of                      remedy for ozone transport is, in the                    requirements in the CAA section 301(d)
                                                 allowance allocation under the ‘‘Indian                   words of the Supreme Court, ‘‘efficient                  FIP areas in this action rather than at a
                                                 country new unit set-aside’’ provisions);                 and equitable,’’ 572 U.S. 489, 519. In                   later date. Tribes have the opportunity
                                                 see also id. at 48217 (explaining the                     particular, as the Supreme Court found                   to seek treatment as a state (TAS) and
                                                 EPA’s source of authority for directly                    in EME Homer City Generation,                            to undertake tribal implementation
                                                 regulating in relevant areas of Indian                    allocating responsibility through                        plans under the CAA. To date, the one
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                                                                                                           uniform levels of control across the                     tribe which could develop and seek
                                                   117 With respect to any industrial sources located                                                               approval of a tribal implementation plan
                                                 in the CAA section 301(d) FIP areas, the geographic          118 See section VI.B.9 of this document for a         to address good neighbor obligations
                                                 scope of coverage of this rule does not include those     discussion of revisions that are being made in this      with respect to an existing EGU in the
                                                 states for which the EPA finds, based on air quality      rulemaking regarding the point in the allowance          CAA section 301(d) FIP areas for the
                                                 modeling, that no further linkage exists by the 2026      allocation process at which the EPA would
                                                 analytic year at Steps 1 and 2. The states in this rule   establish set-asides of allowances for units in Indian
                                                                                                                                                                    2015 ozone NAAQS (or for any other
                                                 not linked in 2026 are Alabama, Minnesota, and            country not subject to a state’s CAA implementation      NAAQS), the Ute Indian Tribe of the
                                                 Wisconsin.                                                planning authority.                                      Uintah and Ouray Reservation, has not


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                                                 expressed an intent to do so. Nor has the               consultation after publication of the                  actions. Although the formal tribal
                                                 EPA heard such intentions from any                      proposed rulemaking. By including all                  consultation process associated with
                                                 other tribe, and it would not be                        areas of Indian country within the                     this action has concluded, the EPA is
                                                 reasonable to expect tribes to undertake                covered geography of the rule, the EPA                 willing and available to engage with any
                                                 that planning effort, particularly when                 is advancing environmental justice,                    tribe as this rule is implemented.
                                                 no existing sources are currently located               lowering pollution burdens in such                     b. Indian Country Subject to State
                                                 on their lands. Further, the EPA is                     areas, and preventing the potential for                Implementation Planning Authority
                                                 mindful that under court precedent, the                 ‘‘pollution havens’’ to form in such
                                                 EPA and states bear an obligation to                    areas as a result of facilities seeking to                Following the U.S. Supreme Court
                                                 fully implement any required emissions                  locate there to avoid the requirements                 decision in McGirt v. Oklahoma, 140 S.
                                                 reductions to eliminate significant                     that would otherwise apply outside of                  Ct. 2452 (2020), the Governor of the
                                                 contribution under the good neighbor                    such areas under this rule.                            State of Oklahoma requested approval
                                                 provision as expeditiously as                              Therefore, to ensure timely alignment               under section 10211(a) of the Safe,
                                                 practicable and in alignment with                       of all needed emissions reductions                     Accountable, Flexible, Efficient
                                                 downwind areas’ attainment schedule                     within the timetables of this rule, to                 Transportation Equity Act of 2005: A
                                                 under the Act. As discussed in section                  ensure equitable distribution of the                   Legacy for Users, Public Law 109–59,
                                                 VI.A of this document, the EPA is                       upwind pollution reduction obligation                  119 Stat. 1144, 1937 (August 10, 2005)
                                                 implementing certain required                           across all upwind jurisdictions, to avoid              (‘‘SAFETEA’’), to administer in certain
                                                 emissions reductions by the 2023 ozone                  perverse economic incentives to locate                 areas of Indian country (as defined at 18
                                                 season, the last full ozone season before               sources of ozone-precursor pollution in                U.S.C. 1151) the State’s environmental
                                                 the 2024 Moderate area attainment date,                 the CAA section 301(d) FIP areas, and                  regulatory programs that were
                                                 and other key additional required                       to deliver greater environmental justice               previously approved by the EPA for
                                                 emissions reductions by the 2026 ozone                  to tribal communities in line with                     areas outside of Indian country. The
                                                 season, the last full ozone season before               Executive Order 13985: Advancing                       State’s request excluded certain areas of
                                                 the 2027 Serious area attainment date.                  Racial Equity and Support for                          Indian country further described later.
                                                 Absent the application of this FIP in the               Underserved Communities Through the                    In addition, the State only sought
                                                 CAA section 301(d) FIP areas, NOX                       Federal Government,120 the EPA finds it                approval to the extent that such
                                                 emissions from any existing or new EGU                  both necessary and appropriate that all                approval is necessary for the State to
                                                 or non-EGU sources located in, or                       existing and new EGU and industrial                    administer a program in light of
                                                 locating in, the CAA section 301(d) FIP                 sources that are located in the CAA                    Oklahoma Dept. of Environmental
                                                 areas within the covered geography of                   section 301(d) FIP areas within the                    Quality v. EPA, 740 F.3d 185 (D.C. Cir.
                                                 the rule would remain unregulated for                   geographic boundaries of the covered                   2014).121
                                                 purposes of CAA section                                                                                           On October 1, 2020, the EPA
                                                                                                         states, and which would be subject to
                                                 110(a)(2)(D)(i)(I) for the 2015 ozone                                                                          approved Oklahoma’s SAFETEA request
                                                                                                         this rule if located within areas subject
                                                 NAAQS and could continue or                                                                                    to administer all the State’s EPA-
                                                                                                         to state CAA planning authority, should
                                                 potentially increase. This would be                                                                            approved environmental regulatory
                                                                                                         be included in this rule. The EPA issues
                                                 inconsistent with the EPA’s overall goal                                                                       programs, including the Oklahoma SIP,
                                                                                                         this finding under CAA section
                                                 of aligning good neighbor obligations                                                                          in the requested areas of Indian
                                                                                                         301(d)(4) of the Act and 40 CFR 49.11.
                                                 with the downwind areas’ attainment                                                                            country.122 As requested by Oklahoma,
                                                                                                         Further, to avoid ‘‘unreasonable delay’’
                                                 schedule and to achieve emissions                                                                              the EPA’s approval under SAFETEA
                                                                                                         in promulgating this FIP, as required                  does not include Indian country lands,
                                                 reductions as expeditiously as                          under section 49.11, the EPA makes this
                                                 practicable.                                                                                                   including rights-of-way running through
                                                                                                         finding now, to align emissions                        the same, that: (1) qualify as Indian
                                                    Further, the EPA recognizes that                     reduction obligations for any covered
                                                 Indian country, including the CAA                                                                              allotments, the Indian titles to which
                                                                                                         new or existing sources in the CAA                     have not been extinguished, under 18
                                                 section 301(d) FIP areas, is often home                 section 301(d) FIP areas with the larger
                                                 to communities with environmental                                                                              U.S.C. 1151(c); (2) are held in trust by
                                                                                                         schedule of reductions under this rule.                the United States on behalf of an
                                                 justice concerns, and these communities                 Because all other covered EGU and non-
                                                 may bear a disproportionate level of                                                                           individual Indian or Tribe; or (3) are
                                                                                                         EGU sources within the geography of                    owned in fee by a Tribe, if the Tribe (a)
                                                 pollution burden as compared with
                                                                                                         this rule would be subject to emissions                acquired that fee title to such land, or
                                                 other areas of the United States. The
                                                                                                         reductions of uniform stringency                       an area that included such land, in
                                                 EPA’s Fiscal Year 2022–2026 Strategic
                                                                                                         beginning in the 2023 ozone season, and                accordance with a treaty with the
                                                 Plan 119 includes an objective to
                                                                                                         as necessary to fully and expeditiously                United States to which such Tribe was
                                                 promote environmental justice at the
                                                                                                         address good neighbor obligations for                  a party, and (b) never allotted the land
                                                 Federal, Tribal, state, and local levels
                                                                                                         the 2015 ozone NAAQS, there is little                  to a member or citizen of the Tribe
                                                 and states: ‘‘Integration of
                                                                                                         benefit to be had by not including the
                                                 environmental justice principles into all
                                                                                                         CAA section 301(d) FIP areas in this                     121 In ODEQ v. EPA, the D.C. Circuit held that
                                                 EPA activities with Tribal governments
                                                                                                         rule now and a potentially significant                 under the CAA, a state has the authority to
                                                 and in Indian country is designed to be                                                                        implement a SIP in non-reservation areas of Indian
                                                                                                         downside to not doing so.
                                                 flexible enough to accommodate EPA’s                       The Agency recognizes that Tribal                   country in the state, where there has been no
                                                 Tribal program activities and goals,                    governments may still choose to seek
                                                                                                                                                                demonstration of tribal jurisdiction. Under the D.C.
                                                 while at the same time meeting the                                                                             Circuit’s decision, the CAA does not provide
                                                                                                         TAS to develop a Tribal plan with                      authority to states to implement SIPs in Indian
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                                                 Agency’s environmental justice goals.’’                 respect to the obligations under this                  reservations. ODEQ did not, however, substantively
                                                 As described in section X.F of this                     rule, and this determination does not                  address the separate authority in Indian country
                                                 document, the EPA offered Tribal                                                                               provided specifically to Oklahoma under
                                                                                                         preclude the tribes from taking such                   SAFETEA. That separate authority was not invoked
                                                 consultation to 574 Tribes in April of                                                                         until the State submitted its request under
                                                 2022 and received no requests for Tribal                  120 Executive Order 13985 (January 20, 2021) (86     SAFETEA, and was not approved until the EPA’s
                                                                                                         FR 7009 (January 25, 2021)): https://                  decision, described in this section, on October 1,
                                                   119 https://www.epa.gov/system/files/documents/       www.govinfo.gov/content/pkg/FR-2021-01-25/pdf/         2020.
                                                 2022-03/fy-2022-2026-epa-strategic-plan.pdf.            2021-01753.pdf.                                          122 Available in the docket for this rulemaking.




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                                                 (collectively ‘‘excluded Indian country                 allotments or dependent Indian                         believes that the remaining aspects of
                                                 lands’’).                                               communities located outside of an                      this rule can and should continue to be
                                                    The EPA’s approval under SAFETEA                     Indian reservation over which there has                implemented to the extent possible. In
                                                 expressly provided that to the extent                   been no demonstration of tribal                        particular, this action promulgates a FIP
                                                 EPA’s prior approvals of Oklahoma’s                     authority. The EPA’s FIP authority                     for each covered state (and, pursuant to
                                                 environmental programs excluded                         under CAA section 110(c) similarly                     CAA section 301(d), for each area of
                                                 Indian country, any such exclusions are                 applies to Indian allotments or                        tribal jurisdiction within the geographic
                                                 superseded for the geographic areas of                  dependent Indian communities located                   boundaries of those states). Should any
                                                 Indian country covered by the EPA’s                     outside of an Indian reservation over                  jurisdiction-specific aspect of the final
                                                 approval of Oklahoma’s SAFETEA                          which there has been no demonstration                  rule be found invalid, the EPA views
                                                 request.123 The approval also provided                  of tribal authority located in any other               this rule as severable along those state
                                                 that future revisions or amendments to                  state within the geographic scope of this              and/or tribal jurisdictional lines, such
                                                 Oklahoma’s approved environmental                       rule.                                                  that the rule can continue to be
                                                 regulatory programs would extend to                        In light of the relevant legal                      implemented as to any remaining
                                                 the covered areas of Indian country                     authorities discussed above regarding                  jurisdictions. This action promulgates
                                                 (without any further need for additional                the scope of the State of Oklahoma’s                   discrete emissions control requirements
                                                 requests under SAFETEA).                                regulatory jurisdiction under the CAA,                 for the power sector and for each of
                                                    In a Federal Register document                       the EPA has FIP authority under CAA                    seven other industries. Should any
                                                 published on February 13, 2023 (88 FR                   section 110(c) with respect to all Indian              industry-specific aspect of the final rule
                                                 9336), the EPA disapproved the portion                  country in Oklahoma other than                         be found invalid, the EPA views this
                                                 of an Oklahoma SIP submittal                            excluded Indian country lands. To the                  rule as severable as between the
                                                 pertaining to the state’s interstate                    extent any change occurs in the scope                  different industries and different types
                                                 transport obligations under CAA section                 of Oklahoma’s SIP authority in Indian                  of emissions control requirements. This
                                                 110(a)(2)(D)(i)(I) for the 2015 ozone                   country following finalization of this                 is not intended to be an exhaustive list
                                                 NAAQS. Consistent with the D.C.                         rule, and such change affects the                      of the ways in which the rule may be
                                                 Circuit’s decision in ODEQ v. EPA and                   exercise of FIP authority provided under               severable. In the event any part of it is
                                                 with the EPA’s October 1, 2020                          section 110(c) of the Act,126 then, to the             found invalid, our intention is that the
                                                 SAFETEA approval, the EPA has                           extent any such areas would fall more                  remaining portions should continue to
                                                 authority under CAA section 110(c) to                   appropriately within the CAA section                   be implemented consistent with any
                                                 promulgate a FIP as needed to address                   301(d) FIP areas as described in section               judicial ruling.
                                                 the disapproved aspects of Oklahoma’s                   III.C.2.a of this document, the EPA’s                     The EPA’s conclusion that this rule is
                                                 good neighbor SIP submittal.124 In                      necessary or appropriate finding as set                severable also reflects the important
                                                 accordance with the previous                            forth above with respect to all other                  public health and environmental
                                                 discussion, the EPA’s FIP authority in                  CAA section 301(d) FIP areas within the                benefits of this rulemaking in
                                                 this circumstance extends to all Indian                 geographic scope of coverage of the rule               eliminating significant contribution and
                                                 country in Oklahoma, other than the                     would apply.                                           to ensure to the greatest extent possible
                                                 excluded Indian country lands, as                                                                              the ability of both upwind states and
                                                 described previously.125 Because—per                    D. Severability
                                                                                                                                                                downwind states and other relevant
                                                 the State’s request under SAFETEA—                        The EPA regards this action as a
                                                                                                                                                                stakeholders to be able to rely on this
                                                 EPA’s October 1, 2020 approval does                     complete remedy, which will as
                                                                                                                                                                final rule in their planning. Cf.
                                                 not displace any SIP authority                          expeditiously as practicable implement
                                                                                                                                                                Wisconsin, 938 F.3d at 336–37 (‘‘As a
                                                 previously exercised by the State under                 good neighbor obligations for the 2015
                                                                                                                                                                general rule, we do not vacate
                                                 the CAA as interpreted in ODEQ v. EPA,                  ozone NAAQS for the covered states,
                                                                                                                                                                regulations when doing so would risk
                                                 the EPA’s FIP authority under CAA                       consistent with the requirements of the
                                                                                                                                                                significant harm to the public health or
                                                 section 110(c) also applies to any Indian               Act. See North Carolina v. EPA, 531
                                                                                                                                                                the environment.’’); North Carolina v.
                                                                                                         F.3d 896, 911–12 (D.C. Cir. 2008);
                                                                                                                                                                EPA, 550 F.3d 1176, 1178 (D.C. Cir.
                                                   123 The EPA’s prior approvals relating to
                                                                                                         Wisconsin v. EPA, 938 F.3d 303, 313–
                                                 Oklahoma’s SIP frequently noted that the SIP was                                                               2008) (noting the need to preserve
                                                                                                         20 (D.C. Cir. 2019); Maryland v. EPA,
                                                 not approved to apply in areas of Indian country                                                               public health benefits); EME Homer City
                                                                                                         958 F.3d 1185, 1204 (D.C. Cir. 2020);
                                                 (consistent with the D.C. Circuit’s decision in                                                                v. EPA, 795 F.3d 118, 132 (D.C. Cir.
                                                 ODEQ v. EPA) located in the state. See, e.g., 85 FR     New York v. EPA, 964 F.3d 1214, 1226
                                                                                                                                                                2015) (noting the need to avoid
                                                 20178, 20180 (April 10, 2020). Such prior expressed     (D.C. Cir. 2020); New York v. EPA, 781
                                                 limitations are superseded by the EPA’s approval of                                                            disruption to emissions trading market
                                                                                                         Fed. App’x 4, 7–8 (D.C. Cir. 2019) (all
                                                 Oklahoma’s SAFETEA request.                                                                                    that had developed).
                                                   124 The antecedent fact that the state had the
                                                                                                         holding that the EPA must address good
                                                 authority and jurisdiction to implement                 neighbor obligations as expeditiously as               IV. Analyzing Downwind Air Quality
                                                 requirements under the good neighbor provision, in      practicable and by no later than the next              Problems and Contributions From
                                                 the EPA’s view, supplies the condition necessary        applicable attainment date). Yet should                Upwind States
                                                 for the Agency to exercise its FIP authority to the
                                                 extent the EPA has disapproved the state’s SIP
                                                                                                         a court find any discrete aspect of this               A. Selection of Analytic Years for
                                                 submission with respect to those requirements.          document to be invalid, the Agency                     Evaluating Ozone Transport
                                                 Under CAA section 110(c), the EPA ‘‘stands in the
                                                 shoes of the defaulting state, and all of the rights      126 On December 22, 2021, the EPA proposed to
                                                                                                                                                                Contributions to Downwind Air Quality
                                                 and duties that would otherwise fall to the state       withdraw and reconsider the October 1, 2020,           Problems
                                                 accrue instead to the EPA.’’ Central Ariz. Water        SAFETEA approval. See https://www.epa.gov/ok/            In this section, the EPA describes its
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                                                 Conservation Dist. v. EPA, 990 F.2d 1531, 1541 (9th     proposed-withdrawal-and-reconsideration-and-
                                                 Cir. 1993).                                             supporting-information. The EPA is engaging in
                                                                                                                                                                process for selecting analytic years for
                                                   125 With respect to those areas of Indian country     further consultation with tribal governments and       air quality modeling and analyses
                                                 constituting ‘‘excluded Indian country lands’’ in the   expects to have discussions with the State of          performed to identify nonattainment
                                                 State of Oklahoma, as defined supra, the EPA            Oklahoma as part of this reconsideration. The EPA      and maintenance receptors and identify
                                                 applies the same necessary or appropriate finding       also notes that the October 1, 2020, approval is the
                                                 as set forth above with respect to all other 301(d)     subject of a pending challenge in Federal court.
                                                                                                                                                                upwind state linkages. For this final
                                                 FIP areas within the geographic scope of coverage       Pawnee Nation of Oklahoma v. Regan, No. 20–9635        rule, the EPA evaluated air quality to
                                                 of the rule.                                            (10th Cir.).                                           identify receptors at Step 1 for two


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                                                 analytic years: 2023 and 2026. The EPA                  areas. As noted above, 2023 and 2026                   relevant downwind deadlines the EPA
                                                 evaluated interstate contributions to                   coincide with the last full ozone seasons              must align with in implementing the
                                                 these receptors from individual upwind                  before future attainment dates for the                 good neighbor provision. In Wisconsin,
                                                 states at Step 2 for these two analytic                 2015 ozone NAAQS. In addition, 2026                    the court held, ‘‘In sum, under our
                                                 years. In selecting these years, the EPA                coincides with the ozone season by                     decision in North Carolina, the Good
                                                 views 2023 and 2026 to constitute years                 which key additional emissions                         Neighbor Provision calls for elimination
                                                 by which key emissions reductions from                  reductions from EGUs and non-EGUs                      of upwind States’ significant
                                                 EGUs and non-EGUS can be                                become available. Thus, the EPA                        contributions on par with the relevant
                                                 implemented ‘‘as expeditiously as                       analyzed additional years beyond 2023                  downwind attainment deadlines.’’
                                                 practicable.’’ In addition, these years are             to determine whether any additional                    Wisconsin, 938 F.3d. at 321 (emphasis
                                                 the last full ozone seasons before the                  emissions reductions that are                          added).
                                                 Moderate and Serious area attainment                    impossible to obtain by the 2024                          After that decision, the EPA
                                                 dates for the 2015 ozone NAAQS (ozone                   attainment date could still be necessary               interpreted Wisconsin as limited to the
                                                 seasons run each year from May 1–                       to fully address significant contribution.             attainment dates for Moderate or higher
                                                 September 30). To demonstrate                           In all cases, implementation of                        classifications under CAA section 181
                                                 attainment by these deadlines,                          necessary emissions reductions is as                   on the basis that Marginal
                                                 downwind states would be required to                    expeditiously as practicable, with all                 nonattainment areas have reduced
                                                 rely on design values calculated using                  possible emissions reductions                          planning requirements and other
                                                 ozone data from 2021 through 2023 and                   implemented by the next applicable                     considerations. See, e.g., 85 FR 29882,
                                                 2024 through 2026, respectively. By                     attainment date.                                       29888–89 (May 19, 2020) (proposed
                                                 focusing its analysis, and, potentially,                   The timing framework and selection                  approval of South Dakota’s 2015 ozone
                                                 achieving emissions reductions by, the                  of analytic years set forth above                      NAAQS good neighbor SIP). However,
                                                 last full ozone seasons before the                      comports with the D.C. Circuit’s                       on May 19, 2020, the D.C. Circuit in
                                                 attainment dates (i.e., in 2023 or 2026),               direction in Wisconsin that                            Maryland v. EPA, 958 F.3d 1185 (D.C.
                                                 this final rule can assist the downwind                 implementing good neighbor obligations                 Cir. 2020), applying the Wisconsin
                                                 areas with demonstrating attainment or                  beyond the dates established for                       decision, rejected that argument and
                                                 receiving extensions of attainment dates                attainment may be justified on a proper                held that the EPA must assess air
                                                 under CAA section 181(a)(5). (The EPA                   showing of impossibility or necessity.                 quality at the next downwind
                                                 explains in detail in sections V and VI                 See 938 F.3d at 320.                                   attainment date, including Marginal
                                                 of this document its determinations                        Comment: A commenter claims that                    area attainment dates under CAA
                                                 regarding which emissions reduction                     the EPA has not followed the holdings                  section 181, in evaluating the basis for
                                                 strategies can be implemented by 2023,                  of Wisconsin v. EPA, 938 F.3d 303 (D.C.                the EPA’s denial of a petition under
                                                 and which emissions reduction                           Cir. 2019), North Carolina v. EPA, 550                 CAA section 126(b). 958 F.3d at 1203–
                                                 strategies require additional time                      F.3d 1176 (D.C. Cir. 2008), and                        04. After Maryland, the EPA
                                                 beyond that ozone season, or the 2026                   Maryland v. EPA, 958 F. 3d 1185 (D.C.                  acknowledged that the Marginal
                                                 ozone season.)                                          Cir. 2020) in the selection of analytic                attainment date is the first attainment
                                                    It would not be logical for the EPA to               years, in that commenter interprets                    date to consider in evaluating good
                                                 analyze any earlier year than 2023. The                 those decisions as holding that the EPA                neighbor obligations. See, e.g., 85 FR
                                                 EPA continues to interpret the good                     must ‘‘harmonize’’ the exact timing of                 67653, 67654 (Oct. 26, 2020) (final
                                                 neighbor provision as forward-looking,                  upwind emissions reductions with                       approval of South Dakota’s 2015 ozone
                                                 based on Congress’s use of the future-                  when downwind states implement their                   NAAQS good neighbor SIP).
                                                 tense ‘‘will’’ in CAA section                           required reductions. Commenter also                       The D.C. Circuit again had occasion to
                                                 110(a)(2)(D)(i), an interpretation upheld               points to the EPA’s proposed action on                 revisit the Agency’s interpretation of
                                                 in Wisconsin, 938 F.3d at 322. It would                 New York’s Good Neighbor SIP                           North Carolina, Wisconsin, and
                                                 be ‘‘anomalous,’’ id., for the EPA to                   submission specifically to argue that the              Maryland, in a challenge to the Revised
                                                 impose good neighbor obligations in                     EPA is treating upwind and downwind                    CSAPR Update brought by the Midwest
                                                 2023 and future years based solely on                   states dissimilarly. Commenter also                    Ozone Group (MOG). The court
                                                 finding that ‘‘significant contribution’’               cites CAA sections 172, 177, and 179 to                declined to entertain similar arguments
                                                 had existed at some time in the past. Id.               argue the EPA did not properly align                   to those presented by commenters here
                                                    Applying this framework in the                       upwind and downwind obligations.                       and instead in a footnote explained that
                                                 proposal, the EPA recognized that the                   Several commenters believe the EPA                     it had ‘‘exhaustively summarized the
                                                 2021 Marginal area attainment date had                  should defer implementing good                         regulatory framework governing EPA’s
                                                 already passed. Further, based on the                   neighbor requirements until downwind                   conduct’’ and that it ‘‘[drew] on those
                                                 timing of the proposal, it was not                      receptor areas have first implemented                  decisions and incorporate them herein
                                                 possible to finalize this rulemaking                    their own emissions control strategies.                by reference,’’ citing, among other cases,
                                                 before the 2022 ozone season had also                      Response: The EPA maintains that                    Maryland, 958 F.3d 1185, and New
                                                 passed. Thus, the EPA has selected 2023                 2023 is an appropriate analytic year and               York, 781 F. App’x 4. MOG v. EPA, No.
                                                 as the first appropriate future analytic                comports with the relevant caselaw.                    21–1146 (D.C. Cir. March 3, 2023), Slip
                                                 year for this final rule because it reflects            Section VI.A further discusses the                     Op. at 3 n.1.
                                                 implementation of good neighbor                         compliance schedule for emissions                         The relevance of CAA sections 172,
                                                 obligations as expeditiously as                         reductions under this rule. Commenter                  177, and 179 to the selection of the
                                                                                                         misreads the North Carolina, Wisconsin,                analytic year in this action is not clear.
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                                                 practicable and coincides with the
                                                 August 3, 2024, Moderate area                           and Maryland decisions as calling for                  Commenter cites these provisions to
                                                 attainment date established for the 2015                good neighbor analysis and emissions                   conclude that the EPA did not
                                                 ozone NAAQS.                                            controls to be aligned with the timing of              appropriately consider downwind
                                                    The EPA conducted additional                         the implementation of nonattainment                    attainment deadlines and the timing of
                                                 analysis for 2026 to ensure a complete                  controls by downwind states. However,                  upwind good neighbor obligations.
                                                 Step 3 analysis for future ozone                        the D.C. Circuit has held that the                     These provisions are found in subpart I,
                                                 transport contributions to downwind                     statutory attainment dates are the                     and while they may have continuing


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                                                 relevance or applicability to aspects of                Wisconsin, 938 F.3d at 316. See also                   of flexibility for the EPA to consider in
                                                 ozone nonattainment planning                            Natural Resources Defense Council v.                   the timing of implementation of good
                                                 requirements, the nonattainment dates                   EPA, 777 F.3d 456, 466–68 (D.C. Cir.                   neighbor obligations, as Wisconsin
                                                 for the 2015 ozone NAAQS flow from                      2014) (holding the EPA cannot adjust                   recognized, it is not the case that the
                                                 subpart 2 of title I of the CAA, and                    the section 181 attainment schedule to                 EPA must delay or defer good neighbor
                                                 specifically CAA section 181(a).                        run from any other date than from the                  obligations for that reason, and neither
                                                 Applying that statutory schedule to the                 date of designation); id. at 468 (‘‘EPA                the D.C. Circuit nor any other court has
                                                 designations for the 2015 ozone                         identifies no statutory provision giving               so held.
                                                 NAAQS, the EPA has promulgated the                      it free-form discretion to set Subpart 2                  Commenter is therefore incorrect to
                                                 applicable attainment dates in its                      compliance deadlines based on its own                  the extent that they argue the selection
                                                 regulations at 40 CFR 51.1303. The                      policy assessment concerning the                       of 2023 as an analytic year for upwind
                                                 effective date of the initial designations              number of ozone seasons within which                   obligations results in the misalignment
                                                 for the 2015 ozone NAAQS was August                     a nonattainment area should be                         of downwind and upwind state
                                                 3, 2018 (83 FR 25776, June 4, 2018,                     expected to achieve compliance.’’)                     obligations. To the contrary, both
                                                 effective August 3, 2018).127 Thus, the                 (citing and quoting Whitman v.                         downwind and upwind state obligations
                                                 first deadline for attainment planning                  American Trucking Ass’ns, 531 U.S.                     are driven by the statutory attainment
                                                 under the 2015 ozone NAAQS was the                      457, 484, (2001) (‘‘The principal                      date of August 3, 2024 for Moderate
                                                 Marginal attainment date of August 3,                   distinction between Subpart 1 and                      areas, and the last year that air quality
                                                 2021, and the second deadline for                       Subpart 2 is that the latter eliminates                data may impact whether nonattainment
                                                 attainment planning is the Moderate                     regulatory discretion that the former                  areas are found to have attained by the
                                                 attainment date of August 3, 2024. If a                 allowed.’’). Furthermore, as the court in              attainment date is 2023. That is why, in
                                                 Marginal area fails to attain by the                    NRDC noted, ‘‘[T]he ‘attainment                        the recent final rulemaking
                                                 attainment date it is reclassified, or                  deadlines . . . leave no room for claims               determinations that certain Marginal
                                                 ‘‘bumped up,’’ to Moderate. Indeed, the                 of technological or economic                           areas failed to attain by the attainment
                                                 EPA has just completed a rulemaking                     infeasibility.’ ’’ 777 F.3d at 488 (quoting            date, bumping those areas up to
                                                 action reclassifying many areas of the                  Sierra Club, 294 F.3d at 161) (internal                Moderate, and giving them SIP
                                                 country from Marginal to Moderate                       quotation marks and brackets omitted).                 submission deadlines, reasonably
                                                 nonattainment, including all of the areas                                                                      available control measures (RACM), and
                                                                                                            With the exception of the Uinta Basin,              reasonably RACT implementation
                                                 where downwind receptors have been
                                                                                                         which is not an identified receptor in                 deadlines, the EPA set the attainment
                                                 identified in our 2023 modeling as well
                                                                                                         this action, no Marginal nonattainment                 SIP submission deadlines for the
                                                 as many other areas of the country. 87
                                                                                                         area met the conditions of CAA section                 bumped up Moderate areas to be
                                                 FR 60897, 60899 (Oct. 7, 2022).
                                                    Other than under the narrow                          181(a)(5) to obtain a one-year extension               January 1, 2023. See 87 FR 60897, 60900
                                                 circumstances of CAA section 181(a)(5)                  of the Moderate area attainment date. 87               (Oct. 7, 2022). The implementation
                                                 (discussed further in this section), the                FR 60899. Thus, all Marginal areas                     deadline for RACM and RACT is also
                                                 EPA is not permitted under the CAA to                   (other than Uinta) that failed to attain               January 1, 2023. Id. This was in large
                                                 extend the attainment dates for areas                   have been reclassified to Moderate. Id.                part driven by the EPA’s ozone
                                                 under a given classification. That is, no               (And the New York City Metropolitan                    implementation regulations, 40 CFR
                                                 matter when or if the EPA finalizes a                   nonattainment area was initially                       51.1312(a)(3)(i), which previously
                                                 determination that an area failed to                    classified as Moderate (see following                  established a RACT implementation
                                                 attain by its attainment date and                       text for further details).) Even if the EPA            deadline for initially classified
                                                 reclassifies that area, the attainment                  had extended the attainment date for                   Moderate as no later than January 1,
                                                 date remains fixed, based on the number                 any of the downwind areas, it is not                   2023, and the modeling and attainment
                                                 of years from the area’s initial                        clear that it would necessarily follow                 demonstration requirements in 40 CFR
                                                 designation. See, e.g., CAA section                     that the EPA must correspondingly                      51.1308(d), which require a state to
                                                 182(i) (authorizing the EPA to adjust                   extend or delay the implementation of                  provide for implementation of all
                                                 any applicable deadlines for newly                      good neighbor obligations. While the                   control measures needed for attainment
                                                 reclassified areas ‘‘other than attainment              Wisconsin court recognized extensions                  no later than the beginning of the
                                                 dates’’). As the D.C. Circuit has                       under CAA section 181(a)(5) as a                       attainment year ozone season (i.e.,
                                                 repeatedly made clear, the statutory                    possible source of timing flexibility in               2023). Given this regulatory history, the
                                                 attainment schedule of the downwind                     implementing the good neighbor                         EPA can hardly be accused of letting
                                                 nonattainment areas under subpart 2 is                  provision, 938 F.3d at 320, the EPA and                states with nonattainment areas for the
                                                 rigorously enforced and is not subject to               the states are still obligated to                      2015 ozone NAAQS avoid or delay their
                                                 change based on policy considerations                   implement good neighbor reductions as                  mandatory CAA obligations.
                                                 of the EPA or the states.                               expeditiously as practicable and are also                 Commenter’s proposal that the EPA
                                                                                                         obligated under the good neighbor                      align good neighbor obligations with the
                                                   [T]he attainment deadlines, the Supreme
                                                                                                         provision to address ‘‘interference with               actual implementation of measures in
                                                 Court has said, are ‘‘the heart’’ of the Act.
                                                 Train v. Nat. Res. Def. Council, 421 U.S. 60,           maintenance.’’ Areas that have obtained                downwind areas is untethered from the
                                                 66, 95 S.Ct. 1470, 43 L.Ed.2d 731 (1975); see           an extension under CAA section                         statute, as discussed above. It is also
                                                 Sierra Club v. EPA, 294 F.3d 155, 161 (D.C.             181(a)(5) or which are not designated as               unworkable in practice. It would
                                                 Cir. 2002) (‘‘the attainment deadlines are              in nonattainment could still be                        necessitate coordinating the activities of
                                                 central to the regulatory scheme’’) (alteration         identified as struggling to maintain the
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                                                                                                                                                                multiple states and EPA regional and
                                                 and internal quotation marks omitted). The              NAAQS, and the EPA is obligated under                  headquarters offices to an impossible
                                                 Act’s central object is the ‘‘attain[ment] [of]         the good neighbor provision to                         degree and effectively could preclude
                                                 air quality of specified standards [within] a
                                                 specified period of time.’’ Train, 421 U.S. at          eliminate upwind emissions interfering                 the implementation of good neighbor
                                                 64–65, 95 S.Ct. 1470.                                   with the ability to maintain the NAAQS,                obligations altogether. Commenter does
                                                                                                         as well. North Carolina, 531 F.3d at                   not explain how the EPA or upwind
                                                   127 September 24, 2018, for the San Antonio area.     908–11. Thus, while an extension under                 states should coordinate upwind
                                                 83 FR 35136 (July 25, 2018).                            CAA section 181(a)(5) may be a source                  emissions control obligations for states


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                                                 linked to multiple downwind receptors                   York’s SCCT controls were not included                 further responds to these comments in
                                                 whose states may be implementing their                  by New York in its good neighbor SIP                   the RTC document in the docket.
                                                 requirements on different timetables.                   submission, nor was the prior approval                   The remainder of this section
                                                 Less drastic mechanisms than subjecting                 of the SCCT controls reexamined by the                 includes information on (1) the air
                                                 people living in downwind receptor                      EPA or reopened for consideration by                   quality modeling platform used in
                                                 areas to continuing high levels of air                  the Agency in this action. Although not                support of the final rule with a focus on
                                                 pollution caused in part by upwind-                     part of this rulemaking, the EPA notes                 the base year and future year base case
                                                 state pollution are available if the actual             that the SCCT controls were approved                   emissions inventories, (2) the method
                                                 implementation of mandatory CAA                         by the EPA as a SIP strengthening                      for projecting design values in 2023 and
                                                 requirements in the downwind areas is                   measure and not to satisfy any specific                2026, and (3) the approach for
                                                 delayed: CAA section 304(a)(2) provides                 planning requirements for the 2015                     calculating ozone contributions from
                                                 for judicial recourse where there is an                 ozone NAAQS under CAA section 182.                     upwind states. The Agency also
                                                 alleged failure by the Agency to perform                86 FR 43956, 43958 (Aug. 11, 2021). The                provides the design values for
                                                 a nondiscretionary duty; that recourse is               SCCT controls submitted to the EPA                     nonattainment and maintenance
                                                 for the Agency to be placed on a court-                 were already a state rule, and the only                receptors and the largest predicted
                                                 ordered deadline to address the relevant                effect under the CAA of the EPA                        downwind contributions in 2023 and
                                                 obligations. See Oklahoma v. U.S. EPA,                  approving them into New York’s SIP                     2026 from each state. The 2016 base
                                                 723 F.3d 1201, 1223–24 (10th Cir. 2013);                was to make them federally enforceable.                period and 2023 and 2026 projected
                                                 Montana Sulphur and Chemical Co. v.                     86 FR 43956, 43959 (Aug. 11, 2021). In                 design values and contributions for all
                                                 U.S. EPA, 666 F.3d 1174, 1190–91 (9th                   other words, approval of the SCCT                      ozone monitoring sites are provided in
                                                 Cir. 2012). Commenter focuses on the                    controls did not relieve New York of its               the docket for this rule. The ‘‘Air
                                                 EPA’s evaluation of New York’s Good                     nonattainment planning obligations for                 Quality Modeling Technical Support
                                                 Neighbor SIP submission to argue the                    the 2015 ozone NAAQS.                                  Document for the Federal Good
                                                 EPA is treating upwind and downwind                        The EPA notes that the New York-                    Neighbor Plan for the 2015 Ozone
                                                 states dissimilarly. The argument                       Northern New Jersey-Long Island, NY-                   National Ambient Air Quality Standards
                                                 conflates New York’s role as both a                     NJ-CT nonattainment area was initially                 Final Rulemaking’’ (Mar. 2023),
                                                 downwind and an upwind state. In                        designated as Moderate nonattainment.                  hereinafter referred to as the Air Quality
                                                 evaluating the Good Neighbor SIP                        83 FR 25776 (June 4, 2018). Pursuant to                Modeling Final Rule TSD, in the docket
                                                 submission that New York submitted,                     this designation, New York was                         for this final rule contains more detailed
                                                 the EPA identified as a basis for                       required to submit a RACT SIP                          information on the air quality modeling
                                                 disapproval that none of the state                      submission and an attainment                           aspects of this rule.
                                                 emissions control programs New York                     demonstration no later than 24 months
                                                                                                         and 36 months, respectively, after the                 B. Overview of Air Quality Modeling
                                                 cited included implementation                                                                                  Platform
                                                 timeframes to achieve the reductions, let               effective date of the Moderate
                                                 alone ensure they were achieved by                      designation. CAA section 182; 40 CFR                     The EPA used version 3 of the 2016-
                                                 2023. 87 FR 9484, 9494 (Feb. 22, 2022).                 51.1308(a), 51.1312(a)(2). New York                    based modeling platform (i.e., 2016v3)
                                                 The EPA conducted the same inquiry                      submitted a RACT SIP for the 2015                      for the air quality modeling for this final
                                                 into other states’ claims regarding their               ozone standards on January 29, 2021,128                rule. This modeling platform includes
                                                 existing or proposed state laws or other                and the EPA is currently evaluating that               2016 base year emissions from
                                                 emissions reductions claimed in their                   submission. New York has not yet                       anthropogenic and natural sources and
                                                 SIP submissions. See, e.g., 87 FR 9472–                 submitted its attainment demonstration,                anthropogenic emissions projections for
                                                 73 (evaluating claims regarding                         which was due August 3, 2021. Further,                 2023 and 2026. The emissions data
                                                 emissions reductions anticipated under                  the New York-Northern New Jersey-                      contained in this platform represent an
                                                 Maryland’s state law); 87 FR 9854                       Long Island, NY-NJ-CT nonattainment                    update to the 2016 version 2 inventories
                                                 (evaluating claims regarding emissions                  area remains subject to the Moderate                   used for the proposal modeling.
                                                                                                         nonattainment area date of August 3,                     The air quality modeling for this final
                                                 reductions anticipated under Illinois’
                                                                                                         2024. If it fails to attain the 2015 ozone             rule was performed for a modeling
                                                 state law). Consistent with its treatment
                                                                                                         NAAQS by August 3, 2024, it will be                    region (i.e., modeling domain) that
                                                 of the other upwind states included in
                                                                                                         reclassified to Serious nonattainment,                 covers the contiguous 48 states using a
                                                 this action, the EPA in a separate action
                                                                                                         resulting in additional requirements on                horizontal resolution of 12 x 12 km. The
                                                 disapproved New York’s good neighbor
                                                                                                         the New York nonattainment area.                       EPA used the CAMx version 7.10 for air
                                                 SIP submission for the 2015 ozone
                                                                                                           In any case, regardless of the status of             quality modeling which is the same
                                                 NAAQS because its arguments did not
                                                                                                         New York’s and the EPA’s efforts in                    model that EPA used for the proposed
                                                 demonstrate that it had fully prohibited
                                                                                                         relation to the New York-Northern New                  rule air quality modeling.129 Additional
                                                 emissions significantly contributing to
                                                                                                         Jersey-Long Island, NY-NJ-CT                           information on the 2016-based air
                                                 out of state nonattainment or
                                                                                                         nonattainment area (which are outside                  quality modeling platform can be found
                                                 maintenance problems.
                                                                                                         the scope of this action), the EPA’s                   in the Air Quality Modeling Final Rule
                                                    Commenter attempts to contrast this                                                                         TSD.
                                                                                                         evaluation of 2023 as the relevant
                                                 evaluation with what it believes is the                                                                          Comment: Commenters noted that the
                                                                                                         analytic year in assessing New York’s
                                                 EPA’s permissive attitude toward delays                                                                        2016 base year summer maximum daily
                                                                                                         and other states’ good neighbor
                                                 by downwind states, specifically                                                                               average 8-hour (MDA8) ozone
                                                                                                         obligations is consistent with the
                                                 claiming that ‘‘certain nonattainment
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                                                                                                         statutory framework and court decisions                predictions from the proposal modeling
                                                 areas have delayed implementation of                                                                           were biased low compared to the
                                                                                                         calling on the agency to align these
                                                 nonattainment controls until 2025 and                                                                          corresponding measured concentrations
                                                                                                         obligations with the downwind areas’
                                                 beyond.’’ This apparently references                                                                           in certain locations. In this regard,
                                                                                                         statutory attainment schedule. The EPA
                                                 New York’s simple cycle and                                                                                    commenters said that model
                                                 regenerative combustion turbines                          128 https://edap.epa.gov/public/extensions/S4S_
                                                 (SCCT) controls, which commenter                        Public_Dashboard_2/S4S_Public_Dashboard_                 129 Ramboll Environment and Health, January

                                                 cited elsewhere in its comments. New                    2.html.                                                2021, https://www.camx.com.



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                                                 performance statistics for a number of                  emissions in the U.S. dramatically                        under-predict daytime ozone
                                                 monitoring sites, particularly those in                 increase from spring to summer.131 132 In                 concentrations at rural and remote
                                                 portions of the West and in the area                    contrast, ozone transported into the U.S.                 monitoring sites across the U.S. during
                                                 around Lake Michigan, were outside the                  from international anthropogenic and                      the spring of 2016 whereas the
                                                 range of published performance criteria                 natural sources peaks during the period                   predictions from the GEOS-Chem global
                                                 for normalized mean bias (NMB) and                      March through June, with lower                            model 137 were generally less biased.138
                                                 normalized mean error (NME) of less                     contributions during July through                         During the summer of 2016 both models
                                                 than ±15 percent and less than 25                       September.133 134 To investigate the                      showed varying degrees of over
                                                 percent, respectively (Emory, et al.,                   impacts of these sources, EPA                             prediction with GEOS-Chem showing
                                                 2017).130 The commenters said EPA                       conducted sensitivity model runs which                    somewhat greater over-prediction,
                                                 must investigate the factors contributing               focused on the effects on model                           compared to H–CMAQ. In view of those
                                                 to low bias and make necessary                          performance of adding NOX emissions                       results, EPA examined the impacts of
                                                 corrections to improve model                            from lightning strikes, updating                          using GEOS-Chem as an alternative to
                                                 performance in the final rule modeling.                 biogenic emissions, and using an                          H–CMAQ for providing boundary
                                                 Some commenters said that EPA should                    alternative approach for quantifying                      conditions for the final rule modeling.
                                                 include NOX emissions from lightning                    transport of ozone and precursor                             For the lightning NOX, biogenics, and
                                                 strikes and assess the treatment of other               pollutants into the U.S. from                             GEOS-Chem sensitivity runs, EPA reran
                                                 background sources of ozone to improve                  international anthropogenic and natural                   the proposal modeling using each of
                                                 model performance for the final rule.                   sources. The development of lightning                     these inputs, individually. Results from
                                                 Additional information on the                           NOX emissions and the updates to                          these sensitivity runs indicate that each
                                                 comments on model performance can be                    biogenic emissions, are described in                      of the three updates provides an
                                                 found in the RTC document for this                      section IV.C of this document. In the                     improvement in model performance.
                                                 final rule.                                             proposal modeling the amount of                           However, by far the greatest
                                                    Response: In response to these                       transport from international                              improvement in model performance is
                                                 comments EPA examined the temporal                      anthropogenic and natural sources was                     attributable to the use of GEOS-Chem. In
                                                 and spatial characteristics of model                    based on a simulation of the                              view of these results EPA has included
                                                 under prediction to investigate the                     hemispheric version of the Community                      lightning NOX emissions, updated
                                                 possible causes of under prediction of                  Multi-scale Air Quality Model (H–                         biogenic emissions, and international
                                                 MDA8 ozone concentrations in different                  CMAQ) for 2016.135 The outputs from                       transport from GEOS-Chem in the final
                                                 regions of the U.S. in the proposal                     this hemispheric modeling were then                       rule air quality modeling. Details on the
                                                 modeling. EPA’s analysis indicates that                 used to provide boundary conditions for                   results of the individual sensitivity runs
                                                 the under prediction was most extensive                 national scale air quality modeling at                    can be found in the Air Quality
                                                 during May and June with less bias                      proposal.136 Overall, H–CMAQ tends to                     Modeling Final Rule TSD. For the air
                                                 during July and August in most regions                                                                            quality modeling supporting this final
                                                 of the U.S. For example, in the Upper                      131 Guenther, A.B., 1997. Seasonal and spatial         action, model performance based on
                                                 Midwest region model under prediction                   variations in natural volatile organic compound           days in 2016 with measured MDA8
                                                 was larger in May and June compared to                  emissions. Ecol. Appl. 7, 34–45. https://doi.org/         ozone ≥60 ppb is considerably improved
                                                 July through September. Specifically, in                10.1890/1051-
                                                                                                         0761(1997)007[0034:SASVIN]2.0.CO;2. Guenther,             (i.e., less bias and error) compared to the
                                                 the proposal modeling, the normalized                   A., Hewitt, C.N., Erickson, D., Fall, R.                  proposal modeling in nearly all regions
                                                 mean bias for days with measured                           132 Kang D, Mathur R, Pouliot GA, Gilliam RC,          of the U.S. For example, in the Upper
                                                 concentrations ≥60 ppb improved from                    Wong DC. Significant ground-level ozone attributed        Midwest, which includes monitoring
                                                 a 21.4 percent under prediction for May                 to lightning-induced nitrogen oxides during
                                                                                                                                                                   sites along Lake Michigan, the
                                                 and June to a 12.6 percent under                        summertime over the Mountain West States. NPJ
                                                                                                         Clim Atmos Sci. 2020 Jan 30;3:6. doi: 10.1038/            normalized mean bias improved from a
                                                 prediction in the period July through                   s41612–020–0108–2. PMID: 32181370; PMCID:                 19 percent under prediction to a 6.9
                                                 September. As described in the Air                      PMC7075249.                                               percent under prediction and in the
                                                 Quality Modeling Final Rule TSD, the                       133 Jaffe DA, Cooper OR, Fiore AM, Henderson
                                                                                                                                                                   Southwest region, which includes
                                                 seasonal pattern in bias in the Upper                   BH, Tonnesen GS, Russell AG, Henze DK, Langford
                                                                                                         AO, Lin M, Moore T. Scientific assessment of              monitoring sites in Denver and Salt
                                                 Midwest region improves somewhat                        background ozone over the U.S.: Implications for air      Lake City, normalized mean bias
                                                 gradually with time from the middle of                  quality management. Elementa (Wash DC).                   improved from a 13.6 percent under
                                                 May to the latter part of June. In view                 2018;6(1):56. doi: 10.1525/elementa.309. PMID:            prediction to a 4.8 percent under
                                                 of the seasonal pattern in bias in the                  30364819; PMCID: PMC6198683.
                                                                                                            134 Henderson, B.H., P. Dolwick, C. Jang, A., Eyth,    prediction.139 In all regions, the
                                                 Upper Midwest and in other regions of
                                                                                                         J. Vukovich, R. Mathur, C. Hogrefe, N. Possiel, G.
                                                 the U.S., EPA focused its investigation                 Pouliot, B. Timin, K.W. Appel, 2019. Global               modeling can be found in the Air Quality Modeling
                                                 of model performance on model inputs                    Sources of North American Ozone. Presented at the         Final Rule TSD.
                                                 that, by their nature, have the largest                 18th Annual Conference of the UNC Institute for the          137 I. Bey, D.J. Jacob, R.M. Yantosca, J.A. Logan,

                                                 temporal variation within the ozone                     Environment Community Modeling and Analysis               B.D. Field, A.M. Fiore, Q. Li, H.Y. Liu, L.J. Mickley,
                                                                                                         System (CMAS) Center, October 21–23, 2019.                M.G. Schultz. Global modeling of tropospheric
                                                 season. These inputs include emissions                     135 Mathur, R., Gilliam, R., Bullock, O.R., Roselle,   chemistry with assimilated meteorology: model
                                                 from biogenic sources and lightning                     S., Pleim, J., Wong, D., Binkowski, F., and 1 Streets,    description and evaluation. J. Geophys. Res.
                                                 NOX, and contributions from transport                   D.: Extending the applicability of the community          Atmos., 106 (2001), pp. 23073–23095, 10.1029/
                                                 of international anthropogenic                          multiscale air quality model to 2 hemispheric             2001jd000807.
                                                                                                         scales: motivation, challenges, and progress. In:            138 Henderson, B.H., P. Dolwick, C. Jang, A., Eyth,
                                                 emissions and natural sources into the                  Steyn DG, Trini S (eds) Air 3 pollution modeling          J. Vukovich, R. Mathur, C. Hogrefe, G., N. Possiel,
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                                                 U.S. Both biogenic and lightning NOX                    and its applications, XXI. Springer, Dordrecht, pp        B. Timin, K.W. Appel, 2022. Meteorological and
                                                                                                         175–179, 2012.                                            Emission Sensitivity of Hemispheric Ozone and
                                                   130 Christopher Emery, Zhen Liu, Armistead G.            136 Boundary conditions are the concentrations of      PM2.5. Presented at the 21st Annual Conference of
                                                 Russell, M. Talat Odman, Greg Yarwood & Naresh          pollutants along the north, east, south, and west         the UNC Institute for the Environment Community
                                                 Kumar (2017) Recommendations on statistics and          boundaries of the air quality modeling domain.            Modeling and Analysis System (CMAS) Center,
                                                 benchmarks to assess photochemical model                Boundary conditions vary in space and time and are        October 17–19, 2022.
                                                 performance, Journal of the Air & Waste                 typically obtained from predictions of global or             139 A comparison of model performance from the

                                                 Management Association, 67:5, 582–598, DOI:             hemispheric models. Information on how boundary           proposal modeling to the final modeling for
                                                 10.1080/10962247.1265027.                               conditions were developed for the final rule                                                          Continued




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                                                 normalized mean bias and normalized                     Emissions Modeling TSD. This TSD is                    updated to use the latest available
                                                 mean error statistics for high ozone days               available in the docket for this rule.141              versions of the Biogenic Emissions
                                                 based on the final rule modeling are                                                                           Inventory System and associated land
                                                                                                         1. Foundation Emissions Inventory Data
                                                 within the range of performance criteria                                                                       use data to help address comments
                                                                                                         Sets
                                                 benchmarks (i.e., < ±15 percent for                                                                            related to a degradation in model
                                                 normalized mean bias and <25 percent                       The 2016v3 emissions platform is                    performance in the 2016v2 platform as
                                                                                                         comprised of data from various sources                 compared to the 2016v1 platform.
                                                 for normalized mean error).140
                                                                                                         including data developed using models,                 Details on the construction of the
                                                 Additional information on model
                                                                                                         methods, and source datasets that                      inventories are available in the 2016v3
                                                 performance is provided in the Air                      became available in calendar years 2020
                                                 Quality Modeling Final Rule TSD. In                                                                            Emissions Modeling TSD. Details on
                                                                                                         through 2022, in addition to data                      how the EPA responded to comments
                                                 summary, EPA included emissions of                      retained from the Inventory
                                                 lightning NOX, as requested by                                                                                 related to emissions inventories are
                                                                                                         Collaborative 2016 version 1 (2016v1)                  available in the RTC document for this
                                                 commenters, and investigated and                        Emissions Modeling Platform, released                  rule.
                                                 addressed concerns about model                          in October 2019. The 2016v1 platform
                                                 performance for the final rule modeling.                was developed through a national                       2. Development of Emissions
                                                                                                         collaborative effort between the EPA                   Inventories for EGUs
                                                 C. Emissions Inventories
                                                                                                         and state and local agencies along with                a. EGU Emissions Inventories
                                                    The EPA developed emissions                          MJOs. The 2016v2 platform used to                      Supporting This Final Rule
                                                 inventories to support air quality                      support the proposed action included
                                                                                                         updated data from the 2017 NEI along                      Development of emissions inventories
                                                 modeling for this final rule, including                                                                        for annual NOX and SO2 emissions for
                                                 emissions estimates for EGUs, non-EGU                   with updates to models and methods as
                                                                                                         compared to 2016v1. The 2016v3                         EGUs in the 2016 base year inventory
                                                 point sources (i.e., stationary point                                                                          are based primarily on data from
                                                                                                         platform includes updates to the 2016v2
                                                 sources), stationary nonpoint sources,                                                                         continuous emissions monitoring
                                                                                                         platform implemented in response to
                                                 onroad mobile sources, nonroad mobile                                                                          systems (CEMS) and other monitoring
                                                                                                         comments along with other updates to
                                                 sources, other mobile sources, wildfires,               the 2016v2 platform such as corrections                systems allowed for use by qualifying
                                                 prescribed fires, and biogenic emissions                and the incorporation of updated data                  units under 40 CFR part 75, with other
                                                 that are not the direct result of human                 sources that became available prior to                 EGU pollutants estimated using
                                                 activities. The EPA’s air quality                       the 2016v3 inventories being developed.                emissions factors and annual heat input
                                                 modeling relies on this comprehensive                   Several commenters noted that the                      data reported to the EPA. For EGUs not
                                                 set of emissions inventories because                    2016v2 platform did not include NOX                    reporting under Part 75, the EPA used
                                                 emissions from multiple source                          emissions that resulted from lightning                 data submitted to the NEI by the state,
                                                 categories are needed to model ambient                  strikes. To address this, lightning NOX                local, and tribal agencies. The Air
                                                 air quality and to facilitate comparison                emissions were computed and included                   Emissions Reporting Rule (80 FR 8787;
                                                 of model outputs with ambient                           in the 2016v3 platform.                                February 19, 2015), requires that Type A
                                                 measurements.                                              For this final rule, the EPA developed              point sources large enough to meet or
                                                                                                         emissions inventories for the base year                exceed specific thresholds for emissions
                                                    Prior to air quality modeling, the                                                                          be reported to the EPA every year, while
                                                                                                         of 2016 and the projected years of 2023
                                                 emissions inventories were processed                                                                           the smaller Type B point sources must
                                                                                                         and 2026. The 2023 and 2026
                                                 into a format that is appropriate for the                                                                      only be reported to EPA every 3 years.
                                                                                                         inventories represent changes in activity
                                                 air quality model to use. To prepare the                                                                       Emissions data for EGUs that did not
                                                                                                         data and of predicted emissions
                                                 emissions inventories for air quality                   reductions from on-the-books actions,                  have data submitted to the NEI specific
                                                 modeling, the EPA processed the                         planned emissions control installations,               to the year 2016 were filled in with data
                                                 emissions inventories using the Sparse                  and promulgated Federal measures that                  from the 2017 NEI. For more
                                                 Matrix Operator Kernel Emissions                        affect anthropogenic emissions.142 The                 information on the details of how the
                                                 (SMOKE) Modeling System version 4.9                     2016 emissions inventories for the U.S.                2016 EGU emissions were developed
                                                 to produce the gridded, hourly,                         primarily include data derived from the                and prepared for air quality modeling,
                                                 speciated, model-ready emissions for                    2017 National Emissions Inventory                      see the 2016v3 Emissions Modeling
                                                 input to the air quality model.                         (2017 NEI) 143 and data specific to the                TSD.
                                                 Additional information on the                           year of 2016. The following sections                      The EPA projected 2023 and 2026
                                                 development of the emissions                            provide an overview of the construct of                baseline EGU emissions using the
                                                 inventories and on data sets used during                the 2016v3 emissions and projections.                  version 6—Updated Summer 2021
                                                 the emissions modeling process are                      The fire emissions were unchanged                      Reference Case of the Integrated
                                                 provided in the document titled,                        between the 2016v2 and 2016v3                          Planning Model (IPM). IPM, developed
                                                 ‘‘Technical Support Document (TSD):                     emissions platforms. For the 2016v3                    by ICF Consulting, is a state-of-the-art,
                                                 Preparation of Emissions Inventories for                platform, the biogenic emissions were                  peer-reviewed, multi-regional, dynamic,
                                                 the 2016v3 North American Emissions                                                                            deterministic linear programming model
                                                 Modeling Platform’’ (Jan. 2023),                          141 See 2016v3 Emissions Modeling TSD, also          of the contiguous U.S. electric power
                                                 hereafter known as the 2016v3                           available at https://www.epa.gov/air-emissions-        sector. It provides forecasts of least cost
                                                                                                         modeling/2016v3-platform.                              capacity expansion, electricity dispatch,
                                                                                                           142 Biogenic emissions and emissions from
                                                                                                                                                                and emissions control strategies while
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                                                 individual monitoring sites can be found in the         wildfires and prescribed fires were held constant
                                                 docket for this final rule.                             between 2016 and the future years because (1) these    meeting energy demand and
                                                   140 Christopher Emery, Zhen Liu, Armistead G.         emissions are tied to the 2016 meteorological          environmental, transmission, dispatch,
                                                 Russell, M. Talat Odman, Greg Yarwood & Naresh          conditions and (2) the focus of this rule is on the    and reliability constraints. The EPA has
                                                 Kumar (2017) Recommendations on statistics and          contribution from anthropogenic emissions to           used IPM for over two decades,
                                                 benchmarks to assess photochemical model                projected ozone nonattainment and maintenance.
                                                 performance, Journal of the Air & Waste                   143 https://www.epa.gov/air-emissions-               including all prior implemented CSAPR
                                                 Management Association, 67:5, 582–598, DOI:             inventories/2017-national-emissions-inventory-nei-     rulemakings, to better understand power
                                                 10.1080/10962247.1265027.                               technical-support-document-tsd.                        sector behavior under future business-


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                                                 as-usual conditions and to evaluate the                 (including renewable energy tax credit                    Both IPM and the Engineering
                                                 economic and emissions impacts of                       extensions from the Consolidated                       Analytics tools are valuable for
                                                 prospective environmental policies. The                 Appropriations Act of 2021) through                    estimating future EGU emissions and
                                                 model is designed to reflect electricity                early 2021 impacting SO2, NOX, directly                examining the cone of uncertainty
                                                 markets as accurately as possible. The                  emitted particulate matter, CO2, and                   around any future sector-level inventory
                                                 EPA uses the best available information                 power plant operations. It also includes               estimate. A key difference between the
                                                 from utilities, industry experts, gas and               final actions the EPA has taken to                     two tools is that IPM reflects both
                                                 coal market experts, financial                          implement the Regional Haze Rule and                   announced and projected changes in
                                                 institutions, and government statistics                 best available retrofit technology                     fleet operation, whereas the Engineering
                                                 as the basis for the detailed power sector              (BART) requirements. Documentation of                  Analytics tool only reflects announced
                                                 modeling in IPM. The model                              IPM version 6 and NEEDS, along with                    changes. By not including projected
                                                 documentation provides additional                       updates, is in Docket ID No. EPA–HQ–                   regional changes that are anticipated in
                                                 information on the assumptions                          OAR–2021–0668 and available online at                  response to market forces and fleet
                                                 discussed here as well as all other                     https://www.epa.gov/airmarkets/power-                  trends, the Engineering Analysis
                                                 model assumptions and inputs.144 The                    sector-modeling. IPM has projected                     deliberately creates future estimates of
                                                 EPA relied on the same model platform                   output years for 2023 and 2025. IPM                    the power sector where state estimates
                                                 at final as it did at proposal, but made                year 2025 outputs were adjusted for                    are limited to known changes.
                                                 substantial updates to reflect public                   known retirements to be reflective of                  Throughout all of the CSAPR rules to
                                                 comments on near-term fossil fuel                       year 2026, and IPM year 2030 outputs                   date, and prior interstate transport
                                                 market price volatility and updated fleet               were used for the year 2032 as is                      actions, the EPA has used IPM at Steps
                                                 information reflecting Summer 2022                      specified by the mapping of IPM output                 1 and 2 as it is best suited for projecting
                                                 U.S. Energy Information Agency (EIA)                    years to specific years.                               emissions in an airshed, at projecting
                                                 860 data, unit-level comments, and                         Additional 2023 through 2026 EGU                    emissions for time horizons more than
                                                 additional updates to the National                      emissions baseline levels were                         a few years out (for which changes
                                                 Electric Energy Data System (NEEDS)                     developed through engineering                          would not yet be announced and thus
                                                 inventory.                                                                                                     projecting changes is critical), and for
                                                                                                         analytics as an alternative approach that
                                                    The IPM version 6—Updated Summer                                                                            scenarios where the assumed change in
                                                                                                         did not involve IPM. The EPA
                                                 2021 Reference Case incorporated recent                                                                        emissions is not being codified into a
                                                                                                         developed this inventory for use in Step
                                                 updates through the Summer of 2022 to                                                                          state emissions reduction requirement.
                                                                                                         3 of this final rule, where it determines
                                                 account for updated Federal and state                                                                          Using IPM at Steps 1 and 2 helps the
                                                                                                         emissions reduction potential and
                                                 environmental regulations (including                                                                           EPA avoid overstating the current
                                                                                                         corresponding state-level emissions
                                                 Renewable Portfolio Standards (RPS),                                                                           analytic year receptor values (Step 1)
                                                                                                         budgets. IPM includes optimization and
                                                 Clean Energy Standards (CES) and other                                                                         and future year linkages (Step 2) by
                                                                                                         perfect foresight in solving for least cost
                                                 state mandates), fleet changes                                                                                 reflecting reductions anticipated to
                                                                                                         dispatch. Given that this final rule will
                                                 (committed EGU retirements and new                                                                             occur within the airshed in the relevant
                                                                                                         likely become effective immediately                    timeframe.
                                                 builds), electricity demand, technology                 prior to the start of the 2023 ozone
                                                 cost and performance assumptions from                                                                             Engineering analytics has been a
                                                                                                         season, the EPA adopted a similar                      useful tool for Step 3 state-level
                                                 recent data (for renewables adopting                    approach to the CSAPR Update and the
                                                 from National Renewable Energy Lab                                                                             emissions reduction estimates in CSAPR
                                                                                                         Revised CSAPR Update where it                          rulemaking, because at that step the
                                                 (NREL’s) Annual Technology Baseline                     utilized historical data and an
                                                 2020 and for fossil sources from EIA’s                                                                         EPA is dealing with more geographic
                                                                                                         engineering analytics approach in Step                 granularity (state-level as opposed to
                                                 Annual Energy Outlook (AEO) 2020.                       3 to avoid overstating optimization and
                                                 Natural gas and coal price projections                                                                         regional air shed), more near-term (as
                                                                                                         dispatch decisions in state-emissions                  opposed to medium-term) assessments,
                                                 reflect data developed in Fall 2020 but                 budget quantification that may not be
                                                 updated in summer of 2022 to capture                                                                           and scenarios where reduction estimates
                                                                                                         possible in a short time frame. The EPA                are codified into regulatory
                                                 near-term price volatility and current                  does this by starting with unit-level
                                                 market conditions. The inventory of                                                                            requirements. Using the Engineering
                                                                                                         reported data and only making                          Analytics tool at this step ensures that
                                                 EGUs provided as an input to the model                  adjustments to reflect known baseline
                                                 was the NEEDS fall 2022 version and is                                                                         the EPA is not codifying into the base
                                                                                                         changes such as planned retirements                    case, and consequently into state
                                                 available on EPA’s website.145 This                     and new builds (for the base case
                                                 version of NEEDS reflects announced                                                                            emissions budgets, changes in the
                                                                                                         scenarios) and also identified mitigation              power sector that are merely modeled to
                                                 retirements and under-construction new                  strategies for determining state
                                                 builds known as of early summer 2022.                                                                          occur rather than announced by real-
                                                                                                         emissions budgets. In both the CSAPR                   world actors.
                                                 This projected base case accounts for                   Update and in this rule at Step 3, the
                                                 the effects of the finalized Mercury and                                                                          Finally, both in the Revised CSAPR
                                                                                                         EPA complemented that projected IPM                    Update and in this rule, the EPA was
                                                 Air Toxics Standards rule, CSAPR, the                   EGU outlook with an historical (e.g.,                  able to use the Air Quality Assessment
                                                 CSAPR Update, the Revised CSAPR                         engineering analytics) perspective based               Tool to determine that regardless of
                                                 Update, NSR enforcement settlements,                    on historical data that only factors in                which EGU inventory is used, the 2023
                                                 the final ELG Rule, CCR Rule, and other                 known changes to the fleet. This 2023                  geography of the program is not
                                                 on-the-books Federal and state rules                    engineering analytics data set is                      impacted. In other words, regardless of
                                                                                                         described in more detail in the Ozone
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                                                   144 Detailed information and documentation of
                                                                                                                                                                whether a stakeholder takes a more
                                                 EPA’s Base Case, including all the underlying           Transport Policy Analysis Final Rule                   comprehensive view of the EGU future
                                                 assumptions, data sources, and architecture             TSD and corresponding Appendix A:                      (IPM) or one limited to current data and
                                                 parameters can be found on EPA’s website at:            State Emissions Budgets Calculations                   known changes (Engineering Analysis),
                                                 https://www.epa.gov/airmarkets/epas-power-sector-       and Underlying Data. The Engineering                   the states that are linked to receptors at
                                                 modeling-platform-v6-using-ipm-summer-2021-
                                                 reference-case.                                         Analysis used in Step 3 is also                        Steps 1 and 2 would be the same. This
                                                   145 Available at https://www.epa.gov/airmarkets/      discussed further in section VII.B of this             finding is consistent with the
                                                 national-electric-energy-data-system-needs-v6.          document.                                              observation that EGUs are now less than


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                                                 10 percent of the total ozone-season                    Additionally, at the time of the                       inform the modeling projections for
                                                 NOX inventory and the degree of near-                   proposal’s analysis, the 2023 ozone                    2023 and 2026 was conducted prior to
                                                 term difference between the IPM and                     season was still nearly two years away.                the passage of the Inflation Reduction
                                                 Engineering Analytic regional                           Therefore, it was appropriate for EPA’s                Act (IRA), Public Law 117–169. The
                                                 projections is relatively small on the                  modeling to project economic                           EPA did not have time to incorporate
                                                 regional level. The EPA continues to                    retirements as those retirements—which                 updated EGU projections reflecting the
                                                 believe that IPM is best suited for Step                are regularly occurring—are often not                  passage of the IRA into the primary air
                                                 1 and Step 2, and engineering analytics                 firm or announced two years in                         quality modeling for this final rule.
                                                 is best suited for Step 3 efforts in this               advance. However, for this final rule,                 However, the EPA was able to perform
                                                 rulemaking. The Ozone Transport                         the 2023 analytic year was close enough                a sensitivity analysis reflecting the IRA
                                                 Policy Analysis Final Rule TSD contains                 to the period in which EPA was                         in its EGU NOX emissions inventories.
                                                 data on 2023 and 2026 AQ impacts of                     conducting its analysis that such                      The results from this scenario were run
                                                 each dataset.                                           retirements would likely be announced.                 through AQAT and demonstrated that
                                                    Comment: Some commenters express                     Therefore, the EPA was able to                         the status of states identified as linked
                                                 concern that using IPM for Step 1 and                   incorporate those announced and firm                   at the 1 percent of NAAQS contribution
                                                 Step 2 captures generation shifting                     retirements to occur in the 2023 year.                 threshold (based on the modeling and
                                                 across state lines, which exceeds the                   Further, in recognition of this very near
                                                 EPA’s authority. Moreover, the                                                                                 air quality analysis described in this
                                                                                                         timeframe, we deactivated IPM’s ability
                                                 commenters suggest that the resulting                                                                          section) would not change regardless of
                                                                                                         to project additional economic
                                                 proposed baseline EGU inventory may                                                                            which inventory (with or without IRA)
                                                                                                         retirements for the 2023 year (reflecting
                                                 understate emissions levels as it projects              the notion that any retirements                        is used. This sensitivity analysis is
                                                 economic retirements that are not yet                   occurring by 2023 would be known at                    presented in the Regulatory Impact
                                                 announced or firm. Other commenters                     this point). This adjustment further                   Analysis accompanying this rule, and
                                                 more generally allege that the EPA is                   accommodates the commenters’ concern                   that discussion provides additional
                                                 using different modeling tools at                       that the baseline overstates generation                detail on the emissions consequences of
                                                 different steps in its analysis, and this               shifting (driven by retirements) in the                including the IRA in a baseline EGU
                                                 introduces confusion or uncertainty into                near term, and consequently understates                inventory. The air quality impact of
                                                 the basis for the EPA’s regulatory                      emissions levels. Finally, with respect                including the IRA in EPA’s emissions
                                                 conclusions.                                            to comments that the EPA is using                      inventories and in its Step 3 scenarios
                                                    Response: The EPA believes the first                 different modeling tools at different                  is discussed in Appendix K of the
                                                 aspect of this comment, in regards to its               steps in the framework, we previously                  Ozone Transport Policy Analysis Final
                                                 focus on generation shifting, is                        explained why these techniques are                     Rule TSD.
                                                 misguided in several ways. For Step 1                   appropriate for the purposes at each                      The results of this analysis are not
                                                 and Step 2, the EPA models no                           step of the analysis, and they are not                 surprising and accord with what is
                                                 incremental generation shifting                         incompatible nor do they produce                       generally understood to be the overall
                                                 attributable to the implementation of an                results so different as to call into                   effect of the IRA over the short to long
                                                 emissions control policy at Step 3.                     question their reliability or the bases for            term. While the IRA is anticipated to
                                                 Rather, any generation patterns are                     our regulatory determinations (EPA                     have a potentially dramatic effect on
                                                 merely a reflection of the model’s                      notes that the nationwide projected                    reducing both GHG and conventional
                                                 projection of how regional load                         ozone season total NOX emissions vary                  pollutant emissions from the power
                                                 requirements will be met with the                       by less than 1 percent in the 2023                     sector, it is likely to have a more
                                                 generation sources serving that region in               analytic year). Nonetheless, we also                   substantial impact later in the forecast
                                                 the baseline. The EPA is not modeling                   observe that the effect of using                       period (i.e., beyond the attainment
                                                 any additional generation shifting, but                 engineering analytics to inform analysis               deadlines by which the emissions
                                                 merely capturing the expected                           at Steps 1 and 2 would tend to produce
                                                 generation dispatch under anticipated                                                                          reductions under this final rule must
                                                                                                         higher assumed emissions from EGUs in                  occur). This timing reflects a realistic
                                                 baseline market conditions. Electricity                 the baseline than IPM would project in
                                                 generated in one state regularly is                                                                            assessment of utilities’, regulators’, and
                                                                                                         2026 and beyond and therefore only
                                                 transmitted across state boundaries and                                                                        transmission authorities’ planning
                                                                                                         strengthen and further affirm the Step 1
                                                 is used to serve load in other states; IPM                                                                     requirements associated with the
                                                                                                         and Step 2 geographic findings. EPA’s
                                                 is not incentivizing or requiring any                                                                          addition of substantial new renewable
                                                                                                         use of different tools to project EGU
                                                 additional generation transfer across                                                                          and storage capacity to the grid, as well
                                                                                                         scenarios is not inconsistent, but rather
                                                 state lines in this scenario but is merely              it is carefully explained as a deliberate              as the time needed to integrate that
                                                 projecting the pattern of this behavior in              measure taken to preserve—not                          capacity and retire existing capacity.
                                                 the future. Moreover, as noted                          introduce—consistency across each of                   Additionally, the IRA incentives span a
                                                 previously, the EPA affirms its                         the Steps in the 4-step framework. By                  longer time period (for example, certain
                                                 geographic findings at Step 2 (states                   using IPM at Step 1 and 2, EPA is                      tax incentives for clean energy sources
                                                 contributing over 1 percent of the                      selecting the more conservative                        are available until the later of 2032 or
                                                 NAAQS to a downwind receptor) using                     approach for identifying the degree of                 the year in which power sector
                                                 historical data (engineering analysis) in               nonattainment and geography of states                  emissions are 75 percent below 2022
                                                 a sensitivity analysis. These historical                contributing above 1 percent. By using                 levels) and therefore there is no IRA-
                                                                                                                                                                related deadline to build cleaner
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                                                 data reflect the actual generation                      Engineering Analytics at Step 3, EPA is
                                                 patterns observed to meet regional load.                selecting the more conservative value to               generation by 2026. Recent analysis by
                                                 Therefore, any suggestion by the                        codify into state-level budgets.                       the Congressional Budget Office
                                                 commenter that the EPA’s projected                                                                             supports the finding that the majority of
                                                 view of baseline grid dispatch is                       b. Impact of the Inflation Reduction Act               power sector EGU emissions reductions
                                                 unreasonable, is mooted by the fact that                on EGU Emissions                                       expected from the IRA occur well after
                                                 the use of historical reported generation                  The EGU modeling used to construct                  the 2023 and 2026 analytic years
                                                 patterns produces the same result.                      the EGU emissions inventories used to                  relevant to the attainment dates and this


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                                                 rulemaking.146 While the report focuses                 point source emissions carried forward                   rail energy use growth rate projections
                                                 on CO2 rather than NOX, the drivers of                  from 2014 NEI were not the best                          for 2023, and 2026 with the fleet mix
                                                 the emissions reductions (primarily                     estimates of 2017 emissions. Thus,                       assumed to be constant throughout the
                                                 increased zero-emitting generation)                     emissions sources in 2016v2 that had                     period.
                                                 would generally have a downward                         been projected from the 2014 NEI in the                     The EPA made multiple updates to
                                                 impact on both pollutants.                              proposal were replaced with emissions                    point source oil and gas emissions in
                                                    We note that important uncertainties                 based on the 2017 NEI. Point source                      response to comments. For the final
                                                 remain at this time in the                              emissions submitted to the 2016 NEI or                   rule, the point source oil and gas
                                                 implementation of the IRA that further                  to the 2016v1 platform development                       emissions for 2016 were based on the
                                                 counsel against over-assuming short-                    process specifically for the year 2016                   2016v2 point inventory except that most
                                                 term emissions reductions for purposes                  were retained in 2016v3. Other 2016                      2014 NEI-based emissions were
                                                 of this rule. The legislation provides                  non-EGU updates in 2016v3 include a                      replaced with 2017 NEI emissions.
                                                 economic incentives for shifting to                     few sources being moved to the EGU                       Additionally, in response to comments,
                                                 cleaner forms of power generation but                   inventory, the addition of some control                  state-provided emissions equivalent to
                                                 does not mandate emissions reductions                   efficiency information for the year 2016,                those in the 2016v1 platform were used
                                                 through an enforceable regulatory                       the replacement of most emissions                        for Colorado, and some New Mexico
                                                 program. The strength of those                          projected from 2014 NEI with data from                   emissions were replaced with data
                                                 incentives will vary to some extent                     2017 NEI, and the inclusion of point                     backcast from 2020 to 2016. To develop
                                                 depending on other key market factors                   source data for solvent processes that                   inventories for 2023 and 2026 for the
                                                 (such as the cost of natural gas or                     had not been included in the 2016v2                      final rule, the year 2016 oil and gas
                                                 renewable energy technologies).                         non-EGU inventory.                                       point source inventories were first
                                                 Further, some incentives, such as tax                      The 2023 and 2026 non-EGU point                       projected to 2021 values based on actual
                                                 credits for carbon capture and storage,                 source emissions were grown from 2016                    historical production data, then those
                                                 could lead EGUs to remain in operation                  to those years using factors based on the                2021 emissions were projected to 2023
                                                 longer, which could in turn result in                   AEO 2022 and reflect emissions                           and 2026 using regional projection
                                                 greater NOX emissions, if those                         reductions due to known national and                     factors based on AEO 2022 projections.
                                                 emissions are not also well controlled.                 local rules, control programs, plant                     This was an update from the proposal
                                                    Nonetheless, while we find that the                  closures, consent decrees, and                           approach that used actual data only
                                                 passage of the IRA does not affect the                  settlements that could be computed as                    through the year 2019, because 2021
                                                 geography of the rule in terms of which                 reductions to specific units by July                     data were not yet available. NOX and
                                                 states we identify as linked, the Agency                2022.                                                    VOC reductions resulting from co-
                                                                                                            Aircraft emissions and ground                         benefits of NSPS for Stationary
                                                 is confident that the incentives toward
                                                                                                         support equipment at airports are                        Reciprocating Internal Combustion
                                                 clean technology provided in the IRA
                                                                                                         represented as point sources and are                     Engines (RICE) are reflected, along with
                                                 will, in the longer run beyond the 2015
                                                                                                         based on adjustments to emissions in                     Natural Gas Turbine and Process Heater
                                                 ozone NAAQS attainment deadlines,
                                                                                                         the January 2021 version of the 2017                     NSPS NOX controls and Oil and Gas
                                                 facilitate ongoing EGU compliance with
                                                                                                         NEI. The EPA developed and applied                       NSPS VOC controls. In some cases, year
                                                 the emissions reduction requirements of
                                                                                                         factors to adjust the 2017 airport                       2019 point source inventory data were
                                                 this rule and will reduce costs borne by
                                                                                                         emissions to 2016, 2023 and 2026 based                   used instead of the projected future year
                                                 EGUs and their customers as the U.S.
                                                                                                         on activity growth projected by the                      emissions except for the Western
                                                 power sector transitions. As discussed
                                                                                                         Federal Aviation Administration                          Regional Air Partnership (WRAP) states
                                                 in greater detail in section VI.B of this
                                                                                                         Terminal Area Forecast 2021 147 data,                    of Colorado, New Mexico, Montana,
                                                 document, we have made several
                                                                                                         the latest available version at the time                 Wyoming, Utah, North Dakota, and
                                                 adjustments in the final rule to provide
                                                                                                         the factors were developed. By basing                    South Dakota. The WRAP future year
                                                 greater flexibility to EGU owners and
                                                                                                         the factors on the latest available                      inventory 148 was used in these WRAP
                                                 operators to integrate this rule’s
                                                                                                         Terminal Area Forecast that was                          states in all future years except in New
                                                 requirements with and facilitate the
                                                                                                         released following the most significant                  Mexico where the WRAP base year
                                                 accelerating transition to an overall
                                                                                                         pandemic impacts on the aviation                         emissions were projected using the EIA
                                                 cleaner electricity-generating sector,
                                                                                                         sector, the reduction and rebound                        historical and AEO forecasted
                                                 which the IRA represents. Despite the
                                                                                                         impacts of the pandemic on aircraft and                  production data. Estimated impacts
                                                 uncertainties inherent in the
                                                                                                         ground support equipment were                            from the New Mexico Administrative
                                                 implementation of the IRA at this time,
                                                                                                         reflected in the 2023 and 2026 airport                   code 20.2.50 149 were also included.
                                                 the EPA also has performed a sensitivity
                                                                                                         emissions.
                                                 analysis on the final rule to confirm that                                                                       4. Development of Emissions
                                                                                                            Emissions at rail yards were
                                                 our finding of no overcontrol is robust                                                                          Inventories for Onroad Mobile Sources
                                                                                                         represented as point sources. The 2016
                                                 to a future with the IRA in effect.
                                                                                                         rail yard emissions are largely                             Onroad mobile sources include
                                                 3. Development of Emissions                             consistent with the 2017 NEI rail yard                   exhaust, evaporative, and brake and tire
                                                 Inventories for Stationary Industrial                   emissions. The 2016 and 2023 rail yard                   wear emissions from vehicles that drive
                                                 Point Sources                                           emissions were developed through the                     on roads, parked vehicles, and vehicle
                                                   Non-EGU point source emissions are                    2016v1 Inventory Collaborative process,                  refueling. Emissions from vehicles using
                                                 mostly consistent with those in the                     with the 2026 emissions interpolated                     regular gasoline, high ethanol gasoline,
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                                                 proposal modeling except where they                     between the 2023 and 2028 emissions                      diesel fuel, and electric vehicles were
                                                 were updated in response to comments.                   from 2016v1 rail yard emissions were                     represented, along with buses that used
                                                 Several commenters mentioned that                       interpolated from the 2016 and 2023                      compressed natural gas. The EPA
                                                                                                         emissions. Class I rail yard emissions
                                                   146 ‘‘Emissions of Carbon Dioxide In the Electric     were projected based on the AEO freight                    148 http://www.wrapair2.org/pdf/WRAP_OGWG_

                                                 Power Sector,’’ Congressional Budget Office.                                                                     2028_OTB_RevFinalReport_05March2020.pdf.
                                                 December 2022. Available at https://www.cbo.gov/          147 https://www.faa.gov/data_research/aviation/          149 https://www.srca.nm.gov/parts/title20/

                                                 publication/58860.                                      taf/.                                                    20.002.0050.html.



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                                                 developed the onroad mobile source                      final rule modeling. The 2023 and 2026                 proposal. The nonroad mobile
                                                 emissions for states other than                         onroad mobile emissions were                           emissions control programs include
                                                 California using the EPA’s Motor                        computed within SMOKE by                               reductions to locomotives, diesel
                                                 Vehicle Emissions Simulator (MOVES).                    multiplying the respective emissions                   engines, and recreational marine
                                                 MOVES3 was released in November                         factors developed using MOVES with                     engines, along with standards for fuel
                                                 2020 and has been followed by some                      the year-specific activity data. Prior to              sulfur content and evaporative
                                                 minor releases that improved the usage                  computing the final rule emissions for                 emissions. A comprehensive list of
                                                 of the model but that do not have                       2023, the EPA made updates to some                     control programs included for mobile
                                                 substantive impacts on the emissions                    onroad inputs in response to comments                  sources is available in the 2016v3
                                                 estimates. For the proposal, MOVES3                     and to implement corrections.                          Emissions Modeling TSD.
                                                 was run using inputs provided by state                                                                            Line haul locomotives are also
                                                                                                         5. Development of Emissions                            considered a type of nonroad mobile
                                                 and local agencies through the 2017 NEI                 Inventories for Commercial Marine
                                                 where available, in combination with                                                                           source but the emissions inventories for
                                                                                                         Vessels                                                locomotives were not developed using
                                                 nationally available data sets to develop
                                                 a complete inventory. Onroad emissions                     The commercial marine vessel (CMV)                  MOVES3. Year 2016 locomotive
                                                 were developed based on emissions                       emissions in the 2016 base case                        emissions were developed through the
                                                 factors output from MOVES3 runs for                     emissions inventory for this rule were                 2016v1 collaborative process and the
                                                 the year 2016, coupled with activity                    based on those in the 2017 NEI. Factors                year 2016 emissions are mostly
                                                 data (e.g., vehicle miles traveled and                  were applied to adjust the 2017 NEI                    consistent with those in the 2017 NEI.
                                                 vehicle populations) representing the                   emissions backward to represent                        More information on the development
                                                 year 2016. The 2016 activity data were                  emissions for the year 2016. The CMV                   of the Class I, Class II and III, and
                                                 provided by some state and local                        emissions reflect reductions associated                commuter rail line haul locomotive
                                                 agencies through the 2016v1 process,                    with the Emissions Control Area                        emissions is available in the 2016v3
                                                 and the remaining activity data were                    proposal to the International Maritime                 Emissions Modeling TSD. The projected
                                                 derived from those used to develop the                  Organization control strategy (EPA–                    locomotive emissions for 2023 and 2026
                                                 2017 NEI. The onroad emissions were                     420–F–10–041, August 2010);                            were developed by applying factors to
                                                 computed within SMOKE by                                reductions of NOX, VOC, and CO                         the 2016 emissions using activity data
                                                 multiplying emissions factors developed                 emissions for new category 3 (C3)                      based on AEO freight rail energy use
                                                 using MOVES with the appropriate                        engines that went into effect in 2011;                 growth rate projections along with
                                                                                                         and fuel sulfur limits that went into                  emissions rates adjusted to account for
                                                 activity data. Prior to computing the
                                                                                                         effect prior to 2016. The cumulative                   recent historical trends. The emission
                                                 final rule emissions, updates to some
                                                                                                         impacts of these rules through 2023 and                factors used for NOX, PM10 and VOC for
                                                 onroad inputs were made in response to
                                                                                                         2026 were incorporated into the                        line haul locomotives in the analytic
                                                 comments and to implement
                                                                                                         projected emissions for CMV sources.                   years were derived from trend lines
                                                 corrections. Onroad mobile source
                                                                                                         The CMV emissions were split into                      based on historic line-haul emission
                                                 emissions for California were consistent
                                                                                                         emissions inventories from the larger C3               factors from the period of 2007 through
                                                 with the updated emissions data
                                                                                                         engines, and those from the smaller                    2017 and extrapolated to 2023 and 2026.
                                                 provided by the state for the final rule.
                                                                                                         category 1 and 2 (C1C2) engines. CMV
                                                    The 2023 and 2026 onroad emissions                   emissions in California are based on                   7. Development of Emissions
                                                 reflect projected changes to fuel                       emissions provided by the state. The                   Inventories for Nonpoint Sources
                                                 properties and usage, along with the                    CMV emissions are consistent with the                     For stationary nonpoint sources, some
                                                 impact of the rules included in                         emissions for the 2016v1 platform                      emissions in the 2016 base case
                                                 MOVES3 for each of those years.                         updated CMV emissions released by                      emissions inventory come directly from
                                                 MOVES emissions factors for the years                   February 2020 although they include                    the 2017 NEI, others were adjusted from
                                                 2023 and 2026 were used. A                              projected emissions for the years of                   the 2017 NEI to represent 2016 levels,
                                                 comprehensive list of control programs                  2023 and 2026 instead of 2023 and                      and the remaining emissions including
                                                 included for onroad mobile sources is                   2028. In addition, in response to                      those from oil and gas, fertilizer, and
                                                 available in the 2016v3 Emissions                       comments, the EPA implemented an                       solvents were computed specifically to
                                                 Modeling TSD. Year 2023 and 2026                        improved process for spatial allocating                represent 2016. Stationary nonpoint
                                                 activity data for onroad mobile sources                 CMV emissions along state and county                   sources include evaporative sources,
                                                 were provided by some state and local                   boundaries.                                            consumer products, fuel combustion
                                                 agencies, and otherwise were projected                                                                         that is not captured by point sources,
                                                 to 2023 and 2026 by first projecting the                6. Development of Emissions
                                                                                                                                                                agricultural livestock, agricultural
                                                 2016 activity to year 2019 based on                     Inventories for Other Nonroad Mobile
                                                                                                                                                                fertilizer, residential wood combustion,
                                                 county level vehicle miles traveled                     Sources
                                                                                                                                                                fugitive dust, and oil and gas sources.
                                                 (VMT) from the Federal Highway                             The EPA developed nonroad mobile                    The emissions sources derived from the
                                                 Administration. Because VMT for                         source emissions inventories (other than               2017 NEI include agricultural livestock,
                                                 onroad mobile sources were                              CMV, locomotive, and aircraft                          fugitive dust, residential wood
                                                 substantially impacted by the pandemic                  emissions) for 2016, 2023, and 2026                    combustion, waste disposal (including
                                                 and took about two years to rebound to                  from monthly, county, and process level                composting), bulk gasoline terminals,
                                                 pre-pandemic levels, in the 2016v3                      emissions output from MOVES3. Types                    and miscellaneous non-industrial
                                                 platform no growth in VMT was                           of nonroad equipment include
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                                                                                                                                                                sources such as cremation, hospitals,
                                                 implemented from 2019 to. The                           recreational vehicles, pleasure craft, and             lamp breakage, and automotive repair
                                                 estimated 2021 VMT were then grown                      construction, agricultural, mining, and                shops. A recent method to compute
                                                 from 2021 to 2023 and 2026 using AEO                    lawn and garden equipment. State-                      solvent VOC emissions was used.150
                                                 2022-based factors. Recent updates to                   submitted emissions data for nonroad                      Where comments were provided
                                                 inspection and maintenance programs                     sources were used for California. The                  about projected control measures or
                                                 in North Carolina and Tennessee were                    nonroad emissions for the final rule
                                                 reflected in the MOVES inputs for the                   were unchanged from those at the                        150 https://doi.org/10.5194/acp-21-5079-2021.




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                                                 changes in nonpoint source emissions,                   AEO forecasted production data.                           The Agency explained in the NOX SIP
                                                 those inputs were first reviewed by the                 Estimated impacts from the New Mexico                  Call and CAIR and then reaffirmed in
                                                 EPA. Those found to be based on                         Administrative Code 20.2.50 were                       the CSAPR Update that the EPA has the
                                                 reasonable data for affected emissions                  included.                                              most confidence in our projections of
                                                 sources were incorporated into the                                                                             nonattainment for those monitoring
                                                                                                         D. Air Quality Modeling To Identify
                                                 projected inventories for 2023 and 2026                                                                        sites that also measure nonattainment
                                                 to the extent possible. Where possible,                 Nonattainment and Maintenance
                                                                                                                                                                for the most recent period of available
                                                 projection factors based on the AEO                     Receptors
                                                                                                                                                                ambient data. The EPA separately
                                                 used data from AEO 2022, the most                          In this section, the Agency describes               identified maintenance receptors as
                                                 recent AEO at the time available at the                 the air quality modeling and analyses                  those monitoring sites that would have
                                                 time the inventories were developed.                    performed in Step 1 to identify locations              difficulty maintaining the relevant
                                                 Federal regulations that impact the                     where the Agency expects there to be                   NAAQS in a scenario that accounts for
                                                 nonpoint sources were reflected in the                  nonattainment or maintenance receptors                 historical variability in air quality at
                                                 inventories. Adjustments for state fuel                 for the 2015 ozone NAAQS in the 2023                   that site. The variability in air quality
                                                 sulfur content rules for fuel oil in the                and 2026 analytic years. Where the                     was determined by evaluating the
                                                 Northeast were included along with                      EPA’s analysis shows that an area or site              ‘‘maximum’’ future design value at each
                                                 solvent controls applicable within the                  does not fall under the definition of a                monitoring site based on a projection of
                                                 ozone transport region. Details are                     nonattainment or maintenance receptor                  the maximum measured design value
                                                 available in the 2016v3 Emissions                       in these analytic years, that site is                  over the relevant period. The EPA
                                                 Modeling TSD.                                           excluded from further analysis under                   interprets the projected maximum
                                                    Nonpoint oil and gas emissions                       this rule.                                             future design value to be a potential
                                                 inventories for many states were                           In the proposed rule, the EPA applied               future air quality outcome consistent
                                                 developed based on outputs from the                     the same approach used in the CSAPR                    with the meteorology that yielded
                                                 2017 NEI version of the EPA Oil and                     Update and the Revised CSAPR Update                    maximum measured concentrations in
                                                 Gas Tool using activity data for year                   to identify nonattainment and                          the ambient data set analyzed for that
                                                 2016. Production-related emissions data                 maintenance receptors for the 2008                     receptor (i.e., ozone conducive
                                                 from the 2017 NEI were used for                         ozone NAAQS.153 See 86 FR 23078–79.                    meteorology). The EPA also recognizes
                                                 Oklahoma, 2016v1 emissions were used                    The EPA’s approach gives independent                   that previously experienced
                                                 for Colorado and for Texas production-                  effect to both the ‘‘contribute                        meteorological conditions (e.g.,
                                                 related sources to response to                          significantly to nonattainment’’ and the               dominant wind direction, temperatures,
                                                 comments. Data for production-related                   ‘‘interfere with maintenance’’ prongs of               and air mass patterns) promoting ozone
                                                 nonpoint oil and gas emissions in the                   section 110(a)(2)(D)(i)(I), consistent with            formation that led to maximum
                                                 states of Colorado, Montana, New                        the D.C. Circuit’s direction in North                  concentrations in the measured data
                                                 Mexico, North Dakota, South Dakota,                     Carolina.154 Further, in its decision on               may reoccur in the future. The
                                                 Utah, and Wyoming were obtained from                    the remand of the CSAPR from the                       maximum design value gives a
                                                 the WRAP baseline inventory.151 A                       Supreme Court in the EME Homer City                    reasonable projection of future air
                                                 California Air Resources Board-                         case, the D.C. Circuit confirmed that                  quality at the receptor under a scenario
                                                 provided inventory was used for 2016                    EPA’s approach to identifying                          in which such conditions do, in fact,
                                                 oil and gas emissions in California.                    maintenance receptors in the CSAPR                     reoccur.156 The projected maximum
                                                 Nonpoint oil and gas inventories for                    comported with the court’s prior                       design value is used to identify upwind
                                                 2023 and 2026 were developed by first                   instruction to give independent                        emissions that, under those
                                                 projecting the 2016 oil and gas                         meaning to the ‘‘interfere with                        circumstances, could interfere with the
                                                 inventories to 2021 values based on                     maintenance’’ prong in the good                        downwind area’s ability to maintain the
                                                 actual production data. Next, those 2021                neighbor provision. EME Homer City II,                 NAAQS.
                                                 emissions were projected to 2023 and                    795 F.3d at 136.                                          Therefore, applying this methodology
                                                 2026 using regional projection factors by                                                                      in this rule, the EPA assessed the
                                                 product type based on AEO 2022                             In the CSAPR Update and the Revised
                                                                                                         CSAPR Update, the EPA identified                       magnitude of the projected maximum
                                                 projections. A 2017–2019 average                                                                               design values for 2023 and 2026 at each
                                                 inventory was used for oil and natural                  nonattainment receptors as those
                                                                                                         monitoring sites that are projected to                 monitoring site in relation to the 2015
                                                 gas exploration emissions in 2023 and                                                                          ozone NAAQS and, where such a value
                                                 2026 except for California and in the                   have average design values that exceed
                                                                                                         the NAAQS and that are also measuring                  exceeds the NAAQS, the EPA
                                                 WRAP states in which data from the                                                                             determined that receptor to be a
                                                 WRAP future year inventory 152 were                     nonattainment based on the most recent
                                                                                                         monitored design values. This approach                 ‘‘maintenance’’ receptor for purposes of
                                                 used. NOX and VOC reductions that are                                                                          defining interference with maintenance,
                                                                                                         is consistent with prior transport
                                                 co-benefits to the NSPS for RICE are                                                                           consistent with the method used in
                                                                                                         rulemakings, such as the NOX SIP Call
                                                 reflected, along with Natural Gas                                                                              CSAPR and upheld by the D.C. Circuit
                                                 Turbines and Process Heaters NSPS                       and CAIR, where the EPA defined
                                                                                                         nonattainment receptors as those areas                 in EME Homer City II.157 That is,
                                                 NOX controls and NSPS Oil and Gas
                                                                                                         that both currently monitor
                                                 VOC controls. The WRAP future year
                                                                                                         nonattainment and that the EPA projects                reasonable EPA’s approach to defining
                                                 inventory was used for oil and natural                                                                         nonattainment in CAIR).
                                                                                                         will be in nonattainment in the future
                                                 gas production sources in 2023 and                                                                               156 The EPA’s air quality modeling guidance
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                                                                                                         compliance year.155
                                                 2026 except in New Mexico where the                                                                            identifies the use of the highest of the relevant base
                                                 WRAP Base year emissions were                                                                                  period design values as a means to evaluate future
                                                                                                           153 See 86 FR 23078–79.                              year attainment under meteorological conditions
                                                 projected using the EIA historical and                    154 531 F.3d at 910–911 (holding that the EPA        that are especially conducive to ozone formation.
                                                                                                         must give ‘‘independent significance’’ to each prong   See U.S. Environmental Protection Agency, 2018.
                                                   151 http://www.wrapair2.org/pdf/WRAP_OGWG_            of CAA section 110(a)(2)(D)(i)(I)).                    Modeling Guidance for Demonstrating Attainment
                                                 Report_Baseline_17Sep2019.pdf.                            155 See 63 FR 57375, 57377 (October 27, 1998); 70    of Air Quality Goals for Ozone, PM2.5, and Regional
                                                   152 http://www.wrapair2.org/pdf/WRAP_OGWG_            FR 25241 (January 14, 2005). See also North            Haze, Research Triangle Park, NC.
                                                 2028_OTB_RevFinalReport_05March2020.pdf.                Carolina, 531 F.3d at 913–914 (affirming as              157 See 795 F.3d at 136.




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                                                 monitoring sites with a maximum                         Commenters noted that a number of                      Moreover, 2023 is so near in time that
                                                 design value that exceeds the NAAQS                     monitoring sites that are projected to be              recent measured ozone levels can be
                                                 are projected to have maintenance                       below the NAAQS in 2023 based on the                   used to reasonably project whether an
                                                 problems in the future analytic years.158               EPA’s modeling for the proposed action                 air quality problem is likely to persist.
                                                   Recognizing that nonattainment                        are currently measuring nonattainment                  We view this approach to identifying
                                                 receptors are also, by definition,                      based on data from 2020 and 2021. One                  additional receptors in 2023 as the best
                                                 maintenance receptors, the EPA often                    commenter requested that the EPA                       means of responding to the comments
                                                 uses the term ‘‘maintenance-only’’ to                   determine whether its past modeling                    on this issue in this action, while also
                                                 refer to receptors that are not also                    tends to overestimate or underestimated                identifying all transport receptors.
                                                 nonattainment receptors. Consistent                     actual observed design values. If EPA
                                                                                                                                                                   For purposes of this action, we treat
                                                 with the concepts for maintenance                       finds that the agency’s model tends to
                                                                                                                                                                these violating monitors as an
                                                 receptors, as described previously, the                 underestimate future year design values,
                                                 EPA identifies ‘‘maintenance-only’’                                                                            additional type of maintenance-only
                                                                                                         the commenter requests that EPA re-run
                                                 receptors as those monitoring sites that                                                                       receptor. Because our modeling did not
                                                                                                         its ozone modeling, incorporating
                                                 have projected average design values                                                                           identify these sites as receptors, we do
                                                                                                         parameters that account for this
                                                 above the level of the applicable                                                                              not believe it is sufficiently certain that
                                                                                                         tendency.
                                                 NAAQS, but that are not currently                                                                              these sites will be in nonattainment
                                                                                                            Response: In response to comments,
                                                 measuring nonattainment based on the                    the EPA compared the projected 2023                    such that they should be considered
                                                 most recent official design values. In                  design values based on the proposal                    nonattainment receptors. Rather, our
                                                 addition, those monitoring sites with                   modeling to recent trends in measured                  authority for treating these sites as
                                                 projected average design values below                   data. As a result of this analysis, the                receptors in 2023 flows from the
                                                 the NAAQS, but with projected                           EPA agrees that current data indicate                  responsibility in CAA section
                                                 maximum design values above the                         that there are monitoring sites at risk of             110(a)(2)(i)(I) to prohibit emissions that
                                                 NAAQS are also identified as                            continued nonattainment in 2023 even                   interfere with maintenance of the
                                                 ‘‘maintenance only’’ receptors, even if                 though the model projected average and                 NAAQS. See, e.g., North Carolina, 531
                                                 they are currently measuring                            maximum design values at these sites                   F.3d at 910–11 (failing to give effect to
                                                 nonattainment based on the most recent                  are below the NAAQS (i.e., sites that are              the interfere with maintenance clause
                                                 official design values.159                              not modeling-based receptors). It would                ‘‘provides no protection for downwind
                                                   Comment: The EPA received                             not be reasonable to ignore recent                     areas that, despite EPA’s predictions,
                                                 comments claiming that the projected                    measured ozone levels in many areas                    still find themselves struggling to meet
                                                 design values for 2023 were biased low                  that are clearly not fully consistent with             NAAQS due to upwind interference
                                                 compared to recent measured data.                       certain concentrations in the Step 1                   . . . .’’) (emphasis added). Recognizing
                                                                                                         analysis for 2023. Therefore, the EPA                  that no modeling can perfectly forecast
                                                    158 The EPA issued a memorandum in October
                                                                                                         has also developed an additional                       the future, and ‘‘a degree of imprecision
                                                 2018, providing additional information to states
                                                                                                         maintenance-only receptor category,                    is inevitable in tackling the problem of
                                                 developing interstate transport SIP submissions for                                                            interstate air pollution,’’ this approach
                                                 the 2015 8-hour ozone NAAQS concerning                  which includes what we refer to as
                                                 considerations for identifying downwind areas that      ‘‘violating monitor’’ receptors, based on              in the Agency’s judgement best balances
                                                 may have problems maintaining the standard at           current ozone concentrations measured                  the need to avoid both ‘‘under-control’’
                                                 Step 1 of the 4-step interstate transport framework.
                                                                                                         by regulatory ambient air quality                      and ‘‘overcontrol,’’ EME Homer City,
                                                 See Considerations for Identifying Maintenance                                                                 572 U.S. at 523.
                                                 Receptors for Use in Clean Air Act Section              monitoring sites.
                                                 110(a)(2)(D)(i)(I) Interstate Transport State              Specifically, the EPA has identified                   We acknowledge that the traditional
                                                 Implementation Plan Submissions for the 2015            monitoring sites with measured 2021                    modeling plus monitoring methodology
                                                 Ozone National Ambient Air Quality Standards,
                                                                                                         and preliminary 2022 design values and                 we used at proposal and in prior ozone
                                                 October 19, 2018 (‘‘October 2018 memorandum’’),
                                                 available in Docket No. EPA–HQ–OAR–2021–0668            4th high maximum daily 8-hour average                  transport rules would otherwise have
                                                 or at https://www.epa.gov/airmarkets/memo-and-          (MDA8) ozone in both 2021 and 2022                     identified such sites as being in
                                                 supplemental-information-regarding-interstate-          (preliminary data) that exceed the                     attainment in 2023. Despite the
                                                 transport-sips-2015-ozone-naaqs. EPA is not             NAAQS, although projected to be in                     implications of the current measured
                                                 applying the suggested analytical approaches in
                                                 that memorandum in this rule, nor would those           attainment in 2023, as having the                      data suggesting there will be a
                                                 approaches be appropriate in light of currently         greatest risk of continuing to have a                  nonattainment problem at these sites in
                                                 available data. Potential alternative approaches        problem attaining the standard in 2023.                2023, we cannot definitively establish
                                                 would introduce unnecessary and substantial             These criteria sufficiently consider                   that such sites will be in nonattainment
                                                 additional analytical burdens that could frustrate
                                                 timely and efficient implementation of good
                                                                                                         measured air quality data so as to avoid               in 2023 in light of our modeling
                                                 neighbor obligations. In addition, the information      including monitoring sites that have                   projections. In the face of this
                                                 supplied in that memorandum is now outdated due         measured nonattainment data in recent                  uncertainty, we regard our ability to
                                                 to several additional years of air quality monitoring   years but could reasonably be                          consider such sites as receptors for
                                                 data and updated modeling results. EPA’s current        anticipated to not have a nonattainment                purposes of good neighbor analysis
                                                 approach to defining ‘‘maintenance’’ receptors has
                                                 been upheld and continues to provide an                 or maintenance problem in 2023, in line                under CAA section 110(a)(2)(D)(i)(I) to
                                                 appropriate approach to addressing the                  with our modeling results. Our                         be a function of the requirement to
                                                 ‘‘interference with maintenance’’ prong of the Good     methodology is intended only to                        prohibit emissions that interfere with
                                                 Neighbor provision. See EME Homer City, 795 F.3d        identify those sites that have sufficiently            maintenance of the NAAQS; even if an
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                                                 118, 136–37; Wisconsin, 938 F.3d at 325–26.
                                                    159 See https://www.epa.gov/air-trends/air-
                                                                                                         poor ozone levels that there is clearly a              area may be technically in attainment,
                                                 quality-design-values for design value reports. At
                                                                                                         reasonable expectation that an ozone                   we have reliable information indicating
                                                 the time of this action, the most recent reports        nonattainment or maintenance problem                   that there is an identified risk that
                                                 available are for the calendar year 2021.               will persist in the 2023 ozone season.                 attainment will not in fact be achieved.




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                                                    However, because we did not identify                    The ozone predictions from the 2016                  WRF meteorological model those grid
                                                 this basis for receptor-identification at               and future year air quality model                       cells that are greater than 50 percent
                                                 proposal, in this final action we are only              simulations were used to project 2016–                  overwater are treated as being 100
                                                 using this receptor category on a                       2018 average and maximum ozone                          percent overwater. In such cases the
                                                 confirmatory basis. That is, for states                 design values to 2023 and 2026 using an                 meteorological conditions in the entire
                                                 that we find linked based on our                        approach similar to the approach in                     grid cell reflect the vertical mixing and
                                                 traditional modeling-based methodology                  EPA’s guidance for attainment                           winds over water, even if part of the
                                                 in 2023, we find in this final analysis                 demonstration modeling. This guidance                   grid cell also happens to be over land
                                                 that the linkage at Step 2 is strengthened              recommends using model predictions                      with land-based emissions, as can often
                                                 and confirmed if that state is also linked              from the 3 x 3 array of grid cells 161                  be the case for coastal areas. Overlaying
                                                 to one or more ‘‘violating monitor’’                    surrounding the location of the                         land-based emissions with overwater
                                                 receptors. If a state is only linked to a               monitoring site to calculate a Relative                 meteorology may be representative of
                                                 violating-monitor receptor in this final                Response Factor (RRF) for that site.162                 conditions at coastal monitors during
                                                 analysis, we are deferring taking final                 However, the guidance also notes that                   times of on-shore flow associated with
                                                 action on that state’s SIP submittal. This              an alternative array of grid cells may be               synoptic conditions or sea-breeze or
                                                 is the case for the State of Tennessee.                 used in certain situations where local                  lake-breeze wind flows. But there may
                                                 Among the states that previously had                    topographic or geographical feature                     be other times, particularly with off-
                                                 their transport SIPs fully approved for                 (e.g., a large water body or a significant              shore wind flow, when vertical mixing
                                                 the 2015 ozone NAAQS, the EPA has                       elevation change) may influence model                   of land-based emissions may be too
                                                 also identified a linkage to violating-                 response.                                               limited due to the presence of overwater
                                                 monitor receptors for the State of                         The 2016–2018 base period average                    meteorology. Thus, for our modeling the
                                                 Kansas. The EPA intends to further                      and maximum design values were                          EPA projected average and maximum
                                                 review its air quality modeling results                 multiplied by the RRF to project each of                design values at individual monitoring
                                                 and recent measured ozone levels, and                   these design values to each of the three                sites based on both the ‘‘3 × 3’’ approach
                                                 we intend to address these states’ good                 future years. In this manner, the                       as well as the alternative approach that
                                                 neighbor obligations as expeditiously as                projected design values are grounded in                 eliminates overwater cells in the RRF
                                                 practicable in a future action.                         monitored data, and not the absolute                    calculation for near-coastal areas (i.e.,
                                                                                                         model-predicted future year                             ‘‘no water’’ approach). The projected
                                                 E. Methodology for Projecting Future                    concentrations. Following the approach                  2023 and 2026 design values using both
                                                 Year Ozone Design Values                                in the CSAPR Update and the Revised                     the ‘‘3 × 3’’ and ‘‘no-water’’ approaches
                                                    Consistent with the EPA’s modeling                   CSAPR Update, the EPA also projected                    are provided in the docket for this final
                                                 guidance, the 2016 base year and future                 future year design values based on a                    rule. For this final rule, the EPA is
                                                 year air quality modeling results were                  modified version of the ‘‘3 × 3’’                       relying upon design values based on the
                                                 used in a relative sense to project design              approach for those monitoring sites                     ‘‘no water’’ approach for identifying
                                                 values for 2023 and 2026. That is, the                  located in coastal areas. In this                       nonattainment and maintenance
                                                 ratios of future year model predictions                 alternative approach, the EPA                           receptors.164
                                                 to base year model predictions are used                 eliminated from the RRF calculations                       Consistent with the truncation and
                                                 to adjust ambient ozone design                          the modeling data in those grid cells                   rounding procedures for the 8-hour
                                                 values 160 up or down depending on the                  that are dominated by water (i.e., more                 ozone NAAQS, the projected design
                                                 relative (percent) change in model                      than 50 percent of the area in the grid
                                                                                                                                                                 values are truncated to integers in units
                                                 predictions for each location. The                      cell is water) and that do not contain a
                                                                                                                                                                 of ppb.165 Therefore, projected design
                                                 modeling guidance recommends using                      monitoring site (i.e., if a grid cell is more
                                                                                                                                                                 values that are greater than or equal to
                                                 measured ozone concentrations for the                   than 50 percent water but contains an
                                                                                                                                                                 71 ppb are considered to be violating
                                                 5-year period centered on the base year                 air quality monitor, that cell would
                                                                                                                                                                 the 2015 ozone NAAQS. For those sites
                                                 as the air quality data starting point for              remain in the calculation). The choice of
                                                                                                                                                                 that are projected to be violating the
                                                 future year projections. This average                   more than 50 percent of the grid cell
                                                                                                                                                                 NAAQS based on the average design
                                                 design value is used to dampen the                      area as water as the criteria for
                                                                                                                                                                 values in the future analytic years, the
                                                 effects of inter-annual variability in                  identifying overwater grid cells is based
                                                                                                                                                                 Agency examined the measured design
                                                 meteorology on ozone concentrations                     on the treatment of land use in the
                                                                                                         Weather Research and Forecasting                        values for 2021, which are the most
                                                 and to provide a reasonable projection                                                                          recent official measured design values at
                                                                                                         model (WRF).163 Specifically, in the
                                                 of future air quality at the receptor                                                                           the time of this final rule. As noted
                                                 under average conditions. In addition,                     161 As noted in this section, each model grid cell   earlier, the Agency is identifying
                                                 the Agency calculated maximum design                    is 12 x 12 km.                                          nonattainment receptors in this
                                                 values from within the 5-year base                         162 The relative response factor represents the      rulemaking as those sites that are
                                                 period to represent conditions when                     change in ozone at a given site. To calculate the       violating the NAAQS based on current
                                                 meteorology is more favorable than                      RRF, the EPA’s modeling guidance recommends
                                                                                                         selecting the 10 highest ozone days in an ozone            164 Using design values from the ‘‘3 × 3’’
                                                 average for ozone formation. Because                    season at a given monitor in the base year, noting
                                                 the base year for the air quality                       which of the grid cells surrounding the monitor         approach, the maintenance-only receptor at site
                                                                                                         experienced the highest ozone concentrations in the     550590019 in Kenosha County, WI would become
                                                 modeling used in this final rule is 2016,                                                                       a nonattainment receptor because the average
                                                                                                         base year, and averaging those ten highest
                                                 measured data for 2014–2018 (i.e.,                      concentrations. The model is then run using the         design value with the ‘‘3 × 3’’ approach is 72.0 ppb
                                                 design values for 2016, 2017, and 2018)                 projected year emissions, in this case 2023, with all   versus 70.8 ppb with the ‘‘no water’’ approach. In
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                                                 were used to project average and                        other model variables held constant. Ozone              addition, the maintenance-only receptor at site
                                                                                                         concentrations from the same ten days, in the same      090099002 in New Haven County, CT would
                                                 maximum design values in 2023 and                                                                               become a nonattainment receptor using the ‘‘3 × 3’’
                                                                                                         grid cells, are then averaged. The fractional change
                                                 2026.                                                   between the base year (2016 model run) average          approach because the average design value with the
                                                                                                         ozone concentration and the future year (e.g., 2023     ‘‘3 × 3’’ approach is 71.2 ppb versus 70.5 ppb with
                                                   160 The ozone design value at a particular            model run) average ozone concentration represents       the ‘‘no water’’ approach.
                                                 monitoring site is the 3-year average of the annual     the relative response factor.                              165 40 CFR part 50, appendix P—Interpretation of

                                                 4th highest daily maximum 8-hour ozone                     163 https://www.mmm.ucar.edu/weather-research-       the Primary and Secondary National Ambient Air
                                                 concentration at that site.                             and-forecasting-model.                                  Quality Standards for Ozone.



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                                                 measured air quality and also have                              maintenance receptors because the                              the 2023 base case average and
                                                 projected average design values of 71                           maximum design values for each of                              maximum design values and the
                                                 ppb or greater. Maintenance-only                                these sites is always greater than or                          measured 2021 design values for the
                                                 receptors include both (1) those sites                          equal to the average design value. The                         sites that are projected to be
                                                 with projected average design values                            monitoring sites that the Agency                               nonattainment receptors in 2023. Table
                                                 above the NAAQS that are currently                              projects to be nonattainment and                               IV.D–2 contains this same information
                                                 measuring clean data (i.e., ozone design                        maintenance receptors for the ozone                            for monitoring sites that are projected to
                                                 values below the level of the 2015 ozone                        NAAQS in the 2023 and 2026 base case                           be maintenance-only receptors in 2023.
                                                 NAAQS) and (2) those sites with                                 are used for assessing the contribution                        The design values for all monitoring
                                                 projected average design values below                           of emissions in upwind states to                               sites in the U.S. are provided in the
                                                                                                                 downwind nonattainment and
                                                 the level of the NAAQS, but with                                                                                               docket for this rule. Additional details
                                                                                                                 maintenance of the 2015 ozone NAAQS
                                                 projected maximum design values of 71                           as part of this final rule.166                                 on the approach for projecting average
                                                 ppb or greater. In addition to the                                Table IV.D–1 contains the 2016-                              and maximum design values are
                                                 maintenance-only receptors, ozone                               centered 167 base period average and                           provided in the Air Quality Modeling
                                                 nonattainment receptors are also                                maximum 8-hour ozone design values,                            Final Rule TSD.

                                                   TABLE IV.D–1—AVERAGE AND MAXIMUM 2016-CENTERED AND 2023 BASE CASE 8-HOUR OZONE DESIGN VALUES AND
                                                                     2021 DESIGN VALUES (ppb) AT PROJECTED NONATTAINMENT RECEPTORS
                                                                                                                                                               2016         2016            2023          2023
                                                              Monitor ID                              State                     County                        Centered     Centered                                        2021
                                                                                                                                                                                           Average       Maximum
                                                                                                                                                              average      maximum

                                                 060650016    ....................................   CA          Riverside .............................            79.0         80.0            72.2           73.1              78
                                                 060651016    ....................................   CA          Riverside .............................            99.7        101.0            91.0           92.2              95
                                                 080350004    ....................................   CO          Douglas ...............................            77.3           78            71.3           71.9              83
                                                 080590006    ....................................   CO          Jefferson ..............................           77.3           78            72.8           73.5              81
                                                 080590011    ....................................   CO          Jefferson ..............................           79.3           80            73.5           74.1              83
                                                 090010017    ....................................   CT          Fairfield ................................         79.3           80            71.6           72.2              79
                                                 090013007    ....................................   CT          Fairfield ................................         82.0           83            72.9           73.8              81
                                                 090019003    ....................................   CT          Fairfield ................................         82.7           83            73.3           73.6              80
                                                 481671034    ....................................   TX          Galveston ............................             75.7           77            71.5           72.8              72
                                                 482010024    ....................................   TX          Harris ...................................         79.3           81            75.1           76.7              74
                                                 490110004    ....................................   UT          Davis ...................................          75.7           78            72.0           74.2              78
                                                 490353006    ....................................   UT          Salt Lake .............................            76.3           78            72.6           74.2              76
                                                 490353013    ....................................   UT          Salt Lake .............................            76.5           77            73.3           73.8              76
                                                 551170006    ....................................   WI          Sheboygan ..........................               80.0           81            72.7           73.6              72


                                                   TABLE IV.D–2—AVERAGE AND MAXIMUM 2016-CENTERED AND 2023 BASE CASE 8-HOUR OZONE DESIGN VALUES AND
                                                                   2021 DESIGN VALUES (ppb) AT PROJECTED MAINTENANCE-ONLY RECEPTORS
                                                                                                                                                               2016         2016            2023          2023
                                                              Monitor ID                              State                     County                        Centered     Centered                                        2021
                                                                                                                                                                                           Average       Maximum
                                                                                                                                                              average      maximum

                                                 040278011    ....................................   AZ          Yuma ...................................           72.3           74            70.4           72.1              67
                                                 080690011    ....................................   CO          Larimer ................................           75.7           77            70.9           72.1              77
                                                 090099002    ....................................   CT          New Haven ..........................               79.7           82            70.5           72.6              82
                                                 170310001    ....................................   IL          Cook ....................................          73.0           77            68.2           71.9              71
                                                 170314201    ....................................   IL          Cook ....................................          73.3           77            68.0           71.5              74
                                                 170317002    ....................................   IL          Cook ....................................          74.0           77            68.5           71.3              73
                                                 350130021    ....................................   NM          Dona Ana ............................              72.7           74            70.8           72.1              80
                                                 350130022    ....................................   NM          Dona Ana ............................              71.3           74            69.7           72.4              75
                                                 350151005    ....................................   NM          Eddy ....................................          69.7           74            69.7           74.1              77
                                                 350250008    ....................................   NM          Lea ......................................         67.7           70            69.8           72.2              66
                                                 480391004    ....................................   TX          Brazoria ...............................           74.7           77            70.4           72.5              75
                                                 481210034    ....................................   TX          Denton .................................           78.0           80            69.8           71.6              74
                                                 481410037    ....................................   TX          El Paso ................................           71.3           73            69.8           71.4              75
                                                 482010055    ....................................   TX          Harris ...................................         76.0           77            70.9           71.9              77
                                                 482011034    ....................................   TX          Harris ...................................         73.7           75            70.1           71.3              71
                                                 482011035    ....................................   TX          Harris ...................................         71.3           75            67.8           71.3              71
                                                 530330023    ....................................   WA          King .....................................         73.3           77            67.6           71.0              64
                                                 550590019    ....................................   WI          Kenosha ..............................             78.0           79            70.8           71.7              74
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                                                 551010020    ....................................   WI          Racine .................................           76.0           78            69.7           71.5              73

                                                   166 In addition, there are 71 monitoring sites in             The two exceptions are the two monitoring sites                  167 2016-centered averaged design values

                                                 California with projected 2023 maximum design                   that represent air quality impacts to lands of the             represent the average of the design values for 2016,
                                                 values above the NAAQS. With two exceptions, as                 Morongo and Pechanga tribes. As explained in                   2017, and 2018. Similarly, the maximum 2016-
                                                 described in section IV.F of this document, the                 footnote 110 supra, we treat these as transport                centered design value is the highest measured
                                                 Agency is not making a determination in this action             receptors that are impacted by emissions from
                                                                                                                                                                                design value from these three design value periods.
                                                 that these monitors are ozone transport receptors.              California.



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                                                    In total, in the 2023 base case there                        the greatest risk of continuing to have a                   NAAQS. See, e.g., North Carolina, 531
                                                 are a total of 33 projected modeling-                           problem attaining the standard in 2023,                     F.3d at 910–11 (failing to give effect to
                                                 based receptors nationwide including                            even when the modeling projects these                       the interfere with maintenance clause
                                                 14 nonattainment receptors in 9                                 sites will attain. These criteria are                       ‘‘provides no protection for downwind
                                                 different counties and 19 maintenance-                          sufficiently conservative that we avoid                     areas that, despite EPA’s predictions,
                                                 only receptors in 13 additional counties                        including monitoring sites that have                        still find themselves struggling to meet
                                                 (Harris County, TX, has both                                    measured nonattainment data in recent                       NAAQS due to upwind interference
                                                 nonattainment and maintenance-only                              years but could reasonably be                               . . . .’’) (emphasis added). Recognizing
                                                 receptors).168 Of the 14 nonattainment                          anticipated to not have a nonattainment                     that no modeling can perfectly forecast
                                                 receptors in 2023, 7 remain                                     or maintenance problem in 2023, in line                     the future, and ‘‘a degree of imprecision
                                                 nonattainment receptors, 5 are projected                        with our modeling results. Our                              is inevitable in tackling the problem of
                                                 to become maintenance-only receptors                            methodology is intended only to                             interstate air pollution,’’ this approach
                                                 and 2 are projected to be in attainment                         identify those sites that have sufficiently                 in the Agency’s judgement best balances
                                                 in 2026. Of the 19 maintenance-only                             poor ozone levels that there is clearly a                   the need to avoid both ‘‘under-control’’
                                                 receptors in 2023, 7 are projected to                           reasonable expectation that an ozone                        and ‘‘overcontrol,’’ EME Homer City,
                                                 remain maintenance-only receptors and                           nonattainment or maintenance problem                        572 U.S. at 523.
                                                 12 are projected to be in attainment in                         will persist in the 2023 ozone season.
                                                 2026. The projected average and                                 We do not apply this methodology for                           In this action, we identify ‘‘violating
                                                 maximum design values in 2026 for all                           the 2026 analytic year, because that year                   monitor’’ maintenance-only receptors
                                                 receptors are included in the Air                               is sufficiently farther in the future that                  for purposes of more firmly establishing
                                                 Quality Modeling Final Rule TSD.                                we do not believe there would be a                          that the states we have otherwise
                                                    Comment: EPA received comments                               reasonable basis to supplement our                          identified as linked at Step 2 in our
                                                 saying that the projected design values                         modeling analysis with this ‘‘violating                     modeling-based methodology can
                                                 for 2023 were biased low compared to                            monitor’’ methodology. By comparison,                       indeed be reasonably anticipated to be
                                                 recent measured data. Commenters                                2023 is so near in time that recent                         linked to air quality problems in
                                                 noted that a number of monitoring sites                         measured ozone levels can be used                           downwind states in 2023 for reasons
                                                 that are projected to be below the                              reasonably to project whether an air                        that extend beyond that methodology. In
                                                 NAAQS in 2023 based on EPA’s                                    quality problem is likely to persist. We                    this sense, this approach is
                                                 modeling for the proposed rule are                              view this approach to identifying                           ‘‘confirmatory’’ and does not alter the
                                                 currently measuring nonattainment.                              additional receptors in 2023 as the best                    geography of the final rule compared to
                                                 Because 2023 is only a year later than                          means of responding to the comments                         the application of the modeling-based
                                                 the most recent measured data some                              on this issue in this action. The                           receptor definitions used at proposal.
                                                 commenters said that EPA should give                            monitoring sites that meet these criteria,                  Rather, it strengthens the analytical
                                                 greater weight to measured data when                            along with the corresponding measured                       basis for our Step 2 findings by
                                                 identifying downwind receptors.                                 and modeled data, are provided in Table                     establishing that many upwind states
                                                    Response: Based on an analysis of                            IV.D–3.                                                     covered in this action are also projected
                                                 model projections for 2023 and recent                              For purposes of this action, we will                     to contribute above 1 percent of the
                                                 trends in measured data, the EPA agrees                         treat these sites as an additional type of                  NAAQS to these types of receptors. For
                                                 that current data indicate that there are                       maintenance-only receptor. Because our                      purposes of this final rule, we will not
                                                 monitoring sites at risk of continued                           modeling did not identify these sites as                    finalize FIPs for any states that this
                                                 nonattainment in 2023 even though the                           receptors, we do not believe it is                          analysis indicates contribute greater
                                                 model projected average and maximum                             sufficiently certain that these sites will                  than 1 percent of the NAAQS only to a
                                                 design values at these sites are below                          be in nonattainment that they should be                     ‘‘violating monitor’’ receptor. Our
                                                 the NAAQS (i.e., sites that are not                             considered nonattainment receptors for                      analysis suggests this would be the case
                                                 modeling-based receptors).169                                   purposes of this final rule. Rather, our                    for two states, Kansas and Tennessee
                                                 Specifically, the EPA believes that                             authority for treating these sites as                       (see section IV.F of this document).170
                                                 monitoring sites with measured design                           receptors in 2023 flows from the                            We are making no final decisions with
                                                 values and 4th high maximum daily 8-                            responsibility in CAA section                               respect to these states in this action and
                                                 hour average (MDA8) ozone based on                              110(a)(2)(i)(I) to prohibit emissions that                  intend to address these states in a
                                                 2021 and preliminary 2022 data have                             interfere with maintenance of the                           subsequent action.

                                                   TABLE IV.D–3—AVERAGE AND MAXIMUM 2023 BASE CASE 8-HOUR OZONE, AND 2021 AND PRELIMINARY 2022 DESIGN
                                                                     VALUES (ppb) AND 4TH HIGH CONCENTRATIONS AT VIOLATING MONITORS
                                                                                                                                                 2023           2023                                     2021          2022 P
                                                           Monitor ID                    State                     County                                                   2021        2022 P *
                                                                                                                                                Average        Maximum                                 4th high        4th high

                                                 40070010 ..........................   AZ           Gila ....................................        67.9           69.5         77             76              75             74

                                                   168 The EPA’s modeling also projects that three               the Uinta Basin’s wintertime ozone are sources              modeling-based receptors listed in Table IV.D–1
                                                 monitoring sites in the Uintah Basin (i.e., monitor             located at low elevations within the Basin, the             and Table IV.D–2 to the 2021 design values
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                                                 490472003 in Uintah County, Utah, and monitors                  Basin’s unique topography, and the influence of the         measured at these sites indicates that the projected
                                                 490130002 and 490137011 in Duchesne County,                     wintertime meteorologic inversions that keep ozone          maximum values are lower than the measured data
                                                 Utah) will have average design values above the                 and ozone precursors near the Basin floor and               at most receptors. These differences are particularly
                                                 NAAQS in 2023. However, as noted in the proposed
                                                                                                                 restrict air flow in the Basin. Because of the              evident at receptors in coastal Connecticut and in
                                                 rule, the Uinta Basin nonattainment area was
                                                 designated as nonattainment for the 2015 ozone                  localized nature of the ozone problem at these sites        Denver. (See Air Quality Modeling Final Rule TSD
                                                 NAAQS not because of an ongoing problem with                    the EPA has not identified these three monitors as          for details).
                                                 summertime ozone (as is usually the case in other               receptors in Step 1 of this final rule.                        170 We have not conducted an analysis in this
                                                                                                                   169 In addition, we note that comparing the               action to determine whether violating-monitor
                                                 parts of the country), but instead because it violates
                                                 the ozone NAAQS in winter. The main causes of                   projected 2023 maximum design values at                     receptors may exist in California.



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                                                   TABLE IV.D–3—AVERAGE AND MAXIMUM 2023 BASE CASE 8-HOUR OZONE, AND 2021 AND PRELIMINARY 2022 DESIGN
                                                                VALUES (ppb) AND 4TH HIGH CONCENTRATIONS AT VIOLATING MONITORS—Continued
                                                                                                                                              2023           2023                                     2021         2022 P
                                                           Monitor ID                    State                  County                                                   2021       2022 P *
                                                                                                                                             Average        Maximum                                 4th high       4th high

                                                 40130019 ..........................   AZ         Maricopa ...........................            69.8           70.0        75              77             78             76
                                                 40131003 ..........................   AZ         Maricopa ...........................            70.1           70.7        80              80             83             78
                                                 40131004 ..........................   AZ         Maricopa ...........................            70.2           70.8        80              81             81             77
                                                 40131010 ..........................   AZ         Maricopa ...........................            68.3           69.2        79              80             80             78
                                                 40132001 ..........................   AZ         Maricopa ...........................            63.8           64.1        74              78             79             81
                                                 40132005 ..........................   AZ         Maricopa ...........................            69.6           70.5        78              79             79             77
                                                 40133002 ..........................   AZ         Maricopa ...........................            65.8           65.8        75              75             81             72
                                                 40134004 ..........................   AZ         Maricopa ...........................            65.7           66.6        73              73             73             71
                                                 40134005 ..........................   AZ         Maricopa ...........................            62.3           62.3        73              75             79             73
                                                 40134008 ..........................   AZ         Maricopa ...........................            65.6           66.5        74              74             74             71
                                                 40134010 ..........................   AZ         Maricopa ...........................            63.8           66.9        74              76             77             75
                                                 40137020 ..........................   AZ         Maricopa ...........................            67.0           67.0        76              77             77             75
                                                 40137021 ..........................   AZ         Maricopa ...........................            69.8           70.1        77              77             78             75
                                                 40137022 ..........................   AZ         Maricopa ...........................            68.2           69.1        76              78             76             79
                                                 40137024 ..........................   AZ         Maricopa ...........................            67.0           67.9        74              76             74             77
                                                 40139702 ..........................   AZ         Maricopa ...........................            66.9           68.1        75              77             72             77
                                                 40139704 ..........................   AZ         Maricopa ...........................            65.3           66.2        74              77             76             76
                                                 40139997 ..........................   AZ         Maricopa ...........................            70.5           70.5        76              79             82             76
                                                 40218001 ..........................   AZ         Pinal ..................................        67.8           69.0        75              76             73             77
                                                 80013001 ..........................   CO         Adams ...............................           63.0           63.0        72              77             79             75
                                                 80050002 ..........................   CO         Arapahoe ...........................            68.0           68.0        80              80             84             73
                                                 80310002 ..........................   CO         Denver ...............................          63.6           64.8        72              74             77             71
                                                 80310026 ..........................   CO         Denver ...............................          64.5           64.8        75              77             83             72
                                                 90079007 ..........................   CT         Middlesex ..........................            68.7           69.0        74              73             78             73
                                                 90110124 ..........................   CT         New London ......................               65.5           67.0        73              72             75             71
                                                 170310032 ........................    IL         Cook ..................................         67.3           69.8        75              75             77             72
                                                 170311601 ........................    IL         Cook ..................................         63.8           64.5        72              73             72             71
                                                 181270024 ........................    IN         Porter ................................         63.4           64.6        72              73             72             73
                                                 260050003 ........................    MI         Allegan ..............................          66.2           67.4        75              75             78             73
                                                 261210039 ........................    MI         Muskegon ..........................             67.5           68.4        74              79             75             82
                                                 320030043 ........................    NV         Clark ..................................        68.4           69.4        73              75             74             74
                                                 350011012 ........................    NM         Bernalillo ...........................          63.8           66.0        72              73             76             74
                                                 350130008 ........................    NM         Dona Ana ..........................             65.6           66.3        72              76             79             78
                                                 361030002 ........................    NY         Suffolk ...............................         66.2           68.0        73              74             79             74
                                                 390850003 ........................    OH         Lake ..................................         64.3           64.6        72              74             72             76
                                                 480290052 ........................    TX         Bexar .................................         67.1           67.8        73              74             78             72
                                                 480850005 ........................    TX         Collin .................................        65.4           66.0        75              74             81             73
                                                 481130075 ........................    TX         Dallas ................................         65.3           66.5        71              71             73             72
                                                 481211032 ........................    TX         Denton ...............................          65.9           67.7        76              77             85             77
                                                 482010051 ........................    TX         Harris .................................        65.3           66.3        74              73             83             72
                                                 482010416 ........................    TX         Harris .................................        68.8           70.4        73              73             78             71
                                                 484390075 ........................    TX         Tarrant ...............................         63.8           64.7        75              76             76             77
                                                 484391002 ........................    TX         Tarrant ...............................         64.1           65.7        72              77             76             80
                                                 484392003 ........................    TX         Tarrant ...............................         65.2           65.9        72              72             74             72
                                                 484393009 ........................    TX         Tarrant ...............................         67.5           68.1        74              75             75             75
                                                 490571003 ........................    UT         Weber ................................          69.3           70.3        71              74             77             71
                                                 550590025 ........................    WI         Kenosha ............................            67.6           70.7        72              73             72             71
                                                 550890008 ........................    WI         Ozaukee ............................            65.2           65.8        71              72             72             72
                                                   * 2022 preliminary design values are based on 2022 measured MDA8 concentrations provided by state air agencies to the EPA’s Air Quality
                                                 System (AQS), as of January 3, 2023.


                                                 F. Pollutant Transport From Upwind                            states on downwind nonattainment and                       emissions and boundary conditions to
                                                 States                                                        maintenance receptors for 8-hour ozone.                    fully characterize culpable sources.
                                                                                                               CAMx employs enhanced source                                  The EPA performed nationwide, state-
                                                 1. Air Quality Modeling To Quantify                                                                                      level ozone source apportionment
                                                 Upwind State Contributions                                    apportionment techniques that track the
                                                                                                               formation and transport of ozone from                      modeling using the CAMx Ozone
                                                   This section documents the                                  specific emissions sources and                             Source Apportionment Technology/
                                                 procedures the EPA used to quantify the                       calculates the contribution of sources                     Anthropogenic Precursor Culpability
                                                 impact of emissions from specific                                                                                        Analysis (OSAT/APCA) technique 171 to
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                                                                                                               and precursors to ozone for individual
                                                 upwind states on ozone design values in                       receptor locations. The benefit of the                     quantify the contribution of 2023 and
                                                 2023 and 2026 for the identified                                                                                         2026 base case NOX and VOC emissions
                                                                                                               photochemical model source
                                                 downwind nonattainment and                                                                                               from all sources in each state to the
                                                                                                               apportionment technique is that all
                                                 maintenance receptors. The EPA used                           modeled ozone at a given receptor                            171 As part of this technique, ozone formed from
                                                 CAMx photochemical source                                     location in the modeling domain is                         reactions between biogenic VOC and NOX with
                                                 apportionment modeling to quantify the                        tracked back to specific sources of                        anthropogenic NOX and VOC are assigned to the
                                                 impact of emissions in specific upwind                                                                                   anthropogenic emissions.



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                                                 corresponding projected ozone design                                             • Fires—combined emissions from                                               (1) Calculate the 8-hour average
                                                 values in 2023 and 2026 at air quality                                        wild and prescribed fires domain-wide                                         contribution from each source tag to
                                                 monitoring sites. The CAMx OSAT/                                              (i.e., not by state); and                                                     each monitoring site for the time period
                                                 APCA model run was performed for the                                             • Offshore—combined emissions                                              of the 8-hour daily maximum modeled
                                                 period May 1 through September 30                                             from offshore marine vessels and                                              concentrations in 2023;
                                                 using the projected future base case                                          offshore drilling platforms.                                                     (2) Average the contributions and
                                                 emissions and 2016 meteorology for this                                          The contribution modeling provided                                         average the concentrations for the top 10
                                                 time period. In the source                                                    contributions to ozone from                                                   modeled ozone concentration days in
                                                 apportionment modeling the Agency                                             anthropogenic NOX and VOC emissions                                           2023;
                                                 tracked (i.e., tagged) the amount of                                          in each state, individually. The                                                 (3) Divide the average contribution by
                                                 ozone formed from anthropogenic                                               contributions to ozone from chemical                                          the corresponding average concentration
                                                 emissions in each state individually as                                       reactions between biogenic NOX and                                            to obtain a Relative Contribution Factor
                                                 well as the contributions from other                                          VOC emissions were modeled and                                                (RCF) for each monitoring site;
                                                 sources (e.g., natural emissions).                                            assigned to the ‘‘biogenic’’ category. The                                       (4) Multiply the 2023 average design
                                                                                                                               contributions from wildfire and
                                                    In the state-by-state source                                                                                                                             values by the 2023 RCF at each site to
                                                                                                                               prescribed fire NOX and VOC emissions
                                                 apportionment model runs, the EPA                                                                                                                           produce the average contribution metric
                                                                                                                               were modeled and assigned to the
                                                 tracked the ozone formed from each of                                                                                                                       values in 2023.172
                                                                                                                               ‘‘fires’’ category. That is, the
                                                 the following tags:                                                                                                                                            This same approach was applied to
                                                                                                                               contributions from the ‘‘biogenic’’ and
                                                    • States—anthropogenic NOX and                                             ‘‘fires’’ categories are not assigned to                                      calculate contribution metric values at
                                                 VOC emissions from each state tracked                                         individual states nor are they included                                       individual monitoring sites for 2026.173
                                                 individually (emissions from all                                              in the state contributions.                                                      The resulting contributions from each
                                                 anthropogenic sectors in a given state                                           For the Step 2 analysis, the EPA                                           tag to each monitoring site in the U.S.
                                                 were combined);                                                               calculated a contribution metric that                                         for 2023 and 2026 can be found in the
                                                    • Biogenics—biogenic NOX and VOC                                           considers the average contribution on                                         docket for this final rule. Additional
                                                 emissions domain-wide (i.e., not by                                           the 10 highest ozone concentration days                                       details on the source apportionment
                                                 state);                                                                       (i.e., top 10 days) in 2023. This average                                     modeling and the procedures for
                                                                                                                               contribution metric is intended to                                            calculating contributions can be found
                                                    • Boundary Concentrations—                                                                                                                               in the Air Quality Modeling Final Rule
                                                 concentrations transported into the air                                       provide a reasonable representation of
                                                                                                                               the contribution from individual states                                       TSD. The EPA’s response to comments
                                                 quality modeling domain;                                                                                                                                    on the method for calculating the
                                                                                                                               to projected future year design values,
                                                    • Tribes—the emissions from those                                          based on modeled transport patterns                                           contribution metric can be found in the
                                                 tribal lands for which the Agency has                                         and other meteorological conditions                                           RTC document for this final rule.
                                                 point source inventory data in the                                            generally associated with modeled high                                           The largest contribution from each
                                                 2016v3 emissions modeling platform                                            ozone concentrations at the receptor. An                                      state that is the subject of this rule to
                                                 (EPA did not model the contributions                                          average contribution metric constructed                                       modeled 8-hour ozone nonattainment
                                                 from individual tribes);                                                      in this manner is beneficial since the                                        and maintenance receptors in
                                                    • Canada and Mexico—                                                       magnitude of the contributions is                                             downwind states in 2023 and 2026 are
                                                 anthropogenic emissions from sources                                          directly related to the magnitude of the                                      provided in Table IV.F–1 and Table
                                                 in the portions of Canada and Mexico                                          design value at each site.                                                    IV.F–2, respectively. The largest
                                                 included in the modeling domain (the                                             The analytic steps for calculating the                                     contribution from each state to a
                                                 EPA did not model the contributions                                           contribution metric for the 2023 analytic                                     ‘‘violating monitor’’ maintenance-only
                                                 from Canada and Mexico separately);                                           year are as follows:                                                          receptor is provided in Table IV.F–3.

                                                 TABLE IV.F–1—LARGEST CONTRIBUTION TO DOWNWIND 8-HOUR OZONE NONATTAINMENT AND MAINTENANCE RECEPTORS
                                                                                               IN 2023
                                                                                                                                                                [ppb]

                                                                                                                                                                                                                        Largest                 Largest
                                                                                                                                                                                                                     contribution to         contribution to
                                                                                                                      Upwind state                                                                                     downwind                downwind
                                                                                                                                                                                                                     nonattainment          maintenance-only
                                                                                                                                                                                                                       receptors               receptors

                                                 Alabama ...................................................................................................................................................                       0.75                    0.65
                                                 Arizona .....................................................................................................................................................                     0.54                    1.69
                                                 Arkansas ..................................................................................................................................................                       0.94                    1.21
                                                 California ..................................................................................................................................................                    35.27                    6.31
                                                 Colorado ..................................................................................................................................................                       0.14                    0.18
                                                 Connecticut ..............................................................................................................................................                        0.01                    0.01
                                                 Delaware ..................................................................................................................................................                       0.44                    0.56
                                                 District of Columbia .................................................................................................................................                            0.03                    0.04
                                                 Florida ......................................................................................................................................................                    0.50                    0.54
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                                                 Georgia ....................................................................................................................................................                      0.18                    0.17
                                                 Idaho ........................................................................................................................................................                    0.42                    0.41
                                                 Illinois .......................................................................................................................................................                 13.89                   19.09

                                                   172 Note that a contribution metric value was not                           County, Washington (530330023), was the only                                  for 2026 are based on the 2026 daily contributions
                                                 calculated for any receptor at which there were                               receptor which did not meet this criterion.                                   for the same days that were used to calculate the
                                                 fewer than 5 days with model-predicted MDA8                                     173 To provide consistency in the contributions                             contribution metric values for 2023.
                                                 ozone concentrations greater than or equal to 60
                                                                                                                               for 2023 and 2026, the contribution metric values
                                                 ppb in 2023. The monitoring site in Seattle, King



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                                                 TABLE IV.F–1—LARGEST CONTRIBUTION TO DOWNWIND 8-HOUR OZONE NONATTAINMENT AND MAINTENANCE RECEPTORS
                                                                                          IN 2023—Continued
                                                                                                                                                                [ppb]

                                                                                                                                                                                                                       Largest              Largest
                                                                                                                                                                                                                    contribution to      contribution to
                                                                                                                      Upwind state                                                                                    downwind             downwind
                                                                                                                                                                                                                    nonattainment       maintenance-only
                                                                                                                                                                                                                      receptors            receptors

                                                 Indiana .....................................................................................................................................................                   8.90               10.03
                                                 Iowa .........................................................................................................................................................                  0.67                0.90
                                                 Kansas .....................................................................................................................................................                    0.46                0.52
                                                 Kentucky ..................................................................................................................................................                     0.84                0.79
                                                 Louisiana ..................................................................................................................................................                    9.51                5.62
                                                 Maine .......................................................................................................................................................                   0.02                0.01
                                                 Maryland ..................................................................................................................................................                     1.13                1.28
                                                 Massachusetts .........................................................................................................................................                         0.33                0.15
                                                 Michigan ...................................................................................................................................................                    1.59                1.56
                                                 Minnesota ................................................................................................................................................                      0.36                0.85
                                                 Mississippi ................................................................................................................................................                    1.32                0.91
                                                 Missouri ....................................................................................................................................................                   1.87                1.39
                                                 Montana ...................................................................................................................................................                     0.08                0.10
                                                 Nebraska ..................................................................................................................................................                     0.20                0.36
                                                 Nevada .....................................................................................................................................................                    1.11                1.13
                                                 New Hampshire .......................................................................................................................................                           0.10                0.02
                                                 New Jersey ..............................................................................................................................................                       8.38                5.79
                                                 New Mexico .............................................................................................................................................                        0.36                1.59
                                                 New York .................................................................................................................................................                     16.10               11.29
                                                 North Carolina ..........................................................................................................................................                       0.45                0.66
                                                 North Dakota ............................................................................................................................................                       0.18                0.45
                                                 Ohio .........................................................................................................................................................                  2.05                1.98
                                                 Oklahoma .................................................................................................................................................                      0.79                1.01
                                                 Oregon * ...................................................................................................................................................                    0.46                0.31
                                                 Pennsylvania ............................................................................................................................................                       6.00                4.36
                                                 Rhode Island ............................................................................................................................................                       0.04                0.01
                                                 South Carolina .........................................................................................................................................                        0.16                0.18
                                                 South Dakota ...........................................................................................................................................                        0.05                0.08
                                                 Tennessee ...............................................................................................................................................                       0.60                0.68
                                                 Texas .......................................................................................................................................................                   1.03                4.74
                                                 Utah .........................................................................................................................................................                  1.29                0.98
                                                 Vermont ...................................................................................................................................................                     0.02                0.01
                                                 Virginia .....................................................................................................................................................                  1.16                1.76
                                                 Washington ..............................................................................................................................................                       0.16                0.09
                                                 West Virginia ............................................................................................................................................                      1.37                1.49
                                                 Wisconsin .................................................................................................................................................                     0.21                2.86
                                                 Wyoming ..................................................................................................................................................                      0.68                0.67


                                                 TABLE IV.F–2—LARGEST CONTRIBUTION TO DOWNWIND 8-HOUR OZONE NONATTAINMENT AND MAINTENANCE RECEPTORS
                                                                                               IN 2026
                                                                                                                                                                [ppb]

                                                                                                                                                                                                                       Largest              Largest
                                                                                                                                                                                                                    contribution to      contribution to
                                                                                                                      Upwind state                                                                                    downwind             downwind
                                                                                                                                                                                                                    nonattainment       maintenance-only
                                                                                                                                                                                                                      receptors            receptors

                                                 Alabama ...................................................................................................................................................                     0.20                0.69
                                                 Arizona .....................................................................................................................................................                   0.44                1.34
                                                 Arkansas ..................................................................................................................................................                     0.53                1.16
                                                 California ..................................................................................................................................................                  34.03                6.16
                                                 Colorado ..................................................................................................................................................                     0.04                0.17
                                                 Connecticut ..............................................................................................................................................                      0.00                0.01
                                                 Delaware ..................................................................................................................................................                     0.43                0.41
                                                 District of Columbia .................................................................................................................................                          0.03                0.02
                                                 Florida ......................................................................................................................................................                  0.46                0.17
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                                                 Georgia ....................................................................................................................................................                    0.13                0.16
                                                 Idaho ........................................................................................................................................................                  0.27                0.36
                                                 Illinois .......................................................................................................................................................                0.63               13.57
                                                 Indiana .....................................................................................................................................................                   1.06                8.53
                                                 Iowa .........................................................................................................................................................                  0.14                0.62
                                                 Kansas .....................................................................................................................................................                    0.14                0.42
                                                 Kentucky ..................................................................................................................................................                     0.79                0.76
                                                 Louisiana ..................................................................................................................................................                    4.57                9.37



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                                                 TABLE IV.F–2—LARGEST CONTRIBUTION TO DOWNWIND 8-HOUR OZONE NONATTAINMENT AND MAINTENANCE RECEPTORS
                                                                                          IN 2026—Continued
                                                                                                                                                                [ppb]

                                                                                                                                                                                                                            Largest                      Largest
                                                                                                                                                                                                                         contribution to              contribution to
                                                                                                                      Upwind state                                                                                         downwind                     downwind
                                                                                                                                                                                                                         nonattainment               maintenance-only
                                                                                                                                                                                                                           receptors                    receptors

                                                 Maine .......................................................................................................................................................                               0.00                  0.01
                                                 Maryland ..................................................................................................................................................                                 1.06                  0.92
                                                 Massachusetts .........................................................................................................................................                                     0.06                  0.31
                                                 Michigan ...................................................................................................................................................                                1.39                  1.47
                                                 Minnesota ................................................................................................................................................                                  0.15                  0.32
                                                 Mississippi ................................................................................................................................................                                0.29                  1.15
                                                 Missouri ....................................................................................................................................................                               0.29                  1.68
                                                 Montana ...................................................................................................................................................                                 0.06                  0.07
                                                 Nebraska ..................................................................................................................................................                                 0.09                  0.19
                                                 Nevada .....................................................................................................................................................                                0.67                  0.90
                                                 New Hampshire .......................................................................................................................................                                       0.01                  0.09
                                                 New Jersey ..............................................................................................................................................                                   8.10                  7.04
                                                 New Mexico .............................................................................................................................................                                    0.35                  0.46
                                                 New York .................................................................................................................................................                                 12.65                 12.34
                                                 North Carolina ..........................................................................................................................................                                   0.40                  0.42
                                                 North Dakota ............................................................................................................................................                                   0.09                  0.17
                                                 Ohio .........................................................................................................................................................                              1.95                  1.93
                                                 Oklahoma .................................................................................................................................................                                  0.19                  0.74
                                                 Oregon * ...................................................................................................................................................                                0.26                  0.41
                                                 Pennsylvania ............................................................................................................................................                                   5.47                  4.94
                                                 Rhode Island ............................................................................................................................................                                   0.00                  0.03
                                                 South Carolina .........................................................................................................................................                                    0.14                  0.15
                                                 South Dakota ...........................................................................................................................................                                    0.03                  0.04
                                                 Tennessee ...............................................................................................................................................                                   0.24                  0.54
                                                 Texas .......................................................................................................................................................                               0.48                  4.34
                                                 Utah .........................................................................................................................................................                              1.05                  0.81
                                                 Vermont ...................................................................................................................................................                                 0.01                  0.02
                                                 Virginia .....................................................................................................................................................                              1.09                  1.10
                                                 Washington ..............................................................................................................................................                                   0.10                  0.14
                                                 West Virginia ............................................................................................................................................                                  1.36                  1.34
                                                 Wisconsin .................................................................................................................................................                                 0.17                  0.18
                                                 Wyoming ..................................................................................................................................................                                  0.40                  0.59


                                                      TABLE IV.F–3—LARGEST CONTRIBUTION TO DOWNWIND 8-HOUR OZONE ‘‘VIOLATING MONITOR’’ MAINTENANCE-ONLY
                                                                                                RECEPTORS
                                                                                                                                                                [ppb]

                                                                                                                                                                                                                                                         Largest
                                                                                                                                                                                                                                                      contribution to
                                                                                                                                                                                                                                                    downwind violating
                                                                                                                                      Upwind state                                                                                                       monitor
                                                                                                                                                                                                                                                    maintenance-only
                                                                                                                                                                                                                                                        receptors

                                                 Alabama ...................................................................................................................................................................................                       0.79
                                                 Arizona .....................................................................................................................................................................................                     1.62
                                                 Arkansas ..................................................................................................................................................................................                       1.16
                                                 California ..................................................................................................................................................................................                     6.97
                                                 Colorado ..................................................................................................................................................................................                       0.39
                                                 Connecticut ..............................................................................................................................................................................                        0.17
                                                 Delaware ..................................................................................................................................................................................                       0.42
                                                 District of Columbia .................................................................................................................................................................                            0.03
                                                 Florida ......................................................................................................................................................................................                    0.50
                                                 Georgia ....................................................................................................................................................................................                      0.31
                                                 Idaho ........................................................................................................................................................................................                    0.46
                                                 Illinois .......................................................................................................................................................................................                 16.53
                                                 Indiana .....................................................................................................................................................................................                     9.39
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                                                 Iowa .........................................................................................................................................................................................                    1.13
                                                 Kansas .....................................................................................................................................................................................                      0.82
                                                 Kentucky ..................................................................................................................................................................................                       1.57
                                                 Louisiana ..................................................................................................................................................................................                      5.06
                                                 Maine .......................................................................................................................................................................................                     0.02
                                                 Maryland ..................................................................................................................................................................................                       1.14
                                                 Massachusetts .........................................................................................................................................................................                           0.39
                                                 Michigan ...................................................................................................................................................................................                      3.47



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                                                     TABLE IV.F–3—LARGEST CONTRIBUTION TO DOWNWIND 8-HOUR OZONE ‘‘VIOLATING MONITOR’’ MAINTENANCE-ONLY
                                                                                           RECEPTORS—Continued
                                                                                                                                                               [ppb]

                                                                                                                                                                                                                                                       Largest
                                                                                                                                                                                                                                                    contribution to
                                                                                                                                                                                                                                                  downwind violating
                                                                                                                                     Upwind state                                                                                                      monitor
                                                                                                                                                                                                                                                  maintenance-only
                                                                                                                                                                                                                                                      receptors

                                                 Minnesota ................................................................................................................................................................................                      0.64
                                                 Mississippi ................................................................................................................................................................................                    1.02
                                                 Missouri ....................................................................................................................................................................................                   2.95
                                                 Montana ...................................................................................................................................................................................                     0.12
                                                 Nebraska ..................................................................................................................................................................................                     0.43
                                                 Nevada .....................................................................................................................................................................................                    1.11
                                                 New Hampshire .......................................................................................................................................................................                           0.10
                                                 New Jersey ..............................................................................................................................................................................                       8.00
                                                 New Mexico .............................................................................................................................................................................                        0.34
                                                 New York .................................................................................................................................................................................                     12.08
                                                 North Carolina ..........................................................................................................................................................................                       0.65
                                                 North Dakota ............................................................................................................................................................................                       0.35
                                                 Ohio .........................................................................................................................................................................................                  2.25
                                                 Oklahoma .................................................................................................................................................................................                      1.57
                                                 Oregon * ...................................................................................................................................................................................                    0.36
                                                 Pennsylvania ............................................................................................................................................................................                       5.20
                                                 Rhode Island ............................................................................................................................................................................                       0.08
                                                 South Carolina .........................................................................................................................................................................                        0.23
                                                 South Dakota ...........................................................................................................................................................................                        0.12
                                                 Tennessee ...............................................................................................................................................................................                       0.86
                                                 Texas .......................................................................................................................................................................................                   3.83
                                                 Utah .........................................................................................................................................................................................                  1.46
                                                 Vermont ...................................................................................................................................................................................                     0.03
                                                 Virginia .....................................................................................................................................................................................                  1.39
                                                 Washington ..............................................................................................................................................................................                       0.11
                                                 West Virginia ............................................................................................................................................................................                      1.79
                                                 Wisconsin .................................................................................................................................................................................                     5.10
                                                 Wyoming ..................................................................................................................................................................................                      0.42
                                                    * Does not include California monitoring sites.


                                                 2. Application of Contribution                                               is intended to capture a relatively large                                     allowed too much upwind state
                                                 Screening Threshold                                                          percentage of the contribution from                                           contribution to drop out from further
                                                                                                                              upwind states to downwind receptors in                                        analysis.174 The EPA continues to
                                                    In Step 2 of the interstate transport
                                                                                                                              light of the regional-scale, collective                                       observe that nonattainment and
                                                 framework, the EPA uses an air quality
                                                                                                                              contribution problem associated with                                          maintenance receptors identified at Step
                                                 screening threshold to identify upwind
                                                                                                                              both ozone and PM2.5 NAAQS. Id. The                                           1 are impacted collectively by emissions
                                                 states that contribute to downwind
                                                                                                                              Agency also explained that the use of a                                       from numerous upwind contributors.
                                                 ozone concentrations in amounts
                                                                                                                              higher threshold in transport rules prior                                     Therefore, application of a low, uniform
                                                 sufficient to ‘‘link’’ them to these to
                                                                                                                              to CSAPR was based on single-day                                              screening threshold allows the EPA to
                                                 downwind nonattainment and
                                                                                                                              maximum contribution, whereas in                                              identify upwind states that share a
                                                 maintenance receptors. The
                                                                                                                              CSAPR (and continuing in subsequent                                           responsibility under the interstate
                                                 contributions from each state to each
                                                                                                                              rules including this one), the Agency                                         transport provision to eliminate their
                                                 downwind nonattainment or
                                                                                                                              uses a more robust, average contribution                                      significant contribution.
                                                 maintenance receptor that were used for
                                                                                                                              metric over multiple days. Thus, it was                                          As we explained at proposal, the EPA
                                                 the Step 2 evaluation can be found in
                                                                                                                              not the case that 1 percent of NAAQS                                          recognizes that in 2018 it issued a
                                                 the Air Quality Modeling Final Rule
                                                                                                                              was substantially more stringent than                                         memorandum indicating the potential
                                                 TSD.
                                                                                                                              that prior approach. Id. at 48238. In the                                     for states to use a higher threshold at
                                                    The EPA applies an air quality                                                                                                                          Step 2 in the development of their good
                                                 screening threshold of 1 percent of the                                      2016 CSAPR Update, the EPA reviewed
                                                                                                                              the 1 percent threshold (as coupled with                                      neighbor SIP submissions where it
                                                 NAAQS, which has been used since the                                                                                                                       could be technically justified. The
                                                 CSAPR rulemaking, including in the                                           multi-day averaging) and determined it
                                                                                                                              was appropriate to continue to apply                                          August 2018 memorandum stated that
                                                 CSAPR Update, the Revised CSAPR                                                                                                                            ‘‘it may be reasonable and appropriate’’
                                                 Update, and numerous actions                                                 this threshold. The EPA compared the 1
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                                                                                                                                                                                                            for states to rely on an alternative 1 ppb
                                                 evaluating states’ transport SIP                                             percent threshold to a 0.5 percent of
                                                                                                                                                                                                            threshold at Step 2.175 (The
                                                 submittals. The explanation for how this                                     NAAQS threshold and a 5 percent of
                                                                                                                                                                                                            memorandum also indicated that any
                                                 value was originally derived is available                                    NAAQS threshold. The EPA found that
                                                 in the CSAPR rulemaking from 2011.                                           the lower threshold did not capture                                             174 See Final CSAPR Update Air Quality
                                                 See 76 FR 48208, 48237–38. As                                                appreciably more upwind state                                                 Modeling TSD, at 27–30 (EPA–HQ–OAR–2015–
                                                 originally explained there, the                                              contribution compared to the 1 percent                                        0596–0144). See also 86 FR 23054, 23085.
                                                 application of a relatively low threshold                                    threshold, while the 5 percent threshold                                        175 August 2018 memo at 4.




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                                                 higher alternative threshold, such as 2                 national ozone transport policy would                  Commenters further argued that a 1 ppb
                                                 ppb, would likely not be appropriate.)                  not be well-served by applying a single,               threshold would be more consistent
                                                 The EPA nonetheless proposed to fulfill                 less stringent threshold at Step 2. The                with the EPA’s ‘‘significant impact
                                                 its role under CAA section 110(c) in                    EPA recognized in the August 2018                      level’’ (SIL) guidance related to
                                                 promulgating FIPs to directly                           memo that there was some similarity in                 implementing prevention of significant
                                                 implement good neighbor requirements,                   the amount of total upwind contribution                deterioration (PSD) permitting
                                                 and in this role, proposed retaining use                captured (on a nationwide basis)                       requirements. They argued that the 1
                                                 of the 1 percent threshold for all states.              between 1 percent and 1 ppb. However,                  percent threshold was below precision
                                                 We noted that in several documents                      the EPA noted at proposal that while                   limits of regulatory ozone monitors, and
                                                 proposing transport SIP disapprovals,                   this may be true in some sense, that is                they argued it was within the ‘‘margin
                                                 see, e.g., 87 FR 9498 and 87 FR 9510                    hardly a compelling basis to move to a                 of error’’ of the EPA’s modeling.
                                                 (Feb. 22, 2022), we explained that our                  1 ppb threshold. Indeed, the 1 ppb                        Response: The EPA is finalizing its
                                                 experience since the issuance of the                    threshold has the disadvantage of losing               proposed approach of consistently using
                                                 August 2018 memorandum regarding                        a certain amount of total upwind                       a 1 percent of the NAAQS threshold at
                                                 use of alternative thresholds led the                   contribution for further evaluation at                 Step 2 in this action to determine which
                                                 Agency to believe it may not be                         Step 3. Considering the core statutory                 states contribute to identified
                                                 appropriate to continue to attempt to                   objective of ensuring elimination of all               nonattainment and maintenance
                                                 recognize alternative contribution                      significant contribution to                            receptors. This approach ensures both
                                                 thresholds at Step 2, either in the                     nonattainment or interference of the                   national consistency across all states
                                                 context of SIPs or FIPs.                                NAAQS in downwind states and the                       and consistency and continuity with our
                                                    We went on to explain that the EPA’s                 broad, regional nature of the collective               prior interstate transport actions for
                                                 experience since 2018 is that allowing                  contribution problem with respect to                   other NAAQS. We do not agree that this
                                                 for alternative Step 2 thresholds may be                ozone, EPA could not identify a                        approach is inconsistent with or a
                                                 impractical or otherwise inadvisable for                compelling policy imperative to move to                reversal in policy from the August 2018
                                                 a number of additional policy reasons.                  a 1 ppb threshold.                                     memorandum, which only suggested
                                                 For a regional air pollutant such as                       In the proposal, we also found                      that states in the development of their
                                                 ozone, consistency in requirements and                  consistency with past interstate                       SIPs ‘‘may’’ be able to establish that 1
                                                 expectations across all states is                       transport actions such as CSAPR, and                   ppb could be an appropriate alternative
                                                 essential. Using multiple different                     the CSAPR Update and Revised CSAPR                     threshold. The EPA has been consistent
                                                 thresholds at Step 2 with respect to the                Update rulemakings (which used a Step                  in that memorandum, and since that
                                                 2015 ozone NAAQS raises substantial                     2 threshold of 1 percent of the NAAQS                  time, that final determinations on
                                                 policy consistency and practical                        for two less protective ozone NAAQS) to                alternative thresholds would be made
                                                 implementation concerns.176 The                         be an important consideration.                         through rulemaking action, as the EPA
                                                 application of different thresholds at                  Continuing to use a 1 percent of NAAQS                 is taking here.
                                                 Step 2 has the potential to result in                   approach ensures that as the NAAQS                        The August 2018 memorandum made
                                                 inconsistent determination of good                      are revised and made more stringent, an                clear that the Agency had substantial
                                                 neighbor obligations. From the                          appropriate increase in stringency at                  doubts that any threshold greater than 1
                                                 perspective of ensuring effective                       Step 2 occurs, so as to ensure an                      ppb (such as 2 ppb) would be
                                                 regional implementation of good                         appropriately larger amount of total                   acceptable, and the Agency is affirming
                                                 neighbor obligations, the more                          upwind-state contribution is captured                  that a threshold higher than 1 ppb
                                                 important analysis is the evaluation of                 for purposes of fully addressing                       would not be justified under any
                                                 the emissions reductions needed, if any,                interstate transport for the more                      circumstance for purposes of this action.
                                                 to address a state’s significant                        protective NAAQS.                                      No commenter credibly provided a basis
                                                 contribution after consideration of a                      The Agency also questioned whether                  for using a threshold even higher than
                                                 multifactor analysis at Step 3, including               it would be a good use of limited                      1 ppb, and so this issue is primarily
                                                 a detailed evaluation that considers air                resources to attempt to further justify                limited to the difference between a 0.7
                                                 quality factors and cost. We explained                  the use of alternative thresholds for                  ppb threshold (the 1 percent of the
                                                 that while alternative thresholds for                   certain states at Step 2 for purposes of               NAAQS threshold discussed previously
                                                 purposes of Step 2 may be ‘‘similar’’ in                the 2015 ozone NAAQS. Therefore,                       in this section) and a 1.0 ppb threshold.
                                                 terms of capturing the relative amount                  while EPA articulated the possibility of               Therefore, before proceeding in
                                                 of upwind contribution (as described in                 an alternative threshold in the August                 responding to these comments, we note
                                                 the August 2018 memorandum),                            2018 memorandum, the EPA concluded                     that this issue is only relevant to a small
                                                 nonetheless, use of alternative                         in the proposal that our experience and                number of states whose contributions to
                                                 thresholds would allow certain states to                further evaluation since the issuance of               any receptor are above 1 percent of the
                                                 avoid further evaluation of potential                   that memo has revealed substantial                     NAAQS but lower than 1 ppb. Under
                                                 emissions controls while other states                   programmatic and policy difficulties in                the 2016v3 modeling of 2023 being used
                                                 must proceed to a Step 3 analysis. This                 attempting to implement this approach,                 in this final rule, the states in this rule
                                                 could create significant equity and                     and therefore we proposed to apply the                 with contributions that fall between
                                                 consistency problems among states.                      1 percent of NAAQS threshold.                          0.70 ppb and 1 ppb are Alabama,
                                                    The EPA further proposed that, in                       Comment: Many commenters                            Kentucky, and Minnesota. Similarly, the
                                                 promulgating FIPs to address these                      disagreed with our proposal to continue                EPA applies the 1 percent threshold in
                                                                                                         using a 1 percent of NAAQS threshold.
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                                                 obligations on a nationwide scale,                                                                             its 2026 modeling projections to
                                                                                                         They argued that the EPA was reversing                 determine if any states will not be
                                                   176 We note that Congress has placed on the EPA       course from its policy as articulated in               linked to an ozone receptor by that year,
                                                 a general obligation to ensure the requirements of      the August 2018 memorandum and that                    and therefore should not be subject to
                                                 the CAA are implemented consistently across states      the EPA was now bound to use a 1 ppb                   the more stringent requirements that
                                                 and regions. See CAA section 301(a)(2). Where the
                                                 management and regulation of interstate pollution
                                                                                                         threshold rather than 1 percent of                     take effect in 2026. The states in this
                                                 levels spanning many states is at stake, consistency    NAAQS, even in promulgating a FIP                      rule in that year with contribution
                                                 in application of CAA requirements is paramount.        rather than evaluating SIPs.                           between 0.70 ppb and 1 ppb are


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                                                 Kentucky, Nevada, and Oklahoma. For                     evaluation of emissions control                             said that ‘‘EPA and air agencies should
                                                 all other states covered in this action, at             opportunities applying a multifactor                        consider whether the recommendations
                                                 least one linkage exists in 2023 (and, as               analysis at Step 3. Thus, as the Supreme                    in this guidance are appropriate for each
                                                 relevant, in 2026) that is greater than 1               Court has recognized, the contribution                      situation.’’ 181 The memorandum said
                                                 ppb, and therefore the question of                      threshold essentially functions to                          nothing regarding what threshold the
                                                 whether the EPA must recognize a 1 ppb                  exclude states with ‘‘de miminis’’                          EPA would apply if promulgating a FIP.
                                                 threshold would not have a dispositive                  impacts. EME Homer City, 572 U.S. 489,                         As explained in the SIP disapproval
                                                 effect on the regulatory determination                  500.                                                        action and again here, the EPA finds it
                                                 being made at Step 2.                                      Comments related to the August 2018                      would not be sound policy to apply an
                                                    The 1 percent of the NAAQS                           memorandum argued that the EPA                              alternative contribution threshold or
                                                 threshold is consistent with the Step 2                 legally committed itself to approving                       thresholds to one or more states within
                                                 approach that the EPA applied in                        SIP submissions from states with                            the 4-step interstate transport
                                                 CSAPR for the 1997 ozone NAAQS and                      contributions below 1 ppb and so now                        framework for the 2015 ozone NAAQS.
                                                 has subsequently been applied in the                    the EPA must apply that threshold in                        However, the EPA disagrees with
                                                 CSAPR Update and Revised CSAPR                          this FIP action. (Comments regarding                        commenters’ claims that the agency has
                                                 Update when evaluating determining                      this issue as related to the EPA’s action                   reversed course on applying the August
                                                 interstate transport obligations for the                on SIPs is addressed in that rulemaking                     2018 memorandum, because the
                                                 2008 ozone NAAQS. The EPA continues                     and is beyond the scope of this action.)                    memorandum never adopted a view that
                                                 to find 1 percent of the ozone NAAQS                    This is not what the memorandum said.                       the use of 1 ppb or other alternative
                                                 to be an appropriate threshold. For                     The memorandum merely provided an                           thresholds would in fact be acceptable.
                                                 ozone, as the EPA found in CAIR,                        analysis regarding ‘‘the degree to which                    Although the EPA said at proposal that
                                                 CSAPR, and the CSAPR Update, a                          certain air quality threshold amounts                       the EPA may rescind the guidance in
                                                 portion of the nonattainment and                        capture the collective amount of                            the future, we took comment on the
                                                 maintenance problems in the U.S.                        upwind contribution from upwind                             subject and also stated, ‘‘EPA is not at
                                                 results from the combined impact of                     states.’’ 177 It interpreted ‘‘that                         this time rescinding the August 2018
                                                 relatively small contributions from                     information to make recommendations                         memorandum.’’ 182 The EPA is not
                                                 many upwind states, along with                          about what thresholds may be                                formally rescinding the August 2018
                                                 contributions from in-state sources and                 appropriate for use in’’ SIP submissions                    memorandum in this action or at this
                                                 other sources. The EPA’s analysis shows                 (emphasis added).178 Specifically, the                      time. However, it is not required that
                                                 that the ozone transport problem being                  August 2018 memorandum said,                                agencies must ‘‘rescind’’ a
                                                 analyzed in this rule is still the result of            ‘‘Because the amount of upwind                              memorandum or guidance the moment
                                                 the collective impacts of emissions from                collective contribution capture with the                    it becomes outdated or called into
                                                 multiple upwind contributors.                           1 percent and the 1 ppb thresholds is                       question. The August 2018
                                                 Therefore, application of a consistent                  generally comparable, overall, we                           memorandum was not issued through
                                                 contribution threshold is necessary to                  believe it may be reasonable and                            notice-and-comment rulemaking and is
                                                 identify those upwind states that should                appropriate for states to use a 1 ppb                       not binding on the Agency or other
                                                 have responsibility for addressing their                contribution threshold, as an alternative                   parties. While the willingness of the
                                                 contribution (to the extent found                       to a 1 percent threshold, at Step 2 of the                  Agency as expressed in that
                                                 ‘‘significant’’ at Step 3) to the                       4-step framework in developing their                        memorandum to entertain the
                                                 downwind nonattainment and                              SIP revisions addressing the good                           possibility of an alternative threshold of
                                                 maintenance problems to which they                      neighbor provision for the 2015 ozone                       1 ppb may be considered a kind of
                                                 collectively contribute. Where a great                  NAAQS’’ (emphasis added).179 Thus,                          policy position, agencies may change
                                                 number of geographically dispersed                      the text of the August 2018                                 their non-binding policies without going
                                                 emissions sources contribute to a                       memorandum in no way committed that                         through notice and comment
                                                 downwind air quality problem, which is                  the EPA would be using a 1 ppb                              rulemaking. Catawba County v. EPA,
                                                 the case for ozone, EPA believes that, in               threshold going forward either in its                       571 F.3d 20, 34 (D.C. Cir. 2009). In this
                                                 the context of CAA section                              evaluation of SIPs or in promulgating a                     case, we went through notice and
                                                 110(a)(2)(D)(i)(I), a state-level threshold             FIP. The August 2018 memorandum                             comment rulemaking on this topic in
                                                 of 1 percent of the NAAQS is a                          indicated that ‘‘[f]ollowing these                          the SIP-disapproval action (88 FR 9336)
                                                 reasonably small enough value to                        recommendations does not ensure that                        and here, even though the August 2018
                                                 identify only the greater-than-de                       EPA will approve a SIP revision in all                      memorandum was issued without such
                                                 minimis contributors yet is not so large                instances where the recommendations                         opportunity for public input. We further
                                                 that it unfairly focuses attention for                  are followed, as the guidance may not                       address the basis for the consistent use
                                                 further action only on the largest single               apply to the facts and circumstances                        of a 1 percent of NAAQS threshold and
                                                 or few upwind contributors. Continuing                  underlying a particular SIP. Final                          summarize our conclusions under the
                                                 to use 1 percent of the NAAQS as the                    decisions by the EPA to approve a                           FCC v. Fox factors below.
                                                 screening metric to evaluate collective                 particular SIP revision will only be                           We continue to believe, as set forth in
                                                 contribution from many upwind states                    made based on the requirements of the                       our proposed action, that national ozone
                                                 also allows the EPA (and states) to apply               statute and will only be made following                     transport policy is not well served by
                                                 a consistent framework to evaluate                      an air agency’s final submission of the
                                                 interstate emissions transport under the                SIP revision to the EPA, and after
                                                                                                                                                                       181 Id.
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                                                                                                                                                                        182 87 FR 9545, 9551 (Feb. 22, 2022) (Alabama,
                                                 interstate transport provision from one                 appropriate notice and opportunity for                      Mississippi, Tennessee); 87 FR 9498, 9510 (Feb. 22,
                                                 NAAQS to the next. See 86 FR 23054,                     public review and comment.’’ 180                            2022) (Kentucky); 87 FR 9838, 9844 (Feb. 22, 2022)
                                                 23085; 81 FR 74504, 74518; 76 FR                        Further, the August 2018 memorandum                         (Illinois, Indiana, Michigan, Minnesota, Ohio,
                                                 48208, 48237–38.                                                                                                    Wisconsin); 87 FR 9798, 9807, 9813, 9820 (Feb. 22,
                                                    Further, the EPA notes that the role of                177 August
                                                                                                                                                                     2022) (Arkansas, Louisiana, Oklahoma, Texas); 87
                                                                                                                             2018 memorandum, at 1.                  FR 9533, 9542 (Feb. 22, 2022) (Missouri); 87 FR
                                                 the Step 2 threshold is limited and just                  178 Id.
                                                                                                                                                                     31470, 31479 (May 24, 2022) (Utah); 87 FR 31495,
                                                 one step in the larger 4-Step Framework.                  179 Id.   at 4.                                           31504 (May 24, 2022) (Wyoming); 87 FR 31485,
                                                 It serves to screen in states for further                 180 Id.   at 1.                                           31490 (May 24, 2022) (Nevada).



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                                                 allowing for less protective thresholds                 memorandum that there was some                          more stringent, an appropriate increase
                                                 than 1 percent of the NAAQS at Step 2.                  similarity in the amount of total upwind                in stringency at Step 2 occurs, so as to
                                                 Furthermore, the EPA disagrees with                     contribution captured (on a nationwide                  ensure an appropriately larger amount
                                                 commenters who suggest that national                    basis) between 1 percent and 1 ppb.                     of total upwind-state contribution is
                                                 consistency is an inappropriate                         However, while this may be true in                      captured for purposes of fully
                                                 consideration in the context of interstate              some sense, that is hardly a compelling                 addressing interstate transport. See 76
                                                 ozone transport. The Good Neighbor                      basis to move to a 1 ppb threshold for                  FR 48208, 48237–38.
                                                 provision, CAA section                                  every state. Indeed, the 1 ppb threshold                   We note further that application of a
                                                 110(a)(2)(D)(i)(I), requires to a unique                has the disadvantage of losing a certain                1 percent of NAAQS threshold has been
                                                 degree of concern for consistency,                      amount of total upwind contribution for                 the EPA’s consistent approach in each
                                                 parity, and equity across state lines.183               further evaluation at Step 3 (e.g.,                     of our notice-and-comment rulemakings
                                                 For a regional air pollutant such as                    roughly 7 percent of total upwind state                 beginning with CSAPR and continuing
                                                 ozone, consistency in requirements and                  contribution was lost according to the                  with the CSAPR Update, the Revised
                                                 expectations across all states is                       modeling underlying the August 2018                     CSAPR Update, and numerous actions
                                                 essential. Based on the EPA’s review of                 memorandum; in the EPA’s 2016v2                         on ozone transport SIP submissions. In
                                                 good neighbor SIP submissions to-date                   modeling, the amount lost is 5 percent;                 each case, the 1 percent of the NAAQS
                                                 and after further consideration of the                  in the EPA’s 2016v3 modeling used for                   threshold was subject to rigorous vetting
                                                 policy implications of attempting to                    final, the amount lost is also 5 percent).              through public comment and the
                                                 recognize an alternative Step 2                         Further, this logic has no end point. A                 Agency’s response to those comments,
                                                 threshold for certain states, the Agency                similar observation could be made with                  including through the use of analytical
                                                 concludes that the attempted use of                     respect to any incremental change. For                  evaluations of alternative thresholds.
                                                 different thresholds at Step 2 with                     example, should the EPA next recognize                  See, e.g., 81 FR 74518–19. By contrast,
                                                 respect to the 2015 8-hour ozone                        a 1.2 ppb threshold because that would                  the August 2018 memorandum was not
                                                 NAAQS raises substantial policy                         only cause some small additional loss in                issued through notice-and-comment
                                                 consistency and practical                               capture of upwind state contribution as                 rulemaking procedures, and the EPA
                                                 implementation concerns. The                            compared to 1 ppb? If the only basis for                was careful to caveat its utility and
                                                 availability of different thresholds at                 moving to a 1 ppb threshold is that it                  ultimate reliability for that reason.
                                                 Step 2 has the potential to result in                   captures a ‘‘similar’’ (but actually                       The EPA disagrees with claims that
                                                 inconsistent application of good                        smaller) amount of upwind                               the EPA is applying the August 2018
                                                 neighbor obligations based solely on the                contribution, then there is no basis for                memorandum inconsistently based on
                                                 strength of a state’s SIP submission at                 moving to that threshold at all.                        the EPA’s actions with regard to
                                                 Step 2 of the 4-step interstate transport               Considering the core statutory objective                Arizona, Iowa, and Oregon. The EPA
                                                 framework. The steps of the analysis                    of ensuring elimination of all significant              withdrew a previously proposed
                                                 that lead up to evaluating emissions                    contribution to nonattainment or                        approval of Iowa’s SIP submission that
                                                 reductions opportunities to address                     interference with maintenance of the                    was premised on a 1 ppb contribution
                                                 states’ significant contribution at Step 3              NAAQS in other states and the broad,                    threshold, and re-proposed and
                                                 should be applied on a consistent basis.                regional nature of the collective                       finalized approval of that SIP based on
                                                 Where alternative thresholds for                        contribution problem with respect to                    a different rationale using a 1 percent of
                                                 purposes of Step 2 may be ‘‘similar’’ in                ozone, we continue to find no                           the NAAQS contribution threshold. 87
                                                 terms of capturing the relative amount                  compelling policy reason to adopt a new                 FR 9477 (Feb. 22, 2022); 87 FR 22463
                                                 of upwind contribution (as described in                 threshold for all states of 1 ppb.                      (April 15, 2022). The EPA also disagrees
                                                 the August 2018 memorandum),                               Nor have commenters explained why                    with any claim that Oregon and Arizona
                                                 nonetheless, use of an alternative                      use of a 1 ppb threshold would be                       were ‘‘allowed’’ to use a 1 ppb or higher
                                                 threshold would allow certain states to                 appropriate under the more protective                   threshold. The EPA approved Oregon’s
                                                 avoid further evaluation of potential                   2015 ozone NAAQS when a 1 percent                       SIP submission for the 2015 ozone
                                                 emissions controls while other states                   of the NAAQS contribution threshold                     NAAQS on May 17, 2019, and both
                                                 must proceed to a Step 3 analysis. This                 has been used for less protective ozone                 Oregon and the EPA relied on a 1
                                                 can create significant equity and                       NAAQS. To illustrate, a state                           percent of the NAAQS contribution
                                                 consistency problems among states and                   contributing greater than 0.75 ppb but                  threshold. 84 FR 7854, 7856 (March 5,
                                                 could lead to ineffective or inefficient                less than 1 ppb to a receptor under the                 2019) (proposal); 84 FR 22376 (May 17,
                                                 approaches to eliminating significant                   2008 ozone NAAQS was ‘‘linked’’ at                      2019) (final). In the proposal for this
                                                 contribution.                                           Step 2,184 but if a 1 ppb threshold were                action, the EPA explained it was not
                                                    One commenter suggested the EPA                      used for the 2015 ozone NAAQS then                      proposing to conduct an error correction
                                                 could address this potentially                          that same state would not be ‘‘linked’’                 for Oregon even though updated
                                                 inequitable outcome by simply adopting                  to a receptor at Step 2 under a NAAQS                   modeling indicated Oregon contributed
                                                 a 1 ppb contribution threshold for all                  that is set to be more protective of                    above 1 percent of the NAAQS to
                                                 states. However, the August 2018                        human health and the environment.                       monitors in California.
                                                 memorandum did not conclude that 1                      Consistency with past interstate                           The EPA is deferring finalizing a
                                                 ppb would be appropriate for all states                 transport actions such as CSAPR, and                    finding at this time for Oregon (see
                                                 and the EPA does not view that                          the CSAPR Update and Revised CSAPR                      section IV.G of this document for
                                                 conclusion to be supported at present.                  Update rulemakings (which all used the                  additional information). In 2016, the
                                                                                                                                                                 EPA approved Arizona’s SIP for the
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                                                 The EPA recognized in the August 2018                   1 percent of the NAAQS for less
                                                                                                         protective ozone NAAQS), is an                          earlier 2008 ozone NAAQS based on a
                                                   183 EPA notes that Congress has placed on EPA         important consideration. We affirm our                  similar rationale with regard to certain
                                                 a general obligation to ensure the requirements of      view in CSAPR that continuing to use                    monitors in California. 81 FR 15200
                                                 the CAA are implemented consistently across states      a 1 percent of NAAQS approach ensures                   (March 22, 2016) (proposal); 81 FR
                                                 and regions. See CAA section 301(a)(2). Where the
                                                 management and regulation of interstate pollution       that if the NAAQS are revised and made                  31513 (May 19, 2016) (final rule). We
                                                 levels spanning many states is at stake, consistency                                                            are deferring finalizing a finding at this
                                                 in application of CAA requirements is paramount.          184 See   86 FR 23054, 23058 (April 30, 2021).        time that such a rationale is appropriate


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                                                 with respect to the more protective 2015                impacts are required of the source to                  percent contribution threshold of 0.7
                                                 ozone NAAQS. While Arizona and                          support a demonstration that it meets                  ppb is lower than the manufacturer’s
                                                 Oregon’s interstate transport obligations               the criteria for a permit. A source with               reported precision of these reference
                                                 for the 2015 ozone NAAQS remain                         estimated impacts below the PSD SIL                    monitors and that the requirements
                                                 pending (along with several other                       may use this to demonstrate that it will               found in Appendix U truncates monitor
                                                 states), there is no inconsistency in the               not cause or contribute (as those terms                values of 0.7 ppb to 0 ppb. However, the
                                                 treatment of these states or any other                  are used within the PSD program) to a                  commenter is mistaken in applying
                                                 state at Step 2.                                        violation of an ambient air quality                    criteria related to the precision of
                                                    Some commenters claim the EPA                        standard, but is still subject to meeting              monitoring technology to the modeling
                                                 must use a 1 ppb threshold based on the                 applicable control requirements,                       methodology by which we project
                                                 identification of 1 ppb as a significance               including best available control                       contributions when quantifying and
                                                 threshold in one step of the PSD                        technology, designed to moderate the                   evaluating interstate transport at Step 2.
                                                 permitting process. The EPA’s SIL                       source’s impact on air quality.                        Indeed, contributions by source or state
                                                 guidances, however, relate to a different                  Moreover, other aspects of the                      cannot be derived from the total
                                                 provision of the Clean Air Act regarding                technical methodology in the SILs                      ambient concentration of ozone at a
                                                 implementation of the prevention of                     guidance compared to the good                          monitor at all but must be apportioned
                                                 significant deterioration (PSD)                         neighbor framework make a direct                       through modeling. Under our
                                                 permitting program. This program                        comparison between these two values                    longstanding methodology for doing so,
                                                 applies in areas that have been                         misleading. For instance, in PSD permit                the contribution values identified from
                                                 designated attainment of the NAAQS                      modeling using a single year of                        upwind states are based on a robust
                                                 and is intended to ensure that such                     meteorology the maximum single-day 8-                  assessment of the average impact of
                                                 areas remain in attainment even if                      hour contribution is evaluated with                    each upwind state’s ozone-precursor
                                                 emissions were to increase as a result of               respect to the SIL. The purpose of the                 emissions over a range of scenarios, as
                                                 new sources or major modifications to                   contribution threshold at Step 2 of the                explained in the 2016v3 modeling’s Air
                                                 existing sources located in those areas.                4-step good neighbor framework is to                   Quality Modeling Final Rule TSD, in the
                                                 This purpose is different than the                      determine whether the average                          docket for this rule, Docket ID No. EPA–
                                                 purpose of the good neighbor provision,                 contribution from a collection of sources              HQ–OAR–2021–0668. This analysis is
                                                 which is to assist downwind areas (in                   in a state is small enough not to warrant              in no way connected with or dependent
                                                 some cases hundreds or thousands of                     any additional control for the purpose of              on monitoring instruments’ precision of
                                                 miles away) in resolving ongoing                        mitigating interstate transport, even if               measurement. See EME Homer City, 795
                                                 nonattainment of the NAAQS or                           that control were highly cost effective.               F.3d 118, 135–36 (‘‘[A] model is meant
                                                 difficulty maintaining the NAAQS                        Using a 1 percent of the NAAQS                         to simplify reality in order to make it
                                                 through eliminating the emissions from                  threshold is more appropriate for                      tractable.’ ’’) (quoting Chemical
                                                 other states that are significantly                     evaluating multi-day average                           Manufacturers Association v. EPA, 28
                                                 contributing to those problems. In                      contributions from upwind states than a                F.3d 1259, 1264 (D.C. Cir. 1994).
                                                 addition, as discussed in preceding                     1 ppb threshold applied for a single day,
                                                 paragraphs, the purpose of the Step 2                   since that lower value of 1 percent of                    To the extent that commenters argue
                                                 threshold within the EPA’s interstate                   the NAAQS will capture variations in                   that the EPA consider a less stringent
                                                 transport framework for ozone is to                     contribution. If EPA were to use a single              threshold as a result of modeling
                                                 broadly sweep in all states contributing                day reflecting the maximum amount of                   uncertainty, the EPA disagrees with this
                                                 to identified receptors above a de                      contribution from an upwind state to                   notion. The EPA has successfully
                                                 minimis level in recognition of the                     determine whether a linkage exists at                  applied a 1 percent of NAAQS threshold
                                                 collective-contribution problem                         Step 2, commenters’ arguments for use                  to identify linked upwind states using
                                                 associated with regional-scale ozone                    of the PSD SIL might have more force.                  modeling in three prior FIP rulemakings
                                                 transport. The threshold used in the                    This would in effect be a return to the                and numerous state-specific actions on
                                                 context of PSD SIL serves a different                   pre-CSAPR contribution calculation                     good neighbor obligations. This
                                                 purpose, and so it does not follow that                 methodology of using a single day, see                 continues to be a reasonable approach,
                                                 they should be made equivalent.                         76 FR 48238. However, that would                       and indeed courts have repeatedly
                                                 Further, commenters incorrectly                         likely cause more states to become                     declined to establish bright line criteria
                                                 associate the EPA’s Step 2 contribution                 linked, not less. And in any case,                     for model performance. In upholding
                                                 threshold with the identification of                    consistent with the method in our                      the EPA’s approach to evaluating
                                                 ‘‘significant’’ emissions (which does not               modeling guidance for projecting future                interstate transport in CSAPR, the D.C.
                                                 occur until Step 3), and so it is not the               attainment/nonattainment and as the                    Circuit held that it would not
                                                 case that the EPA is interpreting the                   EPA concluded in 2011 in CSAPR, the                    ‘‘invalidate EPA’s predictions solely
                                                 same term differently.                                  present good neighbor methodology of                   because there might be discrepancies
                                                    The EPA has previously explained                     using multiple days provides a more                    between those predictions and the real
                                                 this distinction between the good                       robust approach to establishing that a                 world. That possibility is inherent in the
                                                 neighbor framework and PSD SILs. See                    linkage exists at the state level than                 enterprise of prediction.’’ EME Homer
                                                 70 FR 25162, 25190–25191 (May 12,                       relying on a single day of data.                       City Generation, L.P. v. EPA, 795 F.3d
                                                 2005); 76 FR 48208, 48237 (Aug. 8,                         A commenter also claimed the 1                      118, 135 (2015). ‘‘[T]he fact that a
                                                 2011). Importantly, the implication of                  percent of NAAQS threshold is                          ‘model does not fit every application
                                                                                                                                                                perfectly is no criticism; a model is
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                                                 the PSD SIL threshold is not that single-               inconsistent with the standards of
                                                 source contribution below this level                    precision for Federal reference monitors               meant to simplify reality in order to
                                                 indicates the absence of a contribution                 for ozone and the rounding                             make it tractable.’ ’’ Id. at 135–36
                                                 or that no emissions control                            requirements found in 40 CFR part 50,                  (quoting Chemical Manufacturers
                                                 requirements are warranted. Rather, the                 appendix U, Interpretation of the                      Association v. EPA, 28 F.3d 1259, 1264
                                                 PSD SIL threshold addresses whether                     Primary and Secondary National                         (D.C. Cir. 1994). See also Sierra Club v.
                                                 further, more comprehensive, multi-                     Ambient Air Quality Standards for                      EPA, 939 F.3d 649, 686–87 (5th Cir.
                                                 source review or analysis of air quality                Ozone. Commenter claimed that the 1                    2019) (upholding EPA’s modeling in the


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                                                 face of complaints regarding an alleged                 a. States That Contribute Below the                      1, the following 23 states contribute at
                                                 ‘‘margin of error,’’ noting challengers                 Screening Threshold                                      or above the 0.70 ppb threshold to
                                                 face a ‘‘considerable burden’’ in                          Based on the EPA’s modeling and                       downwind modeling-based
                                                 overcoming a ‘‘presumption of                           considering measured data at violating                   maintenance-only receptors in 2023:
                                                 regularity’’ afforded ‘‘the EPA’s choice                monitors, the contributions from each of                 Arizona, Arkansas, California, Illinois,
                                                 of analytical methodology’’) (citing                    the following states to nonattainment or                 Indiana, Iowa, Kentucky, Louisiana,
                                                 BCCA Appeal Grp. v. EPA, 355 F.3d                       maintenance-only receptors in the 2023                   Maryland, Michigan, Minnesota,
                                                 817, 832 (5th Cir. 2003)).                              analytic year are below the 1 percent of                 Mississippi, Missouri, Nevada, New
                                                                                                         the NAAQS threshold: Colorado,                           Jersey, New Mexico, New York, Ohio,
                                                    The Agency will continue to use the
                                                                                                         Connecticut, the District of Columbia,                   Oklahoma, Texas, Virginia, West
                                                 CAMx model to evaluate contributions
                                                                                                         Delaware, Florida, Georgia, Idaho,                       Virginia, and Wisconsin. Based on the
                                                 from upwind states to downwind areas.
                                                                                                         Maine, Massachusetts, Montana,                           maximum downwind contribution in
                                                 The agency has used CAMx routinely in
                                                                                                         Nebraska, New Hampshire, North                           Table IV.F–3, the following additional
                                                 previous notice and comment transport                                                                            states contribute at or above the 0.70
                                                 rulemakings to evaluate contributions                   Carolina, North Dakota, Rhode Island,
                                                                                                         South Carolina, South Dakota, Vermont,                   ppb threshold to downwind violating
                                                 relative to the 1 percent threshold for                                                                          monitor maintenance-only receptors in
                                                 both ozone and PM2.5. In fact, in the                   and Washington.185 The EPA has
                                                                                                         already approved these states’ 2015                      2023: Kansas and Tennessee. (However,
                                                 original CSAPR, the EPA found that                                                                               the EPA is not taking final action based
                                                 ‘‘[t]here was wide support from                         ozone good neighbor SIP submittals.
                                                                                                         Because the contributions from these                     on this analytical result for these two
                                                 commenters for the use of CAMx as an                                                                             states at this time.) The levels of
                                                 appropriate, state-of-the science air                   states to projected downwind air quality
                                                                                                         problems are below the screening                         contribution between each of these
                                                 quality tool for use in the [Cross-State                                                                         linked upwind states and downwind
                                                 Air Pollution] Rule. There were no                      threshold in the current modeling, these
                                                                                                         states are not within the scope of this                  nonattainment receptors and
                                                 comments that suggested that the EPA                                                                             maintenance-only receptors are
                                                 should use an alternative model for                     final rule. Additionally, the EPA has
                                                                                                         made final determinations that two                       provided in the Air Quality Modeling
                                                 quantifying interstate transport.’’ 76 FR                                                                        Final Rule TSD.
                                                                                                         states outside the modeling domain for
                                                 48229 (August 8, 2011). In this action,                                                                             Among the linked states are several
                                                                                                         the air quality modeling analyzed in this
                                                 the EPA has taken a number of steps                                                                              western states—California, Nevada, and
                                                                                                         final rulemaking—Hawaii 186 and
                                                 based on comments and new                                                                                        Utah. While the EPA has not previously
                                                                                                         Alaska 187—do not significantly
                                                 information to ensure to the greatest                                                                            included action on linked western states
                                                                                                         contribute to nonattainment or interfere
                                                 extent the accuracy and reliability of its                                                                       in its prior CSAPR rulemakings, the
                                                                                                         with maintenance of the NAAQS in any
                                                 modeling projections at Step 1 and 2, as                                                                         EPA has consistently applied the 4-step
                                                                                                         other state.
                                                 discussed elsewhere in this section.                       With respect to Wyoming, our                          framework in evaluating good neighbor
                                                    The EPA disagrees with commenters                    methodology when applied using the                       obligations from these states. On a case-
                                                 that case law reviewing changes in                      2016v3 modeling suggests that whether                    by-case basis, the EPA has found in
                                                 agency positions such as FCC v. Fox TV                  the state is linked is uncertain and                     some instances with respect to the 2008
                                                 Stations, Inc., 556 U.S. 502, 515 (2009),               warrants further analysis. The EPA                       ozone NAAQS that a unique
                                                 is applicable with respect to this issue.               intends to expeditiously review its                      consideration has warranted approval of
                                                 As explained above, under the terms of                  assessment with respect to Wyoming                       a western state’s good neighbor SIP
                                                 the August 2018 memorandum, the                         and take action addressing Wyoming’s                     submittal that might otherwise be found
                                                 Agency did not conclude that the use of                 good neighbor obligations for the 2015                   to contribute above 1 percent of the
                                                 an alternative contribution threshold                   ozone NAAQS through a separate                           NAAQS without concluding that
                                                 was justified for any states. But even if               action.                                                  additional emissions reductions are
                                                 it were found that the Agency’s position                                                                         required at Step 3 of the framework.188
                                                                                                         b. States That Contribute at or Above the                The EPA has also explained in prior
                                                 had changed between this rulemaking
                                                                                                         Screening Threshold                                      actions that its air quality modeling is
                                                 action and the August 2018
                                                 memorandum, the FCC v. Fox factors                         Based on the maximum downwind                         reliable for assessing downwind air
                                                 are met. We have explained above that                   contributions in Table IV.F–1, the Step                  quality problems and ozone transport
                                                 there are good reasons for continuing to                2 analysis identifies that the following                 contributions from upwind states
                                                 use a 1 percent of NAAQS threshold.                     21 states contribute at or above the 0.70                throughout the nationwide modeling
                                                 We also are aware that we are not using                 ppb threshold to downwind                                domain.189 The EPA is deferring
                                                 a 1 ppb threshold despite                               nonattainment receptors in 2023:                         finalizing a finding at this time for
                                                 acknowledging the potential for doing                   Alabama, Arkansas, California, Illinois,                 Oregon (see section IV.G of this
                                                 so in the August 2018 memorandum.                       Indiana, Kentucky, Louisiana,                            document for additional information).
                                                                                                         Maryland, Michigan, Mississippi,                            As explained in the following section,
                                                 We do not believe that any party has a
                                                                                                         Missouri, Nevada, New Jersey, New                        the EPA is not, in this action, altering
                                                 serious reliance interest that would be
                                                                                                         York, Ohio, Oklahoma, Pennsylvania,                      its prior approval of Oregon’s good
                                                 sufficient to overcome the
                                                                                                         Texas, Utah, Virginia, and West                          neighbor SIP submission for the 2015
                                                 countervailing public interest that is
                                                                                                         Virginia. Based on the maximum                           ozone NAAQS. For the remaining
                                                 served through the EPA’s determination
                                                                                                         downwind contributions in Table IV.F–                    western states included in this rule, the
                                                 to maintain continuity with its
                                                                                                                                                                  EPA’s modeling supports a conclusion
                                                 longstanding, more protective 1 percent
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                                                                                                            185 The status of monitoring sites in California to   that these states are linked above the
                                                 of NAAQS threshold in this action. Cf.
                                                                                                         which Oregon may be linked is under review. See
                                                 88 FR 9373 (reviewing reliance in the                   section IV.G.                                              188 See interstate transport approval actions under
                                                 context of the SIP-disapproval action).                    186 The EPA approved Hawaii’s 2015 ozone              the 2008 ozone NAAQS for Arizona, California, and
                                                    The EPA therefore will continue its                  transport SIP on December 27, 2021. See 86 FR            Wyoming at 81 FR 36179 (June 6, 2016), 83 FR
                                                                                                         73129.                                                   65093 (December 19, 2018), and 84 FR 14270 (April
                                                 longstanding practice of applying the 1                    187 The EPA approved Alaska’s 2015 ozone              10, 2019)), respectively.
                                                 percent of NAAQS threshold in this                      transport SIP on December 18, 2019. See 84 FR              189 See 81 FR 71991 (October 19, 2016), 82 FR

                                                 action.                                                 69331.                                                   9155 (February 3, 2017).



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                                                 contribution threshold to identified                    NAAQS on May 17, 2019 (84 FR 22376),                      Comment: Commenters criticized
                                                 ozone transport receptors in downwind                   because in an earlier round of modeling                what they considered to be unfair
                                                 states, and therefore, consistent with the              Oregon was not projected to contribute                 treatment of Oregon, stating that the
                                                 treatment of all other states within the                above 1 percent of the NAAQS to any                    EPA is applying a higher contribution
                                                 modeling domain, the EPA proposes to                    downwind receptors. In the EPA’s                       threshold than it applies to other states.
                                                 proceed to evaluate these states for a                  updated modeling used at proposal                      Commenters argued that EPA has not
                                                 determination of ‘‘significant                          (2016v2) and again in the final modeling               established a specific threshold for why
                                                 contribution’’ at Step 3.                               (2016v3), Oregon is modeled to                         the level of upwind-state impact at these
                                                    In conclusion, as described above,                   contribute above the 1 percent of                      sites should not be considered
                                                 states with contributions that equal or                 NAAQS threshold to several monitoring                  meaningful. Commenters argued that
                                                 exceed 1 percent of the NAAQS to                        sites in California that would generally               our analysis ignored the fact that there
                                                 either nonattainment or maintenance-                    meet the EPA’s definition of                           are many monitoring sites in California
                                                 only receptors are identified as ‘‘linked’’             nonattainment or maintenance                           to which Oregon contributes above 1
                                                 at Step 2 of the good neighbor                          ‘‘receptors’’ at Step 1.191 At proposal,               percent of the NAAQS. Commenters
                                                 framework and warrant further analysis                  the EPA explained that our analysis of                 state that EPA has failed to explain why
                                                 for significant contribution to                         the nature of the air quality problem at               Oregon is not subject to this rulemaking,
                                                 nonattainment or interference with                      these monitoring sites led us to propose               while other states contribute lower total
                                                 maintenance under Step 3. The EPA                       a determination that these monitoring                  downwind ozone contributions and
                                                 finds that for purposes of this final rule,             sites should not be treated as receptors               fewer receptors. Commenters concluded
                                                 the following 23 states are linked at Step              for purposes of determining interstate                 that since Oregon is linked it should be
                                                 2 in 2023: Alabama, Arkansas,                                                                                  subject to the same emissions control
                                                                                                         transport obligations of upwind states
                                                 California, Illinois, Indiana, Kentucky,                                                                       determinations at Step 3 and 4 as every
                                                                                                         under CAA section 110(a)(2)(D)(i)(I). We
                                                 Louisiana, Maryland, Michigan,                                                                                 other state, or otherwise apply the same
                                                                                                         explained that we reached this
                                                 Minnesota, Mississippi, Missouri,                                                                              ‘‘nature of the air quality problem’’
                                                                                                         conclusion at Step 1 of our 4-step
                                                 Nevada, New Jersey, New York, Ohio,                                                                            consideration to eliminate other
                                                 Oklahoma, Pennsylvania, Texas, Utah,                    framework.
                                                                                                                                                                receptors.
                                                 Virginia, West Virginia, and Wisconsin.                    The EPA previously made a similar                      Response: The EPA acknowledges
                                                 In addition, the EPA finds that the                     assessment of the nature of certain other              that several commenters opposed the
                                                 following 20 States are linked at Step 2                monitoring sites in California in                      proposed treatment of Oregon and the
                                                 in 2026: Arkansas, California, Illinois,                approving Arizona’s 2008 ozone                         California monitoring sites to which it is
                                                 Indiana, Kentucky, Louisiana,                           NAAQS transport SIP submittal.192                      linked in the proposed and final
                                                 Maryland, Michigan, Mississippi,                        There, the EPA noted that a ‘‘factor                   modeling. We also recognize that other
                                                 Missouri, Nevada, New Jersey, New                       [. . .] relevant to determining the nature             commenters expressed confusion
                                                 York, Ohio, Oklahoma, Pennsylvania,                     of a projected receptor’s interstate                   regarding the role of this proposed
                                                 Texas, Utah, Virginia, and West                         transport problem is the magnitude of                  determination at Step 1 and how it
                                                 Virginia. We note that our updated                      ozone attributable to transport from all               relates to the longstanding 4-step
                                                 modeling for this final rule shows that                 upwind states collectively contributing                interstate transport framework that the
                                                 two states, Minnesota and Wisconsin,                    to the air quality problem.’’ 193 The EPA              EPA is otherwise applying in this
                                                 that we found linked in 2026 at                         observed that only one upwind state                    action. In recognition of these concerns
                                                 proposal are no longer projected to be                  (Arizona) was linked above 1 percent of                and the need to give further thought to
                                                 linked in that year but are linked in                   the 2008 ozone NAAQS to the two                        the appropriate treatment of both
                                                 2023.190 As at proposal, Alabama is only                relevant monitoring sites in California,               upwind states and downwind receptors
                                                 projected to be linked in 2023, not 2026.               and the cumulative ozone contribution                  in these circumstances, the EPA is
                                                    For six states, the EPA’s analysis at                from all upwind states to those sites was              deferring finalizing a finding at this time
                                                 this time indicates that a linkage may                  2.5 percent and 4.4 percent of the total               for Oregon. The current approval of the
                                                 exist in 2023 for which the EPA had not                 ozone, respectively. The EPA                           state’s SIP submission will remain in
                                                 proposed FIP requirements, or the                       determined the size of those cumulative                place for the time being, pending further
                                                 updated analysis for this final rule                    upwind contributions was ‘‘negligible,                 review. We make no final determination
                                                 suggests that linkages we had previously                particularly when compared to the                      in this action regarding whether the
                                                 found in the proposed action are now                    relatively large contributions from                    California monitoring sites at issue
                                                 uncertain and warrant further analysis.                 upwind states in the East or in certain                should or should not be treated as
                                                 The EPA intends to expeditiously                        other areas of the West.’’ 194 In that                 receptors for purposes of addressing
                                                 address these states in a separate action               action, the EPA concluded the two                      interstate transport for the 2015 ozone
                                                 or actions: Arizona, Iowa, Kansas, New                  California sites to which Arizona was                  NAAQS.
                                                 Mexico, Tennessee, and Wyoming.                         linked should not be treated as receptors
                                                                                                         for the purposes of determining Good                   V. Quantifying Upwind-State NOX
                                                 G. Treatment of Certain Monitoring
                                                                                                         Neighbor obligations for the 2008 ozone                Emissions Reduction Potential To
                                                 Sites in California and Implications for
                                                                                                         NAAQS.195                                              Reduce Interstate Ozone Transport for
                                                 Oregon’s Good Neighbor Obligations for
                                                                                                                                                                the 2015 Ozone NAAQS
                                                 the 2015 Ozone NAAQS
                                                   The EPA previously approved
                                                                                                           191 Monitors are included in the docket for this
                                                                                                                                                                A. The Multi-Factor Test for
                                                                                                         rulemaking. While EPA is providing information         Determining Significant Contribution
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                                                 Oregon’s September 25, 2018 transport                   about cumulative upwind contribution to the
                                                 SIP submittal for the 2015 ozone                        California monitors, the Agency is not making a           This section describes the EPA’s
                                                                                                         determination in this action that these monitors are   methodology at Step 3 of the 4-step
                                                                                                         ozone transport receptors.
                                                   190 Minnesota and Wisconsin were linked to
                                                                                                           192 81 FR 15200 (March 22, 2016) (proposal); 81
                                                                                                                                                                framework for identifying upwind
                                                 maintenance-only receptors in Cook County, IL in                                                               emissions that constitute ‘‘significant’’
                                                 2023. Minnesota and Wisconsin are not linked in         FR 31513 (May 19, 2016) (final rule).
                                                 2026 because the 2026 average and maximum
                                                                                                           193 81 FR 15203.                                     contribution for the states subject to this
                                                 design values at the monitoring sites are projected       194 Id.                                              final rule and focuses on the 23 states
                                                 to show attainment.                                       195 Id.                                              with FIP requirements identified in the


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                                                 previous sections. Following the                        unnecessarily over-control relative to                 addition, as was evaluated in the
                                                 existing framework as applied in the                    the contribution threshold or downwind                 CSAPR Update and Revised CSAPR
                                                 prior CSAPR rulemakings, the EPA’s                      air quality.                                           Update, the EPA evaluated whether,
                                                 assessment of linked upwind state                          As mentioned in section III.A.2 of this             based on particularized evidence, its
                                                 emissions is based primarily on analysis                document, commenters on the proposed                   selected control strategy would result in
                                                 of several alternative levels of NOX                    rule and previous ozone transport rules                over-control for any upwind state by
                                                 emissions control stringency applied                    have suggested that the EPA should                     examining whether an upwind state is
                                                 uniformly across all of the linked states.              regulate VOCs as an ozone precursor.                   linked solely to downwind air quality
                                                 The analysis includes assessment of                     For this final rule, the EPA examined                  problems that could have been resolved
                                                 non-EGU stationary sources in addition                  the results of the contribution modeling               at a lesser threshold of control
                                                 to EGU sources in the linked upwind                     performed for this rule to identify the                stringency and whether an upwind state
                                                 states.                                                 portion of the ozone contribution                      could reduce its emissions below the 1
                                                    The EPA applies a multi-factor test—                 attributable to anthropogenic NOX                      percent air quality contribution
                                                 the same multi-factor test that was used                emissions versus VOC emissions from                    threshold at a lesser threshold of control
                                                 in CSAPR, the CSAPR Update, and the                     each linked upwind state to each                       stringency. This analysis is described in
                                                 Revised CSAPR Update 196—to evaluate                    downwind receptor. Of the total                        section V.D of this document.
                                                 increasing levels of uniform NOX                        upwind-downwind linkages in 2023,                         Finally, while the EPA has evaluated
                                                 control stringency. The multi-factor test,              the contributions from NOX emissions                   potential emissions reductions from
                                                 which is central to EPA’s Step 3                        comprise 80 percent or more of the total               non-EGU sources in prior rules and
                                                 quantification of significant                           anthropogenic contribution for nearly                  found certain non-EGU emissions
                                                 contribution, considers cost, available                 all of the linkages (121 out of 124 total).            reductions should inform the budgets
                                                 emissions reductions, downwind air                      Across all receptors, the contribution                 established in the NOX SIP Call, this is
                                                 quality impacts, and other factors to                   from NOX emissions ranges from 84                      the first action for which the EPA is
                                                 determine the appropriate level of                      percent to 97 percent of the total                     finalizing non-EGU emissions
                                                 uniform NOX control stringency that                     anthropogenic contribution from                        reductions within the context of the
                                                 would eliminate significant contribution                upwind states. This review of the                      specific, 4-step interstate transport
                                                 to downwind nonattainment or                            portion of the ozone contribution                      framework established in CSAPR. The
                                                 maintenance receptors. The selection of                 attributable to anthropogenic NOX                      EPA applies its multi-factor test to non-
                                                 a uniform level of NOX emissions                        emissions versus VOC emissions from                    EGUs and independently evaluates non-
                                                 control stringency across all of the                    each linked upwind state leads the
                                                                                                                                                                EGU industries in a consistent but
                                                 linked states, reflected as a                           Agency to conclude that the vast
                                                                                                                                                                parallel track to its Step 3 assessment
                                                 representative cost per ton of emissions                majority of the downwind air quality
                                                                                                                                                                for EGUs. This is consistent with the
                                                 reduction (or a weighted average cost                   areas addressed by the final rule under
                                                                                                                                                                parallel assessment approach taken for
                                                 per ton in the case of EPA’s non-EGU                    are primarily NOX-limited, rather than
                                                                                                                                                                EGUs and non-EGUs in the Revised
                                                 and EGU analysis for 2026 mitigation                    VOC-limited. Therefore, the EPA
                                                                                                                                                                CSAPR Update. Following the
                                                 measures), also serves to apportion the                 continues to find that regulation of
                                                                                                                                                                conclusions of the EGU and non-EGU
                                                 reduction responsibility among                          VOCs as an ozone precursor in upwind
                                                                                                                                                                multi-factor tests, the identified
                                                 collectively contributing upwind states.                states is not necessary to eliminate
                                                                                                                                                                reductions for EGUs and non-EGUs are
                                                 This approach to quantifying upwind                     significant contribution or interference
                                                 state emission-reduction obligations                    with maintenance in downwind areas in                  combined and collectively analyzed to
                                                 using uniform cost was reviewed by the                  this final rule. The remainder of this                 assess their effects on downwind air
                                                 Supreme Court in EME Homer City                         section focuses on EPA’s strategy for                  quality and whether the rule achieves a
                                                 Generation, which held that using such                  reducing regional-scale transport of                   full remedy to eliminate ‘‘significant
                                                 an approach to apportion emissions                      ozone by targeting NOX emissions from                  contribution’’ while avoiding over-
                                                 reduction responsibilities among                        stationary sources to achieve the most                 control.
                                                 upwind states that are collectively                     effective reductions of ozone transport                   To ensure that this rule implements a
                                                 responsible for downwind air quality                    over the geography of the affected                     full remedy for the elimination of
                                                 impacts ‘‘is an efficient and equitable                 downwind areas.                                        significant contribution from upwind
                                                 solution to the allocation problem the                     For both EGUs and non-EGUs, section                 states, the EPA has reviewed available
                                                 Good Neighbor Provision requires the                    V.B of this document describes the                     information on all major industrial
                                                 Agency to address.’’ 572 U.S. at 519.                   available NOX emissions controls that                  source sectors in the upwind states
                                                    There are four stages in developing                  the EPA evaluated for this final rule and              inclusive of commenter-provided data.
                                                 the multi-factor test: (1) identify levels              their representative cost levels (in                   This analysis leads the EPA to conclude
                                                 of uniform NOX control stringency; (2)                  2016$). Section V.C of this document                   that both EGUs and certain large sources
                                                 evaluate potential NOX emissions                        discusses EPA’s application of that                    in several specific industrial categories
                                                 reductions associated with each                         information to assess emissions                        should be evaluated for emissions
                                                 identified level of uniform control                     reduction potential of the identified                  control opportunities. As discussed in
                                                 stringency; (3) assess air quality                      control stringencies. Finally, section                 the sections that follow, the EPA
                                                 improvements at downwind receptors                      V.D of this document describes EPA’s                   determines, for both EGUs and the
                                                 for each level of uniform control                       assessment of associated air quality                   selected non-EGU source categories,
                                                 stringency; and (4) select a level of                   impacts and EPA’s subsequent                           there are impactful emissions reduction
                                                                                                                                                                opportunities available at reasonable
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                                                 control stringency considering the                      identification of appropriate control
                                                 identified cost, available NOX emissions                stringencies considering the key                       cost-effectiveness thresholds. As in the
                                                 reductions, and downwind air quality                    relevant factors (cost, available                      Revised CSAPR Update, the EPA
                                                 impacts, while also ensuring that                       emissions reductions, and downwind                     examines EGUs and non-EGUs in this
                                                 emissions reductions do not                             air quality impacts).                                  section on consistent but distinct
                                                                                                            This multi-factor approach is                       parallel tracks due to differences
                                                    196 See CSAPR, Final Rule, 76 FR 48208 (August       consistent with EPA’s approach in prior                stemming from the unique
                                                 8, 2011).                                               transport actions, such as CSAPR. In                   characteristics of the power sector


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                                                 compared to other industrial source                     rule.197 For further discussion of EPA’s                 install state-of-the-art NOX combustion
                                                 categories.                                             existing and ongoing mobile source                       controls by the 2023 ozone season on a
                                                    Since the NOX SIP Call, EGUs have                    measures, see section V.B.4 of this                      regional scale; those controls are
                                                 consistently been regulated under ozone                 document.                                                assumed to be available by the
                                                 transport rules. These units operate in a                                                                        beginning of the 2024 ozone season. All
                                                                                                         B. Identifying Control Stringency Levels
                                                 coordinated manner across a highly                                                                               cost values discussed in the rest of the
                                                 interconnected electrical grid. Their                   1. EGU NOX Mitigation Strategies                         section for EGUs are in 2016 dollars.
                                                 configuration and emissions control                        In identifying levels of uniform                      a. Optimizing Existing SCRs
                                                 strategies are relatively homogenous,                   control stringency for EGUs, the EPA
                                                 and their emissions levels and                          assessed the same NOX emissions                             Optimizing (i.e., turning on idled or
                                                 emissions control opportunities are                     controls that the Agency analyzed in the                 improving operation of partially
                                                 generally very well understood due to                   CSAPR Update and the Revised CSAPR                       operating) existing SCRs can
                                                 longstanding monitoring and data-                       Update, all of which are considered to                   substantially reduce EGU NOX
                                                 reporting requirements. Non-EGU                         be widely available in this sector: (1)                  emissions quickly, using investments
                                                 sources, by contrast, are relatively                    fully operating existing SCR, including                  that have already been made in
                                                 heterogeneous, even within a single                     both optimizing NOX removal by                           pollution control technologies. With the
                                                 industrial category, and have far greater               existing operational SCRs and turning                    promulgation of the CSAPR Update and
                                                 variation in existing emissions control                 on and optimizing existing idled SCRs;                   the Revised CSAPR Update, most
                                                 requirements, emissions levels, and                     (2) installing state-of-the-art NOX                      operators in the covered states improved
                                                 technologies to reduce emissions. In                    combustion controls; (3) fully operating                 their SCR performance and have
                                                 general, despite these differences, the                 existing SNCRs, including both                           continued to maintain that level of
                                                 information available for this                          optimizing NOX removal by existing                       improved operation. However, this
                                                 rulemaking indicates that both EGUs                     operational SNCRs and turning on and                     optimized SCR performance was not
                                                 and certain non-EGU categories have                     optimizing existing idled SNCRs; (4)                     universal and not always sustained.
                                                 available cost-effective NOX emissions                  installing new SNCRs; and (5) installing                 Between 2017 and 2020, as the CSAPR
                                                 reduction opportunities at relatively                   new SCRs. Finally, for each of these                     Update ozone-season NOX allowance
                                                 commensurate cost per ton levels, and                   combustion and post combustion                           price declined, NOX emissions rates at
                                                 these emissions reductions will make a                  technologies identified, EPA evaluated                   some SCR-controlled EGUs increased.
                                                 meaningful improvement in air quality                   whether emissions reduction potential                    For example, power sector data from
                                                 at the downwind receptors. Section                      from generation shifting at that                         2019 revealed that, in some cases,
                                                 V.B.2 of this document describes EPA’s                  representative dollar per ton level was                  operating units had SCR controls that
                                                 process for selecting specific non-EGU                  appropriate at this Step. Shifting                       had been idled or were operating
                                                 industries and emissions unit types                     generation to lower NOX emitting or                      partially, and therefore suggested that
                                                 included in this final rulemaking.                      zero-emitting EGUs may occur in                          there remained emissions reduction
                                                    The EPA notes that its Step 3 analysis               response to economic factors. As the                     potential through optimization.198 The
                                                 for this FIP does not assess additional                 cost of emitting NOX increases, it                       EPA determined in the Revised CSAPR
                                                 emissions reduction opportunities from                  becomes increasingly cost-effective for                  Update that optimizing SCRs was a
                                                 mobile sources. The EPA continues to                    units with lower NOX rates to increase                   readily available approach for EGUs to
                                                 believe that title II of the CAA provides               generation, while units with higher NOX                  reduce NOX emissions in the 12 states
                                                 the primary authority and process for                   rates reduce generation. Because the                     addressed by a FIP in that rulemaking.
                                                 reducing these emissions at the Federal                 cost of generation is unit-specific, this                Noticeable improvements in emissions
                                                 level. EPA’s various Federal mobile                     generation shifting occurs incrementally                 rates at units with SCRs during the 2021
                                                 source programs, summarized in this                     on a continuum. For the reasons                          and 2022 compliance period further
                                                 section, have delivered and are                         explained in the following sections and                  affirm the ability of sources to quickly
                                                 projected to continue to deliver                        supported by technical information                       implement this mitigation strategy and
                                                 substantial nationwide reductions in                    provided in the EGU NOX Mitigation                       to realize emissions reductions from
                                                 both VOCs and NOX emissions; these                      Strategies Final Rule TSD included in                    doing so. This emissions reduction
                                                 reductions from final rules are factored                the docket for this final rule, the EPA                  measure is currently available at EGUs
                                                 into the Agency’s assessment of air                     determined that for the regional, multi-                 across the broader geography affected in
                                                 quality and contributions at Steps 1 and                state scale of this rulemaking, only EGU                 this final rulemaking (including in
                                                 2. Further, states are generally                        NOX emissions controls 1 and 3 are                       states not previously affected by the
                                                 preempted from regulating new vehicles                  possible for the 2023 ozone season (fully                Revised CSAPR Update). The EPA thus
                                                 and engines with certain exceptions,                    operating existing SCRs and SNCRs).                      determines that SCR optimization, of
                                                 and therefore a question exists regarding               The EPA finds that it is not possible to                 both idled and partially operating
                                                 EPA’s authority to address such                                                                                  controls, is a viable mitigation strategy
                                                                                                           197 The EPA recognizes that mechanisms exist
                                                 emissions through such means when                                                                                for the 2023 ozone season.
                                                                                                         under title I of the CAA that allow for the regulation
                                                 regulating in place of the states under                 of the use and operation of mobile sources to reduce
                                                                                                                                                                     The EPA estimates a representative
                                                 CAA section 110(c). See generally CAA                   ozone-precursor emissions. These include specific        marginal cost of optimizing SCR
                                                 section 209. See also 86 FR 23099. As                   requirements that apply in certain ozone                 controls to be approximately $1,600 per
                                                                                                         nonattainment areas including motor vehicle              ton, consistent with its estimation in the
                                                 noted earlier, the EPA accounted for                    inspection and maintenance (I/M) programs,
                                                 mobile source emissions reductions                                                                               Revised CSAPR Update for this
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                                                                                                         gasoline vapor recovery, clean-fuel vehicle
                                                 resulting from other federally                          programs, transportation control programs, and           technology. EPA’s EGU NOX Mitigation
                                                 enforceable regulatory programs in the                  vehicle miles traveled programs. See, e.g., CAA          Strategies Final Rule TSD for this rule
                                                                                                         sections 182(b)(3), 182(b)(4), 182(c)(3), 182(c)(4),
                                                 development of emissions inventories                    182(c)(5), 182(d)(1), 182(e)(3), and 182(e)(4). The
                                                                                                                                                                  describes a range of cost estimates for
                                                 used to support analysis for this final                 EPA views these programs as well as others that
                                                                                                                                                                     198 See ‘‘Ozone Season Data 2018 vs. 2019’’ and
                                                 rulemaking, and the EPA does not                        meet CAA requirements can be effective and
                                                                                                         appropriate in the context of the planning               ‘‘Coal-fired Characteristics and Controls’’ at https://
                                                 evaluate any mobile source control                      requirements applicable to designated                    www.epa.gov/airmarkets/power-plant-data-
                                                 measures in its Step 3 evaluation in this               nonattainment areas.                                     highlights#OzoneSeason.



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                                                 this technology noting that the costs are               performance as it did in the Revised                   reasonable level of performance for
                                                 frequently lower than—and for the                       CSAPR Update. To estimate EGU NOX                      optimizing existing SCRs at oil- and gas-
                                                 majority of EGUs, significantly lower                   reduction potential from optimizing, the               fired steam units and simple cycle units
                                                 than—this representative marginal cost.                 EPA considers the difference between                   (for which EPA determined that a 0.03
                                                 While the costs of optimizing existing,                 the non-optimized NOX emissions rates                  lb/mmBtu emissions rate reflected SCR
                                                 operational SCRs include only variable                  and an achievable operating and                        optimization) as well as at combined-
                                                 costs, the cost of optimizing SCR units                 optimized SCR NOX emissions rate. To                   cycle units (for which the EPA
                                                 that are currently idled considers both                 determine this rate, EPA evaluated                     determined that a 0.012 lb/mmBtu
                                                 variable and fixed costs of returning the               nationwide coal-fired EGU NOX ozone                    emissions rate reflected SCR
                                                 control into service. Variable and fixed                season emissions data from 2009                        optimization).
                                                 costs include labor, maintenance and                    through 2019 and calculated an average                    The EPA evaluated the feasibility of
                                                 repair, parasitic load, and ammonia or                  NOX ozone season emissions rate across                 optimizing idled SCRs for the 2023
                                                 urea for use as a NOX reduction reagent                 the fleet of coal-fired EGUs with SCR for              ozone season. Based on industry past
                                                 in SCR systems. Depending on a unit’s                   each of these eleven years. The EPA                    practice, the EPA determined that idled
                                                 control operating status, the                           found it prudent to not consider the                   controls can be restored to operation
                                                 representative cost at the 90th percentile              lowest or second-lowest ozone season                   quickly (i.e., in less than 2 months).
                                                 unit (among the relevant fleet of coal                  NOX emissions rates, which may reflect                 This timeframe is informed by many
                                                 units with SCR covered in this                          SCR systems that have all new                          electric utilities’ previous long-standing
                                                 rulemaking) ranges between $900 and                     components (e.g., new layers of                        practice of utilizing SCRs to reduce EGU
                                                 $1,700 per ton. The EPA performed an                    catalyst). Data from these systems are                 NOX emissions during the ozone season
                                                 in-depth cost assessment for all coal-                  potentially not representative of ongoing              while putting the systems into
                                                 fired units with SCRs and found that for                achievable NOX emissions rates                         protective lay-up during the non-ozone
                                                 the subset of SCRs that are already                     considering broken-in components and                   season months. For example, this was
                                                 partially operating, the cost of                        routine maintenance schedules.                         the long-standing practice of many
                                                 optimizing is often much lower than                     Considering the emissions data over the                EGUs that used SCR systems for
                                                 $1,600 per ton and is often under $900                  full time period from 2009–2019 results                compliance with the NOX Budget
                                                 per ton. The EPA anticipates the vast                   in a third-best rate of 0.079 pounds NOX               Trading Program. It was quite typical for
                                                 majority of realized cost for compliance                per million British thermal units (lb/                 SCRs to be turned off following the end
                                                 with this strategy to be better reflected               mmBtu). Therefore, consistent with the                 of the ozone season control period on
                                                 by the $900 per ton end of that range                   Revised CSAPR Update, where EPA                        September 30. These controls would
                                                 (reflecting the 90th percentile of EGUs                 identified 0.08 lb/mmBtu as a                          then be put into protective lay-up for
                                                 optimizing SCRs that are already                        reasonable level of performance for                    several months of non-use before being
                                                 partially operating) because this                       units with optimized SCR, the EPA                      returned to operation by May 1 of the
                                                 circumstance is considerably more                       finalizes a rate of 0.08 lb/mmBtu as the               following ozone season.200 Therefore,
                                                 common than EGUs that have ceased                       optimized rate for this rule. The EPA                  the EPA believes that optimization of
                                                 operating their SCR. This cost                          notes that half of the SCR-controlled                  existing SCRs is possible for the portion
                                                 distinction is reflected in the EPA’s RIA               EGUs achieved a NOX emissions rate of                  of the 2023 ozone season covered under
                                                 cost estimates. When representing the                   0.064 lb/mmBtu or lower over their                     this final rule. The recent successful
                                                 cost of optimization here, the EPA uses                 third-best entire ozone season.                        implementation of this strategy for the
                                                 the higher value to reflect both                                                                               Revised CSAPR Update Rule, and
                                                                                                         Moreover, for the SCR-controlled coal
                                                 optimization of partially operating and                                                                        corresponding fast improvement in SCR
                                                                                                         units that the EPA identified as having
                                                 idled controls. EPA’s analysis of this                                                                         performance rates at units with
                                                                                                         a 2021 emissions rate greater than 0.08
                                                 emissions control is informed by the                                                                           optimization potential, provides further
                                                                                                         lb/mmBtu, the EPA verified that in prior
                                                 latest engineering modeling equations                                                                          supporting evidence of the viability of
                                                                                                         years, the majority (more than 90
                                                 used in EPA’s IPM platform. These cost                                                                         this timeframe.
                                                                                                         percent) of these same units had                          The vast majority of SCR-controlled
                                                 and performance equations were                          demonstrated and achieved a NOX
                                                 recently updated in the summer of 2021                                                                         units (nationwide and in the 23 linked
                                                                                                         emissions rate of 0.08 lb/mmBtu or less                states for which EPA is issuing a FIP for
                                                 in preparation for this rule, and
                                                                                                         on a seasonal or monthly basis. This                   EGUs) are already partially operating
                                                 subsequently evaluated for the final rule
                                                                                                         further supports EPA’s determination                   these controls during the ozone season
                                                 in 2022 and determined to still be
                                                                                                         that 0.08 lb/mmBtu reflects a reasonable               based on reported 2021 and 2022
                                                 appropriate. The description and
                                                                                                         emissions rate for representing SCR                    emissions rates. Notably, the higher
                                                 development of the equations are
                                                                                                         optimization at coal steam units in                    ozone season NOX allowance price
                                                 documented in EGU NOX Mitigation
                                                                                                         identifying uniform control stringency.                observed in 2022 resulted in more units
                                                 Strategies Final Rule TSD and
                                                                                                         This emissions rate assumption of 0.08                 operating their controls closer to their
                                                 accompanying documents.199 They are
                                                                                                         lb/mmBtu reflects what those units                     potential and bringing collective
                                                 also implemented in an interactive
                                                                                                         would achieve on average when                          emissions from those 12 states closer to
                                                 spreadsheet tool called the Retrofit Cost
                                                                                                         optimized, recognizing that individual                 the 2023 emissions budgets for those
                                                 Analyzer and applied to all units in the
                                                                                                         units may achieve lower or higher rates                states in this final rule, accordingly.
                                                 fleet. These materials are available in
                                                                                                         based on unit-specific configuration and
                                                 the docket for this action.
                                                                                                         dispatch patterns. Units historically                    200 In the 22-state CSAPR Update region, 2005
                                                    The EPA is using the same
                                                                                                         performing at, or better, than this rate of            EGU NOX emissions data suggest that 125 EGUs
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                                                 methodology to identify SCR                                                                                    operated SCR systems in the summer ozone season
                                                                                                         0.08 lb/mmBtu are assumed to continue
                                                                                                                                                                while idling these controls for the remaining 7 non-
                                                   199 The CSAPR Update estimated $1,400 per ton         to operate at that prior performance                   ozone season months of the year. Units with SCR
                                                 as a representative cost of turning on idled SCR        level.                                                 were identified as those with 2005 ozone season
                                                 controls. EPA used the same costing methodology            Given the magnitude and duration of                 average NOX rates that were less than 0.12 lb/
                                                 while updating for input cost increases (e.g., urea                                                            mmBtu and 2005 average non-ozone season NOX
                                                 reagent) to arrive at $1,600 per ton in the final
                                                                                                         the air quality problems addressed by                  emissions rates that exceeded 0.12 lb/mmBtu and
                                                 Revised CSAPR Update (while also updating from          this rulemaking, the EPA also applied                  where the average non-ozone season NOX rate was
                                                 2011 dollars to 2016 dollars).                          the same methodology to identify a                     more than double the ozone season rate.



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                                                 Existing SCRs operating at partial                      data included impacts from COVID–19                    what those units would achieve when
                                                 capacity still provide functioning,                     pandemic shutdowns (such as atypical                   optimized. Some of these units may
                                                 maintained systems that may only                        electricity demand patterns) which                     achieve rates that are lower than 0.08 lb/
                                                 require an increased chemical reagent                   complicate interpretations of typical                  mmBtu, and some units may operate
                                                 feed rate (i.e., ammonia or urea) up to                 EGU emissions performance.                             above that rate based on unit-specific
                                                 their design potential and catalyst                     Additionally, EPA believes that in this                configuration and dispatch patterns. In
                                                 maintenance for mitigating NOX                          context, a unit’s retirement in 2020 or                other words, EPA is using this
                                                 emissions; such units may require                       2021 does not obviate the usefulness of                assumption as the average performance
                                                 increased frequency or quantity of                      its prior SCR operational data for                     of a unit that optimizes its SCR,
                                                 deliveries, which can be accomplished                   assessing the emissions control                        recognizing that heterogeneity within
                                                 within a few weeks. In many cases,                      performance of other existing SCRs                     the fleet will likely lead some units to
                                                 EGUs with SCR have historically                         across the fleet. Consequently, EPA is                 overperform and others to underperform
                                                 achieved more efficient NOX removal                     continuing to use the same value of the                this rate. Moreover, a review of unit-
                                                 rates than their current performance and                0.08 lb/mmBtu emissions rate                           specific historical data indicates that
                                                 can therefore simply revert to earlier                  calculated from the 2009–2019 data set                 this is a reasonable assumption: not
                                                 operation and maintenance plans that                    identified at the time of the final                    only has the group of units with SCR
                                                 achieved demonstrably better SCR                        Revised CSAPR Update Rule in this                      optimization potential demonstrated
                                                 performance.                                            rulemaking. EPA’s analysis focuses on                  they can perform at or better than the
                                                    In the 12 states subject to this control             the third best ozone season average rate               0.08 lb/mmBtu rate on average, over 90
                                                 stringency in the Revised CSAPR                         because EPA believes that the first- or                percent of the individual units in this
                                                 Update, the EPA observed significant                    second-best rate, consistent with its                  group have already met this rate on a
                                                 immediate-term improvements in SCR                      CSAPR Update final rule and in the                     seasonal and/or monthly basis based on
                                                 performance in the first ozone season                   Revised CSAPR Update, could give                       their reported historical data.
                                                 following finalization of that rule, as                 undue weight to the emissions control                     Additionally, EPA’s examination of
                                                 evidenced in particular by the sharp                    performance of new SCRs in their first                 units experiencing SCR performance
                                                 drop in emissions rate at Miami Fort                    year of service and their corresponding                deterioration included notable instances
                                                 unit 7 (see EGU NOX Mitigation                          newer SCR components. It does not                      of poor NOX control at increased
                                                 Strategies Final Rule TSD). For instance,               necessarily reflect achievable ongoing                 capacity factors. As an example, Miami
                                                 in June of 2021—within months of the                    NOX emissions rates at relatively older                Fort Unit 7 had considerably more
                                                 Revised CSAPR Rule being finalized—                     SCRs. The third-lowest season was                      hours of operation at a 70 to 79 percent
                                                 Miami Fort Unit 7 and Unit 8 (which                     selected because it represents a time                  capacity factor in 2019 compared to
                                                 had substantial SCR optimization                        when the unit was most likely                          previous years. However, Miami Fort
                                                 potential) were able to reach levels of                 consistently and efficiently operating its             Unit 7’s ozone-season NOX emissions
                                                 0.07 lb/mmBtu of NOX (a greater than 50                 SCR in a manner representative of                      rate substantially increased in 2019
                                                 percent reduction from where they had                   sustained future operation.                            compared to previous years. This SCR
                                                 operated the prior year during the same                    Comment: Other commenters                           performance deterioration runs counter
                                                 month). Such empirical data further                     suggested that EPA should apply a                      to the notion that an increase in
                                                 illustrates the viability of this mitigation            higher NOX emissions rate than 0.08 lb/                emissions rates is purely driven by
                                                 strategy for the 2023 control period in                 mmBtu to existing SCR at coal EGUs                     reduced capacity factor, as suggested by
                                                 response to this rule.                                  premised on considerations such as: a                  commenters. This substantial
                                                    Comment: EPA received comments                       generally reduced average capacity                     deterioration in the median emissions
                                                 supporting the 0.08 lb/mmBtu                            factor for coal units in recent years, the             rate performance is observable even
                                                 emissions rate as achievable and,                       age of the boiler, coal rank (bituminous               when comparing specific hours in 2019
                                                 according to some commenters,                           or subbituminous), or other unit-specific              to specific hours in prior years when the
                                                 underestimate the control’s potential.                  considerations that commenters claim                   unit operated in the same 70 to 79
                                                 Some of these commenters went on to                     make the 0.08 lb/mmBtu rate                            percent capacity factor range. In fact, in
                                                 provide their own analysis                              unattainable for a specific unit.                      2019 the unit experienced notable
                                                 demonstrating that the 0.08 lb/mmBtu                       Response: EPA did not find sufficient               emissions rate increases from prior
                                                 was achievable not only on average for                  justification to apply a higher average                years across multiple capacity factor
                                                 the non-optimized fleet, but also for                   emissions rate than 0.08 lb/mmBtu. EPA                 ranges as low as 40 percent to as high
                                                 these individual units and that the                     found that some commenters were                        as 80 percent. This type of data
                                                 resulting state emissions budgets were                  misunderstanding or misconstruing                      indicates instances where the increase
                                                 likewise achievable. Some commenters                    both EPA’s assumption and                              in emissions rate (and emissions) is not
                                                 suggested that the rate should be lower                 implementation mechanism as a unit-                    necessitated by load changes but is more
                                                 and premised on EPA using the first- or                 level requirement for every SCR-                       likely due to the erosion of the existing
                                                 second-best year instead of the third                   controlled unit instead of a reflection of             incentive to optimize controls (i.e., the
                                                 best year of SCR performance. Some                      a fleet-wide average based on a third-                 ozone-season NOX allowance price has
                                                 commenters observed that using the                      best rate. The commenters’                             fallen so low that unit operators find it
                                                 same methodology, but omitting SCR                      observation—that 0.08 lb/mmBtu may                     more economic to surrender additional
                                                 units that have since retired, could                    be difficult for some units to achieve or              allowances instead of continuing to
                                                 deliver an even lower SCR performance                   may not be a preferred compliance                      operate pollution controls at an
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                                                 benchmark rate.                                         strategy for a given unit given its                    optimized level).
                                                    Response: The EPA notes that                         dispatch levels—does not contradict                       EPA observed this pattern in other
                                                 updating the inventory of coal-fired                    EPA’s assumption, but rather supports                  units identified in this rulemaking as
                                                 EGUs to reflect recent retirements and to               its methodology and assumptions. As                    having significant SCR optimization
                                                 include data reported since 2019 (e.g.,                 EPA pointed out in the proposed rule,                  emissions reduction potential. In the
                                                 2009–2021) would provide a lower                        this fleet-level emissions rate                        accompanying Emissions Data TSD for
                                                 value of 0.071 lb/mmBtu. However, EPA                   assumption of 0.08 lb/mmBtu for non-                   the supplemental notice that EPA
                                                 acknowledges that 2020 operational                      optimized units reflects, on average,                  recently released in a proceeding to


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                                                 address a recommendation submitted to                   NOX emissions rates across operating                   performance declines at those lower
                                                 EPA by the Ozone Transport                              levels than in the past, particularly at               operating levels. However, hourly data
                                                 Commission under CAA section 184(c),                    mid-operating levels.’’ 201 That hourly                indicate that maintaining consistent
                                                 EPA noted, ‘‘In their years with the                    data analysis, included in this docket,                SCR performance at lower capacity
                                                 lowest average ozone season NOX                         controls for operating level changes and               factors is possible. For example, the
                                                 emissions rates in this analysis, these                 still finds there to be instances across               unit-level performance data in Figure 2
                                                 EGUs had relatively low NOX emissions                   multiple SCR-controlled units where                    to section VI.B of this document show
                                                 rates at mid- and high-operating levels;                hourly emissions rates are increasing                  the emissions rate at a coal-fired EGU
                                                 moreover, there was little variability in               even when compared to the same load                    with existing SCR staying relatively low
                                                 NOX emissions rates at these operating                  levels in previous years.                              (consistent with our optimization
                                                 levels. However, during the 2019 ozone                     Some commenters have alleged that                   assumption of 0.08 lb/mmBtu) and
                                                 season, these EGUs had higher NOX                       in recent years coal-fired EGUs have                   stable across a wide range of capacity
                                                 emissions rates and greater variability in              declined in capacity factor and that SCR               factors.202




                                                   Furthermore, most recent data from                    0.25 lb/mmBtu in the 2021 season). This                performance may not be available at all
                                                 2022 illustrates that cycling units do                  2022 improvement in SCR operation                      units with optimization potential. These
                                                 have the ability to adjust cycling                      occurred during a period when                          commenters also disagree with the EPA
                                                 patterns in a manner that enables them                  allowance prices increased relative to                 finding that SCRs can consistently
                                                 to maintain a lower emissions rate                      prior years, creating an incentive for                 maintain a 0.08 lb/mmBtu rate over
                                                 throughout the season while still                       potential emissions reductions through                 time.
                                                 achieving a load cycling pattern at the                 SCR optimization.                                         Response: EPA reviewed the data and
                                                 unit. For example, the SCR-controlled                      Comment: EPA also received                          its methodology and evaluated it against
                                                 Conemaugh Unit 2 in Pennsylvania                        comment suggesting it should deviate                   its intention to identify a technology-
                                                 adjusted operating patterns in 2022 to                  from its approach in the CSAPR Update                  specific representative emissions rate
                                                 have a slightly higher minimum load in                  of using a nationwide data set of all SCR              for SCR optimization. In doing so, EPA
                                                 most hours (maintaining a range of 550                  controlled coal units to establish a third             did not identify any need to make the
                                                 MW–900 MW for most hours as                             best year, and instead limit the dataset               suggested change. EPA is interested in
                                                 opposed to 450 MW–900 MW observed                       to either just the covered states, or—in               the performance potential of a
                                                 in 2021). This change in minimum load,                  the case of some commenters—just to                    technology, and a larger dataset
                                                 and corresponding minimum operating                     the baseline years of those units at                   provides a superior indication of that
                                                 temperature, enabled the unit to                        which EPA is identifying optimization                  potential as opposed to a smaller, state-
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                                                 maintain emissions rates in the 0.05 lb/                potential. They claim the current                      limited dataset. Moreover, EPA’s use of
                                                 mmBtu to 0.10 lb/mmBtu range for most                   methodology may capture extremely                      the third best year (as opposed to best)
                                                 of the 2022 season (as opposed to NOX                   efficient SCR performance years at the                 from its baseline period results in an
                                                 emissions rates that regularly exceeded                 best performing units and that level of                average optimization level that is robust
                                                   201 ‘‘Analysis of Ozone Season NO Emissions           2020. Available at https://www.epa.gov/sites/           202 EPA, Air Markets Program Data. Available at
                                                                                     X
                                                 Data for Coal-Fired EGUs in Four Mid-Atlantic           production/files/2020-12/documents/184c_               www.epa.gov/ampd.
                                                                                                                                                                                                                   ER05JN23.000</GPH>




                                                 States,’’ EPA Clean Air Markets Division. December      emission_data_tsd.pdf.



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                                                 to the commenters’ concern that EPA                     it would remain one of the most widely                 b. Installing State-of-the-Art NOX
                                                 should not overstate the fleetwide                      available, widely practiced, and lowest                Combustion Controls
                                                 representative optimization level. Prior                cost mitigation measures with                             The EPA estimates that the
                                                 experience with EPA’s methodology and                   meaningful downwind air quality                        representative cost of installing state-of-
                                                 program has borne out empirical                         benefit. Appendix B of the EGU NOX                     the-art combustion controls is
                                                 evidence of its reasonableness. In both                 Mitigation Strategies Final Rule TSD                   comparable to, if not notably less than,
                                                 the CSAPR Update and in Revised                         further addresses commenters’ concerns                 the estimated cost of optimizing existing
                                                 CSAPR Update rule, EPA appropriately                    as it provides a variety of sensitivities              SCR (represented by $1,600 per ton).
                                                 relied on the largest dataset possible                  showing cost per ton levels under a                    State-of-the-art combustion controls
                                                 (i.e., nationwide) to derive technology                 variety of different input assumptions                 such as low-NOX burners (LNB) and
                                                 performance averages that it then                       (including higher material and reagent                 over-fire air (OFA) can be installed or
                                                 applied respectively to the CSAPR                       cost). It supports the continued                       updated quickly and can substantially
                                                 Update 22-state region and the Revised                  inclusion of this technology in the rule               reduce EGU NOX emissions.
                                                 CSAPR Update’s 12-state region. EPA                     even in the event that higher reagent                  Nationwide, approximately 99 percent
                                                 repeats that successful approach in this                costs extend into compliance years.                    of coal-fired EGU capacity greater than
                                                 rule. Finally, as noted in the preceding                   Comment: While many commenters                      25 MW is equipped with some form of
                                                 paragraphs, in affirming the                            supported the feasibility of 2023 ozone-               combustion control; however, the
                                                 reasonableness of this approach, EPA                    season implementation by noting the                    control configuration or corresponding
                                                 examined the historical reported data                   ‘‘immediate availability’’ of SCR                      emissions rates at a small portion of
                                                 (pre-2021) for the units in the states                  optimization, other commenters argued                  those units (including units in those
                                                 with SCR optimization potential and                     that the engineering, procurement, and                 states covered in this action) indicate
                                                 found the nationwide derived average                    other steps required for SCR                           they do not currently have state-of-the-
                                                 appropriate and consistent with                         optimization were not feasible given the               art combustion control technology. For
                                                 demonstrated capability and                             anticipated limited window between                     this rulemaking, the Agency re-
                                                 performance of units within those                       rule finalization and the start of the                 evaluated its NOX emissions rate
                                                 states. That is, the vast majority of units             2023 ozone season.                                     assumptions for upgrading existing
                                                 to which this resulting emissions rate                     Response: There is ample evidence of
                                                                                                                                                                combustion controls to state-of-the-art
                                                 assumption was being applied had                        units restoring their optimal
                                                                                                                                                                combustion control. The EPA is
                                                 demonstrated the ability to achieve this                performance within a two-month
                                                                                                                                                                maintaining its determination that NOX
                                                 rate in some prior year for an extended                 timeframe. Not only do units reactivate
                                                                                                                                                                emissions rates of 0.146 to 0.199 lb/
                                                 monthly or seasonal basis. This                         SCR performance level at the start of an
                                                                                                                                                                mmBtu can be achieved on average
                                                 information is discussed further in the                 ozone-season when tighter emissions
                                                                                                                                                                depending on the unit’s boiler
                                                 EGU NOX Mitigation Strategies Final                     limits begin, but unit-level data also
                                                                                                                                                                configuration,203 and, once installed,
                                                 Rule TSD in the docket.                                 shows instances where sources have
                                                                                                                                                                reduce NOX emissions at all times of
                                                    Comment: Some commenters                             demonstrated the ability to quickly alter
                                                                                                                                                                EGU operation.
                                                 suggested the price of SCR optimization                 their emissions rate within an ozone-                     These assumptions are consistent
                                                 is higher than the $1,600 per ton figure                season and even within the same day in                 with the Revised CSAPR Update. They
                                                 proposed due to current market                          some cases. Moreover, this emissions                   are further discussed in the EGU NOX
                                                 conditions for aqueous ammonia or                       control is familiar to sources and was                 Mitigation Strategies Final Rule TSD. In
                                                 other input prices.                                     analyzed and included in the Revised                   particular, the EPA is finalizing, as
                                                    Response: EPA provides a                             CSAPR Update emissions budgets                         proposed, the application of the 0.199
                                                 representative cost for this mitigation                 finalized in 2021 and the CSAPR                        lb/mmBtu emissions rate assumption for
                                                 technology which is anticipated to                      Update emissions budgets finalized in                  both boiler types (tangentially and wall
                                                 reflect the cost, on average, throughout                2016. With this experience, and notice                 fired). EPA’s analysis calculated average
                                                 the compliance period for the rule.                     through the March 2022 proposed rule,                  emissions rates of 0.199 lb/mmBtu for
                                                 While there may be volatility in the                    as well as over two months from final                  combustion controls on dry bottom wall
                                                 market during that period where the                     rule to effective date, the viability of this          fired units and 0.146 lb/mmBtu for
                                                 price falls above or below the single                   emissions control for the 2023 ozone                   tangentially fired units. However, many
                                                 representative threshold value, EPA’s                   season is consistent with the 2-week to                of the likely impacted units burn
                                                 EGU NOX Mitigation Strategies Final                     2-month timeframe that EPA identified                  bituminous coal, and the 0.146 lb/
                                                 Rule TSD explains how the                               as reasonable in the CSAPR Update,                     mmBtu nationwide average for
                                                 representative cost is derived and is                   Revised CSAPR Update, and in this                      tangentially-fired (inclusive of
                                                 inclusive of consultation and vetting by                rulemaking. Similar to prior rules,                    subbituminous units) appears to be
                                                 third party air pollution control                       commenters provide some unit-level                     below the demonstrated emissions rate
                                                 consulting groups. Commenters did not                   examples where it has taken longer.                    of state-of-the-art combustion controls
                                                 demonstrate that observed 2021                          Also similar to those prior rules, EPA                 for bituminous coal units of this boiler
                                                 elevated prices amid market volatility                  does not find those unit-level examples                type. Therefore, EPA’s assignment of a
                                                 would continue into the future                          compelling in the context of its fleet                 0.199 lb/mmBtu emissions rate for
                                                 compliance periods discussed in this                    average assumptions and in the                         combustion controls at all affected unit
                                                 rule. Moreover, the selection of the                    implementation context of a trading
                                                                                                                                                                types is robust to current and future coal
                                                 mitigation technology is reflective of a                program which provides compliance
                                                                                                                                                                choice at a unit.
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                                                 variety of factors including reduction                  alternatives in the event a specific unit                 The EPA has previously examined the
                                                 potential and air quality impact. A                     prefers more time to implement a given                 feasibility of installing combustion
                                                 higher cost (commenter suggests up to                   control measure. As noted in Wisconsin,                controls and found that industry had
                                                 $3,800 per ton) would not change EPA’s                  ‘‘. . . all those anecdotes show is that               demonstrated ability to install state-of-
                                                 determination that optimizing already                   installation can drag on when
                                                 existing SCRs is an appropriate                         companies are unconstrained by the                      203 Details of EPA’s assessment of state-of-the-art
                                                 mitigation strategy for Step 3 emissions                ticking clock of the law.’’ 938 F.3d at                NOX combustion controls are provided in the EGU
                                                 reduction analysis in this rulemaking as                330.                                                   NOX Mitigation Strategies Final Rule TSD.



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                                                 the-art LNB controls on a large unit (800               lower capacity factor is assumed. 99                   rate would require from the specific
                                                 MW) in under six months when                            percent of units have some form of                     segment of the fleet identified as having
                                                 including the pre-installation phases                   combustion controls, indicating the                    this mitigation measure available. Here
                                                 (design, order placement, fabrication,                  widespread cost-effectiveness of this                  too, EPA found that the effective percent
                                                 and delivery).204 In prior rules, the EPA               control. See the EGU NOX Mitigation                    reduction for the identified fleet
                                                 has documented its own assessment of                    Strategies Final Rule TSD for additional               (inclusive of their existing coal rank
                                                 combustion control timing installation                  details.                                               choice) is well within the historical
                                                 as well as evaluated comments it                           At proposal EPA assumed that                        performance range for this technology.
                                                 received regarding installation of                      emissions reductions from combustion                   Therefore, EPA is finalizing the
                                                 combustion controls from the Institute                  control upgrades at affected EGUs in                   combustion control upgrade
                                                 of Clean Air Companies.205 Those                        states subject to the Revised CSAPR                    performance assumption of 0.199 lb/
                                                 comments provided information on the                    Update program could occur by 2023                     mmBtu as appropriate representative
                                                 equipment and typical installation time                 given that those EGUs may have already                 average performance rate for this
                                                 frame for new combustion controls,                      begun pursuing such upgrades in                        technology and robust to different boiler
                                                 accounting for all steps. To date, EPA                  response to that previous rule. However,               types and coal ranks.
                                                 has found it generally takes between 6–                 EPA does not have data to confirm that
                                                                                                         presumption, and hence EPA is                          c. Optimizing Already Operating SNCRs
                                                 8 months on a typical boiler—covering                                                                          or Turning on Idled Existing SNCRs
                                                 the time through bid evaluation through                 determining in this final rule that
                                                 start-up of the technology. The                         combustion control upgrades for all                       Optimizing already operating SNCRs
                                                 deployment schedule is repeated here                    affected EGUs, regardless of whether                   or turning on idled existing SNCRs can
                                                 as:                                                     they were previously subject to the                    also reduce EGU NOX emissions
                                                                                                         Revised CSAPR Update program, should                   quickly, using investments in pollution
                                                 • 4–8 weeks—bid evaluation and
                                                                                                         be considered available by the 2024                    control technologies that have already
                                                    negotiation
                                                 • 4–6 weeks—engineering and                             ozone season, consistent with the                      been made. Compared to no post-
                                                    completion of engineering drawings                   deployment schedule noted in this                      combustion controls on a unit, SNCRs
                                                 • 2 weeks—drawing review and                            section.                                               can achieve a 25 percent reduction on
                                                    approval from user                                      Comment: Some commenters                            average in EGU NOX emissions (with
                                                 • 10–12 weeks—fabrication of                            suggested that EPA, in its modeling for                sufficient reagent). They are less capital
                                                    equipment and shipping to end user                   the proposed rule, overestimated the                   intensive but less efficient at NOX
                                                    site                                                 ability of combustion control                          removal than SCRs. These controls are
                                                 • 2–3 weeks—installation at end user                    technologies to achieve very low NOX                   in use to some degree across the U.S.
                                                    site                                                 emissions rates. The commenters claim                  power sector. In the 22 linked states
                                                 • 1 week—commissioning and start-up                     EPA’s assumptions are derived from                     with EGU reductions identified in this
                                                    of technology                                        projected NOX emissions rates based on                 final rule, approximately 11 percent of
                                                    Given the referenced timeframe of                    ideal circumstances for NOX emissions                  coal-fired EGU capacity is equipped
                                                 approximately 6 to 8 months to                          reductions, including combinations of                  with SNCR.206 Recent power sector data
                                                 complete combustion control                             fuel composition and unit design that                  suggest that, in some cases, SNCR
                                                 installation in the region, the EPA is                  are not typical and should not be                      controls have been operating less in
                                                 finalizing that installation of state-of-               extrapolated to the national inventory.                2021 relative to performance in prior
                                                 the-art combustion controls is a readily                   Response: EPA’s emissions                           years. For instance, EPA reviewed the
                                                 available approach for EGUs to reduce                   performance rate for state-of-the-art                  last five years of performance data for
                                                 NOX emissions by the start of the 2024                  combustion controls is derived from                    all the units with SNCR optimization
                                                                                                         historical data and takes both boiler                  potential in its Engineering Analysis. It
                                                 ozone season. More details on these
                                                                                                         type and coal choice into account. EPA                 found that in 2021—the most recent
                                                 analyses can be found in the EGU NOX
                                                                                                         reviewed historical data and identified                year reviewed—that the weighted
                                                 Mitigation Strategies Final Rule TSD.
                                                    The cost of installing state-of-the-art              the average emissions rates for units                  average ozone season emissions rate for
                                                 combustion controls per ton of NOX                      with this technology already in place. It              these units was higher than the prior
                                                 reduced is dependent on the                             segmented this analysis by boiler type                 three years (indicating some
                                                 combustion control type and unit type.                  (dry-bottom wall-fired boiler and                      deterioration in average performance).
                                                 The EPA estimates the cost per ton of                   tangentially-fired, and further                        Moreover, a unit level review illustrated
                                                                                                         segmented by coal rank to assess the                   that 80 of the 107 units had performed
                                                 state-of-the-art combustion controls to
                                                                                                         average performance among these                        better in a prior year by an average of
                                                 be $400 per ton to $1,200 per ton of
                                                                                                         varying parameters. As explained in the                13 percent—indicating substantial
                                                 NOX removed using a representative
                                                                                                         EGU NOX Mitigation Strategies Final                    optimization potential.207
                                                 capacity factor of 85 percent. This cost
                                                                                                         Rule TSD, EPA chose an emissions rate                     The EPA determined that optimizing
                                                 fits well within EPA’s representative
                                                                                                         for which it verified accommodated                     already operating SNCRs or turning on
                                                 cost threshold observed for SCR
                                                                                                         (i.e., was greater than or equal to) the               idled SNCRs is an available approach
                                                 optimization and combustion controls                                                                           for EGUs to reduce NOX emissions, has
                                                                                                         average performance rate identified
                                                 (of $1,600 per ton) which would                                                                                similar implementation timing to
                                                                                                         above for each boiler configuration with
                                                 accommodate combustion control                                                                                 restarting idled SCR controls (less than
                                                                                                         state-of-the-art combustion controls and
                                                 upgrade even under scenarios where a                                                                           2 months for a given unit), and therefore
                                                                                                         resulted in reductions consistent with
                                                                                                                                                                could be implemented in time for the
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                                                   204 The EPA finds that, generally, the installation
                                                                                                         the technology’s assumed percent
                                                 phase of state-of-the-art combustion control            reduction potential when applied to this               2023 ozone season. In this final rule, the
                                                 upgrades—on a single-unit basis—can be as little as     subset of units. It also assessed whether              EPA is determining that this emissions
                                                 4 weeks to install with a scheduled outage (not         the rate had been demonstrated by both
                                                 including the pre-installation phases such as           subbituminous and bituminous coal                        206 https://www.epa.gov/airmarkets/national-
                                                 permitting, design, order, fabrication, and delivery)                                                          electric-energy-data-system-needs-v6.
                                                 and as little as 6 months considering all               units with state-of-the-art combustion                   207 See ‘‘Historical Emission Rates for Units with
                                                 implementation phases.                                  controls. EPA further assessed the                     SNCR Optimization Potential’’ in the docket for this
                                                   205 EPA–HQ–OAR–2015–0500–0093.                        percent reduction that achieving this                  rulemaking.



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                                                 control measure is available beginning                  hookup is as little as 16 months                       program will encourage these EGUs to
                                                 in the 2023 ozone season.                               including pre-contract award steps for                 determine and adopt emissions
                                                    Using the Retrofit Cost Analyzer                     an individual power plant installing                   reduction measures (including SNCR or
                                                 described in the EGU NOX Mitigation                     controls on more than one boiler.                      SCR) as soon as possible to reduce their
                                                 Strategies Final TSD, the EPA estimates                 However, SNCR retrofits have less                      allowance holding compliance burden.
                                                 a representative cost of optimizing                     pollution reduction potential than SCRs,               By scheduling SNCR-related emissions
                                                 SNCR ranging from approximately                         and as explained further in the next                   reductions potential for the 2026 ozone
                                                 $1,800 per ton (for partially operating                 section, the EPA is identifying the                    season, the EPA preserves the
                                                 SNCRs) to $3,900 per ton (for idled                     retrofit of new SCR rather than SNCR as                opportunity for considerably superior
                                                 SNCRs). For existing SNCRs that have                    a strategy for larger steam units due to
                                                                                                                                                                emissions reduction potential from
                                                 been idled, unit operators may need to                  this lower removal efficiency. This
                                                 restart payment of some fixed and                                                                              these EGUs should they select SCR
                                                                                                         approach respects empirical evidence
                                                 variable operating costs including labor,               that larger coal-fired EGUs which                      retrofit instead, while still requiring
                                                 maintenance and repair, parasitic load,                 installed post-combustion NOX control                  post-combustion control emissions
                                                 and ammonia or urea. The EPA                            technology have overwhelmingly                         reduction potential ahead of the next
                                                 determined that the majority of units                   chosen SCRs over SNCRs. Even for                       attainment date.
                                                 with existing SNCR optimization                         smaller units less than 100 MW                            Comment: Some commenters argued
                                                 potential were already partially                        identified as potential candidates for                 that the upper range of SNCR NOX
                                                 operating their controls. Therefore, the                SNCR technology, the EPA does not                      removal performance (40 percent)
                                                 EPA finalizes a representative cost of                  want to preclude those units from                      referenced by EPA is optimistic for
                                                 $1,800 per ton for SNCR optimization as                 pursuing SCR in lieu of SNCR.                          many boilers.
                                                 this value best reflects the                               Therefore, in this final rule the EPA
                                                 circumstances of the majority of the                    defines the availability of emissions                     Response: EPA evaluated both actual
                                                 affected EGUs with SNCR.                                reductions from post-combustion                        performance and engineering literature
                                                                                                         control installation to be in 2026, the                regarding SNCR retrofit technology and
                                                 d. Installing New SNCRs                                                                                        found both sources supported the range
                                                                                                         same period as the start of SCR-based
                                                   The EPA evaluated potential                           reductions becoming available, to allow                of reduction estimates cited by EPA.
                                                 emissions reductions and associated                     enough time for eligible EGUs to choose                (Refer to the EGU NOX Mitigation
                                                 costs from retrofitting EGUs with new                   between SCR or SNCR. SNCR                              Strategies Final Rule TSD in the docket
                                                 SNCR post-combustion controls at                        installation shares similar                            for this rulemaking for additional
                                                 steam units lacking such controls,                      implementation steps with and also                     information.) Moreover, for purposes of
                                                 which can achieve a 25 percent NOX                      need to account for the same regional                  calculating state budgets, EPA assumes
                                                 reduction on average. New SNCR                          factors as SCR installations, which are                25 percent reduction from this
                                                 technology provides owners with a                       described in the next section. While the               technology—not 40 percent—which
                                                 relatively less capital-intensive option                EPA is determining that at least 16                    reflects a value well within the range of
                                                 for reducing NOX emissions compared                     months would be needed to complete                     documented performance for this
                                                 to new SCR technology, albeit at the                    all necessary steps of SNCR                            technology. Remaining comments on
                                                 expense of higher operating costs on a                  development and installation, an                       SNCR performance potential are
                                                 per-ton basis and less total emissions                  eligible EGU choosing new SCR instead
                                                                                                                                                                addressed in the RTC Document and in
                                                 reduction potential. SNCR is more                       would require installation timing of 36
                                                                                                                                                                the EGU NOX Mitigation Strategies Final
                                                 widely observed on relatively smaller                   to 48 months. EPA believes its finalized
                                                 coal units given its low capital/variable               joint timing considerations for post-                  Rule TSD.
                                                 cost ratio. The average capacity of a coal              combustion control retrofits (SNCR and                 e. Installing New SCRs
                                                 unit with SNCR is half the size of the                  SCR) are justified given that post-
                                                 average capacity of coal unit with                      combustion control retrofit decisions are                Selective Catalytic Reduction (SCR)
                                                 SCR.208 Given these observations, the                   subject to unit-specific economic and                  controls already exist on over 66 percent
                                                 EPA identifies this technology as an                    engineering factors and are sensitive to               of the coal fleet in the linked states that
                                                 emissions reduction measure for coal                    operator compliance strategy choices                   are subject to a FIP in this rulemaking.
                                                 units less than 100 MW lacking post-                    with respect to multiple regulatory                    Nearly every pulverized coal unit larger
                                                 combustion NOX control technology. As                   requirements.                                          than 100 MW built in the last 30 years
                                                 described in the EGU NOX Mitigation                        Comment: Some commenters argued                     has installed this control, which is
                                                 Strategies Final Rule TSD, the EPA                      that post-combustion control timing                    generally required for Best Available
                                                 estimated that $6,700 per ton reflects a                assumptions (SCR and SNCR) should be                   Control Technology (BACT) purposes.
                                                 representative SNCR retrofit cost level                 decoupled, which could result in the                   Other than circulating fluidized bed
                                                 for these units.                                        EPA using the 16-month time frame
                                                                                                                                                                coal units which can achieve a
                                                   For this rulemaking, EPA is not                       specific to SNCR installation to require
                                                                                                                                                                comparably low emissions rate without
                                                 considering SNCR installation timing                    emissions reductions related to new
                                                                                                         SNCR installations by the 2025 ozone                   this technology, the EPA identifies this
                                                 unto itself but is instead considering
                                                                                                         season.                                                emissions reduction measure for coal
                                                 how long eligible EGUs may need to
                                                                                                            Response: The EPA does not agree                    steam units greater than or equal to 100
                                                 adopt either SNCR or SCR as a post-
                                                                                                         that decoupling SCR and SNCR timing                    MW. SCR is widely available for
                                                 combustion control measure. SNCR
                                                                                                         consideration is justified in the context              existing coal units of this size and can
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                                                 installations generally have shorter
                                                 project installation timeframes relative                of this final rule’s emissions control                 provide significant emissions reduction
                                                 to other post-combustion controls. The                  program for EGUs. Approximately 1,000                  potential, with removal efficiencies of
                                                 time for engineering review, contract                   tons of emissions reduction potential                  up to 90 percent. The EPA limited its
                                                 award, fabrication, delivery, and                       are estimated for the small coal EGUs                  consideration of SCR technology to
                                                                                                         deemed eligible for SNCR retrofit. The                 steam units greater than or equal to 100
                                                   208 See EGU NO Mitigation Strategies Final Rule
                                                                  X
                                                                                                         incentives provided through the                        MW. The costs for retrofitting a plant
                                                 TSD for additional discussion.                          implementation of this rule’s trading                  smaller than 100 MW with SCR increase


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                                                 rapidly due to a lack of economies of                   assumed SCR retrofit potential occurs at                   global firm providing engineering,
                                                 scale.209                                               plants with multiple units identified                      construction management, and
                                                    The amount of time needed to retrofit                with retrofit potential, and given the                     consulting services for power and
                                                 an EGU with new SCR extends beyond                      total volume of SCR retrofit capacity                      energy with expertise in grid
                                                 the 2023 ozone season. Similar to the                   being implemented across the region,                       modernization, renewable energy,
                                                 SNCR retrofits discussed in this section,               EPA is allowing in this final rule                         energy storage, nuclear power, and
                                                 the EPA evaluated potential emissions                   between 36 to 48 months, consistent                        fossil fuels. Their familiarity with state-
                                                 reductions and associated costs from                    with the regional time frame discussed                     of-the art pollution controls at power
                                                 this control technology, as well as the                 for SCR retrofit in prior rules, for the                   plants derives from experience
                                                 impacts and need for this emissions                     full implementation of reductions                          providing comprehensive project
                                                 control strategy, at the earliest point in              commensurate with this volume of SCR                       services—from consulting, design, and
                                                 time when their installation could be                   retrofit capacity, as described further in                 implementation to construction
                                                 achieved. EPA notes that it has                         section VI.A of this document.                             management, commissioning, and
                                                 previously determined in the context of                    The Agency examined the cost for                        operations/maintenance. This review
                                                 ozone transport that regional scale                     retrofitting a coal unit with new SCR                      and update supported the 0.05 lb/
                                                 implementation of SCRs at numerous                      technology, which typically attains                        mmBtu performance assumption as a
                                                 EGUs is achievable in 36 months. See 63                 controlled NOX rates of 0.05 lb/mmBtu                      representative emissions rate for new
                                                 FR 57356, 57447–50 (October. 27, 1998).                 or less. These updates are further                         SCR across coal types.
                                                 However, since that time, the EPA has                   discussed in the EGU NOX Mitigation                           The EPA performed an assessment for
                                                 found up to 36–48 months to be a more                   Strategies Final Rule TSD.211 Based on                     oil/gas steam units in which it evaluated
                                                 appropriate installation timeframe for                  the characteristics of coal units of 100                   the nationwide performance of those
                                                 regionwide actions when the EPA is                      MW or greater capacity that do not have                    units with SCR technology. For these
                                                 evaluating multiple installations at                    post-combustion                                            units, the EPA tabulated EGU NOX
                                                 multiple locations.210                                     NOX control technology, the EPA                         ozone season emissions data from 2009
                                                    In the past, the EPA has found the                   estimated a weighted-average                               through 2021 and calculated an average
                                                 amount of time to retrofit a single EGU                 representative SCR cost of $11,000 per                     NOX ozone season emissions rate across
                                                 with new SCR, depending on the                          ton.212                                                    the fleet of oil- and gas-fired EGUs with
                                                 regulatory program under which such                        The 0.05 lb/mmBtu emissions rate                        SCR for each of these years. The EPA
                                                 control may be required, may vary                       performance assumption for new SCR                         identified the third lowest year which
                                                 between approximately 2 and 4 years                     retrofits is supported by historical data                  yielded an SCR performance rate of 0.03
                                                 depending on site-specific engineering                  and third party independent review by                      lb/mmBtu as representative of
                                                 considerations and on the number of                     pollution control engineering and                          performance for this retrofit technology
                                                 installations being considered. This                    consulting firms. The EPA first                            applied to this type of EGU. Next, the
                                                 includes steps for engineering review,                  examined unit-level emissions rate data
                                                                                                                                                                    EPA evaluated the emissions and
                                                 construction permit, operating permit,                  for coal-fired units that had a relatively
                                                                                                                                                                    operational characteristics for the
                                                 and control technology installation                     recent SCR installation (within the last
                                                                                                                                                                    existing oil/gas steam fleet lacking SCR
                                                 (including fabrication, pre hookup,                     10 years). The best performing 10
                                                                                                                                                                    technology. EPA’s analysis indicated
                                                 control hookup, and testing). EPA’s                     percent of these SCRs were
                                                                                                                                                                    that the majority of reduction potential
                                                 assessment of installation procedures                   demonstrating seasonal emissions rates
                                                                                                                                                                    (approximately 76 percent) from these
                                                 suggests as little as 21 months may be                  of 0.036 lb/mmBtu during this time.
                                                                                                            While the EPA identified the 0.05 lb/                   units occurred at units greater than or
                                                 needed for a single SCR at an individual
                                                                                                         mmBtu performance assumption                               equal to 100 MW and that were emitting
                                                 plant and 36 months at a single plant
                                                                                                         consistent with historical data, these                     more than 150 tons per ozone season
                                                 with multiple boilers. EPA’s assessment
                                                                                                         performance levels are also informed                       (i.e., approximately 1 ton per day).
                                                 of units with SCR retrofit potential
                                                                                                         and consistent with the Agency’s IPM                       Moreover, the cost of reductions for
                                                 indicate the majority fall into this first
                                                                                                         modeling assumptions used for more                         units falling below these criteria
                                                 classification, i.e., a single SCR at a
                                                                                                         than a decade. These modeling                              increased significantly on a dollar per
                                                 power plant.
                                                    While EPA finds that 36 months is a                  assumptions are based on input from                        ton basis. Therefore, the EPA identified
                                                 possible time frame for SCR installation                leading engineering and pollution                          the portion of the oil/gas steam fleet
                                                 at individual units or plants, the total of             control consulting entities. Most                          meeting these criteria (i.e., greater than
                                                 nearly 31 GW of coal capacity with SCR                  recently, these data assumptions were                      or equal to 100 MW and emitting more
                                                 retrofit potential and 19 GW of oil/gas                 affirmed and updated in the summer of                      than 150 tons per ozone season) as
                                                 steam capacity with SCR retrofit                        2021 and included in the docket for this                   representative of the SCR retrofit
                                                 potential within the geographic                         rulemaking.213 The EPA relies on a                         reduction potential.214 For this segment
                                                 footprint of the final rule is a scale of                                                                          of the oil/gas steam units lacking post-
                                                 retrofit activity that is not demonstrated                 211 As noted in that TSD, approximately half of         combustion NOX control technology, the
                                                 to have been achieved within a three-                   the recent SCR retrofits (i.e., installed in the last 10   EPA estimated a weighted-average
                                                 year span based on data from the past                   years) have demonstrated an emission rate across           representative SCR cost of $7,700 per
                                                                                                         the ozone season below 0.05 lb/mmBtu, even absent          ton.
                                                 two decades. Given that some of the                     a requirement or strong incentive to operate at that
                                                                                                         level in many cases.                                          Comment: Some commenters
                                                   209 IPM Model-Updates to Cost and Performance            212 This cost estimate is representative of coal        disagreed with EPA’s proposed 36-
                                                 for APC Technologies. SCR Cost Development              units lacking any post-combustion control. A subset        month timeframe for SCR retrofit. These
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                                                 Methodology for Coal-fired Boilers. February 2022.      of units within the universe of coal sources with          commenters noted that, while possible
                                                   210 See, e.g., CSAPR Close-Out, 83 FR 65878,          SCR retrofit potential, but that have an existing
                                                                                                         SNCR technology in place would have a weighted
                                                                                                                                                                    at the unit or plant level, the collective
                                                 65895 (December 21, 2018) and Revised CSAPR
                                                 Update, 86 FR 23102 (April 30, 2021). See also          average cost that falls above this level, but still cost   volume of SCR installation occurring in
                                                 Final Report: Engineering and Economic Factors          effective. See the EGU NOX Mitigation Strategies
                                                 Affecting the Installation of Control Technologies      Final Rule TSD for more discussion.                          214 The EPA used a 3-year average of 2019–2021

                                                 for Multipollutant Strategies, EPA–600/R–02/073            213 See ‘‘IPM Model—Updates to Cost and                 reported ozone season emissions to derive a tons
                                                 (Oct. 2002), available at https://nepis.epa.gov/        Performance for APC Technologies: SCR Cost                 per ozone season value representative for each
                                                 Adobe/PDF/P1001G0O.pdf.                                 Development Methodology for Coal-fired Boilers’’.          covered oil/gas steam unit.



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                                                 a limited region of the country would                   many cases, as suggested by the                         outlier cases of project timing that
                                                 not be possible given the labor                         Regulatory Impact Analysis (RIA), will                  would not be representative of the
                                                 constraints, supply constraints, and                    find alternative, and more economic                     conditions expected at future retrofit
                                                 simultaneous outages necessary to                       means, of reducing emissions—                           projects.216
                                                 complete SCR retrofit projects on such                  including reduced generation and                           Comment: Some stakeholders
                                                 a schedule. They noted that achieving                   retirements that are already planned                    suggested that EPA’s cost estimates of
                                                 such a timeframe against a backdrop of                  based on the age of the unit,                           $11,000 per ton are premised on a 15-
                                                 such challenging circumstances is                       decarbonization goals, or compliance                    year book life of the equipment and are
                                                 unprecedented and that EPA’s                            with other Federal/state/local regulation               therefore too optimistic for units that
                                                 assumptions ignore that many of the                     compliance dates. Moreover, the                         plan to retire in well under 15 years.
                                                 remaining unretrofitted coal units                      additional new generation incentives                       Response: EPA analysis of SCR
                                                 reflect more site-specific challenges                   provided by the Inflation Reduction Act                 retrofit cost reflects a representative
                                                 than those that were already retrofitted                (enacted after the proposed rule) will                  value for the technology based on a
                                                 on a quicker timeframe.                                 further increase the pace of new                        weighted average cost. The underlying
                                                    Response: EPA reviewed the                           generation replacing some of the older                  data and the discussion in the EGU NOX
                                                 comments and is making several                          generating capacity identified as having                Mitigation Strategies Final TSD
                                                 changes in this final rule to address                   retrofit potential.215 In short, although               illustrates that these costs can vary
                                                 some of the concerns identified by the                  EPA identified the total SCR retrofit                   significantly at the unit level based on
                                                 commenters. In particular, EPA found                    capacity potential for today’s existing                 factors such as the length of time a
                                                 that its own review of historical retrofit              fleet and does not premise any                          pollution control technology would be
                                                 patterns as well as technical information               reduction requirements of incremental                   in operation, the capacity factor of the
                                                 submitted by commenters supported                       retirements, the announced and planned                  unit (i.e., how much does it operate), its
                                                 commenters’ concerns regarding: (1)                     futures for these units indicates that                  size or potential to emit, and its baseline
                                                 current and anticipated constraints in                  many will likely retire instead of                      emissions rate. The EPA has not in prior
                                                 labor and supply markets, (2) the                       installing SCR. For the capacity                        transport rulemakings used such factors
                                                 potential collective capacity levels of                 identified at Step 3 which lacks SCR,                   as justification to excuse any source that
                                                 SCR retrofit within 36 months, and (3)                  the planned or projected retirement in                  is significantly contributing to
                                                 possible site-specific complexities at the              place of a retrofit moots the SCR timing                nonattainment or interfering with
                                                 remaining units without an existing                     for these units. Moreover, it also reduces              maintenance in another state from
                                                 SCR. To address these concerns, EPA is                  the demand for associated labor and                     eliminating that significant contribution
                                                 phasing in its SCR installation                         materials which, in turn, frees up                      as expeditiously as practicable. Unlike
                                                 requirement over a 48-month time frame                  resources for any units proceeding with                 under other statutory provisions that
                                                 in this final rule, instead of a 36-month               a SCR retrofit. Therefore, comments                     may require retrofit of emissions
                                                 time frame as proposed (see additional                  which cite labor and supply chain                       controls on existing sources, such as
                                                 detail and discussion in section VI.A.2.a               challenges for accommodating the entire                 under CAA section 111(d) or CAA
                                                 and the EGU NOX Mitigation Strategies                   fleet capacity identified as having SCR                 section 169A, there is no remaining
                                                 Final Rule TSD). EPA will require half                  retrofit potential significantly overstate              useful life factor expressly identified as
                                                 of the reductions associated with SCR                   the supply-side challenge—as it ignores                 a justification to relax the requirements
                                                 installation in 2026 and the other half                 the fact that much of this capacity has                 of CAA section 110(a)(2)(D)(i)(I). EPA
                                                 in 2027. Additionally, EPA is moving                    explicit or expected operation plans that               continues to believe that where an
                                                 the daily backstop rate for these units                 will result in compliance without a                     emissions control strategy has been
                                                 with identified SCR reduction potential                 retrofit.                                               identified at Step 3 that is cost-effective
                                                 from 2027 to no later than 2030, which                     Even for sources choosing a SCR                      on a regional scale and provides
                                                 defers the increased allowance                          retrofit compliance pathway, many of                    meaningful downwind air quality
                                                 surrender ratio for emissions above the                 these comments ignore the timing                        improvement, and is thus appropriately
                                                 backstop rate at any outlier units unable               flexibilities of the trading program,                   identified as necessary to eliminate
                                                 to complete the retrofit during that time               which (particularly with the changes to                 significant contribution under the good
                                                 frame. These adjustments continue to                    the backstop daily emissions rate in this               neighbor provision, it would not be
                                                 incentivize reductions in NOX                           final rule) allow sources to temporarily                appropriate to allow emissions to
                                                 emissions by the attainment date that                   comply through means other than SCR                     continue in excess of those achievable
                                                 are consistent with cost-effective SCR                  retrofit if they experience any site-                   emissions reductions beyond the
                                                 controls, but provide more flexibility                  specific retrofit limitations that increase             timeframe for expeditious
                                                 (both from timing and technology                        their time frame. Also, historical                      implementation of reductions as
                                                 perspective) in how they are procured.                  examples of SCR retrofit projects that                  provided under the larger title I
                                                    Some commenters requested more                       exceeded 48 months in duration do not                   structure of the Act for attaining and
                                                 than 48 months to install SCR controls                  necessarily demonstrate that such                       maintaining the NAAQS. The court in
                                                 based on the collective total volume of                 projects are impossible in less than 48
                                                 SCR retrofit volume identified and past                                                                         Wisconsin recognized that where such
                                                                                                         months, but rather that they can extend                 emissions have been identified, they
                                                 projects that took five or more years.                  beyond the timeframe if no
                                                 EPA disagrees with these comments and                                                                           should be eliminated as expeditiously
                                                                                                         requirements or incentives are in place                 as practicable, and in line with the
                                                 finds that they ignored key aspects of                  for a faster installation. Some also cite
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                                                 the proposed rule. First, the final rule                site-specific conditions that resulted an                 216 Commenters, for example, cited the timing of
                                                 does not directly require                                                                                       SCR installation at Sammis 6 and 7. Here, the SCR
                                                 implementation of SCR; rather, it                         215 See ‘‘Regulatory Impact Analysis for 2015         design and material delivery schedule were tailored
                                                 requires reductions commensurate with                   Good Neighbor Plan, Appendix 4A: Inflation              to meet unique site conditions that were unlike
                                                 SCR installations based on a rigorous                   Reduction Act EGU Sensitivity Run Results.’’ EPA        many other SCR systems where large modules can
                                                                                                         estimated the compliance costs and emissions            be used to maximize shop and ground assembly
                                                 assessment of SCR retrofit potential.                   changes of the final rule in the presence of the IRA,   techniques. Additional information is available at
                                                 Implementing the reductions through a                   but given time and resource constraints, did not        https://www.babcock.com/home/about/resources/
                                                 trading program means that sources in                   quantify benefits for this sensitivity.                 success-stories/sammis-plant.



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                                                 attainment schedule for downwind                          such units would likely be lower,                      Mitigation Strategies Final Rule TSD,
                                                 areas, which, for the 2015 ozone                          holding all other parameters equal, on a               we find that the cost per ton associated
                                                 NAAQS, is provided in CAA section                         dollar per ton basis by virtue of the                  with SCR retrofit technology does not
                                                 181. 938 F.3d at 313–20.                                  length of time the pollution control                   begin to increase significantly above the
                                                    Further, EPA observes that more than                   equipment may be in operation. Nor                     $11,000/ton benchmark unless units
                                                 one-third of the identified SCR retrofit                  does EPA agree that units that would                   have dramatically lower operating
                                                 potential (in terms of generating                         retire in less than 15 years should                    capacity or retire in less than 5 years’
                                                 capacity) has no planned retirement                       automatically be considered to face an                 time—as illustrated in Figure 1 to
                                                 date within 15 years, and therefore the                   unreasonably higher cost burden. Based                 section V.B.1.e of this document.
                                                 cost of pollution control technology on                   on data analyzed in the EGU NOX




                                                   Finally, EPA’s identification of this                   there were no less costly means                        cost for this technology to be
                                                 mitigation strategy is not meant to be                    provided to them to achieve the same                   appropriate and reasonable for purposes
                                                 limited only to units that experience a                   level of emissions reduction (which the                of analysis under CAA section
                                                 retrofit cost that is less than the                       trading program allows for)—that would                 110(a)(2)(D)(i)(I) and maintains this cost
                                                 representative cost threshold. First, that                not necessarily obviate EPA’s basis for                estimate in the final rule.
                                                 threshold represents an average,                          finding that an emissions-reduction                      However, in recognition of the unique
                                                 meaning that EPA’s analysis already                       requirement commensurate with this                     circumstances related to the transition
                                                 recognizes that some units on a facility-                 standard pollution control practice for                of the power sector away from coal-fired
                                                 specific basis may face costs higher than                 this unit type is warranted. The                       and other high-NOX emitting fuels and
                                                 that threshold. Further, EPA identifies                   implementation of emissions reductions
                                                 this technology as widely available,                                                                             generating technologies, which is
                                                                                                           through a trading program, and its                     anticipated to accelerate in the late
                                                 implemented in practice already at
                                                                                                           corresponding compliance flexibilities,                2020s and into the 2030s, EPA has
                                                 many existing EGUs, and now standard
                                                                                                           make the use of a single representative                adjusted the final rule to avoid imposing
                                                 for any coal-fired unit coming online in
                                                                                                           cost all the more appropriate in this                  a capital-intensive control technology
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                                                 the past 25 years. More than 66 percent
                                                 of the current large coal fleet already has               assessment. Therefore, upon reviewing                  retrofit obligation which could have
                                                 such controls in place. Even if the cost                  all of the data including the information              overall net-negative environmental
                                                 were higher for some units for the                        supplied by commenters, and even                       consequences (e.g., by extending the life
                                                 reasons provided by commenters—and                        accounting for certain units’ announced                of a higher-emitting EGU or
                                                                                                           plans to retire earlier than an assumed                necessitating the allocation of material
                                                   217 ‘‘Debt Life’’ refers to the term length, or         15-year book life for SCR retrofit                     and personnel that could be used for
                                                                                                           technology, EPA finds its representative               more advanced clean-technology
                                                                                                                                                                                                               ER05JN23.001</GPH>




                                                 duration, for a loan used to finance the retrofit.



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                                                 innovations). For units that plan to                    often willing to guarantee 0.05 lb/                    appropriate and underpinned by
                                                 retire by 2030, the final rule—by                       mmBtu seasonal performance for new                     operating assumptions reflective of the
                                                 extending the daily backstop rate to                    SCR retrofit projects. Current SCR                     fleet averages, it nevertheless examined
                                                 2030—allows these units to continue to                  catalyst suppliers provide NOX                         how cost would vary based on some of
                                                 operate, so long as they comply with the                emissions warranties based at the                      the variables highlighted by commenter.
                                                 mass-based emissions trading program                    catalyst’s end-of-life period, often after             The EPA derived its capacity factor
                                                 requirements.218 Therefore, a unit                      16,000 to 24,000 hours of operations,                  assumption based on expected future
                                                 experiencing a higher dollar per ton                    with newer catalyst achieving similar or               operations of this fleet segment that are
                                                 retrofit cost due to retirement plans has               better NOX removal rates. Standard                     inclusive of units operating at a range of
                                                 the flexibility to install less capital                 commercial terms, made by the                          capacity factors. It also examined how
                                                 intensive controls such as SNCR,                        purchaser to the SCR Retrofit supplier,                cost would change assuming different
                                                 procure less costly allowances through                  can specify a system capable of meeting                coal rank, assuming different book life,
                                                 either banking or purchase, or they may                 the proposed NOX emissions rate and                    and different reagent cost. These
                                                 also reduce their allowance holding                     define the catalyst operational life                   analyses are discussed and shown in
                                                 requirement through reduced utilization                 before replacement. Thus, achieving the                Appendix B of the EGU NOX
                                                 consistent with their phasing out                       proposed reduction rates is                            Mitigations Strategies Final Rule TSD
                                                 towards a planned retirement date. This                 accomplished through the buyer                         and demonstrate that even under
                                                 flexibility that EPA has included in the                specifying the SCR retrofit requirements               different operating assumptions, the
                                                 final rule is discussed in further detail               and the supplier providing an optimized                variation in cost does not reach a point
                                                 in section VI.B of this document.                       system design and installing sufficient                that would reverse EPA’s finding
                                                    Comment: Some commenters                             catalyst for the targeted end-of-life NOX              regarding the appropriateness of this
                                                 suggested that the 0.05 lb/mmBtu                        emissions rate. The agency is confident                technology as part of this final rule’s
                                                 emissions rate assumed for new SCRs at                  that SCR retrofit suppliers will be able               control stringency. Moreover, as
                                                 large coal units is not achievable at all               to warrant their offerings for the                     discussed in section V.D of this
                                                 coal units with retrofit potential and                  emissions rates proposed in the                        document, EPA identifies appropriate
                                                 that EPA should raise this performance                  regulation and to provide sufficient                   mitigation strategies based on multiple
                                                 assumption to a value of 0.08 lb/mmBtu                  operating life for the affected sector.                factors—not solely on cost, and there is
                                                 consistent with that assumption for                        Comment: Some commenters suggest                    no indication that an individual unit’s
                                                 existing SCRs.                                          that the evaluation of pollution control               higher retrofit cost would obviate the
                                                    Response: First, EPA believes the                    installation cost at Step 3 should be                  appropriateness of retrofitting this
                                                 commenter misunderstands its intention                  segmented depending on unit                            standard and best practice technology at
                                                 with the 0.05 lb/mmBtu SCR rate                         characteristics, and by failing to do so               the unit. Finally, in prior rules and in
                                                 assumption. This is meant to reflect a                  understate the cost of retrofitting SCR                the proposal, EPA recognized that some
                                                 representative assumption for emissions                 controls. In particular, these                         units will have higher cost and some
                                                 rate performance for new SCR installed                  commenters note that units with lower                  will have lower cost relative the
                                                 on the currently unretrofitted coal                     capacity factors, different coal ranks,                fleetwide representative value provided.
                                                 fleet—in this respect, it represents an                 with pre-existing controls—such as                     Implementing the region and state
                                                 average, not a maximum. EPA                             SNCR—face substantially higher dollar                  reduction requirements through a mass-
                                                 recognizes that some units will likely                  per ton reduced costs than those that do               based trading program provides a means
                                                 perform better (i.e., lower) than this rate             not have such controls in place and                    of alternative lower cost compliance for
                                                 and some will potentially perform                       should not be identified as a cost-                    those sources particularly concerned
                                                 worse (i.e., higher) than this rate—but                 effective mitigation strategy.                         about the higher retrofit cost at their
                                                 that 0.05 lb/mmBtu is a reasonable                         Response: Consistent with prior                     unit.
                                                 representation of new SCR retrofit                      CSAPR rulemakings, at Step 3 EPA                          Comment: Some commenters
                                                 potential on a fleet-wide basis and for                 evaluates a mitigation technology and                  suggested that EPA’s proposed
                                                 identifying expected state and regional                 its representative cost and performance                representative cost for SCR pollution
                                                 emissions reduction potential from this                 for the fleet on average. This                         control is likely too high and overstates
                                                 technology. It would be inappropriate                   representative cost is inclusive and                   the true cost of such control. They also
                                                 for EPA to use the worst performing tier                robust to the portion of the fleet that                noted it aligns with agency precedent.
                                                 of new SCR retrofit for this                            may face higher dollar per ton cost. Both              These commenters claim that EPA’s cost
                                                 representative value. Moreover, EPA’s                   the ‘‘Technical Support Document                       recovery factor is higher than necessary
                                                 review of historical environmental                      (TSD) for the Proposed Federal                         (thus inflating the cost) as it reflects a
                                                 performance for recently installed SCRs                 Implementation Plan Addressing                         weighting of utility-owned to merchant-
                                                 does not support any indication that                    Regional Ozone Transport for the 2015                  owned plants that is representative of
                                                 0.05 is not representative of the retrofit              Ozone National Ambient Air Quality                     the fleet, but not the unretrofitted fleet
                                                 potential for the fleet. EPA found that                 Standard, Docket ID No. EPA–HQ–                        with this retrofit potential identified in
                                                 three quarters of the SCR retrofit                      OAR–2021–0668, EGU NOX Mitigation                      this rule. They also noted that EPA’s
                                                 projects completed in the last 15 years                 Strategies Proposed Rule TSD’’ (Feb.                   assumed interest rate informing the cost
                                                 have achieved a rate of 0.05 lb/mmBtu                   2022), hereinafter referred to as the EGU              estimate was higher than the prime rate
                                                 or better on a monthly or seasonal basis.               NOX Mitigation Strategies Proposed                     in June of 2022.
                                                 Moreover, its review of the engineering                 Rule TSD, and the EGU NOX Mitigation                      Response: EPA agrees that its
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                                                 literature and consultation with third                  Strategies Final TSD discuss the SCR                   approach for identifying representative
                                                 party pollution control engineering                     retrofit cost specific to the segment of               cost thresholds is aligned with prior
                                                 consultancies suggests that vendors are                 the fleet that has a SNCR in place and                 rules and agrees that its approach is
                                                                                                         notes that those unit-level higher retrofit            reasonable. As the commenter points
                                                   218 In the RIA, EPA has modeled the mass-based
                                                                                                         cost estimates are factored into its                   out, prime rates and cost recovery
                                                 budgets that are premised on retrofit of SCR
                                                 technology with the option of complying through
                                                                                                         determination of the fleet-wide                        factors may indeed be lower in recent
                                                 other strategies, and finds that they are readily       representative number. Although EPA                    data than those assumed by EPA for
                                                 achievable through those other strategies.              believes its representative cost are                   future years. However, given the


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                                                 volatility among these metrics, EPA                     install, optimize, and operate controls                authority under CAA section
                                                 believes its choices are appropriate to                 identified in the Agency’s                             110(a)(2)(D)(i)(I) to consider and require
                                                 build cost estimates that are robust to                 determinations regarding the requisite                 emissions reductions from generation
                                                 future uncertainty, and if these cost                   level of emissions control at Step 3. See,             shifting if the EPA were to find that
                                                 input factors do materialize to be the                  e.g., 81 FR 74544–45; 76 FR 48280.                     strategy was necessary to eliminate
                                                 lower values highlighted by commenter,                     As in these prior rules, at proposal,               significant contribution. However, based
                                                 then it will result in a lower cost                     the EPA did not identify generation                    on circumstances currently facing
                                                 assumed in this final rule, but would                   shifting as a primary mitigation strategy              affected EGUs, as well as the inherent
                                                 not otherwise alter any of the stringency               and stringency measure on its own, but                 strength of the dynamic budget
                                                 identification or regulatory findings put               included emissions reductions from this                methodology to automatically reflect the
                                                 forward in this final rule. EPA                         strategy as it would be projected to                   market-determined balance of
                                                 performed a cost sensitivity analysis in                occur in response to the selected                      generation across sources responding to
                                                 Appendix B of the EGU NOX Mitigation                    emissions control stringency levels (and               this rule, the EPA is not specifying
                                                 Strategies Final Rule TSD which shows                   corresponding allowance price signals                  emissions reduction potential from
                                                 how cost for this technology would vary                 in step 4 implementation). For this                    generation shifting as a part of the Step
                                                 based on different assumed levels for                   rule’s proposal, the EPA only specified                3 analysis, nor to require any emissions
                                                 this variable. This analysis shows that                 emissions reductions from generation                   reductions from generation shifting in
                                                 under lower interest rates such as those                shifting in its preset budget calculations             preset budgets formulated under Step 4
                                                 put forward by commenter, that                          for 2023 and 2024. Because this rule’s                 for any control period, for this final rule.
                                                 technology cost would drop by                           dynamic budget methodology applies                        Currently observable market
                                                 approximately 15 percent relative to the                the selected control stringency’s                      conditions (e.g., fuel prices) present
                                                 representative values put forward in this               emissions rates to the most recently                   unusual uncertainty with respect to key
                                                 rule.                                                   reported heat input at each affected                   economic drivers of generation shifting.
                                                                                                         EGU, dynamic budgeting effectively                     The availability of emissions reductions
                                                 f. Generation Shifting                                  serves a similar purpose to our ex ante                through generation shifting, and the
                                                    At proposal, EPA considered                          quantification of emissions reduction                  magnitude of those emissions, is
                                                 intrastate emissions reduction potential                potential from generation shifting for                 dependent on the availability and cost
                                                 from generation shifting across the                     preset budgets in prior transport rules,               of substitute generation. The primary
                                                 representative dollar per ton levels                    i.e., to adequately and continuously                   driver of near-term generation shifting-
                                                 estimated for the emissions controls                    incentivize the implementation of the                  based emissions reductions has been
                                                 considered in previous sections. As the                 emissions control strategies selected at               shifting to lower-emitting natural gas
                                                 cost of emitting NOX increases, it                      Step 3. Therefore, dynamic budgets                     generation. Recent volatility and high
                                                 becomes increasingly cost-effective for                 under this rule’s program moot the need                prices in the natural gas market have
                                                 units with lower NOX rates to increase                  to specify discrete emissions reduction                increased the uncertainty and reduced
                                                 generation, while units with higher NOX                 potential from generation shifting for                 the potential of this emissions control
                                                 rates reduce generation. Because the                    those control periods, as they                         strategy at any given cost threshold in
                                                 cost of generation is unit-specific, this               automatically reflect whatever                         the near term. For example, Henry Hub
                                                 generation shifting occurs incrementally                generation balance affected EGUs would                 natural gas prices went from under
                                                 on a continuum. Consequently, there is                  determine in the marketplace inclusive                 $3.00/mmBtu during most of the last
                                                 more generation shifting at higher cost                 of their response to the emissions                     decade to an average of nearly $8.00/
                                                 NOX-control levels.                                     performance levels imposed by this                     mmBtu for the most recent (2022) ozone
                                                    The EPA recognizes that imposing a                   rule.                                                  season before declining sharply at the
                                                 NOX-control requirement on affected                        Comment: Commenters offered both                    start of 2023. The current volatility in
                                                 EGUs, like any environmental                            support for and opposition against the                 natural gas prices reduces the
                                                 regulation, internalizes the cost of their              inclusion of generation shifting at Step               availability of emissions reductions
                                                 pollution, which could result in                        3 analysis for EGUs. Those in support                  from generation shifting and make its
                                                 generation shifting away from those                     noted that inclusion of emissions                      identification and quantification too
                                                 sources toward other generators offering                reductions from generation-shifting is                 uncertain for incorporation into Step 3
                                                 electricity at a lower pollution cost. If,              integral to the successful                             emissions reduction estimates for this
                                                 in the context of a market-based                        implementation of the pollution control                rulemaking.
                                                 allowance trading program form of                       measures identified in the selected                       The Step 4 dynamic budget-setting
                                                 implementation, the EPA imposes a                       control stringency at Step 3. Those                    process of this rule obviates the need to
                                                 preset emissions budget that is premised                opposed generally argued the EPA was                   specify and require discrete emissions
                                                 only on assumed installation,                           overestimating reduction potential from                reductions from generation shifting
                                                 optimization, and continued operation                   generation shifting in light of recent                 under Step 3. As discussed in section VI
                                                 of unit-specific pollution control                      volatility and high prices in the markets              of this document, the EPA in this final
                                                 technologies, with no accounting for the                for lower emitting fuels such as natural               rule will implement a budget-setting
                                                 likely generation shift in the                          gas. Commenters also noted the                         approach that relies on two
                                                 marketplace away from these higher-                     electrical grid in certain regions has                 components: first, we have calculated
                                                 polluting sources, that preset emissions                constraints that would make generation                 ‘‘preset’’ budgets that reflect the best
                                                 budget will contain more tons than                      shifting more difficult than the EPA                   information currently available about
                                                 would be emitted if the affected EGUs
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                                                                                                         assumed. Commenters also asserted that                 fleet change over the period 2023
                                                 achieved the emissions performance                      the EPA did not have the legal authority               through 2029. Second, beginning in
                                                 level (on a rate basis) selected at step 3.             to require generation shifting.                        2026, dynamic state emissions budgets
                                                 Hence, EPA has previously quantified                       Response: The EPA disagrees with                    will be calculated that will reflect the
                                                 and required expected emissions                         these comments regarding our legal                     balance of generation across sources
                                                 reductions from generation shifting in                  authority but notes this issue is not                  reported to EPA by EGU operators.
                                                 prior transport rules to avoid                          relevant for purposes of this final action.            Between 2026 and 2029, the actual
                                                 undermining the program’s incentive to                  The EPA continues to believe it has                    budget that will be implemented will


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                                                 reflect the greater of either the preset                Infrastructure Investment and Jobs Act                 year on average for the 2019–2021 ozone
                                                 budget or the dynamic budget                            and the Inflation Reduction Act) driving               seasons and lacking combustion
                                                 calculation; from 2030 onwards, the                     the current transformation of the power                controls or more advanced controls
                                                 budgets will be set only through the                    sector. By refraining in this rule from                (totaling approximately 1,000 tons of
                                                 dynamic budget calculation. This                        specifying discrete emissions reductions               ozone season NOX emissions in 2021).
                                                 overall approach is well suited for a                   from generation shifting in preset                     EPA analysis estimates a representative
                                                 period of significant power sector                      budgets and instead relying on a                       cost of $22,000 per ton for dry low NOX
                                                 transition driven by a variety of                       dynamic budgeting approach to reflect                  burners or ultra-low NOX burners at
                                                 economic, policy, and regulatory forces                 market-driven generation patterns, EPA                 these simple cycle combustion turbines,
                                                 and allows for the balance of generation                ensures that its budgets remain                        and over $100,000 per ton for SCR
                                                 in this period to adjust in response to                 sufficiently stringent over the long term              retrofit at some combustion turbines.
                                                 these forces while nonetheless ensuring                 to continually incentivize the emissions               Therefore, EPA does not identify any
                                                 that the budgets will continuously                      control stringency it determined to be                 such uniform mitigation measure at
                                                 incentivize the emissions control                       cost-effective and therefore appropriate               Step 3 when estimating reduction
                                                 stringency identified at Step 3. See                    to eliminate significant contribution at               potential.
                                                 section VI.B.4 of this document for                     Step 3. Thus, dynamic budgeting                           Nonetheless, the EPA recognizes that
                                                 further discussion on the interaction of                addresses the same concern that                        these simple cycle combustion turbines
                                                 preset and dynamic budgets during the                   animated our use of generation shifting                may have cost-effective emissions-
                                                 2026–2029 time period. With these                       in the CSAPR rulemakings, but in doing                 reduction opportunities. These units are
                                                 approaches, and on the present record                   so uses a market-following approach                    included in the emissions trading
                                                 before the Agency, we conclude that the                 that will accommodate, over the long                   program and therefore, as in prior
                                                 estimation and incorporation of                         term, unforeseen drops or increases in                 transport rules, the program continues
                                                 specified emissions reductions from                     heat input levels.                                     to subject them to an allowance holding
                                                 generation shifting at Step 3 is not                                                                           requirement under this rule which will
                                                                                                         g. Other EGU Mitigation Measures                       likely incentivize any available cost-
                                                 necessary to eliminate significant
                                                 contribution from EGUs for the 2015                        The EPA requested comment on                        effective NOX reductions from these
                                                 ozone NAAQS through this rule’s                         whether other EGU ozone-season NOX                     EGUs. For instance, emissions rates
                                                 program implementation.                                 Mitigation technologies should be                      from these units in New York were
                                                    In previous CSAPR rulemakings, the                   required to eliminate significant                      considerably lower in 2022, when they
                                                 EPA included generation shifting in the                 contribution. For instance, the EGU                    faced a high allowance price, versus
                                                 budget setting process to capture those                 NOX Mitigation Strategies Proposed and                 2021, when the allowance price was
                                                 reductions that would occur through                     Final Rule TSDs discussed certain                      much lower. Therefore, we find that the
                                                 shifting generation as an economic                      mitigation technologies that have been                 appropriate treatment of these units in
                                                 response to the control stringency                      applied to ‘‘peaking’’ units (small, low-              this final rule is to continue to include
                                                 determined based on the selected NOX                    capacity factor gas combustion turbines                them in the emissions trading program
                                                 control strategies. See, e.g., 81 FR                    often only operating during periods of                 to incentivize cost-effective emissions
                                                 74544–45. ‘‘Because we have identified                  peak demand).                                          reductions, but EPA does not find the
                                                 discrete cost thresholds resulting from                    Comment: Some commenters                            magnitude or consistency of cost-
                                                 the full implementation of particular                   emphasized that simple cycle                           effective mitigation potential to
                                                 types of emissions controls, it is                      combustion turbines play a significant                 establish a specific increment of
                                                 reasonable to simultaneously quantify                   role in downwind contribution, and                     emissions reduction through a specific
                                                 the reduction potential from generation                 they highlight that states such as New                 Step 3 emissions control determination.
                                                 shifting strategy at each cost level.                   York have imposed emissions limits on                  Moreover, while EPA’s program will
                                                 Including these reductions is important,                these sources acknowledging their                      incentivize any available cost-effective
                                                 ensuring that other cost-effective                      impact on downwind nonattainment.                      reductions within this cadre of units
                                                 reductions (e.g., fully operating                       These commenters suggest that EPA                      (and such behavior is captured in its
                                                 controls) can be expected to occur.’’                   pursue and expedite the                                final program evaluation and modeling
                                                 EGU NOX Mitigation Strategies Final                     implementation of these or similar                     the RIA), it does not obviate the need for
                                                 Rule TSD (EPA–HQ–OAR–2015–0500–                         mitigation measures.                                   the other EGU cost-effective reductions
                                                 0554), at 11–12.                                           Response: As explained in greater                   elsewhere as suggested by some
                                                    Commenters on this rule and prior                    detail in the EGU NOX Mitigation                       commenters.
                                                 transport rules have observed that using                Strategies Final TSD, both the
                                                 preset budgets to factor in generation                  configuration and operation of this                    2. Non-EGU or Stationary Industrial
                                                 shifting is flawed in that it results in                segment of the EGU fleet reflects                      Source NOX Mitigation Strategies
                                                 EPA incorporating specific quantities of                significant variability among units and                   In the early stages of preparing the
                                                 emissions reductions from discrete                      across time. In other words, one unit                  proposed FIP, the EPA evaluated air
                                                 levels of generation shifting that are                  may have a capacity factor in a given                  quality modeling information, annual
                                                 projected to occur but may in fact                      year that is one hundred times greater                 emissions, and information about
                                                 ultimately transpire differently in the                 than a similar unit in that same year, or              potential controls to determine which
                                                 marketplace. Commenters on this rule                    even than its own capacity factor from                 industries, beyond the power sector,
                                                 claim that other variables, such as                     a preceding year. This type of variability             could have the greatest impact on
                                                                                                         and heterogeneity make it unlikely that
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                                                 constraints in transmission capacity or                                                                        downwind receptors’ air quality and
                                                 changes in fuel prices, can drive such                  there is a single cost-effective control               therefore the greatest impact in
                                                 differences in projected versus realized                strategy across this fleet segment, and                providing ozone air quality
                                                 generation shifting, and these concerns                 commenters did not provide evidence to                 improvements in affected downwind
                                                 are particularly exacerbated in a time of               the contrary. EPA’s analysis discussed                 states through reducing those emissions.
                                                 significant uncertainty around energy                   in the EGU NOX Mitigation Strategies                   Specifically, the EPA conducted a
                                                 supplies and markets together with new                  Final Rule TSD highlights that there are               screening assessment focused on
                                                 laws passed by Congress (e.g., the                      32 units emitting more than 10 tons per                individual emissions units with >100


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                                                 tpy of actual NOX emissions in 23                       the changes between the proposed FIP                     marginal cost/ton threshold reflected in
                                                 upwind states. Once the industries were                 and this final rule, in emissions unit                   the Non-EGU Screening Assessment
                                                 identified, the EPA used its Control                    types included and in emissions limits,                  functioned as a relative, representative
                                                 Strategy Tool to identify potential                     see section VI.C of this document.                       cost/ton level. Similar to the role of
                                                 emissions units and control measures                    Tables I.B–2 through I.B–7 in section I.B                cost-effectiveness thresholds the EPA
                                                 and to estimate emissions reductions                    of this document identify the emissions                  uses at Step 3 to evaluate EGU
                                                 and compliance costs associated with                    units and applicable emissions                           emissions control opportunities, this
                                                 application of non-EGU emissions                        limitations, and Table II.A–1 in section                 threshold is not intended to represent
                                                 control measures. The technical                         II.A of this document identifies the                     the maximum cost any facility may need
                                                 memorandum ‘‘Screening Assessment of                    industries included in the final rule.                   to expend but is rather intended to be
                                                 Potential Emissions Reductions, Air                        For the final rule, to determine NOX                  a representative figure for evaluating
                                                 Quality Impacts, and Costs from Non-                    emissions reduction potential for the                    technologies to allow for a relative
                                                 EGU Emissions Units for 2026’’ (‘‘Non-                  non-EGU industries and emissions unit                    comparison between different levels of
                                                 EGU Screening Assessment’’ or                           types, with the exception of Solid Waste                 control stringency. The value was used
                                                 ‘‘screening assessment’’) lays out the                  Combustors and Incinerators, we used a                   to identify potentially cost-effective
                                                 analytical framework and data used to                   2019 inventory prepared from the                         controls for further evaluation.
                                                 prepare proxy estimates for 2026 of                     emissions inventory system (EIS) to                         In the final rule, partly in recognition
                                                 potentially affected non-EGU facilities                 estimate a list of emissions units                       of the many comments indicating
                                                 and emissions units, emissions                          captured by the applicability criteria for               widely varying cost-per-ton values
                                                 reductions, and costs.219                               the final rule. For Solid Waste                          across industries and facilities, the EPA
                                                    This screening assessment was not                    Combustors and Incinerators, the EPA                     has updated its analysis of costs for the
                                                 intended to identify the specific                       estimated the list of covered units using                covered non-EGU industries. This data
                                                 emissions units subject to the proposed                 the 2019 inventory, as well as the                       is summarized in the Technical
                                                 emissions limits for non-EGU sources                    NEEDS-v6-summer-2021-reference-case                      Memorandum ‘‘Summary of Final Rule
                                                 but was intended to inform the                          workbook.221 Based on the review of                      Applicability Criteria and Emissions
                                                 development of the proposed rule by                     RACT, NSPS, NESHAP rules, as well as                     Limits for Non-EGU Emissions Units,
                                                 identifying proxies for (1) non-EGU                     SIPs, consent decrees, and permits, we                   Assumed Control Technologies for
                                                 emissions units that potentially had the                also assumed certain control                             Meeting the Final Emissions Limits, and
                                                 most impact in terms of the magnitude                   technologies could meet the final                        Estimated Emissions Units, Emissions
                                                 of emissions and potential for emissions                emissions limits.222 We did not run the                  Reductions, and Costs,’’ available in the
                                                 reductions, (2) potential controls for and              Control Strategy Tool to estimate                        docket. We further respond to
                                                 emissions reductions from these                         emissions reductions and costs and                       comments on the screening assessment
                                                 emissions units, and (3) control costs                  instead programmed the assessment                        in section 2.2 of the response to
                                                 from the potential controls on these                    using R.223 Using the list of emissions                  comments document.
                                                 emissions units. This information                       units estimated to be captured by the                    3. Other Stationary Sources NOX
                                                 helped shape the proposed rule.                         final rule applicability criteria, the
                                                    To further evaluate the industries and                                                                        Mitigation Strategies
                                                                                                         assumed control technologies that
                                                 emissions unit types identified by the                  would meet the emissions limits, and                        As part of its analysis for this final
                                                 screening assessment and to establish                   information on control efficiencies and                  rule, the EPA also reviewed whether
                                                 the applicability criteria and proposed                 default cost/ton values from the control                 NOX mitigation strategies for any other
                                                 emissions limits, the EPA reviewed                      measures database (CMDB),224 the EPA                     stationary sources may be appropriate.
                                                 RACT rules, NSPS rules, NESHAP rules,                   estimated NOX emissions reductions                       In this section, the EPA discusses three
                                                 existing technical studies, rules in                    and costs for the year 2026. We                          classes of units that have historically
                                                 approved SIP submittals, consent                        estimated emissions reductions using                     been excluded from our interstate air
                                                 decrees, and permit limits. That                        the actual emissions from the 2019                       transport programs: (1) solid waste
                                                 evaluation is detailed in the Proposed                  emissions inventory. In the assessment,                  incineration units, (2) electric
                                                 Non-EGU Sectors TSD prepared for the                    we matched emissions units by Source                     generating units less than or equal to 25
                                                 proposed FIP.220                                        Classification Code (SCC) from the                       MW, and (3) cogeneration units. EPA’s
                                                    In this final rule, for purposes of this             inventory to the applicable control                      initial assessment did not lead it to
                                                 part of the Step 3 analysis, the EPA is                 technologies in the CMDB. We modified                    propose inclusion of the units in these
                                                 retaining emissions control                             SCC codes as necessary to match control                  categories. However, EPA requested
                                                 requirements for these industries and                   technologies to inventory records.                       comment on whether any particular
                                                 many of the emissions unit types                           The EPA recognized both at proposal                   units within this category may offer
                                                 included in the proposal. However,                      and in the final rule that the cost per ton              cost-effective reduction potential.
                                                 based on comments that credibly                         of emissions controls could vary by                         Based on our request for comment,
                                                 indicated in certain cases that emissions               industry and by facility. The $7,500                     comments received, and our further
                                                 reduction opportunities are either not                                                                           evaluation, the EPA is including
                                                 available for certain unit types or are at                221 The workbook is available here: https://           emissions limits and associated control
                                                 costs that are far greater than the EPA                 www.epa.gov/power-sector-modeling/national-              requirements for the ozone season for
                                                 estimated at proposal, the EPA has                      electric-energy-data-system-needs-v6.                    solid waste incinerator units in this
                                                                                                           222 The Final Non-EGU Sectors TSD is available
                                                 changed the final rule to either remove                                                                          final rule, in line with the requirements
                                                                                                         in the docket.
                                                 or adjust the applicability criteria for                                                                         we laid out for comment at proposal.
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                                                                                                           223 R is a free software environment for statistical
                                                 such units. For a detailed discussion of                computing and graphics. Additional information is        Our analysis in this final rule confirms
                                                                                                         available here: https://www.r-project.org/.              that these units have emissions
                                                   219 The memorandum is available in the docket           224 More information about the Control Strategy        reductions of a magnitude, degree of
                                                 here: https://www.regulations.gov/document/EPA-         Tool (CoST) and the control measures database            beneficial impact, and cost-effectiveness
                                                 HQ-OAR-2021-0668-0150.                                  (CMDB) can be found at the following link: https://
                                                   220 The TSD for the proposed FIP is available in      www.epa.gov/economic-and-cost-analysis-air-
                                                                                                                                                                  that is on par with the units in other
                                                 the docket here: https://www.regulations.gov/           pollution-regulations/cost-analysis-modelstools-air-     industrial sectors included in this final
                                                 document/EPA-HQ-OAR-2021-0668-0145.                     pollution.                                               rule.


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                                                   For electric generating units less than               noted that MWCs are often located in                   waste reduction policies and associated
                                                 25 MW and cogeneration units                            economically marginalized                              environmental considerations.
                                                 previously exempted from EGU                            communities or communities of color.                      Response: Regarding the comments
                                                 emissions budgets established through                   Lastly, one commenter stated that                      that some MWCs are already subject to
                                                 ozone interstate transport rules, the EPA               MWCs were arbitrarily excluded from                    RACT NOX emissions limits, the EPA
                                                 has determined that these units should                  the non-EGU screening assessment                       acknowledges that some states included
                                                 not be treated as EGUs in this final rule.              prepared for the proposal.                             in this rulemaking have promulgated
                                                   The EPA provides a summary of these                      Response: As described in section                   RACT NOX emissions limits that apply
                                                 three segments, their emissions control                 VI.B.2 of the notice of proposed                       to certain MWCs, including some that
                                                 opportunities, and potential air quality                rulemaking, the EPA assessed emissions                 are lower than current MWC NSPS NOX
                                                 benefits in the following sections.                     reduction potential from non-EGUs by                   emissions limits. The EPA does not
                                                 Additional considerations are further                   preparing a screening assessment to                    consider a source to be exempt from this
                                                 discussed in the EGU NOX Mitigation                     identify those industries that could have              rulemaking just because the source may
                                                 Strategies Final TSD and in the RTC                     the greatest air quality impact at                     be subject to other regulatory
                                                 Document.                                               downwind receptors. While the EPA did                  requirements. As noted, the Agency did
                                                 a. Municipal Solid Waste Units                          not prepare an updated non-EGU                         evaluate MWCs using the criteria
                                                                                                         screening assessment in preparation for                developed in the screening assessment
                                                    At proposal, the EPA solicited
                                                                                                         this final rule, the Agency did evaluate               for proposal and has concluded that
                                                 comments on whether NOX emissions
                                                                                                         MWCs using the criteria developed in                   MWCs should be included in this
                                                 reductions should be sought from
                                                                                                         the screening assessment for proposal                  rulemaking. In considering the
                                                 municipal waste combustors (MWCs) to
                                                                                                         and determined that MWCs should be                     emissions limits that are being finalized
                                                 address interstate ozone transport,
                                                                                                         included in this rulemaking. A                         in this rulemaking, the EPA reviewed
                                                 specifically on potential emissions
                                                                                                         discussion of this analysis for MWCs is                existing state RACT rules as described
                                                 limits, control technologies, and control
                                                                                                         available in the Municipal Waste                       in section VI.C.6 of this document and
                                                 costs. The EPA requested comment on
                                                 emissions limits of 105 ppmvd on a 30-                  Combustor Supplement to February 28,                   the ‘‘Technical Support Document
                                                 day rolling average and a 110 ppmvd on                  2022 Screening Assessment of Potential                 (TSD) for the Final Rule, Docket ID No.
                                                 a 24-hour block average based on                        Emissions Reductions, Air Quality                      EPA–HQ–OAR–2021–0668, Non-EGU
                                                 determinations made in the June 2021                    Impacts, and Costs from Non-EGU                        Sectors TSD’’ (Mar. 2023), hereinafter
                                                 Ozone Transport Commission (OTC)                        Emissions Units for 2026, which is                     referred to as Final Non-EGU Sectors
                                                 Municipal Waste Combustor Workgroup                     available in the docket for this rule.                 TSD. We note that sources already
                                                 Report (OTC MWC Report). See 87 FR                         Considering EPA’s conclusion that                   subject to RACT NOX emissions limits
                                                 20085–20086. The OTC MWC Report                         MWCs should be included in this final                  that are equal to or more stringent than
                                                 found that MWCs in the Ozone                            rule if EPA applied the same criteria                  the limits finalized in this rulemaking
                                                 Transport Region (OTR) are a significant                developed in the screening assessment                  will have the option to streamline
                                                 source of NOX emissions and that                        for proposal, the findings from the OTC                regulatory requirements through the
                                                 significant annual NOX reductions                       MWC report and recent MOU, the fact                    Title V permitting process.
                                                 could be achieved from MWCs in the                      that many state RACT NOX rules apply                      Regarding the statement that
                                                 OTR using several different                             to MWCs, and information received                      regulation could interfere with state
                                                 technologies, or combination of                         during public comment, the EPA finds                   waste reduction policies and associated
                                                 technologies at a reasonable cost. The                  that MWCs should be included in this                   environmental considerations, the EPA
                                                 OTC MWC report is included in the                       final rule. Thus, the EPA is finalizing                acknowledges that MWCs serve an
                                                 docket for this action.                                 NOX emissions limits and compliance                    important role in municipal solid waste
                                                    Comment: The EPA received multiple                   assurance requirements for large MWCs                  management programs, and that many
                                                 comments supporting the inclusion of                    as defined in the regulatory text at                   function as cogeneration facilities that
                                                 emissions limits for MWCs in the final                  § 52.46 and as described in this section.              produce electrical power for the power
                                                 rule. Commenters noted that MWCs are                       Comment: Some commenters did not                    grid. The EPA also analyzed control
                                                 significant sources of NOX that                         support the inclusion of emissions                     costs and determined that the required
                                                 contribute to ozone problems in the                     limits for MWCs in the final rule. Some                NOX emissions limits for MWCs can be
                                                 states covered by the proposal. Multiple                commenters suggested that the                          achieved at a reasonable cost, as
                                                 commenters referenced the OTC MWC                       inclusion of NOX limits in a FIP is not                described in section VI.C.6 of this
                                                 report to contend that NOX emissions                    necessary to continue to reduce NOX                    document, the Final Non-EGU Sectors
                                                 from MWCs could be significantly                        emissions from MWCs or to address                      TSD, and the OTC MWC Report.
                                                 reduced at a reasonable cost. Some                      interstate transport problems. Some                    Although the EPA does not expect these
                                                 commenters reasoned that sources                        commenters noted that many of the                      regulations to disrupt the ability of the
                                                 closer to downwind monitors, including                  MWCs in the states covered by the                      industry to provide municipal solid
                                                 MWCs, should be regulated as a more                     proposal are already subject to RACT-                  waste and electric services, to the extent
                                                 targeted approach and a means to                        based NOX emissions limits that are                    a facility is unable to comply with the
                                                 prevent overcontrol of upwind sources.                  below the current Federal NSPS NOX                     standards due to technical impossibility
                                                 Commenters also noted that the OTC                      emissions limits for MWCs under 40                     or extreme economic hardship, the final
                                                 recently signed a memorandum of                         CFR part 60, subparts Cb and Eb. One                   rule includes provisions for facility
                                                 understanding (MOU) requesting that
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                                                                                                         commenter noted that MWCs do not                       operators to apply for a case-by-case
                                                 OTC member states develop cost                          always account for a large percentage of               alternative emissions limit. See section
                                                 effective solutions and select the                      statewide NOX emissions. Others                        VI.C of this document and 40 CFR
                                                 strategy or combination of strategies, as               suggested that voluntary industry                      52.40(d). In addition, for MWC facilities
                                                 necessary and appropriate, that provides                actions are also driving downward                      that are unable to comply with the
                                                 both the maximum certainty and                          trends of NOX emissions for some                       standard by the 2026 ozone season, the
                                                 flexibility for that state and its MWCs.                MWCs. Some commenters also asserted                    final rule includes provisions for
                                                 Additionally, multiple commenters                       that regulation could interfere with state             requesting limited extensions of time to


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                                                 comply. See section VI.C and 40 CFR                     MW to a 10 MW unit, and a factor of                    83,317 MWe of electrical capacity. Over
                                                 52.40(c).                                               8 when moving to a 1 MW unit.225                       99 percent of the installations are
                                                                                                         Moreover, the EPA estimates that under                 powered by 5 equipment types, those
                                                 b. Electric Generating Units Less Than
                                                                                                         6 percent of nationwide EGU emissions                  being reciprocating engines (52 percent),
                                                 or Equal to 25 MW
                                                                                                         come from units that are less than 25                  boilers/steam turbines (17 percent), gas
                                                    The EPA has historically not included                MW and not covered by current                          turbines (16 percent), microturbines (8
                                                 control requirements for emissions for                  applicability criteria due to this size                percent), and fuel cells (4 percent). The
                                                 electric generating units less than or                  exemption threshold. Therefore, the                    majority of the electrical capacity is
                                                 equal to 25 MW of generation for three                  EPA is not finalizing any emissions                    provided by gas turbine CHP systems
                                                 primary reasons: low potential                          reductions for these units.                            (64 percent) and boiler/steam turbine
                                                 reductions, relatively high cost per ton                  Comment: EPA received comment                        CHP systems (32 percent). The various
                                                 of reduction, and high monitoring and                   supporting the continued application of                CHP technologies described herewith
                                                 other compliance burdens. In the                        the 25 MW threshold.                                   are available in a large range of sizes,
                                                 January 11, 1993, Acid Rain permitting                    Response: Consistent with prior rules,               from as small as 1 kilowatt reciprocating
                                                 rule, the EPA provided for a conditional                the proposal, and stakeholder comment,                 engine systems to as large as 300
                                                 exemption from the emissions                            EPA is continuing to apply its 25 MW                   megawatt gas turbine powered systems.
                                                 reduction, emitting, and emissions                      applicability threshold for EGUs in this                  NOX emissions from rich burn
                                                 monitoring requirements of the Acid                     rulemaking. EPA did not find                           reciprocating engine, gas turbine, and
                                                 Rain Program for new units having a                     compelling comment to reverse its                      microturbine systems are low, ranging
                                                 nameplate capacity of 25 MWe or less                    determination that (1) these sources                   from 0.013 to 0.05 lb/mmBtu. NOX
                                                 that burn fuels with a sulfur content no                offer low potential reductions, (2) have               emissions from lean burn reciprocating
                                                 greater than 0.05 percent by weight,                    relatively high cost per ton, and (3) have             engine systems and gas-powered steam
                                                 because of the de minimis nature of                     high monitoring and other compliance                   turbines systems range from 0.1 to 0.2
                                                 their potential SO2, CO2 and NOX                        burdens.                                               lb/mmBtu. The highest NOX emitting
                                                 emissions. See 63 FR 57484. The NOX                                                                            CHP units are solid fuel-fired boiler/
                                                                                                         c. Cogeneration Units
                                                 SIP Call identified these as Small Point                                                                       steam turbine systems which emit NOX
                                                 Sources. For the purposes of that                          Consistent with prior transport rules,              at rates ranging from 0.2 to 1.2 lb/
                                                 rulemaking, the EPA considered                          fossil fuel-fired boilers and combustion               mmBtu.
                                                 electricity generating boilers and                      turbines that produce both electricity                    Under the final rule (consistent with
                                                 turbines serving a generator 25 MWe or                  and useful thermal energy (generally                   prior CSAPR rulemakings), certain
                                                 less, to be small point sources. The EPA                referred to as ‘‘cogeneration units’’) and             cogeneration units would be exempt
                                                 noted that the collective emissions from                that meet the applicability criteria to be             from coverage under the CSAPR NOX
                                                 small sources were relatively small and                 included in the CSAPR NOX Ozone                        Ozone Season Group 3 Trading Program
                                                 the administrative burden to the states                 Season Group 3 Trading Program would                   as EGUs. Specifically, the trading
                                                 and regulated entities of controlling                   be subject to the emissions reduction                  program regulations include an
                                                 such sources was likely to be                           requirements established in this                       exemption for a unit that qualifies as a
                                                 considerable. As a result, the rule did                 rulemaking for EGUs. However, those                    cogeneration unit throughout the later of
                                                 not assume reductions from those                        applicability criteria—which the EPA is                2005 or the first 12 months during
                                                 sources in state emissions budgets                      not altering in this rulemaking (see                   which the unit first produces electricity
                                                 requirements (63 FR 57402). Similar                     section VI.B.3 of this document)—                      and continues to qualify through each
                                                 size thresholds have been incorporated                  exempt some cogeneration units from                    calendar year ending after the later of
                                                 in subsequent transport programs such                   coverage as EGUs under the trading                     2005 or that 12-month period and that
                                                 as CAIR and CSAPR. As these sources                     program. The EPA is finalizing that                    meets the limitation on electricity sales
                                                 were not identified as having cost-                     fossil fuel-fired boilers and combustion               to the grid. To meet the trading
                                                 effective reductions and so were not                    turbines that produce both electricity                 program’s definition of ‘‘cogeneration
                                                 included in those programs, they were                   and useful thermal energy and that do                  unit’’ under the regulations, a unit (i.e.,
                                                 also exempted from certain reporting                    not meet the applicability criteria to be              a fossil-fuel-fired boiler or combustion
                                                 requirements and the data for these                     included in the CSAPR NOX Ozone                        turbine) must be a topping-cycle or
                                                 sources is, therefore, not of the same                  Season Group 3 Trading Program as                      bottoming-cycle type that operates as
                                                 caliber as that of covered larger sources.              EGUs would not be subject to the Group                 part of a ‘‘cogeneration system.’’ A
                                                    EPA’s preliminary survey of current                  3 emissions trading program. However,                  cogeneration system is defined as an
                                                 data, compared to this initial                          to the extent a cogeneration unit meets                integrated group of equipment at a
                                                 justification, does not appear to offer a               the applicability criteria for industrial              source (including a boiler, or
                                                 compelling reason to depart from this                   non-EGU boilers covered by this rule,                  combustion turbine, and a generator)
                                                 past practice by requiring emissions                    that unit will be subject to the relevant              designed to produce useful thermal
                                                 reductions from these small EGU                         requirements and is not exempted by                    energy for industrial, commercial,
                                                 sources as part of this rule. For instance,             virtue of being a cogeneration unit.                   heating, or cooling purposes and
                                                 as explained in the EGU NOX Mitigation                     According to information contained                  electricity through the sequential use of
                                                 Strategies Final Rule TSD, EPA has                      in the EPA’s Combined Heat and Power                   energy. A topping-cycle unit is a unit
                                                 evaluated the costs of SCR retrofits at                 Partnership’s document ‘‘Catalog of CHP                where the sequential use of energy
                                                 small EGUs using its Retrofit Cost                      Technologies’’,226 there are 4,226 CHP                 results in production of useful power
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                                                 Analyzer and found that such controls                   installations in the U.S. providing                    first and then, through use of reject heat
                                                 become markedly less cost-effective at                                                                         from such production, in production of
                                                 lower levels of generating capacity. This                 225 Preliminary estimate based on representative     useful thermal energy. A bottoming-
                                                 analysis concluded that, after                          coal units with starting NOX rate of 0.2 lb/mmBtu,     cycle unit is a unit where the sequential
                                                 controlling for all other unit                          10,000 BTU/kwh, and assuming 80 percent                use of energy results in production of
                                                                                                         reduction.
                                                 characteristics, the dollar per ton cost                  226 This document is available at: https://          useful thermal energy first, and then,
                                                 for a SCR retrofit increases by about a                 www.epa.gov/sites/default/files/2015-07/               through use of reject heat from such
                                                 factor of 2.5 when moving from a 500                    documents/catalog_of_chp_technologies.pdf.             production, in production of useful


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                                                 power. To qualify as a cogeneration                     boilers (two in Pulp and Papermill and                 Marine Rule (73 FR 25098; May 6,
                                                 unit, a unit also must meet certain                     two in Basic Chemical Manufacturing)                   2008); the Marine Spark-Ignition and
                                                 efficiency and operating standards in                   that would meet the final rule’s                       Small Spark-Ignition Engine Rule (73 FR
                                                 2005 and each year thereafter. The                      applicability criteria for non-EGU units               59034; October 8, 2008); the New
                                                 electricity sales limitation under the                  and are included in the analysis of non-               Marine Compression-Ignition Engines at
                                                 exemption is applied in the same way                    EGU emissions reduction potential in                   or Above 30 Liters per Cylinder Rule (75
                                                 whether a unit serves only one generator                section V.C.2 of this document.                        FR 22895; April 30, 2010); and the
                                                 or serves more than one generator. In                                                                          Aircraft and Aircraft Engine Emissions
                                                 both cases, the total amount of                         4. Mobile Source NOX Mitigation                        Standards (77 FR 36342; June 18, 2012).
                                                 electricity produced annually by a unit                 Strategies                                                Most recently, EPA finalized more
                                                 and sold to the grid cannot exceed the                     Under a variety of CAA programs, the                stringent emissions standards for NOX
                                                 greater of one-third of the unit’s                      EPA has established Federal emissions                  and other pollution from heavy-duty
                                                 potential electric output capacity or                   and fuel quality standards that reduce                 trucks (Control of Air Pollution from
                                                 219,000 MWh. This is consistent with                    emissions from cars, trucks, buses,                    New Motor Vehicles: Heavy-Duty
                                                 the approach taken in the Acid Rain                     nonroad engines and equipment,                         Engine and Vehicle Standards, 88 FR
                                                 Program (40 CFR 72.7(b)(4)), where the                  locomotives, marine vessels, and aircraft              4296, January 24, 2023). These
                                                 cogeneration-unit exemption originated.                 (i.e., ‘‘mobile sources’’). Because states             standards will take effect beginning
                                                    The EPA requested comment on                         are generally preempted from regulating                with model year 2027. Heavy-duty
                                                 requiring fossil fuel-fired boilers in the              new vehicles and engines with certain                  vehicles are the largest contributor to
                                                 non-EGU industries identified in section                exceptions (see generally CAA section                  mobile source emissions of NOX and
                                                 VI.C of this document that serve                        209), mobile source emissions are                      will be one of the largest mobile source
                                                 electricity generators and that qualify                 primarily controlled through EPA’s                     contributors to ozone in 2025.230
                                                 for an exemption from inclusion in the                  Federal programs. The EPA has been                     Reducing heavy-duty vehicle emissions
                                                 CSAPR NOX Ozone Season Group 3                          regulating mobile source emissions                     nationally will improve air quality
                                                 Trading Program as EGUs to instead                      since it was established as a Federal                  where the trucks are operating as well
                                                 meet the same emissions standards, if                   agency in 1970, and all mobile source                  as downwind. The EPA’s existing
                                                 any, that would apply under this                        sectors are currently subject to NOX                   regulatory program for mobile sources
                                                 rulemaking to fossil fuel-fired boilers at              emissions standards. The EPA factors                   will continue to reduce NOX emissions
                                                 facilities in the same non-EGU                          these standards and associated                         into the future.
                                                 industries that do not serve electricity                emissions reductions into its baseline                    Comment: The EPA received
                                                 generators.                                             air quality assessment in good neighbor                comments on ozone-precursor
                                                    Comment: Some stakeholders support                   rulemaking, including in this final rule.              emissions from mobile sources,
                                                 the continued exclusion of qualifying                   These data are factored into EPA’s                     including cars, trucks, trains, ships, and
                                                 cogenerators from the EGU program, but                  analysis at Steps 1 and 2 of the 4-step                planes. Commenters broadly encouraged
                                                 suggested they be regulated as non-                     framework. As a result of this long                    the EPA to require emissions reductions
                                                 EGUs if they don’t fit the EGU                          history, NOX emissions from onroad and                 from mobile sources in this rule.
                                                 applicability criteria.                                 nonroad mobile sources have                            Commenters stated that the
                                                    Response: The EPA agrees that there                                                                         transportation sector plays a significant
                                                                                                         substantially decreased (73 percent and
                                                 is no basis within the four-step                                                                               role in NOX pollution and ozone
                                                                                                         57 percent since 2002, for onroad and
                                                 framework to exempt cogeneration units                                                                         formation and urged the EPA to finalize
                                                                                                         nonroad, respectively) 227 and are
                                                 that fall under the applicability criteria                                                                     emissions reductions for the
                                                                                                         predicted to continue to decrease into
                                                 of the final rule for non-EGU boilers                                                                          transportation sector that will enable
                                                                                                         the future as newer vehicles and engines
                                                 simply because they are cogeneration                                                                           attainment of the 2015 ozone NAAQS.
                                                                                                         that are subject to the most recent,
                                                 units. While cogeneration units do have                                                                        Some commenters noted that high
                                                                                                         stringent standards replace older
                                                 environmental benefits as noted at                                                                             proportions of NOX emissions in various
                                                 proposal, some cogeneration unit-types,                 vehicles and engines.228
                                                                                                                                                                upwind states are attributable to the
                                                 particularly boilers, are estimated to                     For example, in 2014, the EPA
                                                                                                                                                                transportation sector, and stated that
                                                 have NOX emissions that would                           promulgated new, more stringent
                                                                                                                                                                EPA should have targeted emissions
                                                 otherwise meet this rule’s criteria at                  emissions and fuel standards for light-
                                                                                                                                                                reductions from mobile sources first
                                                 Step 3 for constituting ‘‘significant                   duty passenger cars and trucks.229 The
                                                                                                                                                                before requiring more stringent
                                                 contribution.’’ These units can meet the                fuel standards took effect in 2017, and
                                                                                                                                                                emissions controls from stationary
                                                 emissions limits that are otherwise                     the vehicle standards phase in between
                                                                                                                                                                sources in the same upwind states.
                                                 finalized for these unit types, and the                 2017 and 2025. Other EPA actions that                     Response: The EPA agrees with
                                                 EPA does not find a basis to exclude                    are continuing to reduce NOX emissions                 commenters that a variety of sources,
                                                 them simply because they may have                       include the Heavy-Duty Engine and                      including mobile sources in the
                                                 other environmentally-beneficial                        Vehicle Standards and Highway Diesel                   transportation sector, produce NOX
                                                 attributes.                                             Fuel Sulfur Control Requirements (66                   emissions that contribute to ozone air
                                                    These emissions limits are set forth in              FR 5002; January 18, 2001); the Clean                  quality problems across the U.S. This
                                                 section VI.C.5 of this document.                        Air Nonroad Diesel Rule (69 FR 38957;                  rule, as with prior interstate transport
                                                 Therefore, the final requirements for                   June 29, 2004); the Locomotive and                     actions, does not ignore those
                                                 non-EGUs do not exempt cogeneration                        227 US EPA. Our Nation’s Air: Status and Trends
                                                                                                                                                                emissions, and it credits those on-the-
                                                 units and any cogeneration emissions                                                                           books measures of states and the Federal
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                                                                                                         Through 2019. https://gispub.epa.gov/air/
                                                 units meeting the applicability criteria                trendsreport/2020/#home.                               Government within the four-step
                                                 for non-EGUs will be subject to the final                  228 National Emissions Inventory Collaborative      framework by including emissions and
                                                 emissions limits for the appropriate                    (2019). 2016v1 Emissions Modeling Platform.
                                                 non-EGU emissions unit. Based on                        Retrieved from http://views.cira.colostate.edu/wiki/     230 Zawacki et al, 2018. Mobile source
                                                                                                         wiki/10202.                                            contributions to ambient ozone and particulate
                                                 EPA’s review of available data, across                     229 Control of Air Pollution from Motor Vehicles:   matter in 2025. Atmospheric Environment. Vol 188,
                                                 all of the non-EGU industries covered                   Tier 3 Motor Vehicle Emissions and Fuel Standards,     pg 129–141. Available online: https://doi.org/
                                                 by this rule, there are four cogeneration               79 FR 23414 (April 28, 2014).                          10.1016/j.atmosenv.2018.04.057.



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                                                 emissions reductions from these sources                                      any case, the existence of mobile source                      section V.B.1 of this document), that
                                                 in the emissions inventory for air                                           emissions noted by commenters does                            were assessed in previous rules to
                                                 quality modeling, which informs Steps                                        not lead to the conclusion that the EPA                       address ozone transport, and that have
                                                 1 and 2 of this analysis. Thus, this rule                                    must require mobile source reductions                         been incorporated into state planning
                                                 accurately represents emissions from                                         in this rule or that the EPA has not                          requirements to address ozone
                                                 mobile sources that are used to evaluate                                     properly identified ‘‘source[s] or other                      nonattainment.
                                                 the contribution of states to ozone air                                      type[s] of emissions activity’’ in upwind                       The EPA evaluated the EGU sources
                                                 quality problems in other states. See                                        states that ‘‘significantly contribute’’ for                  within the State of California and found
                                                 section IV.C of this document.                                               purposes of the Good Neighbor                                 there were no covered coal steam
                                                    The EPA notes that its Step 3 analysis                                    Provision. The EPA is committed to                            sources greater than 100 MW that would
                                                 for this FIP does not assess additional                                      continuing the effective implementation                       have emissions reduction potential
                                                 emissions reductions opportunities from                                      and enforcement of current mobile                             according to EPA’s assumed EGU SCR
                                                 mobile sources. The EPA continues to                                         source standards and continuing its                           retrofit mitigation technologies.232 The
                                                 believe that title II of the CAA provides                                    efforts on new standards. The EPA will                        EGUs in the state are sufficiently well-
                                                 the primary authority and process for                                        continue to work with state and local air                     controlled resulting in the lowest fossil-
                                                 reducing these emissions at the Federal                                      agencies to incorporate emissions                             fuel emissions rate and highest share of
                                                 level. EPA’s various Federal mobile                                          reductions from the transportation                            renewable generation among the 23
                                                 source programs, summarized above in                                         sector into required ozone attainment                         states examined at Step 3. EPA’s Step 3
                                                 this section, have delivered and are                                         planning elements.                                            analysis, including analysis of the
                                                 projected to continue to deliver                                             C. Control Stringencies Represented by                        emissions reduction factors from EGU
                                                 substantial nationwide reductions in                                         Cost Threshold ($ per ton) and                                sources in the state, therefore resulted in
                                                 both VOCs and NOX emissions; these                                           Corresponding Emissions Reductions                            no additional emissions reductions
                                                 reductions from final rules are factored                                                                                                   required to eliminate significant
                                                 into the Agency’s assessment of air                                          1. EGU Emissions Reduction Potential                          contribution from any EGU sources in
                                                 quality and contributions at Steps 1 and                                     by Cost Threshold                                             California.
                                                 2. Further, states are generally                                                For EGUs, as discussed in section V.A                        The following tables summarize the
                                                 preempted from regulating new vehicles                                       of this document, the multi-factor test                       emissions reduction potentials (in ozone
                                                 and engines with certain exceptions,                                         considers increasing levels of uniform                        season tons) from these emissions
                                                 and therefore a question exists regarding                                    control stringency in combination with                        controls across the affected
                                                 the EPA’s authority to address such                                          considering total NOX reduction                               jurisdictions. Table V.C.1–1 focuses on
                                                 emissions through such means when                                            potential and corresponding air quality                       near-term emissions controls while
                                                 regulating in place of the states under                                      improvements. The EPA evaluated EGU                           Table V.C.1–2 includes emissions
                                                 CAA section 110(c). See generally CAA                                        NOX emissions controls that are widely                        controls with extended implementation
                                                 section 209. See also 86 FR 23099.231 In                                     available (described previously in                            timeframes.

                                                                          TABLE V.C.1–1—EGU OZONE-SEASON EMISSIONS AND REDUCTION POTENTIAL (TONS)—2023
                                                                                                                                                                                        Reduction potential (tons) for varying levels of
                                                                                                                                                                                                    technology inclusion

                                                                                                                                                                  Baseline 2023                              SCR                SCR/SNCR
                                                                                                   State                                                            OS NOX                              optimization +         optimization +
                                                                                                                                                                                         SCR             combustion             combustion
                                                                                                                                                                                     optimization           control                control
                                                                                                                                                                                                          upgrades               upgrades

                                                 Alabama .................................................................................................                 6,412                32                     32                    32
                                                 Arkansas ................................................................................................                 8,955                28                     28                    28
                                                 Illinois .....................................................................................................            7,721                70                     70                   247
                                                 Indiana ...................................................................................................              13,298               856                    856                   858
                                                 Kentucky ................................................................................................                13,900               299                    901                   901
                                                 Louisiana ................................................................................................                9,974               515                    515                   611
                                                 Maryland ................................................................................................                 1,214                 0                      0                     8
                                                 Michigan .................................................................................................               10,746                 4                      4                    19
                                                 Minnesota ..............................................................................................                  5,643                98                     98                   139
                                                 Mississippi ..............................................................................................                6,283                73                    984                   984
                                                 Missouri ..................................................................................................              20,094             7,339                  7,339                 7,497
                                                 Nevada ...................................................................................................                2,372                 4                      4                     4
                                                 New Jersey ............................................................................................                     915               143                    143                   143
                                                 New York ...............................................................................................                  3,977                64                     64                    64
                                                 Ohio .......................................................................................................             10,264             1,154                  1,154                 1,154
                                                 Oklahoma ...............................................................................................                 10,470               199                    890                   890
                                                 Pennsylvania ..........................................................................................                   8,573               336                    336                   436
                                                 Texas .....................................................................................................              41,276               909                    909                 1,142
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                                                 Utah .......................................................................................................             15,762                 7                      7                     7
                                                 Virginia ...................................................................................................              3,329               164                    242                   263
                                                 West Virginia ..........................................................................................                 14,686               554                  1,099                 1,380

                                                   231 This is not to say that states lack other options                      states may (but are not required to) adopt California         submit those standards to be included as a part of
                                                 to reduce emissions from mobile sources. For                                 vehicle emissions standards for which a waiver has            their SIP.
                                                 example, a general list of types of transportation                           been granted from the preemption provisions in                   232 The only coal-fired power plant in California

                                                 control measures can be found in CAA section                                 section 209(a). States that decide to adopt California        is the 63 MW Argus Cogeneration facility in Trona,
                                                 108(f). In addition, in accordance with section 177,                         vehicle emissions standards may also choose to                California.



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                                                              TABLE V.C.1–1—EGU OZONE-SEASON EMISSIONS AND REDUCTION POTENTIAL (TONS)—2023—Continued
                                                                                                                                                                                         Reduction potential (tons) for varying levels of
                                                                                                                                                                                                     technology inclusion

                                                                                                                                                                Baseline 2023                                  SCR              SCR/SNCR
                                                                                                   State                                                          OS NOX                                  optimization +       optimization +
                                                                                                                                                                                           SCR             combustion           combustion
                                                                                                                                                                                       optimization           control              control
                                                                                                                                                                                                            upgrades             upgrades

                                                 Wisconsin ...............................................................................................                   6,321                    7                    7                26

                                                       Total ................................................................................................          222,184               12,854               15,681               16,832
                                                   * The EPA shows reduction potential from state-of-the-art LNB upgrade as near-term emissions controls, but explains in section V.B and VI.A
                                                 of this document that this reduction potential would not be implemented until 2024.

                                                                        TABLE V.C.1–2—EGU OZONE-SEASON EMISSIONS AND REDUCTION POTENTIAL (TONS)—2026 *
                                                                                                                                                                 Reduction potential (tons) for varying levels of technology inclusion

                                                                                                                                                                                                                                SCR/SNCR
                                                                                                                                                                                          SCR              SCR/SNCR            optimization +
                                                                                                                                   Baseline 2026
                                                                                   State                                                                                             optimization +       optimization +        combustion
                                                                                                                                     OS NOX                         SCR               combustion           combustion              control
                                                                                                                                                                optimization             control              control           upgrades +
                                                                                                                                                                                       upgrades             upgrades            SCR/SNCR
                                                                                                                                                                                                                                  retrofits

                                                 Alabama .................................................................                       6,371                    32                      32                   32                 604
                                                 Arkansas ................................................................                       8,728                    28                      28                   28               4,697
                                                 Illinois .....................................................................                  6,644                    70                      70                  230               1,281
                                                 Indiana ...................................................................                     9,468                   768                     768                  770               1,333
                                                 Kentucky ................................................................                      13,211                   299                     739                  739               5,303
                                                 Louisiana ................................................................                      9,704                   515                     515                  611               5,894
                                                 Maryland ................................................................                         901                    51                      51                   59                  59
                                                 Michigan .................................................................                      7,790                     4                       4                   19               1,959
                                                 Minnesota ...............................................................                       4,197                    98                      98                  139               1,613
                                                 Mississippi ..............................................................                      6,022                    73                     984                  984               3,938
                                                 Missouri ..................................................................                    18,612                 7,339                   7,339                7,497              11,231
                                                 Nevada ...................................................................                      1,146                     4                       4                    4                   4
                                                 New Jersey ............................................................                           915                   143                     143                  143                 143
                                                 New York ...............................................................                        3,977                    64                      64                   64                 589
                                                 Ohio ........................................................................                   9,083                 1,154                   1,154                1,154               1,154
                                                 Oklahoma ...............................................................                       10,259                   199                     890                  890               5,968
                                                 Pennsylvania ..........................................................                         8,362                   352                     352                  452               1,204
                                                 Texas .....................................................................                    39,684                   909                     909                1,142              15,980
                                                 Utah ........................................................................                   9,930                     7                       7                    7               7,338
                                                 Virginia ...................................................................                    3,019                   164                     242                  263                 646
                                                 West Virginia ..........................................................                       13,185                   401                     947                1,227               3,507
                                                 Wisconsin ...............................................................                       5,016                     7                       7                   26                 623

                                                       Total ................................................................                 196,225                 12,680                 15,346               16,480               75,067
                                                    * The EPA shows all emissions reduction potential identified for assumed SCR retrofits in the Step 3 analytic year 2026, but explains in sec-
                                                 tions V.B and VI.A of this document that for Step 4 implementation this emissions reduction potential will be phased in during the 2026 and 2027
                                                 ozone season control periods.


                                                 2. Non-EGU or Industrial Source                                             information on control efficiencies and                         final rule emissions limits may also
                                                 Emissions Reduction Potential                                               default cost/ton values from the CMDB,                          differ from those estimated in this
                                                                                                                             to estimate NOX emissions reductions                            assessment. The costs do not include
                                                    As described in the memorandum
                                                                                                                             and costs for the year 2026. The                                monitoring, recordkeeping, reporting, or
                                                 titled ‘‘Summary of Final Rule
                                                                                                                             estimates using the 2019 inventory and                          testing costs.
                                                 Applicability Criteria and Emissions
                                                 Limits for Non-EGU Emissions Units,                                         information from the CMDB identify                                Table V.C.2–1 summarizes the
                                                 Assumed Control Technologies for                                            proxies for emissions units, as well as                         industries, estimated emissions unit
                                                 Meeting the Final Emissions Limits, and                                     emissions reductions, and costs                                 types, assumed control technologies,
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                                                 Estimated Emissions Units, Emissions                                        associated with the assumed control                             estimated annual costs (2016$), and
                                                 Reductions, and Costs,’’ the EPA uses                                       technologies that would meet the final                          estimated ozone season emissions
                                                 the 2019 emissions inventory, the list of                                   emissions limits. Emissions units                               reductions in 2026, and Table V.C.2–2
                                                 emissions units estimated to be                                             subject to the final rule emissions limits                      summarizes the estimated reductions by
                                                 captured by the applicability criteria,                                     may differ from those estimated in this                         state.
                                                 the assumed control technologies that                                       assessment, and the estimated emissions
                                                 would meet the emissions limits, and                                        reductions from and costs to meet the


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                                                        TABLE V.C.2–1—BY INDUSTRY IN 2026, ESTIMATED EMISSIONS UNIT TYPES, ASSUMED CONTROL TECHNOLOGIES,
                                                                  ANNUAL COSTS (2016$), AND ESTIMATED EMISSIONS REDUCTIONS (OZONE SEASON TONS)
                                                                                                                                                                                                       Assumed control                                                                   Ozone season
                                                                                                                                                                                                                                                                 Annual costs
                                                                  Industry/industries                                                Emissions unit type                                     technologies that meet final emissions                                                        emissions
                                                                                                                                                                                                                                                                   (2016$)
                                                                                                                                                                                                             limits                                                                       reductions

                                                 Pipeline Transportation of Natural Gas .....                      Reciprocating Internal Combustion Engine                               NSCR or Layered Combustion, Layered                                     385,463,197                  32,247
                                                                                                                                                                                           Combustion, SCR, NSCR.
                                                 Cement and Concrete Product Manufac-                              Kiln ............................................................      SNCR ........................................................            10,078,205                   2,573
                                                    turing.
                                                 Iron and Steel Mills and Ferroalloy Manu-                         Reheat Furnaces .......................................                LNB ...........................................................           3,579,294                     408
                                                    facturing.
                                                 Glass and Glass Product Manufacturing ..                          Furnaces ...................................................           LNB ...........................................................           7,052,088                   3,129
                                                 Iron and Steel Mills and Ferroalloy Manu-                         Boilers .......................................................        SCR, LNB + FGR ......................................                     8,838,171                     440
                                                    facturing.
                                                 Metal Ore Mining .......................................          ....................................................................   ....................................................................        621,496                      18
                                                 Basic Chemical Manufacturing ..................                   ....................................................................   ....................................................................     49,697,848                   1,748
                                                 Petroleum and Coal Products Manufac-                              ....................................................................   ....................................................................      5,128,439                     147
                                                    turing.
                                                 Pulp, Paper, and Paperboard Mills ...........                     ....................................................................   ....................................................................     62,268,540                   1,836
                                                 Solid Waste Combustors and Incinerators                           Combustors or Incinerators .......................                     ANSCR or LNTM and SNCR .....................                             38,949,560                   2,071

                                                       Totals ..................................................   ....................................................................   ....................................................................    571,676,839                  44,616


                                                                TABLE V.C.2–2—ESTIMATED EMISSIONS REDUCTIONS (OZONE SEASON TONS) BY UPWIND STATE IN 2026
                                                                                                                                                                                                                                                               2019                       OS NOX
                                                                                                                                            State                                                                                                               OS                       reductions
                                                                                                                                                                                                                                                             emissions *

                                                 AR ............................................................................................................................................................................                                     8,790                     1,546
                                                 CA ............................................................................................................................................................................                                    16,562                     1,600
                                                 IL ..............................................................................................................................................................................                                  15,821                     2,311
                                                 IN .............................................................................................................................................................................                                   16,673                     1,976
                                                 KY ............................................................................................................................................................................                                    10,134                     2,665
                                                 LA .............................................................................................................................................................................                                   40,954                     7,142
                                                 MD ...........................................................................................................................................................................                                      2,818                       157
                                                 MI .............................................................................................................................................................................                                   20,576                     2,985
                                                 MO ...........................................................................................................................................................................                                     11,237                     2,065
                                                 MS ............................................................................................................................................................................                                     9,763                     2,499
                                                 NJ .............................................................................................................................................................................                                    2,078                       242
                                                 NV 233 .......................................................................................................................................................................                                      2,544                         0
                                                 NY ............................................................................................................................................................................                                     5,363                       958
                                                 OH ............................................................................................................................................................................                                    18,000                     3,105
                                                 OK ............................................................................................................................................................................                                    26,786                     4,388
                                                 PA ............................................................................................................................................................................                                    14,919                     2,184
                                                 TX ............................................................................................................................................................................                                    61,099                     4,691
                                                 UT ............................................................................................................................................................................                                     4,232                       252
                                                 VA ............................................................................................................................................................................                                     7,757                     2,200
                                                 WV ...........................................................................................................................................................................                                      6,318                     1,649

                                                        Totals ................................................................................................................................................................                                    302,425                    44,616
                                                   * The 2019 OS season emissions are calculated as 5/12 of the annual emissions from the following two emissions inventory files: nonegu_
                                                 SmokeFlatFile_2019NEI_POINT_20210721_controlupdate_13sep2021_v0 and oilgas_SmokeFlatFile_2019NEI_POINT_20210721_controlupdate_
                                                 13sep2021_v0.


                                                   In Table V.C.2–3 by industry and                                                  all of the non-EGU emissions units. The                                                   dollars and reflect simple averages and
                                                 emissions unit type, the EPA provides a                                             average cost per ton values range from                                                    not a percentile or other representative
                                                 summary of the control technologies                                                 $939 to $14,595 per ton. Note that the                                                    cost values from a distribution of cost
                                                 applied and their average costs across                                              average cost per ton values are in 2016                                                   estimates.
                                                   TABLE V.C.2–3—BY INDUSTRY, EMISSIONS UNIT TYPE, ASSUMED CONTROL TECHNOLOGIES, AND ESTIMATED AVERAGE
                                                                 COST PER TON BY CONTROL TECHNOLOGY ACROSS ALL NON-EGU EMISSIONS UNITS
                                                                                                                                                                                                                                                                                            Average
                                                                                                                                                                                                                  Assumed control technologies that meet final                              cost/ton
                                                                       Industry/industries                                                           Emissions unit type                                                      emissions limits                                               values
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                                                                                                                                                                                                                                                                                            (2016$)

                                                 Pipeline Transportation of Natural Gas ................                      Reciprocating Internal Combustion Engine .........                               NSCR or Layered Combustion, Layered Com-                                         4,981
                                                                                                                                                                                                                bustion, SCR, NSCR.
                                                 Cement and Concrete Product Manufacturing .....                              Kiln .......................................................................     SNCR ..................................................................          1,632

                                                   233 We are not aware of existing non-EGU                                          If any such units in fact exist, they would be subject                                    Nevada that meets the applicability criteria in the
                                                 emissions units in Nevada that meet the                                             to the requirements of the rule just as in any other                                      final rule will be subject to the final rule’s
                                                 applicability criteria for non-EGUs in the final rule.                              state. In addition, any new emissions unit in                                             requirements. See section III.B.1.d.



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                                                   TABLE V.C.2–3—BY INDUSTRY, EMISSIONS UNIT TYPE, ASSUMED CONTROL TECHNOLOGIES, AND ESTIMATED AVERAGE
                                                            COST PER TON BY CONTROL TECHNOLOGY ACROSS ALL NON-EGU EMISSIONS UNITS—Continued
                                                                                                                                                                                                                                                                                          Average
                                                                                                                                                                                                           Assumed control technologies that meet final                                   cost/ton
                                                                      Industry/industries                                                      Emissions unit type                                                     emissions limits                                                    values
                                                                                                                                                                                                                                                                                          (2016$)

                                                 Iron and Steel Mills and Ferroalloy Manufacturing                      Reheat Furnaces .................................................                LNB ......................................................................           3,656
                                                 Glass and Glass Product Manufacturing ..............                   Furnaces ..............................................................          LNB ......................................................................             939
                                                 Iron and Steel Mills and Ferroalloy Manufacturing                      Boilers ..................................................................       SCR or LNB + FGR ............................................                        8,369
                                                 Metal Ore Mining ..................................................    ..............................................................................   ..............................................................................      14,595
                                                 Basic Chemical Manufacturing .............................             ..............................................................................   ..............................................................................      11,845
                                                 Petroleum and Coal Products Manufacturing .......                      ..............................................................................   ..............................................................................      14,582
                                                 Pulp, Paper, and Paperboard Mills .......................              ..............................................................................   ..............................................................................      14,134
                                                 Solid Waste Combustors and Incinerators ...........                    Combustors or Incinerators .................................                     ANSCR or LNTM and SNCR ...............................                               7,836

                                                       Overall Average Cost/Ton .............................           ..............................................................................   ..............................................................................       5,339



                                                    Refer to the memorandum titled                                             that the value may not be technically                                                    effectiveness thresholds the EPA uses at
                                                 ‘‘Summary of Final Rule Applicability                                         feasible to apply to existing sources that                                               Step 3 to evaluate EGU emissions
                                                 Criteria and Emissions Limits for Non-                                        would have to retrofit controls.                                                         control opportunities, this threshold is
                                                 EGU Emissions Units, Assumed Control                                            Response: The EPA notes that the                                                       not intended to represent the maximum
                                                 Technologies for Meeting the Final                                            primary purpose of the Screening                                                         cost any facility may need to expend but
                                                 Emissions Limits, and Estimated                                               Assessment of Potential Emissions                                                        is rather intended to be a representative
                                                 Emissions Units, Emissions Reductions,                                        Reductions, Air Quality Impacts, and                                                     figure for evaluating technologies to
                                                 and Costs’’ for additional estimates—                                         Costs from Non-EGU Emissions Units                                                       allow for a relative comparison between
                                                 including by industry and by state.                                           for 2026 (non-EGU screening                                                              different levels of control stringency.
                                                 These estimates are proxy estimates,                                          assessment) was to identify potentially                                                  The EPA’s potential cost threshold for
                                                 and the EPA also did not prepare                                              impactful industries and emissions unit                                                  non-EGU controls at proposal was
                                                 detailed engineering analyses for the                                         types for further evaluation.234 In the
                                                                                                                                                                                                                        intended to serve a similar
                                                 industries, facilities, and individual                                        non-EGU screening assessment
                                                                                                                                                                                                                        representative purpose. Based on the
                                                 emissions units identified for the final                                      memorandum we presented an
                                                                                                                               analytical framework to further analyze                                                  EPA’s updated analysis for this final
                                                 rule. Emissions units subject to the final
                                                 rule emissions limits may differ from                                         potential emissions reductions and costs                                                 rule, the EPA recognizes that the
                                                 those estimated in this assessment, and                                       and included proxy estimates for 2026.                                                   $7,500/ton threshold does not reflect the
                                                 the estimated emissions reductions from                                         As noted in section V.D. of this                                                       full range of cost-effectiveness values
                                                 and costs to meet the final rule                                              document, at proposal the EPA found                                                      that are likely present across the many
                                                 emissions limits may also differ from                                         that based on data available at that time                                                different types of non-EGU industries
                                                 those estimated in this assessment.                                           and for the purposes of the non-EGU                                                      and emissions units assessed.
                                                    Comment: Regarding the marginal                                            screening assessment, it appeared that a                                                    While the potentially impactful
                                                 cost threshold of $7,500/ton used to                                          $7,500 marginal cost-per-ton threshold                                                   industries (identified in Step 1 of the
                                                 assess potential emissions reductions in                                      could be used as a proxy to identify                                                     analytical framework presented in the
                                                 the non-EGU screening assessment                                              cost-effective emissions control                                                         non-EGU screening assessment) were
                                                 prepared for proposal, commenters                                             opportunities. Also, the $7,500 marginal                                                 directly used, the proxy estimates for
                                                 raised a range of questions, including (1)                                    cost-per-ton threshold is higher than the                                                emissions unit types, emissions
                                                 why the EPA used a marginal cost                                              cost-per-ton value used in the Revised                                                   reductions, and costs from the non-EGU
                                                 threshold that is much higher than the                                        Cross-State Air Pollution Rule Update
                                                                                                                                                                                                                        screening assessment were not directly
                                                 $2,000/ton threshold used in the 2021                                         because that rulemaking assessed
                                                                                                                                                                                                                        used to establish applicability
                                                 Revised CSAPR Update Rule, (2) why                                            significant contribution for the less
                                                                                                                                                                                                                        thresholds and emissions limits in the
                                                 the EPA used a ‘‘one size fits all’’                                          protective 2008 ozone NAAQS, and it is
                                                                                                                               reasonable when assessing significant                                                    proposal. To further evaluate the
                                                 approach for addressing the estimated                                                                                                                                  impactful industries and emissions unit
                                                 cost and actual emissions reductions                                          contribution associated with the more
                                                                                                                               protective 2015 ozone NAAQS, that a                                                      types and establish the proposed
                                                 achievable, particularly for existing                                                                                                                                  emissions limits, the EPA reviewed
                                                 sources of NOX emissions, (3) why the                                         potentially more costly universe of
                                                                                                                               emissions controls and related potential                                                 RACT rules, NSPS rules, NESHAP rules,
                                                 EPA set a $7,500/ton marginal cost                                                                                                                                     existing technical studies (e.g., Ozone
                                                 threshold for all non-EGUs, despite                                           reductions should be included in the
                                                                                                                               analysis.235 Similar to the role of cost-                                                Transport Commission, Technical
                                                 acknowledging the heterogeneity of
                                                                                                                                                                                                                        Information Oil and Gas Sector
                                                 industry, emissions unit types and                                               234 The non-EGU screening assessment                                                  Significant Stationary Sources of NOX
                                                 control options and failing to consider                                       memorandum is available in the docket here:                                              Emissions, October 17, 2012), rules in
                                                 the actual costs associated with                                              https://www.regulations.gov/document/EPA-HQ-
                                                 achieving the proposed reductions at                                          OAR-2021-0668-0150.                                                                      approved SIP submittals, consent
                                                 different types of emissions units in                                            235 As the amount of air pollution that is allowed                                    decrees, and permit limits.236
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                                                                                                                               in the ambient air is reduced (i.e., when a NAAQS
                                                 order to artificially inflate the marginal                                    is revised), it is reasonable to expect that further
                                                 cost threshold and to justify otherwise                                                                                                                                emissions reduction opportunities that were the
                                                                                                                               emissions reductions may be necessary to bring
                                                 cost-prohibitive NOX control                                                  areas into attainment with that more protective                                          least costly. The EPA noted this same possibility in
                                                                                                                               standard. At the same time, the available remaining                                      the original CSAPR rulemaking, see 76 FR 48210.
                                                 technologies. Commenters also stated                                                                                                                                     236 This review is detailed in the Final Non-EGU
                                                                                                                               emissions reduction opportunities will likely have
                                                 that controls for their industry are not                                      become more costly compared to a prior period,                                           Sectors TSD available in the docket here: https://
                                                 cost-effective using the EPA’s                                                because other CAA requirements, including such as                                        www.regulations.gov/document/EPA-HQ-OAR-
                                                 presumptive value of $7,500/ton and                                           earlier transport rules, will have consumed those                                        2021-0668-0145.



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                                                 D. Assessing Cost, EGU and Non-EGU                      and maintaining the 2015 ozone                         nonattainment to maintenance status up
                                                 NOX Reductions, and Air Quality                         NAAQS.                                                 through the stringency level ultimately
                                                    To determine the emissions that are                     In addition to the findings of cost-                selected by EPA. (And all receptors
                                                 significantly contributing to                           effectiveness, feasibility and widespread              show improvement in air quality even if
                                                 nonattainment or interfering with                       availability that support EPA’s                        their status does not change.) These
                                                 maintenance, the EPA applied the                        identification of the appropriate level of             analytic findings at Step 3 cement EPA’s
                                                 multi-factor test to EGUs and non-EGUs                  emissions-control stringency at Step 3                 identification of the selected EGU and
                                                 separately, considering for each the                    discussed in sections V.B and V.C, the                 non-EGU mitigation measures as the
                                                 relationship of cost, available emissions               findings regarding air quality                         appropriate control stringency to fulfill
                                                 reductions, and downwind air quality                    improvement in this section—as in prior                its statutory obligation to eliminate
                                                 impacts. Specifically, for each sector,                 transport rules—are a central                          significant contribution for the 2015
                                                 the EPA finalizes a determination                       component of our Step 3 analytic                       ozone NAAQS for the covered states.
                                                 regarding the appropriate level of                      findings as to the definition of                       The EPA also evaluated whether the
                                                 uniform NOX control stringency that                     ‘‘significant contribution.’’ EPA’s                    final rule resulted in possible over-
                                                 would collectively eliminate significant                assessment of air quality improvement                  control scenarios by evaluating if an
                                                 contribution to downwind                                for all of the emissions control strategies            upwind state is linked solely to
                                                 nonattainment and maintenance                           included shows continued air quality                   downwind air quality problems that
                                                 receptors. Based on the air quality                     improvement with each additional                       could have been resolved at a lower cost
                                                                                                         control strategy measure. Within the                   threshold, or if an upwind state could
                                                 results presented in this section, we find
                                                                                                         group of selected control strategies for               have reduced its emissions below the 1
                                                 that the emissions control strategies that
                                                                                                         EGUs and non-EGUs no clear ‘‘knee-in-                  percent of NAAQS air quality
                                                 were identified and evaluated in
                                                                                                         the-curve’’ is evident; i.e., there is no              contribution threshold at a lower cost
                                                 sections V.B and V.C of this document
                                                                                                         point at which there is a noticeable                   threshold. The Agency finds no
                                                 and found to be both cost-effective and
                                                                                                         decline in the rate of air quality                     overcontrol from this rule. See section
                                                 feasible, deliver meaningful air quality
                                                                                                         improvement up through the control                     V.D.4 of this document.
                                                 benefits through projected reductions in
                                                                                                         stringency level selected. However, if
                                                 ozone levels across the linked                                                                                 1. EGU Assessment
                                                                                                         EPA were to go beyond the selected
                                                 downwind nonattainment and
                                                                                                         control stringency through inclusion of
                                                 maintenance receptors in the relevant                                                                             For EGUs, the EPA examined the
                                                                                                         additional EGU or non-EGU NOX
                                                 analytic years 2023 and 2026. Further,                  mitigation technologies for the covered                emissions reduction potential associated
                                                 EPA finds the emissions control                         sources and unit-types that are, at least              with each EGU emissions control
                                                 strategies in upwind states that would                  on the record of this action, not widely               technology (presented in section V.C.1
                                                 deliver these benefits to be widely                     available, uncertain or untested, and/or               of this document) and its impact on the
                                                 available and in use at many other                      far more costly, a ‘‘knee-in-the-curve’’               air quality at downwind receptors.
                                                 similar EGU and non-EGU facilities                      does materialize, where the incremental                Specifically, EPA identified and
                                                 throughout the country, particularly in                 air quality benefit per dollar spent per               assessed the projected average air
                                                 those areas that have historically or now               ton on mitigation measures plateaus                    quality improvements relative to the
                                                 continue to struggle to attain and                      even as costs increase dramatically. In                base case and whether these
                                                 maintain the 2015 ozone NAAQS.                          the Revised CSAPR Update, EPA                          improvements are sufficient to shift the
                                                 Applying these emissions control                        explained that a knee in the curve ‘‘is                status of receptors from projected
                                                 strategies on a uniform basis across all                not on its own a justification for not                 nonattainment to maintenance or from
                                                 linked upwind states continues to                       requiring reductions beyond that point,’’              maintenance to attainment. Combining
                                                 constitute an efficient and equitable                   86 FR 23107, but does indicate that it                 these air quality factors, costs, and
                                                 solution to the problem of allocating                   is a useful indicator for informing                    emissions reductions, the EPA
                                                 upwind-state responsibility for the                     potential stopping points. The                         identified a control stringency for EGUs
                                                 elimination of significant contribution.                observation that no ‘‘knee-in-the-curve’’              that results in substantial air quality
                                                 This approach continues to effectively                  materializes at the stringency levels up               improvement from emissions controls
                                                 address the ‘‘thorny’’ causation problem                through that selected by EPA supports                  that are available in the timeframe for
                                                 of interstate pollution transport for                   EPA’s identified control stringency.                   which air quality problems at
                                                 regional-scale pollutants like ozone that                  Further, as the Supreme Court has                   downwind receptors persist. For all
                                                 transport over large distances and are                  explained, ‘‘while EPA has a statutory                 affected jurisdictions, this control
                                                 affected by the vagaries of meteorology.                duty to avoid over-control, the Agency                 stringency reflects, at a minimum, the
                                                 EME Homer City, 572 U.S. at 514–16. It                  also has a statutory obligation to avoid               optimization of existing post-
                                                 requires the most impactful sources in                  ‘under-control,’ i.e., to maximize                     combustion controls and installation of
                                                 each state that has been found to                       achievement of attainment downwind.’’                  state-of-the-art NOX combustion
                                                 contribute to ozone problems in other                   572 U.S. at 523. While the ultimate                    controls, which are widely available at
                                                 states to come up to minimum standards                  purpose of the good neighbor provision                 a representative cost of $1,800 per ton.
                                                 of environmental performance based on                   is to eliminate significant contribution               EPA’s evaluation also shows that the
                                                 demonstrated NOX pollution-control                      and not necessarily to resolve                         effective emissions rate performance
                                                 technology. Id. at 519. When the effects                downwind areas’ nonattainment and                      across affected EGUs consistent with
                                                 of these emissions reductions are                       maintenance problems, we have                          realization of these mitigation measures
                                                                                                                                                                does not over-control upwind states’
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                                                 assessed collectively across the                        evaluated the expected attainment
                                                 hundreds of EGU and non-EGU                             status at each identified receptor as we               emissions relative to either the
                                                 industrial sources that are subject to this             examine the air quality effects of the                 downwind air quality problems to
                                                 rule, the cumulative improvements in                    different emissions control strategies                 which they are linked at Step 1 or the
                                                 ozone levels at downwind receptors,                     identified. As discussed further in this               1 percent contribution threshold that
                                                 while they may vary to some extent, are                 section, the EPA notes that multiple                   triggers further evaluation at Step 3 of
                                                 both measurable and meaningful and                      receptors shift into projected attainment              the 4-step framework for the 2015 ozone
                                                 will assist downwind areas in attaining                 status or shift from projected                         NAAQS.


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                                                    Similarly, the EPA also identified                   implement (if it has not already) an                   Step 3 that no receptors switch from
                                                 installation of new SCR post-                           emissions control stringency for its                   maintenance to attainment or from
                                                 combustion controls at coal steam                       sources that is comparable to the                      nonattainment to maintenance with
                                                 sources greater than or equal to 100 MW                 upwind control stringency identified                   these mitigation strategies in place.
                                                 and for a more limited portion of the                   here. Consequently, the EPA is                         Table V.D.1–1 summarizes the results of
                                                 oil/gas steam fleet that had higher levels              accounting for the downwind state’s                    EPA’s Step 3 evaluation of air quality
                                                 of emissions as components of the                       ‘‘fair share’’ of the responsibility for               improvements at these receptors using
                                                 required control stringency. These SCR                  resolving a nonattainment or                           AQAT.
                                                 retrofits are widely available starting in              maintenance problem as a part of the
                                                                                                                                                                   For 2026, the EPA determined that the
                                                 the 2026 ozone season at $11,000 and                    over-control evaluation.237
                                                                                                                                                                average air quality improvement at these
                                                 $7,700 per ton respectively. For all but                   For this assessment, the EPA used an
                                                                                                         ozone air quality assessment tool (ozone               receptors relative to the engineering
                                                 3 of the affected states (Alabama,
                                                 Minnesota, and Wisconsin, which are                     AQAT) to estimate downwind changes                     analytics base case was 0.47 ppb for
                                                 no longer linked in 2026 at Steps 1 and                 in ozone concentrations related to                     emissions reductions commensurate
                                                 2 in EPA’s base case air quality                        upwind changes in emissions levels.                    with optimization of existing SCRs/
                                                 modeling for this final rule), EPA’s                    The EPA focused its assessment on the                  SNCRs, combustion control upgrades,
                                                 evaluation shows that the effective                     years 2023 and 2026 as they pertain to                 and new post-combustion control (SCR
                                                 emissions rate performance across EGUs                  the last years for which ozone season                  and SNCR) retrofits at eligible units are
                                                 consistent with the full realization of                 emissions data can be used for purposes                assumed to be implemented. The EPA
                                                 these mitigation measures does not                      of determining attainment for the                      determined for the purposes of Step 3
                                                 over-control upwind states’ emissions in                Moderate (2024) and Serious (2027)                     that in 2026, all but one of the receptors
                                                 2026 relative to either the downwind air                attainment dates. For each EGU                         are expected to remain nonattainment or
                                                 quality problems to which they are                      emissions control technology, the EPA                  maintenance across these control
                                                 linked at Step 1 or the 1 percent                       first evaluated the magnitude of the                   stringencies, with one receptor in
                                                 contribution threshold that triggers                    change in ozone concentrations at the                  Larimer County, Colorado (Monitor
                                                 further evaluation at Step 3 of the 4-step              nonattainment and maintenance                          080690011), switching from
                                                 framework for the 2015 ozone NAAQS                      receptors for each relevant year (i.e.,                maintenance to attainment and two
                                                 (see the Ozone Transport Policy                         2023 and 2026). Next, the EPA                          receptors (one in Fairfield County,
                                                 Analysis Final Rule TSD for details).                   evaluated whether the estimated change                 Connecticut (Monitor 90013007), and
                                                    To assess downwind air quality                       in concentration would resolve the                     one in Galveston, Texas (Monitor ID
                                                 impacts for the nonattainment and                       receptor’s nonattainment or                            481671034)) switching from
                                                 maintenance receptors identified in                     maintenance concern by lowering the                    nonattainment to maintenance with
                                                 section IV.D of this document, the EPA                  average or maximum design values,                      these mitigation strategies in place.238
                                                 evaluated the air quality change at that                respectively, below 71 ppb. For a                      Table V.D.1–2 summarizes the results of
                                                 receptor expected from the                              complete set of estimates, see the Ozone               EPA’s Step 3 evaluation of air quality
                                                 progressively more stringent upwind                     Transport Policy Analysis Final Rule                   improvements at the receptors included
                                                 EGU control stringencies that were                      TSD or the ozone AQAT Excel file.                      in the AQAT analysis. For more
                                                 available for that time period in upwind                   For 2023, the EPA evaluated potential               information about how this assessment
                                                 states linked to that receptor. This                    air quality improvements at the                        was performed and the results of the
                                                 assessment provides the downwind                        downwind receptors outside of                          analysis for each receptor, refer to the
                                                 ozone improvements for consideration                    California associated with available                   Ozone Transport Policy Analysis Final
                                                 and provides air quality data that is                   EGU emissions control technologies in                  Rule TSD and to the Ozone AQAT
                                                 used to evaluate potential over-control                 that timeframe. The EPA determined for                 included in the docket for this rule.
                                                 situations.                                             the purposes of Step 3 that the average
                                                                                                                                                                  238 As in prior rules, for the purpose of defining
                                                    To assess the air quality impacts of                 air quality improvement at the receptors
                                                                                                                                                                significant contribution at Step 3, the EPA
                                                 the various control stringencies at                     relative to the engineering analytics base             evaluated air quality changes resulting from the
                                                 downwind receptors for the purposes of                  case was 0.06 ppb for emissions                        application of the emissions reductions in only
                                                 Step 3, the EPA evaluated changes                       reductions commensurate with                           those states that are linked to each receptor as well
                                                 resulting from the emissions reductions                 optimization of existing SCRs/SNCRs                    as the state containing the receptor. By applying
                                                 associated with the identified emissions                                                                       reductions to the state containing the receptor, the
                                                                                                         and combustion control upgrades. The
                                                                                                                                                                EPA ensures that it is accounting for the downwind
                                                 controls in each of the upwind states, as               EPA determined for the purposes of                     state’s fair share. This method holds each upwind
                                                 well as assumed corresponding                                                                                  state responsible for its fair share of the downwind
                                                 reductions of similar stringency in the                    237 For EGUs, this analysis for the Connecticut     problems to which it is linked. Reductions made by
                                                 downwind state containing the receptor                  receptors shows no EGU reduction potential in          other states to address air quality problems at other
                                                 to which they are linked. By applying                   Connecticut from the emissions reduction measures      receptors do not increase or decrease this share. The
                                                                                                         identified given that state’s already low-emitting     air quality impacts on design values that reflect the
                                                 these emissions reductions to the state                 fleet; however, EGU reductions were identified in      emissions reductions in all linked states action are
                                                 containing the receptor, the EPA                        Colorado and these reductions were included in the     further discussed in sections V.D.3 and V.D.4 of this
                                                 assumes that the downwind state will                    over-control analysis.                                 document.
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                                                          TABLE V.D.1–1—AIR QUALITY AT THE RECEPTORS IN 2023 FROM EGU EMISSIONS CONTROL TECHNOLOGIES a
                                                                                                                                                                                                                         Average DV                                              Max DV
                                                                                                                                                                                                                            (ppb)                                                 (ppb)

                                                           Monitor ID No.                                         State                                               County                                                          SCR/SNCR                                              SCR/SNCR
                                                                                                                                                                                                            Baseline                                              Baseline
                                                                                                                                                                                                                                      optimization                                          optimization
                                                                                                                                                                                                          (engineering                                          (engineering
                                                                                                                                                                                                                                         + LNB                                                + LNB
                                                                                                                                                                                                            analysis)                                             analysis)
                                                                                                                                                                                                                                        upgrade                                              upgrade

                                                 40278011 ................................     Arizona ...................................         Yuma ......................................                          70.36                      70.34                      72.05                      72.04
                                                 80350004 ................................     Colorado .................................          Douglas ..................................                           71.12                      71.10                      71.71                      71.70
                                                 80590006 ................................     Colorado .................................          Jefferson .................................                          72.63                      72.61                      73.32                      73.31
                                                 80590011 ................................     Colorado .................................          Jefferson .................................                          73.29                      73.27                      73.89                      73.87
                                                 80690011 ................................     Colorado .................................          Larimer ...................................                          70.79                      70.78                      71.99                      71.98
                                                 90010017 ................................     Connecticut .............................           Fairfield ...................................                        71.62                      71.56                      72.22                      72.16
                                                 90013007 ................................     Connecticut .............................           Fairfield ...................................                        72.99                      72.90                      73.89                      73.80
                                                 90019003 ................................     Connecticut .............................           Fairfield ...................................                        73.32                      73.25                      73.62                      73.55
                                                 90099002 ................................     Connecticut .............................           New Haven .............................                              70.61                      70.51                      72.71                      72.61
                                                 170310001 ..............................      Illinois ......................................     Cook .......................................                         68.13                      68.11                      71.82                      71.80
                                                 170314201 ..............................      Illinois ......................................     Cook .......................................                         67.92                      67.88                      71.41                      71.37
                                                 170317002 ..............................      Illinois ......................................     Cook .......................................                         68.47                      68.37                      71.27                      71.17
                                                 350130021 ..............................      New Mexico ............................             Dona Ana ...............................                             70.83                      70.82                      72.13                      72.12
                                                 350130022 ..............................      New Mexico ............................             Dona Ana ...............................                             69.73                      69.72                      72.43                      72.42
                                                 350151005 ..............................      New Mexico b ..........................             Eddy .......................................          ........................   ........................   ........................   ........................
                                                 350250008 ..............................      New Mexico ............................             Lea ..........................................        ........................   ........................   ........................   ........................
                                                 480391004 ..............................      Texas ......................................        Brazoria ..................................                          70.59                      70.52                      72.69                      72.62
                                                 481210034 ..............................      Texas ......................................        Denton ....................................                          69.93                      69.88                      71.73                      71.68
                                                 481410037 ..............................      Texas ......................................        El Paso ...................................                          69.82                      69.81                      71.43                      71.41
                                                 481671034 ..............................      Texas ......................................        Galveston ...............................                            71.82                      71.70                      73.13                      73.01
                                                 482010024 ..............................      Texas ......................................        Harris ......................................                        75.33                      75.25                      76.93                      76.85
                                                 482010055 ..............................      Texas ......................................        Harris ......................................                        71.19                      71.10                      72.20                      72.10
                                                 482011034 ..............................      Texas ......................................        Harris ......................................                        70.32                      70.25                      71.52                      71.45
                                                 482011035 ..............................      Texas ......................................        Harris ......................................                        68.01                      67.94                      71.52                      71.45
                                                 490110004 ..............................      Utah ........................................       Davis .......................................                        71.88                      71.87                      74.08                      74.07
                                                 490353006 ..............................      Utah ........................................       Salt Lake ................................                           72.48                      72.47                      74.07                      74.06
                                                 490353013 ..............................      Utah ........................................       Salt Lake ................................                           73.21                      73.20                      73.71                      73.70
                                                 550590019 ..............................      Wisconsin ...............................           Kenosha .................................                            70.75                      70.65                      71.65                      71.55
                                                 551010020 ..............................      Wisconsin ...............................           Racine ....................................                          69.59                      69.46                      71.39                      71.25
                                                 551170006 ..............................      Wisconsin ...............................           Sheboygan .............................                              72.64                      72.46                      73.54                      73.36

                                                      Average AQ Change Relative to Base (ppb) ............................................................................                              ........................   ........................   ........................                   0.06

                                                      Total PPB Change Across All Receptors Relative to                            Base c        ....................................................    ........................   ........................   ........................                   1.58
                                                    Table Notes:
                                                    a The EPA notes that the design values reflected in tables V.D.1–1 and –2 correspond to the engineering analysis EGU emissions inventory that was used in AQAT
                                                 to determine state-level baseline emissions and reductions at Step 3. These tools are discussed in greater detail in the Ozone Transport Policy Analysis Final Rule
                                                 TSD.
                                                    b New Mexico Eddy and Lea monitors have no values in tables V.D.1–1 and 1–2 as EPA does not have calibration factors for these monitors as no contributions
                                                 were calculated for them from the proposal AQ modeling
                                                    c The cumulative ppb change only shows the aggregate change across all problematic receptors (some of which are located within close proximity to one another)
                                                 in this part of the Step 3 analysis. Section VIII of this document provides a more complete picture of the air quality impacts of the final rule.

                                                                TABLE V.D.1–2—AIR QUALITY AT RECEPTORS IN 2026 FROM EGU EMISSIONS CONTROL TECHNOLOGIES
                                                                                                                                                                                                                         Average DV                                              Max DV
                                                                                                                                                                                                                            (ppb)                                                 (ppb)

                                                                                                                                                                                                                                      SCR/SNCR                                              SCR/SNCR
                                                          Monitor ID No.                                          State                                                 County                                                        optimization                                          optimization
                                                                                                                                                                                                            Baseline                                              Baseline
                                                                                                                                                                                                                                         + LNB                                                 + LNB
                                                                                                                                                                                                          (engineering                                          (engineering
                                                                                                                                                                                                                                       upgrade +                                             upgrade +
                                                                                                                                                                                                            analysis)                                             analysis)
                                                                                                                                                                                                                                      SCR/SNCR                                              SCR/SNCR
                                                                                                                                                                                                                                         retrofit                                              retrofit

                                                 40278011 .............................      Arizona ..........................................       Yuma ...................................                          69.87                      69.84                      71.47                      71.44
                                                 80590006 .............................      Colorado .......................................         Jefferson ..............................                          71.70                      71.36                      72.30                      71.95
                                                 80590011 .............................      Colorado .......................................         Jefferson ..............................                          72.06                      71.59                      72.66                      72.19
                                                 80690011 .............................      Colorado .......................................         Larimer ................................                          69.84                      69.54                      71.04                      70.73
                                                 90013007 .............................      Connecticut ...................................          Fairfield ................................                        71.25                      70.98                      72.06                      71.78
                                                 90019003 .............................      Connecticut ...................................          Fairfield ................................                        71.58                      71.34                      71.78                      71.54
                                                 350130021 ...........................       New Mexico ..................................            Dona Ana ............................                             70.06                      69.89                      71.36                      71.19
                                                 350130022 ...........................       New Mexico ..................................            Dona Ana ............................                             69.17                      69.00                      71.77                      71.60
                                                 350151005 ...........................       New Mexico ..................................            Eddy ....................................          ........................   ........................   ........................   ........................
                                                 350250008 ...........................       New Mexico ..................................            Lea .......................................        ........................   ........................   ........................   ........................
                                                 480391004 ...........................       Texas ............................................       Brazoria ...............................                          69.89                      68.96                      72.02                      71.06
                                                 481671034 ...........................       Texas ............................................       Galveston ............................                            71.29                      70.02                      72.51                      71.22
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                                                 482010024 ...........................       Texas ............................................       Harris ...................................                        74.83                      73.86                      76.45                      75.46
                                                 490110004 ...........................       Utah ..............................................      Davis ....................................                        69.90                      69.34                      72.10                      71.52
                                                 490353006 ...........................       Utah ..............................................      Salt Lake .............................                           70.50                      69.96                      72.10                      71.55
                                                 490353013 ...........................       Utah ..............................................      Salt Lake .............................                           71.91                      71.45                      72.31                      71.84
                                                 551170006 ...........................       Wisconsin .....................................          Sheboygan ..........................                              70.83                      70.51                      71.73                      71.41

                                                      Average AQ Change Relative to Base (ppb) ............................................................................                              ........................   ........................   ........................                   0.47

                                                      Total PPB Change Across All Receptors Relative to Base (ppb) .............................................                                         ........................   ........................   ........................                   7.04




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                                                    Figures 1 and 2 to section V.D.1 of                  implemented emissions reduction                        dates.242 Programs like North Carolina’s
                                                 this document, included in Appendix I                   strategies that will have meaningful                   Clean Smokestacks Act and Colorado’s
                                                 of the Ozone Transport Policy Analysis                  downwind air quality impact.                           Clean Air, Clean Jobs Act have also
                                                 Final Rule TSD available in the docket                     Moreover, these technologies (and                   required or prompted SCR retrofits on
                                                 for this rulemaking, illustrate the air                 representative cost) are demonstrated                  units.243 Unit-level BART requirements
                                                 quality improvement relative to the                     ozone pollution mitigation strategies                  for the first Regional Haze planning
                                                 estimated representative cost associated                that are widely practiced across the EGU               period also determined SCR retrofits
                                                 with the previously identified emissions                fleet and are of comparable stringency to              (and corresponding emissions rates)
                                                 control technologies. The graphs show                                                                          were cost-effective controls for a variety
                                                                                                         emissions reduction measures that
                                                 improving air quality at the downwind                                                                          of sources in the U.S.244
                                                                                                         many downwind states have already
                                                 receptors as emissions reductions                       instituted. The coal SCR retrofit                         As shown in Figure 1 to section V.D.1
                                                 commensurate with the identified                        measures driving the majority of the                   of this document,245 the majority of
                                                 control technologies are assumed to be                  emissions reductions in this action not                EGU emissions reduction potential and
                                                 implemented. Figure 1 to section V.D.1                  only reflect industry best practice, but               associated air quality improvements
                                                 of this document reflects emissions                     they also reflect prevailing practice                  estimated for 2023 occurs from
                                                 reductions commensurate with                            among EGUs. More than 66 percent of                    optimization of existing SCRs, with
                                                 optimization of existing SNCRs and                                                                             some additional reductions from
                                                                                                         the existing coal capacity already has
                                                 SCRs. Figure 2 to section V.D.1 of this                                                                        installation of state-of-the-art
                                                                                                         this technology in place. For nearly 25
                                                 document reflects emissions reductions                                                                         combustion controls at the same
                                                                                                         years, all new coal-fired EGUs that
                                                 commensurate with installation of new                                                                          representative cost threshold. At the
                                                                                                         commenced construction have had SCR
                                                 post combustion controls (mainly SCRs)                                                                         slightly higher representative cost
                                                                                                         (or equivalent emissions rates). The
                                                 layered on top of the emissions                                                                                threshold of $1,800 per ton, there is
                                                                                                         1997 proposed amendments to subpart
                                                 reduction potential from the                                                                                   some additional air quality
                                                                                                         Da revised the NOX standard based on
                                                 technologies represented in Figure 1 to                                                                        improvement from optimization of
                                                 section V.D.1 of this document. The                     the use of SCR. The NOX SIP Call
                                                                                                                                                                existing SNCRs. These measures taken
                                                 graphic, and underlying AQAT                            (promulgated in 1998) established
                                                                                                                                                                together represent the control stringency
                                                 receptor-by-receptor analysis                           emissions reduction requirements                       at which near-term incremental EGU
                                                 demonstrates that air quality continues                 premised on extensive SCR installation                 NOX reduction potential and
                                                 to improve at downwind receptors as                     (142 units) and incentivized well over                 corresponding downwind ozone air
                                                 EPA examines increasingly stringent                     40 GWs of SCR retrofit in the ensuing                  quality improvements are maximized.
                                                 EGU NOX control technologies. While                     years.239 Similarly, the Clean Air                     This evaluation shows that EGU NOX
                                                 all major technology breakpoints                        Interstate Rule established emissions                  reductions for each of the near-term
                                                 identified in sections V.B and V.C of                   reductions requirements in 2006 that                   emissions control technologies are
                                                 this document show continued air                        assumed SCR would be installed on                      available at reasonable cost and that
                                                 quality improvements at problematic                     another 58 units (15 GW) in the ensuing                these reductions provide meaningful
                                                 receptors and at cost and technology                    years among just 10 states, and an even                improvements in downwind ozone
                                                 levels that are commensurate with                       greater volume of capacity chose SCR                   concentrations at the identified
                                                 mitigation strategies that are proven to                retrofit measures in the wake of                       nonattainment and maintenance
                                                 be widely available and implemented,                    finalizing that action.240                             receptors. Figure 1 to section V.D.1 of
                                                 EPA’s quantification and application of                    Basing emissions reduction                          this document 246 highlights (1) the
                                                 those breakpoints reflect certain                       requirements for EGUs on SCR retrofits                 continuous connection between
                                                 exclusions to: (1) preserve this                        is also consistent with regulatory                     identified emissions reduction potential
                                                 consistency with widely observed                        approaches adopted by states, which—                   and downwind air quality improvement
                                                 mitigation measures in states, and (2)                  particularly in downwind areas more                    across the range of near-term mitigation
                                                 remove any retrofit assumptions at                      impacted by ozone transport                            measures assessed, and (2) the cost-
                                                 marginal units that would have much                     contribution from upwind state                         effective availability of these reductions
                                                 higher dollar per ton representative cost               emissions—have already adopted SCR-                    and corresponding air quality
                                                 and little or no air quality benefit. For               based standards as part of stringent NOX               improvements.
                                                 instance, the EPA does not define the                   control programs. Regulatory programs                     Additional considerations that are
                                                 SCR retrofit breakpoint ($11,000 per                    that impose stringent RACT                             unique to EGUs provide additional
                                                 ton) to include retrofit application at                 requirements on all major power plants                 support for EPA’s determination to
                                                 steam units less than 100 MW or at oil/                 and Lowest Achievable Emission Rate                    include SCR and SNCR optimization as
                                                 gas steam units emitting at less than 150               (LAER) standards on all new major                      part of the identified near-term control
                                                 tons per ozone season. The emissions                    sources of NOX have resulted in                        stringency, including:
                                                 reductions from these potential                         remaining coal-fired generating
                                                 categories of measures are small and do                 resources in states along the Northeast                   242 COMAR 26.11.38 (control of NO Emissions
                                                                                                                                                                                                        X
                                                 not constitute additional ‘‘breakpoints’’               Corridor such as Connecticut, Delaware,                from Coal-Fired Electric Generating Units).
                                                 in EPA’s estimation. They would entail                  New Jersey, New York, and                                 243 https://www.epa.gov/system/files/documents/

                                                 much higher dollar per ton costs, going                 Massachusetts all being retrofitted with               2021-09/table-3-30-state-power-sector-regulations-
                                                 beyond what is widely observed in the                                                                          included-in-epa-platform-v6-summer-2021-refe.pdf.
                                                                                                         SCR.241 The Maryland Code of                              244 See table 3–35 BART regulations in EPA IPM
                                                 fleet. This careful calibration of
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                                                                                                         Regulations requires coal-fired sources                documentation available at https://www.epa.gov/
                                                 technology breakpoints through                          to operate existing SCR controls or                    airmarkets/documentation-epas-power-sector-
                                                 exclusion of measures that are clearly                  install SCR controls by specified                      modeling-platform-v6-summer-2021-reference-case.
                                                 not cost-effective in terms of air quality                                                                        245 Included in Appendix I of the Ozone

                                                 benefit allows for the identification of                                                                       Transport Policy Analysis Final Rule TSD, which
                                                                                                           239 63 FR 57448.                                     is available in the docket for this rulemaking.
                                                 an EGU uniform control stringency that                    240 71 FR 25345.                                        246 Included in Appendix I of the Ozone
                                                 is an appropriate reflection of those                      241 EPA–HQ–OAR–2020–0272. Comment letter            Transport Policy Analysis Final Rule TSD, which
                                                 readily available and widely                            from Attorneys General of NY, NJ, CT, DE, MA.          is available in the docket for this rulemaking.



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                                                    • these controls are already installed               continuous connection between                          improvement at problematic receptors,
                                                 and available for operation on these                    identified emissions reduction potential               and the cost associated with these
                                                 units;                                                  and downwind air quality improvement                   measures increases substantially on a
                                                    • they are on average already partially              across the range of mitigation measures                dollar per ton basis. The graphic
                                                 operating, but not necessarily                          assessed in 2026. At no point do the                   capturing this effect (located in
                                                 optimized;                                              additional emissions mitigation                        Appendix I of the Ozone Transport
                                                    • the reductions are available in the                measures examined here fail to produce                 Policy Analysis Final Rule TSD)
                                                 near-term (during ozone seasons when                    corresponding downwind air quality                     illustrates the significant decline in
                                                 the problematic receptors are projected                 improvements.                                          cost-effectiveness of reductions if these
                                                 to persist), including by the 2023 ozone                   The EPA is determining that the                     measures had been included in EPA’s
                                                 season aligned with the Moderate area                   appropriate EGU control stringency is                  final stringency.248
                                                 attainment date; and                                    commensurate with the full operation of
                                                    • these sources are already covered                  all existing post-combustion controls                  2. Non-EGU Assessment
                                                 under the existing CSAPR NOX Ozone                      (both SCRs and SNCRs) and state-of-the-                   Using a 2019 emissions inventory, the
                                                 Season Group 2 or Group 3 Trading                       art combustion control upgrades for                    list of emissions units estimated to be
                                                 Programs or the Acid Rain Program and                   those states linked to downwind                        captured by the applicability criteria,
                                                 thus have the monitoring, reporting,                    nonattainment or maintenance receptors                 the assumed control technologies that
                                                 recordkeeping, and all other necessary                  in 2023. For those states also linked in               would meet the emissions limits, and
                                                 elements of compliance with the trading                 2026, the EPA is determining that the                  information on control efficiencies and
                                                 program already in place.                               appropriate EGU control stringency also                default cost/ton values from the control
                                                    The majority of EGU emissions                        includes emissions reductions                          measures database, the EPA estimated
                                                 reduction potential and associated air                  commensurate with the retrofit of SCR                  NOX emissions reductions and costs for
                                                 quality improvements estimated to start                 at coal steam units of 100 MW or greater               the year 2026. Given the EPA’s
                                                 in 2026 occur from retrofitting                         capacity (excepting circulating fluidized              conclusion that the 2026 ozone season
                                                 uncontrolled steam sources with post-                   bed units), new SNCR on coal steam                     is the earliest date by which the
                                                 combustion controls. At the                             units of less than 100 MW capacity and                 required controls can be installed across
                                                 representative cost threshold of $11,000                circulating fluidized bed units, and SCR               the identified non-EGU industries, the
                                                 per ton, there are significant additional               on oil/gas steam units greater than 100                EPA assessed the effects of these
                                                 air quality improvements from                           MW that have historically emitted at                   controls in 2026 under its multi-factor
                                                 emissions reductions commensurate                       least 150 tons of NOX per ozone season.                test. In the assessment, we matched
                                                 with installation of new SCRs and                          As noted previously in section V.B of               emissions units by Source Classification
                                                 SNCRs. These measures taken together                    this document and in the EGU NOX                       Code (SCC) from the inventory to the
                                                 with the near-term emissions reduction                  Mitigation Strategies Final Rule TSD,                  applicable control technologies in the
                                                 measures described previously                           the EPA considered other methods of                    CMDB. We modified SCC codes as
                                                 represent the level of control stringency               identifying mitigation measures (e.g.,                 necessary to match control technologies
                                                 in 2026 at which incremental EGU NOX                    SCRs on smaller units, combustion                      to inventory records. For additional
                                                 reduction potential and corresponding                   control upgrades on combustion                         details about the steps taken to estimate
                                                 downwind ozone air quality                              turbines, SCRs on combined cycle and                   emissions units, emissions reductions,
                                                 improvements are maximized. This                        simple cycle combustion turbines). The                 and costs, see the memorandum titled
                                                 evaluation shows that EGU NOX                           emissions reductions from these                        ‘‘Summary of Final Rule Applicability
                                                 reductions for each of the emissions                    potential categories of measures do not                Criteria and Emissions Limits for Non-
                                                 control technologies are available at                   constitute additional ‘‘technology                     EGU Emissions Units, Assumed Control
                                                 reasonable cost and that these                          breakpoints’’ in EPA’s estimation, but                 Technologies for Meeting the Final
                                                 reductions can provide improvements                     rather reflect a different tier of                     Emissions Limits, and Estimated
                                                 in downwind ozone concentrations at                     assessment where further mitigation                    Emissions Units, Emissions Reductions,
                                                 the identified nonattainment and                        measures are based on inclusion of                     and Costs’’ available in the docket. The
                                                 maintenance receptors.                                  smaller and/or different generator-type                estimates using the 2019 inventory and
                                                    The EPA finds that the control                       units (rather than different pollution                 information from the CMDB identify
                                                 stringency that reflects optimization of                control technologies). Emissions                       proxies for emissions units, as well as
                                                 existing SCRs and SNCRs, installation of                reductions from these measures are                     emissions reductions, and costs
                                                 state-of-the-art combustion controls, and               relatively small and would entail much                 associated with the assumed control
                                                 the retrofitting of new post combustion                 higher dollar per ton costs, going
                                                 controls at the coal and oil/gas steam                  beyond what is widely observed in the                     248 This is not to discount the potential

                                                                                                         fleet. Although these additional                       effectiveness of these or other NOX mitigation
                                                 capacity described previously is                                                                               strategies outside the context of this rulemaking,
                                                 projected to result in nearly 73,000 tons               measures are not included in EPA’s                     which addresses regional ozone transport on a
                                                 of NOX reduction (approximately 40                      technology breakpoint analysis                         nationwide basis based on the present record. States
                                                 percent of the 2026 baseline level) for                 discussed in this section, the EPA did                 and local jurisdictions may find such measures
                                                                                                         analyze the cost, potential reductions,                particularly impactful or necessary in the context of
                                                 the 19 linked states in 2026 subject to                                                                        local attainment planning or other unique
                                                 a FIP for EGUs, which will deliver                      and air quality impact of these                        circumstances. Further, while the EPA finds on the
                                                 notable air quality improvements across                 additional measures to affirm that they                present record that this rule is a complete remedy
                                                 all transport-impacted receptors and                    do not merit inclusion in the final                    to the problem of interstate transport for the 2015
                                                                                                                                                                ozone NAAQS for the covered states, the EPA has
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                                                 assist in fully resolving one downwind                  stringency for this action. That analysis
                                                                                                                                                                in the past recognized that circumstances may arise
                                                 air quality receptor for the 2015 ozone                 shows the potential emissions                          after the promulgation of remedies under CAA
                                                 NAAQS. Figure 2 to section V.D.1 of                     reductions and air quality                             section 110(a)(2)(D)(i)(I) in which the exercise of
                                                 this document 247 demonstrates the                      improvements from these additional                     further remedial authority against specific
                                                                                                         measures occur beyond a notable ‘‘knee-                stationary sources or groups of sources under CAA
                                                                                                                                                                section 126 may be warranted. See Response to
                                                    247 Included in Appendix I of the Ozone              in-the-curve’’ breakpoint. In other                    Clean Air Act Section 126(b) Petition From
                                                 Transport Policy Analysis Final Rule TSD, which         words, there are very little additional                Delaware and Maryland, 83 FR 50444, 50453–54
                                                 is available in the docket for this rulemaking.         emissions reductions and air quality                   (Oct. 5, 2018).



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                                                 technologies that would meet the final                  seven industries were identified as                       Nonetheless, overall the EPA finds
                                                 emissions limits. Emissions units                       having emissions and potential                         that the range of cost-effectiveness
                                                 subject to the final rule emissions limits              emissions reduction opportunities that                 values for non-EGU industries and
                                                 may differ from those estimated in this                 met the EPA’s air quality criteria for                 emissions units compares favorably
                                                 assessment, and the estimated emissions                 further assessment.                                    with the values used to evaluate EGUs.
                                                 reductions from, and costs to meet, the                    At proposal, the EPA found that based               As discussed in the preceding
                                                 final rule emissions limits may also                    on data available at that time and for the             paragraphs, the representative cost for
                                                 differ from those estimated in this                     purposes of the screening assessment, it               EGUs to retrofit SCR is $11,000/ton.
                                                 assessment. The costs do not include                    appeared that a $7,500 marginal cost-                  This reflects a range of cost estimates,
                                                 monitoring, recordkeeping, reporting, or                per-ton threshold could be used as a                   with $20,900/ton reflecting the 90th
                                                 testing costs.                                          proxy to identify cost-effective                       percentile of units (see section V.B.a of
                                                    After reviewing public comments and                  emissions control opportunities. Similar               this document). The higher end of the
                                                 updating some of the data used to                       to the role of cost-effectiveness                      estimated average cost range for certain
                                                 provide an accurate assessment of the                   thresholds the EPA uses at Step 3 to                   non-EGU industrial emissions units is
                                                 likely potential emissions reductions                   evaluate EGU emissions control                         also in that range. While specific
                                                 that could be achieved from the                         opportunities, this threshold is not                   emissions units may have higher costs
                                                 identified emissions units in the                       intended to represent the maximum cost                 associated with installing pollution
                                                 industries analyzed for proposal, the                   any facility may need to expend but is                 control technologies than other similar
                                                 EPA finds that in general, these                        rather intended to be a representative                 unit types, this does not in itself
                                                 emissions reductions (with some                         figure for evaluating technologies to                  undermine the Agency’s conclusion that
                                                 modifications from proposal) are                        allow for a relative comparison between                a level of emissions control associated
                                                 necessary to eliminate significant                      different levels of control stringency.                with a specific emissions limit or
                                                 contribution at Step 3. The EPA’s use of                For example, in the EGU analysis, the                  control technology is appropriate to
                                                 the analytical framework presented in                   $11,000/ton average cost threshold for                 require across the linked upwind state
                                                 the non-EGU screening assessment to                     an SCR retrofit represents a range of                  region, in light of the overall emissions
                                                 identify potentially impactful industries               SCR retrofit costs for units for which the             reductions and air quality benefits at
                                                 and emissions unit types in the proposal                90th percentile cost-per-ton is roughly                downwind receptors that those controls
                                                 remains valid. The EPA’s criteria were                  $21,000. See section V.B.a of this                     are projected to deliver.
                                                 intended to identify industries and                                                                               We note that the non-EGU control
                                                                                                         document. The EPA’s potential cost
                                                 emissions unit types that on a broad                                                                           cost estimates in this final rule were
                                                                                                         threshold for non-EGU controls at
                                                 scale impact multiple receptors to                                                                             based on historical actual emissions.
                                                                                                         proposal was intended to serve a similar
                                                 varying degrees. The EPA focused its                                                                           This can affect the presentation of cost-
                                                                                                         representative purpose. We respond
                                                 non-EGU screening assessment on (1)                                                                            per-ton values at the unit level, and it
                                                                                                         briefly to comments regarding the use of
                                                 emissions and potential emissions                                                                              would not be appropriate to abandon
                                                                                                         the $7,500/ton threshold in section V.C
                                                 reductions from these industries and                                                                           uniform control stringency among like
                                                                                                         of this document. Comments regarding
                                                 emissions units and (2) the potential                                                                          units in the covered industries across or
                                                                                                         the screening assessment are further
                                                 impact that emissions reductions from                                                                          within upwind states based on such cost
                                                                                                         addressed in section 2.2 of the response
                                                 those industries and emissions units                                                                           differentials.
                                                                                                         to comments document in the docket.                       The EPA finds it appropriate to
                                                 could deliver to the receptors.                            Based on the EPA’s updated analysis
                                                    While commenters criticized the                                                                             require a uniform level of emissions
                                                                                                         for this final rule, the EPA recognizes                control across similar emissions unit
                                                 analytical framework in the non-EGU                     that the $7,500/ton threshold does not
                                                 screening assessment for assuming                                                                              types to, among other things, prevent
                                                                                                         reflect the full range of cost-                        two potential outcomes related to
                                                 potentially unachievable emissions                      effectiveness values that are likely
                                                 reductions at Step 3, or for not                                                                               shifting production, either between
                                                                                                         present across the many different types                units within the same facility or
                                                 corresponding to a precise list of                      of non-EGU industries and emissions
                                                 emissions units that would be covered                                                                          between units at different facilities.
                                                                                                         units assessed. However, the EPA                       First, if some units were exempted from
                                                 at Step 4, these comments did not offer                 nonetheless finds that, with some                      control requirements because of
                                                 an alternative methodology for the Step                 adjustments from proposal, the overall                 historically low actual emissions, there
                                                 3 analysis to identify those industries                 mix of emissions controls it identified at             is a risk that source owners or operators
                                                 and emissions units that potentially                    proposal is appropriate to eliminate                   may shift production to these specific
                                                 have the greatest impact and therefore                  significant contribution to                            units, increasing their utilization and
                                                 should be scrutinized more closely for                  nonattainment or interference with                     resulting in emissions increases from
                                                 emissions reduction opportunities.249                   maintenance in downwind areas. In the                  these units. Second, if some owners or
                                                 Further, contrary to some commenters’                   final analysis, we find that the average               operators were able to avoid the control
                                                 assertions, the EPA’s assessment did not                cost-per-ton of emissions reductions                   requirements of the final rule on this
                                                 result in an unbounded scope of                         across all non-EGU industries in this                  basis, they could gain a competitive
                                                 regulation of industrial sources. Of the                rule generally ranges from                             advantage vis-à-vis other facilities
                                                 approximately 40 industries defined by                  approximately $939/ton to $14,595/ton,                 within their respective industries.
                                                 North American Industry Classification                  with an overall average of                             Production could shift from units at
                                                 System codes the EPA analyzed, only                     approximately $5,339/ton. See                          another facility subject to the control
                                                                                                         memorandum titled ‘‘Summary of Final
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                                                    249 For example, while the EPA has found it
                                                                                                                                                                requirements to the units that avoided
                                                 appropriate to limit the scope of emissions units
                                                                                                         Rule Applicability Criteria and                        control requirements (and thus avoid
                                                 that would be subject to emissions limits and           Emissions Limits for Non-EGU                           costs the regulated facility should bear),
                                                 controls in the iron and steel industry in light of     Emissions Units, Assumed Control                       potentially resulting in emissions
                                                 comments regarding certain sources’ inability to        Technologies for Meeting the Final                     increases. The effect of such an
                                                 meet the EPA’s proposed emission limits, this does
                                                 not alter the EPA’s determination that this industry
                                                                                                         Emissions Limits, and Estimated                        approach in such circumstances would
                                                 is an impactful industry and that certain emissions     Emissions Units, Emissions Reductions,                 be mere emissions shifting rather than
                                                 controls should still be required.                      and Costs,’’ available in the docket.                  the elimination of significant


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                                                 contribution. Finally, as we have                                            through our review of consent decrees,                                                example, the total ppb improvement
                                                 explained in prior transport actions, the                                    permits, RACT determinations, and                                                     summed over all of the receptors from
                                                 cost-effectiveness figure is not the only                                    other data sources. These levels of                                                   EGUs was 7.04 ppb and the non-EGU
                                                 factor that the agency considers at Step                                     emissions control have in many cases                                                  increment adds another 2.82 ppb of
                                                 3, see 86 FR 23073, and if used in                                           already been required by states with                                                  improvement bringing the total to 9.87
                                                 isolation to make a policy decision                                          downwind nonattainment areas for the                                                  (when accounting for rounding). Non-
                                                 without considering other information,                                       2015 ozone NAAQS.                                                                     EGUs account for 29 percent of this total
                                                 could produce a result that is                                                 The EPA determined that, for 2026,                                                  air quality improvement as well.
                                                 inconsistent with the objective of                                           the incremental average air quality                                                   Further, these figures should not be
                                                 ensuring significant contribution is                                         improvement at receptors relative to the
                                                                                                                                                                                                                    considered in isolation; EPA is not
                                                 eliminated.250                                                               EGU case when SCR post-combustion
                                                                                                                                                                                                                    comparing EGU strategy effects and
                                                    In addition to our evaluation of cost-                                    controls were installed was 0.19 ppb
                                                                                                                                                                                                                    non-EGU effects to make a selection
                                                 effectiveness on a cost per ton basis, the                                   when non-EGU controls were applied,
                                                 EPA’s determination at Step 3 for non-                                       based on the Step 3 analysis. The total                                               between two different approaches.
                                                 EGUs is also informed by the overall                                         average air quality improvement was                                                   Rather, both the selected EGU and non-
                                                 level of emissions reductions that will                                      0.66 ppb when the non-EGU                                                             EGU emissions reduction strategies at
                                                 be achieved across the region and the                                        improvement was added to the EGU                                                      the cost-effectiveness values identified
                                                 effect those reductions are projected to                                     improvement, meaning that the non-                                                    in section V.B and V.C of this document
                                                 have on air quality at the downwind                                          EGU increment accounts for about 29                                                   present a comprehensive solution to
                                                 receptors (discussed more later in this                                      percent of this average air quality                                                   eliminating significant contribution for
                                                 section). We are also influenced by the                                      improvement. In general, the air quality                                              the covered states. The combined effect
                                                 fact that these emissions control                                            results from non-EGU emissions                                                        of the EGU and non-EGU strategies is
                                                 strategies for non-EGUs are generally                                        reductions yield additional important                                                 further presented in the following
                                                 well demonstrated to be feasible on                                          downwind benefits to the air quality                                                  section.
                                                 many existing units, as established                                          benefits of the EGU strategy. For
                                                                                  TABLE V.D.2–2—AIR QUALITY AT RECEPTORS IN 2026 FROM NON-EGU INDUSTRIES
                                                                                                                                                                                                               Average DV                                              Max DV
                                                                                                                                                                                                                  (ppb)                                                 (ppb)

                                                                                                                                                                                                                               EGU                                                    EGU
                                                                                                                                                                                                                           SCR/SNCR                                               SCR/SNCR
                                                           Monitor ID No.                                      State                                          County                                                       optimization                                           optimization
                                                                                                                                                                                                  Baseline                                              Baseline
                                                                                                                                                                                                                              + LNB                                                  + LNB
                                                                                                                                                                                                (engineering                                          (engineering
                                                                                                                                                                                                                            upgrade +                                              upgrade +
                                                                                                                                                                                                  analysis)                                             analysis)
                                                                                                                                                                                                                           SCR/SNCR                                               SCR/SNCR
                                                                                                                                                                                                                          retrofit + non-                                           retrofit +
                                                                                                                                                                                                                               EGU                                                 non-EGU

                                                 40278011 ................................   Arizona ...................................     Yuma ......................................                      69.87                      69.80                      71.47                      71.40
                                                 80590006 ................................   Colorado .................................      Jefferson .................................                      71.70                      71.34                      72.30                      71.93
                                                 80590011 ................................   Colorado .................................      Jefferson .................................                      72.06                      71.57                      72.66                      72.16
                                                 80690011 ................................   Colorado .................................      Larimer ...................................                      69.84                      69.53                      71.04                      70.72
                                                 90013007 ................................   Connecticut .............................       Fairfield ...................................                    71.25                      70.66                      72.06                      71.46
                                                 90019003 ................................   Connecticut .............................       Fairfield ...................................                    71.58                      71.06                      71.78                      71.26
                                                 350130021 ..............................    New Mexico ............................         Dona Ana ...............................                         70.06                      69.86                      71.36                      71.16
                                                 350130022 ..............................    New Mexico ............................         Dona Ana ...............................                         69.17                      68.96                      71.77                      71.56
                                                 350151005 ..............................    New Mexico ............................         Eddy .......................................      ........................   ........................   ........................   ........................
                                                 350250008 ..............................    New Mexico ............................         Lea ..........................................    ........................   ........................   ........................   ........................
                                                 480391004 ..............................    Texas ......................................    Brazoria ..................................                      69.89                      68.50                      72.02                      70.58
                                                 481671034 ..............................    Texas ......................................    Galveston ...............................                        71.29                      69.28                      72.51                      70.47
                                                 482010024 ..............................    Texas ......................................    Harris ......................................                    74.83                      73.39                      76.45                      74.98
                                                 490110004 ..............................    Utah ........................................   Davis .......................................                    69.90                      69.28                      72.10                      71.46
                                                 490353006 ..............................    Utah ........................................   Salt Lake ................................                       70.50                      69.91                      72.10                      71.50
                                                 490353013 ..............................    Utah ........................................   Salt Lake ................................                       71.91                      71.40                      72.31                      71.80
                                                 551170006 ..............................    Wisconsin ...............................       Sheboygan .............................                          70.83                      70.27                      71.73                      71.17

                                                      Average AQ Change Relative to Base (ppb) ............................................................................                    ........................   ........................   ........................                   0.66

                                                      Total PPB Change Across All Receptors Relative to Base (ppb) .............................................                               ........................   ........................   ........................                   9.87

                                                    Table Notes:
                                                    a The EPA notes that the design values reflected in Table V.D.–2 correspond to the engineering analysis EGU emissions inventory that was used in AQAT to deter-
                                                 mine state-level baseline emissions and reductions at Step 3. These tools are discussed in greater detail in the Ozone Transport Policy Analysis Final Rule TSD.
                                                    b New Mexico Eddy and Lea monitors have no values in Table V.D.2–2 as EPA does not have calibration factors for these monitors as no contributions were cal-
                                                 culated for them from the proposal AQ modeling.
                                                    c The cumulative ppb change only shows the aggregate change across all problematic receptors (some of which are located within close proximity to one another)
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                                                 in this part of the Step 3 analysis. Section VIII of this document provides a more complete picture of the air quality impacts of the final rule.




                                                   250 Nonetheless, recognizing the diverse non-EGU                           hardship in meeting the general requirements being                                    in the emissions limits based on a demonstration
                                                 industries and emissions units covered in this                               finalized in this action, the EPA has provided                                        of technical impossibility or extreme economic
                                                 action and the potential that certain individual                             mechanisms in the regulatory requirements for                                         hardship. See section VI.C of this document.
                                                 facilities and emissions units may face extreme                              industrial sources that provide for some flexibility



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                                                   For more information about how this                                       modeling base case to inform the air                                         combustion control upgrades,
                                                 assessment was performed and the                                            quality effects of the rule and to conduct                                   application of new post-combustion
                                                 results of the analysis for each receptor,                                  our over-control analysis. EPA’s                                             control (SCR and SNCR) retrofits at
                                                 refer to the Ozone Transport Policy                                         evaluation demonstrated air quality                                          eligible units, and all estimated
                                                 Analysis Final Rule TSD and to the                                          improvement at the remaining                                                 emissions reductions from the non-EGU
                                                 Ozone AQAT included in the docket for                                       nonattainment or maintenance receptors                                       industries. Table V.D.3–1 summarizes
                                                 this rule.                                                                  outside of California (see section IV.D of                                   the results of EPA’s Step 3 evaluation of
                                                 3. Combined EGU and Non-EGU                                                 this document for receptor details). The                                     air quality improvements at these
                                                 Assessment                                                                  EPA estimated that the average air                                           receptors using AQAT. In summary, the
                                                    The EPA used the Ozone AQAT to                                           quality improvement at these receptors                                       collective application of these
                                                 evaluate the combined impact of these                                       relative to the engineering analytics base                                   mitigation measures and emissions
                                                 selected stringency levels for both EGUs                                    case was 0.66 ppb for emissions                                              reductions are projected to deliver
                                                 and non-EGUs on all receptors                                               reductions commensurate with                                                 meaningful downwind air quality
                                                 remaining in the 2026 air quality                                           optimization of existing SCRs/SNCRs,                                         improvements.

                                                   TABLE V.D.3–1—CHANGE IN AIR QUALITY AT RECEPTORS IN 2026 FROM FINAL RULE EGU AND NON-EGU EMISSIONS
                                                                                              REDUCTIONS a b c
                                                                                                                                                                                                                               Total PPB      Average PPB
                                                                                                                                                                                                  Ozone season               change across   change across
                                                                                                         Sector/technology                                                                         emissions                  all downwind    all downwind
                                                                                                                                                                                                   reductions                  receptors d      receptors

                                                 EGU (SCR/SNCR optimization + LNB upgrade) .....................................................................                                              16,282                  0.71               0.05
                                                 EGU SCR/SNCR Retrofit ........................................................................................................                               55,672                  6.34               0.42
                                                 Non-EGU Industries .................................................................................................................                         44,616                  2.82               0.19

                                                       Total ..................................................................................................................................   ........................            9.87               0.66
                                                    Table Notes:
                                                    a As in prior rules, for the purpose of defining significant contribution at Step 3, the EPA evaluated air quality changes resulting from the appli-
                                                 cation of the emissions reductions in only those states that are linked to each receptor as well as the state containing the receptor. By applying
                                                 reductions to the state containing the receptor, the EPA ensures that it is accounting for the downwind state’s fair share. In addition, this method
                                                 holds each upwind state responsible for its fair share of the downwind problems to which it is linked. Reductions made by other states to address
                                                 air quality problems at other receptors do not increase or decrease this share. The air quality impacts on design values that reflect the emissions
                                                 reductions in all linked states and associated health and climate benefits are discussed in section VII of this document.
                                                    b The EPA notes that the design values reflected in Tables V.D.1–1 and –2 correspond to the engineering analysis EGU emissions inventory
                                                 used in AQAT to determine state-level baseline emissions and reductions at Step 3. These tools are discussed in greater detail in the Ozone
                                                 Transport Policy Analysis Final Rule TSD. Additionally, these emissions reduction values vary slightly from the technology reduction estimates
                                                 described in section V.C of this document, as the values here reflect the sum of the final identified stringency for each state (e.g., SCR retrofit
                                                 potential is not assumed in Alabama, Minnesota, and Wisconsin).
                                                    c The total and average ppb results from non-EGUs emissions reductions shown here were generated using the Step 3 AQAT methodology
                                                 consistent with that for EGUs (i.e., including reductions from the state containing the receptor and excluding states that are not explicitly linked to
                                                 particular receptors). The values shown in Table V.C.2–1 were prepared for the non-EGU screening assessment using a methodology where
                                                 states within the program make emissions reductions for all receptors. States that contain receptors (i.e., Connecticut and Colorado) that are not
                                                 linked to other receptors are not assumed to make reductions under that methodology.
                                                    d The cumulative ppb change only shows the aggregate change across all problematic receptors (some of which are located within close prox-
                                                 imity to one another) in this part of the Step 3 analysis. Section VIII of this document provides a picture of the projected air quality impacts of the
                                                 final rule using modeling techniques that differ from the methodologies employed here.


                                                 4. Over-Control Analysis                                                    threshold (i.e., 1 percent of the NAAQS                                      to the more stringent emissions limits so
                                                                                                                             or 0.70 ppb) to all receptors. In EME                                        as not to cause other downwind
                                                    The EPA applied its over-control test                                                                                                                 locations to which those States are
                                                                                                                             Homer City, the Supreme Court held
                                                 to this same set of aggregated EGU and
                                                                                                                             that the EPA cannot ‘‘require[] an                                           linked to fall into nonattainment.’’ Id. at
                                                 non-EGU data described in the previous
                                                                                                                             upwind State to reduce emissions by                                          14–15. Further, as the Supreme Court
                                                 section. The EPA performed air quality
                                                                                                                             more than the amount necessary to                                            explained, ‘‘while EPA has a statutory
                                                 analysis using the Ozone AQAT to
                                                                                                                             achieve attainment in every downwind                                         duty to avoid over-control, the Agency
                                                 determine whether the emissions
                                                                                                                             State to which it is linked.’’ 572 U.S. at                                   also has a statutory obligation to avoid
                                                 reductions for both EGUs and non-EGUs
                                                                                                                             521. On remand from the Supreme                                              ‘under-control,’ i.e., to maximize
                                                 potentially create an ‘‘over-control’’
                                                                                                                             Court, the D.C. Circuit held that this                                       achievement of attainment downwind.’’
                                                 scenario. As in prior transport rules
                                                                                                                             means that the EPA might overstep its                                        572 U.S. at 523. The Court noted that ‘‘a
                                                 following the holdings in EME Homer
                                                                                                                             authority ‘‘when those downwind                                              degree of imprecision is inevitable in
                                                 City, overcontrol would be established if
                                                                                                                             locations would achieve attainment                                           tackling the problem of interstate air
                                                 the record indicated that, for any given
                                                                                                                             even if less stringent emissions limits                                      pollution’’ and that incidental over-
                                                 state, there is an identified, less
                                                                                                                             were imposed on the upwind States                                            control may be unavoidable. Id.
                                                 stringent emissions control approach for
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                                                                                                                             linked to those locations.’’ EME Homer                                       ‘‘Required to balance the possibilities of
                                                 that state, by which (1) the expected
                                                                                                                             City II, 795 F.3d at 127. The D.C. Circuit                                   under-control and over-control, EPA
                                                 ozone improvements would be
                                                                                                                             qualified this statement by noting that                                      must have leeway in fulfilling its
                                                 sufficient to resolve all of the downwind
                                                                                                                             this ‘‘does not mean that every such                                         statutory mandate.’’ Id.251
                                                 receptor(s) to which that state is linked;
                                                 or (2) the expected ozone improvements                                      upwind state would then be entitled to                                          251 Although the Court described over-control as
                                                 would reduce the upwind state’s ozone                                       less stringent emissions limits. Some of                                     going beyond what is needed to address
                                                 contributions below the screening                                           those upwind States may still be subject                                     ‘‘nonattainment’’ problems, the EPA interprets this



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                                                    Consistent with these instructions                   illustrated in the Ozone Transport                       the selected control stringency
                                                 from the Supreme Court and the D.C.                     Policy Analysis Final Rule TSD, our                      beginning in 2026 includes additional
                                                 Circuit, using the Ozone AQAT, the                      analysis under both configurations                       EGU controls and the non-EGU
                                                 EPA first evaluated whether reductions                  establishes that there is no overcontrol                 emissions reductions.
                                                 resulting from the selected control                     and so there is no need to reconcile any                    The EPA assesses air quality impacts
                                                 stringencies for EGUs in 2023 and 2026                  difference in results between them.                      and overcontrol in the year 2026 in this
                                                 combined with the emissions reductions                     We also looked at the ordering of                     final rule, even though the rule
                                                 selected for non-EGUs in 2026 can be                    increments of emissions reduction and                    accommodates the potential need for
                                                 anticipated to resolve any downwind                     have found that it does not matter                       individual facilities (both EGU and non-
                                                 nonattainment or maintenance problems                   whether we assume EGU emissions                          EGU) to have some additional time to
                                                 (see the Ozone Transport Policy                         controls would be applied first,                         come into compliance. The EPA views
                                                 Analysis Final Rule TSD for details on                  followed by non-EGU controls, or vice-                   this additional time to be a reflection of
                                                 the construction and application of                     versa. For 2023, the question is moot as                 need (based on demonstrated
                                                 AQAT).                                                  there are only EGU reductions to                         impossibility) that is justified at Step 4
                                                    Similar to our approach in the CSAPR                 examine. For 2026, the analysis showed                   of the interstate transport framework
                                                 Update and the Revised CSAPR Update,                    there would be no overcontrol either                     rather than at Step 3. As explained in
                                                 our primary overcontrol assessment                      way. In 2026, the EPA’s overcontrol                      section VI.A of this document, with
                                                 examines the receptor changes from the                  analysis (as presented here) examined                    respect to EGUs, the EPA extends the
                                                 emissions reductions of the upwind                      all EGU reductions first and layered in                  full implementation of the SCR retrofit-
                                                 states found linked to a receptor.                      non-EGU reductions in the last step of                   based reductions across 2026 and 2027
                                                 Consistent with prior Rules, EPA also                   the overcontrol check. However, the                      to accommodate any unit-level
                                                 assumed that downwind states that are                   EPA also examined an alternative                         scheduling challenges. However, we
                                                 not upwind states in this rule                          ordering scenario where the non-EGU                      find that many sources can meet a three-
                                                 implement reductions commensurate                       reductions were assessed prior to the                    year installation time and the trading
                                                 with the rule’s requirements (this                      EGU reductions associated with                           program features and the allowance
                                                 treatment applies specifically to                       installation of new SCR post-                            price will incentivize these reductions
                                                 Colorado and Connecticut). This                         combustion controls (see the Ozone                       to occur as soon as possible. Similarly,
                                                 configuration effectively presents an                   Transport Policy Analysis Final Rule                     with respect to non-EGU industrial
                                                 equitable representation of the effects of              TSD for details). This ordering did not                  sources, the final rule provides limited
                                                 the rule in that linked upwind states do                impact the results of the overcontrol                    circumstances for individual facilities to
                                                 not shift their responsibility to other                 test. The specific results of these                      seek and to be granted extensions of
                                                 upwind states linked to different                       analyses are presented in the TSD.                       time to install required pollution
                                                 receptors. It also effectively resolves any                The control stringency selected for                   controls and achieve the emissions rates
                                                 interdependence and ‘‘which state goes                  2023 (a representative cost threshold of                 established in this rule based on a
                                                 first?’’ questions. Furthermore, the                    $1,800 per ton for EGUs) includes                        showing of necessity. Those
                                                 downwind states in which a receptor is                  emissions reductions commensurate                        circumstances where an extension may
                                                 located are held to a ‘‘fair share’’ of                 with optimization of existing SCRs and                   be warranted for any specific facility are
                                                 emissions reductions—i.e., the same                     SNCRs and installation of state-of-the-                  unknown at this time and will be
                                                 level of emissions control stringency                   art combustion controls, is not                          evaluated through a source-specific
                                                 that the upwind states must implement.                  estimated to change the status of any                    application process, where the need for
                                                    The EPA also repeated this analysis                  receptors.252 Thus, the nonattainment or                 extension can be established with
                                                 using an alternative configuration, as                                                                           source-specific evidence. See section
                                                                                                         maintenance receptors that the states are
                                                 described in the Ozone Transport Policy                                                                          VI.C of this document. Further, 2026 is
                                                                                                         linked to remain unresolved. Nor do any
                                                 Analysis Final Rule TSD. In this                                                                                 the critical analytic year associated with
                                                                                                         states’ contribution levels drop below
                                                 configuration, we looked at the                                                                                  the last full ozone season before the
                                                                                                         the 1 percent of NAAQS threshold.
                                                 combined effect of the entire program                                                                            2027 Serious area attainment date and is
                                                                                                         Thus, the EPA determined that none of
                                                 across all linked upwind states on each                                                                          the year by which significant
                                                                                                         the 23 linked states have all of their
                                                 receptor and did not assume that a                                                                               contribution must be eliminated if at all
                                                                                                         linkages resolved at the final EGU level
                                                 downwind state that is not also an                                                                               possible. Therefore, for purposes of this
                                                                                                         of control stringency in 2023, and
                                                 upwind state makes any additional                                                                                analysis, the collective state and
                                                                                                         hence, the EPA finds no over-control in
                                                 emissions reductions beyond the                                                                                  regional representation of these
                                                                                                         the final level of stringency.
                                                 baseline in the relevant year. This                        Based on the air quality baseline                     reductions are fully assumed in 2026.
                                                 configuration effectively isolates how                  modeling for 2026, all receptors to                      The potential ability of both EGU and
                                                 the rule as a whole, and just the rule,                 which Alabama, Minnesota, and                            non-EGU sources to have some amount
                                                 will affect air quality and linkages.                   Wisconsin are linked in 2023 are                         of additional time beyond 2026 to
                                                 While the first configuration described                 projected to be in attainment in 2026.                   comply with requirements that we have
                                                 is, in the Agency’s view, the more                      Therefore, no additional stringency is                   determined at Step 3 are necessary to
                                                 appropriate way to evaluate overcontrol,                finalized for EGUs or non-EGUs in those                  eliminate significant contribution does
                                                 taken together the configurations                       states beyond the 2023 level of                          not necessitate evaluating a later year
                                                 provide a more robust basis on which to                 stringency. For the remaining 20 states,                 than 2026 for overcontrol. The
                                                 rest our conclusions regarding                                                                                   stringency of the control program does
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                                                 overcontrol. In any case, as further                      252 For purposes of this rule, the violating monitor   not alter in any year beyond 2026.253 By
                                                                                                         receptors inform our determinations at Step 1 and
                                                 holding as not impacting its approach to defining       2 by strengthening the analytical basis on which we         253 Thus, we note, this circumstance is different

                                                 and addressing both nonattainment and                   conclude upwind states are linked in 2023. Because       than the record on which overcontrol was found in
                                                 maintenance receptors. In particular, the EPA           no linkages identified using our air quality             EME Homer City. There, CSAPR would have
                                                 continues to interpret the Good Neighbor provision      modeling methodology resolve in 2023 under the           implemented an increase in the emissions control
                                                 as requiring it to give independent effect to the       selected control stringency, it is not necessary to      stringency of the rule (as reflected in a change in
                                                 ‘‘interfere with maintenance’’ prong. Accord            evaluate overcontrol with respect to the additional      emissions control stringency expressed as dollars
                                                 Wisconsin, 938 F.3d at 325–27.                          set of violating-monitor receptors.                                                                  Continued




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                                                 fully reflecting all Step 3 emissions                   level is appropriate to avoid under-                   problem based on the present record.
                                                 reductions in its overcontrol test for                  control as to these states and does not                The Supreme Court has directed the
                                                 2026, EPA ensures that it is not                        constitute overcontrol.254                             EPA to avoid both over-control and
                                                 understating the emissions impact and                      Next, the EPA evaluated the potential               under-control in addressing good
                                                 benefit when performing the test.                       for over-control with respect to the 1                 neighbor obligations. In addition, the
                                                    The EPA used the Ozone AQAT to                       percent of the NAAQS threshold                         D.C. Circuit has reinforced that over-
                                                 evaluate the impact of this selected                    applied in this final rulemaking at Step               control must be established based on
                                                 stringency level (as well as other                      3 of the good neighbor framework,                      particularized, record evidence on an
                                                 potential stringency levels) on all                     assessed for the selected control                      as-applied basis.
                                                 receptors remaining in the 2026 air                     stringencies for each state for each                      The determination that the stringency
                                                 quality modeling base case. This                        period that downwind nonattainment                     of this action does not constitute
                                                 assessment shows that the selected                      and maintenance problems persist (i.e.,                overcontrol for any linked state is
                                                 control stringency level is estimated to                2023 and 2026). Specifically, the EPA                  further reinforced by EPA’s observation
                                                 change the status of three receptors to                 evaluated whether the selected control                 in section III.A of this document
                                                 attainment or maintenance in 2026.                      stringencies would reduce upwind                       regarding the nature of the ozone
                                                 Brazoria County, Texas (Monitor ID                      emissions to a level where the                         problem. Ozone levels are known to
                                                 480391004); and Galveston County,                       contribution from any of the 23 linked                 vary, at times dramatically, from year to
                                                 Texas (Monitor ID 481671034), are                       states in 2023 or 20 linked states in 2026             year. Future ozone concentrations and
                                                 estimated to come into attainment. We                   would be below the 1 percent threshold.                the formation of ground level ozone may
                                                 observe that one of the Fairfield,                      The EPA finds that for the mitigation                  also be impacted by factors in future
                                                 Connecticut, receptors (Monitor ID                      measures assumed in 2023 and in 2026,                  years that the EPA cannot fully account
                                                 090013007) is estimated to go from                      all states that contributed greater than or            for at present. For example, changes to
                                                 nonattainment to maintenance (when                      equal to the 1 percent threshold in the                meteorological conditions could affect
                                                 EGU emissions reductions with SCR are                   base case are projected to continue to                 future ozone levels. Climate change
                                                 applied, prior to the application of the                contribute greater than or equal to 1                  could also contribute to higher than
                                                 non-EGU emissions reductions). This                     percent of the NAAQS to at least one                   anticipated ozone levels in future years
                                                 receptor is expected to remain in                       remaining downwind nonattainment or                    through wildfires and heat waves,
                                                 maintenance even after the application                  maintenance receptor for as long as that               which can contribute directly and
                                                 of the non-EGU emissions reductions.                    receptor remained in nonattainment or                  indirectly to higher levels of ozone. Any
                                                 Based on these data, EPA finds that all                 maintenance. EPA notes that in 2026,                   modeling projection can be
                                                 linked states except Arkansas,                          for Oklahoma, when the incremental                     characterized as having some
                                                 Mississippi, and Oklahoma are                           level of stringency associated with the                uncertainty, and that is not a sufficient
                                                 projected to continue to be linked to                   non-EGU control strategy is applied,                   reason to ignore modeling results.
                                                 nonattainment or maintenance receptors                  Oklahoma’s contribution to Galveston                   However, in the context of the
                                                 after implementation of all identified                  County Texas is expected to drop below                 overcontrol test, the question is whether
                                                 Step 3 reductions, and hence, the EPA                   the 1 percent threshold (at the same                   it is clear according to particularized
                                                 finds no over-control in its                            time that the receptor has its                         evidence that there is no need for the
                                                 determination of that level of stringency               maintenance problems resolved). EPA                    emissions reductions in question. See
                                                 for those states. Arkansas, Mississippi,                concludes that this does not constitute                EME Homer City, 572 U.S. at 523 (‘‘[A]
                                                 and Oklahoma are linked to at least one                 overcontrol because both the receptor                  degree of imprecision is inevitable in
                                                 of the two Texas receptors that are                     and the contribution are estimated to                  tackling the problem of interstate air
                                                 projected to come into attainment with                  remain above the maintenance level and                 pollution. Slight changes in wind
                                                 the full implementation of the control                  linkage threshold at the prior level of                patterns or energy consumption, for
                                                 strategy at Step 3. However, these two                  stringency and, thus, since otherwise                  example, may vary downwind air
                                                 Texas receptors are expected to remain                  justified at Step 3, the full stringency for           quality in ways EPA might not have
                                                 as maintenance-only receptors prior to                  2026 is appropriate to avoid under-                    anticipated.’’). Under this standard, the
                                                 the final increment of reductions                       control. For more information about this               degree of attainment that is projected to
                                                 assessed (the addition of the non-EGU                   assessment, refer to the Ozone Transport
                                                                                                                                                                occur under the rule in relation to the
                                                 reductions), so EPA concludes that                      Policy Analysis Final Rule TSD and the
                                                                                                                                                                Texas receptors discussed above is not
                                                 imposition of the incremental non-EGU                   Ozone AQAT.
                                                                                                            Therefore, EPA finds that all of the                so large or certain to occur that it would
                                                                                                         selected EGU and non-EGU NOX                           be appropriate to attempt to devise a
                                                 per ton from $100/ton to $500/ton). That change in
                                                 stringency marked a determination that EPA had          reduction strategies selected in EPA’s                 less stringent emissions control strategy
                                                 made at Step 3 regarding the degree of emissions        Step 3 analysis can be applied to all                  for the relevant linked states as a result,
                                                 reduction that sources needed to achieve beginning
                                                                                                         states linked in 2026 to eliminate                     particularly in light of the fact that at
                                                 in 2014. But in that year, the court found EPA’s                                                               the penultimate stringency level the
                                                 record to reveal that certain states would not need     significant contribution to
                                                 to go up to that higher level of stringency because     nonattainment and interference with                    receptors are not resolved.
                                                 air quality problems and/or linkages were already       maintenance of the 2015 ozone NAAQS                       It is also possible that ozone-precursor
                                                 projected to be resolved at the lower level of
                                                                                                         without introducing an overcontrol                     emissions from certain sources may
                                                 stringency. See 795 F.3d at 128–30. The analogous                                                              decline beyond what we currently
                                                 year to 2014 here is 2026. The stringency level of
                                                 this control program does not change post-2026.            254 Even with full implementation of the rule,      project in this rule. For example, the
                                                 Nor do we think individual sources should gain the      these two receptors are only projected to come into    IRA may result in reductions in fossil-
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                                                 benefit of delaying emissions reductions simply in      attainment by a relatively small degree, and no        fuel fired generation, which should in
                                                 the hopes that they could show those reductions         policy option is ascertained in the record by which    turn result in lower NOX emissions
                                                 would be overcontrol; each source must be held to       attainment could be achieved to an even lesser
                                                 the elimination of its portion of significant           degree. Nonetheless, the EPA further evaluated         during the ozone season.255 We have
                                                 contribution. Necessity may demand some                 whether there were any overcontrol concerns
                                                 additional amount of time for compliance, but           through sensitivity analyses. Under all scenarios,       255 As discussed in section IV.C.2.b, there are also

                                                 equity demands that individual sources not gain an      the EPA finds there is no overcontrol. See the         potential ways in which the IRA may not
                                                 untoward advantage from delay and reliance on           Ozone Transport Policy Analysis Final Rule TSD         necessarily result in reductions in NOX emissions
                                                 other sources’ timelier compliance.                     for more discussion and analysis.                      from EGUs.



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                                                 assessed this scenario to ensure our                    control strategy will actually result in                 contribution remain available but un-
                                                 overcontrol conclusions are robust even                 any overcontrol of emissions in the                      implemented. This would constitute
                                                 if the IRA has those effects. As                        manner the EPA or courts have                            under-control. Consequently, as
                                                 discussed in the Regulatory Impact                      understood that term, and overcontrol                    described, the EPA views the control
                                                 Analysis, the EPA conducted additional                  allegations must be proven through                       stringency required of these states in
                                                 modeling of the final policy scenario                   particularized, as-applied challenges.                   this final rule as not constituting over-
                                                 (inclusive of economically efficient                    See EME Homer City, 795 F.3d at 127;                     control and appropriate to eliminate
                                                 methods of compliance available within                  see also Wisconsin, 938 F.3d at 325                      significant contribution to
                                                 the Step 4 implementation programs)                     (‘‘[T]he way to contest instances of over-               nonattainment and interference with
                                                 using its IPM tool. The EPA observes                    control is not through generalized                       maintenance of this NAAQS in line
                                                 that the differences in estimated costs                 claims that EPA’s methodology would                      with our Step 3 determinations for all
                                                 and emissions reductions in the IRA                     lead to over-control, but rather through                 other states. See the Ozone Transport
                                                 sensitivity (presented in Appendix 4A                   a ‘particularized, as-applied                            Policy Analysis Final Rule TSD section
                                                 of the RIA) suggests that there would                   challenge.’ ’’ Accordingly, as we did                    C.3 for discussion and analysis
                                                 also be differences in estimated health                 when presented with similar arguments                    regarding overcontrol for states solely
                                                 and climate benefits under that                         in EME Homer III, we reject Industry                     linked to one or both of these receptors.
                                                 scenario, although the Agency did not                   Petitioners’ arguments because they do                      Comment: Commenters raised a
                                                 have time under this rulemaking                         no more than speculate that aspects of                   variety of arguments that the
                                                 schedule to quantify those differences.                 ‘EPA’s methodology could lead to over-                   enhancements to the EGU trading
                                                 The EPA also used AQAT to conduct an                    control of upwind States.’ ’’) (cleaned                  program in this action will result in
                                                 additional EGU modeling sensitivity                     up) (citing EME Homer City, 795 F.3d at                  overcontrol of power plant emissions.
                                                 reflecting the IRA. Both the IPM                        136–137).                                                They alleged that dynamic budgeting
                                                 sensitivity and the corresponding AQAT                     Comment: For 2 of the 20 states                       would cause the budget to continually
                                                 assessment of the IRA scenarios                         linked in 2026, Arkansas and                             decrease even after significant
                                                 demonstrated no overcontrol as every                    Mississippi, the last downwind receptor                  contribution is eliminated. They
                                                 state linkage to a downwind                             to which these two states are linked (i.e.,              similarly argue that annual emissions
                                                 problematic receptor persisted in the                   Brazoria County, Texas) was estimated                    bank recalibration and the emissions
                                                 penultimate level of stringency when                    to achieve attainment and maintenance                    backstop emissions rate have not been
                                                 EPA performed its Step 3 evaluation—                    after full application of EGU reductions                 shown to be justified to eliminate
                                                 even when the impacts of the IRA are                    and Tier 1 non-EGU reductions at                         significant contribution.
                                                 incorporated. This further affirmed                     proposal. Commenters noted that this                        Response: This final rule’s
                                                 EPA’s conclusion of no overcontrol                      suggested application of the estimated                   determination regarding the appropriate
                                                 concerns at the stringency level of the                 non-EGU, and/or some EGU, emissions                      level of control stringency for EGUs
                                                 final rule. This overcontrol sensitivity is             reductions constituted over-control for                  finds that the amounts of NOX
                                                 further discussed in the Ozone                          these states.                                            emissions reduction achieved through
                                                 Transport Policy Analysis Final Rule                       Response: EPA notes that at proposal,                 these strategies at EGUs are appropriate
                                                 TSD, Appendix K.                                        this downwind receptor only resolved                     and cost-justified under the Step 3
                                                    In light of the mandate of the CAA to                by a small margin after the application                  multifactor analysis. These
                                                 protect the public health and                           of all EGU and Tier 1 non-EGU                            determinations are associated with
                                                 environment through the elimination of                  emissions reductions. As explained                       particular emissions control
                                                 significant contribution under the Good                 earlier in this section, the final rule air              technologies and strategies as detailed
                                                 Neighbor Provision for the 2015 ozone                   quality modeling shows that the                          in sections V.B.1 and V.C.1 above. It is
                                                 NAAQS, nothing in the present record                    receptors to which these states are                      the implementation of those strategies at
                                                 establishes on an as-applied,                           linked do not resolve upon full                          the covered EGU sources and the air
                                                 particularized basis that this rule will                implementation of the identified EGU                     quality effects of those strategies
                                                 result in an unnecessary degree of                      reductions by themselves, and only                       (coupled with non-EGUs) in the relevant
                                                 control of upwind-state emissions.                      reach attainment by a small degree                       analytic year of 2026 on which we base
                                                    Comment: Many commenters alleged                     following the additional reductions                      our determination of significant
                                                 that the rule overcontrols emissions by                 from the non-EGU control strategy.256 If                 contribution at Step 3. This includes the
                                                 more than necessary to eliminate                        the EPA were to select the control                       evaluation of whether there is
                                                 significant contribution for the 2015                   stringency of this penultimate step, both                overcontrol, which is also conducted for
                                                 ozone NAAQS, on the basis that the                      upwind-state contribution and                            the 2026 analytic year as explained
                                                 emissions reductions are unnecessary or                 downwind-state air quality receptors                     above. As explained below, we disagree
                                                 are unnecessarily stringent.                            would persist while the cost-effective                   that the enhancements to the trading
                                                    Response: As discussed earlier in this               emissions reductions that were                           program at Step 4 implicate the need for
                                                 section, EPA has analyzed whether this                  identified to eliminate significant                      further overcontrol analysis. These
                                                 rule ‘‘overcontrols’’ emissions and has                                                                          enhancements operate together to
                                                 found based on a robust, multi-faceted                    256 Because in the final record we do not identify     ensure the trading program continues to
                                                 analysis, that it does not. In particular,              cost, air quality, and emission reduction factors that   maintain the Step 3 emissions control
                                                                                                         sufficiently differentiate either source-type or
                                                 EPA has not identified a lesser-                        emissions control strategy among the Tier 1 and          stringency over time. These
                                                 stringency emissions control strategy for               Tier 2 industries identified at proposal, we             enhancements reflect lessons learned
                                                 any state that would either fully resolve
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                                                                                                         combined the non-EGU industries and emissions            through EPA’s experience with prior
                                                 the air quality problems at a downwind                  reductions into one group, and we are finalizing
                                                                                                         requirements for all non-EGU industries and most
                                                                                                                                                                  trading programs implemented under
                                                 receptor location or resolve that upwind                emissions unit types identified at proposal. In light    the good neighbor provision. None of
                                                 state’s linkage to a level below the 1                  of the small degree to which the relevant receptors      commenters’ arguments that these
                                                 percent of NAAQS contribution                           reach attainment and the multi-faceted assessment        enhancements result in overcontrol are
                                                                                                         of overcontrol we have undertaken, the overcontrol
                                                 threshold. No commenter has provided                    assessment with respect to non-EGUs in the final         persuasive.
                                                 a particularized, as-applied analysis                   rule is sufficient to establish that there is no            Commenters contend that these
                                                 demonstrating that EPA’s emissions                      overcontrol.                                             enhancements to the trading program go


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                                                 beyond a mass-based budget approach                        As explained in sections III.B.1.d and              ‘‘unrelated’’ to carrying out the
                                                 as applied in CSAPR. Because these                      VI.B.1 of this document, the EPA finds                 mandates of CAA section
                                                 improvements in the program result in                   good reason based on its experience                    110(a)(2)(D)(i)(I). Taking measures to
                                                 a continuing incentive for each covered                 with trading programs that using fixed,                ensure that each upwind source covered
                                                 EGU source to maintain the pollution                    mass-based, ozone-season wide budgets                  by an emissions trading program is
                                                 control performance the EPA found                       does not necessarily ensure the                        adequately incentivized to eliminate
                                                 appropriate to eliminate significant                    elimination of significant contribution                excessive emissions (as found at Step 3)
                                                 contribution at Step 3, commenters                      over the entire region of linked states or             throughout the entirety of each ozone
                                                 believe these enhancements must                         throughout each ozone season. Even in                  season is entirely appropriate in light of
                                                 necessarily result in prohibited                        the original CSAPR rulemaking, which                   the nature of the ozone problem. Ozone
                                                 overcontrol. These arguments appear to                  promulgated only fixed, mass-based                     exceedances recur on varying days
                                                 be premised on the assumption that                      budgets, such outcomes were never the                  throughout the summertime ozone
                                                 overall emissions may later decline to                  EPA’s intention to allow. See, e.g., 76                season, and it is not possible to predict
                                                 such a point that there is no longer a                  FR 48256–57 (‘‘[I]t would be                           in advance which specific days will
                                                 linkage between a particular state and                  inappropriate for a state linked to                    have high ozone. Further, impacts to
                                                 any downwind receptors for reasons                      downwind nonattainment or                              public health and the environment from
                                                 other than the requirements of this rule.               maintenance areas to stop operating                    ozone can occur through short-term
                                                    As an initial matter, no commenter                   existing pollution control equipment                   exposure (e.g., over a course of hours,
                                                 has provided an empirical analysis                      (which would increase their emissions                  i.e., on a daily basis). The 2015 ozone
                                                 demonstrating that the control                          and contribution).’’). Despite the EPA’s               NAAQS is expressed as an 8-hour
                                                 stringency identified at Step 3 to                      expectations in CSAPR, the experience                  average, and only a small number of
                                                 eliminate significant contribution would                of the Agency since that time establishes              days in excess of the ozone NAAQS can
                                                 actually result in any overcontrol. The                 a real risk of ‘‘under-control’’ if the                cause a downwind area to be in
                                                 case law is clear that over-control                     existing trading framework is not                      nonattainment. Thus, even a small
                                                 allegations must be proven through                      enhanced. See EME Homer City, 572                      number of exceedances can result in
                                                 particularized, as-applied challenges.                  U.S. at 523 (‘‘[T]he Agency also has a                 continuing and/or increased regulatory
                                                 See prior response to comments. More                    statutory obligation to avoid ‘under-                  burdens on the downwind jurisdiction.
                                                 importantly here, the Group 3 trading                   control,’ i.e., to maximize achievement                Taking these considerations into
                                                 program enhancements do not impose                      of attainment downwind.’’).                            account, it is evident that a fixed, mass-
                                                 increased stringency in years after 2030                   Further, the EPA has already once                   based emissions program that does not
                                                 and do not force emissions to                           adjusted its historical approach to better             adequately incentivize emissions
                                                 continually be reduced to ever lower                    account for known, upcoming changes                    reductions commensurate with our Step
                                                 levels. They are only designed to                       in the EGU fleet to ensure mass-based                  3 determinations on each day of every
                                                 incentivize the implementation of the                   emissions budgets adequately                           ozone season going forward does not
                                                 Step 3 emissions control stringency that                incentivize the control strategy                       provide a sufficient guarantee that the
                                                 eliminates significant contribution. The                determined at Step 3. This adjustment                  emissions that significantly contribute
                                                 circumstances that could potentially                    was introduced in the Revised CSAPR                    on those particular days and at
                                                 cause a receptor or linkage to resolve at               Update. See 82 FR 23121–22. The EPA                    particular receptor locations when
                                                 some point in the future after 2026 are                 now believes it is appropriate to ensure               ozone levels are at risk of exceeding the
                                                 not circumstances that are within the                   in a more comprehensive manner, and
                                                                                                                                                                NAAQS have been eliminated. See
                                                 power of this rule to control. Nor would                in perpetuity, that a mass-based
                                                                                                                                                                section V.B.1.a and VI.B of this
                                                 those circumstances present a                           emissions-trading framework
                                                                                                                                                                document for more discussion of data
                                                 justification as to why upwind sources                  incentivizes continuing implementation
                                                                                                                                                                observations regarding SCR
                                                 should no longer be obligated to                        of the Step 3 control strategies to ensure
                                                                                                                                                                optimization.
                                                 eliminate their own significant                         significant contribution is eliminated in
                                                 contribution. Wisconsin, 938 F.3d at                    all upwind states and remains so. This                    These enhancements are also
                                                 324–25 (rejecting overcontrol arguments                 is fully analogous in material respect to              consistent with the general policies and
                                                 premised on attributing air quality                     an approach to implementation at Step                  principles EPA has long applied in
                                                 problems to other emissions).                           4 that relies on application of unit-                  implementing the NAAQS through the
                                                    Further, the EPA is not constrained by               specific emissions limitations, which                  SIP/FIP framework of section 110.
                                                 the statute to only implement good                      under the Act would typically apply in                 Emissions control measures relied on to
                                                 neighbor obligations through fixed,                     perpetuity and may only be modified                    meet CAA requirements must be
                                                 unchanging, mass-based emissions                        through a future SIP- or FIP-revision                  permanent and enforceable and
                                                 budgets. See section III.B.1 of this                    rulemaking process. See CAA section                    included in the implementation plan
                                                 document. The EPA has defined the                       110(i) prohibiting modifications to                    itself. See, e.g., Montana Sulfur & Chem.
                                                 ‘‘amount’’ of emissions that must be                    implementation plan requirements                       Co. v. EPA, 666 F.3d 1174, 1196 (9th
                                                 prohibited to eliminate significant                     except by enumerated processes. The                    Cir. 2012); 40 CFR 51.112(a). In the
                                                 contribution in this action based on a                  availability of unit-specific emissions                General Preamble laying out EPA’s
                                                 series of determinations of which                       rates as a means to eliminate significant              plans for implementing the 1990 CAA
                                                 emissions control strategies, for certain               contribution is discussed in further                   Amendments, the EPA identified a core
                                                 identified EGU and non-EGU sources,                     detail in section III.B.1 of this                      ‘‘principle’’ that control strategies
                                                                                                                                                                should be ‘‘accountable.’’ ‘‘This means,
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                                                 are appropriate applying the Step 3                     document. The EPA also explained this
                                                 multifactor analysis. Notably, the non-                 in the proposal. See 87 FR 20095–96.                   for example, that source-specific limits
                                                 EGU industrial source emissions                            Further, these enhancements are                     should be permanent and must reflect
                                                 reductions in this action are not being                 directly related to assisting downwind                 the assumptions used in the SIP
                                                 achieved at Step 4 through mass-based                   areas specifically with the goal of                    demonstrations.’’ 57 FR 13498, 13568
                                                 emissions trading, nor are they required                attaining and maintaining the 2015 8-                  (April 16, 1992). EPA went on, ‘‘The
                                                 to be by any provision of the CAA. See                  hour ozone NAAQS. In this respect,                     principles of quantification,
                                                 section III.B.1.                                        they are not ‘‘unnecessary’’ or                        enforceability, replicability, and


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                                                 accountability apply to all SIPs and                    effective emissions control strategies                 rather through a ‘‘particularized, as-applied
                                                 control strategies, including those                     identified in Step 3. This is further                  challenge.’’ EME Homer, 134 S. Ct. at 1609,
                                                 involving emissions trading, marketable                 explained in section III.B.1 of this                   slip op. at 31. And petitioners do not point
                                                                                                                                                                to any actual such instances of over-control
                                                 permits and allowances.’’ Id. EPA also                  document.                                              at downwind locations.
                                                 explained that its ‘‘emissions trading                     Thus, this rule is in compliance with
                                                 policy provides that only trades                        the overcontrol principles that the D.C.               795 F.3d at 137. The court went on to
                                                 producing reductions that are surplus,                  Circuit applied on remand in EME                       observe, ‘‘EPA may only limit emissions
                                                 enforceable, permanent, and                             Homer City to find certain instances of                ‘by just enough to permit an already-
                                                 quantifiable can get credit and be                      overcontrol in CSAPR’s emissions                       attaining State to maintain satisfactory
                                                 banked or used in an emissions trade.’’                 control strategies. The D.C. Circuit                   air quality.’ If States have been forced to
                                                 Id. These principles follow from the                    found that EPA had imposed more                        reduce emissions beyond that point,
                                                 language of the Act, including CAA                      stringent emissions-control strategies for             affected parties will have meritorious
                                                 section 110(a)(2), 107(d)(3)(E)(iii),                   certain states than were necessary to                  as-applied challenges.’’ Id. (quoting 572
                                                 110(i), and 110(l). These provisions and                resolve all of those states’ linkages. 795             U.S. at 521–22). But this too was not a
                                                 principles further underscore the                       F.3d at 128–30. Specifically, for sulfur               holding that EPA may not ensure
                                                 importance of ensuring that the                         dioxide, the court found certain                       effective and permanent
                                                 emissions reductions the EPA has found                  receptors would reach attainment if all                implementation of an emissions control
                                                 necessary to eliminate significant                      linked upwind states had implemented                   stringency that EPA has found
                                                 contribution are in fact implemented on                 ‘‘cost controls’’ at $100/ton or $400/ton,             warranted under CAA section
                                                 a consistent and permanent basis even                   rather than EPA’s selected stringency                  110(a)(2)(D)(i)(I). Such an approach is
                                                 within the context of an emissions                      level of $500/ton. Similarly, for ozone                available through the more conventional
                                                 trading program.                                        season NOX, the court found that                       CAA practice of setting unit-specific
                                                    The EPA disagrees that the budget                    receptors were projected to attain the                 emissions limitations that would apply
                                                 adjustments that would occur over time                  NAAQS at stringencies below $500/ton.                  on a permanent and enforceable basis.
                                                 under this final rule (for example, the                 The court’s focus was on the stringency                See CAA sections 110(a)(2) and 302(y)
                                                 annual dynamic-budget adjustment)                       of the emissions control obligations as                (providing for SIPs and FIPs to include
                                                 must be reassessed each time they occur                 determined through the application of                  ‘‘enforceable emissions limitations’’ in
                                                 through notice and comment                              cost thresholds at Step 3 of the analysis.             addition to economic incentive
                                                 rulemaking under CAA section 307(d).                    The court did not hold that EPA may                    measures like trading programs).258 This
                                                 This would serve no purpose. The                        only use fixed, mass-based budgets to                  is in fact how EPA intends to ensure
                                                 formulas that the EPA will apply to                     implement those reductions. The court                  significant contribution is eliminated
                                                 adjust the budgets and allowance bank                   did not hold that EPA must permit                      from non-EGU industrial sources for
                                                 are set in this final rule and are                      individual polluting sources to be                     which a mass-based trading regime is, at
                                                 intended to maintain, not increase (or                                                                         least at the present time, unworkable
                                                                                                         allowed to increase their emissions at
                                                 decrease), program stringency. While                                                                           (see section VI.C of this document). And
                                                                                                         some point in the future. The court did
                                                 the EPA intends to provide an                                                                                  EPA has provided for the elimination of
                                                                                                         not hold that EPA’s good neighbor FIPs
                                                 opportunity for stakeholders to review                                                                         significant contribution through source-
                                                                                                         must, effectively, contain termination
                                                 and propose corrections to its data as it                                                                      specific emissions limitations in prior
                                                                                                         clauses, such that they cease to ensure
                                                 implements the established budget                                                                              transport actions as well, so this
                                                                                                         the implementation of the control
                                                 formulas, no larger reassessment of the                                                                        position is not novel. See section III.B
                                                                                                         stringency determined as necessary at
                                                 emissions control program is needed on                                                                         of this document.
                                                                                                         Step 3, the moment a downwind                             Nonetheless, EPA recognizes that
                                                 an ongoing basis, because, again, that                  receptor reaches attainment. Indeed,
                                                 program is simply calibrated to ensure                                                                         under the Act, both FIPs and SIPs may
                                                                                                         such a rule would contravene the                       be revised, and states may replace FIPs
                                                 that emissions reductions                               statute’s clear, forward-looking directive
                                                 commensurate with the determination                                                                            with SIPs if EPA approves them. Any
                                                                                                         that EPA must also eliminate upwind                    such revision must be evaluated to
                                                 of ‘‘significance’’ in Step 3 continue to               emissions that interfere with                          ensure no applicable CAA requirements
                                                 be obtained over the long term. As                      maintenance of the NAAQS; see North                    are interfered with. See, e.g., Indiana v.
                                                 described earlier, these trading program                Carolina, 531 F.3d at 908–911;                         EPA, 796 F.3d 803 (7th Cir. 2015). For
                                                 provisions are analogous to, or mimic,                  Wisconsin, 938 F.3d at 325–26.                         example, states may be able to
                                                 the effect of unit-specific emissions                      The EME Homer City court on remand                  demonstrate in the future that through
                                                 limitations that apply in perpetuity.257                in fact rejected various arguments that
                                                    Commenters also confuse the                                                                                 some other permanent and enforceable
                                                                                                         other aspects of EPA’s emissions control               methods of emissions reduction that
                                                 ‘‘amount’’ of emissions that must be                    strategy in CSAPR resulted in                          they have adopted into their SIP, they
                                                 eliminated under CAA section                            overcontrol, holding that EPA had                      will be able to achieve a similar
                                                 110(a)(2)(D)(i)(I) as being synonymous                  properly given effect to the interfere                 emissions control stringency with
                                                 with a fixed, mass-based budget that                    with maintenance prong, and noting                     different emissions reduction
                                                 reflects the residual emissions allowed                 that petitioners failed to make out                    requirements imposed on different
                                                 following the elimination of significant                proven, as-applied demonstrations of                   sources as compared to the FIPs
                                                 contribution. However, EPA views the                    overcontrol:                                           finalized in this action. See section VI.D
                                                 ‘‘amount’’ to be eliminated as those
                                                                                                           At bottom, each of those claims is an                of this document.
                                                 emissions that are in excess of the cost-               argument that EPA’s methodology could lead                Therefore, commenters’ contentions
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                                                                                                         to over-control of upwind States that are              that EPA’s trading program
                                                   257 We note further that because all of the trading
                                                                                                         found to interfere with maintenance at a               enhancements result in prohibited
                                                 program provisions, including the dynamic budget-       downwind location. That could prove to be
                                                 setting provisions and process, are established by
                                                 this final FIP rulemaking, the ministerial future-
                                                                                                         correct in certain locations. But the Supreme            258 ‘‘Emissions limitation’’ is in turn defined at

                                                 year budget adjustment process complies with the        Court made clear in EME Homer that the way             CAA section 302(k) as a ‘‘requirement . . . which
                                                 CAA section 110(i) prohibition on modification of       to contest instances of over-control is not            limits the quantity, rate, or concentration of
                                                 implementation plan requirements except by              through generalized claims that EPA’s                  emissions of air pollutants on a continuous
                                                 enumerated process.                                     methodology would lead to over-control, but            basis. . . .’’



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                                                 overcontrol are not proven through as-                     EPA’s determinations regarding the                   reductions in this rulemaking cover the
                                                 applied, particularized challenges, and                 timing of this rule are informed by and                 2023, 2024, and 2025 ozone seasons.
                                                 they are premised on an incorrect                       in compliance with several recent court                 This is the period in which some
                                                 understanding of the CAA and the                        decisions. The D.C. Circuit has                         reductions will be available, but the
                                                 relevant case law. The Agency rejects                   reiterated several times that, under the                portion of full remedy reductions
                                                 the contention that it must somehow                     terms of the Good Neighbor Provision,                   related to post combustion control
                                                 provide in the present FIP action for a                 upwind states must eliminate their                      installation identified in sections V.B
                                                 relaxation in the stringency of the Step                significant contributions to downwind                   through V.D of this document are not
                                                 4 implementation program and thus                       areas ‘‘consistent with the provisions of               yet available. The EGU NOX mitigation
                                                 allow for the recurrence of pollution                   [title I of the Act],’’ including those                 strategies available during these initial 3
                                                 that we have found here, in this action,                provisions setting attainment deadlines                 years are the optimization of existing
                                                 significantly contributes to downwind                   for downwind areas.259 In North                         post-combustion controls (SCRs and
                                                 ozone nonattainment and maintenance                     Carolina, the D.C. Circuit found the                    SNCRs) and combustion control
                                                 problems.                                               2015 compliance deadline that the EPA                   upgrades. As described in sections V.B
                                                                                                         had established in CAIR unlawful in                     through V.D of this document and in
                                                 VI. Implementation of Emissions                         light of the downwind nonattainment                     accompanying TSDs, these mitigation
                                                 Reductions                                              areas’ 2010 deadline for attaining the                  measures can be implemented in under
                                                                                                         1997 NAAQS for ozone and PM2.5.260                      two months in the case of existing
                                                 A. NOX Reduction Implementation
                                                                                                         Similarly, in Wisconsin, the Court found                control optimization and in 6 months in
                                                 Schedule
                                                                                                         the CSAPR Update unlawful to the                        the case of combustion control
                                                    This action will ensure that emissions               extent it allowed upwind states to                      upgrades. These timing assumptions
                                                 reductions necessary to eliminate                       continue their significant contributions                account for planning, procurement, and
                                                 significant contribution will be achieved               to downwind air quality problems                        any physical or structural modification
                                                 ‘‘as expeditiously as practicable’’ and no              beyond the downwind states’ statutory                   necessary. The EPA provides significant
                                                 later than the downwind attainment                      deadlines for attaining the 2008 ozone                  historical data, including the
                                                 dates except where compliance by those                  NAAQS.261 In Maryland, the Court                        implementation of the most recent
                                                 dates is not possible. See CAA section                  found the EPA’s selection of a 2023                     Revised CSAPR Update, as well as
                                                 181(a); Wisconsin, 938 F.3d at 318–20.                  analysis year in evaluating state                       engineering studies and input factor
                                                 The timing of this action will provide                  petitions submitted under CAA section                   analysis documenting the feasibility of
                                                 for all possible emissions reductions to                126 unlawful in light of the downwind                   these timing assumptions. However,
                                                 go into effect beginning in the 2023                    Marginal nonattainment areas’ 2021                      these timing assumptions are
                                                 ozone season for the covered states,                    deadline for attaining the 2015 ozone                   representative of fleet averages, and the
                                                                                                         NAAQS.262 The Court noted in                            EPA has noted that some units will
                                                 which is aligned with the next
                                                                                                         Wisconsin that the statutory command—                   likely overperform their installation
                                                 upcoming attainment date of August 3,
                                                                                                         that compliance with the Good                           timing assumptions, while others may
                                                 2024, for areas classified as Moderate
                                                                                                         Neighbor Provision must be achieved in                  have unit configuration or operational
                                                 nonattainment under the 2015 ozone
                                                                                                         a manner ‘‘consistent with’’ title I of the             considerations that result in their
                                                 standard. Additional emissions                          CAA—may be read to allow for some
                                                 reductions that the EPA finds not                                                                               underperforming these timing
                                                                                                         deviation from the mandate to eliminate                 assumptions. As in prior interstate
                                                 possible to implement by that                           prohibited transport by downwind
                                                 attainment date will take effect as                                                                             transport rules, the EPA is
                                                                                                         attainment deadlines, ‘‘under particular                implementing these EGU reductions
                                                 expeditiously as practicable. Emissions                 circumstances and upon a sufficient
                                                 reductions commensurate with SCR                                                                                through a trading program approach.
                                                                                                         showing of necessity,’’ but concluded                   The trading program’s option to buy
                                                 mitigation measures for EGUs will start                 that ‘‘[a]ny such deviation would need
                                                 in 2026 and be fully implemented by                                                                             additional allowances provides
                                                                                                         to be rooted in Title I’s framework’’ and               flexibility in the program for outlier
                                                 2027. Emissions reductions through the                  would need to ‘‘provide a sufficient
                                                 mitigation measures for industrial                                                                              sources that may need more time than
                                                                                                         level of protection to downwind
                                                 sources will generally go into effect in                                                                        what is representative of the fleet
                                                                                                         States.’’ 263
                                                 2026; however, as explained in section                                                                          average to implement these mitigation
                                                 VI.C of this document, we have                          1. 2023–2025: EGU NOX Reductions                        strategies while providing an economic
                                                 provided for case-by-case extensions of                 Beginning in 2023                                       incentive to outperform rate and timing
                                                 up to one year based on a demonstration                    The near-term EGU control                            assumptions for those sources that can
                                                 of necessity (with the potential for up to              stringencies and corresponding                          do so. In effect, this trading program
                                                 an additional two years based on a                                                                              implementation operationalizes the
                                                 further demonstration). The full suite of                  259 North Carolina v. EPA, 531 F.3d 896 (D.C. Cir.   mitigation measures as state-wide
                                                 emissions reductions is generally                       2008), Wisconsin v. EPA, 938 F.3d 303 (D.C. Cir.        assumptions for the EGU fleet rather
                                                                                                         2019), and Maryland v. EPA, 958 F.3d 1185 (D.C.         than unit-specific assumptions.
                                                 anticipated to take effect by the 2027                  Cir. 2020).
                                                 ozone season, which is aligned with the                    260 North Carolina, 531 F.3d at 911–913.                However, starting in 2024, as
                                                 August 3, 2027, attainment date for                        261 Wisconsin, 938 F. 3d at 303, 3018–20.            described in section VI.B.7 of this
                                                 areas classified as Serious                                262 Maryland, 958 F.3d at 1203–1204. Similarly,      document, unit-specific backstop daily
                                                 nonattainment under the 2015 ozone                      in New York v. EPA, 964 F.3d 1214 (D.C. Cir. 2020),     emissions rates are applied to coal units
                                                 NAAQS. This rule constitutes a full                     the Court found the EPA’s selection of a 2023           with existing SCR at a level consistent
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                                                                                                         analysis year in evaluating New York’s section 126
                                                 remedy for interstate transport for the                 petition unlawful in light of the New York              with operating that control. The EPA
                                                 2015 ozone NAAQS for the states                         Metropolitan Area’s 2021 Serious area deadline for      believes that implementing these
                                                 covered; the EPA does not anticipate                    attaining the 2008 ozone NAAQS. 964 F.3d at 1226        emissions reductions through state
                                                 further rulemaking to address good                      (citing Wisconsin and Maryland).                        emissions budgets starting in 2023
                                                                                                            263 Wisconsin, 938 F. 3d at 320 (citing CAA
                                                 neighbor obligations under this NAAQS                   section 181(a) (allowing one-year extension of
                                                                                                                                                                 while imposing the unit-specific
                                                 will be required for these states with the              attainment deadlines in particular circumstances)       backstop emissions rates in 2024
                                                 finalization of this rule.                              and North Carolina, 531 F.3d at 912).                   achieves the necessary environmental


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                                                 performance as soon as possible while                    NAAQS.265 The EPA proposed to                               The timing of this final rule provides
                                                 accommodating any heterogeneity in                       require compliance with all of the                       three to four years for EGU and non-
                                                 unit-level implementation schedules                      remaining EGU and non-EGU control                        EGU sources to install whatever controls
                                                 regarding daily operation of optimized                   requirements beginning in the 2026                       they deem suitable to comply with
                                                 SCRs.                                                    ozone season. The EPA continues to                       required emissions reductions by the
                                                    Additionally, as in prior rules, the                  find 2026 to be the relevant analytic                    start of the 2026 and 2027 ozone
                                                 EPA assumes combustion control                           year for purposes of its Step 3 analysis,                seasons. In addition, the publication of
                                                 upgrade implementation may take up to                    including its analysis of overcontrol, as                the proposal provided roughly an
                                                                                                          discussed in section V.D.4 of this                       additional year of notice to these source
                                                 6 months. In the Revised CSAPR
                                                                                                          document. However, many commenters                       owners and operators that they should
                                                 Update, covering 12 of the 22 states for
                                                                                                          argued that full implementation of the                   begin engineering and financial
                                                 which emissions reduction
                                                                                                          EGU and industrial source control                        planning (steps that can be taken prior
                                                 requirements for EGUs are established
                                                                                                          strategies is not feasible for every source              to any capital investment) to be
                                                 under this action, the EPA finalized the                 by the 2026 ozone season. The EPA
                                                 rule in March of 2021 and thus did not                                                                            prepared to meet this implementation
                                                                                                          addresses these technical comments                       timetable.
                                                 require these combustion control-based                   specifically in sections V.B and VI.C of
                                                 emissions reductions in ozone-season                     this document. The EPA also                                 The EPA views this timeframe for
                                                 state emissions budgets until 2022 (year                 commissioned a study to develop a                        retrofitting post-combustion NOX
                                                 two of that program).264 The EPA is                      better understanding of the time needed                  emissions controls and other non-EGU
                                                 applying the same timing assumption                      for installation of emissions controls for               controls to be reasonable and
                                                 regarding combustion control upgrades                    the industrial sector units covered in                   achievable. A 3-year period for
                                                 for this rulemaking. Given the same                      this rule, which is included in the                      installation of control technologies is
                                                 relationship here between the date of                    docket and discussed in section VI.A.2.b                 consistent with the statutory timeframe
                                                 final action and the year one ozone                      of this document. While the EPA does                     for implementation of the controls
                                                 season, the EPA is not assuming the                      not agree with all of the commenters’                    required to address interstate pollution
                                                 implementation of any additional                         assertions regarding the time they claim                 under section 110(a)(2)(D) and 126 of
                                                 combustion control upgrades in state                     is needed for control installation, in                   the Act, the statutory timeframes for
                                                 emissions budgets until year two (i.e.,                  other respects the concerns raised were                  implementation of RACT in ozone
                                                 the 2024 ozone season). Any identified                   sufficient to justify some adjustments to                nonattainment areas classified as
                                                 combustion control upgrade emissions                     the compliance schedule for the final                    Moderate or above, and other statutory
                                                 reductions are reflected beginning in the                rule. We have provided for the                           provisions that establish control
                                                 2024 ozone-season budgets for all                        emissions reductions commensurate                        requirements for existing stationary
                                                 covered states. For the 12 states covered                with assumed EGU post-combustion                         sources of pollution.
                                                 under the Revised CSAPR Update, any                      emissions control retrofits to be phased                    For example, section 126 of the CAA
                                                 identified emissions reduction potential                 in over the 2026 and 2027 ozone season                   authorizes a downwind state or tribe to
                                                 from combustion control upgrade is                       emissions budgets, and we have                           petition the EPA for a finding that
                                                 included and reflected in those state                    provided a process in the final                          emissions from ‘‘any major source or
                                                 budgets beginning in 2024—which                          regulations for individual non-EGU                       group of stationary sources’’ in an
                                                 means EGUs in those states have even                     industrial sources to seek limited                       upwind state contribute significantly to
                                                 more time than the 14 months between                     compliance extensions extending no                       nonattainment in, or interfere with
                                                 finalization of this rule and the 2024                   later than 2029 based on a case-by-case                  maintenance by, the downwind state. If
                                                 ozone season if they started any                         demonstration of necessity. This                         the EPA makes a finding that a major
                                                 planning or installation earlier in                      compliance schedule delivers                             source or a group of stationary sources
                                                 response to the Revised CSAPR Update.                    substantial emissions reductions in the
                                                                                                                                                                   emits or would emit pollutants in
                                                                                                          2026 and 2027 ozone seasons and before
                                                 2. 2026 and Later Years: EGU and                                                                                  violation of the relevant prohibition in
                                                                                                          the 2027 Serious area attainment date,
                                                 Stationary Industrial Source NOX                                                                                  CAA section 110(a)(2)(D), the source(s)
                                                                                                          and it only allows compliance
                                                 Reductions Beginning in 2026                                                                                      must shut down within three months
                                                                                                          extensions beyond that attainment date
                                                                                                          based on a rigorous, source-specific                     from the finding unless the EPA directly
                                                    The EPA finds that it is not possible                                                                          regulates the source(s) by establishing
                                                                                                          demonstration of need for the additional
                                                 to implement all necessary emissions                     time.266                                                 emissions limitations and a compliance
                                                 controls across all of the affected EGU                                                                           schedule extending no later than three
                                                 and non-EGU sources by the August 3,                        265 For each nonattainment area classified under      years from the date of the finding, to
                                                 2024, Moderate area attainment date. In                  CAA section 181(a) for the 2015 ozone NAAQS, the         eliminate the prohibited interstate
                                                 accordance with the good neighbor                        attainment date is ‘‘as expeditiously as practicable’’   transport of pollutants as expeditiously
                                                 provision and the downwind attainment                    but not later than the date provided in table 1 to       as practicable.267 Thus, in the provision
                                                                                                          40 CFR 51.1303(a). Thus, for areas initially
                                                 schedule under CAA section 181 for the                   designated nonattainment effective August 3, 2018        that allows for direct Federal regulation
                                                 2015 ozone NAAQS, the EPA is aligning                    (83 FR 25776), the latest permissible attainment         of sources violating the good neighbor
                                                 its analysis and implementation of the                   dates are: August 3, 2021 (for Marginal areas),          provision, Congress established three
                                                                                                          August 3, 2024 (for Moderate areas), August 3, 2027
                                                 emissions reductions addressing                          (for Serious areas), and August 3, 2033 (for Severe
                                                                                                                                                                   years as the maximum amount of time
                                                 significant contribution from EGU and                    areas).                                                  available from a final rule to when
                                                 non-EGU sources that require relatively                                                                           emissions reductions need to be
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                                                                                                             266 While we generally use the term ‘‘necessity’’

                                                 longer lead time at a sectoral scale with                to describe the showing that non-EGU facilities          achieved at the relevant source or group
                                                                                                          must meet in seeking compliance extensions, the
                                                 the 2026 ozone season. The 2026 ozone                    elements for this showing are designed to allow the
                                                                                                                                                                   of sources. Because this action is not
                                                 season is the last full ozone season that                EPA to make a judgment that comports with the            taken under CAA section 126(c), the
                                                 precedes the August 3, 2027, Serious                     standard of ‘‘impossibility’’ established in case law    mandatory timeframe for
                                                 area attainment date for the 2015 ozone                  such as Wisconsin. In other words, the ‘‘necessity’’     implementation of emissions controls
                                                                                                          for additional time is effectively a showing by the
                                                                                                          source that it would be ‘‘impossible’’ for it to meet     267 CAA
                                                   264 86                                                                                                                     110(a)(2)(D)(i) and 126(c).
                                                            FR 23093.                                     the compliance deadline.



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                                                 under that provision is not directly                      submission deadline.270 Moderate ozone                 technologies on which the EPA bases
                                                 applicable, but it is informative.                        nonattainment areas must also                          the emissions limitations that would
                                                    In response to arguments from sources                  implement all reasonably available                     take effect for the 2026 and 2027 ozone
                                                 that more time than has been provided                     control measures (including RACT)                      seasons, generally are consistent with
                                                 in the final rule is necessary, this                      needed for expeditious attainment                      the scope and stringency of RACT
                                                                                                           within three years after the statutory                 requirements for existing major sources
                                                 provision strongly indicates that
                                                                                                           deadline for states to submit these                    of NOX in downwind Moderate
                                                 allowing time beyond a three-year
                                                                                                           measures to the EPA as part of a                       nonattainment areas and some upwind
                                                 period must be based on a substantial                     Moderate area attainment                               areas, which many states have already
                                                 showing of impossibility. Our analysis                    demonstration.271 Nonattainment areas                  implemented in their SIPs.272 Thus, the
                                                 based on comments and considering                         for the 2015 ozone NAAQS that were                     timing Congress allotted for sources in
                                                 additional information is that the                        reclassified to Moderate nonattainment                 downwind states to come into
                                                 additional time we have provided in the                   in October 2022 face this same                         compliance with RACT requirements
                                                 final rule is both justified and sufficient               regulatory schedule, meaning that their                bears directly on the amount of time
                                                 in light of the statutory objective of                    sources are required to implement                      that should be allotted here and
                                                 expeditious compliance.                                   RACT controls in 2023. With the                        indicates, as does CAA section 126, that
                                                    Additionally, for ozone                                exception of the Uinta Basin, which is                 three years is an outer limit on the time
                                                 nonattainment areas classified as                         not an identified receptor in this action,             that should be given sources to come
                                                 Moderate or higher, the CAA requires                      no Marginal nonattainment area met the                 into compliance where possible. In light
                                                 states to implement RACT requirements                     conditions of CAA section 181(a)(5) to                 of the January 1, 2023, deadline for
                                                 less than three years after the statutory                 obtain a one-year extension of the                     implementation of RACT in Moderate
                                                 deadline for submitting these measures                    Moderate area attainment date. 87 FR                   nonattainment areas, the EPA finds that
                                                 to the EPA.268 Specifically, for these                    60899 (Oct. 7, 2022). Thus, all Marginal               a May 1, 2026 deadline for full
                                                                                                           areas (other than Uinta) that failed to                implementation of the emissions control
                                                 areas, CAA sections 182(b)(2) and 182(f)
                                                                                                           attain have been reclassified to                       requirements in this final rule would
                                                 require that states implement RACT for
                                                                                                           Moderate. Id. In the October 2022 final                generally provide adequate time for any
                                                 existing VOC and NOX sources as                           rulemaking EPA made determinations
                                                 expeditiously as practicable but no later                                                                        individual source to install the
                                                                                                           that certain Marginal areas failed to                  necessary controls, barring the
                                                 than May 31, 1995, approximately 30                       attain by the attainment date,
                                                 months after the November 15, 1992,                                                                              circumstances of necessity discussed
                                                                                                           reclassified those areas to Moderate, and              further in this section.
                                                 deadline for submitting RACT SIP                          established SIP submission deadlines
                                                 revisions. For purposes of the 2015                                                                                 Finally, with respect to emissions
                                                                                                           and RACM and RACT implementation
                                                 ozone NAAQS, the EPA has interpreted                                                                             standards for hazardous air pollutants,
                                                                                                           deadlines. EPA set the attainment SIP
                                                 these provisions to require                                                                                      section 112(i)(3) of the CAA requires the
                                                                                                           submission deadlines for the bumped
                                                 implementation of RACT SIP revisions                                                                             EPA to establish compliance dates for
                                                                                                           up Moderate areas to be January 1, 2023.
                                                 as expeditiously as practicable but no                                                                           each category or subcategory of existing
                                                                                                           See 87 FR 60897, 60900. The
                                                 later than January 1 of the fifth year after              implementation deadline for RACM and                   sources subject to an emissions standard
                                                 the effective date of designation, which                  RACT is also January 1, 2023. Id.                      that ‘‘provide for compliance as
                                                 is less than three years after the                           The EPA notes that the types and                    expeditiously as practicable, but in no
                                                                                                           sizes of the EGU and non-EGU sources                   event later than 3 years after the
                                                 deadline for submitting RACT SIP
                                                                                                           that the EPA includes in this rule, as                 effective date of such standard,’’ with
                                                 revisions.269 For areas initially
                                                                                                           well as the types of emissions control                 limited exceptions. CAA section
                                                 designated nonattainment with a
                                                                                                                                                                  112(i)(3)(B) authorizes the EPA to grant
                                                 Moderate or higher classification
                                                                                                              270 40 CFR 51.1312(a)(2)(i) (requiring submission   an extension of up to 1 additional year
                                                 effective August 3, 2018 (83 FR 25776),
                                                                                                           of RACT SIP revisions no later than 24 months after    for an existing source to comply with
                                                 that implementation deadline falls on                     the effective date of designation).                    emissions standards ‘‘if such additional
                                                 January 1, 2023, approximately 29                            271 See, e.g., 40 CFR 51.1108(d) (requiring
                                                                                                                                                                  period is necessary for the installation
                                                 months after the August 3, 2020                           implementation of all control measures (including
                                                                                                                                                                  of controls,’’ and sections 112(i)(4)
                                                                                                           RACT) needed for expeditious attainment no later
                                                                                                           than the beginning of the attainment year ozone        through (7) provide for limited
                                                    268 See, e.g., 40 CFR 51.1112(a)(3) and
                                                                                                           season, which, for a Moderate nonattainment area,      compliance extensions where other
                                                 51.1312(a)(3)(i) (requiring implementation of RACT        occurs less than 3 years after the deadline for
                                                 required pursuant to initial nonattainment area                                                                  conditions are met.273 Here again, where
                                                                                                           submission of reasonably available control
                                                 designations no later than January 1 of the fifth year    measures under 40 CFR 51.1112(c) and 51.1108(a))       Congress was concerned with
                                                 after the effective date of designation, which is less    and 40 CFR 51.1308(d) (requiring implementation        addressing emissions of pollutants that
                                                 than 3 years after the SIP submission deadline            of all control measures (including RACT) needed        impact public health, a 3-year time
                                                 under 40 CFR 51.1112(a)(2)) and 51.1312(a)(2)(i),         for expeditious attainment no later than the
                                                 respectively).                                            beginning of the attainment year ozone season,
                                                                                                                                                                  period was allotted as the time needed
                                                    269 40 CFR 51.1312(a)(2)(i) (requiring submission      which, for a Moderate nonattainment area, occurs       for existing sources to come into
                                                 of RACT SIP revisions no later than 24 months after       less than three years after the deadline for           compliance where possible. As
                                                 the effective date of designation) and 40 CFR             submission of reasonably available control             discussed further in section VI.A.2.b of
                                                 51.1312(a)(3)(i) (requiring implementation of RACT        measures under 40 CFR 51.1312(c) and 51.1308(a)).
                                                 SIP revisions as expeditiously as practicable, but no     Because the attainment demonstration for a
                                                                                                                                                                  this document, the process for obtaining
                                                 later than January 1 of the fifth year after the          Moderate nonattainment area (including RACT            a compliance extension for industrial
                                                 effective date of designation). For reclassified areas,   needed for expeditious attainment) is due three        sources in this rule is generally modeled
                                                 states must implement RACT SIP revisions as               years after the effective date of the area’s           on 40 CFR 63.6(i)(3), which implements
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                                                 expeditiously as practicable, but no later than the       designation (40 CFR 51.1308(a) and 51.1312(c)), and
                                                 start of the attainment year ozone season associated      all Moderate nonattainment areas must attain the
                                                                                                                                                                    272 See the Final Non-EGU Sectors TSD for a
                                                 with the area’s new attainment deadline, or January       NAAQS as expeditiously as practicable but no later
                                                 1 of the third year after the associated SIP revision     than 6 years after the effective date of the area’s    discussion of SIP-approved RACT rules in effect in
                                                 submittal deadline, whichever is earlier; or the          designation (40 CFR 51.1303(a)), the beginning of      downwind states.
                                                 deadline established by the Administrator in the          the ‘‘attainment year ozone season’’ (as defined in      273 See, e.g., CAA section 112(i)(4), which

                                                 final action issuing the area reclassification. 40 CFR    40 CFR 51.1300(g)) for such an area is less than       provides for limited compliance extensions granted
                                                 51.1312(a)(3)(ii); see also 83 FR 62989, 63012–           three years after the due date for the attainment      by the President based on national security
                                                 63014.                                                    demonstration.                                         interests.



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                                                 the extension provision for existing                    Referencing the Supreme Court’s                        implementation of half the emissions
                                                 sources under CAA section 112(i)(3)(B).                 description of the attainment deadlines                reduction potential identified for
                                                    All of these statutory timeframes for                as ‘‘the heart’’ of the CAA, the                       assumed SCR mitigation measures. For
                                                 implementation of new control                           Wisconsin court noted that some                        each year in 2027 and beyond, state
                                                 requirements on existing stationary                     deviation from the mandate to eliminate                emissions budgets include all of the
                                                 sources indicate that Congress                          prohibited transport by downwind                       emissions reductions commensurate
                                                 considered 3 years to be not only a                     attainment deadlines may be allowed                    with these post-combustion control
                                                 sufficient amount of time but an upper                  only ‘‘under particular circumstances                  technologies identified for covered units
                                                 bound of time allowable (barring                        and upon a sufficient showing of                       in Step 3. The EPA notes that similar
                                                 instances of impossibility) for existing                necessity.’’ 276                                       compliance schedules and post-
                                                 stationary sources to install or begin the                 For the reasons provided in the                     combustion control retrofit installations
                                                 installation of pollution controls as                   following sub-sections, the EPA finds                  have been realized successfully in prior
                                                 necessary for expeditious attainment, to                that installation of certain EGU controls              programs allowing similar timeframes.
                                                 eliminate prohibited interstate transport               and all non-EGU controls is not possible               Subsequent to the NOX SIP Call and the
                                                 of pollutants, and to protect public                    by the Moderate area attainment date for               parallel Finding of Significant
                                                 health.                                                 the 2015 ozone NAAQS (i.e., August 3,                  Contribution and Rulemaking on
                                                    Further, the EPA notes that, given the               2024),277 and, for certain sources, may                Section 126 Petitions (which became
                                                 number of years that have passed since                  not be possible by the 2026 ozone                      effective December 28, 1998, and
                                                 EPA’s promulgation of the 2015 ozone                    season or even the August 3, 2027,                     February 17, 2000, respectively 278),
                                                 NAAQS and related nonattainment area                    Serious area attainment date. While the                nearly 19 GW of SCR retrofit came
                                                 designations in 2018, and in light of the               EPA’s technical analysis demonstrates                  online in 2002 and another 42 GW of
                                                 Maryland court’s holding that good                      that for any individual source, control                SCR retrofit came online for steam
                                                 neighbor obligations for the 2015 ozone                 installation could be accomplished by                  boilers in 2003, illustrating that a
                                                 NAAQS should have been implemented                      the start of the 2026 ozone season, in                 considerable volume of SCR retrofit
                                                 by the Marginal area attainment date in                 light of the scope of this rule coupled                capacity is possible within a 36-month
                                                 2021,274 the implementation of good                     with current information on the present                period.
                                                 neighbor obligations for these NAAQS is                 economic capacity of sources, control-                    Comment: Some commenters
                                                 already delayed, and the sources subject                installation vendors, and associated                   disagreed with EPA’s proposed 36-
                                                 to NOX emissions control in this rule                   markets for labor and material, it is the              month timeframe for SCR retrofit. These
                                                 have continued to operate for several                   EPA’s judgment that a three-year                       commenters noted that, while possible
                                                 years without the controls necessary to                 timeframe is not possible for all sources              at the unit or plant level, the collective
                                                 eliminate their significant contribution                subject to this rule collectively to come              volume of assumed SCR installation
                                                 to ongoing and persistent ozone                         into compliance. Therefore, additional                 would not be possible given the labor
                                                 nonattainment and maintenance                           time beyond 2026 will be allowed for                   constraints, supply constraints, and
                                                 problems in other states. Under these                   certain facilities in recognition of these             simultaneous outages necessary to
                                                 circumstances, we find it reasonable to                 constraints on the processes needed for                complete SCR retrofit projects on such
                                                 require compliance with the control                     installation of controls across all of the             a schedule. They noted that many of the
                                                 requirements for all non-EGUs and the                   covered sources.                                       remaining coal units lacking SCR pose
                                                 EGU reductions related to post-                                                                                more site-specific installation
                                                                                                         a. EGU Schedule for 2026 and Later
                                                 combustion control retrofit identified in                                                                      challenges than those that were already
                                                                                                         Years
                                                 section V.B.1.b of this document                                                                               retrofitted on a quicker timeframe.
                                                 beginning in the 2026 ozone season                         As discussed in sections V.B through                   Response: EPA is making several
                                                 (with full implementation by the 2027                   V.D of this document, significant                      changes in this final rule to address
                                                 ozone season for EGUs, and the                          emissions reduction potential exists and               these concerns. First, EPA is phasing in
                                                 availability of source-specific extensions              is included in EPA’s quantification of                 emissions reductions commensurate
                                                 based on a demonstration of necessity                   significant contribution based on the                  with assumed SCR installations
                                                 for non-EGUs).                                          potential to install post-combustion                   consistent with a 36-to-48-month time
                                                    As the D.C. Circuit noted in                         controls (SCR and SNCRs) at EGUs.                      frame in this final rule, instead of a 36-
                                                 Wisconsin, the good neighbor provision                  However, as discussed in detail in those               month time frame as proposed. EPA is
                                                 requires upwind states to ‘‘eliminate                   sections, the assumption for installation              implementing half of this emissions
                                                 their substantial contributions to                      of this technology on a region-wide                    reduction potential in 2026 ozone-
                                                 downwind nonattainment in concert                       scale is 36–48 months in this final rule.              season NOX budgets for states
                                                 with the attainment deadlines’’ in the                  This amount of time allows for all                     containing these EGUs and the other
                                                 downwind states, even where those                       necessary procurement, permitting, and                 half of this emissions reduction
                                                 attainment deadlines occur before EPA’s                 installation milestones across multiple                potential in 2027 ozone-season NOX
                                                 statutory deadline under CAA section                    units in the covered region. Therefore,                budgets for those states. This phase-in
                                                 110(c) to promulgate a FIP.275                          the EPA finds that these emissions                     approach to implementing SCR retrofit
                                                                                                         reductions are not available any earlier               reduction potential over a three to four
                                                    274 958 F.3d at 1203–1204 (remanding the EPA         than the 2026 compliance period.                       year period is in response to comments,
                                                 denial of section 126 petition based on the EPA         Starting in 2026, state emissions budgets              including those from third-party full-
                                                 analysis of downwind air quality in 2023 rather         will reflect full implementation of
                                                 than 2021, the year containing the Marginal area
                                                                                                                                                                service engineering firms. These
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                                                 attainment date).                                       assumed SNCR mitigation measures and                   commenters highlighted that while the
                                                    275 938 F.3d at 317–318. For example, the court
                                                                                                           276 Id. at 316 and 319–320 (noting that any such
                                                 observed that the EPA may shorten the deadline for                                                               278 See 63 FR 57356 (October 27, 1998); 65 FR

                                                 SIP submissions under CAA section 110(a)(1) and         deviation must be ‘‘rooted in Title I’s framework’’    2674 (January 18, 2000). The D.C. Circuit stayed the
                                                 may issue FIPs soon thereafter under CAA section        and ‘‘provide a sufficient level of protection to      NOX SIP Call by an order issued May 25, 1999.
                                                 110(c)(1), to align the upwind states’ deadline for     downwind States’’).                                    After upholding the rule in most respects in
                                                 satisfying good neighbor obligations with the             277 Compliance by the August 3, 2021, Marginal       Michigan v. EPA, 213 F.3d 663 (D.C. Cir. 2000), the
                                                 downwind states’ deadline for attaining the             area attainment date is also impossible as that date   court lifted the stay by an order issued June 22,
                                                 NAAQS. Id. at 318.                                      has passed.                                            2000.



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                                                 proposed 36-month time frame is viable                   flexibility will accommodate extreme or                necessary components. Commenters
                                                 at the plant level, it would be ‘‘very                   unique circumstances in which a                        suggested various timelines for control
                                                 unlikely’’ that the collective volume of                 desired SCR retrofit is not achieved by                installation timing ranging from one
                                                 SCR capacity could be installed in a                     the 2027 ozone season, although EPA                    additional year to seven years. Other
                                                 three-year time frame based on a variety                 finds such a circumstance exceedingly                  commenters asserted that the data
                                                 of factors. First, the commenters                        unlikely. Second, the historical                       supported the conclusion that all non-
                                                 identified constraints on labor needed to                examples that exceeded 48 months do                    EGU sources, or at least some non-EGU
                                                 retrofit 32 GW of capacity, highlighting                 not necessarily demonstrate that such                  sources, could install controls by 2026
                                                 that the Bureau of Labor and Statistics                  projects are impossible to execute in                  or earlier, and that EPA has a legal
                                                 projects that there will be a decline in                 less than 48 months, but rather that they              obligation to impose good neighbor
                                                 boilermaker employment over the                          can extend beyond that timeframe if no                 requirements as expeditiously as
                                                 decade and that the Associated Builders                  requirements or incentives are in place                practicable by such sources, including
                                                 and Contractors (ABC) identifies the                     for a faster installation. As the D.C.                 earlier than 2026 if possible.
                                                 need for 650,000 additional skilled craft                Circuit has recognized, historical data                   Response: After reviewing the
                                                 professionals on top of the normal                       on the amount of time sources have                     information received during the public
                                                 hiring pace to meet the economy-wide                     taken to install pollution controls do not             comment period and the additional
                                                 demand created by infrastructure                         in themselves establish the minimum                    information presented in the Non-EGU
                                                 investment and other clean energy                        amount of time in which those controls                 Control Installation Timing Report, the
                                                 projects (e.g., carbon capture and                       could be installed if sources are subject              EPA has concluded that the majority of
                                                 storage). They highlighted the decline in                to a legal mandate to do so. See                       non-EGUs can install and operate the
                                                 companies serving this type of large-                    Wisconsin, 938 F.3d at 330 (‘‘[A]ll those              required controls by the 2026 ozone
                                                 scale retrofit project as the lack of new                anecdotes show is that installation can                season. For the non-EGU control
                                                 coal units and the retirement of coal                    drag on when companies are                             requirements on which the EPA has
                                                 units has curtailed activity in this area                unconstrained by the ticking clock of                  based its Step 3 findings as described in
                                                 over the past five years. They also                      the law.’’).                                           section V of this document, the
                                                 identified supply bottlenecks for key                                                                           emissions limits will generally go into
                                                                                                          b. Non-EGU or Industrial Source                        effect starting with the 2026 ozone
                                                 SCR components that would slow the
                                                                                                          Schedule for 2026 and Later Years                      season (except where an individual
                                                 ability to implement a large volume of
                                                 SCR within 3 years, affecting electrical                    The EPA proposed to require that all                source qualifies for a limited extension
                                                 conduits, transformers, piping,                          emissions reductions associated with                   of time to comply based on a specific
                                                 structural and plate steel, and wire                     the requirements for non-EGU industrial                demonstration of necessity, as described
                                                 (with temporary price increases ranging                  sources go into effect by the start of the             in this section). The EPA finds that
                                                 from 30 percent to 200 percent). Finally,                2026 ozone season, but also requested                  meeting the emissions limitations of this
                                                 commenters note that site-specific                       comment on its control-installation                    final rule through installation of
                                                 conditions can make retrofits for                        timing estimates for non-EGUs and                      necessary controls by an ozone season
                                                 individual units a lengthier process than                requested comment on the possibility of                before 2026 is not expected to be
                                                 historical averages (e.g., under prior                   providing for limited compliance                       possible for the industrial sources
                                                 rules more accommodating sites                           extensions based on a showing of                       covered by this final rule.
                                                 retrofitted first) and that four years may               necessity. See 87 FR 20104–05.                            The EPA recognizes that labor
                                                 be necessary for some projects,                             Comment: The EPA received                           shortages, supply shortages, or other
                                                 accordingly. EPA found the technical                     numerous comments regarding the                        circumstances beyond the control of
                                                 justification submitted in comment                       inability of various non-EGU industries                source owner/operators may, in some
                                                 consistent with its prior assessments                    to install controls to comply with the                 cases, render compliance by 2026
                                                 that a range of 39–48 months is                          emissions limits by 2026. Specifically,                impossible for a particular industrial
                                                 appropriate for SCR-retrofit timing                      commenters raised concerns regarding                   source. Therefore, the final rule contains
                                                 within regional-scale programs.279                       the ability to meet these deadlines due                provisions allowing source owner/
                                                 Therefore, EPA is adjusting the                          to the ongoing geopolitical instability                operators to request limited compliance
                                                 timeframe to still incentivize these                     triggered by the war in Ukraine, COVID–                extensions based on a case-by-case
                                                 reductions by the attainment date while                  19 pandemic-driven disruptions, and                    demonstration of necessity. Under these
                                                 accommodating the potential for some                     supply chain delays and shortages.                     provisions, the owner or operator of a
                                                 SCR retrofits to require between 36–48                   Commenters also claimed that the EPA’s                 source may initially apply for an
                                                 months for installation.                                 three-year installation timeframe for                  extension of up to one year to comply
                                                    Some commenters requested more                        non-EGUs does not account for the time                 with the applicable emissions control
                                                 than 48 months for SCR installation                      needed to obtain necessary permits.                    requirements, which if approved by the
                                                 based on past projects that took five or                 Commenters stated that even where                      EPA, would require compliance no later
                                                 more years. EPA disagrees with these                     controls are feasible for a source, some               than the 2027 ozone season. The EPA
                                                 commenters for two reasons. First,                       sources would need to shut down due                    may grant an additional case-based
                                                 while EPA is identifying SCR retrofit                    to their inability to install controls by              extension of up to two additional years
                                                 potential to define significant                          2026 and requested that the EPA                        for full compliance, where specific
                                                 contribution at Step 3, the rule only                    provide additional time for sources to                 criteria are met.
                                                 requires emissions reductions                            come into compliance. Commenters                          The EPA initiated a study to examine
                                                                                                          from multiple non-EGU industries                       the time necessary to install the
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                                                 commensurate with that technology,
                                                 implemented through a trading                            stated that the proposed applicability                 potential controls identified in the final
                                                 program, meaning that operators of                       criteria will require controls to be                   rule’s cost analysis for all of the non-
                                                 EGUs eligible for SCR retrofit may                       installed on thousands of non-EGU                      EGU industries subject to the final rule,
                                                 pursue a variety of strategies for                       emissions units. Because of the number                 including SNCR, low NOX burners,
                                                 reducing emissions. Such compliance                      of emissions units, commenters raised                  layered combustion, NSCR, SCR, fluid
                                                                                                          concerns with permitting delays and the                gas recirculation, and SNCR/advanced
                                                   279 86   FR 23102.                                     unavailability of skilled labor and                    selective noncatalytic reduction


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                                                 (ASNCR). The resulting report, which                    into account, coupled with broader                     generally been lessening since they
                                                 we refer to as the ‘‘Non-EGU Control                    considerations of economic capacity                    peaked in 2020 during the COVID–19
                                                 Installation Timing Report,’’ identified a              including current information on                       pandemic, and many economic
                                                 range of estimated installation times                   supply-chain delays, that the potential                indicators have showed some
                                                 with minimum estimated installation                     need for additional time beyond 2026                   improvement towards pre-pandemic
                                                 times ranging from 6–27 months                          becomes a possibility. Under ideal                     levels, including freight transportation,
                                                 without any supply chain delays and 6–                  economic conditions (i.e., no supply-                  inventory to sales ratios, interstate miles
                                                 40 months with potential supply chain                   chain delays or other constraints),                    traveled, U.S. goods imports, and
                                                 delays depending on the industry.280                    affected units are estimated to be                     supply chain indices.283 If these
                                                 The Non-EGU Control Installation                        capable to install both combustion and                 economic indicators continue to
                                                 Timing Report also identified maximum                   post-combustion controls before the                    improve and the availability of
                                                 estimated installation times ranging                    2026 ozone season. Many commenters,                    fabricators and materials continues to
                                                 from 12–28 months without any supply                    however, provided information on                       trend upward, the control timing
                                                 chain delays and 12–72 months with                      installation timing estimates based on                 estimates identified in the Non-EGU
                                                 potential supply chain delays                           current supply chain delays and labor                  Control Installation Timing Report
                                                 depending on the industry. As indicated                 constraints. These commenters                          could prove to be overstated for some
                                                 in the Non-EGU Control Installation                     generally stated that installation of the              industries and control technologies. In
                                                 Timing Report, the installation of                      necessary controls for some units would                addition, the Non-EGU Control
                                                 layered combustion and NSCR control                     take longer than three years if supply                 Installation Timing Report did not
                                                 technology, in particular, could take                   chain delays similar to those that have                account for the labor and supply market
                                                 between 9 and 72 months depending on                    occurred over the past few years                       adjustments that would be anticipated
                                                 supply chain delays.281 The report also                 continue. The Non-EGU Control                          to occur to meet increased demand for
                                                 indicated that permitting processes may                 Installation Timing Report reflected this              control technologies and related
                                                 take 6 to 12 months but noted that these                information, together with additional                  materials and labor over the next several
                                                 processes typically can proceed                         information gathered from pollution                    years in response to the rule. Cf.
                                                 concurrent with other steps of the                      control vendors, to develop ranges of                  Wisconsin, 938 F.3d at 330 (‘‘[A]ll those
                                                 installation process.282                                estimates of possible installation times               anecdotes [of elongated control
                                                    We find that the potential time                      given current (i.e., 2022) labor market                installation times] show is that
                                                 needed for permitting processes is                      conditions and material supplies. The                  installation can drag on when
                                                 generally unlikely to significantly affect              Non-EGU Control Installation Timing                    companies are unconstrained by the
                                                 installation timeframes of at least three               Report also discussed how the                          ticking clock of the law.’’). For example,
                                                 years given that a source that has three                installation and optimization of post-                 some of the longer installation
                                                 or more years to comply is expected, in                 combustion controls over a similar                     timeframes identified in the Non-EGU
                                                 most cases, to have adequate time to                    timeframe at both EGUs and non-EGUs                    Control Installation Timing Report are
                                                 apply for and secure the necessary                      subject to this final rule would,                      based on assumed limits on the current
                                                 permits during that time. Permitting                    considered cumulatively, potentially                   availability of skilled labor needed to
                                                 processes may, however, impact shorter                  affect the installation timing needs of                install combustion controls and post
                                                 installation times ranging from 12–28                   the covered non-EGU sources.                           combustion controls. If the market
                                                 months. Given the 12–28 month                              Based on information provided by                    adjusts in response to increasing
                                                 estimate for minimum and maximum                        commenters and vendors, the Non-EGU                    demand for this type of skilled labor in
                                                 installation times without supply chain                 Control Installation Timing Report                     the timeframe needed for compliance
                                                 delays and permitting timeframes                        indicated that if current supply chain                 (e.g., there is an increase in boilermaker
                                                 typically ranging from 6–12 months, the                 delays continue, control installations                 and engine controls labor), the
                                                 EPA finds that the controls for non-EGU                 could take as long as 61 months for most               installation timing estimates in the Non-
                                                 sources needed to comply with this                      non-EGU industries and possibly as                     EGU Control Installation Timing Report
                                                 final rule are generally not expected to                long as 64–112 months in difficult                     again could be overstated.
                                                 be installed significantly before the 2026              cases. Notably, however, the                              The Non-EGU Control Installation
                                                 ozone season.                                           conclusions in the Non-EGU Control                     Timing Report also did not account for
                                                    Generally, the Non-EGU Control                       Installation Timing Report reflect three               flexibilities provided in this final rule
                                                 Installation Timing Report indicated                    key assumptions that could result in the               that will enable owners and operators of
                                                 that all non-EGU unit types subject to                  relatively lengthy timing estimates at                 certain affected units to identify the
                                                 the final rule could install controls                   the outer end of this range: (1) the                   most cost-effective and efficient means
                                                 within 28 months if there are no supply                 current state of supply chain delays and               for installing any necessary controls. For
                                                 chain delays. Thus, the Non-EGU                         disruptions would continue without any                 example, one concern highlighted by
                                                 Control Installation Timing Report                      increase in labor supply, materials, or                commenters was the amount of time
                                                 confirms that for any individual facility,              reduction in fabrication timing; (2) the               necessary to install controls on engines
                                                 meeting the emissions limitations of this               labor and materials markets would not                  that have been in operation for 50 or
                                                 final rule through installation of                      adjust in response to this rule in the                 more years. The requirements that we
                                                 controls can be completed by the start                  timeframe needed to meet the increased                 are finalizing for engines in the Pipeline
                                                 of the 2026 ozone season. It is only                    demand for control installations; and (3)              Transportation of Natural Gas industry
                                                 when the number of units in the U.S.                    the Report was unable to account for                   include an exemption for emergency
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                                                 potentially affected by the rule is taken               some of the flexibilities built into the               engines and provisions allowing source
                                                                                                         final rule that will allow owners and                  owner/operators to request the EPA
                                                   280 See generally SC&A, NO Emission Control
                                                                                X                        operators to install controls on the most              approval of facility-wide emissions
                                                 Technology Installation Timing for Non-EGU              cost-effective units with shorter                      averaging plans, both of which enable
                                                 Sources (March 14, 2023) (‘‘Non-EGU Control
                                                 Installation Timing Report’’).                          installation times.                                    owners and operators of affected units
                                                   281 See Non-EGU Control Installation Timing              As presented in the Non-EGU Control                 to take costs, installation timing needs,
                                                 Report, Executive Summary (March 14, 2023).             Installation Timing Report, supply
                                                   282 Id. at Section 5.6.                               chain delays and disruptions have                       283 Id.   at Section 6.1.



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                                                 and other considerations into account in                that an extension of time to comply is                 2027 only where a source owner/
                                                 deciding which engines to control.                      necessary, due to circumstances entirely               operator submits updated
                                                    In response to industry concern about                beyond the owner or operator’s control                 documentation showing that it is not
                                                 the number and size of units captured                   and despite all good faith efforts to                  possible to install and operate controls
                                                 by the proposed applicability criteria,                 install the necessary controls by May 1,               by the 2027 ozone season, despite all
                                                 the EPA has made several changes to the                 2026, the EPA may determine that                       good faith efforts to comply and due to
                                                 applicability criteria in the final rule to             installation by 2026 is not possible and               circumstances entirely beyond its
                                                 focus the control requirements on                       thereby grant an extension of up to one                control. The request must be received by
                                                 impactful non-EGU units. As explained                   year for that source to fully implement                the EPA at least 180 days before the
                                                 further in section VI.C of this document,               the required controls. If, after the EPA               extended compliance date and must
                                                 the EPA is establishing exemptions for                  has granted a request for an initial                   include, at minimum, the same types of
                                                 low-use boilers and engines where it                    compliance extension, the source                       information as that required for the
                                                 would not be cost-effective to require                  remains unable to comply by the                        initial extension request. The owner or
                                                 controls at this time. Finally, as                      extended compliance date due to                        operator of an affected unit remains
                                                 discussed in section VI.C.3 of this                     circumstances entirely beyond the                      subject to the initial extended
                                                 document, the EPA is not finalizing the                 owner or operator’s control and despite                compliance date unless and until the
                                                 proposed requirements for most                          all good faith efforts to install the                  Administrator grants a second
                                                 emissions unit types in the Iron and                    necessary controls by the extended                     compliance extension. A denial will be
                                                 Steel Mills and Ferroalloy                              compliance date, the owner or operator                 effective on the date of denial.
                                                 Manufacturing industry given the EPA                    may request and the EPA may grant a                       As discussed earlier in section VI.A,
                                                 does not currently have a sufficient                    second extension of up to two                          in Wisconsin the court held that some
                                                 technical basis for finalizing those                    additional years for full compliance,                  deviation from the CAA’s mandate to
                                                 proposed requirements. These changes                    where specific criteria are met. This                  eliminate prohibited transport by
                                                 reduce the number of non-EGU units                      application process is generally in                    downwind attainment deadlines may be
                                                 that will actually need to install controls             accordance with the concept on which                   allowed only ‘‘under particular
                                                 and should reduce the strain on the                     the Agency requested comment in the                    circumstances and upon a sufficient
                                                 labor and supply chain and permitting                   proposal, see 87 FR 20104–05, and is                   showing of necessity.’’ 284 This standard
                                                 processes. For example, for engines, the                modeled on a similar process provided                  is met when, in the EPA’s judgment,
                                                 EPA estimates that the facility-wide                    for industrial sources subject to CAA                  compliance by the attainment date
                                                 emissions averaging provision would, in                 section 112 NESHAPs, found at 40 CFR                   amounts to an impossibility. The EPA
                                                 many cases, allow facilities to install                 63.6(i)(3).                                            cannot allow a covered industrial source
                                                 controls on only one-third of their                        The EPA intends to grant a request for              to avoid timely compliance with the
                                                 engines, on average (see section VI.C.1                 an initial compliance extension only                   emissions control requirements
                                                 of this document for further discussion).               where a source demonstrates that it has                established in this final rule unless the
                                                    Taking all of these considerations into              taken all steps possible to install the                source owner/operator can demonstrate
                                                 account, the EPA finds that the outer                   necessary controls by the applicable                   that compliance by the 2026 ozone
                                                 range of timing estimates presented in                  compliance date and still cannot                       season is not possible due to
                                                 the Non-EGU Control Installation                        comply by the 2026 ozone season, due                   circumstances entirely beyond their
                                                 Timing Report generally reflects a                      to circumstances entirely beyond its
                                                                                                                                                                control. The criteria that must be met to
                                                 conservative set of installation timing                 control. Any request for a compliance
                                                                                                                                                                qualify for limited extensions of time to
                                                 estimates and that the factors described                extension must be received by the EPA
                                                                                                                                                                comply are designed to meet this
                                                 previously could result in installation                 at least 180 days before the May 1, 2026,
                                                 timeframes that fall toward the shorter                                                                        statutory mandate. The EPA anticipates
                                                                                                         compliance date. The request must
                                                 end of the ranges of time that factor in                                                                       that the majority of the industrial
                                                                                                         include all information obtained from
                                                 supply-chain delays or could obviate                                                                           sources covered by this final rule will
                                                                                                         control technology vendors
                                                 those supply-chain delay issues                                                                                not qualify for a compliance extension.
                                                                                                         demonstrating that the necessary
                                                 entirely.                                               controls cannot be installed by the                    B. Regulatory Requirements for EGUs
                                                    Based on all of these considerations,                applicable compliance date, any
                                                 the EPA has concluded that three years                                                                            To implement the required emissions
                                                                                                         permit(s) secured for the installation of
                                                 is generally an adequate amount of time                                                                        reductions from EGUs, the EPA is
                                                                                                         controls or information from the
                                                 for the non-EGU sources covered by this                                                                        revising the existing CSAPR NOX Ozone
                                                                                                         permitting authority on the timeline for
                                                 final rule to install the controls in the                                                                      Season Group 3 Trading Program (the
                                                                                                         issuance of such permit(s) if the source
                                                 20 states that remain linked in 2026.                                                                          ‘‘Group 3 trading program’’) established
                                                                                                         has not yet obtained the required
                                                 The EPA also recognizes, however, that                                                                         in the Revised CSAPR Update both to
                                                                                                         permit(s); and any contracts entered into
                                                 some sources may not be able to install                                                                        expand the program’s geographic scope
                                                                                                         by the source for the installation of the
                                                 controls by the 2026 ozone season                                                                              and to enhance the program’s ability to
                                                                                                         control technology or an explanation as
                                                 despite making good faith efforts to do                                                                        ensure favorable environmental
                                                                                                         to why no contract is necessary. The
                                                 so, due to the aforementioned supply                                                                           outcomes. The EPA is using a trading
                                                                                                         EPA may also consider documentation
                                                 chain delays or other circumstances                     of a source owner’s/operator’s plans to                program for EGUs because of the
                                                 entirely beyond the owner or operator’s                 shut down a source by the 2027 ozone                   inherently greater flexibility that a
                                                 control. Therefore, the final FIPs require              season in determining whether a source                 trading program can provide relative to
                                                 compliance with the emissions control                                                                          more prescriptive, ‘‘command-and-
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                                                                                                         is eligible for a compliance extension.
                                                 requirements for non-EGUs by the                        The owner or operator of an affected                   control’’ forms of regulation of sufficient
                                                 beginning of the 2026 ozone season,                     unit remains subject to the May 1, 2026                stringency to achieve the necessary
                                                 with limited exceptions based on a                      compliance date unless and until the                   emissions reductions. In the electric
                                                 showing of necessity for individual                     Administrator grants a compliance                        284 Wisconsin, 938 F.3d at 316 and 319–320
                                                 sources that meet specific criteria.                    extension.                                             (noting that any such deviation must be ‘‘rooted in
                                                 Where an individual owner or operator                      The EPA intends to grant a request for              Title I’s framework’’ and ‘‘provide a sufficient level
                                                 submits a satisfactory demonstration                    a second compliance extension beyond                   of protection to downwind States’’).



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                                                 power sector, EGUs’ extensive                           level of emission control identified at                As discussed in section VI.B.12.a of this
                                                 interconnectedness and coordination                     Step 3 at the sources active in the                    document, because the effective date of
                                                 create the ability to shift both electricity            trading program on a more consistent                   the rule will likely be sometime during
                                                 production and emissions among units,                   basis throughout each ozone season                     the 2023 ozone season, special
                                                 providing a closely related ability to                  than prior transport trading programs                  transitional provisions have been
                                                 achieve emissions reductions in part by                 (including those that did not provide                  developed to allow for efficient
                                                 shifting electricity production from                    complete remedies for interstate                       administration of the rule’s EGU
                                                 higher-emitting units to lower-emitting                 pollution transport) have required. An                 requirements through the Group 3
                                                 or non-emitting units. Thus, while the                  alternative form of implementation at                  trading program while not imposing any
                                                 Step 3 control-stringency determination                 Step 4 would be to implement source-                   new substantive obligations on parties
                                                 for EGUs to eliminate significant                       specific emissions limitations (e.g., rate-            prior to the rule’s effective date, similar
                                                 contribution is based on strategies that                based standards expressed as mass per                  to the transitional provisions
                                                 do not require generation shifting or                   unit of heat input) reflecting the control             implemented under the Revised CSAPR
                                                 reduced utilization of EGUs, the sector’s               strategies identified at Step 3. This is a             Update.
                                                 unusual flexibility with respect to how                 very common form of implementation                        As is the case for the states already in
                                                 emissions reductions can be achieved                    for many other CAA requirements and                    the Group 3 trading program, for each
                                                 makes the flexibility of a trading                      is indeed the manner of implementation                 state added to the program, the set of
                                                 program particularly useful as a means                  selected in this very rulemaking for                   affected EGUs will include new units as
                                                 of lowering the overall costs of                        other affected industrial sources. See                 well as existing units and will also
                                                 obtaining such reductions. In addition,                 sections III.B, V.D.4, and VI.C. But doing             include units located in Indian country
                                                 it is essential for the electric power                  so would require loss of the flexibilities             within the state’s borders. Sections
                                                 sector to retain short-term operational                 inherent in a trading program, inclusive               VI.B.2 and VI.B.3 of this rule provide
                                                 flexibility sufficient to allow electricity             of these enhancements, that facilitate                 additional discussion of the geographic
                                                 to be produced at all times in the                      orderly and timely achievement of the                  expansion of the Group 3 trading
                                                 quantities needed to meet demand                        required emission reductions in the                    program and the units in the expanded
                                                 simultaneously, and the flexibility of a                power sector.                                          geography that will become subject to
                                                 trading program can be helpful in                          Prior to this rule, the Group 3 trading             the program under the program’s
                                                 supporting this aspect of the industry as               program has applied to EGUs meeting                    existing applicability provisions.
                                                 well.                                                   the program’s applicability criteria                      In addition to expanding the Group 3
                                                    To ensure emissions reductions                       within the borders of twelve states:                   trading program’s geographic scope, the
                                                 necessary to eliminate significant                      Illinois, Indiana, Kentucky, Louisiana,                EPA is modifying the program’s
                                                 contribution are maintained, in this                    Maryland, Michigan, New Jersey, New                    regulations prospectively to include
                                                 rulemaking, the EPA is making certain                   York, Ohio, Pennsylvania, Virginia, and                certain enhancements to improve
                                                 enhancements to the current provisions                  West Virginia. Affected EGUs in these                  environmental outcomes. Two of the
                                                 of the Group 3 trading program                          twelve states will continue to                         proposed enhancements will adjust the
                                                 addressing emissions-control                            participate in the Group 3 trading                     overall quantities of allowances
                                                 performance by some kinds of                            program as revised in this rulemaking,                 available for compliance in the trading
                                                 individual units that will necessarily                  with some revised provisions taking                    program in each control period so as to
                                                 reduce the flexibility of the program to                effect in the 2023 control period and                  maintain the rule’s selected control
                                                 some extent for those units. In analyzing               other revised provisions taking effect                 stringency and related EGU effective
                                                 significant contribution at Step 3, once                later as discussed elsewhere in this                   emissions rate performance level as the
                                                 a linkage has been established between                  document. The EPA is expanding the                     EGU fleet evolves. First, instead of
                                                 an upwind state and a downwind                          Group 3 trading program’s geographic                   establishing emissions budgets for all
                                                 receptor, we identify an appropriate set                scope to include all of the additional                 future years under the program at the
                                                 of emissions control strategies,                        states for which EGU emissions                         time of the rulemaking, which cannot
                                                 considering cost and other factors, that                reduction requirements are being                       reflect future changes in the EGU fleet
                                                 would eliminate significant contribution                established in this rulemaking. Affected               unknown at the time of the rulemaking,
                                                 from the upwind state without leading                                                                          the EPA is revising the trading program
                                                                                                         EGUs within the borders of seven states
                                                 to undercontrol or overcontrol at the                                                                          regulations to include a dynamic
                                                                                                         currently covered by the CSAPR NOX
                                                 downwind linked receptors. At Step 4,                                                                          budgeting procedure. Under this
                                                                                                         Ozone Season Group 2 Trading Program
                                                 for EGUs, we develop emissions budgets                                                                         procedure, the EPA will calculate
                                                                                                         (the ‘‘Group 2 trading program’’)—
                                                 based on consistent application of the                                                                         emissions budgets for control periods in
                                                                                                         Alabama, Arkansas, Mississippi,
                                                 identified strategies to the sources. This                                                                     2026 and later years based on more
                                                                                                         Missouri, Oklahoma, Texas, and
                                                 level of emission control at each source                                                                       current information about the
                                                                                                         Wisconsin—will transition from the
                                                 identified in Step 3 is what the EPA                                                                           composition and utilization of the EGU
                                                                                                         Group 2 trading program to the revised
                                                 deems to eliminate significant                                                                                 fleet, specifically data available from the
                                                                                                         Group 3 trading program at the
                                                 contribution, while the design of                                                                              2024 ozone season and following (e.g.,
                                                                                                         beginning of the 2023 control period,285               for 2026, data from periods through
                                                 emission budgets that successfully
                                                                                                         and affected EGUs within the borders of                2024; for 2027, data from periods
                                                 implement that level of emission control
                                                                                                         the three states not currently covered by              through 2025; etc.). Through the 2029
                                                 is determined at Step 4. See section III.B
                                                                                                         any CSAPR trading program for seasonal                 control period, the dynamically
                                                 and V.
                                                                                                         NOX emissions—Minnesota, Nevada,
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                                                    The trading program enhancements                                                                            determined budgets will apply only if
                                                 discussed in this section are designed to               and Utah—will enter the Group 3                        they are higher than preset budgets
                                                 ensure that sources actually achieve that               trading program in the 2023 control                    established in the rule. (Associated
                                                 level of emission control and thereby                   period on the effective date of this rule.             revisions to the program’s variability
                                                 eliminate significant contribution on a                   285 Affected EGUs in the three other states
                                                                                                                                                                limits and unit-level allowance
                                                 permanent basis at Step 4. The                          currently covered by the Group 2 trading program—
                                                                                                                                                                allocation procedures will coordinate
                                                 enhancements ensure that the emissions                  Iowa, Kansas, and Tennessee—will continue to           these provisions with the revised
                                                 budgets for EGUs continue to secure the                 participate in that program.                           budget-setting procedures.) Second,


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                                                 starting with the 2024 control period,                  higher of 0.10 lb/mmBtu or 125 percent                 1. Trading Program Background and
                                                 the EPA will annually recalibrate the                   of the unit’s lowest previous seasonal                 Overview of Revisions
                                                 quantity of accumulated banked                          average emissions rate under any                       a. Current CSAPR Trading Program
                                                 allowances under the program to                         CSAPR seasonal NOX trading                             Design Elements and Identified
                                                 prevent the quantity of allowances                      program.286                                            Concerns
                                                 carried over from each control period to
                                                                                                            These two enhancements are designed                    The use of allowance trading
                                                 the next from exceeding the target bank
                                                                                                         to ensure that all individual units with               programs to achieve required emissions
                                                 level, which would be revised to
                                                 represent a preset percentage of the sum                SCR controls have strong incentives to                 reductions from the electric power
                                                 of the state emissions budgets for each                 continuously operate and optimize their                sector has a long history, rooted in the
                                                 control period. The preset percentage                   controls, and also to ensure that all                  Clean Air Act Amendments of 1990. In
                                                 will be 21 percent for control periods                  units with post-combustion controls                    Title IV of those amendments, Congress
                                                 through 2029 and 10.5 percent for                       have strong incentives to optimize their               specified the design elements for a 48-
                                                 control periods in 2030 and later years.                emissions performance when a state’s                   state allowance trading program to
                                                 Together, these enhancements will                       assurance level might otherwise be                     reduce SO2 emissions and the resulting
                                                 protect the intended stringency of the                  exceeded. These enhancements are                       acid precipitation. Building on the
                                                 trading program against potential                       generally designed to ensure                           success of that first allowance trading
                                                 erosion caused by EGU fleet turnover                    consistency with the EPA’s                             program as a tool for addressing multi-
                                                 and will better sustain over time the                   determination regarding the emissions                  state air pollution issues, since 1998
                                                                                                                                                                EPA has promulgated and implemented
                                                 incentives created by the trading                       control stringency needed from EGUs to
                                                                                                                                                                multiple allowance trading programs for
                                                 program to achieve the degree of                        eliminate significant contribution under
                                                                                                                                                                SO2 or NOX emissions to address the
                                                 emissions control for EGUs that the EPA                 the Step 3 multifactor analysis as                     requirements of the CAA’s good
                                                 has determined is necessary to address                  discussed in section V of this document.               neighbor provision with respect to
                                                 states’ good neighbor obligations.                      Further, these enhancements are                        successively more protective NAAQS
                                                    Two further enhancements to the                      designed to provide greater assurance                  for fine particulate matter and ozone.
                                                 Group 3 trading program establish                       that emissions controls will be operated               Most of these trading programs have
                                                 provisions designed to promote more                     on all days of the ozone season and                    applied either exclusively or primarily
                                                 consistent emissions control by                         therefore necessarily on the days that                 to EGUs.
                                                 individual EGUs within the context of                   turn out to be most critical for                          The EPA currently administers six
                                                 the trading program. First, starting with               downwind ozone levels. The EPA                         CSAPR trading programs for EGUs
                                                 the 2024 control period for coal-fired                  expects that promoting more                            (promulgated in CSAPR, the CSAPR
                                                 EGUs with existing SCR controls and                     consistently good emissions                            Update, and the Revised CSAPR
                                                 the earlier of the 2030 control period or               performance by individual EGUs will                    Update) that differ in the pollutants,
                                                 the control period after which an SCR                   better ensure that each state’s significant            geographic regions, and time periods
                                                 is installed for other large coal-fired                 contribution is fully eliminated by this               covered and in the levels of stringency,
                                                 EGUs, a daily NOX emissions rate of                                                                            but that otherwise have been nearly
                                                                                                         action, see North Carolina, 531 F.3d at
                                                 0.14 lb/mmBtu will apply as a backstop                                                                         identical in their core design elements
                                                                                                         919–21. In addition to addressing the
                                                 to the seasonal emissions budgets                                                                              and their regulatory text.287 The
                                                                                                         statutory requirements of eliminating
                                                 (which are based on an assumed                                                                                 principal common design elements
                                                 seasonal average emissions rate of 0.08                 significant contribution, the EPA
                                                                                                                                                                currently reflected in all of the programs
                                                 lb/mmBtu for EGUs with existing SCR                     anticipates that these enhancements                    are as follows:
                                                 controls). Each ton of emissions                        will also deliver public health and                       • An ‘‘emissions budget’’ is
                                                 exceeding a unit’s backstop daily                       environmental benefits to underserved                  established for each state for each
                                                 emissions rate, after the first 50 such                 and overburdened communities.                          control period, representing the EPA’s
                                                 tons, in a given control period will incur                 The revisions to the Group 3 trading                quantification of the emissions that
                                                 a 3-for-1 allowance surrender ratio                     program being finalized in this rule are               would remain under certain projected
                                                 instead of the usual 1-for-1 allowance                  very similar to the proposed revisions.                conditions after elimination of the
                                                 surrender ratio. Second, also starting                  The changes from proposal to the set of                emissions prohibited by the good
                                                 with the 2024 control period, the                       states covered are driven largely by                   neighbor provision under those
                                                 trading program’s existing assurance                    updates to the air quality modeling                    projected conditions. For each control
                                                 provisions, which require extra                         performed for the final rule, as                       period of program operation, a quantity
                                                 allowance surrenders from sources that                                                                         of newly issued ‘‘allowances’’ equal to
                                                                                                         described in section IV of this
                                                 are found responsible for contributing to                                                                      the amount of each state’s emissions
                                                                                                         document. The changes from proposal
                                                 an exceedance of the relevant state’s                                                                          budget is allocated among the state’s
                                                                                                         to the trading program enhancements                    sources. (States have options to replace
                                                 ‘‘assurance level’’ (i.e., typically 121
                                                                                                         are generally being made in response to                the EPA’s default allocations or to
                                                 percent of the state’s emissions budget),
                                                                                                         comments on the proposal, as discussed                 institute an auction process.) Total
                                                 will be strengthened by the addition of
                                                                                                         in more detail in the remainder of                     emissions in a given control period from
                                                 another backstop requirement.
                                                 Specifically, for any unit equipped with                section VI.B of this document.                         all sources in the program are effectively
                                                 post-combustion controls that is found
                                                                                                                                                                  287 The six current CSAPR trading programs are
                                                 responsible for contributing to an
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                                                                                                                                                                the CSAPR NOX Annual Trading Program, CSAPR
                                                 exceedance of the state’s assurance                                                                            NOX Ozone Season Group 1 Trading Program,
                                                 level, the revised regulations will                                                                            CSAPR SO2 Group 1 Trading Program, CSAPR SO2
                                                 prohibit the unit’s seasonal emissions                    286 The requirement would not apply for control
                                                                                                                                                                Group 2 Trading Program, CSAPR NOX Ozone
                                                 from exceeding by more than 50 tons                                                                            Season Group 2 Trading Program, and CSAPR NOX
                                                                                                         periods during which the unit operated for less than   Ozone Season Group 3 Trading Program. The
                                                 the emissions that would have resulted                  10 percent of the hours, and emissions rates           regulations for the six programs are set forth at
                                                 if the unit had achieved a seasonal                     achieved in such previous control periods would be     subparts AAAAA, BBBBB, CCCCC, DDDDD, EEEEE,
                                                 average emissions rate equal to the                     excluded from the comparison.                          and GGGGG, respectively, of 40 CFR part 97.



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                                                 capped at a level no higher than the                    rule have not limited banking of                       individual sources to idle or run less
                                                 total quantity of allowances available for              allowances within a given trading                      optimally existing emissions controls
                                                 use in the control period, consisting of                program, the 3-for-1 surrender ratio                   even when a linkage between the
                                                 the sum of all states’ emissions budgets                imposed by the assurance provisions on                 sources’ state and a receptor persists.
                                                 for the control period plus any unused                  any emissions exceeding a state’s                      For example, certain units in Ohio and
                                                 allowances carried over from previous                   assurance level disincentivizes sources                Pennsylvania have been found to have
                                                 control periods as ‘‘banked’’ allowances.               from relying on either in-state banked                 operated their controls below target
                                                    • ‘‘Assurance provisions’’ in each                   allowances or net out-of-state purchased               emissions performance levels used for
                                                 program establish an ‘‘assurance level’’                allowances to emit over the assurance                  budget setting under the CSAPR Update
                                                 for each state for each control period,                 level.288                                              in the 2019–2021 period, even though
                                                 defined as the sum of the state’s                          • Finally, other common design                      the Revised CSAPR Update found that
                                                 emissions budget plus a specified                       elements ensure program integrity,                     these states remained linked through at
                                                 ‘‘variability limit.’’ The purpose of the               source accountability, and                             least 2021 to receptors for the 2008
                                                 assurance provisions is to limit the total              administrative transparency. Most                      ozone NAAQS, and the CSAPR Update
                                                 emissions from each state’s sources in                  notably, each unit must monitor and                    itself was only a partial remedy. See 86
                                                 each control period to an amount close                  report emissions and operational data in               FR 23071, 23083. While this unit-level
                                                 to the state’s emissions budget for the                 accordance with the provisions of 40                   behavior may have been permissible
                                                 control period, consistent with the good                CFR part 75; all allowance allocations or              under the prior program, emissions from
                                                 neighbor provision’s mandate that                       auction results, transfers, and                        these individual sources can contribute
                                                 required emissions reductions must be                   deductions must be properly recorded                   to increased pollution concentrations
                                                 achieved within the state, while                        in the EPA’s Allowance Management                      downwind on the particular days that
                                                 allowing some flexibility beyond the                    System; each source must have a                        matter for downwind exceedances of the
                                                 emissions budget to accommodate year-                   designated representative who is                       relevant air quality standard. This
                                                 to-year operational variability. In the                 authorized to represent all of the                     indicates that the prior program design
                                                 event a state’s assurance level is                      source’s owners and operators and is                   was not effectively ensuring the
                                                 exceeded, responsibility for the                        responsible for certifying the accuracy                elimination of significant
                                                 exceedance is apportioned among the                     of the source’s reports to the EPA and                 contribution.289
                                                 state’s sources through a procedure that                overseeing the source’s Allowance                         The EPA has analyzed hourly
                                                 accounts for the sources’ shares of the                 Management System account; and                         emissions data reported in prior cap-
                                                 state’s total emissions for the control                 comprehensive data on emissions and                    and-trade programs and identified
                                                 period as well as the sources’ shares of                allowances are made publicly available.                instances of sources that did not operate
                                                 the state’s assurance level for the control                The EPA continues to believe that the               SCR controls for substantial portions of
                                                 period.                                                 historical CSAPR trading program                       recent ozone seasons. In an effort to
                                                    • At the program’s compliance                        structure established by the common                    ensure emissions control on critically
                                                 deadlines after each control period,                    design elements just described has                     important highest ozone days, guard
                                                 sources are required to hold for                        important positive attributes,                         against non-operation of emissions
                                                 surrender specified quantities of                       particularly with respect to the                       controls under a more protective
                                                 allowances. The minimum quantities of                   exceptional degree of compliance                       NAAQS, and provide assurance of
                                                 allowances that must be surrendered are                 flexibility it can provide to a sector such            elimination of significant contribution
                                                 based on the sources’ reported                          as the electric power sector where such                to downwind areas, while also
                                                 emissions for the control period at a 1-                flexibility is especially useful and                   maintaining appropriate compliance
                                                 for-1 ratio of allowances to tons of                    valuable. However, the EPA also shares                 and operational flexibility for EGUs, the
                                                 emissions (or 2-for-1 in instances of late              many stakeholders’ concerns about                      EPA in this rule is implementing a suite
                                                 compliance). In addition, two more                      whether the historical structure, without              of enhancements to the trading program.
                                                 allowances must be surrendered for                      enhancements, is capable of adequately                 These will help to ensure reductions
                                                 each ton of emissions exceeding a state’s               addressing states’ good neighbor                       occur on the highest ozone days
                                                 assurance level for a control period,                   obligations with respect to the 2015                   commensurate with our Step 3
                                                 yielding an overall 3-for-1 surrender                   ozone NAAQS in light of the rapidly                    determinations, in addition to
                                                 ratio for those emissions (or 4-for-1 in                evolving EGU fleet and the                             maintaining a mass-based seasonal
                                                 instances of late compliance). Failure to               protectiveness and short-term form of                  requirement. To meet the statutory
                                                 timely surrender all required allowances                the ozone standard. One set of concerns                mandate to eliminate significant
                                                 is potentially subject to penalties under               relates to the historically observed                   contribution and interference with
                                                 the CAA’s enforcement provisions.                       tendency under the trading programs for
                                                    • To continuously incentivize sources                the supply of allowances to grow over                    289 We also observe that these sources’ emissions

                                                 to reduce their emissions even when                     time while the demand for allowances                   have the potential to impact downwind
                                                 they already hold sufficient allowances                                                                        overburdened communities. See Ozone Transport
                                                                                                         falls, reducing allowance prices and                   Policy Analysis Final Rule TSD, Section E. The EPA
                                                 to cover their expected emissions for a                 eroding the consequent incentives for                  conducted a screening-level analysis to determine
                                                 control period, and to promote                          sources to effectively control their                   whether there may be impacts on overburdened
                                                 compliance cost minimization,                                                                                  communities resulting from those EGUs receiving
                                                                                                         emissions. A second, overlapping set of                backstop emissions rates under this rule. This
                                                 operational flexibility, and allowance                  concerns relates to the general absence                analysis identified a greater potential for these
                                                 market liquidity, the programs allow                    of source- or unit-specific emissions                  sources to affect areas of potential concern than the
                                                 trading of allowances—both among
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                                                                                                         reduction requirements, allowing some                  national coal-fired EGU fleet on average. However,
                                                 sources in the program and with non-                                                                           this analysis is distinct from the more
                                                                                                                                                                comprehensive exposure analysis conducted as
                                                 source entities—and also let allowances                    288 As discussed in section VI.B.6 of this
                                                                                                                                                                discussed in section VII of this document and the
                                                 that are unused in one control period be                document, while allowance banking has not              RIA. In addition, we note that our conclusions
                                                 carried over for use in future control                  previously been limited under any of the CSAPR         regarding the EGU trading program enhancements
                                                                                                         trading programs, limits on the use of banked          in this final rule are wholly supportable and
                                                 periods as banked allowances. Although                  allowances were included in the earlier NOX            justified under the good neighbor provision, even
                                                 the CSAPR programs do not limit                         Budget Trading Program in the form of ‘‘flow           in the absence of any potential benefits to
                                                 trading of allowances, and prior to this                control’’ provisions.                                  overburdened communities.



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                                                 maintenance on the critically important                 certain rates of emissions per unit of                 budgets in the CSAPR Update
                                                 days, this combination of provisions                    heat input (i.e., the amount of fuel                   established in 2016 reflected
                                                 will strongly incentivize sources to plan               consumed) and the effects of the                       implementation of the emissions control
                                                 to run controls all season, including on                resulting emissions reductions on                      strategy of operating and optimizing
                                                 the highest ozone days, while giving                    downwind air quality. After                            existing SCR controls, within four years
                                                 reasonable flexibility for occasional                   determining the emissions control                      the EPA found that EGU retirements and
                                                 operational needs.290                                   strategies and associated emissions                    changes in utilization not anticipated in
                                                   In this rulemaking, the EPA is                        reductions that should be required                     EPA’s previous budget-setting
                                                 revising the Group 3 trading program to                 under the good neighbor provision by                   computations had made it economically
                                                 include enhancements designed to                        considering these factors in a                         attractive for at least some sources to
                                                 address both sets of concerns described                 multifactor test at Step 3, the EPA has                idle or reduce the effectiveness of their
                                                 previously. The principles guiding the                  then for purposes of Step 4                            existing controls (relying on purchased
                                                 various revisions and the relationships                 implementation program design                          allowances instead).291 While the EPA
                                                 of the revisions to one another are                     projected the amounts of emissions that                has provided analysis indicating that,
                                                 discussed in sections VI.B.1.b and                      would remain after the assumed                         on average, sources operate their
                                                 VI.B.1.c of this document. The                          implementation of the selected                         controls more effectively on high
                                                 individual revisions are discussed in                   emissions control strategies at various                electric demand days, it has also
                                                 more detail in sections VI.B.4 through                  points in the future and has established               identified cases where units fail to
                                                 VI.B.9 of this document.                                the projected remaining amounts of                     optimize their controls on these days.
                                                                                                         emissions as the state emissions budgets               Downwind states have suggested this
                                                 b. Enhancements To Maintain Selected
                                                                                                         in trading programs.                                   type of reduced pollution control
                                                 Control Stringency Over Time                               Projecting the amounts of emissions                 performance has occurred on the day
                                                    The first set of concerns noted about                remaining after implementation of                      and preceding day of an ozone
                                                 the current CSAPR trading program                       selected emissions controls necessarily                exceedance.292 293 While the EPA had
                                                 structure relates to the programs’ ability              requires projections not only for                      previously provided analysis focusing
                                                 to maintain the rule’s selected control                 sources’ future emissions rates but also               on the year of initial program
                                                 stringency and related EGU effective                    for other factors that influence total                 implementation, when allowance prices
                                                 emissions performance level as the EGU                  emissions, notably the composition of                  were high (i.e., 2017 for the CSAPR
                                                 fleet evolves over time. Under the                      the future EGU fleet (i.e., the capacity               Update), to demonstrate that on average,
                                                 historical structure of the CSAPR                       amounts of different types of sources                  sources operate their controls more
                                                 trading programs, the effectiveness of                  with different emissions rates) and their              effectively on high electric demand
                                                 the programs at maintaining the rule’s                  future utilization levels (i.e., their heat            days, even in that case it had identified
                                                 selected control stringency depends                     input). To the extent conditions unfold                situations where particular units failed
                                                 entirely on how allowance prices over                   in practice that differ from the                       to optimize their controls on these days.
                                                 time compare to the costs of sources’                   projections made at the time of a                      In later years, when allowance prices
                                                 various emissions reduction                             rulemaking for these other factors, over               had fallen, more sources, including
                                                 opportunities, which in turn depends                    time the emissions budgets may not                     some identified by commenters, had
                                                 on the relationship between the supply                  reflect the intended stringency of the                 idled or reduced the effectiveness of
                                                 for allowances and the demand for                       emissions control strategies identified in             their controls. Such an outcome
                                                 allowances. In considering possible                     the rulemaking as consistent with                      undermined the ongoing achievement of
                                                 ways to address concerns about the                      addressing states’ good neighbor                       emissions rate performance consistent
                                                 ability to enhance the historical trading               obligations. Further, projecting EGU                   with the control strategies identified in
                                                 program structure to better sustain                     fleet composition and utilization                      the CSAPR Update to eliminate
                                                 incentives to control emissions over                    beyond the relatively near-term analytic               significant contribution to
                                                 time, the EPA has focused on the                        years of 2023 and 2026 given particular                nonattainment and interference with
                                                 trading program design elements that                    attention in this rulemaking has become                maintenance, despite the fact that the
                                                 determine the supply of allowances,                     increasingly challenging in light of the               mass-based budgets were being met.
                                                 specifically the approach for setting                   anticipated continued evolution of the                    In the Revised CSAPR Update, the
                                                 state emissions budgets and the rules                   electric power sector toward more                      EPA took steps to better address the
                                                 concerning the carryover of unused                      efficient and cleaner sources of                       rapid evolution of the EGU fleet,
                                                 allowances for use in future control                    generation, including as driven by                     specifically by setting updated
                                                 periods as banked allowances.                           incentives provided by the                             emissions budgets for individual future
                                                                                                         Infrastructure Investment and Jobs Act
                                                 i. Revised Emissions Budget-Setting                     as well as the Inflation Reduction Act.                   291 The price of allowances in CSAPR Update
                                                 Process                                                    A consequence of using a trading                    states started at levels near $800 per ton in 2017 but
                                                    In each of the previous rulemakings                  program approach with preset emissions                 declined to less than $100 per ton by 2019 and were
                                                                                                         budgets that do not keep pace with the                 less than $70 per ton in July 2020 (data from S&P
                                                 establishing CSAPR trading programs,                                                                           Global Market Intelligence).
                                                 the EPA has evaluated the emissions                     trends in EGU fleet composition and                       292 86 FR 23117.

                                                 that could be eliminated through                        heat input is that the preset emissions                   293 See EPA–HQ–OAR–2020–0272–0094 (‘‘[This]

                                                 implementation of certain types of                      budgets maintain the supply of                         is demonstrated through examination of Maryland’s
                                                 emissions control strategies available at               allowances at levels that increasingly                 ozone design value days for June 26th–28th, 2019.
                                                                                                                                                                On those days, Maryland recorded 8-hour ozone
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                                                 various cost thresholds to achieve                      exceed the emissions that would occur
                                                                                                                                                                levels of 75, 85 and 83 ppb at the Edgewood
                                                                                                         even without implementation of the                     monitor. Maryland Department of the Environment
                                                   290 Deferral of the backstop daily emissions rate     emissions control strategies used as the               evaluated the daily NOX emission rate for units in
                                                 for certain EGUs, for reasons discussed in section      basis for determining the emissions                    Pennsylvania that were found to influence the
                                                 VI.B.7 of this document, does not alter this finding    budgets, causing decreases in allowance                design values on the 3 exceedance days (and 1 day
                                                 that this trading program enhancement is an                                                                    prior to the exceedance) against the past-best ozone
                                                 important part of the solution to eliminating
                                                                                                         prices and hence the incentives to                     season 30-day rolling average optimized NOX rate
                                                 significant contribution from EGUs under CAA            implement the control strategies. As an                (which tends to be higher than the absolute lowest
                                                 section 110(a)(2)(D)(i)(I).                             example, although the emissions                        seasonal average rate).’’).



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                                                 years though 2024 that reflect future                   Policy Analysis Final Rule TSD. To                        generation shifting associated with
                                                 EGU fleet changes known with                            summarize here, the methodology used                      implementation of the selected control
                                                 reasonable certainty at the time of the                 to determine the preset budgets largely                   strategies, because any such shifting
                                                 rulemaking. Some commenters in that                     follows the Revised CSAPR Update’s                        should already be reflected in the
                                                 rulemaking requested that the EPA also                  emissions budget-setting methodology,                     reported heat input data used to update
                                                 update the year-by-year emissions                       which included three primary steps: (1)                   the baseline.
                                                 budgets to reflect future fleet changes                 establishment of a baseline inventory of                     The EPA believes that the revisions to
                                                 that might become known after the time                  EGUs adjusted for known retirements                       the emissions budget-setting process
                                                 of the rulemaking, but the EPA declined                 and new units, with heat input and                        will substantially improve the ability of
                                                 to do so, in part because no                            emissions rate data for each EGU in the                   the emissions budgets to keep pace with
                                                 methodology for making future                           inventory based on recent historical                      changes in the composition and
                                                 emissions budget adjustments in                         data; (2) adjustment of the baseline data                 utilization of the EGU fleet. The
                                                 response to post-rulemaking data had                    to reflect assumed emissions rate                         dynamic budget-setting methodology
                                                 been included in the proposal for the                   changes resulting from known new                          will account for the electric power
                                                 rulemaking.                                             controls, known gas conversions, and                      sector’s overall trends toward more
                                                    Based on information available as of                 implementation of the emissions control                   efficient and cleaner resources, both of
                                                 December 2022, it appears that the                      strategies used to determine states’ good                 which tend to decrease total heat input
                                                 emissions budgets set for the first two                 neighbor obligations; and (3) application                 at affected EGUs, and through 2029 the
                                                 control periods covered by the Revised                  of an increment or decrement to reflect                   preset budgets established in the rule
                                                 CSAPR Update generally succeeded at                     the effect on emissions from projected                    will also account for these factors to the
                                                 creating incentives to operate emissions                generation shifting among the units in a                  extent known. The dynamic budget-
                                                 controls under the Group 3 trading                      state at the emissions reduction cost                     setting methodology will also account
                                                 program for those control periods.                      associated with the selected emissions                    for other factors that could lead to
                                                 However, the EPA recognizes that the                    control strategies. In this rulemaking,                   increased heat input in some states,
                                                 lack of emissions budget adjustments                    the EPA has determined the preset state                   such as generation shifting from other
                                                 after 2024 in conjunction with industry                 emissions budgets for the control                         states or increases in electricity demand
                                                 trends toward more efficient and cleaner                periods from 2023 through 2029 by                         caused by rising electrification. The
                                                 resources will likely lead to a surplus of              using the Revised CSAPR Update’s                          dynamic budget-setting procedure is
                                                 allowances after the adjustments end.                   budget-setting methodology, except that                   specified in this final rule’s trading
                                                 This prospect for the existing Group 3                  the step of that methodology intended to                  program regulations and the
                                                 trading program should be avoided by                    reflect the effects of generation shifting                computations, which are
                                                 the changes being made in this                          has been eliminated.                                      straightforward, can be performed in a
                                                 rulemaking. In this rulemaking, besides                    The dynamic budget-setting                             spreadsheet to deliver reliable results.
                                                 establishing new preset emissions                       methodology used to determine                             The EPA will provide public notice of
                                                 budgets for the 2023 through 2029                       dynamic state emissions budgets in the                    the preliminary calculations and the
                                                 control periods, the EPA is also                        year before each control period starting                  data used by March 1 of the year
                                                 extending the Group 3 trading program                   with the 2026 control period is set forth                 preceding the control period and will
                                                 budget-setting methodology used in the                  in the revised Group 3 trading program                    provide an opportunity for submission
                                                 Revised CSAPR Update to routinely                       regulations at 40 CFR 97.1010(a). This                    of any objections to the data and
                                                 calculate dynamic emissions budgets for                 methodology modifies the Revised                          preliminary calculations before
                                                 each future control period from 2026 on,                CSAPR Update’s budget-setting                             finalizing the dynamic budgets for each
                                                 to be published in the year before that                 methodology in two ways. First, the                       control period by May 1 of the year
                                                 control period, with each dynamic                       baseline EGU inventory and heat input                     before the control period to which those
                                                 emissions budget generally reflecting                   data, but not the emissions rate data,                    dynamic budgets apply. Thus, for
                                                 the latest available information on the                 will be updated for each control period                   example, sources and other stakeholders
                                                 composition and utilization of the EGU                  using the most recent available reported                  will have certainty by May 1, 2025, of
                                                 fleet at the time that dynamic emissions                data in combination with reported data                    the dynamic emissions budgets that will
                                                 budget is determined. For the control                   from the four immediately preceding                       be calculated for the 2026 control period
                                                 periods in 2026 through 2029, each                      years. For example, in early 2025, using                  that starts May 1, 2026. Moreover, as of
                                                 state’s final emissions budget will be the              the final data reported for 2020 through                  the issuance of this final rule,
                                                 preset budget determined for the state in               2024, the EPA will update the baseline                    stakeholders will know the state-level
                                                 this rulemaking except in instances                     inventory and heat input data used to                     preset emissions budgets for the 2026–
                                                 when the dynamic budget determined                      determine dynamic state emissions                         2029 control periods, which serve as
                                                 for the state (and published                            budgets for the 2026 control period.294                   floors that will only be supplanted by
                                                 approximately one year before the                       Second, the EPA will not apply an                         dynamic budgets calculated for those
                                                 control period using the dynamic                        increment or decrement to any state                       control periods if such a dynamic
                                                 budget-setting methodology) is higher.                  emissions budget for projected                            budget yields a higher amount of tons
                                                 For control periods in 2030 and                                                                                   than the corresponding preset budget
                                                 thereafter, the emissions budgets will be                  294 As discussed in section VI.B.4 of this             established in this action.
                                                 the amounts determined for each state                   document, the state-level data used to determine             It bears emphasis that the annually
                                                 in the year before the control period                   the overall state-level heat input for computing a        updated information used in the
                                                                                                         state’s dynamic budget will be a three-year average
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                                                 using the dynamic budget-setting                                                                                  dynamic budget-setting computations
                                                                                                         (e.g., 2022–2024 state-level data will be used in
                                                 methodology.                                            2025 to set the 2026 dynamic budgets). The unit-
                                                                                                                                                                   will concern only the composition and
                                                    The current budget-setting                           level data used to determine individual units’            utilization of the EGU fleet and not the
                                                 methodology established in the Revised                  shares of the state-level heat input in the               emissions rate data also used in those
                                                 CSAPR Update and the revisions being                    computations will be the average of the three             computations. The dynamically
                                                                                                         highest non-zero heat input amounts for the
                                                 made to that methodology are discussed                  respective units over the most recent five years (e.g.,
                                                                                                                                                                   determined emissions budget
                                                 in detail in section VI.B.4 of this                     2020–2024 unit-level data will be used in 2025 to         computations for all years will reflect
                                                 document and the Ozone Transport                        set the 2026 dynamic budgets).                            only the specific emissions control


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                                                 strategies used to determine states’ good               program to maintain the rule’s selected                strategies defined as eliminating
                                                 neighbor obligations as determined in                   control stringency as the EGU fleet                    significant contribution to
                                                 this rulemaking, along with fixed                       evolves over time, is the set of rules                 nonattainment and interference with
                                                 historical emissions rates for units that               concerning the carryover of unused                     maintenance.
                                                 are not assumed to implement                            allowances for use in future control                      As discussed in detail in section
                                                 additional control strategies, thereby                  periods as banked allowances. As noted                 VI.B.6 of this rule, the EPA is revising
                                                 ensuring that the annual updates will                   previously, trading and banking of                     the Group 3 trading program by adding
                                                 eliminate emissions as determined to be                 allowances in the CSAPR trading                        provisions that establish a routine
                                                 required under the good neighbor                        programs can serve a variety of                        recalibration process for banked
                                                 provision. The stringency of the                        purposes: continuously incentivizing                   allowances that will be carried out in
                                                 emissions budgets will simply reflect                   sources to reduce their emissions even                 August 2024 and each subsequent
                                                 the stringency of the emissions control                 when they already hold sufficient                      August, after the compliance deadline
                                                 strategies determined in the Step 3                     allowances to cover their expected                     for the control period in the previous
                                                 multifactor analysis and will do so more                emissions for a control period,                        year. In each recalibration, the EPA will
                                                 consistently over time than the EPA’s                   facilitating compliance cost                           reset the total quantity of banked
                                                 previous approach of computing                          minimization, accommodating                            allowances for the Group 3 trading
                                                 emissions budgets for all future control                necessary operational flexibility, and                 program (‘‘Group 3 allowances’’) held in
                                                 periods at the time of the rulemaking.                  promoting allowance market liquidity.                  all Allowance Management System
                                                    The rule’s revisions relating to state               All of these purposes are advanced by                  accounts to a level computed as a target
                                                 emissions budgets and the budget-                       rules that allow sources to trade                      percentage of the sum of the state
                                                 setting process generally follow the                    allowances freely (both with other                     emissions budgets for the current
                                                 proposal except for two changes we are                  sources and with non-source entities                   control period. The target percentage
                                                 making in response to comments,                         such as brokers). All of these purposes                will be 21 percent for the 2024–2029
                                                 specifically: we will use historical data               are also advanced by rules that allow                  control periods and 10.5 percent for
                                                 from multiple years rather than a single                unused allowances to be carried over for               control periods in 2030 and later years.
                                                 year in the dynamic budget-setting                      possible use in future control periods,                The recalibration procedure entails
                                                 process, and we are establishing preset                 thereby preserving a value for the                     identifying the ratio of the target bank
                                                 emissions budgets for the 2026–2029                     unused allowances. However, while the                  amount to the total quantity of banked
                                                 control periods such that the dynamic                   EPA considers it generally advantageous                allowances held in all accounts before
                                                 budgets for those control periods will                  to place as few restrictions on the                    the recalibration and then, if the ratio is
                                                 only be imposed where they exceed the                   trading of allowances as possible,295                  less than 1.0, multiplying the quantity
                                                 corresponding preset budgets finalized                  unrestricted banking of allowances has                 of banked allowances held in each
                                                 in this rule. The rationale for these                   a potentially significant disadvantage                 account by the ratio to identify the
                                                 changes is discussed later in this section              offsetting its advantages, namely that it              appropriate recalibrated amount for the
                                                 as part of the responses to the relevant                allows what might otherwise be                         account (rounded to the nearest
                                                 comments. Details of the final budget-                  temporary surpluses of allowances in                   allowance), and deducting any
                                                 setting methodology and responses to                    some individual control periods to                     allowances in the account exceeding the
                                                 additional comments are discussed                       accumulate into a long-term allowance                  recalibrated amount.
                                                 further in section VI.B.4 of this                       surplus that reduces allowance prices                     As noted previously, recalibration of
                                                 document.                                               and weakens the trading program’s                      the bank for each control period will be
                                                    The final rule’s provisions relating to              incentives to control emissions. With                  carried out in August of that control
                                                 the determination of state-level                        weakened incentives, some operators                    period. This timing will accommodate
                                                 variability limits and assurance levels                 would be more likely to choose not to                  the process of deducting allowances for
                                                 and unit-level allowance allocations are                continuously operate and optimize their                compliance for the previous control
                                                 coordinated with the budget-setting                     emissions controls, imperiling the                     period, which cannot be completed
                                                 methodology. These provisions                           ongoing achievement of emissions rate                  before sources’ June 1 compliance
                                                 generally follow the proposal except                    performance consistent with the control                deadline for the previous control period,
                                                 that the change to the methodology for                                                                         and will then provide approximately
                                                 determining variability limits is                          295 The advantages of trading programs discussed    two additional months for sources to
                                                 implemented starting with the 2023                      earlier in this section—providing continuous           engage in any desired allowance
                                                                                                         emissions reduction incentives, facilitating           transactions before recalibration occurs.
                                                 control period instead of the 2025                      compliance cost minimization, and supporting
                                                 control period and the final                            operational flexibility—depend on the existence of     However, data that can be used to
                                                 methodology for determining unit-level                  a marketplace for purchasing and selling               estimate the bank recalibration ratio for
                                                 allocations of allowances to coal-fired                 allowances. Broader marketplaces generally provide     each control period will be available
                                                                                                         greater market liquidity and therefore make trading    shortly after the end of the previous
                                                 units considers the controlled emissions                programs better at providing these advantages. The
                                                 rate assumptions applicable to the same                 EPA recognizes that unrestricted use of net            control period, and the EPA will use
                                                 units in the budget-setting process.                    purchased allowances—meaning quantities of             these data to make information on the
                                                 Details of these provisions, including                  purchased allowances that exceed the quantities of     estimated bank recalibration ratio for
                                                                                                         allowances sold—by a source or group of sources
                                                 the rationales for the changes from                     as an alternative to making emissions reductions
                                                                                                                                                                each control period publicly available
                                                 proposal, are discussed in sections                     can interfere with the achievement of the desired      no later than March 1 of the year of that
                                                 VI.B.5 and VI.B.9, respectively.                        environmental outcome. Therefore, section VI.B.1.c     control period, thereby facilitating the
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                                                                                                         of this document discusses the enhancements to the     ability of affected EGUs to anticipate
                                                 ii. Allowance Bank Recalibration                        Group 3 trading program that the EPA is making in
                                                                                                                                                                their ultimate holdings of recalibrated
                                                                                                         this rulemaking to reduce reliance on net purchased
                                                    Besides the levels of the emissions                  allowances by incentivizing or requiring better        banked allowances to inform their
                                                 budgets, the second design element of                   environmental performance at individual EGUs.          compliance planning for that control
                                                 the trading program structure that                      However, the concern arises from the use of an         season. Affected EGUs will also have
                                                                                                         excessive quantity of net purchased allowances for
                                                 affects the supply of allowances in each                a particular purpose, not from the existence of a
                                                                                                                                                                several months following the completed
                                                 control period, and that consequently                   marketplace where allowances may be freely             bank recalibration in August to transact
                                                 also affects the ability of a trading                   bought and sold.                                       allowances with other parties as needed


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                                                 before the allowance transfer deadline                  concentrations downwind on the                         each day of the control period, any
                                                 of June 1 of the following year.                        particular days that matter for                        excess of the unit’s reported emissions
                                                    The EPA believes this revision to the                downwind exceedances of the relevant                   (in pounds) over the emissions that
                                                 Group 3 trading program’s banking                       air quality standard.                                  would have resulted from combusting
                                                 provisions establishing an annual bank                     This EPA intends that the trading                   that day’s actual heat input at an
                                                 recalibration process will complement                   program enhancements described in                      average daily emissions rate of 0.14 lb/
                                                 the revisions to the budget-setting                     section VI.B.1.b of this rule will                     mmBtu, summing the daily amounts,
                                                 process by preventing any surplus of                    improve the Group 3 trading program’s                  converting from pounds to tons,
                                                 allowances created in one control                       ability to sustain emissions control                   computing the amount of any excess
                                                 period from diminishing the intended                    incentives over time such that needed                  over 50 tons, and multiplying by two.
                                                 stringency and resulting emissions                      emissions performance will be achieved                 Starting with the second control period
                                                 reductions of the emissions budgets for                 by all participating units without the                 in which newly installed SCR controls
                                                 subsequent control periods.                             need for additional requirements to be                 are operational, but not later than the
                                                    The calibration procedure will not                   imposed at the level of individual units.              2030 control period, the 3-for-1
                                                 erase the value of unused allowances for                However, because obtaining needed                      surrender ratio will apply in the same
                                                 the holder, because the larger the                      emissions performance at individual                    way to all large coal-fired EGUs except
                                                 quantity of banked allowances that is                   units is also important to the                         circulating fluidized bed units,
                                                 held in a given account before each                     elimination of significant contribution                consistent with EPA’s determination
                                                 recalibration, the larger the quantity of               in keeping with the EPA’s Step 3                       that a control stringency reflecting
                                                 banked allowances that will be left in                  determinations, the EPA is                             installation and operation of SCR
                                                 the account after the recalibration for                 supplementing the previously discussed                 controls on all such large coal-fired
                                                 possible sale or use in meeting future                  enhancements with two other new sets                   EGUs is appropriate to address states’
                                                 compliance requirements. Because the                    of provisions that will apply to certain               good neighbor obligations with respect
                                                 banked allowances will always have                      individual units within the larger                     to the 2015 ozone NAAQS.
                                                 value, the opportunity to bank                          context of the Group 3 trading program.                   In prior rules addressing interstate
                                                 allowances will continue to advance the                 The allowance price will continue to be                transport of air pollution, stakeholders
                                                 purposes served by otherwise                            the most important driver of good                      have noted that while seasonal cap-and-
                                                 unrestricted banking as described                       environmental performance for most                     trade programs are effective at lowering
                                                 previously. Opportunities to bank                       units, but the proposed unit-level                     ozone and ozone-forming precursors
                                                 unused allowances can serve all these                   requirements will be important                         across the ozone season, attainment of
                                                 same purposes whether a banked                          supplemental drivers of performance                    the standard is measured on key days
                                                 allowance is of partial value (if the bank              and will offer additional assurance that               and therefore it is necessary to ensure
                                                 needs recalibrating to its target level) or             significant contribution is eliminated on              that the rule requires emissions
                                                 is of full value compared to a newly                    a daily basis during the ozone season by               reductions not just seasonally, but also
                                                 issued allowance for the next control                   more continuous operation of existing                  on those key days.296 They have noted
                                                 period.                                                 pollution controls.                                    that while the trading programs
                                                    The final rule’s provisions relating to                                                                     established under the NOX SIP Call,
                                                 bank recalibration generally follow the                 i. Unit-Specific Backstop Daily
                                                                                                         Emissions Rates                                        CAIR, and CSAPR have all been
                                                 proposal except that, in response to                                                                           successful in ensuring seasonal
                                                 comments, the target percentage used to                    The first of the trading program                    reductions, states must remain below
                                                 determine the recalibrated bank levels                  enhancements intended to improve                       daily peak levels, not just seasonal
                                                 for the 2024–2029 control periods is                    emissions performance at the level of                  levels, to reach attainment. These
                                                 being set at 21 percent instead of 10.5                 individual units is the addition of                    downwind stakeholder communities
                                                 percent. The rationale for this change is               backstop daily NOX emissions rate                      have suggested that operating pollution
                                                 discussed later in this section as part of              provisions that will apply to large coal-              controls on the highest ozone days (and
                                                 the responses to the relevant comments.                 fired EGUs, defined for this purpose as                immediately preceding days) during the
                                                 Details of the bank recalibration                       units serving electricity generators with              ozone season is of critical importance.
                                                 provisions are discussed further in                     nameplate capacities equal to or greater               The EPA has analyzed hourly emissions
                                                 section VI.B.6 of this rule.                            than 100 MW and combusting any coal                    data reported in prior cap-and-trade
                                                                                                         during the control period in question.                 programs and has identified instances of
                                                 c. Enhancements To Improve Emissions                    Starting with the 2024 control period, a
                                                 Performance at Individual Units                                                                                sources that did not operate SCR
                                                                                                         3-for-1 allowance surrender ratio                      controls for substantial portions of
                                                    The second set of concerns about the                 (instead of the usual 1-for-1 surrender                recent ozone seasons. These instances
                                                 structure of the current CSAPR trading                  ratio) will apply to emissions during the              are discussed in section V.B.1.a of this
                                                 programs relates to the general absence                 ozone season from any large coal-fired                 document and in the EGU NOX
                                                 of source- or unit-specific emissions                   EGU with existing SCR controls                         Mitigation Strategies Final Rule TSD in
                                                 reduction requirements. Without such                    exceeding by more than 50 tons a daily                 the docket. While the EPA has in prior
                                                 requirements, the programs affect                       average NOX emissions rate of 0.14 lb/                 ozone transport actions not found
                                                 individual sources’ emissions                           mmBtu. The additional allowance                        sufficient evidence of emissions control
                                                 performance only to the extent that the                 surrender requirement will be integrated               idling or non-optimization to take the
                                                 incentives created by allowance prices                  into the trading program as a new                      step of building in enhancements to the
                                                 are high enough relative to the costs of
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                                                                                                         component in the calculation of each                   trading program to ensure unit-level
                                                 the sources’ various emissions control                  unit’s primary emissions limitation,                   control operation, our review of
                                                 opportunities. In circumstances where                   such that the additional allowances will               subsequent-year data for prior programs
                                                 the incentives to control emissions are                 have to be surrendered by the same                     suggests that the non-optimization
                                                 insufficient, some individual sources                   compliance deadline of June 1 after each
                                                 even idle existing emissions controls.                  control period. The amount of                            296 E.g., comments of Maryland Department of the
                                                 Emissions from these individual sources                 additional allowances to be surrendered                Environment on the proposed Revised CSAPR
                                                 can contribute to increased pollution                   will be determined by computing, for                   Update at 3, EPA–HQ–OAR–2020–0272–0094.



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                                                 behavior increases in the latter years of                  We considered whether, as some                         higher NOX allowance prices.
                                                 a program. Applied to this context (e.g.,               commenters suggested, it would be                         Downwind stakeholders have noted that
                                                 a rule providing a full remedy to                       appropriate to simply implement unit-                     some of the higher emissions rates
                                                 interstate transport for the more                       specific daily emissions limitation at all                (specifically in the case of Conemaugh
                                                 protective 2015 ozone NAAQS and an                      of the large, coal-fired EGUs, and forego                 Unit 2 in 2019) have occurred on the
                                                 extended period of expected persistence                 an emissions trading approach                             day of and the preceding day of an
                                                 of receptors), this data suggests this                  altogether. While this is within the                      ozone exceedance in bordering states.299
                                                 deterioration in performance could                      EPA’s statutory authority, see CAA                           The EPA believes that the design of
                                                 become prevalent and problematic in                     section 110(a)(2)(A) and 302(y), and                      the daily emissions rate provisions will
                                                 future years if not addressed. Rather                   merits careful consideration, we are                      be effective in addressing these types of
                                                 than allow for the potential of continued               declining to do so in this action but                     high-emitting behavior by significantly
                                                 deterioration in the environmental                      intend to closely monitor EGU                             raising the cost of planned operator
                                                 performance of our trading programs,                    emissions performance in response to                      decisions that substantially compromise
                                                 the EPA finds the evidence of declining                 the trading program finalized here. The                   environmental performance. At the
                                                 SCR performance in later years of                       purpose of establishing a backstop daily                  same time, the provision will not
                                                 trading programs sufficient to justify                  NOX emissions rate and implementing it                    unduly penalize an occasional
                                                 prophylactic measures in this rule to                   through additional allowance surrender                    unplanned exceedance, because the
                                                 ensure the emissions control strategy                   requirements instead of as an                             amount of additional allowances that
                                                 selected at Step 3 is indeed                            enforceable emissions limitation is to                    would have to be surrendered to address
                                                 implemented at Step 4. Thus,                            incentivize improved emissions                            a single day’s exceedance would be
                                                 particularly in the context of the more                 performance at the individual unit level                  much smaller than the amount that
                                                 protective 2015 ozone NAAQS                             while continuing to preserve, to the                      would have to be surrendered to address
                                                 combined with the full remedy nature of                 extent possible, the advantages that the                  planned poor performance sustained
                                                 this action and the extended timeframe                  flexibility of a trading program brings to                over longer time periods. Moreover, the
                                                 for which upwind contribution to                        the electric power sector. As discussed                   EPA believes that the inclusion of a 50-
                                                 downwind nonattainment is projected                     in section VI.B.7 of this document,                       ton threshold before the increased
                                                 to persist, the EPA agrees with these                   under the EPA’s historical trading                        surrender requirements would apply is
                                                 stakeholders that the set of measures                   programs without the enhancements                         sufficient to address virtually all
                                                 promulgated in this rulemaking to                       made in this rulemaking, some                             instances where a unit’s emissions
                                                 implement the control stringency levels                 individual coal-fired units with SCR                      would exceed the 0.14 lb/mmBtu daily
                                                 found necessary to address states’ good                 controls have chosen to operate the                       rate because of unavoidable startup or
                                                 neighbor obligations should include                     controls at lower removal efficiencies                    shutdown conditions during which SCR
                                                 measures designed to more effectively                   than in past ozone seasons or even to                     equipment cannot be operated, thereby
                                                 ensure that individual units operate                    idle the controls for entire ozone                        ensuring that the provision will not
                                                 their emissions controls routinely                      seasons. In addition, some SCR-                           penalize units for emissions that are
                                                 throughout the ozone season, thereby                    equipped units have chosen to routinely                   beyond their reasonable control.
                                                 also ensuring that the controls are                                                                                  The EPA is applying the daily
                                                                                                         cycle their emissions controls off at
                                                 planned to be in operation on the                                                                                 emissions rate provisions to large coal-
                                                                                                         lower load levels, such as while
                                                 particular days that turn out to be most                                                                          fired EGUs, and not to other types of
                                                                                                         operating overnight, instead of operating
                                                 critical for ozone formation and for                                                                              units, for reasons that are consistent
                                                                                                         the controls, upgrading the units to
                                                 attainment of the NAAQS. Routine                                                                                  with EPA’s determinations regarding the
                                                                                                         enable the controls to be operated under
                                                 operation of emissions controls will also                                                                         appropriate control stringency for EGUs
                                                                                                         those conditions, or not operating the                    to address states’ good neighbor
                                                 provide relief to overburdened                          units under those conditions.
                                                 communities downwind of any units                                                                                 obligations with respect to the 2015
                                                                                                         Collectively, this non-optimization of                    ozone NAAQS. Installation and
                                                 that might otherwise have chosen not to                 existing controls has a detrimental
                                                 operate their controls. In the Ozone                                                                              operation of SCR controls is well-
                                                                                                         impact on problematic receptors. Table                    established as a common practice for the
                                                 Transport Policy Analysis Final Rule                    V.D.1–1 shows the expected air quality
                                                 TSD, the EPA conducted a screening                                                                                best control of NOX emissions from
                                                                                                         benefit from control optimization                         coal-fired EGUs, as evidenced by the
                                                 analysis that found nearly all of the                   (totaling nearly 1.6 ppb change across
                                                 EGUs included in this analysis are                                                                                fact that the technology is already
                                                                                                         all receptors).298                                        installed on more than 60 percent of the
                                                 located within a 24-hour transport                         The EPA has identified sources of
                                                 distance of many areas with potential EJ                                                                          sector’s total coal-fired capacity and
                                                                                                         interstate ozone pollution such as the                    installed on nearly 100 percent of the
                                                 concerns. Thus, the EPA is adopting                     New Madrid and Conemaugh plants (in
                                                 backstop daily rate limits at the                                                                                 coal fired boilers in the top quartile of
                                                                                                         Missouri and Pennsylvania,                                emissions rate performance. In the
                                                 individual unit level because it is                     respectively) whose SCR controls were
                                                 appropriate and justified in the context                                                                          context of addressing good neighbor
                                                                                                         not operating for substantial portions of                 obligations with respect to the 2015
                                                 of eliminating significant contribution                 recent ozone seasons. The data included
                                                 under CAA section 110(a)(2)(D)(i)(I).                                                                             ozone NAAQS, the EPA is determining
                                                                                                         in Appendix G of the Ozone Transport                      that a control stringency reflecting
                                                 While the former justification is                       Policy Analysis Final Rule TSD,
                                                 sufficient to finalize this enhancement                                                                           universal installation and operation of
                                                                                                         available in the docket for this                          SCR technology at large coal-fired EGUs
                                                 to the trading program, we also                         rulemaking, demonstrate that these
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                                                 anticipate that this measure will deliver                                                                         (other than circulating fluidized bed
                                                                                                         units have operated their SCRs better                     units) is appropriate at Step 3. Finally,
                                                 public health and environmental                         and more consistently during years with
                                                 benefits to overburdened communities                                                                              where SCR controls are installed on
                                                 (as well as the rest of the population).297                                                                       such units, optimized operation of those
                                                                                                         persist even under this final rule. See section VII
                                                                                                         of this document.
                                                                                                                                                                   controls is an extremely cost-effective
                                                   297 Nonetheless, the environmental justice               298 As illustrated in the table and underlying data,   method of achieving NOX emissions
                                                 exposure analysis indicates that preexisting            a small portion of this ppb impact is attributable to
                                                 disparities among demographic groups are likely to      combustion control upgrade potential.                      299 EPA–HQ–OAR–2020–0272–0094.




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                                                 reductions. The EPA believes these                      will be held to increased allowance-                   controls. This lag is permissible
                                                 considerations support establishment of                 surrender consequences for exceeding                   consistent with the obligation to
                                                 the daily emissions rate provisions on a                the daily rate. Second, it provides the                eliminate significant contribution for
                                                 universal basis for large coal-fired EGUs,              subset of units that exhaust to common                 reasons that are further discussed in
                                                 with near-term application of the                       stacks with other units that currently                 response to comments in section
                                                 provisions for units that already have                  lack SCR controls an opportunity to                    VI.B.1.d of this document. However, for
                                                 the controls installed and deferred                     exercise the option to install and certify             any units that choose a compliance
                                                 application for other units, as discussed               any additional monitoring systems                      strategy of installing new SCR controls
                                                 later.                                                  needed to monitor the individual units’                before 2030, the daily average emissions
                                                    With regard to gas-fired steam EGUs,                 NOX emissions rates separately;                        rate provisions would apply in the
                                                 SCR controls are nowhere near as                        otherwise, the daily emissions rate                    second control period of operation.
                                                 prevalent, and while the EPA is                         provisions will apply to the SCR-                      Specification of the second control
                                                 including some SCR controls at gas-fired                equipped units based on the combined                   period rather than the first control
                                                 steam units in the selected control                     NOX emissions rates measured in the                    period provides the unit operators with
                                                 stringency at Step 3, the EPA is not                    common stacks. Third, it provides all                  an opportunity to gain operational
                                                 including universal SCR controls at gas-                units sufficient time to update the data               experience with the new equipment
                                                 fired steam units. Because the EPA is                   handling software in their existing                    before the units will be held to
                                                 not determining that universal                          monitoring systems as needed to                        increased allowance-surrender
                                                 installation and operation of SCR                       compute and report the additional                      consequences for exceeding the daily
                                                 controls at gas-fired steam EGUs is part                hourly and daily data values needed for                rate.
                                                 of the selected control stringency, in                  implementation of the provisions.300                      The unit-specific daily emissions rate
                                                 order not to constrain the power sector’s                  With respect to the units without                   provisions are being finalized as
                                                 flexibility to choose which particular                  existing SCR controls, the daily average               proposed except for two changes noted
                                                 gas-fired steam EGUs are the preferred                  emissions rate provisions will apply                   in the previous summary: the exclusion
                                                 candidates for achieving the required                   starting with the second control period                from extra allowance surrender
                                                 emissions reductions, the EPA is not                    in which newly installed SCR controls                  requirements of a unit’s first 50 tons of
                                                 applying the daily emissions rate                       are operational at the unit, but not later             emissions in a control period exceeding
                                                 provisions to large gas-fired steam                     than the 2030 control period. This                     the backstop daily rate, and the revision
                                                 EGUs. Focusing the backstop daily                       implementation timing represents a                     of the starting date for implementation
                                                 emissions rates on coal-fired units is                  change from the proposal, under which                  of the requirement for units without
                                                 also consistent with stakeholder input                  the daily average emissions rate                       existing SCR controls to 2030 or the
                                                 which has emphasized the need for                       provisions would have applied to units                 second control period of SCR operation,
                                                 short-term rate limits at coal units given              without existing SCR starting in the                   if earlier. The rationale for these
                                                 their relatively higher emissions rates.                2027 control period. Commenters noted                  changes is further discussed in the
                                                    The EPA developed the level of the                   that for many units without SCR,                       responses to comments later in this
                                                 daily average NOX emissions rate—0.14                   replacement of the unit within a few                   section. Additional details of the unit-
                                                 lb/mmBtu—through analysis of                            years, and shifting of some generation to              specific daily emissions rate provisions
                                                 historical data, as described in section                cleaner units in the interim, would be                 are discussed in section VI.B.7 of this
                                                 VI.B.7 of this document. A rate of 0.14                 a more economic compliance strategy                    document.
                                                 lb/mmBtu represents the daily average                   than installation of new SCR controls.
                                                 NOX emissions rate that has been                                                                               ii. Unit-Specific Emissions Limitations
                                                                                                         The commenters further noted that
                                                 demonstrated to be achievable on                                                                               Contingent on Assurance Level
                                                                                                         implementation of the daily average
                                                 approximately 95 percent of days                                                                               Exceedances
                                                                                                         emissions rate for these units starting in
                                                 covering more than 99 percent of total                  2027 would strongly disadvantage such                     The second of the trading program
                                                 ozone-season NOX emissions by coal-                     an alternative strategy if the capacity                enhancements intended to improve
                                                 fired units with SCR controls that are                  replacement and any associated                         emissions performance at the level of
                                                 achieving a seasonal NOX average                        transmission improvements could not                    individual units is the addition of unit-
                                                 emissions rate of 0.08 lb/mmBtu (or                     be implemented by 2027. In light of                    specific secondary emissions limitations
                                                 less), which is the seasonal NOX                        these comments, the EPA has                            for units with post-combustion controls
                                                 emissions rate that the EPA has                         determined that as long as the emissions               starting with the 2024 control period.
                                                 determined is indicative of optimized                   budgets determined in this rule to                     The secondary emissions limitations
                                                 SCR performance by units with existing                  eliminate significant contribution are                 will be determined on a unit-specific
                                                 SCR controls.                                           still being implemented as                             basis according to each unit’s individual
                                                    As noted previously, the daily average               expeditiously as practicable—which in                  performance but will apply to a given
                                                 emissions rate provisions will apply                    this instance the EPA has determined                   unit only under the circumstance where
                                                 beginning in the 2024 control period for                requires phasing in the required                       a state’s assurance level for a control
                                                 large coal-fired units with installed SCR               emissions reductions by 2027—it is                     period has been exceeded, the unit is
                                                 controls, one control period later than                 reasonable to defer implementation of                  included in a group of units to which
                                                 optimization of those controls will be                  the daily average emissions rate                       responsibility for the exceedance has
                                                 reflected in the state emissions budgets                provisions to 2030 for units without                   been apportioned under the program’s
                                                 under this rule. For these units, not                   SCR to allow temporarily greater                       assurance provisions, and the unit
                                                                                                                                                                operated during at least 10 percent of
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                                                 applying the daily average rate                         flexibility to pursue compliance
                                                 provisions until 2024 serves three                      strategies other than installation of new              the hours in the control period. Where
                                                 purposes. First, it provides all the units                                                                     these conditions for application of a
                                                 with a preparatory interval to focus                      300 For further discussion of emissions monitoring   secondary emissions limitation to a
                                                 attention on improving not only the                     and reporting requirements under the rule,             given unit for a given control period are
                                                                                                         including the options available to plants where
                                                 average performance of their SCR                        SCR-equipped and non-SCR-equipped coal-fired
                                                                                                                                                                met, the unit’s secondary emissions
                                                 controls but also the day-to-day                        units exhaust to common stacks, see section VI.B.10    limitation consists of a prohibition on
                                                 consistency of performance before they                  of this document.                                      NOX emissions during the control


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                                                 period that exceed by more than 50 tons                 individual owner’s or operator’s control,              this rule through expansion and
                                                 the NOX emissions that would have                       not to allow owners and operators to                   enhancement of the Group 3 trading
                                                 resulted if the unit had achieved an                    plan to emit at emissions rates that                   program originally established in the
                                                 average emissions rate for the control                  could be anticipated to cause a state’s                Revised CSAPR Update, particularly
                                                 period equal to the higher of 0.10 lb/                  total emissions to exceed the state’s                  comments on electric system reliability.
                                                 mmBtu or 125 percent of the unit’s                      emissions budget or assurance level.                   Responses to comments about
                                                 lowest average emissions rate for any                   Conduct leading to a foreseeable, readily              individual aspects of the enhanced
                                                 previous control period under any                       avoidable exceedance of a state’s                      trading program are addressed in the
                                                 CSAPR seasonal NOX trading program                      assurance level cannot be reconciled                   respective subsections of this section in
                                                 during which the unit operated for at                   with the statutory mandate of the CAA’s                which those aspects are discussed.
                                                 least 10 percent of the hours.                          good neighbor provision that emissions                 Responses to comments concerning
                                                    The secondary emissions limitation is                ‘‘within the state’’ significantly                     alleged overcontrol and the EPA’s legal
                                                 in addition to, not in lieu of, the                     contributing to nonattainment or                       authority are in sections V.D. and III.
                                                 primary emissions limitation applicable                 interfering with maintenance of a                      Comments not addressed in this
                                                 to each source, which continues to take                 NAAQS in another state must be                         document are addressed in the separate
                                                 the form of a requirement to surrender                  prohibited. Because the current CSAPR                  RTC document available in the docket
                                                 a quantity of allowances based on the                   regulations do not expressly prohibit                  for this action.
                                                 source’s emissions, and also in addition                such conduct and have proven                              Comment: Some commenters,
                                                 to the existing assurance provisions,                   insufficient to deter it in some                       including EGU owners, states, and
                                                 which similarly continue to take the                    circumstances, the EPA is correcting the               several RTOs, expressed concern that
                                                 form of a requirement for the owners                    regulatory deficiency in the Group 3                   the requirements for EGUs as
                                                 and operators of some sources to                        trading program by adding secondary                    formulated in the proposal could lead to
                                                 surrender additional allowances when a                  emissions limitations that cannot be                   a degradation in the reliability of the
                                                 state’s assurance level is exceeded. In                 complied with through the use of                       electric system. As background, some of
                                                 contrast to these other requirements, the               allowances.                                            these commenters noted that the power
                                                 unit-specific secondary emissions                          The EPA notes that although the                     sector is currently undergoing rapid
                                                 limitation takes the form of a                          purpose of the secondary emissions                     change, with older and less economic
                                                 prohibition on emissions over a                         limitations is to strengthen the                       fossil-fuel-fired steam generating units
                                                 specified level, such that any emissions                assurance provisions, which apply on a                 retiring while the majority of the new
                                                 by a unit exceeding its secondary                       statewide, seasonal basis, the unit-                   capacity being added consists of wind
                                                 emissions limitation would be subject to                specific structure of the new limitations              and solar capacity. They noted that
                                                 potential administrative or judicial                    will strengthen the incentives for                     fossil-fuel-fired generating capacity
                                                 action and subject to penalties and other               individual units with post-combustion                  provides reliability benefits not
                                                 forms of relief under the CAA’s                         controls to maintain their emissions                   necessarily provided by other types of
                                                 enforcement authorities. The reason for                 performance at levels consistent with                  generating capacity, including not only
                                                 establishing this form of limitation is                 their previously demonstrated                          the ability to generate electricity in the
                                                 that experience under the existing                      capabilities. The new limitations will                 absence of wind or sunlight, but also
                                                 CSAPR trading programs has shown                        strengthen the incentives to operate and               inertia, ramping capability, voltage
                                                 that, in some circumstances, the existing               optimize the controls continuously,                    support, and frequency response.
                                                 assurance provisions have been                          which can be expected to reduce some                   Commenters stated that past EGU
                                                 insufficient to prevent exceedances of a                individual units’ emissions rates                      retirements and the pace of change in
                                                 state’s assurance level for a control                   throughout the ozone season, including                 the generating capacity mix have
                                                 period even when the likelihood of an                   on the days that turn out to be most                   already been stressing the electric
                                                 exceedance has been foreseeable and the                 critical for downwind ozone levels.                    system in some regions, and that the
                                                 exceedance could have been readily                      Better emissions performance on                        forecasted risk of events where the
                                                 avoided if certain units had operated                   average across the ozone season by                     electric system would be unable to fully
                                                 with emissions rates closer to the lower                individual units likely will also help                 meet load is rising.
                                                 emissions rates achieved in past control                address impacts of pollution on                           For purposes of their comments, these
                                                 periods. The assurance levels exist to                  overburdened communities downwind                      commenters generally assumed that the
                                                 ensure that emissions from each state                   from some such units. See Ozone                        rule would lead to additional
                                                 that contribute significantly to                        Transport Policy Analysis Final Rule                   retirements of fossil-fuel-fired
                                                 nonattainment or interfere with                         TSD, Section E.                                        generating capacity beyond the
                                                 maintenance of a NAAQS in another                          The unit-specific secondary emissions               retirements that EGU owners have
                                                 state are prohibited. North Carolina v.                 limitations are being finalized as                     already planned and announced. Some
                                                 EPA, 531 F.3d 896, 906–08 (D.C. Cir.                    proposed except that the limitations                   of the commenters also suggested that
                                                 2008). The EPA’s programs to eliminate                  will apply only to units with post-                    remaining fossil-fuel-fired generators
                                                 significant contribution must therefore                 combustion controls. The rationale for                 would be unwilling to operate when
                                                 achieve this prohibition, and the                       this change, and additional details                    needed because allowances might be
                                                 evidence of foreseeable and avoidable                   regarding the provisions, are discussed                unavailable for purchase or too costly.
                                                 exceedances of the assurance levels                     in section VI.B.8 of this document.                    In the context of an already-stressed
                                                 demonstrates that EPA’s existing                                                                               electric system, the commenters
                                                                                                         d. Responses to General Comments on
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                                                 approach has not been sufficient to                                                                            predicted that these assumed
                                                 accomplish this.                                        the Revisions to the Group 3 Trading                   consequences of the rule would threaten
                                                    The purpose of including assurance                   Program                                                resource adequacy and result in
                                                 levels higher than the state emissions                    This section summarizes and provides                 degraded electric reliability. To support
                                                 budgets in the CSAPR trading programs                   the EPA’s responses to overarching                     their assumptions concerning additional
                                                 is to provide flexibility to accommodate                comments received on the EPA’s                         retirements, some of the commenters
                                                 operational variability attributable to                 proposal to implement the emissions                    pointed to projections of incremental
                                                 factors that are largely outside of an                  reductions required from EGUs under                    generating capacity retirements


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                                                 included in the results of modeling                     entities with responsibilities relating to             reliable electric service. Assumptions of
                                                 performed by the EPA to analyze the                     electric system reliability and to                     this nature are simply not reasonable.
                                                 costs and benefits of the proposed rule.                perform additional analysis. Some                      Like many commenters, the EPA does
                                                 Some commenters indicated that they                     commenters advocated for renewed                       expect that retirement will be viewed as
                                                 expected EGU owners to be interested in                 consultations and analysis before each                 a more economic compliance strategy
                                                 retiring and replacing uncontrolled                     planned adjustment to emissions                        for some EGUs than installing new
                                                 units as of the date of implementation                  budgets under the dynamic budget-                      controls, but the Agency also expects
                                                 of the backstop daily rate requirement                  setting process. Commenters cited the                  that any resulting unit retirements will
                                                 on uncontrolled units, and expressed                    consultation processes followed during                 be carried out through an orderly
                                                 concern that the proposal to implement                  implementation of other EPA rules,                     process in which RTOs, balancing
                                                 that requirement as of the 2027 control                 such as the Mercury and Air Toxics                     authorities, and state regulators use
                                                 period did not allow sufficient time for                Standards (MATS) (77 FR 9304, Feb. 16,                 their powers to ensure that electric
                                                 planning and implementation of all the                  2012).                                                 system reliability is protected. The
                                                 necessary generation and transmission                      Response: The EPA disagrees with the                trading program inherently provides
                                                 investments to make this a viable                       comments asserting that this rule would                ample flexibility to allow such an
                                                 compliance strategy; for these                          threaten resource adequacy or otherwise                orderly transition to take place. In
                                                 commenters, 2027 and the immediately                    degrade electric system reliability. The               addition, as discussed later in this
                                                 following years were the period of                      emissions reduction requirements for                   section, the EPA has adopted several
                                                 greatest concern. Some commenters                       EGUs under this rule are being                         changes in the final rule to increase
                                                 appear simply to have assumed that                      implemented through the mechanism of                   flexibility specifically for the early years
                                                 owners of units not already equipped                    an allowance trading program. Under                    of the trading program for which
                                                 with SCR controls would choose to                       the trading program, no EGU is required                commenters have indicated the greatest
                                                 retire the units as of the ozone season                 to cease operation. The core trading                   concerns about electric system
                                                 in which the units would otherwise                      program requirements for a participating               reliability.
                                                 become subject to the backstop daily                    EGU are to monitor and report the unit’s                  As an initial matter, the EPA notes
                                                 emissions rate provisions, regardless of                NOX emissions for each ozone season                    two fundamental aspects of this
                                                 whether replacement investments had
                                                                                                         period and to surrender a quantity of                  rulemaking which together provide a
                                                 been completed.
                                                                                                         allowances after the end of the ozone                  strong foundation for the Agency’s
                                                    Some of the commenters raising
                                                 concerns about electric system                          season based on the reported emissions.                conclusion that the emissions
                                                 reliability suggested potential                         To address states’ obligations under the               reductions required from EGUs can be
                                                 modifications to the proposed rule that                 good neighbor provision, some units of                 achieved with no adverse impacts on
                                                 the commenters believed could help                      course will have to take some type of                  electric system reliability. First, there is
                                                 address their concerns. The suggestions                 action to reduce emissions, the actions                ample evidence indicating that the
                                                 included various mechanisms for                         taken to reduce emissions will generally               required emissions reductions are
                                                 suspending some or all of the trading                   have costs, and some EGU owners will                   feasible. As discussed in section V of
                                                 program’s requirements for certain                      conclude that, all else being equal,                   this document, the magnitude and
                                                 EGUs at times when an RTO or other                      retiring a particular EGU and replacing                timing of the EGU emissions reductions
                                                 entity responsible for overseeing a                     it with cleaner generating capacity is                 required by this action reflect
                                                 region of the interconnected electrical                 likely to be a more economic option                    application of technologies that are
                                                 grid determines that generation from                    from the perspective of the unit’s                     already in widespread use, on schedules
                                                 those EGUs is needed and the EGUs                       customers and/or owners than making                    that are supported by industry
                                                 might not otherwise agree to operate.                   substantial investments in new                         experience. Second, the required
                                                 Other suggestions focused on ways of                    emissions controls at the unit. However,               emissions reductions are being
                                                 providing EGUs with greater confidence                  the EPA also understands that before                   implemented through the mechanism of
                                                 that allowances would be available to                   implementing such a retirement                         a trading program. The enhanced
                                                 cover their incremental emissions                       decision, the unit’s owner will follow                 trading program under this rule, like the
                                                 during particular events. A number of                   the processes put in place by the                      trading programs established by the EPA
                                                 commenters used the term ‘‘reliability                  relevant RTO, balancing authority, or                  under prior rules, provides EGU owners
                                                 safety valve,’’ in some cases with                      state regulator to protect electric system             with opportunities to substitute
                                                 reference to the types of suggestions just              reliability. These processes typically                 emissions reductions from sources
                                                 mentioned and in other cases without                    include analysis of the potential impacts              where achieving reductions is cheaper
                                                 details. Some commenters pointed to                     of the proposed EGU retirement on                      and easier for emissions reductions from
                                                 the ‘‘safety valve’’ provision included in              electrical system reliability,                         other sources where achieving
                                                 the Group 2 trading program regulations                 identification of options for mitigating               reductions is more costly or difficult. In
                                                 under the Revised CSAPR Update.                         any identified adverse impacts, and, in                general, an EGU owner has options to
                                                 Another commenter pointed to                            some cases, temporary provision of                     operate the emissions controls
                                                 provisions for a ‘‘reliability safety                   additional revenues to support the                     identified by the EPA for that type of
                                                 valve’’ included in the Clean Power                     EGU’s continued operation until longer-                unit (including installation or upgrade
                                                 Plan (80 FR 64662, Oct. 23, 2015).                      term mitigation measures can be put in                 of controls where necessary), operate
                                                    In addition to offering critiques and                place. No commenter stated that this                   other types of emissions controls, or
                                                                                                         rule would somehow authorize any EGU                   adapt the unit’s levels of operation to
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                                                 recommendations concerning the
                                                 proposed rule’s contents, some                          owner to unilaterally retire a unit                    produce less generation if the unit is a
                                                 commenters claimed that the EPA had                     without following these processes, yet                 higher-emitting EGU or more generation
                                                 failed to conduct sufficient analysis of                some comments nevertheless assume                      if the unit is a lower-emitting EGU. The
                                                 the potential implications of the                       that is how multiple EGU owners would                  backstop daily emissions rate provisions
                                                 proposed rule on electrical system                      proceed, in violation of their obligations             in this rule reduce the degree of
                                                 reliability. These commenters called on                 to RTOs, balancing authorities, or state               available flexibility relative to the
                                                 the EPA to consult with RTOs and other                  regulators relating to the provision of                degree of flexibility in the Agency’s


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                                                 previous trading programs under CAIR                    would have had adverse reliability                     through approximately the 2029 control
                                                 and CSAPR but by no means eliminate                     impacts were proved to be groundless.                  period.
                                                 it. Moreover, even the backstop rate                       Notwithstanding the long experience                    The RTOs also described a concern
                                                 provisions are structured as                                                                                   about potentially illiquid allowance
                                                                                                         confirming the ability of the EPA’s
                                                 requirements to surrender additional                                                                           markets. They believed it was possible
                                                                                                         trading programs to obtain emissions
                                                 allowances rather than as hard limits,                                                                         that some EGUs might claim an inability
                                                                                                         reductions from EGUs without
                                                 providing a further element of flexibility                                                                     to operate at particular times when
                                                                                                         impairing the sector’s ability to provide              needed unless they had confidence that
                                                 No EGU is required to retire or is                      reliable electric service, the Agency of
                                                 prohibited from operating at any time                                                                          they would be able obtain additional
                                                                                                         course does not rely here solely on its                allowances. The RTOs were particularly
                                                 under this rule. EGUs only need to
                                                                                                         experience, but has carefully reviewed                 concerned that introduction of dynamic
                                                 surrender of the appropriate quantities
                                                                                                         the comments on this topic for any                     budgeting as proposed would create
                                                 of allowances after the end of the
                                                                                                         information that might indicate the                    uncertainty for some EGUs regarding the
                                                 control period.301
                                                                                                         appropriateness of modifications to the                quantities of allowances they would
                                                    Further, in the large number of
                                                 comments submitted in this rulemaking                   enhanced trading program as proposed.                  have available for use, particularly given
                                                 that assert concerns over electric system               In recognition of the important role that              the potentially large year-to-year swings
                                                 reliability, no commenter has cited a                   RTOs play in ensuring electric system                  if budgets were based on historical data
                                                 single instance where implementation                    reliability, and consistent with the                   from a single year. Some of the RTOs
                                                 of an EPA trading program has actually                  requests of some commenters, the EPA                   suggested potential solutions for these
                                                 caused an adverse reliability impact.                   has engaged in outreach to the RTOs                    issues, principally in the form of
                                                 Indeed, similar claims made in the                      that commented on the proposal to                      auctions or RTO-administered
                                                 context of the EPA’s prior trading                      better understand their comments                       allocations of allowances from pools of
                                                 program rulemakings have shown a                        specifically and the reliability-related               supplemental allowances, with access to
                                                 considerable gap between rhetoric and                   comments of other commenters more                      the supplemental allowances triggered
                                                 reality. For example, in the litigation                 generally.303 Through these meetings,                  by certain indications of temporary
                                                 over the industry’s multiple motions to                 the central reliability-related concern                stress on the electric system.
                                                 stay implementation of CSAPR, claims                    was identified as one of timing. In order                 In the final rule, the EPA is adopting
                                                 were made that allowing the rule to go                  for retirement to be a viable compliance               several changes from the proposal to
                                                 into effect would compromise                            strategy for a unit that cannot be entirely            help address the reliability-related
                                                 reliability. Yet in the 2012 ozone season               spared until replacement investments in                concerns that were identified in
                                                 starting just over 4 months after the rule              generation or transmission are                         comments and brought into greater
                                                                                                         completed, it must be possible for the                 focus by the consultations with the
                                                 was stayed, EGUs covered by CSAPR
                                                                                                         unit to operate at critical times for a                RTOs. The first change adopted in
                                                 collectively emitted below the overall
                                                                                                         transition period. Like other                          response to these comments is that
                                                 program budgets that the rule would
                                                                                                         stakeholders, the RTOs perceived                       application of the backstop daily NOX
                                                 have imposed in that year if the rule had
                                                                                                         implementation of the backstop daily                   emissions rate to units without existing
                                                 been allowed to take effect, with most
                                                                                                         emissions rate provisions on                           SCR controls is being deferred until the
                                                 individual states emitting below their
                                                                                                         uncontrolled units as materially                       2030 control period, or the second
                                                 respective state budgets despite CSAPR
                                                                                                         strengthening incentives for such units                control period in which a unit operates
                                                 not being in effect.302 Similarly, in the
                                                                                                         to either install controls or retire. The              new SCR controls, if earlier. The
                                                 litigation over the 2015 Clean Power
                                                                                                         RTOs were concerned that the option                    purpose of this change is to address the
                                                 Plan, assertions that the rule would
                                                                                                         for a coal-fired unit without SCR                      concerns that application of the
                                                 threaten electric system reliability were                                                                      backstop daily NOX emissions rate to
                                                 made by some utilities or their                         controls to maintain limited operation
                                                                                                                                                                EGUs without existing SCR starting in
                                                 representatives, yet even though the                    while surrendering allowances at a 3-
                                                                                                                                                                2027 would provide insufficient time
                                                 Supreme Court stayed the rule in 2016,                  for-1 ratio for all emissions exceeding
                                                                                                                                                                for planning and investments needed to
                                                 the industry achieved the rule’s                        the backstop daily rate was one that
                                                                                                                                                                facilitate unit retirement as a
                                                 emissions reduction targets without the                 EGU owners would be reluctant to                       compliance pathway, which some
                                                 rule ever going into effect. See West                   pursue. Accordingly, the RTOs expected                 commenters noted they prefer or have
                                                 Virginia v. EPA, 142 S. Ct. 2587, 2638                  considerable interest from EGU owners                  already planned. In particular, where an
                                                 (2022) (Kagan, J., dissenting) (‘‘[T]he                 in retiring and replacing uncontrolled                 EGU owner would prefer to retire and
                                                 industry didn’t fall short of the [Clean                units as of the date of implementation                 replace an uncontrolled EGU rather than
                                                 Power] Plan’s goal; rather, the industry                of the backstop daily rate requirement                 to install new controls, and in
                                                 exceeded that target, all on its                        on uncontrolled units, and they were                   recognition that reliability-related needs
                                                 own. . . . At the time of the repeal . . .              concerned that the proposal to                         may require some degree of operation
                                                 ‘there [was] likely to be no difference                 implement that requirement as of the                   from such units in the period before the
                                                 between a world where the [Clean                        2027 control period did not allow                      investments needed to replace the unit
                                                 Power Plan was] implemented and one                     sufficient time for planning and                       can be completed, deferral of the
                                                 where it [was] not.’ ’’) (quoting 84 FR                 implementation of all the necessary                    backstop daily emissions rate provisions
                                                 32561). The claims that these rules                     generation and transmission                            ensures that the necessary generation
                                                                                                         investments to make this a viable                      can be provided without being made
                                                   301 The EPA has prepared a resource adequacy
                                                                                                         compliance strategy. The RTOs
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                                                 assessment of the projected impacts of the final rule
                                                                                                                                                                subject to a 3-for-1 allowance surrender
                                                 showing that the projected impacts of the final rule
                                                                                                         described their concerns as greatest                   ratio that might render that compliance
                                                 on power system operations, under conditions                                                                   strategy uneconomic compared to the
                                                 preserving resource adequacy, are modest and              303 The EPA also met with non-RTO balancing          faster but less environmentally
                                                 manageable. See Resource Adequacy and Reliability       authorities that submitted comments. Memoranda         beneficial compliance strategy of
                                                 Analysis Final Rule TSD, available in the docket.       identifying the dates, attendees, and topics of
                                                   302 For a state-by-state comparison, see Appendix     discussion of these meetings with RTOs and non-
                                                                                                                                                                installing new controls. The EPA has
                                                 G of the Ozone Transport Policy Analysis Final          RTO balancing authorities are available in the         considered the statutory mandate that
                                                 Rule TSD.                                               docket.                                                states’ good neighbor obligations—


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                                                 including this action’s requirement for                 bank recalibration process in 2024                     dynamic budget to be published in the
                                                 large coal-fired EGUs to make emissions                 generally to boost market liquidity (by                future will only supplant the preset
                                                 reductions commensurate with good                       discouraging allowance hoarding) and                   budget finalized in this rule for a control
                                                 SCR operation—be addressed as                           also considers the target percentage of                period in which that dynamic budget is
                                                 expeditiously as practicable. The EPA                   10.5 percent set forth in the proposal                 higher than the corresponding preset
                                                 has also considered the fact that in this               well supported. Nevertheless, the                      budget. The reason for using dynamic
                                                 rule, the backstop daily emissions rate                 Agency agrees with suggestions by                      budgets when they are higher than the
                                                 serves as a supplement to the broader                   commenters that, at least in the early                 corresponding preset budgets is that the
                                                 requirement for emissions reductions                    years of the enhanced trading program,                 EPA recognizes that evolution of the
                                                 commensurate with application of                        a larger bank would provide further                    EGU fleet will not follow the exact path
                                                 several control technologies at several                 liquidity and would give program                       projected at the time of the rulemaking,
                                                 types of EGUs, encompassing the extent                  participants greater confidence that                   and that by not accounting for certain
                                                 of emissions reductions that would be                   allowances would be available for                      events, the preset methodology could
                                                 incentivized by the backstop emissions                  purchase when needed. Greater                          result in issuance of smaller quantities
                                                 rate requirement. The EPA views the                     confidence by sources would help                       of allowances than the EPA would find
                                                 backstop daily emissions rate as part of                address RTOs’ concern about the                        consistent with the quantities of
                                                 the solution to eliminating significant                 possibility that some sources could be                 emissions from a well-controlled EGU
                                                 contribution in that it strongly                        reluctant to operate if they were unsure               fleet using the dynamic budget-setting
                                                 incentivizes emissions-control operation                of their ability to procure allowances to              methodology. Events that could cause
                                                 throughout each day of the ozone                        cover their emissions. In finding that                 preset budgets to underpredict a state’s
                                                 season. See sections III.B.1.d, VI.B.1.b,               this modification from proposal is                     well-controlled emissions, which are
                                                 VI.B.1.c.i. For that reason, in general we              appropriate, the EPA has considered the                more likely in years farther in the future
                                                 are finalizing the daily backstop                       fact that use of a higher target                       from the time of the rulemaking, include
                                                 emissions rate for units that have SCR                  percentage will not result in the creation             deferral of a large EGU’s previously
                                                 installed or that install it in the future.             of any additional allowances in any                    planned retirement date or increases in
                                                 It is only as an exception to that general              control period, because under the                      electricity demand that outpace the
                                                 rule that we defer the backstop daily                   recalibration provisions, when the total               general trend of lower-emitting or non-
                                                 emissions rate given the transition                     quantity of allowances banked from the                 emitting generation replacing higher-
                                                 period and reliability concerns                         previous control period is less than the               emitting generation. After considering
                                                 identified by commenters. The EPA                       bank target level, the consequence is not              the commenters’ interest in greater
                                                 finds that in this circumstance, as long                that additional allowances are created to              predictability during the early years of
                                                 as state emissions budgets continue to                  raise the bank to the target level, but                the amended trading program as well as
                                                 reflect the required degree of emissions                simply that no bank adjustment is                      the need to protect against instances
                                                 reductions, deferral of the backstop rate               carried out. We also note that while                   where the preset budgets could
                                                 requirement for uncontrolled units for a                including an annual bank recalibration                 underpredict a state’s well-controlled
                                                 transition period can be justified on the               of any percentage is an enhancement in                 emissions in years farther from the year
                                                 basis of the greater long-term                          the trading program from prior trading                 of the rulemaking, the EPA finds that
                                                 environmental benefits obtained                         programs under the good neighbor                       the combination of these factors justifies
                                                 through facilitating the replacement of                 provision established in the CAIR,                     the approach of using the higher of the
                                                 these affected EGUs with cleaner                        CSAPR, CSAPR Update, and Revised                       two budgets for the control periods from
                                                 sources of generation. Beginning in the                 CSAPR Update rulemakings, it is not                    2026 through 2029.
                                                 2030 ozone season, all coal-fired EGUs                  unprecedented; the trading program                        In addition to the changes made in
                                                 identified for SCR retrofit potential in                established under the NOX SIP Call                     response to reliability-related
                                                 this action will be subject to the                      included ‘‘progressive flow control’’                  comments, several other changes to the
                                                 backstop daily emissions rate. Any such                 provisions that were designed                          proposal being adopted primarily for
                                                 units that remain in operation in that                  differently from the bank recalibration                other reasons will also help address the
                                                 year can and should meet the backstop                   provisions in this rule but had the same               factors identified as reliability-related
                                                 daily emissions rate or be subject to the               purpose and general effect.                            concerns. Most notably, the EPA is
                                                 heightened allowance surrender ratio.                      The third change from the proposal                  adopting changes to the dynamic budget
                                                    The second change from the proposal                  adopted in response to the reliability-                computation procedure to incorporate
                                                 adopted in response to the reliability-                 related comments is that the EPA is                    multiple years of heat input data, which
                                                 related comments is that the target                     determining preset state emissions                     will reduce year-to-year variability in
                                                 percentage of the states’ emissions                     budgets not only for the control periods               the budgets determined under that
                                                 budgets used to recalibrate the target                  in 2023 and 2024 as proposed, but also                 procedure and should to some extent
                                                 bank level will be set at the proposed                  for the control periods in 2025 through                reduce uncertainty about the quantities
                                                 10.5 percent starting in the 2030 control               2029. Finalizing preset state emissions                of allowances available for use in
                                                 period, and for the control periods from                budgets through 2029 will establish                    instances where a dynamic budget is
                                                 2024 through 2029, a target percentage                  predictable amounts for the minimum                    being used instead of preset budget. In
                                                 of 21 percent will be used instead. The                 quantities of allowances available                     addition, the adoption of a 50-ton
                                                 adoption of the higher target percentage                during the period when commenters                      threshold before application of the 3-for-
                                                 for use through the 2029 control period                 have expressed concern that the                        1 surrender ratio to emissions exceeding
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                                                 is intended to promote greater                          reliability-related need for such                      the backstop daily NOX emissions rate
                                                 allowance market liquidity during a                     predictability is greatest. Moreover, the              should ensure that no unit incurs the
                                                 period of relatively rapid fleet transition             EPA will also determine state emissions                higher surrender ratio solely because of
                                                 about which commenters expressed                        budgets using the final dynamic budget-                unavoidable emissions during startup
                                                 more focused reliability-related needs.                 setting methodology for the control                    and should help address concerns that
                                                 As discussed later in this section, the                 periods in 2026 through 2029, and for                  some units might be reluctant to operate
                                                 EPA expects the introduction of the                     each state and control period, the                     because of the associated emissions-


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                                                 related costs. Also, the 2026–2027                      responsibilities determines there is a                 advance of the recurring dynamic
                                                 phase-in of emissions reductions                        reliability-related need, the EPA again                budget adjustments, which do not
                                                 commensurate with installation of new                   observes that the rule’s emissions                     increase the stringency of the rule’s
                                                 SCR controls will increase the quantities               reduction requirements are being                       emissions reduction requirements
                                                 of allowances available in the 2026 state               implemented through a trading program                  established in the final rule. The
                                                 emissions budgets for most states in the                mechanism which makes exceptions of                    extensive consultation processes
                                                 trading program.                                        this nature unnecessary. Trading                       adopted by the Agency in conjunction
                                                    To summarize: in light of the strong                 programs inherently offer the flexibility              with the MATS rulemaking are not a
                                                 record supporting the feasibility of the                to accommodate variability in the                      relevant precedent; the MATS rule,
                                                 emissions reductions required from                      utilization of individual units. The                   which was promulgated to address a
                                                 EGUs; the use of a trading program as                   ‘‘reliability safety valve’’ provisions in             different statutory mandate, was
                                                 the mechanism for achieving those                       the Clean Power Plan, which one                        structured in the form of unit-specific
                                                 emissions reductions, with multiple                     commenter cited as a precedent to                      emissions constraints, fundamentally
                                                 options for achieving compliance and                    support some form of temporary                         different from the requirements of this
                                                 no requirements to cease operation of                   exemption under this rule, in fact was                 rule. The EPA notes that other entities
                                                 any individual EGU at any time; the                     available only in situations where a                   responsible for maintaining reliability
                                                 established processes of RTOs, other                    state plan did not allow emissions                     and managing entry and exit of
                                                 balancing authorities, and state                        trading and instead imposed unit-                      resources, including the North
                                                 regulators for managing any EGU                         specific emissions constraints. See 80                 American Electric Reliability
                                                 retirement requests that do occur in an                 FR 64877–879. Even the 3-for-1                         Corporation (NERC) and RTOs and other
                                                 orderly manner with evaluation of                       allowance surrender ratio under the                    balancing authorities, already routinely
                                                 potential reliability impacts and                       backstop daily NOX emissions rate                      assess resource adequacy and reliability
                                                 implementation of mitigation measures                   provisions can be met through the                      inclusive of meeting all regulatory
                                                 where needed; the unbroken, decades-                    surrender of additional allowances. The                requirements, including environmental
                                                 long historical success of the EPA’s                    rule does not bar any EGU from                         requirements.
                                                 trading programs at achieving emissions                 operating at any time as long as all                      While the EPA does not agree that
                                                 reductions without any adverse                          allowance surrender requirements are                   such consultations are a necessary
                                                 reliability impacts; the views expressed                met.                                                   precondition for successful
                                                 by commenters that facilitating EGU                                                                            implementation of this rule, the Agency
                                                 retirement and replacement as a                            With respect to suggestions that the                remains available to engage with any
                                                 possible compliance strategy through                    EPA must undertake recurring modeling                  affected EGU or reliability authority
                                                 2029 would be particularly helpful; the                 of the evolving electrical system and                  requesting to meet and discuss the
                                                 changes made in the final rule for                      consult with RTOs before each planned                  intersection of its power sector
                                                 control periods through 2029                            adjustment to emissions budgets, which                 regulatory programs with electric
                                                 specifically to increase flexibility during             start from the premise that the rule                   reliability planning and operations. The
                                                 this transitional period, including                     poses risk to electric system reliability              EPA is also continuing its practice of
                                                 deferring application of the backstop                   that must be continuously monitored,                   meeting with the U.S. Department of
                                                 daily emissions rate provisions for EGUs                the EPA disagrees with the premise and                 Energy and the Federal Energy
                                                 without existing SCR controls,                          therefore also disagrees with the                      Regulatory Commission to maintain
                                                 increasing the target percentage used to                suggestions. As discussed in section V                 mutual awareness of how Federal
                                                 determine the target allowance bank                     of this document, the EPA has taken                    actions and programs intersect with the
                                                 level for purposes of the bank                          care to ensure that the emissions                      industry’s responsibility to maintain
                                                 recalibration provisions, and                           reduction requirements applicable to                   electric reliability.304
                                                 establishing preset state emissions                     EGUs under this rule are feasible                         The EPA is not adopting the
                                                 budgets which serve as floors against                   through application of the control                     suggestion to replicate the so-called
                                                 potential dynamic budget imposition in                  technologies selected as the basis of the              ‘‘safety valve’’ mechanism created under
                                                 those control periods; and the changes                  emissions reductions. The EPA has also                 the Revised CSAPR Update. That
                                                 made in the final rule incorporating                    performed modeling in this rulemaking                  mechanism, cited by some commenters
                                                 multiple years of heat input data into                  to assess the benefits and costs of the                as potential precedent for an
                                                 the dynamic budget-setting procedure,                   rule when all required emissions                       unspecified form of ‘‘reliability safety
                                                 adding a 50-ton threshold before                        reductions are achieved. That modeling,                valve’’ in this action, gave owners of
                                                 application of the 3-for-1 surrender ratio              which incorporates a representation of                 covered EGUs a one-time opportunity to
                                                 to emissions exceeding the backstop                     electrical grid regions and interregional              voluntarily convert allowances banked
                                                 daily NOX emissions rate, and phasing                   constraints on energy and capacity                     under the Group 2 trading program to
                                                 in emissions reductions requirements                    exchange, affirms the feasibility of the               allowances useable in the Group 3
                                                 commensurate with new SCR                               overall emissions reduction                            trading program at an 18-for-1 ratio for
                                                 installations through 2027; the EPA                     requirements and is illustrative of a                  use in the trading program’s initial
                                                 concludes that this action does not pose                control strategy where some units retire               control period in 2021. See 82 FR
                                                 any material risk of adverse impact to                  and are replaced instead of installing                 23137–138. EGU owners chose to use
                                                 electric system reliability.                            new controls. The EPA has also                         the voluntary mechanism to acquire a
                                                    The EPA has also considered the                      consulted with the RTOs (as well as                    total of 382 allowances, representing
                                                                                                         other balancing authorities) in the
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                                                 other suggestions offered by                                                                                   only 0.36 percent of the sum of the state
                                                 commenters for addressing reliability-                  course of this rulemaking to ensure that               emissions budgets and only 0.26 percent
                                                 related issues. With respect to                         the EPA understood the concerns
                                                 suggestions that the rule should include                expressed in their comments such that                    304 See, e.g., U.S. Department of Energy and U.S.

                                                 provisions allowing some or all of the                  we could address those comments in                     Environmental Protection Agency, Joint
                                                                                                                                                                Memorandum on Interagency Communication and
                                                 trading program’s requirements to be                    this final rule. The EPA does not agree                Consultation on Electric Reliability (March 8, 2023),
                                                 suspended at times when an RTO or                       that further modeling or ongoing                       available at https://www.epa.gov/power-sector/
                                                 other entity with grid management                       consultations with RTOs are needed in                  electric-reliability-mou.



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                                                 of the total quantity of allowances                     in the implementation framework at                         respect to sources in Indian country in
                                                 available for compliance in that control                Step 4.307                                                 general and in these areas in particular
                                                 period.305 For the 2023 control period,                                                                            are discussed in section III.C.2 of this
                                                                                                         2. Expansion of Geographic Scope
                                                 the bank of allowances carried over                                                                                document. EPA’s approach for
                                                 from the 2022 control period plus the                      In light of the findings at Steps 1, 2,                 determining a portion of each state’s
                                                 incremental starting bank that will be                  and 3 of the 4-step interstate transport                   budget for each control period that will
                                                 created by conversion of additional                     framework, the EPA is expanding the                        be set aside for allocation to any units
                                                 allowances banked under the Group 2                     geographic scope of the existing CSAPR                     in areas of Indian country within the
                                                 trading program (see section VI.B.12.b of               NOX Ozone Season Group 3 Trading                           state not subject to the state’s CAA
                                                 this document) will total over 30                       Program to encompass additional states                     implementation planning authority is
                                                 percent of the full-season emissions                    (and Indian country within the borders                     discussed in section VI.B.9 of this
                                                 budgets.306 Given the larger starting                   of such states) with EGU emissions that                    document.
                                                 bank and this rule’s bank recalibration                 significantly contribute for purposes of                      Units within the borders of each
                                                 provisions (which will be implemented                   the 2015 ozone NAAQS. Specifically,                        newly added state will join the Group
                                                 starting with the 2024 control period,                  the EPA is expanding the Group 3                           3 trading program on one of two
                                                 but which the EPA expects will increase                 trading program to include the                             possible dates during the program’s
                                                 allowance market liquidity starting with                following states and Indian country                        2023 control period (that is, the period
                                                 the 2023 control period), the Agency                    within the borders of the states:                          from May 1, 2023, through September
                                                 views establishment of a one-time                       Alabama, Arkansas, Minnesota,                              30, 2023). The reason that two entry
                                                 voluntary conversion opportunity for                    Mississippi, Missouri, Nevada,                             dates are necessary is that, as discussed
                                                 the 2023 control period analogous to the                Oklahoma, Texas, Utah, and Wisconsin.                      in section VI.B.12.a of this document,
                                                 Revised CSAPR Update’s ‘‘safety valve’’                 Any unit located in a newly added                          the effective date is expected to fall after
                                                 provision as unnecessary.                               jurisdiction that meets the applicability                  May 1, 2023. In the case of states (and
                                                    Finally, in the final rule the EPA is                criteria for the Group 3 trading program                   Indian country within the states’
                                                 not adopting any of the other                           will become an affected unit under the                     borders) whose sources do not currently
                                                 suggestions concerning additional                       program, as discussed in section VI.B.3                    participate in the CSAPR NOX Ozone
                                                 mechanisms to make additional                           of this document.                                          Season Group 2 trading program—
                                                                                                            CSAPR, the CSAPR Update, and the                        Minnesota, Nevada, and Utah—the
                                                 allowances available through auctions
                                                                                                         Revised CSAPR Update also applied to                       sources will begin participating in the
                                                 or RTO-administered allowance pools.
                                                                                                         sources in Indian country, although,                       Group 3 trading program on the rule’s
                                                 For the reasons discussed throughout
                                                                                                         when those rules were issued, no                           effective date. However, in the case of
                                                 this section, the EPA concludes that the
                                                                                                         existing EGUs within the regions                           the states (and Indian country within
                                                 trading program as established in this                  covered by the rules were located on
                                                 action provides a flexible compliance                                                                              the states’ borders) whose sources do
                                                                                                         lands that the EPA understood at the                       currently participate in the Group 2
                                                 mechanism that will allow the required                  time to be Indian country.308 In contrast,
                                                 emissions reductions to be achieved                                                                                trading program—Alabama, Arkansas,
                                                                                                         within the geographic scope of this                        Mississippi, Missouri, Oklahoma, Texas,
                                                 without the need for creation of                        rulemaking, the EPA is aware of areas of
                                                 additional allowances. However, the                                                                                and Wisconsin—the sources will begin
                                                                                                         Indian country within the borders of                       participating in the Group 3 trading
                                                 EPA also recognizes the potential for                   both Utah and Oklahoma with existing
                                                 allowance market liquidity to be further                                                                           program on May 1, 2023, regardless of
                                                                                                         EGUs that meet the program’s                               the rule’s effective date, subject to
                                                 increased through some form of auction                  applicability criteria. Issues related to                  transitional provisions designed to
                                                 mechanism. For instance, it may be                      state, tribal, and Federal CAA                             ensure that the increased stringency of
                                                 appropriate to pair the introduction of                 implementation planning authority with                     the Group 3 trading program as revised
                                                 an auction with a reduction in the bank
                                                                                                                                                                    in this rulemaking will not
                                                 recalibration percentage that begins                       307 Such a rulemaking would not reopen any
                                                                                                                                                                    substantively affect the sources’
                                                 earlier than 2030. Through a                            determinations which the Agency has made at
                                                                                                                                                                    requirements prior to the rule’s effective
                                                 supplemental rulemaking, the Agency                     Steps 1, 2, or 3 of the interstate transport framework
                                                                                                         in this action. Nor would it reopen any aspects of         date. This approach provides a simpler
                                                 intends to propose and take comment                     implementation of the program at Step 4 except for         transition for the sources historically
                                                 on potential amendments to the Group                    those in relation to establishing an auction and           covered by the Group 2 trading program
                                                 3 trading program that would add such                   associated adjustments to ensure program
                                                                                                                                                                    than the alternative approach of being
                                                 an auction mechanism to the regulations                 stringency is maintained. In this respect, such a
                                                                                                         rulemaking would constitute a discretionary action         required to switch from the Group 2
                                                 and make other appropriate adjustments                  that is not necessary to resolution of good neighbor       trading program to the Group 3 trading
                                                                                                         obligations. Rather, these adjustments, if finalized,      program in the middle of a control
                                                    305 Additional allowances available for
                                                                                                         would reflect a shift from one acceptable form of
                                                 compliance under the Group 3 trading program in         implementation at Step 4 to a slightly modified but
                                                                                                                                                                    period, and it is the same approach that
                                                 the 2021 control period included a starting             also acceptable form of implementation at Step 4,          was followed for sources that
                                                 allowance bank created through mandatory                as related to EGUs. No legal or technical                  transitioned from the Group 2 trading
                                                 conversion of a portion of the allowances banked        justification for this action as set forth in the record   program to the Group 3 trading program
                                                 under the Group 2 trading program as well as            here depends on or would be undermined by the
                                                 supplemental allowances issued to ensure that no        development of an alternative approach that
                                                                                                                                                                    in 2021 under the Revised CSAPR
                                                 provisions of the Revised CSAPR Update increasing       includes an auction, and if the EPA for any reason         Update. Section VI.B.12.a of this
                                                 regulatory stringency would take effect before that     determines not to propose or finalize such a               document contains further discussion of
                                                 rule’s effective date. See 86 FR 23133–137.             rulemaking, no aspect of this rule would thereby be        the rationale for this approach and the
                                                    306 The full-season emissions budgets for the 2023   rendered infeasible or incomplete.
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                                                                                                                                                                    specific transitional provisions.
                                                 control period under the Group 3 trading program           308 CSAPR and the CSAPR Update both applied

                                                 and the incremental starting bank created in this       to EGUs located in areas within Oklahoma’s borders
                                                                                                                                                                       The EPA notes that under the rule, the
                                                 action through conversion of additional Group 2         that are now understood to be Indian country,              expanded Group 3 trading program will
                                                 allowances (but not the bank of allowances carried      consistent with the U.S. Supreme Court’s decision          include not only 19 states for which the
                                                 over from the 2022 control period under the Group       in McGirt v. Oklahoma, 140 S. Ct. 2452 (2020) (and         EPA is determining that the required
                                                 3 trading program) will be prorated to reflect the      subsequent case law), clarifying the extent of
                                                 portion of the 2023 ozone season occurring after the    certain Indian country within Oklahoma’s borders.
                                                                                                                                                                    control stringency includes, among
                                                 effective date of this rule. See sections VI.B.12.a.    However, those rules were issued before the McGirt         other measures, installation of new post-
                                                 and VI.B.12.b.                                          decision. See section III.C.2.a.                           combustion controls, but also three


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                                                 states—Alabama, Minnesota, and                          supported the approach, which is                       states)—will also become subject to the
                                                 Wisconsin—for which the EPA is                          finalized as proposed.                                 Group 3 trading program.
                                                 determining that the required control                                                                             In the additional states where other
                                                                                                         3. Applicability and Tentative                         CSAPR trading programs are not
                                                 stringency does not include such
                                                                                                         Identification of Newly Affected Units                 currently in effect—Nevada and Utah
                                                 measures. In previous rulemakings, the
                                                 EPA has chosen to combine states in a                      The Group 3 trading program                         (including Indian country within the
                                                 single multi-state trading program only                 generally applies to any stationary,                   borders of such states)—units already
                                                 where the selected control stringencies                 fossil-fuel-fired boiler or stationary,                subject to the Acid Rain Program under
                                                 were comparable, to ensure that states                  fossil fuel-fired combustion turbine                   that program’s applicability criteria (see
                                                 did not effectively shift their emissions               located in a covered state (or Indian                  40 CFR 72.6) generally also meet the
                                                 reduction requirements to other states                  country within the borders of a covered                applicability criteria for the Group 3
                                                 with less stringent emissions reduction                 state) and serving at any time on or after             trading program. Based on a preliminary
                                                 requirements by using net out-of-state                  January 1, 2005, a generator with                      screening analysis of the units in these
                                                 purchased allowances. Although the                      nameplate capacity exceeding 25 MW                     states that currently report emissions
                                                 assurance provisions in the CSAPR                       and producing electricity for sale, with               and operating data to the EPA under the
                                                 trading programs were designed to                       exemptions for certain cogeneration                    Acid Rain Program, the Agency believes
                                                 address the same general concern about                  units and certain solid waste                          that all such units are likely to meet the
                                                 excessive shifting of emissions                         incineration units. To qualify for an                  applicability criteria for the Group 3
                                                 reduction activities between states, EPA                exemption as a cogeneration unit, an                   trading program.
                                                 chose not to rely on the assurance                      otherwise-affected unit generally (1)                     Because the applicability criteria for
                                                 provisions as sufficient to allow for                   must be designed to produce electricity                the Acid Rain Program and the Group 3
                                                 interstate trading in situations where the              and useful thermal energy through the                  trading program are not identical, it is
                                                 states were assigned differing emissions                sequential use of energy, (2) must                     possible that some units could meet the
                                                 control stringencies.                                   convert energy inputs to energy outputs                applicability criteria for the Group 3
                                                    In this rulemaking, the EPA believes                 with efficiency exceeding specified                    trading program even if they are not
                                                 the previous concern about the                          minimum levels, and (3) may not                        subject to the Acid Rain Program. Using
                                                 possibility that certain states might not               produce electricity for sale in amounts                data reported to the U.S. Energy
                                                 make the required emissions reductions                  above specified thresholds. To qualify                 Information Administration, in the
                                                 is sufficiently addressed through the                   for an exemption as a solid waste                      proposal the EPA identified six sources
                                                 various enhancements to the design of                   incineration unit, an otherwise-affected               in Nevada and Utah (and Indian country
                                                 the trading program, even where states                  unit generally (1) must meet the CAA                   within the borders of the states) with a
                                                 have been assigned differing emissions                  section 129(g)(1) definition of a ‘‘solid              total of 15 units that appear to meet the
                                                 control stringencies. First, the existing               waste incineration unit’’ and (2) may                  general applicability criteria for the
                                                 assurance provisions are being                          not consume fossil fuel in amounts                     Group 3 trading program and that do not
                                                 substantially strengthened through the                                                                         currently report NOX emissions and
                                                                                                         above specified thresholds. The
                                                 addition of the unit-specific secondary                                                                        operating data to the EPA under the
                                                                                                         complete text of the Group 3 trading
                                                 emissions limitations discussed in                                                                             Acid Rain Program. These units were
                                                                                                         program’s applicability provisions and
                                                 sections VI.B.1.c.ii and VI.B.8. Second,                                                                       listed in a table in the proposed rule,
                                                                                                         the associated definitions can be found
                                                 by ensuring that individual units                                                                              and the data from that table for these
                                                                                                         at 40 CFR 97.1004 and 97.1002,
                                                 operate their emissions controls                                                                               units are reproduced as Table VI.B.3–1
                                                                                                         respectively. The applicability of this
                                                 effectively, the unit-specific backstop                                                                        of this document. For each of these
                                                                                                         rule to MWCs and cogeneration units
                                                 daily emissions rate provisions                                                                                units, the table shows the estimated
                                                                                                         outside the Group 3 trading program is
                                                 discussed in sections VI.B.1.c.i and                                                                           historical heat input and emissions data
                                                                                                         discussed in sections V.B.3.a and
                                                 VI.B.7 will necessarily also ensure that                                                                       that the EPA proposed to use for the
                                                 required emissions reductions occur                     V.B.3.c of this document, respectively,
                                                                                                         and MWC applicability criteria are                     unit when determining state emissions
                                                 within the state. With these                                                                                   budgets if the unit was ultimately
                                                 enhancements to the design of the                       further discussed in section VI.C.6 of
                                                                                                         this document.                                         treated as subject to the Group 3 trading
                                                 trading program, the EPA does not                                                                              program.309 The EPA requested
                                                 believe it is necessary for sources in                     In this rulemaking, the EPA did not
                                                                                                         propose and is not finalizing any                      comment on whether each listed unit
                                                 Alabama, Minnesota, and Wisconsin to                                                                           would or would not meet all relevant
                                                 be excluded from the revised Group 3                    revisions to the existing applicability
                                                                                                         provisions for the Group 3 trading                     criteria set forth in 40 CFR 97.1004 and
                                                 trading program simply because their                                                                           the associated definitions in 97.1002 to
                                                 emissions budgets reflect a different                   program. Thus, any unit that is located
                                                                                                         in a newly added state and that meets                  qualify for an exemption from the
                                                 selected emissions control stringency                                                                          trading program and whether the
                                                 than the other states in the program.                   the existing applicability criteria for the
                                                                                                         Group 3 trading program will become an                 estimated historical heat input and
                                                    The EPA’s legal and analytic bases for
                                                                                                         affected unit under the program. The                   emissions data identified for each unit
                                                 expansion of the Group 3 trading
                                                 program to each of the additional                       fact that the applicability criteria for all             309 As discussed in section VI.B.10, any unit that
                                                 covered states, as well as responses to                 of the CSAPR trading programs are                      becomes subject to the Group 3 trading program
                                                 the principal related comments, are                     identical therefore is sufficient to                   pursuant to this rule and that does not already
                                                 discussed in sections III, IV, and V of                 establish that any units that are                      report emissions data to the EPA in accordance
                                                                                                         currently required to participate in                   with 40 CFR part 75 will not be required to report
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                                                 this document, respectively, and
                                                                                                                                                                emissions data or be subject to allowance holding
                                                 responses to additional comments are                    another CSAPR trading program in any                   requirements under the Group 3 trading program
                                                 contained in the RTC document. With                     of the additional states where such other              until May 1, 2024, in order to provide time for
                                                 respect to the proposed approach of                     programs currently are in effect—                      installation and certification of the required
                                                 including all states covered by the rule                Alabama, Arkansas, Minnesota,                          monitoring systems. Such a unit will not be taken
                                                                                                                                                                into account for purposes of determining state
                                                 in a single trading program even where                  Mississippi, Missouri, Oklahoma, Texas,                emissions budgets and unit-level allocations under
                                                 the assigned control stringencies differ,               and Wisconsin (including Indian                        the Group 3 trading program until the 2024 control
                                                 the only comments received by the EPA                   country within the borders of such                     period.



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                                                 were representative. With respect to the                           EPA were unrepresentative.310 For                                       each unit are representative. However,
                                                 listed units within the borders of                                 purposes of this rule, the EPA is                                       the owners and operators of the sources
                                                 Nevada or Utah, the EPA received no                                therefore presuming that the units listed                               retain the option to seek applicability
                                                 comments asserting either that the units                           in Table VI.B.3–1 do not qualify for                                    determinations under the trading
                                                 qualified for applicability exemptions or                          applicability exemptions and that the                                   program regulations at 40 CFR
                                                 that the estimated data identified by the                          estimated data shown in the table for                                   97.1004(c).

                                                       TABLE VI.B.3–1—ESTIMATED DATA TO BE USED FOR PRESUMPTIVELY AFFECTED UNITS WITHIN THE BORDERS OF
                                                                      NEVADA AND UTAH THAT DO NOT REPORT UNDER THE ACID RAIN PROGRAM
                                                                                                                                                                                                                      Estimated
                                                                                                                                                                                                     Estimated      ozone season
                                                                            Facility                                                                                                               ozone season     average NOX
                                                        State                                              Facility name                                 Unit ID                Unit type                                               Notes
                                                                              ID                                                                                                                     heat input       emissions
                                                                                                                                                                                                      (mmBtu)            rate
                                                                                                                                                                                                                     (lb/mmBtu)

                                                 Nevada .............          2322       Clark .................................................   GT4 ..............       CT ................        190,985              0.0475    ............
                                                 Nevada .............          2322       Clark .................................................   GT5 ..............       CT ................      1,455,741              0.0191    ............
                                                 Nevada .............          2322       Clark .................................................   GT6 ..............       CT ................      1,455,741              0.0187    ............
                                                 Nevada .............          2322       Clark .................................................   GT7 ..............       CT ................      1,455,741              0.0178    ............
                                                 Nevada .............          2322       Clark .................................................   GT8 ..............       CT ................      1,455,741              0.0204    ............
                                                 Nevada .............         54350       Nev. Cogen. Assoc. 1—Garnet Val                           GTA ..............       CT ................        660,100              0.0377              1
                                                 Nevada .............         54350       Nev. Cogen. Assoc. 1—Garnet Val                           GTB ..............       CT ................        660,100              0.0387              1
                                                 Nevada .............         54350       Nev. Cogen. Assoc. 1—Garnet Val                           GTC .............        CT ................        660,100              0.0387              1
                                                 Nevada .............         54349       Nev. Cogen. Assoc. 2—Black Mtn ..                         GTA ..............       CT ................        749,778              0.0323              1
                                                 Nevada .............         54349       Nev. Cogen. Assoc. 2—Black Mtn ..                         GTB ..............       CT ................        749,778              0.0370              1
                                                 Nevada .............         54349       Nev. Cogen. Assoc. 2—Black Mtn ..                         GTC .............        CT ................        749,778              0.0364              1
                                                 Nevada .............         56405       Nevada Solar One ...........................              HI .................     Boiler ............        479,452              0.1667    ............
                                                 Nevada .............         54271       Saguaro ...........................................       CTG1 ...........         CT ................      1,383,149              0.0314              1
                                                 Nevada .............         54271       Saguaro ...........................................       CTG2 ...........         CT ................      1,383,149              0.0301              1
                                                 Utah ..................      50951       Sunnyside ........................................        1 ...................    Boiler ............      1,888,174              0.1715    ............
                                                    Table notes:
                                                    1 Unit reports capability of producing both electricity and useful thermal energy.




                                                 4. State Emissions Budgets                                         control stringency.’’ Preset budgets                                    periods in those years, with no role for
                                                                                                                    provide greater certainty for planning                                  dynamic budgeting. For the control
                                                    In this final rule, the EPA is using a                          purposes and can be reliably established                                periods from 2026 through 2029, the
                                                 combination of a ‘‘preset’’ budget                                 in the short-term based on known,                                       EPA is determining preset emissions
                                                 calculation methodology and a                                      upcoming changes in the EGU fleet. Due                                  budgets for each control period in the
                                                 ‘‘dynamic’’ budget calculation                                     to build time for new units and                                         rule and will also calculate and publish
                                                 methodology to establish state                                     planning and approval processes for                                     dynamic budgets for each state in the
                                                 emissions budgets for the Group 3                                  plant retirements, these major fleet                                    year before each control period using
                                                 trading program. A ‘‘preset’’ budget is                            alterations are often known several                                     the dynamic budget-setting
                                                 one for which the absolute amount                                  years in advance. This information                                      methodology finalized in this rule,
                                                 expressed as tons per ozone season                                 facilitates presetting budgets that                                     applied to data available at the time of
                                                 control period is established in this final                        appropriately calibrate the identified                                  the calculations. For these four control
                                                 rule. It uses the latest data currently                            control stringency to the fleet. Dynamic                                periods, each state’s preset budget
                                                 available on EGU fleet composition at                              budgets better assure that the budgets                                  serves as a floor and may be supplanted
                                                 the time of this final action. A                                   remain commensurate with the Step 3                                     by the dynamic emissions budget EPA
                                                 ‘‘dynamic’’ budget is one for which the                            emissions control stringency over the                                   calculates for the state for that control
                                                 formula and emissions-rate information                             longer term, as currently unknown                                       period only if the dynamic budget is
                                                 is finalized in this rule, but updated                             changes in the EGU fleet occur. In this                                 higher than the preset budget. For
                                                 EGU heat input and inventory                                       final rule, in response to comments, we                                 control periods in 2030 and thereafter,
                                                 information is used on a rolling basis to                          have adjusted the proposal to give a                                    the state emissions budgets will be the
                                                 set the total tons per ozone season for                            greater role for preset budgets through                                 dynamic budgets calculated and
                                                 each control period. Both methods of                               2029, while dynamic budgeting will be                                   published in the year before each
                                                 budget calculation are designed to set                             phased in to provide greater certainty in                               control period.
                                                 budgets reflective of the emissions                                the short term and allow for a transition                                  In the dynamic budget calculation
                                                 control strategies and associated                                  period to an exclusively ‘‘dynamic’’                                    methodology, it is the fleet composition
                                                 stringency levels (expressed as an                                 approach beginning in 2030.                                             (reflected by heat input patterns across
                                                 emissions rate of pounds of NOX per                                   For the control periods from 2023                                    the fleet in service, inclusive of EGU
                                                 mmBtu) identified for relevant EGU                                 through 2025, the preset budgets                                        entry and exit) that is dynamic, while
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                                                 types at Step 3—which we will refer to                             established in the rule will serve as the                               the emissions stringency finalized in
                                                 in this section as the ‘‘Step 3 emissions                          state emissions budgets for the control                                 this rule is constant, as reflected in
                                                   310 One commenter expressed the view that eight                  EPA–HQ–OAR–2021–0668–0554, at 58–59. The                                the Group 3 trading program in the final rule. See
                                                 of the listed units within Nevada’s borders appear                 EPA also received comments concerning sources                           comments of Calpine, EPA–HQ–OAR–2021–0668–
                                                 to meet the CSAPR applicability criteria but                       within Delaware’s borders that were included in the                     0515; comments of Delaware City Refining, EPA–
                                                 provided no comments on the specific proposed                      proposal’s request for comment; these comments                          HQ–OAR–2021–0668–0309.
                                                 data. See comments of Berkshire Hathaway Energy,                   are moot because Delaware is not being added to



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                                                 emissions rates for various types of                    time period. During this period, the                   input values—as the latest
                                                 units. Multiplying the assumed                          state emissions budget for each state for              representative values to inform the 2028
                                                 emissions rate for each unit (as finalized              a given control period will be the preset              state emissions budget, which would
                                                 in this rule) by the identified recent                  state emissions budget unless the                      reflect the decline in coal heat input and
                                                 historical heat input for each unit and                 dynamic budget is higher. This                         replacement with natural gas heat input
                                                 summing the results to the state level                  approach accommodates scenarios                        (capturing the coal unit’s retirement).
                                                 would provide a given year’s state                      where baseline fossil heat input may                   Therefore, the heat input values under
                                                 dynamic emissions budgets. Dynamic                      exceed levels anticipated by EPA in the                the dynamic budget scenario reflect the
                                                 budgets are a product of the formula                    preset budgets (e.g., this could result                change in fleet composition, and when
                                                 promulgated in this action applied to a                 from greater electric vehicle penetration              multiplied by the relevant emissions
                                                 rolling three-year average of reported                  rates). Table VI.B.4–1 illustrates this                rates reflecting the Step 3 emissions
                                                 heat input data at the state level and a                scenario. In the preset budget approach                control stringency identified in this
                                                 rolling highest-three-of-five-year average              for 2028, the 2028 heat input is                       final rule, the corresponding emissions
                                                 of reported heat input data at the unit                 estimated based on the latest available                (15,000 tons) constitute a state budget
                                                 level. As such, the EPA is confident that               heat input data at the time of rule                    that reflects the identified control
                                                 dynamic budgets will more accurately                    proposal (i.e., 2021; see the subsection               stringency applied to the fleet
                                                 reflect power sector composition,                       on preset budget methodology later in                  composition for that year as opposed to
                                                 particularly in later years, and certainly              this section), which cannot reflect a                  the 17,000 tons in summed in the first
                                                 from 2030 and beyond, than preset                       subsequent change in fleet heat input                  table. However, for the 2026–2029
                                                 budgets could and will therefore better                 values (column 2) due to, e.g., increased              period, in which the EPA implements
                                                 implement the Step 3 emissions control                  utilization to meet increased electric                 an approach that utilizes the higher of
                                                 stringency over long time horizons.                     load. However, the dynamic budget                      the dynamic budget or preset budget,
                                                    Starting in 2025 (for the 2026 control               would use 2022–2026 heat input values                  the budget implemented for 2028 in this
                                                 period), the dynamic budgets, along                     at the unit level and 2024–2026 heat                   scenario would be the 17,000 ton preset
                                                 with the underlying data and                            input values at the state level—as                     amount.
                                                 calculations will be publicly                           opposed to 2021 heat input values—as                      During the 2026–2029 transition
                                                 announced, and this will occur                          the latest representative values to                    period—during which substantial,
                                                 approximately one year before the                       inform the 2028 state emissions budget.                publicly announced utility
                                                 relevant control period begins. These                   Therefore, the heat input values in                    commitments exist for higher emitting
                                                 will be published in the Federal                        column 2 under the dynamic scenario
                                                 Register through notices of data                                                                               units to exit the fleet—it is still possible
                                                                                                         reflect the change in fleet utilization                that yet-to-be known, unit-specific
                                                 availability (NODAs), similar to how                    levels, and when multiplied by the
                                                 other periodic actions that are                                                                                retirements (such as illustrated in this
                                                                                                         emissions rates reflecting the Step 3                  second scenario) may result in dynamic
                                                 ministerial in nature to implement the                  emissions control stringency in this
                                                 trading programs are currently handled.                                                                        budgets that are lower than the preset
                                                                                                         final rule, the corresponding emissions                budgets finalized in this rule. However,
                                                 And as with such other actions,                         (18,700 tons) summed in column 4
                                                 interested parties will have the                                                                               during this transition period EPA
                                                                                                         constitute a state budget that more                    believes that having the preset budgets
                                                 opportunity to seek corrections or                      accurately reflects the Step 3 emissions
                                                 administrative adjudication under 40                                                                           serve as floors for the state emissions
                                                                                                         control stringency applied to the fleet                budgets is appropriate for two primary
                                                 CFR part 78 if they believe any data
                                                                                                         composition for that year, as opposed to               reasons identified by commenters. First,
                                                 used in making these calculations, or
                                                                                                         the 17,000 tons identified in the preset               commenters repeatedly emphasized the
                                                 the calculations themselves, are in error.
                                                    To illustrate how dynamic budgeting                  budget approach. As illustrated in the                 need for certainty and flexibility to
                                                 will work after the transition from                     example, the dynamic variable is the                   successfully carryout plans for
                                                 preset budgets, the dynamic budgets for                 heat input variable, which changes over                significant fleet transition through the
                                                 the 2030 ozone season control period                    time. In this instance, the dynamic                    end of the decade. The 2026–2029
                                                 will be identified by May 1, 2029, using                budget value of 18,700 tons would be                   period is expected to have substantial
                                                 the latest available average of three                   implemented for 2028 instead of the                    fleet turnover. Current Form EIA–860
                                                 years of reported operational data at that              preset value, and thus accommodate the                 data, in which utilities report their
                                                 time (i.e., the average of 2026–2028 heat               unforeseen utilization changes in                      retirement plans, identify 2028 as the
                                                 input data at the state level and 2024–                 response to higher demand.                             year with the most planned coal
                                                 2028 years of rolling data at the unit                     In the second table, Table VI.B.4–2,                capacity retirements during the 2023–
                                                 level) applied in a simple mathematical                 the dynamic budget is lower than the                   2029 timeframe. Using preset budgets as
                                                 formula finalized in this rule, which                   preset budget due to retirements that                  state emissions budget floors provides
                                                 multiplies this heat input data by the                  were not foreseen at the time the preset               states and utilities with information on
                                                 emissions rates quantified in this rule.                budgets were determined. In the preset                 minimum quantities of allowances that
                                                 Therefore, if a unit retires before the                 budget approach for 2028, the 2028 heat                can be used for planning purposes. In
                                                 start of the 2028 ozone season but had                  input is still estimated based on the                  turn, this fosters the operational
                                                 not announced its upcoming retirement                   latest available heat input data at the                flexibility needed while putting
                                                 at the time of this rule’s finalization, the            time of rule proposal (i.e., 2021), which              generation and transmission solutions
                                                 dynamic budget approach ensures that                    cannot reflect a subsequent fleet change               into place to accommodate such
                                                                                                         in heat input values due to an                         elevated levels of retirements. Second,
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                                                 the dynamic budgets for 2030 and
                                                 subsequent control periods would                        unanticipated retirement of one of the                 the latter part of the decade has a
                                                 represent the identified control                        state’s coal-fired units before the start of           significant amount of unit-level firm
                                                 stringency applied to a fleet reflecting                the 2028 ozone season. However, the                    retirements already planned and
                                                 that retirement.                                        dynamic budget again would use 2022–                   announced for purposes of compliance
                                                    The two examples discussed next                      2026 heat input values at the unit level               with other power sector regulations or
                                                 illustrate the implementation of the                    and 2024–2026 heat input values at the                 fulfillment of utility commitments.
                                                 dynamic budget during the 2026–2029                     state level—as opposed to 2021 heat                    These known retirements are already


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                                                 captured in the preset state budgets,                                     will fully capture all prior retirements                          reported with a planned retirement is
                                                 with the result that the likelihood and                                   and new builds when the fleet is                                  less than 2 GW each year.311 This yet-
                                                 magnitude of instances where a state’s                                    entering this period where unit-specific                          to-be available data and relative lack of
                                                 dynamic budget for a given control                                        data on such plans is less frequently                             currently known firm retirement plans
                                                 period would be lower than its preset                                     available. For instance, through the                              for 2030 and beyond make dynamic
                                                 budget for the control period is reduced                                  remaining portion of the decade, the                              budget implementation for those years
                                                 in this 2026–2029 period relative to                                      amount of coal steam retirements                                  essential for state emissions budgets to
                                                 control periods further in the future for                                 identified and reported through Form                              maintain the Step 3 control stringency
                                                 which retirement plans have not yet                                       EIA–860 is nearly 7 GW each year.                                 required under this rule.
                                                 been announced. After 2029, the                                           However, for the decade beginning in
                                                 dynamic budgets from 2030 forward                                         2030—the amount of capacity currently

                                                   TABLE VI.B.4–1—EXAMPLE OF PRESET AND DYNAMIC BUDGET CALCULATION IN SCENARIO OF INCREASED FOSSIL HEAT
                                                                                                  INPUT
                                                                                                                                       Preset budget approach (2028)                                 Dynamic budget approach (2028)

                                                                                                                                                         Preset               Preset tons                                                        Tons
                                                                                                                              Preset                                                                                  Emissions
                                                                                                                                                       emissions             (heat input ×    Heat input                                     (heat input ×
                                                                                                                             heat input                                                                                   rate
                                                                                                                                                          rate                emissions         (tBtu)                                        emissions
                                                                                                                               (tBtu)                                                                                 (lb/mmBtu)
                                                                                                                                                      (lb/mmBtu)              rate)/2000                                                      rate)/2000

                                                 Coal Units ............................................................                 600                       0.05             15,000                 660                     0.05             16,500
                                                 Gas Units .............................................................                 400                       0.01              2,000                 440                     0.01              2,200

                                                       State Budget (tons) ......................................           ....................    ......................          17,000   ....................   ......................          18,700


                                                           TABLE VI.B.4–2—EXAMPLE OF PRESET AND DYNAMIC BUDGET CALCULATION IN SCENARIO OF UNANTICIPATED
                                                                                                   RETIREMENT
                                                                                                                                       Preset budget approach (2028)                                 Dynamic budget approach (2028)

                                                                                                                                                         Preset               Preset tons                                                        Tons
                                                                                                                              Preset                                                                                  Emissions
                                                                                                                                                       emissions             (heat input ×    Heat input                                     (heat input ×
                                                                                                                             heat input                                                                                   rate
                                                                                                                                                          rate                emissions         (tBtu)                                        emissions
                                                                                                                               (tBtu)                                                                                 (lb/mmBtu)
                                                                                                                                                      (lb/mmBtu)              rate)/2000                                                      rate)/2000

                                                 Coal Units ............................................................                 600                       0.05             15,000                 500                     0.05             12,500
                                                 Gas Units .............................................................                 400                       0.01              2,000                 500                     0.01              2,500

                                                       State Budget (tons) ......................................           ....................    ......................          17,000   ....................   ......................          15,000



                                                    In summary, for the control periods in                                 notice regarding the total quantities of                          retirement plans), the PJM Retirement
                                                 2023 through 2025, EPA is providing                                       allowances available to accommodate                               Tracker, utilities’ integrated resource
                                                 only preset budgets in this final rule                                    compliance planning through the latter                            plans, notification of compliance plans
                                                 because those control periods are in the                                  half of the decade, during a period of                            with other EPA power sector regulatory
                                                 immediate future and would not                                            particularly high fleet transition                                requirements, and other information
                                                 substantially benefit from the use of                                     expected with or without this                                     sources that EPA routinely canvasses to
                                                 future reported data. For these years, the                                rulemaking.                                                       populate the data fields included in the
                                                 certainty around new builds and                                              EPA’s emissions budget methodology                             Agency’s NEEDS database. The EPA has
                                                 retirements is higher than ensuing years.                                 and formula for establishing Group 3                              updated this data on retirements and
                                                 For the ozone season control periods of                                   budgets are described in detail in the                            new builds using the latest information
                                                 2026 through 2029, EPA is providing                                       Ozone Transport Policy Analysis Final                             available from these sources at the time
                                                 both preset budgets in this final rule and                                Rule TSD and summarized later in this                             of final rule development as well as
                                                 dynamic budgets via future ministerial                                    section.                                                          input provided by commenters.
                                                 actions. For those control periods from                                                                                                        For determining preset state
                                                                                                                           a. Methodology for Determining Preset
                                                 2026 through 2029, the preset budgets                                                                                                       emissions budgets, the EPA generally
                                                                                                                           State Emissions Budgets for the 2023
                                                 finalized in this rule serve as floors,                                   Through 2029 Control Periods                                      uses historical ozone season data from
                                                 such that a given state’s dynamic budget                                                                                                    the 2021 ozone season, the most recent
                                                 ultimately calculated and published for                                     To compose preset state emissions                               data available to EPA and to
                                                 that control period will apply to that                                    budgets, the EPA is using the best                                commenters responding to this
                                                 state’s affected EGUs only if it is higher                                available data at the time of developing                          rulemaking’s proposal and providing a
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                                                 than the corresponding preset budget                                      this final rule regarding retirements and                         reasonable representation of near-term
                                                 finalized in this rulemaking. This                                        new builds. The EPA relies on a                                   fleet conditions. This is similar to the
                                                 approach is in response to stakeholder                                    compilation of data from Form EIA–860                             approach taken in the CSAPR Update
                                                 comments requesting more advance                                          (where facilities report their future                             and the Revised CSAPR Update, where


                                                   311 See 2021 Form EIA Form 860—Schedule 3,

                                                 Generator Data. Department of Energy, Energy
                                                 Information Administration.

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                                                 the EPA likewise began with data for the                                adjusting 2021 unit-level data to reflect                           lb/mmBtu or less in the historical
                                                 most recent ozone season at the time of                                 changes announced and planned to                                    baseline, the EPA lowered that unit’s
                                                 proposal (2015 and 2019, respectively).                                 occur by 2023). The EPA adjusted the                                assumed emissions rate to 0.08 lb/
                                                   By using historical unit-level NOX                                    2021 ozone-season data to reflect                                   mmBtu and calculated the impact on
                                                 emissions rates, heat input, and                                        committed fleet changes expected to                                 the unit’s mass emissions. Note that the
                                                 emissions data in the first stage of                                    occur in the baseline. This includes                                heat input is held constant for the unit
                                                 determining preset emissions budgets,                                   announced and confirmed retirements,                                in the process, reflecting the same level
                                                 the EPA is grounding its budgets in the                                 new builds, and retrofits that occur after                          of unit operation compared to historical
                                                 most recent representative historical                                   2021 but prior to 2023. For example, if                             2021 data. The improved emissions rate
                                                 operation for the covered units at the                                  a unit emitted in 2021, but retired prior                           of 0.08 lb/mmBtu is applied to this
                                                 time EPA began its final rulemaking.                                    to May 1, 2022, its 2021 emissions                                  constant heat input, reflecting control
                                                 This data set is a reasonable starting                                  would not be included in the 2023                                   optimization. In this manner, the unit-
                                                 point for the budget-setting process as it                              baseline estimate. For units that had no                            level totals from Step 1 are adjusted to
                                                 reflects recent publicly available and                                  known changes, the EPA uses the actual                              reflect the additional application of the
                                                 quality assured data reported by affected                               emissions, heat input, and emissions                                assumed control technology at a given
                                                 facilities under 40 CFR part 75, largely                                rates reported for 2021 as the baseline                             control stringency. This is illustrated in
                                                 using CEMS. The reporting                                               starting point for calculating the 2023                             Table VI.B.4.a–1. Row 1 reflects the
                                                 requirements include quality control                                    state emissions budgets. Using this                                 2021 historical data for this SCR-
                                                 measures, verification measures, and                                    method, the EPA arrived at a baseline                               controlled unit. Row 2 reflects no
                                                 instrumentation to best record and                                      emission, heat input, and emissions rate                            change (as there are no known changes
                                                 report the data. In addition, the                                       estimate for each unit for a future year                            such as planned retirement or coal-to-
                                                 designated representatives of EGU                                       (e.g., 2023).                                                       gas conversion). Row 3 reflects
                                                 sources are required to attest to the                                      The second step in deriving the preset                           application of the Step 3 stringency (i.e.,
                                                 accuracy and completeness of the data.                                  state emissions budgets is for EPA to                               a 0.08 lb/mmBtu emissions rate from
                                                   The first step in deriving the future                                 take the adjusted historical data from                              SCR optimization). The resulting impact
                                                 year state emissions budget is to                                       Step 1, and adjust the emissions rates                              on emissions is a reduction from the
                                                 calibrate historical data to planned                                    and mass emissions to reflect the                                   historical 4,700 tons to an expected
                                                 future fleet conditions. EPA does this by                               control stringencies identified as                                  future level of 615 tons. A state’s preset
                                                 adjusting this historical baseline                                      appropriate for EGUs of that type. For                              budget for a given control period is the
                                                 information to reflect the known                                        instance, if an SCR-equipped unit was                               sum of the amounts computed in this
                                                 changes (e.g., when deriving the 2023                                   not operating its SCR so as to achieve                              manner for each unit in the state for the
                                                 state emissions budget, EPA starts by                                   a seasonal average emissions rate of 0.08                           control period.

                                                           TABLE VI.B.4.a–1—EXAMPLE OF UNIT-LEVEL DATA CALCULATIONS FOR DERIVING STATE EMISSIONS BUDGETS
                                                                                                                                                                                                              Emission
                                                                                                                                                                                             Heat input                     Emissions
                                                                                                                                                                                                                 rate
                                                                                                                                                                                               (tBtu)                        (tons)
                                                                                                                                                                                                             (lb/mmBtu)

                                                 Historical Data (2021) ..................................................................................................................        15.384            0.61           4,700
                                                 Step 1 (Baseline)—Historical data adjusted for planned changes .............................................                                     15.384            0.61           4,700
                                                 Step 2—Baseline further adjusted for Step 3 stringency ............................................................                              15.384            0.08             615



                                                   For each control period from 2026                                     pollution control measure). The                                     Therefore, EPA believes it is important
                                                 onward, the unit-specific emissions                                     emissions rates assigned to these large                             to incorporate expected new builds,
                                                 rates assumed for all affected states                                   coal-fired EGUs for 2027 state emissions                            retirements, and unit changes already
                                                 except Alabama, Minnesota, and                                          budget computations reflect the full                                slated to occur. Ignoring these factors
                                                 Wisconsin will reflect the selected                                     assumed SCR retrofit emissions                                      would dilute, rather than strengthen, the
                                                 control stringency that incorporates                                    potential at those units, by applying the                           ability of preset budgets to capture the
                                                 post-combustion control retrofit                                        controlled emissions rate only. For                                 most representative fleet of EGUs to
                                                 opportunities for the relevant units                                    example, a coal steam unit greater than                             which they will be applied. Omitting
                                                 identified in the state emissions budgets                               or equal to 100 MW currently lacking a                              scheduled retirements and new builds
                                                 and calculations appendix to the Ozone                                  SCR and emitting at 0.20 lb/mmBtu                                   from state emissions budgets would
                                                 Transport Policy Analysis Final Rule                                    would be assumed to reduce its                                      reflect units that power sector operators
                                                 TSD. The emissions rates assigned to                                    emissions rate to 0.125 lb/mmBtu rate in                            and planning authorities do not expect
                                                 large coal-fired EGUs for 2026 state                                    2026 and 0.050 lb/mmBtu rate in 2027                                to exist, while failing to reflect units
                                                 emissions budget computations only                                      for purposes of deriving its preset state                           that are expected to exist.
                                                 reflect 50 percent of the SCR retrofit                                  emissions budgets in those years.                                      EPA notes it is using the best
                                                 emissions reduction potential at each of                                  Comment: Some commenters                                          available data at the time of the final
                                                 those units, to capture the phase-in                                    suggested that EPA should not reflect                               rule. EPA relies on a compilation of data
                                                 approach EPA is taking for this control                                 planned retirements in its preset                                   from Form EIA–860 where facilities
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                                                 as described in section VI.A of this                                    budgets. The suggestion stems from                                  report their future retirement plans. In
                                                 document. The EPA calculates these                                      commenters’ observation that those                                  addition, EPA is using data from
                                                 unit-level emissions rates in 2026 as the                               retirement decisions may yet change.                                regional transmission organizations who
                                                 sum of the unit’s baseline emissions rate                                 Response: The effectiveness of EPA’s                              are cataloging, evaluating, and
                                                 and its controlled emissions rate                                       future year preset state emissions                                  approving such retirement plans and
                                                 divided by two (i.e., 50 percent of the                                 budgets depends on how well they are                                data; data from notifications submitted
                                                 emissions reduction potential of that                                   calibrated to the expected future fleet.                            directly to EPA by the utility themselves


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                                                 through comments; and retirement                          We further observe that the                            conditions for the period in which they
                                                 notifications submitted to permitting                   commenters’ concern is only materially                   are applied.
                                                 authorities. This information is highly                 meaningful for the 2023 through 2025                        Comment: Some commenters
                                                 reliable, real-world information that                   preset budget periods, where the                         suggested that EPA should use a multi-
                                                 provides EPA with the high confidence                   currently known information is                           year baseline for all of its state budget
                                                 that such retirements will in fact occur.               generally the most reliable. For the                     derivations, including preset budgets, to
                                                    If a unit’s future retirement does not               2026–2029 control periods, if an                         control for outlier years that may not be
                                                 occur on the currently scheduled date,                  anticipated fleet change such as an EGU                  representative of future years due to
                                                 EPA observes that such an unexpected                    retirement does not actually occur, the                  major weather events or other fleet
                                                 departure from the currently available                  dynamic budget setting methodology                       disruptions (such as a large nuclear unit
                                                 evidence would still not undermine the                  would, all else being equal, generate a                  outage).
                                                 ability of affected EGUs to comply with                 budget reflective of that unit’s                            Response: For preset state emissions
                                                 their applicable state budgets. EPA’s                   continued operation (as the budget                       budget derivation, EPA is finalizing use
                                                 approach of using historical data and                   would be based on the preceding years                    of the same single-year 316 historical
                                                 incorporation only of announced fleet                   of historical data), and that dynamic                    baseline approach it used in the
                                                 changes in estimating its future                        budget will supplant the preset budget                   proposed rule. This approach is similar
                                                 engineering analytics baseline means                    for that state (if it represents a total                 to the Revised CSAPR Update, where
                                                 that its future year baseline generation                quantity of emissions higher than the                    EPA also relied on a single-year
                                                 and retirement outlook for higher                       preset budget).                                          historical baseline to inform its Step 3
                                                 emitting sources is more likely to                        Because the future is inherently                       approach. EPA’s interest in a historical
                                                 understate future retirements (rather                   uncertain, all analytic tools and                        data set to inform this part of the
                                                 than overstate as suggested by                          information resources used in any                        analysis is to capture the most
                                                                                                         estimation of future EGU emissions will                  representative view of the power sector.
                                                 commenter), as EPA does not assume for
                                                                                                         yield some differences between the                       For estimating preset state budgets, EPA
                                                 the purpose of preset budget
                                                                                                         projected future and the realized future.                finds that, particularly at the state level,
                                                 quantification any retirements beyond
                                                                                                         Such potential differences may either                    more recent data is a better
                                                 those that are already planned. In other
                                                                                                         increase or decrease future emissions in                 representation and basis for future year
                                                 words, in the 2023 through 2029
                                                                                                         practice, and the unavoidable existence                  baselines rather than incorporating
                                                 timeframe for which EPA is establishing
                                                                                                         of such differences does not, on its own,                older data. Taking as an example preset
                                                 preset state emissions budgets in this
                                                                                                         render the EPA’s inclusion of currently                  budget estimation for the 2023 through
                                                 rulemaking, there are more likely to be
                                                                                                         announced retirements an unreasonable                    2025 ozone seasons, the EPA is able to
                                                 additional future EGU retirements
                                                                                                         feature of the methodology for                           compare its single-year base line to an
                                                 beyond those scheduled prior to the                                                                              alternative multi-year baseline (e.g., a 3-
                                                 finalization of this rule than there are to             determining future year preset
                                                                                                                                                                  year baseline encompassing 2020–2022)
                                                 be reversed or substantially delayed                    emissions budgets. To the contrary, if
                                                                                                                                                                  and determine that the single year
                                                 changes to already announced EGU                        the EPA failed to include these
                                                                                                                                                                  baseline better reflects future fleet
                                                 retirement plans. For instance,                         announced retirements, the rule would
                                                                                                                                                                  operation expectation than a multi-year
                                                 subsequent to the EPA’s finalization of                 knowingly authorize amounts of
                                                                                                                                                                  baseline that incorporates units which
                                                 the Revised CSAPR Update Rule                           additional, sustained pollution that are
                                                                                                                                                                  have since retired as well as outlier
                                                 budgets for 2023 (rule finalized in                     not currently expected to occur. If those
                                                                                                                                                                  patterns in load during pandemic-
                                                 March 2021), the owners of Sammis                       retirements largely or entirely occur as
                                                                                                                                                                  related shutdowns.
                                                 Units 5–7 and Zimmer Unit 1 in Ohio                     currently scheduled, the overestimated
                                                                                                                                                                     EPA recognizes that 2021 is the latest
                                                 (totaling nearly 3 GW of coal capacity)                 state budgets would allow other EGUs to
                                                                                                                                                                  available historical data as of the
                                                 announced that the units would retire                   emit additional pollution in place of the
                                                                                                                                                                  preparation of this rulemaking, and
                                                 by 2023—nearly 5 years earlier than                     emissions from the retired EGUs instead
                                                                                                                                                                  therefore the most up-to-date picture of
                                                 previously planned.312 313 These coal                   of maintaining or improving their
                                                                                                                                                                  the fleet at the time EPA began its
                                                 retirements were not captured in Ohio’s                 emissions performance to eliminate
                                                                                                                                                                  analysis. EPA then further evaluates the
                                                 2023 or 2024 state emissions budgets                    significant contribution with
                                                                                                                                                                  2021 historical data at the state level to
                                                 established under the Revised CSAPR                     nonattainment and interference with
                                                                                                                                                                  determine whether it was a
                                                 Update. Meanwhile, there have been no                   maintenance of the NAAQS.315
                                                                                                                                                                  representative starting point for
                                                 announcements of previously                               Additionally, as noted elsewhere,                      estimating future year baseline levels
                                                 announced retirement plans being                        EPA’s use of a market-based program, a                   and subsequently deriving the preset
                                                 rescinded or delayed for other Ohio                     starting bank of converted allowances,                   state emissions budgets. If the Agency
                                                 units. Similarly, the Joppa Power Plant                 and variability limits are all features                  finds any state-level anomalies, it makes
                                                 in Illinois accelerated its retirement                  that will readily accommodate whatever                   necessary adjustments to the data.
                                                 from 2025 to 2022 shortly after the                     relatively limited differences in                        While unit-level variation may occur
                                                 Revised CSAPR Update Rule was                           emissions may occur if a currently                       from year-to-year, those variations are
                                                 signed.314                                              scheduled EGU retirement is ultimately                   often offset by substitute generation
                                                                                                         postponed during the preset budget                       from other units within the state.
                                                   312 Available at https://www.prnewswire.com/          years of 2023 through 2025. Therefore,                   Therefore, EPA conducts its first
                                                 news-releases/energy-harbor-transitions-to-100-         EPA’s resulting preset state emissions                   screening at the state level by
                                                 carbon-free-energy-infrastructure-company-in-2023-      budgets—inclusive of expected fleet
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                                                 301501879.html.                                                                                                  identifying any states where 2021 heat
                                                   313 Available at https://www.spglobal.com/
                                                                                                         turnover—are robust to the inherent
                                                 commodityinsights/en/market-insights/latest-news/       uncertainty in future year baseline                        316 For the purposes of this rulemaking, when
                                                 coal/071921-vistra-plans-to-retire-13-gw-zimmer-                                                                 describing a ‘‘year’’ or ‘‘years’’ of data utilized in
                                                 coal-plant-in-ohio-five-years-early.                       315 Some of these announced retirements reflect       state emission budget computations, the EPA is
                                                   314 Available at https://www.prnewswire.com/          the operator’s reported intention to EPA to retire the   actually utilizing the relevant data from May 1
                                                 news-releases/joppa-power-plant-to-close-in-2022-       affected capacity by that time as part of their          through September 30 of the referenced year(s),
                                                 as-company-transitions-to-a-cleaner-future-             compliance with effluent limitation guidelines or        consistent with the control period duration of this
                                                 301263013.html.                                         with the coal combustion residuals rule.                 rule’s EGU trading program.



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                                                 input and 2021 emissions were the                                     latest, most representative data in a                    input. Ozone seasons for which a unit
                                                 lowest year for heat input and emissions                              manner that is robust to any substantial                 reported zero heat input are excluded
                                                 relative to the past several years (2018–                             state-level or region-level outlier events               from the averaging of the three highest
                                                 2022, excluding 2020 due to shut downs                                within that dataset and further validates                heat input values for that unit. These
                                                 and corresponding reduced utilization                                 EPA’s comprehensive approach to using                    representative unit-level heat input
                                                 related to the pandemic onset).317 318                                the most recent single year of data for                  values established for each unit
                                                 Then, for that limited number of states                               preset budgets.                                          individually are then summed for all
                                                 (AL, LA, MS, and TX) in which 2021                                                                                             units in each state. Each unit’s
                                                                                                                       b. Methodology for Determining
                                                 reflects the minimum fossil fuel heat                                                                                          representative unit-level heat input is
                                                                                                                       Dynamic State Emissions Budgets for
                                                 input and minimum emissions over the                                                                                           then divided into this state-level sum to
                                                                                                                       Control Periods in 2026 onwards
                                                 baseline evaluation period, EPA—                                                                                               get that unit’s representative percent of
                                                 similar to prior rules—evaluated                                         In this final rule, the EPA is finalizing             the aggregated average heat input values
                                                 whether any unit-level anomalies in                                   an approach of using multi-year                          for all affected EGUs in that state.
                                                 operation were driving this lower heat                                baseline data for purposes of dynamic
                                                 input at the state level. EPA examined                                budget computation. The                                     Next, EPA calculates a representative
                                                 unit-level 2021 outages to determine                                  aforementioned testing of the                            state-level heat input by taking the
                                                 where an individual unit-level outage                                 representative nature of a single year of                average state-level total heat input
                                                 might yield a significant difference in                               baseline data for purposes of preset                     across affected EGUs from the most
                                                 state heat input, corresponding                                       budget setting is not possible in the                    recent three ozone seasons for which
                                                 emissions baseline and resulting state                                dynamic budget process as that data                      data have been reported, to which the
                                                 emissions budgets. When applying this                                 will not be available until a later date.                above-derived representative unit-level
                                                 test to all of the units in the previously                            Further, the EPA generally agrees with                   percentages of heat input are applied.
                                                 identified states (and even when                                      commenters that use of a multi-year                      The EPA uses a three-year baseline
                                                 applying to EGUs in all states for whom                               period will be more robust to any                        period for state-level heat input versus
                                                 Federal implementation plans are                                      unrepresentative outlier years in fleet                  the five-year baseline period noted
                                                 finalized in this rulemaking), the EPA                                operation and thus better suited for                     previously for unit-level heat input
                                                 determined that the only unit with a                                  purposes of dynamic budgets. The                         because there is less variation from year
                                                 2021 outage that (1) decreased its output                             methodology for determining dynamic                      to year at the state level compared to the
                                                 relative to preceding or subsequent                                   state emissions budgets for later control                unit level. Multiplying the
                                                 years by 75 percent or more (signifying                               periods (2026 and beyond) relies on a                    representative unit-level percentages of
                                                 an outage), and (2) could potentially                                 nearly identical methodology for                         heat input by the representative state-
                                                 impact the state’s emissions budget                                   applying unit-level emissions rate                       level heat input yields a normalized
                                                 substantially as it constituted more than                             assumptions as the preset budget                         unit-level heat input value for each
                                                 5 percent of the state’s heat input in a                              methodology. But it uses more recent                     affected EGU. This step assures that the
                                                 non-outage year was Daniel Unit 2 in                                  heat input data that will become                         total heat input being reflected in a
                                                 Mississippi. EPA therefore adjusted this                              available by that future time, employing                 dynamic state budget does not exceed
                                                 state’s baseline heat input and NOX                                   a multi-year approach for identifying                    the average total heat input reported by
                                                 emissions to reflect the operation of this                            the heat input data so as to ensure                      affected EGUs in that state from the
                                                 unit based on its 2019 data—which was                                 representativeness.                                      three most recent years. Finally, each
                                                 the second most recent year of data                                      For dynamic budgets, EPA uses more                    normalized unit-level heat input value
                                                 available at the time of proposal                                     years of baseline data to control for any                is multiplied by the emissions rate
                                                 (excluding 2020 given atypical impacts                                state-level and unit-level variation that                reflecting the assumed unit-specific
                                                 from pandemic-related shutdowns) for                                  may occur in a future single year that is                control stringency for each particular
                                                 which this unit operated. The EPA then                                not possible to identify at present. First,              year (determined at Step 3) to get a unit-
                                                 applied the Step 3 mitigation strategies                              for each unit operating in the most                      level emissions estimate. These unit-
                                                 as appropriate to this unit (i.e.,                                    recent ozone season for which data have                  level emissions estimates are then
                                                 combustion controls upgrade in 2024,                                  been reported, EPA identifies the                        summed to the state level to identify the
                                                 SCR retrofit in 2026/2027) to derive this                             average of the three highest unit-level                  dynamic budget for that year. This
                                                 portion of Mississippi’s budget. This                                 heat input values from the five ozone                    procedure to derive normalized unit-
                                                 test, and subsequent adjustment as                                    seasons ending with that ozone season                    level heat input is captured in the
                                                 necessary, enables EPA to utilize the                                 to get a representative unit-level heat                  following table:
                                                                                             TABLE VI.B.4.b–1—DERIVATION OF NORMALIZED UNIT-LEVEL HEAT INPUT
                                                                                                                                             [Illustrative]

                                                                                                                                                      Representative                               Representative
                                                                                             2022        2023      2024      2025        2026          unit-level heat     Representative          state level heat       Normalized
                                                                                             Heat        Heat      Heat      Heat        Heat               input            unit-level                 input             unit—level
                                                                                             input       input     input     input       input           (avg of 3            percent                (avg 3 most          heat input
                                                                                                                                                     highest of past 5)                          recent state totals)

                                                 Unit A ..................................     100          200       150      200         300                       233              41%                           483          199
                                                 Unit B ..................................      50          100       200       50         100                       133                24                          483          114
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                                                 Unit C ..................................     250          150       150      200         100                       200                35                          483          170


                                                   317 EPA identified states for which 2021 both heat                    318 EPA also conducted a similar test to identify      lower levels and was correlated with retirements
                                                 input and emissions were the low year among the                       states in which 2021 heat input and emissions were       elsewhere in the region—indicating that some of
                                                 examined baseline period as a preliminary screen                      the high year among the examined baseline period         this heat input increase may be representative of the
                                                 to identify potential instances where reduced                         and found that it was for both Utah and                  future fleet and that planned retirements factored
                                                 utilization may lead to an understated emissions                      Pennsylvania. However, for both states the elevated      into preset budget will remove any unrepresentative
                                                 baseline value.                                                       heat input trend persisted into 2022 (at slightly        heat input from 2021.



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                                                                              TABLE VI.B.4.b–1—DERIVATION OF NORMALIZED UNIT-LEVEL HEAT INPUT—Continued
                                                                                                                                        [Illustrative]

                                                                                                                                                 Representative                                            Representative
                                                                                        2022        2023      2024      2025        2026          unit-level heat      Representative                      state level heat                      Normalized
                                                                                        Heat        Heat      Heat      Heat        Heat               input             unit-level                             input                            unit—level
                                                                                        input       input     input     input       input           (avg of 3             percent                            (avg 3 most                         heat input
                                                                                                                                                highest of past 5)                                       recent state totals)

                                                     State Total ....................     400          450       500      450         500                       567   ............................   ........................................   ......................



                                                    The EPA will issue these dynamic                              corresponding data and formulas, and                           subsequently reduced utilization by the
                                                 budget quantifications approximately 1                           examples for the dynamic budget are                            target year for which the dynamic
                                                 year before the relevant control period.                         described in the Ozone Transport Policy                        budget is being calculated) to estimate
                                                 We view such actions as ministerial in                           Analysis Final Rule TSD.                                       the expected future fleet performance at
                                                 nature in that no exercise of agency                                Comment: Multiple commenters                                the emissions performance levels
                                                 discretion is required. For instance,                            claimed that designing a dynamic                               determined by the Step 3 result in this
                                                 starting in early 2025, the EPA would                            budget process that relies on a single                         rulemaking, that drawback is worth the
                                                 take the most recent three years of state-                       year of yet-to-be known heat input data                        advantage of protecting against
                                                 level heat input data and the most                               may produce an unrepresentative view                           instances where atypical circumstances
                                                 recent five years of unit-level heat input                       of fleet operations for the immediate                          in the most recent single year may occur
                                                 data and calculate 2026 state emissions                          ensuing years. Commenters pointed to                           and not be representative of the
                                                 budgets using the methodology                                    the hypothetical of another pandemic-                          subsequent year for which the dynamic
                                                 described previously. For 2026–2029,                             like year (e.g., 2020) occurring in the                        budget is being estimated. This singular
                                                 EPA is establishing the preset state                             future, noting that 2020 would have                            drawback of moving to a multi-year
                                                 emissions budgets finalized in this                              been a poor choice for estimating 2022                         baseline is most pronounced in the early
                                                 rulemaking and will only supplant                                fleet operation and the same would                             years of dynamic budgeting. Therefore,
                                                 those preset emissions budgets with the                          likely hold true if a similar event                            EPA is able to lessen the impact of this
                                                 to-be-published dynamic emissions                                occurred, for example, in 2025—that                            drawback of the multi-year baseline by
                                                 budgets if, for a given state and a given                        would consequently make that year a                            extending the earliest start date of
                                                 control period, that dynamic budget                              poor choice as a representative of 2027                        dynamic budgets from 2025 (as
                                                 yields a higher level of emissions than                          baseline. They further pointed out that                        proposed) to 2026 in the final rule.
                                                 the corresponding preset budget                                  severe weather events and operating                               Comment: Commenters suggested that
                                                 finalized in this rulemaking. For 2030                           disruptions (a large nuclear plant                             the dynamic budget procedure would
                                                 and beyond, the EPA solely uses the                              outage) can similarly render a single                          not provide enough advance notice of
                                                 dynamic budget process.                                          year baseline a risky choice to inform                         state budget and unit level allocation for
                                                    By March 1 of 2025, and each year                             future expectations.                                           sources to adequately plan future year
                                                 thereafter, the EPA will make publicly                              Response: Insofar as the commenters                         operation.
                                                 available through a NODA the                                     are addressing the reference period for                           Response: EPA disagrees with the
                                                 preliminary state emissions budgets for                          dynamic budget computation regarding                           notion that the timing of the dynamic
                                                 the subsequent control period and will                           years of data that have not yet occurred                       budget determination would occur too
                                                 provide stakeholders with a 30-day                               and therefore not currently available for                      close to the control period to allow
                                                 opportunity to submit any objections to                          evaluating their representative nature,                        adequate operations planning for
                                                 the updated data and computations.                               EPA agrees and is incorporating a                              compliance. As described previously,
                                                 (This process will be similar to the                             rolling 3-year baseline at the state level                     the dynamic budget level would be
                                                 releases of data and preliminary                                 and a rolling 5-year baseline at the unit                      provided approximately 1 year in
                                                 computations for allocations from new                            level for determining dynamic budgets                          advance of the start of the control period
                                                 unit set-asides that is already used in                          in this final rule. These multi-year                           (i.e., around May 1), and the allowance
                                                 existing CSAPR trading programs.) By                             rolling baseline (or reference periods)                        allocations would occur on July 1,
                                                 May 1 of 2025, and each year thereafter,                         will minimize any otherwise undue                              approximately 10 months prior to the
                                                 the EPA will publish the dynamic                                 impact from individual years where                             start of the compliance period. Not only
                                                 budgets for the ozone-season control                             fleet-level or unit-level heat input was                       is this an adequate amount of time as
                                                 period in the following calendar year.                           uncharacteristically high or low. EPA                          demonstrated by the successful
                                                 Through the 2029 ozone season control                            determined that such an approach,                              implementation of past rules that have
                                                 period, these budgets will only be                               while not needed for preset budgets, is                        been finalized and implemented within
                                                 imposed if the applicable dynamic state                          necessary in the case of dynamic                               several months of the beginning of the
                                                 budget is higher than the corresponding                          budgets because the baseline in that                           first affected compliance period (e.g.,
                                                 preset state budget finalized in this                            instance is occurring in a future year                         Revised CSAPR Update), but EPA notes
                                                 rulemaking. Preliminary and final unit-                          and therefore is not knowable and                              it is maintaining similar trading
                                                 level allowance allocations for the units                        available to test for representativeness at                    program flexibility and banking
                                                 in each state in each control period will                        the time of the final rule. To control for                     flexibilities of past programs which
                                                 be published on the same schedule as                             this type of uncertainty, the EPA finds                        provide further opportunities for
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                                                 the dynamic budgets for the control                              it appropriate to use a multi-year                             sources to procure allowances and plan
                                                 period. For the control periods from                             baseline in this instance per commenter                        for any future operating conditions.
                                                 2026 through 2029, the allocations will                          suggestion. While a multi-year baseline                        Finally, as noted previously, the EPA is
                                                 reflect the higher of the preset or                              may have a slight drawback of using a                          providing preset budgets for the years
                                                 dynamic budget for each state, and after                         slightly more dated past fleet                                 2023–2029, which serve as an effective
                                                 2030, the allocations will reflect the                           performance (including emissions from                          floor on the state’s ultimate emissions
                                                 dynamic budgets. Additional details,                             higher emitting EGUs that may have                             budget level for years 2026–2029, as


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                                                 states will receive the higher of the                   budgets for 2023 through 2025 based                    limit for a given control period so that
                                                 preset or dynamic budget for those                      upon 2021 data, and at no point in the                 the percentage value used will be the
                                                 years. This provision of certain preset                 long history of EPA’s trading programs                 higher of 21 percent or the percentage
                                                 state emissions budgets serving as a                    has such a data lag in state budget                    (if any) by which the total reported heat
                                                 floor level for 2026–2029 should further                computation yielded any compliance                     input of the state’s affected EGUs in the
                                                 assuage commenters’ concerns regarding                  problems for affected EGUs. Without                    control period exceeds the total reported
                                                 planning certainty about allowance                      dynamic budgeting, the data lag                        heat input of the state’s affected EGUs
                                                 allocations and state emissions budget                  inherent in calculating preset budgets                 as reflected in the state’s emissions
                                                 levels during this period of power sector               would grow unabated with the passage                   budget for the control period. Thus, if in
                                                 transition to cleaner energy sources.                   of time, as a fixed reference year of heat             year 2030, for example, a state’s actual
                                                    Comment: Commenters raised                           input levels would continually apply                   heat input levels increase to a level that
                                                 concerns that there is a two-year lag in                regardless of potentially higher heat                  is not reflected in the dynamic budget
                                                 the dynamic budgets in that, for                        input levels farther and farther into the              calculation using earlier years of data,
                                                 example, for the dynamic budget in the                  future. By eliminating the increase in                 the assurance level (which absent the
                                                 2026 control period, the calculations                   the length of the data lag, this new                   unusually high heat input would be 121
                                                 will be based on heat input and                         dynamic budgeting approach is a                        percent of the state’s budget) will be
                                                 inventory information reflective of data                substantial improvement in                             calculated by the EPA following the
                                                 through 2024. Commenters contend                        performance of the program relative to                 2030 ozone season, using that higher
                                                 that, if there is a much greater need for               previous approaches that were not                      reported heat input. This will avoid
                                                 allowances for compliance due to                        capable of capturing changes over time                 imposing a three-for-one allowance
                                                 unavoidable or unforeseen need for a                    in the fleet and its utilization beyond                surrender penalty on sources except
                                                 higher amount of heat input than                        the scheduled changes known to the                     where emissions exceed the assurance
                                                 reflected in prior years’ data, the budget              EPA at the time of establishing preset                 level even factoring in the increase in
                                                 for that control period will not reflect                budgets.                                               heat input in that year. Finally, as some
                                                 this need, and the allowances will only                                                                        commenters observed, the inherent data
                                                                                                            The EPA disagrees that this lag will in
                                                 become available when the dynamic                                                                              lag in dynamic budget quantification
                                                                                                         fact pose compliance challenges for
                                                 budget is calculated using that                                                                                means that a state budget for the year
                                                                                                         EGUs even if the unlikely scenario
                                                 information (i.e., 2025 data would be                                                                          2030 will continue to reflect emissions
                                                                                                         described by commenters were to occur.
                                                 reflected starting in the 2027 dynamic                                                                         from any EGU that retires before the
                                                 budget). According to commenters, this                  Several factors influence this. First, the
                                                                                                                                                                2030 control period but is still operating
                                                 lag could present a serious compliance                  change in methodology to preset
                                                                                                                                                                anytime during the 2026–2028 reference
                                                 challenge. Other commenters raised a                    budgets serving as a floor on budgets
                                                                                                                                                                years from which the 2030 dynamic
                                                 concern in the opposite direction about                 through 2029 means that the dynamic
                                                                                                                                                                budget will be calculated. Given the
                                                 the potential ‘‘slack’’ created by the lag              budget methodology can only produce
                                                                                                                                                                likely ongoing trend of relatively high-
                                                 time—meaning that as high-emitting                      an increase in the budget from this final
                                                                                                                                                                emitting EGU retirements over time, this
                                                 units retire, their emissions and                       rule through that year. Second, the                    method for determining dynamic
                                                 operation will still inform the state                   adoption of a multi-year approach for                  budgets should further assist the ability
                                                 emissions budgets for additional years                  identifying the heat input used to                     of remaining EGUs to obtain sufficient
                                                 beyond their retirement due to the lag.                 calculate the dynamic budgets will                     allowances to cover future heat input
                                                    Response: The EPA recognizes there                   smooth the year-to-year budget changes                 levels.
                                                 will be a data lag inherent in the                      and effectively eliminate the possibility                 With respect to the comments
                                                 computation of future year dynamic                      of greatest concern, which was that a                  expressing concern that dynamic
                                                 emissions budgets, because the dynamic                  single year of unusually low heat input                budgets would create too much slack
                                                 budgets will reflect fleet composition                  would be used to set the budget for a                  because of the lag in incorporating
                                                 and utilization data from recent                        subsequent year that turned out to have                retirements, the EPA observes that
                                                 previous control periods rather than the                unusually high heat input. While a year                dynamic budgets will yield a closer
                                                 control periods for which the dynamic                   of unusually high heat input for a given               representation of Step 3 control
                                                 budgets are being calculated. This                      state may still occur, the state’s budgets             stringency across the future fleet than
                                                 means that the resulting dynamic                        for those years will never be based on                 preset budgets for years in which
                                                 budgets will reflect a limited lag behind               heat input from an anomalously low                     retirement plans are currently relatively
                                                 the actual pace of the EGU fleet’s trends.              year, but instead will always be based                 unknown. Moreover, any risk that the
                                                 However, on the whole, those trends are                 on an average of several years’ heat                   lag would lead to an unacceptably large
                                                 clearly toward more efficient and                       input. Third, because the Group 3                      surplus of allowances is limited by
                                                 cleaner generating resources. Thus, the                 trading program is an interstate program               EPA’s finalization of the annual bank
                                                 data lag on the whole will inure to the                 implemented over a wide geographic                     recalibration to 21 percent and 10.5
                                                 compliance benefit of EGUs by resulting                 region, and it is unlikely that all regions            percent of the budget beginning in 2024
                                                 in dynamic budgets that are generally                   of the country would uniformly                         and 2030 respectively. The
                                                 calculated at levels likely to be                       experience a marked increase in fossil                 corresponding risk that a lag will lead
                                                 somewhat higher than what a dynamic                     fuel heat input necessitating an                       sources to not operate emissions
                                                 budget calculation reflecting real-time                 additional supply of allowances, it is                 controls, due to a surplus of allowances,
                                                 EGU operations would produce. The                       likely that allowances will be available               is also limited by the backstop daily
                                                                                                         for trade from one area of the country
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                                                 EPA believes this data lag is worthwhile                                                                       emissions rates that start in 2024 (for
                                                 to provide more compliance planning                     where there is less demand to another                  sources with existing SCR controls) and
                                                 certainty and advance notice to affected                area where there is greater demand.                    no later than 2030 for other coal-fired
                                                 EGUs of the dynamic budget applicable                   Fourth, as explained in section VI.B.5 of              sources.
                                                 to an upcoming control period.                          this document, each state’s assurance                     Comment: Commenters allege that the
                                                 Furthermore, this data lag in dynamic                   level will adjust to reflect actual heat               dynamic budget methodology is
                                                 budget computation is comparable to                     input in that year. Specifically, the EPA              effectively a ‘‘one-way ratchet’’ because,
                                                 the data lag of quantifying preset state                will determine each state’s variability                if EGUs pursue compliance strategies


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                                                 such as reduced utilization or                                              whole, modulate the dynamic budgets                   slack) budgets and corresponding
                                                 generation shifting to comply with the                                      such that the budgets over time will                  conditions where the incentive to
                                                 rule rather than install or optimize                                        only gradually change with changes in                 operate a control dissipated over time.
                                                 pollution controls pursuant to the                                          the operating profile of the EGU fleet.               In the event that sources reduce
                                                 identified Step 3 emissions control                                            For the control periods 2030 and later,            utilization whether for compliance
                                                 strategies, the effect will be that the                                     this rule is premised on the expectation              purposes or market-driven reasons, that
                                                 dynamic budget calculated in a future                                       that all large coal-fired EGU sources                 also does not obviate the importance of
                                                 year will reflect that reduced heat input,                                  identified for SCR-retrofit potential will,           continuing to incentivize the Step 3
                                                 but the applied emissions rate                                              if they continue operating in 2030 or                 emissions control stringency at
                                                 assumption will be the same. Thus, the                                      later, have installed the requisite post-             identified sources.
                                                 approach according to commenters                                            combustion controls. Thus, the backstop
                                                 actually ‘‘punishes’’ sources for                                           daily emissions rate applies for all such             c. Final Preset State Emissions Budgets
                                                 achievement of emissions reductions                                         sources beginning in the 2030 ozone
                                                 commensurate with EPA’s Step 3                                              season. In this latter period (post-2030),               For affected EGUs in each covered
                                                 determinations through alternative                                          the EPA disagrees that the dynamic                    state (and Indian country within the
                                                 compliance means, by producing a                                            budget will punish fleet segments                     state’s borders), this final rule
                                                 smaller budget in later years (less heat                                    seeking to continue to pursue a strategy              establishes preset budgets for the
                                                 input multiplied by the same emissions                                      of reduced utilization. Rather, the                   control periods 2023 through 2029. For
                                                 rate). If the source again reduces                                          dynamic budget will simply continue to                control periods 2026 through 2029, any
                                                 utilization or shifts generation to                                         reflect the Step 3 emissions control                  of those preset budgets may be
                                                 comply with this budget, then budgets                                       stringency. For instance, if there are two            supplanted by the corresponding
                                                 in later years will again ratchet down,                                     otherwise high-emitting sources in a                  dynamic budget that will be tabulated at
                                                 and so on.                                                                  state that can reduce emissions by                    later date, if and only if that dynamic
                                                    Response: First, the claims of                                           operating SCR, this rule’s control                    budget yields a higher amount. For 2030
                                                 dynamic budgeting being a one-way                                           stringency finds it cost effective for both           and beyond, the dynamic budget
                                                 ratchet are incorrect. As pointed out at                                    sources to operate their controls. If one             formula promulgated in this rule will be
                                                 proposal, the dynamic budget process                                        source retires and is replaced by new                 applied to future year data to quantify
                                                 would allow for increased utilization to                                    lower-emitting generation, it is not a                state emissions budgets for those control
                                                 result in increased budgets. Moreover,                                      punishment to have the budgets adjust                 periods. The procedures for allocating
                                                 this concern is entirely mooted for the                                     in a way that still incentivize remaining             the allowances from each state budget
                                                 period 2026 through 2029 with the shift                                     units to operate their controls. This is              among the units in each state (and
                                                 to preset budgets serving as a floor;                                       simply right-sizing the budget to an                  Indian country within the state’s
                                                 dynamic budgeting can only increase                                         evolving fleet. It is a feature of the rule,          borders) are described in section VI.B.9
                                                 the budget used in any given year in this                                   not a flaw, and is designed to address                of this document. The amounts of the
                                                 time period. Additionally, the use of a                                     observed instances in prior rules where               final preset state emissions budgets for
                                                 multi-year average heat input in the                                        market-driven reduced utilization                     the 2023 through 2029 control periods
                                                 budget-setting calculations will, on the                                    resulted in non-binding (i.e., overly                 are shown in Table VI.B.4.c–1.

                                                         TABLE VI.B.4.c–1—CSAPR NOX OZONE SEASON GROUP 3 PRESET STATE EMISSIONS BUDGETS FOR THE 2023
                                                                                       THROUGH 2029 CONTROL PERIODS
                                                                                                                                                 [Tons] a b

                                                                                                                                     Final         Final          Final         Preset        Preset       Preset      Preset
                                                                                                                                  emissions     emissions      emissions      emissions     emissions    emissions   emissions
                                                                                   State                                           budgets       budgets        budgets        budgets       budgets      budgets     budgets
                                                                                                                                   for 2023      for 2024       for 2025       for 2026      for 2027     for 2028    for 2029

                                                 Alabama .................................................................            6,379          6,489            6,489        6,339         6,236       6,236       5,105
                                                 Arkansas ................................................................            8,927          8,927            8,927        6,365         4,031       4,031       3,582
                                                 Illinois .....................................................................       7,474          7,325            7,325        5,889         5,363       4,555       4,050
                                                 Indiana ...................................................................         12,440         11,413           11,413        8,410         8,135       7,280       5,808
                                                 Kentucky ................................................................           13,601         12,999           12,472       10,190         7,908       7,837       7,392
                                                 Louisiana ................................................................           9,363          9,363            9,107        6,370         3,792       3,792       3,639
                                                 Maryland ................................................................            1,206          1,206            1,206          842           842         842         842
                                                 Michigan .................................................................          10,727         10,275           10,275        6,743         5,691       5,691       4,656
                                                 Minnesota ...............................................................            5,504          4,058            4,058        4,058         2,905       2,905       2,578
                                                 Mississippi ..............................................................           6,210          5,058            5,037        3,484         2,084       1,752       1,752
                                                 Missouri ..................................................................         12,598         11,116           11,116        9,248         7,329       7,329       7,329
                                                 Nevada ...................................................................           2,368          2,589            2,545        1,142         1,113       1,113         880
                                                 New Jersey ............................................................                773            773              773          773           773         773         773
                                                 New York ...............................................................             3,912          3,912            3,912        3,650         3,388       3,388       3,388
                                                 Ohio ........................................................................        9,110          7,929            7,929        7,929         7,929       6,911       6,409
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                                                 Oklahoma ...............................................................            10,271          9,384            9,376        6,631         3,917       3,917       3,917
                                                 Pennsylvania ..........................................................              8,138          8,138            8,138        7,512         7,158       7,158       4,828
                                                 Texas .....................................................................         40,134         40,134           38,542       31,123        23,009      21,623      20,635
                                                 Utah ........................................................................       15,755         15,917           15,917        6,258         2,593       2,593       2,593
                                                 Virginia ...................................................................         3,143          2,756            2,756        2,565         2,373       2,373       1,951
                                                 West Virginia ..........................................................            13,791         11,958           11,958       10,818         9,678       9,678       9,678
                                                 Wisconsin ...............................................................            6,295          6,295            5,988        4,990         3,416       3,416       3,416




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                                                       TABLE VI.B.4.c–1—CSAPR NOX OZONE SEASON GROUP 3 PRESET STATE EMISSIONS BUDGETS FOR THE 2023
                                                                                THROUGH 2029 CONTROL PERIODS—Continued
                                                                                                                                                 [Tons] a b

                                                                                                                                    Final          Final          Final          Preset        Preset       Preset      Preset
                                                                                                                                 emissions      emissions      emissions       emissions     emissions    emissions   emissions
                                                                                 State                                            budgets        budgets        budgets         budgets       budgets      budgets     budgets
                                                                                                                                  for 2023       for 2024       for 2025        for 2026      for 2027     for 2028    for 2029

                                                      Total ................................................................        208,119        198,014           195,259      151,329       119,663     115,193     105,201
                                                    Table Notes:
                                                    a The state emissions budget calculations pertaining to Table VI.B.4.c–1 are described in greater detail in the Ozone Transport Policy Analysis
                                                 Final Rule TSD. Budget calculations and underlying data are also available in Appendix A of that TSD.
                                                    b In the event this final rule becomes effective after May 1, 2023, the emissions budgets and assurance levels for the 2023 control period will
                                                 be adjusted under the rule’s transitional provisions to ensure that the increased stringency of the new budgets would apply only after the rule’s
                                                 effective date. The 2023 budget amounts shown in Table VI.B.4.c–1 do not reflect these possible adjustments. The transitional provisions are
                                                 discussed in section VI.B.12 of this document.


                                                 5. Variability Limits and Assurance                                      requirement to surrender allowances at                    each state’s variability limit for a given
                                                 Levels                                                                   a ratio of one allowance per ton of                       control period so that, instead of always
                                                                                                                          emissions. In contrast, emissions above                   multiplying the state’s emissions budget
                                                    Like each of the other CSAPR trading                                  the state’s assurance level for a given                   for the control period by a value of 21
                                                 programs, the Group 3 trading program                                    control period are strongly discouraged                   percent, the percentage value used will
                                                 includes assurance provisions designed                                   as inconsistent with the state’s good                     be the higher of 21 percent or the
                                                 to limit the total emissions from the                                    neighbor obligations and are subject to                   percentage (if any) by which the total
                                                 sources in each state (and Indian                                        an overall 3-for-1 allowance surrender                    reported heat input of the state’s
                                                 country within the state’s borders) in                                   ratio. The establishment of assurance                     affected EGUs in the control period
                                                 each control period to an amount close                                   levels with associated extra allowance                    exceeds the total historical heat input of
                                                 to the state’s emissions budget for the                                  surrender requirements was intended to                    the state’s affected EGUs as reflected in
                                                 control period, consistent with the                                      respond to the D.C. Circuit’s holding in                  the state’s emissions budget for the
                                                 principle that each state’s sources must                                 North Carolina requiring the EPA to                       control period. For example, if the total
                                                 be held to the elimination of significant                                ensure within the context of an                           reported heat input of the state’s
                                                 contribution within that state, while                                    interstate trading program that sources                   covered sources for the 2025 control
                                                 allowing some flexibility beyond the                                     in each state are required to address                     period is 130 percent of the historical
                                                 emissions budget to accommodate year-                                    their good neighbor obligations within                    heat input used in computing the state’s
                                                 to-year operational variability beyond                                   the state and may not simply shift those                  2025 budget, then the state’s variability
                                                 sources’ reasonable ability to control.                                  obligations to other states by failing to                 limit for the 2025 control period will be
                                                 For each state, the assurance provisions                                 reduce their own emissions and instead                    30 percent of the state’s emissions
                                                 establish an assurance level for each                                    surrendering surplus allowances                           budget instead of 21 percent of the
                                                 control period, defined as the sum of the                                purchased from sources in other                           state’s emissions budget. The EPA
                                                 state’s emissions budget for the control                                 states.319                                                expects that the minimum 21 percent
                                                 period plus a variability limit, which                                      In this rulemaking, the EPA did not                    will apply in almost all instances, and
                                                 under the Group 3 trading program                                        propose and is not making changes to                      that the alternative, higher percentage
                                                 regulations in effect before this                                        the basic structure of the Group 3                        value will apply only in control periods
                                                 rulemaking was 21 percent of the                                         trading program’s assurance provisions,                   where operational variability causes an
                                                 relevant state emissions budget. The                                     which will continue to set an assurance                   unusually large increase relative to the
                                                 purpose of the variability limit is to                                   level for each control period equal to the                historical data used in setting the state’s
                                                 account for year-to-year variability in                                  state’s emissions budget for the control                  emissions budget, which would be a
                                                 EGU operations, which can occur for a                                    period plus a variability limit and will                  situation meriting a temporarily higher
                                                 variety of reasons including changes in                                  continue to apply a 3-for-1 surrender                     variability limit and assurance level.
                                                 weather patterns, changes in electricity                                 ratio to emissions exceeding the state’s                  The revised methodology for
                                                 demand, and disruptions in electricity                                   assurance level.320 Each assurance level                  determining the variability limits will
                                                 supply from other units or from the                                      also will continue to apply to the                        apply both with respect to control
                                                 transmission grid. Because of the need                                   collective emissions of all units within                  periods when a state’s emissions budget
                                                 to account for such variability in                                       the state and Indian country within the                   is a preset budget established in this
                                                 operations of each state’s EGUs, the fact                                state’s borders.321 However, the EPA is                   final rule and with respect to control
                                                 that emissions from the state’s EGUs                                     making a change to the methodology for                    periods when a state’s emissions budget
                                                 may exceed the state’s emissions budget                                  determining the variability limits.                       is a dynamically-determined budget
                                                 for a given control period is not treated                                Specifically, the EPA will determine                      computed using the procedures laid out
                                                 as inconsistent with satisfaction of the                                                                                           in the regulations, and it will apply
                                                                                                                               319 531
                                                                                                                                    F.3d at 908.
                                                 state’s good neighbor obligations as long                                                                                          starting with the 2023 control period
                                                                                                                               320 As
                                                                                                                                   discussed in section VI.B.8, the EPA is also
                                                 as the total emissions from the EGUs
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                                                                                                                          establishing a new secondary emissions limitation
                                                                                                                                                                                    rather than starting with the 2025
                                                 remain below the state’s assurance level.                                for individual units that will apply in situations        control period as proposed.
                                                 Emissions from a state’s EGUs above the                                  where an exceedance of the relevant state’s                  The purpose of the revision to the
                                                 state’s emissions budget but below the                                   assurance level has occurred.                             variability limits is to better align the
                                                                                                                            321 See 40 CFR 97.1002 (definitions of ‘‘common
                                                 state’s assurance level are treated in the                                                                                         variability limits for successive control
                                                                                                                          designated representative,’’ ‘‘common designated
                                                 same manner as emissions below the                                       representative’s assurance level’’ and ‘‘common
                                                                                                                                                                                    periods with the heat input data used in
                                                 state’s emissions budget in that such                                    designated representative’s share’’), 97.1006(c)(2),      setting the state emissions budgets.
                                                 emissions are subject to the same                                        and 97.1025.                                              Under the final rule, each dynamically


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                                                 determined emissions budget will be                     apply the same principle in setting the                on that analysis, the variability limits
                                                 computed using the latest available                     variability limit in control periods                   for ozone season NOX in both CSAPR
                                                 reported heat input, which for each                     where the preset floor budgets are used                and the CSAPR Update were set at 21
                                                 budget set for a control period in 2026                 as in control periods where the                        percent of each state’s budget, and these
                                                 or a later year will be the average state-              dynamically determined budgets are                     variability limits for the NOX ozone
                                                 level heat input for the control periods                used, because the preset floor budgets                 season trading programs were then
                                                 two, three, and four years before the                   are computed using the same principles                 codified in 40 CFR 97.510 and 97.810,
                                                 control period whose budget is being                    as the dynamically determined budgets,                 along with the respective state
                                                 determined (for example, the dynamic                    with the major difference being that the               budgets.323 For the Revised CSAPR
                                                 state emissions budgets for the 2026                    available heat input data used in                      Update, the EPA performed an updated
                                                 control period will be computed in early                computing the preset budgets are                       variability analysis for the twelve states
                                                 2025 using the reported state-level heat                necessarily less current. Accordingly,                 being moved into the Group 3 trading
                                                 input for the 2022–2024 control                         because preset budgets established in                  program in that rulemaking, evaluating
                                                 periods). The revised variability limits                this manner are used starting with the                 historical state-level heat input
                                                 will be well coordinated with the                       2023 control period, the EPA believes it               variability over the period from 2000
                                                 budgets established using this dynamic                  is also reasonable to begin                            through 2019. The updated analysis
                                                 budgeting process, because the                          implementing the revised methodology                   again resulted in a variability estimate
                                                 percentage change in the actual heat                    for determining variability limits                     of 21 percent. The EPA also considered
                                                 input for the control period relative to                starting with the 2023 control period.                 shorter time periods for the updated
                                                 the earlier multi-year average heat input                  The reason the EPA is using the                     analysis and found that the resulting
                                                 used in computing the state’s emissions                 higher of a fixed 21 percent or the                    variability estimates were not especially
                                                 budget will be an appropriate measure                   percentage change in heat input                        sensitive to the particular time period
                                                 of the degree of operational variability                computed as just described is that the                 analyzed.324 A further updated analysis
                                                 actually experienced by the state‘s EGUs                EPA believes that, for operational                     for this rulemaking again results in a
                                                 in the control period relative to the                   planning purposes, it can be useful for                variability estimate of 21 percent for
                                                 assumed operating conditions reflected                  sources to know in advance of the                      most states, and although the historical
                                                 in the state’s budget. Setting a                        control period a minimum value for                     analysis indicates a higher percentage
                                                 variability limit in this manner is thus                what the variability limit could turn out              for the covered state with the smallest
                                                 entirely consistent with the overall                    to be. Because a state’s actual total heat             total heat input figures in this analysis—
                                                 purpose of including variability limits                 input for a control period is not known                New Jersey—the EPA does not consider
                                                 in the assurance provisions.                            until after the end of the control period,             it appropriate to raise the minimum
                                                    As discussed in sections VI.B.1.b.i                  this revision will have the consequence                variability limit percentage beyond 21
                                                 and VI.B.4, for the 2023–2025 control                   that the state’s final variability limit and           percent for all other covered states
                                                 periods the state emissions budget for a                assurance level for the control period                 based on the analytic results for one
                                                 given control period will be the preset                 also will not be known until after the                 state, where small absolute heat input
                                                 budget determined in this rule, and for                 control period. However, because the                   figures have resulted in a larger
                                                 the 2026–2029 control periods, the state                rule provides that the variability limit               variability percentage.325 (Moreover,
                                                 emissions budget for a given control                    will always be at least 21 percent, the                because of the provision allowing a
                                                 period will be the preset budget                        sources in a state will be able to rely for            state’s variability limit for a given
                                                 determined in this rule rather than the                 planning purposes on the knowledge                     control period to be higher than 21
                                                 dynamically determined budget                           that the assurance level will always be                percent if the state’s actual heat input
                                                 computed in the year before the control                 at least 121 percent of the state’s                    exceeds the heat input used to set the
                                                 period unless the dynamic budget is                     emissions budget for the control period.               state’s emissions budget by more than
                                                 higher than the preset budget. If the                   Advance knowledge of the minimum                       21 percent, there is no need to set a
                                                 state emissions budget is the preset                    possible amount of the assurance level                 minimum variability limit higher than
                                                 budget, the historical heat input data                  can be useful to sources, because one                  21 percent specifically for New Jersey.)
                                                 reflected in that budget will be the heat               way a fleet owner can be confident that                Based on the consistent conclusions of
                                                 input data for the 2021 control period,                 it will never incur the 3-for-1 allowance              these multiple analyses, the EPA is
                                                 adjusted to reflect projected changes in                surrender ratio owed for emissions                     continuing to use 21 percent as the
                                                 fleet composition over time that are                    exceeding its state’s assurance level is to
                                                 known at the time of this rulemaking,                   plan its operations so as to never allow                  323 Briefly, the 21 percent variability limit was

                                                 but not adjusted to reflect changes in                  the emissions from its fleet to exceed                 determined in the analysis by identifying, for all the
                                                                                                                                                                states in the region covered by the ozone season
                                                 fleet composition that are not known at                 the fleet’s aggregated share of the state’s            NOX trading program, and at a 95 percent
                                                 the time of the rulemaking or changes in                assurance level for the control period.                confidence level, the maximum expected deviation
                                                 the utilization of individual units.322 In              Knowing that the variability limit will                in any state’s total heat input for any single control
                                                 this case, the variability limit for the                always be at least 21 percent will                     period in the data sample from that state’s trend-
                                                                                                                                                                adjusted mean total heat input for all the control
                                                 control period would be the higher of 21                provide sources with minimum values                    periods in the data sample. For details on the
                                                 percent or the percentage change in the                 they could use for such planning                       original variability analysis for 26 states over the
                                                 actual heat input for the control period                purposes.                                              2000–2010 period, including a description of the
                                                 relative to the heat input for the 2021                    The EPA believes that 21 percent is a               methodology, see the Power Sector Variability Final
                                                 control period as adjusted to reflect the               reasonable value to use as the minimum                 Rule TSD from the CSAPR (EPA–HQ–OAR–2009–
                                                                                                                                                                0491–4454), available in the docket for this rule.
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                                                 projected changes in fleet composition.                 variability limit. To determine                           324 For the updated variability analysis for twelve
                                                 The EPA believes it is reasonable to                    appropriate variability limits for the                 states for the 2000–2019 period, see the Excel file
                                                                                                         trading programs established in CSAPR,                 ‘‘Historical Variability in Heat Input 2000 to
                                                    322 The total heat input amount used in              the EPA analyzed historical state-level                2019.xls’’, available in the docket for this rule.
                                                 computing each state’s preset emissions budget for                                                                325 See the Excel document, ‘‘OS Heat Input—
                                                                                                         heat input variability over the period
                                                 each control period from 2023 through 2029 is                                                                  Variability 2000 to 2021.xls’’ for updated data,
                                                 included in Appendix A of the Ozone Transport
                                                                                                         from 2000 through 2010 as a proxy for                  application of the CSAPR variability methodology,
                                                 Policy Analysis Final Rule TSD at column I of the       emissions variability, assuming constant               and results applied to heat input for 2000 through
                                                 ‘‘State 2023’’–‘‘State 2029’’ worksheets.               emissions rates. See 76 FR 48265. Based                2021 for all states and for the region collectively.



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                                                 minimum value in the revised approach                   acquisition of allowances issued to                    with reasonable accuracy shortly after
                                                 for establishing variability limits for all             sources in other states or the use of                  the end of each control period what
                                                 control periods under this rule.                        banked allowances. Thus, to the extent                 degree of recalibration to expect for the
                                                    The provisions of the final rule                     that the change in the variability limit               next control period, even if the
                                                 relating to assurance levels and                        provisions facilitates shifting of                     recalibration would not actually be
                                                 variability limits are unchanged from                   generation from some states to other                   carried out until the following August.
                                                 proposal, with the exception that the                   states, increased heat input in the first              The EPA will make an estimate of the
                                                 provision establishing a higher                         set of states would generally be offset by             applicable calibration ratio for each
                                                 variability limit for a state in a given                decreased heat input in the second set                 control period publicly available no
                                                 control period where the state’s actual                 of states, such that any increases in                  later than March 1 of the year of the
                                                 heat input exceeds the heat input used                  future dynamic budgets for the first set               control period for which the bank will
                                                 in computing the state emissions budget                 of states would be offset by decreases in              be recalibrated.
                                                 for that control period by more than 21                 future dynamic budgets for the second                     Before undertaking a recalibration
                                                 percent will be implemented starting                    set of states. In addition, the final rule’s           process each control period, the EPA
                                                 with the 2023 control period instead of                 use of multiple years of historical heat               will first determine whether the total
                                                 the 2025 control period.                                input data to compute the dynamically-                 amount of all banked Group 3
                                                    Comment: Some commenters                             determined state budgets will moderate                 allowances from previous control
                                                 supported the EPA’s proposal to raise a                 the effect of any single year’s heat input             periods held in all facility accounts and
                                                 state’s variability limit above 21 percent              on the dynamically-determined budgets                  general accounts in the Allowance
                                                 for a given control period if the state’s               for future control periods.                            Management System exceeds the target
                                                 actual heat input for the control period                                                                       bank amount. (For this purpose, no
                                                 was more than 121 percent of the                        6. Annual Recalibration of Allowance                   distinction will be made between
                                                 historical heat input used to set the                   Bank                                                   banked Group 3 allowances issued from
                                                 state’s budget for that control period.                    As discussed in section VI.B.1.b of                 the state emissions budgets for previous
                                                 These commenters agreed with the EPA                    this document, the EPA is making two                   control periods and banked Group 3
                                                 that making this adjustment is                          revisions to the Group 3 trading                       allowances issued through the
                                                 consistent with the assurance                           program designed to better maintain the                conversion of previously banked Group
                                                 provisions’ purpose of strongly                         Step 3 emissions control stringency over               2 allowances.) If the total amount of
                                                 incentivizing each state to achieve its                 time. The first proposed revision,                     banked Group 3 allowances does not
                                                 required emissions reductions within                    discussed in section VI.B.4 of this                    exceed the target bank amount, the EPA
                                                 the state while also accounting for year-               document, is to adopt a dynamic                        will not carry out any recalibration for
                                                 to-year variability in electric system                  budget-setting methodology that will                   that control period. If the total amount
                                                 operations.                                             allow state emissions budgets in future                of unused allowances does exceed the
                                                    One commenter stated that the EPA                    years to reflect more accurate                         target bank amount, the EPA will
                                                 should not finalize the proposed                        information about the composition and                  determine for each account with
                                                 revision to the variability limit                       utilization of the EGU fleet. The second,              holdings of banked Group 3 allowances
                                                 provisions, claiming that by allowing                   complementary, revision is to                          the account-specific recalibrated
                                                 sources in some states to increase                      recalibrate the bank of unused                         amount of allowances, computed as the
                                                 utilization and heat input so as to                     allowances each control period to                      account’s total holdings of banked
                                                 exceed the state’s budget by more than                  prevent allowance surpluses from                       Group 3 allowances immediately before
                                                 21 percent in a given year, the                         accumulating and adversely impacting                   the recalibration multiplied by the target
                                                 adjustment would then cause the state’s                 the ability of the trading program in                  bank amount and divided by the total
                                                 subsequent dynamically determined                       future control periods to maintain the                 amount of banked Group 3 allowances
                                                 budgets to be higher, allowing greater                  Step 3 emissions control stringency.                   in all accounts, rounded up to the
                                                 emissions over time.                                       As proposed and now finalized in this               nearest allowance. Finally, the EPA will
                                                    Response: The EPA disagrees with the                 rule, the bank recalibration process will              deduct from each account any banked
                                                 comment advocating against finalization                 start with the 2024 control period, after              Group 3 allowances exceeding the
                                                 of the proposed change to the variability               the compliance process for the 2023                    account’s recalibrated amount of banked
                                                 limit provisions. The Agency continues                  control period for all current and newly               allowances.
                                                 to view the proposed change as useful                   added states in the Group 3 trading                       As the target bank amount used in the
                                                 for accommodating instances where,                      program has been completed. The                        recalibration process for each control
                                                 because of electrical system operating                  recalibration process for each control                 period, the EPA will use an amount
                                                 needs, a state’s actual total heat input in             period will be carried out on or shortly               determined as a percentage of the sum
                                                 a control period exceeds the historical                 after August 1 of that control period,                 of the state emissions budgets for the
                                                 heat input used to set the state                        two months after the compliance                        control period. For the control periods
                                                 emissions budget for the control period,                deadline for the previous control period,              from 2024 through 2029, the target
                                                 potentially causing increased emissions                 making the date of the first recalibration             percentage will be 21 percent, which is
                                                 even when all EGUs in a state are                       August 1, 2024. The recalibrations take                the sum of the states’ minimum
                                                 achieving emissions rates consistent                    place on August 1 each year because                    variability limits.326 For control periods
                                                 with the Step 3 emissions control                       compliance for the previous control                    in 2030 and later years, the target
                                                 stringency. Moreover, the EPA does not                  period would not be completed until                    percentage will be 10.5 percent, or half
                                                 believe that the provision would lead to                after June 1. However, because data on
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                                                                                                                                                                of the sum of the states’ minimum
                                                 higher overall program-wide budgets.                    the amounts of allowances held are
                                                 No extra allowances would be created                    publicly available and the total quantity                326 As discussed in section VI.B.5, an individual

                                                 by the increase in a state’s variability                of allowances needed for compliance for                state’s variability limit can be higher than 21
                                                 limit, so with or without the adjustment,               the previous control period will be                    percent in a given control period if the state’s actual
                                                                                                                                                                heat input for that control period is more than 121
                                                 any allowances to cover the emissions                   known shortly after the end of that                    percent of the historical heat input used in
                                                 in excess of the state’s budget would                   control period, sources and other market               computing the state emissions budget for the
                                                 still need to be obtained through                       participants will be able to ascertain                 control period.



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                                                 variability limits. In the proposal, the                enhancement to the trading program                     of the reasons for bank recalibration, see
                                                 EPA cited two reasons for proposing the                 that will help maintain the control                    section VI.B.1.b.ii of this document.
                                                 10.5 percentage amount. First, in the                   stringency determined to be necessary                     The bank recalibration mechanism
                                                 transition from CSAPR to the CSAPR                      to address states’ good neighbor                       finalized in this rule is unchanged from
                                                 Update, where the EPA set a target bank                 obligations for the 2015 ozone NAAQS                   the proposal except for the final rule’s
                                                 amount 1.5 times the sum of the                         over time. Moreover, the recalibrations                adoption of a target percentage of 21
                                                 variability limits, and in the transition               are less complex than alternative                      percent rather than 10.5 percent for the
                                                 from the CSAPR Update to the Revised                    approaches would be. For example, the                  control periods from 2024 through 2029.
                                                 CSAPR Update, where the EPA set a                       NOX Budget Trading Program                             The EPA’s responses to comments on
                                                 target bank amount of 1.0 times the sum                 established in the NOX SIP Call also                   the bank recalibration mechanism are
                                                 of the variability limits, in each case the             contained provisions designed to                       discussed in the remainder or this
                                                 initial bank proved larger than                         prevent excessive accumulations of                     section and in section 5 of the RTC
                                                 necessary, as total emissions of all                    banked allowances on program                           document. Further discussion of the
                                                 sources in the program were less than                   stringency, but those provisions—under                 reasons for adopting a higher target
                                                 the budgets. Second, an analysis of year-               the name ‘‘progressive flow control’’—                 percentage for the 2024–2029 control
                                                 to-year variability of heat input for the               introduced uncertainty as to whether                   periods is included in section VI.B.1.d
                                                 region covered by this rule suggests that               banked allowances would be usable to                   of this document.
                                                 the regional heat input for an individual                                                                         Comment: Some commenters
                                                                                                         offset one ton of emissions or less than
                                                 year can be expected to vary by up to                                                                          acknowledged the EPA’s authority to
                                                                                                         one ton of emissions in the current
                                                 10.5 percent above or below the central                                                                        manage the quantities of allowances
                                                                                                         control period. As a consequence of this
                                                 trend with 95 percent confidence. This                                                                         carried over from one control period to
                                                                                                         uncertainty, in some control periods,
                                                 variability analysis is an application to                                                                      the next as banked allowances,
                                                                                                         allowances banked from earlier control
                                                 the entire region of the variability                                                                           including some commenters who as a
                                                                                                         periods traded at lower prices than                    policy matter did not support such an
                                                 analysis EPA has performed for                          allowances issued for the current
                                                 individual states to establish the                                                                             approach. Other commenters claimed
                                                                                                         control period.328 The EPA considers                   that any removal from the program of
                                                 minimum variability limit of 21 percent                 the recalibration mechanism established
                                                 for the states in the trading program.327                                                                      allowances banked in earlier control
                                                                                                         in this rule to be simpler with less                   periods would constitute an unlawful
                                                 When the analysis is performed at the                   associated uncertainty. Following each
                                                 regional level, the data show less year-                                                                       taking of property or would constitute
                                                                                                         bank recalibration, all allowances usable              unlawful overcontrol.
                                                 to-year variation than when the analysis                for compliance in the control period                      Response: The EPA disagrees with
                                                 is performed at the individual state                    will have known, equal compliance                      comments contending that the proposed
                                                 level. Within the trading program                       values for the remainder of the control                bank recalibration provisions would be
                                                 structure, it is reasonable to use                      period and until the deadline for                      unlawful, either as asserted takings of
                                                 variability analyzed at the level of                    surrendering allowances after the                      property or as over-control for purposes
                                                 individual states to set the variability                control period.                                        of the Good Neighbor provision. With
                                                 limits, which apply at the level of                                                                            respect to the claim that removing
                                                                                                            Finally, the EPA observes that the
                                                 individual states, while using variability                                                                     allowances would constitute takings of
                                                                                                         recalibration mechanism is entirely
                                                 analyzed at the level of the overall                                                                           property, the commenters misconstrue
                                                                                                         consistent with the Agency’s existing
                                                 region to set a target level for a bank,                                                                       the nature of an allowance. The
                                                                                                         authority under 40 CFR 97.1006(c)(6) to
                                                 which will apply at the level of the                                                                           allowances used in the Group 3 trading
                                                                                                         ‘‘terminate or limit the use and
                                                 overall program.                                                                                               program are created under the program’s
                                                    In the final rule, in response to                    duration’’ of any Group 3 allowance ‘‘to
                                                                                                         the extent the Administrator determines                regulations, which expressly provide
                                                 comments, the EPA has determined to                                                                            that the allowances are not property
                                                 maintain the 10.5 target percentage for                 is necessary or appropriate to
                                                                                                         implement any provision of the Clean                   rights but are limited authorizations to
                                                 the reasons discussed in previous                                                                              emit NOX in accordance with the
                                                 paragraphs, but to defer application of                 Air Act.’’ The Administrator is
                                                                                                         determining that the recalibrations are                provisions of the Group 3 trading
                                                 this target percentage until the 2030                                                                          program.329 These provisions of the
                                                 control period. For the control periods                 both necessary and appropriate to
                                                                                                         ensure that the control stringency                     Group 3 trading program regulations
                                                 from 2024 through 2029, the EPA will                                                                           have been in existence since the Revised
                                                 instead use a target percentage of 21                   selected in this rulemaking is
                                                                                                         maintained and states’ good neighbor                   CSAPR Update and were not reopened
                                                 percent. The reason for using a higher                                                                         in this action. This approach of creating
                                                 target percentage for the 2024–2029                     obligations with respect to the 2015
                                                                                                         ozone NAAQS are addressed. The                         limited authorizations to engage in
                                                 control periods is to provide additional                                                                       particular forms of conduct within a
                                                 support for allowance market liquidity                  recalibration process will complement
                                                                                                         the revised budget-setting process by                  regulatory program extends back to the
                                                 during these years, which both the EPA                                                                         Acid Rain Program, where the approach
                                                 and commenters view as an important                     preventing any surplus of allowances
                                                                                                         created in one control period from                     was mandated by Congress, and has
                                                 period of generating fleet transition for                                                                      been followed by EPA in each
                                                 the power industry.                                     diminishing the intended stringency
                                                                                                         and resulting emissions reductions of                  subsequent allowance trading program
                                                    The annual bank recalibrations, at                                                                          for the electric power sector.330
                                                 either ratio, are an important                          the emissions budgets for subsequent
                                                                                                         control periods. For further discussion                Moreover, as noted earlier in this
                                                                                                                                                                section, the Group 3 trading program
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                                                   327 See the Power Sector Variability Final Rule

                                                 TSD from CSAPR, available at https://www.epa.gov/          328 For more discussion of the progressive flow
                                                                                                                                                                regulations provide the EPA
                                                 csapr/power-sector-variability-final-rule-tsd for a     control mechanism, as well as allowance price data
                                                                                                                                                                  329 40 CFR 97.1006(c)(6)–(7).
                                                 description of the methodology. Also see the Excel      showing a discounted value for banked allowances,
                                                 document ‘‘OS Heat Input—Variability 2000 to            see ‘‘NOX Budget Trading Program: 2005 Program           330 See, e.g., 42 U.S.C. 7651b(f) and 40 CFR
                                                 2021.xls’’ for updated data, application of the         Compliance and Environmental Results’’                 72.9(c)(6)–(7) (Acid Rain Program example); 40 CFR
                                                 CSAPR variability methodology, and results applied      (September 2006) at 28–30, https://www.epa.gov/        97.6(c)(6)–(7) (Federal NOX Budget Trading
                                                 to heat input for 2000 through 2021 for all states      sites/default/files/2015-08/documents/2005-nbp-        Program example); 40 CFR 97.106(c)(5)–(6) (CAIR
                                                 and for the region collectively.                        compliance-report.pdf.                                 NOX Annual Trading Program example).



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                                                 Administrator with the authority to                     notes that the NAAQS apply                             stringency regardless of the quantities of
                                                 terminate or limit the use and duration                 continuously, and the possibility that                 banked allowances are similarly
                                                 of such authorization to the extent the                 the sources in a state may have done                   mistaken, because rather than reducing
                                                 Administrator determines is necessary                   more than the minimum necessary to                     overall emissions of all sources in the
                                                 or appropriate to implement any                         meet the state’s Good Neighbor                         trading program, the backstop rate
                                                 provision of the Clean Air Act, and the                 obligations in one control period does                 provisions are designed to ensure that
                                                 Administrator is making such a                          not create a right for the state to do less            the largest individual sources of
                                                 determination in this rule.                             than is necessary to meet the state’s                  potential emissions operate their
                                                    The EPA also disagrees that bank                     Good Neighbor obligations in                           controls consistently. If the quantities of
                                                 recalibration would constitute                          subsequent control periods.                            banked allowances are allowed to grow
                                                 overcontrol. The emissions that are                        Comment: Some commenters                            to the point where sources collectively
                                                 permissible in a given control period                   expressed concern that excessive                       can plan to emit above the collective
                                                 consistent with the Step 3 control                      quantities of banked allowances, like                  state emissions budgets, the backstop
                                                 stringency are quantified in the state                  excessive quantities of budgeted                       rate provisions would do nothing to
                                                 emissions budgets for the control                       allowances, can lead to lower allowance                constrain emissions from the sources
                                                 period. Banked allowances from                          prices. The commenters observed that                   not subject to the backstop rate.
                                                 previous control periods are necessarily                with lower allowance prices, some units                   With respect to the suggestion that
                                                 surplus to the state emissions budgets                  would likely operate their controls less               state emissions budgets reflecting
                                                                                                         effectively, resulting in a greater                    sufficient control stringency can avoid
                                                 for the current control period. As noted
                                                                                                         likelihood that the emissions stringency               the need for bank recalibration, the EPA
                                                 in section VI.B.1, in an allowance
                                                                                                         found necessary in this rule would not                 observes that the budget-setting and
                                                 trading program, banking provisions can
                                                                                                         be sustained. Other commenters                         bank recalibration provisions in this
                                                 serve several useful purposes, including
                                                                                                         expressed the view that other provisions               rule are complements, not substitutes. If
                                                 continuously incentivizing sources to
                                                                                                         of the rule, including more stringent                  in a given year sources collectively emit
                                                 reduce their emissions even when they
                                                                                                         state emissions budgets, the backstop                  against the collective state emissions
                                                 already hold sufficient allowances to
                                                                                                         daily NOX emissions rate provisions,                   budgets such that the ending allowance
                                                 cover their expected emissions for a
                                                                                                         and the assurance provisions would be                  bank—that is, the allowances remaining
                                                 control period, facilitating compliance
                                                                                                         sufficient to incentivize EGUs to operate              after deduction of the allowances
                                                 cost minimization, accommodating
                                                                                                         their controls effectively, making                     required for compliance—is less than
                                                 necessary operational flexibility, and                  allowance bank recalibration                           the bank target amount, then the bank
                                                 promoting allowance market liquidity.                   superfluous for this purpose.                          will not be recalibrated for the following
                                                 However, these useful purposes do not                      Response: The EPA agrees with the                   control period. However, in the event
                                                 include allowing sources to plan to emit                comments explaining that without bank                  that sources collectively emit against the
                                                 in excess of the Step 3 control                         recalibration, the quantities of banked                collective state emissions budgets such
                                                 stringency as represented by the state                  allowances can grow, leading to lower                  that the ending allowance bank is above
                                                 emissions budgets for the control                       allowance prices, diminished incentives                the bank target amount, then the
                                                 period. Accordingly, in the overcontrol                 for sources to optimize control                        recalibration provisions will ensure that
                                                 analysis discussed in section V.D.4, the                operation, and greater risk of failure to              the recalibrated allowance bank does
                                                 EPA analyzed whether the emissions                      sustain the Step 3 control stringency,                 not introduce an excessive overall
                                                 reductions necessary to meet the state                  and disagrees with the comments                        quantity of allowances into the trading
                                                 emissions budgets without relying for                   arguing that other rule provisions would               program for the following control period
                                                 compliance purposes on any allowances                   make bank recalibration unnecessary.                   when combined with the state
                                                 banked in earlier control periods would                 The suggestion that the assurance                      emissions budgets calculated for that
                                                 result in overcontrol and determined                    provisions can maintain program                        control period. Without the
                                                 there would be no overcontrol. (That is,                stringency regardless of allowance                     recalibration provisions, the trading
                                                 the modeling of the effects of the Group                quantities ignores the fact that the                   program would lack any mechanism for
                                                 3 emissions budgets in 2026 did not                     emission levels consistent with the                    removing excess allowances that are
                                                 include an assumption that there would                  Group 3 control stringency in a given                  inconsistent with maintaining the Step
                                                 be any banked allowances.) Thus, even                   control period are the state emissions                 3 emissions control stringency which
                                                 if the Agency had finalized regulatory                  budgets, not the higher assurance levels.              the Step 4 trading program is designed
                                                 provisions removing all banked                          If the quantities of banked allowances in              to implement.
                                                 allowances from the trading program                     the program grow to the point where                       Comment: Some commenters claimed
                                                 between control periods—in contrast to                  sources collectively can plan to emit                  that the recalibration process itself
                                                 the actual bank recalibration provisions,               above the collective state emissions                   would have undesirable consequences.
                                                 which permit substantial quantities of                  budgets, then the trading program                      First, some said that because bank
                                                 banked allowances to remain in the                      would be unable to ensure that the                     recalibration would be executed
                                                 trading program—the information                         Group 3 control stringency is being                    partway through the control period, it
                                                 available to the Agency suggests such                   achieved, even if emissions do not rise                would introduce uncertainty concerning
                                                 provisions would not constitute over-                   further than the assurance levels.                     the quantities of allowances each source
                                                 control. With respect to some                           Further, there are now examples from                   would have available, impeding efforts
                                                 commenters’ assertions that bank                        the Group 2 trading program of sources                 to plan. Second, some commenters
                                                 recalibration would over-control by
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                                                                                                         emitting in excess of the state-wide                   claimed that the prospect of bank
                                                 ‘‘writing off’’ emission reductions that                assurance levels, because a glut of                    recalibration would create
                                                 may have gone beyond the reductions                     banked allowances which was not                        counterproductive incentives for
                                                 necessary to address the Good Neighbor                  prevented by the regulations for that                  allowance holders. According to the
                                                 provision or would make it more                         trading program rendered even the                      commenters, allowances holders would
                                                 difficult to create surplus allowances in               three-to-one surrender ratio ineffective.              be incentivized to ‘‘use or lose’’ their
                                                 one control period to offset excess                     Suggestions that the backstop emissions                allowances (to reduce the number of
                                                 emissions in later control periods, EPA                 rate provisions can maintain program                   allowances that would be removed from


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                                                 their accounts in the recalibration                     recalibration mechanism in this                        adjustment for such a reason at this
                                                 process), thereby causing increased                     program will continue to incentivize                   time.
                                                 emissions, or alternatively would be                    early emissions reductions.                              With respect to the comments
                                                 incentivized to refuse to sell allowances                  Comment: Turning to the level of the                advocating for an even higher bank
                                                 (to allow the holders to have more                      bank recalibration target, some                        target percentage to facilitate trading
                                                 allowances after the next recalibration),               commenters objected to the target bank                 and promote market liquidity, the
                                                 thereby reducing allowance market                       percentage of 10.5 percent, saying that                Agency observes that any such
                                                 liquidity.                                              a larger bank would be needed to ensure                advantage of larger allowance banks
                                                    Response: The EPA disagrees with                     that sufficient allowances would be                    must be balanced with the
                                                 these comments. As discussed                            available to enable sources to run as                  disadvantages of excess allowance
                                                 previously in this section, the                         needed to provide reliable electricity                 supply—specifically, reduced allowance
                                                 recalibration process has been                          service, particularly with the large year-             prices, diminished incentives for
                                                 scheduled for August 1 of each control                  to-year swings in budgets that the                     sources to optimize control operation,
                                                 period because compliance for the                       commenters anticipated could occur                     and greater risk of failure to sustain the
                                                 previous control period (and the                        with dynamic budgets computed using                    Step 3 control stringency. In the final
                                                 associated allowance trading activities)                a single rolling historical year and with              rule, the EPA finds that a reasonable
                                                 would not be completed until after June                 anticipated growth in renewable                        balance between these opposing
                                                 1. However, the information needed to                   generation. Some commenters                            considerations is struck by temporarily
                                                 project the degree of recalibration will                recommended a target bank percentage                   adopting a higher bank target percentage
                                                 be available by early November of the                   of 21 percent. Some commenters stated                  of 21 percent (consistent with the initial
                                                 previous year, and the EPA will make                    that even if the overall quantity of                   bank targets used in this rule and
                                                 an estimate publicly available no later                 allowances available for use was greater               previous rules) and deferring
                                                 than March 1, two months before the                     than the total amount of emissions, a                  implementation of the 10.5 percent
                                                 start of the control period. Further, at                larger bank of allowances would                        target bank percentage identified by the
                                                 least 80 percent of the allowances for                  facilitate trading and promote greater                 Agency’s analysis as a sustainable
                                                 use in a given control period will be the               allowance market liquidity, citing                     percentage in the longer term until the
                                                 allowances allocated from the state                     reports of high allowance prices in                    2030 control period.
                                                 emissions budgets (with the recalibrated                2022.                                                  7. Unit-Specific Backstop Daily
                                                 banked allowances from the prior
                                                                                                            Response: As discussed in sections                  Emissions Rates
                                                 control period comprising the
                                                 remainder), and the emissions budgets                   VI.B.1.d and VI.B.4 and earlier in this                   While the identified EGU emissions
                                                 and unit-level allocations amounts will                 section, the EPA does not agree with                   reductions in section V of this
                                                 be known approximately a year before                    comments suggesting that annual bank                   document (i.e., the Step 3 emissions
                                                 the start of the control period.                        recalibration in itself poses a risk to                control stringency) are incentivized and
                                                    The comments claiming that the                       electric grid reliability. Nevertheless,               secured primarily through the
                                                 introduction of a bank recalibration                    the Agency has made several changes                    corresponding seasonal state emissions
                                                 process would create incentives to ‘‘use                from proposal in the final rule designed               budgets (expressed as a seasonal
                                                 or lose’’ allowances or to hoard                        to address concerns expressed about                    tonnage limit for all covered EGUs
                                                 allowances are not persuasive. By                       reliability by increasing compliance                   within a state’s borders) described
                                                 reducing the supply of allowances                       flexibility through the 2029 control                   earlier, the EPA is also incorporating a
                                                 carried over from previous control                      period. These changes through the 2029                 backstop daily emissions rate of 0.14 lb/
                                                 periods, bank recalibration would tend                  control period include the use of a target             mmBtu applied to coal-fired steam units
                                                 to raise the price of allowances in the                 bank percentage of 21 percent and the                  serving generators with nameplate
                                                 current control period, making it more                  promulgation of preset budgets that will               capacity greater than or equal to 100
                                                 cost-effective and therefore in sources’                serve as the state emissions budgets                   MW in covered states, except circulating
                                                 interest to further reduce their                        unless the dynamic budgets for the                     fluidized bed units. This is important
                                                 emissions than to increase their                        control periods are higher. In addition,               for ensuring the elimination of
                                                 emissions. Higher allowance prices                      to reduce year-to-year variability under               significant contribution on a more
                                                 would also increase the cost of hoarding                the budget-setting methodology,                        consistent basis from the relevant
                                                 allowances just as higher fuel prices                   dynamic budgets will be calculated                     sources and over each day of the ozone
                                                 raise the cost of maintaining large fuel                using multiple years of historical heat                season.
                                                 inventories. Moreover, the EPA expects                  input data instead of heat input data                     Starting with the 2024 control period,
                                                 that the prospect of having banked                      from a single year. The EPA views these                a 3-for-1 allowance surrender ratio
                                                 allowances recalibrated after the end of                changes as responsive to the principal                 (instead of the usual 1-for-1 surrender
                                                 the control period is much more likely                  reasons that commenters gave for their                 ratio) will apply to emissions during the
                                                 to discourage hoarding than to                          claims that the target bank percentage                 ozone season from any large coal-fired
                                                 encourage it. Given the choice between                  should be higher than 10.5 percent.                    EGU with existing SCR controls
                                                 holding an allowance which may be                       Regarding the claim that a higher target               exceeding by more than 50 tons a daily
                                                 removed as part of an upcoming                          bank percentage is needed because                      average NOX emissions rate of 0.14 lb/
                                                 recalibration process or instead selling                increased renewable generation makes                   mmBtu. The daily average emissions
                                                 the allowance for cash, the sale option                 the demand for fossil generation more                  rate provisions will apply to large coal-
                                                                                                         variable, commenters did not provide
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                                                 will become more attractive. By creating                                                                       fired EGUs without existing SCR
                                                 a ‘‘sell or lose’’ incentive for holders of             evidence demonstrating that the overall                controls (except circulating fluidized
                                                 surplus allowances, the recalibration                   quantities of fossil generation                        bed units) starting with the second
                                                 process should increase allowance                       throughout the multi-state region                      control period in which newly installed
                                                 market liquidity. At the same time, by                  covered by this rule—as opposed to the                 SCR controls are operational at the unit,
                                                 ensuring a banked allowance will                        operating patterns of some individual                  but not later than the 2030 control
                                                 always have some value for use in a                     units—are becoming more variable, and                  period. See Appendix A of the Ozone
                                                 future control period, the bank                         the Agency declines to make an                         Transport Policy Analysis Final Rule


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                                                 TSD for a list of coal-fired steam units                EPA first conducted an empirical                          the most important example being the
                                                 serving generators larger than or equal                 exercise using reported daily emissions                   emissions during unit startup before
                                                 to 100 MW in covered states for which                   rate data from existing, SCR-controlled                   SCR equipment can be brought into
                                                 the identified backstop emissions rate                  coal units that were emitting at or below                 service, and to a lesser extent the
                                                 will apply.                                             0.08 lb/mmBtu on a seasonal average                       emissions during unit shutdown. The
                                                    For each unit subject to the backstop                basis. This seasonal rate reflects the                    analysis used by the EPA to derive the
                                                 daily emissions rate provisions for a                   average across a unit’s range of varying                  50-ton threshold is described in detail
                                                 given control period, the amount of                     daily rates reflecting different operation                in the Ozone Transport Policy Analysis
                                                 emissions subject to the 3-for-1                        conditions. When the EPA examined the                     Final Rule TSD. Briefly, for a set of 164
                                                 surrender ratio will be determined as                   daily emissions rate pattern for these                    SCR-equipped units with seasonal
                                                 follows, generally on an automated basis                units considered to be optimizing their                   average NOX emissions rates at or below
                                                 using the unit’s data acquisition and                   SCRs on a seasonal basis, the EPA                         0.08 lb/mmBtu in 2021, the EPA
                                                 handling system (DAHS) required under                   observed that over 95 percent of the                      evaluated the total amounts of
                                                 40 CFR part 75. For each day of the                     time, their daily rates were below 0.14                   emissions that would have been
                                                 control period where the unit’s average                 lb/mmBtu. In addition, for these units,                   determined to exceed a daily average
                                                 emissions rate for that day was higher                  less than 1 percent of their seasonal                     emissions rate of 0.14 lb/mmBtu in the
                                                 than 0.14 lb/mmBtu, the owner or                        emissions would exceed this daily rate                    2021 and 2022 ozone seasons. In the
                                                 operator will compute what the unit’s                   limit.                                                    2021 ozone season, only 572 tons out of
                                                 reported emissions on that day would                       The EPA conducted this analysis to be                  these units’ total emissions of 60,350
                                                 have been (given the unit’s reported                    consistent with the methodology                           tons, or 0.9 percent, would have been
                                                 heat input for the day) at an emissions                 developed in the 2014 1-hr SO2                            considered exceedances, with an
                                                 rate of 0.14 lb/mmBtu. The difference                   attainment area guidance for identifying                  average exceedance per unit of less than
                                                 between the unit’s emissions for the day                ‘‘comparably stringent’’ emissions rates                  4 tons. The highest amount for any of
                                                 as actually reported and the emissions                  over varying time-periods.333 Appendix                    the 164 individual units in either ozone
                                                 that would have been reported if the                    C of that guidance describes a series of                  season was 48 tons. Based on this
                                                 unit’s emissions rate was 0.14 lb/mmBtu                 steps that involve: (1) compiling                         analysis, the EPA concludes that adding
                                                 is the unit’s daily exceedance. The                     emissions data to reflect a distribution                  a 50-ton threshold to the backstop daily
                                                 amount of emissions subject to the 3-for-               of emissions rates with various                           emissions rate provisions will ensure
                                                 1 surrender ratio for the control period                averaging times, (2) determining the                      that substantially all emissions outside
                                                 is the sum of the unit’s daily                          99th percentile of the average emissions                  the control of an SCR-equipped unit’s
                                                 exceedances for all days of the control                 values compiled in the previous step,                     operator will not be subject to the 3-for-
                                                 period minus 50 tons (but not less than                 and then (3) applying ‘‘adjustment                        1 surrender ratio. Because there is no
                                                 zero).331 All calculations will rely on                 factors’’ or ratios of the 99th percentile                reason to expect the range of emissions
                                                 the data monitored and reported for the                 values to emissions rates to convert                      during conditions when SCR controls
                                                 unit in accordance with 40 CFR part 75.                 them (usually from a short-term rate to                   cannot be operated to differ between
                                                    The EGU NOX Mitigation Strategies                    a longer-term rate). In this case, the EPA                SCR-equipped units and units without
                                                 Final Rule TSD describes the                            applied the methodology in reverse to                     SCR, inclusion of the 50-ton threshold
                                                 methodology for deriving the 0.14 lb/                   convert a longer-term limit (the seasonal                 effectively prevents application of the 3-
                                                 mmBtu daily rate limit in more detail.                  rate of 0.08 lb/mmBtu which was                           for-1 ratio to emissions during startup
                                                 The methodology is summarized as                        assumed to be equivalent to a 30-day                      and shutdown by units without SCR as
                                                 follows. First, consistent with                         rate of 0.08 lb/mmBtu for purposes of                     well.
                                                 stakeholders’ focus on providing daily                  this comparison of rates across                              At the same time, the EPA believes
                                                 assurance of control operation, which is                averaging times) to a comparably                          the 50-ton threshold is not large enough
                                                 consistent with the 8-hour form of the                  stringent short-term limit (a daily rate of               to eliminate the intended incentive to
                                                 2015 ozone NAAQS and the tendency                       0.14 lb/mmBtu).                                           achieve emissions rates consistent with
                                                 for ozone levels to spike on a diurnal                     The inclusion of a 50-ton threshold                    good SCR performance under conditions
                                                 cycle, the EPA determined that daily (as                for emissions exceeding the backstop                      other than startup and shutdown. For a
                                                 opposed to hourly or monthly) was an                    daily emissions rate before the 3-for-1                   set of 124 SCR-equipped units with
                                                 appropriate time metric for backstop                    surrender applies is a change from the                    seasonal average NOX emissions rates
                                                 emissions rate limits instituted to                     proposal. As discussed in section                         above 0.08 lb/mmBtu, the total amount
                                                 ensure operation of controls on high                    VI.B.1.d of this document, the EPA                        of emissions exceeding a daily average
                                                 ozone days. The EPA derived the 0.14                    made this change in response to                           emissions rate of 0.14 lb/mmBtu in the
                                                 lb/mmBtu daily rate limit by                            comments concerning the possibility                       2021 ozone season was 18,629 tons. Of
                                                 determining the particular level of a                   that the 3-for-1 surrender ratio could                    this total amount, 15,374 tons would
                                                 daily rate that would be comparable in                  otherwise have applied to emissions                       have been in excess of the 50-ton
                                                 stringency to the 0.08 lb/mmBtu                         outside an EGU operator’s control, with                   thresholds for the various units,
                                                 seasonal emissions rate that the Agency                                                                           indicating that even after application of
                                                 has identified as reflecting SCR                        www.epa.gov/sites/default/files/2016-06/                  the threshold, the 3-for-1 surrender ratio
                                                 optimization at existing units.332 The                  documents/20140423guidance_nonattainment_                 would have applied to over 80 percent
                                                                                                         sip.pdf. ‘‘A limit based on the 30-day average of         of the daily exceedance amounts.
                                                    331 In the regulatory text at 40 CFR 97.1024         emissions, for example, at a particular level is likely      The backstop daily NOX emissions
                                                 defining the total quantity of allowances that must     to be a less stringent limit than a 1-hour limit at
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                                                                                                         the same level 1 since the control level needed to
                                                                                                                                                                   rate provisions finalized in this rule are
                                                 be surrendered for a source’s emissions in a control
                                                 period, these amounts of emissions for all the units    meet a 1-hour limit every hour is likely to be greater    unchanged from the proposal except for
                                                 at the source are subject to a requirement to           than the control level needed to achieve the same         the inclusion of a 50-ton threshold for
                                                 surrender two extra allowances per ton in addition      limit on a 30-day average basis.’’                        emissions exceeding the backstop
                                                 to the usual 1-for-1 allowance surrender                  333 See Guidance for 1-Hour SO Nonattainment
                                                                                                                                             2                     emissions rate before the 3-for-1
                                                 requirement, yielding a total surrender ratio of 3-     Area SIP Submissions available at https://
                                                 for-1 for emissions over the 50-ton threshold.          www.epa.gov/sites/default/files/2016-06/
                                                                                                                                                                   surrender ratio applies and the deferral
                                                    332 See page 24 of ‘‘Guidance for 1-hour SO
                                                                                                 2       documents/20140423guidance_nonattainment_                 of the application of the provisions to
                                                 Nonattainment Area SIP Submission’’ at https://         sip.pdf.                                                  units without existing SCR controls


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                                                 until the 2030 control period or, if                    with comments suggesting that the need                 units to operate and optimize their
                                                 earlier, the second control period in                   for the backstop daily emissions rate                  controls for entire ozone seasons.
                                                 which new SCR controls are operated at                  provisions is contradicted by previous                    The EPA acknowledges that some
                                                 a unit. The EPA’s responses to                          EPA analyses or is already adequately                  SCR-equipped units are likely already
                                                 comments on the backstop daily NOX                      addressed by other provisions of this                  subject to other legal requirements
                                                 emissions rate provisions, including the                rule or other legal requirements. As                   calling for their SCR controls to be
                                                 reasons for these changes, are discussed                discussed in sections V.D.1 and VI.B.1.c               operated and optimized such that their
                                                 in the remainder of this section and in                 of this document, the EPA has                          seasonal average NOX emissions rates
                                                 section 5 of the RTC document.                          determined that a control stringency                   will generally not exceed 0.08 lb/
                                                    Comment: Some commenters strongly                    reflecting universal installation and                  mmBtu (the level of seasonal SCR
                                                 supported the backstop daily emissions                  operation of SCR technology at large                   performance that the EPA used to derive
                                                 rate provisions, noting their benefit to                coal-fired EGUs is appropriate. There                  the equivalent 0.14 lb/mmBtu level of
                                                 downwind receptors on potential                         are several important differences                      daily SCR performance for the backstop
                                                 nonattainment days, their benefit to                                                                           daily NOX emissions rate). However,
                                                                                                         between this rule and previous actions
                                                 neighboring communities, and evidence                                                                          commenters do not claim, and the EPA
                                                                                                         addressing interstate ozone transport
                                                 of deterioration in SCR performance in                                                                         does not believe, that all SCR-equipped
                                                                                                         where the Agency did not include such
                                                 the absence of such provisions. Other                                                                          units are subject to other legal
                                                 commenters stated that the backstop                     provisions. First, this rule constitutes a             requirements calling for an equivalent
                                                 daily emissions rate provisions are                     full remedy, unlike some prior actions.                degree of SCR operation and
                                                 unnecessary, either because SCR-                        Second, this rule is the first rule in                 optimization. In the context of a multi-
                                                 equipped EGUs would already be                          which the EPA is addressing good                       state trading program, it is more
                                                 sufficiently incentivized to operate and                neighbor obligations with respect to the               efficient and equitable, and far more
                                                 optimize their controls by the stringency               more protective 2015 ozone NAAQS.                      transparent, for the EPA to establish rule
                                                 of the state emissions budgets and the                  Third, the EPA has examined the most                   provisions uniformly incentivizing all
                                                 resulting allowance prices or because                   recent data over a broader geographic                  large coal-fired EGUs to install and
                                                 most SCR-equipped EGUs are already                      and temporal footprint specific to the                 operate SCR controls than to attempt to
                                                 required to operate and optimize their                  coverage of this rule, and it illustrates a            establish differentiated requirements for
                                                 SCRs by conditions in their operating                   greater degree of SCR performance                      various units according to the EPA’s
                                                 permits. Some commenters cited                          erosion than in the prior years in which               analysis of the effectiveness of their pre-
                                                 previous EPA analyses showing that it                   EPA conducted such analysis. Fourth,                   existing permit conditions. Further, to
                                                 is unusual for SCR-equipped units to                    nonattainment and maintenance for this                 the extent that a given unit’s permits
                                                 turn off their SCRs only on high                        NAAQS are projected to persist well                    already require SCR performance that
                                                 electricity demand days (HEDD).                         into the future in EPA’s baseline,                     would meet the backstop emissions rate
                                                    Commenters suggested diverse                         making enhancements and safeguards                     established in this rule, or to the extent
                                                 possible changes to the types of EGUs                   such as the backstop daily emissions                   that allowance prices would incentivize
                                                 that would be covered by the backstop                   rate provisions essential for securing                 the unit to operate the SCR anyway, the
                                                 daily emissions rate provisions. Some                   elimination of significant contribution                EPA expects that the backstop daily
                                                 commenters stated that the provisions                   in future periods for which fleet                      emissions rate provisions (as finalized
                                                 should apply to all EGUs or to all SCR-                 configuration is inherently more                       with a 50-ton threshold to address
                                                 equipped EGUs, including non-coal-                      uncertain.                                             emissions outside an EGU’s control
                                                 fired units. Other commenters stated                                                                           before the 3-for-1 surrender ratio
                                                                                                            With respect to claims that inclusion
                                                 that exemptions should be provided for                                                                         applies) will cause no incremental cost
                                                                                                         of the backstop daily emissions rate
                                                 units operating at capacity factors below                                                                      for the unit.
                                                                                                         provisions is contradicted by the EPA’s
                                                 10 percent or for emissions during                                                                                The EPA disagrees with the suggested
                                                                                                         earlier analyses concerning SCR
                                                 emergencies.                                                                                                   changes to applicability of the backstop
                                                    Some commenters stated that                          operational changes specific to high
                                                                                                                                                                emissions rate provisions. With respect
                                                 implementation of the backstop daily                    electricity demand days, the EPA                       to the comments advocating broader
                                                 emissions rate provisions would cause                   disagrees. Historical data reported to the             coverage, the EPA discusses its reasons
                                                 unintended and counterproductive                        EPA show that multiple SCR-equipped                    for applying the provisions only to coal-
                                                 consequences. Some of these                             units across the states covered by this                fired EGUs in section VI.B.1.c of this
                                                 commenters claimed that by requiring                    action have chosen not to operate their                document, including the fact that
                                                 the surrender of extra allowances, the                  SCRs, or to operate them at materially                 operation of SCR controls is a well-
                                                 backstop emissions rate provisions                      less than their full removal capability,               established practice among the best
                                                 would create shortages of allowances for                for entire ozone seasons. The apparent                 performing coal-fired boilers but not for
                                                 the program overall. Other commenters                   infrequency of one type of behavior—                   non-coal-fired units.334 The comments
                                                 claimed that the disincentives to operate               i.e., instances of units running their                 indicate a preference for a less flexible
                                                 units subject to the backstop emissions                 controls on most days but turning the                  trading program design than the EPA
                                                 rate provisions would cause load to shift               controls off specifically on high                      has found appropriate but do not
                                                 to higher-emitting generators not                       electricity demand days—does not                       demonstrate that EPA’s decision to
                                                 covered by the trading program (such as                 contradict the evidence concerning                     allow greater flexibility is either
                                                 sources in states outside the program’s                 another type of behavior—i.e., non-                    impermissible or unreasonable; our
                                                                                                         operation or suboptimal operation of
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                                                 geographic region, EGUs smaller than 25                                                                        reasoning in this regard is further
                                                 MW, and sources considered demand-                      controls for entire ozone seasons. The                 explained in section VI.B.1.c.i of this
                                                 side resources, including end-user-sited                evidence from previous trading
                                                 diesel generator units), potentially                    programs demonstrates that reliance                       334 Nationwide and among operating units in

                                                 resulting in higher overall emissions.                  solely on the incentives created by                    2021, EPA identified the best performing quartile
                                                                                                                                                                (i.e., lowest ozone season emissions rate) of coal-
                                                    Response: The EPA agrees that                        allowance prices and corresponding                     fired EGU boilers (excluding CFB units). Nearly 100
                                                 backstop daily emissions rate provisions                static state emissions budgets has been                percent of these units (159 of 160 units) were
                                                 should be implemented and disagrees                     insufficient to cause all SCR-equipped                 equipped with SCR controls.



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                                                 document. With respect to the                           received the most attention in                            Response: With respect to the topic of
                                                 comments advocating narrower                            comments was how emissions outside                     emissions outside an operator’s control,
                                                 coverage, the commenters have                           the operator’s control should be treated.              as a general matter the EPA agrees that
                                                 provided no information indicating that                 Multiple commenters expressed concern                  the backstop daily emissions rate
                                                 the sources for which exemptions are                    that the backstop daily emissions rate                 provisions are intended to incentivize
                                                 sought could not comply with the                        would be exceeded on days when the                     good SCR operation and that it was not
                                                 provisions, including through the                       SCR equipment cannot be operated for                   the Agency’s intent to apply a higher
                                                 surrender of additional allowances if                   all or a portion of the day. The most                  surrender ratio to emissions that are
                                                 necessary. The EPA notes that emissions                 commonly cited example of a situation                  truly unavoidable, such as emissions
                                                 from coal-fired units operating at low                  where SCR equipment cannot be                          occurring before an operator could
                                                 capacity factors may be concentrated                    operated was unit startups, although                   reasonably initialize SCR operation
                                                 around days of high electricity demand                  some commenters also mentioned unit                    when a unit is started up. As explained
                                                 when incentives to minimize such                        shutdowns, boiler or emissions control                 elsewhere in this section, the EPA
                                                 emissions may be most helpful in                        malfunctions, and unit maintenance or                  selected the level of the backstop rate
                                                 mitigating downwind air quality                         tests. The commenters expressed the                    based on analysis of 2021 emissions
                                                 problems. The EPA also notes that to the                view that emissions that cannot be                     data showing that for SCR-equipped
                                                 extent the comments are intended to                     controlled by SCR equipment should be                  coal-fired units achieving seasonal
                                                 support exemptions for units without                    exempted from the backstop emissions                   average NOX emissions rates at or below
                                                 existing SCR controls, the final rule                   rate provisions and suggested a variety                0.08 lb/mmBtu, more than 99 percent of
                                                 defers application of the backstop                      of approaches for implementing an                      the units’ emissions would fall below a
                                                 emissions rate provisions to such units                 exemption.                                             backstop daily emissions rate of 0.14 lb/
                                                 until the 2030 control period, providing                   Some commenters also stated that the                mmBtu. In response to the comments
                                                 additional flexibility to develop                       backstop emissions rate provisions                     summarized previously, the EPA has
                                                 alternatives to the use of such units if                would not sufficiently accommodate                     further analyzed 2021 and 2022
                                                 the owners choose not to equip them                     sustained low-load operation, such as                  emissions data to determine what if any
                                                 with SCR controls.                                      where an SCR-equipped unit operates                    modifications to the proposal might be
                                                    Finally, the EPA also disagrees with                 for extended periods at a load level too               appropriate to limit the imposition of a
                                                 the comments asserting that the                         low to permit SCR operation so that the                3-to-1 allowance surrender requirement
                                                 backstop emissions rate provisions                      unit is ready to ramp up to higher load                for emissions caused by circumstances
                                                 would cause unintended and                              levels in less time than would be                      outside an operator’s control while
                                                 counterproductive consequences. With                    required for a startup. The commenters                 preserving the intended incentive to
                                                 respect to units already equipped with                  suggested that implementation of a                     operate and optimize SCR controls
                                                 SCR controls, the EPA expects that by                   backstop daily rate would reduce the                   whenever possible. The analysis
                                                 far the most important effect of the                    ability to operate the units in this                   showed that for the same set of units
                                                 provisions will be to incentivize the                   manner, generally reducing system                      achieving seasonal average emissions
                                                 units to operate and optimize their                     flexibility. Some noted that the need for              rates at or below 0.08 lb/mmBtu, the
                                                 controls. The EPA sees no basis for                     flexibility of this nature is increasing               highest total amount of emissions
                                                 speculation that such units would                       because of the rapid growth in                         exceeding the backstop daily emissions
                                                 choose to operate in a manner that                      intermittent renewable generation.                     rate in either the 2021 or 2022 control
                                                 would result in large amounts of                           Additional comments on the backstop
                                                                                                                                                                period for any unit was 48 tons. The
                                                 emissions becoming subject to the 3-for-                daily emissions rate provisions for units
                                                                                                                                                                Agency views this amount as a
                                                 1 allowance surrender ratio or in                       with existing SCR controls addressed
                                                                                                         the level of the daily emissions rate and              reasonable upper bound on the quantity
                                                 generation being shifted to sources
                                                                                                         the implementation timing. With                        of emissions that might contribute to an
                                                 outside the trading program. The results
                                                                                                         respect to the rate level, various                     exceedance of the backstop emissions
                                                 of the EPA’s modeling of benefits and
                                                                                                         commenters suggested rates from 0.08 to                rate arising from circumstances outside
                                                 costs of the rule show little leakage of
                                                                                                         0.20 lb/mmBtu. With respect to                         an operator’s control for any coal-fired
                                                 emissions to non-covered sources, and
                                                                                                         implementation timing, some                            unit, not just the well-controlled units
                                                 commenters have presented no analysis
                                                                                                         commenters stated that because                         in the data set analyzed, because the
                                                 to the contrary. For instance, as shown
                                                 in Table 4.6 of the RIA, non-covered                    immediate compliance was possible, the                 amount generally encompasses all of a
                                                 state ozone season NOX emissions                        good neighbor provision required                       unit’s emissions occurring in hours
                                                 increased on average by 1 percent over                  implementation as of the 2023 control                  when an SCR could not be operated
                                                 the 2023–2030 time period between the                   period rather than the 2024 control                    over an ozone season.
                                                 base and final rule scenarios, while                    period as proposed. Other commenters                      Based on this analysis, the backstop
                                                 covered state emissions fell by 14                      expressed the view that units with                     daily emissions rate provisions in this
                                                 percent on average over the same                        existing SCR controls should not be                    final rule exclude the first 50 tons of a
                                                 period. With respect to units without                   required to comply with the backstop                   unit’s emissions in a given control
                                                 existing SCR controls, the EPA expects                  emissions rate provisions earlier than                 period exceeding the backstop daily
                                                 the backstop emissions rate provisions,                 units without existing SCR controls.                   emissions rate from incremental
                                                 when they would take effect for such                    Some owners of SCR-equipped EGUs                       allowance surrender requirements. The
                                                 units, to provide a strong incentive                    that exhaust to stacks shared with EGUs                EPA finds that establishing a threshold
                                                                                                                                                                of this nature will provide an
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                                                 against extensive operation (unless and                 without SCR suggested that their
                                                 until such controls are installed), again               particular units with existing SCR                     appropriate maximum exclusion to all
                                                 not resulting in large amounts of                       controls should not be required to                     coal-fired units for unavoidable
                                                 emissions becoming subject to the 3-for-                comply with the backstop emissions                     emissions caused by circumstances
                                                 1 allowance surrender ratio.                            rate provisions earlier than units                     outside the operator’s control while
                                                    Comment: For units with existing SCR                 without existing SCR controls in order                 maintaining the incentives for less well-
                                                 controls, the aspect of the backstop                    to avoid the cost of upgrading their                   controlled units to improve their
                                                 daily emissions rate provisions that                    emissions monitoring equipment.                        emissions performance on all days of


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                                                 the ozone season. Well-controlled units                 higher, the unit cycled down to a load                 implementation of the provisions in the
                                                 will likely have no emissions over the                  level of approximately 540 MW                          2023 control period feasible because it
                                                 threshold that will be subject to                       overnight and did operate its SCR.                     is currently unknown whether the
                                                 incremental allowance surrender                         Despite the higher nighttime generation                necessary updates to the emissions
                                                 requirements, while for SCR-equipped                    levels, the result was a decrease of                   recordkeeping and reporting software
                                                 units not already achieving a seasonal                  roughly 50 percent in the unit’s seasonal              for all the affected sources could be
                                                 average emissions rates sufficiently low                average NOX emissions rate, from                       completed and tested before July 30,
                                                 to routinely operate at daily average                   approximately 0.14 lb/mmBtu to                         2023, which is the first quarterly
                                                 emissions rates of 0.14 lb/mmBtu or                     approximately 0.07 lb/mmBtu, and a                     reporting deadline for the 2023 control
                                                 less, the incentive to reduce daily                     comparable reduction in NOX mass                       period. Moreover, as discussed in
                                                 emissions rates will remain in place,                   emissions. This unit is not uniquely                   section VI.B.1.c.i of this document,
                                                 because the 50-ton threshold is not                     situated; operating data for several other             implementing the requirements starting
                                                 expected to encompass all emissions                     large SCR-equipped EGUs in                             in 2024 will provide a window for EGUs
                                                 exceeding the backstop daily emissions                  Pennsylvania show the same past                        to improve the consistency of SCR
                                                 rate for such units. In contrast to more                pattern of cycling down to low load                    operation or in some cases to optionally
                                                 complicated exceptions suggested by                     levels at which the SCR controls cannot                install additional emissions monitoring
                                                 commenters, the 50-ton threshold can                    be operated, and these other units have                equipment. As for the suggestion that
                                                 be easily integrated into the overall                   similar opportunities to cycle down to                 implementation timing of the backstop
                                                 trading program structure with minimal                  somewhat higher load levels                            daily emissions rate provisions for units
                                                 additional recordkeeping and reporting                  (necessarily subject to the needs and                  with existing SCR controls should be
                                                 requirements.                                           constraints of the integrated electric                 synchronized with the later
                                                    With respect to the comments                         system) at which their SCR controls can                implementation timing for units without
                                                 claiming that the inability of some SCR-                be operated.335 No commenter has                       existing SCR controls, the EPA is not
                                                 equipped units to operate their SCR                     submitted data to the contrary.                        persuaded that there is any inequity in
                                                 controls at sustained low load levels                   Furthermore, this example demonstrates                 implementing provisions intended to
                                                 likewise merits alteration of the                       the need for this rule’s backstop                      incentivize operation of SCR controls
                                                 backstop daily emissions rate                           emissions rate provision, which (had it                first at sources that already have such
                                                 provisions, the EPA disagrees. There is                 been in place) would have motivated                    controls and later at sources that do not
                                                 no dispute concerning the technical                     this facility to operate its SCR overnight             already have such controls, allowing
                                                 need for a unit to attain and maintain a                during the 2021 ozone season when the                  time for the latter sources to install the
                                                 certain range of exhaust gas                            prevailing allowance price provided an                 controls. In any event, in this instance,
                                                 temperatures at the SCR inlet in order                  insufficient incentive to do so.                       where some upwind sources have an
                                                                                                            The EPA disagrees with the comments                 immediate and highly cost-effective
                                                 to achieve optimal SCR performance
                                                                                                         advocating for a backstop daily                        option for controlling their emissions,
                                                 and no dispute concerning the general
                                                                                                         emissions rate lower or higher than 0.14               the statutory requirement for significant
                                                 relationship between a unit’s load level
                                                                                                         lb/mmBtu. In general, these comments                   contribution to be eliminated as
                                                 in a given hour and its ability to attain
                                                                                                         simply represent disagreements with the                expeditiously as practicable so as to
                                                 and maintain that exhaust gas
                                                                                                         EPA’s conclusions regarding the                        provide downwind states with the
                                                 temperature range in that hour.
                                                                                                         identification of required emissions                   protection intended by the Good
                                                 However, the EPA is also aware that at
                                                                                                         reductions under this rule, as reflected               Neighbor provision overrides these
                                                 least in some cases, units whose role in
                                                                                                         in part by the EPA’s conclusion that a                 sources’ claim of inequity relative to
                                                 the integrated electric system currently
                                                                                                         seasonal average emissions rate of 0.08                sources whose emissions control
                                                 calls for them to operate at low load
                                                                                                         lb/mmBtu reasonably reflects the                       options would take longer and have
                                                 levels for sustained periods (such as
                                                                                                         seasonal average emissions rate                        higher cost. We conclude that the
                                                 overnight) in fact may be able to operate
                                                                                                         achievable through optimization of                     backstop daily emissions rate is an
                                                 at slightly higher load levels that would
                                                                                                         controls by existing SCR-equipped units                important aspect of the elimination of
                                                 accommodate SCR operation during
                                                                                                         that are not already achieving a lower                 significant contribution and should be
                                                 those periods and still meet the needs
                                                                                                         seasonal average emissions rate.                       applied at the relevant units. It is only
                                                 of the integrated electric system, thereby
                                                                                                         Comments concerning the selection of                   out of recognition of unique
                                                 avoiding operation of the unit for
                                                                                                         the 0.08 lb/mmBtu seasonal average                     circumstances associated with
                                                 sustained periods with the SCR out of
                                                                                                         emissions rate are addressed in section                facilitating power-sector transition as
                                                 service. Figure B.5 in the EGU NOX
                                                                                                         V of this document. Commenters did                     identified by commenters, that we defer
                                                 Mitigation Strategies Final Rule TSD
                                                                                                         not challenge the EPA’s analysis                       the application of the rate for the
                                                 illustrates this opportunity using data
                                                                                                         identifying a daily emissions rate of 0.14             minority of units that have not yet
                                                 reported for the 2021 and 2022 ozone
                                                                                                         lb/mmBtu as comparable in stringency                   installed SCR controls.
                                                 seasons by a large SCR-equipped EGU in
                                                                                                         to a seasonal average emissions rate of
                                                 Pennsylvania. In both ozone seasons,                                                                              Finally, with respect to the SCR-
                                                                                                         0.08 lb/mmBtu (see further discussion
                                                 the unit often cycled daily between its                                                                        equipped units that share common
                                                                                                         elsewhere in this section).
                                                 maximum load of approximately 900                                                                              stacks with units that do not have SCR,
                                                                                                            The EPA also disagrees with the
                                                 MW during the daytime and a lower                                                                              the EPA disagrees that monitoring cost
                                                                                                         comments stating that the backstop
                                                 load level overnight, and in both ozone                                                                        considerations merit a later
                                                                                                         daily emissions rate provisions should
                                                 seasons the unit’s typical daytime                                                                             implementation date for the backstop
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                                                                                                         apply to units with existing SCR
                                                 emissions rate was between 0.05 and                                                                            daily emissions rate provisions. As
                                                                                                         controls starting in a control period
                                                 0.07 lb/mmBtu. However, while in the                                                                           discussed in section VI.B.10 of this
                                                                                                         earlier or later than the 2024 control
                                                 2021 ozone season, the unit cycled                                                                             document, five plants with this
                                                                                                         period. The EPA does not consider
                                                 down to a load level of approximately                                                                          configuration are covered by the rule
                                                 440 MW overnight and did not operate                      335 See the spreadsheet ‘‘Conemaugh and              (one of which has announced plans to
                                                 its SCR, in the 2022 ozone season, when                 Keystone unit 2021 to 2022 hourly ozone season         retire in 2023). Under this rule, as
                                                 allowance prices were considerably                      data’’ in the docket.                                  proposed, the owner of a plant with this


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                                                 configuration can choose between either                 such units to operate as needed to back                noted in section VI.B.1.c of this
                                                 upgrading the plant’s monitoring                        up intermittent renewable generation.                  document, the backstop daily emissions
                                                 systems so as to obtain unit-specific                   Some commenters claimed that                           rate provisions are structured as
                                                 NOX emissions rate data for each unit                   inclusion of the backstop daily                        incremental allowance surrender
                                                 subject to the backstop daily emissions                 emissions rate provisions would                        requirements rather than as directly
                                                 rate or else using the NOX emissions                    substantially eliminate the potential                  enforceable emissions limits to
                                                 rate data from the common stack,                        benefits of allowance trading, because                 incentivize improved emissions
                                                 recognizing that the common stack                       all units would have to meet the same                  performance at the individual unit level
                                                 emissions rate would generally be                       emissions rate.                                        while continuing to preserve, to the
                                                 biased upwards relative to the emissions                   Some commenters stated that the                     extent possible, the advantages that the
                                                 rate that could be reported for the SCR-                proposed application of the daily                      flexibility of a trading program brings to
                                                 equipped unit if that unit’s emissions                  backstop emissions rate provisions in                  the electric power sector. The EPA
                                                 were monitored separately. Commenters                   the 2027 control period in some cases                  appreciates that, in comparison to
                                                 have suggested a third option of a                      would occur only slightly before the                   previous transport rules using a trading
                                                 temporary exemption from the backstop                   units’ otherwise planned retirement                    program mechanism for the power
                                                 emissions rate to avoid the cost of                     dates, and that short-term reliability                 sector, the degree of flexibility available
                                                 upgrading their monitoring systems.                     considerations could create the need to                under this rule is reduced both by the
                                                 With the timing for implementation of                   make substantial investments in new                    greater stringency of the overall
                                                 the backstop emissions rate provisions                  controls at the units, which in turn                   emissions reduction requirements,
                                                 for currently uncontrolled units in the                 could result in deferral of the units’                 which leave less room to accommodate
                                                 proposal, the temporary exemption for                   retirement plans. In the proposal, the                 emissions from high-emitting units such
                                                 the SCR-equipped units would have                       EPA requested comment on the                           as uncontrolled coal-fired units, and by
                                                 been in place for three control periods,                possibility of deferring the application               the backstop daily emissions rate
                                                 from 2024 through 2026. With the final                  of the backstop emissions rate                         provisions. However, the EPA maintains
                                                 rule’s deferral of the implementation of                provisions to units without existing SCR               that the trading program structure still
                                                 the backstop emissions rate provisions                  controls until the 2029 control period if              is significantly more flexible than an
                                                 for the uncontrolled units for up to three              the owners provided the EPA with                       array of directly enforceable emissions
                                                 years, the suggested temporary                          information indicating with sufficient                 limits imposed on all EGUs or even on
                                                 exemption for the SCR-equipped units                    certainty that the units would retire by               all coal-fired EGUs, and the comments
                                                 would be in effect for up to six control                the end of 2028. Commenters in favor of                do not show otherwise.
                                                 periods, from 2024 through 2029. The                    this concept suggested longer deferral                    With respect to the comments
                                                 EPA does not consider it reasonable to                  periods, ranging from 2029 through                     concerning the timing for application of
                                                 allow these SCR-equipped units an                       2032, and some also suggested that the                 the backstop daily emissions rate
                                                 exemption from the backstop rate                        EPA should simultaneously enlarge the                  provisions to EGUs without existing
                                                 provisions for six years to avoid the cost              emissions budgets to provide more                      SCR controls, in the final rule the
                                                 of upgrading their monitoring systems,                  allowances for units subject to the                    provisions will apply to these units
                                                 particularly given that the additional                  deferred requirement. Other                            starting with the second control period
                                                 costs of monitoring at the individual-                  commenters opposed any deferral of the                 in which newly installed SCR controls
                                                 unit level are already borne by the large               applicability of the backstop rate                     are operational at the unit, but not later
                                                 majority of other plants and the rule                   provisions.                                            than the 2030 control period. As
                                                 already provides these plants with an                      Response: The EPA disagrees that                    discussed in section VI.B.1.d of this
                                                 alternative to the monitoring system                    implementation of the backstop daily                   document, the purpose of this change
                                                 upgrades, if desired, by allowing the                   emissions rate provisions for EGUs                     from the proposal is to address concerns
                                                 plants to use the emissions rate data                   without existing SCR controls                          expressed by RTOs and other
                                                 from the common stack.336                               constitutes a mandate for such units to                commenters that application of the
                                                    Comment: With respect to units                       install controls or retire but agrees that,            backstop daily NOX emissions rate to
                                                 without existing SCRs, some                             as intended, the provisions would create               EGUs without existing SCR controls
                                                 commenters viewed the backstop daily                    strong incentives to minimize operation                starting in the 2027 control period
                                                 emissions rate provisions as likely to                  of the units unless and until controls are             would provide insufficient time for
                                                 make units without SCR altogether                       installed, and further agrees that in                  planning and investments needed to
                                                 unwilling or unable to operate and                      some instances retirement and                          facilitate the unit retirements they
                                                 characterized the provisions as a                       replacement may be a more                              viewed as likely to be a preferred
                                                 mandate for such units to install such                  economically attractive option for the                 compliance pathway for some owners.
                                                 controls or retire as of the control period             unit’s customers and/or owners than                    The EPA recognizes that retrofitting new
                                                 when the provisions are implemented.                    installation of new controls. The EPA’s                emissions controls on aging coal-fired
                                                 Other commenters acknowledged that                      rationale for determining at Step 3 that               EGUs may be less environmentally
                                                 the provisions are not actually hard                    the control stringency required to                     efficient than the alternative of
                                                 limits but stated that the higher                       address states’ good neighbor                          retirement and replacement, which
                                                 allowance surrender ratio for emissions                 obligations includes achievement of                    could yield lower cumulative emissions
                                                 in excess of the backstop daily rate                    emissions rates consistent with good                   of NOX and multiple other pollutants
                                                 would nevertheless reduce the ability of                SCR performance at all large coal-fired                over time. The EPA also recognizes that
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                                                                                                         EGUs (other than circulating fluidized                 several coal-fired EGUs have already
                                                   336 The owner of one of the five plants with          bed boilers) is discussed in section                   been considering retirement in 2028 (or
                                                 common stacks submitted comments stating that no        V.D.1 of this document, and the EPA’s                  earlier) under compliance pathways
                                                 location in the plant’s ductwork could meet the         rationale for determining at Step 4 that               available under the Clean Water Act
                                                 criteria for a unit-specific monitoring location. As    the trading program should include                     effluent guidelines 337 and the coal
                                                 discussed in section VI.B.10 of this document, EPA
                                                 staff have reviewed the comment and do not believe
                                                                                                         strong unit-level incentives to                        combustion residuals rule under the
                                                 the commenter has provided sufficient information       implement these controls is discussed
                                                 to reach such a conclusion.                             in section VI.B.1.c. of this document. As               337 See   40 CFR 423.11(w).



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                                                 Resource Conservation and Recovery                        neighbor obligations as expeditiously as               transition period identified by
                                                 Act.338 The year 2028 also represents                     practicable and is based on a                          commenters can be justified on the basis
                                                 the end of the second planning period                     demonstration that emissions                           of the greater long-term environmental
                                                 under the Regional Haze program, and                      reductions commensurate with the                       benefits obtained through greater
                                                 thus is a significant year in states’                     overall emissions control strategy at                  compliance flexibility.
                                                 planning of strategies to make                            Step 3 can be achieved beginning in the                8. Unit-Specific Emissions Limitations
                                                 reasonable progress towards natural                       2027 ozone season (following a two-year                Contingent on Assurance Level
                                                 visibility at Class I areas.339 In addition,              phase in of emissions reductions                       Exceedances
                                                 other regulatory actions at the state or                  associated with installation of SCR
                                                 Federal level are being or recently have                  retrofits). In the RIA, we demonstrate                    As emphasized by the D.C. Circuit in
                                                 been proposed. This includes among                        that EGUs will have multiple pathways                  its decision invalidating CAIR, under
                                                 other things a proposed revision to the                   to meeting the state budgets even if they              the CAA’s good neighbor provision,
                                                 PM NAAQS for which transport SIPs                         choose not to install the SCR controls—                emissions ‘‘within the State’’ that
                                                 would be due later in the 2020s. We                       thus no relaxation in the stringency of                contribute significantly to
                                                 understand that EGUs may wish to take                                                                            nonattainment or interfere with
                                                                                                           these budgets has been demonstrated to
                                                 the entire regulatory and market                                                                                 maintenance of a NAAQS in another
                                                                                                           be warranted based on feasibility,
                                                 landscape into account when deciding                                                                             state must be prohibited. North Carolina
                                                                                                           necessity, or impossibility. The EGU
                                                 whether to invest in SCR or pursue                                                                               v. EPA, 531 F.3d 896, 906–08 (D.C. Cir.
                                                                                                           economic modeling discussed in the
                                                 other NOX reduction strategies. To                                                                               2008). The CAIR trading programs
                                                                                                           RIA illustrates that many sources
                                                 facilitate a unit-level compliance                                                                               contained no provisions limiting the
                                                                                                           identified as currently having SCR                     degree to which a state could rely on net
                                                 alternative under this rule that                          retrofit potential elect not to install a
                                                 maintains the NOX reductions                                                                                     purchased allowances as a substitute for
                                                                                                           SCR, and those that do retrofit SCR                    making in-state emissions reductions,
                                                 corresponding to SCR-level emissions                      make no such installation until 2030.
                                                 control performance required by the                                                                              an omission which the court found was
                                                                                                           Yet, the fleet is able to comply with                  inconsistent with the requirements of
                                                 state budgets from 2026 forward and                       2026 state emissions budgets (whose
                                                 that is potentially superior both                                                                                the good neighbor provision. Id. In
                                                                                                           emissions reductions are premised in                   response to that holding, the EPA
                                                 economically and environmentally
                                                                                                           large part on assumed SCR retrofits)                   established the CSAPR trading
                                                 across multiple regulatory programs
                                                                                                           through reduced utilization (many of                   programs’ assurance provisions to
                                                 than installation of new, capital-
                                                                                                           these units are projected to retire, and               ensure that, in the context of a flexible
                                                 intensive, post-combustion controls, the
                                                                                                           thus reduce emissions). While these                    trading program, the emissions
                                                 EPA is providing the fleet more
                                                                                                           changes in coal fleet utilization are not              reductions required under the good
                                                 flexibility in how to achieve those
                                                                                                           required or imposed through the EPA’s                  neighbor provision in fact will take
                                                 emissions reductions in the years
                                                                                                           state emissions budgets, they are                      place within the state. The EPA believes
                                                 through 2029. Relatedly, the deferral of
                                                                                                           projected to be an economic preference                 the assurance provisions have generally
                                                 the application of the backstop
                                                                                                           for a substantial portion of the                       been successful in achieving that
                                                 emissions rate provisions to
                                                 uncontrolled units also addresses                         unretrofitted fleet owing to future                    objective, as evidenced by the fact that
                                                 commenters’ concerns that the                             market and policy conditions. If sources               since the assurance provisions took
                                                 provisions otherwise would reduce the                     do ultimately elect this pathway, then                 effect in 2017, out of the nearly 300
                                                 ability of uncontrolled units to operate                  compliance will occur with significantly               instances where a given state’s
                                                 as needed to back up intermittent                         less demand on SCR retrofit labor and                  compliance with the assurance
                                                 renewable generation (subject of course                   material markets than assumed at Step                  provisions of a given CSAPR trading
                                                 to the allowance-holding requirements                     3. The daily emissions rates are a                     program for a given control period has
                                                 to cover emissions). The deferral                         backstop to the broader emissions                      been assessed, a state’s collective
                                                 addresses this concern directly for the                   reduction requirements, which we view                  emissions have exceeded the applicable
                                                 period through 2029, by eliminating                       as an important and necessary                          assurance level only four times.
                                                 application of the backstop provisions                    component to the elimination of                           Unfortunately, the EPA also
                                                 to uncontrolled EGUs through this                         significant contribution. But we also                  recognizes that the assurance
                                                 period, and also indirectly after 2029, by                recognize that the objectives to be                    provisions’ very good historical
                                                 ensuring the availability of sufficient                   accomplished by the backstop must be                   compliance record is not good enough.
                                                 time for owners and operators to                          balanced with larger economic and                      The four past exceedances all occurred
                                                 complete other investments that may be                    environmental conditions facing EGUs                   under the Group 2 trading program:
                                                 needed to back up renewable generation                    for which a deferral of the backstop rate              sources in Mississippi collectively
                                                 after that point.                                         ultimately is the most reasonable                      exceeded their applicable assurance
                                                    The EPA disagrees with the comments                    approach given these competing                         levels in the 2019 and 2020 control
                                                 stating that application of the backstop                  concerns. See Wisconsin, 938 F.3d at                   periods, and sources in Missouri
                                                 daily emissions rate provisions to                        320 (‘‘EPA, though, possesses a measure                collectively exceeded their applicable
                                                 uncontrolled units should not be                          of latitude in defining which upwind                   assurance levels in the 2020 and 2021
                                                 deferred and also disagrees with the                      contribution ‘amounts’ count as                        control periods.340 Both of the
                                                 comments stating that deferral should                     ‘significant[ ]’ and thus must be                      exceedances by Missouri sources could
                                                 be accompanied by increases in the state                  abated.’’). As noted in section VI.B.1.d               easily have been avoided if the owner
                                                                                                           of this document, the EPA finds that as
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                                                 emissions budgets reflecting higher                                                                              and operator of several SCR-equipped,
                                                 assumed emissions rates for these units.                  long as state emissions budgets continue
                                                 The responses to these two comments                       to reflect the required degree of                        340 Information on the assurance level

                                                 are related. This rule complies with the                  emissions reductions at least for an                   exceedances in the 2019, 2020, and 2021 control
                                                                                                           interim period until the backstop rate                 periods is available in the final notices concerning
                                                 mandate for the EPA to address good                                                                              EPA’s administration of the assurance provisions
                                                                                                           would apply more uniformly, deferral of                for those control periods. 85 FR 53364 (August 28,
                                                   338 See   40 CFR 257.103(b).                            the backstop rate requirement for                      2020); 86 FR 52674 (September 22, 2021); 87 FR
                                                   339 See   40 CFR 51.308(f).                             uncontrolled units in recognition of the               57695 (September 21, 2022).



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                                                 coal-fired steam units had not chosen to                   The two historical emissions-related                new unit-level requirement as the
                                                 idle the units’ controls and rely instead               compliance requirements in the Group 3                 ‘‘secondary emissions limitation.’’ (The
                                                 on net out-of-state purchased                           trading program regulations are both                   regulations label the designated
                                                 allowances. The exceedances were                        structured in the form of requirements                 representative-level requirement as
                                                 large, and ample quantities of                          to hold allowances. The first                          ‘‘compliance with the . . . assurance
                                                 allowances to cover the resulting 3-for-                requirement applies at the source level:               provisions.’’)
                                                 1 allowance surrender requirements                      specifically, at the compliance deadline                  Because the purpose of the new unit-
                                                 were purchased in advance, suggesting                   after each control period, the owners                  level secondary emissions limitation is
                                                 that the assurance level exceedances                    and operators of each source covered by                to deter conduct causing exceedances of
                                                 may have been anticipated as a                          the program must surrender a quantity                  a state’s assurance level, the EPA is
                                                 possibility. In the case of the                         of allowances that is determined based                 conditioning applicability of the new
                                                 Mississippi exceedances, the                            on the emissions from the units at the                 limitation on (1) the occurrence of an
                                                 exceedances were smaller, operational                   source during the control period. The                  exceedance of the state’s assurance level
                                                 variability (manifesting as increased                   second requirement applies at the                      for the control period, and (2) the
                                                 heat input) appears to have been a                      designated representative level (which                 apportionment of at least some of the
                                                 material contributing factor, and the                   typically is the owner or operator level):             responsibility for the assurance level
                                                 EPA has not concluded that the owners                   if the state’s sources collectively emit in            exceedance to the set of units
                                                 and operators anticipated the                           excess of the state’s assurance level, the             represented by the unit’s designated
                                                 exceedances. However, an additional                     owners and operators of each set of                    representative. Apportionment of
                                                 contributing factor was the fact that                   sources determined to have contributed                 responsibility for the assurance level
                                                 several large, gas-fired steam units                    to the exceedance must surrender an                    exceedance will be carried out
                                                 without SCR controls emitted NOX at                     additional quantity of allowances. As                  according to the existing assurance
                                                 average rates much higher than the                      long as a source’s owners and operators                provision procedures and will therefore
                                                 average emissions rates the same units                  comply with these two allowance                        depend on the designated
                                                 had achieved in previous control                        surrender requirements (and meet                       representative’s shares of both the
                                                 periods. In short, while the Missouri                   certain other requirements not related to              state’s total emissions for the control
                                                 exceedances appear far more significant,                the amounts of the sources’ emissions),                period and the state’s assurance level for
                                                 the EPA’s analysis indicates that all four              they are in compliance with the                        the control period. To ensure that the
                                                 past exceedances could have been                        program.                                               secondary emissions limitation is
                                                 avoided if the units most responsible                      In light of the operation of the                    focused on units where the need for
                                                 had achieved emissions rates more                       Missouri sources, the EPA is doubtful                  improved incentives is greatest, and also
                                                 comparable to the same units’ previous                  that strengthening the assurance                       to ensure that the limitation will not
                                                 performance. In the EPA’s view, the                     provisions by increasing allowance                     apply to units used only to meet peak
                                                 operation of the Missouri units in                      surrender requirements at the unit,                    electricity demand, the limitation
                                                 particular—although not prohibited by                   source, or designated representative                   applies only to units that are equipped
                                                 the current regulatory requirements—                    level would create a sufficient deterrent.             with post-combustion controls (i.e., SCR
                                                 cannot be reconciled with the statutory                 Accordingly, the EPA is instead adding                 or SNCR) and that operated for at least
                                                 requirements of the good neighbor                       a new, unit-level emissions limitation                 ten percent of the hours in the control
                                                 provision. The fact that such operation                 structured as a prohibition to emit NOX                period in question and in at least one
                                                 is not prohibited by the current                        in excess of a defined amount. A                       previous control period.
                                                 regulations therefore indicates a                       violation of the prohibition will not                     For units to which a secondary
                                                 deficiency in the current regulatory                    trigger additional allowance surrender                 emissions limitation applies in a given
                                                 requirements.                                           requirements beyond the surrender                      control period based on the conditions
                                                    To correct the deficiency in the                     requirements that would otherwise                      just summarized, the limitation is
                                                 regulatory requirements, the EPA in this                apply, but will trigger the possible                   defined by a formula in the regulations.
                                                 rulemaking is revising the Group 3                      application of the CAA’s enforcement                   The formula is generally designed to
                                                 trading program regulations to establish                authorities. The new emissions                         compute the potential amount the unit
                                                 an additional emissions limitation to                   limitation will be in addition to, not in              would have emitted during the control
                                                 more effectively deter avoidable                        lieu of, the other requirements of the                 period, given its actual heat input
                                                 assurance level exceedances starting                    Group 3 trading program. This point is                 during the control period, if the unit
                                                 with the 2024 control period. Because                   being made explicit by relabeling the                  had achieved an average emissions rate
                                                 the pollutant involved is ozone season                  source-level allowance holding                         equal to the unit’s lowest average
                                                 NOX and the particular sources for                      requirement, currently called the                      emissions rate in a previous control
                                                 which deterrence is most needed are                     ‘‘emissions limitation,’’ as the ‘‘primary             period plus a margin of 25 percent. To
                                                 located in states that are transitioning                emissions limitation’’ and labeling the                ensure that the data used to establish
                                                 from the Group 2 trading program to the                                                                        the unit’s lowest previous average
                                                 Group 3 trading program, the EPA is                     the same revisions to the assurance provisions for     emissions rate are representative and of
                                                                                                         all the other CSAPR trading programs. The EPA is       high quality, only past control periods
                                                 promulgating the strengthening                          not doing so at this time because the Agency has
                                                 provisions as revisions to the Group 3                  seen no reason to expect exceedances of the
                                                                                                                                                                where the unit participated in a CSAPR
                                                 trading program regulations rather than                 assurance levels under any of the other CSAPR          trading program for ozone season NOX
                                                 the Group 2 trading program                             trading programs by any of the states that will        and operated in at least ten percent of
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                                                                                                         remain subject to the respective trading programs      the hours in the control period are
                                                 regulations.341                                         after this rulemaking, except possibly by Missouri
                                                                                                         under the CSAPR NOX Annual Trading Program.
                                                                                                                                                                considered. Further, to avoid causing
                                                   341 The EPA believes that the occurrence of
                                                                                                         The EPA expects that reductions in Missouri’s          units that achieve emissions rates lower
                                                 avoidable assurance level exceedances under the         seasonal NOX emissions sufficient to comply with       than 0.08 lb/mmBtu from becoming
                                                 Group 2 trading program, combined with the              the proposed provisions of the revised Group 3         subject to more stringent secondary
                                                 express statutory directive that good neighbor          trading program, including the secondary emissions
                                                 obligations must be addressed ‘‘within the state,’’     limitations, would also prevent exceedances of
                                                                                                                                                                emissions limitations in subsequent
                                                 and through ‘‘prohibition,’’ would also provide a       Missouri’s currently applicable assurance level for    control periods, the secondary
                                                 sufficient legal basis for the Agency to promulgate     annual NOX emissions.                                  emissions limitation formula uses a


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                                                 floor emissions rate of 0.10 lb/mmBtu                                    units represented by the unit’s                                           if the limitations and formula had been
                                                 (which is 0.08 lb/mmBtu plus the                                         designated representative, the unit is                                    in effect for the Group 2 trading program
                                                 formula’s 25 percent margin). In                                         equipped with post-combustion                                             in 2020 and 2021 when assurance level
                                                 addition to making sure that                                             controls, and the unit operated for at                                    exceedances occurred in Missouri.
                                                 performance better than 0.08 lb/mmBtu                                    least ten percent of the hours in the                                     Following consideration of comments,
                                                 is not disincentivized, the inclusion of                                 control period. Where a secondary                                         the EPA believes that in each case the
                                                 the floor emissions rate also ensures that                               emissions limitation applies to a unit for                                formula functions in a reasonable
                                                 no unit achieving an average emissions                                   a given control period, the amount of                                     manner, and the Missouri units
                                                 rate of 0.10 lb/mmBtu or less in a given                                 the limitation is computed as the sum                                     identified as exceeding their respective
                                                 control period will exceed a secondary                                   of 50 tons plus the product of (1) the                                    secondary emissions limitations are
                                                 emissions limitation in that control                                     unit’s heat input for the control period                                  sources for which an enforcement
                                                 period. Finally, the formula includes a                                  times (2) a NOX emissions rate of 0.10                                    deterrent under CAA sections 113 and
                                                 50-ton threshold, which will avert                                       lb/mmBtu or, if higher, 125 percent                                       304 would have been appropriate to
                                                 violations for small performance                                         times the lowest seasonal average NOX                                     compel better control of NOX emissions.
                                                 deviations at large EGUs and also ensure                                 emissions rate achieved by the unit in                                    Table VI.B.8–1 does not show any units
                                                 that no unit emitting less than 50 tons                                  a previous control period when the unit                                   that would have been identified as
                                                 in a given control period will exceed a                                  participated in a CSAPR trading                                           subject to secondary emissions
                                                 secondary emissions limitation in that                                   program for ozone season NOX                                              limitations in the case of the 2019 and
                                                 control period.                                                          emissions and operated in at least ten                                    2020 assurance level exceedances in
                                                    In summary, a secondary emissions                                     percent of the hours in the control                                       Mississippi because no units in the state
                                                 limitation is applicable to a unit for a                                 period.342                                                                meeting all conditions for
                                                 given control period only if the state’s                                   Table VI.B.8–1 shows the secondary                                      applicability—including the
                                                 assurance level is exceeded,                                             emissions limitations that the formula                                    requirement to be equipped with post-
                                                 responsibility for the exceedance is                                     would have produced and which units                                       combustion controls—exceeded their
                                                 apportioned at least in part to the set of                               would have exceeded those limitations                                     respective limitations.
                                                   TABLE VI.B.8–1—ILLUSTRATIVE RESULTS OF APPLYING SECONDARY EMISSIONS LIMITATION IN PREVIOUS INSTANCES OF
                                                                                       ASSURANCE LEVEL EXCEEDANCES
                                                                                                                                                                            125% of Lowest         Actual       Secondary      Actual
                                                                                                                                                                               previously           NOX         emissions       NOX       Exceedance
                                                                  Owner/operator                                                   Unit                                      achieved NOX        emissions       limitation   emissions      (tons)
                                                                                                                                                                             emissions rate         rate           (tons)      (tons)
                                                                                                                                                                              (lb/mmBtu)        (lb/mmBtu)

                                                                                                                                                         Missouri—2020

                                                 Assoc.   Elec.   Coop   ..................................   New Madrid 1    .........................................                0.135          0.670             961       4,524         3,563
                                                 Assoc.   Elec.   Coop   ..................................   New Madrid 2    .........................................                0.131          0.497             866       3,108         2,242
                                                 Assoc.   Elec.   Coop   ..................................   Thomas Hill 1   .........................................                0.123          0.526             374       1,384         1,010
                                                 Assoc.   Elec.   Coop   ..................................   Thomas Hill 2   .........................................                0.122          0.537             548       2,187         1,639
                                                 Assoc.   Elec.   Coop   ..................................   Thomas Hill 3   .........................................                0.104          0.195             780       1,374           594

                                                                                                                                                         Missouri—2021

                                                 Assoc.   Elec.   Coop   ..................................   New Madrid 1    .........................................                0.135          0.652             353       1,466         1,113
                                                 Assoc.   Elec.   Coop   ..................................   New Madrid 2    .........................................                0.131          0.611           1,054       4,700         3,646
                                                 Assoc.   Elec.   Coop   ..................................   Thomas Hill 1   .........................................                0.123          0.146             421         440            19
                                                 Assoc.   Elec.   Coop   ..................................   Thomas Hill 2   .........................................                0.122          0.400             600       1,801         1,201



                                                   For further illustrations of the                                       apportionment of responsibility for a                                     experience shows that exceedances of
                                                 application of the secondary emissions                                   share of the exceedance to the unit                                       the assurance level have been rare, and
                                                 limitation formula to other units in the                                 under the assurance provisions.                                           where exceedances of a state’s assurance
                                                 states to be subject to the expanded                                        The secondary emissions limitation                                     level have occurred, the 3-for-1
                                                 Group 3 trading program in the control                                   provisions are being finalized as                                         surrender ratio under the existing
                                                 periods from 2016 through 2021, see the                                  proposed except for the addition of the                                   regulations has applied, providing a
                                                 spreadsheet ‘‘Illustrative Calculations                                  condition that a unit to which the                                        sufficient remedy.
                                                 Using Proposed Secondary Emissions                                       provisions apply must be equipped with                                       Response: The EPA disagrees with
                                                 Limitation Formula,’’ available in the                                   post-combustion controls. The EPA’s                                       these comments. The purpose of the
                                                 docket. The EPA notes that, with the                                     responses to comments concerning the                                      assurance provisions in the CSAPR
                                                 exception of the units listed in Table                                   secondary emissions limitation                                            trading programs is to ensure that the
                                                 VI.B.8–1, no unit shown in the                                           provisions, including the comments                                        emissions reductions required to
                                                 spreadsheet as having emissions                                          giving rise to the change just mentioned,                                 address a state’s obligations under the
                                                 exceeding the illustrative secondary                                     are in the remainder of this section and                                  Good Neighbor Provision occur ‘‘within
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                                                 emissions limitation calculated for the                                  section 5 of the RTC document.                                            the state’’ as mandated by the CAA. See
                                                 unit would have violated the                                                Comment: Some commenters stated                                        North Carolina v. EPA, 531 F.3d 896,
                                                 prohibition because no violation would                                   that the secondary emissions limitation                                   906–08 (D.C. Cir. 2008). Prior to this
                                                 occur in the absence of an exceedance                                    is not necessary, or would be a                                           action, the sole consequence for an
                                                 of the assurance level and                                               disproportionate remedy, because                                          exceedance of a state’s assurance level


                                                   342 For the actual regulatory language, see 40 CFR

                                                 97.1025(c) as added by this rule.


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                                                 has been a requirement to surrender two                 control periods is caused by factors in                EPA views as inappropriate when that
                                                 additional allowances for each ton of                   that control period beyond the                         exceedance could have been avoided.
                                                 the exceedance. The repeated, large,                    operator’s control, such as being                         The asserted possible consequences of
                                                 foreseeable, and easily avoidable                       mandated by a regulator to combust a                   uncertainty about whether the
                                                 exceedances of Missouri’s assurance                     higher proportion of oil or operating for              limitation would apply rest on
                                                 level under the Group 2 trading program                 a higher proportion of hours at load                   mischaracterizations of the provision.
                                                 in 2020 and 2021 have made clear that                   levels where the unit has a higher NOX                 The formula for the limitation reflects
                                                 a remedy based solely on additional                     emissions rate for reasons other than                  the unit’s actual heat input for the
                                                 allowance surrenders is insufficient to                 non-operation of emissions controls.                   control period, so there is no penalty for
                                                 address this statutory requirement and                     Comment: Some commenters asserted                   increased operation as long as the unit’s
                                                 that a materially stronger deterrent is                 that because it is not known if a state’s              seasonal NOX average emissions rate
                                                 needed.                                                 assurance level has been exceeded until                stays below the level just referenced.
                                                    Comment: Some commenters stated                      after the end of the control period, EGU               Finally, nothing about the secondary
                                                 that the secondary emissions limitation                 operators would be unable to know                      emissions limitation disincentivizes an
                                                 could apply to exceedances caused by                    whether the secondary emissions                        EGU fleet owner from transferring
                                                 factors outside the control of the EGU                  limitation would apply to them during                  allocated allowances among the fleet’s
                                                 operator, going beyond the EPA’s intent                 the control period. Some of these                      EGUs, because apportionment of
                                                 of deterring exceedances that are                       commenters suggested that where a unit                 responsibility for an assurance level
                                                 foreseeable and avoidable. For example,                 has been found to have contributed to                  exceedance—one of the conditions for
                                                 commenters pointed out that some units                  an assurance level exceedance, the EPA                 application of the secondary emissions
                                                 that typically combust gas may                          should apply a secondary emissions                     limitation—is determined at the level of
                                                 sometimes be ordered to combust oil at                  limitation to the unit not in that control             the group of units represented by a
                                                 times when supplies of gas are                          period but instead in the following                    common designated representative
                                                 constrained and expressed concern that                  control period.                                        (typically the set of all units operated by
                                                 the resulting higher NOX emissions                         Commenters suggested that                           a particular owner) rather than the
                                                 could cause a unit to exceed its                                                                               individual unit.
                                                                                                         uncertainty about whether a unit would
                                                 secondary emissions limitation. Another                                                                           Comment: Some commenters stated
                                                                                                         be subject to a secondary emissions
                                                 commenter stated that it is not                                                                                that the EPA should revise the
                                                                                                         limitation could have a variety of                     secondary emissions limitation formula
                                                 uncommon for units’ seasonal average
                                                                                                         undesirable consequences. For example,                 so that where a limitation applies to a
                                                 NOX emissions rate to vary by more
                                                                                                         they asserted that some EGUs could                     unit, the unit’s previous NOX emissions
                                                 than 25 percent across control periods.
                                                    Response: The EPA agrees that the                    become unwilling to operate when                       rate used in the formula would not be
                                                 secondary emissions limitation is                       needed for reliability because they                    subject to any floor. These commenters
                                                 intended to apply to units in a position                would be concerned that merely                         also recommended that if the secondary
                                                 to avert an exceedance of a state’s                     operating more than in previous control                emissions limitation provisions are not
                                                 assurance level. The contention that                    periods could cause a unit to exceed its               finalized, the EPA instead should raise
                                                 year-to-year variability of 25 percent in               limitation. One commenter asserted that                the allowance surrender ratio applied to
                                                 units’ seasonal average emissions rates                 the uncertainty would make it difficult                exceedances of the assurance level in
                                                 is common is not in itself a persuasive                 for an owner of multiple EGUs to use                   this final rule.
                                                 reason to omit the secondary emissions                  allowances allocated to one EGU to                        Response: The EPA disagrees with the
                                                 limitation from the final rule, because                 meet another EGU’s surrender                           suggestion to remove the emissions rate
                                                 the mere existence of such variability                  requirements, possibly leading to                      floor from the secondary emissions
                                                 says nothing about whether the                          operating restrictions on multiple EGUs.               limitation formula, which would have
                                                 operators of those units could reduce                      Response: The EPA disagrees with                    the effect of making the limitation more
                                                 that variability through their operational              these comments. While an operator                      stringent for any unit that has achieved
                                                 decisions, and the commenter provided                   cannot be certain that the secondary                   a seasonal average NOX emissions rate
                                                 no data regarding the extent to which                   emissions limitation will apply to a                   lower than 0.08 lb/mmBtu in a past
                                                 the historical variability was avoidable.               particular EGU until after the end of a                control period. As indicated by their
                                                 However, the EPA agrees that a                          control period, the operator can be                    label, the secondary emissions
                                                 secondary emissions limitation should                   certain that the limitation will not apply             limitation provisions play a secondary
                                                 be designed to avoid application to a                   to a particular EGU simply by ensuring                 role in the Group 3 trading program
                                                 unit whose increase in emissions rate                   that the unit’s seasonal average NOX                   regulations, specifically to provide the
                                                 was caused by mandated combustion of                    emissions rate does not exceed the                     strongest possible deterrent against
                                                 a higher-NOX fuel than the unit’s                       higher of 0.10 lb/mmBtu or 125 percent                 conduct leading to foreseeable and
                                                 normal fuel. Moreover, based on the                     of the unit’s lowest seasonal average                  avoidable exceedances of a state’s
                                                 analysis of the secondary emissions                     NOX emissions rate in a previous                       assurance level. The distinguishing
                                                 limitation formula prepared for the                     control period under a CSAPR trading                   feature of the secondary emissions
                                                 proposal, the EPA has reviewed the                      program (excluding control periods                     limitation provisions is therefore the
                                                 applicability of the limitation more                    where the unit operated for less than 10               remedy for an exceedance, which is
                                                 generally and has determined that it                    percent of the hours). Because any                     potential application of the CAA’s
                                                 should apply only to units with post-                   operator of a unit with post-combustion                enforcement authorities. The trading
                                                                                                         controls can readily avoid being subject
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                                                 combustion controls, which are the                                                                             program’s primary role of achieving
                                                 units with the greatest ability to manage               to the limitation, there is no need for                required emissions reductions in a more
                                                 their emissions rates through their                     application of the limitation to be                    flexible and cost-effective manner than
                                                 operating behavior. This modification                   deferred to the following control period.              command-and-control regulation is
                                                 will avoid application of a secondary                   Deferral of the limitation’s application               played by the primary emissions
                                                 emissions limitation in situations where                would also have the effect of excusing                 limitation provisions, which are
                                                 a unit’s increase in seasonal average                   a unit’s first contribution to an                      structured as allowance surrender
                                                 NOX emissions rate relative to past                     assurance level exceedance, which the                  requirements. Within this overall


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                                                 trading program structure, the EPA                      areas of Indian country not subject to a                 rulemaking, will update the regulations
                                                 considers it sufficient for the operation               state’s CAA implementation planning                      for the Group 3 trading program 346 to
                                                 of units at emissions rates lower than                  authority as well as ‘‘new’’ units                       reflect the D.C. Circuit’s holding in
                                                 0.08 lb/mmBtu to be incentivized                        anywhere within a state’s borders.345                    ODEQ v. EPA that the relevant states
                                                 through the allowance surrender                         Second, in advance of each control                       have initial CAA implementation
                                                 requirements instead of being mandated                  period, the unreserved portion of the                    planning authority in non-reservation
                                                 through potential application of the                    state budget is allocated among the                      areas of Indian country until displaced
                                                 CAA’s enforcement authorities.                          state’s eligible existing units, any                     by a demonstration of tribal jurisdiction
                                                    The recommendation to raise the                      portion of the state budget reserved for                 over such an area.347 Consistent with
                                                 allowance surrender ratio applicable to                 existing units in Indian country not                     this holding, the EPA is revising
                                                 exceedances of the assurance level if the               subject to the state’s CAA                               language in the Group 3 trading program
                                                 secondary emissions limitation is not                   implementation planning authority is                     regulations that prior to this rule, for
                                                 finalized is moot because the secondary                 allocated among those units, and the                     purposes of allocating allowances from
                                                 emissions limitation is being finalized.                allocations are recorded in the                          a given state’s emissions budget,
                                                 9. Unit-Level Allowance Allocation and                  respective sources’ compliance                           distinguished between (1) the set of
                                                 Recordation Procedures                                  accounts. Finally, after the control                     units within the state’s borders that are
                                                                                                         period but before the compliance                         not in Indian country and (2) the set of
                                                    In this rule, the EPA is establishing                deadline by which sources must hold                      units within the state’s borders that are
                                                 default procedures for allocating CSAPR                 allowances to cover their emissions for                  in Indian country. As revised, the
                                                 NOX Ozone Season Group 3 allowances                     the control period, allowances from the                  provisions now distinguish between (1)
                                                 (‘‘Group 3 allowances’’) in amounts                     portion of the budget reserved for new                   the set of units within the state’s borders
                                                 equal to each state emissions budget for                units are allocated to qualifying units,                 that are not in Indian country or are in
                                                 each control period among the sources                   any remaining reserved allowances not                    areas of Indian country covered by the
                                                 in the state for use in complying with                  allocated to qualifying units are                        state’s CAA implementation planning
                                                 the Group 3 trading program. Like the                   allocated among the state’s existing                     authority and (2) the set of units within
                                                 allocation processes established in                     units, and the allocations are recorded                  the state’s borders that are in areas of
                                                 CSAPR, the CSAPR Update, and the                        in the respective sources’ compliance                    Indian country not covered by the
                                                 Revised CSAPR Update, the revised                       accounts.                                                state’s CAA implementation planning
                                                 allocation process finalized in this rule                  While the overall three-step allocation               authority. The revised language more
                                                 is designed to provide default allowance                process summarized in this section was                   accurately distinguishes which units
                                                 allocations to all units that are subject               also followed in CSAPR, the CSAPR                        are, or are not, covered by a state’s CAA
                                                 to allowance holding requirements. The                  Update, and the Revised CSAPR                            implementation planning authority,
                                                 EPA’s allocations and allocation                        Update, in this rule the EPA is making                   which is the underlying purpose for
                                                 procedures apply for the 2023 control                   revisions to each step to better address                 which the term ‘‘Indian country’’ is
                                                 period 343 and, by default, for                         units in Indian country and to better                    currently used in the allowance
                                                 subsequent control periods unless and                   coordinate the unit-level allocation                     allocation provisions. The effect of the
                                                 until a state or tribe provides state-                  process with the dynamic budget-setting                  revision is that any units located in
                                                 determined or tribe-determined                          process discussed in section VI.B.4 of                   areas of ‘‘Indian country’’ as defined in
                                                 allowance allocations under an                          this document. The revisions to the                      18 U.S.C. 1151 that are covered by a
                                                 approved SIP revision or tribal                         three steps are discussed in sections                    state’s CAA implementation planning
                                                 implementation plan.344                                 VI.B.9.a, VI.B.9.b, and VI.B.9.c,                        authority will be treated for allowance
                                                    The default allocation process for the               respectively.                                            allocation purposes in the same manner
                                                 Group 3 trading program as updated in
                                                                                                         a. Set-Asides of Portions of State                       as units in areas of the state that are not
                                                 this rule involves three main steps.
                                                                                                         Emissions Budgets                                        Indian country, consistent with the
                                                 First, portions of each state emissions
                                                                                                                                                                  ODEQ holding.348
                                                 budget for each control period are                         The first step of the overall unit-level                 The remaining revisions, which are
                                                 reserved for potential allocation to units              allocation process for a given control                   interrelated, concern the types of set-
                                                 that are subject to allowance holding                   period involves reserving portions of                    asides that in the context of this rule
                                                 requirements and that might not                         each state’s budget for the control                      will best accomplish the goal of
                                                 otherwise receive allowance allocations                 period in ‘‘set-asides.’’ In this rule, the              ensuring the availability of allocations
                                                 in the overall allocation process,                      EPA is making several revisions                          to units that are subject to allowance
                                                 including both ‘‘existing’’ units in any                affecting the establishment of set-asides.               holding requirements and that would
                                                                                                         The first revision, which is largely
                                                    343 The rule does not include an option for states
                                                                                                         unrelated to the other aspects of this                      346 As discussed in section VI.B.13, the EPA is
                                                 to replace the EPA’s unit-level allocations for the
                                                 2023 control period because the Agency believes a                                                                also making this revision to the regulations for the
                                                 process for obtaining appropriately authorized             345 Under this rule, the unit-level allocations to    other CSAPR trading programs in addition to the
                                                 allowance allocations determined by a state or tribe    ‘‘existing’’ units are generally computed in the year    Group 3 trading program.
                                                                                                                                                                     347 For additional discussion of the ODEQ v. EPA
                                                 could not be completed in time for those allocations    before the year of each control period, and the
                                                 to be recorded before the end of the 2023 control       determination of whether to treat a particular unit      decision and other issues related to the CAA
                                                 period.                                                 as existing for purposes of that control period’s        implementation planning authority of states, tribes,
                                                    344 The options for states to submit SIP revisions   allocations is made as part of the allocation process,   and the EPA in various areas of Indian country, see
                                                 that would replace the EPA’s default allowance          generally based on whether the Agency has the data       section III.C.2.
                                                                                                         needed to compute an allocation for the unit as an          348 The EPA notes that the units that will be
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                                                 allocations are discussed in sections VI.D.1, VI.D.2,
                                                 and VI.D.3 of this document. Similarly, for a           existing unit. A unit that is subject to allowance       treated for allocation purposes in the same manner
                                                 covered area of Indian country not subject to a         holding requirements for a given control period and      as units not in Indian country will include units in
                                                 state’s CAA implementation planning authority, a        that did not receive an allocation for that control      any areas of Indian country subject to a state’s CAA
                                                 tribe could elect to work with the EPA under the        period as an existing unit is generally eligible to      implementation planning authority, whether those
                                                 Tribal Authority Rule to develop a full or partial      receive an allocation from the portion of the budget     are non-reservation areas (consistent with ODEQ) or
                                                 tribal implementation plan under which the tribe        reserved for ‘‘new’’ units. For further discussion of    reservation areas (such as areas of Indian country
                                                 would determine allowance allocations that would        which units are considered eligible for allocations      within Oklahoma’s borders covered by the EPA’s
                                                 replace the EPA’s default allocations for subsequent    as existing units or new units in particular control     October 1, 2020 approval of Oklahoma’s request
                                                 control periods.                                        periods, see sections VI.B.9.b and VI.B.9.c.             under SAFETEA, as discussed in section III.C.2).



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                                                 not otherwise receive allowance                         accounts at the same time as the                       new unit set-asides is to avoid
                                                 allocations. One revision to the types of               allocations to other sources not in                    unnecessary and potentially inequitable
                                                 set-asides addresses allocations to                     Indian country. The existence of the                   changes to the degree to which
                                                 existing units in Indian country. The                   Indian country existing unit set-aside                 individual existing units contribute to,
                                                 revised geographic scope of the Group 3                 thus will have no substantive effect                   or benefit from, the new unit set-asides.
                                                 trading program under this rule will for                unless and until the relevant state                    The allowances used to establish these
                                                 the first time include an existing EGU in               chooses to replace the EPA’s default                   set-asides are reserved from each state
                                                 Indian country not covered by a state’s                 allowance allocations through a SIP                    emissions budget before determination
                                                 CAA implementation planning                             revision, in which case the state would                of the allocations from the unreserved
                                                 authority—the Bonanza coal-fired unit                   have the ability to establish state-                   portion of the budget to existing units,
                                                 in the Uintah and Ouray Reservation                     determined allocations for the units                   so that certain existing units—generally
                                                 within Utah’s borders. To provide an                    subject to the state’s CAA                             those receiving the largest allocations—
                                                 option for Utah (or a similarly situated                implementation planning authority                      contribute to creation of the set-asides
                                                 state in the future) to replace the                     while the EPA would continue to                        through roughly proportional reductions
                                                 Agency’s default allowance allocations                  administer the Indian country existing                 in their allocations. Later, if any
                                                 to most existing units with state-                      unit set-aside for the units in Indian                 allowances in a set-aside are not
                                                 determined allocations through a SIP                    country not covered by the state’s CAA                 allocated to qualifying new units, the
                                                 revision while continuing to ensure the                 implementation planning authority.350                  remaining allowances are reallocated to
                                                 availability of a default allocation to the             The EPA believes the establishment of                  the existing units in proportion to their
                                                 Bonanza unit, which is not subject to                   Indian country existing unit set-asides                initial allocations from the unreserved
                                                 the state’s jurisdiction or control (or                 accomplishes the objective of allowing                 portion of the budget, so that certain
                                                 similarly situated units in the future),                states to control allowance allocations to             existing units—again, generally those
                                                 the EPA is revising the Group 3 trading                 units covered by their CAA                             receiving the largest allocations—benefit
                                                 program regulations to provide for                      implementation planning authority                      from the reallocations in rough
                                                 ‘‘Indian country existing unit set-                     while ensuring that the allocations to                 proportion to their previous
                                                 asides.’’ Specifically, for each state and              units in Indian country not covered by                 contributions.351 The EPA believes
                                                 for each control period where the set of                such authority remain under Federal                    maintaining this symmetry, where the
                                                 units within a state’s borders eligible to              authority (unless replaced by a tribal                 same existing units—whether in Indian
                                                 receive allocations as existing units                   implementation plan).                                  country or not—both contribute to and
                                                 includes one or more units 349 in an area                  The remaining revisions to the types                potentially benefit from the set-asides, is
                                                 of Indian country not covered by the                    of set-asides address the set-asides used              a reasonable policy objective, and doing
                                                 state’s CAA implementation planning                     to ensure availability of allowance                    so requires that the EPA continue to
                                                 authority, the EPA will reserve a portion               allocations to new units in light of the               administer the new unit set-asides in
                                                 of the state’s emissions budget in an                   division of the budget for existing units              the event a state chooses to replace the
                                                 Indian country existing unit set-aside                  into a reserved portion for existing units             EPA’s default allocations to existing
                                                 for the unit or units. The amount of each               in Indian country and an unreserved                    units with state-determined allocations,
                                                 Indian country existing unit set-aside                  portion for other existing units. Under                because otherwise the EPA would be
                                                 will equal the sum of the default                       the Group 3 trading program regulations                unable to maintain Federal
                                                 allocations that the units covered by the               as in effect before this rule, allowances              implementation authority and ensure
                                                                                                         for new units have been provided from                  that the units in Indian country would
                                                 set-aside would receive if the
                                                                                                         separate new unit set-asides and Indian                receive an appropriate share of any
                                                 allocations to all existing units within
                                                                                                         country new unit set-asides. Under this                reallocated allowances.352 The principal
                                                 the state’s borders were computed
                                                                                                         rule, the EPA is combining these two                   difference between the new unit set-
                                                 according to EPA’s default allocation
                                                                                                         types of set-asides starting with the 2023             asides and the Indian country new unit
                                                 procedure (which is discussed in
                                                                                                         control period by eliminating the Indian               set-asides under the regulations in effect
                                                 section VI.B.9.b of this document).
                                                                                                         country new unit set-asides and                        before this rule was that, if a state chose
                                                 Immediately after determining the
                                                                                                         expanding eligibility for allocations                  to replace the EPA’s default allocations
                                                 amount of a state’s emissions budget for
                                                                                                         from the new unit set-asides to include                with state-determined allocations, the
                                                 a control period (and after reserving a
                                                                                                         units anywhere within the relevant                     state would take over administration of
                                                 portion for potential allocation to new
                                                                                                         states’ borders. However, as with the                  the new unit set-aside, but not any
                                                 units, as discussed later in this section),
                                                                                                         Indian country new unit set-asides                     Indian country new unit set-aside.
                                                 the EPA will first determine the default
                                                                                                         under the current regulations, the EPA
                                                 allocations for all existing units within
                                                                                                         will continue to administer the new unit                  351 Under the regulations in effect before this final
                                                 the state’s borders, then allocate the                                                                         rule, allowances from an Indian country new unit
                                                                                                         set-asides in the event a state chooses to
                                                 appropriate quantity of allowances to                                                                          set-aside that are not allocated to qualifying new
                                                                                                         replace the EPA’s default allocations to               units in Indian country are first transferred to the
                                                 the Indian country existing unit set-
                                                                                                         existing units with state-determined                   state’s new unit set-aside, and if the allowances are
                                                 aside, then allocate the allowances from                                                                       not allocated to qualifying new units elsewhere
                                                                                                         allocations, thereby ensuring the
                                                 the set-aside to the covered units in                                                                          within the state’s borders, the allowances are then
                                                                                                         availability of allocations to any new
                                                 Indian country, and finally record the                                                                         reallocated to the state’s existing units.
                                                                                                         units not covered by a state’s CAA                        352 If units in Indian country were unable to share
                                                 allocations in the sources’ compliance
                                                                                                         implementation planning authority.                     in the benefits of reallocation of allowances from
                                                    349 In coordination with the dynamic budgeting
                                                                                                            The reason for the revisions to the                 the new unit set-asides, it would be possible to
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                                                                                                         new unit set-asides and Indian country                 achieve a different form of symmetry by
                                                 process discussed in section VI.B.4, each unit                                                                 simultaneously exempting the units in Indian
                                                 included in the unit inventory used to determine                                                               country from the obligation to share in the
                                                 a state’s dynamic emissions budget for a given             350 As noted in section VI.D, a tribe could elect
                                                                                                                                                                contribution of allowances to the new unit set-
                                                 control period in 2026 or a later year will be          to work with EPA under the Tribal Authority Rule       asides. However, some stakeholders might view this
                                                 considered an ‘‘existing’’ unit for that control        to develop a full or partial tribal implementation     alternative as potentially inequitable because
                                                 period for purposes of the determination of unit-       plan under which the tribe would determine             existing units in Indian country would then make
                                                 level allowance allocations. In other words, there      allowance allocations for units in the relevant area   no contributions toward the new unit set-aside
                                                 will no longer be a single fixed date that divides      of Indian country that would replace EPA’s default     while other existing units would still be required
                                                 ‘‘existing’’ from ‘‘new’’ units.                        allocations for subsequent control periods.            to do so.



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                                                 Under the revised regulations finalized                                       new unit set-aside for the state would be                                York’s preferences as reflected in an
                                                 in this rule, states will not be able to                                      set at 6 percent, which is the sum of the                                approved SIP addressing allowance
                                                 take over administration of the new unit                                      4 percent for planned units plus the                                     allocations for the Group 2 trading
                                                 set-asides in this situation. Therefore,                                      base 2 percent for unknown new units.                                    program.
                                                 there is no longer any reason to                                              Alternatively, if planned new units are                                     The final regulations issued under
                                                 establish separate Indian country new                                         projected to emit only 1 percent of the                                  this rule specify the new unit set-aside
                                                 unit set-asides in order to preserve                                          state’s budget, the new unit set-aside                                   amounts in terms of the percentages of
                                                 Federal (and potentially tribal) authority                                    would be set at the minimum 5 percent                                    the state emissions budgets. The
                                                 to implement the rule in areas of Indian                                      amount. Except for the addition of the                                   amounts are shown in Tables VI.B.9.a–
                                                 country subject to tribal jurisdiction.                                       5 percent minimum, which is a change                                     1, VI.B.9.a–2, and VI.B.9.a–3 of this
                                                    With respect to the total amounts of                                       being made in response to comments,                                      document show the tonnage amounts of
                                                 allowances that will be set aside for                                         the approach to setting the new unit set-                                the new unit set-asides for the control
                                                 potential allocation to new units from                                        aside amounts is generally the same                                      periods in 2023 through 2025 that are
                                                 the emissions budgets for each state, for                                     approach previously used to establish                                    computed by multiplying the new unit
                                                 the control periods in 2023 through                                           the amounts of new unit set-asides in                                    set-aside percentages by the preset
                                                 2025 (but not for subsequent control                                          CSAPR, the CSAPR Update, and the                                         budgets finalized in this rule for those
                                                 periods, as discussed later in this                                           Revised CSAPR Update for all the                                         control periods. The amounts of the
                                                 section), the EPA is establishing total                                       CSAPR trading programs. See, e.g., 76                                    2023 new unit set-asides are illustrative
                                                 set-aside amounts equal to the projected                                      FR 48292 (August 8, 2011).                                               because they do not reflect the impact
                                                 amounts of emissions from any planned                                           As under the Revised CSAPR Update,                                     of transitional adjustments included in
                                                 units in the state for the control period,                                    the EPA is making an exception for New                                   the rule that that are likely to affect the
                                                 plus an additional base 2 percent of the                                      York for the 2023 through 2025 control                                   2023 budgets as implemented.353 The
                                                 state emissions budget to address any                                         periods, establishing a total new unit                                   amounts of the 2024 and 2025 new unit
                                                 unknown new units, with a minimum                                             set-aside amount for each control period                                 set-asides are the actual amounts,
                                                 total amount of 5 percent. For example,                                       of 5 percent of the state’s emissions                                    because the 2024 and 2025 budgets
                                                 if planned units in a state are projected                                     budget, with no additional                                               computed in this rule are the budgets
                                                 to emit 4 percent of the state’s NOX                                          consideration for planned units, because                                 that will be implemented, without any
                                                 ozone season emissions budget, then the                                       this approach is consistent with New                                     need for transitional adjustments.

                                                  TABLE VI.B.9.a–1—ILLUSTRATIVE CSAPR NOX OZONE SEASON GROUP 3 NEW UNIT SET-ASIDE (NUSA) AMOUNTS FOR
                                                                                        THE 2023 CONTROL PERIOD

                                                                                                                                                                                                                           New unit          New unit
                                                                                                                                                                                                        Emissions          set-aside         set-aside
                                                                                                                      State                                                                              budgets            amount            amount
                                                                                                                                                                                                          (tons)           (percent)           (tons)

                                                 Alabama .......................................................................................................................................              6,379                    5               319
                                                 Arkansas ......................................................................................................................................              8,927                    5               446
                                                 Illinois ...........................................................................................................................................         7,474                    5               374
                                                 Indiana .........................................................................................................................................           12,440                    5               622
                                                 Kentucky ......................................................................................................................................             13,601                    5               680
                                                 Louisiana ......................................................................................................................................             9,363                    5               468
                                                 Maryland ......................................................................................................................................              1,206                    5                60
                                                 Michigan .......................................................................................................................................            10,727                    5               536
                                                 Minnesota ....................................................................................................................................               5,504                    5               275
                                                 Mississippi ....................................................................................................................................             6,210                    5               311
                                                 Missouri ........................................................................................................................................           12,598                    5               630
                                                 Nevada .........................................................................................................................................             2,368                    9               213
                                                 New Jersey ..................................................................................................................................                  773                    5                39
                                                 New York .....................................................................................................................................               3,912                    5               196
                                                 Ohio .............................................................................................................................................           9,110                    6               547
                                                 Oklahoma .....................................................................................................................................              10,271                    5               514
                                                 Pennsylvania ................................................................................................................................                8,138                    5               407
                                                 Texas ...........................................................................................................................................           40,134                    5             2,007
                                                 Utah .............................................................................................................................................          15,755                    5               788
                                                 Virginia .........................................................................................................................................           3,143                    5               157
                                                 West Virginia ................................................................................................................................              13,791                    5               690
                                                 Wisconsin .....................................................................................................................................              6,295                    5               315
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                                                    353 As discussed in section VI.B.12, the EPA                               rule’s transitional provisions so as to ensure that the                  adjusted budgets, but the 2023 budget amounts
                                                 expects that this final rule will become effective                            new budgets will apply only after the rule’s                             shown in Table VI.B.9.a–1 do not reflect these
                                                 after May 1, 2023, causing the emissions budgets for                          effective date. The actual new unit set-asides for the                   adjustments.
                                                 the 2023 control period to be adjusted under the                              2023 control period will be computed using the



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                                                     TABLE VI.B.9.a–2—CSAPR NOX OZONE SEASON GROUP 3 NEW UNIT SET-ASIDE (NUSA) AMOUNTS FOR THE 2024
                                                                                            CONTROL PERIOD
                                                                                                                                                                                                                        New unit        New unit
                                                                                                                                                                                                        Emissions       set-aside       set-aside
                                                                                                                      State                                                                              budgets         amount          amount
                                                                                                                                                                                                          (tons)        (percent)         (tons)

                                                 Alabama .......................................................................................................................................              6,489                 5           324
                                                 Arkansas ......................................................................................................................................              8,927                 5           446
                                                 Illinois ...........................................................................................................................................         7,325                 5           366
                                                 Indiana .........................................................................................................................................           11,413                 5           571
                                                 Kentucky ......................................................................................................................................             12,999                 5           650
                                                 Louisiana ......................................................................................................................................             9,363                 5           468
                                                 Maryland ......................................................................................................................................              1,206                 5            60
                                                 Michigan .......................................................................................................................................            10,275                 5           514
                                                 Minnesota ....................................................................................................................................               4,058                 5           203
                                                 Mississippi ....................................................................................................................................             5,058                 5           253
                                                 Missouri ........................................................................................................................................           11,116                 5           556
                                                 Nevada .........................................................................................................................................             2,589                 9           233
                                                 New Jersey ..................................................................................................................................                  773                 5            39
                                                 New York .....................................................................................................................................               3,912                 5           196
                                                 Ohio .............................................................................................................................................           7,929                 6           476
                                                 Oklahoma .....................................................................................................................................               9,384                 5           469
                                                 Pennsylvania ................................................................................................................................                8,138                 5           407
                                                 Texas ...........................................................................................................................................           40,134                 5         2,007
                                                 Utah .............................................................................................................................................          15,917                 5           796
                                                 Virginia .........................................................................................................................................           2,756                 5           138
                                                 West Virginia ................................................................................................................................              11,958                 5           598
                                                 Wisconsin .....................................................................................................................................              6,295                 5           315


                                                     TABLE VI.B.9.a–3—CSAPR NOX OZONE SEASON GROUP 3 NEW UNIT SET-ASIDE (NUSA) AMOUNTS FOR THE 2025
                                                                                            CONTROL PERIOD
                                                                                                                                                                                                                        New unit        New unit
                                                                                                                                                                                                        Emissions       set-aside       set-aside
                                                                                                                      State                                                                              budgets         amount          amount
                                                                                                                                                                                                          (tons)        (percent)         (tons)

                                                 Alabama .......................................................................................................................................              6,489                 5           324
                                                 Arkansas ......................................................................................................................................              8,927                 5           446
                                                 Illinois ...........................................................................................................................................         7,325                 5           366
                                                 Indiana .........................................................................................................................................           11,413                 5           571
                                                 Kentucky ......................................................................................................................................             12,472                 5           624
                                                 Louisiana ......................................................................................................................................             9,107                 5           455
                                                 Maryland ......................................................................................................................................              1,206                 5            60
                                                 Michigan .......................................................................................................................................            10,275                 5           514
                                                 Minnesota ....................................................................................................................................               4,058                 5           203
                                                 Mississippi ....................................................................................................................................             5,037                 5           252
                                                 Missouri ........................................................................................................................................           11,116                 5           556
                                                 Nevada .........................................................................................................................................             2,545                 9           229
                                                 New Jersey ..................................................................................................................................                  773                 5            39
                                                 New York .....................................................................................................................................               3,912                 5           196
                                                 Ohio .............................................................................................................................................           7,929                 6           476
                                                 Oklahoma .....................................................................................................................................               9,376                 5           469
                                                 Pennsylvania ................................................................................................................................                8,138                 5           407
                                                 Texas ...........................................................................................................................................           38,542                 5         1,927
                                                 Utah .............................................................................................................................................          15,917                 5           796
                                                 Virginia .........................................................................................................................................           2,756                 5           138
                                                 West Virginia ................................................................................................................................              11,958                 5           598
                                                 Wisconsin .....................................................................................................................................              5,988                 5           299



                                                   For control periods in 2026 and later                                       control period. The procedure for                                        the dynamic budget-setting process that
                                                 years, the EPA will allocate a total of 5                                     determining the amounts of the set-                                      may be used to determine budgets
                                                 percent of each state emissions budget                                        asides based on the amounts of the state                                 beginning with the 2026 control period.
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                                                 to a new unit set-aside, with no                                              emissions budgets is being codified in                                   As discussed in section VI.B.4 of this
                                                 additional amount for planned new                                             the Group 3 trading program regulations                                  document, under the dynamic budget-
                                                 units. The amounts of the set-asides for                                      and will reflect the same percentage of                                  setting process, each state’s budget for
                                                 each state and control period will be                                         the emissions budget for all states.                                     each control period will be computed
                                                 computed when the emissions budgets                                             The purpose of the change to the                                       using fleet composition information and
                                                 for the control period are established, by                                    procedure for establishing the amounts                                   the total ozone season heat input
                                                 May 1 of the year before the year of the                                      of the set-asides is to coordinate with                                  reported by all affected units in the state


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                                                 for the most recent control periods                     rule for areas of Indian country subject               of the methodology used in the Revised
                                                 before the budget-setting computations.                 to tribal jurisdiction. The comments and               CSAPR Update to reflect more recent
                                                 (For example, 2026 emissions budgets                    the EPA’s responses are discussed in                   data (for example, the unit inventories
                                                 would be based on 2022–2024 state-                      greater detail in section 1 of the RTC                 used to compute 2026 budgets and
                                                 level heat input data.) Moreover, as                    document.                                              allocations will reflect reported data up
                                                 discussed in section VI.B.9.b of this                   b. Allocations to Existing Units,                      through the 2024 control period). These
                                                 document, the set of units eligible to                  Including Units That Cease Operation                   inventories, which are generally the
                                                 receive allocations as ‘‘existing’’ units in                                                                   same as the inventories used to compute
                                                 a given control period will generally be                   In conjunction with the new and                     dynamic budgets for each control
                                                 the set of units that operated in the                   revised state emissions budget-setting                 period, include any unit whose monitor
                                                 control period two years earlier (with                  methodology for the Group 3 trading                    certification deadline was no later than
                                                 the exception of any units whose                        program finalized in this rulemaking,                  the start of the relevant historical
                                                 monitor certification deadlines fell after              the EPA is necessarily establishing a                  control period and that reported
                                                 the start of that earlier control period).              revised procedure for making unit-level                emissions data during the relevant
                                                 Consequently, by the 2025 control                       allocations of Group 3 allowances to                   historical control period. The EPA notes
                                                 period, all or almost all units that                    existing units.354 The procedure that the              that basing the list of eligible units on
                                                 commenced commercial operation                          EPA is employing to compute the unit-                  the list of units that reported heat input
                                                 before issuance of this rule will be                    level allocations is very similar but not              in the control period two years earlier
                                                 considered ‘‘existing’’ units for purposes              identical to the procedure used to                     than the control period for which
                                                 of budget-setting and allocations, and                  compute unit-level allocations for units               allocations are being determined
                                                 units commencing commercial                             subject to the Group 3 trading program                 represents a revision to the Group 3
                                                 operation after issuance of this rule                   in the Revised CSAPR Update. The                       trading program regulations as in effect
                                                 generally will be considered ‘‘existing’’               steps of the procedure for determining                 before this rule concerning the
                                                 units for all but their first two full                  allocations from each state emissions                  treatment of allocations to retired units.
                                                 control periods of operation (and                       budget for each control period are                     Under the prior regulations, units that
                                                 possibly a preceding partial control                    described in detail in the Unit-Level                  cease operations for two consecutive
                                                 period). Given that new units will not                  Allowance Allocations Final Rule TSD.                  control periods would continue to
                                                 be relying on the new unit set-asides as                The steps are summarized in the                        receive allocations as existing units for
                                                 a permanent source of allowances, as is                 following paragraphs, with changes                     three additional years (that is, a total of
                                                 the case for ‘‘new’’ units under the other              from the procedure followed in the                     five years) before the allowances they
                                                 CSAPR trading programs, the EPA                         Revised CSAPR Update noted.                            would otherwise have received are
                                                                                                            In the first step, the EPA identifies the
                                                 believes it is unnecessary to establish                                                                        reallocated to the new unit set-aside for
                                                                                                         list of units eligible to receive
                                                 set-aside percentages for some states                                                                          the state. Under the regulations as
                                                                                                         allocations for the control period. The
                                                 that are permanently larger than 5                                                                             revised in this rule, units that cease
                                                                                                         unit inventories used to compute unit-
                                                 percent based solely on the fact that                                                                          operation will receive allocations for
                                                                                                         level allocations for the control periods
                                                 projected emissions from planned new                                                                           only two full control periods of non-
                                                                                                         in 2023 through 2025 are the same
                                                 units happen to be a somewhat larger                                                                           operation. While the EPA has in prior
                                                                                                         inventories that have been used to
                                                 proportion of those states’ overall                                                                            transport rulemakings noted a
                                                                                                         determine the preset emissions budget
                                                 budgets at the time of this rule’s                                                                             qualitative concern that ceasing
                                                                                                         for these control periods. These
                                                 issuance.                                                                                                      allowance allocations prematurely
                                                                                                         inventories have been determined in
                                                    The changes to the structure and                                                                            could distort the economic incentives of
                                                                                                         this rulemaking in essentially the same
                                                 amounts of set-asides in this rule largely                                                                     EGUs to continue operating when
                                                                                                         manner as in the Revised CSAPR
                                                 follow the proposal. The EPA received                                                                          retirement is more economical, the EPA
                                                                                                         Update. The procedures for updating
                                                 few comments on these topics. As noted                                                                         believes that anticipated market
                                                                                                         the unit inventories for these control
                                                 previously, one commenter expressed                                                                            conditions (in particular, the incentives
                                                                                                         periods are discussed in section VI.B.4
                                                 the view that if the amounts of the new                                                                        toward power sector transition to
                                                                                                         of this document, and the criteria that
                                                 unit set-asides were based on 2 percent                                                                        cleaner generating sources), particularly
                                                                                                         the EPA has applied to determine
                                                 of the respective states’ budgets, the set-                                                                    in the later 2020s, are such that a
                                                                                                         whether a unit’s scheduled retirement is
                                                 asides would be too small in certain                                                                           continuation of allowance allocations to
                                                                                                         sufficiently certain to serve as a basis for
                                                 circumstances, and in response the final                                                                       retiring units likely has no more than a
                                                                                                         adjusting emissions budgets and unit-
                                                 rule bases the amounts of the set-asides                                                                       de minimis effect on the consideration
                                                                                                         level allocations, are discussed in
                                                 on a floor percentage of 5 percent                                                                             of an EGU whether to retire or not.
                                                                                                         section V.B of this document and in the
                                                 instead of 2 percent. The remaining                     Ozone Transport Policy Analysis Final                     In the second step of the procedure
                                                 commenters expressed a concern that                     Rule TSD.                                              for determining allocations to existing
                                                 the final rule’s provisions regarding set-                 The unit inventories used to compute                units, the EPA will compile a database
                                                 asides should ensure that any tribal                    unit-level allocations for control periods             containing for each eligible unit the
                                                 decisions relating to allowance                         in 2026 and later years will be                        unit’s historical heat input and total
                                                 allocations would not be constrained by                 determined in the year before the                      NOX emissions data for the five most
                                                 state decisions. The EPA had this same                  control period in question based on the                recent ozone seasons. For each unit, the
                                                 concern in mind when designing the                      latest reported emissions and                          EPA will compute an average heat input
                                                 rule and believes that the final set-aside
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                                                                                                         operational data, which is an extension                value based on the three highest non-
                                                 structure—encompassing Indian                                                                                  zero heat input values over the 5-year
                                                 country existing unit set-asides as well                   354 The revisions to the procedures for computing   period, or as the average of all the non-
                                                 as EPA-administered new unit set-                       unit-level allowance allocations in this rulemaking    zero values in the period if there are
                                                 asides for sources in all areas within                  apply only to the Group 3 trading program. In this     fewer than three non-zero values. For
                                                                                                         rulemaking, the EPA is not reopening the
                                                 each state’s borders—fully addresses the                methodology for computing the amounts of
                                                                                                                                                                each unit, the EPA will also determine
                                                 concern, is equitable, and preserves                    allowances allocated to any unit under any other       the maximum total NOX emissions
                                                 Federal and tribal authority under this                 CSAPR trading program.                                 value over the 5-year period. For coal-


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                                                 fired units of 100 MW or larger, the EPA                proportion to the share each unit’s                    while the 2025 allocations will be
                                                 will further determine a ‘‘maximum                      average heat input value represents of                 recorded by July 1, 2024.355
                                                 controlled baseline’’ NOX emissions                     the total of the average heat input values                The default unit-level allocations for
                                                 value, computed as the unit’s maximum                   for all the state’s eligible units, but not            each control period in 2026 or a later
                                                 heat input over the 5-year period times                 more than the unit’s maximum total                     year will be computed immediately
                                                 a NOX emissions rate of 0.08 lb/mmBtu.                  NOX value or, if applicable, the unit’s                following the determination of the state
                                                 The maximum controlled baseline will                    maximum controlled baseline. If the                    emissions budgets for the control
                                                 serve as an additional cap on unit-level                allocations to one or more units are                   period. The EPA will perform the
                                                 allocations for all such coal-fired units               curtailed because of the units’                        computations and issue a notice of data
                                                 starting with the control periods in                    applicable caps, the EPA will iterate the              availability concerning the preliminary
                                                 which the assumed use of SCR controls                   calculation procedure as needed to                     unit-level allocations for each control
                                                 at the units is reflected in the state                  allocate the remaining allowances,                     period by March 1 of the year before the
                                                 emissions budgets. Thus, the maximum                    excluding from each successive iteration               control period. There will be a 30-day
                                                 controlled baseline will apply for                      any units whose allocations have
                                                 purposes of allocations to units with                                                                          period in which objections to the data
                                                                                                         already reached their caps. (If all units              and preliminary computations may be
                                                 existing SCR controls for all control                   in a state reach their caps, any
                                                 periods starting with the 2024 control                                                                         submitted, and the EPA will then make
                                                                                                         remaining allowances are allocated in                  any appropriate revisions and issue
                                                 period and for all other coal-fired units               proportion to the units’ average heat
                                                 of 100 MW or more (except circulating                                                                          another notice of data availability by
                                                                                                         input values, notwithstanding the caps.)               May 1 of the year before the control
                                                 fluidized bed units) starting with the                  This calculation procedure is identical
                                                 2027 control period. These procedures                                                                          period. The EPA will then record the
                                                                                                         to the calculation procedure used in the
                                                 are nearly identical to the procedures                                                                         allocations by July 1 of the year before
                                                                                                         Revised CSAPR Update (as well as the
                                                 used in the Revised CSAPR Update,                                                                              the control period.356
                                                                                                         CSAPR Update and CSAPR), but using
                                                 with three exceptions. First, instead of                caps that reflect both the units’                         All covered states also have options to
                                                 using only the data available at the time               maximum historical NOX values and                      establish state-determined allowance
                                                 of the rulemaking, for each control                     also, where applicable, the maximum                    allocations for control periods in 2024
                                                 period the EPA will use data from the                   controlled baseline values.                            and later years. As discussed in section
                                                 most recent five control periods for                                                                           VI.D.1 of this rule, a state choosing to
                                                 which data had been reported. (For                         Illustrative unit-level allocations for
                                                                                                                                                                establish state-determined allocations
                                                 example, for the 2026 control period,                   the 2023 control period and final unit-
                                                                                                                                                                for the 2024 control period would need
                                                 the EPA will use data for the 2020–2024                 level allocations for the 2024 and 2025
                                                                                                                                                                to submit a letter of intent to the EPA
                                                 control periods.) Second, to simplify the               control periods are being determined in
                                                                                                                                                                by August 4, 2023, and would need to
                                                 data compilation process, the EPA will                  this rulemaking based on the emissions
                                                                                                                                                                submit the SIP revision with the
                                                 use only a five-year period for NOX                     budgets for those control periods also
                                                                                                                                                                allocations by September 1, 2023. The
                                                 mass emissions, in contrast to the 8-year               determined in the rulemaking and are
                                                                                                                                                                EPA would defer recordation of the
                                                 period used in the Revised CSAPR                        included in the docket. The 2023
                                                                                                                                                                2024 allocations for the state’s sources
                                                 Update for NOX mass emissions. Third,                   allocations are only illustrative because,
                                                                                                                                                                until March 1, 2024, to provide time for
                                                 the use of the maximum controlled                       as discussed in section VI.B.12.a, the
                                                                                                                                                                this process to be completed. As
                                                 baseline as an additional cap on                        EPA expects the effective date of the
                                                                                                                                                                discussed in sections VI.D.2 and VI.D.3
                                                 emissions is a change adopted in this                   rule to occur after the start of the 2023
                                                                                                                                                                of this rule, a state choosing to establish
                                                 rule in response to comments received                   control period and consequently expects
                                                                                                                                                                state-determined allocations for control
                                                 on the proposal. Specifically,                          the 2023 control period to be a
                                                                                                                                                                periods in 2025 and later years would
                                                 commenters observed that if a state’s                   transitional period in which the
                                                                                                                                                                need to submit a SIP revision by
                                                 emissions budget is decreased to reflect                emissions budgets determined in this
                                                                                                                                                                December 1 of the year two years before
                                                 an assumption that a particular unit in                 rulemaking apply only for the portion of
                                                                                                                                                                the first year for which state-determined
                                                 the state is capable of reducing its                    the control period occurring on and
                                                                                                                                                                allocations are being established—e.g.,
                                                 emissions through the installation of                   after the rule’s effective date, while any
                                                                                                                                                                by December 1, 2023, for allocations for
                                                 new SCR controls, but the historical                    previously determined emissions
                                                                                                                                                                the 2025 control period—and would
                                                 emissions cap applied to that unit in the               budgets apply for the portion of the
                                                                                                                                                                need to submit the allocations for each
                                                 unit-level allocation methodology does                  control period before the rule’s effective
                                                                                                                                                                control period by June 1 of the year
                                                 not reflect use of the new controls, then               date. The rule’s effective date will
                                                                                                                                                                before the control period—e.g., by June
                                                 the allocation methodology could have                   become known when the rule is
                                                                                                                                                                1, 2024, for allocations for the 2025
                                                 the effect of reducing unit-level                       published in the Federal Register. As
                                                 allocations to the other units in the state             soon as practicable thereafter, the EPA
                                                                                                                                                                   355 The recordation schedule for the 2023 and
                                                 whose historical emissions already                      will calculate the final prorated or                   2024 allocations represents an expected
                                                 reflect use of existing controls rather                 blended 2023 state emissions budgets                   acceleration of the recordation schedule in effect
                                                 than the unit assumed to install new                    and 2023 unit-level allocations based on               immediately before this final rule, which called for
                                                 controls. The EPA agrees with the                       the transitional formulas finalized in                 allocations of 2023 and 2024 Group 3 allowances
                                                                                                                                                                to existing units to be recorded by September 1,
                                                 comment and in this rule has added the                  this action (see section VI.B.12.a of this             2023. See Deadlines for Submission and
                                                 maximum controlled baseline provision                   document) and will communicate the                     Recordation of Allowance Allocations Under the
                                                 to the allocation methodology to                        information to the public through a                    Cross-State Air Pollution Rule (CSAPR) Trading
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                                                 mitigate the potential effect identified                notice of data availability. The 2023 and              Programs and the Texas SO2 Trading Program (the
                                                                                                                                                                ‘‘Recordation Rule’’), 87 FR 52473 (August 26,
                                                 by the commenters.                                      2024 allocations will then be recorded                 2022).
                                                    In the third step of the procedure for               30 days after the effective date of the                   356 The current recordation schedule, which

                                                 determining allocations to existing units               final rule (to provide an interval in                  provides for almost all allowance allocations to
                                                                                                         which to execute the recall of 2023 and                existing units for a given control period under all
                                                 in each state, the EPA will allocate the                                                                       the CSAPR trading programs to be recorded by July
                                                 available allowances for that state                     2024 Group 2 allowances, as discussed                  1 of the year before the year of that control period,
                                                 among the state’s eligible units in                     in section VI.B.12.c of this document),                was adopted in the Recordation Rule.



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                                                 control period.357 The EPA would                        condition, which will facilitate the                   EPA issues a notice of data availability
                                                 record any state-determined allocations                 continued functioning of the Group 2                   concerning the proposed allocations by
                                                 for control periods in 2025 and later                   trading program, to be an appropriate                  March 1 following the control period,
                                                 years by July 1 of the year before the                  exercise of the Agency’s authority under               provides an opportunity for submission
                                                 control period, simultaneously with the                 CAA section 301 (42 U.S.C. 7601) to                    of objections, and issues a final notice
                                                 recordation of allocations to units in                  prescribe such regulations as are                      of data availability and record the
                                                 states where the EPA determines the                     necessary to carry out its functions                   allocations by May 1 following the
                                                 unit-level allocations.                                 under the Act.                                         control period, one month before the
                                                    The EPA notes that for the three states                 The provisions governing allocations                June 1 compliance deadline.
                                                 with approved SIP revisions                             to existing units are being finalized                     This EPA notes that the revisions to
                                                 establishing their own methodologies                    substantially as proposed, except for the              other provisions of the Group 3 trading
                                                 for allocating Group 2 allowances—                      addition of an additional cap on unit-                 program regulations discussed
                                                 Alabama, Indiana, and New York—the                      level allocations in response to                       elsewhere in this document will reduce
                                                 EPA will follow the states’                             comments. The EPA’s responses to                       the portions of the state emissions
                                                 methodologies to the extent possible in                 comments on the unit-level allocation                  budgets that are allocated through the
                                                 developing the EPA’s allocations of                     provisions for existing units are in                   new unit set-asides. Specifically,
                                                 Group 3 allowances to the units in those                section 5 of the RTC document.                         because the new unit set-asides will no
                                                 states for the control periods in 2023                                                                         longer receive any additional
                                                                                                         c. Allocations From Portions of State
                                                 through 2025.358 The EPA will not                                                                              allowances when units retire, for control
                                                                                                         Emissions Budgets Set Aside for New
                                                 follow any state-specific methodologies                                                                        periods in 2025 and later years the
                                                                                                         Units
                                                 as part of the procedures for                                                                                  amounts of allowances in the new unit
                                                 determining default unit-level                             The Group 3 trading program                         set-asides will always be 5 percent of
                                                 allocations of Group 3 allowances for                   regulations provide for the EPA to                     the respective state emissions budgets
                                                 control periods in 2026 or later years.                 allocate allowances from each new unit                 for the respective control periods. This
                                                 However, like other states, these three                 set-aside after the end of the control                 limit on growth of the new unit set-
                                                 states have options to replace the EPA’s                period at issue. An eligible new unit for              asides is appropriate given that the
                                                 default allocations with state-                         purposes of allocations from a set-aside               number of consecutive control periods
                                                 determined allocations through SIP                      for a given control period is generally                for which any particular unit is likely to
                                                 revisions starting with the 2024 control                any unit in the relevant area that                     receive allocations from a state’s new
                                                 period.                                                 reported emissions subject to allowance                unit set-aside will be reduced to two full
                                                    As an exception to all of the                        surrender requirements during the                      control periods (and possibly a partial
                                                 recordation deadlines that would                        control period and that was not eligible               control period before those two control
                                                 otherwise apply, the EPA will not                       to receive an allowance allocation as an               periods) before the unit becomes eligible
                                                 record any allocations of Group 3                       ‘‘existing’’ unit for the control period.              to receive allocations as an ‘‘existing’’
                                                 allowances in a source’s compliance                     Thus, in addition to units that have not               unit from the unreserved portion of the
                                                 account unless that source has complied                 yet completed two full control periods                 state’s emissions budget. This approach
                                                 with the requirements to surrender                      of operation since their monitor                       contrasts with the approach under the
                                                 previously allocated 2023–2024 Group 2                  certification deadlines, units eligible for            other CSAPR trading programs where a
                                                 allowances. The surrender requirements                  allocations from the new unit set-asides               new unit never becomes eligible to
                                                 are necessary to maintain the previously                may also include existing coal-fired                   receive allocations from the unreserved
                                                 established levels of stringency of the                 units that first lose their eligibility for            portion of the emissions budget and
                                                 Group 2 trading program for the states                  allocations from the unreserved portion                where the new unit set-aside therefore
                                                 and sources that remain subject to that                 of the applicable state budget by ceasing              needs to grow to accommodate an ever-
                                                 program under this final rule. The EPA                  operation, and then resume operation in                increasing share of the state’s total
                                                 finds that it is reasonable to condition                a later control period. The regulations                emissions.
                                                 the recordation of Group 3 allowances                   call for the EPA to allocate allowances                   The EPA also notes that, as discussed
                                                 on compliance with the surrender                        to any eligible ‘‘new’’ units in the state             in sections VI.D.2 and VI.D.3 of this
                                                 requirements because the condition will                 generally in proportion to their                       document, in the event that a state
                                                 spur compliance and will not impose an                  respective emissions during the control                chooses to replace EPA’s default
                                                 inappropriate burden on sources. The                    period, up to the amounts of those                     allowance allocations under the Group
                                                 EPA considers establishment of this                     emissions if the relevant set-aside                    3 trading program with state-determined
                                                                                                         contains sufficient allowances, and not                allocations through a SIP revision, the
                                                    357 The current deadlines for states to submit       exceeding those emissions. However, in                 EPA will continue to administer the
                                                 state-determined allowance allocations to the EPA       the case of a unit whose allocation for                portion of each state emissions budget
                                                 were adopted in the Recordation Rule and are
                                                 coordinated with the schedule for computation of
                                                                                                         the control period would have been                     reserved in a new unit set-aside to
                                                 state emissions budgets for control periods in 2026     subject to a maximum controlled                        ensure the availability of allowance
                                                 and later years. For example, for the 2026 control      baseline if the unit was eligible to                   allocations to new units in any areas of
                                                 period, by May 1, 2025, the EPA will publish the        receive allocations as an existing unit,               Indian country within the state not
                                                 final state emissions budgets and the EPA’s default
                                                 unit-level allocations; by June 1, 2025, states will    the unit’s allocation from the new unit                covered by the state’s CAA
                                                 submit any state-determined unit-level allocations      set-aside will not exceed a cap equal to               implementation planning authority.
                                                 that would replace the default allocations; and by      the unit’s reported heat input for the                    The final rule’s provisions concerning
                                                 July 1, 2025, the EPA will record the default unit-                                                            unit-level allocations from the new unit
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                                                                                                         control period times an emissions rate
                                                 level allocations or the state-determined unit-level
                                                 allocations, as applicable, in sources’ compliance      of 0.08 lb/mmBtu.                                      set-asides are unchanged from the
                                                 accounts.                                                  Any allowances remaining in a new                   proposal except for the addition of the
                                                    358 For discussion of how the EPA is using the       unit set-aside after the allocations to                allocation cap in a given control period
                                                 previously approved allocation methodologies for        new units are reallocated to the existing              for any unit that would have been
                                                 Alabama, Indiana, and New York to determine
                                                 allocations to units in these states for the 2023–
                                                                                                         units in the state in proportion to those              subject to a maximum controlled
                                                 2025 control periods, see the Allowance Allocation      units’ previous allocations for the                    baseline if the unit was eligible to
                                                 Final Rule TSD.                                         control period as existing units. The                  receive an allocation as an existing unit


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                                                 for that control period.359 This change                 revisions to provide that, starting with               requirements under the Group 3 trading
                                                 was made to address the same                            allowances allocated for the 2024                      program starting with the 2024 control
                                                 comments discussed in section VI.B.9.b                  control period, any incorrectly allocated              period. Second, to implement the
                                                 of this document that caused the                        allowances that are recovered after the                trading program enhancements, the EPA
                                                 Agency to add the maximum controlled                    deadline for allocating allowances from                is adding certain new recordkeeping
                                                 baseline provision to the procedure for                 the new unit set-aside for that control                and reporting requirements, which will
                                                 allocating allowances to existing units.                period (i.e., May 1 of the year following              be implemented through amendments to
                                                 The Agency did not receive any other                    the control period) will be transferred to             the regulations in 40 CFR part 75 and
                                                 comments on the proposed provisions                     a surrender account instead of being                   will apply starting January 1, 2024.
                                                 concerning unit-level allocations of                    reallocated to other units in the state.               Sources generally will be able to meet
                                                 allowances from the new unit set-asides.                The EPA received no comments on this                   the additional recordkeeping and
                                                                                                         proposed revision, which is being                      reporting requirements using the data
                                                 d. Incorrectly Allocated Allowances
                                                                                                         finalized as proposed.                                 that are already collected by their
                                                    The Group 3 trading program                                                                                 current monitoring systems, and the
                                                 regulations as promulgated in the                       10. Monitoring and Reporting
                                                                                                                                                                EPA is not requiring the installation of
                                                 Revised CSAPR Update include                            Requirements
                                                                                                                                                                additional monitoring systems at any
                                                 provisions addressing incorrectly                          The Group 3 trading program requires                source. However, a small number of
                                                 allocated allowances. With regard to any                monitoring and reporting of emissions                  sources with common stacks could find
                                                 allowances that were incorrectly                        and heat input data in accordance with                 it advantageous to upgrade their
                                                 allocated and are subsequently                          the provisions of 40 CFR part 75. Under                monitoring systems so as to monitor at
                                                 recovered, the provisions as in effect                  40 CFR part 75, a given unit may have                  the individual units instead of
                                                 prior to this rule have generally called                several options for monitoring and                     monitoring at the common stack. The
                                                 for the recovered allowances to be                      reporting. Any unit can use CEMS.                      Group 3 trading program monitor
                                                 reallocated to other units in the relevant              Qualifying gas- or oil-fired units can use             certification deadline revisions and the
                                                 state (or Indian country within the                     certain excepted monitoring                            additional recordkeeping and reporting
                                                 borders of the state) through the process               methodologies that rely in part on fuel-               requirements are discussed in sections
                                                 for allocating allowances from the new                  flow metering in combination with                      VI.B.10.a and VI.B.10.b, respectively.360
                                                 unit set-aside (or Indian country new                   CEMS-based or testing-based NOX
                                                 unit set-aside) for the state. If the                   emissions rate data. Certain non-coal-                 a. Monitor Certification Deadlines
                                                 procedures for allocating allowances                    fired, low-emitting units can use a low                   In general, a unit subject to the Group
                                                 from the set-asides have already been                   mass emissions (LME) methodology,                      3 trading program must monitor and
                                                 carried out for the control period for                  and sources can seek approval of                       report emissions data using certified
                                                 which the recovered allowances were                     alternative monitoring systems                         monitoring systems starting as of the
                                                 issued, the allowances would be                         approved by the Administrator through                  date the unit enters the trading program
                                                 allocated through the set-asides for                    a petition process. Each CEMS must                     or, if later, 180 days after the unit
                                                 subsequent control periods.                             undergo rigorous initial certification                 commences commercial operation.
                                                    The EPA continues to view the                        testing and periodic quality assurance                 Where an EGU has already certified and
                                                 current provisions for disposition of                   testing thereafter, including the use of               maintained monitoring systems in
                                                 recovered allowances as reasonable in                   relative accuracy test audits and 24-hour              accordance with 40 CFR part 75 for
                                                 the case of any allowances that are                     calibrations. In addition, when a                      purposes of another trading program, no
                                                 recovered before the deadline for                       monitoring system is not operating                     recertification solely for purposes of
                                                 recording allocations of allowances from                properly, standard substitute data                     entering the Group 3 trading program is
                                                 the new unit set-aside for the control                  procedures are applied to produce a                    required. Under these pre-existing
                                                 period for which the recovered                          conservative estimate of emissions for                 provisions of the Group 3 trading
                                                 allowances were issued. However, in                     the period involved. Further, 40 CFR                   program regulations, nearly all currently
                                                 the case of any allowances that are                     part 75 requires electronic submission                 operating EGUs transitioning to the
                                                 recovered after that deadline, adding the               of quarterly emissions reports to the                  trading program under this rule are
                                                 recovered allowances to the new unit                    Administrator, in a format prescribed by               positioned to begin monitoring and
                                                 set-aside for a subsequent control                      the Administrator. The quarterly reports               reporting under the trading program as
                                                 period, as provided in the current                      will contain all the data required                     of their dates of entry (or if later, 180
                                                 regulations, would be inconsistent with                 concerning ozone season NOX emissions                  days after they commence commercial
                                                 the trading program enhancements                        under the Group 3 trading program.                     operation) because of the units’ previous
                                                 discussed elsewhere in this document,                      In this rulemaking, as proposed, the                requirements to monitor and report
                                                 where the amounts of allowances                         EPA is making two changes to the                       emissions under other programs
                                                 provided in the state emissions budgets                 Group 3 trading program’s previous                     including the CSAPR NOX Ozone
                                                 for each control period are designed to                 requirements related to monitoring,                    Season Group 2 Trading Program (for
                                                 reflect the most current available                      recordkeeping, and reporting. First, the
                                                 information on fleet composition and                    EPA is revising the monitor certification                360 The EPA is not amending the existing

                                                 utilization and where the quantities of                 deadline in the Group 3 trading program                provisions of the Group 3 trading program
                                                                                                                                                                regulations that govern whether units covered by
                                                 banked allowances available for use in                  regulations applicable to certain units                the program must record and report required data
                                                 each control period are recalibrated for                that have not already certified                        on a year-round basis or may elect to record and
                                                                                                         monitoring systems for use under 40
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                                                 consistency with the state emissions                                                                           report required data on an ozone season-only basis.
                                                 budgets. The EPA is therefore finalizing                CFR part 75. This revision is expected                 See 40 CFR 97.1034(d)(1); see also 40 CFR 75.74(a)-
                                                                                                                                                                (b). Thus, for units that are required or elect to
                                                                                                         to provide approximately 15 EGUs in                    report other data on a year-round basis, the
                                                   359 As discussed in section IX.B of this rule, the    Nevada and Utah with 180 days                          additional recordkeeping and reporting
                                                 EPA is relocating some of the regulatory provisions     following the rule’s effective date to                 requirements will also apply year-round, while for
                                                 relating to administration of the new unit set-asides                                                          units that are allowed and elect to report other data
                                                 and is also removing certain provisions that are
                                                                                                         certify monitoring systems, with the                   on an ozone season-only basis, the additional
                                                 made obsolete by revisions to other provisions of       consequence that the units are expected                requirements will also apply for the ozone season
                                                 the Group 3 trading program regulations.                to become subject to allowance holding                 only.



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                                                 units in Alabama, Arkansas,                               fuel in their monitoring plans, serving                emissions rates for certain coal-fired
                                                 Mississippi, Missouri, Oklahoma, Texas,                   generators of 100 MW or larger, and                    units, and secondary emissions
                                                 and Wisconsin), the CSAPR NOX                             equipped with SCR controls on or                       limitations for units contributing to
                                                 Annual Trading Program (for units in                      before the end of the previous control                 assurance level exceedances all require
                                                 Minnesota), and the Acid Rain Program                     period (except circulating fluidized bed               the use of unit-level reported data on
                                                 (for most units in Nevada and Utah).                      units) will be required to record and                  NOX mass emissions (or unit-level NOX
                                                    As discussed in section VI.B.3 of this                 report total daily NOX emissions and                   emissions rates computed in part based
                                                 document, the EPA has identified 15                       total daily heat input, daily average NOX              on unit-level reported data on NOX mass
                                                 potentially affected units in Nevada and                  emissions rate, and daily NOX emissions                emissions). To facilitate the
                                                 Utah that commenced commercial                            exceeding the backstop daily NOX                       implementation of these provisions, the
                                                 operation more than 180 days before the                   emissions rate. The units will also be                 final rule requires all units covered by
                                                 effective date of this rule and that do not               required to record and report                          the Group 3 trading program exhausting
                                                 currently report emissions data to the                    cumulative NOX emissions exceeding                     to common stacks to record and report
                                                 Agency under 40 CFR part 75.361 To                        the backstop daily NOX emissions rate                  unit-level hourly and cumulative NOX
                                                 ensure that units in this situation have                  for the ozone season and any portion of                mass emissions data starting January 1,
                                                 sufficient time to certify monitoring                     such cumulative NOX emissions                          2024. To obtain the necessary unit-level
                                                 systems as required under this rule, the                  exceeding 50 tons. Starting January 1,                 hourly mass emissions values, the
                                                 final rule establishes a monitoring                       2030, the same recordkeeping and                       revised regulations rule allow the units
                                                 certification deadline of 180 days after                  reporting requirements will apply to all               to apportion hourly mass emissions
                                                 the effective date of the rule for affected               units listing coal as a fuel in their                  values determined at the common stack
                                                 units that are not already required to                    monitoring plans and serving generators                in proportion to the individual units’
                                                 report emissions under 40 CFR part 75                     of 100 MW or larger (except circulating                recorded hourly heat input. The
                                                 under another program, equivalent to                      fluidized bed units), including units not              apportionment procedure is very similar
                                                 the 180-day window already provided                       equipped with SCR controls. These data                 to the apportionment procedure that
                                                 to units commencing commercial                            will be used to determine the allowance                most such units already apply to
                                                 operation after (or less than 180 days                    surrender requirements related to the                  compute reported unit-level heat input
                                                 before) the final rule’s effective date.                  backstop daily NOX emissions rates.                    data. Where sources choose to obtain
                                                 The 180th day for units in this situation                 Implementation of these additional                     the additional required data values
                                                 will likely fall after the end of the 2023                recordkeeping and reporting                            through apportionment, implementation
                                                 ozone season, with the result that the                    requirements would necessitate a one-                  of the additional recordkeeping and
                                                 certification deadline will be extended                   time update to the units’ data                         reporting requirements will necessitate
                                                 until May 1, 2024, the first day of the                   acquisition and handling systems but                   a one-time update to the units’ data
                                                 2024 ozone season. Because the Group                      would not require any changes to the                   acquisition and handling systems but
                                                 3 trading program’s allowance holding                     monitoring systems already needed to                   will not require any changes to the
                                                 requirements apply to a given unit only                   meet other requirements under 40 CFR                   monitoring systems already needed to
                                                 after that unit’s monitor certification                   part 75.                                               meet other requirements under 40 CFR
                                                 deadline, the units in this situation                        The second type of additional                       part 75.
                                                 consequently will become subject to                       recordkeeping and reporting
                                                 allowance holding requirements as of                      requirements applies to units                             For most units sharing common
                                                 the 2024 ozone season rather than the                     exhausting to common stacks. For these                 stacks, the EPA expects that the
                                                 2023 ozone season.                                        units, 40 CFR part 75 includes options                 reported unit-specific hourly NOX
                                                    The EPA received no comments on                        that often allow monitoring to be                      emissions values computed through the
                                                 the provisions establishing a monitor                     conducted at the common stack on a                     apportionment procedures will
                                                 certification deadline 180 days after the                 combined basis for all the units as an                 reasonably approximate the values that
                                                 effective date of this rule for affected                  alternative to installing separate                     could be obtained through installation
                                                 units that are not already required to                    monitoring systems for the individual                  and operation of separate monitoring
                                                 report emissions under 40 CFR part 75,                    units in the ductwork leading to the                   systems for the individual units,
                                                 and the provisions are being finalized as                 common stack. The units then keep                      because the units exhausting to the
                                                 proposed.                                                 records and report hourly and                          common stack would be expected to
                                                                                                           cumulative NOX mass emissions and in                   have similar NOX emissions rates.
                                                 b. Additional Recordkeeping and                                                                                  However, the EPA also recognizes that
                                                                                                           many cases heat input data on a
                                                 Reporting Requirements                                                                                           at some plants, particularly those where
                                                                                                           combined basis for all units exhausting
                                                    To facilitate implementation of the                    to the common stack. With respect to                   SCR-equipped and non-SCR-equipped
                                                 backstop daily NOX emissions rates for                    heat input data, but not NOX mass                      coal-fired units share a common stack,
                                                 certain coal-fired units, the secondary                   emissions data, most such units have                   unit-level values determined through
                                                 emissions limitations for units                           also been required historically to record              apportionment based on electricity or
                                                 contributing to assurance level                           and report hourly and cumulative data                  steam output could overstate the
                                                 exceedances, and the revised default                      on an individual-unit basis, and where                 reported NOX mass emissions for the
                                                 unit-level allowance allocation                           necessary they typically have computed                 SCR-equipped units and
                                                 procedures, the final rule amends 40                      the necessary unit-level hourly heat                   correspondingly understate the reported
                                                 CFR part 75 to establish two sets of                      input values by apportioning the                       NOX mass emissions for the non-SCR-
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                                                 additional recordkeeping and reporting                    combined hourly heat input values for                  equipped units.362 As proposed, the
                                                 requirements. The first set of additional                 the common stack in proportion to the
                                                 recordkeeping and reporting                               individual units’ recorded hourly                        362 The EPA is aware of five plants in the states

                                                 requirements is specific to the backstop                  output of electricity or steam. See                    covered by this rule where SCR-equipped and non-
                                                 daily emissions rate provisions. Starting                 generally 40 CFR 75.72.                                SCR-equipped coal-fired units exhaust to a common
                                                                                                                                                                  stack: Clifty Creek in Indiana; Cooper, Ghent, and
                                                 January 1, 2024, units listing coal as a                     In this rulemaking, the provisions                  Shawnee in Kentucky; and Sammis in Ohio. The
                                                                                                           governing default unit-level allowance                 owners of the Sammis plant have announced plans
                                                   361 The   units are listed in Table VI.B.3–1.           allocations, backstop daily NOX                        to retire the plant in 2023.



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                                                 final rule leaves in place the existing                 owners of some units sharing common                    11. Designated Representative
                                                 options under 40 CFR part 75 for plants                 stacks might find it advantageous to                   Requirements
                                                 to upgrade their monitoring equipment                   upgrade their monitoring systems, the                     As noted in section VI.B.1.a of this
                                                 to monitor on a unit-specific basis                     final rule does not mandate such                       document, a core design element of all
                                                 instead of at the common stack. Plant                   upgrades and explicitly provides a                     the CSAPR trading programs is the
                                                 owners may find this option attractive if               reporting option that can be used if a                 requirement that each source must have
                                                 they believe it would reduce the                        plant owner continues to monitor only                  a designated representative who is
                                                 quantities of reported emissions                        at the common stack. For example, a                    authorized to represent all of the
                                                 exceeding the backstop daily emissions                  plant owner might choose not to                        source’s owners and operators and is
                                                 rate.
                                                                                                         upgrade monitoring systems if the                      responsible for certifying the accuracy
                                                    The EPA is finalizing the additional
                                                 recordkeeping and reporting                             owner does not plan to operate the non-                of the source’s reports to the EPA and
                                                 requirements generally as proposed,                     SCR-equipped units sharing the stack                   overseeing the source’s Allowance
                                                 with modifications as needed to                         frequently. Regarding the contention                   Management System account. The
                                                 accommodate the changes in the                          that the cost of additional monitoring                 necessary authorization of a designated
                                                 backstop daily emissions rate provisions                systems should be considered a cost of                 representative is certified to the EPA in
                                                 from proposal discussed in sections                     the rule, the EPA notes that the                       a certificate of representation.
                                                 VI.B.1.c.i and VI.B.1.7. No comments                    monitoring cost estimates that the                        The existing designated representative
                                                 were received on the recordkeeping and                  Agency regularly develops for 40 CFR                   provisions in the Group 3 trading
                                                 reporting requirements added to                         part 75 already reflect the conservative               program regulations already provide
                                                 facilitate implementation of the                        assumption that all affected units                     that the EPA will interpret references to
                                                 backstop daily emissions rate.                          perform monitoring on a unit-specific                  the Group 2 trading program in certain
                                                 Comments on the requirement to report                                                                          documents—including a certificate of
                                                                                                         basis.
                                                 unit-specific NOX emissions data for                                                                           representation as well as a notice of
                                                                                                            With respect to the comment asserting               delegation to an agent or an application
                                                 units sharing common stacks are
                                                                                                         an inability to install unit-specific                  for a general account—as if the
                                                 addressed in the following paragraphs.
                                                    Comment: Some commenters claimed                     monitoring equipment because of a lack                 documents referenced the Group 3
                                                 that for plants where SCR-equipped and                  of suitable locations, the EPA does not                trading program instead of the Group 2
                                                 non-SCR-equipped coal-fired units                       believe the commenter has provided                     trading program. For these reasons,
                                                 share common stacks, the rule as                        sufficient information to support the                  sources that have participated in the
                                                 proposed would have effectively                         assertion. Although the commenter cites                Group 2 trading program and that are
                                                 mandated installation of unit-specific                  the EPA Method 1 location criteria, the                transitioning to the Group 3 trading
                                                 monitoring systems in order to comply                   CEMS location provisions in 40 CFR                     program under this rule will not need to
                                                 with the backstop daily emissions rate                  part 75 do not reference those location                submit any new forms as part of the
                                                 provisions. The commenters generally                    criteria but instead reference the EPA                 transition, because previously submitted
                                                 requested that application of the                       Performance Specification 2 location                   forms will be valid for purposes of the
                                                 backstop daily rate provisions be                       criteria, which recommend that a CEMS                  Group 3 trading program.
                                                 delayed for plants with common stacks                   be located at least two duct diameters                    For a source that is newly affected
                                                 until all units sharing the stacks were                 downstream and a half duct diameter                    under the Group 3 trading program and
                                                 subject to the provisions. Alternatively,               upstream from a point at which a                       that is not currently affected under the
                                                 they claimed that the EPA should                                                                               Group 2 trading program, a designated
                                                                                                         change in pollutant concentration may
                                                 consider the cost of the additional unit-                                                                      representative who has been duly
                                                                                                         occur.363 Thus, while the commenter
                                                 specific monitoring system to be a cost                                                                        authorized by the source’s owners and
                                                                                                         states that its units do not have straight
                                                 of the rule.                                                                                                   operators must submit a new or updated
                                                    One commenter claimed that the                       runs of ductwork ten duct diameters                    certificate of representation to the EPA.
                                                 option to install unit-specific                         long, the relevant siting criteria actually            The EPA will not record any Group 3
                                                 monitoring systems for the units sharing                call for straight runs of ductwork only                allowances allocated to a source in the
                                                 a common stack at its plant was not                     2.5 duct diameters long, and the                       source’s compliance account until a
                                                 feasible because of a lack of locations in              commenter has not provided                             certificate of representation has been
                                                 the units’ ductwork suitable for                        information indicating that these criteria             submitted for the source. If a source is
                                                 installation of the monitoring                          could not be met. Moreover, even EPA                   also affected under other CSAPR trading
                                                 equipment. Specifically, the commenter                  Method 1 does not require monitoring                   programs or the Acid Rain Program, the
                                                 claimed that EPA Method 1 requires                      equipment to be located eight duct                     same individual must be the source’s
                                                 monitoring equipment to be located at                   diameters upstream and two duct                        designated representative for purposes
                                                 least eight duct diameters downstream                   diameters downstream of any flow                       of all the programs.
                                                 and two duct diameters upstream of any                  disturbance. While the method                             The EPA did not propose and is not
                                                 flow disturbance and stated that the                    recommends those distances as the first                finalizing any changes to the designated
                                                 units had no straight runs of ductwork                  option, the method also allows for                     representative requirements. The EPA
                                                 sufficiently long to meet these criteria.               locations two duct diameters upstream                  received no comments on the provisions
                                                    Response: The EPA’s response to                      and a half duct diameter upstream from                 of the proposal relating to these
                                                 comments about the application of                       any flow disturbance, as well as other                 requirements.
                                                 backstop rate requirements to units
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                                                                                                         locations if certain performance criteria              12. Transitional Provisions
                                                 sharing common stacks is in section                     can be met.364
                                                 VI.B.7 of this document. With respect to                                                                         This section discusses several
                                                 assertions that the rule effectively                      363 Appendix
                                                                                                                                                                provisions that the EPA will implement
                                                                                                                          B to 40 CFR part 60, Performance
                                                 mandates installation of unit-specific                  Specification 2, sec. 8.1.2; see also appendix A to
                                                                                                                                                                to address the transition of sources into
                                                 monitoring systems, the EPA disagrees.                  40 CFR part 75, section 1.1.                           the Group 3 trading program as revised.
                                                 Although the EPA pointed out the                          364 Appendix A–1 to 40 CFR part 60, Method 1,        The purposes of the transitional
                                                 option in the proposal, anticipating that               sec. 11.1.                                             provisions are generally the same as the


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                                                 purposes of the analogous transitional                   limits, assurance levels, and unit-level               allocations for both the 2023 and 2024
                                                 provisions promulgated in the Revised                    allocations for 2023 will all be                       control periods will be recorded in
                                                 CSAPR Update: first, addressing the                      computed using the appropriately                       facilities’ compliance accounts
                                                 likelihood that the effective date of this               prorated emissions budgets amounts.367                 approximately 30 days after the rule’s
                                                 rule will fall after the starting date of the               As discussed in section VI.B.2 of this              effective date, as discussed in section
                                                 first affected ozone season (which in                    document, in the case of the three states              VI.B.9.b of this document.
                                                 this case is, May 1, 2023); second,                      (and Indian country within the states’                    In the case of the states (and Indian
                                                 establishing an appropriately-sized                      borders) whose sources do not currently                country within the states’ borders)
                                                 initial allowance bank through the                       participate in either the Group 2 trading              whose sources currently participate in
                                                 conversion of previously banked                          program or the Group 3 trading                         the Group 3 trading program—Illinois,
                                                 allowances; and third, preserving the                    program—Minnesota, Nevada, and                         Indiana, Kentucky, Louisiana,
                                                 intended stringency of the Group 2                       Utah—the sources will begin                            Maryland, Michigan, New Jersey, New
                                                 trading program for the sources that will                participating in the Group 3 trading                   York, Ohio, Pennsylvania, Virginia, and
                                                 continue to be subject to that                           program on the later of May 1, 2023, or                West Virginia—the sources will
                                                 program.365 However, the sources that                    the rule’s effective date. For these states,           continue to participate in the Group 3
                                                 will be participants in the revised Group                in the rulemaking the EPA has                          trading program for the 2023 control
                                                 3 trading program under this rule are                    computed the full-season emissions                     period, subject to prorating procedures
                                                 transitioning from several different                     budgets that would have applied for the                designed to ensure that the changes in
                                                 starting points—with some sources                        entire 2023 control period if the final                2023 emissions budgets and assurance
                                                 already in the existing Group 3 trading                  rule had become effective no later than
                                                                                                                                                                 levels will not substantively affect the
                                                 program, some sources coming from the                    May 1, 2023, and were therefore in
                                                                                                                                                                 sources’ requirements prior to the rule’s
                                                 Group 2 trading program, and some                        effect for the entire 153-day control
                                                                                                                                                                 effective date. For these states, in the
                                                 sources not currently participating in                   period from May 1, 2023, through
                                                                                                                                                                 rulemaking the EPA has computed the
                                                 any seasonal NOX trading program. The                    September 30, 2023. Assuming that the
                                                                                                                                                                 full-season emissions budgets that
                                                 EPA is therefore finalizing transitional                 final rule becomes effective after May 1,
                                                                                                                                                                 would have applied for the entire 2023
                                                 provisions that differ across the sets of                2023, as expected, the EPA will
                                                                                                                                                                 control period if the final rule had
                                                 potentially affected sources based on the                determine prorated emissions budgets
                                                                                                                                                                 become effective no later than May 1,
                                                 sources’ different starting points.                      for the 2023 control period by
                                                                                                                                                                 2023, but the EPA has also retained in
                                                                                                          multiplying each full-season emissions
                                                 a. Prorating Emissions Budgets,                          budget by the number of days from the                  the regulations the full-season emissions
                                                 Assurance Levels, and Unit-Level                         rule’s effective date through September                budgets for the 2023 control period that
                                                 Allowance Allocations in the Event of                    30, 2023, dividing by 153 days, and                    were established in the Revised CSAPR
                                                 an Effective Date After May 1, 2023                      rounding to the nearest allowance. The                 Update rulemaking. The EPA has added
                                                    The EPA expects that the effective                    prorated variability limits for the 2023               a provision to the regulations indicating
                                                 date of this rule will fall after the start              control period will be computed by first               that the emissions budgets promulgated
                                                 of the Group 3 trading program’s 2023                    determining for each state the                         in the Revised CSAPR Update will
                                                 control period on May 1, 2023, because                   percentage by which the state’s reported               apply on a prorated basis for the portion
                                                 the effective date of the rule will be 60                heat input for the full 2023 ozone                     of the 2023 control period before the
                                                 days after the date of the final rule’s                  season (i.e., May 1, 2023 through                      final rule’s effective date and the
                                                 publication in the Federal Register. The                 September 30, 2023) exceeds the heat                   emissions budgets established in this
                                                 EPA is addressing this circumstance by                   input used to compute the state’s full-                rulemaking will apply on a prorated
                                                 determining the amounts of emissions                     season 2023 emissions budget under                     basis for the portion of the 2023 control
                                                 budgets and unit-level allowance                         this rule and then multiplying the                     period on and after the final rule’s
                                                 allocations on a full-season basis in the                higher of this percentage or 21 percent                effective date. Under this provision, the
                                                 rulemaking and by also including                         by the state’s prorated emissions budget               EPA will determine a blended emissions
                                                 provisions in the revised regulations to                 and rounding to the nearest allowance,                 budget for each state for the 2023
                                                 prorate the full-season amounts as                       yielding prorated assurance levels that                control period, computed as the sum of
                                                 needed to ensure that no sources                         equal a minimum of 121 percent of the                  the appropriately prorated amounts of
                                                 become subject to new or more stringent                  prorated emissions budgets. To                         the state’s previous and revised
                                                 regulatory requirements before the final                 determine unit-level allocation amounts                emissions budgets. (For example, if the
                                                 rule’s effective date.366 Variability                    from the prorated emissions budgets,                   final rule becomes effective on the
                                                                                                          the EPA will apply the unit-level                      eleventh day of the 153-day 2023
                                                    365 As discussed in section VI.B.1.d, the EPA is
                                                                                                          allocation procedure described in                      control period, the blended emissions
                                                 not creating a ‘‘safety valve’’ mechanism in this rule
                                                                                                          section VI.B.9 to the prorated budgets.                budget will equal the sum of 10/153
                                                 analogous to the voluntary supplemental allowance                                                               times the previous emissions budget
                                                 conversion mechanism established under the               All calculations required to determine
                                                 Revised CSAPR Update, but intends in the near            the prorated emissions budgets, the                    plus 143/153 times the revised
                                                 future to propose and take comment on potential          minimum 21 percent variability limits,                 emissions budget, rounded to the
                                                 amendments to the Group 3 trading program that                                                                  nearest allowance.) Blended variability
                                                 would add an auction mechanism to the regulations        and the unit-level allocations for the
                                                 for the purpose of further increasing allowance          2023 control period will be carried out                limits for the 2023 control period will
                                                 market liquidity in conjunction with other               as soon as possible after the EPA learns               be computed by first determining for
                                                 appropriate changes to ensure program stringency
                                                                                                          the rule’s effective date. The unit-level              each state the percentage by which the
                                                 is maintained. While these changes may provide an                                                               state’s reported heat input for the full
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                                                 additional measure of assurance to the market that
                                                 allowances will be available for compliance to a         emissions rates and, for units contributing to         2023 ozone season exceeds the heat
                                                 degree consistent with the Step 3 emissions control      assurance level exceedances, secondary unit-           input used to compute the state’s full-
                                                 stringency, the EPA does not anticipate that market      specific emissions limitations, will not take effect   season 2023 emissions budget under
                                                 liquidity concerns pose a challenge to the feasibility   until the 2024 control period or later.                this rule and then multiplying the
                                                 of sources to comply with the Group 3 trading              367 The EPA notes that transitional provisions
                                                 program as finalized in this action.                     similar to the prorating provisions being finalized
                                                                                                                                                                 higher of this percentage or 21 percent
                                                    366 As discussed in sections VI.B.7 and VI.B.8, the   in this rule were finalized and implemented            by the state’s prorated emissions budget
                                                 revisions establishing unit-specific backstop daily      without issue under the Revised CSAPR Update.          and rounding to the nearest allowance,


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                                                 yielding blended assurance levels that                  timing for the recordation of unit-level               Group 2 trading program to the Group
                                                 equal a minimum of 121 percent of the                   allocations, are the same as for the states            3 trading program. Thus, the EPA
                                                 blended emissions budgets. Unit-level                   currently in the Group 3 trading                       believes that no substantive concerns
                                                 allocations will be determined by                       program.                                               regarding retroactivity arise from
                                                 applying the allocation procedure                          Beginning administrative                            transitioning the sources currently in
                                                 described in section VI.B.9 to the                      implementation of the Group 3 trading                  the Group 2 trading program to the
                                                 blended budgets. Again, all calculations                program starting on May 1, 2023, for                   Group 3 trading program starting on
                                                 required to determine the prorated                      sources currently in the Group 2 trading               May 1, 2023, as long as those aspects of
                                                 emissions budgets, the minimum 21                       program imposes no new or different                    the revised Group 3 trading program for
                                                 percent variability limits, and the unit-               requirements on these sources. It would                the 2023 control period that do
                                                 level allocations for the 2023 control                  serve the public interest and greatly aid              meaningfully differ from the analogous
                                                 period will be carried out as soon as                   in administrative efficiency for most                  aspects of the Group 2 trading
                                                 possible after the EPA learns the                       elements of the Group 3 trading                        program—that is, the relative
                                                 effective date of this rule. The unit-level             program—specifically, all elements of                  stringencies of the two trading
                                                 allocations for both the 2023 and 2024                  the trading program other than the                     programs, as reflected in the emissions
                                                 control periods will be recorded in                     elements designed to establish more                    budgets and associated assurance
                                                 facilities’ compliance accounts                         stringent emissions limitations for the                levels—are applied only as of the
                                                 approximately 30 days after the final                   sources coming from the Group 2                        effective date of the final rule.
                                                 rule’s effective date, as discussed in                  trading program—to apply to the                           In all respects other than prorating the
                                                 section VI.B.9.b of this document.                                                                             emissions budgets, variability limits and
                                                                                                         sources starting on May 1, 2023. This is
                                                                                                                                                                assurance levels, and unit-level
                                                    In the case of the states (and Indian                how the EPA handled the earlier
                                                                                                                                                                allowance allocations, with respect to
                                                 country within the states’ borders)                     transition of twelve states from the
                                                                                                                                                                the sources currently participating in
                                                 whose sources currently participate in                  Group 2 to the Group 3 trading program
                                                                                                                                                                the Group 2 trading program or the
                                                 the Group 2 trading program—Alabama,                    in the Revised CSAPR Update, which
                                                                                                                                                                Group 3 trading program, the EPA will
                                                 Arkansas, Mississippi, Missouri,                        was accomplished successfully and
                                                                                                                                                                implement the revised Group 3 trading
                                                 Oklahoma, Texas, and Wisconsin—the                      without incident. See 86 FR 23133–34.
                                                                                                                                                                program for the 2023 control period in
                                                 sources will begin to participate in the                This approach would facilitate
                                                                                                                                                                a uniform manner for the entire control
                                                 Group 3 trading program as of May 1,                    implementation of the Group 3 trading
                                                                                                                                                                period. Thus, emissions will be
                                                 2023, regardless of the rule’s effective                program in an orderly manner for the                   monitored and reported for the entire
                                                 date, as discussed in section VI.B.2 of                 entire 2023 ozone season and reduce                    2023 ozone season (i.e., May 1, 2023,
                                                 this document, subject to prorating                     compliance burdens and potential                       through September 30, 2023), and as of
                                                 procedures designed to ensure that the                  confusion. Each of the CSAPR trading                   the allowance transfer deadline for the
                                                 transition from the Group 2 trading                     programs for ozone season NOX is                       2023 control period (i.e., June 1, 2024)
                                                 program to the Group 3 trading program                  designed to be implemented over an                     each source will be required to hold in
                                                 will not substantively affect the sources’              entire ozone season. Implementing the                  its compliance account vintage-year
                                                 requirements prior to the rule’s effective              transition from the Group 2 trading                    2023 Group 3 allowances not less than
                                                 date. The prorating procedures for these                program to the Group 3 trading program                 the source’s emissions of NOX during
                                                 states mirror the procedures for the                    in a manner that required the covered                  the entire 2023 ozone season. Any
                                                 states currently in the Group 3 trading                 sources to participate in the Group 2                  efforts undertaken by one of these
                                                 program, except that because no                         trading program for part of the 2023                   sources to reduce its emissions during
                                                 emissions budgets currently appear in                   ozone season and the Group 3 trading                   the portion of the 2023 ozone season
                                                 the Group 3 trading program regulations                 program for the remainder of that ozone                before the effective date of the rule will
                                                 for the states that are currently covered               season would be complex and                            aid the source’s compliance by reducing
                                                 by the Group 2 trading program, the                     burdensome for sources. Attempting to                  the amount of Group 3 allowances that
                                                 EPA has added two sets of emissions                     address the issue by splitting the Group               the source would need to hold in its
                                                 budgets for these states to the Group 3                 2 and Group 3 requirements for these                   compliance account as of the allowance
                                                 trading program regulations: first, the                 sources into separate years is not a                   transfer deadline, increasing the range
                                                 states’ emissions budgets for the 2023                  viable approach, because the EPA has                   of options available to the source for
                                                 control period that currently appear in                 no legal basis for releasing the                       meeting its compliance obligations
                                                 the Group 2 trading program                             transitioning Group 2 sources from the                 under the revised Group 3 trading
                                                 regulations, which are being included in                emissions reduction requirements found                 program.
                                                 the revised Group 3 trading program                     to be necessary in the CSAPR Update for                   In the case of the sources in the three
                                                 regulations to represent the states’                    a portion of the 2023 ozone season, and                states that do not currently participate
                                                 emissions budgets for the portion of the                the EPA similarly has no legal basis for               in the Group 2 trading program or the
                                                 2023 control period before the rule’s                   deferring implementation of the 2023                   Group 3 trading program, the 2023
                                                 effective date, and second, the                         emissions reduction requirements found                 control period will begin on the
                                                 emissions budgets for the 2023 control                  to be necessary under this rule for the                effective date of the rule, and because
                                                 period established for the states in this               transitioning Group 2 sources until                    the effective date of the rule is expected
                                                 rulemaking, which are being included                    2024. Moreover, the requirements of the                to fall after May 1, 2023, the 2023
                                                 in the revised Group 3 trading program                  current Group 2 trading program and                    control period for the sources in these
                                                 regulations to represent the state’s                    the revised Group 3 trading program for
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                                                                                                                                                                states will be shorter than the 153-day
                                                 emissions budgets for the portion of the                the 2023 control period are                            length of the 2023 control period for the
                                                 2023 control period on and after the                    substantively identical as to almost all               sources in the remaining states.
                                                 rule’s effective date. The procedures and               provisions, such that with respect to                  However, the EPA similarly will
                                                 timing for determining blended                          those provisions, a source will not need               implement the revised Group 3 trading
                                                 emissions budgets, variability limits and               to alter its operations in any manner or               program for the sources in these states
                                                 assurance levels, and unit-level                        face different compliance obligations as               in a uniform manner for the entire
                                                 allowance allocations, as well as the                   a consequence of a transition from the                 shorter control period.


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                                                    The prorating provisions are being                   2023 and later years. Because the EPA                  accounts, including other accounts
                                                 finalized as proposed. The EPA received                 is transitioning over 80 percent of the                controlled by source owners as well as
                                                 no comments on the portion of the                       remaining sources in the Group 2                       accounts controlled by non-source
                                                 proposal discussing these provisions.                   trading program to the Group 3 trading                 entities such as allowance brokers).
                                                                                                         program—much closer to the situation                   Creating the new Group 3 allowances
                                                 b. Creation of Additional Group 3
                                                                                                         in the CSAPR Update than the situation                 through conversion of previously
                                                 Allowance Bank for 2023 Control Period
                                                                                                         in the Revised CSAPR Update—in this                    banked Group 2 allowances will also
                                                    In the CSAPR Update, where the EPA                   rule the EPA is applying a conversion                  help preserve the stringency of the
                                                 established the Group 2 trading program                 procedure similar to the procedure                     Group 2 trading program for the states
                                                 and transitioned over 95 percent of the                 followed in the CSAPR Update. Under                    that remain covered by that trading
                                                 sources that had been participating in                  the conversion procedure in this rule,                 program at levels consistent with the
                                                 what is now the CSAPR NOX Ozone                         the EPA has not set a predetermined                    stringency found to be appropriate to
                                                 Season Group 1 Trading Program (the                     conversion ratio in the regulations (as                address those states’ good neighbor
                                                 ‘‘Group 1 trading program’’) to the new                 was done in the Revised CSAPR                          obligations with respect to the 2008
                                                 program, the EPA determined that it                     Update) but instead has established                    ozone NAAQS in the CSAPR Update.
                                                 was reasonable to establish an initial                  provisions identifying the target amount                  With respect to the denominator of
                                                 bank of allowances for the Group 2                      of new Group 3 allowances that will be                 the conversion ratio—that is, the target
                                                 trading program by converting almost                    created and defining the types of                      amount of Group 3 allowances that will
                                                 all allowances banked under the Group                   accounts whose holdings of Group 2                     be created in the conversion process—
                                                 1 trading program at a conversion ratio                 allowances will be converted to Group                  the EPA has followed the same
                                                 determined by a formula. In the Revised                 3 allowances (as was done in the CSAPR                 approach for setting the target amount
                                                 CSAPR Update, where the EPA                             Update). The conversion date will be                   that was used in the Revised CSAPR
                                                 established the Group 3 trading program                 carried out by September 18, 2023,                     Update for creation of the initial Group
                                                 and transitioned approximately 55                       which is expected to be approximately                  3 allowance bank. Specifically, the
                                                 percent of the sources that had been                    2 months after the compliance deadline                 target amount of Group 3 allowances to
                                                 participating in the Group 2 trading                    for the 2022 control period under the                  be created in this rule will be computed
                                                 program to the new program, the EPA                     Group 2 trading program and                            as the sum of the minimum 21 percent
                                                 similarly determined that it was                        approximately ten months before the                    variability limits for the 2024 control
                                                 reasonable to provide for an initial bank               compliance deadline for the 2023                       period 369 established for the ten states
                                                 of allowances for the Group 3 trading                   control period under the Group 3                       being added to the Group 3 trading
                                                 program by converting allowances                        trading program. The actual conversion                 program, prorated to reflect the portion
                                                 banked under the Group 2 trading                        ratio will be determined as of the                     of the 2023 control period occurring on
                                                 program at a conversion ratio                           conversion date and will be the ratio of               and after the effective date of the final
                                                 determined by a formula, using a                        the total amount of Group 2 allowances                 rule. Based on the amounts of the state
                                                 conversion procedure that was modified                  held in the identified types of accounts               emissions budgets and variability limits,
                                                 to leave much of the Group 2 allowance                  prior to the conversion to the total                   the full-season target amount for the
                                                 bank available for use by the                                                                                  conversion would be 23,094 Group 3
                                                                                                         amount of Group 3 allowances being
                                                 approximately 45 percent of sources                                                                            allowances. The quantity of banked
                                                                                                         created.
                                                 then in the Group 2 trading program                        With respect to the numerator of the                Group 2 allowances currently held in
                                                 that would remain in that program. Any                  conversion ratio—that is, the total                    accounts other than the facility accounts
                                                 conversion of banked allowances from a                  amount of Group 2 allowances being                     of sources in Iowa, Kansas, and
                                                 previous trading program for use in a                   converted—the EPA has defined the                      Tennessee exceeding the quantity of
                                                 new trading program must ensure that                    types of accounts included in the                      allowances likely to be needed for 2022
                                                 implementation of the new trading                       conversion to include all accounts                     compliance is approximately 149,386
                                                 program will result in NOX emissions                                                                           allowances. Thus, if the quantities of
                                                                                                         except the facility accounts of sources in
                                                 reductions sufficient to address                                                                               banked Group 2 allowances held in the
                                                                                                         states that will remain in the Group 2
                                                 significant contribution by all states that                                                                    accounts being included in the
                                                                                                         trading program, consistent with the
                                                 would be participating in the new                                                                              conversion do not change between now
                                                                                                         approach taken in the CSAPR
                                                 trading program, while also providing                                                                          and the conversion date, and if there
                                                                                                         Update.368 Thus, the accounts whose
                                                 industry certainty (and obtaining an                                                                           was no prorating adjustment, the
                                                                                                         holdings of Group 2 allowances will be
                                                 environmental benefit) through                                                                                 conversion ratio would be
                                                                                                         converted to Group 3 allowances will
                                                 continued recognition of the value of                                                                          approximately 6.5-to-1, meaning that
                                                                                                         include (1) the facility accounts of all
                                                 saving allowances through early                                                                                one Group 3 allowance would be
                                                                                                         sources in the states transitioning from
                                                 reductions in emissions. The EPA’s                                                                             created for every 6.5 Group 2
                                                 approach to balancing these concerns in                 the Group 2 trading program to the
                                                                                                                                                                allowances deducted in the conversion
                                                 the CSAPR Update through the                            Group 3 trading program, (2) the facility
                                                                                                                                                                process.370
                                                 conversion of banked allowances from                    accounts of all sources in the states
                                                                                                                                                                   As noted in section VI.B.12.a of this
                                                 the Group 1 trading program to the                      already participating in the Group 3                   document, the EPA expects that the
                                                 Group 2 trading program was upheld in                   trading program, (3) the facility                      effective date of this rule will occur after
                                                 Wisconsin v. EPA, 938 F.3d at 321.                      accounts of all sources in any other
                                                    Under this final rule, applying the                  states not covered by the Group 2                        369 Similar to the approach taken in the Revised

                                                 same balancing principle as in the                      trading program that happen to hold                    CSAPR Update, because emissions reductions from
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                                                 CSAPR Update and the Revised CSAPR                      Group 2 allowances as of the conversion                some of the emissions controls that EPA has
                                                                                                         date, and (4) all general accounts (that               identified as appropriate to use in setting budgets
                                                 Update, the EPA will carry out a further                                                                       are first reflected in the 2024 state budgets rather
                                                 conversion of allowances banked for                     is, accounts that are not facility                     than the 2023 state budgets, the EPA is basing the
                                                 control periods before 2023 under the                                                                          bank target amount on the sum of the states’ 2024
                                                                                                           368 The states whose sources will continue to        variability limits rather than the 2023 variability
                                                 Group 2 trading program into                            participate in the Group 2 trading program for the     limits.
                                                 allowances usable in the Group 3                        2023 control period will be Iowa, Kansas, and            370 By comparison, the analogous conversion ratio

                                                 trading program in control periods in                   Tennessee.                                             under the Revised CSAPR Update was 8-to-1.



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                                                 the start of the 2023 ozone season, and                   compelling reasons in this instance to                 conversion results in a larger bank of
                                                 prorating provisions are being                            use a bank target higher than the                      allowances remaining after the 2023
                                                 promulgated in this rule to ensure that                   minimum practicable level.                             control period than is considered
                                                 the increased stringency of this rule’s                      First, making an allowance bank                     necessary to sustain a well-functioning
                                                 state budgets and state assurance levels                  available for use in the 2023 control                  trading program in subsequent control
                                                 (i.e., the sums of the budgets and                        period that is somewhat higher than the                periods, the excess will be removed
                                                 variability limits) will take effect only                 minimum practicable level will help to                 from the program in the bank
                                                 after the rule’s effective date. Consistent               address concerns that might otherwise                  recalibration process that will be
                                                 with these other procedures, the EPA                      arise regarding the transition to a new                implemented starting with the 2024
                                                 will similarly prorate the bank target                    set of compliance requirements, for                    control period and therefore will not
                                                 amount used in the conversion process.                    some sources, and the transition to                    weaken sources’ incentives to control
                                                 For example, if the effective date of the                 compliance requirements based on                       emissions on a permanent basis.
                                                 final rule is the eleventh day of the 153-                revised emissions budgets different from                  The rule’s provisions relating to the
                                                 day 2023 ozone season, the full-season                    the emissions budgets that the sources                 creation of an incremental Group 3
                                                 initial bank target amount of 23,094                      had reason to anticipate under previous                allowance bank are being finalized as
                                                 allowances would be prorated to an                        rulemakings, for the remaining sources.                proposed. Comments on the creation of
                                                 initial bank target amount of 21,585                      Although the EPA is confident that the                 the incremental allowance bank are
                                                 allowances.371 The EPA notes that                         emissions budgets being established in                 discussed in section 5 of the RTC.
                                                 prorating the bank amount in this                         this rulemaking for the 2023 control                   c. Recall of Group 2 Allowances
                                                 manner will not reduce sources’                           period are readily achievable, the EPA                 Allocated for Control Periods After 2022
                                                 compliance flexibility for the 2023                       also believes that the existence of a
                                                 ozone season, because the amounts of                                                                                To maintain the previously
                                                                                                           somewhat larger allowance bank at this                 established levels of stringency of the
                                                 Group 3 allowances that sources will                      transition point will promote sources’
                                                 receive for the portion of the 2023 ozone                                                                        Group 2 trading program for the states
                                                                                                           confidence in their ability to meet their              and sources that remain subject to that
                                                 season before the rule’s effective date                   2023 compliance obligations in general
                                                 will be based on the trading program                                                                             program, the EPA is recalling CSAPR
                                                                                                           and in a liquid allowance market in                    NOX Ozone Season Group 2 allowances
                                                 budgets for the 2023 control period that
                                                                                                           particular. Second, because the large                  equivalent in amount and usability to
                                                 were in effect before this rulemaking.
                                                                                                           majority of the remaining Group 2                      all vintage year 2023–2024 CSAPR NOX
                                                 These trading program budgets exceed
                                                                                                           allowances that will be converted to                   Ozone Season Group 2 allowances
                                                 the sources’ collective 2022 emissions
                                                                                                           Group 3 allowances in this rulemaking                  previously allocated to sources in states
                                                 by approximately 29,789 tons,
                                                                                                           are held by the sources currently in the               and areas of Indian country
                                                 indicating potentially surplus
                                                                                                           Group 2 trading program, while the                     transitioning to the Group 3 trading
                                                 allowances roughly 1.3 times the full-
                                                                                                           large majority of the initial bank of                  program and recorded in the sources’
                                                 season bank conversion target amount of
                                                                                                           Group 3 allowances previously created                  compliance accounts. The recall
                                                 23,094 allowances. Thus, although the
                                                                                                           in the conversion under the Revised                    provisions apply to all sources in
                                                 prorating procedure will reduce the
                                                 amount of Group 3 allowances that                         CSAPR Update are held by the sources                   jurisdictions newly added to the Group
                                                 would be available to sources in the                      already in the Group 3 trading program,                3 trading program in whose compliance
                                                 form of an initial bank, the reduction in                 basing the conversion in this                          accounts CSAPR NOX Ozone Season
                                                 the quantity of these allowances will be                  rulemaking on a target bank amount set                 Group 2 allowances for a control period
                                                 more than offset by the quantities of                     in the same manner as the target bank                  in 2023 or 2024 were recorded,
                                                 Group 3 allowances that will be                           amount used in the Revised CSAPR                       including sources where some or all
                                                 allocated in excess of sources’ recent                    Update is expected to result in a less                 units have permanently retired or where
                                                 historical emissions levels for the                       concentrated distribution of holdings of               the previously recorded 2023–2024
                                                 portion of the ozone season before the                    banked Group 3 allowances following                    allowances have been transferred out of
                                                 final rule’s effective date.                              the conversion than would be the case                  the compliance account. The recall
                                                    As in the CSAPR Update and the                         if a more stringent target bank amount                 provisions provide a flexible
                                                 Revised CSAPR Update, the EPA’s                           were used under this rulemaking than                   compliance schedule intended to
                                                 overall objective in establishing the                     was used in the Revised CSAPR Update.                  accommodate any sources that have
                                                 target amount for the allowance                           A lower concentration of holdings of                   already transferred the previously
                                                 conversion is to achieve a total target                   banked Group 3 allowances would                        recorded 2023–2024 allowances out of
                                                 amount for the bank at a level high                       generally be expected to help ensure                   their compliance accounts and allow
                                                 enough to accommodate year-to-year                        allowance market liquidity. Third, the                 Group 2 allowances of earlier vintages
                                                 variability in operations and emissions,                  EPA considers it equitable to treat the                to be surrendered to achieve
                                                 as reflected in states’ variability limits,               sources in the states transitioning from               compliance. Like the similar recall
                                                 but not high enough to allow sources                      the Group 2 trading program to the                     provisions finalized in the Revised
                                                 collectively to plan to emit in excess of                 Group 3 trading program in this                        CSAPR Update, the recall provisions
                                                 the collective state budgets. The EPA                     rulemaking roughly similarly to the                    include specifications for how the recall
                                                 believes that a well-established trading                  sources in the states that transitioned                provisions apply in instances where a
                                                 program should be able to function with                   between the same two trading programs                  source and its allowances have been
                                                 an allowance bank lower than the full                     in the Revised CSAPR Update with                       transferred to different parties and for
                                                                                                           respect to the benefit they would receive
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                                                 amount of the covered states’ variability                                                                        the procedures that the EPA will follow
                                                 limits, as discussed in section VI.B.6 of                 under the Group 3 trading program for                  to implement the recall.
                                                 this document with respect to the bank                    any efforts they may have made to make                    Under the Group 2 trading program
                                                 recalibration process that will begin                     emissions reductions under the Group 2                 regulations, each Group 2 allowance is
                                                 with the 2024 control period. However,                    trading program beyond the minimum                     a ‘‘limited authorization to emit one ton
                                                 the EPA also believes there are several                   efforts that were required to comply                   of NOX during the control period in one
                                                                                                           with the emissions budgets under that                  year,’’ where the relevant limitations
                                                   371 23,094   × (153¥10) ÷ 153 = 21,585.                 program. Finally, to the extent that the               include the EPA Administrator’s


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                                                 authority ‘‘to terminate or limit the use               compliance account, one Group 2                          requirement with regard to a 2024
                                                 and duration of such authorization to                   allowance of equivalent usability under                  Group 2 allowance could be met
                                                 the extent the Administrator determines                 the Group 2 trading program. The                         through the surrender of any 2017–2024
                                                 is necessary or appropriate to                          surrender requirements apply to the                      Group 2 allowance.
                                                 implement any provision of the Clean                    owners and operators of the Group 3                         Owners and operators subject to the
                                                 Air Act.’’ 40 CFR 97.806(c)(6)(ii). The                 sources in whose compliance account                      surrender requirements can choose from
                                                 Administrator is determining that, to                   the excess 2023–2024 Group 2                             two possible deadlines for meeting the
                                                 effectively implement the Group 2                       allowances were initially recorded. In                   requirements. The optional first
                                                 trading program as a compliance                         general, each source’s current owners                    deadline will be 15 days after the
                                                 mechanism through which states not                      and operators are required to comply                     effective date of this rule.374 As soon as
                                                 subject to the Group 3 trading program                  with the surrender requirements for the                  practicable or after this date, the EPA
                                                 may continue to meet their obligations                  source by ensuring that sufficient                       will make a first attempt to complete the
                                                 under CAA section 110(a)(2)(D)(i)(I)                    allowances to complete the deductions                    deductions of Group 2 allowances
                                                 with regard to the 2008 ozone NAAQS,                    are available in the source’s compliance                 required for each Group 3 source from
                                                 it is necessary to limit the use of Group               account by one of two possible                           the source’s compliance account. The
                                                 2 allowances equivalent in quantity and                 deadlines discussed later in this section.               EPA will deduct Group 2 allowances
                                                 usability to all Group 2 allowances                     However, an exception is provided if a                   first to address any surrender
                                                 previously allocated for the 2023–2024                  source’s current owners and operators                    requirements for the 2023 control period
                                                 control periods and recorded in the                     obtained ownership and operational                       and then to address any surrender
                                                 compliance accounts of sources in the                   control of the source in a transaction                   requirements for the 2024 control
                                                 newly added Group 3 jurisdictions. The                  that did not include rights to direct the                period. When deducting Group 2
                                                 Group 2 allowances that have already                    use and transfer of some or all of the                   allowances to address the surrender
                                                 been allocated to sources in the newly                  2023–2024 Group 2 allowances                             requirements for each control period,
                                                 added Group 3 states for the 2023–2024                  allocated and recorded (either before or                 EPA will first deduct allowances
                                                 control periods and recorded in the                     after that transaction) in the source’s                  allocated for that control period and
                                                 sources’ compliance accounts represent                  compliance account. The rule provides                    then will deduct allowances allocated
                                                 the substantial majority of the total                   that in such a circumstance, with                        for each successively earlier control
                                                 remaining quantity of Group 2                           respect to the 2023–2024 Group 2                         period. This order of deductions is
                                                 allowances that have been allocated and                 allowances for which rights were not                     intended to ensure that whatever Group
                                                 recorded for the 2023–2024 control                      included in the transaction, the                         2 allowances are available in the
                                                 periods and that were not already made                  surrender requirements apply to the                      account are applied to the surrender
                                                 subject to recall when other                            most recent former owners and                            requirements in a manner that both
                                                 jurisdictions were transferred from the                 operators of the source before any such                  maximizes the extent to which all of the
                                                 Group 2 trading program to the Group                    transactions occurred. Because in this                   source’s surrender requirements will be
                                                 3 trading program in the Revised CSAPR                  situation a source’s former owners and                   met and also ensures that any Group 2
                                                 Update. Because allowances can be                       operators might lack the ability to access               allowances left in the source’s
                                                 freely traded, if the use of the 2023–                  the source’s compliance account for                      compliance account after completion of
                                                 2024 Group 2 allowances previously                      purposes of complying with the                           all required deductions will be the
                                                 recorded in newly added Group 3                         surrender requirements, the former                       earliest allocated, and therefore most
                                                 sources’ compliance accounts (or                        owners and operators would instead be                    useful, Group 2 allowances possible.
                                                 equivalent Group 2 allowances) were                     allowed to meet the surrender                            Among the Group 2 allowances
                                                 not limited, the effect would be the                    requirements with Group 2 allowances                     allocated for a given control period, The
                                                 same as if the EPA had issued to sources                held in a general account.372                            EPA will first deduct allowances that
                                                                                                            To provide as much flexibility as                     were initially recorded in that account,
                                                 in the states that will remain covered by
                                                                                                         possible consistent with the need to                     in the order of recordation, and will
                                                 the Group 2 trading program a quantity
                                                                                                         limit the use of the excess Group 2                      then deduct allowances that were
                                                 of allowances available for compliance
                                                                                                         allowances, for each 2023–2024 Group 2                   transferred into that account after
                                                 under the 2023–2024 control periods
                                                                                                         allowance recorded in a Group 3                          having been initially recorded in some
                                                 many times the levels that the EPA
                                                                                                         source’s compliance account, the EPA                     other account, in the order of
                                                 determined to be appropriate emissions                  will accept the surrender of either the
                                                 budgets for these states in the CSAPR                                                                            recordation.
                                                                                                         same specific 2023–2024 Group 2                             Following the first attempt to deduct
                                                 Update. Through the use of banked                       allowance or any other Group 2
                                                 allowances, the excess Group 2                                                                                   Group 2 allowances to address Group 3
                                                                                                         allowance with equivalent (or greater)                   sources’ surrender requirements, the
                                                 allowances would affect compliance                      usability under the Group 2 trading
                                                 under the Group 2 trading program in                    program. Thus, a surrender requirement                      374 As discussed later in this section and in
                                                 control periods after 2024 as well.                     with regard to a Group 2 allowance                       section VI.B.9.b, the EPA has conditioned
                                                 Continued implementation of the Group                   allocated for the 2023 control period                    recordation of any allocations of Group 3
                                                 2 trading program at levels of stringency               could be met through the surrender of                    allowances in a source’s compliance account on the
                                                 consistent with the levels contemplated                                                                          source’s prior compliance with the recall
                                                                                                         any Group 2 allowance allocated for the                  requirements for Group 2 allowances. The purpose
                                                 under the CSAPR Update therefore                        2023 control period or the control                       of providing an optional first deadline for the recall
                                                 requires that the EPA limit the use of                  period in any earlier year—in other                      provisions 15 days after a final rule’s effective is to
                                                 the excess allowances, as the EPA is                                                                             ensure that sources have an early opportunity to
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                                                                                                         words, any 2017–2023 Group 2
                                                 doing through the recall provisions.                                                                             comply with the recall provisions to be eligible to
                                                                                                         allowance.373 Similarly, the surrender                   have allocations of Group 3 allowances recorded in
                                                    In this rule, the EPA is implementing                                                                         their accounts 30 days after the final rule’s effective
                                                 limitations on the use of the excess                      372 The EPA is currently unaware of any source         date. Because the vast majority of sources subject
                                                 2023–2024 Group 2 allowances through                    that would need to use this flexibility but has          to the recall provisions already hold sufficient
                                                                                                         included the option in the rule to address the           Group 2 allowances to comply with the recall
                                                 requirements to surrender, for each                     theoretical possibility of such a situation.             provisions, the EPA anticipates that the sources will
                                                 2023–2024 Group 2 allowance recorded                      373 The first control period for the Group 2 trading   easily be able to comply with the optional first
                                                 in a newly added Group 3 source’s                       program was in 2017.                                     recall deadline.



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                                                 EPA will send a notification to the                     directly or indirectly under common                    of each Group 3 source are required to
                                                 designated representative for each such                 ownership with an owner or operator of                 surrender under the recall provisions,
                                                 source (as well as any alternate                        the source.375 Before making any                       the EPA has prepared a list of the
                                                 designated representative) indicating                   deduction under this provision, the EPA                sources in the additional Group 3 states
                                                 whether all required deductions were                    will send a notification to the                        and areas of Indian country in whose
                                                 completed and, if not, the additional                   authorized account representative for                  compliance accounts allocations of
                                                 amounts of Group 2 allowances usable                    the account in which the allowance is                  2023–2024 Group 2 allowances were
                                                 in the 2023 or 2024 control periods that                held and will provide an opportunity                   recorded, with the amounts of the
                                                 must be held in the appropriate account                 for submission of objections concerning                allocations recorded in each such
                                                 by the second surrender deadline of                     the data upon which the EPA is relying.                compliance account for the 2023 and
                                                 September 15, 2023. Each notification                   In EPA’s view, this provision does not                 2024 control periods. An additional list
                                                 will be sent to the email addresses most                unduly interfere with the legitimate                   shows, for each newly added Group 3
                                                 recently provided to the EPA for the                    expectations of participants in the                    source, the specific Group 2 allowances
                                                 recipients and will include information                 allowance markets because the                          (batched by serial number) allocated for
                                                 on how to contact the EPA with any                      provision will not be invoked in the                   each control period and recorded in the
                                                 questions. The EPA has provided that                    case of any allowance that was                         source’s compliance account and
                                                 no allocations of Group 3 allowances                    transferred to an independent party in                 indicates whether, as of April 30, 2022,
                                                 will be recorded in a source’s                          an arms-length transaction before EPA’s                that batch of allowances was held in the
                                                 compliance account until all the                        intent to recall 2023–2024 Group 2                     source’s compliance account, in an
                                                 source’s surrender requirements with                    allowances became widely known. The                    account believed to be partially or fully
                                                 regard to 2023–2024 Group 2                             provision would apply only to a Group                  controlled by a related party (i.e., an
                                                 allowances have been met. For this                      2 allowance that, as of April 30, 2022,                owner or operator of the source or an
                                                 reason, the principal consequence to a                  was still controlled either by the owners              affiliate of an owner or operator of the
                                                 source of failure to fully comply with                  and operators of the source in whose                   source), or in an account believed to be
                                                 the surrender requirements by 15 days                   compliance account it was initially                    fully controlled by independent parties.
                                                 after the effective date of this rule will              recorded or by an entity affiliated with               The lists are in a spreadsheet titled,
                                                 be that any Group 3 allowances                          such an owner or operator. The EPA                     ‘‘Recall of Additional CSAPR NOX
                                                 allocated to the units at the source for                believes that by April 30, 2022, all                   Ozone Season Group 2 Allowances,’’
                                                 the 2023 and 2024 control periods that                  market participants had ample                          available in the docket for this rule.
                                                 would otherwise have been recorded in                   opportunity to become informed of the                  After the first and second surrender
                                                 the source’s compliance account by 30                   proposed rule provisions to recall 2023–               deadlines, the EPA intends to update
                                                 days after the effective date of a final                2024 Group 2 allowances recorded in                    the lists to indicate for each Group 3
                                                 rule will not be recorded as of that                    Group 3 sources’ compliance accounts,                  source whether the surrender
                                                 recordation date.                                       particularly since the EPA implemented                 requirements for the source under the
                                                    If all surrender requirements of 2023–               a closely analogous recall of Group 2                  recall provisions have been fully
                                                 2024 Group 2 allowances for a source                    allowances in the Revised CSAPR                        satisfied. The EPA will post the updated
                                                 have not been met in EPA’s first                        Update.376                                             lists on a publicly accessible website to
                                                 attempt, the EPA will make a second                        The final revised regulations provide               ensure that all market participants have
                                                 attempt to complete the required                        that failure of a source’s owners and                  the ability to determine which specific
                                                 deductions from the source’s                            operators to comply with the surrender                 2023–2024 Group 2 allowances initially
                                                 compliance account (or from a specified                 requirements will be subject to possible               recorded in any given Group 3 source’s
                                                 general account, in the limited                         enforcement as a violation of the CAA,                 compliance account do or do not remain
                                                 circumstance noted previously) as soon                  with each allowance and each day of the                subject to potential deduction to address
                                                 as practicable on or after September 15,                control period constituting a separate                 the source’s surrender requirements
                                                 2023. The order in which Group 2                        violation.                                             under the recall provisions.
                                                 allowances are deducted will be the                        To eliminate any possible uncertainty                  The recall provisions have been
                                                 same as described previously for the                    regarding the amounts of Group 2                       finalized without change from the
                                                 first attempt.                                          allowances allocated for the 2023–2024                 proposal. The EPA received no
                                                    If the second attempt to deduct Group                control periods (or earlier control                    comments on the proposed provisions.
                                                 2 allowances to meet the surrender                      periods) that the owners and operators
                                                 requirements through deductions from                                                                           13. Conforming Revisions to Regulations
                                                 the source’s compliance account (or                       375 The  provision under which the EPA will not
                                                                                                                                                                for Other CSAPR Trading Programs
                                                 from a specified general account) is                    deduct Group 2 allowances transferred to unrelated        As noted in section VI.B.1.a of this
                                                                                                         parties before April 30, 2022 from the transferees’    document, in addition to the Group 3
                                                 unsuccessful for a given source, as soon                accounts does not relieve the source to which the
                                                 as practicable on or after November 15,                 Group 2 allowances were originally allocated from      trading program, EPA currently
                                                 2023, to the extent necessary to address                the obligation to comply with the recall               administers five other CSAPR trading
                                                 the unsatisfied surrender requirements                  requirements. Specifically, the source would be        programs, all of which have provisions
                                                                                                         required to comply with the recall requirements by     that in most respects parallel the
                                                 for the source, the EPA will deduct the                 obtaining and surrendering other Group 2
                                                 2023–2024 Group 2 allowances that                       allowances.                                            provisions of the Group 3 trading
                                                 were initially recorded in the source’s                    376 Even before publication of the proposed rule,   program.377 In this rulemaking, in
                                                 compliance account from whatever                        the EPA posted information on its websites to notify   addition to the revisions to the Group 3
                                                                                                         market participants that a pending rulemaking          trading program, the EPA is finalizing a
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                                                 accounts the allowances are held in as
                                                                                                         could have consequences for the value and usability    set of conforming revisions that concern
                                                 of the date of the deduction, except for                of Group 2 allowances. The posted locations
                                                 any allowances where, as of April 30,                   included the electronic portal that authorized         how various areas of Indian country are
                                                 2022, no person with an ownership                       account representatives use to enter allowance
                                                 interest in the allowances was an owner                 transfers for recordation by the EPA in the              377 The regulations for the Group 3 Trading
                                                                                                         Allowance Management System. Additionally, the         Program are at 40 CFR part 97, subpart GGGGG. The
                                                 or operator of the source, was a direct                 EPA emailed a notice identifying the possibility of    regulations for the other five CSAPR trading
                                                 or indirect parent or subsidiary of an                  such consequences to the representatives for all       programs are at 40 CFR part 97, subparts AAAAA,
                                                 owner or operator of the source, or was                 Allowance Management System accounts.                  BBBBB, CCCCC, DDDDD, and EEEEE.



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                                                 treated for purposes of the allowance                     to nonattainment or interfering with                  industry groups generally supported
                                                 allocation provisions of the regulations                  maintenance in other states. The                      other monitoring options over CEMS,
                                                 for all the CSAPR trading programs.378                    emissions control requirements of these               such as parametric monitoring,
                                                    As discussed in section VI.B.9.a of                    FIPs for non-EGU sources apply only                   performance testing, and predictive
                                                 this document, to reflect the D.C.                        during the ozone season (May through                  emissions monitoring systems (PEMS).
                                                 Circuit’s holding in ODEQ v. EPA that                     September) each year, beginning in                    Additional commenters voiced concern
                                                 states have initial CAA implementation                    2026.                                                 with the expense and burden of
                                                 planning authority in non-reservation                        To achieve the necessary non-EGU                   continuous parametric monitoring and
                                                 areas of Indian country until displaced                   emissions reductions for these 20 states,             semi-annual performance tests.
                                                 by a demonstration of tribal jurisdiction                 the EPA is finalizing the proposed                    Specifically, commenters explained that
                                                 over such an area, the EPA is revising                    emissions limitations with some                       semi-annual testing should not be
                                                 the allowance allocation provisions in                    adjustments as a result of information                required when the emissions limits only
                                                 the Group 3 trading program regulations                   received during the public comment                    apply during the ozone season.
                                                 so that, instead of distinguishing                        period. The final emissions limits apply              Commenters also noted that many non-
                                                 between the sets of units within a given                  to the most impactful types of units in               EGU boilers have recently been relieved
                                                 state’s borders that either are not or are                the relevant industries and are                       from meeting the CEMS requirements
                                                 in Indian country, the revised                            achievable with the control technologies              under the 1998 NOX SIP Call and that
                                                 regulations distinguish between (1) the                   identified in this preamble and further               implementing CEMS on many of the
                                                 set of units within the state’s borders                   discussed in the Final Non-EGU Sectors                non-EGU sources would be difficult and
                                                 that are not in Indian country or are in                  TSD. The non-EGU regulatory                           unnecessary.
                                                 areas of Indian country covered by the                    requirements unique to each industry
                                                                                                                                                                    Response: The EPA is finalizing a
                                                 state’s CAA implementation planning                       that EPA is finalizing after considering
                                                                                                                                                                 unit-specific approach with rate-based
                                                 authority and (2) the set of units within                 public comments are discussed in
                                                                                                                                                                 emissions limitations set on a uniform
                                                 the state’s borders that are in areas of                  sections VI.C.1 through VI.C.6 of this
                                                                                                                                                                 basis for the different segments of non-
                                                 Indian country not covered by the                         document.
                                                                                                              These final FIP requirements apply to              EGU emissions units using applicability
                                                 state’s CAA implementation planning
                                                                                                           both new and existing emissions units.                criteria based on size and type of unit
                                                 authority. For the same reasons stated in
                                                                                                           The non-EGU emissions limits and                      and, in some cases, emissions
                                                 section VI.B.9.a of this document for the
                                                                                                           compliance requirements will apply in                 thresholds. In response to public
                                                 Group 3 trading program, the EPA is
                                                                                                           all 20 states (and, as discussed in                   comments, the EPA has adjusted these
                                                 revising the allowance allocation
                                                                                                           section III.C.2 of this document, in areas            requirements as necessary to ensure that
                                                 provisions in the regulations for all the
                                                                                                           of Indian country within the borders of               the emissions control requirements are
                                                 other CSAPR trading programs
                                                                                                           those states), even if some of those states           achievable while ensuring that the FIPs
                                                 establishing the same substantive
                                                                                                           do not currently have emissions units in              achieve the necessary emissions
                                                 distinction among the sets of units
                                                                                                           a particular source category. This                    reductions from the covered units to
                                                 within each state’s borders. The specific
                                                                                                           approach is consistent with the                       eliminate significant contribution to
                                                 regulatory provisions that are affected
                                                                                                           approach that the EPA proposed, and                   nonattainment and interference with
                                                 are identified in section IX.D of this
                                                                                                           the EPA did not receive any comments                  maintenance as discussed in section V
                                                 document. The EPA is unaware of any
                                                                                                           specifically objecting to our proposal to             of this document. The EPA has
                                                 currently operating units that would be
                                                                                                           regulate new units. This approach will                concluded that a unit-specific approach
                                                 affected by this revision to the
                                                                                                           ensure that all new sources constructed               is more appropriate for non-EGUs at this
                                                 regulations for the other CSAPR trading
                                                                                                           in any of the 20 states will be subject to            time than implementing a trading
                                                 programs.
                                                                                                           the same good neighbor requirements                   program and requiring all units to
                                                    The conforming revisions to the
                                                                                                           that apply to existing units under this               implement rigorous part 75 monitoring
                                                 regulations for the other CSAPR trading
                                                                                                           final rule. This will also avoid creating             and reporting requirements. As
                                                 programs concerning Indian country are
                                                                                                           incentives to move production from an                 explained in the proposal, to be
                                                 being finalized as proposed with no
                                                                                                           existing non-EGU source to a new non-                 considered for a trading program, non-
                                                 changes. The EPA received no
                                                                                                           EGU source of the same type but lacking               EGU sources would have to comply
                                                 comments on this portion of the
                                                                                                           the relevant emissions control                        with requirements for monitoring and
                                                 proposal.
                                                                                                           requirements either within a linked                   reporting of hourly mass emissions in
                                                 C. Regulatory Requirements for                            state or in another linked state.                     accordance with 40 CFR part 75 as we
                                                 Stationary Industrial Sources                                Comment: The EPA received several                  have required for all previous trading
                                                    The EPA is finalizing FIPs with                        comments regarding the proposed                       programs. Monitoring and reporting
                                                 requirements for certain non-EGU                          approach of establishing unit-specific                under part 75 include CEMS (or an
                                                 industry sources for 20 of the states                     emissions limitations for non-EGUs                    approved alternative method), rigorous
                                                 covered in this final rule. See section                   instead of an emissions trading program.              initial certification testing, and periodic
                                                 II.B of this document for the list of                     Some commenters suggested that a                      quality assurance testing thereafter,
                                                 states. The FIPs include new emissions                    trading program for non-EGUs could                    such as relative accuracy test audits and
                                                 limitations for units in nine non-EGU                     provide for operational flexibility and               daily calibrations. Consistent and
                                                 industries that the EPA finds (as                         that EPA should allow sources to work                 accurate measurement of emissions is
                                                 discussed in sections IV and V of this                    with regulatory authorities to develop a              necessary to ensure that each allowance
                                                                                                           trading program. Other commenters                     actually represents one ton of emissions
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                                                 final rule) are significantly contributing
                                                                                                           generally supported EPA’s proposed                    and that one ton of reported emissions
                                                    378 Additional conforming revisions concerning         approach and the decision to not                      from one source would be equivalent to
                                                 the schedules for the EPA to record allowance             include non-EGUs in an emissions                      one ton of reported emissions from
                                                 allocations in source’s compliance accounts and for       trading program, because the EPA                      another source. See 75 FR 45325
                                                 states to submit state-determined allowance
                                                 allocations to the EPA for subsequent recordation
                                                                                                           would not need to require sources to                  (August 2, 2010). Moreover, these
                                                 were finalized in an earlier final rule in this docket.   unnecessarily install CEMS.                           monitoring requirements generally
                                                 See 87 FR 52473 (August 26, 2022).                        Commenters from several states and                    would need to be in place for at least


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                                                 one full ozone season to establish                      provisions require controls on the most                have resulted in relatively small
                                                 baseline data before it would be                        impactful non-EGU industrial sources                   reductions in emissions. Finally, the
                                                 appropriate to rely on a trading program                while providing the flexibility needed to              EPA has modified the monitoring and
                                                 as the mechanism to achieve the                         accommodate unique circumstances on                    recordkeeping requirements for all non-
                                                 required emissions reductions. Many                     a case-by-case basis.                                  EGU industries where possible to
                                                 industry and state commenters provided                     Comment: Commenters from several                    reduce the testing frequency to once a
                                                 information confirming that many non-                   non-EGU industries and states raised                   year and to provide for alternative
                                                 EGU units subject to this rulemaking do                 general concerns regarding the ability                 monitoring protocols where appropriate,
                                                 not currently utilize CEMS and                          for all sources to comply with the                     which should further reduce the costs of
                                                 specifically requested that EPA avoid                   proposed emissions limits. Some                        compliance on non-EGU sources. With
                                                 requiring CEMS for all non-EGU                          commenters suggested that the EPA                      these modifications to the final rule in
                                                 industries. The EPA generally agrees                    allow for case-by-case limits where                    response to comments, the non-EGU
                                                 that CEMS is not necessary for all non-                 necessary, similar to case-by-case RACT                sources subject to this rule should be
                                                 EGU industries under the approach of                    determinations. Specifically,                          able to meet the applicable control
                                                 this final rule and is finalizing other                 commenters operating boilers, furnaces,                requirements established in this final
                                                 continuous monitoring, recordkeeping,                   and MWCs provided general                              rule.
                                                 and reporting requirements, as                          explanations of how some units might                      The EPA also recognizes, however,
                                                 appropriate, that are specific to each                  not be able to meet the proposed                       that there may be unique circumstances
                                                 non-EGU industry. The EPA has                           emissions limits and requested that EPA                the Agency cannot anticipate that
                                                 determined that establishing unit-                      provide for compliance flexibility where               would, for a particular source, render
                                                 specific emissions limitations for non-                 a source can demonstrate technical and                 the final emissions control requirements
                                                 EGUs is a preferable approach in part                   economical infeasibility.                              technically impossible or impossible
                                                 because it avoids the rigorous                             Response: As explained more in                      without extreme economic hardship. To
                                                 monitoring requirements that would be                   sections VI.C.1 through VI.C.6, the EPA                address these limited circumstances, the
                                                 applied to non-EGUs for the first time                  has made several adjustments to the                    EPA is finalizing a provision that allows
                                                 under a trading program.                                proposed applicability criteria,                       a source to request EPA approval of a
                                                    Furthermore, to address commenters’                  emissions limits, and compliance                       case-by-case emissions limit based on a
                                                 concerns regarding non-EGU                              requirements in response to public                     showing that an emissions unit cannot
                                                 requirements for performance testing on                 comments and to reduce the costs of                    meet the applicable standard due to
                                                 a semi-annual basis, the EPA has also                   compliance with the final rule. For                    technical impossibility or extreme
                                                 reduced the frequency of all required                   Pipeline Transportation and Natural                    economic hardship. The EPA has
                                                 performance testing for non-EGU                         Gas, the EPA is finalizing emissions                   modeled the case-by-case emissions
                                                 sources to once per calendar year. As                   averaging provisions and exemptions for                limit mechanism on case-by-case RACT
                                                 commenters correctly pointed out, the                   emergency engines to allow facilities to               requirements and certain facility-
                                                 emissions limits in these final FIPs only               avoid installing controls on units with                specific emissions limits under 40 CFR
                                                 apply during the ozone season and                       lower actual emissions where the                       part 60 identified by commenters.379
                                                 testing once per calendar year should be                installation of controls would be less                 The owner or operator of a source
                                                 sufficient to confirm the accuracy of the               cost effective compared to higher-                     seeking a case-by-case emissions limit
                                                 parameters being monitored to                           emitting units. For Cement and Concrete                must submit a request meeting specific
                                                 demonstrate continuous compliance                       Product Manufacturing, the EPA has                     requirements to the EPA by August 5,
                                                 during the ozone season. The EPA also                   removed the daily source cap that                      2024, one year after the effective date of
                                                 agrees with commenters that the annual                  would have resulted in an artificially                 this final rule. The applicable emissions
                                                 testing requirements need not occur                     restrictive NOX emissions limit for                    limits established in this final rule
                                                 during the ozone season.                                affected cement kilns that have operated               remain in effect until the EPA approves
                                                    In addition, the EPA is modifying the                at lower levels due to the COVID–19                    a source’s request for a case-by-case
                                                 applicability criteria and other                        pandemic. For Iron and Steel and                       emissions limit. Given the May 1, 2026
                                                 regulatory requirements in response to                  Ferroalloy Manufacturing, the EPA is                   compliance date that generally applies
                                                 public comments to provide certain                      finalizing a ‘‘test-and-set’’ requirement              to all affected units in the non-EGU
                                                 compliance flexibilities for non-EGU                    for reheat furnaces that will require the              industries covered by this final rule, we
                                                 industries where appropriate. As                        installation of low-NOX burners or                     encourage owners and operators of
                                                 discussed further in section V.C.1 of this              equivalent technology. The EPA has                     affected units who believe they must
                                                 document, the EPA is modifying the                      addressed the economic concerns raised                 seek case-by-case emissions limits to
                                                 requirements for Pipeline                               by commenters regarding installation of                submit their requests to the EPA before
                                                 Transportation of Natural Gas by                        controls at Iron and Steel facilities by               the one-year deadline for such requests,
                                                 finalizing an exemption for emergency                   not finalizing the other ten proposed                  if possible, to ensure adequate time for
                                                 engines and allowing any owner or                       emissions limits that were intended to                 EPA review and to install the necessary
                                                 operator of an affected unit to propose                 require the installation of SCR at these               controls.
                                                 a ‘‘Facility-Wide Averaging Plan’’ that                 facilities. For Glass and Glass Product                   For a source requesting a case-by-case
                                                 would, if approved by EPA, provide an                   Manufacturing, the EPA is finalizing                   limit due to technical impossibility, the
                                                 alternative means for compliance with                   alternative standards that apply during                final rule requires that the request
                                                 the emissions limits in this final rule.                startup, shutdown, and idling                          include emissions data obtained
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                                                 Further, as discussed in section VI.C.5                 conditions. For boilers in Basic                       through CEMS or stack tests, an analysis
                                                 of this document, the EPA is finalizing                 Chemical Manufacturing, Petroleum and
                                                 a low-use exemption for non-EGU                         Coal Products Manufacturing, Pulp,                       379 For examples of case-by-case RACT provisions

                                                 boilers that operates less than 10                      Paper, and Paperboard Mills, Metal Ore                 and source specific limits for boilers in subpart Db
                                                 percent per year on an hourly basis,                    Mining, and the Iron and Steel Industry,               of the EPA’s NSPS, see 40 CFR 60.44b(f);
                                                                                                                                                                Regulations of Connecticut State Agencies section
                                                 based on the three most recent years of                 the EPA is finalizing a low-use                        22a–174–22e; Code of Maryland Regulations section
                                                 use and no more than 20 percent in any                  exemption to eliminate the need to                     26.11.09.08(B)(3); and Code of Maine Rules section
                                                 one of the three years. These final rule                install controls on boilers that would                 096–138–3, subsection (I).



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                                                 of all available control technologies                    be met to qualify for a case-by-case limit             constructing the list of potential sources
                                                 based on an engineering assessment by                    are designed to meet this statutory                    subject to the final rule, the EPA relied
                                                 a professional engineer or data from a                   mandate.                                               on available information to identify the
                                                 representative sample of similar                            Comment: Several commenters raised                  PTE of the emissions units in the
                                                 sources, and a recommendation                            concerns about the EPA’s differing                     various non-EGU industries that are
                                                 concerning the most stringent emissions                  applicability criteria for the various                 captured by the applicability criteria.
                                                 limit the source can technically achieve.                non-EGU industries. Specifically, the                  See Memo to Docket titled Summary of
                                                    For a source requesting a case-by-case                commenters questioned why EPA set                      Final Rule Applicability Criteria and
                                                 limit on the basis of extreme economic                   applicability criteria for engines in                  Emissions Limits for Non-EGU
                                                 hardship, the final rule requires that the               Pipeline Transportation of Natural Gas                 Emissions Units, Assumed Control
                                                 request include at least three vendor                    and non-EGU boilers based on design                    Technologies for Meeting the Final
                                                 estimates from three separate vendors                    capacity instead of potential to emit                  Emissions Limits, and Estimated
                                                 that do not have a corporate or business-                (PTE). Commenters also requested that                  Emissions Units, Emissions Reductions,
                                                 affiliation with the source of the costs of              the EPA allow each non-EGU category                    and Costs. Thus, the EPA’s Step 3
                                                 installing the control technology                        to rely on operating permits or other                  analysis takes into account available
                                                 necessary to meet the applicable                         federally enforceable instruments to                   information about currently enforceable
                                                 emissions limit and other information                    avoid being subject to the rule, such as               emissions limits and physical and
                                                 that demonstrates, to the satisfaction of                limits to the PTE or limits on fuels used.             operational limitations identified in
                                                 the Administrator, that the cost of                         Response: The 100 tpy PTE threshold                 existing permits. The EPA finds it
                                                 compliance with the applicable                           and comparable design capacity                         necessary to define PTE consistent with
                                                 emissions limit for that particular                      thresholds of 1,000 horsepower (hp) for                its use in the title V and NSR permit
                                                 source would present an extreme                          engines and 100 mmBtu/hr for boilers                   programs to ensure that the
                                                 economic hardship relative to the costs                  are appropriate to ensure that the final               requirements of the final FIPs apply to
                                                 borne by other comparable sources in                     rule reduces emissions from the most                   the most impactful units identified in
                                                 the industry under this rule. In                         impactful units. The EPA finds the                     Step 3 of our analysis. However, to
                                                 evaluating a source’s request for a case-                control technologies assumed to be                     ensure that these FIPs achieve the
                                                 by-case limit due to extreme economic                    installed to meet the final emissions                  emissions reductions necessary to
                                                 hardship, the EPA will consider the                      limits would not be as readily available               eliminate significant contribution or
                                                 emissions reductions and costs                           or cost effective for emissions units with             interference with maintenance as
                                                 identified in this final rulemaking (and                 PTE or design capacities lower than the                described in this final rule, the
                                                 related support documents) for other                     applicability thresholds in this final                 applicability criteria for the Cement and
                                                 sources in the relevant industry and                     rule.                                                  Concrete Manufacturing, Iron and Steel
                                                 whether the costs of compliance for the                     With regard to the selection of design
                                                                                                                                                                 and Ferroalloy Manufacturing, and
                                                                                                          capacity thresholds for boilers and
                                                 source seeking the case-by-case limit                                                                           Glass and Glass Product Manufacturing
                                                                                                          engines, the EPA finds that most RACT
                                                 would significantly exceed the highest                                                                          industries take into account only those
                                                                                                          requirements and other standards
                                                 representative end of the range of                                                                              enforceable PTE limits in effect as of the
                                                                                                          reviewed by the EPA establish
                                                 estimated cost-per-ton figures identified                                                                       effective date of this final rule. Thus,
                                                                                                          applicability criteria for engines and
                                                 for any source in the relevant industry                                                                         any emissions unit in these three
                                                                                                          boilers based on design capacity rather
                                                 as discussed in section V of this                                                                               industries that has a PTE equal to or
                                                                                                          than PTE. We further explain our basis
                                                 document.                                                                                                       greater than 100 tons per year and thus
                                                                                                          for establishing applicability thresholds
                                                    As discussed in section VI.A of this                                                                         meets the definition of an ‘‘affected
                                                                                                          based on design capacity for these two
                                                 document, in Wisconsin the court held                                                                           unit’’ as of August 4, 2023, will remain
                                                                                                          source categories in sections VI.C.1. and
                                                 that some deviation from the CAA’s                                                                              subject to the applicable FIPs, without
                                                                                                          VI.C.5. For consistency with preexisting
                                                 mandate to eliminate prohibited                                                                                 regard to any PTE limit that the
                                                                                                          requirements for engines and boilers
                                                 transport by downwind attainment                                                                                emissions unit may subsequently
                                                                                                          and to capture the sizes of units
                                                 deadlines may be allowed only ‘‘under                                                                           become subject to. Each affected unit in
                                                                                                          identified in Step 3 of our analysis, the
                                                 particular circumstances and upon a                                                                             these three industries must submit an
                                                                                                          EPA selected design capacities of 1,000
                                                 sufficient showing of necessity,’’ e.g.,                                                                        initial notification of applicability to the
                                                                                                          hp for engines and 100 mmBtu/hr for
                                                 when compliance with the statutory                                                                              EPA by December 4, 2023, that
                                                                                                          boilers. The EPA recognizes that these
                                                 mandate amounts to an impossibility.380                  applicability thresholds captured more                 identifies its PTE as of the effective date
                                                 Given these directives, the EPA cannot                   units than the EPA intended,                           of this final rule. Additionally, any
                                                 allow a covered source to avoid                          particularly some low-use units.                       owner or operator of an existing
                                                 complying with the emissions limits                      Therefore, as explained in sections                    emissions unit that is not an affected
                                                 established in this final rule unless the                VI.C.1 and VI.C.5., the EPA is                         unit as of August 4, 2023, but
                                                 source can demonstrate that compliance                   establishing exemptions for low-use                    subsequently meets the applicability
                                                 with the limit would either be                           boilers and emergency engines, as well                 criteria (e.g., due to a change in fuel use
                                                 impossible as a technical matter or                      as new emissions averaging provisions                  that increases the unit’s PTE) will
                                                 result in an extreme economic                            for engines, to ensure that this final rule            become an affected unit subject to the
                                                 hardship—i.e., exceed the high end of                    focuses on larger, more impactful units.               applicable requirements of this final
                                                 the cost-effectiveness estimates that                       The EPA also agrees with commenters                 rule at that time.
                                                 informed the EPA’s Step 3                                that the applicability criteria should                    Comment: In responding to the EPA’s
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                                                 determination of significant                             allow for sources to rely on enforceable               request for comment on whether some
                                                 contribution, as discussed in section V                  requirements that limit a source’s PTE                 non-EGU units would need to run
                                                 of this document. The criteria that must                 and is finalizing a regulatory definition              controls required by the final FIP year-
                                                   380 Wisconsin, 938 F.3d at 316 and 319–320
                                                                                                          of PTE that is generally consistent with               round, one commenter anticipated that
                                                 (noting that any such deviation must be ‘‘rooted in
                                                                                                          the definitions of that term in the EPA’s              control equipment would be operated as
                                                 Title I’s framework’’ and ‘‘provide a sufficient level   title V and NSR permit programs. See,                  necessary to achieve applicable
                                                 of protection to downwind States’’).                     e.g., 40 CFR 51.165(a)(1)(iii), 70.2. In               emissions limits, but that operational


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                                                 flexibility, cost considerations and                    performance test results collected using               Impacts, and Costs from Non-EGU
                                                 equipment longevity would warrant                       test methods that are supported by the                 Emissions Units for 2026, as described
                                                 operation of certain control equipment                  EPA’s Electronic Reporting Tool (ERT)                  in section V.B of this document.
                                                 on a schedule such that the equipment                   as listed on the ERT website 381 at the                   The EPA is also modifying certain
                                                 would not be used when unnecessary to                   time of the test be submitted in the                   provisions in response to public
                                                 meet emissions limits and/or outside of                 format generated through the use of the                comments to provide compliance
                                                 ozone season (i.e., during winter                       ERT or an electronic file consistent with              flexibilities for the Pipeline
                                                 months). The commenter further                          the XML schema on the ERT website                      Transportation of Natural Gas industry
                                                 explained that flexibility in the                       and that other performance test results                sector in order to focus emissions
                                                 operation of certain control equipment                  be submitted in portable document                      reduction efforts on the highest emitting
                                                 when unnecessary to meet emissions                      format (PDF) using the attachment                      units. Specifically, the EPA is finalizing
                                                 limits will allow for routine                           module of the ERT. Similarly, the EPA                  an exemption for emergency engines,
                                                 maintenance and repairs without                         is finalizing a requirement that                       and establishing provisions that allow
                                                 requiring variances or similar                          performance evaluation results of CEMS                 any owner or operator of an affected
                                                 exemptions from continuous operation                    measuring relative accuracy test audit                 unit to propose a Facility-Wide
                                                 requirements.                                           (RATA) pollutants that are supported by                Averaging Plan that would, if approved
                                                    Response: Based on the feedback                      the ERT at the time of the test be                     by EPA, provide an alternative means
                                                 received during the public comment                      submitted in the format generated                      for compliance with the emissions
                                                 period, the EPA is finalizing                           through the use of the ERT or an                       limits in this final rule.
                                                 requirements for non-EGU sources that                   electronic file consistent with the XML                   For purposes of this rule, the EPA is
                                                 will apply only during the ozone                        schema on the ERT website, and a                       clarifying and narrowing the definition
                                                 season, which runs annually from May                    requirement that other performance                     of ‘‘pipeline transportation of natural
                                                 to September. As discussed in the                       evaluation results be submitted in PDF                 gas’’ to mean the transport or storage of
                                                 proposed rule, this is consistent with                  using the attachment module of the                     natural gas prior to delivery to a local
                                                 EPA’s prior practice in Federal actions                 ERT. The final rule also requires that                 distribution company custody transfer
                                                 to eliminate significant contribution of                initial notifications of applicability,                station or to a final end-user (if there is
                                                 ozone in the 1998 NOX SIP Call, CAIR,                   annual compliance reports, and excess                  no local distribution company custody
                                                 CSAPR, CSAPR Update, and the                            emissions reports be submitted in PDF                  transfer station). The revised definition
                                                 Revised CSAPR Update. In addition, the                  uploaded in CEDRI.                                     of this term in § 52.41(a) is consistent
                                                 EPA did not receive any information                        Furthermore, the EPA is finalizing, as              with the EPA’s regulatory definition of
                                                 during the public comment period                        proposed, provisions that allow owners                 ‘‘natural gas transmission and storage
                                                 suggesting that sources would have to                   and operators to seek extensions of time               segment’’ in 40 CFR 60.5430(a) (subpart
                                                 run the necessary controls year-round                   to submit electronic reports due to                    OOOOa, Standards of Performance for
                                                 due to the nature of those controls. We                 circumstances beyond the control of the                Crude Oil and Natural Gas Facilities for
                                                 note, however, that certain emissions-                  owner or operator (e.g., due to a possible             Which Construction, Modification, or
                                                 control technologies, such as                           outage in CDX or CEDRI or a force                      Reconstruction Commenced After
                                                 combustion controls that are integrated                 majeure event) in the time just prior to               September 18, 2015).
                                                 into the unit itself, would likely                      a report’s due date, as well as provisions                The EPA is also adding definitions of
                                                 function to reduce NOX emissions year-                  specifying how to submit such a claim.                 the terms ‘‘local distribution company’’
                                                 round as a practical engineering matter.                Public commenters supported these                      and ‘‘local distribution company
                                                    Comment: Regarding electronic                        proposed provisions.                                   custody transfer station’’ that are
                                                 reporting through the Compliance and                       The EPA agrees with commenters that                 consistent with the definitions found in
                                                 Emissions Data Reporting Interface                      the CEDRI reporting requirements could                 40 CFR 98.400 (subpart NN, Suppliers
                                                 (CEDRI), one commenter requested that                   be centralized and has moved the CEDRI                 of Natural Gas and Natural Gas Liquids)
                                                 CEDRI reporting requirements be                         reporting requirements to 40 CFR 52.40.                and 40 CFR 60.5430(a) (subpart OOOOa,
                                                 consolidated in one location rather than                                                                       Standards of Performance for Crude Oil
                                                                                                         1. Pipeline Transportation of Natural                  and Natural Gas Facilities for Which
                                                 repeated in each section. Another
                                                 commenter requested that EPA include                    Gas                                                    Construction, Modification, or
                                                 electronic reporting requirements for                   Applicability                                          Reconstruction Commenced After
                                                 MWCs and specifically require that                         The EPA is finalizing regulatory                    September 18, 2015), respectively.
                                                 MWCs report CEMS data to CEDRI.                         requirements for the Pipeline                             Comment: Several commenters asked
                                                 Another commenter requested that EPA                    Transportation of Natural Gas industry                 EPA to exclude emergency engines in
                                                 allow for extensions of time for                                                                               the final rule and one commenter
                                                                                                         that apply to stationary, natural gas-
                                                 electronic reports due to technical                                                                            recommended that the EPA revise the
                                                                                                         fired, spark ignited reciprocating
                                                 glitches.                                                                                                      definition of affected unit to specifically
                                                                                                         internal combustion engines
                                                    Response: To increase the ease and                                                                          exempt emergency engines.
                                                                                                         (‘‘stationary SI engines’’) within these
                                                 efficiency of data submittal and data                                                                          Commenters stated that doing so would
                                                                                                         facilities that have a maximum rated
                                                 accessibility, the EPA is finalizing, as                                                                       not only be consistent with other
                                                                                                         capacity of 1,000 hp or greater. Based on
                                                 proposed, a requirement that owners                                                                            regulations applicable to stationary SI
                                                                                                         our review of the potential emissions
                                                 and operators of non-EGU sources                                                                               engines, but it would also be more
                                                                                                         from stationary SI engines, we find that
                                                 subject to the final FIPs, including                                                                           consistent with EPA’s applicability
                                                                                                         use of a maximum rated capacity of
                                                 MWCs, submit electronic copies of                                                                              analysis, which assumes stationary SI
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                                                                                                         1,000 hp reasonably approximates the
                                                 required initial notifications of                                                                              engines will operate for 7,000 hours a
                                                                                                         100 tpy PTE threshold used in the
                                                 applicability, performance test reports,                                                                       year, something emergency engines are
                                                                                                         Screening Assessment of Potential
                                                 performance evaluation reports,                                                                                prohibited from doing by Federal
                                                                                                         Emissions Reductions, Air Quality
                                                 quarterly and semi-annual reports, and                                                                         regulation. Commenters also stated that
                                                 excess emissions reports through EPA’s                    381 The ERT website is located at https://           emergency generators are currently
                                                 Central Data Exchange (CDX) using the                   www.epa.gov/electronic-reporting-air-emissions/        exempt from requirements applicable to
                                                 CEDRI. The final rule requires that                     electronic-reporting-tool-ert.                         non-emergency RICE covered by both


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                                                 the relevant NSPS rule (subpart JJJJ), as                  Comment: Several commenters raised                  use units and some units with emissions
                                                 well as the relevant NESHAP rule                        concerns about the EPA’s proposal to                   of less than 100 tons per year. However,
                                                 (subpart ZZZZ), and that although the                   establish applicability criteria for                   it is also not possible to guarantee
                                                 NSPS and NESHAP standards EPA has                       engines in Pipeline Transportation of                  without an effective emissions control
                                                 adopted for emergency RICE do not                       Natural Gas based on design capacity                   program that all such units could not
                                                 limit the amount of time they may run                   rather than PTE. Other commenters                      increase emissions in the future. As
                                                 for emergency purposes, EPA has                         asserted that the horsepower rating of an              discussed in section V of this document,
                                                 recognized in the past that states may                  engine does not necessarily correspond                 we continue to find that collectively
                                                 assume a maximum of 500 hours of                        to its annual emissions and that engines               engines with a design capacity of 1,000
                                                 operation to estimate the ‘‘potential to                with a rated capacity of more than 1,000               hp or higher in the states and industries
                                                 emit’’ in issuing air permits for                       hp in this industry sector may operate                 covered by this final rule emit
                                                 emergency RICE. One commenter                           at low load and/or infrequently and be                 substantial amounts of NOX that
                                                 asserted that emergency engines                         associated with limited NOX emissions.                 significantly contribute to downwind air
                                                 operating under other standards                         One commenter stated that most of the                  quality problems.
                                                 currently only operate for emergencies                  subject facilities in their state that have
                                                                                                                                                                   However, in response to concerns
                                                 or for a few hours at a time to                         natural gas fired SI engines with a
                                                                                                                                                                raised by commenters while continuing
                                                 periodically conduct regular                            nameplate capacity rating of 1,000 hp or
                                                                                                                                                                to ensure that this rule establishes an
                                                 maintenance, that their emissions are                   greater have annual NOX emissions less
                                                                                                                                                                effective emissions control program for
                                                 low, and that their contribution to the                 than 100 tpy, with nearly 25 percent of
                                                                                                                                                                these units that is consistent with our
                                                 ozone transport issues EPA’s proposal                   them less than 25 tpy. The commenter
                                                                                                                                                                Step 3 determinations, the EPA is
                                                 seeks to address is negligible. Another                 suggested that the 1,000 hp applicability
                                                                                                                                                                establishing a compliance alternative
                                                 commenter stated that the EPA has                       threshold would result in overcontrol.
                                                                                                                                                                using facility-wide emissions averaging,
                                                 traditionally exempted emergency                        According to one commenter, the EPA
                                                                                                                                                                which will allow facilities to prioritize
                                                 engines in past standards because the                   has overestimated the emissions rates
                                                                                                                                                                emissions reductions from larger,
                                                 EPA has typically found that the use of                 and operating hours of engines with a
                                                                                                                                                                higher-emitting units. (As previously
                                                 add-on emissions controls cannot be                     rated capacity of more than 1,000 hp
                                                                                                                                                                discussed, we are also establishing an
                                                 justified due to the cost of the                        and thus underestimated the size of
                                                                                                                                                                exemption for emergency engines,
                                                 technology relative to the emissions                    pipeline RICE that would be expected to
                                                                                                                                                                which also helps ensure that this final
                                                 reduction that would be obtained.                       emit more than 100 tpy of NOX
                                                                                                                                                                rule focuses on larger, more impactful
                                                    Response: With respect to stationary                 annually. According to this commenter,
                                                                                                                                                                units in this industry.) The facility-wide
                                                 SI emergency engines, the EPA has                       only engines much larger than 1,000 hp
                                                                                                                                                                emissions averaging alternative is
                                                 reviewed the information submitted by                   are likely to emit at the level EPA
                                                                                                                                                                explained in the following paragraphs.
                                                 the commenters and has decided to                       deemed appropriate for regulation.
                                                 exempt such engines from the                               Another commenter suggested that                    Emissions Limitations and Rationale
                                                 requirements of the final rule.                         the EPA should use a 150 ton per year
                                                 Exemption of emergency engines is                       threshold that the commenter alleges                     In developing the emissions limits for
                                                 generally consistent with the EPA’s                     was used in the Revised CSAPR Update                   the Pipeline Transportation of Natural
                                                 treatment of emergency engines in other                 rulemaking so that stationary SI engines               Gas industry, the EPA reviewed RACT
                                                 CAA rulemakings. See, e.g., 40 CFR                      are regulated on equal footing with                    NOX rules, air permits, and OTC model
                                                 63.6585(f). The EPA expects that this                   EGUs and raise the 1,000 hp threshold                  rules. While some permits and rules
                                                 change from the proposed rule                           to 2,000 hp, which according to the                    express engine emissions limits in parts
                                                 addresses the concerns expressed by the                 commenter would not sacrifice the                      per million by volume (ppmv), the
                                                 commenters about the requirements for                   emissions reductions to be achieved.                   majority of rules and source-specific
                                                 stationary emergency engines.                              Response: As explained in the                       requirements express the emissions
                                                    The final rule defines emergency                     proposal, the EPA found that most                      limits in grams per horsepower per hour
                                                 engines as engines that are stationary                  RACT requirements and other standards                  (g/hp-hr). The EPA has historically set
                                                 and operated to provide electrical power                reviewed by the EPA establish                          emissions limits for these types of
                                                 or mechanical work during an                            applicability criteria for engines based               engines using g/hp-hr and finds that
                                                 emergency situation. These engines are                  on design capacity rather than PTE. For                method appropriate for this final FIP as
                                                 typically used only a few hours per                     consistency with preexisting                           well.
                                                 year, and the costs of emissions control                requirements for engines, the EPA                        Based on the available information for
                                                 are not warranted when compared to the                  selected a design capacity of 1,000 hp                 this industry, including applicable State
                                                 emissions reductions that would be                      for engines to capture the sizes of units              and local air agency rules and active air
                                                 achieved.                                               identified in Step 3 of our analysis.                  permits issued to sources with similar
                                                    In the final rule, emergency engines                 Based on the Non-EGU Screening                         engines, the EPA is finalizing the
                                                 are subject to certain compliance                       Assessment memorandum, engines with                    following emissions limits for stationary
                                                 requirements on a continuous basis.                     a potential to emit of 100 tpy or greater              SI engines in the covered states.
                                                 Continuous compliance requirements                      had the most significant potential for                 Beginning in the 2026 ozone season and
                                                 include operating limitations that apply                NOX emissions reductions. The EPA                      in each ozone season thereafter, the
                                                 during non-emergency use but do not                     recognizes that the use of a 1,000 hp                  following emissions limits apply, based
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                                                 include emissions testing of emergency                  design capacity as part of the                         on a 30-day rolling average emissions
                                                 engines.                                                applicability criteria may capture low-                rate during the ozone season:




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                                                          TABLE VI.C–1—SUMMARY OF FINAL NOX EMISSIONS LIMITS FOR PIPELINE TRANSPORTATION OF NATURAL GAS
                                                                                                                                                                                                                                   Final NOX
                                                                                                                         Engine type and fuel                                                                                    emissions limit
                                                                                                                                                                                                                                    (g/hp-hr)

                                                 Natural Gas Fired Four Stroke Rich Burn .....................................................................................................................................                1.0
                                                 Natural Gas Fired Four Stroke Lean Burn ....................................................................................................................................                 1.5
                                                 Natural Gas Fired Two Stroke Lean Burn .....................................................................................................................................                 3.0



                                                    The EPA anticipates that, in some                                appropriate for four stroke lean burn                                provisions and criteria for establishing
                                                 cases, affected engines will need to                                engines.                                                             case-by-case alternative emissions limits
                                                 install NOX controls to comply with the                                Comment: One commenter stated that                                in response to the concerns raised by
                                                 final emissions limits in Table VI.C–1.                             the limits as proposed were not                                      commenters. NSCR can achieve NOX
                                                 The emissions limits for four stroke rich                           technically feasible in all circumstances.                           reductions of 90 to 99 percent, and
                                                 burn engines, four stroke lean burn                                 The commenter explained that its                                     engines in California, Colorado,
                                                 engines and two stroke lean burn                                    company has 150 four stroke rich burn                                Pennsylvania and Texas have achieved
                                                 engines are designed to be achievable by                            engines in its fleet and that some of                                the emissions limits that the EPA had
                                                 installing Non-Selective Catalytic                                  those engines cannot achieve the                                     proposed. Based on this information
                                                 Reduction (NSCR) on existing four                                   proposed 1.0 g/hp-hr limit even with                                 and the emissions limits and NOX
                                                 stroke rich burn engines; installing SCR                            both NSCR and layered combustion due                                 controls analysis developed by the OTC
                                                 on existing four stroke lean burn                                   to the vintage design of the individual                              in a report entitled Technical
                                                 engines; and retrofitting layer                                     cylinder geometry and the fact that most                             Information Oil and Gas Sector
                                                 combustion on existing two stroke lean                              of these engines are not in production                               Significant Stationary Sources of NOX
                                                 burn engines as identified in the Final                             today, which limits availability of parts                            Emissions (October 17, 2012), the EPA
                                                 Non-EGU Sectors TSD. Sources have the                               and retrofit technologies. The                                       is finalizing a 1.0 g/hp-hr emissions
                                                 flexibility to install any other control                            commenter asserted that 10 of its four                               limit for four stroke rich burn engines
                                                 technologies that enable the affected                               stroke rich burn engines have all                                    and a 1.5 g/hp-hr emissions limit for
                                                 units to meet the applicable emissions                              available controls on them and half of                               four stroke lean burn engines. The Final
                                                 limit on a continuous basis.                                        those still exceed the proposed limits.                              Non-EGU Sectors TSD provides a more
                                                    The EPA is establishing provisions                               The commenter estimated that 10 of its                               detailed explanation of the basis for
                                                 that allow any owner or operator of an                              four stroke lean burn engines would                                  these emissions limits.
                                                 affected unit in the Pipeline                                       require SCR to meet the 1.5 g/hp-hr                                     To address the concerns raised by
                                                 Transportation of Natural Gas Industry                              limit and that this control installation                             some commenters that not all engines
                                                 to propose a Facility-Wide Averaging                                would require custom retrofit due to the                             may be able to achieve the emissions
                                                 Plan that would, if approved by EPA,                                age of these engines. Furthermore, the                               limits as proposed due to engine vintage
                                                 provide an alternative means for                                    commenter stated that if current limits                              and technical constraints, the final rule
                                                 compliance with the emissions limits in                             are not achievable in all circumstances,                             allows any owner or operator of an
                                                 this final rule. These provisions will                              then lower limits are likewise                                       affected unit to request a Facility-Wide
                                                 provide some flexibility to owners and                              impossible for four stroke rich burn                                 Averaging Plan that would, if approved
                                                 operators of affected units to determine                            engines and four stroke lean burn                                    by EPA, provide an alternative means
                                                 which engines to control and at what                                engines in even more circumstances.                                  for compliance with the emissions
                                                 level, so long as the average emissions                             The commenter stated that the technical                              limits in the final rule. An approved
                                                 across all covered units, on a weighted                             feasibility of installing controls on any                            Facility-Wide Averaging Plan would
                                                 basis, meet the applicable emissions                                single existing engine varies and                                    allow the owner or operator of the
                                                 limits for each engine type. This                                   depends, in part, on site-specific and                               facility to identify the most cost-
                                                 approach allows facilities to target the                            engine-specific considerations such as                               effective means for installing the
                                                 most cost-effective emissions reductions                            space for the installation of the control,                           necessary controls (i.e., by installing
                                                 and to avoid installing controls on                                 the availability of sufficient power, the                            controls on the subset of engines that
                                                 equipment that is infrequently operated.                            emissions reductions required to meet                                provide the greatest emissions reduction
                                                                                                                     the applicable standards, and the                                    potential at lowest costs). In addition to
                                                    We provide a more detailed                                       vintage, make, and model of a particular                             the Facility-Wide Averaging Plan
                                                 discussion of the basis for the final                               engine. Another commenter                                            provisions, the final rule allows owners
                                                 emissions limits and the anticipated                                recommended tightening the proposed                                  and operators to seek EPA approval of
                                                 control technologies to be installed in                             emissions standards for four stroke lean                             alternative emissions limits, on a case-
                                                 the Final Non-EGU Sectors TSD.                                      burn engines to an emissions limit                                   by-case basis, where necessary due to
                                                 Four Stroke Rich Burn and Four Stroke                               similar to Colorado’s limit of 1.2 g/hp-                             technical impossibility or to avoid
                                                 Lean Burn Engines                                                   hr. A third commenter noted that the                                 extreme economic hardship. The
                                                                                                                     District of Columbia Department of                                   provisions governing case-by-case
                                                   The EPA requested comment on                                      Energy and Environment has NOX                                       alternative limits are explained in more
                                                 whether a lower emissions limit is
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                                                                                                                     emissions limits for both rich- and lean                             detail in section VI.C of this document.
                                                 appropriate for four stroke rich burn                               burn engines burning natural gas at 0.7
                                                 engines since even an assumed                                       g/hp-hr.                                                             Two Stroke Lean Burn Engines
                                                 reduction of 95 percent would result in                                Response: The EPA is finalizing the                                 The EPA requested comment on
                                                 most engines being able to achieve an                               emissions limits for both four stroke                                whether a lower emissions limit would
                                                 emissions rate of 0.5 g/hp-hr. The EPA                              rich burn engines and four stroke lean                               be achievable with layered combustion
                                                 also requested comment on whether a                                 burn engines as proposed but also                                    alone for the two stroke lean burn
                                                 lower or higher emissions limit is                                  establishing alternative compliance                                  engines covered by this final rule. The


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                                                 EPA also sought comment on whether                      that a 3.0 g/hp-hr emissions limit                     installation of controls on equipment
                                                 these engines could install additional                  generally reflects a level of control that             that is infrequently operated or
                                                 control technology at or below the                      is cost-effective for the majority of the              otherwise less cost-effective to control).
                                                 marginal cost threshold to achieve a                    affected units and sufficient to achieve               So long as all of the emissions units
                                                 lower emissions rate.                                   the necessary emissions reductions. As                 covered by the Facility-Wide Averaging
                                                    Comment: Commenters did not                          explained in the proposed rule and                     Plan collectively emit less than or equal
                                                 specifically address whether a lower                    expressed by public commenters, if the                 to the total amount of NOX emissions (in
                                                 emissions limit would be achievable                     EPA were to establish an emissions                     tons per day) that would be emitted if
                                                 with layered combustion alone at two                    limit lower than 3.0 g/hp-hr, some two                 each covered unit individually met the
                                                 stroke lean burn engines. However, one                  stroke lean burn engines would not be                  applicable NOX emissions limitations,
                                                 commenter stated that older two stroke                  able to meet the emissions limit with                  the covered units will be in compliance
                                                 lean burn engines generally would not                   the installation of layered combustion                 with the final rule. Under this
                                                 be able to achieve the proposed NOX                     control alone. In that case, the lower                 alternative compliance option, facilities
                                                 emissions limits. The commenter stated                  limit might require the installation of                have the flexibility to prioritize
                                                 that conversion kits are available for                  SCR, which the EPA did not find to be                  emissions reductions from larger, dirtier
                                                 several models that can reduce                          cost-effective for two stroke lean burn                engines.
                                                 emissions but that such kits are not                    engines in its Step 3 analysis.382 The                    Comment: Several commenters
                                                 made for all models, especially older                   Final Non-EGU Sectors TSD provides a                   recommended that the EPA promulgate
                                                 stationary engines. Commenters further                  more detailed explanation of the basis                 emissions averaging provisions, as it did
                                                 stated that where conversion kits are not               for this emissions limit.                              in the 2004 NOX SIP Call Phase 2 rule
                                                 available, a company would likely have                     In response to commenters’ concerns                 (69 FR 21604), in which the EPA
                                                 no choice but to replace the older four                 about the difficulties involved in                     evaluated and supported reliance on
                                                 stroke or two stroke stationary engines,                retrofitting or replacing older stationary             emissions averaging for RICE in the
                                                 typically at a cost of $2 million to $4                 engines to achieve the EPA’s proposed                  Pipeline Transportation of Natural Gas
                                                 million each.                                           emissions limit, the final rule allows                 industry sector. The commenter stated
                                                    Two commenters stated that they are                  any owner or operator of an affected                   that the EPA’s guidance to states on
                                                 required by their state agency to have                  unit to request a Facility-Wide                        developing an appropriate SIP in
                                                 RACT, BACT, or BART controls, at                        Averaging Plan that would, if approved                 response to the SIP Call provided
                                                 minimum. Commenters stated that                         by EPA, provide an alternative means                   companies the ‘‘flexibility’’ to use a
                                                 requiring additional controls at facilities             for compliance with the emissions                      number of control options, as long as
                                                 already equipped with RACT, BACT or                     limits in the final rule. In addition to the           the collective result achieved the
                                                 BART control technologies would not                     Facility-Wide Averaging Plan                           required NOX reductions, and that many
                                                 achieve the anticipated emissions                                                                              states built their revised SIPs around the
                                                                                                         provisions, the final rule allows owners
                                                 reductions due to operational factors                                                                          emissions averaging approach addressed
                                                                                                         and operators to seek EPA approval of
                                                 inherent in the preexisting and pre-                                                                           in this guidance document.383 One
                                                                                                         alternative emissions limits, on a case-
                                                 controlled equipment and that the                                                                              commenter recommended that the EPA
                                                                                                         by-case basis, where necessary due to
                                                 achievability of targeted control levels is                                                                    allow intra-state emissions averaging
                                                                                                         technical impossibility or to avoid
                                                 highly dependent upon a number of                                                                              across all pipeline RICE owned or
                                                                                                         extreme economic hardship. However,
                                                 variables at each facility.                                                                                    operated by the same company. Another
                                                    Another commenter suggested that                     in the context of older or ‘‘vintage,’’
                                                                                                                                                                commenter asserted that units of certain
                                                 the EPA set lower limits for two stroke                 high-emitting engines in this industry
                                                                                                                                                                vintages and units from certain
                                                 lean burn engines similar to the OTC-                   for which commenters claim emissions
                                                                                                                                                                manufacturers will not be able to meet
                                                 recommended limits in the range of 1.5–                 control technology retrofit is not
                                                                                                                                                                the emissions rate limits the EPA had
                                                 2.0 g/hp-hr.                                            feasible, the Agency anticipates taking
                                                                                                                                                                proposed. The commenter claimed that,
                                                    Response: Information currently                      into consideration the cost associated
                                                                                                                                                                absent a system based on source-specific
                                                 available to the EPA indicates that the                 with alternative compliance strategies,
                                                                                                                                                                emissions limits, emissions averaging is
                                                 amount of emissions reductions                          such as replacement with new, far more
                                                                                                                                                                one of the only practical mechanisms
                                                 achievable with layered combustion                      efficient and less polluting engines, in
                                                                                                                                                                for addressing these challenges.
                                                 controls is unit specific and can range                 evaluating claims of extreme economic
                                                                                                                                                                   One commenter stated that it had
                                                 from a 60 to 90 percent reduction in                    hardship.
                                                                                                                                                                evaluated the cost of controls for
                                                 NOX emissions. The EPA estimates that                   Facility-Wide Averaging Plan                           engines in its fleet and that the variety
                                                 existing uncontrolled two stroke lean                                                                          in cost-per-ton for each potential project
                                                 burn engines would need to reduce                         The EPA is finalizing regulatory text
                                                                                                         that provides for an emissions limit                   counsels for a more flexible approach,
                                                 emissions by up to 80 percent to comply                                                                        like an averaging program. Another
                                                 with a 3.0 g/hp-hr emissions limit. The                 compliance alternative using facility-
                                                                                                         level emissions averaging. An approved                 commenter advocated for an emissions
                                                 EPA has found that engines in                                                                                  averaging plan that would allow an
                                                 California, Colorado, Pennsylvania and                  Facility-Wide Averaging Plan will allow
                                                                                                         the owner or operator of the facility to               engine-by-engine showing of economic
                                                 Texas have achieved these emissions                                                                            infeasibility to ensure a cost-effective
                                                 rates. Based on this information and the                average emissions across all
                                                                                                         participating units and thus to select the             application of the emissions standards,
                                                 emissions limits and NOX controls                                                                              a reduced impact on natural gas
                                                 analysis developed by the OTC in a                      most cost-effective means for installing
                                                                                                         the necessary controls (i.e., by installing            capacity, and a means for addressing the
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                                                 report entitled Technical Information                                                                          problem presented by achieving
                                                 Oil and Gas Sector Significant                          controls on the subset of engines that
                                                 Stationary Sources of NOX Emissions                     provide the greatest emissions reduction                 383 The commenter refers to an August 22, 2002

                                                 (October 17, 2012), the EPA is finalizing               potential at lowest costs and avoiding                 memorandum from Lydia N. Wegman, Director,
                                                 a 3.0 g/hp-hr emissions limit for two                                                                          EPA, Air Quality Strategies and Standards Division
                                                                                                            382 87 FR 20036, 20143 (noting that an emissions    to EPA Air Division Directors, entitled ‘‘State
                                                 stroke lean burn engines. Although                      limit below 3.0 g/hp-hr may require some two           Implementation Plan (SIP) Call for Reducing
                                                 some affected units may be able to                      stroke lean burn engines to install additional         Nitrogen Oxides (NOX)—Stationary Reciprocating
                                                 achieve a lower emissions rate, we find                 controls beyond the EPA’s cost threshold).             Internal Combustion Engines.’’



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                                                 compliance on engines that are                            Wide Averaging Plan provisions, and                   emissions control installations for
                                                 technically impossible to retrofit.                       the number of affected units that would               certain stationary SI engines, by
                                                    One commenter stated that the EPA                      install controls under such an emissions              allowing facility owners and operators
                                                 should also consider allowing                             averaging plan, the EPA conducted an                  to average emissions across all
                                                 companies to choose a mass-based                          analysis on a subset of the estimated                 participating units and thus to select the
                                                 alternative that would ensure emissions                   3,005 stationary IC engines subject to                most cost-effective means for installing
                                                 reductions align with the tons per year                   the final rule. The EPA evaluated the                 the necessary controls (i.e., by installing
                                                 reductions upon which the EPA based                       reported actual NOX emissions data in                 controls on the subset of engines that
                                                 its significant contribution and over-                    tpy from a subset of facilities in the                provide the greatest emissions reduction
                                                 control analyses.                                         covered states using 2019 NEI data for                potential at lowest costs and avoiding
                                                    Response: Based upon the EPA’s 2019                    stationary IC engines with design                     installation of controls on equipment
                                                 NEI emissions inventory data, the EPA                     capacities of 1,000 hp or greater. The                that is infrequently operated or
                                                 estimates that a total of 3,005 stationary                EPA then identified a number of                       otherwise less cost-effective to control).
                                                 SI engines are subject to the final rule.                 facilities that have more than one                       An owner or operator of a facility
                                                 The EPA recognizes that many low-use                      affected engine, calculated each                      containing more than one affected unit
                                                 engines are captured by the 1,000 hp                      facility’s emissions ‘‘cap’’ as the total             may elect to use an EPA-approved
                                                 design capacity applicability threshold.                  NOX emissions (in tpy) allowed facility-              Facility-Wide Averaging Plan as an
                                                 In the process of reviewing public                        wide based on the unit-specific NOX                   alternative means of compliance with
                                                 comments, the EPA reviewed emissions                      emissions limits applicable to all                    the NOX emissions limits in § 52.41(c).
                                                 averaging plans found in state air                        affected units at the facility, and                   The owner or operator of such a facility
                                                 quality rules for Colorado, Illinois,                     identified a number of higher-emitting                must submit a request to the EPA that,
                                                 Louisiana, New Jersey, and                                engines at each facility that were                    among other things, specifies the
                                                 Tennessee.384 Based on these additional                   candidates for having controls installed.             affected units that will be covered by
                                                 reviews, the EPA is finalizing in                         For engines that EPA identified were                  the plan, provides facility and unit-level
                                                 § 52.41(c) of this final rule an emissions                likely to install controls, the EPA                   identification information, identifies the
                                                 limit compliance alternative using                        assumed that four stroke rich burn                    facility-wide emissions ‘‘cap’’ (in tpd)
                                                 facility-level emissions averaging.                       engines, four stroke lean burn engines,               that the facility must comply with on a
                                                 Emissions averaging plans will allow                      and two stroke lean burn engines could                30-day rolling average basis, and
                                                 facility owners and operators to                          achieve a NOX emissions rate of 0.5 g/                provides the calculation methodology
                                                 determine how to best achieve the                         hp-hr with the installation of SCR based              used to demonstrate compliance with
                                                 necessary emissions reductions by                         on data obtained from the Ozone                       the identified emissions cap. The EPA
                                                 installing controls on the affected                       Transport Commission report entitled                  will approve a request for a Facility-
                                                 engines with the greatest emissions                       Technical Information Oil and Gas                     Wide Averaging Plan if the EPA
                                                 reduction potential rather than on units                  Sector Significant Stationary Sources of              determines that the facility-wide
                                                 with lower actual emissions where the                     NOX Emissions (October 17, 2012). For                 emissions total (in tpd), based on a 30-
                                                 installation of controls would be less                    the remaining engines identified as                   day rolling emissions average basis
                                                 cost effective. The final rule defines                    uncontrolled, the EPA assumed a NOX                   during the ozone season, is less than the
                                                 ‘‘facility’’ consistent with the definition               emissions rate of 16 g/hp-hr for all                  emissions cap (in tpd) and the plan
                                                 of this term as it generally applies in the               engine types. Thus, under the assumed                 establishes satisfactory means for
                                                 EPA’s NSR and title V permitting                          averaging scenarios, engines with                     determining initial and continuous
                                                 regulations,385 with one addition to                      controls installed would achieve                      compliance, including appropriate
                                                 make clear that, for purposes of this                     emissions levels below the emissions                  testing, monitoring, and recordkeeping
                                                 final rule, a ‘‘facility’’ may not extend                 limits in the final rule and would offset             requirements.
                                                 beyond the boundaries of the 20 states                    the higher emissions from the remaining               Compliance Assurance Requirements
                                                 covered by the FIP for industrial                         uncontrolled units.
                                                 sources, as identified in § 52.40(b)(2).                     The EPA then calculated the total                    The EPA is requiring owners and
                                                 Because a facility cannot extend beyond                   facility-wide emissions (in tpy) under                operators of affected units to conduct
                                                 this geographic area, a Facility-Wide                     various assumed averaging scenarios                   annual performance tests in accordance
                                                 Averaging Plan also cannot extend                         and compared those totals to each                     with 40 CFR 60.8 to demonstrate
                                                 beyond the 20-state area covered by the                   facility’s calculated emissions cap (in               compliance with the NOX emissions
                                                 FIP.                                                      tpy) to estimate the number of affected               limit in this final rule. The EPA is also
                                                    To estimate the number of facilities                   units at each facility that would need to             requiring owners and operators to
                                                 that may take advantage of the Facility-                  install controls to ensure that total                 monitor and record hours of operation
                                                                                                           facility-wide emissions remained below                and fuel consumption and to use
                                                    384 See Code of Colorado Regulations, Regulation       the emissions cap. Based on these                     continuous parametric monitoring
                                                 Number 7 (5 CCR 1001–9), Part E, Section I.D.5.c.,        analyses, the EPA found that emissions                systems to demonstrate ongoing
                                                 Illinois Administrative Code, Title 35, Section           averaging should allow most facilities to             compliance with the applicable NOX
                                                 217.390, Louisiana Administrative Code, Title 33,                                                               emissions limit. For example, owners
                                                 Section 2201, New Jersey Administrative Code,             install controls on approximately one-
                                                 Title 7, Chapter 27, Section 19.6, and Rules of the       third of the engines at their sites, on               and operators of engines that utilize
                                                 Tennessee Dept. of Environment and Conservation,          average, while complying with the                     layered combustion controls will need
                                                 Rule 1200–03–27–.09.                                      applicable NOX emissions cap on a                     to monitor and record temperature, air
                                                    385 See 40 CFR 51.165(a)(1)(ii)(A), 51.166(b)(6)(i),
                                                                                                                                                                 to fuel ratio, and other parameters as
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                                                                                                           facility-wide basis. For a more detailed
                                                 and 52.21(b)(6)(i) (defining ‘‘building, structure,
                                                 facility, or installation’’ for Nonattainment New         discussion of the EPA’s analysis and                  appropriate to ensure that combustion
                                                 Source Review and Prevention of Significant               related assumptions, see the Final Non-               conditions are optimized to reduce NOX
                                                 Deterioration permits) and Natural Resources              EGU Sectors TSD.                                      emissions and assure compliance with
                                                 Defense Council v. EPA, 725 F.2d 761 (D.C. Cir.              The Facility-Wide Averaging Plan                   the emissions limit. For engines using
                                                 1984) (vacating and remanding EPA’s categorial
                                                 exclusion of vessel activities from this definition);
                                                                                                           provisions that the EPA is finalizing                 SCR or NSCR, owners and operators
                                                 see also 40 CFR 70.2 (defining ‘‘major source’’ for       provide the flexibility needed to address             must monitor and record parameters
                                                 title V operating permits).                               the concerns about the costs of                       such as inlet temperature to the catalyst


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                                                 and pressure drop across the catalyst.                  EPA is revising the frequency of                       units in the Pipeline Transportation of
                                                 For affected engines that meet the                      required performance tests from a semi-                Natural Gas industry and agrees that it
                                                 certification requirements of                           annual basis to once per calendar year.                is not necessary to require CEMS for
                                                 § 60.4243(a), however, the facility-wide                As commenters correctly pointed out,                   purposes of compliance with the
                                                 emissions calculations may be based on                  the emissions limits in these final FIPs               requirements of this final rule for this
                                                 certified engine emissions standards                    only apply during the 5-month ozone                    industry. Accordingly, the EPA is not
                                                 data pursuant to § 60.4243(a), instead of               season and testing once per calendar                   finalizing requirements for affected
                                                 performance tests.                                      year should be sufficient to confirm the               units in this industry sector to install or
                                                    In calculating the facility-wide                     accuracy of the parameters being                       operate CEMS. Instead, the EPA is
                                                 emissions total during the ozone season,                monitored to determine continuous                      requiring parametric monitoring
                                                 affected engines covered by the Facility-               compliance during the ozone season.                    protocols, as described earlier, coupled
                                                 Wide Averaging Plan must be identified                  The EPA also agrees with commenters                    with an annual performance test, which
                                                 by each engine’s nameplate capacity in                  that the annual tests required under the               will ensure that the emissions limits are
                                                 horsepower, its actual operating hours                  final rule need not occur during the                   legally and practically enforceable on a
                                                 during the ozone season, and its                        ozone season. However, where sources                   continuous basis, and that data are
                                                 emissions rates in g/hp-hr from certified               are able to do so, we recommend                        recorded, reported, and can be made
                                                 engine data or from the most recent                     conducting a stack test in the period                  publicly available, ensuring the ability
                                                 performance test results for non-                       relatively soon before the start of the                of state and Federal regulators and other
                                                 certified engines according to § 52.41(e).              ozone season. This would provide the                   persons under CAA sections 113 and
                                                    Comment: Several commenters stated                   greatest assurance that the emissions                  304 to enforce the requirements of the
                                                 that semi-annual performance testing                    control systems are working as intended                Act.
                                                 would not be appropriate due to its high                and the applicable emissions limit will
                                                                                                                                                                2. Cement and Concrete Product
                                                 costs and limited benefits. One                         be met when the ozone season starts.
                                                                                                                                                                Manufacturing
                                                 commenter proposed a ‘‘step-down’’                         Comment: Commenters generally
                                                 testing alternative that could be                       stated that requiring CEMS would add                   Applicability
                                                 conducted after establishing an engine’s                an unnecessary cost and complexity,
                                                 initial compliance via performance                      would provide no emissions reduction                     For cement kilns in the Cement and
                                                 testing. Under this approach, owners                    benefit for the affected units the                     Cement Product Manufacturing
                                                 and operators would conduct one                         proposed FIP intends to control and are                industry, the EPA is finalizing the
                                                 performance test and would only need                    not warranted due to the availability of               proposed applicability provisions
                                                 to conduct a second performance test                    other established methods of                           without change. The affected units in
                                                 within a given year if the first                        compliance assurance, such as                          this industry are cement kilns that emit
                                                 performance test demonstrated that an                   parametric monitoring and periodic                     or have a PTE of 100 tpy or more of
                                                 engine was not meeting the applicable                   testing. One commenter stated that                     NOX. The EPA received comments
                                                 emissions standards.                                    requiring CEMS would add unnecessary                   regarding the definition of PTE, which
                                                    Another commenter asserted that to                   CEMS testing obligations. Another                      we address in section VI.C, but no
                                                 test all of its 950 units, a minimum of                 commenter stated that the costs                        comments concerning the 100 tpy PTE
                                                 12 months would be needed rather than                   associated with CEMS and frequent                      threshold for applicability purposes.
                                                 the six months the EPA had proposed to                  performance testing on affected RICE                   Emissions Limitations and Rationale
                                                 provide (or five months if the EPA                      would be as much, if not more, than the
                                                 would require one of the semi-annual                    costs associated with installation and                    As explained in the proposal, the EPA
                                                 tests to be conducted during the ozone                  operation of some of the control                       based the proposed emissions limits for
                                                 season). The commenter stated that the                  technologies EPA has considered in                     cement kilns on the types of limits being
                                                 EPA had accounted for these                             setting the proposed emissions limits.                 met across the nation in RACT NOX
                                                 operational realities in the past and that              According to one commenter, the EPA                    rules, NSPS, air permits, and consent
                                                 under the NSPS and NESHAP, testing is                   has traditionally agreed with this                     decrees. Based on these requirements,
                                                 generally required only once for every                  viewpoint on the high cost of CEMS, as                 the EPA proposed emissions limits in
                                                 8,760 hours of run time. The commenter                  most stationary engines are not                        the form of mass of pollutant emitted (in
                                                 asserted that there is no reason to                     currently required under the NSPS or                   pounds) per kiln’s clinker output (in
                                                 require more frequent testing than those                NESHAP to install or operate CEMS.                     tons), i.e., pounds of NOX emitted per
                                                 required under the NSPS and NESHAP.                        Another commenter stated that in                    ton of clinker produced during a 30-
                                                    Several commenters requested that                    addition to cost, there are other barriers             operating day rolling average period.
                                                 the EPA allow for reduction in the                      to installing CEMS on RICE across the                  Further, the EPA proposed specific
                                                 frequency of testing to once every two                  Pipeline Transportation of Natural Gas                 emissions limits for long wet, long dry,
                                                 years if testing shows that NOX                         industry. Many RICE in the Pipeline                    preheater, precalciner, and combined
                                                 emissions are no more than 75 percent                   Transportation of Natural Gas industry                 preheater/precalciner kilns. The EPA
                                                 of permitted NOX emissions limits. In                   are located at remote, unstaffed                       also proposed a daily source cap limit
                                                 addition, several commenters stated that                locations, meaning that there would be                 that would apply to all units at a
                                                 since the rule is intended to address the               no staff available to respond and react                facility. Based on information received
                                                 ozone season, a single, annual test is                  to communication or alarms from                        from public comments, the EPA is
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                                                 more feasible than semi-annual testing                  CEMS.                                                  removing the daily source cap limit but
                                                 and reporting.                                             Response: The EPA acknowledges the                  finalizing the emissions limits as
                                                    Response: For the stationary SI                      costs associated with the installation                 proposed in all other respects, as shown
                                                 engines subject to this final rule, the                 and maintenance of CEMS at affected                    in Table VI.C–2.




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                                                            TABLE VI.C–2—SUMMARY OF NOX EMISSIONS LIMITS FOR KILN TYPES IN CEMENT AND CONCRETE PRODUCT
                                                                                                 MANUFACTURING
                                                                                                                                                                                                                                             NOX emissions limit
                                                                                                                                      Kiln type                                                                                               (lb/ton of clinker)

                                                 Long Wet ...............................................................................................................................................................................                      4.0
                                                 Long Dry ................................................................................................................................................................................                     3.0
                                                 Preheater ...............................................................................................................................................................................                     3.8
                                                 Precalciner .............................................................................................................................................................................                     2.3
                                                 Preheater/Precalciner ............................................................................................................................................................                            2.8



                                                   Comment: Numerous commenters                                              ozone season emissions limits for                                           sources is provided in section VI.A.
                                                 raised concerns about designing a                                           individual kiln types listed in Table                                       Regarding the comment that certain
                                                 source cap limit based on average                                           VI.C–2 will achieve the necessary                                           facilities may already have SNCR
                                                 annual production in tons of clinker and                                    emissions reductions for purposes of                                        control technology installed, we
                                                 kiln type. Commenters stated that the                                       eliminating significant contribution as                                     recognize that many sources throughout
                                                 source cap limit equation as used in a                                      defined in section V and is, therefore,                                     the EGU sector and non-EGU industries
                                                 prior action applied to long wet and dry                                    finalizing these emissions limitations                                      covered by this rule may already be
                                                 preheater-precalciner or precalciner                                        without change.                                                             achieving enforceable emissions
                                                 kilns and did not include other kiln                                           Comment: One commenter supported                                         performance commensurate with the
                                                 types. Commenters expressed concern                                         retirement of existing long wet kilns and                                   requirements of this action. This is
                                                 that the CAP2015 Ozone Transport                                            replacement of these kilns with modern
                                                                                                                                                                                                         entirely consistent with the logic of our
                                                 equation the EPA proposed in this rule                                      kilns. Other commenters opposed the
                                                 could lead to artificially low and                                                                                                                      4-step interstate transport framework,
                                                                                                                             phase out and retiring of these kilns,
                                                 restrictive daily emissions caps for                                        stating that many of the screened kilns                                     which is designed to bring all covered
                                                 facilities that experienced a temporary                                     have SNCR already installed and                                             sources within the region of linked
                                                 decrease in production due to the                                           questioning whether replacement of                                          upwind states up to a uniform level of
                                                 COVID–19 pandemic, during the                                               existing long wet kilns is cost-effective.                                  NOX emissions performance during the
                                                 historical three-year period proposed for                                   Some commenters also stated that                                            ozone season. See EME Homer City, 572
                                                 use in determining the NOX source cap.                                      according to EPA’s ‘‘NOX Control                                            U.S. at 519. Sources that are already
                                                 Also, commenters expressed concern                                          Technologies for the Cement Industry,                                       achieving that level of performance will
                                                 that the proposed daily emissions cap                                       Final Report,’’ SNCR is not an                                              face relatively limited compliance costs
                                                 limit originated as a local or regional                                     appropriate NOX control technique for                                       associated with this rule.
                                                 limit for a single county and would not                                     long wet kilns.
                                                 be appropriate for national application                                                                                                                 Compliance Assurance Requirements
                                                                                                                                Response: The EPA appreciates the
                                                 without further evaluation taking into                                      challenges identified by commenters,                                           The EPA received no comments on
                                                 account the specific characteristics of                                     such as site-specific technical                                             the proposed test methods and
                                                 cement kilns in other states. One                                           evaluation and review and significant                                       procedures provisions for the cement
                                                 commenter suggested more stringent                                          capital investment associated with                                          industry. Therefore, we are finalizing
                                                 emissions limits than those the EPA had                                     undertaking kiln conversions or to                                          the proposed test methods and
                                                 proposed for individual kiln types.                                         install new kilns and is not finalizing
                                                   Response: The EPA is not finalizing                                                                                                                   procedures for affected cement kilns
                                                                                                                             any requirements to replace existing
                                                 the proposed daily source cap limit as                                                                                                                  without change.
                                                                                                                             long wet kilns in this rule.
                                                 the Agency agrees with the commenters                                          Comment: Several commenters                                                 Comment: Commenters generally
                                                 that this proposed limit would be                                           expressed concern about the supply                                          supported requiring performance testing
                                                 unnecessarily restrictive and was based                                     chain issues relevant to the                                                or installation of CEMS on affected
                                                 on a formula that did not include all                                       procurement, design, construction, and                                      cement kilns. Some commenters
                                                 kiln types. Given the unusual reduction                                     installation of control devices, as well as                                 suggested that no performance testing
                                                 in cement production activities due to                                      securing related contracts, for the                                         should be required and others suggested
                                                 the COVID–19 pandemic, production                                           cement industry, particularly when                                          that performance testing should only be
                                                 rates during the 2019–2021 period are                                       cement sources will be competing with                                       required when a title V permit is due for
                                                 not representative of cement plants                                         the EGU and other industrial sectors for                                    renewal (every 5 years). One commenter
                                                 activities generally. Accordingly, use of                                   similar services. One commenter stated                                      suggested requiring sources to conduct
                                                 the proposed daily source cap limit                                         that many preheater/precalciner kilns                                       stack tests during the ozone season.
                                                 would result in an artificially restrictive                                 are already equipped with SNCR and
                                                 NOX emissions limit for affected cement                                     that one facility not equipped with                                            Response: Affected kilns that operate
                                                 kilns, particularly when this sector                                        SNCR is already meeting NOX emissions                                       a NOX CEMS may use CEMS data
                                                 operates longer hours during the spring                                     levels of 1.95 lb/ton of clinker or less.                                   consistent with the requirements of 40
                                                 and summer construction season. With                                        The commenter stated that the EPA                                           CFR 60.13 in lieu of performance tests
                                                                                                                                                                                                         to demonstrate compliance with the
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                                                 respect to those comments supporting                                        should revise its assessment of potential
                                                 more stringent emissions limits than                                        NOX reductions and cost estimates by                                        requirements of this final rule. For
                                                 those the EPA proposed for individual                                       accurately accounting for existing                                          affected kilns subject to this final rule
                                                 kiln types, we disagree given the                                           operating efficiencies and control                                          that do not employ NOX CEMS, the EPA
                                                 significant differences among different                                     devices at cement kilns.                                                    is adjusting the performance testing
                                                 kilns in design, configuration, age, fuel                                      Response: The EPA’s response to                                          frequency and requiring kilns to
                                                 capabilities, and raw material                                              comments on the time needed for                                             conduct a performance test on an
                                                 composition. The EPA finds that the                                         installation of controls for non-EGU                                        annual basis during a given calendar


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                                                 year.386 The EPA finds that annual                      tpy or more of NOX. After review of all                 furnaces (oxy-fuel burners), and many
                                                 performance testing and recordkeeping                   available information received during                   other examples at refineries and other
                                                 of cement production and fuel                           public comment, the EPA has                             large industrial facilities. The EPA
                                                 consumption during the ozone season                     determined that there is sufficient                     anticipates that with adequate time,
                                                 will assure compliance with the                         information to determine that low-NOX                   modeling, and optimization efforts, such
                                                 emissions limits during the ozone                       burners can be installed on reheat                      NOX reduction technology may be
                                                 season (May through September) each                     furnaces. As explained further in the                   achievable and cost-effective for these
                                                 year for purposes of this rule. The                     Final Non-EGU Sectors TSD, the EPA                      emissions units in the Iron and Steel
                                                 required annual performance test may                    identified 32 reheat furnaces with low-                 Mills and Ferroalloy Manufacturing
                                                 be performed at any time during the                     NOX burners installed and has                           sector as well. However, the data we
                                                 calendar year. However, where sources                   concluded that low-NOX burners are a                    have reviewed is insufficient at this
                                                 are able to do so, we recommend                         readily available and widely                            time to support a generalized
                                                 conducting a stack test in the period                   implemented emissions reduction                         conclusion that the application of NOX
                                                 relatively soon before the start of the                 strategy.387 This rule defines reheat                   controls, including SCR or other NOX
                                                 ozone season. This would provide the                    furnaces to include all furnaces used to                control technologies such as LNB, is
                                                 greatest assurance that the emissions                   heat steel product—metal ingots, billets,               currently both technically feasible and
                                                 control systems are working as intended                 slabs, beams, blooms and other similar                  cost effective on a fleetwide basis for
                                                 and the applicable emissions limit will                 products—to temperatures at which it                    these emission source types in this
                                                 be met when the ozone season starts.                    will be suitable for deformation and                    industry. We provide a more detailed
                                                    Comment: One commenter stated that                   further processing.                                     discussion of the economic and
                                                 CEMS has been used successfully at its                     Comment: Several industry                            technical issues associated with
                                                 facility. Another commenter explained                   commenters requested that the EPA not                   implementation of NOX control
                                                 that the inside of a cement kiln is an                  include certain iron and steel emissions                technologies on these emissions units,
                                                 extremely challenging environment for                   units—including blast furnaces, basic                   including information provided by
                                                 making any kind of continuous                           oxygen furnaces (BOFs), ladle and                       commenters, in section 4 of the Final
                                                 measurement as temperatures are high,                   tundish preheaters, annealing furnaces,                 Non-EGU Sectors TSD.
                                                 and there is a lot of dust and tumbling                 vacuum degassers, taconite kilns, coke                     Reheat furnaces are the only type of
                                                 clinker can damage in situ measuring                    ovens, and electric arc furnaces                        emissions unit within the Iron and Steel
                                                 instruments.                                            (EAFs)—in the final rule as proposed                    Mills and Ferroalloy Manufacturing
                                                    Response: The majority of cement                     due to, among other things, the                         industry that this final rule applies to.
                                                 kilns in the United States are already                  uniqueness of each emissions unit,                      Low-NOX controls (e.g., low-NOX
                                                 equipped with CEMS. However, in                         various design-related challenges, and
                                                                                                                                                                 burners) are a demonstrated control
                                                 response to commenters concerns                         expected impossibility of successful
                                                                                                                                                                 technology that many reheat furnaces
                                                 regarding the installation of CEMS, the                 implementation of add-on NOX control
                                                 EPA is finalizing alternative compliance                                                                        have successfully employed.
                                                                                                         technology. Commenters expressed
                                                 requirements in lieu of CEMS. Owners                    concern about requirements to install                      Comment: One commenter claimed
                                                 or operators of affected emissions units                SCR for all iron and steel units for                    that the proposed definition of ‘‘reheat
                                                 without CEMS installed must conduct                     which the EPA proposed emissions                        furnaces’’ is overly vague and requested
                                                 annual performance testing and                          limits. The commenters stated that iron                 that the EPA amend the definition.
                                                 continuous parametric monitoring to                     and steel units had not installed SCR                   Specifically, the commenter asserted
                                                 demonstrate compliance with the                         except in a few rare instances for                      that the EPA’s proposed definition does
                                                 emissions limits in this final rule.                    experimental reasons and that SCR                       not indicate what counts as ‘‘steel
                                                 Specifically, owners or operators of                    technology was not readily available or                 product’’ and whether this includes
                                                 affected units without CEMS must                        known for the iron and steel industry,                  only products that have already been
                                                 monitor and record stack exhaust gas                    unlike the control technologies expected                manufactured into some form before
                                                 flow rate, hourly production rate, and                  to be installed in other non-EGU                        being introduced to a reheat furnace, or
                                                 stack exhaust temperature during the                    industries. Furthermore, commenters                     whether it also includes steel that has
                                                 initial performance test and subsequent                 stated that SCR had not been applied for                never left the original production
                                                 annual performance tests to assure                      RACT, BACT, or LAER purposes on iron                    process, such as hot steel coming
                                                 compliance with the applicable                          and steel units.                                        directly from a connected casting
                                                 emissions limit. The owner or operator                     Response: In light of the comments                   process which has not yet been formed
                                                 must then continuously monitor and                      we received on the complex economic                     into a definitive product. The
                                                 record those parameters to demonstrate                  and, in some cases, technical challenges                commenter referenced the definition of
                                                 continuous compliance with the NOX                      associated with implementation of NOX                   reheat furnaces in Ohio’s RACT
                                                 emissions limits.                                       control technologies on certain                         regulations as an example to consider.
                                                                                                         emissions units in this sector, the EPA                    Response: In response to these
                                                 3. Iron and Steel Mills and Ferroalloy                  is not finalizing the proposed emissions                comments, the EPA is finalizing a
                                                 Manufacturing                                           limits for blast furnaces, BOFs, ladle                  definition of reheat furnaces that is
                                                 Applicability                                           and tundish preheaters, annealing                       consistent with the definition in Ohio’s
                                                                                                         furnaces, vacuum degassers, taconite                    NOX RACT regulations. See Ohio
                                                   The EPA is establishing emissions
                                                 control requirements for the Iron and                   kilns, coke ovens, or EAFs.                             Admin. Code 3745–110–01(b)(35)
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                                                 Steel Mills and Ferroalloy                                 The EPA is aware of many examples                    (March 25, 2022). Specifically, the EPA
                                                 Manufacturing source category that                      of low-NOX technology utilized at                       is defining reheat furnaces to mean ‘‘all
                                                 apply to reheat furnaces that directly                  furnaces, kilns, and other emissions                    furnaces used to heat steel product,
                                                 emit or have the potential to emit 100                  units in other sectors with similar                     including metal ingots, billets, slabs,
                                                                                                         stoichiometry, including taconite kilns,                beams, blooms and other similar
                                                   386 40 CFR 63.11237 ‘‘Calendar year’’ defined as      blast furnace stoves, electric arc                      products, to temperatures at which it
                                                 the period between January 1 and December 31,                                                                   will be suitable for deformation and
                                                 inclusive, for a given year.                              387 See   Final Non-EGU Sectors TSD, Section 4.       further processing.’’


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                                                 Emissions Control Requirements,                         installed low-NOX burners and are                      installed, high-efficiency low-NOX
                                                 Testing, and Rationale                                  achieving various emissions rates.388                  burners. Many sources throughout the
                                                                                                            Due to variations in the emissions                  EGU sector and non-EGU industries
                                                    Based on the available information for               rates that different types of reheat                   covered by this rule may already be
                                                 this industry, applicable Federal and                   furnaces can achieve, the EPA is not                   achieving enforceable emissions
                                                 state rules, and active air permits or                  finalizing one emissions limit for all                 performance commensurate with the
                                                 enforceable orders issued to affected                   reheat furnaces and is instead requiring               requirements of this action. This is
                                                 facilities in the iron and steel and                    the installation of low-NOX burners or                 entirely consistent with the logic of our
                                                 ferroalloy manufacturing industry, the                  equivalent low-NOX technology                          4-step interstate transport framework,
                                                 EPA is finalizing requirements for each                 designed to achieve a minimum 40                       which is designed to bring all covered
                                                 facility with an affected reheat furnace                percent reduction from baseline NOX                    sources within the region of linked
                                                 to design, fabricate and install high-                  emission levels, together with source                  upwind states up to a uniform level of
                                                 efficiency low-NOX burners designed to                  specific emissions limits to be set                    NOX emissions performance during the
                                                 reduce NOX emissions from pre-                          thereafter based on performance testing.               ozone season. See EME Homer City, 572
                                                 installation emissions rates by at least                Specifically, the final rule requires that             U.S. at 519. Sources that are already
                                                 40 percent by volume, and to conduct                    each owner or operator of an affected                  achieving that level of performance will
                                                 performance testing before and after                    unit submit to the EPA, within one year                face relatively limited compliance costs
                                                 burner installation to set emissions                    after the effective date of the final rule,            associated with this rule.
                                                 limits and verify emissions reductions                  a work plan that identifies the low-NOX                   The EPA is finalizing requirements for
                                                 from pre-installation emissions rates.                  burner or alternative low-NOX                          reheat furnaces to install high-efficiency
                                                 Each low-NOX burner shall be designed                   technology selected, the phased                        low-NOX burners designed to reduce
                                                 to achieve at least 40 percent NOX                      construction timeframe by which the                    NOX emissions from pre-installation
                                                 reduction from existing reheat furnace                  owner or operator will design, install,                emissions rates by 40 percent by
                                                 exhaust emissions rates. Each facility                  and consistently operate the control                   volume, and to perform pre- and post-
                                                                                                         device, an emissions limit reflecting the              installation performance testing at
                                                 with an affected reheat furnace shall,
                                                                                                         required 40 percent reduction in NOX                   exhaust outlets to determine rate-based
                                                 within 60 days of conclusion of the
                                                                                                         emission levels, and, where applicable,                emissions limits for reheat furnaces in
                                                 post-installation performance test,
                                                                                                         performance test results obtained no                   lb/hour, lb/mmBtu, or lb/ton on a
                                                 submit testing results to the EPA to                    more than five years before the effective              rolling 30-operating day average.
                                                 establish NOX emissions limits over a                   date of the final rule to be used as                   Owners and operators of affected units
                                                 30-day rolling average. Each proposed                   baseline emissions testing data                        must also monitor NOX emissions from
                                                 emissions limit must be supported by                    providing the basis for the required                   reheat furnaces using CEMS or annual
                                                 performance test data and analysis.                     emissions reductions. If no such data                  performance testing and recordkeeping
                                                    In evaluating potential emissions                    exist, then the owner or operator must                 and operate low-NOX burners in
                                                 limits for the Iron and Steel and                       perform pre-installation testing to                    accordance with work practice
                                                 Ferroalloy Manufacturing industry, the                  establish baseline emissions data.                     standards set forth in the regulatory text.
                                                 EPA reviewed RACT NOX rules,                               Comment: One commenter stated that                  Due to the many types of emissions
                                                 NESHAP rules, air permits and related                   the standard practice for setting NOX                  units within the Iron and Steel Mills
                                                 emissions tests, technical support                      limits for iron and steel sources often                and Ferroalloy Manufacturing industry,
                                                 documents, and consent decrees. These                   requires consideration of site or unit-                and the limited information available at
                                                 rules and source-specific requirements                  specific issues. Similarly, another                    this time regarding NOX control options
                                                 most commonly express emissions                         commenter stated that a single limit                   that are achievable for these units, the
                                                 limits for this industry in terms of mass               would not provide an adequate basis for                EPA is finalizing requirements only for
                                                 of pollutant emitted (pounds) per                       establishing NOX emissions limits that                 reheat furnaces at this time.
                                                 operating hour (hour) (i.e., pounds of                  will universally apply to multiple,                       Comment: Commenters expressed
                                                 NOX emitted per production hour),                       unique facilities. The same commenter                  concern that the proposed emissions
                                                 pounds per energy unit (i.e., million                   stated that NOX reduction in certain                   limits identified both a 3-hour and a 30-
                                                 British thermal unit (mmBtu)), or                       furnaces is routinely achievable by                    day averaging time for the same limits
                                                 pounds of NOX per ton of steel                          combustion controls or measures other                  and requested that the EPA clarify the
                                                 produced. Regulated iron and steel                      than SCR.                                              averaging time in the final rule.
                                                                                                            Response: The EPA acknowledges the                  Commenters requested that the EPA
                                                 facilities, including facilities operating
                                                                                                         difficulty in crafting one emissions limit             finalize limits with a 30-day averaging
                                                 reheat furnaces in this sector, routinely               for multiple iron and steel facilities and             time consistent with the requirements
                                                 monitor and keep track of production in                 units of varying size, age, and design, in             for other non-EGU industries.
                                                 terms of tons of steel produced per hour                light of the unique issues associated                     Response: In determining the
                                                 (heat rate) as it pertains to each facility’s           with varying unit types in this                        appropriateness of 30-day rolling
                                                 rate of iron and steel production.                      particular industry. We also                           averaging times, the EPA initially
                                                 Several facilities, including Steel                     acknowledge that in some cases, reheat                 reviewed the NESHAP for Iron and Steel
                                                 Dynamics, Columbia, Indiana,                            furnaces are equipped with recently                    Foundries codified at 40 CFR part 63,
                                                 Cleveland-Cliffs, Cleveland, Ohio, and                                                                         subpart EEEEE, the NESHAP for
                                                 Cleveland-Cliffs, Burns Harbor, Indiana,                  388 Specifically, through a review of title V        Integrated Iron and Steel manufacturing
                                                 are already operating various types of                  permits, the EPA identified reheat furnaces with       facilities codified at 40 CFR part 63,
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                                                 reheat furnaces with low-NOX burners                    low-NOX burners installed at Steel Dynamics in
                                                                                                                                                                subpart FFFFF, the NESHAP for
                                                                                                         Columbia City, Indiana (two furnaces), Steel
                                                 and achieving emissions rates as low as                 Dynamics in Butler, Indiana (one furnace),             Ferroalloys Production: Ferromanganese
                                                 0.11 lb/mmBtu of NOX. The EPA                           Cleveland Cliffs in Burns Harbor, Indiana (four        and Silicomanganese codified at 40 CFR
                                                 identified at least nine reheat furnaces                furnaces), Cleveland Cliffs in East Chicago, Indiana   part 63, subpart XXX, and the NESHAP
                                                 with a PTE greater than 100 tpy,                        (one furnace), and Cleveland Cliffs in Cleveland,
                                                                                                         Ohio (one furnace). For a further discussion of the
                                                                                                                                                                for Ferroalloys Production Facilities
                                                 including slab, rotary hearth, and                      limits and information on these facilities, see the    codified at 40 CFR part 63, subpart
                                                 walking beam furnaces, that have                        Final Non-EGU Sectors TSD.                             YYYYYY. The EPA also reviewed


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                                                 various RACT NOX rules from states                      regarding their concerns of affected                   finalizing the proposed applicability
                                                 located within the OTR, several of                      units within the iron and steel mills and              provisions without change.
                                                 which have chosen to implement OTC                      ferroalloy manufacturing sector being                     Comment: One commenter requested
                                                 model rules and recommendations.                        required to demonstrate compliance                     that the applicability threshold for glass
                                                 Based on this information and the                       through CEMS. The EPA acknowledges                     manufacturing furnaces should be based
                                                 information provided by public                          the cost associated with the installation              on a unit’s design production capacity
                                                 commenters, the EPA is requiring a 30-                  and maintenance of CEMS to                             instead of the proposed applicability
                                                 operating day rolling average period as                 demonstrate compliance with the                        criteria (i.e., units that directly emit or
                                                 the averaging timeframe for reheat                      finalized emissions standards for reheat               have the potential to emit 100 TPY or
                                                 furnaces. The EPA finds that a 30-                      furnaces. In this final rule, the EPA is               more of NOX). The commenter stated
                                                 operating day rolling average period                    revising the compliance assurance                      that the production capacity for glass
                                                 provides a reasonable balance between                   requirements to provide flexibility to                 manufacturing furnaces is a more
                                                 short term (hourly or daily) and long                   owners or operators of affected units.                 relevant basis for applicability and
                                                 term (annual) averaging periods, while                  Compliance may be demonstrated                         would focus the EPA analysis on cost-
                                                 providing the flexibility needed to                     through CEMS or annual performance                     effective regulations.
                                                 address fluctuations in operations and                  testing and continuous parametric                         Response: During the EPA’s
                                                 production.                                                                                                    development of the proposed emissions
                                                                                                         monitoring to demonstrate compliance
                                                                                                                                                                limits, the EPA reviewed the
                                                 Compliance Assurance Requirements                       with the emissions limits in this final
                                                                                                                                                                applicability provisions in various state
                                                                                                         rule. If an affected unit does not use
                                                    The EPA is finalizing requirements for                                                                      RACT NOX rules, air permits, consent
                                                 each owner or operator of an affected                   CEMS, the final rule requires the owner
                                                                                                                                                                decrees, and Federal regulations
                                                 unit in the Iron and Steel Mills and                    or operator to monitor and record stack
                                                                                                                                                                applicable to glass manufacturing
                                                 Ferroalloy Manufacturing industry to                    exhaust gas flow rate, hourly production               furnaces. Most of these applicability
                                                 use CEMS or annual performance tests                    rate, and stack exhaust temperature                    provisions were expressed in terms of
                                                 and continuous parametric monitoring                    during the initial performance test and                actual emissions or PTE. Given the
                                                 to determine compliance with the 30-                    subsequent annual performance tests to                 significant differences in the types,
                                                 day rolling average emissions limit                     assure compliance with the applicable                  designs, configurations, ages, and fuel
                                                 during the ozone season. Facilities                     emissions limit. The owner or operator                 capabilities among glass furnaces, and
                                                 choosing to use CEMS must perform an                    must then continuously monitor and                     differences in raw material
                                                 initial RATA per CEMS and maintain                      record those parameters to demonstrate                 compositions within the sector, the EPA
                                                 and operate the CEMS according to the                   continuous compliance with the NOX                     finds that applicability criteria based on
                                                 applicable performance specifications in                emissions limits. Affected units that                  emissions or potential to emit are the
                                                 40 CFR part 60, appendix B. Facilities                  operate NOX CEMS meeting specified                     most appropriate way to capture higher-
                                                 choosing to use testing and continuous                  requirements may use CEMS data in                      emitting glass manufacturing furnaces
                                                 parametric monitoring for compliance                    lieu of performance testing and                        that contribute NOX emissions to
                                                 purposes must use the test methods and                  monitoring of operating parameters. For                downwind receptors.
                                                 procedures in 40 CFR part 60, appendix                  sources relying on annual performance
                                                                                                         tests and continuous parametric                        Emissions Limitations and Rationale
                                                 A–4, Method 7E, or other EPA-approved
                                                 (federally enforceable) test methods and                monitoring to assure compliance, the                      The EPA is finalizing the proposed
                                                 procedures.                                             EPA is requiring that sources keep                     NOX emissions limits for furnaces
                                                    Comment: Several commenters raised                   records of production and fuel usage                   within the Glass and Glass Product
                                                 concerns with the requirement to install                during the ozone season to assure                      Manufacturing industry, except that for
                                                 and operate CEMS to monitor NOX                         compliance with the emissions limits on                flat glass manufacturing furnaces the
                                                 emissions. Commenters cited the high                    a 30-day rolling average basis. To avoid               EPA is finalizing an emissions limit
                                                 relative costs of installing CEMS,                      challenges in scheduling and                           slightly lower than the limit we had
                                                 especially for smaller units with lower                 availability of testing firms, the annual              proposed, based on a correction to a
                                                 actual emissions, and the complexities                  performance test required under this                   factual error in our proposal. For further
                                                 with installing CEMS on mobile reheat                   final rule does not have to be performed               discussion of the basis for the form and
                                                 furnaces. Further, commenters                           during the ozone season. However,                      level of the final emissions limits, see
                                                 explained that due to the unique                        where sources are able to do so, we                    the proposed rule, 87 FR 20036, 20146
                                                 configuration of certain facilities, it                 recommend conducting a stack test in                   (April 6, 2022) (discussing EPA review
                                                 would be impossible for a CEMS to                       the period relatively soon before the                  of state RACT rules, NSPS, and other
                                                 differentiate emissions from a reheat                   start of the ozone season. This would                  regulations applicable to the Glass and
                                                 furnace and other units, like waste heat                provide the greatest assurance that the                Glass Product Manufacturing industry).
                                                 boilers. As an alternative to CEMS,                     emissions control systems are working                  Several comments supported the EPA’s
                                                 commenters requested that the EPA                       as intended and the applicable                         effort to regulate sources within the
                                                 finalize similar monitoring and                         emissions limit will be met when the                   Glass and Glass Product Manufacturing
                                                 recordkeeping requirements as proposed                  ozone season starts.                                   industry but also requested that the EPA
                                                 for the Cement and Concrete Product                                                                            establish more stringent emissions
                                                 Manufacturing industry in the proposed                  4. Glass and Glass Product                             limits for this industry.
                                                 rule, which allow for CEMS or                           Manufacturing                                             Comment: One commenter stated that
                                                                                                                                                                NOX emissions from the Glass and Glass
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                                                 performance testing and recordkeeping.                  Applicability
                                                 Commenters explained that for reheat                                                                           Product Manufacturing industry are not
                                                 furnaces that are natural gas-fired,                      The EPA is finalizing regulatory                     currently subject to any Federal NSPS
                                                 emissions can be tracked by relying on                  requirements for the Glass and Glass                   and that the industry is expected to
                                                 vendor guarantees and emissions factors                 Product Manufacturing source category                  grow in the coming years. The
                                                 and natural gas throughput.                             that apply to furnaces that directly emit              commenter stated that while the EPA’s
                                                    Response: The EPA reviewed                           or have a PTE of 100 tpy or more of                    proposed limits on glass furnaces fell
                                                 comments received from the industry                     NOX. For this industry, the EPA is                     within the ranges of limits required by


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                                                 various states and air districts, they fell                          determine the appropriate NOX                                         states to meet CAA RACT requirements,
                                                 at the weakest levels within those                                   emissions limits for the different types                              and that some of these programs have
                                                 ranges. For example, the commenter                                   of glass manufacturing furnaces. Based                                implemented more stringent emissions
                                                 stated that the EPA had proposed a 4.0                               on these reviews and given the                                        limits than those the EPA is finalizing
                                                 lb/ton NOX emissions limit for container                             significant differences in the types,                                 in these FIPs. However, as noted in the
                                                 glass manufacturing furnaces, while                                  designs, configurations, ages, and fuel                               preamble to the proposed rule and
                                                 state and local NOX emissions limits for                             capabilities among glass furnaces, and                                related TSD, many OTR states do not
                                                 these emissions units range from 1 to 4                              differences in raw material                                           establish specific NOX emissions limits
                                                 lb/ton. Similarly, the commenter stated                              compositions within the sector, the EPA                               for glass manufacturing sources.390 See
                                                 that the EPA had proposed a 4.0 lb/ton                               has concluded that it is appropriate to                               87 FR 20146. In addition to state RACT
                                                 NOX emissions limit for pressed/blown                                finalize the emissions limits for this                                rules, air permits, ACT documents, and
                                                 glass manufacturing furnaces, while                                  industry as proposed, except for the                                  consent decrees applicable to this
                                                 state and local NOX emissions limits for                             limit proposed for flat glass                                         industry, the EPA reviewed reports and
                                                 these emissions units range from 1.36 to                             manufacturing furnaces. For flat glass                                recommendations from the National
                                                 4 lb/ton, and that EPA had proposed a                                manufacturing furnaces, the EPA had                                   Association of Clean Air Agencies
                                                 9.2 lb/ton NOX emissions limit for flat                              proposed a NOX emissions limit of 9.2                                 (NACAA), the European Union
                                                 glass manufacturing furnaces, while                                  pounds (lbs) per ton of glass pulled but
                                                                                                                                                                                            Commission, and EPA’s Menu of
                                                 state NOX emissions limits for these                                 is finalizing a limit of 7.0 lbs/ton of
                                                                                                                                                                                            Control Measures (MCM) to identify
                                                 emissions units range from 5–9.2 lb/ton.                             glass pulled on a 30-day rolling average
                                                                                                                                                                                            potentially available control measures
                                                 The commenter urged the EPA to                                       basis. This is based on our review of
                                                 establish emissions limits lower than                                specific state RACT NOX regulations                                   for reducing NOX emissions from the
                                                 those the EPA had proposed.                                          that contain a 9.2 lbs/ton limit averaged                             glass manufacturing industry. The EPA
                                                    Response: The EPA is finalizing the                               over a single day but contain a 7.0 lbs/                              also reviewed permit data for existing
                                                 emissions limits for affected units in the                           ton limit over a 30-day averaging period.                             glass manufacturing furnaces to identify
                                                 glass and glass product manufacturing                                This change aligns the final limit for flat                           control devices currently in use at these
                                                 industry as proposed for all but flat                                glass manufacturing furnaces with the                                 sources. Based on these reviews, we
                                                 glass manufacturing furnaces, for which                              correct averaging time and is consistent                              find that the final emissions limits for
                                                 the EPA is finalizing a slightly lower                               with both the state RACT regulations                                  the Glass and Glass Product
                                                 emissions limit to reflect a correction to                           that we reviewed 389 and our evaluation                               Manufacturing industry provided in
                                                 a factual error in our proposal. During                              of cost-effective controls for this                                   Table VI.C.3–1 generally reflect a level
                                                 the EPA’s development of the proposed                                industry in the supporting documents                                  of control that is cost-effective for the
                                                 emissions limits, the EPA reviewed the                               for the proposed and final rule.                                      majority of the affected units and
                                                 control requirements or                                                 The EPA acknowledges that NOX                                      sufficient to achieve the necessary
                                                 recommendations and related analyses                                 emissions from some glass                                             emissions reductions. The Final Non-
                                                 in various RACT NOX rules, air permits,                              manufacturing furnaces are subject to                                 EGU Sectors TSD provides a more
                                                 Alternative Control Techniques (ACT)                                 control under other regulatory                                        detailed explanation of the basis for
                                                 documents, and consent decrees to                                    programs, such as those adopted by                                    these emissions limits.

                                                      TABLE VI.C.3–1—SUMMARY OF FINALIZED NOX EMISSIONS LIMITS FOR FURNACE UNIT TYPES IN GLASS AND GLASS
                                                                                           PRODUCT MANUFACTURING
                                                                                                                                                                                                                             NOX emissions limit
                                                                                                                                                                                                                              (lbs/ton of glass
                                                                                                                            Furnace type                                                                                           produced,
                                                                                                                                                                                                                              30 operating-day
                                                                                                                                                                                                                               rolling average)

                                                 Container Glass Manufacturing Furnace ...............................................................................................................................                        4.0
                                                 Pressed/Blown Glass Manufacturing Furnace or Fiberglass Manufacturing Furnace ..........................................................                                                     4.0
                                                 Flat Glass Manufacturing Furnace ........................................................................................................................................                    7.0



                                                 Alternative Emissions Standards During                               abnormally low production rate),                                      would be technologically infeasible to
                                                 Periods of Start-Up, Shutdown, and                                   furnace start-up days, furnace                                        equip furnaces with NOX control
                                                 Idling                                                               maintenance days, and malfunction                                     devices including SCR. Commenters
                                                                                                                      days from the definition of ‘‘operating                               also stated that because control
                                                    Comment: Numerous commenters
                                                                                                                      day’’ to allow for exclusion of these                                 equipment cannot be operated during
                                                 urged the EPA to provide additional
                                                                                                                      days from the calculation of an                                       these periods without damaging the
                                                 flexibilities, alternative NOX emissions
                                                 limits, or exceptions to the NOX                                     emissions unit’s 30-operating day                                     equipment, it would be very difficult or
                                                 emissions limits for glass manufacturing                             rolling average emissions. The                                        impossible to meet the proposed NOX
                                                 furnaces during periods of startup,                                  commenters argued that because the                                    limits during these periods.
                                                 shutdown and idling. Commenters                                      glass furnace temperature is much lower                                 Response: After review of the
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                                                 requested that the EPA consider                                      during these periods than they are                                    comments received and the EPA’s
                                                 excluding days with low glass pull (e.g.,                            during normal operating conditions, it                                assessment of current practices within
                                                   389 For example, Pennsylvania’s RACT NO                            regulation/pennsylvania-code-rules-and-                               control-of-nox-emissions-from-glass-melting-
                                                                                                 X
                                                 emission limits for flat glass furnaces are 7.0 lbs of               regulations/title-25-environmental-protection/part-                   furnaces/section-129304-emission-requirements.
                                                 NOX per ton of glass produced on 30-day rolling                      i-department-of-environmental-protection/subpart-                       390 See Proposed Non-EGU Sectors TSD at 56,
                                                 average. See Title 25, Part I, Subpart C, Article III,               c-protection-of-natural-resources/article-iii-air-
                                                                                                                                                                                            EPA–HQ–OAR–2021–0668–0145.
                                                 Section 129.304, available at https://casetext.com/                  resources/chapter-129-standards-for-sources/



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                                                 the glass manufacturing industry, the                   operation as soon as technologically                     operated continuously for as long as
                                                 EPA is establishing provisions for                      feasible to minimize emissions. For                      fifteen to twenty years between
                                                 alternative work practice standards and                 shutdowns, the owner or operator must                    rebricking events. The commenter also
                                                 emissions limits that may apply in lieu                 operate the emissions control system                     states that electric furnaces for
                                                 of the emissions limits in § 52.44(c)                   whenever technologically feasible to                     manufacture of glass containers are
                                                 during periods of start-up, shutdown,                   minimize emissions.                                      limited to a maximum glass production
                                                 and idling. The emissions limits for                      For periods of idling, the owner or                    of about 120 tons per day, which is a
                                                 glass melting furnaces in § 52.44(c) do                 operator of an affected unit may comply                  stark contrast to large natural gas fired
                                                 not apply during periods of start-up,                   with an alternative emissions limit                      glass melting furnaces, which are
                                                 shutdown, and/or idling at affected                     calculated in accordance with a specific                 capable of producing over 400 tons of
                                                 units that comply instead with the                      equation to limit emissions to an                        glass per day. The commenter also
                                                 alternative requirements for start-up,                  amount (in pounds per day) that reflects                 stated that the cullet percentage is
                                                 shutdown, and/or idling periods                         the furnace’s permitted production                       greatly reduced in all-electric furnaces
                                                 specified in § 52.44(d), (e), and/or (f),               capacity in tons of glass produced per                   which increases energy consumption in
                                                 respectively. The EPA has modeled                       day. Additionally, the owner or operator                 the affected facility.
                                                 these alternative requirements that                     must maintain operating records as                          Response: At proposal, the EPA
                                                 apply during startup, shutdown, and                     necessary to demonstrate compliance                      solicited comment on whether it is
                                                 idling to some extent on State RACT                     with the alternative emissions                           feasible or appropriate for owners or
                                                 requirements identified by                              limitations during idling periods.                       operators of existing glass
                                                 commenters.391 These alternative work                   During idling, the owner or operator                     manufacturing furnaces to phase out
                                                 practice standards adequately address                   must operate the emissions control                       and retire their units and replace them
                                                 the seven criteria that the EPA has                     system to minimize emissions whenever                    with less emitting units like all-electric
                                                 recommended states consider when                        technologically feasible.                                furnace installations. As explained in
                                                 establishing appropriate alternative                                                                             the Final Non-EGU Sectors TSD, over
                                                                                                         All-Electric Glass Furnaces
                                                 emissions limitations for periods of                                                                             the last few decades the demand for flat,
                                                 startup and shutdown.392 We provide a                      The EPA solicited comment on                          container, and pressed/blown glass has
                                                 more detailed evaluation of these                       whether it is feasible or appropriate to                 continued to grow annually. Nitrogen
                                                 provisions in the TSD supporting this                   phase out and retire existing glass                      oxides remain one of the primary air
                                                 final rule.                                             manufacturing furnaces in the affected                   pollutants emitted during the
                                                    Specifically, each owner or operator                 states and replace them with more                        production and manufacturing of glass
                                                 of an affected unit seeking to comply                   energy efficient and less emitting units                 products. However, no current Federal
                                                 with alternative work practice standards                like all-electric melter installations. The              CAA regulation controls NOX emissions
                                                 in lieu of emissions limits during                      EPA also requested comment on the                        from the industry on a category-wide
                                                 startup or shutdown periods must                        time needed to complete such a task.                     basis.394 Therefore, the glass
                                                 submit specific information to the                      All-electric melters are glass melting                   manufacturing industry has conducted
                                                 Administrator no later than 30 days                     furnaces in which all the heat required                  various pollution prevention and
                                                 prior to the anticipated date of startup                for melting is provided by electric                      research efforts to help identify
                                                 or shutdown. The required information                   current from electrodes submerged in                     preferred techniques for the control of
                                                 is necessary to ensure that the furnace                 the molten glass.393 The EPA received                    NOX. Some of these studies revealed
                                                 will be properly operated during the                    numerous comments from the glass                         recent trends to control NOX emissions
                                                 startup or shutdown period, as                          industry regarding their concerns with                   in the glass industry, including the use
                                                 applicable. The final rule establishes                  replacing an existing glass                              of all-electric glass furnaces. We
                                                 limits on the number of days when the                   manufacturing furnace with an all-                       understand based on the comments
                                                 owner or operator may comply with                       electric melter. The commenters stated                   received from the glass manufacturing
                                                 alternative work practice standards in                  that various operational restrictions                    industry that significant differences
                                                 lieu of emissions limits during startup                 present within all-electric furnaces                     exist in the design, configuration, age,
                                                 and shutdown, depending on the type of                  prevent these units from being                           and replacement cost of glass furnaces
                                                 glass furnace. Additionally, the owner                  implemented throughout the industry,                     and in the feasibility of controls and raw
                                                 or operator must maintain operating                     including limited glass production                       material compositions. These
                                                 records and additional documentation                    output, reduced glass furnace life, and                  differences as well as the production
                                                 as necessary to demonstrate compliance                  increased glass plant operating cost due                 limitations present with all-electric
                                                 with the alternative requirements during                to high levels of electric current usage.                furnaces create difficulties in
                                                 startup or shutdown periods. For                        Based on the EPA’s review of comments                    implementing all-electric furnaces
                                                 startups, the owner or operator must                    submitted on this issue, the EPA has                     across the industry while keeping up
                                                 place the emissions control system in                   decided not to establish any                             with glass product demands. Therefore,
                                                                                                         requirements to replace existing glass                   the EPA is not mandating any
                                                    391 See Pennsylvania Code, Title 25, Part I,         manufacturing furnaces with all-electric                 requirement for owners or operators of
                                                 Subpart C, Article III, Sections 129.305–129.307        furnaces at this time. We provide in the                 existing glass manufacturing furnaces to
                                                 (effective June 19, 2010), available at https://
                                                 www.pacodeandbulletin.gov/Display/pacode?file=/         following paragraphs a summary of the                    replace their units with all-electric
                                                 secure/pacode/data/025/chapter129/                      comments and the EPA’s responses                         furnaces.
                                                 chap129toc.html&d=reduce and San Joaquin Valley         thereto.
                                                 Unified Air Pollution Control District, Rule 4354,                                                               Combustion Modification and Post-
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                                                                                                            Comment: One commenter stated that
                                                 ‘‘Glass Melting Furnaces,’’ sections 5.5–5.7
                                                                                                         the lifetime of an all-electric glass                    Combustion Modification Control
                                                 (amended May 19, 2011), available at https://
                                                 www.valleyair.org/rules/currntrules/R4354               melting furnace is only about three to                   Devices
                                                 %20051911.pdf.                                          five years before it must be rebricked,                    According to the EPA’s ‘‘Alternative
                                                    392 See 80 FR 33840, 33914 (June 12, 2015)
                                                                                                         compared to well-maintained natural                      Control Techniques Document—NOX
                                                 (identifying the EPA’s recommended criteria for
                                                 developing and evaluating alternative emissions
                                                                                                         gas or hybrid furnace that may be                        Emissions from Glass
                                                 limitations applicable during startup and
                                                 shutdown).                                                393 See   definitions in 40 CFR part 60, subpart CC.    394 See   Final Non-EGU Sectors TSD.



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                                                 Manufacturing,’’ 395 glass manufacturing                finalizing the limits as proposed to offer             provide flexibility to owners or
                                                 furnaces may utilize combustion                         sources some flexibility to choose the                 operators of affected units. Compliance
                                                 modifications equivalent to low-NOX                     control technology that works best for                 with the emissions limits in this final
                                                 burners and oxy-firing. At proposal, the                their unique circumstances.                            rule may be demonstrated through
                                                 EPA solicited comments on whether it                                                                           CEMS or via annual performance test
                                                                                                         Compliance Assurance Requirements
                                                 is feasible or appropriate to require                                                                          and continuous parametric monitoring.
                                                 sources with existing glass                                The EPA proposed to require owners                  If an affected unit does not use CEMS,
                                                 manufacturing furnaces in affected                      or operators of an affected facility that              the final rule requires the owner or
                                                 states that currently utilize these                     is subject to the NOX emissions                        operator to monitor and record stack
                                                 combustion modifications to add or                      standards for glass manufacturing                      exhaust gas flow rate, hourly production
                                                 operate a post-combustion                               furnaces to install, calibrate, maintain               rate, and stack exhaust temperature
                                                 modifications control device like SNCR                  and operate a CEMS for the                             during the initial performance test and
                                                 or SCR to further improve their NOX                     measurement of NOX emissions                           subsequent annual performance tests to
                                                 removal efficiency. The EPA received                    discharged. The EPA also solicited                     assure compliance with the applicable
                                                 numerous comments from the glass                        comments on alternative monitoring                     emissions limit. The owner or operator
                                                 industry that detailed the differences                  systems or methods that are equivalent                 must then continuously monitor and
                                                 present in glass furnace designs,                       to CEMS to demonstrate compliance                      record those parameters to demonstrate
                                                 operations and finished product that                    with the emissions limits. The EPA                     continuous compliance with the NOX
                                                 influenced the type of combustion                       received numerous comments from the                    emissions limits. Affected units that
                                                 modification or post-combustion                         glass industry expressing concern with                 operate NOX CEMS meeting specified
                                                 modification control device that is                     any requirement to use CEMS at affected                requirements may use CEMS data in
                                                 feasible for such unit. Several                         units. After review of the comments                    lieu of performance testing and
                                                 commenters have requested that the                      received and EPA’s assessment of                       monitoring of operating parameters. To
                                                 EPA focus on establishing an emissions                  practices conducted within the glass                   avoid challenges in scheduling and
                                                 limit rather than specifying the use of a               manufacturing industry, the EPA is                     availability of testing firms, the annual
                                                 particular control technology given the                 finalizing compliance assurance                        performance test required under this
                                                 significant differences across glass                    requirements that allow affected glass                 final rule does not have to be performed
                                                 furnaces. As a result of the comments                   manufacturing furnaces to demonstrate                  during the ozone season.
                                                 received, the EPA is not specifically                   compliance through annual testing or
                                                 requiring affected units to install                     use CEMS, or similar alternative                       5. Boilers at Basic Chemical
                                                 combustion modification and post-                       monitoring system data in lieu of a                    Manufacturing, Petroleum and Coal
                                                 combustion controls to meet the                         performance test. The EPA is also                      Products Manufacturing, Pulp, Paper,
                                                 finalized emissions limits. The EPA is                  establishing recordkeeping provisions                  and Paperboard Mills, Iron and Steel
                                                 finalizing the emissions limits as                      that require owners or operators of                    and Ferroalloys Manufacturing, and
                                                 proposed, which may be met with                         affected units to conduct parametric                   Metal Ore Mining facilities
                                                 combustion modifications (e.g., low-                    monitoring of fuel use and glass                       Applicability
                                                 NOX burners, oxy-firing), process                       production during performance testing
                                                                                                         to assure continuous compliance on a                     The EPA is finalizing regulatory
                                                 modifications (e.g., modified furnace,                                                                         requirements for the Iron and Steel
                                                 cullet preheat), and/or post-combustion                 30-operating day rolling average.
                                                                                                            Comment: Commenters representing                    Mills and Ferroalloy Manufacturing
                                                 controls (SNCR or SCR) and thus                                                                                industry, Basic Chemical Manufacturing
                                                 provide sources some flexibility to                     the glass industry stated that a
                                                                                                         requirement to install and operate                     industry, Petroleum and Coal Products
                                                 choose the control technology that                                                                             Manufacturing industry, Pulp, Paper,
                                                                                                         CEMS would present significant costs
                                                 works best for their unique                                                                                    and Paperboard Mills industry, and the
                                                                                                         and technical complexities in a
                                                 circumstances.                                                                                                 Metal Ore Mining industry that apply to
                                                    Comment: Multiple commenters                         situation where emissions can be
                                                                                                         effectively monitored using stack testing              boilers that have a design capacity of
                                                 responded to EPA’s request for
                                                                                                         rather than continuous monitoring.                     100 mmBtu/hr or greater. The Non-EGU
                                                 comments by stating it is unnecessary
                                                                                                         Commenters also objected to the EPA’s                  Screening Assessment memorandum
                                                 and unhelpful for the proposed rule to
                                                                                                         proposal to require CEMS together with                 developed in support of Step 3 of our
                                                 specify use of particular post-
                                                                                                         semi-annual stack testing. Commenters                  proposal identified emissions from large
                                                 combustion control device. The
                                                                                                         stated that a requirement to both operate              boilers in certain industries (i.e., those
                                                 commenters note that various flat glass
                                                                                                         CEMS and conduct semi-annual testing                   projected to emit more than 100 tpy of
                                                 furnaces have a variety of combustion
                                                                                                         would be unnecessary and excessive                     NOX in 2026) as having adverse impacts
                                                 and post-combustion control options.
                                                                                                         and would not provide commensurate                     on downwind receptors. As discussed
                                                 Each furnace is different in its design,
                                                                                                         benefit unless a facility’s emissions are              in the proposed rule, we developed
                                                 operations, and finished product
                                                                                                         near or above the proposed emissions                   applicability criteria for boilers based on
                                                 produced. The commenters state that it
                                                                                                         limit. Commenters requested that                       design capacity (i.e., heat input), rather
                                                 is more appropriate for EPA to establish
                                                                                                         owners or operators of affected units be               than on potential emissions, because
                                                 an emissions limit in the proposed rule
                                                                                                         allowed to use alternative monitoring                  use of a boiler design capacity of 100
                                                 than it is for the EPA to specify use of
                                                                                                         systems, e.g., parametric emissions                    mmBtu/hr reasonably approximates the
                                                 a particular control technology.
                                                    Response: In response to these                       monitoring. The commenters stated that                 100 tpy threshold used in the Non-EGU
                                                                                                                                                                Screening Assessment memorandum to
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                                                 comments, the EPA is not establishing                   parametric monitoring requires less
                                                 any requirements for affected units to                  initial and ongoing manpower                           identify impactful boilers. In this final
                                                 install specific control technologies to                requirements, has lower capital and                    rule, we are establishing the heat input-
                                                 meet the emissions limits. The EPA is                   operating costs than CEMS, does not                    based applicability criteria described in
                                                                                                         require spare parts, and is accurate over              our proposal, with some adjustments as
                                                   395 EPA, Alternative Control Techniques               a mapped range.                                        explained further in this section.
                                                 Document—NOX Emissions from Glass                          Response: The EPA is establishing                   Additionally, we have determined that
                                                 Manufacturing, EPA–453/R–94–037, June 1994.             compliance assurance requirements that                 boilers meeting these applicability


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                                                 criteria exist within the following five                                  impactful boilers within the Non-EGU                                       and provisions for EPA approval of
                                                 industries: Basic Chemical                                                Screening Assessment memorandum.                                           alternative emissions limits on a case-
                                                 Manufacturing, Petroleum and Coal                                         We are finalizing NOX emissions limits                                     by-case basis, where specific criteria are
                                                 Products Manufacturing, Pulp, Paper,                                      that apply to boilers with design                                          met. Additionally, only boilers that
                                                 and Paperboard Mills, Metal Ore                                           capacities of 100 mmBTU/hr or greater                                      combust, on a BTU basis, 90 percent or
                                                 Mining, and Iron and Steel Mills and                                      located at any of the five identified                                      more of coal, residual or distillate oil,
                                                 Ferroalloy Manufacturing.                                                 industries in any of the 20 covered                                        natural gas, or combinations of these
                                                   As we explained in the proposed rule,                                   states with non-EGU emissions                                              fuels are subject to the requirements of
                                                 the potential emissions from industrial
                                                                                                                           reduction obligations. In response to                                      these final FIPs.
                                                 boilers with a design capacity of 100
                                                                                                                           comments on our proposed rule,                                                The EPA has determined that boilers
                                                 mmBtu/hr or greater burning coal,
                                                 residual or distillate oil, or natural gas                                however, the EPA is finalizing a low-use                                   meeting the applicability criteria of this
                                                 can equal or exceed the 100 tpy                                           exemption for industrial boilers that                                      section exist within the five industrial
                                                 threshold that we used to identify                                        operate less than 10 percent per year                                      sectors identified in Table VI.C.5–1:

                                                                       TABLE VI.C.5—1: NON-EGU INDUSTRIES WITH LARGE BOILERS AND ASSOCIATED NAICS CODES
                                                                                                                                        Industry                                                                                                NAICS code

                                                 Basic Chemical Manufacturing ......................................................................................................................................................                  3251xx
                                                 Petroleum and Coal Products Manufacturing ...............................................................................................................................                            3241xx
                                                 Pulp, Paper, and Paperboard Mills ...............................................................................................................................................                    3221xx
                                                 Iron and Steel and Ferroalloys Manufacturing ..............................................................................................................................                          3311xx
                                                 Metal Ore Mining ...........................................................................................................................................................................         2122xx



                                                    Comment: Several commenters                                            indicated by the manufacture on the                                        that some industrial boilers burn natural
                                                 requested that the EPA establish PTE-                                     unit’s nameplate.                                                          gas in conjunction with other gaseous
                                                 based applicability criteria for boilers as                                  In response to the comments                                             fuels, such as hydrogen/methane off-gas
                                                 it had proposed to do for other non-EGU                                   expressing concern that infrequently-                                      and vent gas from various on-site
                                                 sectors and stated that using heat input                                  operated boilers would be captured by                                      processes, and may not be able to meet
                                                 as the basis for determining                                              the EPA’s proposed applicability                                           the EPA’s proposed 0.08 lb/mmBtu NOX
                                                 applicability would result in low-                                        criteria, the EPA is finalizing a low-use                                  emissions limit for boilers burning
                                                 emitting boilers being subject to the                                     exemption for industrial boilers that                                      natural gas. One commenter stated that
                                                 final rule’s control requirements.                                        operate less than 10 percent per year on                                   it operated a boiler that burns hazardous
                                                 Commenters stated that the EPA should                                     an hourly basis, based on the three most                                   waste and is subject to 40 CFR part 63,
                                                 provide a low-use exemption for                                           recent years of use and no more than 20                                    subpart EEE, National Emission
                                                 infrequently run units because these                                      percent in any one of the three years.                                     Standards for Hazardous Air Pollutants
                                                 units produce a lower amount of                                           Such boilers will be exempt from the                                       from Hazardous Waste Combustors, and
                                                 emissions.                                                                emissions limits in these FIPs provided                                    that this boiler uses natural gas for start-
                                                                                                                           they operate less than 10 percent per                                      up and at other times to stabilize
                                                    Response: The EPA is finalizing                                        year, on an hourly basis, based on the                                     operations but also combusts other fuels
                                                 applicability criteria for boilers based on                               three most recent years of use and no                                      such as liquid waste. The commenter
                                                 boiler design capacity for a number of                                    more than 20 percent in any one of the                                     asserted that such boilers should not be
                                                 reasons. First, Federal emissions                                         three years, but will have recordkeeping                                   covered by the final rule.
                                                 standards applicable to boilers 396 and                                   obligations. The EPA finds it                                                 Response: In recognition and
                                                 all of the state RACT rules that we                                       appropriate to exempt such low-use                                         consideration of comments received on
                                                 reviewed contain applicability criteria                                   boilers from the emissions limits in this                                  our proposal, the EPA is finalizing
                                                 based on boiler design capacity. Second,                                  final rule because the amount of air                                       requirements for boilers that apply only
                                                 as explained in the Final Non-EGU                                         pollution emitted from a boiler is                                         to boilers burning 90 percent or more
                                                 Sectors TSD, most boilers with design                                     directly related to its operational hours,                                 coal, residual or distillate oil, or natural
                                                 capacities of 100 mmBTU/hr or greater                                     and installation of controls on                                            gas or combinations of these fuels on a
                                                 that are fueled by coal, oil, or gas have                                 infrequently operated units results in                                     heat-input basis. Public commenters
                                                 the potential to emit 100 tpy or more of                                  reduced air quality benefits.                                              presented information indicating that
                                                 NOX. Thus, use of a boiler design                                            Comment: Commenters asked                                               the burning of fuels other than coal,
                                                 capacity of 100 mmBtu/hr for                                              whether the EPA’s proposed emissions                                       residual or distillate oil, or natural gas
                                                 applicability purposes reasonably                                         limits for boilers would apply to                                          at levels exceeding 10 percent may
                                                 approximates the 100 tpy threshold                                        emissions units that burn fuels other                                      interfere with the functions of the
                                                 used in the Non-EGU Screening                                             than coal, residual or distillate oil, or                                  control technologies that may be
                                                 Assessment memorandum to identify                                         natural gas. For example, one                                              necessary to the meet the final rule, like
                                                 impactful boilers. Finally, use of a                                      commenter stated that some biomass                                         SCR. The EPA does not have sufficient
                                                                                                                           boilers start up by co-firing oil or gas                                   information at this time to conclude that
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                                                 boiler’s design capacity for applicability
                                                 purposes facilitates applicability                                        and that some NOX controls such as                                         units burning more than 10 percent
                                                 determinations given that a boiler’s                                      low-NOX burners (LNB) cannot be used                                       fuels other than coal, residual or
                                                 design capacity is, in most cases, clearly                                on biomass boilers. The commenter                                          distillate oil, or natural gas can operate
                                                                                                                           requested clarification on whether                                         the necessary controls effectively and at
                                                   396 See, e.g., 40 CFR 60.44b (subpart Db,                               boilers burning biomass would be                                           a reasonable cost. Therefore, boilers that
                                                 Standards of Performance for Industrial-                                  covered by the EPA’s proposed                                              burn greater than 10 percent fuels other
                                                 Commercial-Institutional Steam Generating Units).                         requirements. Other commenters noted                                       than coal, residual or distillate oil,


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                                                 natural gas, or combinations of these                                       these boilers and agrees with                                   multiplied by 0.15. Thus calculated, the
                                                 three fuels are not subject to the                                          commenters who stated that the EPA’s                            NOX emissions limits for boilers
                                                 emissions limits and other requirements                                     proposed emissions limits can be                                burning combinations of coal, residual
                                                 of this final rule.                                                         extended to such boilers provided the                           or distillate oil, or natural gas are
                                                    Comment: Some commenters claimed                                         EPA provides criteria for doing so. The                         consistent with the NOX emissions
                                                 that the EPA cannot include emissions                                       applicability criteria in the final rule                        limits identified in our proposed rule
                                                 limits for boilers that burn combinations                                   cover boilers burning combinations of                           for each of these individual fuels.
                                                 of coal, residual or distillate oil, and                                    coal, residual or distillate oil, or natural
                                                                                                                                                                                             Emissions Limitations and Rationale
                                                 natural gas, because the EPA did not                                        gas and include a methodology for
                                                 propose limits for such boilers. Other                                      determining the emissions limits for                               The EPA is finalizing all of the
                                                 commenters suggested it would be                                            such units based on a simple formula                            proposed NOX emissions limits for
                                                 appropriate to establish emissions limits                                   that correlates the amount of heat input                        industrial boilers and adding a formula
                                                 for such boilers as long as the EPA                                         expended while burning each fuel with                           for calculating emissions limits for
                                                 provides criteria for establishing such                                     the corresponding emissions limit for                           multi-fueled units as shown in Table
                                                 emissions limits.                                                           that particular fuel. For example, a                            VI.C.5–2. The emissions limits apply to
                                                    Response: The EPA disagrees with the                                     boiler with a heat input of 85 percent                          boilers with design capacities of 100
                                                 claim that boilers burning combinations                                     natural gas and 15 percent distillate oil                       mmBtu/hr or greater located at any of
                                                 of coal, residual or distillate oil, or                                     would be subject to an emissions limit                          the five industries identified in Table
                                                 natural gas cannot be covered by the                                        derived by multiplying the natural gas                          II.A–1 within any of the 20 states
                                                 final FIP because the EPA did not                                           emissions limit by 0.85 and adding to                           covered by the non-EGU requirements
                                                 propose specific emissions limits for                                       that the distillate oil emissions limit                         of this final rule.

                                                                                              TABLE VI.C.5–2—NOX EMISSIONS LIMITS FOR BOILERS >100 mmBtu/hr
                                                                                                                                     [Based on a 30-day rolling average]

                                                                                                                                                                                                 Emissions limit
                                                                                                 Unit type                                                                                     (lbs NOX/mmBtu)

                                                 Coal ..........................................................................................................   0.20.
                                                 Residual oil ...............................................................................................      0.20.
                                                 Distillate oil ...............................................................................................    0.12.
                                                 Natural gas ...............................................................................................       0.08.
                                                 Multi-fueled unit ........................................................................................        Limit derived by formula based on heat input contribution from each
                                                                                                                                                                     fuel.



                                                   Additional information on the EPA’s                                         Regarding RACT controls, some of the                          distillate oil, and natural gas-fired
                                                 derivation of these proposed emissions                                      sources covered by the final rule are not                       industrial boilers on RACT limits that
                                                 rates for boilers is provided in the Final                                  subject to RACT requirements because                            are already in place in many areas of the
                                                 Non-EGU Sectors TSD.                                                        RACT is only applicable to sources                              country.
                                                   Comment: Some commenters noted                                            located in ozone nonattainment areas                              Regarding NSR control requirements,
                                                 that many boilers are already subject to                                    and in the OTR, and many sources                                we note that the NSR program was
                                                 other state and Federal controls, and                                       covered by the final rule are not located                       created by the 1977 amendments to the
                                                 that programs such as RACT, NSR,                                            within such jurisdictions. Regarding                            CAA and applies only to new or
                                                 BACT, NSPS, and maximum achievable                                          sources that are subject to RACT, we                            modified stationary sources. Many of
                                                 control technology (MACT) are all                                           note that unlike RACT requirements                              the boilers covered by the applicability
                                                 achieving emissions reductions from                                         applicable to sources of VOCs, where a                          requirement of this final rule were
                                                 boilers.                                                                    majority of such sources are covered by                         initially installed or last modified prior
                                                   Response: The EPA acknowledges                                            state RACT rules adopted to conform                             to 1977 and have not undergone NSR
                                                 that some affected units may already be                                     with uniform ‘‘presumptive’’ limits                             analysis, such as a BACT analysis for
                                                 meeting the emissions limits established                                    contained within the EPA’s Control                              sources located within an attainment
                                                 in this rule as a result of controls                                        Technique Guidelines (CTGs), in most                            area or a LAER analysis for sources
                                                 installed to comply with other                                              cases presumptive NOX emissions limits                          located within nonattainment areas.
                                                 regulatory programs, such as the CAA’s                                      have not been established for industrial                        Additionally, BACT and LAER
                                                 RACT requirements. However,                                                 sources of this pollutant. In light of this,                    determinations made many years ago
                                                 emissions from the universe of boilers                                      NOX RACT requirements are primarily                             are not likely to be as stringent as more
                                                 subject to the applicability requirements                                   determined on a state-by-state basis and                        recent determinations.
                                                 of this final rule are not being uniformly                                  exhibit a range of stringencies as                                Regarding NSPS requirements, 40
                                                 reduced by these programs to the same                                       determined by each state. Additionally,                         CFR part 60, subpart Db, Standards of
                                                 extent that the limits we are adopting                                      RACT requirements tend to become                                Performance for Industrial-Commercial-
                                                 will require, nor for the same reason,                                      more stringent with the passage of time                         Institutional Steam Generating Units,
                                                 which is to mitigate the impact of                                          as existing control options are                                 contains NOX emissions limits for
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                                                 emissions from upwind sources on                                            improved, and new options become                                boilers with capacities of 100 mmBTU/
                                                 downwind locations that are                                                 available. Thus, older RACT                                     hr or greater that were constructed or
                                                 experiencing air quality problems. The                                      determinations may not be as stringent                          modified after June 19, 1984, and so
                                                 EPA has determined that the limits we                                       as more recent determinations made for                          boilers constructed or modified prior to
                                                 are finalizing in this action are readily                                   similar equipment types. As noted in                            that date are not subject to its
                                                 achievable and are already required in                                      our proposal, we based our NOX                                  requirements. Additionally, the limits
                                                 practice in many parts of the country.                                      emissions limits for coal, residual or                          for coal, residual or distillate oil, and


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                                                 gas-fired units are not as stringent as                 did not select the most stringent limits               appear achievable for industrial coal-
                                                 more recent limits adopted by states                    because such limits may reflect case-                  fired boilers that experience load swings
                                                 pursuant to RACT control obligations.                   specific technological and economic                    unless SCR is installed. Other
                                                    Lastly, MACT controls are primarily                  feasibility considerations that do not                 commenters stated that while there have
                                                 designed to reduce emissions of                         apply more broadly across the industry.                been recent advancements in SNCR
                                                 hazardous air pollutants, not to reduce                 Furthermore, although the EPA                          technology, such as the setting up of
                                                 NOX emissions. We anticipate the                        acknowledges that some industrial                      multiple injection grids and the
                                                 MACT program’s boiler tune-up                           boilers powered by coal, residual or                   addition of sophisticated CEMs-based
                                                 requirement should reduce NOX                           distillate oil, natural gas, or                        feedback loops, implementing SNCR on
                                                 emissions to some extent, but not to the                combinations of these fuels can meet                   industrial load-following boilers
                                                 extent that compliance with the limits                  very low NOX emissions limits as noted                 continues to pose several technical
                                                 adopted within this final rule will                     by the commenter, it is unlikely that all              challenges, including lack of
                                                 achieve.                                                such units could meet these limits given               achievement of optimal temperature
                                                    Comment: One commenter noted that                    case-specific considerations such as                   range for the reduction reactions to
                                                 a 2017 OTC survey found that boilers,                   boiler design and operation, some of                   successfully complete, and inadequate
                                                 including those used in the paper                       which limit the types of control                       reagent dispersion in the injection
                                                 products, chemical, and petroleum                       technology that may be available to a                  region due to boiler design which can
                                                 industries, are already required to                     particular unit.                                       lead to significant amounts of unreacted
                                                 achieve more stringent limits, and                                                                             ammonia exhausted to the atmosphere
                                                 pointed to limits for distillate oil that               a. Coal-Fired Industrial Boilers
                                                                                                                                                                (i.e., large ammonia slip). The
                                                 are lower than what the EPA considered                     As we proposed, coal-fired industrial               commenter noted that at least one pulp
                                                 in developing the proposal. The                         boilers subject to the applicability                   mill boiler had to abandon its SNCR
                                                 commenter also noted that California’s                  requirements of this section are required              system due to problems caused by poor
                                                 South Coast Air Quality Management                      to meet a NOX emissions limit of 0.2 lb/               dispersion of the reagent within the
                                                 District has adopted a facility-wide NOX                mmBtu on a 30-day rolling average                      boiler, and that SNCR has yet to be
                                                 emissions limit of 0.03 lb/mmBtu at                     basis. Various forms of combustion and                 successfully demonstrated for a pulp
                                                 petroleum refineries. The commenter                     post-combustion NOX control                            mill boiler with constant swing loads.
                                                 noted that CEMs data shows a residual                   technology exist that should enable
                                                 oil-fired boiler at the Ravenswood                      most facilities to retrofit with equipment                Response: To the extent the
                                                 Steam Plant in New York achieves an                     to meet this emissions limit. As we                    commenter’s concerns pertain primarily
                                                 average NOX emissions rate of 0.0716 lb                 explained in our proposal, many states                 to SNCR control technology, we note
                                                 NOX/MMBtu and that CEMS data shows                      containing ozone nonattainment areas                   that the final rule does not mandate the
                                                 that a gas-fired boiler in Johnsonville,                or located within the OTR have already                 use of any particular type of control
                                                 Tennessee, achieves an average NOX                      adopted RACT emissions limits similar                  technology and that other types of
                                                 emissions rate of 0.0058 lb NOX/                        to or more stringent than the limits in                control equipment such as SCR should
                                                 mmBTU. Regarding coal-fired boilers,                    this final rule, and most of those RACT                be examined as a means for meeting the
                                                 the commenter stated that a coal boiler                 limits apply statewide and extend to                   final emissions limits. The EPA
                                                 at the Ingredion Incorporated Argo Plant                boilers located at commercial and                      acknowledges that some coal-fired
                                                 in Illinois achieves an average NOX                     institutional facilities, not just to boilers          industrial boilers subject to this section
                                                 emissions rate of 0.1153 lb NOX/MMBtu                   located in the industrial sector.                      of the final rule may need to install SCR
                                                 with selective non-catalytic control                       Comment: One commenter noted that                   to meet the NOX emissions limits. This
                                                 technology, and the Axiall Corporation                  the coal-fired boilers it operates already             is reflected in our evaluation of costs for
                                                 facility in West Virginia achieves a                    use combustion controls to reduce NOX                  the non-EGU sector contained within
                                                 0.1162 lb/mmBtu using low-NOX burner                    emissions and contended that the                       the Non-EGU Screening Assessment
                                                 technology with overfire air. The                       effectiveness of SNCR on these boilers is              memorandum and the cost calculations
                                                 commenter also noted that more than                     unknown but would likely be on the                     for the final rule discussed in section V
                                                 half of the gas-fired boilers included in               low end of the control effectiveness                   and the Memo to Docket—Non-EGU
                                                 the air markets program database                        range because they experience variable                 Applicability Requirements and
                                                 already emit NOX at rates below the                     loads, which would compromise the                      Estimate Emissions Reductions and
                                                 EPA’s proposed emissions rate, and that                 proper functioning of an SNCR control                  Costs. We note that although the RBLC
                                                 the RACT/BACT/LAER Clearinghouse                        system. The commenter stated that the                  contains information on emissions
                                                 (RBLC) shows more stringent limits for                  only way their coal-fired boilers would                limits and control technology for some
                                                 gas boilers than the limits the EPA                     be able to comply with the EPA’s                       units, it only provides information on a
                                                 proposed, with many facilities being                    proposed NOX limit would be to install                 relatively small number of units subject
                                                 required to meet a NOX limit of less                    SCR. The commenter added that for                      to NOX emissions limits and operating
                                                 than 0.0400 lb/mmBtu.                                   coal-fired industrial boilers with a heat              NOX controls. Additionally, our final
                                                    Response: The EPA’s intent was not to                input rating of 100 MMBtu/hr or more,                  rule provides an exemption for units
                                                 set the NOX emissions limits for coal,                  a review of the available RBLC records                 that operate infrequently (i.e., ‘‘low-use
                                                 residual or distillate oil, and natural gas-            indicates that out of the 23 RBLC entries              boilers’’), and also allows a facility
                                                 fired boilers to match the lowest levels                identified, nine units (less than half)                owner or operator to submit a request
                                                 required elsewhere by state or local                    were subject to an emissions limit at or               for a case-by-case alternative emissions
                                                                                                         below 0.2 lb/mmBtu, and eight of these                 limit in cases where compliance with
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                                                 authorities, but rather to establish limits
                                                 that are commensurate with broadly                      nine units were equipped with SNCR.                    the emissions limit in this final rule is
                                                 applicable RACT limits currently in                     The commenter stated that based on a                   technically impossible or would result
                                                 place in a number of states as noted                    review of the available data in the RBLC               in extreme economic hardship. We note
                                                 within our proposal. The limits we                      and given the technical difficulties and               that non-EGU boilers share many
                                                 selected were not the most stringent of                 low control efficiencies when applying                 similarities with EGU boilers, many of
                                                 the state RACT rules we reviewed but                    SNCR to swing boilers, the EPA’s                       which already operate SCR to control
                                                 were relatively close to that value. We                 proposed limit for coal firing does not                NOX emissions or will be required to


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                                                 install and operate SCR systems under                   numerous combustion and post-                             Comment: One commenter stated that
                                                 the requirements for EGUs contained in                  combustion NOX control technologies                    the proposed reporting obligations
                                                 this final rule. Lastly, we note that                   exist that should generally enable                     require the submittal of excess
                                                 information collected during the                        facilities meeting the applicability                   emissions reports, continuous
                                                 development of updates to the EPA’s                     criteria of this section to meet this                  monitoring, and quarterly emissions
                                                 MACT requirements for industrial,                       emissions limit. Additionally, many                    reports. The commenter suggested that
                                                 commercial, and institutional (ICI)                     states have already adopted emissions                  since the NOX emissions standards only
                                                 boilers indicates that over 150 ICI                     limits similar to the emissions limit in               apply during the ozone season (May 1–
                                                 boilers have installed SCR control                      this final rule, and some natural gas-                 September 30), the reporting
                                                 systems to reduce their NOX emissions.                  fired industrial boilers may be able to                requirements should only apply during
                                                 This information is available in the                    meet the 0.08 lb/mmBtu emissions limit                 the second and third quarters of the year
                                                 docket for this final rule.                             by modifying existing NOX control                      and should require that only emissions
                                                   All affected units must install and                   equipment installed to meet the                        and monitoring data from this time
                                                 operate NOX control equipment as                        requirements in 40 CFR 60.44b (subpart                 period be included in these reports.
                                                 necessary to meet the applicable                        Db of 40 CFR part 60, Standards of                        Response: In response to these
                                                 emissions limits in the final rule, except              Performance for Industrial-Commercial-                 comments, the EPA is finalizing
                                                 that if the owner or operator requests,                 Institutional Steam Generating Units),                 recordkeeping, monitoring, and
                                                 and the EPA approves, a case-by-case                    which already requires that natural gas-               reporting requirements that are designed
                                                 emissions limit based on a showing of                   fired units meet a NOX emissions limit                 to ensure compliance with the
                                                 technical impossibility or extreme                      of between 0.1 to 0.2 lbs/MMBtu.                       applicable emissions limits only during
                                                 economic hardship, the affected unit                    Compliance Assurance Requirements                      the ozone season. Additionally, the final
                                                 would be required to comply with the                                                                           rule requires annual reports rather than
                                                 EPA-approved case-by-case emissions                        We proposed compliance provisions                   the proposed quarterly reports as annual
                                                 limit instead.                                          for boilers subject to the requirements of             reports are adequate to determine
                                                                                                         this section similar to the emissions                  compliance with the emissions limits
                                                 b. Residual or Distillate Oil-Fired                     monitoring requirements found in 40
                                                 Industrial Boilers                                                                                             during the ozone season.
                                                                                                         CFR 60.45 (subpart D of 40 CFR part 60,                   Comment: A number of commenters
                                                    Most oil-fired boilers are fueled by                 Standards of Performance for Fossil-                   stated that some of their boilers that
                                                 either residual (heavy) oil or distillate               Fuel-Fired Steam Generators). Those                    may potentially be subject to a final FIP
                                                 (light) oil. We proposed a NOX                          requirements include, among other                      already have a NOX CEMS installed and
                                                 emissions limit of 0.2 lb/mmBtu 397 for                 provisions, the performance of an initial              requested that the EPA clarify whether
                                                 residual oil-fired boilers and proposed a               compliance test and installation of a                  a 30-day initial compliance test is
                                                 NOX emissions limit of 0.12 lb/mmBtu                    CEMS unless the initial performance                    required in such cases.
                                                 for distillate oil-fired boilers. We are                test indicates the unit’s emissions rate is               Response: The EPA’s final rule
                                                 finalizing both limits as proposed, based               70 percent or less of the emissions limit              provides that in instances where a boiler
                                                 on a 30-day rolling average. As with                    in this final rule. We received a number
                                                                                                                                                                meeting the applicability requirements
                                                 coal-fired industrial boilers, a number of              of comments on this portion of our
                                                                                                                                                                of this section has already installed a
                                                 combustion and post-combustion NOX                      proposal and provide responses to some
                                                                                                                                                                NOX CEMs that meets the requirements
                                                 control technologies exist that should                  of these comments in the following
                                                                                                                                                                for such equipment located within 40
                                                 generally enable facilities meeting the                 paragraphs. Our full responses to
                                                                                                                                                                CFR 60.13 or 40 CFR part 75,
                                                 applicability criteria of this section to               comments are provided in the response
                                                                                                                                                                Continuous Emissions Monitoring,
                                                 meet these emissions limits, and the                    to comments document included in the
                                                                                                                                                                pursuant to a federally enforceable
                                                 Final Non-EGU Sectors TSD identifies                    docket for this action.
                                                                                                            Comment: A number of commenters                     requirement, a 30-day initial
                                                 numerous states that have already                                                                              compliance test is not required.
                                                 adopted emissions limits similar to the                 stated that CEMS monitoring is too
                                                                                                         expensive and unnecessary for ensuring                    Comment: One commenter stated that
                                                 limits in this final rule. There are                                                                           § 52.45(d) of the EPA’s proposed rule
                                                 relatively few boilers fueled by residual               compliance with the emissions limits
                                                                                                         for boilers and requested that alternative             included requirements to complete an
                                                 or distillate oil within the industries                                                                        initial 30-day compliance test within 90
                                                 affected by this final rule that meet the               monitoring techniques be allowed.
                                                                                                            Response: The EPA acknowledges                      days of installing pollution control
                                                 applicability criteria of this section, and                                                                    equipment but did not specify whether
                                                 we received relatively few comments                     that the installation and operation of
                                                                                                         CEMs systems is more expensive than                    the test must be complete prior to the
                                                 regarding our proposed emissions limits                                                                        May 1, 2026, ozone season or by some
                                                 for them.                                               other monitoring techniques and may
                                                                                                         not be necessary for smaller sized                     later date.
                                                 c. Natural Gas-Fired Industrial Boilers                 boilers that typically produce less                       Response: In response to this
                                                                                                         emissions than larger ones. In response                comment, the EPA is finalizing
                                                    We proposed a NOX emissions limit
                                                                                                         to these comments, we have modified                    provisions requiring that initial
                                                 of 0.08 lb/mmBtu based on a 30-day
                                                                                                         the monitoring requirements in the final               compliance tests occur prior to the May
                                                 rolling average for natural gas-fired
                                                                                                         rule such that boilers rated with heat-                1, 2026 compliance date.
                                                 boilers meeting the applicability criteria
                                                 of this section, and we are finalizing this             input capacities less than 250 mmBTU/                  6. Municipal Waste Combustors
                                                 emissions limit and averaging time as                   hr can demonstrate compliance by
                                                                                                         conducting an annual stack test as an                  Applicability
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                                                 proposed. As explained in our proposal,
                                                                                                         alternative to monitoring using a CEMs                   The EPA is finalizing regulatory
                                                   397 Section52.45(c) of the regulatory text in our     system and by complying with the                       requirements that apply to municipal
                                                 proposed rule identified a proposed emissions limit     provisions of a monitoring plan meeting                solid waste combustors located in a
                                                 of 0.15 lb/mmBtu for residual oil-fired boilers, but    specific criteria that enables the facility            state subject to the non-EGU
                                                 the emissions limit that we intended to propose for
                                                 this equipment and discussed both in the preamble
                                                                                                         owner or operator to demonstrate                       requirements of this final rule (i.e., the
                                                 to the proposed rule and in the TSD supporting the      continuous compliance with the                         20 states with linkages that persist in
                                                 proposed rule was 0.20 lb/mmBtu.                        emissions limits of this final rule.                   2026 as identified in section II.B) and


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                                                 that combust greater than or equal to                                 range from 165 to 250 ppm depending                    threshold that the EPA identified at
                                                 250 tons per day of municipal solid                                   on the combustor design type. The NOX                  proposal. Some commenters confirmed
                                                 waste (‘‘affected units’’). See 40 CFR                                limits for large MWCs constructed after                the accuracy of the OTC workgroup’s
                                                 52.46(d) for guidelines on calculating                                September 20, 1994 or for which                        estimated cost of controls for reducing
                                                 municipal waste combustor unit                                        modification or reconstruction is                      NOX emissions from MWCs of $2,900 to
                                                 capacity. This applicability threshold                                commenced after June 19, 1996 under                    $6,600 while others stated that the cost
                                                 was supported by commenters and is                                    NSPS subpart Eb are found at 40 CFR                    of controls is well below $7,500. One
                                                 consistent with the applicability criteria                            60.52b(d) and are 180 ppm during a                     commenter asserted that the EPA should
                                                 in 40 CFR part 60, subpart Eb, Standards                              unit’s first year of operation and 150                 set a 24-hour NOX emissions limit of 50
                                                 of Performance for New Stationary                                     ppm afterwards, applicable across all                  ppmvd for MWCs, which could be
                                                 Sources and Emission Guidelines for                                   combustor types. These limits                          achieved by the installation of SCR
                                                 Existing Sources: Large Municipal                                     correspond to NOX emissions rates of                   technology. Alternatively, the
                                                 Waste Combustors. State RACT rules for                                0.31 and 0.26 lb/mmBtu, respectively.                  commenters stated that the EPA should
                                                 MWCs and the OTC MWC report                                           In reviewing active air permits for                    set a 24-hour emissions limit no higher
                                                 similarly define large MWC units as                                   MWCs, the EPA found that most MWCs                     than 110 ppm based on less effective,
                                                 units with a combustion capacity greater                              are meeting emissions limits similar to                though still widely available, control
                                                 than or equal to 250 tons per day.                                    those reflected in the applicable                      technology. Although some commenters
                                                    Across the 20 states subject to the                                NSPS.400                                               stated that MWCs should not be
                                                 non-EGU requirements, this                                              The EPA also cited the OTC’s MWC                     included in the rulemaking, no
                                                 applicability threshold captures 28                                   report that evaluated the emissions                    commenters specifically identified units
                                                 MWC facilities with a total of 80                                     reduction potential of large MWCs                      or categories of units that could not
                                                 affected units. The identified affected                               located in the OTR from two different                  achieve emissions limits of 105 ppmvd
                                                 units include mass burn waterwall                                     control levels, one based on a NOX                     on a 30-day rolling averaging basis and
                                                 units, mass burn rotary waterwall units,                              concentration of 105 to 110 ppm, and                   110 ppmvd on a 24-hour block
                                                 refuse derived fuel (RDF) units, and one                              another based on a limit of 130 ppm.                   averaging basis.
                                                 CLEERGASTM (‘‘Covanta Low Emissions                                   The OTC MWC report found that a
                                                                                                                                                                                 Response: The EPA recognizes that
                                                 Energy Recovery Gasification’’) modular                               control level of 105 ppmvd on a 30-day
                                                                                                                                                                              there have been instances where MWCs
                                                 system.398 The EPA analyzed actual                                    rolling average basis and a 110 ppmvd
                                                                                                                                                                              have installed SCR and achieved
                                                 emissions from the facilities captured by                             on a 24-hour block averaging period
                                                                                                                       would reduce NOX emissions from                        emissions rates of 50 ppmvd on a 24-hr
                                                 this threshold and found that on                                                                                             averaging basis and 45 ppmvd on a 30-
                                                 average, a unit with a design capacity of                             MWCs by approximately 7,300 tons
                                                                                                                       annually, and that a limit of 130 ppmvd                day rolling averaging basis with cost
                                                 250 tons per day has a PTE of                                                                                                effectiveness estimates around $10,296/
                                                 approximately 138 tons per year,399                                   on a 30 day-average could achieve a
                                                                                                                       4,000 ton reduction. The OTR MWC                       ton to $12,779/ton of NOX reduced.
                                                 which is similar to the PTE threshold                                                                                        Given uncertainties pertaining to
                                                 applied to other non-EGU sources under                                Report noted that at the time of
                                                                                                                       publication, eight MWC units were                      whether SCR can be installed on all
                                                 this rulemaking.                                                                                                             types of MWCs, the EPA has decided
                                                                                                                       already subject to permit limits of 110
                                                 Emissions Limitations and Rationale                                   ppm, seven in Virginia, and one in                     not to establish emissions limits as low
                                                                                                                       Florida. In consideration of control                   as 50 ppmvd for MWCs using SCR at
                                                   Based on the available information for
                                                                                                                       costs, the report cited multiple studies               this time. However, as generally
                                                 this industry, including information
                                                                                                                       evaluating MWCs similar in design to                   supported by most commenters, the
                                                 provided during the public comment
                                                                                                                       the large MWCs in the OTR and found                    EPA is finalizing emissions limits of 105
                                                 period, the OTC MWC Report, a review
                                                                                                                       NOX reductions could be achieved at                    ppmvd at 7 percent oxygen (O2) on a 30-
                                                 of State and local RACT rules that apply
                                                                                                                       costs ranging from $2,900 to $6,600 per                day rolling average and 110 ppmvd at 7
                                                 to MWCs, and active air permits issued
                                                                                                                       ton of NOX reduced.                                    percent O2 on a 24-hour block average
                                                 to MWCs, the EPA is finalizing the
                                                                                                                         To further inform the EPA’s                          that apply at all times except during
                                                 following emissions limits for
                                                                                                                       consideration of emissions limits for                  periods of startup and shutdown. The
                                                 municipal solid waste combustors.
                                                                                                                       MWCs, the EPA requested comment on                     EPA recognizes that the final emissions
                                                                                                                       the emissions limit and averaging time                 limits for steady-state operations cannot
                                                      TABLE VI.C.6–1—NOX EMISSIONS                                                                                            be achieved during periods of startup,
                                                     LIMITS FOR LARGE MUNICIPAL                                        MWCs should be required to meet, and
                                                                                                                       specifically whether the EPA should                    shutdown, and malfunction. This is
                                                     WASTE COMBUSTORS                                                                                                         primarily due to the fact that during
                                                                                                                       adopt emissions rates of 105 ppmvd on
                                                                                                                       a 30-day rolling averaging basis and 110               periods of startup and shutdown,
                                                             NOX Limit
                                                              (ppmvd)                                   Averaging      ppmvd on a 24-hour block averaging                     additional ambient air is introduced
                                                                                                         period                                                               into the units, resulting in higher
                                                   corrected to 7 percent oxygen                                       basis.
                                                                                                                         Comment: The agency received                         oxygen concentrations. Therefore, the
                                                 110 .............................................     24-hour.        several comments regarding emissions                   EPA is finalizing provisions applicable
                                                 105 .............................................     30-day.                                                                during periods of startup and shutdown
                                                                                                                       limits and averaging time for MWCs.
                                                                                                                       Many commenters asserted that the EPA                  that do not require correction of CEMS
                                                   At proposal, the EPA noted that the                                                                                        data to 7 percent oxygen but do require
                                                                                                                       should set a 24-hour emissions limit no
                                                 NOX limits for large MWCs constructed                                                                                        that such data be measured at stack
                                                                                                                       higher than 110 ppm, noting that recent
                                                 on or before September 20, 1994 under                                                                                        oxygen content. This approach is
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                                                                                                                       studies have shown that there are a
                                                 NSPS subpart Cb are found within                                                                                             consistent with EPA regulations
                                                                                                                       variety of technologies that can help a
                                                 Tables 1 and 2 of 40 CFR 60.39b and                                                                                          applicable during startup and shutdown
                                                                                                                       wide range of MWC types achieve this
                                                                                                                       limit at costs that are significantly below            periods for other solid-waste
                                                   398 See the Final Non-EGU Sectors TSD for
                                                                                                                       the $7,500/ton cost effectiveness                      incinerators under the NSPS for
                                                 additional information on this inventory.
                                                   399 See the Final Non-EGU Sectors TSD for                                                                                  Commercial and Industrial Solid Waste
                                                 additional information on the calculation of PTE for                    400 For further discussion of the permits            Incineration Units. See 40 CFR part 60,
                                                 large MWCs.                                                           reviewed, see the Final Non-EGU Sectors TSD.           subparts CCCC and DDDD.


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                                                    Information received from public                     basis. Studies show that these limits can              under the final rule should be required
                                                 commenters generally aligned with the                   be achieved through a variety of                       to report NOX CEMS data electronically
                                                 results from studies showing that the                   emissions controls, including ASNCR                    at least annually to the EPA’s CEDRI
                                                 emissions limits of 105 ppmvd on a 30-                  and the addition of low NOX technology                 and any other database that the EPA
                                                 day rolling averaging basis and 110                     to existing SNCR.402 Of the 80 MWC                     will utilize when considering revisions
                                                 ppmvd on a 24-hour block averaging                      units subject to this rule, 55 units                   to the NSPS for large MWCs. The
                                                 basis can be reached using ASNCR or                     already have SNCR installed, 16 units                  commenters asserted that MWC
                                                 low NOX technology in addition to                       already have SNCR and low NOX                          operators should be required to report
                                                 SNCR.401 The EPA recognizes that not                    technology installed, and three units                  NOX CEMS data to the EPA’s Clean Air
                                                 all units can implement low NOX                         already have ASNCR installed.                          Markets database, to allow the public
                                                 technology, including those using Aireal                Applying the cost values provided in                   access to MWC CEMS data on a large
                                                 grate technology, those operating RFD                   the OTC’s MWC report to the MWC                        scale for the first time.
                                                 units, and those with rotary combustor                  inventory in section 7 of the Final Non-                  Response: The EPA is finalizing
                                                 units. Of the 80 affected MWC units that                EGU Sectors TSD, the estimated                         provisions that require MWCs subject to
                                                 the EPA identified, nine units across                   weighted average cost effectiveness of                 the requirements of this section to
                                                 two facilities are classified as rotary                 applying advanced SNCR to units with                   install, calibrate, maintain, and operate
                                                 combustors, four units at a single                      and without existing SNCR and adding                   a CEMS for the measurement of NOX
                                                 facility are classified as RDF, and no                  low NOX technology to eligible units                   emissions discharged into the
                                                 units captured are classified as using                  with SNCR was found to be                              atmosphere from the affected facility.
                                                 Aireal grate technology. One affected                   approximately $7,929.02/ton.403 This                   This is consistent with NSPS
                                                 unit is classified as CLEERGAS                          value is in line with the control                      requirements for large MWCs under 40
                                                 gasification while the remaining 64                     technology costs for other non-EGU                     CFR part 60, subparts Ea and Eb, and
                                                 affected units are classified as mass                   sectors and the EGU costs associated                   state RACT rules that are applicable to
                                                 burn waterwall combustors, which have                   with this final rule.                                  MWCs in many of the states covered
                                                 not been explicitly identified as units                                                                        under this rulemaking.404 Additionally,
                                                                                                         Compliance Assurance Requirements                      each emissions unit will be required to
                                                 unable to install low NOX technology.
                                                 For those units unable to install low                     In this final rule, the EPA is                       conduct an initial performance test.
                                                 NOX technology or SNCR, the EPA has                     establishing compliance requirements                   With regard to electronic reporting, the
                                                 identified ASCNR as an alternative                      for MWCs similar to the NSPS                           final rule requires performance tests and
                                                                                                         requirements for large MWCs under 40                   reports, including CEMS data, to be
                                                 control technology that has been shown
                                                                                                         CFR part 60, subpart Eb. Those                         submitted to CEDRI, as required for all
                                                 to enable units to achieve emissions
                                                                                                         requirements include, among other                      non-EGU industries covered by this
                                                 limits of 105 ppmvd on a 30-day rolling
                                                                                                         provisions, the performance of an initial              final rule.
                                                 averaging basis and 110 ppmvd on a 24-
                                                                                                         performance test and installation of a
                                                 hour block averaging basis, either as a                                                                        D. Submitting a SIP
                                                                                                         CEMS. At proposal, the EPA requested
                                                 new retrofit technology or as a                                                                                   A state may submit a SIP at any time
                                                                                                         comment on whether it would be
                                                 significant upgrade to existing SNCR.                                                                          to address CAA requirements that are
                                                                                                         appropriate to rely on existing testing,
                                                 The EPA finds that the availability of                                                                         covered by a FIP, and if the EPA
                                                                                                         monitoring, recordkeeping, and
                                                 ASNCR or SNCR and low NOX burners                                                                              approves the SIP it would replace the
                                                                                                         reporting requirements for MWCs under
                                                 provides sufficient flexibility for MWCs                applicable NSPS or other requirements.                 FIP, in whole or in part, as appropriate.
                                                 to meet the emissions limits in the final                 Comment: Some commenters noted                       As discussed in this section, states may
                                                 rule, especially considering 74 of the 80               that all large MWCs are already required               opt for one of several alternatives that
                                                 affected units already have SNCR                        to use CEMS to demonstrate compliance                  the EPA has provided to take over all or
                                                 installed. Although there is uncertainty                with NOX limits under the NSPS                         portions of the FIP. However, as
                                                 on the cost effectiveness of ASNCR for                  program. These commenters asserted                     discussed in greater detail further in this
                                                 achieving significant NOX reductions in                 that the EPA should improve electronic                 section, the EPA also recognizes that
                                                 small MWCs, small MWCs that combust                     reporting requirements beyond current                  states retain the discretion to develop
                                                 less than 250 tons per day of municipal                 requirements in the NSPS. The                          SIPs to replace a FIP under approaches
                                                 solid waste are not included in this                    commenters suggested that an owner or                  that differ from those the EPA has
                                                 rulemaking.                                             operator of an MWC subject to a limit                  finalized.
                                                    While commenters noted                                                                                         The EPA has established certain
                                                 discrepancies across cost effectiveness                    402 See OTC MWC Report at 6–7; Trinity              specialized provisions for replacing FIPs
                                                 values for specific types of control                    Consultants, Project Report Covanta Alexandria/        with SIPs within all the CSAPR trading
                                                 technology, no commenters specifically                  Arlington, Inc., Reasonably Available Control          programs, including the use of so-called
                                                 indicated that emissions control                        Technology Determination for NOX (September
                                                                                                         2017); Trinity Consultants, Project Report Covanta     ‘‘abbreviated SIPs’’ and ‘‘full SIPs,’’ see
                                                 technology could not be cost effectively                Fairfax, Inc., Reasonably Available Control            40 CFR 52.38(a)(4) and (5) and (b)(4),
                                                 installed on large MWCs to achieve an                   Technology Determination for NOX (September            (5), (8), (9), (11), and (12); 40 CFR
                                                 emissions limit of 105 ppmvd on a 30-                   2017); Babcock Power Environmental, Waste to           52.39(e), (f), (h), and (i). For a state to
                                                 day rolling averaging basis and 110                     Energy NOX Feasibility Study, Prepared for:
                                                                                                         Wheelabrator Technologies Baltimore Waste to
                                                                                                                                                                remove all FIP provisions through an
                                                 ppmvd on a 24-hour block averaging                      Energy Facility Baltimore, MD (February 20, 2020);     approved SIP revision, a state would
                                                                                                         White, M., Goff, S., Deduck, S., Gohlke, O., New       need to address all of the required
                                                    401 The only demonstrated use of low NO              Process for Achieving Very Low NOX, Proceedings        reductions addressed by the FIP for that
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                                                                                               X
                                                 technology in addition to SNCR at MWC facilities        of the 17th Annual North American Waste-to-
                                                                                                         Energy Conference, NAWTEC17 (May 2009); Letter
                                                                                                                                                                state, i.e., reductions achieved through
                                                 is at Covanta facilities using Covanta’s proprietary
                                                 low NOX combustion system (LNTM). For the               from the State of New Jersey to Michael Klein, In      both EGU control and non-EGU control,
                                                 purpose of this rule, EPA is assuming Covanta           Rreference to Covanta Energy Group, Inc. Essex
                                                 facilities will take advantage of this technology and   County Resource Recovery Facility, Newark Annual         404 For examples of RACT provisions applicable

                                                 others will use ASNCR. However, other iterations        Stack Test Program (March 14, 2019).                   to MWCs that require CEMS, see Regulations of
                                                 of low NOX technology could become available, or           403 See Final Non-EGU Sectors TSD for more          Connecticut State Agencies section 22a–174–22e;
                                                 facilities could work with Covanta to apply this        information on these cost effectiveness estimates      and Virginia Administrative Code section 5–40–
                                                 technology to their units.                              were generated.                                        6730, subsection (D).



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                                                 as applicable to that state. Additionally,              their SIPs at any point. The EPA has                   with a SIP that takes an alternative
                                                 tribes in Indian country within the                     repeatedly emphasized that states are                  approach would need to establish, at a
                                                 geographic scope of this rule may elect                 free to develop a SIP revision to replace              minimum, an equivalent level of
                                                 to work with EPA under the Tribal                       a transport FIP and submit that to the                 emissions reduction to what the FIP
                                                 Authority Rule to replace the FIP for                   EPA for approval, and this remains true.               requires at Step 3, and any such
                                                 areas of Indian country, in whole or in                 See 87 FR 20036, 20051 (April 6, 2022);                replacement SIP will need to comply
                                                 part, with a tribal implementation plan                 86 FR 23054, 23062 (April 30, 2021); 81                with CAA section 110(l).
                                                 or reasonably severable portions of a                   FR 74504, 74506 (Oct. 26, 2016). In the                   The concept of equivalency is
                                                 tribal implementation plan.                             FIP proposal, as in prior transport                    important for the state to consider.
                                                    Under the FIPs for the 22 states whose               actions, the EPA discussed a number of                 Under CAA section 110(l), ‘‘the
                                                 EGUs are required to participate in the                 ways in which states could take over or                Administrator shall not approve a
                                                 CSAPR NOX Ozone Season Group 3                          replace a FIP, see 87 FR 20036, 20149–                 revision of a plan if the revision would
                                                 Trading Program with the modifications                  51 (section VII.D: ‘‘Submitting A SIP’’);              interfere with any applicable
                                                 finalized in this rule, EPA continues to                see also id. at 20040 (noting as one                   requirement concerning attainment . . .
                                                 offer ‘‘abbreviated’’ and ‘‘full’’ SIP                  purpose in proposing the FIP that ‘‘this               or any other applicable requirement of
                                                 options for states. An ‘‘abbreviated SIP’’              proposal will provide states with as                   this chapter.’’ Section 110(l) applies to
                                                 allows a state to submit a SIP revision                 much information as the EPA can                        all CAA requirements, including
                                                 that establishes state-determined                       supply at this time to support their                   110(a)(2)(D) requirements relating to
                                                 allowance allocation provisions                         ability to submit SIP revisions to                     interstate transport. The EPA interprets
                                                 replacing the default FIP allocation                    achieve the emissions reductions the                   section 110(l) such that states have two
                                                 provisions but leaving the remaining                    EPA believes necessary to eliminate                    main options to make a noninterference
                                                 FIP provisions in place. A ‘‘full SIP’’                 significant contribution’’). The EPA                   demonstration. First, the state could
                                                 allows a state to adopt a trading program               provides further guidance on submitting                demonstrate that emissions reductions
                                                 meeting certain requirements that allow                 SIPs in this section. If, and when, the                removed from the SIP are replaced with
                                                 sources in the state to continue to use                 EPA receives a SIP submission that                     new control measures that achieve
                                                 the EPA-administered trading program                    satisfies the requirements of CAA                      equivalent or greater emissions
                                                 through an approved SIP revision,                       section 110(a)(2)(D)(i)(I) and 110(l), the             reductions. Thus, a 110(l) analysis
                                                 rather than a FIP. In addition, as under                Agency will take action to approve                     would generally need to show that the
                                                 past CSAPR rulemakings, states have                     those SIP submissions and withdraw the                 SIP revision, or, in this case, a potential
                                                 the option to adopt state-determined                    FIP.                                                   SIP submission replacing an existing
                                                 allowance allocations for existing units                   At the outset, we note that the Agency              FIP, will not interfere with any area’s
                                                 for the second control period under this                does not anticipate revisiting its                     ability to continue to attain or maintain
                                                 rule—in this case, the 2024 control                     findings at Steps 1 or 2 of the transport              the affected NAAQS or other CAA
                                                 period—through streamlined SIP                          framework. Those findings establish                    requirements. The EPA further has
                                                 revisions. See 76 FR 48326–48332 for                    that the projected baseline                            interpreted section 110(l) as requiring
                                                 additional discussion of full and                       anthropogenic emissions from these                     such substitute measures to be
                                                 abbreviated SIP options; see also 40 CFR                states contribute to downwind                          quantifiable, permanent, and
                                                 52.38(b).                                               nonattainment or maintenance receptors                 enforceable, among other
                                                    Comments: Some commenters alleged                    in 2023, and, for certain states, that                 considerations. For section 110(l)
                                                 that by taking this action, EPA is                      contribution continues through 2026.                   purposes, ‘‘permanent’’ means the state
                                                 depriving states of the ability to develop              Those represent critical analytical years              cannot modify or remove the substitute
                                                 SIPs to implement good neighbor                         for downwind areas as they are the last                measure without EPA review and
                                                 obligations for the 2015 ozone NAAQS                    full ozone season before the Moderate                  approval. Second, the state could
                                                 or from choosing their own compliance                   and Serious area attainment dates.                     conduct air quality modeling or develop
                                                 strategies. Commenters also claimed                     Those findings, for those years, establish             an attainment or maintenance
                                                 that the EPA cannot require states to                   the basis for an upwind state’s linkage,               demonstration based on the EPA’s most
                                                 implement emissions reductions                          from which we proceed to evaluate                      recent technical guidance to show that,
                                                 equivalent to the emissions control                     emissions control opportunities and                    even without the control measure or
                                                 stringency that the EPA determined at                   their implementation at Steps 3 and 4.                 with the control measure in its modified
                                                 Step 3 if their proposed SIPs are                          We cannot prejudge now whether                      form, significant contribution from the
                                                 otherwise shown to be adequate to                       state submissions to replace the EPA’s                 state would continue to be prohibited as
                                                 eliminate significant contribution. Other               FIP will be approvable, but we note a                  the Act requires. As discussed further in
                                                 commenters raised concerns that the                     number of statutory and implementation                 this section, for purposes of interstate
                                                 trading program enhancements for EGUs                   considerations states should be aware of               ozone transport, such an analysis entails
                                                 made it too uncertain what a state could                if designing a replacement SIP. We have                important questions of consistency and
                                                 develop as an approvable replacement                    demonstrated that the EPA’s transport                  equity among states for resolving air
                                                 SIP. At least one commenter argued that                 FIP is adequate to eliminate significant               quality problems that the EPA would
                                                 the EPA must give states a single, mass-                contribution to downwind air quality                   need to carefully evaluate.405
                                                 based emissions budget so that they can                 problems for purposes of the 2015 ozone
                                                 understand how to replace the FIP with                  NAAQS, and that the FIP does not result                   405 For instance, future circumstances in which

                                                 a SIP.                                                  in overcontrol. The level of reductions                the receptor or receptors to which a state is linked
                                                    Response: The EPA disagrees that it is                                                                      come fully into attainment or to which the upwind
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                                                                                                         required by the FIP therefore provides
                                                                                                                                                                state’s linkage drops below 1 percent of the NAAQS
                                                 depriving States of the opportunity to                  an important benchmark for states in                   would likely not, solely on those grounds, be
                                                 replace the FIP with a SIP or preventing                evaluating the equivalency of possible                 sufficient to relax transport requirements
                                                 states from targeting alternative                       replacement SIPs. As discussed in more                 established by the FIP or justify approving a less
                                                 emissions reductions strategies that can                detail in this section, in order to comply             stringent SIP. First, the emissions reductions
                                                                                                                                                                achieved by the FIP are part of the reason that a
                                                 be shown to be equivalent to the FIP.                   with their obligation under CAA section                receptor may come into attainment or a linkage may
                                                 States have always possessed the                        110(a)(2)(D)(i)(I), we generally anticipate            drop below 1 percent of the NAAQS. Simply
                                                 authority and the opportunity to revise                 that states seeking to replace the FIP                                                            Continued




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                                                    In the EPA’s experience implementing                  considered ‘‘permanent and                            ozone season. As explained in section
                                                 the CAA criteria pollutant program,                      enforceable’’ under the statute); Sierra              V.D.4 of this document, these aspects of
                                                 reductions arising from the good                         Club v. EPA, 793 F.3d 656, 665–68 (6th                the trading program do not in
                                                 neighbor provision have been critically                  Cir. 2015) (same). States seeking area                themselves introduce an overcontrol
                                                 important to the improvement of air                      redesignations are also required under                concern. Nonetheless, consistent with
                                                 quality in downwind areas struggling                     CAA section 107(d)(3)(E)(iv) to develop               the more general principles discussed in
                                                 with attainment and maintenance of the                   revisions to their state implementation               this section with respect to the potential
                                                 NAAQS, and states’ reliance on good                      plans that provide for maintenance of                 bases on which states may replace the
                                                 neighbor FIP reductions will need to be                  the NAAQS. In so doing, states develop                FIP with SIPs, we reserve judgment at
                                                 taken into account in any replacement                    air quality modeling, in which they                   this time on whether some future
                                                 SIP. In order for a nonattainment area to                project future air quality based on                   demonstration could successfully
                                                 be redesignated to attainment, the CAA                   emissions inputs that account for                     establish that revision of the FIP or its
                                                 requires not only that an area attain the                enforceable emissions reductions, or                  replacement with a SIP could be
                                                 standard, but also the Administrator                     states project emissions in the future                acceptable even if the way that
                                                 must determine ‘‘that the improvement                    relative to emissions in an attainment                significant contribution is eliminated is
                                                 in air quality is due to permanent and                   year, showing that the future emissions               through means that differ from the
                                                 enforceable reductions in emissions                      (which, again, account for on-the-books,              trading program enhancements included
                                                 resulting from implementation of the                     enforceable emissions limits) do not                  for EGUs in this action. As discussed
                                                 applicable implementation plan and                       exceed emissions in the baseline                      further in this section, a state may
                                                 applicable Federal air pollutant control                 attainment year. See ‘‘Procedures for                 choose to withdraw its EGUs from the
                                                 regulations and other permanent and                      Processing Requests to Redesignate                    trading program and instead subject
                                                 enforceable reductions.’’ CAA section                    Areas to Attainment,’’ Memo from John                 those EGUs to daily emissions rates
                                                 107(d)(3)(E)(i) and (iii). Many                          Calcagni to EPA Regions, September 4,                 commensurate with installation and
                                                 nonattainment areas across the country                   1992, at 9. Reductions required by                    optimization of state-of-the-art
                                                 that have attained various PM2.5 and                     Federal good neighbor programs may                    combustion and post-combustion
                                                 ozone NAAQS have done so in part due                     therefore also be relied upon by states               controls as the EPA determined at Step
                                                 to the imposition of Federal good                        seeking area redesignations in the                    3. Likewise, states are free to explore an
                                                 neighbor emissions control measures,                     context of how states demonstrate that                alternative set of emissions controls on
                                                 and, per CAA section 107(d)(3)(E)(iii),                  areas will maintain the NAAQS.                        non-EGU industrial sources (or other
                                                 states have specifically relied on the                      We anticipate that air quality in areas            sources in the state), so long as they can
                                                 emissions reductions required by those                   struggling to attain and maintain the                 demonstrate that an equivalent amount
                                                 programs in order to be redesignated to                  2015 ozone NAAQS will improve due to                  of emissions is eliminated. In any case,
                                                 attainment. See, e.g., 84 FR 8422, 8425                  the emissions reductions required by                  we need not resolve these questions
                                                 (March 8, 2019) (noting that ‘‘[a]t least                EPA’s FIP. We also anticipate that,                   here. The EPA, in promulgating a FIP,
                                                 140 EPA final actions redesignating                      consistent with EPA’s historical                      is not obligated to identify each way a
                                                 areas in 20 states to attainment with an                 experience implementing the NAAQS                     state could replace it with a SIP
                                                 ozone NAAQS or a fine particulate                        and acting on state requests for                      revision. Several options are discussed
                                                 matter (PM2.5) NAAQS—because NOX is                      nonattainment area redesignations,                    further in this section, and, as always,
                                                 a precursor to PM2.5 as well as ozone—                   emissions reductions associated with                  EPA Regional Offices will work closely
                                                 have relied in part on the NOX SIP Call’s                EPA’s transport FIP for the 2015 ozone                with states who wish to explore these
                                                 emissions reductions’’); see also Sierra                 NAAQS are likely to be a critical                     options or other alternatives.
                                                 Club v. EPA, 774 F.3d 383, 397–99 (7th                   component in those requests for
                                                                                                          redesignation. Where states have relied               1. SIP Option To Modify Allocations for
                                                 Cir. 2014) (upholding EPA’s approval of
                                                                                                          and are relying on the FIP’s reductions               2024 Under EGU Trading Program
                                                 a redesignation, and specifically EPA’s
                                                 determination that reductions from                       in order to attain and maintain the                      As with the start of past CSAPR
                                                 Federal good neighbor transport trading                  NAAQS, EPA will look very critically at               rulemakings, the EPA is finalizing the
                                                 programs could reasonably be                             any replacement SIP that appears to fall              option to allow a state to use a similar
                                                                                                          short of equivalent emissions                         process to submit a SIP revision
                                                 removing emissions control requirements the              reductions—in terms of the level of                   establishing allowance allocations for
                                                 moment this occurs is illogical, since those             reductions or the permanence of those                 existing EGU units in the state for the
                                                 reductions are part of the solution by which the                                                               second control period of the new
                                                 attaining air quality was achieved or the linkage
                                                                                                          reductions.
                                                 was resolved. See CAA section 107(d)(3)(E)(iii)             Finally, we disagree with commenters               requirements, i.e., in 2024, to replace
                                                 (areas cannot be redesignated unless based on            that the absence of fixed, mass-based                 the EPA-determined default allocations.
                                                 permanent and enforceable reductions); see also          emissions budgets for each state make it              A state must submit a letter to EPA by
                                                 Wisconsin, 938 F.3d at 324–25 (explaining that           impossible to replace the FIP with an                 August 4, 2023, indicating its intent to
                                                 upwind states are held to a contribution standard,
                                                 not a but-for causation standard and thus cannot         equivalent SIP. In the case of the trading            submit a complete SIP revision by
                                                 escape good neighbor obligations on the basis that       program enhancements for EGUs, the                    September 1, 2023. The SIP would
                                                 other emissions ‘‘cause’’ the NAAQS to be                EPA recognizes that the dynamic                       provide in an EPA-prescribed format a
                                                 exceeded). There is a risk of inconsistency and                                                                list of existing units within the state and
                                                 inequity in removing any requirements in this
                                                                                                          budgeting methodology will generally
                                                 manner in that any increase in emissions that could      function to impose a continuous                       their allocations for the 2024 control
                                                 occur in one upwind state would likely need to be        incentive on relevant EGUs to continue                period. If a state does not submit a letter
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                                                 reviewed in relation to the obligations other            to implement the emissions control                    of intent to submit a SIP revision, the
                                                 upwind states would continue to meet. Further, any                                                             EPA-determined default allocations will
                                                 such relaxation in upwind state requirements could
                                                                                                          strategies determined at Step 3. Further,
                                                 then unreasonably shift the burden for maintaining       the backstop rate and banking                         be recorded by September 5, 2023. If a
                                                 air quality onto the downwind states where               recalibration enhancements also are                   state submits a timely letter of intent but
                                                 receptors are located. These issues may entail           designed to ensure that EGUs                          fails to submit a SIP revision, the EPA-
                                                 complex state- or case-specific analyses that would
                                                 need to be evaluated at the time such a SIP revision
                                                                                                          implement emissions controls                          determined default allocations will be
                                                 is submitted; these issues are not ripe for resolution   consistent with Step 3 determinations                 recorded by September 15, 2023. If a
                                                 in this action.                                          on a continuous basis throughout each                 state submits a timely letter of intent


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                                                 followed by a timely SIP revision that is               Season Group 3 Trading Program                         program with an integrated State EGU
                                                 approved, the approved SIP allocations                  applicability, which the EPA would                     trading program through an approved
                                                 will be recorded by March 1, 2024.                      evaluate on a case-by-case basis. The                  SIP revision. Under this option, a state
                                                    The EPA received no comments on                      SIP revision would need to address                     can submit a SIP revision that makes
                                                 the proposed option to modify                           critical program elements, and include:                changes only to modify the EPA-
                                                 allowance allocations under the Group                   (1) high-quality baseline data, (2)                    determined default allocations and that
                                                 3 trading program for EGUs for the 2024                 ongoing Part 75 monitoring, and (3)                    adopts identical provisions for the
                                                 control period through a SIP revision                   provisions to update the non-EGU                       remaining portions of the EGU trading
                                                 and is finalizing the provisions as                     portion of the budget to appropriately                 program. This SIP option allows states
                                                 proposed.                                               reflect changes to the fleet over time.                to replace these FIP provisions with
                                                                                                            For states that want to modify the                  state-based SIP provisions while
                                                 2. SIP Option To Modify Allocations for
                                                                                                         EPA-determined default allocations, the                continuing participation in the larger
                                                 2025 and Beyond Under EGU Trading
                                                                                                         EPA proposed that a state could submit                 regional trading program. As with the
                                                 Program
                                                                                                         a SIP revision that makes changes only                 abbreviated SIP option discussed
                                                    For the 2025 control period and later,               to that provision while relying on the                 previously, to ensure the availability of
                                                 states in the CSAPR NOX Ozone Season                    FIP for the remaining provisions of the                allowance allocations for units in any
                                                 Group 3 Trading Program can modify                      EGU trading program. This abbreviated                  Indian country within a state not
                                                 the EPA-determined default allocations                  SIP option allows states to tailor the FIP             covered by the state’s CAA
                                                 with an approved SIP revision. For the                  to their individual choices while                      implementation planning authority, if
                                                 2025 control period and later, SIPs can                 maintaining the FIP-based structure of                 the state chooses to replace the EPA’s
                                                 be full or abbreviated SIPs. See 76 FR                  the trading program. To ensure the                     default allocations with state-
                                                 48326–48332 for additional discussion                   availability of allowance allocations for              determined allocations, the EPA would
                                                 of full and abbreviated SIP options; see                units in any Indian country within a                   continue to administer any portion of
                                                 also 40 CFR 52.38(b).                                   state not covered by the state’s CAA                   each state emissions budget reserved as
                                                    In this final rule, the EPA is removing              implementation planning authority, if                  a new unit set-aside or an Indian
                                                 the previous regulatory text defining                   the state chose to replace the EPA’s                   country existing unit set-aside. Also, for
                                                 specific options for states to expand                   default allocations with state-                        the same reasons discussed with respect
                                                 CSAPR NOX Ozone Season Group 3                          determined allocations, the EPA would                  to the abbreviated SIP option, the EPA
                                                 trading program applicability to include                continue to administer any portion of                  is removing the option for states to
                                                 EGUs between 15 MWe and 25 MWe or,                      each state emissions budget reserved as                expand CSAPR NOX Ozone Season
                                                 in the case of states subject to the NOX                a new unit set-aside or an Indian                      Group 3 trading program applicability to
                                                 SIP Call, large non-EGU boilers and                     country existing unit set-aside.                       include EGUs between 15 MWe and 25
                                                 combustion turbines. These options for                     The SIP submittal deadline for this                 MWe or, in the case of states subject to
                                                 expanding trading program applicability                 type of revision is December 1, 2023, if               the NOX SIP Call, large non-EGU boilers
                                                 through SIP revisions have been                         the state intends for the SIP revision to              and combustion turbines.
                                                 available to states since the start of the              be effective beginning with the 2025                      Deadlines for this type of SIP revision
                                                 CSAPR trading programs for small EGUs                   control period. For states that submit                 are the same as the deadlines for
                                                 and since the CSAPR Update for large                    this type of SIP revision, the deadline to             abbreviated SIP revisions. For the SIP-
                                                 non-EGU boilers and combustion                          submit state-determined allocations                    based program to start with the 2025
                                                 turbines, and no state has chosen to use                beginning with the 2025 control period                 control period, the SIP deadline is
                                                 the SIP process for this purpose.                       under an approved SIP is June 1, 2024,                 December 1, 2023, the deadline to
                                                 Additionally, the EPA did not receive                   and the deadline for the EPA to record                 submit state-determined allocations for
                                                 comment supporting these expansion                      those allocations is July 1, 2024.                     the 2025 control period under an
                                                 options during the comment period for                   Similarly, a state can submit a SIP                    approved SIP is June 1, 2024, and the
                                                 this rule. The EPA is finalizing a                      revision beginning with the 2026                       deadline for the EPA to record those
                                                 methodology for updating the affected                   control period and beyond by December                  allocations is July 1, 2024, and so on.
                                                 EGU portion of the budget in this rule,                 1, 2024, with state allocations for the                   The EPA received no comment on the
                                                 and the regulatory text defining the                    2026 control period due June 1, 2025,                  option to replace the Federal trading
                                                 applicability expansion to non-EGUs                     and EPA recordation of the allocations                 program for EGUs with an integrated
                                                 did not include a mechanism for                         by July 1, 2025.                                       state trading program for EGUs for
                                                 updating the incremental non-EGU                           The EPA received no comment on the                  control periods in 2025 and later years
                                                 portion of a state’s budget based on                    option to replace certain allowance                    through a SIP revision and is finalizing
                                                 changes over time of the non-EGU fleet;                 allocation provisions under the Group 3                the provisions generally as proposed,
                                                 therefore, continuation of the option to                trading program for EGUs for control                   with the exception that any potential
                                                 expand applicability to certain non-                    periods in 2025 and later years through                expansion of trading program
                                                 EGUs subject to the NOX SIP Call would                  a SIP revision and is finalizing the                   applicability under a SIP revision would
                                                 be inconsistent with the trading                        provisions generally as proposed, with                 be evaluated on a case-by-case basis.
                                                 program as applied to EGUs in this rule.                the exception that any potential
                                                    However, the EPA recognizes that                                                                            4. SIP Revisions That Do Not Use the
                                                                                                         expansion of trading program
                                                 states may seek to include non-EGUs                                                                            Trading Program
                                                                                                         applicability under a SIP revision would
                                                 covered in this action in an emissions                  be evaluated on a case-by-case basis.                     States can submit SIP revisions to
                                                 trading program, subject to important                                                                          replace the FIP that achieve the
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                                                 considerations to ensure equivalency in                 3. SIP Option To Replace the Federal                   necessary EGU emissions reductions but
                                                 emissions reductions is maintained.                     EGU Trading Program With an                            do not use the CSAPR NOX Ozone
                                                 While the EPA is not offering specific                  Integrated State EGU Trading Program                   Season Group 3 Trading Program. For a
                                                 regulatory text to implement an option                     For the 2025 control period and later,              transport SIP revision that does not use
                                                 to expand the trading program                           states in the CSAPR NOX Ozone Season                   the CSAPR NOX Ozone Season Group 3
                                                 applicability, a state could submit a SIP               Group 3 Trading Program can choose to                  Trading Program, the EPA would
                                                 to expand the CSAPR NOX Ozone                           replace the Federal EGU trading                        evaluate the transport SIP based on the


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                                                 particular control strategies selected and              requirements of the FIP with state                     emissions projections and air quality
                                                 whether the strategies as a whole                       requirements. To replace the non-EGU                   modeling conducted at Steps 1 and 2.
                                                 provide adequate and enforceable                        portion of the FIP in a state, the state’s             Such reductions must also be achieved
                                                 provisions ensuring that the necessary                  SIP must provide adequate provisions to                by the 2026 ozone season.
                                                 emissions reductions (i.e., reductions                  prohibit NOX emissions that contribute                    EPA further acknowledges that a
                                                 equal to or greater than what the Group                 significantly to nonattainment or                      demonstration of equivalency using
                                                 3 trading program will achieve) will be                 interfere with maintenance of the 2015                 other control strategies is complicated
                                                 achieved. To address the applicable                     ozone NAAQS in any other state. The                    by the fact that the final emissions
                                                 CAA requirements, the SIP revision                      state SIP submittal must demonstrate                   limits for non-EGU sources are generally
                                                 should include the following general                    that the emissions reductions required                 unit-specific and expressed in a variety
                                                 elements: (1) a comprehensive baseline                  by the SIP would continue to ensure                    of forms; comparative analysis with
                                                 2023 statewide NOX emissions                            that significant contribution from that                alternative control requirements to
                                                 inventory (which includes existing                      state has been eliminated through                      determine equivalency would need to
                                                 control requirements), which should be                  permanent and enforceable measures.                    take this into account. Similarly, we
                                                 consistent with the 2023 emissions                      The non-EGU requirements of the FIP                    recognize that the emissions trading
                                                 inventory that the EPA used to calculate                would remain in place in each covered                  program for EGUs in this action
                                                 the required state budget in this final                 state until a state’s SIP has been                     includes a number of enhancements to
                                                 rule (unless the state can explain the                  approved by the EPA to replace the FIP.                ensure that the Step 3 determination of
                                                 discrepancy); (2) a list and description                   The most straightforward method for                 which emissions are ‘‘significant’’ and
                                                 of control measures to satisfy the state                a state to submit a presumptively                      must be eliminated continues to be
                                                 emissions reduction obligation and a                    approvable SIP revision to replace the                 implemented over time. Although there
                                                 demonstration showing when each                         non-EGU portion of the FIPs for the                    is not a fixed, mass-based emissions
                                                 measure would be implemented to meet                    state would be to provide a SIP that                   budget established for each state in this
                                                 the 2023 and successive control periods;                includes emissions limits at an                        action, there are other objective metrics
                                                 (3) fully-adopted state rules providing                 equivalent or greater level of stringency              that could guide states in developing
                                                 for such NOX controls during the ozone                  than is specified for non-EGU sources                  replacement SIPs. For example, for non-
                                                 season; (4) for EGUs greater than 25                    meeting the applicability criteria and                 EGUs, states may choose to conduct an
                                                 MWe, monitoring and reporting under                     associated compliance assurance                        analysis of their industrial stationary
                                                 40 CFR part 75, and for other units,                    provisions for each of the unit types                  sources and present an alternative set of
                                                 monitoring and reporting procedures                     identified in section VI.C of this                     emissions limits applying to specific
                                                 sufficient to demonstrate that sources                  document.                                              units that it believes would achieve an
                                                 are complying with the SIP (see 40 CFR                     Comment: One commenter stated that                  equivalent level of emissions reduction.
                                                 part 51, subpart K (‘‘source                            they believed EPA’s assertion in the                   States could apply cost-effectiveness
                                                 surveillance’’ requirements)); and (5) a                proposal that any SIP submittal would                  thresholds for emissions control
                                                 projected inventory demonstrating that                  have to achieve equal or greater                       technologies that could be applied to
                                                 state measures along with Federal                       reductions for non-EGUs than the FIP                   establish that some alternative
                                                 measures will achieve the necessary                     was unlawful. The commenter asserted                   emissions control strategy results in
                                                 emissions reductions in time to meet the                that a state’s ability to replace the FIP              equivalent or greater improvement at
                                                 2023 and successive compliance                          must be tied to whether it has addressed               downwind receptors. The EPA
                                                 deadlines (e.g., enforceable reductions                 the underlying nonattainment/                          anticipates that such a comparison may
                                                 commensurate with installation of SCR                   maintenance concerns by reducing                       entail review of both baseline emissions
                                                 on coal-fired EGUs by the 2027 ozone                    significant contribution from sources in               information and growth projections
                                                 season). The SIPs must meet procedural                  the state below the significance                       between the different sets of units to
                                                 requirements under the Act, such as the                 threshold, (as opposed to whether it                   ensure that a truly equivalent or greater
                                                 requirements for public hearing, be                     prohibits equivalent emissions to the                  degree of emissions reduction is
                                                 adopted by the appropriate state board                  FIP).                                                  achieved; additionality and emissions
                                                 or authority, and establish by a                           Response: The EPA recognizes that                   shifting potential may also need to be
                                                 practically enforceable regulation or                   states may select emissions reductions                 considered. We note that the CAMx
                                                 permit(s) a schedule and date for each                  strategies that differ from the emissions              policy case run for 2026 provides a
                                                 affected source or source category to                   limitations included in the proposed                   benchmark for assessing the level of air
                                                 achieve compliance. Once the state has                  non-EGU FIP; this is discussed in                      quality improvement anticipated at
                                                 made a SIP submission, the EPA will                     response to comments earlier in this                   receptors with implementation of the
                                                 evaluate the submission(s) for                          section. For example, some states may                  FIP. This data may be of use to states as
                                                 completeness before acting on the SIP.                  desire to include non-EGUs in a trading                part of a demonstration that a
                                                 EPA’s criteria for determining                          program. This may be possible subject                  replacement SIP achieves an equivalent
                                                 completeness of a SIP submission are                    to taking into account a number of                     or greater level of air quality
                                                 codified at 40 CFR part 51, appendix V.                 considerations as discussed earlier in                 improvement to the FIP; however, the
                                                    For further background information                   this section to ensure equivalency                     use of such modeling in such a
                                                 on considerations for replacing a FIP                   between the different approaches. But                  demonstration would need to be more
                                                 with a SIP, see the discussion in the                   the state must still demonstrate that the              fully evaluated at the time of such a SIP
                                                 final CSAPR rulemaking (76 FR 48326).                   replacement SIP provides an equivalent                 revision.
                                                                                                         or greater amount of emissions
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                                                                                                                                                                   In all cases, a SIP submitted by a state
                                                 5. SIP Revision Requirements for Non-                   reductions as the proposed FIP to be                   to replace the non-EGU components of
                                                 EGU or Industrial Source Control                        presumptively approvable. The EPA                      the FIPs would very likely need to rely
                                                 Requirements                                            anticipates that such emissions                        on permanent and practically
                                                    EPA’s promulgation of a non-EGU                      reductions strategies would have to                    enforceable controls measures that are
                                                 transport FIP would in no way affect the                achieve reductions equivalent to or                    included in the SIP and, once approved
                                                 ability of states to submit, for review                 beyond those emissions reductions                      by the EPA, rendered federally
                                                 and approval, a SIP that replaces the                   already projected to occur in EPA’s                    enforceable. So-called ‘‘demonstration-


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                                                 only’’ or ‘‘non-regulatory’’ SIPs would                  to the provisions for reopening for cause               shall be required under any approved
                                                 very likely be insufficient; see                         (40 CFR 70.7(f) and 71.7(f)), significant               . . . emissions trading and other similar
                                                 discussion in response to comments                       modifications (40 CFR 70.7(e)(4)) or the                programs or processes for changes that
                                                 earlier in this section. Further, the EPA                standard permit renewal provisions (40                  are provided for in the permit.’’ 40 CFR
                                                 anticipates that states would bear the                   CFR 70.7(c) and 71.7(c)).407 For sources                70.6(a)(8) and 71.6(a)(8). Consistent
                                                 burden of establishing that the state’s                  newly subject to title V that are affected              with these provisions in the title V
                                                 alternative approach achieves at least an                sources under the FIPs, the initial title               regulations, in CSAPR, the CSAPR
                                                 equivalent level of emissions reduction                  V permit issued pursuant to 40 CFR                      Update and the Revised CSAPR Update,
                                                 as the FIP.                                              70.7(a) should address the final FIP                    the EPA included a provision stating
                                                                                                          requirements.                                           that no permit revision is necessary for
                                                 E. Title V Permitting                                      As was the case in the CSAPR, the                     the allocation, holding, deduction, or
                                                    This final rule, like CSAPR, the                      CSAPR Update and the Revised CSAPR                      transfer of allowances. 40 CFR
                                                 CSAPR Update, and the Revised CSAPR                      Update, the new and amended FIPs                        97.506(d)(1), 97.806(d)(1) and
                                                 Update does not establish any                            impose no independent permitting                        97.1006(d)(1). This provision is also
                                                 permitting requirements independent of                   requirements and the title V permitting                 included in each title V permit for an
                                                 those under Title V of the CAA and the                   process will impose no additional                       affected source. This final rule
                                                 regulations implementing Title V, 40                     burden on sources already required to                   maintains the approach taken under
                                                 CFR parts 70 and 71.406 All major                        be permitted under title V.                             CSAPR, the CSAPR Update and the
                                                 stationary sources of air pollution and                  1. Title V Permitting Considerations for                Revised CSAPR Update that allows
                                                 certain other sources are required to                    EGUs                                                    allowances to be traded (or allocated,
                                                 apply for title V operating permits that                                                                         held, or deducted) without a revision to
                                                 include emissions limitations and other                     Title V of the CAA establishes the                   the title V permit of any of the sources
                                                 conditions as necessary to ensure                        basic requirements for state title V
                                                                                                                                                                  involved.
                                                 compliance with the applicable                           permitting programs, including, among
                                                                                                          other things, provisions governing                         Similarly, this final rule would also
                                                 requirements of the CAA, including the                                                                           continue to support the means by which
                                                 requirements of the applicable SIP. CAA                  permit applications, permit content, and
                                                                                                          permit revisions that address applicable                a source in the final trading program can
                                                 sections 502(a) and 504(a), 42 U.S.C.                                                                            use the title V minor modification
                                                 7661a(a) and 7661c(a). The ‘‘applicable                  requirements under final FIPs in a
                                                                                                          manner that provides the flexibility                    procedure to change its approach for
                                                 requirements’’ that must be addressed in                                                                         monitoring and reporting emissions, in
                                                 title V permits are defined in the title V               necessary to implement market-based
                                                                                                          programs such as the trading programs                   certain circumstances. Specifically,
                                                 regulations (40 CFR 70.2 and 71.2                                                                                sources may use the minor modification
                                                 (definition of ‘‘applicable                              established in CSAPR, the CSAPR
                                                                                                          Update, the Revised CSAPR Update and                    procedure so long as the new
                                                 requirement’’)).                                                                                                 monitoring and reporting approach is
                                                    The EPA anticipates that, given the                   this final rule. 42 U.S.C. 7661a(b); 40
                                                                                                          CFR 70.6(a)(8) & (10); 40 CFR 71.6(a)(8)                one of the prior-approved approaches
                                                 nature of the units subject to this final                                                                        under CSAPR, the CSAPR Update and
                                                 rule, most if not all of the sources at                  & (10).
                                                                                                             In CSAPR, the CSAPR Update and the                   the Revised CSAPR Update (i.e.,
                                                 which the units are located are already                                                                          approaches using a continuous
                                                 subject to title V permitting                            Revised CSAPR Update, the EPA
                                                                                                          established standard requirements                       emissions monitoring system under
                                                 requirements and already possess a title                                                                         subparts B and H of 40 CFR part 75, an
                                                 V operating permit. For sources subject                  governing how sources covered by those
                                                                                                          rules would comply with title V and its                 excepted monitoring system under
                                                 to title V, the interstate transport                                                                             appendices D and E to 40 CFR part 75,
                                                 requirements for the 2015 ozone                          regulations.408 40 CFR 97.506(d),
                                                                                                          97.806(d) and 97.1006(d). For any new                   a low mass emissions excepted
                                                 NAAQS that are applicable to them                                                                                monitoring methodology under 40 CFR
                                                                                                          or existing sources subject to this rule,
                                                 under the FIPs finalized in this action                                                                          75.19, or an alternative monitoring
                                                                                                          identical title V compliance provisions
                                                 would be ‘‘applicable requirements’’                                                                             system under subpart E of 40 CFR part
                                                                                                          will apply with respect to the CSAPR
                                                 under title V and therefore must be                                                                              75), and the permit already includes a
                                                                                                          NOX Ozone Season Group 3 Trading
                                                 addressed in the title V permits. For                                                                            description of the new monitoring and
                                                                                                          Program. For example, the title V
                                                 example, EGU requirements concerning                                                                             reporting approach to be used. See 40
                                                                                                          regulations provide that a permit issued
                                                 designated representatives, monitoring,                                                                          CFR 97.506(d)(2), 97.806(d)(2) and
                                                                                                          under title V must include ‘‘[a]
                                                 reporting, and recordkeeping, the                                                                                97.1006(d)(2); 40 CFR 70.7(e)(2)(i)(B)
                                                                                                          provision stating that no permit revision
                                                 requirement to hold allowances                                                                                   and 71.7(e)(1)(i)(B). As described in
                                                 covering emissions, the compliance                         407 A permit is reopened for cause if any new         EPA’s 2015 Title V Guidance, sources
                                                 assurance provisions, and liability, and                 applicable requirements (such as those under a FIP)     may comply with this requirement by
                                                 for non-EGUs, the emissions limits and                   become applicable to an affected source with a
                                                                                                                                                                  including a table of all of the approved
                                                 compliance requirements are, to the                      remaining permit term of 3 or more years. If the
                                                                                                          remaining permit term is less than 3 years, such        monitoring and reporting approaches
                                                 extent relevant to each source,                          new applicable requirements will be added to the        under CSAPR, the CSAPR Update and
                                                 ‘‘applicable requirements’’ that must be                 permit during permit renewal. See 40 CFR                the Revised CSAPR Update trading
                                                 addressed in the permits.                                70.7(f)(1)(i) and 71.7(f)(1)(i).
                                                                                                                                                                  programs in which the source is
                                                    Consistent with EPA’s approach                          408 The EPA has also issued a guidance document
                                                                                                                                                                  required to participate, and the
                                                 under CSAPR, the CSAPR Update and                        and template that includes instructions for how to
                                                                                                          incorporate the applicable requirements into a          applicable requirements governing each
                                                 the Revised CSAPR Update, the                            source’s Title V permit. See Memorandum dated           of those approaches.409 Inclusion of
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                                                 applicable requirements resulting from                   May 13, 2015, from Anna Marie Wood, Director, Air       such a table in a source’s title V permit
                                                 the FIPs generally will have to be                       Quality Policy Division, and Reid P. Harvey,
                                                                                                          Director, Clean Air Market Division, EPA, to            therefore allows a covered unit that
                                                 incorporated into affected sources’
                                                                                                          Regional Air Division Directors, Subject: ‘‘Title V     seeks to change or add to its chosen
                                                 existing title V permits either pursuant                 Permit Guidance and Template for the Cross-State        monitoring and recordkeeping approach
                                                                                                          Air Pollution Rule’’ (‘‘2015 Title V Guidance’’),       to easily comply with the regulations
                                                   406 Part 70 addresses requirements for state title     available at https://www.epa.gov/sites/default/files/
                                                 V programs, and part 71 governs the Federal title        2016–10/documents/csapr_title_v_permit_
                                                 V program.                                               guidance.pdf.                                            409 Id.




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                                                 governing the use of the title V minor                  emissions reduction requirements under                 been met by participation of the state’s
                                                 modification procedure.                                 the NOX SIP Call for these large EGUs.                 large EGUs in the CSAPR NOX Ozone
                                                    Under CSAPR, the CSAPR Update                          With respect to the large non-EGU                    Season Group 2 Trading Program (or
                                                 and the Revised CSAPR Update, to                        boilers and combustion turbines that                   earlier by the CSAPR NOX Ozone
                                                 employ a monitoring or reporting                        formerly participated in the NOX Budget                Season Group 1 Trading Program), the
                                                 approach different from the prior-                      Trading Program under the NOX SIP                      EPA will deem those obligations to be
                                                 approved approaches discussed                           Call, the EPA provided options under                   satisfied by the participation of the same
                                                 previously, unit owners and operators                   both the CSAPR Update and the Revised                  sources in the CSAPR NOX Ozone
                                                 must submit monitoring system                           CSAPR Update for states to address                     Season Group 3 Trading Program.
                                                 certification applications to the EPA                   these sources’ ongoing NOX SIP Call                    Specifically, for all states covered by the
                                                 establishing the monitoring and                         requirements by expanding applicability                Group 3 trading program under this rule
                                                 reporting approach actually to be used                  of the relevant CSAPR trading programs                 except Minnesota, Nevada, and Utah,
                                                 by the unit, or, if the owners and                      for ozone season NOX emissions to                      participation of the state’s EGUs in the
                                                 operators choose to employ an                           include the sources, and no state chose                Group 3 trading program will be
                                                 alternative monitoring system, to submit                to use these options. As discussed in                  deemed to satisfy not only the EGU-
                                                 petitions for that alternative to the EPA.              sections VI.D.2 and VI.D.3, in this rule               related portion of the state’s good
                                                 These applications and petitions are                    the EPA is removing the previous                       neighbor obligations with respect to the
                                                 subject to the EPA review and approval                  regulatory text defining specific options              2015 ozone NAAQS but also the state’s
                                                 to ensure consistency in monitoring and                 for states to expand trading program                   good neighbor obligations with respect
                                                 reporting among all trading program                     applicability to include these sources                 to the 2008 ozone NAAQS. In addition,
                                                 participants. EPA’s responses to any                    and instead will evaluate any SIP                      for Alabama, Arkansas, Illinois, Indiana,
                                                 petitions for alternative monitoring                    revisions seeking to include these                     Kentucky, Louisiana, Michigan,
                                                 systems or for alternatives to specific                 sources in the Group 3 trading program                 Mississippi, Missouri, Oklahoma, and
                                                 monitoring or reporting requirements                    on a case-by-case basis.411                            Wisconsin, participation of the state’s
                                                 are posted on EPA’s website.410 The                                                                            EGUs in the Group 3 trading program
                                                 EPA maintains the same approach for                     2. Acid Rain Program                                   will also be deemed to satisfy the state’s
                                                 the trading program in this final rule.                    This rule does not affect any SO2 and               good neighbor obligations with respect
                                                 2. Title V Permitting Considerations for                NOX requirements under the Acid Rain                   to the 1997 ozone NAAQS.412
                                                 Industrial Stationary Sources                           Program, which are established
                                                                                                                                                                VII. Environmental Justice Analytical
                                                                                                         separately under 40 CFR parts 72
                                                    For non-EGU sources, affected sources                                                                       Considerations and Stakeholder
                                                                                                         through 78 and will continue to apply
                                                 will need to work with their local, state,                                                                     Outreach and Engagement
                                                                                                         independently of this rule’s provisions.
                                                 or tribal permitting authority to                       Sources subject to the Acid Rain                         Consistent with EPA’s commitment to
                                                 determine if the new applicable                         Program will continue to be required to                integrating environmental justice in the
                                                 requirements should be incorporated                     comply with all requirements of that                   agency’s actions, and following the
                                                 into their existing title V permit under                program, including the requirement to                  directives set forth in multiple
                                                 the reopening for cause, significant                    hold sufficient allowances issued under                Executive orders, the Agency has
                                                 modification, or permit renewal                         the Acid Rain Program to cover their                   analyzed the impacts of this final rule
                                                 procedures of the approved permitting                   SO2 emissions after the end of each                    on communities with environmental
                                                 program. Title V permits for existing                   control period.                                        justice concerns and engaged with
                                                 sources will need to be updated to                                                                             stakeholders representing these
                                                 include the applicable requirements of                  3. Other CSAPR Trading Programs                        communities to seek input and
                                                 this final rule and any necessary                          This rule does not substantively affect             feedback. Executive Order 12898 is
                                                 preconstruction permits obtained in                     any provisions of the CSAPR NOX                        discussed in section X.J of this final rule
                                                 order to comply with this final rule.                   Annual, CSAPR SO2 Group 1, CSAPR                       and analytical results are available in
                                                 F. Relationship to Other Emissions                      SO2 Group 2, CSAPR NOX Ozone                           Chapter 7 of the RIA. This analysis is
                                                 Trading and Ozone Transport Programs                    Season Group 1, or CSAPR NOX Ozone                     being provided for informational
                                                                                                         Season Group 2 trading programs for                    purposes only.
                                                 1. NOX SIP Call                                         sources that continue to participate in                A. Introduction
                                                    Sources in states affected by both the               those programs. Sources subject to any
                                                 NOX SIP Call for the 1979 ozone                         of the CSAPR trading programs will                       Executive Order 12898 directs EPA to
                                                 NAAQS and the requirements                              continue to be required to comply with                 identify the populations of concern who
                                                 established in this final rule for the 2015             all requirements of all such trading                   are most likely to experience unequal
                                                 ozone NAAQS will be required to                         programs to which they are subject,                    burdens from environmental harms;
                                                 comply with the requirements of both                    including the requirement to hold                      specifically, minority populations, low-
                                                 rules. With respect to EGUs larger than                 sufficient allowances issued under the                 income populations, and indigenous
                                                 25 MW, in this rule the EPA is requiring                respective programs to cover emissions                 peoples.413 Additionally, Executive
                                                 NOX ozone season emissions reductions                   after the end of each control period.                     412 For the remaining state transitioning from the
                                                 from these sources in many of the NOX                      The EPA also notes that where a                     Group 2 trading program to the Group 3 trading
                                                 SIP Call states, and at greater stringency              state’s good neighbor obligations with                 program under this rule—Texas—as well as the
                                                 than required by the NOX SIP Call, by                   respect to the 1997 ozone NAAQS or the                 remaining states that transitioned from the Group
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                                                                                                                                                                2 trading program to the Group 3 trading program
                                                 requiring the EGUs to participate in the                2008 ozone NAAQS have previously                       under the Revised CSAPR Update—Maryland, New
                                                 CSAPR NOX Ozone Season Group 3                                                                                 Jersey, New York, Ohio, Pennsylvania, Virginia, and
                                                 Trading Program. The emissions                             411 Only one NO SIP Call state—Tennessee—
                                                                                                                            X                                   West Virginia—participation of the states’ EGUs in
                                                 reductions required under this rule are                 continues to participate in the Group 2 trading        the Group 2 trading program as required by the
                                                                                                         program, and the EPA has already approved other        CSAPR Update was addressing good neighbor
                                                 therefore sufficient to satisfy the                     SIP provisions addressing the ongoing NOX SIP Call     obligations of the states with respect to only the
                                                                                                         obligations for Tennessee’s large non-EGU boilers      2008 ozone NAAQS, not the 1997 ozone NAAQS.
                                                   410 https://www.epa.gov/airmarkets/part-75-           and combustion turbines. See 84 FR 7998 (March         See 81 FR 74523–74526.
                                                 petition-responses.                                     6, 2019); 86 FR 12092 (March 2, 2021).                    413 59 FR 7629, February 16, 1994.




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                                                 Order 13985 is intended to advance                           For the final rule, we employ two                   associated with unique limitations and
                                                 racial equity and support underserved                     types of analytics to respond to the                   uncertainties.
                                                 communities through Federal                               previous three questions: proximity                       Baseline demographic proximity
                                                 Government actions.414 The EPA                            analyses and exposure analyses. Both                   analyses can be relevant for identifying
                                                 defines environmental justice as the fair                 types of analyses can inform whether                   populations that may be exposed to
                                                 treatment and meaningful involvement                      there are potential EJ concerns for                    local pollutants, such as NO2 emitted
                                                 of all people regardless of race, color,                  population groups of concern in the                    from affected sources in this final rule.
                                                 national origin, or income, with respect                  baseline (question 1).417 In contrast,                 However, such analyses are less useful
                                                 to the development, implementation,                       only the exposure analyses, which are                  here as they do not account for the
                                                 and enforcement of environmental laws,                    based on future air quality modeling,                  potential impacts of this final rule on
                                                 regulations, and policies. The EPA                        can inform whether there will be                       long-range concentration changes.
                                                 further defines the term fair treatment to                potential EJ concerns after                            Baseline demographic proximity
                                                 mean that ‘‘no group of people should                     implementation of the regulatory                       analysis presented in the RIA suggest
                                                 bear a disproportionate burden of                         options under consideration (question                  that larger percentages of Hispanics,
                                                 environmental harms and risks,                            2) and whether potential EJ concerns                   African Americans, people below the
                                                 including those resulting from the                        will be created or mitigated compared to               poverty level, people with less
                                                 negative environmental consequences of                    the baseline (question 3). While the                   educational attainment, and people
                                                 industrial, governmental, and                             exposure analysis can respond to all                   linguistically isolated are living within
                                                 commercial operations or programs and                     three questions, several caveats should                5 km and 10 km of an affected EGU,
                                                 policies.’’ 415 In recognizing that                       be noted. For example, the air pollutant               compared to national averages. It also
                                                 minority and low-income populations                       exposure metrics are limited to those                  finds larger percentages of African
                                                 often bear an unequal burden of                           used in the benefits assessment. For                   Americans, people below the poverty
                                                 environmental harms and risks, the EPA                    ozone, that is the maximum daily 8-                    level, and with less educational
                                                 continues to consider ways of protecting                  hour average, averaged across the April                attainment living within 5 km and 10
                                                 them from adverse public health and                       through September warm season (AS–                     km of an affected non-EGU facility.
                                                 environmental effects of air pollution.                   MO3) and for PM2.5 that is the annual                  Relating these results to question 1 from
                                                                                                           average. This ozone metric likely                      section 7.2 of the RIA, we conclude that
                                                 B. Analytical Considerations                              smooths potential daily ozone gradients                there may be potential EJ concerns
                                                   The EPA’s environmental justice (EJ)                    and is not directly relatable to the                   associated with directly emitted
                                                 technical guidance 416 states that:                       National Ambient Air Quality Standard                  pollutants that are affected by the
                                                                                                           (NAAQS), whereas the PM2.5 metric is                   regulatory action (e.g., NO2) for certain
                                                    The analysis of potential EJ concerns for
                                                                                                           more similar to the long term PM2.5                    population groups of concern in the
                                                 regulatory actions should address three
                                                 questions:                                                standard. The air quality modeling                     baseline. However, as proximity to
                                                    1. Are there potential EJ concerns                     estimates are also based on state level                affected facilities does not capture
                                                 associated with environmental stressors                   emissions data paired with facility-level              variation in baseline exposure across
                                                 affected by the regulatory action for                     baseline emissions, and provided at a                  communities, nor does it indicate that
                                                 population groups of concern in the baseline?             resolution of 12km2. Additionally, here                any exposures or impacts will occur,
                                                    2. Are there potential EJ concerns                     we focus on air quality changes due to                 these results do not in themselves
                                                 associated with environmental stressors                   this final rulemaking and infer post-                  demonstrate disproportionate impacts of
                                                 affected by the regulatory action for                     policy exposure burden impacts.                        affected facilities in the baseline and
                                                 population groups of concern for the                         Exposure analytic results are provided              should not be interpreted as a direct
                                                 regulatory option(s) under consideration?
                                                                                                           in two formats: aggregated and                         measure of exposure or impact.
                                                    3. For the regulatory option(s) under
                                                                                                           distributional. The aggregated results                    Whereas proximity analyses are
                                                 consideration, are potential EJ concerns
                                                 created or mitigated compared to the                      provide an overview of potential ozone                 limited to evaluating the
                                                 baseline?                                                 exposure differences across populations                representativeness of populations
                                                                                                           at the national- and state-levels, while               residing nearby affected facilities, the
                                                    To address these questions in the                      the distributional results show detailed               ozone and PM2.5 exposure analyses can
                                                 EPA’s first quantitative EJ analysis in                   information about ozone concentration                  provide insight into all three EJ
                                                 the context of a transport rule, the EPA                  changes experienced by everyone                        questions. Even though both the
                                                 developed a unique analytical approach                    within each population.                                proximity and exposure analyses can
                                                 that considers the purpose and specifics                     In Chapter 7 of the RIA we utilize the              potentially improve understanding of
                                                 of the final rulemaking, as well as the                   two types of analytics to address the                  baseline EJ concerns (question 1), the
                                                 nature of known and potential                             three EJ questions by quantitatively                   two should not be directly compared.
                                                 exposures and impacts. However, due to                    evaluating: (1) the proximity of affected              This is because the demographic
                                                 data limitations, it is possible that our                 facilities to potentially disadvantaged                proximity analysis does not include air
                                                 analysis failed to identify disparities                   populations (section 7.3); and (2) the                 quality information and is based on
                                                 that may exist, such as potential                         potential for disproportionate ozone and               current, not future, population
                                                 environmental justice characteristics                     PM2.5 concentrations in the baseline and               information.
                                                 (e.g., residence of historically red lined                concentration changes after rule                          The baseline analysis of ozone and
                                                 areas), environmental impacts (e.g.,                      implementation across different                        PM2.5 concentration burden responds to
                                                 other ozone metrics), and more granular                   demographic groups (section 7.4). Each                 question 1 from EPA’s environmental
                                                 spatial resolutions (e.g., neighborhood
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                                                                                                           of these analyses depends on mutually                  justice technical guidance document
                                                 scale) that were not evaluated.                           exclusive assumptions, was performed                   more directly than the proximity
                                                                                                           to answer separate questions, and is                   analyses, as it evaluates a form of the
                                                   414 86   FR 7009, January 20, 2021.                                                                            environmental stressor targeted by the
                                                   415 https://www.epa.gov/environmentaljustice.
                                                   416 U.S.
                                                                                                             417 The baseline for proximity analyses is current
                                                                                                                                                                  regulatory action. Baseline ozone and
                                                           Environmental Protection Agency (EPA),          population information (e.g., 2021), whereas the
                                                 2015. Guidance on Considering Environmental               baseline for ozone exposure analyses are the future
                                                                                                                                                                  PM2.5 analyses show that certain
                                                 Justice During the Development of Regulatory              years in which the regulatory options will be          populations, such as Hispanics, Asians,
                                                 Actions.                                                  implemented (e.g., 2023 and 2026).                     those linguistically isolated, those less


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                                                 educated, and children may experience                                   public to submit written comments to                                     (2016$) in 2026. The EPA also analyzed
                                                 somewhat higher ozone and PM2.5                                         the regulatory docket for this                                           a more and a less stringent alternative.
                                                 concentrations compared to the national                                 rulemaking.420 The EPA also invited the                                  The more and less stringent alternatives
                                                 average. Therefore, also in response to                                 public to participate in a public hearing                                differ from the rule in that they set
                                                 question 1, there likely are potential                                  held on April 21, 2022. A transcript of                                  different NOX ozone season emissions
                                                 environmental justice concerns                                          the public hearing is available in the                                   budgets for the affected EGUs and
                                                 associated with ozone and PM2.5                                         docket for this rulemaking.                                              different dates for large, coal-fired
                                                 exposures affected by the regulatory                                    Additionally, on March 31, 2022, the                                     EGUs’ compliance with the backstop
                                                 action for population groups of concern                                 EPA hosted an informational webinar                                      emissions rate.
                                                 in the baseline. However, these baseline                                with non-governmental groups and                                            For non-EGUs, the EPA developed an
                                                 exposure results have not been fully                                    environmental justice stakeholders to                                    analytical framework to determine
                                                 explored and additional analyses are                                    answer questions and share information                                   which industries and emissions unit
                                                 likely needed to understand potential                                   about the proposed rule. A record of this                                types to include in a proposed
                                                 implications. In addition, we infer that                                webinar, including the informational                                     Transport FIP for the 2015 ozone
                                                 disparities in the ozone and PM2.5                                      power point shared at the webinar is                                     NAAQS transport obligations. A
                                                 concentration burdens are likely to                                     available in the docket for this                                         February 28, 2022 memorandum, titled
                                                 persist after implementation of the                                     rulemaking.                                                              ‘‘Screening Assessment of Potential
                                                 regulatory action or alternatives under                                                                                                          Emissions Reductions, Air Quality
                                                                                                                         VIII. Costs, Benefits, and Other Impacts
                                                 consideration due to similar modeled                                                                                                             Impacts, and Costs from Non-EGU
                                                                                                                         of the Final Rule
                                                 concentration reductions across                                                                                                                  Emissions Units for 2026,’’ documents
                                                 population demographics (question 2).                                      In the RIA for the Federal Good                                       the analytical framework used to
                                                    Question 3 asks whether potential EJ                                 Neighbor Plan Addressing Regional                                        identify industries and emissions unit
                                                 concerns will be created or mitigated as                                Ozone Transport for the 2015 Ozone                                       types included in the proposed FIP. To
                                                 compared to the baseline. Due to the                                    National Ambient Air Quality                                             further evaluate the industries and
                                                 very small differences observed in the                                  Standards, the EPA estimated the health                                  emissions unit types identified and to
                                                 distributional analyses of post-policy                                  and climate benefits, compliance costs,                                  establish the proposed emissions limits,
                                                 ozone and PM2.5 exposure impacts                                        and emissions changes that may result                                    the EPA reviewed Reasonably RACT
                                                 across populations, we do not find                                      from the final rule for the analysis                                     rules, NSPS rules, NESHAP rules,
                                                 evidence that potential EJ concerns                                     period 2023 to 2042. The estimated                                       existing technical studies, rules in
                                                 related to ozone and PM2.5                                              health and climate benefits and                                          approved SIP submittals, consent
                                                 concentrations will be created or                                       compliance costs are presented in detail                                 decrees, and permit limits. That
                                                 mitigated as compared to the                                            in this RIA. The EPA notes that for                                      evaluation is detailed in the Proposed
                                                 baseline.418                                                            EGUs the estimated benefits and                                          Non-EGU Sectors TSD prepared for the
                                                                                                                         compliance costs are directly associated                                 proposed FIP. The EPA is retaining the
                                                 C. Outreach and Engagement                                              with fully operating existing SCRs                                       industries and many of the emissions
                                                    Prior to proposal, the EPA hosted an                                 during ozone season; fully operating                                     unit types included in the proposal in
                                                 outreach webinar with environmental                                     existing SNCRs during ozone season;                                      this final action. For the non-EGU
                                                 justice stakeholders to share information                               installing state-of-the-art combustion                                   industries, in the final rule we made
                                                 about the proposed rule and solicit                                     controls; imposing a backstop emissions                                  some minor changes to the non-EGU
                                                 feedback about potential environmental                                  rate on certain units that lack SCR                                      emissions units covered, the
                                                 justice considerations. The webinar was                                 controls; and installing SCR and SNCR                                    applicability criteria, as well as
                                                 attended by representatives of state                                    post-combustion controls. The EPA also                                   provided for facility-wide emissions
                                                 governments, federally recognized                                       notes that for non-EGUs the estimated                                    averaging for engines and for a low-use
                                                 tribes, environmental NGOs, higher                                      health benefits and compliance costs are                                 exemption to eliminate the need to
                                                 education institutions, industry, and the                               directly associated with installing                                      install controls on low-use boilers.
                                                 EPA.419 Participants were invited to                                    controls to meet the NOX emissions                                          Table VIII–1 provides the projected
                                                 comment on pre-proposal                                                 requirements presented in section I.B of                                 2023 through 2027, 2030, 2035, and
                                                 environmental justice considerations                                    this document.                                                           2042 EGU NOX, SO2, PM2.5, and CO2
                                                 during the webinar or submit written                                       For EGUs, the EPA analyzed this                                       emissions reductions for the evaluated
                                                 comments to a pre-proposal non-                                         action’s emissions budgets using                                         regulatory control alternatives. For
                                                 regulatory docket.                                                      uniform control stringency represented                                   additional information on emissions
                                                    After proposal, the EPA opened a                                     by $1,800 per ton of NOX (2016$) in                                      changes, see Table 4–6 and Table 4–7 in
                                                 public comment period to invite the                                     2023 and $11,000 per ton of NOX                                          Chapter 4 of the RIA.

                                                  TABLE VIII–1—EGU OZONE SEASON NOX EMISSIONS CHANGES AND ANNUAL EMISSIONS REDUCTIONS (TONS) FOR NOX,
                                                               SO2, PM2.5, AND CO2 FOR THE REGULATORY CONTROL ALTERNATIVES FROM 2023–2042
                                                                                                                                                                                                                   Less stringent                 More stringent
                                                                                                                                                                                         Final rule                 alternative                    alternative

                                                 2023:
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                                                     NOX (ozone season) ..................................................................................................                         10,000                         10,000                         10,000
                                                     NOX (annual) ..............................................................................................................                   15,000                         15,000                         15,000
                                                     SO2 (annual) ...............................................................................................................                    1,000                          3,000                          1,000
                                                     CO2 (annual, thousand metric tons) ..........................................................................                  ..........................   ............................   ............................

                                                   418 Please note, exposure results should not be                         419 This does not constitute EPA’s tribal                                420 Comments and responses regarding

                                                 extrapolated to other air pollutant. Detailed                           consultation under E.O. 13175, which is described                        environmental justice considerations are available
                                                 environmental justice analytical results can be                         in section XI.F of this rule.                                            in Section 6 of the RTC document for this
                                                 found in Chapter 7 of the RIA.                                                                                                                   rulemaking.



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                                                  TABLE VIII–1—EGU OZONE SEASON NOX EMISSIONS CHANGES AND ANNUAL EMISSIONS REDUCTIONS (TONS) FOR NOX,
                                                          SO2, PM2.5, AND CO2 FOR THE REGULATORY CONTROL ALTERNATIVES FROM 2023–2042—Continued
                                                                                                                                                                                                                   Less stringent                 More stringent
                                                                                                                                                                                         Final rule                 alternative                    alternative

                                                     PM2.5 (annual) ............................................................................................................    ..........................   ............................   ............................
                                                 2024:
                                                     NOX (ozone season) ..................................................................................................                         21,000                         10,000                        33,000
                                                     NOX (annual) ..............................................................................................................                   25,000                         15,000                        57,000
                                                     SO2 (annual) ...............................................................................................................                  19,000                           5,000                       59,000
                                                     CO2 (annual, thousand metric tons) ..........................................................................                                 10,000                           4,000                       20,000
                                                     PM2.5 (annual) ............................................................................................................                    1,000        ............................                    1,000
                                                 2025:
                                                     NOX (ozone season) ..................................................................................................                         32,000                        10,000                        56,000
                                                     NOX (annual) ..............................................................................................................                   35,000                        15,000                        99,000
                                                     SO2 (annual) ...............................................................................................................                  38,000                         7,000                       118,000
                                                     CO2 (annual, thousand metric tons) ..........................................................................                                 21,000                         8,000                        40,000
                                                     PM2.5 (annual) ............................................................................................................                    2,000                         1,000                         2,000
                                                 2026:
                                                     NOX (ozone season) ..................................................................................................                         25,000                           8,000                      49,000
                                                     NOX (annual) ..............................................................................................................                   29,000                         12,000                       88,000
                                                     SO2 (annual) ...............................................................................................................                  29,000                           5,000                     104,000
                                                     CO2 (annual, thousand metric tons) ..........................................................................                                 16,000                           6,000                      34,000
                                                     PM2.5 (annual) ............................................................................................................                    1,000        ............................                   2,000
                                                 2027:
                                                     NOX (ozone season) ..................................................................................................                         19,000                           6,000                       43,000
                                                     NOX (annual) ..............................................................................................................                   22,000                           9,000                       78,000
                                                     SO2 (annual) ...............................................................................................................                  21,000                           4,000                       91,000
                                                     CO2 (annual, thousand metric tons) ..........................................................................                                 10,000                           3,000                       28,000
                                                     PM2.5 (annual) ............................................................................................................                    1,000        ............................                    2,000
                                                 2030:
                                                     NOX (ozone season) ..................................................................................................                         34,000                        33,000                          31,000
                                                     NOX (annual) ..............................................................................................................                   62,000                        59,000                          50,000
                                                     SO2 (annual) ...............................................................................................................                  93,000                        98,000                          51,000
                                                     CO2 (annual, thousand metric tons) ..........................................................................                                 26,000                        23,000                            8,000
                                                     PM2.5 (annual) ............................................................................................................                    1,000                         1,000         ............................
                                                 2035:
                                                     NOX (ozone season) ..................................................................................................                         29,000                        30,000                          27,000
                                                     NOX (annual) ..............................................................................................................                   46,000                        46,000                          41,000
                                                     SO2 (annual) ...............................................................................................................                  21,000                        19,000                          15,000
                                                     CO2 (annual, thousand metric tons) ..........................................................................                                 16,000                        15,000                            8,000
                                                     PM2.5 (annual) ............................................................................................................                    1,000                         1,000         ............................
                                                 2042:
                                                     NOX (ozone season) ..................................................................................................                         22,000                        22,000                          22,000
                                                     NOX (annual) ..............................................................................................................                   23,000                        22,000                          21,000
                                                     SO2 (annual) ...............................................................................................................                  15,000                        15,000                           7,000
                                                     CO2 (annual, thousand metric tons) ..........................................................................                                  9,000                         8,000                           4,000
                                                     PM2.5 (annual).
                                                    Emissions changes for NOX, SO2, and PM2.5 are in tons.


                                                   Table VIII–2 provides a summary of                                          starting in 2026, along with the                                   in the RIA assumes that the estimated
                                                 the ozone season NOX emissions for                                            estimated ozone season NOX reductions                              reductions in 2026 will be the same in
                                                 non-EGUs for the 20 states subject to the                                     for 2026 for the rule and the less and                             later years.
                                                 non-EGU emissions requirements                                                more stringent alternatives. The analysis

                                                    TABLE VIII–2—OZONE SEASON NOX EMISSIONS AND EMISSIONS REDUCTIONS (TONS) FOR NON-EGUS FOR THE FINAL
                                                                            RULE AND THE LESS AND MORE STRINGENT ALTERNATIVES
                                                                                                                                                             2019 Ozone              Final rule—                 Less stringent—                More stringent—
                                                                                                 State                                                         season               ozone season                  ozone season                   ozone season
                                                                                                                                                             emissions a            NOX reductions               NOX reductions                 NOX reductions

                                                 AR ....................................................................................................                8,790                        1,546                            457                          1,690
                                                 CA ....................................................................................................               16,562                        1,600                          1,432                          4,346
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                                                 IL ......................................................................................................             15,821                        2,311                            751                          2,991
                                                 IN .....................................................................................................              16,673                        1,976                          1,352                          3,428
                                                 KY ....................................................................................................               10,134                        2,665                            583                          3,120
                                                 LA .....................................................................................................              40,954                        7,142                          1,869                          7,687
                                                 MD ...................................................................................................                 2,818                          157                            147                          1,145
                                                 MI .....................................................................................................              20,576                        2,985                            760                          5,087
                                                 MO ...................................................................................................                11,237                        2,065                            579                          4,716
                                                 MS ....................................................................................................                9,763                        2,499                            507                          2,650



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                                                    TABLE VIII–2—OZONE SEASON NOX EMISSIONS AND EMISSIONS REDUCTIONS (TONS) FOR NON-EGUS FOR THE FINAL
                                                                       RULE AND THE LESS AND MORE STRINGENT ALTERNATIVES—Continued
                                                                                                                                                              2019 Ozone                   Final rule—                 Less stringent—                More stringent—
                                                                                                State                                                           season                    ozone season                  ozone season                   ozone season
                                                                                                                                                              emissions a                 NOX reductions               NOX reductions                 NOX reductions

                                                 NJ .....................................................................................................                  2,078                             242                            242                            258
                                                 NV 421 ...............................................................................................                    2,544                               0                              0                              0
                                                 NY ....................................................................................................                   5,363                             958                            726                          1,447
                                                 OH ....................................................................................................                  18,000                           3,105                          1,031                          4,006
                                                 OK ....................................................................................................                  26,786                           4,388                          1,376                          5,276
                                                 PA ....................................................................................................                  14,919                           2,184                          1,656                          4,550
                                                 TX ....................................................................................................                  61,099                           4,691                          1,880                          9,963
                                                 UT ....................................................................................................                   4,232                             252                             52                            615
                                                 VA ....................................................................................................                   7,757                           2,200                            978                          2,652
                                                 WV ...................................................................................................                    6,318                           1,649                            408                          2,100

                                                        Totals ........................................................................................                 302,425                          44,616                         16,786                         67,728
                                                    a The
                                                        2019 ozone season emissions are calculated as 5/12 of the annual emissions from the following two emissions inventory files: nonegu_
                                                 SmokeFlatFile_2019NEI_POINT_20210721_controlupdate_13sep2021_v0 and oilgas_SmokeFlatFile_2019NEI_POINT_20210721_controlupdate_
                                                 13sep2021_v0.


                                                    For EGUs, the EPA analyzed ozone                                          complying with the emissions                                              into the forecast period, since future
                                                 season NOX emissions reductions and                                          requirements for non-EGUs. The costs                                      costs are discounted more heavily than
                                                 the associated costs to the power sector                                     presented in Table VIII–3 do not include                                  near term costs. This can result in a
                                                 using the Integrated Planning Model                                          monitoring and reporting costs, which                                     policy scenario showing single year
                                                 (IPM) and its underlying data and                                            EPA summarizes in section X.B.2 of this                                   costs that are lower than the Baseline,
                                                 inputs. For non-EGUs, the EPA prepared                                       document. The monitoring and                                              but over the entire forecast horizon, the
                                                 an assessment summarized in the                                              reporting costs presented in section                                      policy scenario shows higher costs.422
                                                 memorandum titled Summary of Final                                           X.B.2 are $0.35 million per year for                                      For a detailed description of these cost
                                                 Rule Applicability Criteria and                                              EGUs and $3.8 million per year for non-                                   trends, please see Chapter 4, section
                                                 Emissions Limits for Non-EGU
                                                                                                                              EGUs. For EGUs, compliance costs are                                      4.5.2, of the RIA. For a detailed
                                                 Emissions Units, Assumed Control
                                                                                                                              negative in 2026. While seemingly                                         description of the methods and results
                                                 Technologies for Meeting the Final
                                                 Emissions Limits, and Estimated                                              counterintuitive, estimating negative                                     from the memorandum titled Summary
                                                 Emissions Units, Emissions Reductions,                                       compliance costs in a single year is                                      of Final Rule Applicability Criteria and
                                                 and Costs, and the memorandum                                                possible given IPM’s objective function                                   Emissions Limits for Non-EGU
                                                 includes estimated emissions reductions                                      is to minimize the discounted net                                         Emissions Units, Assumed Control
                                                 by state for the rule.421                                                    present value (NPV) of a stream of                                        Technologies for Meeting the Final
                                                    Table VIII–3 reflects the estimates of                                    annual total cost of generation over a                                    Emissions Limits, and Estimated
                                                 the changes in the cost of supplying                                         multi-decadal time period. As such the                                    Emissions Units, Emissions Reductions,
                                                 electricity for the regulatory control                                       model may undertake a compliance                                          and Costs, see Chapter 4, sections 4.4
                                                 alternatives for EGUs and estimates of                                       pathway that pushes higher costs later                                    and 4.5.4 of the RIA.
                                                                                   TABLE VIII–3—TOTAL ESTIMATED COMPLIANCE COSTS (MILLION 2016$), 2023–2042
                                                                                                                                                                                                                         Less-stringent                 More-stringent
                                                                                                                                                                                               Final rule                 alternative                    alternative

                                                 2023:
                                                     EGUs ..........................................................................................................................                            57                             56                             49
                                                     Non-EGUs ..................................................................................................................          ..........................   ............................   ............................

                                                     Total ............................................................................................................................                         57                             56                             49
                                                 2024:
                                                     EGUs ..........................................................................................................................                            (5)                          (35)                           840
                                                     Non-EGUs ..................................................................................................................          ..........................   ............................   ............................

                                                     Total ............................................................................................................................                        (5)                          (35)                            840
                                                 2025:
                                                     EGUs ..........................................................................................................................                            (5)                          (35)                           840
                                                     Non-EGUs ..................................................................................................................          ..........................   ............................   ............................
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                                                     Total ............................................................................................................................                        (5)                          (35)                            840
                                                 2026:

                                                    421 We are not aware of existing non-EGU                                  Nevada that meets the applicability criteria in the                       resulted in annualized 2023–42 costs under the
                                                 emissions units in Nevada that meet the                                      final rule will be subject to the final rule’s                            final rule increasing from $448.6 million to $449.5
                                                 applicability criteria for non-EGUs in the final rule.                       requirements. See section III.B.1.d.                                      million (less than 1%) and did not change the
                                                 If any such units in fact exist, they would be subject                          422 As a sensitivity, the EPA re-calculated costs                      conclusions of the RIA. See Section 4.5.2 of the RIA
                                                 to the requirements of the rule just as in any other
                                                                                                                              assuming annual costs cannot be negative. This                            for more information.
                                                 state. In addition, any new emissions unit in



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                                                                      TABLE VIII–3—TOTAL ESTIMATED COMPLIANCE COSTS (MILLION 2016$), 2023–2042—Continued
                                                                                                                                                                                                           Less-stringent    More-stringent
                                                                                                                                                                                          Final rule        alternative       alternative

                                                       EGUs ..........................................................................................................................              (5)               (35)               840
                                                       Non-EGUs ..................................................................................................................                 570                140              1,300

                                                     Total ............................................................................................................................            570                 110             2,100
                                                 2027:
                                                     EGUs ..........................................................................................................................                24                (47)               760
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................            600                  97             2,000
                                                 2028:
                                                     EGUs ..........................................................................................................................                24                (47)               760
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................            600                  97             2,000
                                                 2029:
                                                     EGUs ..........................................................................................................................                24                (47)               760
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................            600                  97             2,000
                                                 2030:
                                                     EGUs ..........................................................................................................................               710                 770               840
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,300                 920             2,100
                                                 2031:
                                                     EGUs ..........................................................................................................................               710                 770               840
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,300                 920             2,100
                                                 2032:
                                                     EGUs ..........................................................................................................................               820                 850               590
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,400                 990             1,900
                                                 2033:
                                                     EGUs ..........................................................................................................................               820                 850               590
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,400                 990             1,900
                                                 2034:
                                                     EGUs ..........................................................................................................................               820                 850               590
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,400                 990             1,900
                                                 2035:
                                                     EGUs ..........................................................................................................................               820                 850               590
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,400                 990             1,900
                                                 2036:
                                                     EGUs ..........................................................................................................................               820                 850               590
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,400                 990             1,900
                                                 2037:
                                                     EGUs ..........................................................................................................................               820                 850               590
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,400                 990             1,900
                                                 2038:
                                                     EGUs ..........................................................................................................................               820                 830               600
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300
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                                                     Total ............................................................................................................................          1,400                 970             1,900
                                                 2039:
                                                     EGUs ..........................................................................................................................               820                 830               600
                                                     Non-EGUs ..................................................................................................................                   570                 140             1,300

                                                     Total ............................................................................................................................          1,400                 970             1,900
                                                 2040:
                                                     EGUs ..........................................................................................................................               820                 830              600



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                                                                          TABLE VIII–3—TOTAL ESTIMATED COMPLIANCE COSTS (MILLION 2016$), 2023–2042—Continued
                                                                                                                                                                                                                  Less-stringent       More-stringent
                                                                                                                                                                                               Final rule          alternative          alternative

                                                        Non-EGUs ..................................................................................................................                        570                140                 1,300

                                                     Total ............................................................................................................................                  1,400                970                 1,900
                                                 2041:
                                                     EGUs ..........................................................................................................................                       820                830                   600
                                                     Non-EGUs ..................................................................................................................                           570                140                 1,300

                                                     Total ............................................................................................................................                  1,400                970                 1,900
                                                 2042:
                                                     EGUs ..........................................................................................................................                       820                830                   600
                                                     Non-EGUs ..................................................................................................................                           570                140                 1,300

                                                        Total ............................................................................................................................               1,400                970                 1,900



                                                   Tables VIII–4 and VIII–5 report the                                        the 95 percent confidence interval. In                                    reflecting alternative ozone and PM2.5
                                                 estimated economic value of avoided                                          each of these tables, for each discount                                   mortality risk estimates. For additional
                                                 premature deaths and illness in each                                         rate and regulatory control alternative,                                  information on these benefits, see
                                                 year relative to the baseline along with                                     two benefits estimates are presented                                      Chapter 5 of the RIA.
                                                    TABLE VIII–4—ESTIMATED DISCOUNTED ECONOMIC VALUE OF AVOIDED OZONE-RELATED PREMATURE MORTALITY AND
                                                                ILLNESS FOR THE FINAL RULE AND THE LESS AND MORE STRINGENT ALTERNATIVES IN 2023
                                                                                                                         [95 Percent confidence interval; millions of 2016$] a b

                                                                                                                                                                                       Less stringent                          More stringent
                                                     Disc rate                     Pollutant                                     Final rule                                             alternative                             alternative

                                                 3% ...................    Ozone Benefits ...........       $100 [$27 to $220] c and $820 [$91 to                     $100 [$27 to $220] c and $810 [$91 to        $110 [$28 to $230] c and $840 [$94 to
                                                                                                              $2,100] d.                                                $2,100] d.                                   $2,200] d.
                                                 7% ...................    Ozone Benefits ...........       $93 [$17 to 210] c and $730 [$75 to                       $93 [$17 to $210] c and $730 [$75 to         $96 [$18 to $210] c and $750 [$77 to
                                                                                                              $1,900] d.                                                $1,900] d.                                   $2,000] d.
                                                    a Values rounded to two significant figures. The two benefits estimates are separated by the word ‘‘and’’ to signify that they are two separate estimates. The esti-
                                                 mates do not represent lower- and upper-bound estimates and should not be summed.
                                                    b We estimated ozone benefits for changes in NO for the ozone season. This table does not include benefits from reductions for non-EGUs because reductions
                                                                                                       X
                                                 from these sources are not expected prior to 2026 when the final standards would apply to these sources.
                                                    c Using the pooled short-term ozone exposure mortality risk estimate.
                                                    d Using the long-term ozone exposure mortality risk estimate.



                                                         TABLE VIII–5—ESTIMATED DISCOUNTED ECONOMIC VALUE OF AVOIDED OZONE AND PM2.5-RELATED PREMATURE
                                                           MORTALITY AND ILLNESS FOR THE FINAL RULE AND THE LESS AND MORE STRINGENT ALTERNATIVES IN 2026
                                                                                                                              [95% Confidence interval; millions of 2016$] a b

                                                                                                                                                                                       Less stringent                          More stringent
                                                     Disc rate                     Pollutant                                     Final rule                                             alternative                             alternative

                                                 3% ...................    Ozone Benefits ...........       $1,100 [$280 to $2,400] c and $9,400                      $420 [$110 to $900] c and $3,400             $1,900 [470 to $4,000] c and $15,000
                                                                                                              [$1,000 to $25,000] d.                                    [$380 to $8,900] d.                          [$1,700 to $40,000] d.
                                                                           PM Benefits ................     $2,000 [$220 to $5,300] and $4,400                        $530 [$57 to $1,400] and $1,100 [$110        $6,400 [$690 to $17,000] and $14,000
                                                                                                              [$430 to $12,000].                                        to $3,100].                                  [$1,300 to $37,000]
                                                                           Ozone plus PM Bene-              $3,200 [$500 to $7,700] c and $14,000                     $950 [$160 to $2,300] c and $4,600           $8,300 [$1,200 to $21,000] c and
                                                                            fits.                             [$1,500 to $36,000] d.                                    [$490 to $12,000] d.                         $29,000 [$3,000 to $77,000] d.
                                                 7% ...................    Ozone Benefits ...........       $1,000 [$180 to $2,300] c and $8,400                      $380 [$68 to $850] c and $3,100 [$310        $1,700 [$300 to $3,800] c and $14,000
                                                                                                              [$850 to $22,000] d.                                      to $8,100] d.                                [$1,400 to $36,000] d.
                                                                           PM Benefits ................     $1,800 [$190 to $4,700] and $3,900                        470 [$50 to $1,200] and $1,000 [$100         $5,800 [$600 to $15,000] and $12,000
                                                                                                              [$380 to $11,000].                                        to $2,800].                                  [$1,200 to $33,000].
                                                                           Ozone plus PM Bene-              $2,800 [$370 to $7,000] c and $12,000                     $850 [$120 to $2,100] c and $4,100           $7,500 [$910 to $19,000] c and
                                                                            fits.                             [$1,200 to $33,000] d.                                    [$410 to $11,000] d.                         $26,000 [$2,600 to $69,000] d.
                                                  a Values rounded to two significant figures. The two benefits estimates are separated by the word ‘‘and’’ to signify that they are two separate estimates. The esti-
                                                 mates do not represent lower- and upper-bound estimates and should not be summed.
                                                  b We estimated changes in NO for the ozone season and annual changes in PM
                                                                                 X                                                 2.5 and PM2.5 precursors in 2026.
                                                  c Sum of ozone mortality estimated using the pooled short-term ozone exposure risk estimate and the Di et al. (2017) long-term PM
                                                                                                                                                                                         2.5 exposure mortality risk esti-
                                                 mate.
                                                  d Sum of the Turner et al. (2016) long-term ozone exposure risk estimate and the Di et al. (2017) long-term PM     exposure  mortality risk estimate.
                                                                                                                                                                 2.5
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                                                   In Tables VIII–6, VIII–7, and VIII–8,                                      benefits and health benefits associated                                   monetized climate benefits are
                                                 the EPA presents a summary of the                                            with reductions in concentrations of air                                  presented for purposes of providing a
                                                 monetized health and climate benefits,                                       pollutants other than ozone and PM2.5                                     complete economic impact analysis
                                                 costs, and net benefits of the rule and                                      that are not quantified. Discussion of the                                under E.O. 12866 and other relevant
                                                 the more and less stringent alternatives                                     non-monetized health, welfare, and                                        Executive orders. The estimates of GHG
                                                 for 2023, 2026, and 2030, respectively.                                      water quality benefits is found in                                        emissions changes and the monetized
                                                 There are important water quality                                            Chapter 5 of the RIA. In this action,                                     benefits associated with those changes


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                                                 is not part of the record basis for this                                 110(a)(2)(D)(i)(I), for the 2015 ozone
                                                 action, which is taken to implement the                                  NAAQS.
                                                 good neighbor provision, CAA section

                                                  TABLE VIII–6—MONETIZED BENEFITS, COSTS, AND NET BENEFITS OF THE FINAL RULE AND LESS AND MORE STRINGENT
                                                                                    ALTERNATIVES FOR 2023 FOR THE U.S.
                                                                                                                      [3% Discount rate for benefits, millions of 2016$] a b

                                                                                                                                                                                Less stringent                                    More stringent
                                                                                                                           Final rule                                            alternative                                       alternative

                                                 Health Benefits c ............................         $100 and $820 .............................              $100 and $810 .............................             $110 and $840.
                                                 Climate Benefits .............................         $5 ..................................................    $4 ..................................................   $5.
                                                 Total Benefits .................................       $100 and $820 .............................              $100 and $820 .............................             $110 and $840.
                                                 Costs d ............................................   $57 ................................................     $56 ................................................    $49.
                                                 Net Benefits ...................................       $48 and $760 ...............................             $48 and $760 ...............................            $66 and $800.
                                                    a We focus results to provide a snapshot of costs and benefits in 2023, using the best available information to approximate social costs and so-
                                                 cial benefits recognizing uncertainties and limitations in those estimates.
                                                    b Rows may not appear to add correctly due to rounding.
                                                    c The health benefits are associated with two point estimates from two different epidemiologic studies. For the purposes of presenting the val-
                                                 ues in this table the health and climate benefits are discounted at 3 percent.
                                                    d The costs presented in this table are 2023 annual estimates for each alternative analyzed. For EGUs, an NPV of costs was calculated using
                                                 a 3.76 percent real discount rate consistent with the rate used in IPM’s objective function for cost-minimization. For further information on the dis-
                                                 count rate use, please see Chapter 4, Table 4–8 in the RIA.

                                                  TABLE VIII–7—MONETIZED BENEFITS, COSTS, AND NET BENEFITS OF THE FINAL RULE AND LESS AND MORE STRINGENT
                                                                                    ALTERNATIVES FOR 2026 FOR THE U.S.
                                                                                                                      [3% Discount rate for benefits, millions of 2016$] a b

                                                                                                                                                                                Less stringent                                    More stringent
                                                                                                                           Final rule                                            alternative                                       alternative

                                                 Health Benefits c ............................         $3,200 and $14,000 .....................                 $950 and $4,600 ..........................              $8,300 and $29,000.
                                                 Climate Benefits .............................         $1,100 ...........................................       $420 ..............................................     $2,100.
                                                 Total Benefits .................................       $4,300 and $15,000 .....................                 $1,400 and $5,000 .......................               $10,000 and $31,000.
                                                 Costs d ............................................   $570 ..............................................      $110 ..............................................     $2,100.
                                                 Net Benefits ...................................       $3,700 and $14,000 .....................                 $1,300 and $4,900 .......................               $8,300 and $29,000.
                                                    a We focus results to provide a snapshot of costs and benefits in 2026, using the best available information to approximate social costs and so-
                                                 cial benefits recognizing uncertainties and limitations in those estimates.
                                                    b Rows may not appear to add correctly due to rounding.
                                                    c The health benefits are associated with two point estimates from two different epidemiologic studies. For the purposes of presenting the val-
                                                 ues in this table the health and climate benefits are discounted at 3 percent.
                                                    d The costs presented in this table are 2026 annual estimates for each alternative analyzed. For EGUs, an NPV of costs was calculated using
                                                 a 3.76 percent real discount rate consistent with the rate used in IPM’s objective function for cost-minimization. For further information on the dis-
                                                 count rate use, please see Chapter 4, Table 4–8 in the RIA.

                                                  TABLE VIII–8—MONETIZED BENEFITS, COSTS, AND NET BENEFITS OF THE FINAL RULE AND LESS AND MORE STRINGENT
                                                                                    ALTERNATIVES FOR 2030 FOR THE U.S.
                                                                                                                      [3% Discount rate for benefits, millions of 2016$] a b

                                                                                                                                                                                Less stringent                                    More stringent
                                                                                                                           Final rule                                            alternative                                       alternative

                                                 Health Benefits c ............................         $3,400     and $15,000 .....................             $1,000 and $4,900 .......................               $9,000 and $31,000.
                                                 Climate Benefits .............................         $1,500     ...........................................   $1,300 ...........................................      $500.
                                                 Total Benefits .................................       $4,900     and $16,000 .....................             $2,300 and $6,200 .......................               $9,500 and $31,000.
                                                 Costs d ............................................   $1,300     ...........................................   $920 ..............................................     $2,100.
                                                 Net Benefits ...................................       $3,600     and $15,000 .....................             $1,400 and $5,300 .......................               $7,400 and $29,000.
                                                    a We focus results to provide a snapshot of costs and benefits in 2030, using the best available information to approximate social costs and so-
                                                 cial benefits recognizing uncertainties and limitations in those estimates.
                                                    b Rows may not appear to add correctly due to rounding.
                                                    c The health benefits are associated with two point estimates from two different epidemiologic studies. For the purposes of presenting the val-
                                                 ues in this table the health and climate benefits are discounted at 3 percent.
                                                    d The costs presented in this table are 2030 annual estimates for each alternative analyzed. For EGUs, an NPV of costs was calculated using
                                                 a 3.76 percent real discount rate consistent with the rate used in IPM’s objective function for cost-minimization. For further information on the dis-
                                                 count rate use, please see Chapter 4, Table 4–8 in the RIA.
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                                                   In addition, Table VIII–9 presents                                     the net benefits consistent with the                                        recommended by OMB’s Circular A–4
                                                 estimates of the present value (PV) of                                   present value, over the twenty-year                                         and are presented in 2016 dollars
                                                 the monetized benefits and costs and                                     period of 2023 to 2042. The estimates of                                    discounted to 2023.
                                                 the equivalent annualized value (EAV),                                   the PV and EAV are calculated using
                                                 an estimate of the annualized value of                                   discount rates of 3 and 7 percent as


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                                                  TABLE VIII–9—MONETIZED ESTIMATED HEALTH AND CLIMATE BENEFITS, COMPLIANCE COSTS, AND NET BENEFITS OF THE
                                                                 FINAL RULE AND LESS AND MORE STRINGENT ALTERNATIVES, 2023 THROUGH 2042
                                                                                                                                    [Millions 2016$, discounted to 2023]

                                                                                                                                                                             3 Percent discount rate          7 Percent discount rate

                                                                                                                                                                              PV              EAV               PV              EAV

                                                                                                                                                   Health benefits

                                                 Final Rule .........................................................................................................         $200,000          $13,000        $130,000           $12,000
                                                 Less Stringent Alternative ................................................................................                    67,000            4,500          40,000             3,800
                                                 More Stringent Alternative ...............................................................................                    410,000           28,000         240,000            23,000

                                                                                                                                                 Climate Benefits a

                                                 Final Rule .........................................................................................................           15,000                 970        15,000                970
                                                 Less Stringent Alternative ................................................................................                    11,000                 770        11,000                770
                                                 More Stringent Alternative ...............................................................................                     14,000                 920        14,000                920

                                                                                                                                                Compliance Costs

                                                 Final Rule .........................................................................................................           14,000                 910         9,400              770
                                                 Less Stringent Alternative ................................................................................                     8,700                 590         5,300              500
                                                 More Stringent Alternative ...............................................................................                     25,000               1,700        17,000            1,600

                                                                                                                                                     Net Benefits

                                                 Final Rule .........................................................................................................          200,000              13,000      140,000            12,000
                                                 Less Stringent Alternative ................................................................................                    70,000               4,700       42,000             4,000
                                                 More Stringent Alternative ...............................................................................                    400,000              27,000      240,000            22,000
                                                   a Climate benefits are calculated using four different estimates of the social cost of carbon (SC–CO ) (model average at 2.5 percent, 3 percent,
                                                                                                                                                       2
                                                 and 5 percent discount rates; 95th percentile at 3 percent discount rate). For presentational purposes in this table, the climate benefits associ-
                                                 ated with the average SC–CO2 at a 3-percent discount rate are used in the columns displaying results of other costs and benefits that are dis-
                                                 counted at either a 3-percent or 7-percent discount rate.


                                                    As shown in Table VIII–9, the PV of                                     control emissions reductions in this                            ozone design values at identified
                                                 the monetized health benefits of this                                      final rule. These results do not replace                        receptors are predicted to occur in the
                                                 rule, discounted at a 3-percent discount                                   the AQAT-generated estimates used for                           Houston-Galveston-Brazoria, Texas area.
                                                 rate, is estimated to be about $200                                        our Step 3 determinations, and the EPA                          In this area the reductions from the final
                                                 billion ($200,000 million), with an EAV                                    needed to continue to use AQAT for                              rule case range from 0.7 to 0.9 ppb. At
                                                 of about $13 billion ($13,000 million).                                    Step 3 determinations in order to                               most of the receptors in both the Dallas/
                                                 At a 7-percent discount rate, the PV of                                    characterize various potential control                          Ft Worth and the New York/Coastal
                                                 the monetized health benefits is                                           scenarios to inform these regulatory                            Connecticut areas the reductions in
                                                 estimated to be $130 billion ($130,000                                     determinations. Nonetheless, though                             ozone range from 0.4 to 0.5 ppb. At
                                                 million), with an EAV of about $12                                         they differ slightly from the AQAT-                             receptors in Indiana, Michigan, and
                                                 billion ($12,000 million). The PV of the                                   generated air quality estimates of the                          Wisconsin near the shoreline of Lake
                                                 monetized climate benefits of this rule,                                   final rule control scenario conducted for                       Michigan, ozone is projected to decline
                                                 discounted at a 3-percent discount rate,                                   purposes of our Step 3 analysis (as                             by 0.3 to 0.4 ppb, but by as much as 0.5
                                                 is estimated to be about $15 billion                                       presented in section V.D of this                                ppb at the receptor in Muskegon, MI.
                                                 ($15,000 million), with an EAV of about                                    document), these results using full-scale                       Reductions of 0.1 ppb are predicted in
                                                 $970 million. The PV of the monetized                                      photochemical grid modeling                                     the urban and near-urban receptors in
                                                 compliance costs, discounted at a 3-                                       complement those estimates and                                  Chicago. In the West, ozone reductions
                                                 percent rate, is estimated to be about                                     confirm in all cases the regulatory                             just under 0.2 ppb are predicted at
                                                 $14 billion ($14,000 million), with an                                     conclusions reached applying AQAT.423                           receptors in Denver with slightly greater
                                                 EAV of about $910 million. At a 7-                                         Appendix 3A of the RIA presents the                             reductions, just above 0.2 ppb, at
                                                 percent discount rate, the PV of the                                       full results of the projected impacts of                        receptors in Salt Lake City. At receptors
                                                 compliance costs is estimated to be                                        the final rule control scenario on ozone                        in Phoenix, California, El Paso/Las
                                                 about $9.4 billion ($9,400 million), with                                  levels using CAMx. To briefly                                   Cruces, and southeast New Mexico the
                                                                                                                            summarize, the largest reductions in                            reductions in ozone are predicted to be
                                                 an EAV of about $770 million.
                                                                                                                                                                                            less than 0.1 ppb.
                                                    In addition to the analysis of costs                                       423 Note that the EPA’s ‘‘overcontrol’’ analysis

                                                 and benefits as described above, for the                                   relies primarily on a ‘‘Step 3’’ control scenario               IX. Summary of Changes to the
                                                 final rule, the EPA was able to conduct                                    rather than the ‘‘full geography’’ scenario. The                Regulatory Text for the Federal
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                                                 a full-scale photochemical grid                                            CAMx modeling described here captures the effects               Implementation Plans and Trading
                                                                                                                            of the rule as a whole and so is more akin to the               Programs for EGUs
                                                 modeling run of the effects of the ‘‘final                                 ‘‘full geography’’ scenario, which the EPA does not
                                                 rule’’ emissions control scenario in                                       believe is the appropriate method for conducting                  This section describes the
                                                 2026. This modeling can be used to                                         overcontrol analysis. Nonetheless, as explained in              amendments to the regulatory text that
                                                                                                                            the Ozone Transport Policy Analysis Final Rule
                                                 estimate the impacts on projected 2026                                     TSD, the results under either scenario establish no
                                                                                                                                                                                            implement the findings and remedy
                                                 ozone design values that are expected                                      overcontrol, and the CAMx results presented here                discussed elsewhere in this rule with
                                                 from the combined EGU and non-EGU                                          do not call those conclusions into question.                    respect to EGUs. The primary CFR


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                                                 amendments are revisions to the FIP                     52.39(a) with respect to the CSAPR FIP                      § 52.38(b)(10) to replace allowance
                                                 provisions addressing states’ good                      requirements relating to annual NOX                         allocations for a single control period is
                                                 neighbor obligations related to ozone in                emissions, SO2 emissions, and                               being amended to be available for the
                                                 40 CFR part 52 as well as the revisions                 transported fine particulate pollution.                     2024 control period, with attendant
                                                 to the regulations for the CSAPR NOX                       The states whose EGU sources are                         revisions to the years and dates shown
                                                 Ozone Season Group 3 Trading Program                    required to participate in the CSAPR                        in § 52.38(b)(10) (multiple paragraphs)
                                                 in 40 CFR part 97, subpart GGGGG. In                    NOX Ozone Season Group 1, Group 2,                          and (b)(17)(i) as well as the Group 3
                                                 conjunction with the amendments to the                  and Group 3 trading programs under the                      trading program regulations, as
                                                 Group 3 trading program, the                            FIPs established in CSAPR, the CSAPR                        discussed in section IX.B. The options
                                                 monitoring, recordkeeping, and                          Update, and the Revised CSAPR                               under § 52.38(b)(11) and (12) to adopt
                                                 reporting regulations in 40 CFR part 75                 Update, as well as the control periods                      abbreviated or full SIP revisions are
                                                 are being amended to reflect the                        for which those requirements apply, are                     being amended to be available starting
                                                 addition of certain new reporting                       identified in § 52.38(b)(2). The                            with the 2025 control period, with
                                                 requirements associated with the                        amendments to this paragraph expand                         attendant revisions to § 52.38(b)(11)(iii),
                                                 amended trading program and the                         the applicability of the Group 3 trading                    (b)(12)(iii), and (b)(17)(ii).426 The
                                                 administrative appeal provisions in 40                  program to sources in the ten additional                    removal of the previous options for
                                                 CFR part 78 are being amended to                        states that the EPA is adding to the                        states to expand applicability of the
                                                 identify certain additional types of                    Group 3 trading program starting with                       trading programs for ozone season NOX
                                                 appealable decisions of the EPA                         the 2023 control period and end the                         emissions to certain non-EGUs and
                                                 Administrator under the amended                         applicability of the Group 2 trading                        smaller EGUs, discussed in sections
                                                 trading program. The provisions to                      program (with the exception of certain                      VI.D.2 and VI.D.3, is accomplished by
                                                 address the transition of the EGUs in                   provisions) for sources in seven of the                     the removal or revision of multiple
                                                 certain states from the Group 2 trading                 ten states after the 2022 control period,                   paragraphs of § 52.38(b), including most
                                                 program to the Group 3 trading program                  as discussed in section VI.B.2.424 The                      notably the removal of § 52.38(b)(4)(i),
                                                 are implemented in part through                         paragraphs within § 52.38(b)(2) are                         (b)(5)(i), (b)(8)(i)–(ii), (b)(9)(i)–(ii),
                                                 revisions to the regulations noted                      being renumbered to clarify the                             (b)(11)(i)–(iii), and (b)(12)(i)–(iii).
                                                 previously and in part through revisions                organization of the provisions and to                          The changes with respect to set-asides
                                                 to the regulations for the Group 2                      facilitate cross-references from other                      and the treatment of units in Indian
                                                 trading program in 40 CFR part 97,                      regulatory provisions. Regarding the two                    country discussed in section VI.B.9,
                                                 subpart EEEEE.                                          states currently participating in the                       although implemented largely through
                                                    In addition to these primary                         Group 2 trading program through                             amendments to the Group 3 trading
                                                 amendments, certain revisions are being                 approved SIP revisions that replaced the                    program regulations, are also
                                                 made to the regulations for the other                   previous FIPs issued under the CSAPR                        implemented in part through
                                                 CSAPR trading programs in 40 CFR part                   Update (Alabama and Missouri), a                            amendments to § 52.38(b)(11) and (12).
                                                 97, subparts AAAAA through EEEEE,                       provision indicating that the EPA will                      First, the text in § 52.38(b)(11)(iii)(A)
                                                 for conformity with the amended                         no longer administer the state trading                      and (b)(12)(iii)(A) identifying the
                                                 provisions of the Group 3 trading                       programs adopted under those SIP                            portion of each state trading budget for
                                                 program, as discussed in section                        revisions after the 2022 control period is                  which a state may establish state-
                                                 VI.B.13. Documents have been included                   being added at § 52.38(b)(16)(ii)(B).                       determined allowance allocations is
                                                 in the docket for this rule showing all                    In the Revised CSAPR Update, the                         being revised to exclude any allowances
                                                 of the revisions in redline-strikeout                   EPA established several options for                         in a new unit set-aside or Indian
                                                 format.                                                 states to revise their SIPs to modify or                    country existing unit set-aside. Second,
                                                                                                         replace the FIPs applicable to their                        the text in § 52.38(b)(12)(vi) identifying
                                                 A. Amendments to FIP Provisions in 40
                                                                                                         sources while continuing to use the                         provisions that states may not adopt
                                                 CFR Part 52
                                                                                                         Group 3 trading program as the                              into their SIPs (because the provisions
                                                   The CSAPR, CSAPR Update, and                          mechanism for meeting the states’ good                      concern regulation of sources in Indian
                                                 Revised CSAPR Update FIP                                neighbor obligations. As in effect before                   country not subject to a state’s CAA
                                                 requirements related to ozone season                                                                                implementation planning authority) are
                                                                                                         this rule, § 52.38(b)(10), (11), and (12)
                                                 NOX emissions are set forth in 40 CFR                                                                               being revised to include the provisions
                                                                                                         established options to replace allowance
                                                 52.38(b) as well as other sections of part                                                                          of the amended Group 3 trading
                                                                                                         allocations for the 2022 control period,
                                                 52 specific to each covered state. The                                                                              program addressing allocation and
                                                                                                         to adopt an abbreviated SIP revision for
                                                 existing text of § 52.38(b)(1) identifies                                                                           recordation of allowances from all types
                                                                                                         control periods in 2023 or later years,
                                                 the trading program regulations in 40                                                                               of set-asides. Finally, the text in
                                                                                                         and to adopt a full SIP revision for
                                                 CFR part 97, subparts BBBBB, EEEEE,                                                                                 § 52.38(b)(12)(vii) authorizing the EPA
                                                                                                         control periods in 2023 or later years,
                                                 and GGGGG, as constituting the relevant                                                                             to modify the previous approval of a SIP
                                                                                                         respectively.425 As discussed in section
                                                 FIP provisions relating to seasonal NOX                                                                             revision with regard to the assurance
                                                                                                         VI.D, the EPA is retaining these SIP
                                                 emissions and transported ozone                                                                                     provisions ‘‘if and when a covered unit
                                                                                                         revision options and is making them
                                                 pollution. Because in this rulemaking                                                                               is located in Indian country’’ are being
                                                                                                         available for all states covered by the
                                                 the EPA is establishing new or amended                                                                              revised to account for the fact that at
                                                                                                         Group 3 trading program after the
                                                 FIP requirements not only for the types                                                                             least one covered unit is already located
                                                                                                         geographic expansion. The option under
                                                 of EGUs covered by the trading                                                                                      in Indian country not subject to a state’s
                                                 programs but also for certain types of
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                                                                                                            424 Like the previous text of § 52.38(b)(2), the final   CAA planning authority.
                                                 industrial sources, an amendment to                     amended text expressly encompasses sources in                  The transitional provisions discussed
                                                 § 52.38(b)(1) clarifies that the trading                Indian country within the respective states’ borders.       in sections VI.B.12.b and VI.B.12.c to
                                                 programs constitute the FIP provisions                     425 Revisions to the deadlines for states with

                                                 only for the sources meeting the                        approved SIP revisions to submit their state-                 426 No state currently in the Group 3 trading
                                                                                                         determined allowance allocations to the EPA for             program has submitted a SIP revision to make use
                                                 applicability requirements of the trading               subsequent recordation were finalized in an earlier         of these options in control periods before the
                                                 programs. A parallel clarification is                   final rule in this docket. See 87 FR 52473 (August          control periods in which the options can be used
                                                 being added to §§ 52.38(a)(1) and                       26, 2022).                                                  under the amended provisions.



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                                                 convert certain 2017–2022 Group 2                       repeating the substance of                                limits and assurance levels discussed in
                                                 allowances to Group 3 allowances and                    § 52.38(b)(14)(iii), which identifies                     section VI.B.5 is implemented at
                                                 to recall certain 2023–2024 Group 2                     certain provisions that continue to                       § 97.1010(e). The Group 3 allowance
                                                 allowances, although promulgated as                     apply to sources and allowances                           bank recalibration process discussed in
                                                 amendments to the Group 2 trading                       notwithstanding discontinuation of a                      sections VI.B.1.b.ii and VI.B.6 is
                                                 program regulations, will necessarily be                trading program with respect to a                         implemented at § 97.1026(d). The
                                                 implemented after the end of the 2022                   particular state.428 In addition, for the                 backstop daily NOX emissions rate
                                                 control period. Amendments clarifying                   five states that during their time in the                 component of the primary emissions
                                                 that these provisions continue to apply                 Group 2 trading program have not                          limitation discussed in sections
                                                 to the relevant sources and holders of                  exercised the option to adopt full SIP                    VI.B.1.c.i and VI.B.7 is implemented at
                                                 allowances notwithstanding the                          revisions to replace the FIPs issued                      §§ 97.1006(c)(1)(i) and 97.1024(b)(1) and
                                                 transition of certain states out of the                 under the CSAPR Update (all but                           (3), accompanied by the addition of a
                                                 Group 2 trading program after the 2022                  Alabama and Missouri), obsolete                           definition of ‘‘backstop daily NOX
                                                 control period are being added at                       provisions concerning the unexercised                     emissions rate’’ and modification of the
                                                 § 52.38(b)(14)(iii). Cross-references                   SIP revision option are being removed.                    definition of ‘‘CSAPR NOX Ozone
                                                 clarifying that the EPA’s allocations of                   No amendments with respect to FIP                      Season Group 3 allowance’’ in
                                                 the converted Group 3 allowances are                    requirements for EGUs are being made                      §§ 97.1002 and 97.1006(c)(6). The
                                                 not subject to modification through SIP                 to the state-specific CFR subparts for the                secondary emissions limitation for
                                                 revisions are also being added to the                   twelve states whose sources currently                     sources found responsible for
                                                 existing provisions at                                  participate in the Group 3 trading                        exceedances of the assurance levels
                                                 § 52.38(b)(11)(iii)(D) and (b)(12)(iii)(D).             program429 except as needed to update                     discussed in sections VI.B.1.c.ii and
                                                    The general FIP provisions applicable                cross-references or to implement the                      VI.B.8 is implemented at
                                                 to all states covered by this rule as set               changes related to the treatment of                       §§ 97.1006(c)(1)(iii) and (iv) and
                                                 forth in § 52.38(b)(2) are being                        Indian country, as discussed in section                   (c)(3)(ii) and 97.1025(c), accompanied
                                                 replicated in the state-specific subparts               IX.D.                                                     by the addition of a definition of
                                                 of 40 CFR part 52 for each of the ten                                                                             ‘‘CSAPR NOX Ozone Season Group 3
                                                                                                         B. Amendments to Group 3 Trading
                                                 states that the EPA is adding to the                                                                              secondary emissions limitation’’ in
                                                                                                         Program and Related Regulations
                                                 Group 3 trading program.427 In each                                                                               § 97.1002.
                                                 such state-specific CFR subpart,                           To implement the geographic                               The changes relating to set-asides, the
                                                 provisions are being added indicating                   expansion of the Group 3 trading                          treatment of Indian country, and unit-
                                                 that sources in the state are required to               program and the revised trading budgets
                                                                                                                                                                   level allowance allocations discussed in
                                                 participate in the CSAPR NOX Ozone                      that are being established under the new
                                                                                                                                                                   section VI.B.9 of this document are
                                                 Season Group 3 Trading Program with                     and amended FIPs in this rulemaking,
                                                                                                                                                                   implemented through revisions to
                                                 respect to emissions starting in 2023.                  several sections of the Group 3 trading
                                                                                                                                                                   multiple paragraphs of §§ 97.1010,
                                                 Provisions are also being added                         program regulations are being amended.
                                                                                                                                                                   97.1011, and 97.1012, as well as limited
                                                 repeating the substance of                              Revisions identifying the applicable
                                                                                                                                                                   revisions to §§ 97.1002 (definition of
                                                 § 52.38(b)(13)(i), which generally                      control periods, deadlines for
                                                                                                                                                                   ‘‘allocate or allocation’’) and
                                                 provides that the Administrator’s full                  certification of monitoring systems, and
                                                                                                                                                                   97.1006(b)(2). In § 97.1010, paragraphs
                                                 and unconditional approval of a full SIP                deadlines for commencement of
                                                                                                                                                                   (b), (c), and (d) address the amounts for
                                                 revision correcting the same SIP                        quarterly reporting for sources not
                                                                                                         previously covered by the Group 3                         each control period of the Indian
                                                 deficiency that is the basis for a FIP                                                                            country existing unit set-asides, new
                                                 promulgated in this rulemaking would                    trading program are being made at
                                                                                                         §§ 97.1006(c)(3)(i), 97.1030(b)(1), and                   unit set-asides, and Indian country new
                                                 cause the FIP to no longer apply to                                                                               unit set-asides, respectively.430
                                                 sources subject to the state’s CAA                      97.1034(d)(2)(i), respectively. Revisions
                                                                                                         identifying the new or revised budgets                    Paragraphs (b) and (d) reflect the
                                                 implementation planning authority, and                                                                            establishment of Indian country existing
                                                 § 52.38(b)(14)(ii), which generally                     and new unit set-asides for the control
                                                                                                         periods after 2022 for all covered states                 unit set-asides starting with the 2023
                                                 provides the EPA with authority to                                                                                control period and the discontinuation
                                                 complete recordation of EPA-                            are being made at § 97.1010(a)(1) and
                                                                                                         (c)(2), respectively.                                     of Indian country new unit set-asides
                                                 determined allowance allocations for
                                                                                                            Each of the enhancements to the                        after the 2022 control period.
                                                 any control period for which EPA has                                                                                 A newly added definition at § 97.1002
                                                 already started such recordation                        Group 3 trading program discussed in
                                                                                                         section VI.B is also implemented                          for ‘‘coal-derived fuel’’ (based on the
                                                 notwithstanding the approval of a state’s                                                                         existing definition in 40 CFR 72.2) helps
                                                 SIP revision establishing state-                        primarily through revisions to the
                                                                                                         trading program regulations. The                          in implementation of both the backstop
                                                 determined allowance allocations.                                                                                 daily NOX emissions rate provisions and
                                                    For each of the seven states that the                dynamic budget-setting process
                                                                                                         discussed in sections VI.B.1.b.i and                      the unit-level allocation provisions by
                                                 EPA is removing from the Group 2
                                                                                                         VI.B.4 is implemented at § 97.1010(a)(2)                  clarifying that the provisions apply
                                                 trading program, the provisions of the
                                                 state-specific CFR subparts indicating                  through (4), and the associated revised                   without regard to how any coal
                                                 that sources in the state are required to               process for determining variability                       combusted by a unit might have been
                                                 participate in that trading program are                                                                           processed before combustion. Another
                                                 being revised to end that requirement                     428 See §§ 52.54(b) (Alabama), 52.184(a)                newly added definition at § 97.1002 for
                                                                                                         (Arkansas), 52.1824(a) (Mississippi), 52.1326(b)          ‘‘historical control period’’ helps in
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                                                 with respect to emissions after 2022,                   (Missouri), 52.1930(a) (Oklahoma), 52.2283(d)
                                                 and a further provision is being added                                                                            implementation of the dynamic budget-
                                                                                                         (Texas), and 52.2587(e) (Wisconsin).
                                                                                                           429 See §§ 52.731(b) (Illinois), 52.789(b) (Indiana),
                                                                                                                                                                   setting provisions, the secondary
                                                   427 See §§ 52.54(b) (Alabama), 52.184(a)              52.940(b) (Kentucky), 52.984(d) (Louisiana),              emissions limitation provisions, and the
                                                 (Arkansas), 52.1240(d) (Minnesota), 52.1824(a)          52.1084(b) (Maryland), 52.1186(e) (Michigan),
                                                 (Mississippi), 52.1326(b) (Missouri), 52.1492           52.1584(e) (New Jersey), 52.1684(b) (New York),              430 The former § 97.1011(c), which addresses the

                                                 (Nevada), 52.1930(a) (Oklahoma), 52.2283(d)             52.1882(b) (Ohio), 52.2040(b) (Pennsylvania),             relationships of set-asides and variability limits to
                                                 (Texas), 52.2356 (Utah), and 52.2587(e)                 52.2440(b) (Virginia), and 52.2540(b) (West               state trading budgets, is being relocated to
                                                 (Wisconsin).                                            Virginia).                                                § 97.1011(f).



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                                                 unit-level allocation provisions by                        state but instead would be transferred to                 Implementation of the revisions to the
                                                 facilitating references to data reported                   a surrender account.                                   Group 3 trading program is also
                                                 by a unit for periods before the unit’s                       The revisions to § 97.1012 retain the               accomplished in part through
                                                 entry into the Group 3 trading program.                    section’s current focus on allocations to              amendments to regulations in other CFR
                                                    The revisions to § 97.1011 refocus the                  ‘‘new’’ units, generally combining the                 parts. In 40 CFR part 75, which contains
                                                 section exclusively on allocation to                       former provisions at § 97.1012 with the                detailed monitoring, recordkeeping, and
                                                 ‘‘existing’’ units from the portion of                     former provisions at § 97.1011(b) and (c)              reporting requirements applicable to
                                                 each state emissions budget not reserved                   that address new units. The text of                    sources covered by the Group 3 trading
                                                 in a new unit set-aside or Indian                          multiple paragraphs in both § 97.1012(a)               program, the additional recordkeeping
                                                 country new unit set-aside. In                             and (b) is being revised as needed to                  and reporting requirements discussed in
                                                 § 97.1011(a), the provision formerly in                    reflect the change in treatment of Indian              section VI.B.10 of this document are
                                                 § 97.1011(a)(1) requiring allocations to                   country discussed in section VI.B.9.a,                 implemented through the addition of
                                                 existing units to be made in the amounts                   under which the new unit set-asides                    §§ 75.72(f) and 75.73(f)(1)(ix) and (x)
                                                 provided in NODAs issued by the EPA                        will be used to provide allowance                      and revisions to § 75.75, and the
                                                 is being split into two separate                           allocations to new units both in non-                  procedures for calculating daily total
                                                 provisions, with paragraph (a)(1)                          Indian country and Indian country                      heat input and daily total NOX
                                                 applying to existing units in the state                    within the borders of the respective                   emissions and the procedures for
                                                 and areas of Indian country covered by                     states for control periods starting in                 apportioning NOX mass emissions
                                                 the state’s CAA implementation                             2023.432 The timing and notice                         monitored at a common stack among the
                                                 planning authority and paragraph (a)(2)                    provisions in § 97.1012(a)(13) and                     individual units using the common
                                                 applying to existing units in areas of                     (b)(13) are relocated from former                      stack are being added at sections 5.3.3,
                                                 Indian country not covered by the                          § 97.1011(b)(1) and (2). The text of                   8.4(c), and 8.5.3 of appendix F to part
                                                 state’s CAA implementation planning                        § 97.1012(c), addressing incorrect                     75. In 40 CFR part 78, which contains
                                                 authority.431 This split will facilitate the               allocations to new units, is largely                   the administrative appeal procedures
                                                 submission and approval of SIP                             relocated from § 97.1011(c) (which                     applicable to decisions of the EPA
                                                 revisions by states interested in                          addresses incorrect allocations to                     Administrator under the Group 3
                                                 submitting state-determined allowance                      existing units) and reflects a parallel                trading program, § 78.1(b)(19) is being
                                                 allocations for the units over which they                  revision addressing the disposition of                 amended to add calculation of the
                                                 exercise CAA implementation authority,                     recovered allowances, as discussed in                  dynamic budgets to the list of
                                                 while leaving allocations to any units                     section VI.B.9.d.                                      administrative decisions under the
                                                 outside their authority to be addressed                       The amendments to § 97.1021                         trading program regulations that will be
                                                 either by the EPA or by the relevant                       implement two distinct sets of changes                 appealable under those procedures.
                                                 tribe under an approved tribal                             discussed in sections VI.B.9 and VI.D.1.               C. Transitional Provisions
                                                 implementation plan. The process for                       First, revisions to § 97.1021(b) through
                                                                                                                                                                      As discussed in section VI.B.12, the
                                                 determining default allocations to                         (e) replace the previous schedule for
                                                                                                                                                                   EPA is establishing several transitional
                                                 existing units of allowances from state                    recording Group 3 allowances for the
                                                                                                                                                                   provisions for sources entering the
                                                 trading budgets starting with the 2026                     2023 and 2024 control periods
                                                                                                                                                                   Group 3 trading program. The
                                                 control period is set forth in revised                     established in the August 2022
                                                                                                                                                                   provisions discussed in section
                                                 § 97.1011(b), while the former                             Recordation Rule with an updated                       VI.B.12.a of this document, concerning
                                                 provisions of § 97.1011(b), which                          recordation schedule tailored to the                   the prorating of state emissions budgets,
                                                 concern timing and notice procedures                       effective date of this rule. The updated               assurance levels, and unit-level
                                                 for allocations to new units, are being                    schedule also eliminates the unused                    allocations for the 2023 control period,
                                                 relocated to § 97.1012. The provisions                     former option for states to provide state-             are implemented through the Group 3
                                                 addressing incorrectly allocated                           determined allowance allocations for                   trading program regulations.
                                                 allowances at § 97.1011(c) are being                       the 2022 control period and establishes                Specifically, the state emissions budgets
                                                 streamlined by relocating the portions                     a substantively equivalent new option                  for the 2023 control period will be
                                                 applicable to new units to § 97.1012(c).                   for states to provide state-determined                 prorated according to procedures set out
                                                 In addition, as discussed in section                       allowance allocations for the 2024                     at § 97.1010(a)(1)(ii). Variability limits
                                                 VI.B.9.d, § 97.1011(c)(5) is being revised                 control period. Second, revisions to                   for the 2023 control period, and the
                                                 to provide that, starting with the 2024                    § 97.1021(g) through (j) begin                         resulting assurance levels, will be
                                                 control period, any incorrectly allocated                  recordation for Indian country existing                computed under § 97.1010(e) from the
                                                 allowances recovered after May 1 of the                    unit set-asides starting with allocations              prorated state emissions budgets. Unit-
                                                 year following the control period will                     for the 2023 control period, modify the                level allocations to existing units for the
                                                 not be reallocated to other units in the                   text to eliminate references to state-                 2023 control period will be computed
                                                                                                            determined allocations of allowances                   from the prorated state emissions
                                                    431 An additional provision currently in                from new unit set-asides, and end                      budgets according to procedures
                                                 § 97.1011(a)(1), which clarifies that an allocation or     recordation for Indian country new unit                substantively the same as the
                                                 lack of allocation to a unit in a NODA does not            set-asides after allocations for the 2022
                                                 constitute a determination by the EPA that the unit                                                               procedures codified in § 97.1011(b) for
                                                 is or is not a CSAPR NOX Ozone Season Group 3
                                                                                                            control period.                                        calculating default allocations to
                                                 unit, is being relocated to § 97.1011(a)(3). The                                                                  existing units for later control periods,
                                                 former § 97.1011(a)(2), which provides for certain            432 Revisions are also being made to the text of
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                                                                                                                                                                   as discussed in section VI.B.9.b, and
                                                 existing units that cease operations to receive            § 97.1012(a) and (b) for the control periods in 2021
                                                 allocations for their first five control periods of non-   and 2022 consistent with the revisions to the          will be announced in the notice of data
                                                 operation and provides for the allowances for              parallel provisions in the regulations for the other   availability issued under § 97.1011(a)(1)
                                                 subsequent control periods to be allocated to the          CSAPR trading programs, generally calling for          and (2) for the 2023 through 2025
                                                 relevant state’s new unit set-asides, is inconsistent      allocations to units in areas of Indian country        control periods.
                                                 with the proposed revisions to the set-asides and          subject to a state’s CAA implementation planning
                                                 the default allowance allocation process, as               authority to be made from the new unit set-asides
                                                                                                                                                                      The remaining transitional provisions
                                                 discussed in section VI.B.9, and is being removed          instead of from the Indian country new unit set-       are being implemented through the
                                                 as obsolete.                                               asides.                                                Group 2 trading program regulations.


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                                                 The creation of an additional Group 3                   Indian country new unit set-asides, and                have been removed from the programs,
                                                 allowance bank for the 2023 control                     variability limits for states that the EPA             consistent with the text of the latter
                                                 period through the conversion of                        is transitioning out of the Group 2                    provisions.
                                                 banked 2017–2022 Group 2 allowances                     trading program are being modified to                    Finally, the EPA is updating cross-
                                                 as discussed in section VI.B.12.b of this               indicate that the amounts are applicable               references throughout 40 CFR parts 52
                                                 document is implemented at                              under that program only for control                    and 97 for consistency with the other
                                                 § 97.826(e).433 Related provisions                      periods through 2022.                                  amendments being made in this
                                                 addressing the use of Group 3                              Second, as noted in sections VI.D.2                 rulemaking.
                                                 allowances to satisfy after-arising                     and VI.D.3, the existing options for
                                                                                                         states subject to the NOX SIP Call to                  X. Statutory and Executive Orders
                                                 compliance obligations under the Group
                                                                                                         expand applicability of the Group 2                    Reviews
                                                 2 trading program or the Group 1
                                                 trading program are implemented at                      trading program to include certain non-                  Additional information about these
                                                 §§ 97.826(f)(2) and 97.526(e)(3),                       EGUs and smaller EGUs are being                        statutes and Executive orders (‘‘E.O.’’)
                                                 respectively, and related provisions                    eliminated. While the most directly                    can be found at https://www2.epa.gov/
                                                 addressing recordation of late-arising                  affected provisions are the provisions                 laws-regulations/laws-and-executive-
                                                 allocations of Group 1 allowances are                   setting forth the SIP options at                       orders.
                                                 implemented at § 97.526(d)(2)(iii). The                 § 52.38(b)(4), (5), (8), (9), (12), and (13),
                                                                                                         as discussed in section IX.A of this                   A. Executive Order 12866: Regulatory
                                                 recall of Group 2 allowances previously                                                                        Planning and Review and Executive
                                                 issued for the 2023 and 2024 control                    document, the changes also render
                                                                                                         references to ‘‘base’’ units and ‘‘base’’              Order 13563: Improving Regulation and
                                                 periods as discussed in section VI.B.12.c                                                                      Regulatory Review
                                                 of this document is implemented at                      sources in the regulations for the Group
                                                 § 97.811(e).                                            2 trading program and the Group 3                        This action is a significant regulatory
                                                    Decisions of the Administrator related               trading program obsolete. Removal of                   action within the scope of section 3(f)(1)
                                                 to the allowance bank creation                          the references to ‘‘base’’ units and                   of Executive Order 12866 that was
                                                 provisions and the allowance recall                     ‘‘base’’ sources affects multiple                      submitted to the Office of Management
                                                 provisions are identified as appealable                 paragraphs of §§ 97.802, 97.806, 97.825,               and Budget (OMB) for review. Any
                                                 decisions under 40 CFR part 78 through                  97.1002, 97.1006, and 97.1025.                         changes made in response to Executive
                                                 revisions to § 78.1(b)(17)(viii) and (ix).                 Third, to clarify the regulatory text,              Order 12866 review have been
                                                                                                         the EPA is removing the language in the                documented in the docket. The EPA
                                                 D. Clarifications and Conforming                        Group 3 trading program regulations                    prepared an analysis of the potential
                                                 Revisions                                               that formerly appeared at §§ 97.1002                   costs and benefits associated with this
                                                    As discussed in section VI.B.13 of this              (definition of ‘‘common designated                     action. This analysis, which is
                                                 document, the EPA is revising the                       representative’s assurance level’’),                   contained in the ‘‘Regulatory Impact
                                                 provisions regarding allowance                          97.1006(c)(2)(iii), 97.1010(d), and                    Analysis for Final Federal Good
                                                 allocations for units in Indian country                 97.1011(a)(1) referencing supplemental                 Neighbor Plan Addressing Regional
                                                 in all the CSAPR trading programs so                    amounts of allowances issued for the                   Ozone Transport for the 2015 Ozone
                                                 that instead of distinguishing among                    2021 control period and associated                     National Ambient Air Quality
                                                 units based on whether they are or are                  increments to the 2021 assurance levels                Standard’’ [EPA–452–R–23–001], is
                                                 not located in Indian country, the                      (each state’s assurance level increment                available in the docket and is briefly
                                                 revised provisions distinguish among                    was described as 21 percent of the                     summarized in section VIII of this
                                                 units based on whether they are or are                  state’s supplemental amount of                         document.
                                                 not covered by a state’s CAA                            allowances). In place of the removed
                                                                                                         language, the EPA is restating the                     B. Paperwork Reduction Act (PRA)
                                                 implementation planning authority. The
                                                                                                         amounts of the 2021 state emissions                    1. Information Collection Request for
                                                 revisions are implemented in multiple
                                                                                                         budgets in § 97.1010(a)(1)(i) so as to                 Electric Generating Units
                                                 paragraphs of §§ 97.411(b), 97.412,
                                                                                                         include the supplemental amounts of
                                                 97.511(b), 97.512, 97.611(b), 97.612,                                                                             The information collection activities
                                                                                                         allowances and is restating the amounts
                                                 97.711(b), 97.712, 97.811(b), and 97.812.                                                                      in this rule have been submitted for
                                                                                                         of the 2021 variability limits in
                                                 The associated revisions to states’                                                                            approval to the Office of Management
                                                                                                         § 97.1010(e)(1) so as to include the
                                                 options regarding SIP revisions to                                                                             and Budget (OMB) under the PRA. The
                                                                                                         associated assurance level increments.
                                                 establish state-determined allowance                                                                           Information Collection Request (ICR)
                                                                                                         The revised language is substantively
                                                 allocations for units covered by their                                                                         document that the EPA prepared has
                                                                                                         equivalent to and simpler than the
                                                 CAA implementation planning                                                                                    been assigned EPA ICR number 2709.01.
                                                                                                         previous language.
                                                 authority are implemented in multiple                      Fourth, in 40 CFR part 75, the EPA is               The EPA has placed a copy of the ICR
                                                 paragraphs of §§ 52.38(a) and (b) and                   removing obsolete text in § 75.73(c) and               in the docket for this rule, and it is
                                                 52.39 as well as the state-specific                     (f) to clarify the context for other text              briefly summarized here.
                                                 subparts of 40 CFR part 52.                             being added to the section, as discussed                  The EPA is finalizing an information
                                                    Certain other revisions to the                       in section IX.B of this document.                      collection request (ICR), related
                                                 regulatory text in the FIP and trading                     Fifth, in 40 CFR part 52, the EPA is                specifically to electric generating units
                                                 program regulations are minor                           adding §§ 52.38(a)(7)(iii) and 52.39(k)(3)             (EGU), for the Federal ‘‘Good Neighbor
                                                 simplifications and clarifications. First,              to clarify in §§ 52.38 and 52.39 that the              Plan’’ for the 2015 Ozone National
                                                 in the Group 2 trading program                          Allowance Management System                            Ambient Air Quality Standards. The
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                                                 regulations, the paragraphs in § 97.810                 housekeeping provisions added by the                   rule would amend the Cross-State Air
                                                 setting forth the amounts of state                      Revised CSAPR Update at §§ 97.426(c),                  Pollution Rule (CSAPR) NOX Ozone
                                                 emissions budgets, new unit set-asides,                 97.626(c), and 97.726(c) in the                        Season Group 3 trading program
                                                   433 The provision formerly at § 97.826(e)(1) is
                                                                                                         regulations for the CSAPR NOX Annual,                  addressing seasonal NOX emissions in
                                                 being relocated to § 97.826(f)(1), and the provision
                                                                                                         SO2 Group 1, and SO2 Group 2 trading                   various states. Under the amendments,
                                                 formerly at § 97.826(e)(2) is being removed as no       programs, respectively, continue to                    all EGU sources in the original twelve
                                                 longer necessary.                                       apply after the sources in a given state               Group 3 states (Illinois, Indiana,


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                                                 Kentucky, Louisiana, Maryland,                          already accounted for in both the ARP                    Total estimated additional burden:
                                                 Michigan, New Jersey, New York, Ohio,                   and CSAPR ICRs.                                        2,289 hours (per year). Burden is
                                                 Pennsylvania, Virginia, and West                           For most sources already reporting                  defined at 5 CFR 1320.03(b).
                                                 Virginia) would remain. Additionally,                   data under the CSAPR NOX Ozone                           Total estimated additional cost:
                                                 EGU sources in seven states (Alabama,                   Season Group 3 or the CSAPR NOX                        $356,623 (per year); includes $182,379
                                                 Arkansas, Mississippi, Missouri,                        Ozone Group 2 trading programs, the                    annualized capital or operation &
                                                 Oklahoma, Texas, and Wisconsin)                         reporting requirements will remain                     maintenance costs.
                                                 currently covered by the CSAPR NOX                      identical so there will be no incremental                An agency may not conduct or
                                                 Ozone Season Group 2 Trading Program                    burden or cost. Certain sources                        sponsor, and a person is not required to
                                                 would transition from the Group 2                       currently reporting data will be subject               respond to, a collection of information
                                                 program to the revised Group 3 trading                  to additional emissions reporting                      unless it displays a currently valid OMB
                                                 program beginning with the 2023 ozone                   requirements under the rule requiring                  control number. The OMB control
                                                 season. Further, sources in three states                these sources to make a one-time                       numbers for the EPA’s regulations in 40
                                                 not currently covered by any CSAPR                      monitoring plan and DAHS update.                       CFR are listed in 40 CFR part 9. When
                                                 NOX ozone season trading program                        These sources include those with a                     OMB approves this ICR, the Agency will
                                                 would join the revised Group 3 trading                  common stack configuration and/or                      announce that approval in the Federal
                                                 program: Minnesota, Nevada, and Utah.                   those that are large, coal-fired EGUs.                 Register and publish a technical
                                                 In total, EGU sources in 22 states would                Additionally, sources with a common                    amendment to 40 CFR part 9 to display
                                                 now be covered by the Group 3                           stack configuration have the option to                 the OMB control number for the
                                                 program.                                                install additional monitoring equipment                approved information collection
                                                    There is an existing ICR (OMB Control                to measure emissions at each individual                activities contained in this final rule.
                                                 Number 2060–0667), that includes                        unit within the facility, and for                      2. Information Collection Request for
                                                 information collection requirements                     purposes of estimating information                     Non-Electric Generating Units
                                                 placed on EGU sources for the six Cross-                collection costs and burden, the EPA
                                                                                                         assumes certain sources will utilize this                 The information collection activities
                                                 State Air Pollution Rule (CSAPR)                                                                               in this final rule have been submitted
                                                 trading programs addressing sulfur                      option. Finally, the assessment of
                                                                                                         incremental cost and burden are                        for approval to the Office of
                                                 dioxide (SO2) emissions, annual                                                                                Management and Budget (OMB) under
                                                 nitrogen oxides (NOX) emissions, or                     required for those sources in the three
                                                                                                         states not currently reporting data under              the PRA. The Information Collection
                                                 seasonal NOX emissions in various sets                                                                         Request (ICR) document that the EPA
                                                 of states, and the Texas SO2 trading                    a CSAPR NOX Ozone Season program.
                                                                                                         Sources in Minnesota are already                       prepared has been assigned EPA ICR
                                                 program which is modeled after CSAPR.                                                                          number 2705.02. The EPA has filed a
                                                 This ICR accounts for the additional                    reporting data for the CSAPR NOX
                                                                                                         Annual program with almost identical                   copy of the non-EGU ICR in the docket
                                                 respondent burden related to the                                                                               for this rule, and it is briefly
                                                                                                         information collection requirements,
                                                 amendments to the CSAPR NOX Ozone                                                                              summarized here.
                                                                                                         requiring only a one-time monitoring
                                                 Group 3 trading program.                                                                                          ICR No. 2705.02 is a new request and
                                                                                                         plan and DAHS update. Most of the
                                                    The principal information collection                 affected sources in Nevada and Utah are                it addresses the burden associated with
                                                 requirements under the CSAPR and                        already reporting data as part of the                  new regulatory requirements under the
                                                 Texas trading programs relate to the                    Acid Rain Program, thus only requiring                 final rule. Owners and operators of
                                                 monitoring and reporting of emissions                   a monitoring plan and DAHS update as                   certain non-Electric Generating Unit
                                                 and associated data in accordance with                  well. There are a small number of                      (non-EGU) industry stationary sources
                                                 40 CFR part 75. Other information                       sources in Nevada and Utah that do not                 will potentially modify or install new
                                                 collection requirements under the                       report emissions data to the EPA under                 emissions controls and associated
                                                 programs concern the submittal of                       40 CFR part 75 and will need to                        monitoring systems to meet the nitrogen
                                                 information necessary to allocate and                   implement a Part 75 monitoring                         oxides (NOX) emissions limits of this
                                                 transfer emissions allowances and the                   methodology which includes burdens                     final rule. The burden in this ICR
                                                 submittal of certificates of                            related to installation, certification, and            reflects the new monitoring, calibrating,
                                                 representation and other typically one-                 necessary updates.                                     recordkeeping, reporting and testing
                                                 time registration forms.                                   Respondents/affected entities:                      activities required of covered industrial
                                                    Affected sources under the CSAPR                     Industry respondents are stationary,                   sources. This information is being
                                                 and Texas trading programs are                          fossil fuel-fired boilers and combustion               collected to assure compliance with the
                                                 generally stationary, fossil fuel-fired                 turbines serving electricity generators                final rule. In accordance with the Clean
                                                 boilers and combustion turbines serving                 subject to the CSAPR and Texas trading                 Air Act Amendments of 1990, any
                                                 generators larger than 25 megawatts                     programs, as well as non-source entities               monitoring information to be submitted
                                                 (MW) producing electricity for sale.                    voluntarily participating in allowance                 by sources is a matter of public record.
                                                 Most of these affected sources are also                 trading activities. Potential state                    Information received and identified by
                                                 subject to the Acid Rain Program (ARP).                 respondents are states that can elect to               owners or operators as confidential
                                                 The information collection requirements                 submit state-determined allowance                      business information (CBI) and
                                                 under the CSAPR and Texas trading                       allocations for sources located in their               approved as CBI by the EPA, in
                                                 programs and the ARP substantially                      states.                                                accordance with 40 CFR chapter I, part
                                                 overlap and are fully integrated. The                      Respondent’s obligation to respond:                 2, subpart B, shall be maintained
                                                 burden and costs of overlapping
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                                                                                                         Industry respondents: voluntary and                    appropriately (see 40 CFR part 2; 41 FR
                                                 requirements are accounted for in the                   mandatory (sections 110(a) and 301(a) of               36902, September 1, 1976; amended by
                                                 ARP ICR (OMB Control Number 2060–                       the Clean Air Act).                                    43 FR 39999, September 8, 1978; 43 FR
                                                 0258). Thus, this ICR accounts for                         Estimated number of respondents:                    42251, September 28, 1978; 44 FR
                                                 information collection burden and costs                 The EPA estimates that there would be                  17674, March 23, 1979).
                                                 under the CSAPR NOX Ozone Season                        120 industry respondents.                                 Respondents/affected entities: The
                                                 Group 3 trading program that are                           Frequency of response: on occasion,                 respondents/affected entities are the
                                                 incremental to the burden and costs                     quarterly, and annually.                               owners/operators of certain non-EGU


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                                                 industry sources in the following                       the EPA identified a total of 29 small                 F. Executive Order 13175: Consultation
                                                 industry sectors: furnaces in Glass and                 entities affected by the rule. Of these, 2             and Coordination With Indian Tribal
                                                 Glass Product Manufacturing; boilers                    small entities may experience costs of                 Governments
                                                 and furnaces in Iron and Steel Mills and                greater than 1 percent of revenues. In
                                                 Ferroalloy Manufacturing; kilns in                                                                                This final action has tribal
                                                                                                         2026 for EGUs, the EPA identified 19
                                                 Cement and Cement Product                                                                                      implications. However, it would neither
                                                                                                         small entities. The EPA’s decision to
                                                 Manufacturing; reciprocating internal                                                                          impose substantial direct compliance
                                                                                                         exclude units smaller than 25 MW
                                                 combustion engines in Pipeline                                                                                 costs on federally recognized tribal
                                                                                                         capacity from the final rule, and                      governments, nor preempt tribal law.
                                                 Transportation of Natural Gas; and                      exclusion of uncontrolled units smaller
                                                 boilers in Metal Ore Mining, Basic                      than 100 MW from backstop emissions                       The EPA is finalizing a finding that
                                                 Chemical Manufacturing, Petroleum and                   rates significantly reduced the burden                 interstate transport of ozone precursor
                                                 Coal Products Manufacturing, and Pulp,                  on small entities by reducing the                      emissions from 23 upwind states
                                                 Paper, and Paperboard Mills; and                                                                               (Alabama, Arkansas, California, Illinois,
                                                                                                         number of affected small entity-owned
                                                 combustors and incinerators in Solid                                                                           Indiana, Kentucky, Louisiana,
                                                                                                         units. Further, in 2026 for non-EGUs,
                                                 Waste Combustors and Incinerators.                                                                             Maryland, Michigan, Minnesota,
                                                    Respondent’s obligation to respond:                  there are ten small entities, and two
                                                                                                                                                                Mississippi, Missouri, Nevada, New
                                                 Voluntary and mandatory. (Sections                      small entities are estimated to have a
                                                                                                                                                                Jersey, New York, Ohio, Oklahoma,
                                                 110(a) and 301(a) of the Clean Air Act.)                cost-to-sales impact between 1.7 and 2.4
                                                                                                                                                                Pennsylvania, Texas, Utah, Virginia,
                                                 All data that is recorded or reported by                percent of their revenues.
                                                                                                                                                                West Virginia, and Wisconsin) is
                                                 respondents is required by the final                       The Agency has not determined that                  significantly contributing to downwind
                                                 rule, titled ‘‘Federal ‘‘Good Neighbor                  a significant number of small entities                 nonattainment or interfering with
                                                 Plan’’ for the 2015 Ozone National                      potentially affected by the rule will have             maintenance of the 2015 ozone NAAQS
                                                 Ambient Air Quality Standards.’’                        compliance costs greater than 1 percent                in other states. The EPA is promulgating
                                                    Estimated number of respondents:                     of annual revenues during the                          FIP requirements to eliminate interstate
                                                 3,328.                                                  compliance period. The EPA has                         transport of ozone precursors from these
                                                    Frequency of response: The specific                  concluded that there will be no                        23 states. Under CAA section 301(d)(4),
                                                 frequency for each information                          significant economic impact on a                       the EPA is extending FIP requirements
                                                 collection activity within the non-EGU                  substantial number of small entities (No               to apply in Indian country located
                                                 ICR is shown at the end of the ICR                      SISNOSE) for this rule overall. Details of             within the upwind geography of the
                                                 document in Tables 1 through 18. In                     this analysis are presented in Chapter 6               final rule, including Indian reservation
                                                 general, the frequency varies across the                of the RIA, which is in the public                     lands and other areas of Indian country
                                                 monitoring, recordkeeping, and                          docket.                                                over which the EPA or a tribe has
                                                 reporting activities. Some recordkeeping                                                                       demonstrated that a tribe has
                                                 such as work plan preparation is a one-                 D. Unfunded Mandates Reform Act                        jurisdiction. The EPA’s determinations
                                                 time activity whereas pipeline engine                   (UMRA)                                                 in this regard are described further in
                                                 maintenance recordkeeping is                                                                                   section III.C.2 of this document,
                                                 conducted quarterly. Reporting                            This action contains no unfunded
                                                                                                         Federal mandate for State, local, or                   Application of Rule in Indian Country
                                                 frequency is on an annual basis.                                                                               and Necessary or Appropriate Finding.
                                                    Total estimated burden: 11,481 hours                 Tribal governments as described in
                                                                                                                                                                The EPA finds that all covered existing
                                                 (per year). Burden is defined at 5 CFR                  UMRA, 2 U.S.C. 1531–1538, and does
                                                                                                                                                                and new EGU and non-EGU sources that
                                                 1320.3(b).                                              not significantly or uniquely affect small
                                                                                                                                                                are located in the ‘‘301(d) FIP’’ areas
                                                    Total estimated cost: $3,823,000                     governments. This action imposes no
                                                                                                                                                                within the geographic boundaries of the
                                                 (average per year); includes $2,400,000                 enforceable duty on any State, local, or
                                                                                                                                                                covered states, and which would be
                                                 annualized capital or operation &                       Tribal government. This action contains                subject to this rule if located within
                                                 maintenance costs.                                      a Federal mandate under UMRA, 2                        areas subject to state CAA planning
                                                    An agency may not conduct or                         U.S.C. 1531–1538, that may result in                   authority, should be included in this
                                                 sponsor, and a person is not required to                expenditures of $100 million or more in                rule. To the EPA’s knowledge, only one
                                                 respond to, a collection of information                 any one year for the private sector.                   covered existing EGU or non-EGU
                                                 unless it displays a currently valid OMB                Accordingly, the costs and benefits                    source is located within the 301(d) FIP
                                                 control number. The OMB control                         associated with this action are discussed              areas: the Bonanza Power Plant, an EGU
                                                 numbers for the EPA’s regulations in 40                 in section VIII of this preamble and in                source, located on the Uintah and Ouray
                                                 CFR are listed in 40 CFR part 9. When                   the RIA, which is in the docket for this               Reservation, geographically located
                                                 OMB approves this ICR, the Agency will                  rule. Additional details are presented in              within the borders of Utah. This final
                                                 announce that approval in the Federal                   the RIA. This action is not subject to the             action has tribal implication because of
                                                 Register and publish a technical                        requirements of UMRA section 203                       the extension of FIP requirements into
                                                 amendment to 40 CFR part 9 to display                   because it contains no regulatory                      Indian country and because, in general,
                                                 the OMB control number for the                          requirements that might significantly or               tribes have a vested interest in how this
                                                 approved information collection                         uniquely affect small governments.                     final rule would affect air quality.
                                                 activities contained in this final rule.
                                                                                                         E. Executive Order 13132: Federalism                      The EPA hosted an environmental
                                                 C. Regulatory Flexibility Act (RFA)                                                                            justice webinar on October 26, 2021,
                                                    I certify that this action will not have               This action does not have federalism                 that was attended by state regulatory
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                                                 a significant economic impact on a                      implications. It will not have substantial             authorities, environmental groups,
                                                 substantial number of small entities                    direct effects on the states, on the                   federally recognized tribes, and small
                                                 under the RFA. The small entities                       relationship between the National                      business stakeholders. The EPA issued
                                                 subject to the requirements of this                     Government and the states, or on the                   tribal consultation letters addressed to
                                                 action are small businesses, which                      distribution of power and                              574 tribes in February 2022 after the
                                                 includes EGUs and non-EGUs and are                      responsibilities among the various                     proposed rule was signed. The EPA
                                                 described in more detail below. In 2026,                levels of government.                                  received no further requests to facilitate


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                                                 additional tribal consultation for the                  J. Executive Order 12898: Federal                      exposures will be meaningfully
                                                 final rule.                                             Actions To Address Environmental                       exacerbated or mitigated in the
                                                                                                         Justice in Minority Populations and                    regulatory alternatives under
                                                 G. Executive Order 13045: Protection of                 Low-Income Populations                                 consideration as compared to the
                                                 Children From Environmental Health                                                                             baseline. We infer that baseline
                                                 Risks and Safety Risks                                     Executive Order 12898 (59 FR 7629,
                                                                                                         February 16, 1994) directs Federal                     disparities in the ozone and PM2.5
                                                   The EPA interprets Executive Order                    agencies, to the greatest extent                       concentration burdens are likely to
                                                                                                         practicable and permitted by law, to                   persist after implementation of the
                                                 13045 as applying only to those
                                                                                                         make environmental justice part of their               regulatory action or alternatives under
                                                 regulatory actions that concern
                                                                                                         mission by identifying and addressing,                 consideration, due to similar modeled
                                                 environmental health or safety risks that                                                                      concentration reductions across
                                                 the EPA has reason to believe may                       as appropriate, disproportionately high
                                                                                                         and adverse human health or                            population demographics. Importantly,
                                                 disproportionately affect children, per                                                                        the action described in this rule is
                                                 the definition of ‘‘covered regulatory                  environmental effects of their programs,
                                                                                                         policies, and activities on minority                   expected to lower ozone and PM2.5 in
                                                 action’’ in section 2–202 of the                                                                               many areas, including in ozone
                                                 Executive order. This action is not                     populations (people of color and/or
                                                                                                         indigenous peoples) and low-income                     nonattainment areas, and thus mitigate
                                                 subject to Executive Order 13045                                                                               some pre-existing health risks across all
                                                                                                         populations.
                                                 because it implements a previously                         The EPA believes that the human                     populations evaluated.
                                                 promulgated health-based Federal                        health or environmental conditions that                  The EPA additionally identified and
                                                 standard. This action’s health and risk                 exist prior to this action result in or                addressed environmental justice
                                                 assessments are contained in Chapter 5                  have the potential to result in                        concerns by providing the public,
                                                 and 6 of the RIA. The EPA believes that                 disproportionate and adverse human                     including those communities
                                                 the ozone-related benefits, PM2.5-related               health or environmental effects on                     disproportionately impacted by the
                                                 benefits, and CO2- related benefits from                people of color, low-income populations                burdens of pollution, opportunities for
                                                 this final rule will further improve                    and/or Indigenous peoples. The                         meaningful engagement with the EPA
                                                 children’s health. Additionally, the                    documentation for this decision is                     on this action through outreach
                                                 ozone and PM2.5 EJ exposure analyses in                 contained in section VII of this                       activities conducted by the Agency. The
                                                 Chapter 7 of the RIA suggests that                      document, Environmental Justice                        information supporting this Executive
                                                 nationally, children (ages 0–17) will                   Analytical Considerations and                          order review is contained in section VII
                                                 experience at least as great a reduction                Stakeholder Outreach and Engagement,                   of this document.
                                                 in ozone and PM2.5 exposures as adults                  and in Chapter 7, Environmental Justice                K. Congressional Review Act
                                                 (ages 18–64) in 2023 and 2026 under all                 Impacts of the RIA, which is in the                      This action is subject to the CRA, and
                                                 regulatory alternatives of this                         public document. Briefly, proximity                    the EPA will submit a rule report to
                                                 rulemaking.                                             demographic analyses found larger                      each House of the Congress and to the
                                                                                                         percentages of Hispanics, African                      Comptroller General of the United
                                                 H. Executive Order 13211: Actions                       Americans, people below the poverty
                                                 Concerning Regulations That                                                                                    States. Because this action falls within
                                                                                                         level, people with less educational                    the definition provided by 5 U.S.C.
                                                 Significantly Affect Energy Supply,                     attainment, and people linguistically                  804(2), the rule’s effective date is
                                                 Distribution or Use                                     isolated are living within 5 km and 10                 consistent with 5 U.S.C. 801(a)(3).
                                                                                                         km of an affected EGU, compared to
                                                    This action is not a ‘‘significant                   national averages. It also finds larger                L. Determinations Under CAA Section
                                                 energy action’’ because it is not likely to             percentages of African Americans,                      307(b)(1) and (d)
                                                 have a significant adverse effect on the                people below the poverty level, and                       Section 307(b)(1) of the CAA governs
                                                 supply, distribution, or use of energy.                 with less educational attainment living                judicial review of final actions by the
                                                 The EPA has prepared a Statement of                     within 5 km and 10 km of an affected                   EPA. This section provides, in part, that
                                                 Energy Effects for the final regulatory                 non-EGU facility. Considering the                      petitions for review must be filed in the
                                                 control alternative as follows. The                     known limitations of proximity                         D.C. Circuit: (i) when the agency action
                                                 Agency estimates a 1 percent change in                  analyses, including the inability to                   consists of ‘‘nationally applicable
                                                 retail electricity prices on average across             assess policy-specific impacts, we also                regulations promulgated, or final actions
                                                 the contiguous U.S. in the 2025 run                     performed analysis of baseline EJ ozone                taken, by the Administrator,’’ or (ii)
                                                 year, a 4 percent reduction (28 GWh) in                 and PM2.5 exposures. Baseline ozone                    when such action is locally or regionally
                                                 coal-fired electricity generation, a 2                  and PM2.5 exposure analyses show that                  applicable, but ‘‘such action is based on
                                                 percent increase (21 GWh) in natural                    certain populations, such as Hispanics,                a determination of nationwide scope or
                                                 gas-fired electricity generation, and a 1               Asians, those linguistically isolated,                 effect and if in taking such action the
                                                 percent increase (8 GWh) in renewable                   those less educated, and children may                  Administrator finds and publishes that
                                                 electricity generation as a result of this              experience disproportionately higher                   such action is based on such a
                                                 final rule. The EPA projects that utility               ozone and PM2.5 exposures as compared                  determination.’’ For locally or regionally
                                                 power sector delivered natural gas                      to the national average. American                      applicable final actions, the CAA
                                                 prices will change by less than 1 percent               Indians may also experience                            reserves to the EPA complete discretion
                                                 in 2025. Details of the estimated energy                disproportionately higher ozone                        whether to invoke the exception in
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                                                 effects are presented in Chapter 4 of the               concentrations than the reference group.               (ii).434
                                                                                                            The EPA believes that this action is
                                                 RIA, which is in the public docket.
                                                                                                         not likely to change existing                             434 In deciding whether to invoke the exception

                                                 I. National Technology Transfer and                     disproportionate and adverse effects on                by making and publishing a finding that an action
                                                                                                         people of color, low-income populations                is based on a determination of nationwide scope or
                                                 Advancement Act (NTTAA)                                                                                        effect, the Administrator takes into account a
                                                                                                         and/or Indigenous peoples. Specifically,               number of policy considerations, including his
                                                   This rulemaking does not involve                      we do not find evidence that potential                 judgment balancing the benefit of obtaining the D.C.
                                                 technical standards.                                    EJ concerns related to ozone or PM2.5                                                             Continued




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                                                    This rulemaking is ‘‘nationally                      geographic area covered by this final                   List of Subjects
                                                 applicable’’ within the meaning of CAA                  rule.435
                                                                                                                                                                 40 CFR Part 52
                                                 section 307(b)(1). In this final action, the               The Administrator finds that this is a
                                                 EPA is applying a uniform legal                                                                                   Environmental protection,
                                                                                                         matter on which national uniformity in                  Administrative practice and procedure,
                                                 interpretation and common, nationwide                   judicial resolution of any petitions for
                                                 analytical methods with respect to the                                                                          Air pollution control, Incorporation by
                                                                                                         review is desirable, to take advantage of               reference, Intergovernmental relations,
                                                 requirements of CAA section                             the D.C. Circuit’s administrative law                   Nitrogen oxides, Ozone, Particulate
                                                 110(a)(2)(D)(i)(I) concerning interstate                expertise, and to facilitate the orderly                matter, Sulfur dioxide.
                                                 transport of pollution (i.e., ‘‘good                    development of the basic law under the
                                                 neighbor’’ requirements) to promulgate                  Act. The Administrator also finds that                  40 CFR Part 75
                                                 FIPs that satisfy these requirements for                consolidated review of this action in the                 Environmental protection,
                                                 the 2015 ozone NAAQS. Based on these                    D.C. Circuit will avoid piecemeal                       Administrative practice and procedure,
                                                 analyses, the EPA is promulgating FIPs                  litigation in the regional circuits, further            Air pollution control, Continuous
                                                 for 23 states located across a wide                     judicial economy, and eliminate the risk                emissions monitoring, Electric power
                                                 geographic area in eight of the ten EPA                 of inconsistent results for different                   plants, Nitrogen oxides, Ozone,
                                                 regions and ten Federal judicial circuits.              states, and that a nationally consistent                Particulate matter, Reporting and
                                                 Given that this action addresses                        approach to the CAA’s mandate                           recordkeeping requirements, Sulfur
                                                 implementation of the good neighbor                     concerning interstate transport of ozone                dioxide.
                                                 requirements of CAA section                             pollution constitutes the best use of                   40 CFR Part 78
                                                 110(a)(2)(D)(i)(I) in a large number of                 agency resources. The EPA’s responses
                                                 states located across the country, and                                                                            Environmental protection,
                                                                                                         to comments on the appropriate venue                    Administrative practice and procedure,
                                                 given the interdependent nature of                      for petitions for review are contained in
                                                 interstate pollution transport and the                                                                          Air pollution control, Electric power
                                                                                                         section 1.10 of the RTC document.                       plants, Nitrogen oxides, Ozone,
                                                 common core of knowledge and analysis
                                                                                                            For these reasons, this final action is              Particulate matter, Sulfur dioxide.
                                                 involved in promulgating these FIPs,
                                                                                                         nationally applicable or, alternatively,
                                                 this is a ‘‘nationally applicable’’ action                                                                      40 CFR Part 97
                                                                                                         the Administrator is exercising the
                                                 within the meaning of CAA section                                                                                 Environmental protection,
                                                                                                         complete discretion afforded to him by
                                                 307(b)(1).                                                                                                      Administrative practice and procedure,
                                                                                                         the CAA and finds that this final action
                                                    In the alternative, to the extent a court            is based on a determination of                          Air pollution control, Electric power
                                                 finds this action to be locally or                      nationwide scope or effect for purposes                 plants, Nitrogen oxides, Ozone,
                                                 regionally applicable, the Administrator                                                                        Particulate matter, Reporting and
                                                                                                         of CAA section 307(b)(1) and is
                                                 is exercising the complete discretion                                                                           recordkeeping requirements, Sulfur
                                                                                                         publishing that finding in the Federal
                                                 afforded to him under the CAA to make                                                                           dioxide.
                                                                                                         Register. Under section 307(b)(1) of the
                                                 and publish a finding that this action is               CAA, petitions for judicial review of                   Michael S. Regan,
                                                 based on a determination of                             this action must be filed in the United                 Administrator.
                                                 ‘‘nationwide scope or effect’’ within the               States Court of Appeals for the District                   For the reasons stated in the
                                                 meaning of CAA section 307(b)(1). In                    of Columbia Circuit by August 4, 2023.                  preamble, parts 52, 75, 78, and 97 of
                                                 this final action, the EPA is interpreting                                                                      title 40 of the Code of Federal
                                                                                                            This action is subject to the
                                                 and applying section 110(a)(2)(d)(i)(I) of                                                                      Regulations are amended as follows:
                                                                                                         provisions of section 307(d). CAA
                                                 the CAA for the 2015 ozone NAAQS
                                                                                                         section 307(d)(1)(B) provides that
                                                 based on a common core of nationwide                                                                            PART 52—APPROVAL AND
                                                                                                         section 307(d) applies to, among other
                                                 policy judgments and technical analysis                                                                         PROMULGATION OF
                                                                                                         things, ‘‘the promulgation or revision of
                                                 concerning the interstate transport of                                                                          IMPLEMENTATION PLANS
                                                                                                         an implementation plan by the
                                                 pollutants throughout the continental
                                                 U.S. In particular, the EPA is applying                 Administrator under [CAA section                        ■ 1. The authority citation for part 52
                                                 here the same, nationally consistent 4-                 110(c)].’’ 42 U.S.C. 7407(d)(1)(B). This                continues to read as follows:
                                                 step framework for assessing good                       action, among other things, promulgates                     Authority: 42 U.S.C. 7401 et seq.
                                                 neighbor obligations for the 2015 ozone                 new Federal implementation plans
                                                 NAAQS that it has applied in other                      pursuant to the authority of section                    Subpart A—General Provisions
                                                 nationally applicable rulemakings, such                 110(c). To the extent any portion of this
                                                                                                         final action is not expressly identified                ■  2. Amend § 52.38 by:
                                                 as CSAPR, the CSAPR Update, and the                                                                             ■  a. In paragraph (a)(1), removing
                                                 Revised CSAPR Update. The EPA is                        under section 307(d)(1)(B), the
                                                                                                         Administrator determines that the                       ‘‘(NOX), except’’ and adding in its place
                                                 relying on the results from nationwide                                                                          ‘‘(NOX) for sources meeting the
                                                 photochemical grid modeling using a                     provisions of section 307(d) apply to
                                                                                                                                                                 applicability criteria set forth in subpart
                                                 2016 base year and 2023 projection year                 such final action. See CAA section
                                                                                                                                                                 AAAAA, except’’;
                                                 as the primary basis for its assessment                 307(d)(1)(V) (the provisions of section                 ■ b. In paragraph (a)(3) introductory
                                                 of air quality conditions and pollution                 307(d) apply to ‘‘such other actions as                 text:
                                                 contribution levels at Step 1 and Step 2                the Administrator may determine’’).                     ■ i. Removing ‘‘(a)(2)(i) or (ii)’’ and
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                                                 of that 4-step framework and applying a                                                                         adding in its place ‘‘(a)(2)’’; and
                                                 nationally uniform approach to the
                                                                                                           435 In the report on the 1977 Amendments that
                                                                                                                                                                 ■ ii. Removing ‘‘the State and’’ and
                                                                                                         revised section 307(b)(1) of the CAA, Congress          adding in its place ‘‘sources in the State
                                                 identification of nonattainment and                     noted that the Administrator’s determination that
                                                 maintenance receptors across the entire                                                                         and areas of Indian country within the
                                                                                                         the ‘‘nationwide scope or effect’’ exception applies
                                                                                                         would be appropriate for any action that has a          borders of the State subject to the State’s
                                                 Circuit’s authoritative centralized review versus       scope or effect beyond a single judicial circuit. See   SIP authority for’’;
                                                 allowing development of the issue in other contexts     H.R. Rep. No. 95–294 at 323, 324, reprinted in 1977     ■ c. In paragraph (a)(3)(i), removing
                                                 and the best use of agency resources.                   U.S.C.C.A.N. 1402–03.                                   ‘‘State and’’ and adding in its place


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                                                 ‘‘State and areas of Indian country                     subparts BBBBB, EEEEE, and GGGGG,                      the State not subject to the State’s SIP
                                                 within the borders of the State subject                 except’’;                                              authority’’;
                                                 to the State’s SIP authority and that’’;                ■ q. Redesignating paragraphs (b)(2)(i)                ■ ii. Revising paragraphs (b)(9)(vii) and
                                                 ■ d. In paragraph (a)(4) introductory                   and (ii) as paragraphs (b)(2)(i)(A) and                (viii), (b)(10) introductory text, (b)(10)(i)
                                                 text, removing ‘‘for the State’s sources,               (B), respectively, paragraphs (b)(2)(iii)              and (ii), (b)(10)(v)(A) and (B), and
                                                 and’’ and adding in its place ‘‘with                    and (iv) as paragraphs (b)(2)(ii)(A) and               (b)(11) introductory text;
                                                 regard to sources in the State and areas                (B), respectively, and paragraph (b)(2)(v)             ■ jj. Removing and reserving paragraphs
                                                 of Indian country within the borders of                 as paragraph (b)(2)(iii)(A);                           (b)(11)(i) and (ii);
                                                 the State subject to the State’s SIP                    ■ r. In newly redesignated paragraph                   ■ kk. In paragraph (b)(11)(iii)
                                                 authority, and’’;                                       (b)(2)(ii)(A), removing ‘‘Alabama,                     introductory text, removing
                                                 ■ e. Revising table 1 to paragraph                      Arkansas, Iowa, Kansas, Mississippi,                   ‘‘§§ 97.1011(a) and (b)(1) and
                                                 (a)(4)(i)(B);                                           Missouri, Oklahoma, Tennessee, Texas,                  97.1012(a)’’ and adding in its place
                                                 ■ f. In paragraph (a)(4)(ii), removing                  and Wisconsin.’’ and adding in its place               ‘‘§ 97.1011(a)(1)’’;
                                                 ‘‘deadlines for submission of allocations               ‘‘Iowa, Kansas, and Tennessee.’’;                      ■ ll. Revising paragraph (b)(11)(iii)(A);
                                                 or auction results under paragraphs                     ■ s. Adding paragraphs (b)(2)(ii)(C) and                  mm. In paragraph (b)(11)(iii)(B):
                                                 (a)(4)(i)(B) and (C)’’ and adding in its                (b)(2)(iii)(B) and (C);                                ■ i. Removing ‘‘§ 97.1011(a)’’ and
                                                 place ‘‘deadline for submission of                      ■ t. In paragraph (b)(3) introductory                  adding in its place ‘‘§ 97.1011(a)(1)’’;
                                                 allocations or auction results under                    text:                                                  and
                                                 paragraph (a)(4)(i)(B)’’;                               ■ i. Removing ‘‘or (ii)’’; and                         ■ ii. Adding ‘‘and’’ after the semicolon;
                                                                                                         ■ ii. Removing ‘‘the State and’’ and                   ■ nn. Removing and reserving
                                                 ■ g. In paragraph (a)(5) introductory
                                                 text, removing ‘‘State (but not sources in              adding in its place ‘‘sources in the State             paragraph (b)(11)(iii)(C);
                                                                                                         and areas of Indian country within the                 ■ oo. Revising paragraphs (b)(11)(iii)(D),
                                                 any Indian country within the borders
                                                 of the State), regulations’’ and adding in              borders of the State subject to the State’s            (b)(11)(iv), and (b)(12) introductory text;
                                                                                                         SIP authority for’’;                                   ■ pp. Removing and reserving
                                                 its place ‘‘State and areas of Indian
                                                                                                         ■ u. In paragraph (b)(3)(i), removing                  paragraphs (b)(12)(i) and (ii);
                                                 country within the borders of the State
                                                                                                         ‘‘State and’’ and adding in its place                  ■ qq. In paragraph (b)(12)(iii)
                                                 subject to the State’s SIP authority,
                                                                                                         ‘‘State and areas of Indian country                    introductory text, removing
                                                 regulations’’;
                                                                                                         within the borders of the State subject                ‘‘§§ 97.1011(a) and (b)(1) and
                                                 ■ h. Revising table 2 to paragraph
                                                                                                         to the State’s SIP authority and that’’;               97.1012(a)’’ and adding in its place
                                                 (a)(5)(i)(B);
                                                                                                         ■ v. Revising paragraph (b)(4)                         ‘‘§ 97.1011(a)(1)’’;
                                                 ■ i. In paragraph (a)(5)(iv), removing
                                                                                                         introductory text;                                     ■ rr. Revising paragraph (b)(12)(iii)(A);
                                                 ‘‘Indian country within the borders of                                                                         ■ ss. In paragraph (b)(12)(iii)(B):
                                                                                                         ■ w. Removing and reserving paragraph
                                                 the State’’ and adding in its place ‘‘areas                                                                    ■ i. Removing ‘‘§ 97.1011(a)’’ and
                                                                                                         (b)(4)(i);
                                                 of Indian country within the borders of                                                                        adding in its place ‘‘§ 97.1011(a)(1)’’;
                                                                                                         ■ x. Revising table 3 to paragraph
                                                 the State not subject to the State’s SIP                                                                       and
                                                                                                         (b)(4)(ii)(B) and paragraphs (b)(4)(iii)
                                                 authority’’;                                                                                                   ■ ii. Adding ‘‘and’’ after the semicolon;
                                                                                                         and (b)(5) introductory text;
                                                 ■ j. In paragraph (a)(5)(v), removing                                                                          ■ tt. Removing and reserving paragraph
                                                                                                         ■ y. Removing and reserving paragraph
                                                 ‘‘Indian country within the borders of                  (b)(5)(i);                                             (b)(12)(iii)(C);
                                                 the State, the’’ and adding in its place                ■ z. Revising table 4 to paragraph                     ■ uu. Revising paragraphs (b)(12)(iii)(D),
                                                 ‘‘areas of Indian country within the                    (b)(5)(ii)(B);                                         (b)(12)(vi) through (viii), (b)(13)
                                                 borders of the State not subject to the                 ■ aa. In paragraph (b)(5)(v), removing                 introductory text, and (b)(13)(i);
                                                 State’s SIP authority, the’’;                           ‘‘Indian country within the borders of                 ■ vv. In paragraph (b)(13)(ii), removing
                                                 ■ k. In paragraph (a)(5)(vi), removing                  the State’’ and adding in its place ‘‘areas            ‘‘regulations, including any sources
                                                 ‘‘deadlines for submission of allocations               of Indian country within the borders of                made subject to such regulations
                                                 or auction results under paragraphs                     the State not subject to the State’s SIP               pursuant to paragraph (b)(9)(ii) or
                                                 (a)(5)(i)(B) and (C)’’ and adding in its                authority’’;                                           (b)(12)(ii) of this section, the’’ and
                                                 place ‘‘deadline for submission of                      ■ bb. In paragraph (b)(5)(vi), removing                adding in its place ‘‘regulations the’’;
                                                 allocations or auction results under                    ‘‘Indian country within the borders of                 ■ ww. In paragraph (b)(14)(i)(F),
                                                 paragraph (a)(5)(i)(B)’’;                               the State, the’’ and adding in its place               removing ‘‘§ 97.825(b)’’ and adding in
                                                 ■ l. Revising paragraphs (a)(6) and                     ‘‘areas of Indian country within the                   its place ‘‘§§ 97.806(c)(2) and (3) and
                                                 (a)(7)(ii);                                             borders of the State not subject to the                97.825(b)’’;
                                                 ■ m. Adding paragraph (a)(7)(iii);                      State’s SIP authority, the’’;                          ■ xx. In paragraph (b)(14)(i)(G),
                                                 ■ n. In paragraphs (a)(8)(i) and (ii),                  ■ cc. Revising paragraphs (b)(5)(vii),                 removing ‘‘§ 97.826(e)’’ and adding in
                                                 removing ‘‘the State and’’ and adding in                (b)(7) introductory text, (b)(7)(i), and               its place ‘‘§ 97.826(f)’’;
                                                 its place ‘‘sources in the State and areas              (b)(8) introductory text;                              ■ yy. Revising paragraphs (b)(14)(ii) and
                                                 of Indian country within the borders of                 ■ dd. Removing and reserving                           (iii);
                                                 the State subject to the State’s SIP                    paragraphs (b)(8)(i) and (ii);                         ■ zz. In paragraph (b)(15)(i), removing
                                                 authority for’’;                                        ■ ee. Revising paragraph (b)(8)(iii)(A),               ‘‘the State and’’ and adding in its place
                                                 ■ o. In paragraph (a)(8)(iii), removing                 table 5 to paragraph (b)(8)(iii)(B), and               ‘‘sources in the State and areas of Indian
                                                 ‘‘State (but not sources in any Indian                  paragraphs (b)(8)(iv) and (b)(9)                       country within the borders of the State
                                                 country within the borders of the                       introductory text;                                     subject to the State’s SIP authority for’’;
                                                 State):’’ and adding in its place ‘‘State
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                                                                                                         ■ ff. Removing and reserving paragraphs                ■ aaa. Revising paragraph (b)(15)(ii);
                                                 and areas of Indian country within the                  (b)(9)(i) and (ii);                                    ■ bbb. In paragraph (b)(15)(iii),
                                                 borders of the State subject to the State’s             ■ gg. Revising paragraph (b)(9)(iii)(A)                removing ‘‘State (but not sources in any
                                                 SIP authority:’’;                                       and table 6 to paragraph (b)(9)(iii)(B);               Indian country within the borders of the
                                                 ■ p. In paragraph (b)(1), removing                      ■ hh. In paragraph (b)(9)(vi), removing                State):’’ and adding in its place ‘‘State
                                                 ‘‘year), except’’ and adding in its place               ‘‘Indian country within the borders of                 and areas of Indian country within the
                                                 ‘‘year) for sources meeting the                         the State’’ and adding in its place ‘‘areas            borders of the State subject to the State’s
                                                 applicability criteria set forth in                     of Indian country within the borders of                SIP authority:’’;


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                                                 ■  ccc. In paragraph (b)(16)(i)(A),                                          and, in newly redesignated paragraph                             § 52.38 What are the requirements of the
                                                 removing ‘‘the State and’’ and adding in                                     (b)(16)(ii)(A), removing ‘‘(b)(2)(iv)’’ and                      Federal Implementation Plans (FIPs) for the
                                                 its place ‘‘sources in the State and areas                                   adding in its place ‘‘(b)(2)(ii)(B)’’;                           Cross-State Air Pollution Rule (CSAPR)
                                                 of Indian country within the borders of                                                                                                       relating to emissions of nitrogen oxides?
                                                                                                                              ■ fff. Adding paragraph (b)(16)(ii)(B);
                                                 the State subject to the State’s SIP                                         and                                                                 (a) * * *
                                                 authority for’’;
                                                                                                                              ■ ggg. Revising paragraphs (b)(17)(i)                               (4) * * *
                                                 ■ ddd. Revising paragraphs (b)(16)(i)(B)
                                                 and (C);                                                                     through (iii).                                                      (i) * * *
                                                 ■ eee. Redesignating paragraph                                                 The revisions and additions read as                               (B) * * *
                                                 (b)(16)(ii) as paragraph (b)(16)(ii)(A),                                     follows:

                                                                                                                                 TABLE 1 TO PARAGRAPH (a)(4)(i)(B)
                                                     Year of the control period for which CSAPR NOX Annual allowances                                                         Deadline for submission of allocations or auction results
                                                                           are allocated or auctioned                                                                                          to the administrator

                                                 2017   or 2018 ............................................................................................         June   1, 2016.
                                                 2019   or 2020 ............................................................................................         June   1, 2017.
                                                 2021   or 2022 ............................................................................................         June   1, 2018.
                                                 2023   ..........................................................................................................   June   1, 2019.
                                                 2024   ..........................................................................................................   June   1, 2020.
                                                 2025   or any year thereafter ......................................................................                June   1 of the year before the year of the control period.



                                                 *       *     *             *         *                                          (B) * * *
                                                     (5) * * *
                                                     (i) * * *

                                                                                                                                 TABLE 2 TO PARAGRAPH (a)(5)(i)(B)
                                                     Year of the control period for which CSAPR NOX Annual allowances                                                         Deadline for submission of allocations or auction results
                                                                           are allocated or auctioned                                                                                          to the administrator

                                                 2017   or 2018 ............................................................................................         June   1, 2016.
                                                 2019   or 2020 ............................................................................................         June   1, 2017.
                                                 2021   or 2022 ............................................................................................         June   1, 2018.
                                                 2023   ..........................................................................................................   June   1, 2019.
                                                 2024   ..........................................................................................................   June   1, 2020.
                                                 2025   or any year thereafter ......................................................................                June   1 of the year before the year of the control period.



                                                 *      *    *      *     *                                                   State to address interstate air pollution,                       (a)(2)(ii) or (a)(6) of this section of the
                                                    (6) Withdrawal of CSAPR FIP                                               the SIP revision likewise will constitute                        applicability of subpart AAAAA of part
                                                 provisions relating to NOX annual                                            a partial rather than full remedy for the                        97 of this chapter to the sources in a
                                                 emissions. Except as provided in                                             State’s obligation unless provided                               State and areas of Indian country within
                                                 paragraph (a)(7) of this section,                                            otherwise in the Administrator’s                                 the borders of the State subject to the
                                                 following promulgation of an approval                                        approval of the SIP revision.                                    State’s SIP authority with regard to
                                                 by the Administrator of a State’s SIP                                          (7) * * *                                                      emissions occurring in any control
                                                 revision as correcting the SIP’s                                               (ii) Notwithstanding the provisions of                         period, the following provisions shall
                                                 deficiency that is the basis for the                                         paragraph (a)(6) of this section, if, at the                     continue to apply with regard to all
                                                 CSAPR Federal Implementation Plan set                                        time of any approval of a State’s SIP                            CSAPR NOX Annual allowances at any
                                                 forth in paragraphs (a)(1), (a)(2)(i), and                                   revision under this section, the                                 time allocated for any control period to
                                                 (a)(3) and (4) of this section for sources                                   Administrator has already started                                any source or other entity in the State
                                                 in the State and Indian country within                                       recording any allocations of CSAPR                               and areas of Indian country within the
                                                 the borders of the State subject to the                                      NOX Annual allowances under subpart                              borders of the State subject to the State’s
                                                 State’s SIP authority, the provisions of                                     AAAAA of part 97 of this chapter to                              SIP authority and shall apply to all
                                                 paragraph (a)(2)(i) of this section will no                                  units in the State and areas of Indian                           entities, wherever located, that at any
                                                 longer apply to sources in the State and                                     country within the borders of the State                          time held or hold such allowances:
                                                 areas of Indian country within the                                           subject to the State’s SIP authority for a                         (A) The provisions of § 97.426(c) of
                                                 borders of the State subject to the State’s                                  control period in any year, the                                  this chapter (concerning the transfer of
                                                 SIP authority, unless the                                                    provisions of subpart AAAAA                                      CSAPR NOX Annual allowances
                                                 Administrator’s approval of the SIP                                          authorizing the Administrator to                                 between certain Allowance Management
                                                 revision is partial or conditional, and                                      complete the allocation and recordation                          System accounts under common
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                                                 will continue to apply to sources in                                         of such allowances to such units for                             control).
                                                 areas of Indian country within the                                           each such control period shall continue                            (B) [Reserved]
                                                 borders of the State not subject to the                                      to apply, unless provided otherwise by                           *      *     *      *     *
                                                 State’s SIP authority, provided that if                                      such approval of the State’s SIP
                                                 the CSAPR Federal Implementation                                             revision.                                                          (b) * * *
                                                 Plan was promulgated as a partial rather                                       (iii) Notwithstanding any                                        (2) * * *
                                                 than full remedy for an obligation of the                                    discontinuation pursuant to paragraph                              (ii) * * *


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                                                   (C) The provisions of subpart EEEEE                                        borders of such States with regard to                            Federal CSAPR NOX Ozone Season
                                                 of part 97 of this chapter apply to                                          emissions occurring in 2023 and each                             Group 1 Trading Program. A State listed
                                                 sources in each of the following States                                      subsequent year: Alabama, Arkansas,                              in paragraph (b)(2)(i)(A) of this section
                                                 and Indian country located within the                                        Mississippi, Missouri, Oklahoma, Texas,                          may adopt and include in a SIP
                                                 borders of such States with regard to                                        and Wisconsin.                                                   revision, and the Administrator will
                                                 emissions occurring in 2017 through                                             (C) The provisions of subpart GGGGG                           approve, regulations replacing specified
                                                 2022 only, except as provided in                                             of part 97 of this chapter apply to                              provisions of subpart BBBBB of part 97
                                                 paragraph (b)(14)(iii) of this section:                                      sources in each of the following States                          of this chapter with regard to sources in
                                                 Alabama, Arkansas, Mississippi,                                              and Indian country located within the                            the State and areas of Indian country
                                                 Missouri, Oklahoma, Texas, and                                               borders of such States with regard to                            within the borders of the State subject
                                                 Wisconsin.                                                                   emissions occurring on and after August                          to the State’s SIP authority, and not
                                                   (iii) * * *                                                                4, 2023, and in each subsequent year:                            substantively replacing any other
                                                   (B) The provisions of subpart GGGGG                                        Minnesota, Nevada, and Utah.                                     provisions, as follows:
                                                 of part 97 of this chapter apply to                                          *      *    *     *    *                                         *      *    *     *    *
                                                 sources in each of the following States                                         (4) Abbreviated SIP revisions                                   (ii) * * *
                                                 and Indian country located within the                                        replacing certain provisions of the                                (B) * * *

                                                                                                                                TABLE 3 TO PARAGRAPH (b)(4)(ii)(B)
                                                 Year of the control period for which CSAPR NOX Ozone Season Group                                                            Deadline for submission of allocations or auction results
                                                                 1 allowances are allocated or auctioned                                                                                       to the administrator

                                                 2017   or 2018 ............................................................................................         June   1, 2016.
                                                 2019   or 2020 ............................................................................................         June   1, 2017.
                                                 2021   or 2022 ............................................................................................         June   1, 2018.
                                                 2023   ..........................................................................................................   June   1, 2019.
                                                 2024   ..........................................................................................................   June   1, 2020.
                                                 2025   or any year thereafter ......................................................................                June   1 of the year before the year of the control period.



                                                 *      *    *     *     *                                                      (5) Full SIP revisions adopting State                          country within the borders of the State
                                                   (iii) Provided that the State must                                         CSAPR NOX Ozone Season Group 1                                   subject to the State’s SIP authority,
                                                 submit a complete SIP revision meeting                                       Trading Programs. A State listed in                              regulations that are substantively
                                                 the requirements of paragraph (b)(4)(ii)                                     paragraph (b)(2)(i)(A) of this section                           identical to the provisions of the CSAPR
                                                 of this section by December 1 of the year                                    may adopt and include in a SIP                                   NOX Ozone Season Group 1 Trading
                                                 before the year of the deadline for                                          revision, and the Administrator will                             Program set forth in §§ 97.502 through
                                                 submission of allocations or auction                                         approve, as correcting the deficiency in                         97.535 of this chapter, except that the
                                                 results under paragraph (b)(4)(ii)(B) of                                     the SIP that is the basis for the CSAPR                          SIP revision:
                                                 this section applicable to the first                                         Federal Implementation Plan set forth in                         *      *    *     *     *
                                                 control period for which the State wants                                     paragraphs (b)(1), (b)(2)(i), and (b)(3)
                                                 to make allocations or hold an auction                                       and (4) of this section with regard to                             (ii) * * *
                                                 under paragraph (b)(4)(ii) of this section.                                  sources in the State and areas of Indian                           (B) * * *
                                                                                                                                TABLE 4 TO PARAGRAPH (b)(5)(ii)(B)
                                                  Year of the control period for which CSAPR NOX Ozone Season group                                                           Deadline for submission of allocations or auction results
                                                                 1 allowances are allocated or auctioned                                                                                       to the administrator

                                                 2017   or 2018 ............................................................................................         June   1, 2016.
                                                 2019   or 2020 ............................................................................................         June   1, 2017.
                                                 2021   or 2022 ............................................................................................         June   1, 2018.
                                                 2023   ..........................................................................................................   June   1, 2019.
                                                 2024   ..........................................................................................................   June   1, 2020.
                                                 2025   or any year thereafter ......................................................................                June   1 of the year before the year of the control period.



                                                 *     *      *     *     *                                                      (7) State-determined allocations of                           NOX Ozone Season Group 2 units and
                                                   (vii) Provided that the State must                                         CSAPR NOX Ozone Season Group 2                                   the amount of CSAPR NOX Ozone
                                                 submit a complete SIP revision meeting                                       allowances for 2018. A State listed in                           Season Group 2 allowances allocated to
                                                 the requirements of paragraphs (b)(5)(ii)                                    paragraph (b)(2)(ii) of this section may                         each unit on such list, provided that the
                                                 through (v) of this section by December                                      adopt and include in a SIP revision, and                         list of units and allocations meets the
                                                 1 of the year before the year of the                                         the Administrator will approve, as                               following requirements:
                                                 deadline for submission of allocations                                       CSAPR NOX Ozone Season Group 2
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                                                 or auction results under paragraph                                                                                                               (i) All of the units on the list must be
                                                                                                                              allowance allocation provisions
                                                 (b)(5)(ii)(B) of this section applicable to                                                                                                   units that are in the State and areas of
                                                                                                                              replacing the provisions in § 97.811(a)
                                                 the first control period for which the                                                                                                        Indian country within the borders of the
                                                                                                                              of this chapter with regard to sources in
                                                 State wants to make allocations or hold                                      the State and areas of Indian country                            State subject to the State’s SIP authority
                                                 an auction under paragraph (b)(5)(ii) of                                     within the borders of the State subject                          and that commenced commercial
                                                 this section.                                                                to the State’s SIP authority for the                             operation before January 1, 2015;
                                                 *     *      *     *     *                                                   control period in 2018, a list of CSAPR                          *      *      *    *     *


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                                                   (8) Abbreviated SIP revisions                                           within the borders of the State subject                         not exceeding the amount, under
                                                 replacing certain provisions of the                                       to the State’s SIP authority, and not                           §§ 97.810(a) and 97.821 of this chapter
                                                 Federal CSAPR NOX Ozone Season                                            substantively replacing any other                               for the State and such control period, of
                                                 Group 2 Trading Program. A State listed                                   provisions, as follows:                                         the CSAPR NOX Ozone Season Group 2
                                                 in paragraph (b)(2)(ii) of this section                                   *       *    *    *    *                                        trading budget minus the sum of the
                                                 may adopt and include in a SIP                                               (iii) * * *                                                  Indian country new unit set-aside and
                                                 revision, and the Administrator will                                         (A) Requires the State or the                                the amount of any CSAPR NOX Ozone
                                                 approve, regulations replacing specified                                  permitting authority to allocate and, if                        Season Group 2 allowances already
                                                 provisions of subpart EEEEE of part 97                                    applicable, auction a total amount of                           allocated and recorded by the
                                                 of this chapter with regard to sources in                                 CSAPR NOX Ozone Season Group 2                                  Administrator;
                                                 the State and areas of Indian country                                     allowances for any such control period                             (B) * * *
                                                                                                                             TABLE 5 TO PARAGRAPH (b)(8)(iii)(B)
                                                 Year of the control period for which CSAPR NOX Ozone Season Group                                                        Deadline for submission of allocations or auction results
                                                                 2 allowances are allocated or auctioned                                                                                   to the administrator

                                                 2019   or   2020 ............................................................................................   June   1, 2018.
                                                 2021   or   2022 ............................................................................................   June   1, 2019.
                                                 2023   or   2024 ............................................................................................   June   1, 2020.
                                                 2025   or   any year thereafter ......................................................................          June   1 of the year before the year of the control period.



                                                 *     *     *     *     *                                                 adopt and include in a SIP revision, and                           (iii) * * *
                                                   (iv) Provided that the State must                                       the Administrator will approve, as                                 (A) Requires the State or the
                                                 submit a complete SIP revision meeting                                    correcting the deficiency in the SIP that                       permitting authority to allocate and, if
                                                 the requirements of paragraph (b)(8)(iii)                                 is the basis for the CSAPR Federal                              applicable, auction a total amount of
                                                 of this section by December 1 of the year                                 Implementation Plan set forth in                                CSAPR NOX Ozone Season Group 2
                                                 before the year of the deadline for                                       paragraphs (b)(1), (b)(2)(ii), and (b)(7)                       allowances for any such control period
                                                 submission of allocations or auction                                      and (8) of this section with regard to                          not exceeding the amount, under
                                                 results under paragraph (b)(8)(iii)(B) of                                 sources in the State and areas of Indian                        §§ 97.810(a) and 97.821 of this chapter
                                                 this section applicable to the first                                      country within the borders of the State                         for the State and such control period, of
                                                 control period for which the State wants                                  subject to the State’s SIP authority,                           the CSAPR NOX Ozone Season Group 2
                                                 to make allocations or hold an auction                                    regulations that are substantively                              trading budget minus the sum of the
                                                 under paragraph (b)(8)(iii) of this                                       identical to the provisions of the CSAPR                        Indian country new unit set-aside and
                                                 section.                                                                  NOX Ozone Season Group 2 Trading                                the amount of any CSAPR NOX Ozone
                                                   (9) Full SIP revisions adopting State                                   Program set forth in §§ 97.802 through                          Season Group 2 allowances already
                                                 CSAPR NOX Ozone Season Group 2                                            97.835 of this chapter, except that the                         allocated and recorded by the
                                                 Trading Programs. A State listed in                                       SIP revision:                                                   Administrator;
                                                 paragraph (b)(2)(ii) of this section may                                  *     *     *      *    *                                          (B) * * *

                                                                                                                             TABLE 6 TO PARAGRAPH (b)(9)(iii)(B)
                                                 Year of the control period for which CSAPR NOX Ozone Season Group                                                        Deadline for submission of allocations or auction results
                                                                 2 allowances are allocated or auctioned                                                                                   to the administrator

                                                 2019   or   2020 ............................................................................................   June   1, 2018.
                                                 2021   or   2022 ............................................................................................   June   1, 2019.
                                                 2023   or   2024 ............................................................................................   June   1, 2020.
                                                 2025   or   any year thereafter ......................................................................          June   1 of the year before the year of the control period.



                                                 *     *     *     *     *                                                 97.825 and may modify any portion of                               (10) State-determined allocations of
                                                   (vii) Provided that, if and when any                                    the CSAPR Federal Implementation                                CSAPR NOX Ozone Season Group 3
                                                 covered unit is located in areas of                                       Plan that is not replaced by the SIP                            allowances for 2024. A State listed in
                                                 Indian country within the borders of the                                  revision to include these provisions;                           paragraph (b)(2)(iii) of this section may
                                                 State not subject to the State’s SIP                                      and                                                             adopt and include in a SIP revision, and
                                                 authority, the Administrator may                                            (viii) Provided that the State must                           the Administrator will approve, as
                                                 modify his or her approval of the SIP                                     submit a complete SIP revision meeting                          CSAPR NOX Ozone Season Group 3
                                                 revision to exclude the provisions in                                     the requirements of paragraphs (b)(9)(iii)                      allowance allocation provisions
                                                 §§ 97.802 (definitions of ‘‘common                                        through (vi) of this section by December                        replacing the provisions in
                                                 designated representative’’, ‘‘common                                     1 of the year before the year of the                            § 97.1011(a)(1) of this chapter with
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                                                 designated representative’s assurance                                     deadline for submission of allocations                          regard to sources in the State and areas
                                                 level’’, and ‘‘common designated                                          or auction results under paragraph                              of Indian country within the borders of
                                                 representative’s share’’), 97.806(c)(2),                                  (b)(9)(iii)(B) of this section applicable to                    the State subject to the State’s SIP
                                                 and 97.825 of this chapter and the                                        the first control period for which the                          authority for the control period in 2024,
                                                 portions of other provisions of subpart                                   State wants to make allocations or hold                         a list of CSAPR NOX Ozone Season
                                                 EEEEE of part 97 of this chapter                                          an auction under paragraph (b)(9)(iii) of                       Group 3 units and the amount of CSAPR
                                                 referencing §§ 97.802, 97.806(c)(2), and                                  this section.                                                   NOX Ozone Season Group 3 allowances


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                                                 allocated to each unit on such list,                       (D) Does not provide for any change,                the Administrator under subpart
                                                 provided that the list of units and                     after the submission deadlines in                      GGGGG of part 97 of this chapter or
                                                 allocations meets the following                         paragraph (b)(11)(iii)(B) of this section,             § 97.526(d) or § 97.826(d) or (e) of this
                                                 requirements:                                           in the allocations submitted to the                    chapter;
                                                    (i) All of the units on the list must be             Administrator by such deadlines and                    *      *     *    *      *
                                                 units that are in the State and areas of                does not provide for any change in any                    (vi) Must not include any of the
                                                 Indian country within the borders of the                allocation determined and recorded by                  requirements imposed on any unit in
                                                 State subject to the State’s SIP authority              the Administrator under subpart                        areas of Indian country within the
                                                 and that commenced commercial                           GGGGG of part 97 of this chapter or                    borders of the State not subject to the
                                                 operation before January 1, 2021;                       § 97.526(d) or § 97.826(d) or (e) of this              State’s SIP authority in the provisions in
                                                    (ii) The total amount of CSAPR NOX                   chapter; and                                           §§ 97.1002 through 97.1035 of this
                                                 Ozone Season Group 3 allowance                             (iv) Provided that the State must                   chapter and must not include the
                                                 allocations on the list must not exceed                 submit a complete SIP revision meeting                 provisions in §§ 97.1011(a)(2), 97.1012,
                                                 the amount, under § 97.1010 of this                     the requirements of paragraph                          and 97.1021(g) through (j) of this
                                                 chapter for the State and the control                   (b)(11)(iii) of this section by December               chapter, all of which provisions will
                                                 period in 2024, of the CSAPR NOX                        1 of the year before the year of the                   continue to apply under any portion of
                                                 Ozone Season Group 3 trading budget                     deadline for submission of allocations                 the CSAPR Federal Implementation
                                                 minus the sum of the Indian country                     or auction results under paragraph                     Plan that is not replaced by the SIP
                                                 existing unit set-aside and the new unit                (b)(11)(iii)(B) of this section applicable             revision;
                                                 set-aside;                                              to the first control period for which the                 (vii) Provided that, if before the
                                                 *       *     *    *     *                              State wants to make allocations or hold                Administrator’s approval of the SIP
                                                                                                         an auction under paragraph (b)(11)(iii)                revision any covered unit is located in
                                                    (v) * * *
                                                                                                         of this section.                                       areas of Indian country within the
                                                    (A) By August 4, 2023, the State must                   (12) Full SIP revisions adopting State
                                                 notify the Administrator electronically                                                                        borders of the State not subject to the
                                                                                                         CSAPR NOX Ozone Season Group 3                         State’s SIP authority before the
                                                 in a format specified by the                            Trading Programs. A State listed in
                                                 Administrator of the State’s intent to                                                                         Administrator’s approval of the SIP
                                                                                                         paragraph (b)(2)(iii) of this section may              revision, the SIP revision must exclude
                                                 submit to the Administrator a complete                  adopt and include in a SIP revision, and
                                                 SIP revision meeting the requirements                                                                          the provisions in §§ 97.1002 (definitions
                                                                                                         the Administrator will approve, as                     of ‘‘common designated representative’’,
                                                 of paragraphs (b)(10)(i) through (iv) of                correcting the deficiency in the SIP that
                                                 this section by September 1, 2023; and                                                                         ‘‘common designated representative’s
                                                                                                         is the basis for the CSAPR Federal                     assurance level’’, and ‘‘common
                                                    (B) The State must submit to the                     Implementation Plan set forth in
                                                 Administrator a complete SIP revision                                                                          designated representative’s share’’),
                                                                                                         paragraphs (b)(1), (b)(2)(iii), and (b)(10)            97.1006(c)(2), and 97.1025 of this
                                                 described in paragraph (b)(10)(v)(A) of                 and (11) of this section with regard to
                                                 this section by September 1, 2023.                                                                             chapter and the portions of other
                                                                                                         sources in the State and areas of Indian               provisions of subpart GGGGG of part 97
                                                    (11) Abbreviated SIP revisions                       country within the borders of the State                of this chapter referencing §§ 97.1002,
                                                 replacing certain provisions of the                     subject to the State’s SIP authority,                  97.1006(c)(2), and 97.1025, and further
                                                 Federal CSAPR NOX Ozone Season                          regulations that are substantively                     provided that, if and when after the
                                                 Group 3 Trading Program. A State listed                 identical to the provisions of the CSAPR               Administrator’s approval of the SIP
                                                 in paragraph (b)(2)(iii) of this section                NOX Ozone Season Group 3 Trading                       revision any covered unit is located in
                                                 may adopt and include in a SIP                          Program set forth in §§ 97.1002 through                areas of Indian country within the
                                                 revision, and the Administrator will                    97.1035 of this chapter, except that the               borders of the State not subject to the
                                                 approve, regulations replacing specified                SIP revision:                                          State’s SIP authority, the Administrator
                                                 provisions of subpart GGGGG of part 97
                                                                                                         *       *    *      *     *                            may modify his or her approval of the
                                                 of this chapter with regard to sources in                  (iii) * * *                                         SIP revision to exclude these provisions
                                                 the State and areas of Indian country                      (A) Requires the State or the                       and may modify any portion of the
                                                 within the borders of the State subject                 permitting authority to allocate and, if               CSAPR Federal Implementation Plan
                                                 to the State’s SIP authority, and not                   applicable, auction a total amount of                  that is not replaced by the SIP revision
                                                 substantively replacing any other                       CSAPR NOX Ozone Season Group 3                         to include these provisions; and
                                                 provisions, as follows:                                 allowances for any such control period                    (viii) Provided that the State must
                                                 *       *     *    *     *                              not exceeding the amount, under                        submit a complete SIP revision meeting
                                                    (iii) * * *                                          §§ 97.1010 and 97.1021 of this chapter                 the requirements of paragraphs
                                                    (A) Requires the State or the                        for the State and such control period, of              (b)(12)(iii) through (vi) of this section by
                                                 permitting authority to allocate and, if                the CSAPR NOX Ozone Season Group 3                     December 1 of the year before the year
                                                 applicable, auction a total amount of                   trading budget minus the sum of the                    of the deadline for submission of
                                                 CSAPR NOX Ozone Season Group 3                          Indian country existing unit set-aside,                allocations or auction results under
                                                 allowances for any such control period                  the new unit set-aside, and the amount                 paragraph (b)(12)(iii)(B) of this section
                                                 not exceeding the amount, under                         of any CSAPR NOX Ozone Season                          applicable to the first control period for
                                                 §§ 97.1010 and 97.1021 of this chapter                  Group 3 allowances already allocated                   which the State wants to make
                                                 for the State and such control period, of               and recorded by the Administrator;                     allocations or hold an auction under
                                                 the CSAPR NOX Ozone Season Group 3                                                                             paragraph (b)(12)(iii) of this section.
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                                                                                                         *       *    *      *     *
                                                 trading budget minus the sum of the                        (D) Does not provide for any change,                   (13) Withdrawal of CSAPR FIP
                                                 Indian country existing unit set-aside,                 after the submission deadlines in                      provisions relating to NOX ozone season
                                                 the new unit set-aside, and the amount                  paragraph (b)(12)(iii)(B) of this section,             emissions; satisfaction of NOX SIP Call
                                                 of any CSAPR NOX Ozone Season                           in the allocations submitted to the                    requirements. Following promulgation
                                                 Group 3 allowances already allocated                    Administrator by such deadlines and                    of an approval by the Administrator of
                                                 and recorded by the Administrator;                      does not provide for any change in any                 a State’s SIP revision as correcting the
                                                 *       *     *    *     *                              allocation determined and recorded by                  SIP’s deficiency that is the basis for the


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                                                 CSAPR Federal Implementation Plan set                   subject to the State’s SIP authority with              regard to sources in the State and areas
                                                 forth in paragraphs (b)(1), (b)(2)(i), and              regard to emissions occurring in any                   of Indian country within the borders of
                                                 (b)(3) and (4) of this section, paragraphs              control period, the following provisions               the State subject to the State’s SIP
                                                 (b)(1), (b)(2)(ii), and (b)(7) and (8) of this          shall continue to apply with regard to                 authority for the control period in 2019
                                                 section, or paragraphs (b)(1), (b)(2)(iii),             all CSAPR NOX Ozone Season Group 1                     or any subsequent year: New York.
                                                 and (b)(10) and (11) of this section for                allowances and CSAPR NOX Ozone                            (C) For each of the following States,
                                                 sources in the State and areas of Indian                Season Group 2 allowances at any time                  the Administrator has approved a SIP
                                                 country within the borders of the State                 allocated for any control period to any                revision under paragraph (b)(9) of this
                                                 subject to the State’s SIP authority—                   source or other entity in the State and                section as correcting the SIP’s
                                                    (i) Except as provided in paragraph                  areas of Indian country within the                     deficiency that is the basis for the
                                                 (b)(14) of this section, the provisions of              borders of the State subject to the State’s            CSAPR Federal Implementation Plan set
                                                 paragraph (b)(2)(i), (ii), or (iii) of this             SIP authority and shall apply to all                   forth in paragraphs (b)(1), (b)(2)(ii), and
                                                 section, as applicable, will no longer                  entities, wherever located, that at any                (b)(7) and (8) of this section with regard
                                                 apply to sources in the State and areas                 time held or hold such allowances:                     to sources in the State and areas of
                                                 of Indian country within the borders of                    (A) The provisions of §§ 97.526(c) and              Indian country within the borders of the
                                                 the State subject to the State’s SIP                    97.826(c) of this chapter (concerning the              State subject to the State’s SIP authority:
                                                 authority, unless the Administrator’s                   transfer of CSAPR NOX Ozone Season                     Alabama, Indiana, and Missouri.
                                                 approval of the SIP revision is partial or              Group 1 allowances and CSAPR NOX                          (ii) * * *
                                                 conditional, and will continue to apply                 Ozone Season Group 2 allowances                           (B) Notwithstanding any provision of
                                                 to sources in areas of Indian country                   between certain Allowance Management                   subpart EEEEE of part 97 of this chapter
                                                 within the borders of the State not                     System accounts under common                           or any State’s SIP, with regard to any
                                                 subject to the State’s SIP authority,                   control);                                              State listed in paragraph (b)(2)(ii)(C) of
                                                 provided that if the CSAPR Federal                         (B) The provisions of §§ 97.526(d) and              this section and any control period that
                                                 Implementation Plan was promulgated                     97.826(d) and (e) of this chapter                      begins after December 31, 2022, the
                                                 as a partial rather than full remedy for                                                                       Administrator will not carry out any of
                                                                                                         (concerning the conversion of unused
                                                                                                                                                                the functions set forth for the
                                                 an obligation of the State to address                   CSAPR NOX Ozone Season Group 1
                                                                                                                                                                Administrator in subpart EEEEE of part
                                                 interstate air pollution, the SIP revision              allowances allocated for specified
                                                                                                                                                                97 of this chapter, except §§ 97.811(e)
                                                 likewise will constitute a partial rather               control periods to different amounts of
                                                                                                                                                                and 97.826(c) and (e) of this chapter, or
                                                 than full remedy for the State’s                        CSAPR NOX Ozone Season Group 2
                                                                                                                                                                in any emissions trading program
                                                 obligation unless provided otherwise in                 allowances or CSAPR NOX Ozone
                                                                                                                                                                provisions in a State’s SIP approved
                                                 the Administrator’s approval of the SIP                 Season Group 3 allowances and the
                                                                                                                                                                under paragraph (b)(8) or (9) of this
                                                 revision; and                                           conversion of unused CSAPR NOX
                                                                                                                                                                section.
                                                 *       *    *       *    *                             Ozone Season Group 2 allowances                           (17) * * *
                                                    (14) * * *                                           allocated for specified control periods to                (i) For each of the following States,
                                                    (ii) Notwithstanding the provisions of               different amounts of CSAPR NOX Ozone                   the Administrator has approved a SIP
                                                 paragraph (b)(13)(i) of this section, if, at            Season Group 3 allowances); and                        revision under paragraph (b)(10) of this
                                                 the time of any approval of a State’s SIP                  (C) The provisions of § 97.811(d) and               section as replacing the CSAPR NOX
                                                 revision under this section, the                        (e) of this chapter (concerning the recall             Ozone Season Group 3 allowance
                                                 Administrator has already started                       of CSAPR NOX Ozone Season Group 2                      allocation provisions in § 97.1011(a)(1)
                                                 recording any allocations of CSAPR                      allowances equivalent in quantity and                  of this chapter with regard to sources in
                                                 NOX Ozone Season Group 1 allowances                     usability to all CSAPR NOX Ozone                       the State and areas of Indian country
                                                 under subpart BBBBB of part 97 of this                  Season Group 2 allowances allocated for                within the borders of the State subject
                                                 chapter, or allocations of CSAPR NOX                    specified control periods and recorded                 to the State’s SIP authority for the
                                                 Ozone Season Group 2 allowances                         in specified Allowance Management                      control period in 2024: [none].
                                                 under subpart EEEEE of part 97 of this                  System accounts).                                         (ii) For each of the following States,
                                                 chapter, or allocations of CSAPR NOX                       (15) * * *                                          the Administrator has approved a SIP
                                                 Ozone Season Group 3 allowances                            (ii) For each of the following States,              revision under paragraph (b)(11) of this
                                                 under subpart GGGGG of part 97 of this                  the Administrator has approved a SIP                   section as replacing the CSAPR NOX
                                                 chapter, to units in the State and areas                revision under paragraph (b)(4) of this                Ozone Season Group 3 allowance
                                                 of Indian country within the borders of                 section as replacing the CSAPR NOX                     allocation provisions in § 97.1011(a)(1)
                                                 the State subject to the State’s SIP                    Ozone Season Group 1 allowance                         of this chapter with regard to sources in
                                                 authority for a control period in any                   allocation provisions in §§ 97.511(a) and              the State and areas of Indian country
                                                 year, the provisions of such subpart                    (b)(1) and 97.512(a) of this chapter with              within the borders of the State subject
                                                 authorizing the Administrator to                        regard to sources in the State and areas               to the State’s SIP authority for the
                                                 complete the allocation and recordation                 of Indian country within the borders of                control period in 2025 or any
                                                 of such allowances to such units for                    the State subject to the State’s SIP                   subsequent year: [none].
                                                 each such control period shall continue                 authority for the control period in 2017                  (iii) For each of the following States,
                                                 to apply, unless provided otherwise by                  or any subsequent year: [none].                        the Administrator has approved a SIP
                                                 such approval of the State’s SIP                        *       *    *     *     *                             revision under paragraph (b)(12) of this
                                                 revision.                                                  (16) * * *                                          section as correcting the SIP’s
                                                    (iii) Notwithstanding any                               (i) * * *                                           deficiency that is the basis for the
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                                                 discontinuation pursuant to paragraph                      (B) For each of the following States,               CSAPR Federal Implementation Plan set
                                                 (b)(2)(i)(B), (b)(2)(ii)(B) or (C), or                  the Administrator has approved a SIP                   forth in paragraphs (b)(1), (b)(2)(iii), and
                                                 (b)(13)(i) of this section of the                       revision under paragraph (b)(8) of this                (b)(10) and (11) of this section with
                                                 applicability of subpart BBBBB or                       section as replacing the CSAPR NOX                     regard to sources in the State and areas
                                                 EEEEE of part 97 of this chapter to the                 Ozone Season Group 2 allowance                         of Indian country within the borders of
                                                 sources in a State and areas of Indian                  allocation provisions in §§ 97.811(a) and              the State subject to the State’s SIP
                                                 country within the borders of the State                 (b)(1) and 97.812(a) of this chapter with              authority: [none].


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                                                 ■  3. Amend § 52.39 by:                                                      borders of the State not subject to the                          ■  t. In paragraph (i)(5), removing
                                                 ■  a. In paragraph (a), removing ‘‘(SO2),                                    State’s SIP authority, the’’;                                    ‘‘Indian country within the borders of
                                                 except’’ and adding in its place ‘‘(SO2)                                     ■ k. In paragraph (f)(6), removing                               the State, the’’ and adding in its place
                                                 for sources meeting the applicability                                        ‘‘deadlines for submission of allocations                        ‘‘areas of Indian country within the
                                                 criteria set forth in subparts CCCCC and                                     or auction results under paragraphs                              borders of the State not subject to the
                                                 DDDDD, except’’;                                                             (f)(1)(ii) and (iii)’’ and adding in its                         State’s SIP authority, the’’;
                                                 ■ b. In paragraph (d) introductory text,                                     place ‘‘deadline for submission of                               ■ u. In paragraph (i)(6), removing
                                                 removing ‘‘the State and’’ and adding in                                     allocations or auction results under                             ‘‘deadlines for submission of allocations
                                                 its place ‘‘sources in the State and areas                                   paragraph (f)(1)(ii)’’;                                          or auction results under paragraphs
                                                 of Indian country within the borders of                                      ■ l. In paragraph (g) introductory text:
                                                                                                                                                                                               (i)(1)(ii) and (iii)’’ and adding in its
                                                 the State subject to the State’s SIP                                         ■ i. Removing ‘‘(c)(1) or (2)’’ and adding
                                                                                                                                                                                               place ‘‘deadline for submission of
                                                 authority for’’;                                                             in its place ‘‘(c)’’; and                                        allocations or auction results under
                                                 ■ c. In paragraph (d)(1), removing ‘‘State                                   ■ ii. Removing ‘‘the State and’’ and
                                                                                                                                                                                               paragraph (i)(1)(ii)’’;
                                                 and’’ and adding in its place ‘‘State and                                    adding in its place ‘‘sources in the State
                                                                                                                              and areas of Indian country within the                           ■ v. Revising paragraphs (j) and (k)(2);
                                                 areas of Indian country within the                                                                                                            ■ w. Adding paragraph (k)(3);
                                                 borders of the State subject to the State’s                                  borders of the State subject to the State’s
                                                                                                                              SIP authority for’’;                                             ■ x. In paragraphs (l)(1) and (2),
                                                 SIP authority and that’’;
                                                                                                                              ■ m. In paragraph (g)(1), removing                               removing ‘‘the State and’’ and adding in
                                                 ■ d. In paragraph (e) introductory text,
                                                 removing ‘‘for the State’s sources, and’’                                    ‘‘State and’’ and adding in its place                            its place ‘‘sources in the State and areas
                                                                                                                              ‘‘State and areas of Indian country                              of Indian country within the borders of
                                                 and adding in its place ‘‘with regard to
                                                                                                                              within the borders of the State subject                          the State subject to the State’s SIP
                                                 sources in the State and areas of Indian
                                                                                                                              to the State’s SIP authority and that’’;                         authority for’’;
                                                 country within the borders of the State                                      ■ n. In paragraph (h) introductory text,
                                                 subject to the State’s SIP authority,                                                                                                         ■ y. In paragraph (l)(3), removing ‘‘State
                                                                                                                              removing ‘‘for the State’s sources, and’’                        (but not sources in any Indian country
                                                 and’’;                                                                       and adding in its place ‘‘with regard to
                                                 ■ e. Revising table 1 to paragraph                                                                                                            within the borders of the State):’’ and
                                                                                                                              sources in the State and areas of Indian                         adding in its place ‘‘State and areas of
                                                 (e)(1)(ii);                                                                  country within the borders of the State
                                                 ■ f. In paragraph (e)(2), removing                                                                                                            Indian country within the borders of the
                                                                                                                              subject to the State’s SIP authority,                            State subject to the State’s SIP
                                                 ‘‘deadlines for submission of allocations                                    and’’;
                                                 or auction results under paragraphs                                                                                                           authority:’’.
                                                                                                                              ■ o. Revising table 3 to paragraph
                                                 (e)(1)(ii) and (iii)’’ and adding in its                                                                                                      ■ z. In paragraphs (m)(1) and (2),
                                                                                                                              (h)(1)(ii);
                                                 place ‘‘deadline for submission of                                           ■ p. In paragraph (h)(2), removing
                                                                                                                                                                                               removing ‘‘the State and’’ and adding in
                                                 allocations or auction results under                                         ‘‘deadlines for submission of allocations                        its place ‘‘sources in the State and areas
                                                 paragraph (e)(1)(ii)’’;                                                      or auction results under paragraphs                              of Indian country within the borders of
                                                 ■ g. In paragraph (f) introductory text,                                     (h)(1)(ii) and (iii)’’ and adding in its                         the State subject to the State’s SIP
                                                 removing ‘‘State (but not sources in any                                     place ‘‘deadline for submission of                               authority for’’; and
                                                 Indian country within the borders of the                                     allocations or auction results under                             ■ aa. In paragraph (m)(3), removing
                                                 State), regulations’’ and adding in its                                      paragraph (h)(1)(ii)’’;                                          ‘‘State (but not sources in any Indian
                                                 place ‘‘State and areas of Indian country                                    ■ q. In paragraph (i) introductory text,                         country within the borders of the
                                                 within the borders of the State subject                                      removing ‘‘State (but not sources in any                         State):’’ and adding in its place ‘‘State
                                                 to the State’s SIP authority,                                                Indian country within the borders of the                         and areas of Indian country within the
                                                 regulations’’;                                                               State), regulations’’ and adding in its                          borders of the State subject to the State’s
                                                 ■ h. Revising table 2 to paragraph                                           place ‘‘State and areas of Indian country                        SIP authority:’’.
                                                 (f)(1)(ii);                                                                  within the borders of the State subject                             The revisions and addition read as
                                                 ■ i. In paragraph (f)(4), removing                                           to the State’s SIP authority,                                    follows:
                                                 ‘‘Indian country within the borders of                                       regulations’’;
                                                 the State’’ and adding in its place ‘‘areas                                  ■ r. Revising table 4 to paragraph                               § 52.39 What are the requirements of the
                                                 of Indian country within the borders of                                                                                                       Federal Implementation Plans (FIPs) for the
                                                                                                                              (i)(1)(ii);
                                                                                                                                                                                               Cross-State Air Pollution Rule (CSAPR)
                                                 the State not subject to the State’s SIP                                     ■ s. In paragraph (i)(4), removing
                                                                                                                                                                                               relating to emissions of sulfur dioxide?
                                                 authority’’;                                                                 ‘‘Indian country within the borders of
                                                 ■ j. In paragraph (f)(5), removing                                           the State’’ and adding in its place ‘‘areas                      *        *   *      *      *
                                                 ‘‘Indian country within the borders of                                       of Indian country within the borders of                              (e) * * *
                                                 the State, the’’ and adding in its place                                     the State not subject to the State’s SIP                             (1) * * *
                                                 ‘‘areas of Indian country within the                                         authority’’;                                                         (ii) * * *

                                                                                                                                   TABLE 1 TO PARAGRAPH (e)(1)(ii)
                                                   Year of the control period for which CSAPR SO2 group 1 allowances                                                          Deadline for submission of allocations or auction results
                                                                         are allocated or auctioned                                                                                            to the administrator

                                                 2017   or 2018 ............................................................................................         June   1, 2016.
                                                 2019   or 2020 ............................................................................................         June   1, 2017.
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                                                 2021   or 2022 ............................................................................................         June   1, 2018.
                                                 2023   ..........................................................................................................   June   1, 2019.
                                                 2024   ..........................................................................................................   June   1, 2020.
                                                 2025   or any year thereafter ......................................................................                June   1 of the year before the year of the control period.




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                                                 *        *     *             *         *                                          (ii) * * *
                                                      (f) * * *
                                                      (1) * * *

                                                                                                                                     TABLE 2 TO PARAGRAPH (f)(1)(ii)
                                                     Year of the control period for which CSAPR SO2 group 1 allowances                                                         Deadline for submission of allocations or auction results
                                                                           are allocated or auctioned                                                                                           to the administrator

                                                 2017    or 2018 ............................................................................................         June   1, 2016.
                                                 2019    or 2020 ............................................................................................         June   1, 2017.
                                                 2021    or 2022 ............................................................................................         June   1, 2018.
                                                 2023    ..........................................................................................................   June   1, 2019.
                                                 2024    ..........................................................................................................   June   1, 2020.
                                                 2025    or any year thereafter ......................................................................                June   1 of the year before the year of the control period.



                                                 *        *    *              *         *                                          (ii) * * *
                                                      (h) * * *
                                                      (1) * * *

                                                                                                                                    TABLE 3 TO PARAGRAPH (h)(1)(ii)
                                                     Year of the control period for which CSAPR SO2 group 2 allowances                                                         Deadline for submission of allocations or auction results
                                                                           are allocated or auctioned                                                                                           to the administrator

                                                 2017    or 2018 ............................................................................................         June   1, 2016.
                                                 2019    or 2020 ............................................................................................         June   1, 2017.
                                                 2021    or 2022 ............................................................................................         June   1, 2018.
                                                 2023    ..........................................................................................................   June   1, 2019.
                                                 2024    ..........................................................................................................   June   1, 2020.
                                                 2025    or any year thereafter ......................................................................                June   1 of the year before the year of the control period.



                                                 *        *     *             *         *                                          (ii) * * *
                                                      (i) * * *
                                                      (1) * * *

                                                                                                                                     TABLE 4 TO PARAGRAPH (i)(1)(ii)
                                                     Year of the control period for which CSAPR SO2 group 2 allowances                                                         Deadline for submission of allocations or auction results
                                                                           are allocated or auctioned                                                                                           to the administrator

                                                 2017    or 2018 ............................................................................................         June   1, 2016.
                                                 2019    or 2020 ............................................................................................         June   1, 2017.
                                                 2021    or 2022 ............................................................................................         June   1, 2018.
                                                 2023    ..........................................................................................................   June   1, 2019.
                                                 2024    ..........................................................................................................   June   1, 2020.
                                                 2025    or any year thereafter ......................................................................                June   1 of the year before the year of the control period.



                                                 *      *    *      *     *                                                    unless the Administrator’s approval of                           Administrator has already started
                                                    (j) Withdrawal of CSAPR FIP                                                the SIP revision is partial or conditional,                      recording any allocations of CSAPR SO2
                                                 provisions relating to SO2 emissions.                                         and will continue to apply to sources in                         Group 1 allowances under subpart
                                                 Except as provided in paragraph (k) of                                        areas of Indian country within the                               CCCCC of part 97 of this chapter, or
                                                 this section, following promulgation of                                       borders of the State not subject to the                          allocations of CSAPR SO2 Group 2
                                                 an approval by the Administrator of a                                         State’s SIP authority, provided that if                          allowances under subpart DDDDD of
                                                 State’s SIP revision as correcting the                                        the CSAPR Federal Implementation                                 part 97 of this chapter, to units in the
                                                 SIP’s deficiency that is the basis for the                                    Plan was promulgated as a partial rather                         State and areas of Indian country within
                                                 CSAPR Federal Implementation Plan set                                         than full remedy for an obligation of the                        the borders of the State subject to the
                                                 forth in paragraphs (a), (b), (d), and (e)                                    State to address interstate air pollution,                       State’s SIP authority for a control period
                                                 of this section or paragraphs (a), (c)(1),                                    the SIP revision likewise will constitute                        in any year, the provisions of such
                                                 (g), and (h) of this section for sources in                                   a partial rather than full remedy for the                        subpart authorizing the Administrator to
                                                 the State and Indian country within the                                       State’s obligation unless provided                               complete the allocation and recordation
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                                                 borders of the State subject to the State’s                                   otherwise in the Administrator’s                                 of such allowances to such units for
                                                 SIP authority, the provisions of                                              approval of the SIP revision.                                    each such control period shall continue
                                                 paragraph (b) or (c)(1) of this section, as                                     (k) * * *                                                      to apply, unless provided otherwise by
                                                 applicable, will no longer apply to                                             (2) Notwithstanding the provisions of                          such approval of the State’s SIP
                                                 sources in the State and areas of Indian                                      paragraph (j) of this section, if, at the                        revision.
                                                 country within the borders of the State                                       time of any approval of a State’s SIP                               (3) Notwithstanding any
                                                 subject to the State’s SIP authority,                                         revision under this section, the                                 discontinuation pursuant to paragraph


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                                                 (c)(2) or (j) of this section of the                          nitrogen oxides from Municipal Waste             average of all the hourly averages of the
                                                 applicability of subpart CCCCC or                             Combustors?                                      specific operating parameter. For
                                                 DDDDD of part 97 of this chapter to the                 *      *      *       *      *                         demonstration of compliance with an
                                                 sources in a State and areas of Indian                                                                         emissions limit based on pollutant
                                                 country within the borders of the State                 § 52.40 What are the requirements of the               concentration, a 30-day rolling average
                                                                                                         Federal Implementation Plans (FIPs)
                                                 subject to the State’s SIP authority with                                                                      is comprised of the average of all the
                                                                                                         relating to ozone season emissions of
                                                 regard to emissions occurring in any                    nitrogen oxides from sources not subject to            hourly average concentrations over the
                                                 control period, the following provisions                the CSAPR ozone season trading program?                previous 30 operating days. For
                                                 shall continue to apply with regard to                                                                         demonstration of compliance with an
                                                                                                            (a) Purpose. This section establishes
                                                 all CSAPR SO2 Group 1 allowances and                                                                           emissions limit based on lbs-pollutant
                                                                                                         Federal Implementation Plan
                                                 CSAPR SO2 Group 2 allowances at any                                                                            per production unit, the 30-day rolling
                                                                                                         requirements for new and existing units
                                                 time allocated for any control period to                                                                       average is calculated by summing the
                                                                                                         in the industries specified in paragraph
                                                 any source or other entity in the State                                                                        hourly mass emissions over the
                                                                                                         (b) of this section to eliminate
                                                 and areas of Indian country within the                                                                         previous 30 operating days, then
                                                                                                         significant contribution to
                                                 borders of the State subject to the State’s                                                                    dividing that sum by the total
                                                                                                         nonattainment, or interference with
                                                 SIP authority and shall apply to all                                                                           production during the same period.
                                                                                                         maintenance, of the 2015 8-hour ozone                     (c) General requirements. (1) The NOX
                                                 entities, wherever located, that at any                 National Ambient Air Quality Standards
                                                 time held or hold such allowances:                                                                             emissions limitations or emissions
                                                                                                         in other states pursuant to 42 U.S.C.                  control requirements and associated
                                                    (i) The provisions of §§ 97.626(c) and               7410(a)(2)(D)(i)(I).
                                                 97.726(c) of this chapter (concerning the                                                                      compliance requirements for the
                                                                                                            (b) Definitions. The terms used in this             following listed source categories not
                                                 transfer of CSAPR SO2 Group 1                           section and §§ 52.41 through § 52.46 are
                                                 allowances and CSAPR SO2 Group 2                                                                               subject to the CSAPR ozone season
                                                                                                         defined as follows:                                    trading program constitute the Federal
                                                 allowances between certain Allowance                       Calendar year means the period
                                                 Management System accounts under                                                                               Implementation Plan provisions that
                                                                                                         between January 1 and December 31,                     relate to emissions of NOX during the
                                                 common control).                                        inclusive, for a given year.                           ozone season (defined as May 1 through
                                                    (ii) [Reserved]                                         Existing affected unit means any                    September 30 of a calendar year):
                                                 *       *     *     *     *                             affected unit for which construction                   §§ 52.41 for engines in the Pipeline
                                                 ■ 4. Add §§ 52.40 through 52.46 to
                                                                                                         commenced before August 4, 2023.                       Transportation of Natural Gas Industry,
                                                 subpart A to read as follows:                              New affected unit means any affected                52.42 for kilns in the Cement and
                                                                                                         unit for which construction commenced                  Concrete Product Manufacturing
                                                 Sec.                                                    on or after August 4, 2023.                            Industry, 52.43 for reheat furnaces in
                                                 *       *    *       *      *                              Operator means any person who                       the Iron and Steel Mills and Ferroalloy
                                                 52.40 What are the requirements of the                  operates, controls, or supervises an
                                                     Federal Implementation Plans (FIPs)                                                                        Manufacturing Industry, 52.44 for
                                                                                                         affected unit and shall include, but not               furnaces in the Glass and Glass Product
                                                     relating to ozone season emissions of               be limited to, any holding company,
                                                     nitrogen oxides from sources not subject                                                                   Manufacturing Industry, 52.45 for
                                                     to the CSAPR ozone season trading
                                                                                                         utility system, or plant manager of such               boilers in the Iron and Steel Mills and
                                                     program?                                            affected unit.                                         Ferroalloy Manufacturing, Metal Ore
                                                 52.41 What are the requirements of the                     Owner means any holder of any                       Mining, Basic Chemical Manufacturing,
                                                     Federal Implementation Plans (FIPs)                 portion of the legal or equitable title in             Petroleum and Coal Products
                                                     relating to ozone season emissions of               an affected unit.                                      Manufacturing, and Pulp, Paper, and
                                                     nitrogen oxides from the Pipeline                      Potential to emit means the maximum                 Paperboard Mills industries, and 52.46
                                                     Transportation of Natural Gas Industry?             capacity of a unit to emit a pollutant                 for Municipal Waste Combustors.
                                                 52.42 What are the requirements of the                  under its physical and operational                        (2) The provisions of this section or
                                                     Federal Implementation Plans (FIPs)                 design. Any physical or operational
                                                     relating to ozone season emissions of                                                                      § 52.41, § 52.42, § 52.43, § 52.44, § 52.45,
                                                                                                         limitation on the capacity of the unit to              or § 52.46 apply to affected units located
                                                     nitrogen oxides from the Cement and
                                                     Concrete Product Manufacturing                      emit a pollutant, including air pollution              in each of the following States,
                                                     Industry?                                           control equipment and restrictions on                  including Indian country located within
                                                 52.43 What are the requirements of the                  hours of operation or on the type or                   the borders of such States, beginning in
                                                     Federal Implementation Plans (FIPs)                 amount of material combusted, stored,                  the 2026 ozone season and in each
                                                     relating to ozone season emissions of               or processed, shall be treated as part of              subsequent ozone season: Arkansas,
                                                     nitrogen oxides from the Iron and Steel             its design only if the limitation or the               California, Illinois, Indiana, Kentucky,
                                                     Mills and Ferroalloy Manufacturing                  effect it would have on emissions is                   Louisiana, Maryland, Michigan,
                                                     Industry?                                           federally enforceable. Secondary                       Mississippi, Missouri, Nevada, New
                                                 52.44 What are the requirements of the
                                                                                                         emissions do not count in determining                  Jersey, New York, Ohio, Oklahoma,
                                                     Federal Implementation Plans (FIPs)
                                                     relating to ozone season emissions of               the potential to emit of a unit.                       Pennsylvania, Texas, Utah, Virginia,
                                                     nitrogen oxides from the Glass and Glass               Rolling average means the weighted                  and West Virginia.
                                                     Product Manufacturing Industry?                     average of all data, meeting quality                      (3) The testing, monitoring,
                                                 52.45 What are the requirements of the                  assurance and quality control (QA/QC)                  recordkeeping, and reporting
                                                     Federal Implementation Plans (FIPs)                 requirements in this part or otherwise                 requirements of this section or § 52.41,
                                                     relating to ozone season emissions of               normalized, collected during the                       § 52.42, § 52.43, § 52.44, § 52.45, or
                                                     nitrogen oxides from the Basic Chemical             applicable averaging period. The period                § 52.46 only apply during the ozone
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                                                     Manufacturing, Petroleum and Coal                   of a rolling average stipulates the                    season, except as otherwise specified in
                                                     Products Manufacturing, the Pulp, Paper,            frequency of data averaging and                        these sections. Additionally, if an owner
                                                     and Paperboard Mills Industries, Metal
                                                     Ore Mining, and the Iron and Steel and
                                                                                                         reporting. To demonstrate compliance                   or operator of an affected unit chooses
                                                     Ferroalloy Manufacturing Industries?                with an operating parameter a 30-day                   to conduct a performance or compliance
                                                 52.46 What are the requirements of the                  rolling average period requires                        test outside of the ozone season, all
                                                     Federal Implementation Plans (FIPs)                 calculation of a new average value each                recordkeeping, reporting, and
                                                     relating to ozone season emissions of               operating day and shall include the                    notification requirements associated


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                                                 with that test shall apply, without                     specify a proposed compliance date no                  be provided by notification via the
                                                 regard to whether they occur during the                 later than May 1, 2029, and identify                   CEDRI or analogous electronic
                                                 ozone season.                                           additional actions taken by the owner or               submission system provided by the EPA
                                                    (d) Requests for extension of                        operator to ensure that the affected                   and publicly available, and will identify
                                                 compliance. (1) The owner or operator                   unit(s) will be in compliance with the                 each affected unit covered by the
                                                 of an existing affected unit under                      applicable requirements in this section                extension; specify the termination date
                                                 § 52.41, § 52.42, § 52.43, § 52.44, § 52.45,            by that proposed compliance date;                      of the extension; and specify any
                                                 or § 52.46 that cannot comply with the                     (vi) Include all information obtained               additional conditions that the
                                                 applicable requirements in those                        from control technology vendors                        Administrator deems necessary to
                                                 sections by May 1, 2026, due to                         demonstrating that the identified                      ensure timely installation of the
                                                 circumstances entirely beyond the                       controls cannot be installed by the                    necessary controls (e.g., the date(s) by
                                                 owner or operator’s control, may request                applicable compliance date;                            which on-site construction, installation
                                                 an initial compliance extension to a date                  (vii) Include any and all contract(s)               of control equipment, and/or process
                                                 certain no later than May 1, 2027. The                  entered into for the installation of the               changes will be initiated).
                                                 extension request must contain a                        identified controls or an explanation as                  (7) The Administrator will provide
                                                 demonstration of necessity consistent                   to why no contract is necessary or                     notification via the CEDRI or analogous
                                                 with the requirements of paragraph                      obtainable; and                                        electronic submission system provided
                                                 (d)(3) of this section.                                    (viii) Include any permit(s) obtained               by the EPA to the owner or operator of
                                                    (2) If, after the EPA has granted a                  for the installation of the identified                 an affected unit who has requested a
                                                 request for an initial compliance                       controls or, where a required permit has               compliance extension under this
                                                 extension, the source remains unable to                 not yet been issued, a copy of the permit              paragraph (d)(7) whether the submitted
                                                 comply with the applicable                              application submitted to the permitting                request is complete, that is, whether the
                                                 requirements in § 52.41, § 52.42, § 52.43,              authority and a statement from the                     request contains sufficient information
                                                 § 52.44, § 52.45, or § 52.46 by the                     permitting authority identifying its                   to make a determination, within 60
                                                 extended compliance date due to                         anticipated timeframe for issuance of                  calendar days after receipt of the
                                                 circumstances entirely beyond the                       such permit(s).                                        original request and within 60 calendar
                                                 owner or operator’s control, the owner                     (4) Each request for a compliance                   days after receipt of any supplementary
                                                 or operator may apply for a second                      extension shall be submitted via the                   information.
                                                 compliance extension to a date certain                  Compliance and Emissions Data                             (8) The Administrator will provide
                                                 no later than May 1, 2029. The                          Reporting Interface (CEDRI) or                         notification via the CEDRI or analogous
                                                 extension request must contain an                       analogous electronic submission system                 electronic submission system provided
                                                 updated demonstration of necessity                      provided by the EPA no later than 180                  by the EPA, which shall be publicly
                                                 consistent with the requirements of                     days prior to the applicable compliance                available, to the owner or operator of a
                                                 paragraph (d)(3) of this section.                       date. Until an extension has been                      decision to grant or intention to deny a
                                                    (3) Each request for a compliance                    granted by the Administrator under this                request for a compliance extension
                                                 extension shall demonstrate that the                    section, the owner or operator of an                   within 60 calendar days after providing
                                                 owner or operator has taken all steps                   affected unit shall comply with all                    written notification pursuant to
                                                 possible to install the controls necessary              applicable requirements of this section                paragraph (d)(7) of this section that the
                                                 for compliance with the applicable                      and shall remain subject to the May 1,                 submitted request is complete.
                                                 requirements in § 52.41, § 52.42, § 52.43,              2026 compliance date or the initial                       (9) Before denying any request for an
                                                 § 52.44, § 52.45, or § 52.46 by the                     extended compliance date, as                           extension of compliance, the
                                                 applicable compliance date and shall:                   applicable. A denial will be effective as              Administrator will provide notification
                                                    (i) Identify each affected unit for                  of the date of denial.                                 via the CEDRI or analogous electronic
                                                 which the owner or operator is seeking                     (5) The owner or operator of an                     submission system provided by the EPA
                                                 the compliance extension;                               affected unit who has requested a                      to the owner or operator in writing of
                                                    (ii) Identify and describe the controls              compliance extension under this                        the Administrator’s intention to issue
                                                 to be installed at each affected unit to                paragraph (d)(5) and is required to have               the denial, together with:
                                                 comply with the applicable                              a title V permit shall apply to have the                  (i) Notice of the information and
                                                 requirements in § 52.41, § 52.42, § 52.43,              relevant title V permit revised to                     findings on which the intended denial
                                                 § 52.44, § 52.45, or § 52.46;                           incorporate the conditions of the                      is based; and
                                                    (iii) Identify the circumstances                     extension of compliance. The                              (ii) Notice of opportunity for the
                                                 entirely beyond the owner or operator’s                 conditions of a compliance extension                   owner or operator to present via the
                                                 control that necessitate additional time                granted under this paragraph (d)(5) will               CEDRI or analogous electronic
                                                 to install the identified controls;                     be incorporated into the affected unit’s               submission system provided by the
                                                    (iv) Identify the date(s) by which on-               title V permit according to the                        EPA, within 15 calendar days after he/
                                                 site construction, installation of control              provisions of an EPA-approved state                    she is notified of the intended denial,
                                                 equipment, and/or process changes will                  operating permit program or the Federal                additional information or arguments to
                                                 be initiated;                                           title V regulations in 40 CFR part 71,                 the Administrator before further action
                                                    (v) Identify the owner or operator’s                 whichever apply.                                       on the request.
                                                 proposed compliance date. A request for                    (6) Based on the information provided                  (10) The Administrator’s final
                                                 an initial compliance extension under                   in any request made under paragraph                    decision to deny any request for an
                                                 paragraph (d)(1) of this section must                   (d) of this section or other information,              extension will be provided via the
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                                                 specify a proposed compliance date no                   the Administrator may grant an                         CEDRI or analogous electronic
                                                 later than May 1, 2027, and state                       extension of time to comply with                       submission system provided by the EPA
                                                 whether the owner or operator                           applicable requirements in § 52.41,                    and publicly available, and will set forth
                                                 anticipates a need to request a second                  § 52.42, § 52.43, § 52.44, § 52.45, or                 the specific grounds on which the
                                                 compliance extension. A request for a                   § 52.46 consistent with the provisions of              denial is based. The final decision will
                                                 second compliance extension under                       paragraph (d)(1) or (2) of this section.               be made within 60 calendar days after
                                                 paragraph (d)(2) of this section must                   The decision to grant an extension will                presentation of additional information


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                                                 or argument (if the request is complete),               emissions limit even with available                    applicable emissions limit in § 52.41,
                                                 or within 60 calendar days after the                    control technology, including:                         § 52.42, § 52.43, § 52.44, § 52.45, or
                                                 deadline for the submission of                             (i) Stack test data or other emissions              § 52.46. The decision to approve a case-
                                                 additional information or argument                      data for the affected unit; or                         by-case emissions limit will be provided
                                                 under paragraph (d)(9)(ii) of this                         (ii) A third-party engineering                      via the CEDRI or analogous electronic
                                                 section, if no such submission is made.                 assessment demonstrating that the                      submission system provided by the EPA
                                                    (11) The granting of an extension                    affected unit cannot meet the applicable               in paragraph (d) of this section and
                                                 under this section shall not abrogate the               emissions limit with available control                 publicly available, and will identify
                                                 Administrator’s authority under section                 technology.                                            each affected unit covered by the case-
                                                 114 of the Clean Air Act (CAA or the                       (B) A demonstration of extreme                      by-case emissions limit.
                                                 Act).                                                   economic hardship shall include at least                  (5) The Administrator will provide
                                                    (e) Requests for case-by-case                        three vendor estimates of the costs of                 notification via the CEDRI or analogous
                                                 emissions limits. (1) The owner or                      installing control technology necessary                electronic submission system provided
                                                 operator of an existing affected unit                   to meet the applicable emissions limit                 by the EPA in paragraph (d) of this
                                                 under § 52.41, § 52.42, § 52.43, § 52.44,               and other information that                             section to the owner or operator of an
                                                 § 52.45, or § 52.46 that cannot comply                  demonstrates, to the satisfaction of the               affected unit who has requested a case-
                                                 with the applicable requirements in                     Administrator, that the cost of                        by-case emissions limit under this
                                                 those sections due to technical                         complying with the applicable                          paragraph (e)(5) whether the submitted
                                                 impossibility or extreme economic                       emissions limit would present an                       request is complete, that is, whether the
                                                 hardship may submit to the                              extreme economic hardship relative to                  request contains sufficient information
                                                 Administrator, by August 5, 2024, a                     the costs borne by other comparable                    to make a determination, within 60
                                                 request for approval of a case-by-case                  sources in the industry.                               calendar days after receipt of the
                                                 emissions limit. The request shall                         (ii) An analysis of available control               original request and within 60 calendar
                                                 contain information sufficient for the                  technology options and a proposed case-                days after receipt of any supplementary
                                                 Administrator to confirm that the                       by-case emissions limit that represents                information.
                                                 affected unit is unable to comply with                  the lowest emissions limitation                           (6) The Administrator will provide
                                                 the applicable emissions limit, due to                  technically achievable by the affected                 notification via the CEDRI or analogous
                                                 technical impossibility or extreme                      unit without causing extreme economic                  electronic submission system described
                                                 economic hardship, and to establish an                  hardship relative to the costs borne by                by the EPA in paragraph (d) of this
                                                 appropriate alternative case-by-case                    other comparable sources in the                        section, which shall be publicly
                                                 emissions limit for the affected unit.                  industry. The owner or operator may                    available, to the owner or operator of a
                                                 Until a case-by-case emissions limit has                propose additional measures to reduce                  decision to approve or intention to deny
                                                 been approved by the Administrator                      NOX emissions, such as operational                     the request within 60 calendar days
                                                 under this section, the owner or                        standards or work practice standards.                  after providing notification pursuant to
                                                 operator shall remain subject to all                       (iii) Calculations of the NOX                       paragraph (e)(5) of this section that the
                                                 applicable requirements in § 52.41,                     emissions reduction to be achieved                     submitted request is complete.
                                                 § 52.42, § 52.43, § 52.44, § 52.45, or                  through implementation of the proposed                    (7) Before denying any request for a
                                                 § 52.46. A denial will be effective as of               case-by-case emissions limit and any                   case-by-case emissions limit, the
                                                 the date of denial.                                     additional proposed measures, the                      Administrator will provide notification
                                                    (2) Each request for a case-by-case                  difference between this NOX emissions                  via the CEDRI or analogous electronic
                                                 emissions limit shall include, but not be               reduction level and the NOX emissions                  submission system provided by the EPA
                                                 limited to, the following:                              reductions that would have occurred if                 to the owner or operator in writing of
                                                    (i) A demonstration that the affected                the affected unit complied with the                    the Administrator’s intention to issue
                                                 unit cannot achieve the applicable                      applicable emissions limitations in                    the denial, together with:
                                                 emissions limit with available control                  § 52.41, § 52.42, § 52.43, § 52.44, § 52.45,              (i) Notice of the information and
                                                 technology due to technical                             or § 52.46, and a description of the                   findings on which the intended denial
                                                 impossibility or extreme economic                       methodology used for these                             is based; and
                                                 hardship.                                               calculations.                                             (ii) Notice of opportunity for the
                                                    (A) A demonstration of technical                        (3) The owner or operator of an                     owner or operator to present via the
                                                 impossibility shall include:                            affected unit who has requested a case-                CEDRI or analogous electronic
                                                    (1) Uncontrolled NOX emissions for                   by-case emissions limit under this                     submission system provided by the
                                                 the affected unit established with a                    paragraph (e)(3) and is required to have               EPA, within 15 calendar days after he/
                                                 CEMS, or stack tests obtained during                    a title V permit shall apply to have the               she is notified of the intended denial,
                                                 steady state operation in accordance                    relevant title V permit revised to                     additional information or arguments to
                                                 with the applicable reference test                      incorporate the case-by-case emissions                 the Administrator before further action
                                                 methods of 40 CFR part 60, appendix                     limit. Any case-by-case emissions limit                on the request.
                                                 A–4, any alternative test method                        approved under this paragraph (e)(3)                      (8) The Administrator’s final decision
                                                 approved by the EPA as of June 5, 2023,                 will be incorporated into the affected                 to deny any request for a case-by-case
                                                 under 40 CFR 59.104(f), 60.8(b)(3),                     unit’s title V permit according to the                 emissions limit will be provided by
                                                 61.13(h)(1)(ii), 63.7(e)(2)(ii)(2), or                  provisions of an EPA-approved state                    notification via the CEDRI or analogous
                                                 65.158(a)(2) and available at the EPA’s                 operating permit program or the Federal                electronic submission system provided
                                                                                                                                                                by the EPAand publicly available, and
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                                                 website (https://www.epa.gov/emc/                       title V regulations in 40 CFR part 71,
                                                 broadly-applicable-approved-                            whichever apply.                                       will set forth the specific grounds on
                                                 alternative-test-methods), or other                        (4) Based on the information provided               which the denial is based. The final
                                                 methods and procedures approved by                      in any request made under this                         decision will be made within 60
                                                 the EPA through notice-and-comment                      paragraph (e)(4) or other information,                 calendar days after presentation of
                                                 rulemaking; and                                         the Administrator may approve a case-                  additional information or argument (if
                                                    (2) A demonstration that the affected                by-case emissions limit that will apply                the request is complete), or within 60
                                                 unit cannot meet the applicable                         to an affected unit in lieu of the                     calendar days after the deadline for the


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                                                 submission of additional information or                    (ii) Data collected using test methods                 (F) All CBI claims must be asserted at
                                                 argument under paragraph (e)(7)(ii) of                  that are not supported by the EPA’s ERT                the time of submission. Anything
                                                 this section, if no such submission is                  as listed on the EPA’s ERT website at                  submitted using CEDRI cannot later be
                                                 made.                                                   the time of the test. The results of the               claimed CBI. Furthermore, under CAA
                                                    (9) The approval of a case-by-case                   performance test must be included as an                section 114(c), emissions data is not
                                                 emissions limit under this section shall                attachment in the ERT or an alternate                  entitled to confidential treatment, and
                                                 not abrogate the Administrator’s                        electronic file consistent with the XML                the EPA is required to make emissions
                                                 authority under section 114 of the Act.                 schema listed on the EPA’s ERT                         data available to the public. Thus,
                                                    (f) Recordkeeping requirements. (1)                  website. Submit the ERT generated                      emissions data will not be protected as
                                                 The owner or operator of an affected                    package or alternative file to the EPA via             CBI and will be made publicly available.
                                                 unit subject to the provisions of this                  CEDRI.                                                    (G) You must submit the same file
                                                 section or § 52.41, § 52.42, § 52.43,                      (iii)(A) The EPA will make all the                  submitted to the CBI office with the CBI
                                                 § 52.44, § 52.45, or § 52.46 shall                      information submitted through CEDRI                    omitted to the EPA via the EPA’s CDX
                                                 maintain files of all information                       available to the public without further                as described in paragraphs (g)(1) and (2)
                                                 (including all reports and notifications)               notice to you. Do not use CEDRI to                     of this section.
                                                 required by these sections recorded in a                submit information you claim as                           (2) Annual reports must be submitted
                                                 form suitable and readily available for                 confidential business information (CBI).               via CEDRI or analogous electronic
                                                 expeditious inspection and review. The                  Although we do not expect persons to                   reporting approach provided by the EPA
                                                 files shall be retained for at least 5 years            assert a claim of CBI, if you wish to                  to report data required by § 52.41,
                                                 following the date of each occurrence,                  assert a CBI claim for some of the                     § 52.42, § 52.43, § 52.44, § 52.45, or
                                                 measurement, maintenance, corrective                    information submitted under paragraph                  § 52.46.
                                                 action, report, or record. At minimum,                  (g)(1) or (2) of this section, you should                 (3) If you are required to
                                                 the most recent 2 years of data shall be                submit a complete file, including                      electronically submit a report through
                                                 retained on site. The remaining 3 years                 information claimed to be CBI, to the                  CEDRI in the EPA’s CDX, you may
                                                 of data may be retained off site. Such                  EPA.                                                   assert a claim of EPA system outage for
                                                                                                            (B) The file must be generated using                failure to timely comply with that
                                                 files may be maintained on microfilm,
                                                                                                         the EPA’s ERT or an alternate electronic
                                                 on a computer, on computer floppy                                                                              reporting requirement. To assert a claim
                                                                                                         file consistent with the XML schema
                                                 disks, on magnetic tape disks, or on                                                                           of EPA system outage, you must meet
                                                                                                         listed on the EPA’s ERT website.
                                                 microfiche.                                                (C) Clearly mark the part or all of the             the requirements outlined in paragraphs
                                                    (2) Any records required to be                       information that you claim to be CBI.                  (g)(3)(i) through (vii) of this section.
                                                 maintained by § 52.41, § 52.42, § 52.43,                Information not marked as CBI may be                      (i) You must have been or will be
                                                 § 52.44, § 52.45, or § 52.46 that are                   authorized for public release without                  precluded from accessing CEDRI and
                                                 submitted electronically via the EPA’s                  prior notice. Information marked as CBI                submitting a required report within the
                                                 Compliance and Emissions Data                           will not be disclosed except in                        time prescribed due to an outage of
                                                 Reporting Interface (CEDRI) may be                      accordance with procedures set forth in                either the EPA’s CEDRI or CDX systems.
                                                 maintained in electronic format. This                   40 CFR part 2.                                            (ii) The outage must have occurred
                                                 ability to maintain electronic copies                      (D) The preferred method to receive                 within the period of time beginning five
                                                 does not affect the requirement for                     CBI is for it to be transmitted                        business days prior to the date that the
                                                 facilities to make records, data, and                   electronically using email attachments,                submission is due.
                                                 reports available upon request to the                   File Transfer Protocol, or other online                   (iii) The outage may be planned or
                                                 EPA as part of an on-site compliance                    file sharing services. Electronic                      unplanned.
                                                 evaluation.                                             submissions must be transmitted                           (iv) You must submit notification to
                                                    (g) CEDRI reporting requirements. (1)                directly to the Office of Air Quality                  the Administrator in writing as soon as
                                                 You shall submit the results of the                     Planning and Standards (OAQPS) CBI                     possible following the date you first
                                                 performance test following the                          Office at the email address oaqpscbi@                  knew, or through due diligence should
                                                 procedures specified in paragraphs                      epa.gov, and as described in this                      have known, that the event may cause
                                                 (g)(1)(i) through (iii) of this section:                paragraph (g), should include clear CBI                or has caused a delay in reporting.
                                                    (i) Data collected using test methods                markings and be flagged to the attention                  (v) You must provide to the
                                                 supported by the EPA’s Electronic                       of Lead of 2015 Ozone Transport FIP. If                Administrator a written description
                                                 Reporting Tool (ERT) as listed on the                   assistance is needed with submitting                   identifying:
                                                 EPA’s ERT website (https://                             large electronic files that exceed the file               (A) The date(s) and time(s) when CDX
                                                 www.epa.gov/electronic-reporting-air-                   size limit for email attachments, and if               or CEDRI was accessed and the system
                                                 emissions/electronic-reporting-tool-ert)                you do not have your own file sharing                  was unavailable;
                                                 at the time of the test. Submit the results             service, please email oaqpscbi@epa.gov                    (B) A rationale for attributing the
                                                 of the performance test to the EPA via                  to request a file transfer link.                       delay in reporting beyond the regulatory
                                                 the CEDRI or analogous electronic                          (E) If you cannot transmit the file                 deadline to EPA system outage;
                                                 reporting approach provided by the EPA                  electronically, you may send CBI                          (C) A description of measures taken or
                                                 to report data required by § 52.41,                     information through the postal service                 to be taken to minimize the delay in
                                                 § 52.42, § 52.43, § 52.44, § 52.45, or                  to the following address: OAQPS                        reporting; and
                                                 § 52.46, which can be accessed through                  Document Control Officer (C404–02),                       (D) The date by which you propose to
                                                 the EPA’s Central Data Exchange (CDX)                   OAQPS, U.S. Environmental Protection                   report, or if you have already met the
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                                                 (https://cdx.epa.gov/). The data must be                Agency, Research Triangle Park, North                  reporting requirement at the time of the
                                                 submitted in a file format generated                    Carolina 27711, Attention Lead of 2015                 notification, the date you reported.
                                                 using the EPA’s ERT. Alternatively, you                 Ozone Transport FIP. The mailed CBI                       (vi) The decision to accept the claim
                                                 may submit an electronic file consistent                material should be double wrapped and                  of EPA system outage and allow an
                                                 with the extensible markup language                     clearly marked. Any CBI markings                       extension to the reporting deadline is
                                                 (XML) schema listed on the EPA’s ERT                    should not show through the outer                      solely within the discretion of the
                                                 website.                                                envelope.                                              Administrator.


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                                                    (vii) In any circumstance, the report                § 52.41 What are the requirements of the               not extend beyond the 20 states
                                                 must be submitted electronically as                     Federal Implementation Plans (FIPs)                    identified in § 52.40(b)(2).
                                                 soon as possible after the outage is                    relating to ozone season emissions of                     Four stroke means any type of engine
                                                                                                         nitrogen oxides from the Pipeline                      which completes the power cycle in two
                                                 resolved.                                               Transportation of Natural Gas Industry?                crankshaft revolutions, with intake and
                                                    (4) If you are required to                              (a) Definitions. All terms not defined              compression strokes in the first
                                                 electronically submit a report through                  in this paragraph (a) shall have the                   revolution and power and exhaust
                                                 CEDRI in the EPA’s CDX, you may                         meaning given to them in the Act and                   strokes in the second revolution.
                                                 assert a claim of force majeure for                     in subpart A of 40 CFR part 60.                           ISO conditions means 288 Kelvin (15
                                                 failure to timely comply with that                         Affected unit means an engine                       °C), 60 percent relative humidity, and
                                                 reporting requirement. To assert a claim                meeting the applicability criteria of this             101.3 kilopascals pressure.
                                                 of force majeure, you must meet the                     section.                                                  Lean burn means any two-stroke or
                                                 requirements outlined in paragraphs                        Cap means the total amount of NOX                   four-stroke spark ignited reciprocating
                                                 (g)(4)(i) through (v) of this section.                  emissions, in tons per day on a 30-day                 internal combustion engine that does
                                                                                                         rolling average basis, that is collectively            not meet the definition of a rich burn
                                                    (i) You may submit a claim if a force                allowed from all of the affected units                 engine.
                                                 majeure event is about to occur, occurs,                covered by a Facility-Wide Averaging                      Local Distribution Companies (LDCs)
                                                 or has occurred or there are lingering                  Plan and is calculated as the sum each                 are companies that own or operate
                                                 effects from such an event within the                   affected unit’s NOX emissions at the                   distribution pipelines, but not interstate
                                                 period of time beginning five business                  emissions limit applicable to such unit                pipelines or intrastate pipelines, that
                                                 days prior to the date the submission is                under paragraph (c) of this section,                   physically deliver natural gas to end
                                                 due. For the purposes of this section, a                converted to tons per day in accordance                users and that are within a single state
                                                 force majeure event is defined as an                    with paragraph (d)(3) of this section.                 that are regulated as separate operating
                                                 event that will be or has been caused by                   Emergency engine means any                          companies by State public utility
                                                 circumstances beyond the control of the                 stationary reciprocating internal                      commissions or that operate as
                                                 affected unit, its contractors, or any                  combustion engine (RICE) that meets all                independent municipally-owned
                                                 entity controlled by the affected unit                  of the criteria in paragraphs (i) and (ii)             distribution systems. LDCs do not
                                                 that prevents you from complying with                   of this definition. All emergency                      include pipelines (both interstate and
                                                 the requirement to submit a report                      stationary RICE must comply with the                   intrastate) delivering natural gas directly
                                                 electronically within the time period                   requirements specified in paragraph                    to major industrial users and farm taps
                                                 prescribed. Examples of such events are                 (b)(1) of this section in order to be                  upstream of the local distribution
                                                 acts of nature (e.g., hurricanes,                       considered emergency engines. If the                   company inlet.
                                                 earthquakes, or floods), acts of war or                 engine does not comply with the                           Local Distribution Company (LDC)
                                                                                                         requirements specified in paragraph                    custody transfer station means a
                                                 terrorism, or equipment failure or safety
                                                                                                         (b)(1), it is not considered an emergency              metering station where the LDC receives
                                                 hazard beyond the control of the
                                                                                                         engine under this section.                             a natural gas supply from an upstream
                                                 affected unit (e.g., large scale power
                                                                                                            (i) The stationary engine is operated               supplier, which may be an interstate
                                                 outage).                                                to provide electrical power or                         transmission pipeline or a local natural
                                                    (ii) You must submit notification to                 mechanical work during an emergency                    gas producer, for delivery to customers
                                                 the Administrator in writing as soon as                 situation. Examples include stationary                 through the LDC’s intrastate
                                                 possible following the date you first                   RICE used to produce power for critical                transmission or distribution lines.
                                                 knew, or through due diligence should                   networks or equipment (including                          Nameplate rating means the
                                                 have known, that the event may cause                    power supplied to portions of a facility)              manufacturer’s maximum design
                                                 or has caused a delay in reporting.                     when electric power from the local                     capacity in horsepower (hp) at the
                                                                                                         utility (or the normal power source, if                installation site conditions. Starting
                                                    (iii) You must provide to the
                                                                                                         the facility runs on its own power                     from the completion of any physical
                                                 Administrator:
                                                                                                         production) is interrupted, or stationary              change in the engine resulting in an
                                                    (A) A written description of the force               RICE used to pump water in the case of                 increase in the maximum output (in hp)
                                                 majeure event;                                          fire or flood, etc.                                    that the engine is capable of producing
                                                    (B) A rationale for attributing the                     (ii) The stationary RICE is operated                on a steady state basis and during
                                                 delay in reporting beyond the regulatory                under limited circumstances for                        continuous operation, such increased
                                                 deadline to the force majeure event;                    purposes other than those identified in                maximum output shall be as specified
                                                                                                         paragraph (i) of this definition, as                   by the person conducting the physical
                                                    (C) A description of measures taken or               specified in paragraph (b)(1) of this                  change.
                                                 to be taken to minimize the delay in                    section.                                                  Natural gas means a fluid mixture of
                                                 reporting; and                                             Facility means all of the pollutant-                hydrocarbons (e.g., methane, ethane, or
                                                    (D) The date by which you propose to                 emitting activities which belong to the                propane) or non-hydrocarbons,
                                                 report, or if you have already met the                  same industrial grouping, are located on               composed of at least 70 percent methane
                                                 reporting requirement at the time of the                one or more contiguous or adjacent                     by volume or that has a gross calorific
                                                 notification, the date you reported.                    properties, and are under the control of               value between 35 and 41 megajoules
                                                                                                         the same person (or persons under                      (MJ) per dry standard cubic meter (950
                                                    (iv) The decision to accept the claim
                                                                                                         common control). Pollutant-emitting                    and 1,100 Btu per dry standard cubic
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                                                 of force majeure and allow an extension                                                                        foot), that maintains a gaseous state
                                                                                                         activities shall be considered as part of
                                                 to the reporting deadline is solely                     the same industrial grouping if they                   under ISO conditions. Natural gas does
                                                 within the discretion of the                            belong to the same ‘‘Major Group’’ (i.e.,              not include the following gaseous fuels:
                                                 Administrator.                                          which have the same first two digit code               Landfill gas, digester gas, refinery gas,
                                                    (v) In any circumstance, the reporting               as described in the Standard Industrial                sour gas, blast furnace gas, coal-derived
                                                 must occur as soon as possible after the                Classification Manual, 1987). For                      gas, producer gas, coke oven gas, or any
                                                 force majeure event occurs.                             purposes of this section, a facility may               gaseous fuel produced in a process


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                                                 which might result in highly variable                   technology for nitrogen oxides (NOX)                   for maintenance checks and readiness
                                                 CO2 content or heating value.                           (such as pre-combustion chambers) will                 testing for a maximum of 100 hours per
                                                    Natural gas-fired means that greater                 be considered lean burn engines.                       calendar year, provided that the tests are
                                                 than or equal to 90% of the engine’s                    Existing affected unit where there are no              recommended by a Federal, state, or
                                                 heat input, excluding recirculated or                   manufacturer’s recommendations                         local government agency, the
                                                 recuperated exhaust heat, is derived                    regarding air/fuel ratio will be                       manufacturer, the vendor, or the
                                                 from the combustion of natural gas.                     considered rich burn engines if the                    insurance company associated with the
                                                    Natural gas processing plant means                   excess oxygen content of the exhaust at                engine. Any operation for non-
                                                 any processing site engaged in the                      full load conditions is less than or equal             emergency situations as allowed by
                                                 extraction of natural gas liquids from                  to 2 percent.                                          paragraph (b)(1)(iii) of this section
                                                 field gas, fractionation of mixed natural                 Spark ignition means a reciprocating                 counts as part of the 100 hours per
                                                 gas liquids to natural gas products, or                 internal combustion engine utilizing a                 calendar year allowed by paragraph
                                                 both. A Joule-Thompson valve, a dew                     spark plug (or other sparking device) to               (b)(1)(ii) of this section. The owner or
                                                 point depression valve, or an isolated or               ignite the air/fuel mixture and with                   operator may petition the Administrator
                                                 standalone Joule-Thompson skid is not                   operating characteristics significantly                for approval of additional hours to be
                                                 a natural gas processing plant.                         similar to the theoretical Otto                        used for maintenance checks and
                                                    Natural gas production facility means                combustion cycle.                                      readiness testing, but a petition is not
                                                 all equipment at a single stationary                      Stoichiometric means the theoretical                 required if the owner or operator
                                                 source directly associated with one or                  air-to-fuel ratio required for complete                maintains records confirming that
                                                 more natural gas wells upstream of the                  combustion.                                            Federal, state, or local standards require
                                                 natural gas processing plant. This                        Two stroke means a type of                           maintenance and testing of emergency
                                                 equipment includes, but is not limited                  reciprocating internal combustion                      RICE beyond 100 hours per calendar
                                                 to, equipment used for storage,                         engine which completes the power                       year. Any approval of a petition for
                                                 separation, treating, dehydration,                      cycle in a single crankshaft revolution                additional hours granted by the
                                                 artificial lift, combustion, compression,               by combining the intake and                            Administrator under 40 CFR part 63,
                                                 pumping, metering, monitoring, and                      compression operations into one stroke
                                                                                                                                                                subpart ZZZZ, shall constitute approval
                                                 flowline.                                               (one-half revolution) and the power and
                                                                                                                                                                by the Administrator of the same
                                                    Operating day means a 24-hour                        exhaust operations into a second stroke.
                                                 period beginning at 12:00 midnight                                                                             petition under this paragraph (b)(1)(ii).
                                                                                                         This system requires auxiliary exhaust
                                                 during which any fuel is combusted at                                                                             (iii) Emergency stationary RICE may
                                                                                                         scavenging of the combustion products
                                                 any time in the engine.                                                                                        be operated for up to 50 hours per
                                                                                                         and inherently runs lean (excess of air)
                                                    Pipeline transportation of natural gas                                                                      calendar year in non-emergency
                                                                                                         of stoichiometry.
                                                 means the movement of natural gas                         (b) Applicability. You are subject to                situations. The 50 hours of operation in
                                                 through an interconnected network of                    the requirements under this section if                 non-emergency situations are counted
                                                 compressors and pipeline components,                    you own or operate a new or existing                   as part of the 100 hours per calendar
                                                 including the compressor and pipeline                   natural gas-fired spark ignition engine,               year for maintenance and testing
                                                 network used to transport the natural                   other than an emergency engine, with a                 provided in paragraph (b)(1)(ii) of this
                                                 gas from processing plants over a                       nameplate rating of 1,000 hp or greater                section.
                                                 distance (intrastate or interstate) to and              that is used for pipeline transportation                  (2) If you own or operate a natural
                                                 from storage facilities, to large natural               of natural gas and is located within any               gas-fired two stroke lean burn spark
                                                 gas end-users, and prior to delivery to                 of the States listed in § 52.40(c)(2),                 ignition engine manufactured after July
                                                 a ‘‘local distribution company custody                  including Indian country located within                1, 2007 that is meeting the applicable
                                                 transfer station’’ (as defined in this                  the borders of any such State(s).                      emissions limits in 40 CFR part 60,
                                                 section) of an LDC that provides the                      (1) For purposes of this section, the                subpart JJJJ, table 1, the engine is not an
                                                 natural gas to end-users. Pipeline                      owner or operator of an emergency                      affected unit under this section and you
                                                 transportation of natural gas does not                  stationary RICE must operate the RICE                  do not have to comply with the
                                                 include natural gas production facilities,              according to the requirements in                       requirements of this section.
                                                 natural gas processing plants, or the                   paragraphs (b)(1)(i) through (iii) of this                (3) If you own or operate a natural
                                                 portion of a compressor and pipeline                    section to be treated as an emergency                  gas-fired four stroke lean or rich burn
                                                 network that is upstream of a natural gas               stationary RICE. In order for stationary               spark ignition engine manufactured
                                                 processing plant.                                       RICE to be treated as an emergency RICE                after July 1, 2010, that is meeting the
                                                    Reciprocating internal combustion                    under this subpart, any operation other                applicable emissions limits in 40 CFR
                                                 engine (RICE) means a reciprocating                     than emergency operation, maintenance                  part 60, subpart JJJJ, table 1, the engine
                                                 engine in which power, produced by                      and testing, and operation in non-                     is not an affected unit under this section
                                                 heat and/or pressure that is developed                  emergency situations for up to 50 hours                and you do not have to comply with the
                                                 in the engine combustion chambers by                    per year, as described in paragraphs                   requirements of this section.
                                                 the burning of a mixture of air and fuel,               (b)(1)(i) through (iii), is prohibited. If                (c) Emissions limitations. If you are
                                                 is subsequently converted to mechanical                 you do not operate the RICE according                  the owner or operator of an affected
                                                 work.                                                   to the requirements in paragraphs                      unit, you must meet the following
                                                    Rich burn means any four-stroke                      (b)(1)(i) through (iii), the RICE will not             emissions limitations on a 30-day
                                                 spark ignited reciprocating internal                    be considered an emergency engine                      rolling average basis during the 2026
                                                 combustion engine where the                                                                                    ozone season and in each ozone season
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                                                                                                         under this section and must meet all
                                                 manufacturer’s recommended operating                    requirements for affected units in this                thereafter:
                                                 air/fuel ratio divided by the                           section.                                                  (1) Natural gas-fired four stroke rich
                                                 stoichiometric air/fuel ratio at full load                (i) There is no time limit on the use                burn spark ignition engine: 1.0 grams
                                                 conditions is less than or equal to 1.1.                of emergency stationary RICE in                        per hp-hour (g/hp-hr);
                                                 Internal combustion engines originally                  emergency situations.                                     (2) Natural gas-fired four stroke lean
                                                 manufactured as rich burn engines but                     (ii) The owner or operator may                       burn spark ignition engine: 1.5 g/hp-hr;
                                                 modified with passive emissions control                 operate your emergency stationary RICE                 and


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                                                    (3) Natural gas-fired two stroke lean                reporting requirements. You may only                   Facility-Wide Averaging Plan will be
                                                 burn spark ignition engine: 3.0 g/hp-hr.                include affected units (i.e., engines                  subject to during the ozone season,
                                                    (d) Facility-Wide Averaging Plan. If                 meeting the applicability criteria in                  together with all assumptions included
                                                 you are the owner or operator of a                      paragraph (b) of this section) in a                    in such calculation; and
                                                 facility containing more than one                       Facility-Wide Averaging Plan. Upon                        (iv) Adequate provisions for testing,
                                                 affected unit, you may submit a request                 EPA approval of a proposed Facility-                   monitoring, recordkeeping, and
                                                 via the CEDRI or analogous electronic                   Wide Averaging Plan, you cannot                        reporting for each affected unit.
                                                 submission system provided by the EPA                   withdraw any affected unit listed in                      (2) Upon the Administrator’s approval
                                                 to the Administrator for approval of a                  such plan, and the terms of the plan                   of a proposed Facility-Wide Averaging
                                                 proposed Facility-Wide Averaging Plan                   may not be changed unless approved in                  Plan, the owner or operator of the
                                                 as an alternative means of compliance                   writing by the Administrator.                          affected units covered by the Facility-
                                                 with the applicable emissions limits in                    (1) Each request for approval of a                  Wide Averaging Plan shall comply with
                                                 paragraph (c) of this section. Any such                 proposed Facility-Wide Averaging Plan                  the cap identified in the plan in lieu of
                                                 request shall be submitted to the                       shall include, but not be limited to:                  the emissions limits in paragraph (c) of
                                                 Administrator on or before October 1st                     (i) The address of the facility;                    this section. You will be in compliance
                                                 of the year prior to each emissions                        (ii) A list of all affected units at the            with the cap if the sum of NOX
                                                 averaging year. The Administrator will                  facility that will be covered by the plan,             emissions from all units covered by the
                                                 approve a proposed Facility-Wide                        identified by unit identification number,              Facility-Wide Averaging Plan, in tons
                                                 Averaging Plan submitted under this                     the engine manufacturer’s name, and                    per day on a 30-day rolling average
                                                 paragraph (d) if the Administrator                      model;                                                 basis, is less than or equal to the cap.
                                                 determines that the proposed Facility-                     (iii) For each affected unit, a                        (3) The owner or operator will
                                                 Wide Averaging Plan meets the                           description of any existing NOX                        calculate the cap according to equation
                                                 requirements of this paragraph (d), will                emissions control technology and the                   1 to this paragraph (d)(3). You will
                                                 provide total emissions reductions                      date of installation, and a description of             monitor and record daily hours of
                                                 equivalent to or greater than those                     any NOX emissions control technology                   engine operation for use in calculating
                                                 achieved by the applicable emissions                    to be installed and the projected date of              the cap on a 30-day rolling average
                                                 limits in paragraph (c), and identifies                 installation;                                          basis. You will base the hours of
                                                 satisfactory means for determining                         (iv) Identification of the emissions                operation on hour readings from a non-
                                                 initial and continuous compliance,                      cap, calculated in accordance with                     resettable hour meter or an equivalent
                                                 including appropriate testing,                          paragraph (d)(3) of this section, that all             monitoring device.
                                                 monitoring, recordkeeping, and                          affected units covered by the proposed                    Equation 1 to Paragraph (d)(3)




                                                 Where:                                                  tons per day on a 30-day rolling average               following requirements for using CEMS
                                                 Hi = the average daily operating hours based            basis, exceeds the cap. Each day of                    to monitor NOX emissions:
                                                      on the highest consecutive 30-day period           noncompliance by each affected unit                       (i) You shall install, calibrate,
                                                      during the ozone season of the two most            covered by the Facility-Wide Averaging                 maintain, and operate a continuous
                                                      recent years preceding the emissions               Plan shall be a violation of the cap until             emissions monitoring system (CEMS)
                                                      averaging year (hours).
                                                                                                         corrective action is taken to achieve                  for measuring NOX emissions and either
                                                 i = each affected unit included in the Cap.
                                                 N = number of affected units.                           compliance.                                            oxygen (O2) or carbon dioxide (CO2).
                                                 DC = the engine manufacturer’s design                      (e) Testing and monitoring                             (ii) The CEMS shall be operated and
                                                      maximum capacity in horsepower (hp) at             requirements. (1) If you are the owner or              data recorded during all periods of
                                                      the installation site conditions.                  operator of an affected unit subject to a              operation during the ozone season of the
                                                 Rli = the emissions limit for each affected                                                                    affected unit except for CEMS
                                                      unit from paragraph (c) of this section
                                                                                                         NOX emissions limit under paragraph
                                                                                                                                                                breakdowns and repairs. Data shall be
                                                      (grams/hp-hr).                                     (c) of this section, you must keep a
                                                                                                                                                                recorded during calibration checks and
                                                                                                         maintenance plan and records of
                                                    (i) Any affected unit for which less                                                                        zero and span adjustments.
                                                                                                         conducted maintenance and must, to
                                                 than two years of operating data are                                                                              (iii) The 1-hour average NOX
                                                                                                         the extent practicable, maintain and
                                                 available shall not be included in the                                                                         emissions rates measured by the CEMS
                                                                                                         operate the engine in a manner
                                                 Facility-Wide Averaging Plan unless the                                                                        shall be used to calculate the average
                                                                                                         consistent with good air pollution                     emissions rates to demonstrate
                                                 owner or operator extrapolates the
                                                                                                         control practice for minimizing                        compliance with the applicable
                                                 available operating data for the affected
                                                                                                         emissions.                                             emissions limits in this section.
                                                 unit to two years of operating data, for
                                                 use in calculating the emissions cap in                    (2) If you are the owner or operator of                (iv) The procedures under 40 CFR
                                                                                                         an affected unit and are operating a NOX               60.13 shall be followed for installation,
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                                                 accordance with paragraph (d)(3) of this
                                                 section.                                                continuous emissions monitoring                        evaluation, and operation of the
                                                    (ii) [Reserved]                                      system (CEMS) that monitors NOX                        continuous monitoring systems.
                                                    (4) The owner or operator of an                      emissions from the affected unit, you                     (v) When NOX emissions data are not
                                                 affected units covered by an EPA-                       may use the CEMS data in lieu of the                   obtained because of CEMS breakdowns,
                                                 approved Facility-Wide Averaging Plan                   annual performance tests and                           repairs, calibration checks, and zero and
                                                 will be in violation of the cap if the sum              parametric monitoring required under                   span adjustments, emissions data will
                                                 of NOX emissions from all such units, in                this section. You must meet the                        be obtained by using standby
                                                                                                                                                                                                            ER05JN23.006</GPH>




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                                                 monitoring systems, Method 7 of 40                      accordance with the requirements of 40                    (v) You must conduct performance
                                                 CFR part 60, appendix A–4, Method 7A                    CFR 60.4244(d).                                        evaluations, system accuracy audits, or
                                                 of 40 CFR part 60, appendix A–4, or                        (4) If you are the owner or operator of             other audit procedures specified in your
                                                 other approved reference methods to                     an affected unit that has a non-selective              site-specific monitoring plan at least
                                                 provide emissions data for a minimum                    catalytic reduction (NSCR) control                     annually.
                                                 of 75 percent of the operating hours in                 device to reduce emissions, you must:                     (vi) You must conduct a performance
                                                 each affected unit operating day, in at                    (i) Monitor the inlet temperature to                evaluation of each parametric
                                                 least 22 out of 30 successive operating                 the catalyst daily and conduct                         monitoring device in accordance with
                                                 days.                                                   maintenance if the temperature is not                  your site-specific monitoring plan.
                                                    (3)(i) If you are the owner or operator              within the observed inlet temperature
                                                 of a new affected unit, you must                        range from the most recent performance                    (6) If you are the owner or operator of
                                                 conduct an initial performance test                     test or the temperatures specified by the              an affected unit that is only operated
                                                 within six months of engine startup and                 manufacturer if no performance test was                during peak periods outside of the
                                                 conduct subsequent performance tests                    required by this section; and                          ozone season and your hours of
                                                 every twelve months thereafter to                          (ii) Measure the pressure drop across               operation during the ozone season are 0,
                                                 demonstrate compliance. If pollution                    the catalyst monthly and conduct                       you are not subject to the testing and
                                                 control equipment is installed to                       maintenance if the pressure drop across                monitoring requirements of this
                                                 comply with a NOX emissions limit in                    the catalyst changes by more than 2                    paragraph (e)(6) so long as you record
                                                 paragraph (c) of this section, however,                 inches of water at 100 percent load plus               and report your hours of operation
                                                 the initial performance test shall be                   or minus 10 percent from the pressure                  during the ozone season in accordance
                                                 conducted within 90 days of such                        drop across the catalyst measured                      with paragraphs (f) and (g) of this
                                                 installation.                                           during the most recent performance test.               section.
                                                    (ii) If you are the owner or operator                   (5) If you are the owner of operator of                (f) Recordkeeping requirements. If you
                                                 of an existing affected unit, you must                  an affected unit not using an NSCR                     are the owner or operator of an affected
                                                 conduct an initial performance test                     control device to reduce emissions, you                unit, you must keep records of:
                                                 within six months of becoming subject                   are required to conduct continuous
                                                 to an emissions limit under paragraph                                                                             (1) Performance tests conducted
                                                                                                         parametric monitoring to assure
                                                 (c) of this section and conduct                                                                                pursuant to paragraph (e)(2) of this
                                                                                                         compliance with the applicable
                                                 subsequent performance tests every                                                                             section, including the date, engine
                                                                                                         emissions limits according to the
                                                 twelve months thereafter to demonstrate                                                                        settings on the date of the test, and
                                                                                                         requirements in paragraphs (e)(5)(i)
                                                 compliance. If pollution control                                                                               documentation of the methods and
                                                                                                         through (vi) of this section.
                                                 equipment is installed to comply with a                    (i) You must prepare a site-specific                results of the testing.
                                                 NOX emissions limit in paragraph (c) of                 monitoring plan that includes all of the                  (2) Catalyst monitoring required by
                                                 this section, however, the initial                      following monitoring system design,                    paragraph (e)(3) of this section, if
                                                 performance test shall be conducted                     data collection, and quality assurance                 applicable, and any actions taken to
                                                 within 90 days of such installation.                    and quality control elements:                          address monitored values outside the
                                                    (iii) If you are the owner or operator                  (A) The performance criteria and                    temperature or pressure drop
                                                 of a new or existing affected unit that is              design specifications for the monitoring               parameters, including the date and a
                                                 only operated during peak demand                        system equipment, including the sample                 description of actions taken.
                                                 periods outside of the ozone season and                 interface, detector signal analyzer, and                  (3) Parameters monitored pursuant to
                                                 the engine’s hours of operation during                  data acquisition and calculations.                     the facility’s site-specific parametric
                                                 the ozone season are 50 hours or less,                     (B) Sampling interface (e.g.,                       monitoring plan.
                                                 the affected unit is not subject to the                 thermocouple) location such that the
                                                 testing and monitoring requirements of                  monitoring system will provide                            (4) Hours of operation on a daily
                                                 this paragraph (e)(3)(iii) as long as you               representative measurements.                           basis.
                                                 record and report your hours of                            (C) Equipment performance                              (5) Tuning, adjustments, or other
                                                 operation during the ozone season in                    evaluations, system accuracy audits, or                combustion process adjustments and the
                                                 accordance with paragraphs (f) and (g)                  other audit procedures.                                date of the adjustment(s).
                                                 of this section.                                           (D) Ongoing operation and
                                                    (iv) If you are the owner or operator                                                                          (6) For any Facility-Wide Averaging
                                                                                                         maintenance procedures in accordance                   Plan approved by the Administrator
                                                 of an affected unit, you must conduct all               with the requirements of paragraph
                                                 performance tests consistent with the                                                                          under paragraph (d) of this section,
                                                                                                         (e)(1) of this section.                                daily calculations of total NOX
                                                 requirements of 40 CFR 60.4244 in                          (E) Ongoing recordkeeping and
                                                 accordance with the applicable                                                                                 emissions to demonstrate compliance
                                                                                                         reporting procedures in accordance with
                                                 reference test methods identified in                                                                           with the cap during the ozone season.
                                                                                                         the requirements of paragraphs (f) and
                                                 table 2 to subpart JJJJ of 40 CFR part 60,                                                                     You must use the equation in this
                                                                                                         (g) of this section.
                                                 any alternative test method approved by                    (ii) You must continuously monitor                  paragraph (f)(6) to calculate total NOX
                                                 the EPA as of June 5, 2023, under 40                    the selected operating parameters                      emissions from all affected units
                                                 CFR 59.104(f), 60.8(b)(3), 61.13(h)(1)(ii),             according to the procedures in your site-              covered by the Facility-Wide Averaging
                                                 63.7(e)(2)(ii), or 65.158(a)(2) and                     specific monitoring plan.                              Plan, in tons per day on a 30-day rolling
                                                 available at the EPA’s website (https://                   (iii) You must collect parametric                   average basis, for purposes of
                                                 www.epa.gov/emc/broadly-applicable-                                                                            determining compliance with the cap
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                                                                                                         monitoring data at least once every 15
                                                 approved-alternative-test-methods), or                  minutes.                                               during the ozone season. A new 30-day
                                                 other methods and procedures approved                      (iv) When measuring temperature                     rolling average emissions rate in tpd is
                                                 by the EPA through notice-and-                          range, the temperature sensor must have                calculated for each operating day during
                                                 comment rulemaking. To determine                        a minimum tolerance of 2.8 degrees                     the ozone season, using the 30-day
                                                 compliance with the NOX emissions                       Celsius (5 degrees Fahrenheit) or 1                    rolling average daily operating hours for
                                                 limit in paragraph (c) of this section, the             percent of the measurement range,                      the preceding 30 operating days.
                                                 emissions rate shall be calculated in                   whichever is larger.                                      Equation 2 to Paragraph (f)(6)


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                                                 Where:                                                  with good air pollution control practices              requirements of this section even if that
                                                 Hai = the consecutive 30-day rolling average            for minimizing emissions;                              unit later becomes subject to a physical
                                                      daily operating hours for the preceding              (vii) The date and results of the                    or operational limitation that lowers its
                                                      30 operating days during ozone season              performance test conducted pursuant to                 potential to emit below 100 tons per
                                                      (hours).                                           paragraph (e) of this section;                         year of NOX.
                                                 i = each affected unit.                                   (viii) Any records required by                          (c) Emissions limitations. If you are
                                                 N = number of affected units.                           paragraph (f) of this section, including
                                                 DC = the engine manufacturer’s maximum
                                                                                                                                                                the owner or operator of an affected
                                                      design capacity in horsepower (hp) at the
                                                                                                         records of parametric monitoring data,                 unit, you must meet the following
                                                      installation site conditions.                      to demonstrate compliance with the                     emissions limitations on a 30-day
                                                 Rai = the actual emissions rate for each                applicable emissions limit under                       rolling average basis during the 2026
                                                      affected unit based on the most recent             paragraph (c) of this section or a                     ozone season and in each ozone season
                                                      performance test results, (grams/hp-hr).           Facility-Wide Averaging Plan under                     thereafter:
                                                   (g) Reporting requirements. (1) If you                paragraph (d) of this section, if                         (1) Long wet kilns: 4.0 lb/ton of
                                                 are the owner or operator of an affected                applicable;                                            clinker;
                                                 unit, you must submit the results of the                  (ix) If applicable, a statement                         (2) Long dry kilns: 3.0 lb/ton of
                                                 performance test or performance                         documenting any change in the                          clinker;
                                                 evaluation of the CEMS following the                    operating characteristics of the subject                  (3) Preheater kilns: 3.8 lb/ton of
                                                 procedures specified in § 52.40(g)                      engine; and                                            clinker;
                                                                                                           (x) A statement certifying that the                     (4) Precalciner kilns: 2.3 lb/ton of
                                                 within 60 days after completing each
                                                                                                         information included in the annual                     clinker; and
                                                 performance test required by this
                                                                                                         report is complete and accurate.                          (5) Preheater/Precalciner kilns: 2.8 lb/
                                                 section.
                                                   (2) If you are the owner or operator of                                                                      ton of clinker.
                                                                                                         § 52.42 What are the requirements of the
                                                 an affected unit, you are required to                   Federal Implementation Plans (FIPs)
                                                                                                                                                                   (d) Testing and monitoring
                                                 submit excess emissions reports for any                 relating to ozone season emissions of                  requirements. (1) If you are the owner or
                                                 excess emissions that occurred during                   nitrogen oxides from the Cement and                    operator of an affected unit you must
                                                 the reporting period. Excess emissions                  Concrete Product Manufacturing Industry?               conduct performance tests, on an annual
                                                 are defined as any calculated 30-day                       (a) Definitions. All terms not defined              basis, in accordance with the applicable
                                                 rolling average NOX emissions rate that                 in this paragraph (a) shall have the                   reference test methods of 40 CFR part
                                                 exceeds the applicable emissions limit                  meaning given to them in the Act and                   60, appendix A–4, any alternative test
                                                 in paragraph (c) of this section. Excess                in subpart A of 40 CFR part 60.                        method approved by the EPA as of June
                                                 emissions reports must be submitted in                     Affected unit means a cement kiln                   5, 2023, under 40 CFR 59.104(f),
                                                 PDF format to the EPA via CEDRI or                      meeting the applicability criteria of this             60.8(b)(3), 61.13(h)(1)(ii), 63.7(e)(2)(ii),
                                                 analogous electronic reporting approach                 section.                                               or 65.158(a)(2) and available at the
                                                 provided by the EPA to report data                         Cement kiln means an installation,                  EPA’s website (https://www.epa.gov/
                                                 required by this section following the                  including any associated pre-heater or                 emc/broadly-applicable-approved-
                                                 procedures specified in § 52.40(g).                     pre-calciner devices, that produces                    alternative-test-methods), or other
                                                   (3) If you are the owner or operator of               clinker by heating limestone and other                 methods and procedures approved by
                                                 an affected unit, you must submit an                    materials to produce Portland cement.                  the EPA through notice-and-comment
                                                 annual report in PDF format to the EPA                     Cement plant means any facility                     rulemaking. The annual performance
                                                 by January 30th of each year via CEDRI                  manufacturing cement by either the wet                 test does not have to be performed
                                                 or analogous electronic reporting                       or dry process.                                        during the ozone season. You must
                                                 approach provided by the EPA to report                     Clinker means the product of a                      calculate and record the 30-operating
                                                 data required by this section. Annual                   cement kiln from which finished                        day rolling average emissions rate of
                                                 reports shall be submitted following the                cement is manufactured by milling and                  NOX as the total of all hourly emissions
                                                 procedures in paragraph (g) of this                     grinding.                                              data for a cement kiln in the preceding
                                                 section. The report shall contain the                      Operating day means a 24-hour                       30 days, divided by the total tons of
                                                 following information:                                  period beginning at 12:00 midnight                     clinker produced in that kiln during the
                                                   (i) The name and address of the owner                 during which the kiln produces clinker                 same 30-operating day period, using
                                                 and operator;                                           at any time.                                           equation 1 to this paragraph (d)(1):
                                                   (ii) The address of the subject engine;                  (b) Applicability. You are subject to                  Equation 1 to Paragraph (d)(1)
                                                   (iii) Longitude and latitude                          the requirements of this section if you
                                                 coordinates of the subject engine;                      own or operate a new or existing cement
                                                   (iv) Identification of the subject                    kiln that emits or has the potential to
                                                 engine;                                                 emit 100 tons per year or more of NOX
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                                                   (v) Statement of compliance with the                  on or after August 4, 2023, and is
                                                                                                                                                                Where:
                                                 applicable emissions limit under                        located within any of the States listed in
                                                                                                         § 52.40(c)(2), including Indian country                E30D = 30 kiln operating day average
                                                 paragraph (c) of this section or a
                                                                                                                                                                                                                ER05JN23.002</GPH>




                                                                                                                                                                    emissions rate of NOX, in lbs/ton of
                                                 Facility-Wide Averaging Plan under                      located within the borders of any such                     clinker.
                                                 paragraph (d) of this section;                          State(s). Any existing cement kiln with                Ci = Concentration of NOX for hour i, in ppm.
                                                   (vi) Statement of compliance                          a potential to emit of 100 tons per year               Qi = Volumetric flow rate of effluent gas for
                                                 regarding the conduct of maintenance                    or more of NOX on August 4, 2023, will                     hour i, where Ci and Qi are on the same
                                                 and operations in a manner consistent                   continue to be subject to the
                                                                                                                                                                                                                ER05JN23.007</GPH>




                                                                                                                                                                    basis (either wet or dry), in scf/hr.



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                                                 P = 30 days of clinker production during the            and kiln stack exhaust temperature                     affected unit, you shall maintain records
                                                     same Time period as the NOX emissions               during the initial performance test and                of the following information for each
                                                     measured, in tons.                                  subsequent annual performance tests to                 day the affected unit operates:
                                                 k = Conversion factor, 1.194 × 10¥7 for NOX,            demonstrate continuous compliance                         (1) Calendar date;
                                                     in lb/scf/ppm.                                                                                                (2) The average hourly NOX emissions
                                                 n = Number of kiln operating hours over 30
                                                                                                         with your NOX emissions limits.
                                                     kiln operating days.
                                                                                                            (ii) You must determine hourly                      rates measured or predicted;
                                                                                                         clinker production by one of two                          (3) The 30-day average NOX emissions
                                                    (2) If you are the owner or operator of              methods:                                               rates calculated at the end of each
                                                 an affected unit and are operating a NOX                   (A) Install, calibrate, maintain, and               affected unit operating day from the
                                                 continuous emissions monitoring                         operate a permanent weigh scale system                 measured or predicted hourly NOX
                                                 system (CEMS) that monitors NOX                         to record weight rates of the amount of                emissions rates for the preceding 30
                                                 emissions from the affected unit, you                   clinker produced in tons of mass per                   operating days;
                                                 may use the CEMS data in lieu of the                    hour. The system of measuring hourly                      (4) Identification of the affected unit
                                                 annual performance tests and                            clinker production must be maintained                  operating days when the calculated 30-
                                                 parametric monitoring required under                    within ±5 percent accuracy; or                         day average NOX emissions rates are in
                                                 this section. You must meet the                            (B) Install, calibrate, maintain, and               excess of the applicable site-specific
                                                 following requirements for using CEMS                   operate a permanent weigh scale system                 NOX emissions limit with the reasons
                                                 to monitor NOX emissions:                               to measure and record weight rates of                  for such excess emissions as well as a
                                                    (i) You shall install, calibrate,                    the amount of feed to the kiln in tons                 description of corrective actions taken;
                                                 maintain, and operate a continuous                      of mass per hour. The system of                           (5) Identification of the affected unit
                                                 emissions monitoring system (CEMS)                      measuring feed must be maintained                      operating days for which pollutant data
                                                 for measuring NOX emissions and either                  within ±5 percent accuracy. Calculate                  have not been obtained, including
                                                 oxygen (O2) or carbon dioxide (CO2).                    your hourly clinker production rate                    reasons for not obtaining sufficient data
                                                    (ii) The CEMS shall be operated and                  using a kiln specific feed-to-clinker ratio            and a description of corrective actions
                                                 data recorded during all periods of                     based on reconciled clinker production                 taken;
                                                 operation during the ozone season of the                rates determined for accounting                           (6) Identification of the times when
                                                 affected unit except for CEMS                           purposes and recorded feed rates. This                 emissions data have been excluded from
                                                 breakdowns and repairs. Data shall be                   ratio should be updated monthly. Note                  the calculation of average emissions
                                                 recorded during calibration checks and                  that if this ratio changes at clinker                  rates and the reasons for excluding data;
                                                 zero and span adjustments.                              reconciliation, you must use the new                      (7) If a CEMS is used to verify
                                                    (iii) The 1-hour average NOX                         ratio going forward, but you do not have               compliance:
                                                 emissions rates measured by the CEMS                    to retroactively change clinker                           (i) Identification of the times when
                                                 shall be expressed in terms of lbs/ton of               production rates previously estimated.                 the pollutant concentration exceeded
                                                 clinker and shall be used to calculate                     (C) For each kiln operating hour for                full span of the CEMS;
                                                 the average emissions rates to                          which you do not have data on clinker                     (ii) Description of any modifications
                                                 demonstrate compliance with the                         production or the amount of feed to the                to the CEMS that could affect the ability
                                                 applicable emissions limits in this                     kiln, use the value from the most recent               of the CEMS to comply with
                                                 section.                                                previous hour for which valid data are                 Performance Specification 2 or 3 in
                                                    (iv) The procedures under 40 CFR                     available.                                             appendix B to 40 CFR part 60; and
                                                 60.13 shall be followed for installation,                  (D) If you measure clinker production                  (iii) Results of daily CEMS drift tests
                                                 evaluation, and operation of the                        directly, record the daily clinker                     and quarterly accuracy assessments as
                                                 continuous monitoring systems.                          production rates; if you measure the                   required under Procedure 1 of 40 CFR
                                                    (v) When NOX emissions data are not                  kiln feed rates and calculate clinker                  part 60, appendix F;
                                                 obtained because of CEMS breakdowns,                    production, record the daily kiln feed                    (8) Operating parameters required
                                                 repairs, calibration checks and zero and                and clinker production rates.                          under paragraph (d) of this section to
                                                 span adjustments, emissions data will                      (iii) You must use the kiln stack                   demonstrate compliance during the
                                                 be obtained by using standby                            exhaust gas flow rate, hourly kiln                     ozone season;
                                                 monitoring systems, Method 7 of 40                      production rate or kiln feed rate, and                    (9) Each fuel type, usage, and heat
                                                 CFR part 60, appendix A–4, Method 7A                    kiln stack exhaust temperature during                  content; and
                                                 of 40 CFR part 60, appendix A–4, or                     the initial performance test and                          (10) Clinker production rates.
                                                 other approved reference methods to                     subsequent annual performance tests as                    (f) Reporting requirements. (1) If you
                                                 provide emissions data for a minimum                    indicators of NOX operating parameters                 are the owner or operator of an affected
                                                 of 75 percent of the operating hours in                 to demonstrate continuous compliance                   unit, you shall submit the results of the
                                                 each affected unit operating day, in at                 and establish site-specific indicator                  performance test or performance
                                                 least 22 out of 30 successive operating                 ranges for these operating parameters.                 evaluation of the CEMS following the
                                                 days.                                                      (iv) You must repeat the performance                procedures specified in § 52.40(g)
                                                    (3) If you are the owner or operator of              test annually to reassess and adjust the               within 60 days after the date of
                                                 an affected unit not operating NOX                      site-specific operating parameter                      completing each performance test
                                                 CEMS, you must conduct an initial                       indicator ranges in accordance with the                required by this section.
                                                 performance test before the 2026 ozone                  results of the performance test.                          (2) If you are the owner or operator of
                                                 season to establish appropriate indicator                  (v) You must report and include your                an affected unit, you are required to
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                                                 ranges for operating parameters and                     ongoing site-specific operating                        submit excess emissions reports for any
                                                 continuously monitor those operator                     parameter data in the annual reports                   excess emissions that occurred during
                                                 parameters consistent with the                          required under paragraph (e) of this                   the reporting period. Excess emissions
                                                 requirements of paragraphs (d)(3)(i)                    section and semi-annual title V                        are defined as any calculated 30-day
                                                 through (v) of this section.                            monitoring reports to the relevant                     rolling average NOX emissions rate that
                                                    (i) You must monitor and record kiln                 permitting authority.                                  exceeds the applicable emissions limit
                                                 stack exhaust gas flow rate, hourly                        (e) Recordkeeping requirements. If                  established under paragraph (c) of this
                                                 clinker production rate or kiln feed rate,              you are the owner or operator of an                    section. Excess emissions reports must


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                                                 be submitted in PDF format to the EPA                      Affected unit means any reheat                      affected unit by August 5, 2024. The
                                                 via CEDRI or analogous electronic                       furnace meeting the applicability                      work plan must be submitted via CEDRI
                                                 reporting approach provided by the EPA                  criteria of this section.                              or analogous electronic reporting
                                                 to report data required by this section                    Day means a calendar day unless                     approach provided by the EPA to report
                                                 following the procedures specified in                   expressly stated to be a business day. In              data required by this section following
                                                 § 52.40(g).                                             computing any period of time for                       the procedures specified in § 52.40(g).
                                                    (3) If you are the owner or operator of              recordkeeping and reporting purposes                   Each work plan must include a
                                                 an affected unit, you shall submit an                   where the last day would fall on a                     description of the affected unit and
                                                 annual report in PDF format to the EPA                  Saturday, Sunday, or Federal holiday,                  rated production and energy capacities,
                                                 by January 30th of each year via CEDRI                  the period shall run until the close of                identification of the low-NOX burner or
                                                 or analogous electronic reporting                       business of the next business day.                     alternative low NOX technology
                                                 approach provided by the EPA to report                     Low NOX burner means a burner                       selected, and the phased construction
                                                 data required by this section. Annual                   designed to reduce flame turbulence by                 timeframe by which you will design,
                                                 reports shall be submitted following the                the mixing of fuel and air and by                      install, and consistently operate the
                                                 procedures in § 52.40(g). The report                    establishing fuel-rich zones for initial               device. Each work plan shall also
                                                 shall include records all records                       combustion, thereby reducing the                       include, where applicable, performance
                                                 required by paragraph (d) of this                       formation of NOX.                                      test results obtained no more than five
                                                                                                            Low-NOX technology means any post-                  years before August 4, 2023, to be used
                                                 section, including record of CEMS data
                                                                                                         combustion NOX control technology                      as baseline emissions testing data
                                                 or operating parameters required by
                                                                                                         capable of reducing NOX emissions by                   providing the basis for required
                                                 paragraph (d) to demonstrate
                                                                                                         40% from baseline emission levels as                   emissions reductions. If no such data
                                                 continuous compliance the applicable
                                                                                                         measured during pre-installation                       exist, then the owner or operator must
                                                 emissions limits under paragraph (c) of
                                                                                                         testing.                                               perform pre-installation testing as
                                                 this section.                                              Operating day means a 24-hour                       described in paragraph (e)(3) of this
                                                    (g) Initial notification requirements                period beginning at 12:00 midnight                     section.
                                                 for existing affected units. (1) The                    during which any fuel is combusted at                     (2) The owner or operator of an
                                                 requirements of this paragraph (g) apply                any time in the reheat furnace.                        affected unit shall design each low-NOX
                                                 to the owner or operator of an existing                    Reheat furnace means a furnace used                 burner or alternative low-NOX
                                                 affected unit.                                          to heat steel product—including metal                  technology identified in the work plan
                                                    (2) The owner or operator of an                      ingots, billets, slabs, beams, blooms and              to achieve NOX emission reductions by
                                                 existing affected unit that emits or has                other similar products—for the purpose                 a minimum of 40% from baseline
                                                 a potential to emit 100 tons per year or                of deformation and rolling.                            emission levels measured during
                                                 greater as of August 4, 2023, shall notify                 (b) Applicability. The requirements of              performance testing that meets the
                                                 the Administrator via the CEDRI or                      this section apply to each new or                      criteria set forth in paragraph (e)(1) of
                                                 analogous electronic submission system                  existing reheat furnace at an iron and                 this section, or during pre-installation
                                                 provided by the EPA that the unit is                    steel mill or ferroalloy manufacturing                 testing as described in paragraph (e)(3)
                                                 subject to this section. The notification,              facility that directly emits or has the                of this section. Each low-NOX burner or
                                                 which shall be submitted not later than                 potential to emit 100 tons per year or                 alternative low-NOX technology shall be
                                                 December 4, 2023, shall be submitted in                 more of NOX on or after August 4, 2023,                continuously operated during all
                                                 PDF format to the EPA via CEDRI,                        does not have low-NOX burners                          production periods according to
                                                 which can be accessed through the                       installed, and is located within any of                paragraph (c) of this section.
                                                 EPA’s CDX (https://cdx.epa.gov/). The                   the States listed in § 52.40(c)(2),                       (3) The owner or operator of an
                                                 notification shall provide the following                including Indian country located within                affected unit shall establish an
                                                 information:                                            the borders of any such State(s). Any                  emissions limit in the work plan that
                                                    (i) The name and address of the owner                existing reheat furnace with a potential               the affected unit must comply with in
                                                 or operator;                                            to emit of 100 tons per year or more of                accordance with paragraph (c) of this
                                                    (ii) The address (i.e., physical                     NOX on August 4, 2023, will continue                   section.
                                                 location) of the affected unit;                         to be subject to the requirements of this                 (4) The EPA’s action on work plans:
                                                    (iii) An identification of the relevant              section even if that unit later becomes                   (i) The Administrator will provide via
                                                 standard, or other requirement, that is                 subject to a physical or operational                   the CEDRI or analogous electronic
                                                 the basis for the notification and the                  limitation that lowers its potential to                submission system provided by the EPA
                                                 unit’s compliance date; and                             emit below 100 tons per year of NOX.                   notification to the owner or operator of
                                                                                                            (c) Emissions control requirements. If              an affected unit if the submitted work
                                                    (iv) A brief description of the nature,
                                                                                                         you are the owner or operator of an                    plan is complete, that is, whether the
                                                 size, design, and method of operation of
                                                                                                         affected unit without low-NOX burners                  request contains sufficient information
                                                 the facility and an identification of the
                                                                                                         already installed, you must install and                to make a determination, within 60
                                                 types of emissions points (units) within
                                                                                                         operate low-NOX burners or equivalent                  calendar days after receipt of the
                                                 the facility subject to the relevant
                                                                                                         alternative low-NOX technology                         original work plan and within 60
                                                 standard.
                                                                                                         designed to achieve at least a 40%                     calendar days after receipt of any
                                                 § 52.43 What are the requirements of the                reduction from baseline NOX emissions                  supplementary information.
                                                 Federal Implementation Plans (FIPs)                     in accordance with the work plan                          (ii) The Administrator will provide
                                                                                                                                                                notification via the CEDRI or analogous
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                                                 relating to ozone season emissions of                   established pursuant to paragraph (d) of
                                                 nitrogen oxides from the Iron and Steel                 this section. You must meet the                        electronic submission system provided
                                                 Mills and Ferroalloy Manufacturing                      emissions limit established under                      by the EPA, which shall be publicly
                                                 Industry?                                               paragraph (d) on a 30-day rolling                      available, to the owner or operator of a
                                                   (a) Definitions. All terms not defined                average basis.                                         decision to approve or intention to
                                                 in this paragraph (a) shall have the                       (d) Work plan requirements. (1) The                 disapprove the work plan within 60
                                                 meaning given to them in the Act and                    owner or operator of each affected unit                calendar days after providing written
                                                 in subpart A of 40 CFR part 60.                         must submit a work plan for each                       notification pursuant to paragraph


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                                                 (d)(4)(i) of this section that the                      emissions from the affected unit, you                     (iii) You must repeat the performance
                                                 submitted work plan is complete.                        may use the CEMS data in lieu of the                   test annually to reassess and adjust the
                                                    (iii) Before disapproving a work plan,               annual performance tests and                           site-specific operating parameter
                                                 the Administrator will notify the owner                 parametric monitoring required under                   indicator ranges in accordance with the
                                                 or operator via the CEDRI or analogous                  this section. You must meet the                        results of the performance test.
                                                 electronic submission system provided                   following requirements for using CEMS                     (iv) You must report and include your
                                                 by the EPA of the Administrator’s                       to monitor NOX emissions:                              ongoing site-specific operating
                                                 intention to issue the disapproval,                        (i) You shall install, calibrate,                   parameter data in the annual reports
                                                 together with:                                          maintain, and operate a continuous                     required under paragraph (f) of this
                                                    (A) Notice of the information and                    emissions monitoring system (CEMS)                     section and semi-annual title V
                                                 findings on which the intended                          for measuring NOX emissions and either                 monitoring reports to the relevant
                                                 disapproval is based; and                               oxygen (O2) or carbon dioxide (CO2).                   permitting authority.
                                                    (B) Notice of opportunity for the                       (ii) The CEMS shall be operated and                    (f) Recordkeeping requirements. If you
                                                 owner or operator to present in writing,                data recorded during all periods of                    are the owner or operator of an affected
                                                 within 15 calendar days after he/she is                 operation during the ozone season of the               unit, you shall maintain records of the
                                                 notified of the intended disapproval,                   affected unit except for CEMS                          following information for each day the
                                                 additional information or arguments to                  breakdowns and repairs. Data shall be                  affected unit operates:
                                                 the Administrator before further action                 recorded during calibration checks and                    (1) Calendar date;
                                                 on the work plan.                                       zero and span adjustments.                                (2) The average hourly NOX emissions
                                                    (iv) The Administrator’s final decision                                                                     rates measured or predicted;
                                                 to disapprove a work plan will be via                      (iii) The 1-hour average NOX
                                                                                                         emissions rates measured by the CEMS                      (3) The 30-day average NOX emissions
                                                 the CEDRI or analogous electronic                                                                              rates calculated at the end of each
                                                 submission system provided by the EPA                   shall be expressed in form of the
                                                                                                         emissions limit established in the work                affected unit operating day from the
                                                 and publicly available, and will set forth                                                                     measured or predicted hourly NOX
                                                 the specific grounds on which the                       plan and shall be used to calculate the
                                                                                                         average emissions rates to demonstrate                 emissions rates for the preceding 30
                                                 disapproval is based. The final decision                                                                       operating days;
                                                 will be made within 60 calendar days                    compliance with the applicable
                                                                                                         emissions limits established in the work                  (4) Identification of the affected unit
                                                 after presentation of additional                                                                               operating days when the calculated 30-
                                                 information or argument (if the                         plan.
                                                                                                                                                                day average NOX emissions rates are in
                                                 submitted work plan is complete), or                       (iv) The procedures under 40 CFR
                                                                                                                                                                excess of the applicable site-specific
                                                 within 60 calendar days after the                       60.13 shall be followed for installation,
                                                                                                                                                                NOX emissions limit with the reasons
                                                 deadline for the submission of                          evaluation, and operation of the
                                                                                                                                                                for such excess emissions as well as a
                                                 additional information or argument                      continuous monitoring systems.
                                                                                                                                                                description of corrective actions taken;
                                                 under paragraph (d)(5)(iii)(B) of this                     (v) When NOX emissions data are not
                                                                                                                                                                   (5) Identification of the affected unit
                                                 section, if no such submission is made.                 obtained because of CEMS breakdowns,
                                                                                                                                                                operating days for which pollutant data
                                                    (v) If the Administrator disapproves                 repairs, calibration checks and zero and
                                                                                                                                                                have not been obtained, including
                                                 the submitted work plan for failure to                  span adjustments, emissions data will
                                                                                                                                                                reasons for not obtaining sufficient data
                                                 satisfy the requirements of paragraphs                  be obtained by using standby
                                                                                                                                                                and a description of corrective actions
                                                 (c) and (d)(1) through (3) of this section,             monitoring systems, Method 7 of 40
                                                                                                                                                                taken;
                                                 or if the owner or operator of an affected              CFR part 60, appendix A–4, Method 7A                      (6) Identification of the times when
                                                 unit fails to submit a work plan by                     of 40 CFR part 60, appendix A–4, or                    emissions data have been excluded from
                                                 August 5, 2024, the owner or operator                   other approved reference methods to                    the calculation of average emissions
                                                 will be in violation of this section. Each              provide emissions data for a minimum                   rates and the reasons for excluding data;
                                                 day that the affected unit operates                     of 75 percent of the operating hours in                   (7) If a CEMS is used to verify
                                                 following such disapproval or failure to                each affected unit operating day, in at                compliance:
                                                 submit shall constitute a violation.                    least 22 out of 30 successive operating                   (i) Identification of the times when
                                                    (e) Testing and monitoring                           days.                                                  the pollutant concentration exceeded
                                                 requirements. (1) If you are the owner or                  (3) If you are the owner or operator of             full span of the CEMS;
                                                 operator of an affected unit you must                   an affected unit not operating NOX                        (ii) Description of any modifications
                                                 conduct performance tests, on an annual                 CEMS, you must conduct an initial                      to the CEMS that could affect the ability
                                                 basis, in accordance with the applicable                performance test before the 2026 ozone                 of the CEMS to comply with
                                                 reference test methods of 40 CFR part                   season to establish appropriate indicator              Performance Specification 2 or 3 in
                                                 60, appendix A–4, any alternative test                  ranges for operating parameters and                    appendix B to 40 CFR part 60; and
                                                 method approved by the EPA as of June                   continuously monitor those operator                       (iii) Results of daily CEMS drift tests
                                                 5, 2023, under 40 CFR 59.104(f),                        parameters consistent with the                         and quarterly accuracy assessments as
                                                 60.8(b)(3), 61.13(h)(1)(ii), 63.7(e)(2)(ii),            requirements of paragraphs (e)(3)(i)                   required under Procedure 1 of 40 CFR
                                                 or 65.158(a)(2) and available at the                    through (iv) of this section.                          part 60, appendix F;
                                                 EPA’s website (https://www.epa.gov/                        (i) You must monitor and record stack                  (8) Operating parameters required
                                                 emc/broadly-applicable-approved-                        exhaust gas flow rate and temperature                  under paragraph (d) of this section to
                                                 alternative-test-methods), or other                     during the initial performance test and                demonstrate compliance during the
                                                 methods and procedures approved by                      subsequent annual performance tests to                 ozone season; and
                                                                                                         demonstrate continuous compliance
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                                                 the EPA through notice-and-comment                                                                                (9) Each fuel type, usage, and heat
                                                 rulemaking. The annual performance                      with your NOX emissions limits.                        content.
                                                 test does not have to be performed                         (ii) You must use the stack exhaust                    (g) Reporting requirements. (1) If you
                                                 during the ozone season.                                gas flow rate and temperature during the               are the owner or operator of an affected
                                                    (2) If you are the owner or operator of              initial performance test and subsequent                unit, you shall submit a final report via
                                                 an affected unit and are operating a NOX                annual performance tests to establish a                the CEDRI or analogous electronic
                                                 continuous emissions monitoring                         site-specific indicator for these                      submission system provided by the
                                                 system (CEMS) that monitors NOX                         operating parameters.                                  EPA, by no later than March 30, 2026,


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                                                 certifying that installation of each                    cdx.epa.gov/). The notification shall                     Idling means the operation of a glass
                                                 selected control device has been                        provide the following information:                     melting furnace at less than 25% of the
                                                 completed. You shall include in the                       (i) The name and address of the owner                permitted production capacity or fuel
                                                 report the dates of final construction                  or operator;                                           use capacity as stated in the operating
                                                 and relevant performance testing, where                   (ii) The address (i.e., physical                     permit.
                                                 applicable, demonstrating compliance                    location) of the affected unit;                           Lead recipe means glass product
                                                 with the selected emission limits                         (iii) An identification of the relevant              composition of the following ranges of
                                                 pursuant to paragraphs (c) and (d) of                   standard, or other requirement, that is                weight proportions: 50 to 60 percent
                                                 this section.                                           the basis for the notification and the                 silicon dioxide, 18 to 35 percent lead
                                                    (2) If you are the owner or operator of              unit’s compliance date; and                            oxides, 5 to 20 percent total R2O (e.g.,
                                                 an affected unit, you must submit the                     (iv) A brief description of the nature,              Na2O and K2O), 0 to 8 percent total R2O3
                                                 results of the performance test or                      size, design, and method of operation of               (e.g., Al2O3), 0 to 15 percent total RO
                                                 performance evaluation of the CEMS                      the facility and an identification of the              (e.g., CaO, MgO), other than lead oxide,
                                                                                                         types of emissions points (units) within               and 5 to 10 percent other oxides.
                                                 following the procedures specified in
                                                                                                         the facility subject to the relevant                      Operating day means a 24-hr period
                                                 § 52.40(g) within 60 days after the date
                                                                                                         standard.                                              beginning at 12:00 midnight during
                                                 of completing each performance test
                                                 required by this section.                                                                                      which the furnace combusts fuel at any
                                                                                                         § 52.44 What are the requirements of the
                                                    (3) If you are the owner or operator of              Federal Implementation Plans (FIPs)                    time but excludes any period of startup,
                                                 an affected unit, you are required to                   relating to ozone season emissions of                  shutdown, or idling during which the
                                                 submit excess emissions reports for any                 nitrogen oxides from the Glass and Glass               affected unit complies with the
                                                 excess emissions that occurred during                   Product Manufacturing Industry?                        requirements in paragraphs (d) through
                                                 the reporting period. Excess emissions                    (a) Definitions. All terms not defined               (f) of this section, as applicable.
                                                                                                         in this paragraph (a) shall have the                      Pressed and blown glass means glass
                                                 are defined as any calculated 30-day
                                                                                                         meaning given to them in the Act and                   which is pressed, blown, or both,
                                                 rolling average NOX emissions rate that
                                                                                                         in subpart A of 40 CFR part 60.                        including textile fiberglass,
                                                 exceeds the applicable emissions limit
                                                                                                           Affected units means a glass                         noncontinuous flat glass, noncontainer
                                                 established under paragraphs (c) and (d)                                                                       glass, and other products listed in SIC
                                                 of this section. Excess emissions reports               manufacturing furnace meeting the
                                                                                                         applicability criteria of this section.                3229. It is separated into: Glass of
                                                 must be submitted in PDF format to the                                                                         borosilicate recipe, Glass of soda-lime
                                                                                                           Borosilicate recipe means glass
                                                 EPA via CEDRI or analogous electronic                                                                          and lead recipes, and Glass of opal,
                                                                                                         product composition of the following
                                                 reporting approach provided by the EPA                                                                         fluoride, and other recipes.
                                                                                                         approximate ranges of weight
                                                 to report data required by this section                                                                           Raw material means minerals, such as
                                                                                                         proportions: 60 to 80 percent silicon
                                                 following the procedures specified in                                                                          silica sand, limestone, and dolomite;
                                                                                                         dioxide, 4 to 10 percent total R2O (e.g.,
                                                 § 52.40(g).                                                                                                    inorganic chemical compounds, such as
                                                                                                         Na2O and K2O), 5 to 35 percent boric
                                                    (4) If you are the owner or operator of              oxides, and 0 to 13 percent other oxides.              soda ash (sodium carbonate), salt cake
                                                 an affected unit, you shall submit an                     Container glass means glass made of                  (sodium sulfate), and potash (potassium
                                                 annual report in PDF format to the EPA                  soda-lime recipe, clear or colored,                    carbonate); metal oxides and other
                                                 by January 30th of each year via CEDRI                  which is pressed and/or blown into                     metal-based compounds, such as lead
                                                 or analogous electronic reporting                       bottles, jars, ampoules, and other                     oxide, chromium oxide, and sodium
                                                 approach provided by the EPA to report                  products listed in Standard Industrial                 antimonate; metal ores, such as
                                                 data required by this section. Annual                   Classification (SIC) 3221 (SIC 3221).                  chromite and pyrolusite; and other
                                                 reports shall be submitted following the                  Flat glass means glass made of soda-                 substances that are intentionally added
                                                 procedures in § 52.40(g). The report                    lime recipe and produced into                          to a glass manufacturing batch and
                                                 shall include records all records                       continuous flat sheets and other                       melted in a glass melting furnace to
                                                 required by paragraphs (e) and (f) of this              products listed in SIC 3211.                           produce glass. Metals that are naturally-
                                                 section, including record of CEMS data                    Glass melting furnace means a unit                   occurring trace constituents or
                                                 or operating parameters required by                     comprising a refractory vessel in which                contaminants of other substances are
                                                 paragraph (e) to demonstrate                            raw materials are charged, melted at                   not considered to be raw materials.
                                                 compliance the applicable emissions                     high temperature, refined, and                            Shutdown means the period of time
                                                 limits established under paragraphs (c)                 conditioned to produce molten glass.                   during which a glass melting furnace is
                                                 and (d) of this section.                                The unit includes foundations,                         taken from an operational to a non-
                                                    (h) Initial notification requirements                superstructure and retaining walls, raw                operational status by allowing it to cool
                                                 for existing affected units. (1) The                    material charger systems, heat                         down from its operating temperature to
                                                 requirements of this paragraph (h) apply                exchangers, melter cooling system,                     a cold or ambient temperature as the
                                                 to the owner or operator of an existing                 exhaust system, refractory brick work,                 fuel supply is turned off.
                                                 affected unit.                                          fuel supply and electrical boosting                       Soda-lime recipe means glass product
                                                    (2) The owner or operator of an                      equipment, integral control systems and                composition of the following ranges of
                                                 existing affected unit that emits or has                instrumentation, and appendages for                    weight proportions: 60 to 75 percent
                                                 a potential to emit 100 tons per year or                conditioning and distributing molten                   silicon dioxide, 10 to 17 percent total
                                                 more of NOX as of August 4, 2023, shall                 glass to forming apparatuses. The                      R2O (e.g., Na2O and K2O), 8 to 20
                                                 notify the Administrator via the CEDRI                  forming apparatuses, including the float               percent total RO but not to include any
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                                                 or analogous electronic submission                      bath used in flat glass manufacturing                  PbO (e.g., CaO, and MgO), 0 to 8 percent
                                                 system provided by the EPA that the                     and flow channels in wool fiberglass                   total R2O3 (e.g., Al2O3), and 1 to 5
                                                 unit is subject to this section. The                    and textile fiberglass manufacturing, are              percent other oxides.
                                                 notification, which shall be submitted                  not considered part of the glass melting                  Startup means the period of time,
                                                 not later than December 4, 2023, shall                  furnace.                                               after initial construction or a furnace
                                                 be submitted in PDF format to the EPA                     Glass produced means the weight of                   rebuild, during which a glass melting
                                                 via CEDRI, which can be accessed                        the glass pulled from the glass melting                furnace is heated to operating
                                                 through the EPA’s CDX (https://                         furnace.                                               temperatures by the primary furnace


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                                                 combustion system, and systems and                         (ii) A description of the material                     (2) The duration of a shutdown, as
                                                 instrumentation are brought to                          process flow rates, system operating                   measured from the time the furnace
                                                 stabilization.                                          parameters, and other information that                 operations drop below 25% of the
                                                    Textile fiberglass means fibrous glass               the owner or operator shall monitor and                permitted production capacity or fuel
                                                 in the form of continuous strands                       record during the startup period.                      use capacity to when all emissions from
                                                 having uniform thickness.                                  (iii) Identification of the control                 the furnace cease, may not exceed 20
                                                    Wool fiberglass means fibrous glass of               technologies or strategies to be utilized.             days.
                                                 random texture, including accoustical                      (iv) A description of the physical                     (3) If you are the owner or operator of
                                                 board and tile (mineral wool), fiberglass               conditions present during startup                      an affected unit, you shall operate the
                                                 insulation, glass wool, insulation (rock                periods that prevent the controls from                 emissions control system whenever
                                                 wool, fiberglass, slag, and silicia                     being effective.                                       technologically feasible during
                                                 minerals), and mineral wool roofing                        (v) A reasonably precise estimate as to             shutdown to minimize emissions.
                                                 mats.                                                   when physical conditions will have                        (f) Idling requirements. (1) If you are
                                                    (b) Applicability. You are subject to                reached a state that allows for the                    the owner or operator of an affected
                                                 the requirements under this section if                  effective control of emissions.                        unit, you shall operate the emissions
                                                 you own or operate a new or existing                       (2) The length of startup following                 control system whenever
                                                 glass manufacturing furnace that                        activation of the primary furnace                      technologically feasible during idling to
                                                 directly emits or has the potential to                  combustion system may not exceed:                      minimize emissions.
                                                 emit 100 tons per year or more of NOX                      (i) Seventy days for a container,                      (2) If you are the owner or operator of
                                                 on or after August 4, 2023, and is                      pressed or blown glass furnace;                        an affected unit, your NOX emissions
                                                 located within any of the States listed in                 (ii) Forty days for a fiberglass furnace;           during idling may not exceed the
                                                 § 52.40(c)(2), including Indian country                 and                                                    amount calculated using the following
                                                 located within the borders of any such                     (iii) One hundred and four days for a               equation: Pounds per day emissions
                                                 State(s). Any existing glass                            flat glass furnace and for all other glass             limit of NOX = (Applicable NOX
                                                 manufacturing furnace with a potential                  melting furnaces not covered under                     emissions limit specified in paragraph
                                                 to emit of 100 tons per year or more of                 paragraphs (d)(2)(i) and (ii) of this                  (c) of this section expressed in pounds
                                                 NOX on August 4, 2023, will continue                    section.                                               per ton of glass produced) × (Furnace
                                                 to be subject to the requirements of this                  (3) During the startup period, the                  permitted production capacity in tons of
                                                 section even if that unit later becomes                 owner or operator of an affected unit                  glass produced per day).
                                                 subject to a physical or operational                    shall maintain the stoichiometric ratio                   (3) To demonstrate compliance with
                                                 limitation that lowers its potential to                 of the primary furnace combustion                      the alternative daily NOX emissions
                                                 emit below 100 tons per year of NOX.                    system so as not to exceed 5 percent                   limit identified in paragraph (f)(2) of
                                                    (c) Emissions limitations. If you are                excess oxygen, as calculated from the                  this section during periods of idling, the
                                                 the owner or operator of an affected                    actual fuel and oxidant flow                           owners or operators of an affected unit
                                                 unit, you must meet the emissions                       measurements for combustion in the                     shall maintain records consistent with
                                                 limitations in paragraphs (c)(1) and (2)                affected unit.                                         paragraph (h)(3) of this section.
                                                 of this section on a 30-day rolling                        (4) The owner or operator of an                        (g) Testing and monitoring
                                                 average basis during the 2026 ozone                     affected unit shall place the emissions                requirements. (1) If you own or operate
                                                 season and in each ozone season                         control system in operation as soon as                 an affected unit subject to the NOX
                                                 thereafter. For the 2026 ozone season,                  technologically feasible during startup                emissions limits under paragraph (c) of
                                                 the emissions limitations in paragraphs                 to minimize emissions.                                 this section you must conduct
                                                 (c)(1) and (2) do not apply during                         (e) Shutdown requirements. (1) If you               performance tests, on an annual basis,
                                                 shutdown and idling if the affected unit                are the owner or operator of an affected               in accordance with the applicable
                                                 complies with the requirements in                       unit, you shall submit via the CEDRI or                reference test methods of 40 CFR part
                                                 paragraphs (e) and (f) of this section, as              analogous electronic submission system                 60, appendix A–4, any alternative test
                                                 applicable. For the 2027 and subsequent                 provided by the EPA to the                             method approved by the EPA as of June
                                                 ozone seasons, the emissions limitations                Administrator, no later than 30 days                   5, 2023, under 40 CFR 59.104(f),
                                                 in paragraphs (c)(1) and (2) do not apply               prior to the anticipated date of                       60.8(b)(3), 61.13(h)(1)(ii), 63.7(e)(2)(ii),
                                                 during startup, shutdown, and idling, if                shutdown, the following information to                 or 65.158(a)(2) and available at the
                                                 the affected unit complies with the                     assure proper operation of the furnace:                EPA’s website (https://www.epa.gov/
                                                 requirements in paragraphs (d) through                     (i) A detailed list of activities to be             emc/broadly-applicable-approved-
                                                 (f) of this section, as applicable.                     performed during shutdown and                          alternative-test-methods), or other
                                                    (1) Container glass, pressed/blown                   explanations to support the length of                  methods and procedures approved by
                                                 glass, or fiberglass manufacturing                      time needed to complete each activity.                 the EPA through notice-and-comment
                                                 furnace: 4.0 lb/ton of glass; and                          (ii) A description of the material                  rulemaking. The annual performance
                                                    (2) Flat glass manufacturing furnace:                process flow rates, system operating                   test does not have to be performed
                                                 7.0 lb/ton of glass.                                    parameters, and other information that                 during the ozone season. Owners or
                                                    (d) Startup requirements. (1) If you are             the owner or operator shall monitor and                operators of affected units must
                                                 the owner or operator of an affected                    record during the shutdown period.                     calculate and record the 30-day rolling
                                                 unit, you shall submit via the CEDRI or                    (iii) Identification of the control                 average emissions rate of NOX as the
                                                 analogous electronic submission system                  technologies or strategies to be utilized.             total of all hourly emissions data for an
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                                                 provided by the EPA, no later than 30                      (iv) A description of the physical                  affected unit in the preceding 30 days,
                                                 days prior to the anticipated date of                   conditions present during shutdown                     divided by the total tons of glass
                                                 startup, the following information to                   periods that prevent the controls from                 produced in that affected unit during
                                                 assure proper operation of the furnace:                 being effective.                                       the same 30-day period. Direct
                                                    (i) A detailed list of activities to be                 (v) A reasonably precise estimate as to             measurement or material balance using
                                                 performed during startup and                            when physical conditions will have                     good engineering practice shall be used
                                                 explanations to support the length of                   reached a state that allows for the                    to determine the amount of glass
                                                 time needed to complete each activity.                  effective control of emissions.                        produced during the performance test.


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                                                 The rate of glass produced is defined as                performance tests to demonstrate                         (vii) If a CEMS is used to verify
                                                 the weight of glass pulled from the                     continuous compliance with your NOX                    compliance:
                                                 affected unit during the performance                    emissions limits.                                        (A) Identification of the times when
                                                 test divided by the number of hours                        (ii) You must use the stack exhaust                 the pollutant concentration exceeded
                                                 taken to perform the performance test.                  gas flow rate, hourly glass production,                full span of the CEMS;
                                                    (2) If you are the owner or operator of              and stack exhaust gas temperature                        (B) Description of any modifications
                                                 an affected unit subject to the NOX                     during the initial performance test and                to the CEMS that could affect the ability
                                                 emissions limits under paragraph (c)(1)                 subsequent annual performance tests as                 of the CEMS to comply with
                                                 of this section and are operating a NOX                 NOX CEMS indicators to demonstrate                     Performance Specification 2 or 3 in
                                                 CEMS that monitors NOX emissions                        continuous compliance and establish a                  appendix B to 40 CFR part 60; and
                                                 from the affected unit, you may use the                 site-specific indicator ranges for these                 (C) Results of daily CEMS drift tests
                                                 CEMS data in lieu of the annual                         operating parameters.                                  and quarterly accuracy assessments as
                                                 performance tests and parametric                           (iii) You must repeat the performance               required under Procedure 1 of 40 CFR
                                                 monitoring required under this section.                 test annually to reassess and adjust the               part 60, appendix F;
                                                 You must meet the following                             site-specific operating parameter                        (D) Operating parameters required
                                                 requirements for using CEMS to monitor                  indicator ranges in accordance with the                under paragraph (g) to demonstrate
                                                 NOX emissions:                                          results of the performance test.                       compliance during the ozone season;
                                                    (i) You shall install, calibrate,                                                                             (viii) Each fuel type, usage, and heat
                                                                                                            (iv) You must report and include your
                                                 maintain, and operate a continuous                                                                             content; and
                                                                                                         ongoing site-specific operating
                                                 emissions monitoring system (CEMS)                                                                               (ix) Glass production rate.
                                                                                                         parameter data in the annual reports                     (2) If you are the owner or operator of
                                                 for measuring NOX emissions and either                  required under paragraph (h) of this
                                                 oxygen (O2) or carbon dioxide (CO2).                                                                           an affected unit, you shall maintain all
                                                                                                         section and semi-annual title V                        records necessary to demonstrate
                                                    (ii) The CEMS shall be operated and
                                                                                                         monitoring reports to the relevant                     compliance with the startup and
                                                 data recorded during all periods of
                                                                                                         permitting authority.                                  shutdown requirements in paragraphs
                                                 operation during the ozone season of the
                                                                                                            (4) If you are the owner or operator of             (d) and (e) of this section, including but
                                                 affected unit except for CEMS
                                                                                                         an affected unit seeking to comply with                not limited to records of material
                                                 breakdowns and repairs. Data shall be
                                                                                                         the requirements for startup under                     process flow rates, system operating
                                                 recorded during calibration checks and
                                                                                                         paragraph (d) of this section or                       parameters, the duration of each startup
                                                 zero and span adjustments.
                                                    (iii) The 1-hour average NOX                         shutdown under paragraph (e) of this                   and shutdown period, fuel throughput,
                                                 emissions rates measured by the CEMS                    section in lieu of the applicable                      oxidant flow rate, and any additional
                                                 shall be expressed in terms of lbs/ton of               emissions limit under paragraph (c) of                 records necessary to determine whether
                                                 glass and shall be used to calculate the                this section, you must monitor material                the stoichiometric ratio of the primary
                                                 average emissions rates to demonstrate                  process flow rates, fuel throughput,                   furnace combustion system exceeded 5
                                                 compliance with the applicable                          oxidant flow rate, and the selected                    percent excess oxygen during startup.
                                                 emissions limits in this section.                       system operating parameters in                           (3) If you are the owner or operator of
                                                    (iv) The procedures under 40 CFR                     accordance with paragraphs (d)(1)(ii)                  an affected unit, you shall maintain
                                                 60.13 shall be followed for installation,               and (e)(1)(ii) of this section.                        records of daily NOX emissions in
                                                 evaluation, and operation of the                           (h) Recordkeeping requirements. (1) If              pounds per day for purposes of
                                                 continuous monitoring systems.                          you are the owner or operator of an                    determining compliance with the
                                                    (v) When NOX emissions data are not                  affected unit, you shall maintain records              applicable emissions limit for idling
                                                 obtained because of CEMS breakdowns,                    of the following information for each                  periods under paragraph (f)(2) of this
                                                 repairs, calibration checks and zero and                day the affected unit operates:                        section. Each owner or operator shall
                                                 span adjustments, emissions data will                      (i) Calendar date;                                  also record the duration of each idling
                                                 be obtained by using standby                               (ii) The average hourly NOX emissions               period.
                                                 monitoring systems, Method 7 of 40                      rates measured or predicted;                             (i) Reporting requirements. (1) If you
                                                 CFR part 60, appendix A–4, Method 7A                       (iii) The 30-day average NOX                        are the owner or operator of an affected
                                                 of 40 CFR part 60, appendix A–4, or                     emissions rates calculated at the end of               unit, you must submit the results of the
                                                 other approved reference methods to                     each affected unit operating day from                  performance test or performance
                                                 provide emissions data for a minimum                    the measured or predicted hourly NOX                   evaluation of the CEMS following the
                                                 of 75 percent of the operating hours in                 emissions rates for the preceding 30                   procedures specified in § 52.40(g)
                                                 each affected unit operating day, in at                 operating days;                                        within 60 days after the date of
                                                 least 22 out of 30 successive operating                    (iv) Identification of the affected unit            completing each performance test
                                                 days.                                                   operating days when the calculated 30-                 required by this section.
                                                    (3) If you are the owner or operator of              day average NOX emissions rates are in                   (2) If you are the owner or operator of
                                                 an affected unit not operating NOX                      excess of the applicable site-specific                 an affected unit, you are required to
                                                 CEMS, you must conduct an initial                       NOX emissions limit with the reasons                   submit excess emissions reports for any
                                                 performance test before the 2026 ozone                  for such excess emissions as well as a                 excess emissions that occurred during
                                                 season to establish appropriate indicator               description of corrective actions taken;               the reporting period. Excess emissions
                                                 ranges for operating parameters and                        (v) Identification of the affected unit             are defined as any calculated 30-day
                                                 continuously monitor those operator                     operating days for which pollutant data                rolling average NOX emissions rate that
                                                                                                         have not been obtained, including
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                                                 parameters consistent with the                                                                                 exceeds the applicable emissions limit
                                                 requirements of paragraphs (g)(3)(i)                    reasons for not obtaining sufficient data              in paragraph (c) of this section. Excess
                                                 through (iv) of this section.                           and a description of corrective actions                emissions reports must be submitted in
                                                    (i) You must monitor and record stack                taken;                                                 PDF format to the EPA via CEDRI or
                                                 exhaust gas flow rate, hourly glass                        (vi) Identification of the times when               analogous electronic reporting approach
                                                 production, and stack exhaust gas                       emissions data have been excluded from                 provided by the EPA to report data
                                                 temperature during the initial                          the calculation of average emissions                   required by this section following the
                                                 performance test and subsequent annual                  rates and the reasons for excluding data;              procedures specified in § 52.40(g).


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                                                    (3) If you own or operate an affected                recovering thermal energy in the form of               via the low-use exemption provisions
                                                 unit, you shall submit an annual report                 steam or hot water. Controlled flame                   and must meet the applicable emissions
                                                 in PDF format to the EPA by January                     combustion refers to a steady-state, or                limits and other applicable provisions
                                                 30th of each year via CEDRI or                          near steady-state, process wherein fuel                as soon as possible but not later than
                                                 analogous electronic reporting approach                 and/or oxidizer feed rates are                         one year from the date eligibility as a
                                                 provided by the EPA to report data                      controlled.                                            low-use boiler was negated by
                                                 required by this section. Annual reports                   Coal means ‘‘coal’’ as defined in 40                exceedance of the low-use boiler
                                                 shall be submitted following the                        CFR 60.41b.                                            criteria.
                                                 procedures in § 52.40(g). The report                       Distillate oil means ‘‘distillate oil’’ as             (ii) [Reserved]
                                                 shall include records all records                       defined in 40 CFR 60.41b.                                 (c) Emissions limitations. If you are
                                                 required by paragraph (g) of this section,                 Maximum heat input capacity means                   the owner or operator of an affected
                                                 including record of CEMS data or                        means the ability of a steam generating                unit, you must meet the following
                                                 operating parameters to demonstrate                     unit to combust a stated maximum                       emissions limitations on a 30-day
                                                 continuous compliance the applicable                    amount of fuel on a steady state basis,                rolling average basis during the 2026
                                                 emissions limits under paragraphs (c) of                as determined by the physical design                   ozone season and in each ozone season
                                                 this section.                                           and characteristics of the steam                       thereafter:
                                                    (j) Initial notification requirements for            generating unit.                                          (1) Coal-fired industrial boilers: 0.20
                                                 existing affected units. (1) The                           Natural gas means ‘‘natural gas’’ as
                                                                                                                                                                lbs NOX/mmBtu;
                                                 requirements of this paragraph (j) apply                defined in 40 CFR 60.41.
                                                                                                            Operating day means a 24-hour                          (2) Residual oil-fired industrial
                                                 to the owner or operator of an existing                                                                        boilers: 0.20 lbs NOX/mmBtu;
                                                 affected unit.                                          period between 12:00 midnight and the
                                                                                                         following midnight during which any                       (3) Distillate oil-fired industrial
                                                    (2) The owner or operator of an                                                                             boilers: 0.12 lbs NOX/mmBtu;
                                                 existing affected unit that emits or has                fuel is combusted at any time in the
                                                                                                         steam generating unit. It is not necessary                (4) Natural gas-fired industrial boilers:
                                                 a potential to emit greater than 100 tons                                                                      0.08 lbs NOX/mmBtu; and
                                                 per year or greater as of August 4, 2023,               for fuel to be combusted continuously
                                                                                                         for the entire 24-hour period.                            (5) Boilers using combinations of fuels
                                                 shall notify the Administrator via the                                                                         listed in paragraphs (c)(1) through (4) of
                                                 CEDRI or analogous electronic                              Residual oil means ‘‘residual oil’’ as
                                                                                                         defined in 40 CFR 60.41c.                              this section: such units shall comply
                                                 submission system provided by the EPA                                                                          with a NOX emissions limit derived by
                                                 that the unit is subject to this section.                  (b) Applicability. (1) The requirements
                                                                                                         of this section apply to each new or                   summing the products of each fuel’s
                                                 The notification, which shall be                                                                               heat input and respective emissions
                                                 submitted not later than June 23, 2023,                 existing boiler with a design capacity of
                                                                                                         100 mmBtu/hr or greater that receives                  limit and dividing by the sum of the
                                                 shall be submitted in PDF format to the                                                                        heat input contributed by each fuel.
                                                 EPA via CEDRI, which can be accessed                    90% or more of its heat input from coal,
                                                                                                         residual oil, distillate oil, natural gas, or             (d) Testing and monitoring
                                                 through the EPA’s CDX (https://                                                                                requirements. (1) If you are the owner or
                                                 cdx.epa.gov/). The notification shall                   combinations of these fuels in the
                                                                                                         previous ozone season, is located at                   operator of an affected unit, you shall
                                                 provide the following information:                                                                             conduct an initial compliance test as
                                                    (i) The name and address of the owner                sources that are within the Basic
                                                                                                         Chemical Manufacturing industry, the                   described in 40 CFR 60.8 using the
                                                 or operator;
                                                                                                         Petroleum and Coal Products                            continuous system for monitoring NOX
                                                    (ii) The address (i.e., physical
                                                                                                         Manufacturing industry, the Pulp,                      specified by EPA Test Method 7E of 40
                                                 location) of the affected unit;
                                                    (iii) An identification of the relevant              Paper, and Paperboard industry, the                    CFR part 60, appendix A–4, to
                                                 standard, or other requirement, that is                 Metal Ore Mining industry, and the Iron                determine compliance with the
                                                 the basis for the notification and the                  and Steel and Ferroalloys                              emissions limits for NOX identified in
                                                 unit’s compliance date; and                             Manufacturing industry and which is                    paragraph (c) of this section. In lieu of
                                                    (iv) A brief description of the nature,              located within any of the States listed in             the timing of the compliance test
                                                 size, design, and method of operation of                § 52.40(c)(2), including Indian country                described in 40 CFR 60.8(a), you shall
                                                 the facility and an identification of the               located within the borders of any such                 conduct the test within 90 days from the
                                                 types of emissions points (units) within                State(s). The requirements of this                     installation of the pollution control
                                                 the facility subject to the relevant                    section do not apply to an emissions                   equipment used to comply with the
                                                 standard.                                               unit that meets the requirements for a                 NOX emissions limits in paragraph (c) of
                                                                                                         low-use exemption as provided in                       this section and no later than May 1,
                                                 § 52.45 What are the requirements of the                paragraph (b)(2) of this section.                      2026.
                                                 Federal Implementation Plans (FIPs)                        (2) If you are the owner or operator of                (i) For the initial compliance test, you
                                                 relating to ozone season emissions of                                                                          shall monitor NOX emissions from the
                                                                                                         a boiler meeting the applicability
                                                 nitrogen oxides from the Basic Chemical
                                                                                                         criteria of paragraph (b)(1) of this                   affected unit for 30 successive operating
                                                 Manufacturing, Petroleum and Coal
                                                 Products Manufacturing, the Pulp, Paper,                section that operates less than 10% per                days and the 30-day average emissions
                                                 and Paperboard Mills Industries, Metal Ore              year on an hourly basis, based on the                  rate will be used to determine
                                                 Mining, and the Iron and Steel and                      three most recent years of use and no                  compliance with the NOX emissions
                                                 Ferroalloy Manufacturing Industries?                    more than 20% in any one of the three                  limits in paragraph (c) of this section.
                                                   (a) Definitions. All terms not defined                years, you are exempt from meeting the                 You shall calculate the 30-day average
                                                 in this paragraph (a) shall have the                    emissions limits of this section and are               emission rate as the average of all
                                                                                                                                                                hourly emissions data recorded by the
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                                                 meaning given to them in the Act and                    only subject to the recordkeeping and
                                                 in subpart A of 40 CFR part 60.                         reporting requirements of paragraph                    monitoring system during the 30-day
                                                   Affected unit means an industrial                     (f)(2) of this section.                                test period.
                                                 boiler meeting the applicability criteria                  (i) If you are the owner or operator of                (ii) You are not required to conduct an
                                                 of this section.                                        an affected unit that exceeds the 10%                  initial compliance test if the affected
                                                   Boiler means an enclosed device                       per year hour of operation over three                  unit is subject to a pre-existing,
                                                 using controlled flame combustion and                   years or the 20% hours of operation per                federally enforceable requirement to
                                                 having the primary purpose of                           year criteria, you can no longer comply                monitor its NOX emissions using a


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                                                 CEMS in accordance with 40 CFR 60.13                    and zero and span adjustments, you will                to 40 CFR part 60, Method 320 of
                                                 or 40 CFR part 75.                                      obtain emissions data by using standby                 appendix A to 40 CFR part 63, or other
                                                    (2) If you are the owner or operator of              monitoring systems, Method 7 of 40                     approved reference methods. The
                                                 an affected unit with a heat input                      CFR part 60, appendix A–4, Method 7A                   annual performance test must be
                                                 capacity of 250 mmBTU/hr or greater,                    of 40 CFR part 60, appendix A–4, or                    conducted before the affected units
                                                 you are subject to the following                        other approved reference methods to                    operates more than 400 hours in a given
                                                 monitoring requirements:                                provide emissions data for a minimum                   year.
                                                    (i) You shall install, calibrate,                    of 75 percent of the operating hours in                  (iii) You must develop and comply
                                                 maintain, and operate a continuous                      each affected unit operating day, in at                with a monitoring plan that relates the
                                                 emissions monitoring system (CEMS)                      least 22 out of 30 successive operating                operational parameters to emissions of
                                                 for measuring NOX emissions and either                  days.                                                  the affected unit. The owner or operator
                                                 oxygen (O2) or carbon dioxide (CO2),                       (vii) You may delay installing a CEMS               of each affected unit shall develop a
                                                 unless the Administrator has approved                   for NOX until after the initial                        monitoring plan that identifies the
                                                 a request from you to use an alternative                performance test has been conducted. If                operating conditions of the affected unit
                                                 monitoring technique under paragraph                    you demonstrate during the                             to be monitored and the records to be
                                                 (d)(2)(vii) of this section. If you have                performance test that emissions of NOX                 maintained in order to reliably predict
                                                 previously installed a NOX emissions                    are less than 70 percent of the                        NOX emissions and determine
                                                 rate CEMS to meet the requirements of                   applicable emissions limit in paragraph                compliance with the applicable
                                                 40 CFR 60.13 or 40 CFR part 75 and                      (c) of this section, you are not required              emissions limits of this section on a
                                                 continue to meet the ongoing                            to install a CEMS for measuring NOX. If                continuous basis. You shall include the
                                                 requirements of 40 CFR 60.13 or 40 CFR                  you demonstrate your affected unit                     following information in the plan:
                                                 part 75, that CEMS may be used to meet                  emits less than 70 percent of the                        (A) You shall identify the specific
                                                 the monitoring requirements of this                     applicable emissions limit chooses to                  operating parameters to be monitored
                                                 section.                                                not install a CEMS, you must submit a                  and the relationship between these
                                                    (ii) You shall operate the CEMS and                  written request to the Administrator that              operating parameters and the applicable
                                                 record data during all periods of                       documents the results of the initial                   NOX emission rates. Operating
                                                 operation during the ozone season of the                performance test and includes an                       parameters of the affected unit include,
                                                 affected unit except for CEMS                           alternative monitoring procedure that                  but are not limited to, the degree of
                                                 breakdowns and repairs. You shall                       will be used to track compliance with                  staged combustion (i.e., the ratio of
                                                 record data during calibration checks                   the applicable NOX emissions limit(s) in               primary air to secondary and/or tertiary
                                                 and zero and span adjustments.                          paragraph (c) of this section. The                     air) and the level of excess air (i.e., flue
                                                    (iii) You shall express the 1-hour                   Administrator may consider the request                 gas O2 level).
                                                 average NOX emissions rates measured                    and, following public notice and                         (B) You shall include the data and
                                                 by the CEMS in terms of lbs/mmBtu                       comment, may approve the alternative                   information used to identify the
                                                 heat input and shall be used to calculate               monitoring procedure with or without                   relationship between NOX emission
                                                 the average emissions rates under                       revision, or disapprove the request.                   rates and these operating conditions.
                                                 paragraph (c) of this section.                          Upon receipt of a disapproved request,                   (C) You shall identify: how these
                                                    (iv) Following the date on which the                 you will have one year to install a                    operating parameters, including steam
                                                 initial compliance test is completed,                   CEMS.                                                  generating unit load, will be monitored
                                                 you shall determine compliance with                        (3) If you are the owner or operator of             on an hourly basis during periods of
                                                 the applicable NOX emissions limit in                   an affected unit with a heat input                     operation of the affected unit; the
                                                 paragraph (c) of this section during the                capacity less than 250 mmBTU/hr, you                   quality assurance procedures or
                                                 ozone season on a continuous basis                      must monitor NOX emission via the                      practices that will be employed to
                                                 using a 30-day rolling average emissions                requirements of paragraph (e)(1) of this               ensure that the data generated by
                                                 rate unless you monitor emissions by                    section or you must monitor NOX                        monitoring these operating parameters
                                                 means of an alternative monitoring                      emissions by conducting an annual test                 will be representative and accurate; and
                                                 procedure approved pursuant to                          in conjunction with the implementation                 the type and format of the records of
                                                 paragraph (d)(2)(vii) of this section. You              of a monitoring plan meeting the                       these operating parameters, including
                                                 shall calculate a new 30-day rolling                    following requirements:                                steam generating unit load, that you will
                                                 average emissions rate for each                            (i) You must conduct an initial                     maintain.
                                                 operating day as the average of all the                 performance test over a minimum of 24                    (4) You shall submit the monitoring
                                                 hourly NOX emissions data for the                       consecutive steam generating unit                      plan to the EPA via the CEDRI reporting
                                                 preceding 30 operating days.                            operating hours at maximum heat input                  system, and request that the relevant
                                                    (v) You shall follow the procedures                  capacity to demonstrate compliance                     permitting agency incorporate the
                                                 under 40 CFR 60.13 for installation,                    with the NOX emission standards under                  monitoring plan into the facility’s title
                                                 evaluation, and operation of the                        paragraph (c) of this section using                    V permit.
                                                 continuous monitoring systems.                          Method 7, 7A, or 7E of appendix A–4                      (e) Recordkeeping requirements. (1) If
                                                 Additionally, you shall use a span value                to 40 CFR part 60, Method 320 of                       you are the owner or operator of an
                                                 of 1000 ppm NOX for affected units                      appendix A to 40 CFR part 63, or other                 affected unit, which is not a low-use
                                                 combusting coal and span value of 500                   approved reference methods.                            boiler, you shall maintain records of the
                                                 ppm NOX for units combusting oil or                        (ii) You must conduct annual                        following information for each day the
                                                                                                         performance tests once per calendar
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                                                 gas. As an alternative to meeting these                                                                        affected unit operates during the ozone
                                                 span values, you may elect to use the                   year to demonstrate compliance with                    season:
                                                 NOX span values determined according                    the NOX emission standards under                          (i) Calendar date;
                                                 to section 2.1.2 in appendix A to 40 CFR                paragraph (c) of this section over a                      (ii) The average hourly NOX emissions
                                                 part 75.                                                minimum of 3 consecutive steam                         rates (expressed as lbs NO2/mmBtu heat
                                                    (vi) When you are unable to obtain                   generating unit operating hours at                     input) measured or predicted;
                                                 NOX emissions data because of CEMS                      maximum heat input capacity using                        (iii) The 30-day average NOX
                                                 breakdowns, repairs, calibration checks                 Method 7, 7A, or 7E of appendix A–4                    emissions rates calculated at the end of


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                                                 each affected unit operating day from                   excess emissions that occurred during                  waterwall furnace or on a tumbling-tile
                                                 the measured or predicted hourly NOX                    the reporting period. Excess emissions                 grate.
                                                 emissions rates for the preceding 30                    are defined as any calculated 30-day                      Mass burn waterwall municipal waste
                                                 steam generating unit operating days;                   rolling average NOX emissions rate, as                 combustor means a field-erected
                                                   (iv) Identification of the affected unit              determined under paragraph (e)(1)(iii) of              combustor that combusts municipal
                                                 operating days when the calculated 30-                  this section, that exceeds the applicable              solid waste in a waterwall furnace.
                                                 day rolling average NOX emissions rates                 emissions limit in paragraph (c) of this                  Municipal waste combustor, MWC, or
                                                 are in excess of the applicable NOX                     section. Excess emissions reports must                 municipal waste combustor unit means:
                                                 emissions limit in paragraph (c) of this                be submitted in PDF format to the EPA                     (i) Means any setting or equipment
                                                 section with the reasons for such excess                via CEDRI or analogous electronic                      that combusts solid, liquid, or gasified
                                                 emissions as well as a description of                   reporting approach provided by the EPA                 MSW including, but not limited to,
                                                 corrective actions taken;                               to report data required by this section                field-erected incinerators (with or
                                                   (v) Identification of the affected unit               following the procedures specified in                  without heat recovery), modular
                                                 operating days for which pollutant data                 § 52.40(g).                                            incinerators (starved-air or excess-air),
                                                 have not been obtained, including                          (3) If you are the owner or operator an             boilers (i.e., steam-generating units),
                                                 reasons for not obtaining sufficient data               affected unit subject to the continuous                furnaces (whether suspension-fired,
                                                 and a description of corrective actions                 monitoring requirements for NOX under                  grate-fired, mass-fired, air curtain
                                                 taken;                                                  paragraph (d) of this section, you shall               incinerators, or fluidized bed-fired), and
                                                   (vi) Identification of the times when                 submit reports containing the                          pyrolysis/combustion units. Municipal
                                                 emissions data have been excluded from                  information recorded under paragraph                   waste combustors do not include
                                                 the calculation of average emissions                    (d) of this section as described in                    pyrolysis/combustion units located at
                                                 rates and the reasons for excluding data;               paragraph (e)(1) of this section. You                  plastics/rubber recycling units.
                                                   (vii) Identification of ‘‘F’’ factor used             shall submit compliance reports for                    Municipal waste combustors do not
                                                 for calculations, method of                             continuous monitoring in PDF format to                 include internal combustion engines,
                                                 determination, and type of fuel                         the EPA via CEDRI or analogous                         gas turbines, or other combustion
                                                 combusted;                                              electronic reporting approach provided                 devices that combust landfill gases
                                                   (viii) Identification of the times when               by the EPA to report data required by                  collected by landfill gas collection
                                                 the pollutant concentration exceeded                    this section following the procedures                  systems.
                                                 full span of the CEMS;                                  specified in § 52.40(g).                                  (ii) The boundaries of a MWC are
                                                   (ix) Description of any modifications                    (4) If you are the owner or operator of             defined as follows. The MWC unit
                                                 to the CEMS that could affect the ability               an affected unit, you shall submit an                  includes, but is not limited to, the MSW
                                                 of the CEMS to comply with                              annual report in PDF format to the EPA                 fuel feed system, grate system, flue gas
                                                 Performance Specification 2 or 3 in                     by January 30th of each year via CEDRI                 system, bottom ash system, and the
                                                 appendix B to 40 CFR part 60;                           or analogous electronic reporting                      combustor water system. The MWC
                                                   (x) Results of daily CEMS drift tests                 approach provided by the EPA to report                 boundary starts at the MSW pit or
                                                 and quarterly accuracy assessments as                   data required by this section. Annual                  hopper and extends through:
                                                 required under Procedure 1 of 40 CFR                    reports shall be submitted following the                  (A) The combustor flue gas system,
                                                 part 60, appendix F; and                                procedures in § 52.40(g).                              which ends immediately following the
                                                   (xi) The type and amounts of each                                                                            heat recovery equipment or, if there is
                                                 fuel combusted.                                         § 52.46 What are the requirements of the               no heat recovery equipment,
                                                   (2) If you are the owner or operator of               Federal Implementation Plans (FIPs)                    immediately following the combustion
                                                 an affected unit complying as a low-use                 relating to ozone season emissions of                  chamber;
                                                 boiler, you must maintain the following                 nitrogen oxides from Municipal Waste                      (B) The combustor bottom ash system,
                                                                                                         Combustors?                                            which ends at the truck loading station
                                                 records consistent with the
                                                 requirements of § 52.40(g):                               (a) Definitions. All terms not defined               or similar ash handling equipment that
                                                   (i) Identification and location of the                in this paragraph (a) shall have the                   transfer the ash to final disposal,
                                                 boiler;                                                 meaning given them in the Act and in                   including all ash handling systems that
                                                   (ii) Nameplate capacity;                              subpart A of 40 CFR part 60.                           are connected to the bottom ash
                                                   (iii) The fuel or fuels used by the                     Affected unit means a municipal                      handling system; and
                                                 boiler;                                                 waste combustor meeting the                               (C) The combustor water system,
                                                   (iv) For each operating day, the type                 applicability criteria of this section.                which starts at the feed water pump and
                                                 and amount of fuel combusted, and the                     Chief facility operator means the                    ends at the piping exiting the steam
                                                 date and total number of hours of                       person in direct charge and control of                 drum or superheater.
                                                 operation; and                                          the operation of a municipal waste                        (iii) The MWC unit does not include
                                                   (v) the annual hours of operation for                 combustor and who is responsible for                   air pollution control equipment, the
                                                 each of the prior 3 years, and the 3-year               daily onsite supervision, technical                    stack, water treatment equipment, or the
                                                 average hours or operation.                             direction, management, and overall                     turbine generator set.
                                                   (f) Reporting requirements. (1) If you                performance of the facility.                              Municipal waste combustor unit
                                                 are the owner or operator of an affected                  Mass burn refractory municipal waste                 capacity means the maximum charging
                                                 unit, you must submit the results of the                combustor means a field-erected                        rate of a municipal waste combustor
                                                 performance test or performance                         combustor that combusts municipal                      unit expressed in tons per day of
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                                                 evaluation of the CEMS following the                    solid waste in a refractory wall furnace.              municipal solid waste combusted,
                                                 procedures specified in § 52.40(g)                      Unless otherwise specified, this                       calculated according to the procedures
                                                 within 60 days after the date of                        includes combustors with a cylindrical                 under paragraph (e)(4) of this section.
                                                 completing each performance test                        rotary refractory wall furnace.                           Shift supervisor means the person
                                                 required by this section.                                 Mass burn rotary waterwall municipal                 who is in direct charge and control of
                                                   (2) If you are the owner or operator of               waste combustor means a field-erected                  the operation of a municipal waste
                                                 an affected unit, you are required to                   combustor that combusts municipal                      combustor and who is responsible for
                                                 submit excess emissions reports for any                 solid waste in a cylindrical rotary                    onsite supervision, technical direction,


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                                                 management, and overall performance                     consistent with the technological                      performance test for nitrogen oxides
                                                 of the facility during an assigned shift.               limitations, manufacturers’                            consistent with 40 CFR 60.8.
                                                   (b) Applicability. The requirements of                specifications, good engineering and                      (ii) You shall install and operate the
                                                 this section apply to each new or                       maintenance practices, and good air                    NOX CEMS according to Performance
                                                 existing municipal waste combustor                      pollution control practices for                        Specification 2 in 40 CFR part 60,
                                                 unit with a combustion capacity greater                 minimizing emissions (as defined in 40                 appendix B, and shall follow the
                                                 than 250 tons per day (225 megagrams                    CFR 60.11(d)) for such equipment and                   requirements of 40 CFR 60.58b(h)(10).
                                                 per day) of municipal solid waste and                   the unit at all times the unit is in                      (iii) Quarterly accuracy
                                                 which is located within any of the                      operation.                                             determinations and daily calibration
                                                 States listed in § 52.40(c)(2), including                  (e) Testing and monitoring                          drift tests for the CEMS shall be
                                                 Indian country located within the                       requirements. (1) If you are the owner or              performed in accordance with
                                                 borders of any such State(s).                           operator of an affected unit, you shall                Procedure 1 in 40 CFR part 60,
                                                    (c) Emissions limitations. If you are                install, calibrate, maintain, and operate              appendix F.
                                                 the owner or operator of an affected                    a continuous emissions monitoring                         (iv) When NOX continuous emissions
                                                 unit, you must meet the following                       system (CEMS) for measuring the                        data are not obtained because of CEMS
                                                 emissions limitations at all times,                     oxygen or carbon dioxide content of the                breakdowns, repairs, calibration checks,
                                                 except during startup and shutdown, on                  flue gas at each location where NOX are                and zero and span adjustments,
                                                 a 30-day rolling average basis during the               monitored and record the output of the                 emissions data shall be obtained using
                                                 2026 ozone season and in each ozone                     system. You shall comply with the                      other monitoring systems as approved
                                                 season thereafter:                                      following test procedures and test                     by the EPA or EPA Reference Method 19
                                                    (1) 110 ppmvd at 7 percent oxygen on                 methods:                                               in 40 CFR part 60, appendix A–7, to
                                                 a 24-hour block averaging period; and                      (i) You shall use a span value of 25                provide, as necessary, valid emissions
                                                    (2) 105 ppmvd at 7 percent oxygen on                 percent oxygen for the oxygen monitor                  data for a minimum of 90 percent of the
                                                 a 30-day rolling averaging period.                      or 20 percent carbon dioxide for the                   hours per calendar quarter and 95
                                                    (d) Startup and shutdown                             carbon dioxide monitor;                                percent of the hours per calendar year
                                                 requirements. If you are the owner or                      (ii) You shall install, evaluate, and               the unit is operated and combusting
                                                 operator of an affected unit, you must                  operate the CEMS in accordance with 40                 municipal solid waste.
                                                 comply with the following requirements                  CFR 60.13;                                                (v) You shall use EPA Reference
                                                 during startup and shutdown:                               (iii) You shall complete the initial                Method 19, section 4.1, in 40 CFR part
                                                    (1) During periods of startup and                    performance evaluation no later than                   60, appendix A–7, for determining the
                                                 shutdown, you shall meet the following                  180 days after the date of initial startup             daily arithmetic average NOX emissions
                                                 emissions limits at stack oxygen                        of the affected unit, as specified under               concentration.
                                                 content:                                                40 CFR 60.8;                                              (A) You may request that compliance
                                                    (i) 110 ppmvd at stack oxygen content                   (iv) You shall operate the monitor in               with the NOX emissions limit be
                                                 on a 24-hour block averaging period;                    conformance with Performance                           determined using carbon dioxide
                                                 and                                                     Specification 3 in 40 CFR part 60,                     measurements corrected to an
                                                    (ii) 105 ppmvd at stack oxygen                       appendix B, except for section 2.3                     equivalent of 7 percent oxygen. The
                                                 content on a 30-day rolling averaging                   (relative accuracy requirement);                       relationship between oxygen and carbon
                                                 period.                                                    (v) You shall operate the monitor in                dioxide levels for the affected unit shall
                                                    (2) Duration of startup and shutdown,                accordance with the quality assurance                  be established as specified in paragraph
                                                 periods are limited to 3 hours per                      procedures of 40 CFR part 60, appendix                 (e)(1)(vi) of this section.
                                                 occurrence.                                             F, except for section 5.1.1 (relative                     (B) [Reserved]
                                                    (3) The startup period commences                     accuracy test audit); and                                 (vi) At a minimum, you shall obtain
                                                 when the affected unit begins the                          (vi) If you select carbon dioxide for               valid CEMS hourly averages for 90
                                                 continuous burning of municipal solid                   use in diluent corrections, you shall                  percent of the operating hours per
                                                 waste and does not include any warmup                   establish the relationship between                     calendar quarter and for 95 percent of
                                                 period when the affected unit is                        oxygen and carbon dioxide levels                       the operating hours per calendar year
                                                 combusting fossil fuel or other                         during the initial performance test                    that the affected unit is combusting
                                                 nonmunicipal solid waste fuel, and no                   according to the following procedures                  municipal solid waste:
                                                 municipal solid waste is being fed to the               and methods:                                              (A) At least 2 data points per hour
                                                 combustor.                                                 (A) This relationship may be                        shall be used to calculate each 1-hour
                                                    (4) Continuous burning is the                        reestablished during performance                       arithmetic average.
                                                 continuous, semicontinuous, or batch                    compliance tests; and                                     (B) Each NOX 1-hour arithmetic
                                                 feeding of municipal solid waste for                       (B) You shall submit the relationship               average shall be corrected to 7 percent
                                                 purposes of waste disposal, energy                      between carbon dioxide and oxygen                      oxygen on an hourly basis using the 1-
                                                 production, or providing heat to the                    concentrations to the EPA as part of the               hour arithmetic average of the oxygen
                                                 combustion system in preparation for                    initial performance test report and as                 (or carbon dioxide) continuous
                                                 waste disposal or energy production.                    part of the annual test report if the                  emissions monitoring system data.
                                                 The use of municipal solid waste solely                 relationship is reestablished during the                  (vii) The 1-hour arithmetic averages
                                                 to provide thermal protection of the                    annual performance test.                               section shall be expressed in parts per
                                                 grate or hearth during the startup period                  (2) If you are the owner or operator of             million by volume (dry basis) and used
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                                                 when municipal solid waste is not being                 an affected unit, you shall use the                    to calculate the 24-hour daily arithmetic
                                                 fed to the grate is not considered to be                following procedures and test methods                  average concentrations. The 1-hour
                                                 continuous burning.                                     to determine compliance with the NOX                   arithmetic averages shall be calculated
                                                    (5) The owner and operator of an                     emission limits in paragraph (c) of this               using the data points required under 40
                                                 affected unit shall minimize NOX                        section:                                               CFR 60.13(e)(2).
                                                 emissions by operating and optimizing                      (i) If you are not already operating a                 (viii) All valid CEMS data must be
                                                 the use of all installed pollution control              CEMS in accordance with 40 CFR 60.13,                  used in calculating emissions averages
                                                 technology and combustion controls                      you shall conduct an initial                           even if the minimum CEMS data


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                                                 requirements of paragraph (e)(2)(iv) of                 calculated as the maximum design                         (ii) Records showing the names of the
                                                 this section are not met.                               amount of municipal solid waste that                   municipal waste combustor chief
                                                    (ix) The procedures under 40 CFR                     can be charged per batch multiplied by                 facility operator, shift supervisors, and
                                                 60.13 shall be followed for installation,               the maximum number of batches that                     control room operators who have been
                                                 evaluation, and operation of the CEMS.                  could be processed in a 24-hour period.                fully certified by the American Society
                                                 The initial performance evaluation shall                The maximum number of batches that                     of Mechanical Engineers or an
                                                 be completed no later than 180 days                     could be processed in a 24-hour period                 equivalent State-approved certification
                                                 after the date of initial startup of the                is calculated as 24 hours divided by the               program as required by 40 CFR
                                                 municipal waste combustor unit.                         design number of hours required to                     60.54b(b) including the dates of initial
                                                    (3) If you are the owner or operator of              process one batch of municipal solid                   and renewal certifications and
                                                 an affected unit, you must determine                    waste, and may include fractional                      documentation of current certification;
                                                 compliance with the startup and                         batches (e.g., if one batch requires 16                  (iii) Records showing the names of the
                                                 shutdown requirements of paragraph (d)                  hours, then 24/16, or 1.5 batches, could               municipal waste combustor chief
                                                 of this section by following the                        be combusted in a 24-hour period). For                 facility operator, shift supervisors, and
                                                 requirements in paragraphs (e)(3)(i) and                batch combustors that are designed                     control room operators who have
                                                 (ii) of this section:                                   based on heat capacity, the design                     completed the EPA municipal waste
                                                    (i) You can measure CEMS data at                     heating value of 12,800 kilojoules per                 combustor operator training course or a
                                                 stack oxygen content. You can dismiss                   kilogram for combustors firing refuse-                 State-approved equivalent course as
                                                 or exclude CEMS data from compliance                    derived fuel and a heating value of                    required by 40 CFR 60.54b(d) including
                                                 calculations, but you shall record and                  10,500 kilojoules per kilogram for                     documentation of training completion;
                                                 report CEMS data in accordance with                     combustors firing municipal solid waste                and
                                                 the provisions of 40 CFR 60.59b(d)(7).                  that is not refuse-derived fuel shall be                 (iv) Records of when a certified
                                                    (ii) You shall determine compliance                  used in calculating the municipal waste                operator is temporarily off site. Include
                                                 with the NOX mass loading emissions                     combustor unit capacity in megagrams                   two main items:
                                                 limitation for periods of startup and                   per day of municipal solid waste.                        (A) If the certified chief facility
                                                 shutdown by calculating the 24-hour                        (f) Recordkeeping requirements. If you              operator and certified shift supervisor
                                                 average of all hourly average NOX                       are the owner or operator of an affected               are off site for more than 12 hours, but
                                                 emissions concentrations from                           unit, you shall maintain records of the                for 2 weeks or less, and no other
                                                 continuous emissions monitoring                         following information, as applicable, for              certified operator is on site, record the
                                                 systems.                                                each affected unit consistent with the                 dates that the certified chief facility
                                                    (A) You shall perform this                           requirements of § 52.40(g).                            operator and certified shift supervisor
                                                 calculations using stack flow rates                        (1) The calendar date of each record.               were off site.
                                                 derived from flow monitors, for all the                    (2) The emissions concentrations and                  (B) When all certified chief facility
                                                 hours during the 3-hour startup or                      parameters measured using continuous                   operators and certified shift supervisors
                                                 shutdown period and the remaining 21                    monitoring systems.                                    are off site for more than 2 weeks and
                                                 hours of the 24-hour period.                                                                                   no other certified operator is on site,
                                                                                                            (i) All 1-hour average NOX emissions
                                                    (B) [Reserved]                                                                                              keep records of four items:
                                                    (4) If you are the owner or operator of              concentrations.
                                                                                                                                                                  (1) Time of day that all certified
                                                 an affected unit, you shall calculate                      (ii) The average concentrations and
                                                                                                                                                                persons are off site.
                                                 municipal waste combustor unit                          percent reductions, as applicable,                       (2) The conditions that cause those
                                                 capacity using the following procedures:                including all 24-hour daily arithmetic                 people to be off site.
                                                    (i) For municipal waste combustor                    average NOX emissions concentrations.                    (3) The corrective actions taken by the
                                                 units capable of combusting municipal                      (3) Identification of the calendar dates            owner or operator of the affected unit to
                                                 solid waste continuously for a 24-hour                  and times (hours) for which valid                      ensure a certified chief facility operator
                                                 period, municipal waste combustor unit                  hourly NOX emissions, including                        or certified shift supervisor is on site as
                                                 capacity shall be calculated based on 24                reasons for not obtaining the data and a               soon as practicable.
                                                 hours of operation at the maximum                       description of corrective actions taken.                 (4) Copies of the reports submitted
                                                 charging rate. The maximum charging                        (4) Identification of each occurrence               every 4 weeks that summarize the
                                                 rate shall be determined as specified in                that NOX emissions data, or operational                actions taken by the owner or operator
                                                 paragraphs (e)(4)(i)(A) and (B) of this                 data (i.e., unit load) have been excluded              of the affected unit to ensure that a
                                                 section as applicable.                                  from the calculation of average                        certified chief facility operator or
                                                    (A) For combustors that are designed                 emissions concentrations or parameters,                certified shift supervisor will be on site
                                                 based on heat capacity, the maximum                     and the reasons for excluding the data.                as soon as practicable.
                                                 charging rate shall be calculated based                    (5) The results of daily drift tests and              (7) Records showing the names of
                                                 on the maximum design heat input                        quarterly accuracy determinations for                  persons who have completed a review
                                                 capacity of the unit and a heating value                CEMS, as required under 40 CFR part                    of the operating manual as required by
                                                 of 12,800 kilojoules per kilogram for                   60, appendix F, Procedure 1.                           40 CFR 60.54b(f) including the date of
                                                 combustors firing refuse-derived fuel                      (6) The following records:                          the initial review and subsequent
                                                 and a heating value of 10,500 kilojoules                   (i) Records showing the names of the                annual reviews.
                                                 per kilogram for combustors firing                      municipal waste combustor chief                          (8) Records of steps taken to minimize
                                                 municipal solid waste that is not refuse-               facility operator, shift supervisors, and              emissions during startup and shutdown
                                                                                                         control room operators who have been
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                                                 derived fuel.                                                                                                  as required by paragraph (d)(5) of this
                                                    (B) For combustors that are not                      provisionally certified by the American                section.
                                                 designed based on heat capacity, the                    Society of Mechanical Engineers or an                    (g) Reporting requirements. (1) If you
                                                 maximum charging rate shall be the                      equivalent State-approved certification                are the owner or operator of an affected
                                                 maximum design charging rate.                           program as required by 40 CFR                          unit, you must submit the results of the
                                                    (ii) For batch feed municipal waste                  60.54b(a) including the dates of initial               performance test or performance
                                                 combustor units, municipal waste                        and renewal certifications and                         evaluation of the CEMS following the
                                                 combustor unit capacity shall be                        documentation of current certification;                procedures specified in § 52.40(g)


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                                                 within 60 days after the date of                        requirements are set forth under the                   Group 2 allowances equivalent in
                                                 completing each performance test                        CSAPR NOX Ozone Season Group 3                         quantity and usability to all such
                                                 required by this section.                               Trading Program in subpart GGGGG of                    allowances allocated to units in the
                                                   (2) If you are the owner or operator of               part 97 of this chapter must comply                    State and Indian country within the
                                                 an affected unit, you shall submit an                   with such requirements with regard to                  borders of the State for control periods
                                                 annual report in PDF format to the EPA                  emissions occurring in 2023 and each                   after 2022) shall continue to apply.
                                                 by January 30th of each year via CEDRI                  subsequent year. The obligation to
                                                 or analogous electronic reporting                       comply with such requirements with                     Subpart E—Arkansas
                                                 approach provided by the EPA to report                  regard to sources and units in the State
                                                 data required by this section. Annual                   and areas of Indian country within the                 ■ 6. Amend § 52.184 by:
                                                 reports shall be submitted following the                                                                       ■ a. Redesignating paragraphs (a)
                                                                                                         borders of the State subject to the State’s
                                                 procedures in § 52.40(g). The report                                                                           through (c) as paragraphs (a)(1) through
                                                                                                         SIP authority will be eliminated by the
                                                 shall include all information required                                                                         (3);
                                                                                                         promulgation of an approval by the
                                                                                                                                                                ■ b. In newly redesignated paragraph
                                                 by paragraph (e) of this section,                       Administrator of a revision to Alabama’s
                                                 including CEMS data to demonstrate                                                                             (a)(2):
                                                                                                         State Implementation Plan (SIP) as                     ■ i. Removing ‘‘2017 and each
                                                 compliance with the applicable                          correcting the SIP’s deficiency that is                subsequent year’’ and adding in its
                                                 emissions limits under paragraph (c) of                 the basis for the CSAPR Federal                        place ‘‘2017 through 2022’’; and
                                                 this section.                                           Implementation Plan (FIP) under                        ■ ii. Removing the second sentence;
                                                                                                         § 52.38(b)(1) and (b)(2)(iii) for those                ■ c. Revising newly redesignated
                                                 Subpart B—Alabama                                       sources and units, except to the extent                paragraph (a)(3); and
                                                                                                         the Administrator’s approval is partial                ■ d. Adding paragraphs (a)(4) and (5)
                                                 ■ 5. Amend § 52.54 by revising
                                                                                                         or conditional. The obligation to comply               and (b).
                                                 paragraphs (b)(2) and (3) and adding
                                                                                                         with such requirements with regard to                     The revision and additions read as
                                                 paragraphs (b)(4) and (5) to read as
                                                                                                         sources and units located in areas of                  follows:
                                                 follows:
                                                                                                         Indian country within the borders of the
                                                 § 52.54 Interstate pollutant transport                  State not subject to the State’s SIP                   § 52.184 Interstate pollutant transport
                                                 provisions; What are the FIP requirements               authority will not be eliminated by the                provisions; What are the FIP requirements
                                                 for decreases in emissions of nitrogen                  promulgation of an approval by the                     for decreases in emissions of nitrogen
                                                 oxides?                                                                                                        oxides?
                                                                                                         Administrator of a revision to Alabama’s
                                                 *     *     *     *     *                               SIP.                                                      (a) * * *
                                                   (b) * * *                                                (4) Notwithstanding the provisions of                  (3) The owner and operator of each
                                                   (2) The owner and operator of each                    paragraphs (b)(2) and (3) of this section,             source and each unit located in the State
                                                 source and each unit located in the State               if, at the time of the approval of                     of Arkansas and for which requirements
                                                 of Alabama and Indian country within                    Alabama’s SIP revision described in                    are set forth under the CSAPR NOX
                                                 the borders of the State and for which                  paragraph (b)(2) or (3) of this section,               Ozone Season Group 3 Trading Program
                                                 requirements are set forth under the                    the Administrator has already started                  in subpart GGGGG of part 97 of this
                                                 CSAPR NOX Ozone Season Group 2                          recording any allocations of CSAPR                     chapter must comply with such
                                                 Trading Program in subpart EEEEE of                     NOX Ozone Season Group 2 allowances                    requirements with regard to emissions
                                                 part 97 of this chapter must comply                     or CSAPR NOX Ozone Season Group 3                      occurring in 2023 and each subsequent
                                                 with such requirements with regard to                   allowances under subpart EEEEE or                      year. The obligation to comply with
                                                 emissions occurring in 2017 through                     GGGGG, respectively, of part 97 of this                such requirements will be eliminated by
                                                 2022. The obligation to comply with                     chapter to units in the State and areas                the promulgation of an approval by the
                                                 such requirements with regard to                        of Indian country within the borders of                Administrator of a revision to Arkansas’
                                                 sources and units in the State and areas                the State subject to the State’s SIP                   State Implementation Plan (SIP) as
                                                 of Indian country within the borders of                 authority for a control period in any                  correcting the SIP’s deficiency that is
                                                 the State subject to the State’s SIP                    year, the provisions of such subpart                   the basis for the CSAPR Federal
                                                 authority will be eliminated by the                     authorizing the Administrator to                       Implementation Plan (FIP) under
                                                 promulgation of an approval by the                      complete the allocation and recordation                § 52.38(b)(1) and (b)(2)(iii), except to the
                                                 Administrator of a revision to Alabama’s                of such allowances to such units for                   extent the Administrator’s approval is
                                                 State Implementation Plan (SIP) as                      each such control period shall continue                partial or conditional.
                                                 correcting the SIP’s deficiency that is                 to apply, unless provided otherwise by                    (4) Notwithstanding the provisions of
                                                 the basis for the CSAPR Federal                         such approval of the State’s SIP                       paragraph (a)(3) of this section, if, at the
                                                 Implementation Plan (FIP) under                         revision.                                              time of the approval of Arkansas’ SIP
                                                 § 52.38(b)(1) and (b)(2)(ii) for those                     (5) Notwithstanding the provisions of               revision described in paragraph (a)(3) of
                                                 sources and units, except to the extent                 paragraph (b)(2) of this section, after                this section, the Administrator has
                                                 the Administrator’s approval is partial                 2022 the provisions of § 97.826(c) of this             already started recording any allocations
                                                 or conditional. The obligation to comply                chapter (concerning the transfer of                    of CSAPR NOX Ozone Season Group 3
                                                 with such requirements with regard to                   CSAPR NOX Ozone Season Group 2                         allowances under subpart GGGGG of
                                                 sources and units located in areas of                   allowances between certain accounts                    part 97 of this chapter to units in the
                                                 Indian country within the borders of the                under common control), the provisions                  State for a control period in any year,
                                                 State not subject to the State’s SIP                    of § 97.826(e) of this chapter                         the provisions of subpart GGGGG of part
                                                                                                                                                                97 of this chapter authorizing the
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                                                 authority will not be eliminated by the                 (concerning the conversion of amounts
                                                 promulgation of an approval by the                      of unused CSAPR NOX Ozone Season                       Administrator to complete the
                                                 Administrator of a revision to Alabama’s                Group 2 allowances allocated for control               allocation and recordation of CSAPR
                                                 SIP.                                                    periods before 2023 to different amounts               NOX Ozone Season Group 3 allowances
                                                   (3) The owner and operator of each                    of CSAPR NOX Ozone Season Group 3                      to such units for each such control
                                                 source and each unit located in the State               allowances), and the provisions of                     period shall continue to apply, unless
                                                 of Alabama and Indian country within                    § 97.811(e) of this chapter (concerning                provided otherwise by such approval of
                                                 the borders of the State and for which                  the recall of CSAPR NOX Ozone Season                   the State’s SIP revision.


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                                                    (5) Notwithstanding the provisions of                Subpart P—Indiana                                      of Indian country within the borders of
                                                 paragraph (a)(2) of this section, after                                                                        the State subject to the State’s SIP
                                                 2022 the provisions of § 97.826(c) of this              ■  9. Amend § 52.789 by:                               authority will be eliminated by the
                                                 chapter (concerning the transfer of                     ■  a. In paragraph (b)(2), removing                    promulgation of an approval by the
                                                 CSAPR NOX Ozone Season Group 2                          ‘‘(b)(2)(iv), except’’ and adding in its               Administrator of a revision to
                                                 allowances between certain accounts                     place ‘‘(b)(2)(ii), except’’;                          Louisiana’s State Implementation Plan
                                                 under common control), the provisions                   ■ b. In paragraph (b)(3), removing                     (SIP) as correcting the SIP’s deficiency
                                                 of § 97.826(e) of this chapter                          ‘‘(b)(2)(v), except’’ and adding in its                that is the basis for the CSAPR Federal
                                                 (concerning the conversion of amounts                   place ‘‘(b)(2)(iii), except’’; and                     Implementation Plan (FIP) under
                                                 of unused CSAPR NOX Ozone Season                        ■ c. Adding paragraph (c).                             § 52.38(b)(1) and (b)(2)(iii) for those
                                                 Group 2 allowances allocated for control                   The addition reads as follows:                      sources and units, except to the extent
                                                 periods before 2023 to different amounts                                                                       the Administrator’s approval is partial
                                                                                                         § 52.789 Interstate pollutant transport
                                                 of CSAPR NOX Ozone Season Group 3                       provisions; What are the FIP requirements
                                                                                                                                                                or conditional. The obligation to comply
                                                 allowances), and the provisions of                      for decreases in emissions of nitrogen                 with such requirements with regard to
                                                 § 97.811(e) of this chapter (concerning                 oxides?                                                sources and units located in areas of
                                                 the recall of CSAPR NOX Ozone Season                    *     *     *     *     *                              Indian country within the borders of the
                                                 Group 2 allowances equivalent in                          (c) The owner and operator of each                   State not subject to the State’s SIP
                                                 quantity and usability to all such                      source located in the State of Indiana                 authority will not be eliminated by the
                                                 allowances allocated to units in the                    and for which requirements are set forth               promulgation of an approval by the
                                                 State for control periods after 2022)                   in § 52.40 and § 52.41, § 52.42, § 52.43,
                                                                                                                                                                Administrator of a revision to
                                                 shall continue to apply.                                                                                       Louisiana’s SIP.
                                                                                                         § 52.44, § 52.45, or § 52.46 must comply
                                                    (b) The owner and operator of each                                                                             (4) Notwithstanding the provisions of
                                                                                                         with such requirements with regard to
                                                 source located in the State of Arkansas                                                                        paragraph (d)(3) of this section, if, at the
                                                 and for which requirements are set forth                emissions occurring in 2026 and each                   time of the approval of Louisiana’s SIP
                                                 in § 52.40 and § 52.41, § 52.42, § 52.43,               subsequent year.                                       revision described in paragraph (d)(3) of
                                                 § 52.44, § 52.45, or § 52.46 must comply                Subpart S—Kentucky                                     this section, the Administrator has
                                                 with such requirements with regard to                                                                          already started recording any allocations
                                                 emissions occurring in 2026 and each                    ■  10. Amend § 52.940 by:                              of CSAPR NOX Ozone Season Group 3
                                                 subsequent year.                                        ■  a. In paragraph (b)(3), removing                    allowances under subpart GGGGG of
                                                                                                         ‘‘(b)(2)(v), except’’ and adding in its                part 97 of this chapter to units in the
                                                 Subpart F—California                                    place ‘‘(b)(2)(iii), except’’; and                     State and areas of Indian country within
                                                                                                         ■ b. Adding paragraph (c).                             the borders of the State subject to the
                                                 ■   7. Add § 52.284 to read as follows:
                                                                                                            The addition reads as follows:                      State’s SIP authority for a control period
                                                 § 52.284 Interstate pollutant transport                                                                        in any year, the provisions of subpart
                                                 provisions; What are the FIP requirements               § 52.940 Interstate pollutant transport                GGGGG of part 97 of this chapter
                                                 for decreases in emissions of nitrogen                  provisions; What are the FIP requirements              authorizing the Administrator to
                                                 oxides?                                                 for decreases in emissions of nitrogen                 complete the allocation and recordation
                                                                                                         oxides?
                                                   The owner and operator of each                                                                               of CSAPR NOX Ozone Season Group 3
                                                 source located in the State of California               *     *     *     *     *                              allowances to such units for each such
                                                 and Indian country within the borders                     (c) The owner and operator of each                   control period shall continue to apply,
                                                 of the State and for which requirements                 source located in the State of Kentucky                unless provided otherwise by such
                                                 are set forth in § 52.40 and § 52.41,                   and for which requirements are set forth               approval of the State’s SIP revision.
                                                 § 52.42, § 52.43, § 52.44, § 52.45, or                  in § 52.40 and § 52.41, § 52.42, § 52.43,              *      *    *      *     *
                                                 § 52.46 must comply with such                           § 52.44, § 52.45, or § 52.46 must comply                  (e) The owner and operator of each
                                                 requirements with regard to emissions                   with such requirements with regard to                  source located in the State of Louisiana
                                                 occurring in 2026 and each subsequent                   emissions occurring in 2026 and each                   and Indian country within the borders
                                                 year.                                                   subsequent year.                                       of the State and for which requirements
                                                                                                                                                                are set forth in § 52.40 and § 52.41,
                                                 Subpart O—Illinois                                      Subpart T—Louisiana
                                                                                                                                                                § 52.42, § 52.43, § 52.44, § 52.45, or
                                                                                                         ■ 11. Amend § 52.984 by:                               § 52.46 must comply with such
                                                 ■  8. Amend § 52.731 by:
                                                 ■  a. In paragraph (b)(3), removing                     ■ a. In paragraph (d)(3), revising the                 requirements with regard to emissions
                                                 ‘‘(b)(2)(v), except’’ and adding in its                 second and third sentences;                            occurring in 2026 and each subsequent
                                                 place ‘‘(b)(2)(iii), except’’; and                      ■ b. Revising paragraph (d)(4);                        year.
                                                 ■ b. Adding paragraph (c).                              ■ c. In paragraph (d)(5), adding ‘‘and
                                                                                                         Indian country within the borders of the               Subpart V—Maryland
                                                    The addition reads as follows:
                                                                                                         State’’ after ‘‘in the State’’; and                    ■  12. Amend § 52.1084 by:
                                                 § 52.731 Interstate pollutant transport                 ■ d. Adding paragraph (e).
                                                 provisions; What are the FIP requirements                                                                      ■  a. In paragraph (b)(3), removing
                                                                                                           The revision and addition read as                    ‘‘(b)(2)(v), except’’ and adding in its
                                                 for decreases in emissions of nitrogen
                                                 oxides?                                                 follows:                                               place ‘‘(b)(2)(iii), except’’; and
                                                                                                                                                                ■ b. Adding paragraph (c).
                                                 *     *     *     *     *                               § 52.984 Interstate pollutant transport
                                                                                                                                                                   The addition reads as follows:
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                                                   (c) The owner and operator of each                    provisions; What are the FIP requirements
                                                 source located in the State of Illinois                 for decreases in emissions of nitrogen                 § 52.1084 Interstate pollutant transport
                                                 and for which requirements are set forth                oxides?                                                provisions; What are the FIP requirements
                                                 in § 52.40 and § 52.41, § 52.42, § 52.43,               *     *    *    *     *                                for decreases in emissions of nitrogen
                                                 § 52.44, § 52.45, or § 52.46 must comply                  (d) * * *                                            oxides?
                                                 with such requirements with regard to                     (3) * * * The obligation to comply                   *     *    *     *     *
                                                 emissions occurring in 2026 and each                    with such requirements with regard to                    (c) The owner and operator of each
                                                 subsequent year.                                        sources and units in the State and areas               source located in the State of Maryland


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                                                 and for which requirements are set forth                unless provided otherwise by such                      State’s SIP authority for a control period
                                                 in § 52.40 and § 52.41, § 52.42, § 52.43,               approval of the State’s SIP revision.                  in any year, the provisions of subpart
                                                 § 52.44, § 52.45, or § 52.46 must comply                *     *     *      *    *                              GGGGG of part 97 of this chapter
                                                 with such requirements with regard to                     (f) The owner and operator of each                   authorizing the Administrator to
                                                 emissions occurring in 2026 and each                    source located in the State of Michigan                complete the allocation and recordation
                                                 subsequent year.                                        and Indian country within the borders                  of CSAPR NOX Ozone Season Group 3
                                                                                                         of the State and for which requirements                allowances to such units for each such
                                                 Subpart X—Michigan                                      are set forth in § 52.40 and § 52.41,                  control period shall continue to apply,
                                                                                                         § 52.42, § 52.43, § 52.44, § 52.45, or                 unless provided otherwise by such
                                                 ■ 13. Amend § 52.1186 by:                                                                                      approval of the State’s SIP revision.
                                                                                                         § 52.46 must comply with such
                                                 ■ a. In paragraph (e)(3), revising the
                                                                                                         requirements with regard to emissions
                                                 second and third sentences;                                                                                    Subpart Z—Mississippi
                                                                                                         occurring in 2026 and each subsequent
                                                 ■ b. Revising paragraph (e)(4);
                                                                                                         year.                                                  ■ 15. Amend § 52.1284 by:
                                                 ■ c. In paragraph (e)(5), adding ‘‘and
                                                 Indian country within the borders of the                                                                       ■ a. Redesignating paragraphs (a)
                                                                                                         Subpart Y—Minnesota                                    through (c) as paragraphs (a)(1) through
                                                 State’’ after ‘‘in the State’’; and
                                                 ■ d. Adding paragraph (f).                              ■ 14. Amend § 52.1240 by adding                        (3);
                                                                                                                                                                ■ b. In newly redesignated paragraph
                                                   The revision and addition read as                     paragraph (d) to read as follows:
                                                 follows:                                                                                                       (a)(2):
                                                                                                         § 52.1240 Interstate pollutant transport               ■ i. Removing ‘‘2017 and each
                                                 § 52.1186 Interstate pollutant transport                provisions; What are the FIP requirements              subsequent year’’ and adding in its
                                                 provisions; What are the FIP requirements               for decreases in emissions of nitrogen                 place ‘‘2017 through 2022’’; and
                                                 for decreases in emissions of nitrogen                  oxides?                                                ■ ii. Removing the second and third
                                                 oxides?                                                 *      *    *      *     *                             sentences;
                                                 *      *    *      *     *                                 (d)(1) The owner and operator of each               ■ c. Revising newly redesignated
                                                    (e) * * *                                            source and each unit located in the State              paragraph (a)(3); and
                                                    (3) * * * The obligation to comply                   of Minnesota and Indian country within                 ■ d. Adding paragraphs (a)(4) and (5)
                                                 with such requirements with regard to                   the borders of the State and for which                 and (b).
                                                 sources and units in the State and areas                requirements are set forth under the                      The revision and additions read as
                                                 of Indian country within the borders of                 CSAPR NOX Ozone Season Group 3                         follows:
                                                 the State subject to the State’s SIP                    Trading Program in subpart GGGGG of                    § 52.1284 Interstate pollutant transport
                                                 authority will be eliminated by the                     part 97 of this chapter must comply                    provisions; What are the FIP requirements
                                                 promulgation of an approval by the                      with such requirements with regard to                  for decreases in emissions of nitrogen
                                                 Administrator of a revision to                          emissions occurring in 2023 and each                   oxides?
                                                 Michigan’s State Implementation Plan                    subsequent year. The obligation to                       (a) * * *
                                                 (SIP) as correcting the SIP’s deficiency                comply with such requirements with                       (3) The owner and operator of each
                                                 that is the basis for the CSAPR Federal                 regard to sources and units in the State               source and each unit located in the State
                                                 Implementation Plan (FIP) under                         and areas of Indian country within the                 of Mississippi and Indian country
                                                 § 52.38(b)(1) and (b)(2)(iii) for those                 borders of the State subject to the State’s            within the borders of the State and for
                                                 sources and units, except to the extent                 SIP authority will be eliminated by the                which requirements are set forth under
                                                 the Administrator’s approval is partial                 promulgation of an approval by the                     the CSAPR NOX Ozone Season Group 3
                                                 or conditional. The obligation to comply                Administrator of a revision to                         Trading Program in subpart GGGGG of
                                                 with such requirements with regard to                   Minnesota’s State Implementation Plan                  part 97 of this chapter must comply
                                                 sources and units located in areas of                   (SIP) as correcting the SIP’s deficiency               with such requirements with regard to
                                                 Indian country within the borders of the                that is the basis for the CSAPR Federal                emissions occurring in 2023 and each
                                                 State not subject to the State’s SIP                    Implementation Plan (FIP) under                        subsequent year. The obligation to
                                                 authority will not be eliminated by the                 § 52.38(b)(1) and (b)(2)(iii) for those                comply with such requirements with
                                                 promulgation of an approval by the                      sources and units, except to the extent                regard to sources and units in the State
                                                 Administrator of a revision to                          the Administrator’s approval is partial                and areas of Indian country within the
                                                 Michigan’s SIP.                                         or conditional. The obligation to comply               borders of the State subject to the State’s
                                                    (4) Notwithstanding the provisions of                with such requirements with regard to                  SIP authority will be eliminated by the
                                                 paragraph (e)(3) of this section, if, at the            sources and units located in areas of                  promulgation of an approval by the
                                                 time of the approval of Michigan’s SIP                  Indian country within the borders of the               Administrator of a revision to
                                                 revision described in paragraph (e)(3) of               State not subject to the State’s SIP                   Mississippi’s State Implementation Plan
                                                 this section, the Administrator has                     authority will not be eliminated by the                (SIP) as correcting the SIP’s deficiency
                                                 already started recording any allocations               promulgation of an approval by the                     that is the basis for the CSAPR Federal
                                                 of CSAPR NOX Ozone Season Group 3                       Administrator of a revision to                         Implementation Plan (FIP) under
                                                 allowances under subpart GGGGG of                       Minnesota’s SIP.                                       § 52.38(b)(1) and (b)(2)(iii) for those
                                                 part 97 of this chapter to units in the                   (2) Notwithstanding the provisions of                sources and units, except to the extent
                                                 State and areas of Indian country within                paragraph (d)(1) of this section, if, at the           the Administrator’s approval is partial
                                                 the borders of the State subject to the                 time of the approval of Minnesota’s SIP                or conditional. The obligation to comply
                                                 State’s SIP authority for a control period              revision described in paragraph (d)(1) of              with such requirements with regard to
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                                                 in any year, the provisions of subpart                  this section, the Administrator has                    sources and units located in areas of
                                                 GGGGG of part 97 of this chapter                        already started recording any allocations              Indian country within the borders of the
                                                 authorizing the Administrator to                        of CSAPR NOX Ozone Season Group 3                      State not subject to the State’s SIP
                                                 complete the allocation and recordation                 allowances under subpart GGGGG of                      authority will not be eliminated by the
                                                 of CSAPR NOX Ozone Season Group 3                       part 97 of this chapter to units in the                promulgation of an approval by the
                                                 allowances to such units for each such                  State and areas of Indian country within               Administrator of a revision to
                                                 control period shall continue to apply,                 the borders of the State subject to the                Mississippi’s SIP.


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                                                    (4) Notwithstanding the provisions of                are set forth under the CSAPR NOX                      of CSAPR NOX Ozone Season Group 3
                                                 paragraph (a)(3) of this section, if, at the            Ozone Season Group 2 Trading Program                   allowances), and the provisions of
                                                 time of the approval of Mississippi’s SIP               in subpart EEEEE of part 97 of this                    § 97.811(e) of this chapter (concerning
                                                 revision described in paragraph (a)(3) of               chapter must comply with such                          the recall of CSAPR NOX Ozone Season
                                                 this section, the Administrator has                     requirements with regard to emissions                  Group 2 allowances equivalent in
                                                 already started recording any allocations               occurring in 2017 through 2022. The                    quantity and usability to all such
                                                 of CSAPR NOX Ozone Season Group 3                       obligation to comply with such                         allowances allocated to units in the
                                                 allowances under subpart GGGGG of                       requirements will be eliminated by the                 State for control periods after 2022)
                                                 part 97 of this chapter to units in the                 promulgation of an approval by the                     shall continue to apply.
                                                 State and areas of Indian country within                Administrator of a revision to Missouri’s                 (c) The owner and operator of each
                                                 the borders of the State subject to the                 State Implementation Plan (SIP) as                     source located in the State of Missouri
                                                 State’s SIP authority for a control period              correcting the SIP’s deficiency that is                and for which requirements are set forth
                                                 in any year, the provisions of subpart                  the basis for the CSAPR Federal                        in § 52.40 and § 52.41, § 52.42, § 52.43,
                                                 GGGGG of part 97 of this chapter                        Implementation Plan (FIP) under                        § 52.44, § 52.45, or § 52.46 must comply
                                                 authorizing the Administrator to                        § 52.38(b)(1) and (b)(2)(ii), except to the            with such requirements with regard to
                                                 complete the allocation and recordation                 extent the Administrator’s approval is                 emissions occurring in 2026 and each
                                                 of CSAPR NOX Ozone Season Group 3                       partial or conditional.                                subsequent year.
                                                 allowances to such units for each such                     (3) The owner and operator of each
                                                 control period shall continue to apply,                 source and each unit located in the State              Subpart DD—Nevada
                                                 unless provided otherwise by such                       of Missouri and for which requirements
                                                                                                                                                                ■   17. Add § 52.1492 to read as follows:
                                                 approval of the State’s SIP revision.                   are set forth under the CSAPR NOX
                                                    (5) Notwithstanding the provisions of                Ozone Season Group 3 Trading Program                   § 52.1492 Interstate pollutant transport
                                                 paragraph (a)(2) of this section, after                 in subpart GGGGG of part 97 of this                    provisions; What are the FIP requirements
                                                 2022 the provisions of § 97.826(c) of this              chapter must comply with such                          for decreases in emissions of nitrogen
                                                 chapter (concerning the transfer of                     requirements with regard to emissions                  oxides?
                                                 CSAPR NOX Ozone Season Group 2                          occurring in 2023 and each subsequent                     (a)(1) The owner and operator of each
                                                 allowances between certain accounts                     year. The obligation to comply with                    source and each unit located in the State
                                                 under common control), the provisions                   such requirements will be eliminated by                of Nevada and Indian country within
                                                 of § 97.826(e) of this chapter                          the promulgation of an approval by the                 the borders of the State and for which
                                                 (concerning the conversion of amounts                   Administrator of a revision to Missouri’s              requirements are set forth under the
                                                 of unused CSAPR NOX Ozone Season                        State Implementation Plan (SIP) as                     CSAPR NOX Ozone Season Group 3
                                                 Group 2 allowances allocated for control                correcting the SIP’s deficiency that is                Trading Program in subpart GGGGG of
                                                 periods before 2023 to different amounts                the basis for the CSAPR Federal                        part 97 of this chapter must comply
                                                 of CSAPR NOX Ozone Season Group 3                       Implementation Plan (FIP) under                        with such requirements with regard to
                                                 allowances), and the provisions of                      § 52.38(b)(1) and (b)(2)(iii), except to the           emissions occurring in 2023 and each
                                                 § 97.811(e) of this chapter (concerning                 extent the Administrator’s approval is                 subsequent year. The obligation to
                                                 the recall of CSAPR NOX Ozone Season                    partial or conditional.                                comply with such requirements with
                                                 Group 2 allowances equivalent in                           (4) Notwithstanding the provisions of               regard to sources and units in the State
                                                 quantity and usability to all such                      paragraphs (b)(2) and (3) of this section,             and areas of Indian country within the
                                                 allowances allocated to units in the                    if, at the time of the approval of                     borders of the State subject to the State’s
                                                 State and Indian country within the                     Missouri’s SIP revision described in                   SIP authority will be eliminated by the
                                                 borders of the State for control periods                paragraph (b)(2) or (3) of this section,               promulgation of an approval by the
                                                 after 2022) shall continue to apply.                    the Administrator has already started                  Administrator of a revision to Nevada’s
                                                    (b) The owner and operator of each                   recording any allocations of CSAPR                     State Implementation Plan (SIP) as
                                                 source located in the State of                          NOX Ozone Season Group 2 allowances                    correcting the SIP’s deficiency that is
                                                 Mississippi and Indian country within                   or CSAPR NOX Ozone Season Group 3                      the basis for the CSAPR Federal
                                                 the borders of the State and for which                  allowances under subpart EEEEE or                      Implementation Plan (FIP) under
                                                 requirements are set forth in § 52.40 and               GGGGG, respectively, of part 97 of this                § 52.38(b)(1) and (b)(2)(iii) for those
                                                 § 52.41, § 52.42, § 52.43, § 52.44, § 52.45,            chapter to units in the State for a control            sources and units, except to the extent
                                                 or § 52.46 must comply with such                        period in any year, the provisions of                  the Administrator’s approval is partial
                                                 requirements with regard to emissions                   such subpart authorizing the                           or conditional. The obligation to comply
                                                 occurring in 2026 and each subsequent                   Administrator to complete the                          with such requirements with regard to
                                                 year.                                                   allocation and recordation of such                     sources and units located in areas of
                                                                                                         allowances to such units for each such                 Indian country within the borders of the
                                                 Subpart AA—Missouri                                     control period shall continue to apply,                State not subject to the State’s SIP
                                                                                                         unless provided otherwise by such                      authority will not be eliminated by the
                                                 ■ 16. Amend § 52.1326 by revising                       approval of the State’s SIP revision.                  promulgation of an approval by the
                                                 paragraph (b)(2) and (3) and adding                        (5) Notwithstanding the provisions of               Administrator of a revision to Nevada’s
                                                 paragraphs (b)(4) and (5) and (c) to read               paragraph (b)(2) of this section, after                SIP.
                                                 as follows:                                             2022 the provisions of § 97.826(c) of this               (2) Notwithstanding the provisions of
                                                 § 52.1326 Interstate pollutant transport                chapter (concerning the transfer of                    paragraph (a)(1) of this section, if, at the
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                                                 provisions; What are the FIP requirements               CSAPR NOX Ozone Season Group 2                         time of the approval of Nevada’s SIP
                                                 for decreases in emissions of nitrogen                  allowances between certain accounts                    revision described in paragraph (a)(1) of
                                                 oxides?                                                 under common control), the provisions                  this section, the Administrator has
                                                 *     *    *    *     *                                 of § 97.826(e) of this chapter                         already started recording any allocations
                                                   (b) * * *                                             (concerning the conversion of amounts                  of CSAPR NOX Ozone Season Group 3
                                                   (2) The owner and operator of each                    of unused CSAPR NOX Ozone Season                       allowances under subpart GGGGG of
                                                 source and each unit located in the State               Group 2 allowances allocated for control               part 97 of this chapter to units in the
                                                 of Missouri and for which requirements                  periods before 2023 to different amounts               State and areas of Indian country within


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                                                 the borders of the State subject to the                 promulgation of an approval by the                     § 52.44, § 52.45, or § 52.46 must comply
                                                 State’s SIP authority for a control period              Administrator of a revision to New                     with such requirements with regard to
                                                 in any year, the provisions of subpart                  York’s State Implementation Plan (SIP)                 emissions occurring in 2026 and each
                                                 GGGGG of part 97 of this chapter                        as correcting the SIP’s deficiency that is             subsequent year.
                                                 authorizing the Administrator to                        the basis for the CSAPR Federal
                                                 complete the allocation and recordation                 Implementation Plan (FIP) under                        Subpart LL—Oklahoma
                                                 of CSAPR NOX Ozone Season Group 3                       § 52.38(b)(1) and (b)(2)(iii) for those
                                                                                                                                                                ■ 21. Amend § 52.1930 by:
                                                 allowances to such units for each such                  sources and units, except to the extent                ■ a. Redesignating paragraphs (a)
                                                 control period shall continue to apply,                 the Administrator’s approval is partial                through (c) as paragraphs (a)(1) through
                                                 unless provided otherwise by such                       or conditional. The obligation to comply               (3);
                                                 approval of the State’s SIP revision.                   with such requirements with regard to                  ■ b. In newly redesignated paragraph
                                                    (b) The owner and operator of each                   sources and units located in areas of                  (a)(2):
                                                 source located in the State of Nevada                   Indian country within the borders of the               ■ i. Removing ‘‘2017 and each
                                                 and Indian country within the borders                   State not subject to the State’s SIP                   subsequent year’’ and adding in its
                                                 of the State and for which requirements                 authority will not be eliminated by the                place ‘‘2017 through 2022’’; and
                                                 are set forth in § 52.40 and § 52.41,                   promulgation of an approval by the                     ■ ii. Removing the second and third
                                                 § 52.42, § 52.43, § 52.44, § 52.45, or                  Administrator of a revision to New                     sentences;
                                                 § 52.46 must comply with such                           York’s SIP.                                            ■ c. Revising newly redesignated
                                                 requirements with regard to emissions                      (4) Notwithstanding the provisions of               paragraph (a)(3); and
                                                 occurring in 2026 and each subsequent                   paragraph (b)(3) of this section, if, at the           ■ d. Adding paragraphs (a)(4) and (5)
                                                 year.                                                   time of the approval of New York’s SIP                 and (b).
                                                                                                         revision described in paragraph (b)(3) of                 The revision and additions read as
                                                 Subpart FF—New Jersey                                   this section, the Administrator has                    follows:
                                                                                                         already started recording any allocations
                                                 ■  18. Amend § 52.1584 by:                              of CSAPR NOX Ozone Season Group 3                      § 52.1930 Interstate pollutant transport
                                                 ■  a. In paragraph (e)(3), removing                                                                            provisions; What are the FIP requirements
                                                                                                         allowances under subpart GGGGG of                      for decreases in emissions of nitrogen
                                                 ‘‘(b)(2)(v), except’’ and adding in its                 part 97 of this chapter to units in the
                                                 place ‘‘(b)(2)(iii), except’’; and                                                                             oxides?
                                                                                                         State and areas of Indian country within                 (a) * * *
                                                 ■ b. Adding paragraph (f).
                                                                                                         the borders of the State subject to the                  (3) The owner and operator of each
                                                    The addition reads as follows:                       State’s SIP authority for a control period             source and each unit located in the State
                                                 § 52.1584 Interstate pollutant transport                in any year, the provisions of subpart                 of Oklahoma and Indian country within
                                                 provisions; What are the FIP requirements               GGGGG of part 97 of this chapter                       the borders of the State and for which
                                                 for decreases in emissions of nitrogen                  authorizing the Administrator to                       requirements are set forth under the
                                                 oxides?                                                 complete the allocation and recordation                CSAPR NOX Ozone Season Group 3
                                                 *     *     *     *     *                               of CSAPR NOX Ozone Season Group 3                      Trading Program in subpart GGGGG of
                                                   (f) The owner and operator of each                    allowances to such units for each such                 part 97 of this chapter must comply
                                                 source located in the State of New Jersey               control period shall continue to apply,                with such requirements with regard to
                                                 and for which requirements are set forth                unless provided otherwise by such                      emissions occurring in 2023 and each
                                                 in § 52.40 and § 52.41, § 52.42, § 52.43,               approval of the State’s SIP revision.                  subsequent year. The obligation to
                                                 § 52.44, § 52.45, or § 52.46 must comply                *      *    *      *    *                              comply with such requirements with
                                                 with such requirements with regard to                      (c) The owner and operator of each                  regard to sources and units in the State
                                                 emissions occurring in 2026 and each                    source located in the State of New York                and areas of Indian country within the
                                                 subsequent year.                                        and Indian country within the borders                  borders of the State subject to the State’s
                                                                                                         of the State and for which requirements                SIP authority will be eliminated by the
                                                 Subpart HH—New York                                     are set forth in § 52.40 and § 52.41,                  promulgation of an approval by the
                                                                                                         § 52.42, § 52.43, § 52.44, § 52.45, or                 Administrator of a revision to
                                                 ■ 19. Amend § 52.1684 by:
                                                                                                         § 52.46 must comply with such                          Oklahoma’s State Implementation Plan
                                                 ■ a. In paragraph (b)(3), revising the
                                                                                                         requirements with regard to emissions                  (SIP) as correcting the SIP’s deficiency
                                                 second and third sentences;
                                                                                                         occurring in 2026 and each subsequent                  that is the basis for the CSAPR Federal
                                                 ■ b. Revising paragraph (b)(4);
                                                                                                         year.                                                  Implementation Plan (FIP) under
                                                 ■ c. In paragraph (b)(5), adding ‘‘and
                                                 Indian country within the borders of the                                                                       § 52.38(b)(1) and (b)(2)(iii) for those
                                                                                                         Subpart KK—Ohio                                        sources and units, except to the extent
                                                 State’’ after ‘‘in the State’’; and
                                                 ■ d. Adding paragraph (c).
                                                                                                                                                                the Administrator’s approval is partial
                                                                                                         ■  20. Amend § 52.1882 by:
                                                   The revision and addition read as                                                                            or conditional. The obligation to comply
                                                                                                         ■  a. In paragraph (b)(3), removing
                                                 follows:                                                                                                       with such requirements with regard to
                                                                                                         ‘‘(b)(2)(v), except’’ and adding in its
                                                                                                                                                                sources and units located in areas of
                                                                                                         place ‘‘(b)(2)(iii), except’’; and
                                                 § 52.1684 Interstate pollutant transport
                                                                                                         ■ b. Adding paragraph (c).
                                                                                                                                                                Indian country within the borders of the
                                                 provisions; What are the FIP requirements
                                                                                                            The addition reads as follows:                      State not subject to the State’s SIP
                                                 for decreases in emissions of nitrogen                                                                         authority will not be eliminated by the
                                                 oxides?                                                 § 52.1882 Interstate pollutant transport               promulgation of an approval by the
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                                                 *     *     *    *      *                               provisions; What are the FIP requirements              Administrator of a revision to
                                                   (b) * * *                                             for decreases in emissions of nitrogen                 Oklahoma’s SIP.
                                                   (3) * * * The obligation to comply                    oxides?                                                  (4) Notwithstanding the provisions of
                                                 with such requirements with regard to                   *     *    *     *     *                               paragraph (a)(3) of this section, if, at the
                                                 sources and units in the State and areas                  (c) The owner and operator of each                   time of the approval of Oklahoma’s SIP
                                                 of Indian country within the borders of                 source located in the State of Ohio and                revision described in paragraph (a)(3) of
                                                 the State subject to the State’s SIP                    for which requirements are set forth in                this section, the Administrator has
                                                 authority will be eliminated by the                     § 52.40 and § 52.41, § 52.42, § 52.43,                 already started recording any allocations


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                                                 of CSAPR NOX Ozone Season Group 3                       occurring in 2026 and each subsequent                  in any year, the provisions of subpart
                                                 allowances under subpart GGGGG of                       year.                                                  GGGGG of part 97 of this chapter
                                                 part 97 of this chapter to units in the                                                                        authorizing the Administrator to
                                                 State and areas of Indian country within                Subpart SS—Texas                                       complete the allocation and recordation
                                                 the borders of the State subject to the                                                                        of CSAPR NOX Ozone Season Group 3
                                                                                                         ■ 23. Amend § 52.2283 by:
                                                 State’s SIP authority for a control period                                                                     allowances to such units for each such
                                                                                                         ■ a. In paragraph (d)(2):
                                                 in any year, the provisions of subpart                  ■ i. Removing ‘‘2017 and each                          control period shall continue to apply,
                                                 GGGGG of part 97 of this chapter                        subsequent year’’ and adding in its                    unless provided otherwise by such
                                                 authorizing the Administrator to                        place ‘‘2017 through 2022’’; and                       approval of the State’s SIP revision.
                                                 complete the allocation and recordation                 ■ ii. Removing the second and third
                                                                                                                                                                   (5) Notwithstanding the provisions of
                                                 of CSAPR NOX Ozone Season Group 3                       sentences;                                             paragraph (d)(2) of this section, after
                                                 allowances to such units for each such                  ■ b. Revising paragraph (d)(3); and                    2022 the provisions of § 97.826(c) of this
                                                 control period shall continue to apply,                 ■ c. Adding paragraphs (d)(4) and (5)                  chapter (concerning the transfer of
                                                 unless provided otherwise by such                       and (e).                                               CSAPR NOX Ozone Season Group 2
                                                 approval of the State’s SIP revision.                     The revision and additions read as                   allowances between certain accounts
                                                    (5) Notwithstanding the provisions of                follows:                                               under common control), the provisions
                                                 paragraph (a)(2) of this section, after                                                                        of § 97.826(e) of this chapter
                                                                                                         § 52.2283 Interstate pollutant transport               (concerning the conversion of amounts
                                                 2022 the provisions of § 97.826(c) of this              provisions; What are the FIP requirements
                                                 chapter (concerning the transfer of                                                                            of unused CSAPR NOX Ozone Season
                                                                                                         for decreases in emissions of nitrogen                 Group 2 allowances allocated for control
                                                 CSAPR NOX Ozone Season Group 2                          oxides?
                                                 allowances between certain accounts                                                                            periods before 2023 to different amounts
                                                                                                         *      *    *     *    *                               of CSAPR NOX Ozone Season Group 3
                                                 under common control), the provisions                      (d) * * *
                                                 of § 97.826(e) of this chapter                                                                                 allowances), and the provisions of
                                                                                                            (3) The owner and operator of each                  § 97.811(e) of this chapter (concerning
                                                 (concerning the conversion of amounts                   source and each unit located in the State
                                                 of unused CSAPR NOX Ozone Season                                                                               the recall of CSAPR NOX Ozone Season
                                                                                                         of Texas and Indian country within the                 Group 2 allowances equivalent in
                                                 Group 2 allowances allocated for control                borders of the State and for which
                                                 periods before 2023 to different amounts                                                                       quantity and usability to all such
                                                                                                         requirements are set forth under the                   allowances allocated to units in the
                                                 of CSAPR NOX Ozone Season Group 3                       CSAPR NOX Ozone Season Group 3
                                                 allowances), and the provisions of                                                                             State and Indian country within the
                                                                                                         Trading Program in subpart GGGGG of                    borders of the State for control periods
                                                 § 97.811(e) of this chapter (concerning                 part 97 of this chapter must comply
                                                 the recall of CSAPR NOX Ozone Season                                                                           after 2022) shall continue to apply.
                                                                                                         with such requirements with regard to                     (e) The owner and operator of each
                                                 Group 2 allowances equivalent in                        emissions occurring in 2023 and each                   source located in the State of Texas and
                                                 quantity and usability to all such                      subsequent year. The obligation to                     Indian country within the borders of the
                                                 allowances allocated to units in the                    comply with such requirements with                     State and for which requirements are set
                                                 State and Indian country within the                     regard to sources and units in the State               forth in § 52.40 and § 52.41, § 52.42,
                                                 borders of the State for control periods                and areas of Indian country within the                 § 52.43, § 52.44, § 52.45, or § 52.46 must
                                                 after 2022) shall continue to apply.                    borders of the State subject to the State’s            comply with such requirements with
                                                    (b) The owner and operator of each                   SIP authority will be eliminated by the                regard to emissions occurring in 2026
                                                 source located in the State of Oklahoma                 promulgation of an approval by the                     and each subsequent year.
                                                 and Indian country within the borders                   Administrator of a revision to Texas’
                                                 of the State and for which requirements                 State Implementation Plan (SIP) as                     Subpart TT—Utah
                                                 are set forth in § 52.40 and § 52.41,                   correcting the SIP’s deficiency that is
                                                 § 52.42, § 52.43, § 52.44, § 52.45, or                  the basis for the CSAPR Federal                        ■   24. Add § 52.2356 to read as follows:
                                                 § 52.46 must comply with such                           Implementation Plan (FIP) under                        § 52.2356 Interstate pollutant transport
                                                 requirements with regard to emissions                   § 52.38(b)(1) and (b)(2)(iii) for those                provisions; What are the FIP requirements
                                                 occurring in 2026 and each subsequent                   sources and units, except to the extent                for decreases in emissions of nitrogen
                                                 year.                                                   the Administrator’s approval is partial                oxides?
                                                                                                         or conditional. The obligation to comply                 (a)(1) The owner and operator of each
                                                 Subpart NN—Pennsylvania                                 with such requirements with regard to                  source and each unit located in the State
                                                 ■  22. Amend § 52.2040 by:                              sources and units located in areas of                  of Utah and Indian country within the
                                                 ■  a. In paragraph (b)(3), removing                     Indian country within the borders of the               borders of the State and for which
                                                 ‘‘(b)(2)(v), except’’ and adding in its                 State not subject to the State’s SIP                   requirements are set forth under the
                                                 place ‘‘(b)(2)(iii), except’’; and                      authority will not be eliminated by the                CSAPR NOX Ozone Season Group 3
                                                 ■ b. Adding paragraph (c).
                                                                                                         promulgation of an approval by the                     Trading Program in subpart GGGGG of
                                                    The addition reads as follows:                       Administrator of a revision to Texas’                  part 97 of this chapter must comply
                                                                                                         SIP.                                                   with such requirements with regard to
                                                 § 52.2040 Interstate pollutant transport                  (4) Notwithstanding the provisions of                emissions occurring in 2023 and each
                                                 provisions; What are the FIP requirements               paragraph (d)(3) of this section, if, at the           subsequent year. The obligation to
                                                 for decreases in emissions of nitrogen                  time of the approval of Texas’ SIP                     comply with such requirements with
                                                 oxides?                                                 revision described in paragraph (d)(3) of              regard to sources and units in the State
                                                 *     *     *     *     *                               this section, the Administrator has
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                                                                                                                                                                and areas of Indian country within the
                                                   (c) The owner and operator of each                    already started recording any allocations              borders of the State subject to the State’s
                                                 source located in the State of                          of CSAPR NOX Ozone Season Group 3                      SIP authority will be eliminated by the
                                                 Pennsylvania and for which                              allowances under subpart GGGGG of                      promulgation of an approval by the
                                                 requirements are set forth in § 52.40 and               part 97 of this chapter to units in the                Administrator of a revision to Utah’s
                                                 § 52.41, § 52.42, § 52.43, § 52.44, § 52.45,            State and areas of Indian country within               State Implementation Plan (SIP) as
                                                 or § 52.46 must comply with such                        the borders of the State subject to the                correcting the SIP’s deficiency that is
                                                 requirements with regard to emissions                   State’s SIP authority for a control period             the basis for the CSAPR Federal


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                                                 Implementation Plan (FIP) under                         ■  a. In paragraph (b)(3), removing                    authority will not be eliminated by the
                                                 § 52.38(b)(1) and (b)(2)(iii) for those                 ‘‘(b)(2)(v), except’’ and adding in its                promulgation of an approval by the
                                                 sources and units, except to the extent                 place ‘‘(b)(2)(iii), except’’; and                     Administrator of a revision to
                                                 the Administrator’s approval is partial                 ■ b. Adding paragraph (c).                             Wisconsin’s SIP.
                                                 or conditional. The obligation to comply                   The addition reads as follows:                         (4) Notwithstanding the provisions of
                                                 with such requirements with regard to                                                                          paragraph (e)(3) of this section, if, at the
                                                                                                         § 52.2540 Interstate pollutant transport
                                                 sources and units located in areas of                                                                          time of the approval of Wisconsin’s SIP
                                                                                                         provisions; What are the FIP requirements
                                                 Indian country within the borders of the                for decreases in emissions of nitrogen                 revision described in paragraph (e)(3) of
                                                 State not subject to the State’s SIP                    oxides?                                                this section, the Administrator has
                                                 authority will not be eliminated by the                                                                        already started recording any allocations
                                                                                                         *     *     *     *     *
                                                 promulgation of an approval by the                        (c) The owner and operator of each                   of CSAPR NOX Ozone Season Group 3
                                                 Administrator of a revision to Utah’s                   source located in the State of West                    allowances under subpart GGGGG of
                                                 SIP.                                                    Virginia and for which requirements are                part 97 of this chapter to units in the
                                                    (2) Notwithstanding the provisions of                                                                       State and areas of Indian country within
                                                                                                         set forth in § 52.40 and § 52.41, § 52.42,
                                                 paragraph (a)(1) of this section, if, at the                                                                   the borders of the State subject to the
                                                                                                         § 52.43, § 52.44, § 52.45, or § 52.46 must
                                                 time of the approval of Utah’s SIP                                                                             State’s SIP authority for a control period
                                                                                                         comply with such requirements with
                                                 revision described in paragraph (a)(1) of                                                                      in any year, the provisions of subpart
                                                                                                         regard to emissions occurring in 2026
                                                 this section, the Administrator has                                                                            GGGGG of part 97 of this chapter
                                                                                                         and each subsequent year.
                                                 already started recording any allocations                                                                      authorizing the Administrator to
                                                 of CSAPR NOX Ozone Season Group 3                       Subpart YY—Wisconsin                                   complete the allocation and recordation
                                                 allowances under subpart GGGGG of                                                                              of CSAPR NOX Ozone Season Group 3
                                                 part 97 of this chapter to units in the                 ■ 27. Amend § 52.2587 by:                              allowances to such units for each such
                                                 State and areas of Indian country within                ■ a. In paragraph (e)(2):                              control period shall continue to apply,
                                                 the borders of the State subject to the                 ■ i. Removing ‘‘2017 and each                          unless provided otherwise by such
                                                 State’s SIP authority for a control period              subsequent year’’ and adding in its                    approval of the State’s SIP revision.
                                                 in any year, the provisions of subpart                  place ‘‘2017 through 2022’’; and                          (5) Notwithstanding the provisions of
                                                 GGGGG of part 97 of this chapter                        ■ ii. Removing the second and third                    paragraph (e)(2) of this section, after
                                                 authorizing the Administrator to                        sentences;                                             2022 the provisions of § 97.826(c) of this
                                                 complete the allocation and recordation                 ■ b. Revising paragraph (e)(3); and                    chapter (concerning the transfer of
                                                 of CSAPR NOX Ozone Season Group 3                       ■ c. Adding paragraphs (e)(4) and (5).                 CSAPR NOX Ozone Season Group 2
                                                 allowances to such units for each such                    The revision and additions read as                   allowances between certain accounts
                                                 control period shall continue to apply,                 follows:                                               under common control), the provisions
                                                 unless provided otherwise by such                       § 52.2587 Interstate pollutant transport
                                                                                                                                                                of § 97.826(e) of this chapter
                                                 approval of the State’s SIP revision.                   provisions; What are the FIP requirements              (concerning the conversion of amounts
                                                    (b) The owner and operator of each                   for decreases in emissions of nitrogen                 of unused CSAPR NOX Ozone Season
                                                 source located in the State of Utah and                 oxides?                                                Group 2 allowances allocated for control
                                                 Indian country within the borders of the                *     *     *      *     *                             periods before 2023 to different amounts
                                                 State and for which requirements are set                  (e) * * *                                            of CSAPR NOX Ozone Season Group 3
                                                 forth in § 52.40 and § 52.41, § 52.42,                    (3) The owner and operator of each                   allowances), and the provisions of
                                                 § 52.43, § 52.44, § 52.45, or § 52.46 must              source and each unit located in the State              § 97.811(e) of this chapter (concerning
                                                 comply with such requirements with                      of Wisconsin and Indian country within                 the recall of CSAPR NOX Ozone Season
                                                 regard to emissions occurring in 2026                   the borders of the State and for which                 Group 2 allowances equivalent in
                                                 and each subsequent year.                               requirements are set forth under the                   quantity and usability to all such
                                                                                                         CSAPR NOX Ozone Season Group 3                         allowances allocated to units in the
                                                 Subpart VV—Virginia                                                                                            State and Indian country within the
                                                                                                         Trading Program in subpart GGGGG of
                                                                                                         part 97 of this chapter must comply                    borders of the State for control periods
                                                 ■  25. Amend § 52.2440 by:
                                                 ■  a. In paragraph (b)(3), removing                     with such requirements with regard to                  after 2022) shall continue to apply.
                                                 ‘‘(b)(2)(v), except’’ and adding in its                 emissions occurring in 2023 and each
                                                                                                                                                                PART 75—CONTINUOUS EMISSION
                                                 place ‘‘(b)(2)(iii), except’’; and                      subsequent year. The obligation to
                                                                                                                                                                MONITORING
                                                 ■ b. Adding paragraph (c).                              comply with such requirements with
                                                    The addition reads as follows:                       regard to sources and units in the State               ■  28. The authority citation for part 75
                                                                                                         and areas of Indian country within the                 is revised to read as follows:
                                                 § 52.2440 Interstate pollutant transport                borders of the State subject to the State’s
                                                 provisions; What are the FIP requirements                                                                        Authority: 42 U.S.C. 7401–7671q and
                                                 for decreases in emissions of nitrogen
                                                                                                         SIP authority will be eliminated by the
                                                                                                                                                                7651k note.
                                                 oxides?                                                 promulgation of an approval by the
                                                                                                         Administrator of a revision to                         Subpart H—NOX Mass Emissions
                                                 *     *     *     *     *
                                                                                                         Wisconsin’s State Implementation Plan                  Provisions
                                                   (c) The owner and operator of each
                                                                                                         (SIP) as correcting the SIP’s deficiency
                                                 source located in the State of Virginia
                                                                                                         that is the basis for the CSAPR Federal                ■  29. Amend § 75.72 by:
                                                 and for which requirements are set forth
                                                                                                         Implementation Plan (FIP) under                        ■  a. In paragraph (c)(3), removing
                                                 in § 52.40 and § 52.41, § 52.42, § 52.43,
                                                                                                         § 52.38(b)(1) and (b)(2)(iii) for those
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                                                 § 52.44, § 52.45, or § 52.46 must comply                                                                       ‘‘appendix B of this part’’ and adding in
                                                                                                         sources and units, except to the extent                its place ‘‘appendix B to this part’’;
                                                 with such requirements with regard to
                                                                                                         the Administrator’s approval is partial                ■ b. In paragraph (e)(1)(ii), removing
                                                 emissions occurring in 2026 and each
                                                                                                         or conditional. The obligation to comply               ‘‘heat input from’’ and adding in its
                                                 subsequent year.
                                                                                                         with such requirements with regard to                  place ‘‘heat input rate to’’;
                                                 Subpart XX—West Virginia                                sources and units located in areas of                  ■ c. In paragraph (e)(2), removing
                                                                                                         Indian country within the borders of the               ‘‘appendix D of this part’’ and adding in
                                                 ■   26. Amend § 52.2540 by:                             State not subject to the State’s SIP                   its place ‘‘appendix D to this part’’; and


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                                                 ■   d. Adding paragraph (f).                            information in § 75.53(h)(1)(ii) and                   or before September 30 of the previous
                                                     The addition reads as follows:                      (h)(2)(ii) in hardcopy format. For units               year:
                                                                                                         using the low mass emissions excepted                     (A) Daily NOX emissions (lbs) for each
                                                 § 75.72 Determination of NOX mass                                                                              day of the reporting period;
                                                                                                         methodology under § 75.19, the
                                                 emissions for common stack and multiple
                                                                                                         monitoring plan shall include the                         (B) Daily heat input (mmBtu) for each
                                                 stack configurations.
                                                                                                         additional information in § 75.53(h)(4)(i)             day of the reporting period;
                                                 *      *      *   *      *                              and (ii). The monitoring plan also shall                  (C) Daily average NOX emission rate
                                                    (f) Procedures for apportioning hourly                                                                      (lb/mmBtu, rounded to the nearest
                                                                                                         include a seasonal controls indicator
                                                 NOX mass emission rate to the unit                                                                             thousandth) for each day of the
                                                                                                         and an ozone season fuel-switching flag.
                                                 level. If the owner or operator of a unit                                                                      reporting period;
                                                 determining hourly NOX mass emission                    *      *     *    *      *
                                                                                                           (f) * * *                                               (D) Daily NOX emissions (lbs)
                                                 rate at a common stack under this                                                                              exceeding the applicable backstop daily
                                                 section is subject to a State or Federal                  (1) Electronic submission. The
                                                                                                         designated representative for an affected              NOX emission rate for each day of the
                                                 NOX mass emissions reduction program                                                                           reporting period;
                                                 under subpart GGGGG of part 97 of this                  unit shall electronically report the data
                                                                                                         and information in this paragraph (f)(1)                  (E) Cumulative NOX emissions (tons,
                                                 chapter or under a state implementation                                                                        rounded to the nearest tenth) exceeding
                                                 plan approved pursuant to                               and in paragraphs (f)(2) and (3) of this
                                                                                                         section to the Administrator quarterly,                the applicable backstop daily NOX
                                                 § 52.38(b)(12) of this chapter, then on                                                                        emission rate during the ozone season;
                                                 and after January 1, 2024, the owner or                 unless the unit has been placed in long-
                                                                                                         term cold storage (as defined in § 72.2                and
                                                 operator shall apportion the hourly NOX                                                                           (F) Cumulative NOX emissions (tons,
                                                 mass emissions rate at the common                       of this chapter). Each electronic report
                                                                                                                                                                rounded to the nearest tenth) exceeding
                                                 stack to each unit using the common                     must be submitted to the Administrator
                                                                                                                                                                the applicable backstop daily NOX
                                                 stack based on the ratio of the hourly                  within 30 days following the end of
                                                                                                                                                                emission rate during the ozone season
                                                 heat input rate for each such unit to the               each calendar quarter. Each electronic
                                                                                                                                                                by more than 50 tons, calculated as the
                                                 total hourly heat input rate for all such               report shall include the information
                                                                                                                                                                remainder of the amount calculated
                                                 units, in conjunction with the                          provided in paragraphs (f)(1)(i) through
                                                                                                                                                                under paragraph (f)(1)(x)(E) of this
                                                 appropriate unit and stack operating                    (x) of this section and shall also include
                                                                                                                                                                section minus 50, but not less than zero.
                                                 times, according to the procedures in                   the date of report generation. A unit
                                                                                                                                                                   (2) Verification of identification codes
                                                 section 8.5.3 of appendix F to this part.               placed into long-term cold storage is
                                                                                                                                                                and formulas. * * *
                                                                                                         exempted from submitting quarterly                        (4) Electronic format, method of
                                                 *      *      *   *      *                              reports beginning with the calendar
                                                 ■ 30. Amend § 75.73 by:                                                                                        submission, and explanatory
                                                                                                         quarter following the quarter in which                 information. The designated
                                                 ■ a. Revising paragraph (a)(3);                         the unit is placed into long-term cold
                                                 ■ b. In paragraph (c)(1), removing ‘‘NOX                                                                       representative shall comply with all of
                                                                                                         storage, provided that the owner or                    the quarterly reporting requirements in
                                                 emissions’’ and adding in its place                     operator shall submit quarterly reports
                                                 ‘‘NOX emissions’’;                                                                                             § 75.64(d), (f), and (g).
                                                                                                         for the unit beginning with the data
                                                 ■ c. Adding a heading to paragraph                                                                             ■ 31. Revise § 75.75 to read as follows:
                                                                                                         from the quarter in which the unit
                                                 (c)(2);                                                 recommences operation (where the
                                                 ■ d. Revising paragraphs (c)(3) and (f)(1)
                                                                                                                                                                § 75.75 Additional ozone season
                                                                                                         initial quarterly report contains hourly               calculation procedures.
                                                 introductory text;                                      data beginning with the first hour of
                                                 ■ e. Removing and reserving paragraph                                                                            (a) The owner or operator of a unit
                                                                                                         recommenced operation of the unit).                    that is required to calculate daily or
                                                 (f)(1)(i)(B);
                                                 ■ f. In paragraph (f)(1)(ii)(G), removing               *      *     *    *      *                             ozone season heat input shall do so by
                                                 ‘‘appendix D;’’ and adding in its place                   (ix) On and after on January 1, 2024,                summing the unit’s hourly heat input
                                                 ‘‘appendix D to this part;’’;                           for a unit subject to subpart GGGGG of                 determined according to the procedures
                                                 ■ g. Adding paragraphs (f)(1)(ix) and (x);              part 97 of this chapter or a state                     in this part for all hours in which the
                                                 ■ h. Adding a heading to paragraph                      implementation plan approved under                     unit operated during the day or ozone
                                                 (f)(2); and                                             § 52.38(b)(12) of this chapter and                     season.
                                                 ■ i. Revising paragraph (f)(4).                         determining NOX mass emission rate at                    (b) The owner or operator of a unit
                                                    The revisions and additions read as                  a common stack, apportioned hourly                     that is required to determine daily or
                                                 follows:                                                NOX mass emission rate for the unit, lb/               ozone season NOX emission rate (in lbs/
                                                                                                         hr.                                                    mmBtu) shall do so by dividing daily or
                                                 § 75.73   Recordkeeping and reporting.                     (x) On and after January 1, 2024, for               ozone season NOX mass emissions (in
                                                   (a) * * *                                             a unit that is subject to subpart GGGGG                lbs) determined in accordance with this
                                                   (3) For each hour when the unit is                    of part 97 of this chapter or a state                  subpart, by daily or ozone season heat
                                                 operating, NOX mass emission rate,                      implementation plan approved under                     input determined in accordance with
                                                 calculated in accordance with section 8                 § 52.38(b)(12) of this chapter, that lists             paragraph (a) of this section.
                                                 of appendix F to this part.                             coal or a solid coal-derived fuel as a fuel            ■ 32. Amend appendix F to part 75 by:
                                                 *     *      *     *     *                              in the unit’s monitoring plan under                    ■ a. Adding section 5.3.3;
                                                   (c) * * *                                             § 75.53 for any portion of the ozone                   ■ b. In section 8.1.2, revising the
                                                   (2) Monitoring plan updates. * * *                    season in the year for which data are                  introductory text preceding Equation F–
                                                   (3) Contents of the monitoring plan.                  being reported, that serves a generator of             25;
                                                                                                         100 MW or larger nameplate capacity,
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                                                 Each monitoring plan shall contain the                                                                         ■ c. In section 8.4, revising the
                                                 information in § 75.53(g)(1) in electronic              and that is not a circulating fluidized                introductory text, paragraph (a)
                                                 format and the information in                           bed boiler, provided that through                      introductory text (preceding Equation
                                                 § 75.53(g)(2) in hardcopy format. In                    December 31, 2029, the requirements                    F–27), and paragraph (b) introductory
                                                 addition, to the extent applicable, each                under this paragraph (f)(1)(x) shall                   text (preceding Equation F–27a) and
                                                 monitoring plan shall contain the                       apply to a unit in a given calendar year               adding paragraph (c);
                                                 information in § 75.53(h)(1)(i) and                     only if the unit also was equipped with                ■ d. In section 8.5.2, removing ‘‘the
                                                 (h)(2)(i) in electronic format and the                  selective catalytic reduction controls on              hourly NOX mass emissions at each


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                                                 unit’’ and adding in its place ‘‘hourly                 Appendix F to Part 75—Conversion                       5.3 Heat Input Summation (for Heat Input
                                                 NOX mass emissions at the common                        Procedures                                             Determined Using a Flow Monitor and
                                                 stack’’; and                                                                                                   Diluent Monitor)
                                                                                                         *      *      *       *      *                         *       *    *     *     *
                                                 ■ e. Adding section 8.5.3.
                                                                                                         5. Procedures for Heat Input                             5.3.3 Calculate total daily heat input for
                                                   The additions and revisions read as                                                                          a unit using a flow monitor and diluent
                                                                                                         *      *      *       *      *                         monitor to calculate heat input, using the
                                                 follows:
                                                                                                                                                                following equation:




                                                 Where:                                                  8. Procedures for NOX Mass Emissions                   to calculate quarterly, cumulative ozone
                                                 HId = Total heat input for a unit for the day,          *      *      *       *      *                         season, and cumulative year-to-date NOX
                                                      mmBtu.                                               8.1.2 If NOX emission rate is measured at            mass emissions in tons.
                                                 HIh = Heat input rate for the unit for hour ‘‘h’’       a common stack and heat input rate is                  *       *    *     *     *
                                                      from Equation F–15, F–16, F–17, F–18,              measured at the unit level, calculate the                 (b) When hourly NOX mass emission rate
                                                      F–21a, or F–21b to this appendix,                  hourly heat input rate at the common stack             is reported in lb/hr, use Eq. F–27a to this
                                                                                                         according to the following formula:
                                                      mmBtu/hr.                                                                                                 appendix to calculate quarterly, cumulative
                                                 th = Unit operating time, fraction of the hour          *      *      *       *      *                         ozone season, and cumulative year-to-date
                                                      (0.00 to 1.00, in equal increments from              8.4 Use the following equations to                   NOX mass emissions in tons.
                                                      one hundredth to one quarter of an hour,           calculate daily, quarterly, cumulative ozone
                                                                                                         season, and cumulative year-to-date NOX                *       *    *     *     *
                                                      at the option of the owner or operator).                                                                    (c) To calculate daily NOX mass emissions
                                                                                                         mass emissions:
                                                 h = Designation of a particular hour.                     (a) When hourly NOX mass emissions are               for a unit in pounds, use Eq. F–27b to this
                                                 *      *     *       *      *                           reported in lb., use Eq. F–27 to this appendix         appendix.




                                                 Where:                                                  th = Unit operating time, fraction of the hour           8.5.3 Where applicable, the owner or
                                                 M(NOX)d = NOX mass emissions for a unit for                  (0.00 to 1.00, in equal increments from           operator of a unit that determines hourly
                                                     the day, pounds.                                         one hundredth to one quarter of an hour,          NOX mass emission rate at a common stack
                                                                                                              at the option of the owner or operator).          shall apportion hourly NOX mass emissions
                                                 E(NOX)h = NOX mass emission rate for the unit
                                                                                                         h = Designation of a particular hour.                  rate to the units using the common stack
                                                     for hour ‘‘h’’ from Equation F–24a, F–                                                                     based on the hourly heat input rate, using
                                                     26a, F–26b, or F–28, lb/hr.                         *      *      *       *      *                         Equation F–28 to this appendix:




                                                 Where:                                                       quarter of an hour, at the option of the          PART 78—APPEAL PROCEDURES
                                                 E(NOX)i = Apportioned NOX mass emission                      owner or operator).
                                                                                                                                                                                                               ER05JN23.005</GPH>




                                                      rate for the hour for unit ‘‘i’’, lb/hr.           tCS = Common stack operating time, fraction            ■ 33. The authority citation for part 78
                                                 E(NOX)CS = NOX mass emission rate for the                    of the hour (0.00 to 1.00, in equal
                                                                                                                                                                continues to read as follows:
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                                                      hour at the common stack, lb/hr.                        increments from one hundredth to one
                                                 HIi = Heat input rate for the hour for unit                  quarter of an hour, at the option of the              Authority: 42 U.S.C. 7401–7671q.
                                                      ‘‘i’’,’’ from Equation F–15, F–16, F–17,                owner or operator).
                                                                                                                                                                                                               ER05JN23.004</GPH>




                                                                                                                                                                ■ 34. Amend § 78.1 by:
                                                      F–18, F–21a, or F–21b to this appendix,            n = Number of units using the common stack.
                                                      mmBtu/hr.                                          i = Designation of a particular unit.                  ■ a. In paragraphs (b)(13)(i), (b)(14)(i),
                                                 ti = Operating time for unit ‘‘i’’, fraction of                                                                (b)(15)(i), (b)(16)(i), and (b)(17)(i),
                                                                                                         *      *      *       *      *
                                                      the hour (0.00 to 1.00, in equal                                                                          removing ‘‘decision on the’’ and adding
                                                                                                                                                                in its place ‘‘calculation of an’’;
                                                                                                                                                                                                               ER05JN23.003</GPH>




                                                      increments from one hundredth to one



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                                                 ■  b. In paragraph (b)(17)(viii), adding                Program’’, removing ‘‘(b)(2)(iii) and (iv),            Subpart BBBBB—CSAPR NOX Ozone
                                                 ‘‘or (e)’’ after ‘‘§ 97.826(d)’’;                       and’’ and adding in its place ‘‘(b)(2)(ii),            Season Group 1 Trading Program
                                                 ■ c. In paragraph (b)(17)(ix), adding ‘‘or              and’’; and
                                                 (e)’’ after ‘‘§ 97.811(d)’’;                                                                                   § 97.502   [Amended]
                                                                                                         ■ c. In the definition of ‘‘CSAPR NOX
                                                 ■ d. In paragraph (b)(18)(i), removing                                                                         ■ 40. Amend § 97.502 by:
                                                                                                         Ozone Season Group 3 Trading
                                                 ‘‘decision on the’’ and adding in its                   Program’’, removing ‘‘(b)(2)(v), and’’ and             ■ a. In the definition of ‘‘CSAPR NOX
                                                 place ‘‘calculation of an’’; and                        adding in its place ‘‘(b)(2)(iii), and’’.              Ozone Season Group 1 Trading
                                                 ■ e. Revising paragraph (b)(19).                                                                               Program’’, removing ‘‘(b)(2)(i) and (ii),
                                                    The revision reads as follows:                       § 97.411    [Amended]                                  and’’ and adding in its place ‘‘(b)(2)(i),
                                                 § 78.1   Purpose and scope.                                                                                    and’’;
                                                                                                         ■ 37. Amend § 97.411 by:                               ■ b. In the definition of ‘‘CSAPR NOX
                                                 *       *    *     *    *                               ■ a. In paragraphs (b)(1)(i)(A) and (B),               Ozone Season Group 2 Trading
                                                    (b) * * *                                            removing ‘‘State, in accordance’’ and
                                                    (19) Under subpart GGGGG of part 97                                                                         Program’’, removing ‘‘(b)(2)(iii) and (iv),
                                                                                                         adding in its place ‘‘State and areas of               and’’ and adding in its place ‘‘(b)(2)(ii),
                                                 of this chapter:                                        Indian country within the borders of the
                                                    (i) The calculation of a dynamic                                                                            and’’;
                                                                                                         State subject to the State’s SIP authority,            ■ c. In the definition of ‘‘CSAPR NOX
                                                 trading budget under § 97.1010(a)(4) of
                                                                                                         in accordance’’; and                                   Ozone Season Group 3 allowance’’:
                                                 this chapter.
                                                                                                         ■ b. In paragraphs (b)(2)(i)(A) and (B),               ■ i. Adding ‘‘or (e)’’ after ‘‘§ 97.826(d)’’;
                                                    (ii) The calculation of an allocation of
                                                 CSAPR NOX Ozone Season Group 3                          removing ‘‘Indian country within the                   and
                                                                                                         borders of a State, in accordance’’ and                ■ ii. Adding ‘‘or less’’ after ‘‘one ton’’;
                                                 allowances under § 97.1011 or § 97.1012
                                                                                                         adding in its place ‘‘areas of Indian                  ■ d. In the definition of ‘‘CSAPR NOX
                                                 of this chapter.
                                                    (iii) The decision on the transfer of                country within the borders of a State not              Ozone Season Group 3 Trading
                                                 CSAPR NOX Ozone Season Group 3                          subject to the State’s SIP authority, in               Program’’, removing ‘‘(b)(2)(v), and’’ and
                                                 allowances under § 97.1023 of this                      accordance’’.                                          adding in its place ‘‘(b)(2)(iii), and’’; and
                                                                                                                                                                ■ e. In the definition of ‘‘State’’,
                                                 chapter.
                                                    (iv) The decision on the deduction of                § 97.412    [Amended]                                  removing ‘‘(b)(2)(i) and (ii), and’’ and
                                                 CSAPR NOX Ozone Season Group 3                                                                                 adding in its place ‘‘(b)(2)(i), and’’.
                                                                                                         ■  38. Amend § 97.412 by:
                                                 allowances under § 97.1024, § 97.1025,                                                                         § 97.511   [Amended]
                                                                                                         ■  a. In paragraph (a) introductory text,
                                                 or § 97.1026(d) of this chapter.
                                                    (v) The correction of an error in an                 removing ‘‘State, the Administrator’’                  ■ 41. Amend § 97.511 by:
                                                 Allowance Management System account                     and adding in its place ‘‘State and areas              ■ a. In paragraphs (b)(1)(i)(A) and (B),
                                                 under § 97.1027 of this chapter.                        of Indian country within the borders of                removing ‘‘State, in accordance’’ and
                                                    (vi) The adjustment of information in                the State subject to the State’s SIP                   adding in its place ‘‘State and areas of
                                                 a submission and the decision on the                    authority, the Administrator’’;                        Indian country within the borders of the
                                                 deduction and transfer of CSAPR NOX                     ■ b. In paragraphs (a)(3)(iii) and (a)(5),             State subject to the State’s SIP authority,
                                                 Ozone Season Group 3 allowances                         adding ‘‘and areas of Indian country                   in accordance’’; and
                                                                                                         within the borders of the State subject                ■ b. In paragraphs (b)(2)(i)(A) and (B),
                                                 based on the information as adjusted
                                                 under § 97.1028 of this chapter.                        to the State’s SIP authority’’ after ‘‘in the          removing ‘‘Indian country within the
                                                    (vii) The finalization of control period             State’’;                                               borders of a State, in accordance’’ and
                                                 emissions data, including retroactive                                                                          adding in its place ‘‘areas of Indian
                                                                                                         ■ c. In paragraph (a)(10), removing
                                                 adjustment based on audit.                                                                                     country within the borders of a State not
                                                                                                         ‘‘State, is allocated’’ and adding in its              subject to the State’s SIP authority, in
                                                    (viii) The approval or disapproval of                place ‘‘State and areas of Indian country
                                                 a petition under § 97.1035 of this                                                                             accordance’’.
                                                                                                         within the borders of the State subject
                                                 chapter.                                                to the State’s SIP authority, is                       § 97.512   [Amended]
                                                 *       *    *     *    *                               allocated’’;                                           ■  42. Amend § 97.512 by:
                                                                                                         ■ d. In paragraph (b) introductory text,               ■  a. In paragraph (a) introductory text,
                                                 PART 97—FEDERAL NOX BUDGET
                                                 TRADING PROGRAM, CAIR NOX AND                           removing ‘‘Indian country within the                   removing ‘‘State, the Administrator’’
                                                 SO2 TRADING PROGRAMS, CSAPR                             borders of each State, the                             and adding in its place ‘‘State and areas
                                                 NOX AND SO2 TRADING PROGRAMS,                           Administrator’’ and adding in its place                of Indian country within the borders of
                                                 AND TEXAS SO2 TRADING PROGRAM                           ‘‘areas of Indian country within the                   the State subject to the State’s SIP
                                                                                                         borders of each State not subject to the               authority, the Administrator’’;
                                                 ■ 35. The authority citation for part 97                State’s SIP authority, the                             ■ b. In paragraphs (a)(3)(iii) and (a)(5),
                                                 continues to read as follows:                           Administrator’’; and                                   adding ‘‘and areas of Indian country
                                                   Authority: 42 U.S.C. 7401, 7403, 7410,                ■ e. In paragraph (b)(5), removing                     within the borders of the State subject
                                                 7426, 7491, 7601, and 7651, et seq.                     ‘‘Indian country within the borders of                 to the State’s SIP authority’’ after ‘‘in the
                                                                                                         the State’’ and adding in its place ‘‘areas            State’’;
                                                 Subpart AAAAA—CSAPR NOX Annual                          of Indian country within the borders of                ■ c. In paragraph (a)(10), removing
                                                 Trading Program                                         the State not subject to the State’s SIP               ‘‘State, is allocated’’ and adding in its
                                                                                                         authority’’.                                           place ‘‘State and areas of Indian country
                                                 § 97.402   [Amended]                                                                                           within the borders of the State subject
                                                                                                         § 97.426    [Amended]
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                                                 ■ 36. Amend § 97.402 by:                                                                                       to the State’s SIP authority, is
                                                 ■ a. In the definition of ‘‘CSAPR NOX                                                                          allocated’’;
                                                                                                         ■ 39. In § 97.426, amend paragraph (c)
                                                 Ozone Season Group 1 Trading                                                                                   ■ d. In paragraph (b) introductory text,
                                                                                                         by:
                                                 Program’’, removing ‘‘(b)(2)(i) and (ii),                                                                      removing ‘‘Indian country within the
                                                 and’’ and adding in its place ‘‘(b)(2)(i),              ■ a. Removing ‘‘set forth in’’ and adding              borders of each State, the
                                                 and’’;                                                  in its place ‘‘established under’’; and                Administrator’’ and adding in its place
                                                 ■ b. In the definition of ‘‘CSAPR NOX                   ■ b. Removing ‘‘State (or Indian’’ and                 ‘‘areas of Indian country within the
                                                 Ozone Season Group 2 Trading                            adding in its place ‘‘State (and Indian’’.             borders of each State not subject to the


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                                                 State’s SIP authority, the                              2017 computed as the quotient, rounded                 Program’’, removing ‘‘(b)(2)(i) and (ii),
                                                 Administrator’’; and                                    up to the nearest allowance, of such                   and’’ and adding in its place ‘‘(b)(2)(i),
                                                 ■ e. In paragraph (b)(5), removing                      given number of CSAPR NOX Ozone                        and’’;
                                                 ‘‘Indian country within the borders of                  Season Group 1 allowances divided by                   ■ b. In the definition of ‘‘CSAPR NOX
                                                 the State’’ and adding in its place ‘‘areas             the conversion factor determined under                 Ozone Season Group 2 Trading
                                                 of Indian country within the borders of                 paragraph (d)(1)(ii) of this section.                  Program’’, removing ‘‘(b)(2)(iii) and (iv),
                                                 the State not subject to the State’s SIP                *       *    *     *     *                             and’’ and adding in its place ‘‘(b)(2)(ii),
                                                 authority’’.                                               (iii) After the Administrator has                   and’’; and
                                                 ■ 43. Amend § 97.526 by:                                carried out the procedures set forth in                ■ c. In the definition of ‘‘CSAPR NOX
                                                 ■ a. In paragraph (c):                                  paragraph (d)(1) of this section and                   Ozone Season Group 3 Trading
                                                 ■ i. Removing ‘‘set forth in’’ and adding               § 97.826(e)(1), upon any determination                 Program’’, removing ‘‘(b)(2)(v), and’’ and
                                                 in its place ‘‘established under’’; and                 that would otherwise result in the initial             adding in its place ‘‘(b)(2)(iii), and’’.
                                                 ■ ii. Removing ‘‘State (or Indian’’ and                 recordation of a given number of CSAPR
                                                 adding in its place ‘‘State (and Indian’’;              NOX Ozone Season Group 1 allowances                    § 97.611   [Amended]
                                                 ■ b. In paragraph (d)(1) introductory                   in the compliance account for a source                 ■ 45. Amend § 97.611 by:
                                                 text, removing ‘‘§ 52.38(b)(2)(i) of this               in a State listed in § 52.38(b)(2)(iii)(B) of          ■ a. In paragraphs (b)(1)(i)(A) and (B),
                                                 chapter (or’’ and adding in its place                   this chapter (and Indian country within                removing ‘‘State, in accordance’’ and
                                                 ‘‘§ 52.38(b)(2)(i)(A) of this chapter                   the borders of such a State), the                      adding in its place ‘‘State and areas of
                                                 (and’’;                                                 Administrator will not record such                     Indian country within the borders of the
                                                 ■ c. In paragraph (d)(1)(ii), removing                  CSAPR NOX Ozone Season Group 1                         State subject to the State’s SIP authority,
                                                 ‘‘except a State listed in § 52.38(b)(2)(i)’’           allowances but instead will allocate and               in accordance’’; and
                                                 and adding in its place ‘‘listed in                     record in such account an amount of                    ■ b. In paragraphs (b)(2)(i)(A) and (B),
                                                 § 52.38(b)(2)(ii)’’;                                    CSAPR NOX Ozone Season Group 3                         removing ‘‘Indian country within the
                                                 ■ d. In paragraph (d)(1)(iv), removing                  allowances for the control period in                   borders of a State, in accordance’’ and
                                                 ‘‘§ 52.38(b)(2)(iii) or (iv) of this chapter            2023 computed as the quotient, rounded                 adding in its place ‘‘areas of Indian
                                                 (or’’ and adding in its place                           up to the nearest allowance, of such                   country within the borders of a State not
                                                 ‘‘§ 52.38(b)(2)(ii) of this chapter (and’’;             given number of CSAPR NOX Ozone                        subject to the State’s SIP authority, in
                                                 ■ e. Revising paragraph (d)(2)(i);                      Season Group 1 allowances divided by                   accordance’’.
                                                 ■ f. In paragraph (d)(2)(ii), removing                  the conversion factor determined under
                                                 ‘‘§ 52.38(b)(2)(v) of this chapter (or’’ and            paragraph (d)(1)(ii) of this section and               § 97.612   [Amended]
                                                 adding in its place ‘‘§ 52.38(b)(2)(iii)(A)             further divided by the conversion factor               ■  46. Amend § 97.612 by:
                                                 of this chapter (and’’;                                 determined under § 97.826(e)(1)(ii).                   ■  a. In paragraph (a) introductory text,
                                                 ■ g. Adding paragraph (d)(2)(iii);                         (e) * * *                                           removing ‘‘State, the Administrator’’
                                                 ■ h. In paragraph (e)(1), removing                         (3) After the Administrator has carried
                                                                                                                                                                and adding in its place ‘‘State and areas
                                                 ‘‘§ 52.38(b)(2)(ii) of this chapter (or                 out the procedures set forth in
                                                                                                                                                                of Indian country within the borders of
                                                 Indian’’ and adding in its place                        paragraph (d)(1) of this section and
                                                                                                                                                                the State subject to the State’s SIP
                                                 ‘‘§ 52.38(b)(2)(i)(B) of this chapter (and              § 97.826(e)(1), the owner or operator of
                                                                                                                                                                authority, the Administrator’’;
                                                 Indian’’;                                               a CSAPR NOX Ozone Season Group 1
                                                                                                                                                                ■ b. In paragraphs (a)(3)(iii) and (a)(5),
                                                 ■ i. In paragraph (e)(2), removing                      source in a State listed in
                                                 ‘‘§ 52.38(b)(2)(iv) of this chapter (or’’                                                                      adding ‘‘and areas of Indian country
                                                                                                         § 52.38(b)(2)(ii)(C) of this chapter (and
                                                 and adding in its place                                                                                        within the borders of the State subject
                                                                                                         Indian country within the borders of
                                                 ‘‘§ 52.38(b)(2)(ii)(B) of this chapter                                                                         to the State’s SIP authority’’ after ‘‘in the
                                                                                                         such a State) may satisfy a requirement
                                                 (and’’; and                                                                                                    State’’;
                                                                                                         to hold a given number of CSAPR NOX
                                                                                                                                                                ■ c. In paragraph (a)(10), removing
                                                 ■ j. Adding paragraph (e)(3).                           Ozone Season Group 1 allowances for
                                                    The revisions and additions read as                  the control period in 2015 or 2016 by                  ‘‘State, is allocated’’ and adding in its
                                                 follows:                                                holding instead, in a general account                  place ‘‘State and areas of Indian country
                                                                                                         established for this sole purpose, an                  within the borders of the State subject
                                                 § 97.526   Banking and conversion.
                                                                                                         amount of CSAPR NOX Ozone Season                       to the State’s SIP authority, is
                                                 *      *     *     *     *                              Group 3 allowances for the control                     allocated’’;
                                                    (d) * * *                                                                                                   ■ d. In paragraph (b) introductory text,
                                                                                                         period in 2023 (or any later control
                                                    (2)(i) Except as provided in                         period for which the allowance transfer                removing ‘‘Indian country within the
                                                 paragraphs (d)(2)(ii) and (iii) of this                 deadline defined in § 97.1002 has                      borders of each State, the
                                                 section, after the Administrator has                    passed) computed as the quotient,                      Administrator’’ and adding in its place
                                                 carried out the procedures set forth in                 rounded up to the nearest allowance, of                ‘‘areas of Indian country within the
                                                 paragraph (d)(1) of this section, upon                  such given number of CSAPR NOX                         borders of each State not subject to the
                                                 any determination that would otherwise                  Ozone Season Group 1 allowances                        State’s SIP authority, the
                                                 result in the initial recordation of a                  divided by the conversion factor                       Administrator’’; and
                                                 given number of CSAPR NOX Ozone                                                                                ■ e. In paragraph (b)(5), removing
                                                                                                         determined under paragraph (d)(1)(ii) of
                                                 Season Group 1 allowances in the                        this section and further divided by the                ‘‘Indian country within the borders of
                                                 compliance account for a source in a                    conversion factor determined under                     the State’’ and adding in its place ‘‘areas
                                                 State listed in § 52.38(b)(2)(ii) of this               § 97.826(e)(1)(ii).                                    of Indian country within the borders of
                                                                                                                                                                the State not subject to the State’s SIP
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                                                 chapter (and Indian country within the
                                                 borders of such a State), the                           Subpart CCCCC—CSAPR SO2 Group 1                        authority’’.
                                                 Administrator will not record such                      Trading Program                                        § 97.626   [Amended]
                                                 CSAPR NOX Ozone Season Group 1
                                                 allowances but instead will allocate and                § 97.602    [Amended]                                  ■ 47. In § 97.626, amend paragraph (c)
                                                 record in such account an amount of                     ■44. Amend § 97.602 by:                                by:
                                                 CSAPR NOX Ozone Season Group 2                          ■a. In the definition of ‘‘CSAPR NOX                   ■ a. Removing ‘‘set forth in’’ and adding
                                                 allowances for the control period in                    Ozone Season Group 1 Trading                           in its place ‘‘established under’’; and


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                                                 ■ b. Removing ‘‘State (or Indian’’ and                  country within the borders of a State not              ‘‘base CSAPR’’ and adding in its place
                                                 adding in its place ‘‘State (and Indian’’.              subject to the State’s SIP authority, in               ‘‘CSAPR’’;
                                                                                                         accordance’’.                                          ■ d. In the definition of ‘‘Common
                                                 Subpart DDDDD—CSAPR SO2 Group 2                                                                                designated representative’s assurance
                                                 Trading Program                                         § 97.712    [Amended]
                                                                                                                                                                level’’, revising paragraph (1);
                                                                                                         ■  50. Amend § 97.712 by:                              ■ e. In the definition of ‘‘Common
                                                 ■  48. Amend § 97.702 by:                               ■  a. In paragraph (a) introductory text,              designated representative’s share’’,
                                                 ■  a. In the definition of ‘‘Alternate                  removing ‘‘State, the Administrator’’                  removing ‘‘base CSAPR’’ and adding in
                                                 designated representative’’, removing                   and adding in its place ‘‘State and areas              its place ‘‘CSAPR’’ each time it appears;
                                                 ‘‘or CSAPR NOX Ozone Season Group 2                     of Indian country within the borders of                ■ f. In the definition of ‘‘CSAPR NOX
                                                 Trading Program, then’’ and adding in                   the State subject to the State’s SIP                   Ozone Season Group 2 Trading
                                                 its place ‘‘CSAPR NOX Ozone Season                      authority, the Administrator’’;                        Program’’, removing ‘‘(b)(2)(iii) and (iv),
                                                 Group 2 Trading Program, or CSAPR                       ■ b. In paragraphs (a)(3)(iii) and (a)(5),             and’’ and adding in its place ‘‘(b)(2)(ii),
                                                 NOX Ozone Season Group 3 Trading                        adding ‘‘and areas of Indian country                   and’’;
                                                 Program, then’’;                                        within the borders of the State subject                ■ g. In the definition of ‘‘CSAPR NOX
                                                 ■ b. In the definition of ‘‘CSAPR NOX
                                                                                                         to the State’s SIP authority’’ after ‘‘in the          Ozone Season Group 3 allowance’’:
                                                 Ozone Season Group 1 Trading                            State’’;                                               ■ i. Adding ‘‘or (e)’’ after ‘‘§ 97.826(d)’’;
                                                 Program’’, removing ‘‘(b)(2)(i) and (ii),               ■ c. In paragraph (a)(10), removing
                                                 and’’ and adding in its place ‘‘(b)(2)(i),                                                                     and
                                                                                                         ‘‘State, is allocated’’ and adding in its              ■ ii. Adding ‘‘or less’’ after ‘‘one ton’’;
                                                 and’’;                                                  place ‘‘State and areas of Indian country
                                                 ■ c. In the definition of ‘‘CSAPR NOX                                                                          ■ h. In the definition of ‘‘CSAPR NOX
                                                                                                         within the borders of the State subject                Ozone Season Group 3 Trading
                                                 Ozone Season Group 2 Trading                            to the State’s SIP authority, is
                                                 Program’’, removing ‘‘(b)(2)(iii) and (iv),                                                                    Program’’, removing ‘‘(b)(2)(v), and’’ and
                                                                                                         allocated’’;                                           adding in its place ‘‘(b)(2)(iii), and’’; and
                                                 and’’ and adding in its place ‘‘(b)(2)(ii),             ■ d. In paragraph (b) introductory text,
                                                 and’’;                                                                                                         ■ i. In the definition of ‘‘State’’,
                                                                                                         removing ‘‘Indian country within the                   removing ‘‘(b)(2)(iii) and (iv), and’’ and
                                                 ■ d. Adding in alphabetical order a
                                                                                                         borders of each State, the                             adding in its place ‘‘(b)(2)(ii), and’’.
                                                 definition for ‘‘CSAPR NOX Ozone                        Administrator’’ and adding in its place
                                                 Season Group 3 Trading Program’’; and                                                                             The revision reads as follows:
                                                                                                         ‘‘areas of Indian country within the
                                                 ■ e. In the definition of ‘‘Designated
                                                                                                         borders of each State not subject to the               § 97.802   Definitions.
                                                 representative’’, removing ‘‘or CSAPR
                                                                                                         State’s SIP authority, the                             *      *     *    *    *
                                                 NOX Ozone Season Group 2 Trading
                                                                                                         Administrator’’; and                                      Common designated representative’s
                                                 Program, then’’ and adding in its place
                                                                                                         ■ e. In paragraph (b)(5), removing                     assurance level * * *
                                                 ‘‘CSAPR NOX Ozone Season Group 2
                                                                                                         ‘‘Indian country within the borders of                    (1) The amount (rounded to the
                                                 Trading Program, or CSAPR NOX Ozone
                                                                                                         the State’’ and adding in its place ‘‘areas            nearest allowance) equal to the sum of
                                                 Season Group 3 Trading Program, then’’.
                                                                                                         of Indian country within the borders of                the total amount of CSAPR NOX Ozone
                                                    The addition reads as follows:
                                                                                                         the State not subject to the State’s SIP               Season Group 2 allowances allocated for
                                                 § 97.702   Definitions.                                 authority’’.                                           such control period to the group of one
                                                 *     *      *    *     *                               § 97.726    [Amended]
                                                                                                                                                                or more CSAPR NOX Ozone Season
                                                    CSAPR NOX Ozone Season Group 3                                                                              Group 2 units in such State (and such
                                                 Trading Program means a multi-state                     ■ 51. In § 97.726, amend paragraph (c)                 Indian country) having the common
                                                 NOX air pollution control and emission                  by:                                                    designated representative for such
                                                 reduction program established in                        ■ a. Removing ‘‘set forth in’’ and adding              control period and the total amount of
                                                 accordance with subpart GGGGG of this                   in its place ‘‘established under’’; and                CSAPR NOX Ozone Season Group 2
                                                                                                         ■ b. Removing ‘‘State (or Indian’’ and                 allowances purchased by an owner or
                                                 part and § 52.38(b)(1), (b)(2)(iii), and
                                                 (b)(10) through (14) and (17) of this                   adding in its place ‘‘State (and Indian’’.             operator of such CSAPR NOX Ozone
                                                 chapter (including such a program that                  § 97.734    [Amended]                                  Season Group 2 units in an auction for
                                                 is revised in a SIP revision approved by                                                                       such control period and submitted by
                                                 the Administrator under § 52.38(b)(10)                  ■ 52. In § 97.734, amend paragraph                     the State or the permitting authority to
                                                 or (11) of this chapter or that is                      (d)(3) by removing ‘‘or CSAPR NOX                      the Administrator for recordation in the
                                                 established in a SIP revision approved                  Ozone Season Group 2 Trading                           compliance accounts for such CSAPR
                                                 by the Administrator under                              Program, quarterly’’ and adding in its                 NOX Ozone Season Group 2 units in
                                                 § 52.38(b)(12) of this chapter), as a                   place ‘‘CSAPR NOX Ozone Season                         accordance with the CSAPR NOX Ozone
                                                 means of mitigating interstate transport                Group 2 Trading Program, or CSAPR                      Season Group 2 allowance auction
                                                 of ozone and NOX.                                       NOX Ozone Season Group 3 Trading                       provisions in a SIP revision approved by
                                                                                                         Program, quarterly’’.                                  the Administrator under § 52.38(b)(8) or
                                                 *     *      *    *     *
                                                                                                                                                                (9) of this chapter, multiplied by the
                                                                                                         Subpart EEEEE—CSAPR NOX Ozone
                                                 § 97.711   [Amended]                                                                                           sum of the State NOX Ozone Season
                                                                                                         Season Group 2 Trading Program
                                                 ■ 49. Amend § 97.711 by:                                                                                       Group 2 trading budget under
                                                 ■ a. In paragraphs (b)(1)(i)(A) and (B),                ■ 53. Amend § 97.802 by:                               § 97.810(a) and the State’s variability
                                                 removing ‘‘State, in accordance’’ and                   ■ a. In the definition of ‘‘Assurance                  limit under § 97.810(b) for such control
                                                                                                                                                                period, and divided by such State NOX
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                                                 adding in its place ‘‘State and areas of                account’’, removing ‘‘base CSAPR’’ and
                                                 Indian country within the borders of the                adding in its place ‘‘CSAPR’’;                         Ozone Season Group 2 trading budget;
                                                 State subject to the State’s SIP authority,             ■ b. Removing the definitions for ‘‘Base               *      *     *    *    *
                                                 in accordance’’; and                                    CSAPR NOX Ozone Season Group 2
                                                                                                                                                                § 97.806   [Amended]
                                                 ■ b. In paragraphs (b)(2)(i)(A) and (B),                source’’ and ‘‘Base CSAPR NOX Ozone
                                                 removing ‘‘Indian country within the                    Season Group 2 unit’’;                                 ■ 54. Amend § 97.806 by:
                                                 borders of a State, in accordance’’ and                 ■ c. In the definition of ‘‘Common                     ■ a. In paragraphs (c)(2)(i) introductory
                                                 adding in its place ‘‘areas of Indian                   designated representative’’, removing                  text, (c)(2)(i)(B), and (c)(2)(iii) and (iv),


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                                                 removing ‘‘base CSAPR’’ and adding in                   allowance remains in such compliance                   corresponding surrender requirements
                                                 its place ‘‘CSAPR’’ each time it appears;               account or has been transferred to                     for the source under paragraph (e)(2)(i)
                                                 ■ b. In paragraph (c)(3)(i), removing                   another Allowance Management System                    of this section.
                                                 ‘‘paragraph (c)(1)’’ and adding in its                  account.                                                  (ii) As soon as practicable on or after
                                                 place ‘‘paragraphs (c)(1) and (2)’’; and                   (2)(i) For each CSAPR NOX Ozone                     August 21, 2023, the Administrator will
                                                 ■ c. Removing and reserving paragraph                   Season Group 2 allowance described in                  deduct from the compliance account for
                                                 (c)(3)(ii).                                             paragraph (e)(1) of this section that was              each source described in paragraph
                                                                                                         allocated for a given control period and               (e)(1) of this section CSAPR NOX Ozone
                                                 § 97.810   [Amended]                                    initially recorded in a given source’s                 Season Group 2 allowances eligible to
                                                 ■  55. In § 97.810, amend paragraphs                    compliance account, one CSAPR NOX                      satisfy the surrender requirements for
                                                 (a)(1)(i) through (iii), (a)(2)(i) and (ii),            Ozone Season Group 2 allowance that                    the source under paragraph (e)(2)(i) of
                                                 (a)(12)(i) through (iii), (a)(13)(i) and (ii),          was allocated for the same or an earlier               this section until all such surrender
                                                 (a)(17)(i) through (iii), (a)(20)(i) through            control period and initially recorded in               requirements for the source are satisfied
                                                 (iii), (a)(23)(i) through (iii), and (b)(1),            the same or any other Allowance                        or until no more CSAPR NOX Ozone
                                                 (2), (12), (13), (17), (20), and (23) by                Management System account must be                      Season Group 2 allowances eligible to
                                                 removing ‘‘and thereafter’’ and adding                  surrendered in accordance with the                     satisfy such surrender requirements
                                                 in its place ‘‘through 2022’’.                          procedures in paragraphs (e)(3) and (4)                remain in such compliance account.
                                                 ■ 56. Amend § 97.811 by:                                of this section.                                          (iii) As soon as practicable after
                                                 ■ a. In paragraphs (b)(1)(i)(A) and (B),                   (ii)(A) The surrender requirement                   completion of the deductions under
                                                 removing ‘‘State, in accordance’’ and                   under paragraph (e)(2)(i) of this section              paragraph (e)(3)(ii) of this section, the
                                                 adding in its place ‘‘State and areas of                corresponding to each CSAPR NOX                        Administrator will identify for each
                                                 Indian country within the borders of the                Ozone Season Group 2 allowance                         source described in paragraph (e)(1) of
                                                 State subject to the State’s SIP authority,             described in paragraph (e)(1) of this                  this section the amounts, if any, of
                                                 in accordance’’;                                        section initially recorded in a given                  CSAPR NOX Ozone Season Group 2
                                                 ■ b. In paragraphs (b)(2)(i)(A) and (B),                source’s compliance account shall apply                allowances allocated for each control
                                                 removing ‘‘Indian country within the                    to such source’s current owners and                    period after 2022 and recorded in the
                                                 borders of a State, in accordance’’ and                 operators, except as provided in                       source’s compliance account for which
                                                 adding in its place ‘‘areas of Indian                   paragraph (e)(2)(ii)(B) of this section.               the corresponding surrender
                                                 country within the borders of a State not                  (B) If the owners and operators of a                requirements under paragraph (e)(2)(i)
                                                 subject to the State’s SIP authority, in                given source as of a given date assumed                of this section have not been satisfied
                                                 accordance’’;                                           ownership and operational control of                   and will send a notification concerning
                                                 ■ c. In paragraph (d)(1), removing                      the source through a transaction that did              such identified amounts to the
                                                 ‘‘§ 52.38(b)(2)(iv) of this chapter (or’’               not also provide rights to direct the use              designated representative for the source.
                                                 and adding in its place                                 or transfer of a given CSAPR NOX Ozone                    (iv) With regard to each source for
                                                 ‘‘§ 52.38(b)(2)(ii)(B) of this chapter                  Season Group 2 allowance described in                  which unsatisfied surrender
                                                 (and’’; and                                             paragraph (e)(1) of this section with                  requirements under paragraph (e)(2)(i)
                                                 ■ d. Adding paragraph (e).                              regard to such source (whether                         of this section remain after the
                                                    The addition reads as follows:                       recordation of such CSAPR NOX Ozone                    deductions under paragraph (e)(3)(ii) of
                                                                                                         Season Group 2 allowance in the                        this section:
                                                 § 97.811 Timing requirements for CSAPR                  source’s compliance account occurred                      (A) Except as provided in paragraph
                                                 NOX Ozone Season Group 2 allowance                      before such transaction or was                         (e)(3)(iv)(B) of this section, not later
                                                 allocations.                                            anticipated to occur after such                        than September 15, 2023, the owners
                                                 *      *     *    *     *                               transaction), then the surrender                       and operators of the source shall hold
                                                    (e) Recall of CSAPR NOX Ozone                        requirement under paragraph (e)(2)(i) of               sufficient CSAPR NOX Ozone Season
                                                 Season Group 2 allowances allocated                     this section corresponding to such                     Group 2 allowances eligible to satisfy
                                                 for control periods after 2022. (1)                     CSAPR NOX Ozone Season Group 2                         such unsatisfied surrender requirements
                                                 Notwithstanding any other provision of                  allowance shall apply to the most recent               under paragraph (e)(2)(i) of this section
                                                 this subpart, part 52 of this chapter, or               former owners and operators of the                     in the source’s compliance account.
                                                 any SIP revision approved under                         source before the occurrence of such a                    (B) With regard to any portion of such
                                                 § 52.38(b) of this chapter, the provisions              transaction.                                           unsatisfied surrender requirements that
                                                 of this paragraph (e)(1) and paragraphs                    (C) The Administrator will not                      apply to former owners and operators of
                                                 (e)(2) through (7) of this section shall                adjudicate any private legal dispute                   the source pursuant to paragraph
                                                 apply with regard to each CSAPR NOX                     among the owners and operators of a                    (e)(2)(ii)(B) of this section, not later than
                                                 Ozone Season Group 2 allowance that                     source or among the former owners and                  September 15, 2023, such former
                                                 was allocated for a control period after                operators of a source, including any                   owners and operators shall hold
                                                 2022 to any unit (including a                           disputes relating to the requirements to               sufficient CSAPR NOX Ozone Season
                                                 permanently retired unit qualifying for                 surrender CSAPR NOX Ozone Season                       Group 2 allowances eligible to satisfy
                                                 an exemption under § 97.805) in a State                 Group 2 allowances for the source under                such portion of the unsatisfied
                                                 listed in § 52.38(b)(2)(ii)(C) of this                  paragraph (e)(2)(i) of this section.                   surrender requirements under paragraph
                                                 chapter (and Indian country within the                     (3)(i) As soon as practicable on or                 (e)(2)(i) of this section either in the
                                                 borders of such a State) and that was                   after August 4, 2023, the Administrator                source’s compliance account or in
                                                 initially recorded in the compliance                    will send a notification to the
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                                                                                                                                                                another Allowance Management System
                                                 account for the source that includes the                designated representative for each                     account identified to the Administrator
                                                 unit, whether such CSAPR NOX Ozone                      source described in paragraph (e)(1) of                on or before such date in a submission
                                                 Season Group 2 allowance was allocated                  this section identifying the amounts of                by the authorized account
                                                 pursuant to this subpart or pursuant to                 CSAPR NOX Ozone Season Group 2                         representative for such account.
                                                 a SIP revision approved under § 52.38(b)                allowances allocated for each control                     (C) As soon as practicable on or after
                                                 of this chapter and whether such                        period after 2022 and recorded in the                  September 15, 2023, the Administrator
                                                 CSAPR NOX Ozone Season Group 2                          source’s compliance account and the                    will deduct from the Allowance


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                                                 Management System account identified                    Season Group 2 allowances have been                    with any other remedy imposed under
                                                 in accordance with paragraph                            deducted, except as provided in                        the Clean Air Act; and
                                                 (e)(3)(iv)(A) or (B) of this section CSAPR              paragraph (e)(4)(ii) of this section.                     (ii) Each such CSAPR NOX Ozone
                                                 NOX Ozone Season Group 2 allowances                        (ii) If no person with an ownership                 Season Group 2 allowance, and each
                                                 eligible to satisfy the surrender                       interest in a given CSAPR NOX Ozone                    day in such control period, shall
                                                 requirements for the source under                       Season Group 2 allowance as of April                   constitute a separate violation of this
                                                 paragraph (e)(2)(i) of this section until               30, 2022, was an owner or operator of                  subpart and the Clean Air Act.
                                                 all such surrender requirements for the                 the source in whose compliance account                    (6) The Administrator will record in
                                                 source are satisfied or until no more                   such CSAPR NOX Ozone Season Group                      the appropriate Allowance Management
                                                 CSAPR NOX Ozone Season Group 2                          2 allowance was initially recorded, was                System accounts all deductions of
                                                 allowances eligible to satisfy such                     a direct or indirect parent or subsidiary              CSAPR NOX Ozone Season Group 2
                                                 surrender requirements remain in such                   of an owner or operator of such source,                allowances under paragraphs (e)(3) and
                                                 account.                                                or was directly or indirectly under                    (4) of this section.
                                                    (v) When making deductions under                     common ownership with an owner or                         (7)(i) Each submission, objection, or
                                                 paragraph (e)(3)(ii) or (iv) of this section            operator of such source, the                           other written communication from a
                                                 to address the surrender requirements                   Administrator will not deduct such                     designated representative, authorized
                                                 under paragraph (e)(2)(i) of this section               CSAPR NOX Ozone Season Group 2                         account representative, or other person
                                                 for a given source:                                     allowance under paragraph (e)(4)(i) of                 to the Administrator under paragraph
                                                    (A) The Administrator will make                      this section. For purposes of this                     (e)(2), (3), or (4) of this section shall be
                                                 deductions to address any surrender                     paragraph (e)(4)(ii), each owner or                    sent electronically to the email address
                                                 requirements with regard to first the                   operator of a source shall be deemed to                CSAPR@epa.gov. Each such
                                                 2023 control period and then the 2024                   be a person with an ownership interest                 communication from a designated
                                                 control period.                                         in any CSAPR NOX Ozone Season                          representative must contain the
                                                    (B) When making deductions to
                                                                                                         Group 2 allowance held in that source’s                certification statement set forth in
                                                 address the surrender requirements with
                                                                                                         compliance account. The limitation                     § 97.814(a), and each such
                                                 regard to a given control period, the
                                                                                                         established by this paragraph (e)(4)(ii)               communication from the authorized
                                                 Administrator will first deduct CSAPR
                                                                                                         on the deductibility of certain CSAPR                  account representative for a general
                                                 NOX Ozone Season Group 2 allowances
                                                                                                         NOX Ozone Season Group 2 allowances                    account must contain the certification
                                                 allocated for such given control period
                                                                                                         under paragraph (e)(4)(i) of this section              statement set forth in § 97.820(c)(2)(ii).
                                                 and will then deduct CSAPR NOX
                                                 Ozone Season Group 2 allowances                         shall not be construed as a waiver of the                 (ii) Each notification from the
                                                 allocated for each successively earlier                 surrender requirements under paragraph                 Administrator to a designated
                                                 control period in sequence.                             (e)(2)(i) of this section corresponding to             representative or authorized account
                                                    (C) When deducting CSAPR NOX                         such CSAPR NOX Ozone Season Group                      representative under paragraph (e)(3) or
                                                 Ozone Season Group 2 allowances                         2 allowances.                                          (4) of this section will be sent
                                                 allocated for a given control period from                  (iii) Not less than 45 days before the              electronically to the email address most
                                                 a given Allowance Management System                     planned date for any deductions under                  recently received by the Administrator
                                                 account, the Administrator will first                   paragraph (e)(4)(i) of this section, the               for such representative. In any such
                                                 deduct CSAPR NOX Ozone Season                           Administrator will send a notification to              notification, the Administrator may
                                                 Group 2 allowances initially recorded in                the authorized account representative                  provide information by means of a
                                                 the account under § 97.821 (if the                      for the Allowance Management System                    reference to a publicly accessible
                                                 account is a compliance account) in the                 account from which such deductions                     website where the information is
                                                 order of recordation and will then                      will be made identifying the CSAPR                     available.
                                                 deduct CSAPR NOX Ozone Season                           NOX Ozone Season Group 2 allowances
                                                                                                         to be deducted and the data upon which                 § 97.812   [Amended]
                                                 Group 2 allowances recorded in the
                                                 account under § 97.526(d) or § 97.823 in                the Administrator has relied and                       ■  57. Amend § 97.812 by:
                                                 the order of recordation.                               specifying a process for submission of                 ■  a. In paragraph (a) introductory text,
                                                    (4)(i) To the extent the surrender                   any objections to such data. Any                       removing ‘‘State, the Administrator’’
                                                 requirements under paragraph (e)(2)(i)                  objections must be submitted to the                    and adding in its place ‘‘State and areas
                                                 of this section corresponding to any                    Administrator not later than 15 days                   of Indian country within the borders of
                                                 CSAPR NOX Ozone Season Group 2                          before the planned date for such                       the State subject to the State’s SIP
                                                 allowances allocated for a control                      deductions as indicated in such                        authority, the Administrator’’;
                                                 period after 2022 and initially recorded                notification.                                          ■ b. In paragraphs (a)(3)(iii) and (a)(5),
                                                 in a given source’s compliance account                     (5) To the extent the surrender                     adding ‘‘and areas of Indian country
                                                 have not been fully satisfied through the               requirements under paragraph (e)(2)(i)                 within the borders of the State subject
                                                 deductions under paragraph (e)(3) of                    of this section corresponding to any                   to the State’s SIP authority’’ after ‘‘in the
                                                 this section, as soon as practicable on or              CSAPR NOX Ozone Season Group 2                         State’’;
                                                 after November 15, 2023, the                            allowances allocated for a control                     ■ c. In paragraph (a)(10), removing
                                                 Administrator will deduct such initially                period after 2022 and initially recorded               ‘‘State, is allocated’’ and adding in its
                                                 recorded CSAPR NOX Ozone Season                         in a given source’s compliance account                 place ‘‘State and areas of Indian country
                                                 Group 2 allowances from any                             have not been fully satisfied through the              within the borders of the State subject
                                                                                                         deductions under paragraphs (e)(3) and                 to the State’s SIP authority, is
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                                                 Allowance Management System
                                                 accounts in which such CSAPR NOX                        (4) of this section:                                   allocated’’;
                                                 Ozone Season Group 2 allowances are                        (i) The persons identified in                       ■ d. In paragraph (b) introductory text,
                                                 held, making such deductions in any                     accordance with paragraph (e)(2)(ii) of                removing ‘‘Indian country within the
                                                 order determined by the Administrator,                  this section with regard to such source                borders of each State, the
                                                 until all such surrender requirements                   and each such CSAPR NOX Ozone                          Administrator’’ and adding in its place
                                                 for such source have been satisfied or                  Season Group 2 allowance shall pay any                 ‘‘areas of Indian country within the
                                                 until all such CSAPR NOX Ozone                          fine, penalty, or assessment or comply                 borders of each State not subject to the


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                                                 State’s SIP authority, the                              submitted under § 97.822 and, before                   may record such CSAPR NOX Ozone
                                                 Administrator’’; and                                    resuming acceptance of such transfers,                 Season Group 3 allowances in a general
                                                 ■ e. In paragraph (b)(5), removing                      will take the following actions with                   account identified or established by the
                                                 ‘‘Indian country within the borders of                  regard to every general account and                    Administrator with the designated
                                                 the State’’ and adding in its place ‘‘areas             every compliance account except a                      representative as the authorized account
                                                 of Indian country within the borders of                 compliance account for a CSAPR NOX                     representative and with the owners and
                                                 the State not subject to the State’s SIP                Ozone Season Group 2 source in a State                 operators of such source (as indicated
                                                 authority’’.                                            listed in § 52.38(b)(2)(ii)(A) of this                 on the certificate of representation for
                                                                                                         chapter (and Indian country within the                 the source) as the persons represented
                                                 § 97.825   [Amended]                                    borders of such a State):                              by the authorized account
                                                 ■  58. In § 97.825, amend paragraphs (a)                   (i) The Administrator will deduct all               representative.
                                                 introductory text, (a)(2), (b)(1)(i),                   CSAPR NOX Ozone Season Group 2                            (v)(A) In computing any amounts of
                                                 (b)(1)(ii)(A) and (B), (b)(3), (b)(4)(i),               allowances allocated for the control                   CSAPR NOX Ozone Season Group 3
                                                 (b)(5), (b)(6)(i), (b)(6)(iii) introductory             periods in 2017 through 2022 from each                 allowances to be allocated to and
                                                 text, and (b)(6)(iii)(A) and (B) by                     such account.                                          recorded in general accounts under
                                                 removing ‘‘base CSAPR’’ and adding in                      (ii) The Administrator will determine               paragraph (e)(1)(iii) of this section, the
                                                 its place ‘‘CSAPR’’ each time it appears.               a conversion factor equal to the greater               Administrator may group multiple
                                                                                                         of 1.0000 or the quotient, expressed to                general accounts whose ownership
                                                 ■ 59. Amend § 97.826 by:
                                                                                                         four decimal places, of—                               interests are held by the same or related
                                                 ■ a. In paragraph (b), removing ‘‘(c) or
                                                                                                            (A) The sum of all CSAPR NOX Ozone                  persons or entities and treat the group
                                                 (d)’’ and adding in its place ‘‘(c), (d), or            Season Group 2 allowances deducted                     of accounts as a single account for
                                                 (e)’’;                                                  from all such accounts under paragraph                 purposes of such computation.
                                                 ■ b. In paragraph (c):
                                                                                                         (e)(1)(i) of this section; divided by                     (B) Following a computation for a
                                                 ■ i. Removing ‘‘set forth in’’ and adding                  (B) The product of the sum of the                   group of general accounts in accordance
                                                 in its place ‘‘established under’’; and                 variability limits for the control period              with paragraph (e)(1)(v)(A) of this
                                                 ■ ii. Removing ‘‘State (or Indian’’ and                 in 2024 under § 97.1010(e) for all States              section, the Administrator will allocate
                                                 adding in its place ‘‘State (and Indian’’;              listed in § 52.38(b)(2)(iii)(B) and (C) of             to and record in each individual
                                                 ■ c. In paragraphs (d)(1)(i)(A) and (B),                this chapter multiplied by a fraction                  account in such group a proportional
                                                 removing ‘‘§ 52.38(b)(2)(iv)’’ and adding               whose numerator is the number of days                  share of the quantity of CSAPR NOX
                                                 in its place ‘‘§ 52.38(b)(2)(ii)(B)’’;                  from August 4, 2023 through September                  Ozone Season Group 3 allowances
                                                 ■ d. Revising paragraph (d)(1)(i)(C);                   30, 2023, inclusive, and whose                         computed for such group, basing such
                                                 ■ e. In paragraph (d)(1)(ii) introductory               denominator is 153.                                    shares on the respective quantities of
                                                 text, removing ‘‘§ 52.38(b)(2)(v)’’ and                    (iii) The Administrator will allocate               CSAPR NOX Ozone Season Group 2
                                                 adding in its place                                     and record in each such account an                     allowances removed from such
                                                 ‘‘§ 52.38(b)(2)(iii)(A)’’;                              amount of CSAPR NOX Ozone Season                       individual accounts under paragraph
                                                 ■ f. In paragraphs (d)(2)(i) and (d)(3),                Group 3 allowances for the control                     (e)(1)(i) of this section.
                                                 removing ‘‘§ 52.38(b)(2)(v) of this                     period in 2023 computed as the                            (C) In determining the proportional
                                                 chapter (or’’ and adding in its place                   quotient, rounded up to the nearest                    shares under paragraph (e)(1)(v)(B) of
                                                 ‘‘§ 52.38(b)(2)(iii)(A) of this chapter                 allowance, of the number of CSAPR                      this section, the Administrator may
                                                 (and’’;                                                 NOX Ozone Season Group 2 allowances                    employ any reasonable adjustment
                                                 ■ g. Redesignating paragraph (e) as                     deducted from such account under                       methodology to truncate or round each
                                                 paragraph (f) and adding a new                          paragraph (e)(1)(i) of this section                    such share up or down to a whole
                                                 paragraph (e); and                                      divided by the conversion factor                       number and to cause the total of such
                                                 ■ h. Revising newly redesignated                        determined under paragraph (e)(1)(ii) of               whole numbers to equal the amount of
                                                 paragraphs (f)(1) and (2).                              this section, except as provided in                    CSAPR NOX Ozone Season Group 3
                                                    The revisions and additions read as                  paragraph (e)(1)(iv) or (v) of this section.           allowances computed for such group of
                                                 follows:                                                   (iv) Where, pursuant to paragraph                   accounts in accordance with paragraph
                                                                                                         (e)(1)(i) of this section, the                         (e)(1)(v)(A) of this section, even where
                                                 § 97.826   Banking and conversion.                      Administrator deducts CSAPR NOX                        such adjustments cause the numbers of
                                                 *     *     *     *     *                               Ozone Season Group 2 allowances from                   CSAPR NOX Ozone Season Group 3
                                                   (d) * * *                                             the compliance account for a source in                 allowances allocated to some individual
                                                   (1) * * *                                             a State not listed in § 52.38(b)(2)(iii) of            accounts to equal zero.
                                                   (i) * * *                                             this chapter (and Indian country within                   (2) After the Administrator has carried
                                                   (C) The full-season CSAPR NOX                         the borders of such a State), the                      out the procedures set forth in
                                                 Ozone Season Group 3 allowance bank                     Administrator will not record CSAPR                    paragraph (e)(1) of this section, upon
                                                 target, computed as the sum for all                     NOX Ozone Season Group 3 allowances                    any determination that would otherwise
                                                 States listed in § 52.38(b)(2)(iii)(A) of               in that compliance account but instead                 result in the initial recordation of a
                                                 this chapter of the variability limits                  will allocate and record the amount of                 given number of CSAPR NOX Ozone
                                                 under § 97.1010(e) for such States for                  CSAPR NOX Ozone Season Group 3                         Season Group 2 allowances in the
                                                 the control period in 2022.                             allowances for the control period in                   compliance account for a source in a
                                                 *     *     *     *     *                               2023 computed for such source in                       State listed in § 52.38(b)(2)(iii)(B) of this
                                                   (e) Notwithstanding any other
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                                                                                                         accordance with paragraph (e)(1)(iii) of               chapter (and Indian country within the
                                                 provision of this subpart, part 52 of this              this section in a general account                      borders of such a State), the
                                                 chapter, or any SIP revision approved                   identified by the designated                           Administrator will not record such
                                                 under § 52.38(b)(8) or (9) of this chapter:             representative for such source, provided               CSAPR NOX Ozone Season Group 2
                                                   (1) By September 18, 2023, the                        that if the designated representative fails            allowances but instead will allocate and
                                                 Administrator will temporarily suspend                  to identify such a general account in a                record in such account an amount of
                                                 acceptance of CSAPR NOX Ozone                           submission to the Administrator by                     CSAPR NOX Ozone Season Group 3
                                                 Season Group 2 allowance transfers                      September 18, 2023, the Administrator                  allowances for the control period in


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                                                 2023 computed as the quotient, rounded                  Program, or CSAPR NOX Ozone Season                     ■  e. Adding in alphabetical order a
                                                 up to the nearest allowance, of such                    Group 3 Trading Program, then’’;                       definition for ‘‘Backstop daily NOX
                                                 given number of CSAPR NOX Ozone                         ■ b. In the definition of ‘‘CSAPR NOX                  emissions rate’’;
                                                 Season Group 2 allowances divided by                    Ozone Season Group 2 Trading                           ■ f. Removing the definitions for ‘‘Base
                                                 the conversion factor determined under                  Program’’, removing ‘‘(b)(2)(iii) and (iv),            CSAPR NOX Ozone Season Group 3
                                                 paragraph (e)(1)(ii) of this section.                   and’’ and adding in its place ‘‘(b)(2)(ii),            source’’ and ‘‘Base CSAPR NOX Ozone
                                                    (f) * * *                                            and’’;                                                 Season Group 3 unit’’;
                                                                                                         ■ c. Adding in alphabetical order a                    ■ g. Adding in alphabetical order a
                                                    (1) After the Administrator has carried
                                                                                                         definition for ‘‘CSAPR NOX Ozone                       definition for ‘‘Coal-derived fuel’’;
                                                 out the procedures set forth in
                                                                                                         Season Group 3 Trading Program’’; and                  ■ h. In the definition of ‘‘Common
                                                 paragraph (d)(1) of this section, the
                                                                                                         ■ d. In the definition of ‘‘Designated                 designated representative’’, removing
                                                 owner or operator of a CSAPR NOX                                                                               ‘‘base CSAPR’’ and adding in its place
                                                 Ozone Season Group 2 source in a State                  representative’’, removing ‘‘Program or
                                                                                                         CSAPR NOX Ozone Season Group 2                         ‘‘CSAPR’’;
                                                 listed in § 52.38(b)(2)(ii)(B) of this                                                                         ■ i. Revising the definition of ‘‘Common
                                                 chapter (and Indian country within the                  Trading Program, then’’ and adding in
                                                                                                         its place ‘‘Program, CSAPR NOX Ozone                   designated representative’s assurance
                                                 borders of such a State) may satisfy a                                                                         level’’;
                                                 requirement to hold a given number of                   Season Group 2 Trading Program, or
                                                                                                                                                                ■ j. In the definition of ‘‘Common
                                                 CSAPR NOX Ozone Season Group 2                          CSAPR NOX Ozone Season Group 3
                                                                                                         Trading Program, then’’.                               designated representative’s share’’,
                                                 allowances for a control period in 2017                                                                        removing ‘‘base CSAPR’’ and adding in
                                                 through 2020 by holding instead, in a                      The addition reads as follows:
                                                                                                                                                                its place ‘‘CSAPR’’ each time it appears;
                                                 general account established for this sole               § 97.902    Definitions.                               ■ k. In the definition of ‘‘Compliance
                                                 purpose, an amount of CSAPR NOX                         *     *      *    *     *                              account’’, adding ‘‘primary’’ before
                                                 Ozone Season Group 3 allowances for                        CSAPR NOX Ozone Season Group 3                      ‘‘emissions limitation’’;
                                                 the control period in 2021 (or any later                Trading Program means a multi-state                    ■ l. Adding in alphabetical order a
                                                 control period for which the allowance                  NOX air pollution control and emission                 definition for ‘‘CSAPR NOX Ozone
                                                 transfer deadline defined in § 97.1002                  reduction program established in                       Season Group 1 Trading Program’’;
                                                 has passed) computed as the quotient,                                                                          ■ m. In the definition of ‘‘CSAPR NOX
                                                                                                         accordance with subpart GGGGG of this
                                                 rounded up to the nearest allowance, of                 part and § 52.38(b)(1), (b)(2)(iii), and               Ozone Season Group 2 Trading
                                                 such given number of CSAPR NOX                          (b)(10) through (14) and (17) of this                  Program’’, removing ‘‘(b)(2)(iii) and (iv),
                                                 Ozone Season Group 2 allowances                         chapter (including such a program that                 and’’ and adding in its place ‘‘(b)(2)(ii),
                                                 divided by the conversion factor                        is revised in a SIP revision approved by               and’’;
                                                 determined under paragraph (d)(1)(i)(D)                                                                        ■ n. In the definition of ‘‘CSAPR NOX
                                                                                                         the Administrator under § 52.38(b)(10)
                                                 of this section.                                                                                               Ozone Season Group 3 allowance’’:
                                                                                                         or (11) of this chapter or that is                     ■ i. Adding ‘‘or (e)’’ after ‘‘§ 97.826(d)’’;
                                                    (2) After the Administrator has carried              established in a SIP revision approved
                                                 out the procedures set forth in                                                                                and
                                                                                                         by the Administrator under                             ■ ii. Adding ‘‘or less’’ after ‘‘one ton’’;
                                                 paragraph (e)(1) of this section, the                   § 52.38(b)(12) of this chapter), as a                  ■ o. In the definitions of ‘‘CSAPR NOX
                                                 owner or operator of a CSAPR NOX                        means of mitigating interstate transport               Ozone Season Group 3 allowance
                                                 Ozone Season Group 2 source in a State                  of ozone and NOX.                                      deduction’’ and ‘‘CSAPR NOX Ozone
                                                 listed in § 52.38(b)(2)(ii)(C) of this                  *     *      *    *     *                              Season Group 3 emissions limitation’’,
                                                 chapter (and Indian country within the
                                                                                                                                                                adding ‘‘primary’’ before ‘‘emissions
                                                 borders of such a State) may satisfy a                  § 97.934    [Amended]
                                                                                                                                                                limitation’’;
                                                 requirement to hold a given number of                   ■ 61. In § 97.934, amend paragraph                     ■ p. Adding in alphabetical order a
                                                 CSAPR NOX Ozone Season Group 2                          (d)(3) by removing ‘‘Program or CSAPR                  definition for ‘‘CSAPR NOX Ozone
                                                 allowances for a control period in 2017                 NOX Ozone Season Group 2 Trading                       Season Group 3 secondary emissions
                                                 through 2022 by holding instead, in a                   Program, quarterly’’ and adding in its                 limitation’’;
                                                 general account established for this sole               place ‘‘Program, CSAPR NOX Ozone                       ■ q. In the definition of ‘‘CSAPR NOX
                                                 purpose, an amount of CSAPR NOX                         Season Group 2 Trading Program, or                     Ozone Season Group 3 Trading
                                                 Ozone Season Group 3 allowances for                     CSAPR NOX Ozone Season Group 3                         Program’’, removing ‘‘(b)(2)(v), and’’ and
                                                 the control period in 2023 (or any later                Trading Program, quarterly’’.                          adding in its place ‘‘(b)(2)(iii), and’’;
                                                 control period for which the allowance                                                                         ■ r. Adding in alphabetical order a
                                                 transfer deadline defined in § 97.1002                  Subpart GGGGG—CSAPR NOX Ozone                          definition for ‘‘CSAPR SO2 Group 2
                                                 has passed) computed as the quotient,                   Season Group 3 Trading Program                         Trading Program’’;
                                                 rounded up to the nearest allowance, of                                                                        ■ s. In the definition of ‘‘Designated
                                                 such given number of CSAPR NOX                          ■  62. Amend § 97.1002 by:                             representative’’, removing ‘‘or CSAPR
                                                 Ozone Season Group 2 allowances                         ■  a. Revising the definition of ‘‘Allocate            SO2 Group 1 Trading Program, then’’
                                                 divided by the conversion factor                        or allocation’’;                                       and adding in its place ‘‘CSAPR SO2
                                                 determined under paragraph (e)(1)(ii) of                ■ b. In the definition of ‘‘Allowance                  Group 1 Trading Program, or CSAPR
                                                 this section.                                           transfer deadline’’, adding ‘‘primary’’                SO2 Group 2 Trading Program, then’’.
                                                                                                         before ‘‘emissions limitation’’;                       ■ t. In the definition of ‘‘Excess
                                                 Subpart FFFFF—Texas SO2 Trading                         ■ c. In the definition of ‘‘Alternate                  emissions’’, adding ‘‘primary’’ before
                                                 Program                                                 designated representative’’, removing                  ‘‘emissions limitation’’;
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                                                                                                         ‘‘or CSAPR SO2 Group 1 Trading                         ■ u. Adding in alphabetical order a
                                                 ■  60. Amend § 97.902 by:                               Program, then’’ and adding in its place                definition for ‘‘Historical control
                                                 ■  a. In the definition of ‘‘Alternate                  ‘‘CSAPR SO2 Group 1 Trading Program,                   period’’; and
                                                 designated representative’’, removing                   or CSAPR SO2 Group 2 Trading                           ■ v. In the definition of ‘‘State’’,
                                                 ‘‘Program or CSAPR NOX Ozone Season                     Program, then’’;                                       removing ‘‘(b)(2)(v), and’’ and adding in
                                                 Group 2 Trading Program, then’’ and                     ■ d. In the definition of ‘‘Assurance                  its place ‘‘(b)(2)(iii), and’’.
                                                 adding in its place ‘‘Program, CSAPR                    account’’, removing ‘‘base CSAPR’’ and                    The revisions and additions read as
                                                 NOX Ozone Season Group 2 Trading                        adding in its place ‘‘CSAPR’’;                         follows:


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                                                 § 97.1002   Definitions.                                CSAPR NOX Ozone Season Group 3                         interstate transport of fine particulates
                                                 *      *     *    *     *                               allowances purchased by an owner or                    and SO2.
                                                   Allocate or allocation means, with                    operator of such CSAPR NOX Ozone                       *      *     *     *     *
                                                 regard to CSAPR NOX Ozone Season                        Season Group 3 units in an auction for                    Historical control period means, for a
                                                 Group 3 allowances, the determination                   such control period and submitted by                   unit as of a given calendar year, the
                                                 by the Administrator, State, or                         the State or the permitting authority to               period starting May 1 of a previous
                                                 permitting authority, in accordance with                the Administrator for recordation in the               calendar year and ending September 30
                                                 this subpart, §§ 97.526(d) and 97.826(d)                compliance accounts for such CSAPR                     of that previous calendar year,
                                                 and (e), and any SIP revision submitted                 NOX Ozone Season Group 3 units in                      inclusive, without regard to whether the
                                                 by the State and approved by the                        accordance with the CSAPR NOX Ozone                    unit was subject to requirements under
                                                 Administrator under § 52.38(b)(10), (11),               Season Group 3 allowance auction                       the CSAPR NOX Ozone Season Group 3
                                                 or (12) of this chapter, of the amount of               provisions in a SIP revision approved by               Trading Program during such period.
                                                 such CSAPR NOX Ozone Season Group                       the Administrator under § 52.38(b)(11)                 *      *     *     *     *
                                                 3 allowances to be initially credited, at               or (12) of this chapter, multiplied by the
                                                                                                                                                                ■ 63. Amend § 97.1006 by:
                                                 no cost to the recipient, to:                           sum of the State NOX Ozone Season
                                                                                                                                                                ■ a. Revising paragraph (b)(2),
                                                   (1) A CSAPR NOX Ozone Season                          Group 3 trading budget under
                                                                                                         § 97.1010(a) and the State’s variability               paragraph (c)(1) heading, paragraph
                                                 Group 3 unit;
                                                   (2) A new unit set-aside;                             limit under § 97.1010(e) for such control              (c)(1)(i), and paragraph (c)(1)(ii)
                                                   (3) An Indian country new unit set-                   period, and divided by such State NOX                  introductory text;
                                                                                                                                                                ■ b. Adding paragraphs (c)(1)(iii) and
                                                 aside;                                                  Ozone Season Group 3 trading budget;
                                                   (4) An Indian country existing unit                      (2) Provided that the allocations of                (iv);
                                                                                                                                                                ■ c. In paragraphs (c)(2)(i) introductory
                                                 set-aside; or                                           CSAPR NOX Ozone Season Group 3
                                                   (5) An entity not listed in paragraphs                allowances for any control period taken                text and (c)(2)(i)(B), removing ‘‘base
                                                 (1) through (4) of this definition;                     into account for purposes of this                      CSAPR’’ and adding in its place
                                                   (6) Provided that, if the                             definition shall exclude any CSAPR                     ‘‘CSAPR’’ each time it appears;
                                                 Administrator, State, or permitting                                                                            ■ d. Revising paragraph (c)(2)(iii);
                                                                                                         NOX Ozone Season Group 3 allowances
                                                 authority initially credits, to a CSAPR                                                                        ■ e. In paragraph (c)(2)(iv), removing
                                                                                                         allocated for such control period under
                                                 NOX Ozone Season Group 3 unit                           § 97.526(d) or § 97.826(d) or (e).                     ‘‘base CSAPR’’ and adding in its place
                                                 qualifying for an initial credit, a credit                                                                     ‘‘CSAPR’’ each time it appears;
                                                                                                         *      *     *    *      *                             ■ f. Revising paragraph (c)(3); and
                                                 in the amount of zero CSAPR NOX                            CSAPR NOX Ozone Season Group 1
                                                 Ozone Season Group 3 allowances, the                                                                           ■ g. In paragraph (c)(6) introductory
                                                                                                         Trading Program means a multi-state
                                                 CSAPR NOX Ozone Season Group 3 unit                                                                            text, adding ‘‘or less’’ after ‘‘one ton’’.
                                                                                                         NOX air pollution control and emission                    The revisions and additions read as
                                                 will be treated as being allocated an                   reduction program established in
                                                 amount (i.e., zero) of CSAPR NOX                                                                               follows:
                                                                                                         accordance with subpart BBBBB of this
                                                 Ozone Season Group 3 allowances.                        part and § 52.38(b)(1), (b)(2)(i), and                 § 97.1006   Standard requirements.
                                                 *      *     *    *     *                               (b)(3) through (5) and (13) through (15)               *      *    *    *      *
                                                   Backstop daily NOX emissions rate                     of this chapter (including such a                        (b) * * *
                                                 means a NOX emissions rate used in the                  program that is revised in a SIP revision                (2) The emissions and heat input data
                                                 determination of the CSAPR NOX Ozone                    approved by the Administrator under                    determined in accordance with
                                                 Season Group 3 primary emissions                        § 52.38(b)(3) or (4) of this chapter or that           §§ 97.1030 through 97.1035 shall be
                                                 limitation for a CSAPR NOX Ozone                        is established in a SIP revision approved              used to calculate allocations of CSAPR
                                                 Season Group 3 source in accordance                     by the Administrator under § 52.38(b)(5)               NOX Ozone Season Group 3 allowances
                                                 with § 97.1024(b).                                      of this chapter), as a means of mitigating             under §§ 97.1011 and 97.1012 and to
                                                 *      *     *    *     *                               interstate transport of ozone and NOX.                 determine compliance with the CSAPR
                                                   Coal-derived fuel means any fuel,                     *      *     *    *      *                             NOX Ozone Season Group 3 primary
                                                 whether in a solid, liquid, or gaseous                     CSAPR NOX Ozone Season Group 3                      and secondary emissions limitations
                                                 state, produced by the mechanical,                      secondary emissions limitation means,                  and assurance provisions under
                                                 thermal, or chemical processing of coal.                for a CSAPR NOX Ozone Season Group                     paragraph (c) of this section, provided
                                                 *      *     *    *     *                               3 unit to which such a limitation                      that, for each monitoring location from
                                                   Common designated representative’s                    applies under § 97.1025(c)(1) for a                    which mass emissions are reported, the
                                                 assurance level means, with regard to a                 control period in a given year, the                    mass emissions amount used in
                                                 specific common designated                              tonnage of NOX emissions calculated for                calculating such allocations and
                                                 representative and a State (and Indian                  the unit in accordance with                            determining such compliance shall be
                                                 country within the borders of such                      § 97.1025(c)(2) for such control period.               the mass emissions amount for the
                                                 State) and control period in a given year               *      *     *    *      *                             monitoring location determined in
                                                 for which the State assurance level is                     CSAPR SO2 Group 2 Trading Program                   accordance with §§ 97.1030 through
                                                 exceeded as described in                                means a multi-state SO2 air pollution                  97.1035 and rounded to the nearest ton,
                                                 § 97.1006(c)(2)(iii):                                   control and emission reduction program                 with any fraction of a ton less than 0.50
                                                   (1) The amount (rounded to the                        established in accordance with subpart                 being deemed to be zero.
                                                 nearest allowance) equal to the sum of                  DDDDD of this part and § 52.39(a), (c),                  (c) * * *
                                                 the total amount of CSAPR NOX Ozone                                                                              (1) CSAPR NOX Ozone Season Group
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                                                                                                         (g) through (k), and (m) of this chapter
                                                 Season Group 3 allowances allocated for                 (including such a program that is                      3 primary and secondary emissions
                                                 such control period to the group of one                 revised in a SIP revision approved by                  limitations—(i) Primary emissions
                                                 or more CSAPR NOX Ozone Season                          the Administrator under § 52.39(g) or (h)              limitation. As of the allowance transfer
                                                 Group 3 units in such State (and such                   of this chapter or that is established in              deadline for a control period in a given
                                                 Indian country) having the common                       a SIP revision approved by the                         year, the owners and operators of each
                                                 designated representative for such                      Administrator under § 52.39(i) of this                 CSAPR NOX Ozone Season Group 3
                                                 control period and the total amount of                  chapter), as a means of mitigating                     source and each CSAPR NOX Ozone


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                                                 Season Group 3 unit at the source shall                                    calculated in accordance with                                              of this section or the deadline for
                                                 hold, in the source’s compliance                                           § 97.1025(c)(2).                                                           meeting the unit’s monitor certification
                                                 account, CSAPR NOX Ozone Season                                               (iv) Exceedances of secondary                                           requirements under § 97.1030(b) and for
                                                 Group 3 allowances available for                                           emissions limitation. If total NOX                                         each control period thereafter:
                                                 deduction for such control period under                                    emissions during a control period in a                                        (A) May 1, 2021, for a unit in a State
                                                 § 97.1024(a) in an amount not less than                                    given year from a CSAPR NOX Ozone                                          (and Indian country within the borders
                                                 the amount determined under                                                Season Group 3 unit are in excess of the                                   of such State) listed in
                                                 § 97.1024(b), comprising the sum of—                                       amount of a CSAPR NOX Ozone Season                                         § 52.38(b)(2)(iii)(A) of this chapter;
                                                    (A) The tons of total NOX emissions                                     Group 3 secondary emissions limitation                                        (B) May 1, 2023, for a unit in a State
                                                 for such control period from all CSAPR                                     applicable to the unit for the control                                     (and Indian country within the borders
                                                 NOX Ozone Season Group 3 units at the                                      period under paragraph (c)(1)(iii) of this                                 of such State) listed in
                                                 source; plus                                                               section, then the owners and operators                                     § 52.38(b)(2)(iii)(B) of this chapter; or
                                                    (B) Two times the excess, if any, over                                  of the unit and the source at which the                                       (C) August 4, 2023, for a unit in a
                                                 50 tons of the sum, for all CSAPR NOX                                      unit is located shall pay any fine,                                        State (and Indian country within the
                                                 Ozone Season Group 3 units at the                                          penalty, or assessment or comply with                                      borders of such State) listed in
                                                 source and all calendar days of the                                        any other remedy imposed, for the same                                     § 52.38(b)(2)(iii)(C) of this chapter.
                                                 control period, of any NOX emissions                                       violations, under the Clean Air Act, and                                      (ii) A CSAPR NOX Ozone Season
                                                 from such a unit on any calendar day of                                    each ton of such excess emissions and                                      Group 3 unit shall be subject to the
                                                 the control period exceeding the NOX                                       each day of such control period shall                                      requirements under paragraphs
                                                 emissions that would have occurred on                                      constitute a separate violation of this                                    (c)(1)(iii) and (iv) of this section for the
                                                 that calendar day if the unit had                                          subpart and the Clean Air Act.                                             control period starting on the later of
                                                 combusted the same daily heat input                                           (2) * * *                                                               May 1, 2024, or the deadline for meeting
                                                 and emitted at any backstop daily NOX                                         (iii) Total NOX emissions from all                                      the unit’s monitor certification
                                                 emissions rate applicable to the unit for                                  CSAPR NOX Ozone Season Group 3                                             requirements under § 97.1030(b) and for
                                                 that control period.                                                       units at CSAPR NOX Ozone Season                                            each control period thereafter.
                                                    (ii) Exceedances of primary emissions                                   Group 3 sources in a State (and Indian                                     *       *    *     *      *
                                                 limitation. If total NOX emissions during                                  country within the borders of such
                                                                                                                                                                                                       ■ 64. Revise § 97.1010 to read as
                                                 a control period in a given year from the                                  State) during a control period in a given
                                                 CSAPR NOX Ozone Season Group 3                                             year exceed the State assurance level if                                   follows:
                                                 units at a CSAPR NOX Ozone Season                                          such total NOX emissions exceed the                                        § 97.1010 State NOX Ozone Season Group
                                                 Group 3 source are in excess of the                                        sum, for such control period, of the                                       3 trading budgets, set-asides, and
                                                 CSAPR NOX Ozone Season Group 3                                             State NOX Ozone Season Group 3                                             variability limits.
                                                 primary emissions limitation set forth in                                  trading budget under § 97.1010(a) and                                         (a) State NOX Ozone Season Group 3
                                                 paragraph (c)(1)(i) of this section, then:                                 the State’s variability limit under                                        trading budgets. (1)(i) The State NOX
                                                 *       *    *     *    *                                                  § 97.1010(e).                                                              Ozone Season Group 3 trading budgets
                                                    (iii) Secondary emissions limitation.                                   *       *    *    *     *                                                  for allocations of CSAPR NOX Ozone
                                                 The owner or operator of a CSAPR NOX                                          (3) Compliance periods. (i) A CSAPR                                     Season Group 3 allowances for the
                                                 Ozone Season Group 3 unit subject to an                                    NOX Ozone Season Group 3 unit shall                                        control periods in 2021 through 2025
                                                 emissions limitation under                                                 be subject to the requirements under                                       shall be as indicated in table 1 to this
                                                 § 97.1025(c)(1) shall not discharge, or                                    paragraphs (c)(1)(i) and (ii) and (c)(2) of                                paragraph (a)(1)(i), subject to prorating
                                                 allow to be discharged, emissions of                                       this section for the control period                                        for the control period in 2023 as
                                                 NOX to the atmosphere during a control                                     starting on the later of the applicable                                    provided in paragraph (a)(1)(ii) of this
                                                 period in excess of the tonnage amount                                     date in paragraph (c)(3)(i)(A), (B), or (C)                                section:

                                                      TABLE 1 TO PARAGRAPH (a)(1)(i)—STATE NOX OZONE SEASON GROUP 3 TRADING BUDGETS BY CONTROL PERIOD,
                                                                                                  2021–2025
                                                                                                                                                            [Tons]

                                                                                                                                                                            Portion of                  Portion of
                                                                                                                                                                           2023 control               2023 control
                                                                                                                                                                           period before             period on and
                                                                            State                                          2021                       2022                                                               2024            2025
                                                                                                                                                                             August 4,               after August 4,
                                                                                                                                                                           2023, before               2023, before
                                                                                                                                                                             prorating                  prorating

                                                 Alabama ...................................................        ........................   ........................                13,211                 6,379          6,489           6,489
                                                 Arkansas ..................................................        ........................   ........................                  9,210                8,927          8,927           8,927
                                                 Illinois .......................................................                11,223                       9,102                      8,179                7,474          7,325           7,325
                                                 Indiana .....................................................                   17,004                     12,582                     12,553                12,440         11,413          11,413
                                                 Kentucky ..................................................                     17,542                     14,051                     14,051                13,601         12,999          12,472
                                                 Louisiana ..................................................                    16,291                     14,818                     14,818                 9,363          9,363           9,107
                                                 Maryland ..................................................                       2,397                      1,266                      1,266                1,206          1,206           1,206
                                                 Michigan ...................................................                    14,384                     12,290                       9,975               10,727         10,275          10,275
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                                                 Minnesota .................................................        ........................   ........................   ........................            5,504          4,058           4,058
                                                 Mississippi ................................................       ........................   ........................                  6,315                6,210          5,058           5,037
                                                 Missouri ....................................................      ........................   ........................                15,780                12,598         11,116          11,116
                                                 Nevada .....................................................       ........................   ........................   ........................            2,368          2,589           2,545
                                                 New Jersey ..............................................                         1,565                      1,253                      1,253                  773            773             773
                                                 New York .................................................                        4,079                      3,416                      3,421                3,912          3,912           3,912
                                                 Ohio ..........................................................                 13,481                       9,773                      9,773                9,110          7,929           7,929
                                                 Oklahoma .................................................         ........................   ........................                11,641                10,271          9,384           9,376



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                                                      TABLE 1 TO PARAGRAPH (a)(1)(i)—STATE NOX OZONE SEASON GROUP 3 TRADING BUDGETS BY CONTROL PERIOD,
                                                                                             2021–2025—Continued
                                                                                                                                                              [Tons]

                                                                                                                                                                              Portion of                  Portion of
                                                                                                                                                                             2023 control               2023 control
                                                                                                                                                                             period before             period on and
                                                                             State                                           2021                        2022                                                             2024           2025
                                                                                                                                                                               August 4,               after August 4,
                                                                                                                                                                             2023, before               2023, before
                                                                                                                                                                               prorating                  prorating

                                                 Pennsylvania ............................................                         12,071                       8,373                      8,373                8,138        8,138           8,138
                                                 Texas .......................................................        ........................   ........................                52,301                40,134       40,134          38,542
                                                 Utah ..........................................................      ........................   ........................   ........................           15,755       15,917          15,917
                                                 Virginia .....................................................                      6,331                      3,897                      3,980                3,143        2,756           2,756
                                                 West Virginia ............................................                        15,062                     12,884                     12,884                13,791       11,958          11,958
                                                 Wisconsin .................................................          ........................   ........................                  7,915                6,295        6,295           5,988



                                                    (ii) For the control period in 2023, the                                  2023 control period for the State)                                         August 4, 2023, through September 30,
                                                 State NOX Ozone Season Group 3                                               multiplied by a fraction whose                                             2023, inclusive, and whose denominator
                                                 trading budget for each State shall be                                       numerator is the number of days from                                       is 153.
                                                 calculated as the sum, rounded to the                                        May 1, 2023, through the day before                                           (2)(i) The State NOX Ozone Season
                                                 nearest allowance, of the following                                          August 4, 2023, inclusive, and whose
                                                                                                                                                                                                         Group 3 trading budget for each State
                                                 prorated amounts:                                                            denominator is 153; plus
                                                    (A) The product of the non-prorated                                          (B) The product of the non-prorated                                     and each control period in 2026 through
                                                 trading budget for the portion of the                                        trading budget for the portion of the                                      2029 shall be the preset trading budget
                                                 2023 control period before August 4,                                         2023 control period on and after August                                    indicated for the State and control
                                                 2023, shown for the State in table 1 to                                      4, 2023, shown for the State in table 1                                    period in table 2 to this paragraph
                                                 paragraph (a)(1)(i) of this section (or                                      to paragraph (a)(1)(i) of this section                                     (a)(2)(i), except as provided in
                                                 zero if table 1 to paragraph (a)(1)(i)                                       multiplied by a fraction whose                                             paragraph (a)(2)(ii) of this section.
                                                 shows no amount for such portion of the                                      numerator is the number of days from

                                                                       TABLE 2 TO PARAGRAPH (a)(2)(i)—PRESET TRADING BUDGETS BY CONTROL PERIOD, 2026–2029
                                                                                                                                                              [Tons]

                                                                                                        State                                                                      2026                    2027           2028           2029

                                                 Alabama ...........................................................................................................                      6,339                 6,236        6,236           5,105
                                                 Arkansas ..........................................................................................................                      6,365                 4,031        4,031           3,582
                                                 Illinois ...............................................................................................................                 5,889                 5,363        4,555           4,050
                                                 Indiana .............................................................................................................                    8,363                 8,135        7,280           5,808
                                                 Kentucky ..........................................................................................................                      9,697                 7,908        7,837           7,392
                                                 Louisiana ..........................................................................................................                     6,370                 3,792        3,792           3,639
                                                 Maryland ..........................................................................................................                        842                   842          842             842
                                                 Michigan ...........................................................................................................                     6,743                 5,691        5,691           4,656
                                                 Minnesota ........................................................................................................                       4,058                 2,905        2,905           2,578
                                                 Mississippi ........................................................................................................                     3,484                 2,084        1,752           1,752
                                                 Missouri ............................................................................................................                    9,248                 7,329        7,329           7,329
                                                 Nevada .............................................................................................................                     1,142                 1,113        1,113             880
                                                 New Jersey ......................................................................................................                          773                   773          773             773
                                                 New York .........................................................................................................                       3,650                 3,388        3,388           3,388
                                                 Ohio .................................................................................................................                   7,929                 7,929        6,911           6,409
                                                 Oklahoma .........................................................................................................                       6,631                 3,917        3,917           3,917
                                                 Pennsylvania ....................................................................................................                        7,512                 7,158        7,158           4,828
                                                 Texas ...............................................................................................................                   31,123                23,009       21,623          20,635
                                                 Utah .................................................................................................................                   6,258                 2,593        2,593           2,593
                                                 Virginia .............................................................................................................                   2,565                 2,373        2,373           1,951
                                                 West Virginia ....................................................................................................                      10,818                 9,678        9,678           9,678
                                                 Wisconsin .........................................................................................................                      4,990                 3,416        3,416           3,416



                                                    (ii) If the preset trading budget                                         budget for the State and control period                                    thereafter shall be the dynamic trading
                                                 indicated for a given State and control                                      shall be the dynamic trading budget for                                    budget for the State and control period
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                                                 period in table 2 to paragraph (a)(2)(i) of                                  the State and control period referenced                                    referenced in the applicable notice
                                                 this section is less than the dynamic                                        in the applicable notice promulgated                                       promulgated under paragraph
                                                 trading budget for the State and control                                     under paragraph (a)(4)(v)(C) of this                                       (a)(4)(v)(C) of this section.
                                                 period referenced in the applicable                                          section.                                                                      (4) The Administrator will calculate
                                                 notice promulgated under paragraph                                             (3) The State NOX Ozone Season                                           the dynamic trading budget for each
                                                 (a)(4)(v)(C) of this section, then the State                                 Group 3 trading budget for each State                                      State and each control period in 2026
                                                 NOX Ozone Season Group 3 trading                                             and each control period in 2030 and


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                                                 and thereafter in the year before the year                 (B) For the State, the Administrator                   (B) For a unit not listed in the
                                                 of the control period as follows:                       will determine the following state-level               document referenced in paragraph
                                                    (i) The Administrator will include a                 amounts:                                               (a)(4)(iii)(A) of this section, the NOX
                                                 unit in a State (and Indian country                        (1) The sum for all units in the State              emissions rate used in the calculation
                                                 within the borders of the State) in the                 meeting the criterion under paragraph                  for the control period shall be identified
                                                 calculation of the State’s dynamic                      (a)(4)(i)(A) of this section, without                  according to the type of unit and the
                                                 trading budget for a control period if—                 regard to whether such units also meet                 type of fuel combusted by the unit
                                                    (A) To the best of the Administrator’s               the criteria under paragraphs (a)(4)(i)(B)             during the control period beginning
                                                 knowledge, the unit qualifies as a                      and (C) of this section, of the total heat             May 1 on or immediately after the unit’s
                                                 CSAPR NOX Ozone Season Group 3 unit                     input amounts reported in accordance                   deadline for certification of monitoring
                                                 under § 97.1004, without regard to                      with part 75 of this chapter for the                   systems under § 97.1030(b) as follows:
                                                 whether the unit has permanently                        historical control periods in the years                   (1) 0.011 lb/mmBtu, for a simple cycle
                                                 retired, provided that including a unit                 two, three, and four years before the                  combustion turbine or a combined cycle
                                                 in the calculation of a dynamic trading                 year of the control period for which the               combustion turbine other than an
                                                 budget does not constitute a                            dynamic trading budget is being                        integrated coal gasification combined
                                                 determination that the unit is a CSAPR                  calculated, provided that for the                      cycle unit;
                                                 NOX Ozone Season Group 3 unit, and                      historical control periods in 2022 and                    (2) 0.030 lb/mmBtu, for a boiler
                                                 not including a unit in the calculation                 2023, the total reported heat input                    combusting only fuel oil or gaseous fuel
                                                 of a dynamic trading budget does not                    amounts for Nevada and Utah as                         (other than coal-derived fuel) during
                                                 constitute a determination that the unit                otherwise determined under this                        such control period; or
                                                                                                         paragraph (a)(4)(ii)(B)(1) shall be                       (3) 0.050 lb/mmBtu, for a boiler
                                                 is not a CSAPR NOX Ozone Season
                                                                                                                                                                combusting any amount of coal or coal-
                                                 Group 3 unit;                                           increased by 13,489,332 mmBtu for
                                                                                                                                                                derived fuel during such control period
                                                    (B) The unit’s deadline for                          Nevada and by 1,888,174 mmBtu for
                                                                                                                                                                or any other unit not covered by
                                                 certification of monitoring systems                     Utah;
                                                                                                                                                                paragraph (a)(4)(iii)(B)(1) or (2) of this
                                                 under § 97.1030(b) is on or before May                     (2) The average of the three state-level
                                                                                                                                                                section.
                                                 1 of the year two years before the year                 total heat input amounts calculated for                   (iv) The Administrator will calculate
                                                 of the control period for which the                     the State under paragraph (a)(4)(ii)(B)(1)             the State’s dynamic trading budget for
                                                 dynamic trading budget is being                         of this section; and                                   the control period as the sum (converted
                                                 calculated; and                                            (3) The sum for all units identified for            to tons at a conversion factor of 2,000
                                                    (C) The owner or operator reported                   inclusion in the calculation of the                    lb/ton and rounded to the nearest ton),
                                                 heat input greater than zero for the unit               State’s dynamic trading budget for the                 for all units identified for inclusion in
                                                 in accordance with part 75 of this                      control period under paragraph (a)(4)(i)               the calculation under paragraph (a)(4)(i)
                                                 chapter for the historical control period               of this section of the unit-level average              of this section, of the product for each
                                                 in the year two years before the year of                heat input amounts calculated under                    such unit of the heat input amount in
                                                 the control period for which the                        paragraph (a)(4)(ii)(A)(2) of this section.            mmBtu calculated for the unit under
                                                 dynamic trading budget is being                            (C) The heat input amount for a unit                paragraph (a)(4)(ii) of this section
                                                 calculated.                                             used in the calculation of the State’s                 multiplied by the NOX emissions rate in
                                                    (ii) For each unit identified for                    dynamic trading budget shall be the                    lb/mmBtu identified for the unit under
                                                 inclusion in the calculation of the                     product of the unit-level average total                paragraph (a)(4)(iii) of this section.
                                                 State’s dynamic trading budget for a                    heat input amount calculated for the                      (v)(A) By March 1, 2025 and March 1
                                                 control period under paragraph (a)(4)(i)                unit under paragraph (a)(4)(ii)(A)(2) of               of each year thereafter, the
                                                 of this section, the Administrator will                 this section multiplied by a fraction                  Administrator will calculate the
                                                 calculate the heat input amount in                      whose numerator is the state-level                     dynamic trading budget for each State,
                                                 mmBtu to be used in the budget                          average total heat input amount                        in accordance with paragraphs (a)(4)(i)
                                                 calculation as follows:                                 calculated under paragraph                             through (iv) of this section and
                                                    (A) For each such unit, the                          (a)(4)(ii)(B)(2) of this section and whose             §§ 97.1006(b)(2) and 97.1030 through
                                                 Administrator will determine the                        denominator is the state-level sum of                  97.1035, for the control period in the
                                                 following unit-level amounts:                           the unit-level average heat input                      year after the year of the applicable
                                                    (1) The total heat input amounts                     amounts calculated under paragraph                     calculation deadline under this
                                                 reported in accordance with part 75 of                  (a)(4)(ii)(B)(3) of this section.                      paragraph (a)(4)(v)(A) and will
                                                 this chapter for the unit for the                          (iii) For each unit identified for                  promulgate a notice of data availability
                                                 historical control periods in the years                 inclusion in the calculation of the                    of the results of the calculations.
                                                 two, three, four, five, and six years                   State’s dynamic trading budget for a                      (B) For each notice of data availability
                                                 before the year of the control period for               control period under paragraph (a)(4)(i)               required in paragraph (a)(4)(v)(A) of this
                                                 which the dynamic trading budget is                     of this section, the Administrator will                section, the Administrator will provide
                                                 being calculated, except any historical                 identify the NOX emissions rate in lb/                 an opportunity for submission of
                                                 control period that commenced before                    mmBtu to be used in the calculation as                 objections to the calculations referenced
                                                 the unit’s first deadline under any                     follows:                                               in such notice. Objections shall be
                                                 regulatory program to begin recording                      (A) For a unit listed in the document               submitted by the deadline specified in
                                                 and reporting heat input in accordance                  entitled ‘‘Unit-Specific Ozone Season                  such notice and shall be limited to
                                                 with part 75 of this chapter; and                       NOX Emissions Rates for Dynamic
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                                                                                                                                                                addressing whether the calculations
                                                    (2) The average of the three highest                 Budget Calculations’’ posted at                        (including the identification of the units
                                                 unit-level total heat input amounts                     www.regulations.gov in docket EPA–                     included in the calculations) are in
                                                 identified for the unit under paragraph                 HQ–OAR–2021–0668, the NOX                              accordance with the provisions
                                                 (a)(4)(iv)(A)(1) of this section or, if fewer           emissions rate used in the calculation                 referenced in paragraph (a)(4)(v)(A) of
                                                 than three non-zero amounts are                         for the control period shall be the NOX                this section.
                                                 identified for the unit, the average of all             emissions rate shown for the unit and                     (C) The Administrator will adjust the
                                                 such non-zero total heat input amounts.                 control period in that document.                       calculations to the extent necessary to


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                                                 ensure that they are in accordance with                            accordance with paragraph (a) of this                                      TABLE 5 TO PARAGRAPH (e)(1)—VARI-
                                                 the provisions referenced in paragraph                             section multiplied by—                                                      ABILITY LIMITS BY CONTROL PE-
                                                 (a)(4)(v)(A) of this section. By May 1                               (i) 0.09, for Nevada for the control                                      RIOD—Continued
                                                 immediately after the promulgation of                              periods in 2023 through 2025;
                                                                                                                                                                                                                  [2021–2022 (tons)]
                                                 each notice of data availability required                            (ii) 0.06, for Ohio for the control
                                                 in paragraph (a)(4)(v)(A) of this section,                         periods in 2023 through 2025;                                                              State                        2021     2022
                                                 the Administrator will promulgate a                                  (iii) 0.05, for each State other than
                                                 notice of data availability of the results                         Nevada and Ohio for the control periods                                   Ohio ......................................   2,831    2,052
                                                 of the calculations incorporating any                              in 2023 through 2025; or                                                  Pennsylvania ........................         2,535    1,758
                                                 adjustments that the Administrator                                   (iv) 0.05, for each State for each                                      Virginia ..................................   1,329      818
                                                 determines to be necessary and the                                 control period in 2026 and thereafter.                                    West Virginia ........................        3,163    2,706
                                                 reasons for accepting or rejecting any                               (d) Indian country new unit set-asides
                                                 objections submitted in accordance with                            for the control periods in 2021 and                                          (2) The variability limit for the State
                                                 paragraph (a)(4)(v)(B) of this section.                            2022. The Indian country new unit set-                                    NOX Ozone Season Group 3 trading
                                                    (b) Indian country existing unit set-                           asides for allocations of CSAPR NOX                                       budget for each State for each control
                                                 asides for the control periods in 2023                             Ozone Season Group 3 allowances for                                       period in 2023 and thereafter shall be
                                                 and thereafter. The Indian country                                 the control periods in 2021 and 2022 for                                  calculated as the product (rounded to
                                                 existing unit set-aside for allocations of                         each State with CSAPR NOX Ozone                                           the nearest ton) of the State NOX Ozone
                                                 CSAPR NOX Ozone Season Group 3                                     Season Group 3 trading budgets for such                                   Season Group 3 trading budget for the
                                                 allowances for each State for each                                 control periods shall be as indicated in                                  State and control period established in
                                                 control period in 2023 and thereafter                              table 4 to this paragraph (d):                                            accordance with paragraph (a) of this
                                                 shall be calculated as the sum of all                                                                                                        section multiplied by the greater of—
                                                 allowance allocations to units in areas                              TABLE 4 TO PARAGRAPH (d)—INDIAN                                            (i) 0.21; or
                                                 of Indian country within the borders of                               COUNTRY NEW UNIT SET-ASIDES BY                                            (ii) Any excess over 1.00 of the
                                                 the State not subject to the State’s SIP                              CONTROL PERIOD                                                         quotient (rounded to two decimal
                                                 authority as provided in the applicable                                                                                                      places) of—
                                                                                                                                         [2021–2022 (tons)]
                                                 notice of data availability for the control                                                                                                     (A) The sum for all CSAPR NOX
                                                 period referenced in § 97.1011(a)(2).                                                State                         2021         2022         Ozone Season Group 3 units in the State
                                                    (c) New unit set-asides. (1) The new                                                                                                      and Indian country within the borders
                                                 unit set-asides for allocations of CSAPR                           Illinois ....................................   ..........   ..........   of the State of the total heat input
                                                 NOX Ozone Season Group 3 allowances                                Indiana ..................................      ..........   ..........   reported for the control period in
                                                 for the control periods in 2021 and 2022                           Kentucky ...............................        ..........   ..........   mmBtu, provided that, for purposes of
                                                 for each State with CSAPR NOX Ozone                                Louisiana ..............................              15           15
                                                                                                                                                                                              this paragraph (e)(2)(ii)(A), the 2023
                                                 Season Group 3 trading budgets for such                            Maryland ...............................        ..........   ..........
                                                                                                                    Michigan ...............................              13           12
                                                                                                                                                                                              control period for all States shall be
                                                 control periods shall be as indicated in                                                                                                     deemed to be the period from May 1,
                                                 table 3 to this paragraph (c)(1):                                  New Jersey ...........................          ..........   ..........
                                                                                                                    New York ..............................                 3            3    2023 through September 30, 2023,
                                                                                                                    Ohio ......................................     ..........   ..........   inclusive; divided by
                                                 TABLE 3 TO PARAGRAPH (c)(1)—NEW
                                                                                                                    Pennsylvania ........................           ..........   ..........      (B) The state-level total heat input
                                                 UNIT SET-ASIDES BY CONTROL PERIOD                                  Virginia ..................................     ..........   ..........   amount used in the calculation of the
                                                                      [2021–2022 (tons)]                            West Virginia ........................          ..........   ..........   State NOX Ozone Season Group 3
                                                                                                                                                                                              trading budget for the State and control
                                                                   State                         2021     2022         (e) Variability limits. (1) The                                        period in mmBtu, as identified in
                                                                                                                    variability limits for the State NOX                                      accordance with paragraph (e)(3) of this
                                                 Illinois ....................................    265         265
                                                 Indiana ..................................       262         254
                                                                                                                    Ozone Season Group 3 trading budgets                                      section.
                                                 Kentucky ...............................         309         283   for the control periods in 2021 and 2022                                     (3) For purposes of paragraph
                                                 Louisiana ..............................         430         430   for each State with such trading budgets                                  (e)(2)(ii)(B) of this section, the state-
                                                 Maryland ...............................         135         115   for such control periods shall be as                                      level total heat input amount used in
                                                 Michigan ...............................         500         482   indicated in table 5 to this paragraph                                    the calculation of a State NOX Ozone
                                                 New Jersey ...........................            27          27   (e)(1).                                                                   Season Group 3 trading budget for a
                                                 New York ..............................          168         168
                                                                                                                                                                                              given control period shall be identified
                                                 Ohio ......................................      291         290    TABLE 5 TO PARAGRAPH (e)(1)—VARI-
                                                 Pennsylvania ........................            335         339                                                                             as follows:
                                                                                                                      ABILITY LIMITS BY CONTROL PERIOD                                           (i) For a control period in 2023
                                                 Virginia ..................................      185         161
                                                 West Virginia ........................           266         261                        [2021–2022 (tons)]                                   through 2025, and for a control period
                                                                                                                                                                                              in 2026 through 2029 if the State NOX
                                                    (2) The new unit set-aside for                                                    State                         2021         2022         Ozone Season Group 3 trading budget
                                                 allocations of CSAPR NOX Ozone                                                                                                               for the State and control period under
                                                                                                                    Illinois ....................................   2,356        1,911
                                                 Season Group 3 allowances for each                                 Indiana ..................................      3,571        2,642
                                                                                                                                                                                              paragraph (a)(2) of this section is the
                                                 State for each control period in 2023                              Kentucky ...............................        3,684        2,951        preset trading budget set forth for the
                                                 and thereafter shall be calculated as the                          Louisiana ..............................        3,421        3,112        State and control period in table 2 to
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                                                 product (rounded to the nearest                                    Maryland ...............................          504          266        paragraph (a)(2)(i) of this section, the
                                                 allowance) of the State NOX Ozone                                  Michigan ...............................        3,021        2,581        state-level total heat input amounts
                                                 Season Group 3 trading budget for the                              New Jersey ...........................            329          263        shall be as indicated in table 6 to this
                                                 State and control period established in                            New York ..............................           856          717        paragraph (e)(3)(i).




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                                                         TABLE 6 TO PARAGRAPH (e)(3)(i)—STATE-LEVEL TOTAL HEAT INPUT USED IN CALCULATIONS OF PRESET TRADING
                                                                                             BUDGETS BY CONTROL PERIOD
                                                                                                                                              [2023–2029 (mmBtu)]

                                                                               State                                        2023            2024               2025             2026            2027            2028            2029

                                                 Alabama ........................................................          313,037,541     333,030,691        333,030,691      330,396,046     328,650,653     328,650,653     307,987,882
                                                 Arkansas .......................................................          192,843,561     192,843,561        192,843,561      190,921,052     190,921,052     190,921,052     190,921,052
                                                 Illinois ............................................................     274,005,935     286,568,112        286,568,112      253,219,463     253,219,463     214,086,655     193,900,867
                                                 Indiana ...........................................................       356,047,916     330,175,944        330,175,944      302,245,332     302,245,332     277,218,546     236,611,101
                                                 Kentucky ........................................................         301,161,750     301,161,750        295,857,697      295,857,697     295,857,697     293,016,485     274,595,978
                                                 Louisiana .......................................................         280,592,592     280,592,592        278,766,253      278,461,807     277,262,840     277,262,840     277,262,840
                                                 Maryland ........................................................          70,725,007      70,725,007         70,725,007       70,725,007      70,725,007      70,725,007      70,725,007
                                                 Michigan ........................................................         313,846,533     299,124,688        299,124,688      258,225,107     258,225,107     258,225,107     222,314,181
                                                 Minnesota ......................................................          128,893,685     107,821,236        107,821,236      107,821,236      93,890,928      93,890,928      85,707,385
                                                 Mississippi .....................................................         192,978,295     189,415,018        189,279,160      189,279,160     189,279,160     176,004,820     176,004,820
                                                 Missouri .........................................................        284,308,851     249,153,661        249,153,661      249,153,661     248,413,545     248,413,545     248,413,545
                                                 Nevada ..........................................................         103,489,785     116,979,117        114,729,782      105,018,415     100,193,805     100,193,805      96,378,269
                                                 New Jersey ...................................................            112,233,231     112,233,231        112,233,231      112,233,231     112,233,231     112,233,231     112,233,231
                                                 New York .......................................................          242,853,661     242,853,661        242,853,661      242,853,661     242,853,661     242,853,661     242,853,661
                                                 Ohio ...............................................................      412,292,609     386,560,212        386,560,212      386,560,212     386,560,212     358,992,155     342,075,946
                                                 Oklahoma ......................................................           212,903,386     211,187,283        211,165,691      211,145,820     196,160,642     196,160,642     196,160,642
                                                 Pennsylvania .................................................            550,993,363     550,993,363        550,993,363      550,993,363     550,993,363     550,993,363     487,590,728
                                                 Texas .............................................................     1,395,116,925   1,395,116,925      1,389,251,813    1,389,251,813   1,356,192,532   1,320,040,162   1,280,014,875
                                                 Utah ...............................................................      164,519,648     166,407,822        166,407,822      127,217,396     127,217,396     127,217,396     127,217,396
                                                 Virginia ..........................................................       202,953,791     194,015,719        194,015,719      194,015,719     194,015,719     194,015,719     186,848,587
                                                 West Virginia .................................................           306,845,495     273,151,957        273,151,957      273,151,957     273,151,957     273,151,957     273,151,957
                                                 Wisconsin ......................................................          220,794,282     220,792,155        213,038,308      185,469,476     151,343,287     151,343,287     151,343,287



                                                    (ii) For a control period in 2026                                           under paragraph (b)(11)(iii) of this                    set-aside for the control period under
                                                 through 2029 if the State NOX Ozone                                            section.                                                § 97.1010(c).
                                                 Season Group 3 trading budget for the                                             (2) For the control periods in 2023                     (2) The Administrator will calculate a
                                                 State and control period under                                                 and each year thereafter, CSAPR NOX                     default allocation of CSAPR NOX Ozone
                                                 paragraph (a)(2) of this section is the                                        Ozone Season Group 3 allowances will                    Season Group 3 allowances for each
                                                 dynamic trading budget for the State                                           be allocated to units in areas of Indian                CSAPR NOX Ozone Season Group 3 unit
                                                 and control period referenced in the                                           country within the borders of each State                in the State and Indian country within
                                                 applicable notice promulgated under                                            not subject to the State’s SIP authority                the borders of the State meeting the
                                                 paragraph (a)(4)(v)(C) of this section,                                        as provided in notices of data                          following criteria:
                                                 and for a control period in 2030 and                                           availability issued by the Administrator.                  (i) To the best of the Administrator’s
                                                 thereafter, the state-level total heat input                                   Starting with the control period in 2026,               knowledge, the unit qualifies as a
                                                 amount shall be the amount for the State                                       the notices of data availability will be                CSAPR NOX Ozone Season Group 3 unit
                                                 and control period calculated under                                            the notices issued under paragraph                      under § 97.1004, without regard to
                                                 paragraph (a)(4)(ii)(B)(2) of this section.                                    (b)(11)(iii) of this section.                           whether the unit has permanently
                                                    (f) Relationship of trading budgets,                                           (3) Providing an allocation to a unit in             retired;
                                                 set-asides, and variability limits. Each                                       a notice of data availability does not                     (ii) The unit’s deadline for
                                                 State NOX Ozone Season Group 3                                                 constitute a determination that the unit                certification of monitoring systems
                                                 trading budget in this section includes                                        is a CSAPR NOX Ozone Season Group                       under § 97.1030(b) is on or before May
                                                 any tons in an Indian country existing                                         3 unit, and not providing an allocation                 1 of the year two years before the year
                                                 unit set-aside, a new unit set-aside, or                                       to a unit in such notice does not                       of the control period for which the
                                                 an Indian country new unit set-aside but                                       constitute a determination that the unit                allowances are being allocated; and
                                                 does not include any tons in a                                                 is not a CSAPR NOX Ozone Season                            (iii) The owner or operator reported
                                                 variability limit.                                                             Group 3 unit.                                           heat input greater than zero for the unit
                                                 ■ 65. Amend § 97.1011 by revising the
                                                                                                                                   (b) Calculation of default allocations               in accordance with part 75 of this
                                                 section heading and paragraphs (a), (b),                                       to existing units for control periods in                chapter for the historical control period
                                                 paragraph (c) heading, and paragraphs                                          2026 and thereafter. For each control                   in the year two years before the year of
                                                 (c)(1) and (5) to read as follows:                                             period in 2026 and thereafter, and for                  the control period for which the
                                                                                                                                the CSAPR NOX Ozone Season Group 3                      allowances are being allocated.
                                                 § 97.1011 CSAPR NOX Ozone Season                                               units in each State and areas of Indian                    (3) For each CSAPR NOX Ozone
                                                 Group 3 allowance allocations to existing                                      country within the borders of the State,                Season Group 3 unit for which a default
                                                 units.                                                                         the Administrator will calculate default                allocation is being calculated for a
                                                   (a) Allocations to existing units in                                         allocations of CSAPR NOX Ozone                          control period, the Administrator will
                                                 general. (1) For the control periods in                                        Season Group 3 allowances to the                        calculate an average heat input amount
                                                 2021 and each year thereafter, CSAPR                                           CSAPR NOX Ozone Season Group 3                          to be used in the allocation calculations
                                                 NOX Ozone Season Group 3 allowances                                            units as follows:                                       as follows:
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                                                 will be allocated to units in each State                                          (1) For each State and control period,                  (i) The Administrator will identify the
                                                 and areas of Indian country within the                                         the total amount of CSAPR NOX Ozone                     total heat input amounts reported for
                                                 borders of the State subject to the State’s                                    Season Group 3 allowances for which                     the unit in accordance with part 75 of
                                                 SIP authority as provided in notices of                                        the Administrator will calculate default                this chapter for the historical control
                                                 data availability issued by the                                                allocations shall be the remainder of the               periods in the years two, three, four,
                                                 Administrator. Starting with the control                                       State NOX Ozone Season Group 3                          five, and six years before the year of the
                                                 period in 2026, the notices of data                                            trading budget for the control period                   control period for which the allowances
                                                 availability will be the notices issued                                        under § 97.1010(a) minus the new unit                   are being allocated, except any


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                                                 historical control period that                          derived fuel during the historical                     in paragraphs (b)(9) and (10) of this
                                                 commenced before the unit’s first                       control period for which the unit’s heat               section.
                                                 deadline under any regulatory program                   input was most recently reported and                      (7) If the unrounded default allocation
                                                 to begin recording and reporting heat                   that serves a generator with nameplate                 determined in the previous round of the
                                                 input in accordance with part 75 of this                capacity of 100 MW or more, except a                   calculation procedure for at least one
                                                 chapter.                                                circulating fluidized bed boiler.                      CSAPR NOX Ozone Season Group 3 unit
                                                    (ii) The average heat input amount                      (5) The Administrator will calculate                is less than the unit’s tentative
                                                 used in the allocation calculations shall               the initial unrounded default allocations              maximum allocation amount
                                                 be the average of the three highest total               for each CSAPR NOX Ozone Season                        determined under paragraph (b)(4)(ii) of
                                                 heat input amounts identified for the                   Group 3 unit according to the procedure                this section, the Administrator will
                                                 unit under paragraph (b)(3)(i) of this                  in paragraph (b)(6) of this section and                recalculate the unrounded default
                                                 section or, if fewer than three non-zero                will recalculate the unrounded default                 allocations as follows:
                                                 amounts are identified for the unit, the                allocations according to the procedures                   (i) The Administrator will calculate
                                                 average of all such non-zero total heat                 in paragraph (b)(7) or (8) of this section,            the additional pool of allowances to be
                                                 input amounts.                                          as applicable, iterating the                           allocated as the remainder of the total
                                                    (4) For each CSAPR NOX Ozone                         recalculations as necessary until the                  amount of allowances determined for
                                                 Season Group 3 unit for which a default                 total of the unrounded default                         the State and control period under
                                                 allocation is being calculated for a                    allocations to all eligible units equals               paragraph (b)(1) of this section minus
                                                 control period, the Administrator will                  the amount of allowances determined                    the sum of the unrounded default
                                                 calculate a tentative maximum                           for the State under paragraph (b)(1) of                allocations from the previous round of
                                                 allocation amount to be used in the                     this section.                                          the calculation procedure for all units
                                                 allocation calculations as follows:                        (6) The Administrator will calculate                determined under paragraph (b)(2) of
                                                    (i) The Administrator will identify the              the initial unrounded default allocations              this section to be eligible to receive
                                                 total NOX emissions amounts reported                    to CSAPR NOX Ozone Season Group 3                      default allocations.
                                                 for the unit in accordance with part 75                 units as follows:                                         (ii) The Administrator will calculate
                                                 of this chapter for the historical control                 (i) The Administrator will calculate                the sum, for all units whose unrounded
                                                 periods in the years two, three, four,                  the sum, for all units determined under                default allocations determined in the
                                                 five, and six years before the year of the              paragraph (b)(2) of this section to be                 previous round of the calculation
                                                 control period for which the allowances                 eligible to receive default allocations, of            procedure were less than the respective
                                                 are being allocated.                                    the units’ average heat input amounts                  units’ tentative maximum allocation
                                                    (ii) The tentative maximum allocation                determined under paragraph (b)(3)(ii) of               amounts determined under paragraph
                                                 amount used in the allocation                           this section.                                          (b)(4)(ii) of this section, of the units’
                                                 calculations shall be the highest of the                   (ii) For each unit determined under                 average heat input amounts determined
                                                 total NOX emissions amounts identified                  paragraph (b)(2) of this section to be                 under paragraph (b)(3)(ii) of this section.
                                                 for the unit under paragraph (b)(4)(i) of               eligible to receive a default allocation,                 (iii) For each unit whose unrounded
                                                 this section or, if less, any applicable                the Administrator will calculate the                   default allocation determined in the
                                                 amount calculated under paragraph                       unit’s unrounded default allocation as                 previous round of the calculation
                                                 (b)(4)(iii) of this section.                            the lesser of—                                         procedure was less than the unit’s
                                                    (iii)(A) The tentative maximum                          (A) The product of the total amount                 tentative maximum allocation amount
                                                 allocation amount under paragraph                       of allowances determined for the State                 determined under paragraph (b)(4)(ii) of
                                                 (b)(4)(ii) of this section for a unit                   and control period under paragraph                     this section, the Administrator will
                                                 described in paragraph (b)(4)(iii)(B) or                (b)(1) of this section multiplied by a                 recalculate the unit’s unrounded default
                                                 (C) of this section may not exceed a                    fraction whose numerator is the unit’s                 allocation as the lesser of—
                                                 maximum controlled baseline                             average heat input amount determined                      (A) The sum of the unit’s unrounded
                                                 calculated as the product (converted to                 under paragraph (b)(3)(ii) of this section             default allocation determined in the
                                                 tons at a conversion factor of 2,000 lb/                and whose denominator is the sum                       previous round of the calculation
                                                 ton and rounded to the nearest ton) of                  determined under paragraph (b)(6)(i) of                procedure plus the product of the
                                                 the highest total heat input amount                     this section; and                                      additional pool of allowances
                                                 identified for the unit under paragraph                    (B) The unit’s tentative maximum                    determined under paragraph (b)(7)(i) of
                                                 (b)(3)(i) of this section in mmBtu                      allocation amount determined under                     this section multiplied by a fraction
                                                 multiplied by a NOX emissions rate of                   paragraph (b)(4)(ii) of this section.                  whose numerator is the unit’s average
                                                 0.08 lb/mmBtu.                                             (iii) If the sum of the unrounded                   heat input amount determined under
                                                    (B) For the control period in 2026, a                default allocations determined under                   paragraph (b)(3)(ii) of this section and
                                                 maximum controlled baseline under                       paragraph (b)(6)(ii) of this section is less           whose denominator is the sum
                                                 paragraph (b)(4)(iii)(A) of this section                than the total amount of allowances                    determined under paragraph (b)(7)(ii) of
                                                 shall apply to any unit that combusted                  determined for the State and control                   this section; and
                                                 any coal or solid coal-derived fuel                     period under paragraph (b)(1) of this                     (B) The unit’s tentative maximum
                                                 during the historical control period for                section, the Administrator will follow                 allocation amount determined under
                                                 which the unit’s heat input was most                    the procedures in paragraph (b)(7) or (8)              paragraph (b)(4)(ii) of this section.
                                                 recently reported, that serves a generator              of this section, as applicable.                           (iv) Except as provided in paragraph
                                                 with nameplate capacity of 100 MW or                       (iv) If the sum of the unrounded                    (b)(7)(iii) of this section, a unit’s
                                                                                                         default allocations determined under
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                                                 more, and that is equipped with                                                                                unrounded default allocation shall
                                                 selective catalytic reduction controls,                 paragraph (b)(6)(ii) of this section equals            equal the amount determined in the
                                                 except a circulating fluidized bed boiler.              the total amount of allowances                         previous round of the calculation
                                                    (C) For each control period in 2027                  determined for the State and control                   procedure.
                                                 and thereafter, a maximum controlled                    period under paragraph (b)(1) of this                     (v) If the sum of the unrounded
                                                 baseline under paragraph (b)(4)(iii)(A) of              section, the Administrator will                        default allocations determined under
                                                 this section shall apply to any unit that               determine the rounded default                          paragraphs (b)(7)(iii) and (iv) of this
                                                 combusted any coal or solid coal-                       allocations according to the procedures                section is less than the total amount of


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                                                 allowances determined for the State and                 section, the Administrator will adjust                    (c) Incorrect allocations of CSAPR
                                                 control period under paragraph (b)(1) of                the default allocations as follows. The                NOX Ozone Season Group 3 allowances
                                                 this section, the Administrator will                    Administrator will list the CSAPR NOX                  to existing units. (1) For each control
                                                 iterate the procedures in paragraph                     Ozone Season Group 3 units in                          period in 2021 and thereafter, if the
                                                 (b)(7) of this section or follow the                    descending order based on such units’                  Administrator determines that CSAPR
                                                 procedures in paragraph (b)(8) of this                  allocation amounts under paragraph                     NOX Ozone Season Group 3 allowances
                                                 section, as applicable.                                 (b)(9) of this section and, in cases of                were allocated for the control period to
                                                    (vi) If the sum of the unrounded                     equal allocation amounts, in                           a recipient covered by the provisions of
                                                 default allocations determined under                    alphabetical order of the relevant                     paragraph (c)(1)(i), (ii), or (iii) of this
                                                 paragraphs (b)(7)(iii) and (iv) of this                 sources’ names and numerical order of                  section, then the Administrator will
                                                 section equals the total amount of                      the relevant units’ identification                     notify the designated representative of
                                                 allowances determined for the State and                 numbers, and will adjust each unit’s                   the recipient and will act in accordance
                                                 control period under paragraph (b)(1) of                allocation amount upward or downward                   with the procedures set forth in
                                                 this section, the Administrator will                    by one CSAPR NOX Ozone Season                          paragraphs (c)(2) through (5) of this
                                                 determine the rounded default                           Group 3 allowance (but not below zero)                 section:
                                                 allocations according to the procedures                 in the order in which the units are                       (i) The recipient is not actually a
                                                 in paragraphs (b)(9) and (10) of this                   listed, and will repeat this adjustment                CSAPR NOX Ozone Season Group 3 unit
                                                 section.                                                process as necessary, until the total of               under § 97.1004 as of the first day of the
                                                    (8) If the unrounded default allocation              the adjusted default allocations equals                control period and is allocated CSAPR
                                                 determined in the previous round of the                 the total amount of allowances                         NOX Ozone Season Group 3 allowances
                                                 calculation procedure for every CSAPR                   determined for the State and control                   for such control period under paragraph
                                                 NOX Ozone Season Group 3 unit equals                    period under paragraph (b)(1) of this                  (a)(1) or (2) of this section;
                                                 the unit’s tentative maximum allocation                 section.                                                  (ii) The recipient is not actually a
                                                 amount determined under paragraph                          (11)(i) By March 1, 2025 and March 1                CSAPR NOX Ozone Season Group 3 unit
                                                 (b)(4)(ii) of this section, the                         of each year thereafter, the                           under § 97.1004 as of the first day of the
                                                 Administrator will recalculate the                      Administrator will calculate the default               control period and is allocated CSAPR
                                                 unrounded default allocations as                        allocation of CSAPR NOX Ozone Season                   NOX Ozone Season Group 3 allowances
                                                 follows:                                                Group 3 allowances to each CSAPR NOX                   for such control period under a
                                                    (i) The Administrator will calculate                 Ozone Season Group 3 unit in a State                   provision of a SIP revision approved
                                                 the additional pool of allowances to be                 and Indian country within the borders                  under § 52.38(b)(10), (11), or (12) of this
                                                 allocated as the remainder of the total                 of the State, in accordance with                       chapter that the SIP revision provides
                                                 amount of allowances determined for                     paragraphs (b)(1) through (10) of this                 should be allocated only to recipients
                                                 the State and control period under                      section and §§ 97.1006(b)(2) and                       that are CSAPR NOX Ozone Season
                                                 paragraph (b)(1) of this section minus                  97.1030 through 97.1035, for the control               Group 3 units as of the first day of such
                                                 the sum of the unrounded default                        period in the year after the year of the               control period; or
                                                 allocations from the previous round of                  applicable calculation deadline under                     (iii) The recipient is not located as of
                                                 the calculation procedure for all units                 this paragraph (b)(11)(i) and will                     the first day of the control period in the
                                                 determined under paragraph (b)(2) of                    promulgate a notice of data availability               State (and Indian country within the
                                                 this section to be eligible to receive                  of the results of the calculations.                    borders of the State) from whose NOX
                                                 default allocations.                                       (ii) For each notice of data availability
                                                                                                                                                                Ozone Season Group 3 trading budget
                                                    (ii) The Administrator will recalculate              required in paragraph (b)(11)(i) of this
                                                                                                                                                                CSAPR NOX Ozone Season Group 3
                                                 the unrounded default allocation for                    section, the Administrator will provide
                                                                                                         an opportunity for submission of                       allowances were allocated to the
                                                 each eligible unit as the sum of—
                                                    (A) The unit’s unrounded default                     objections to the calculations referenced              recipient for such control period under
                                                 allocation as determined in the previous                in such notice. Objections shall be                    paragraph (a)(1) or (2) of this section or
                                                 round of the calculation procedure; plus                submitted by the deadline specified in                 under a provision of a SIP revision
                                                    (B) The product of the additional pool               such notice and shall be limited to                    approved under § 52.38(b)(10), (11), or
                                                 of allowances determined under                          addressing whether the calculations                    (12) of this chapter.
                                                 paragraph (b)(8)(i) of this section                     (including the identification of the                   *       *     *     *     *
                                                 multiplied by a fraction whose                          CSAPR NOX Ozone Season Group 3                            (5) With regard to any CSAPR NOX
                                                 numerator is the unit’s average heat                    units) are in accordance with the                      Ozone Season Group 3 allowances that
                                                 input amount determined under                           provisions referenced in paragraph                     are not recorded, or that are deducted as
                                                 paragraph (b)(3)(ii) of this section and                (b)(11)(i) of this section.                            an incorrect allocation, in accordance
                                                 whose denominator is the sum                               (iii) The Administrator will adjust the             with paragraphs (c)(2) and (3) of this
                                                 determined under paragraph (b)(6)(i) of                 calculations to the extent necessary to                section:
                                                 this section.                                           ensure that they are in accordance with                   (i) If the non-recordation decision
                                                    (9) The Administrator will round the                 the provisions referenced in paragraph                 under paragraph (c)(2) of this section or
                                                 default allocation for each eligible unit               (b)(11)(i) of this section. By May 1                   the deduction under paragraph (c)(3) of
                                                 determined under paragraph (b)(6), (7),                 immediately after the promulgation of                  this section occurs on or before May 1,
                                                 or (8) of this section to the nearest                   each notice of data availability required              2024, the Administrator will transfer the
                                                 allowance and make any adjustments                      in paragraph (b)(11)(i) of this section,               CSAPR NOX Ozone Season Group 3
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                                                 required under paragraph (b)(10) of this                the Administrator will promulgate a                    allowances to the new unit set-aside for
                                                 section.                                                notice of data availability of the results             2021, 2022, or 2023 for the State from
                                                    (10) If the sum of the default                       of the calculations incorporating any                  whose NOX Ozone Season Group 3
                                                 allocations after rounding under                        adjustments that the Administrator                     trading budget the CSAPR NOX Ozone
                                                 paragraph (b)(9) of this section does not               determines to be necessary and the                     Season Group 3 allowances were
                                                 equal the total amount of allowances                    reasons for accepting or rejecting any                 allocated.
                                                 determined for the State and control                    objections submitted in accordance with                   (ii) If the non-recordation decision
                                                 period under paragraph (b)(1) of this                   paragraph (b)(11)(ii) of this section.                 under paragraph (c)(2) of this section or


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                                                 the deduction under paragraph (c)(3) of                 2023 and thereafter for a State listed in              (iii) of this section and for each control
                                                 this section occurs after May 1, 2024,                  § 52.38(b)(2)(iii)(B) or (C) of this chapter,          period described in paragraph (a)(3) of
                                                 and on or before May 1 of the year                      and for the CSAPR NOX Ozone Season                     this section will be an amount equal to
                                                 following the year of the control period                Group 3 units in each State and areas of               the unit’s total tons of NOX emissions
                                                 for which the CSAPR NOX Ozone                           Indian country within the borders of the               during the control period or, if less, any
                                                 Season Group 3 allowances were                          State (except, for the control periods in              applicable amount calculated under
                                                 allocated, the Administrator will                       2021 and 2022, areas of Indian country                 paragraph (a)(4)(ii) of this section.
                                                 transfer the CSAPR NOX Ozone Season                     within the borders of the State not                       (ii)(A) The allocation under paragraph
                                                 Group 3 allowances to the new unit set-                 subject to the State’s SIP authority), the             (a)(4)(i) of this section to a unit
                                                 aside for such control period for the                   Administrator will allocate CSAPR NOX                  described in paragraph (a)(4)(ii)(B) or
                                                 State from whose NOX Ozone Season                       Ozone Season Group 3 allowances to                     (C) of this section may not exceed a
                                                 Group 3 trading budget the CSAPR NOX                    the CSAPR NOX Ozone Season Group 3                     maximum controlled baseline
                                                 Ozone Season Group 3 allowances were                    units as follows:                                      calculated as the product (converted to
                                                 allocated.                                                 (1) * * *                                           tons at a conversion factor of 2,000 lb/
                                                    (iii) If the non-recordation decision                   (i) CSAPR NOX Ozone Season Group                    ton and rounded to the nearest ton) of
                                                 under paragraph (c)(2) of this section or               3 units that are not allocated an amount               the unit’s total heat input during the
                                                 the deduction under paragraph (c)(3) of                 of CSAPR NOX Ozone Season Group 3                      control period in mmBtu multiplied by
                                                 this section occurs after May 1, 2024,                  allowances for such control period in                  a NOX emissions rate of 0.08 lb/mmBtu.
                                                 and after May 1 of the year following the               the applicable notice of data availability                (B) For a control period in 2024
                                                 year of the control period for which the                referenced in § 97.1011(a)(1) or (2) and               through 2026, a maximum controlled
                                                 CSAPR NOX Ozone Season Group 3                          that have deadlines for certification of               baseline under paragraph (a)(4)(ii)(A) of
                                                 allowances were allocated, the                          monitoring systems under § 97.1030(b)                  this section shall apply to any unit
                                                 Administrator will transfer the CSAPR                   not later than September 30 of the year                combusting any coal or solid coal-
                                                 NOX Ozone Season Group 3 allowances                     of the control period; or                              derived fuel during the control period,
                                                 to a surrender account.                                    (ii) CSAPR NOX Ozone Season Group                   serving a generator with nameplate
                                                 ■ 66. Amend § 97.1012 by:                               3 units whose allocation of an amount                  capacity of 100 MW or more, and
                                                 ■ a. Revising paragraphs (a)                            of CSAPR NOX Ozone Season Group 3                      equipped with selective catalytic
                                                 introductory text and (a)(1)(i) and (ii);               allowances for such control period in                  reduction controls on or before
                                                 ■ b. Removing paragraphs (a)(1)(iii) and                the applicable notice of data availability             September 30 of the preceding control
                                                 (iv);                                                   referenced in § 97.1011(a)(1) or (2) is                period, except a circulating fluidized
                                                 ■ c. Revising paragraphs (a)(2) and                     covered by § 97.1011(c)(2) or (3).                     bed boiler.
                                                 (a)(3)(i);                                                 (2) The Administrator will establish a                 (C) For a control period in 2027 and
                                                 ■ d. In paragraph (a)(3)(ii), adding                    separate new unit set-aside for the State              thereafter, a maximum controlled
                                                 ‘‘and’’ after the semicolon;                            for each such control period. Each such                baseline under paragraph (a)(4)(ii)(A) of
                                                 ■ e. Revising paragraph (a)(3)(iii);                    new unit set-aside will be allocated                   this section shall apply to any unit
                                                 ■ f. Removing paragraph (a)(3)(iv);                     CSAPR NOX Ozone Season Group 3                         combusting any coal or solid coal-
                                                 ■ g. Revising paragraph (a)(4)(i);                      allowances in an amount equal to the                   derived fuel during the control period
                                                 ■ h. Redesignating paragraph (a)(4)(ii) as              applicable amount of tons of NOX                       and serving a generator with nameplate
                                                 paragraph (a)(4)(iii) and adding a new                  emissions as set forth in § 97.1010(c)                 capacity of 100 MW or more, except a
                                                 paragraph (a)(4)(ii);                                   and will be allocated additional CSAPR                 circulating fluidized bed boiler.
                                                 ■ i. Revising paragraphs (a)(5) and (10):               NOX Ozone Season Group 3 allowances                    *       *     *     *    *
                                                 ■ j. In paragraph (a)(11), removing                     (if any) in accordance with                               (5) The Administrator will calculate
                                                 ‘‘§ 97.1011(b)(1)(i), (ii), and (v), of’’ and           § 97.1011(c)(5) and paragraphs (b)(10)                 the sum of the allocation amounts of
                                                 adding in its place ‘‘paragraph (a)(13) of              and (c)(5) of this section.                            CSAPR NOX Ozone Season Group 3
                                                 this section, of’’;                                        (3) * * *                                           allowances determined for all such
                                                 ■ k. Adding paragraph (a)(13);                             (i) The control period in 2021, for a               CSAPR NOX Ozone Season Group 3
                                                 ■ l. Revising paragraphs (b) introductory               State listed in § 52.38(b)(2)(iii)(A) of this          units under paragraph (a)(4)(i) of this
                                                 text and (b)(1) and (2);                                chapter, or the control period in 2023,                section in the State and Indian country
                                                 ■ m. In paragraph (b)(5), removing                      for a State listed in § 52.38(b)(2)(iii)(B)            within the borders of the State (except,
                                                 ‘‘Indian country within the borders of                  or (C) of this chapter;                                for the control periods in 2021 and
                                                 the State’’ and adding in its place ‘‘areas                                                                    2022, areas of Indian country within the
                                                                                                         *       *     *     *     *
                                                 of Indian country within the borders of                                                                        borders of the State not subject to the
                                                                                                            (iii) For a unit described in paragraph
                                                 the State not subject to the State’s SIP                                                                       State’s SIP authority) for such control
                                                                                                         (a)(1)(ii) of this section, the first control
                                                 authority’’;                                                                                                   period.
                                                 ■ n. Revising paragraph (b)(10);
                                                                                                         period in which the CSAPR NOX Ozone
                                                 ■ o. In paragraph (b)(11), removing
                                                                                                         Season Group 3 unit operates in the                    *       *     *     *    *
                                                 ‘‘§ 97.1011(b)(2)(i), (ii), and (v), of’’ and           State and Indian country within the                       (10)(i) For a control period in 2021 or
                                                 adding in its place ‘‘paragraph (b)(13) of              borders of the State (except, for the                  2022, if, after completion of the
                                                 this section, of’’; and                                 control periods in 2021 and 2022, areas                procedures under paragraphs (a)(2)
                                                 ■ p. Adding paragraphs (b)(13) and (c).
                                                                                                         of Indian country within the borders of                through (7) and (12) of this section for
                                                    The revisions and additions read as                  the State not subject to the State’s SIP               a control period, any unallocated
                                                                                                         authority) after operating in another                  CSAPR NOX Ozone Season Group 3
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                                                 follows:
                                                                                                         jurisdiction and for which the unit is                 allowances remain in the new unit set-
                                                 § 97.1012 CSAPR NOX Ozone Season                        not already allocated one or more                      aside for the State for such control
                                                 Group 3 allowance allocations to new units.             CSAPR NOX Ozone Season Group 3                         period, the Administrator will allocate
                                                   (a) Allocations from new unit set-                    allowances.                                            to each CSAPR NOX Ozone Season
                                                 asides. For each control period in 2021                    (4)(i) The allocation to each CSAPR                 Group 3 unit that is in the State and
                                                 and thereafter for a State listed in                    NOX Ozone Season Group 3 unit                          areas of Indian country within the
                                                 § 52.38(b)(2)(iii)(A) of this chapter, or               described in paragraphs (a)(1)(i) through              borders of the State subject to the State’s


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                                                 SIP authority and is allocated an                       2021 and 2022, areas of Indian country                 aside for the State for each such control
                                                 amount of CSAPR NOX Ozone Season                        within the State not subject to the                    period. Each such Indian country new
                                                 Group 3 allowances for the control                      State’s SIP authority), in accordance                  unit set-aside will be allocated CSAPR
                                                 period in the applicable notice of data                 with paragraphs (a)(2) through (7), (10),              NOX Ozone Season Group 3 allowances
                                                 availability referenced in § 97.1011(a)(1)              and (12) of this section and                           in an amount equal to the applicable
                                                 an amount of CSAPR NOX Ozone                            §§ 97.1006(b)(2) and 97.1030 through                   amount of tons of NOX emissions as set
                                                 Season Group 3 allowances equal to the                  97.1035, for the control period in the                 forth in § 97.1010(d) and will be
                                                 following: The total amount of such                     year before the year of the applicable                 allocated additional CSAPR NOX Ozone
                                                 remaining unallocated CSAPR NOX                         calculation deadline under this                        Season Group 3 allowances (if any) in
                                                 Ozone Season Group 3 allowances in                      paragraph (a)(13)(i) and will promulgate               accordance with paragraph (c)(5) of this
                                                 such new unit set-aside, multiplied by                  a notice of data availability of the results           section.
                                                 the unit’s allocation under                             of the calculations.                                   *       *     *     *    *
                                                 § 97.1011(a)(1) for such control period,                   (ii) For each notice of data availability              (10) If, after completion of the
                                                 divided by the remainder of the amount                  required in paragraph (a)(13)(i) of this               procedures under paragraphs (b)(2)
                                                 of tons in the applicable State NOX                     section, the Administrator will provide                through (7) and (12) of this section for
                                                 Ozone Season Group 3 trading budget                     an opportunity for submission of                       a control period, any unallocated
                                                 minus the sum of the amounts of tons                    objections to the calculations referenced              CSAPR NOX Ozone Season Group 3
                                                 in such new unit set-aside and the                      in such notice. Objections shall be                    allowances remain in the Indian country
                                                 Indian country new unit set-aside for                   submitted by the deadline specified in                 new unit set-aside for the State for such
                                                 the State for such control period, and                  such notice and shall be limited to                    control period, the Administrator will
                                                 rounded to the nearest allowance.                       addressing whether the calculations                    transfer such unallocated CSAPR NOX
                                                    (ii) For a control period in 2023 or                 (including the identification of the                   Ozone Season Group 3 allowances to
                                                 thereafter, if, after completion of the                 CSAPR NOX Ozone Season Group 3                         the new unit set-aside for the State for
                                                 procedures under paragraphs (a)(2)                      units) are in accordance with the                      such control period.
                                                 through (7) and (12) of this section for                provisions referenced in paragraph
                                                                                                         (a)(13)(i) of this section.                            *       *     *     *    *
                                                 a control period, any unallocated                                                                                 (13)(i) By March 1, 2022, and March
                                                 CSAPR NOX Ozone Season Group 3                             (iii) The Administrator will adjust the
                                                                                                         calculations to the extent necessary to                1, 2023, the Administrator will calculate
                                                 allowances remain in the new unit set-                                                                         the CSAPR NOX Ozone Season Group 3
                                                 aside for the State for such control                    ensure that they are in accordance with
                                                                                                         the provisions referenced in paragraph                 allowance allocation to each CSAPR
                                                 period, the Administrator will allocate                                                                        NOX Ozone Season Group 3 unit in
                                                 to each CSAPR NOX Ozone Season                          (a)(13)(i) of this section. By May 1
                                                                                                         immediately after the promulgation of                  areas of Indian country within the
                                                 Group 3 unit that is in the State and                                                                          borders of a State not subject to the
                                                                                                         each notice of data availability required
                                                 Indian country within the borders of the                                                                       State’s SIP authority, in accordance with
                                                                                                         in paragraph (a)(13)(i) of this section,
                                                 State and is allocated an amount of                                                                            paragraphs (b)(2) through (7), (10), and
                                                                                                         the Administrator will promulgate a
                                                 CSAPR NOX Ozone Season Group 3                                                                                 (12) of this section and §§ 97.1006(b)(2)
                                                                                                         notice of data availability of the results
                                                 allowances for the control period by the                                                                       and 97.1030 through 97.1035, for the
                                                                                                         of the calculations incorporating any
                                                 Administrator in the applicable notice                                                                         control period in the year before the
                                                                                                         adjustments that the Administrator
                                                 of data availability referenced in                                                                             year of the applicable calculation
                                                                                                         determines to be necessary and the
                                                 § 97.1011(a)(1) or (2), or under a                                                                             deadline under this paragraph (b)(13)(i)
                                                                                                         reasons for accepting or rejecting any
                                                 provision of a SIP revision approved                                                                           and will promulgate a notice of data
                                                                                                         objections submitted in accordance with
                                                 under § 52.38(b)(10), (11), or (12) of this                                                                    availability of the results of the
                                                                                                         paragraph (a)(13)(ii) of this section.
                                                 chapter, an amount of CSAPR NOX                            (b) Allocations from Indian country                 calculations.
                                                 Ozone Season Group 3 allowances equal                   new unit set-asides. For the control                      (ii) For each notice of data availability
                                                 to the following: The total amount of                   periods in 2021 and 2022, for a State                  required in paragraph (b)(13)(i) of this
                                                 such remaining unallocated CSAPR                        listed in § 52.38(b)(2)(iii)(A) of this                section, the Administrator will provide
                                                 NOX Ozone Season Group 3 allowances                     chapter, and for the CSAPR NOX Ozone                   an opportunity for submission of
                                                 in such new unit set-aside, multiplied                  Season Group 3 units in areas of Indian                objections to the calculations referenced
                                                 by the unit’s allocation under                          country within the borders of each such                in such notice. Objections shall be
                                                 § 97.1011(a)(1) or (2) or a provision of a              State not subject to the State’s SIP                   submitted by the deadline specified in
                                                 SIP revision approved under                             authority, the Administrator will                      such notice and shall be limited to
                                                 § 52.38(b)(10), (11), or (12) of this                   allocate CSAPR NOX Ozone Season                        addressing whether the calculations
                                                 chapter for such control period, divided                Group 3 allowances to the CSAPR NOX                    (including the identification of the
                                                 by the remainder of the amount of tons                  Ozone Season Group 3 units as follows:                 CSAPR NOX Ozone Season Group 3
                                                 in the applicable State NOX Ozone                          (1) The CSAPR NOX Ozone Season                      units) are in accordance with the
                                                 Season Group 3 trading budget minus                     Group 3 allowances will be allocated to                provisions referenced in paragraph
                                                 the amount of tons in such new unit set-                CSAPR NOX Ozone Season Group 3                         (b)(13)(i) of this section.
                                                 aside for the State for such control                    units that are not allocated an amount                    (iii) The Administrator will adjust the
                                                 period, and rounded to the nearest                      of CSAPR NOX Ozone Season Group 3                      calculations to the extent necessary to
                                                 allowance.                                              allowances for such control period in                  ensure that they are in accordance with
                                                 *       *     *     *    *                              the applicable notice of data availability             the provisions referenced in paragraph
                                                    (13)(i) By March 1, 2022, and March
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                                                                                                         referenced in § 97.1011(a)(1) and that                 (b)(13)(i) of this section. By May 1
                                                 1 of each year thereafter, the                          have deadlines for certification of                    immediately after the promulgation of
                                                 Administrator will calculate the CSAPR                  monitoring systems under § 97.1030(b)                  each notice of data availability required
                                                 NOX Ozone Season Group 3 allowance                      not later than September 30 of the year                in paragraph (b)(13)(i) of this section,
                                                 allocation to each CSAPR NOX Ozone                      of the control period, except as provided              the Administrator will promulgate a
                                                 Season Group 3 unit in a State and                      in paragraph (b)(10) of this section.                  notice of data availability of the results
                                                 Indian country within the borders of the                   (2) The Administrator will establish a              of the calculations incorporating any
                                                 State (except, for the control periods in               separate Indian country new unit set-                  adjustments that the Administrator


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                                                 determines to be necessary and the                      with paragraphs (c)(2) and (3) of this                 CSAPR NOX Ozone Season Group 3
                                                 reasons for accepting or rejecting any                  section:                                               source’s compliance account the CSAPR
                                                 objections submitted in accordance with                     (i) If the non-recordation decision                NOX Ozone Season Group 3 allowances
                                                 paragraph (b)(13)(ii) of this section.                  under paragraph (c)(2) of this section or              allocated to the CSAPR NOX Ozone
                                                    (c) Incorrect allocations of CSAPR                   the deduction under paragraph (c)(3) of                Season Group 3 units at the source in
                                                 NOX Ozone Season Group 3 allowances                     this section occurs on or before May 1,                accordance with § 97.1011(a)(1) for the
                                                 to new units. (1) For each control period               2023, the Administrator will transfer the              control period in 2022.
                                                 in 2021 and thereafter, if the                          CSAPR NOX Ozone Season Group 3                         *      *      *     *   *
                                                 Administrator determines that CSAPR                     allowances to the new unit set-aside, in                  (d) By September 5, 2023, the
                                                 NOX Ozone Season Group 3 allowances                     the case of allowances allocated under                 Administrator will record in each
                                                 were allocated for the control period                   paragraph (a) of this section, or the                  CSAPR NOX Ozone Season Group 3
                                                 under paragraphs (a)(2) through (7) and                 Indian country new unit set-aside, in                  source’s compliance account the CSAPR
                                                 (12) of this section or paragraphs (b)(2)               the case of allowances allocated under                 NOX Ozone Season Group 3 allowances
                                                 through (7) and (12) of this section to a               paragraph (b) of this section, for the                 allocated to the CSAPR NOX Ozone
                                                 recipient that is not actually a CSAPR                  control period in 2021 or 2022 for the                 Season Group 3 units at the source in
                                                 NOX Ozone Season Group 3 unit under                     State from whose NOX Ozone Season                      accordance with § 97.1011(a)(1) for the
                                                 § 97.1004 as of the first day of such                   Group 3 trading budget the CSAPR NOX                   control period in 2023.
                                                 control period, then the Administrator                  Ozone Season Group 3 allowances were                      (e) By September 5, 2023, the
                                                 will notify the designated representative               allocated.                                             Administrator will record in each
                                                 of the recipient and will act in                            (ii) If the non-recordation decision               CSAPR NOX Ozone Season Group 3
                                                 accordance with the procedures set                      under paragraph (c)(2) of this section or              source’s compliance account the CSAPR
                                                 forth in paragraphs (c)(2) through (5) of               the deduction under paragraph (c)(3) of                NOX Ozone Season Group 3 allowances
                                                 this section.                                           this section occurs after May 1, 2023,                 allocated to the CSAPR NOX Ozone
                                                    (2) Except as provided in paragraph                  and on or before May 1, 2024, the                      Season Group 3 units at the source in
                                                 (c)(3) or (4) of this section, the                      Administrator will transfer the CSAPR                  accordance with § 97.1011(a)(1) for the
                                                 Administrator will not record such                      NOX Ozone Season Group 3 allowances                    control period in 2024, unless the State
                                                 CSAPR NOX Ozone Season Group 3                          to the new unit set-aside for the control              in which the source is located notifies
                                                 allowances under § 97.1021.                             period in 2023 for the State from whose                the Administrator in writing by August
                                                    (3) If the Administrator already                     NOX Ozone Season Group 3 trading                       4, 2023, of the State’s intent to submit
                                                 recorded such CSAPR NOX Ozone                           budget the CSAPR NOX Ozone Season                      to the Administrator a complete SIP
                                                 Season Group 3 allowances under                         Group 3 allowances were allocated.                     revision by September 1, 2023, meeting
                                                 § 97.1021 and if the Administrator                          (iii) If the non-recordation decision              the requirements of § 52.38(b)(10)(i)
                                                 makes the determination under                           under paragraph (c)(2) of this section or              through (iv) of this chapter.
                                                 paragraph (c)(1) of this section before                 the deduction under paragraph (c)(3) of                   (1) If, by September 1, 2023, the State
                                                 making deductions for the source that                   this section occurs after May 1, 2024,                 does not submit to the Administrator
                                                 includes such recipient under                           the Administrator will transfer the                    such complete SIP revision, the
                                                 § 97.1024(b) for such control period,                   CSAPR NOX Ozone Season Group 3                         Administrator will record by September
                                                 then the Administrator will deduct from                 allowances to a surrender account.                     15, 2023, in each CSAPR NOX Ozone
                                                 the account in which such CSAPR NOX                     ■ 67. Amend § 97.1021 by:                              Season Group 3 source’s compliance
                                                 Ozone Season Group 3 allowances were                    ■ a. In paragraph (a), removing                        account the CSAPR NOX Ozone Season
                                                 recorded an amount of CSAPR NOX                         ‘‘§ 97.1011(a)’’ and adding in its place               Group 3 allowances allocated to the
                                                 Ozone Season Group 3 allowances                         ‘‘§ 97.1011(a)(1)’’;                                   CSAPR NOX Ozone Season Group 3
                                                 allocated for the same or a prior control               ■ b. Revising paragraph (b);                           units at the source in accordance with
                                                 period equal to the amount of such                      ■ c. Removing and reserving paragraph                  § 97.1011(a)(1) for the control period in
                                                 already recorded CSAPR NOX Ozone                        (c);                                                   2024.
                                                 Season Group 3 allowances. The                          ■ d. Adding paragraphs (d) and (e);                       (2) If the State submits to the
                                                 authorized account representative shall                 ■ e. In paragraph (f), removing
                                                                                                                                                                Administrator by September 1, 2023,
                                                 ensure that there are sufficient CSAPR                  ‘‘§ 97.1011(a), or’’ and adding in its                 and the Administrator approves by
                                                 NOX Ozone Season Group 3 allowances                     place ‘‘§ 97.1011(a)(1), or’’;                         March 1, 2024, such complete SIP
                                                 in such account for completion of the                   ■ f. Redesignating paragraphs (g) and (h)
                                                                                                                                                                revision, the Administrator will record
                                                 deduction.                                              as paragraphs (i) and (j), respectively,               by March 1, 2024, in each CSAPR NOX
                                                    (4) If the Administrator already                     and adding new paragraphs (g) and (h);                 Ozone Season Group 3 source’s
                                                                                                         ■ g. Revising newly redesignated
                                                 recorded such CSAPR NOX Ozone                                                                                  compliance account the CSAPR NOX
                                                 Season Group 3 allowances under                         paragraph (i);                                         Ozone Season Group 3 allowances
                                                                                                         ■ h. In newly redesignated paragraph (j),
                                                 § 97.1021 and if the Administrator                                                                             allocated to the CSAPR NOX Ozone
                                                 makes the determination under                           removing ‘‘and May 1 of each year
                                                                                                                                                                Season Group 3 units at the source as
                                                 paragraph (c)(1) of this section after                  thereafter, the’’ and adding in its place
                                                                                                                                                                provided in such approved, complete
                                                 making deductions for the source that                   ‘‘, and May 1, 2023, the’’; and
                                                                                                                                                                SIP revision for the control period in
                                                                                                         ■ i. In paragraph (m), adding ‘‘or (e)’’
                                                 includes such recipient under                                                                                  2024.
                                                                                                         after ‘‘§ 97.811(d)’’ each time it appears.
                                                 § 97.1024(b) for such control period,                                                                             (3) If the State submits to the
                                                                                                             The revisions and addition read as
                                                 then the Administrator will not make                                                                           Administrator by September 1, 2023,
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                                                                                                         follows:
                                                 any deduction to take account of such                                                                          and the Administrator does not approve
                                                 already recorded CSAPR NOX Ozone                        § 97.1021 Recordation of CSAPR NOX                     by March 1, 2024, such complete SIP
                                                 Season Group 3 allowances.                              Ozone Season Group 3 allowance                         revision, the Administrator will record
                                                    (5) With regard to any CSAPR NOX                     allocations and auction results.                       by March 1, 2024, in each CSAPR NOX
                                                 Ozone Season Group 3 allowances that                    *    *    *     *     *                                Ozone Season Group 3 source’s
                                                 are not recorded, or that are deducted as                (b) By July 29, 2021, the                             compliance account the CSAPR NOX
                                                 an incorrect allocation, in accordance                  Administrator will record in each                      Ozone Season Group 3 allowances


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                                                 allocated to the CSAPR NOX Ozone                        calendar days in the control period and                emissions limitation established under
                                                 Season Group 3 units at the source in                   all CSAPR NOX Ozone Season Group 3                     this paragraph (c)(1) shall apply to a
                                                 accordance with § 97.1011(a)(1) for the                 units at the source to which the                       unit for a control period only if:
                                                 control period in 2024.                                 backstop daily NOX emissions rate                         (i) The unit is included for the control
                                                 *      *      *     *     *                             applies for the control period under                   period in a group of CSAPR NOX Ozone
                                                    (g) By September 5, 2023, the                        paragraph (b)(3) of this section, of any               Season Group 3 units at CSAPR NOX
                                                 Administrator will record in each                       amount by which a unit’s NOX                           Ozone Season Group 3 sources in a
                                                 CSAPR NOX Ozone Season Group 3                          emissions for a given calendar day in                  State (and Indian country within the
                                                 source’s compliance account the CSAPR                   pounds exceed the product in pounds of                 borders of such State) having a common
                                                 NOX Ozone Season Group 3 allowances                     the unit’s total heat input in mmBtu for               designated representative and the
                                                 allocated to the CSAPR NOX Ozone                        that calendar day multiplied by 0.14 lb/               owners and operators of such units and
                                                 Season Group 3 units at the source in                   mmBtu; or                                              sources are subject to a requirement for
                                                 accordance with § 97.1011(a)(2) for the                 *      *     *       *     *                           such control period to hold one or more
                                                 control periods in 2023 and 2024.                         (3) The backstop daily NOX emissions                 CSAPR NOX Ozone Season Group 3
                                                    (h) By July 1, 2024, and July 1 of each              rate of 0.14 lb/mmBtu applies as                       allowances under § 97.1006(c)(2)(i) and
                                                 year thereafter, the Administrator will                 follows:                                               paragraph (b) of this section with
                                                 record in each CSAPR NOX Ozone                             (i) For each control period in 2024                 respect to such group; and
                                                 Season Group 3 source’s compliance                      through 2029, the backstop daily NOX                      (ii) The unit was required to report
                                                 account the CSAPR NOX Ozone Season                      emissions rate shall apply to each                     NOX emissions and heat input data for
                                                 Group 3 allowances allocated to the                     CSAPR NOX Ozone Season Group 3 unit                    all or portions of at least 367 operating
                                                 CSAPR NOX Ozone Season Group 3                          combusting any coal or solid coal-                     hours during the control period and all
                                                 units at the source in accordance with                  derived fuel during the control period,                or portions of at least 367 operating
                                                 § 97.1011(a)(2) for the control period in               serving a generator with nameplate                     hours during at least one historical
                                                 the year after the year of the applicable               capacity of 100 MW or more, and                        control period under the CSAPR NOX
                                                 recordation deadline under this                         equipped with selective catalytic                      Ozone Season Group 1 Trading
                                                 paragraph (h).                                          reduction controls on or before                        Program, CSAPR NOX Ozone Season
                                                    (i) By May 1, 2022, and May 1 of each                September 30 of the preceding control                  Group 2 Trading Program, or CSAPR
                                                 year thereafter, the Administrator will                 period, except a circulating fluidized                 NOX Ozone Season Group 3 Trading
                                                 record in each CSAPR NOX Ozone                          bed boiler.                                            Program.
                                                                                                           (ii) For each control in 2030 and                       (2) The amount of the emissions
                                                 Season Group 3 source’s compliance
                                                                                                         thereafter, the backstop daily NOX                     limitation applicable to a CSAPR NOX
                                                 account the CSAPR NOX Ozone Season
                                                                                                         emissions rate shall apply to each                     Ozone Season Group 3 unit for a control
                                                 Group 3 allowances allocated to the
                                                                                                         CSAPR NOX Ozone Season Group 3 unit                    period under paragraph (c)(1) of this
                                                 CSAPR NOX Ozone Season Group 3
                                                                                                         combusting any coal or solid coal-                     section, in tons of NOX, shall be
                                                 units at the source in accordance with
                                                                                                         derived fuel during the control period                 calculated as the sum of 50 plus the
                                                 § 97.1012(a) for the control period in the
                                                                                                         and serving a generator with nameplate                 product (converted to tons at a
                                                 year before the year of the applicable                                                                         conversion factor of 2,000 lb/ton and
                                                 recordation deadline under this                         capacity of 100 MW or more, except a
                                                                                                         circulating fluidized bed boiler.                      rounded to the nearest ton) of
                                                 paragraph (i).                                                                                                 multiplying—
                                                 *      *      *     *     *                             *      *     *       *     *                              (i) The total heat input in mmBtu
                                                 ■ 68. Amend § 97.1024 by:                               ■ 69. Amend § 97.1025 by:                              reported for the unit for the control
                                                 ■ a. Revising the section heading;                      ■ a. Revising the section heading;                     period in accordance with §§ 97.1030
                                                 ■ b. In paragraphs (a) introductory text                ■ b. In paragraphs (a) introductory text,              through 97.1035; and
                                                 and (b) introductory text, adding                       (a)(2), (b)(1)(i), (b)(1)(ii)(A) and (B),                 (ii) A NOX emission rate of 0.10 lb/
                                                 ‘‘primary’’ before ‘‘emissions                          (b)(3), (b)(4)(i), (b)(5), (b)(6)(i), (b)(6)(iii)      mmBtu or, if higher, the product of 1.25
                                                 limitation’’;                                           introductory text, and (b)(6)(iii)(A) and              times the lowest seasonal average NOX
                                                 ■ c. Revising paragraph (b)(1);                         (B), removing ‘‘base CSAPR’’ and adding                emission rate in lb/mmBtu achieved by
                                                 ■ d. Adding paragraph (b)(3); and                       in its place ‘‘CSAPR’’ each time it                    the unit in any historical control period
                                                 ■ e. In paragraph (c)(2)(ii), adding ‘‘or               appears; and                                           for which the unit was required to
                                                 (e)’’ after ‘‘§ 97.826(d)’’.                            ■ c. Adding paragraph (c).                             report NOX emissions and heat input
                                                    The revisions and addition read as                      The revision and addition read as                   data for all or portions of at least 367
                                                 follows:                                                follows:                                               operating hours under the CSAPR NOX
                                                 § 97.1024 Compliance with CSAPR NOX                     § 97.1025 Compliance with CSAPR NOX                    Ozone Season Group 1 Trading
                                                 Ozone Season Group 3 primary emissions                  Ozone Season Group 3 assurance                         Program, CSAPR NOX Ozone Season
                                                 limitation; backstop daily NOX emissions                provisions; CSAPR NOX Ozone Season                     Group 2 Trading Program, or CSAPR
                                                 rate.                                                   Group 3 secondary emissions limitation.                NOX Ozone Season Group 3 Trading
                                                 *      *    *    *     *                                *      *     *     *     *                             Program, where the unit’s seasonal
                                                   (b) * * *                                                (c) CSAPR NOX Ozone Season Group                    average NOX emission rate for each such
                                                   (1) Until the amount of CSAPR NOX                     3 secondary emissions limitation. (1)                  historical control period shall be
                                                 Ozone Season Group 3 allowances                         The owner or operator of a CSAPR NOX                   calculated from such reported data as
                                                 deducted equals the sum of:                             Ozone Season Group 3 unit equipped                     the quotient (converted to lb/mmBtu at
                                                                                                                                                                a conversion factor of 2,000 lb/ton, and
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                                                   (i) The number of tons of total NOX                   with selective catalytic reduction
                                                 emissions from all CSAPR NOX Ozone                      controls or selective non-catalytic                    rounded to the nearest 0.0001 lb/
                                                 Season Group 3 units at the source for                  reduction controls shall not discharge,                mmBtu) of the unit’s total NOX
                                                 such control period; plus                               or allow to be discharged, emissions of                emissions in tons for the historical
                                                   (ii) Two times the excess, if any, over               NOX to the atmosphere during a control                 control period divided by the unit’s
                                                 50 tons of the sum (converted to tons at                period in excess of the tonnage amount                 total heat input in mmBtu for the
                                                 a conversion factor of 2,000 lb/ton and                 calculated in accordance with paragraph                historical control period.
                                                 rounded to the nearest ton), for all                    (c)(2) of this section, provided that the              ■ 70. Amend § 97.1026 by:



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                                                 ■ a. Revising the section heading and                      (B) 0.105, for a control period in 2030             account for purposes of such
                                                 paragraph (b);                                          and thereafter.                                        computation.
                                                 ■ b. In paragraph (c):                                     (3) If the total amount of CSAPR NOX                   (ii) Following a computation for a
                                                 ■ i. Removing ‘‘set forth in’’ and adding               Ozone Season Group 3 allowances                        group of general accounts in accordance
                                                 in its place ‘‘established under’’; and                 determined under paragraph (d)(2)(i) of                with paragraph (d)(4)(i) of this section,
                                                 ■ ii. Removing ‘‘State (or Indian’’ and                 this section exceeds the CSAPR NOX                     the Administrator will deduct from and
                                                 adding in its place ‘‘State (and Indian’’;              Ozone Season Group 3 allowance bank                    record in each individual account in
                                                 and                                                     ceiling target determined under                        such group a proportional share of the
                                                 ■ c. Adding paragraph (d).                              paragraph (d)(2)(ii) of this section, then             quantity of CSAPR NOX Ozone Season
                                                   The revision and addition read as                     for each compliance account or general                 Group 3 allowances computed for such
                                                 follows:                                                account holding CSAPR NOX Ozone                        group, basing such shares on the
                                                                                                         Season Group 3 allowances issued for                   respective quantities of CSAPR NOX
                                                 § 97.1026   Banking; bank recalibration.                control periods in years before the year               Ozone Season Group 3 allowances
                                                 *       *    *     *     *                              of the deadline under paragraph (d)(1)                 determined for such individual
                                                    (b) Any CSAPR NOX Ozone Season                       of this section, the Administrator will:               accounts under paragraph (d)(3)(i) of
                                                 Group 3 allowance that is held in a                        (i) Determine the total amount of                   this section.
                                                 compliance account or a general                         CSAPR NOX Ozone Season Group 3                            (iii) In determining the proportional
                                                 account will remain in such account                     allowances issued for control periods in               shares under paragraph (d)(4)(ii) of this
                                                 unless and until the CSAPR NOX Ozone                    years before the year of the deadline                  section, the Administrator may employ
                                                 Season Group 3 allowance is deducted                    under paragraph (d)(1) of this section                 any reasonable adjustment methodology
                                                 or transferred under § 97.1011(c),                      and held in the account.                               to truncate or round each such share up
                                                 § 97.1012(c), § 97.1023, § 97.1024,                        (ii) Determine the account’s share of
                                                                                                                                                                or down to a whole number and to
                                                 § 97.1025, § 97.1027, or § 97.1028 or                   the CSAPR NOX Ozone Season Group 3
                                                                                                                                                                cause the total of such whole numbers
                                                 paragraph (c) or (d) of this section.                   allowance bank ceiling target for the
                                                                                                                                                                to equal the amount of CSAPR NOX
                                                                                                         control period, calculated as the
                                                 *       *    *     *     *                                                                                     Ozone Season Group 3 allowances
                                                                                                         product, rounded up to the nearest
                                                    (d) Before the allowance transfer                                                                           computed for such group of accounts in
                                                                                                         allowance, of the CSAPR NOX Ozone
                                                 deadline for each control period in 2024                                                                       accordance with paragraph (d)(4)(i) of
                                                                                                         Season Group 3 allowance bank ceiling
                                                 and thereafter, the Administrator will                                                                         this section, even where such
                                                                                                         target determined under paragraph
                                                 deduct amounts of CSAPR NOX Ozone                       (d)(2)(ii) of this section multiplied by a             adjustments cause the numbers of
                                                 Season Group 3 allowances issued for                    fraction whose numerator is the total                  CSAPR NOX Ozone Season Group 3
                                                 the control periods in previous years                   amount of CSAPR NOX Ozone Season                       allowances remaining in some
                                                 exceeding the CSAPR NOX Ozone                           Group 3 allowances held in the account                 individual accounts following the
                                                 Season Group 3 allowance bank ceiling                   determined under paragraph (d)(3)(i) of                deductions to equal zero.
                                                 target for the control period in                        this section and whose denominator is                  ■ 71. Amend § 97.1030 by:
                                                 accordance with paragraphs (d)(1)                       the total amount of CSAPR NOX Ozone                    ■ a. Revising paragraph (b)(1); and
                                                 through (4) of this section.                            Season Group 3 allowances held in all                  ■ b. In paragraph (b)(3), removing
                                                    (1) As soon as practicable on or after               compliance and general accounts                        ‘‘(b)(2)’’ and adding in its place ‘‘(b)(1)
                                                 August 1, 2024, and August 1 of each                    determined under paragraph (d)(2)(i) of                or (2)’’ each time it appears.
                                                 year thereafter, the Administrator will                 this section.                                             The revision reads as follows:
                                                 temporarily suspend acceptance of                          (iii) Deduct an amount of CSAPR NOX
                                                 CSAPR NOX Ozone Season Group 3                          Ozone Season Group 3 allowances                        § 97.1030 General monitoring,
                                                 allowance transfers submitted under                                                                            recordkeeping, and reporting requirements.
                                                                                                         issued for control periods in years
                                                 § 97.1022 and, before resuming                          before the year of the deadline under                  *       *   *      *     *
                                                 acceptance of such transfers, will take                 paragraph (d)(1) of this section equal to                 (b) * * *
                                                 the actions in paragraphs (d)(2) through                any positive remainder of the total                       (1)(i) May 1, 2021, for a unit in a State
                                                 (4) of this section.                                    amount of CSAPR NOX Ozone Season                       (and Indian country within the borders
                                                    (2) The Administrator will determine                 Group 3 allowances held in the account                 of such State) listed in
                                                 each of the following values:                           determined under paragraph (d)(3)(i) of                § 52.38(b)(2)(iii)(A) of this chapter;
                                                    (i) The total amount of CSAPR NOX                    this section minus the account’s share of                 (ii) May 1, 2023, for a unit in a State
                                                 Ozone Season Group 3 allowances                         the CSAPR NOX Ozone Season Group 3                     (and Indian country within the borders
                                                 issued for control periods in years                     allowance bank ceiling target for the                  of such State) listed in
                                                 before the year of the deadline under                   control period determined under                        § 52.38(b)(2)(iii)(B) of this chapter;
                                                 paragraph (d)(1) of this section and held               paragraph (d)(3)(ii) of this section. The                 (iii) August 4, 2023, for a unit in a
                                                 in all compliance and general accounts.                 allowances will be deducted on a first-                State (and Indian country within the
                                                    (ii) The CSAPR NOX Ozone Season                      in, first-out basis in the order set forth             borders of such State) listed in
                                                 Group 3 allowance bank ceiling target                   in § 97.1024(c)(2)(i) and (ii).                        § 52.38(b)(2)(iii)(C) of this chapter,
                                                 for the control period in the year of the                  (iv) Record the deductions under                    where the unit is required to report NOX
                                                 deadline under paragraph (d)(1) of this                 paragraph (d)(3)(iii) of this section in               mass emissions data or NOX emissions
                                                 section, calculated as the product,                     the account.                                           rate data according to 40 CFR part 75 to
                                                 rounded to the nearest allowance, of the                   (4)(i) In computing any amounts of                  address other regulatory requirements;
                                                 sum for all States listed in                            CSAPR NOX Ozone Season Group 3                         or
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                                                 § 52.38(b)(2)(iii) of this chapter of the               allowances to be deducted from general                    (iv) January 31, 2024, for a unit in a
                                                 State NOX Ozone Season Group 3                          accounts under paragraph (d)(3) of this                State (and Indian country within the
                                                 trading budgets under § 97.1010(a) for                  section, the Administrator may group                   borders of such State) listed in
                                                 such States for such control period                     multiple general accounts whose                        § 52.38(b)(2)(iii)(C) of this chapter,
                                                 multiplied by—                                          ownership interests are held by the                    where the unit is not required to report
                                                    (A) 0.210, for a control period in 2024              same or related persons or entities and                NOX mass emissions data or NOX
                                                 through 2029; or                                        treat the group of accounts as a single                emissions rate data according to 40 CFR


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                                                 part 75 to address other regulatory                     § 97.1034    Recordkeeping and reporting.              within the borders of such State) listed
                                                 requirements.                                           *      *    *     *      *                             in § 52.38(b)(2)(iii)(B) of this chapter; or
                                                 *     *     *    *     *                                   (d) * * *                                             (C) The calendar quarter covering
                                                 ■ 72. Amend § 97.1034 by:                                  (2) * * *                                           August 4, 2023, through June 30, 2023,
                                                 ■ a. Revising paragraph (d)(2)(i); and                     (i)(A) The calendar quarter covering                for a unit in a State (and Indian country
                                                 ■ b. In paragraph (d)(4), removing ‘‘or                 May 1, 2021, through June 30, 2021, for                within the borders of such State) listed
                                                 CSAPR SO2 Group 1 Trading Program,                      a unit in a State (and Indian country                  in § 52.38(b)(2)(iii)(C) of this chapter;
                                                 quarterly’’ and adding in its place                     within the borders of such State) listed
                                                 ‘‘CSAPR SO2 Group 1 Trading Program,                    in § 52.38(b)(2)(iii)(A) of this chapter;              *     *     *     *      *
                                                                                                                                                                [FR Doc. 2023–05744 Filed 6–2–23; 8:45 am]
                                                 or CSAPR SO2 Group 2 Trading                               (B) The calendar quarter covering May
                                                 Program, quarterly’’.                                   1, 2023, through June 30, 2023, for a                  BILLING CODE 6560–50–P
                                                    The revision reads as follows:                       unit in a State (and Indian country
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                               EXHIBIT 3
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                     No. 23-1183 (consolidated with 23-1157)
              IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                State of Ohio, et al.,
                                    Petitioners,
                                          v.
  Environmental Protection Agency and Michael S. Regan, in his official capacity,
          as Administrator of the U.S. Environmental Protection Agency
                                   Respondents.
  On Petition for Review of Action by the U.S. Environmental Protection Agency

     DECLARATION OF LAURA M. CROWDER IN SUPPORT OF
   PETITIONERS' MOTION FOR STAY PENDING REVIEW AND FOR
                 AN ADMINISTRATIVE STAY


      I, Laura M. Crowder, make the following declaration pursuant to 28 U.S.C.

§ 1746:

       1.    I currently serve as Director for West Virginia's Division of Air Quality

("WVDAQ") within the West Virginia Department of Environmental Protection

("WVDEP"). I have held this position since May 11, 2019. Prior to then, I served

as the Deputy Director of WVDAQ and have been with WVDAQ since February

1994. I have a bachelor's degree in electrical engineering from West Virginia

Institute of Technology. I am over the age of 18 and am competent to testify

concerning the matters in this declaration based on my personal knowledge, my

experience with WVDAQ, and information provided to me by WVDAQ personnel.




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       2.     I am providing this declaration in support of the State of West

 Virginia's motion for a stay of the Federal Implementation Plan, or "FIP," published

 by the U.S. Environmental Protection Agency ("EPA") as a Final Rule titled

 "Federal `Good Neighbor Plan' for the 2015 Ozone National Ambient Air Quality

 Standards," 88 Fed. Reg. 36,654 (June 5, 2023). I am aware that EPA published the

 FIP following EPA's disapproval of the West Virginia State Implementation Plan

 ("SIP") addressing interstate transport for the 2015 ozone National Ambient Air

 Quality Standards ("NAAQS") on February 13, 2023. See Air Plan Disapprovals;

 Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient

 Air Quality Standards, Final Rule, 88 Fed. Reg. 9336 (Feb. 13, 2023). EPA's FIP

 will result in imminent, irreparable harm to the State and its citizens.

 I.    West Virginia's Division of Air Quality

       3.     WVDAQ's mission is to achieve and maintain such levels of air quality

 as will protect human health and safety, and to the greatest degree practicable,

 prevent injury to plant and animal life and property, foster the comfort and

 convenience of the people, promote the economic and social development of this

 state and facilitate the enjoyment of the natural attractions of this state.

       4.     To these ends, WVDAQ provides for a coordinated statewide program

 of air pollution prevention, abatement and control; facilitates cooperation across

 jurisdictional lines in dealing with problems of air pollution not confined within



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 single jurisdictions; assures the economic competitiveness of the state by providing

 for the timely processing of permit applications and other authorizations; and

 provides a framework within which all values may be balanced in the public interest.

        5.    WVDAQ is responsible for ensuring that West Virginia's air meets

 public health and welfare standards established under the federal Clean Air Act

 ("CAA"), as amended. To fulfill this responsibility, WVDAQ must attain EPA's

 NAAQS within West Virginia's borders.

        6.    Among other things, WVDAQ promulgates legislative rules pertaining

 to air quality standards, develops SIPs to meet the federal standards, works to obtain

 EPA approval of SIP elements, issues pre-construction and operating permits to

 stationary sources, and ensures compliance with state and federal air quality rules.

        7.    As WVDAQ's Director, I am authorized to develop ways and means

 for the regulation and control of air pollution of the state, to promulgate legislative

 rules relating to the control of air pollution, and to employ personnel to accomplish

 its purpose. See W. Va. Code § 22-5-4(1), (4), (8).

        8.    I am also authorized to do all things necessary and convenient to

 prepare and submit a plan or plans for the implementation, maintenance and

 enforcement of the CAA, as amended, and to promulgate legislative rules to

 establish air permit applications and requirements. See W. Va. Code § 22-5-4(17),

(18).



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       9.     WVDAQ is responsible for preparing and developing plans for the

 prevention, abatement, and control of air pollution in West Virginia, complying with

 the requirements of federal air pollution laws, and enforcing West Virginia air

 pollution laws. As WVDAQ's Director, I am responsible for managing WVDAQ's

 staff and programs associated with these endeavors.

 II.   EPA's Overlapping SIP and FIP Rulemaking

       10.    The CAA requires West Virginia to submit a SIP to EPA within three

 years after the promulgation of new or revised NAAQS. 42 U.S.C. § 7410(a)(1).

 States must include in their SIPs "adequate provisions" prohibiting "any source or

 other type of emissions activity within the State from emitting any air pollutant in

 amounts which will ... contribute significantly to nonattainment in, or interfere with

 maintenance by, any other State with respect to any" primary or secondary NAAQS.

 Id. § 7410(a)(2)(D)(i). When necessary, upwind states must reduce emissions within

 their borders to account for emissions that travel outside the state that will

 "contribute significantly" to nonattainment, or "interfere with maintenance," of

 NAAQS in downwind states. Id. This is known as the "Good Neighbor" provision.

       11.    On October 26, 2015, EPA revised the NAAQS for ozone, lowering the

 primary and secondary standards from 75 parts per billion (ppb) to 70 ppb. See 80




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 Fed. Reg. 65,292. This triggered West Virginia's obligation to prepare a SIP to

 ensure compliance with the new NAAQS.

       12.    On February 4, 2019, WVDEP, on behalf of West Virginia, submitted

 to EPA a SIP addressing the CAA's Section 110(a)(2)(D)(i)(I) interstate transport

 requirements for the 2015 8-hour ozone NAAQS.          WVDEP noted that it had

 proposed legislative rule 45 CSR 43, which incorporates by reference the federal

 Cross-State Air Pollution Rule ("CSAPR") and CSAPR Update Rule, to the

 legislature. WVDEP thus sought conditional approval of its SIP and told EPA that

 it would submit 45 CSR 43 to EPA upon authorization from the legislature and

 promulgation.

       13.   On June 5, 2019, WVDEP submitted a corresponding SIP revision to

 add 45 CSR 43, which had by then been approved by the legislature. Legislative

 rule 43 "establishes West Virginia CSAPR state trading programs for annual NON,

 ozone season NON, and annual SO2 emissions for units in the state" and would be

 integrated with, and substantively identical to, three federal trading programs. 84

Fed. Reg. 41,944, 41,947 (Aug. 16, 2019). WVDEP requested that EPA fully

approve the Good Neighbor SIP submitted on February 4, 2019. EPA proposed

approving 45 CSR 43 as part of West Virginia's SIP on August 16, 2019. See 84

Fed. Reg. 41,944-48. But EPA has not yet taken final action on WVDEP's request

to revise its SIP to include 45 CSR 43 into the SIP, which incorporated by reference



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 the then-current trading programs under CSAPR into the SIP, now that 45 CSR 43

 has been approved.

          14.   West Virginia's SIP submissions were the culmination of extensive

 analysis, public comment, plan development, and consultation with EPA and other

 states    all of which was meant to maximize the likelihood that EPA would approve

 West Virginia's SIP.

          15.   West Virginia's SIP reflected review and comments from EPA Region

 3 staff on a draft proposed SIP that WVDAQ had provided EPA earlier on that

 assessed the impact of emissions from West Virginia on the attainment or

 maintenance of EPA's 2015 ozone NAAQS in downwind states.

          16.   In preparing its proposed SIP, WVDAQ relied on one of the guidance

 memoranda provided by EPA on analyzing downwind impacts: "Information on the

 Interstate Transport State Implementation Plan Submissions for the 2015 Ozone

 National Ambient Air Quality Standards under Clean Air Act Section

 110(a)(2)(D)(i)(1)," ("March 2018 Memo"). WVDAQ did not rely on a second

 guidance memorandum issued August 31, 2018, "Analysis of Contribution

 Thresholds for Use in Clean Air Act Section 110(a)(2)(D)(i)(I) Interstate Transport

 State Implementation Plan Submissions for the 2015 Ozone National Ambient Air

 Quality Standards," ("August 2018 Memo") because it was issued immediately

 before WVDAQ went to public notice on the Proposed SIP and after WVDAQ



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 received its early engagement feedback from EPA, Region 3; therefore, the guidance

 was not considered timely.

       17.   The SIP reflected WVDAQ's coordination with the regional air

 planning organizations regarding each state's understanding of the Good Neighbor

 Provisions' requirements, including Southeastern Air Pollution Control Agencies

 ("SESARM") and the Association of Air Pollution Control Agencies ("AAPCA").

       18.   The SIP also reflected WVDAQ's consultation with various groups to

 discuss West Virginia's emission inputs and West Virginia's modeled impacts to

 nonattainment and maintenance monitors, including the Midwest Ozone Group

 ("MOG"), Alpine Geophysics, LLC ("Alpine"), and the Lake Michigan Air

 Directors Consortium ("LADCO").

       19.   In forming the West Virginia's proposed SIP, WVDAQ applied its

 exhaustive analysis to EPA's recommended four-step analytical framework to assess

 contributions under the "Good Neighbor" provision.

       20.   West Virginia considered various modeling studies and used the "Good

 Neighbor" Modeling provided by Alpine (June 2018), which relied on a nested 4-

 km grid as the most robust way to identify the nonattainment and maintenance

 receptors to which West Virginia significantly contributes. A nested 4-km grid is

 more granular than the 12-km grid used in EPA's modeling from March 2018. See

 Sections 3.4.e and 3.5 of West Virginia's February 2019 SIP Submission.



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       21.   West Virginia used the 1% of the NAAQS threshold (or 0.70 ppb)

 which was more conservative than the alternative threshold allowed of 1 ppb, for

 determining the significant contribution to downwind states' nonattainment at Step

 2 of the analysis. Based on the 1% threshold, West Virginia determined that it was

 "linked" to the downwind 8-hour ozone nonattainment receptor at Harford, MD and

 "linked" to three maintenance receptors at Gloucester, NJ, Richmond, NY, and

 Philadelphia, PA.

       22.   WVDAQ engaged in further review and analysis relevant to those areas

 under Steps 3 and 4. West Virginia identified the emissions reductions necessary (if

 any), considering cost and air quality factors.   WVDAQ conducted a thorough

 analysis and determined there were not any additional highly cost-effective

 reductions available for the 2015 ozone NAAQS beyond incorporating by reference

 the CSAPR trading program into the West Virginia SIP under legislative rule 45

 CSR 43.

       23.   EPA did not respond to, act upon, or otherwise engage with West

 Virginia on its February 4, 2019 SIP submission for years. EPA did not note any

 deficiencies in the submission and did not otherwise provide comment on West

 Virginia's analysis of significant contribution. When consulting with EPA during

 the SIP drafting process, EPA did not provide any "Key Comments" that must be

 addressed in the SIP before it could be approved. And during West Virginia's public



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 comment period between September 7, 2018 and October 8, 2019, EPA chose not to

 provide comments to WVDAQ on its proposed SIP. WVDEP did not receive a letter

 from EPA stating that the SIP was deemed administratively and technically

 complete. Therefore, it was deemed administratively and technically complete by

 operation of law six months later on August 4, 2019. See 42 U.S.C. § 7401(k)(1)(B).

       24.   The next time WVDAQ received feedback from EPA on its SIP was

 February 22, 2022, when EPA announced its proposed disapproval of the SIP for

 noncompliance with the CAA's "Good Neighbor" provision, and did so through a

 proposed rule titled "Air Plan Disapproval; West Virginia; Interstate Transport of

 Air Pollution for the 2015 8-Hour Ozone National Ambient Air Quality Standards,"

 87 Fed. Reg. 9516. That proposed rule stated that any "[w]ritten comments must be

 received on or before April 25, 2022." 87 Fed. Reg. at 9517.

       25.   On April 13, 2022, WVDAQ submitted comments on the proposed rule

 disapproving West Virginia's SIP. See EPA Docket R03-OAR-2021-0873-0006.

       26.   On April 6, 2022—one week earlier and almost three weeks before the

comment period on the proposed rule disapproving West Virginia's SIP was

scheduled to close—EPA issued another proposed rule that would impose a FIP for

West Virginia and 26 other states whose SIPs did not receive EPA's approval. This

proposed rule was titled "Federal Implementation Plan Addressing Regional Ozone




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 Transport for the 2015 Ozone National Ambient Air Quality Standard," 87 Fed. Reg.

 20,036.

        27.   On June 21, 2022, WVDEP submitted comments on the proposed rule

 to implement the FIP. See EPA Docket HQ-OAR-2021-0668-0359.

        28.   On February 13, 2023, EPA issued a final rule and final agency action

 finalizing full or partial disapproval of SIPs filed by 21 states, titled "Air Plan

 Disapprovals; Interstate Transport of Air Pollution for the 2015 8-Hour Ozone

 National Ambient Air Quality Standards," 88 Fed. Reg. 9336. West Virginia was

 among the states whose SIP received a full disapproval. See 88 Fed. Reg. at 9360.

        29.   On April 14, 2023, the State of West Virginia filed its Petition for

 Review of EPA's SIP disapproval. See Petition, State of West Virginia v. U.S. EPA,

 et al., No. 23-1418 (Apr. 14, 2023, 4th Cir.), ECF 3-1.

        30.   On June 5, 2023, EPA issued a rule finalizing the FIP, which applies to

 West Virginia and 22 other states. 88 Fed. Reg. 36,654. On July 17, 2023, the State

 of West Virginia filed a Petition for Review of EPA's FIP.

 III.   Problems with EPA's Final Rule

        31.   As noted in its earlier comment letters, WVDEP has several concerns

 with EPA's rulemakings.




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       A.    EPA failed to follow the CAA's cooperative federalism mandate

       32.    EPA's conduct in denying West Virginia's proposed SIP and

 immediately imposing the FIP is inconsistent with the CAA's cooperative federalism

 mandate, which gives States, not EPA, primary responsibility for regulating air

 quality within their borders. Indeed, EPA may impose a FIP only if a State fails to

 submit a SIP that meets the requirements of the CAA. See 42 U.S.C. § 7410(c).

       33.    As detailed in WVDEP's comment letter regarding EPA's proposal to

 deny West Virginia's SIP submission, EPA ignored numerous statutory deadlines to

 provide West Virginia feedback about its proposal. Rather than working with West

 Virginia to resolve any concerns with the proposed SIP, it seems EPA dedicated its

 resources to developing and issuing the FIP.

       34.    By proposing a FIP instead of working with West Virginia to perfect

the proposed SIP, EPA demonstrated its preference for promulgating a FIP instead

of helping West Virginia develop an approvable SIP.           West Virginia made

substantial investments in time and personnel resources on the proposed SIP and

stood ready to work with EPA to address any issues.

       35.   Again, the CAA is structured to prefer state regulation of air quality

with limited federal oversight. But EPA shelved West Virginia's plan, preventing

West Virginia from addressing alleged deficiencies while the agency developed a

FIP that it could impose immediately after disapproving West Virginia's proposed



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 SIP.   EPA's disapproval of West Virginia's SIP deprived West Virginia and

 WVDAQ of the ability to fashion an interstate transport program that considers West

 Virginia and the region's unique circumstances, determines the appropriate sources

 that may need additional pollution controls, assess and determine the acceptability

 of the costs of implementation, and adequately consider the needs of West Virginia's

 citizens and economy.       EPA's actions fundamentally undermine Congress's

 intention that West Virginia should have primary responsibility for developing and

 administering its air quality program.        Thus, EPA's Final Rule harms West

 Virginia's sovereign interests.

        B.    The EPA's Final Rule Uses New Modeling

        36.    At the time West Virginia was preparing its proposed SIP, EPA

 provided updated modeling information with its March 2018 Memo for states to

 consider in developing their SIPs. West Virginia used the information provided in

 the March 2018 Memo to evaluate the impacts that West Virginia's emissions may

 have on downwind monitors.

        37.    But EPA disapproved West Virginia's proposed SIP as noncompliant

 with the "Good Neighbor" provision based on a second version of newly modeled

 data that was only made available to West Virginia well past the statutory deadline

 to submit a SIP for the 2015 ozone NAAQS. Indeed, this modeling was available

 only after EPA was statutorily required to act on West Virginia's SIP submission



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 (but had failed to do so). This new modeling is significant because the monitors

 previously linked as being impacted by West Virginia have changed with the newly

 available data.    West Virginia also had no opportunity to evaluate these new

 modeling results in crafting its SIP submittal.

 IV.    The Final Rule Harms West Virginia and Regulated Sources

        38.    The consequences from the Final FIP imposed on West Virginia harm

 West Virginia and the regulated sources within its borders. Although the FIP is

 based on an assessment of statewide emissions of all relevant pollutants, it will

 require emission controls only for NOx emissions, with the most onerous emissions

 targets impacting coal-fired electricity generating plants within the State. In total,

 40 EGUs across 13 facilities will be impacted-24 of these units are coal-fired, and

 they span 8 facilities.

       39.    As identified in the WVDEP comments regarding the proposed FIP,

 West Virginia was not previously linked to the receptors identified in the proposed

FIP when it developed its 2015 Good Neighbor SIP based on a more robust modeling

platform. However, to the extent emissions controls are needed, EPA has deprived

West Virginia of its rights under the CAA to identify and regulate in-state sources

as needed to mitigate significant contributions.

       40.    EPA's FIP imposes a May 1, 2026, compliance deadline when

additional complex and costly controls are required under the FIP for non-EGU



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 sources within West Virginia. WVDAQ must permit these new controls through its

 permitting process for the affected facilities. The permitting process must start as

 soon as the FIP becomes final and effective to meet the compliance deadline because

 it may take several years for some sources to install required controls after WVDAQ

 permits them.

       41.    WVDAQ must permit numerous facilities in the state that are subject

 to the FIP control requirements. WVDAQ estimates 52 facilities will be subject to

 the non-EGU control requirements finalized in the FIP and 13 facilities will be

 subject to the EGU requirements (both coal and non-coal fired) of the FIP. The non-

 EGU facilities subject to the FIP represent engines at natural gas transportation

 facilities, cement manufacturing, iron and steel mills and ferroalloy manufacturing

 facilities, and industrial boilers.   Additionally, under the FIP, the following

 categories of sources will require permitting decisions: natural gas pipeline engines;

 cement kilns; iron, steel, and ferroalloy manufacturing boilers; glass manufacturing

 furnaces; large boilers used in chemical manufacturing, petroleum, and coal

 manufacturing; and large boilers used in pulp, paper, and paperboard mills

 manufacturing. WVDAQ will need to begin identifying which industrial sources

 will be required to install controls and obtain permits, including analysis of an

 estimated 130 engines in the pipeline transportation of natural gas.




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       42.    The FIP compliance deadlines impose immediate permitting burdens

 on WVDAQ. The permitting process is lengthy and resource intensive. It involves

 staff review and development of draft permits, public notice, potential public

 meetings, and likely extensive public input. WVDAQ will then review and respond

 to the submitted comments on the proposed permit changes, in some circumstances

 adjusting the permits. Groups that usually oppose coal-fired power plants, chemical

 manufacturing, and other emissions sources, are likely to comment and formally

 object to the proposed permits.

       43.   These permitting burdens will put a significant strain on WVDAQ's

 staff and will coincide with WVDAQ's other critical work involving the same key

 personnel. That personnel is already strained as WVDAQ currently has 15 vacant

 positions (17% vacancy), including 4 in the permitting section; though WVDAQ is

trying to fill these positions, it is having trouble finding interested and qualified

candidates. The Permitting Section reviews applications for modifications, new

facilities, and renewals and subsequently issues construction and operating permits.

An onslaught of applications to modify permits for the Ozone Transport FIP would

divert attention from new and expanding facilities in West Virginia, negatively

impacting economic growth and public protection.          The Planning Section is

responsible for reviewing and commenting on proposed federal regulations and

develops SIPs and State Plans required when EPA issues emission guidelines for



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 existing sources. WVDAQ provides valuable comments to EPA on how regulations

 will impact West Virginia air quality and economic activity. Diverting resources

 away from these important projects undermines West Virginia's interest in

 protecting public health.

       44.    Each of these problems with EPA's FIP and Final Rule disapproving

 the SIP causes West Virginia immediate harm to its sovereign interests and harms

 regulated sources in the State.    Because the compliance deadlines are rapidly

 approaching, West Virginia and its regulated entities must begin planning for

 compliance and implementation immediately.

       45.    Staying the FIP during the pendency of this litigation, however, will

 cause no harm. A stay will maintain the status quo. The FIP is set to take effect on

 August 4, 2023 with immediate control stringencies for the 2023 ozone season,

 which began May 1, 2023. The program cannot be effectively implemented in West

 Virginia that quickly. Past control projects for emissions have required years of

 design, permitting, construction and sequencing of shut-downs to provide power

 reliably to the utility customers. Assuming expeditious resolution of this litigation,

 a stay during its pendency should not significantly affect the implementation of the

 FIP for later ozone seasons.

       46.    Moreover, WVDAQ has already implemented several programs that

 have reduced ozone and other emissions, and which will continue to do so. For



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 example, West Virginia ozone-season NOx emissions from EGUs have decreased

 from 60,528 tons in 2003 to 11,531 tons in 2022 which is an 81% reduction in

 statewide NOx emissions. These reductions have been achieved through several

 regulations including: the Acid Rain Program, CAIR, CSAPR, MATS, Regional

 Haze, and SIPs. With these other programs in place, air quality within West Virginia

 and in downwind states is already improved and will continue to improve. Thus,

 WVDAQ is taking adequate steps to address public health in West Virginia, while

 there is no need for regulated sources to move forward with complying with EPA's

 flawed Final FIP pending judicial review.

                                       *   *   *   *



       I declare under penalty of perjury that the foregoing is true and correct to the

 best of my knowledge. Executed on this 18th day of July, 2023, in Charleston, West

 Virginia.




  aura M. Crowder
 Director
 West Virginia Division of Air Quality
 West Virginia Department of Environmental Protection




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                               EXHIBIT 4
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                     No. 23-1183 (consolidated with 23-1157)
              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                State of Ohio, et al.,
                                    Petitioners,

                                         v.

  Environmental Protection Agency and Michael S. Regan, in his official capacity,
         as Administrator of the U.S. Environmental Protection Agency
                                  Respondents.
   On Petition for Review of Action by the U.S. Environmental Protection Agency

      DECLARATION OF CHARLOTTE R. LANE IN SUPPORT OF
    PETITIONERS’ MOTION FOR STAY PENDING REVIEW AND FOR
                  AN ADMINISTRATIVE STAY

       I, Charlotte R. Lane, make the following declaration pursuant to 28 U.S.C.

 § 1746:

       1.    I am the Chairman of the Public Service Commission of West Virginia

 (“PSCWV”). I have held this position from July 1, 2019 to present and from 1997

 to 2001. I served as Commissioner from 1985 to 1991. I served on the International

 Trade Commission from 2003 to 2011. I have also served for several years in the

 West Virginia House of Delegates. I served as President of the Mid-Atlantic

 Conference of Regulated Utility Commissioners as well as a member of the Board

 of Directors of the National Association of Utility Regulatory Commissioners. I

 practiced law in State and Federal Courts in West Virginia for many years. I was
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 awarded the Justitia Officium Award from the West Virginia College of Law and

 the Distinguished Alumnus Award from Marshall University. I am also a Fellow of

 the American Bar Foundation and the West Virginia Bar Foundation. I am over the

 age of 18 and am competent to testify concerning the matters in this declaration

 based on my personal knowledge, my experience with PSCWV, and information

 provided to me by PSCWV personnel.

       2.     The PSCWV is responsible for regulating the service and rates of

 utilities, including electric utilities serving retail customers in West Virginia. As

 Chairman and a member of the Commission, I am charged with the responsibility

 for appraising and balancing the interests of current and future utility service

 customers, the general interests of the state’s economy and the interests of the

 utilities subject to Commission jurisdiction in its deliberations and decisions,

 including matters relating to PJM Interconnection, LLC (“PJM”) and the Federal

 Energy Regulatory Commission.

       3.     I am providing this declaration in support of the State of West

 Virginia’s motion for a stay of the Federal Implementation Plan, or “FIP,” published

 by the U.S. Environmental Protection Agency (“EPA”) as a Final Rule titled

 “Federal ‘Good Neighbor Plan’ for the 2015 Ozone National Ambient Air Quality

 Standards,” 88 Fed. Reg. 36,654 (June 5, 2023), promulgated to regulate West

 Virginia’s nitrogen oxides (“NOx”) emissions. The FIP forces regulated coal-fired


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 electricity generating units (“EGUs”) within the state to install expensive new

 emission control technologies in order to comply with the FIP’s stringent emissions

 allowance budgets. The effective date of the FIP is August 4, 2023. Id.

       4.     I am aware that EPA published the FIP following EPA’s final rule

 issued on February 13, 2023, disapproving the state implementation plan (“SIP”)

 submitted by West Virginia on February 4, 2019 to comply with the interstate

 transport requirements for the 2015 8-hour ozone National Ambient Air Quality

 Standards (“NAAQS”). See Air Plan Disapprovals; Interstate Transport of Air

 Pollution for the 2015 8-Hour Ozone National Ambient Air Quality Standards, Final

 Rule, 88 Fed. Reg. 9336.

       5.     The FIP will burden West Virginia, its ratepayers, and its vertically

 integrated electric utilities1 that own and operate electric generation facilities—both

 by destabilizing the power grid and by making electricity less affordable.

       6.     The FIP capacity restrictions will make electricity less reliable in West

 Virginia and throughout the electricity grid by forcing the retirement of base load,

 fuel-reliable, always-available, fossil fuel-fired thermal generation resources,

 including the most fuel-reliable of the fossil fuel plants—coal-fired plants—which




 1
   Vertically integrated electric utilities provide all functions of electric service with
 their own facilities, production, transmission and distribution.


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 can store fuel supply on-site and remain available for extended operations when

 needed to back up less reliable generation resources.

       7.     One of the affected power plants is the Fort Martin plant, owned by a

 vertically integrated electric utility, Monongahela Power Company (MPCo). Fort

 Martin is an integral component of MPCo’s fleet in West Virginia, providing

 approximately 1,300 Megawatts (“MW”), or over thirty percent of MPCo’s load

 requirement. The plant is a valuable asset for the West Virginia utility and has been

 upgraded and maintained at the cost of the West Virginia ratepayers so that it can

 provide service for the next fifteen or more years. The budgets imposed by the FIP

 beginning in 2026 are based on an assumption that selective catalytic reduction

 (“SCR”) equipment can be installed on existing units by the start of the 2026 ozone

 season, but Fort Martin is not equipped with SCR equipment. Therefore, under the

 FIP, Fort Martin will be required to be (1) retrofitted with expensive SCR equipment,

 (2) significantly reduce its capacity utilization, or (3) retire prematurely. Any of

 these solutions to satisfy the FIP will cost ratepayers much more than the average

 cost estimates put out by EPA for its new rule. Retrofitting SCR equipment on the

 plant will cost in excess of $500 million and will substantially increase operating

 costs. These costs will be passed on to West Virginia ratepayers. In the alternative,

 the plant may be scheduled for early retirement which will entail equally high costs

 for ratepayers, and add to the instability of the electric grid in the future.


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       8.     Although the two units at the Pleasants Power Station have ceased

 operations, the facility has not surrendered its operating permit, so it might be able

 to resume operations if needed to maintain electric reliability during the retrofit at

 the Fort Martin units. This is not a certainty, however, because the present owner

 has announced an agreement to sell the plant to a new owner with plans to use the

 plant for new load and to produce hydrogen. If the electrical output at Pleasants is

 directed to a new load related to hydrogen production, then it may not be able to

 substitute for the capacity lost at Fort Martin to maintain electric reliability.

 Moreover, based on its announced retirement, the FIP does not allocate any NOx

 allowances to either of the two units at the Pleasants Power Station. Therefore,

 whether Pleasants could be used for hydrogen production or to support the electric

 reliability during installation at Fort Martin, it would be unable to do so without

 purchasing NOx allowances on the market.           The cost of purchasing enough

 allowances to operate the EGUs at the Pleasants Power Station would likely be

 exorbitantly expensive, assuming enough credits are even available.

       9.     Decisions to spend or not spend over a half billion dollars to allow the

 plant to continue to operate efficiently or to shut down prematurely cannot be

 delayed. If the FIP stays in place, planning for the installation of SCR equipment

 and construction timelines will require immediate decisions that will have long-term

 debilitating consequences for ratepayers.


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       10.    Alternative decisions to forego installation of SCR equipment will

 likewise have to be made quickly and once made will have long-term cost

 consequences. If the decision is made to retire the plant prematurely, MPCo will be

 required to notify PJM of the planned retirement and plan for replacement capacity.

 PJM will conduct a retirement study to determine whether transmission system

 upgrades will be needed due to the redistribution of electricity flows across the PJM

 system. If transmission upgrades are required, they could be very expensive and

 involve transmission construction in surrounding states.

       11.    Replacement of 1,300 MW of coal-fired generation with no-NOx wind

 or solar generation will require between 3,000 and 6,000 MW of these intermittent

 wind or solar capacity resources.2 Assuming that MPCo could purchase those levels

 of capacity to substitute for the capacity from Fort Martin, it could not contract for

 the capacity at a price below the PJM market price of capacity. The current cost of

 6,000 MW of intermittent capacity in the PJM market is $78 million per year. That

 cost, however, fluctuates from year to year and is currently at a relatively low level.

 Based on capacity costs over the last five years, it is more likely that 6,000 MW of




 2
   PJM has stated that replacement of thermal fired generation capacity will require
 many multiples of solar or wind capacity because of the unreliable and limited ca-
 pabilities of those replacement facilities to generate twenty-four hours per day, year-
 round, as is the case for thermal generation plants.



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 market-priced capacity will cost between $120 million and $220 million per year.3

 Costs of this level, imposed on a relatively small West Virginia utility, far exceed

 the fractional average percentage nationwide compliance cost set forth in the FIP.

        12.    The forced premature retirement of West Virginia utility-owned power

 plants brought on by the FIP will require replacement capacity supplied by less

 reliable sources, and that, in turn, will increase utility costs and electricity rates while

 destabilizing the grid. The PSCWV and MPCo will not have the luxury of waiting

 for future developments before making decisions that will lead to expensive

 construction of SCR equipment or acquisition of replacement capacity for a

 prematurely retired unit. Evaluation of alternatives, filings with the PSCWV,

 evidentiary proceedings and decisions by the PSCWV, and implementation of the

 selected compliance strategies will take time and cannot be delayed.




 3
   Another option for MPCo to replace a prematurely retired Fort Martin power plant
 would be to construct, own and operate a new thermal generation plant. Given the
 restrictions on new coal-fired power plants, a new thermal power plant would have
 to be natural-gas-fired. If existing thermal capacity is replaced with new thermal
 capacity, it would require the same amount of capacity rather than the multiples re-
 quired for intermittent wind or solar resources. A recent study for PJM estimated
 that the 2026/2027 net Cost of New Entry (CONE) for thermal capacity (natural gas-
 fired generation) would be between $307 and $356 per MW per day. PJM CONE
 2026/2027 Report, Prepared for PJM Interconnection, April 21, 2022,
 https://bit.ly/3pTxSVj (last visited July 18, 2023). At those net CONE levels, 1,300
 MW of replacement capacity will cost between $145 million and $169 million per
 year.


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       13.    In addition to cost of compliance, the FIP is problematic because it will

 place increased reliance on intermittent (wind-powered and solar-powered) electric

 generation resources within the region that includes the electric grid operated by

 PJM—the regional transmission and supply organization responsible for

 transmission adequacy and power supply markets in the region encompassing West

 Virginia, twelve other states, and the District of Columbia. This move to intermittent

 resources will be unsafe and unreliable without online reserve resources necessary

 to provide the constant balance of supply to load when wind and solar resources are

 intermittent; that is, when the wind is not blowing (or blowing unevenly) or the sun

 is not shining (or shining unevenly).

       14.    Indeed, PJM has recently warned in a February 2023 report on the risks

 relating to energy resource transitions that a movement away from base load

 dispatchable generation will cause capacity deficiencies and reliability degradation

 as dispatchable thermal plants are retired prematurely. In its report, PJM stated:

       The composition of the PJM Interconnection Queue has evolved
       significantly in recent years, primarily increasing in the amount of
       renewables, storage, and hybrid resources and decreasing in the amount
       of natural gas-fired resources entering the queue…

       By the 2028/2029 Delivery Year and beyond, at Low New Entry
       scenario levels, projected reserve margins would be 8%, as projected
       demand response may be insufficient to cover peak demand
       expectations, unless new entry progresses at levels exhibited in the
       High New Entry scenario. This will require the ability to maintain
       needed existing resources, as well as quickly incentivize and integrate
       new entry …

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       Thermal generators are retiring at a rapid pace due to government and
       private sector policies as well as economics …

       PJM’s interconnection queue is composed primarily of intermittent and
       limited-duration resources. Given the operating characteristics of these
       resources, we need multiple megawatts of these resources to replace 1
       MW of thermal generation.

 Energy Transition in PJM: Resource Retirements, Replacements & Risks, 1, 10, 16

 (Feb. 24, 2023), https://bit.ly/3D0BRlP.

       15.   This shift of generation will also be expensive. The report noted that

 PJM requires multiple MW of intermittent and limited duration resources to replace

 one MW of thermal generation. If the FIP puts significant quantities of thermal

 generation resources out of business, replacing each MW of thermal generation with

 “multiple megawatts” of “intermittent and limited-duration resources” will have

 major cost implications and major impacts on electricity rates.

       16.   EPA’s argument that solar and wind resources are “cheap” relative to

 thermal resources is incomplete and incorrect. First, the thermal resources that are

 affected by the FIP are legacy, up and running generation units that have embedded

 ratemaking values that are much lower than the cost of new capacity. And second,

 it will take many multiples of generation capacity to replace thermal generation

 capacity with intermittent and limited-duration wind and solar generation resources.

 PJM has quantified the ability of wind and solar resources to serve load: replacing

 1,000 MW of thermal capacity will require either 10,000 MW of onshore wind,

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 4,000 MW of more expensive offshore wind, 3,300 MW of fixed solar, or 2,000 MW

 of more expensive tracking solar. Updated ELCC Class Ratings for the 2025/26

 BRA    reflecting   FERC      Order    accepting    PJM’s     ELCC      CIR   proposal,

 https://bit.ly/3ND5EWB.

       17.    Thus, even if a MW of new wind or solar capacity is “cheaper” to

 construct than a thermal facility, that advantage is offset, again, by the need to

 construct “multiple megawatts of these resources to replace 1 [megawatt] of thermal

 generation.” Energy Transition, supra, at 1. And, again, these multiple MW are

 still not consistent and certain—they produce energy only when the wind is blowing

 or the sun is shining.

       18.    Proponents of the FIP believe that PJM approval of a few individual

 thermal generation retirements in recent years demonstrates that such units can be

 retired without jeopardizing system reliability. Not so. The FIP will cause not

 isolated but wide-spread and coincidental premature retirements of fossil fuel

 thermal units. This, in turn, will accelerate the closing of the fuel-reliable coal-fired

 thermal generation plants, leaving our area unnecessarily vulnerable to brownouts

 and blackouts.

       19.    West Virginia has approved plans to allow utility-owned thermal

 resources to comply with EPA rules in place prior to the recent proposed ozone

 transport rules and FIP that strain base load coal-fired thermal units, which are the


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 critically needed units that can provide electricity reliability and resilience with an

 onsite, multi-month fuel source.

       20.    Under the FIP, West Virginia ratepayers will be harmed by the

 uneconomic premature retirement of thermal power plants.               West Virginia’s

 generating utilities have hundreds of millions of dollars invested in base load thermal

 units—an investment that grows monthly as the utilities spend money on

 construction necessary to meet previously finalized EPA rules. If the FIP forces

 those generating units to retire prematurely, the utilities will expect West Virginia

 ratepayers to both (1) help recover the unrecovered investments in these facilities,

 and (2) shoulder the additional cost of replacement capacity.          In effect, West

 Virginia ratepayers will be expected to pay for unreliable capacity that would not be

 needed but for the unreasonable early retirement of our existing, reliable generation

 resources forced by the FIP.

       21.    The resulting harm to West Virginia ratepayers will be real and lasting.

 It will hit households in a state with some of the lowest average incomes and oldest

 populations in the United States. But the negative impact will not be limited to rate

 impact in West Virginia.

       22.    The electricity grid instability brought on by the FIP will only serve to

 exacerbate these harms as brownouts and blackouts become commonplace due to




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 overreliance on intermittent generation resources and insufficient thermal generation

 with reliable on site fuel supply.

       23.    This is neither the time nor the place for a FIP that is likely going to

 force premature retirement of the very resources that are needed for reliability in the

 face of accelerated growth in less reliable intermittent solar and wind resources. See

 generally Energy Transition, supra (PJM report discussing the risks from the pace

 of additions intermittent resources and accelerated retirements of thermal resources).

       I declare under penalty of perjury that the foregoing is true and correct to the

 best of my knowledge. Executed on this 18th day of July, 2023, in Austin, Texas.



   elidAUttekaea.ta.
 Charlotte R. Lane
 Chairman
 Public Service Commission of West Virginia




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                               EXHIBIT 5
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                      No. 23-1183 (consolidated with 23-1157)
               IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                 State of Ohio, et al.,
                                     Petitioners,
                                           v.
  Environmental Protection Agency and Michael S. Regan, in his official capacity,
         as Administrator of the U.S. Environmental Protection Agency
                                  Respondents.
   On Petition for Review of Action by the U.S. Environmental Protection Agency

        DECLARATION OF GEORGE J. FARAH IN SUPPORT OF
    PETITIONERS’ MOTION FOR STAY PENDING REVIEW AND FOR
                  AN ADMINISTRATIVE STAY


       I, George J. Farah, hereby make the following declaration pursuant to 28

 U.S.C. § 1746:

       1.     I am the Vice President, Utility Services for FirstEnergy Service

 Company which provides various services to Monongahela Power Company, a West

 Virginia electric utility operating subsidiary of FirstEnergy Corp. (hereinafter, “Mon

 Power” or “FirstEnergy”). Mon Power owns and operates two coal-fired power

 stations in West Virginia and is headquartered in Fairmont, West Virginia. I have

 been employed by FirstEnergy or its predecessors since May 1986. I earned a

 Bachelor of Science degree in Mechanical Engineering from the University of

 Pittsburgh in 1986. In 2007 I earned a Master’s degree in Business Administration

 from Indiana University of Pennsylvania. I have worked in various corporate and
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 power station roles for over 37 years. I am over the age of 18 and am competent to

 testify concerning the matters in this declaration based on my personal knowledge,

 my experience with Mon Power, and information provided to me by Mon Power

 personnel.

       2.     I am providing this declaration in support of the State of West

 Virginia’s motion for a stay Federal Implementation Plan, or “FIP,” published by

 the U.S. Environmental Protection Agency (“EPA”) as a Final Rule titled “Federal

 ‘Good Neighbor Plan’ for the 2015 Ozone National Ambient Air Quality Standards,”

 88 Fed. Reg. 36,654 (June 5, 2023). I am aware that EPA published the FIP

 following EPA’s disapproval of the West Virginia State Implementation Plan

 (“SIP”) addressing interstate transport for the 2015 ozone National Ambient Air

 Quality Standards (“NAAQS”) on February 13, 2023. See Air Plan Disapprovals;

 Interstate Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient

 Air Quality Standards, Final Rule, 88 Fed. Reg. 9336 (Feb. 13, 2023). EPA’s FIP

 will result in imminent, irreparable harm to the State and its citizens

       3.     In the operation of its business, Mon Power generates electric power at

 its power stations for the benefit of its and Potomac Edison’s approximately 550,000

 customers located in West Virginia. As Vice President of Utility Services for

 FirstEnergy Service Corporation,       I am charged with overseeing engineering,




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 environmental, fuel and reagent procurement, and other duties for Mon Power’s

 generating plants.

       4.     Mon Power owns and/or operates over 3,000 megawatts of installed

 generation capacity in West Virginia; employs approximately 2,000 full-time

 employees; and spends approximately $1.5 billion annually in the form of taxes,

 fuel, maintenance, and other operating and capital expenditures, and its impact on

 gross state product and gross domestic product is substantial.

       5.     I am aware that the State of West Virginia, through the West Virginia

 Department of Environmental Protection (“WVDEP”), submitted to EPA a proposed

 SIP to comply with the interstate transport requirements for the 2015 8-hour ozone

 National Ambient Air Quality Standards (“NAAQS”).

       6.     Mon Power engaged with and provided comments to the WVDEP

 regarding the proposed SIP during West Virginia’s public comment period from

 September 7, 2018 to October 8, 2018.

       7.     On February 22, 2022, EPA announced its proposed disapproval of

 West Virginia’s SIP for noncompliance with the CAA’s “Good Neighbor”

 provision. See Air Plan Disapproval; West Virginia; Interstate Transport of Air

 Pollution for the 2015 8-Hour Ozone National Ambient Air Quality Standards, 87

 Fed. Reg. 9516. On April 25, 2022, Mon Power, by virtue of its membership in the




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 Midwest Ozone Group, submitted comments on the proposed rule disapproving

 West Virginia’s SIP. See EPA Docket R03-OAR-2021-0873-0007.

       8.    I am aware that, on April 6, 2022, EPA issued another proposed rule

 that would impose a FIP for West Virginia and 26 other states whose SIPs did not

 receive EPA’s approval. See Federal Implementation Plan Addressing Regional

 Ozone Transport for the 2015 Ozone National Ambient Air Quality Standard, 87

 Fed. Reg. 20,036. On June 21, 2022, Mon Power, by virtue of its membership in the

 Midwest Ozone Group, submitted comments on the proposed rule to implement the

 FIP. See EPA Docket HQ-OAR-2021-668-0323.

       9.    I am also aware that as a result of the EPA’s disapproval of West

 Virginia’s SIP on February 13, 2023, the agency promulgated a final rule on June 5,

 2023, imposing a FIP on West Virginia and 22 other states with an effective date of

 August 4, 2023. See Federal “Good Neighbor Plan” for the 2015 Ozone National

 Ambient Air Quality Standards, 88 Fed. Reg. 36,654.

       10.   The FIP will cause immediate, detrimental, and irreversible harm to

 Mon Power as well as its affiliate, The Potomac Edison Company, who contracts for

 all of its power supply requirements for its West Virginia customers from Mon

 Power. Our other customers, suppliers, vendors, and contractors will be negatively

 impacted as well. When vendors are impacted, communities and local business are




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 impacted as well as local and state governments and their respective employees,

 vendors, and communities in which they operate.

       11.    The annual allocations of seasonal NOx allowances have decreased and

 are expected to decrease more in the future. In 2022, Mon Power had to purchase

 thousands of seasonal NOx allowances from the market in order to be able to operate

 its Fort Martin Power Station.       The prices for these allowances increased

 dramatically to over $40,000 per credit causing an additional cost burden on our

 customers of over $50 million for just the five month period of May through

 September 2022.

       12.    Options at Fort Martin for compliance with the FIP are still under

 review and consideration, but all compliance options result in additional costs which

 would be borne by our customers. Options include upgrades of existing combustion

 systems, enhancements to the selective non-catalytic reduction (“SnCR”)

 equipment, lowering generation output, and/or installing selective catalytic

 reduction (“SCR”) equipment that EPA assumes in the FIP will be installed at many

 power stations by 2026. The impacts could range into the hundreds of millions of

 dollars in capital compliance and construction costs.

       13.    Additionally, the cost of reagents, if either the option of enhancing

 SnCR or installing SCR equipment is chosen, would be in the millions of dollars per

 year, and there are additional Operation & Maintenance costs annually estimated for

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 equipment and operations. Power generation will be reduced and/or lost at times in

 order to perform installation of and periodic maintenance of the equipment, which

 is difficult to estimate but can be substantial. Finally, additional capital is typically

 required in future years to replace equipment and catalysts.

       14.     Regardless of which option is chosen for compliance, rates would

 increase to West Virginia customers as a result. Rate increase estimates could be in

 the range of $50-$85 million per year depending on the option chosen for

 compliance.

       15.     Absent a stay, Mon Power will need to take imminent action in order

 to comply with the FIP. In order to comply with the FIP beginning in 2026, when

 state budgets reduce substantially based on the assumption that SCRs are installed

 on many existing units, Mon Power will need to make a decision in the near future

 regarding installation of equipment for compliance. Without a stay of the FIP, Mon

 Power must incur engineering, design, procurement, and construction expenditures

 on an option that may ultimately not be necessary if the FIP is held unlawful.

 Issuance of a stay would avoid wasteful expenditures on rule compliance that may

 be altered and thereby would avoid unnecessary customer rate increases.




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      I declare under penalty of perjury that the foregoing is true and correct to the

best of my knowledge. Executed on this 18th day of July, 2023, in Fairmont, West

Virginia.




George J. Farjth
Vice President
FirstEnergy Service Company
Monongahela Power Company




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